      Case: 23-60069   Document: 110    Page: 1   Date Filed: 03/27/2023




                              No. 23-60069


             IN THE UNITED STATES COURT OF APPEALS
                      FOR THE FIFTH CIRCUIT


                        STATE OF TEXAS, et al.,

                                         Petitioners,

                                   v.

   UNITED STATES ENVIRONMENTAL PROTECTION AGENCY, et al.,

                                         Respondents.


 PETITION FOR REVIEW OF A FINAL AGENCY ACTION OF THE UNITED
         STATES ENVIRONMENTAL PROTECTION AGENCY


   RESPONDENTS’ APPENDIX TO CONSOLIDATED RESPONSE IN
  OPPOSITION TO THE MOTIONS FOR STAY OF THE FINAL RULE


                                       TODD KIM
                                         Assistant Attorney General
Of Counsel:
ROSEMARY HAMBRIGHT KABAN               JIN HYUNG LEE
DANIEL P. SCHRAMM                        U.S. Department of Justice
  Office of the General Counsel          Environment and Natural Resources
  U.S. Environmental Protection            Division
    Agency                               P.O. Box 7611
  Washington, DC                         Washington D.C. 20044-7611
          Case: 23-60069             Document: 110            Page: 2        Date Filed: 03/27/2023




                                        TABLE OF CONTENTS

EPA, Final Rule, Air Plan Disapprovals; Interstate Transport of Air Pollution for
the 2015 8-Hour Ozone National Ambient Air Quality Standards, 88 Fed. Reg.
9336 (Feb. 13, 2023) ........................................................................................ Ex. 1

EPA, Proposed Rule, Air Plan Disapproval; Arkansas, Louisiana, Oklahoma, and
Texas; Interstate Transport of Air Pollution for the 2015 8-Hour Ozone National
Ambient Air Quality Standards, 87 Fed. Reg. 9798 (Feb. 22, 2022) ................. Ex. 2

TCEQ, Transport State Implementation Plan (SIP) Revision for the 2015 Ozone
National Ambient Air Quality Standards (NAAQS), Docket No. 2017-1762-SIP
(Aug. 8, 2018).................................................................................................. Ex. 3

EPA, 2015 Ozone NAAQS Interstate Transport SIP Disapprovals – Response to
Comment (RTC) Document (Jan. 31, 2023)..................................................... Ex. 4

EPA, 2015 8-Hour Ozone Transport SIP Proposal, Technical Support Document,
FDMS Docket No. EPA-R06-OAR-2021-0801 (Feb. 2022) ............................ Ex. 5

EPA, Information on the Interstate Transport State Implementation Plan
Submissions for the 2015 Ozone National Ambient Air Quality Standards under
Clean Air Act Section 110(a)(2)(D)(i)(I) (Mar. 27, 2018) ................................ Ex. 6

EPA, Considerations for Identifying Maintenance Receptors for Use in Clean Air
Act Section 110(a)(2)(D)(i)(I) Interstate Transport State Implementation Plan
Submissions for the 2015 Ozone National Ambient Air Quality Standards
(Oct. 19, 2018) ................................................................................................. Ex. 7

Declaration of Rona Birnbaum, Director of the Clean Air Markets Division, Office
of Atmospheric Protection, Office of Air and Radiation, EPA ......................... Ex. 8

Declaration of Scott Mathias, Director of the Air Quality Policy Division, Office of
Air and Radiation, EPA ................................................................................... Ex. 9
          Case: 23-60069   Document: 110    Page: 3    Date Filed: 03/27/2023




                       CERTIFICATE OF COMPLIANCE

      I hereby certify that, pursuant to paragraph A(6) of this Court’s ECF Filing

Standards, (1) any required privacy redactions have been made in compliance with

5th Cir. R. 25.2.13; (2) the electronic submission is an exact copy of the paper

document in compliance with 5th Cir. R.25.2.1; and (3) the document has been

scanned for viruses with the most recent version of a commercial virus scanning

program and is free of viruses.

Date: March 27, 2023                          /s/ Jin Hyung Lee
                                              JIN HYUNG LEE

                                              Counsel for Respondents


                           CERTIFICATE OF SERVICE

      I hereby certify that the foregoing Motion was filed with the Clerk of the

Court using the CM/ECF system, which will send notification of said filing to the

attorneys of record, who are required to have registered with the Court’s CM/ECF

system.


Date: March 27, 2023                          /s/ Jin Hyung Lee
                                              JIN HYUNG LEE

                                              Counsel for Respondents
       Case: 23-60069     Document: 110    Page: 4   Date Filed: 03/27/2023




                                   EXHIBIT 1

EPA, Final Rule, Air Plan Disapprovals; Interstate Transport of Air Pollution for

the 2015 8-Hour Ozone National Ambient Air Quality Standards, 88 Fed. Reg.

9336 (Feb. 13, 2023)
                                                                   Case: 23-60069                    Document: 110                  Page: 5           Date Filed: 03/27/2023
                                              9336             Federal Register / Vol. 88, No. 29 / Monday, February 13, 2023 / Rules and Regulations

                                              ENVIRONMENTAL PROTECTION                                See the memo ‘‘Regional Dockets                       support the proposals that are now
                                              AGENCY                                                  Containing Additional Supporting                      being finalized in this national action.
                                                                                                      Materials for Final Action on 2015                    These include all public comments,
                                              40 CFR Part 52                                          Ozone NAAQS Good Neighbor SIP                         technical support materials, and other
                                              [EPA–HQ–OAR–2021–0663; EPA–R02–                         Submissions’’ in the docket for this                  files associated with this final action.
                                              OAR–2021–0673; EPA–R03–OAR–2021–                        action. All documents in the dockets are              Each regional docket contains a
                                              0872; EPA–R03–OAR–2021–0873; EPA–                       listed on the https://                                memorandum directing the public to the
                                              R04–OAR–2021–0841; EPA–R05–OAR–                         www.regulations.gov website. Although                 headquarters docket for this final action.
                                              2022–0006; EPA–R06–OAR–2021–0801;                       listed in the index, some information is              While all documents in regional dockets
                                              EPA–R07–OAR–2021–0851; EPA–R08–                         not publicly available, i.e., confidential            are listed in the electronic indexes at
                                              OAR–2022–0315; EPA–R09–OAR–2022–                        business information (CBI) or other                   https://www.regulations.gov, some
                                              0394; EPA–R09–OAR–2022–0138; FRL–                       information whose disclosure is                       information may not be publicly
                                              10209–01–OAR]                                           restricted by statute. Certain other                  available via the online dockets due to
                                                                                                      material, such as copyrighted material,               docket file size restrictions, such as
                                              Air Plan Disapprovals; Interstate
                                                                                                      is not placed on the internet and will be             certain modeling files, or content (e.g.,
                                              Transport of Air Pollution for the 2015
                                                                                                      publicly available only in hard copy                  CBI). Please contact the EPA Docket
                                              8-Hour Ozone National Ambient Air
                                                                                                      form. Publicly available docket                       Center Services for further information.
                                              Quality Standards
                                                                                                      materials are available through https://
                                              AGENCY:  Environmental Protection                       www.regulations.gov or please contact                 B. How is the preamble organized?
                                              Agency (EPA).                                           the person identified in the FOR FURTHER              Table of Contents
                                              ACTION: Final rule; final agency action.                INFORMATION CONTACT section for
                                                                                                                                                            I. General Information
                                                                                                      additional information.                                  A. How can I get copies of this document
                                              SUMMARY:   Pursuant to the Federal Clean                FOR FURTHER INFORMATION CONTACT:                            and other related information?
                                              Air Act (CAA or the Act), the                           General questions concerning this                        B. How is the preamble organized?
                                              Environmental Protection Agency (EPA                    document should be addressed to Mr.                      C. Where do I go if I have state-specific
                                              or the Agency) is finalizing the                        Thomas Uher, Office of Air Quality                          questions?
                                              disapproval of State Implementation                     Planning and Standards, Air Quality                   II. Background and Overview
                                              Plan (SIP) submissions for 19 states                                                                             A. Description of Statutory Background
                                                                                                      Policy Division, Mail Code C539–04,                      B. Description of the EPA’s 4-Step
                                              regarding interstate transport and                      109 TW Alexander Drive, Research                            Interstate Transport Framework
                                              finalizing a partial approval and partial               Triangle Park, NC 27711; telephone                       C. Background on the EPA’s Ozone
                                              disapproval of elements of the SIP                      number: (919) 541–5534; email address:                      Transport Modeling Information
                                              submission for two states for the 2015                  uher.thomas@epa.gov.                                     D. The EPA’s Approach to Evaluating
                                              8-hour ozone national ambient air                       SUPPLEMENTARY INFORMATION:                                  Interstate Transport SIPs for the 2015 8-
                                              quality standards (NAAQS). The ‘‘good                                                                               Hour Ozone NAAQS
                                                                                                      Throughout this document ‘‘we,’’ ‘‘us,’’
                                              neighbor’’ or ‘‘interstate transport’’                                                                        III. The EPA’s Updated Air Quality and
                                                                                                      and ‘‘our’’ refer to the EPA.                               Contribution Analysis
                                              provision requires that each state’s SIP                   References to section numbers in                      A. Description of Air Quality Modeling for
                                              contain adequate provisions to prohibit                 roman numeral refer to sections of this                     the Final Action
                                              emissions from within the state from                    preamble unless otherwise specified.                     B. Air Quality Modeling To Identify
                                              significantly contributing to                                                                                       Nonattainment and Maintenance
                                              nonattainment or interfering with                       I. General Information                                      Receptors
                                              maintenance of the NAAQS in other                       A. How can I get copies of this                          C. Air Quality Modeling To Quantify
                                              states. This requirement is part of the                 document and other related                                  Upwind State Contributions
                                              broader set of ‘‘infrastructure’’                                                                             IV. Summary of Bases for Disapproval
                                                                                                      information?                                             A. Alabama
                                              requirements, which are designed to
                                                                                                        The EPA established a Headquarters                     B. Arkansas
                                              ensure that the structural components of                                                                         C. California
                                                                                                      docket for this action under Docket ID
                                              each state’s air quality management                                                                              D. Illinois
                                                                                                      No. EPA–HQ–OAR–2021–0663 and
                                              program are adequate to meet the state’s                                                                         E. Indiana
                                                                                                      several regional dockets. All documents
                                              responsibilities under the CAA.                                                                                  F. Kentucky
                                                                                                      in the docket are listed in the electronic               G. Louisiana
                                              Disapproving a SIP submission
                                                                                                      indexes, which, along with publicly                      H. Maryland
                                              establishes a 2-year deadline for the
                                                                                                      available documents, are available at                    I. Michigan
                                              EPA to promulgate Federal
                                                                                                      https://www.regulations.gov. Publicly                    J. Minnesota
                                              Implementation Plans (FIPs) to address                                                                           K. Mississippi
                                                                                                      available docket materials are also
                                              the relevant requirements, unless the                                                                            L. Missouri
                                                                                                      available in hard copy at the Air and
                                              EPA approves a subsequent SIP                                                                                    M. Nevada
                                                                                                      Radiation Docket and Information
                                              submission that meets these                                                                                      N. New Jersey
                                                                                                      Center, EPA/DC, William Jefferson
                                              requirements. Disapproval does not start                                                                         O. New York
                                                                                                      Clinton West Building, Room 3334,                        P. Ohio
                                              a mandatory sanctions clock. The EPA
                                                                                                      1301 Constitution Avenue NW,                             Q. Oklahoma
                                              is deferring final action at this time on
                                                                                                      Washington, DC. Some information in                      R. Texas
                                              the disapprovals it proposed for
                                                                                                      the docket may not be publicly available                 S. Utah
                                              Tennessee and Wyoming.                                                                                           T. West Virginia
                                                                                                      via the online docket due to docket file
                                              DATES: The effective date of this final                 size restrictions, such as certain                       U. Wisconsin
khammond on DSKJM1Z7X2PROD with RULES2




                                              rule is March 15, 2023.                                 modeling files, or content (e.g., CBI). For           V. Response to Key Comments
                                              ADDRESSES: The EPA has established a                                                                             A. SIP Evaluation Process
                                                                                                      further information on the EPA Docket
                                                                                                                                                               B. Application of the 4-Step Interstate
                                              docket for this action under Docket ID                  Center services and the current status,                     Transport Framework
                                              No. EPA–HQ–OAR–2021–0663.                               please visit us online at https://                       C. Good Neighbor Provision Policy
                                              Additional supporting materials                         www.epa.gov/dockets.                                  VI. Statutory and Executive Orders Reviews
                                              associated with this final action are                     The EPA also established dockets in                    A. Executive Orders 12866: Regulatory
                                              included in certain regional dockets.                   each of the EPA Regional offices to help                    Planning and Executive Order 13563:



                                         VerDate Sep<11>2014   17:17 Feb 10, 2023   Jkt 259001   PO 00000   Frm 00002   Fmt 4701   Sfmt 4700   E:\FR\FM\13FER2.SGM   13FER2
                                                                   Case: 23-60069                    Document: 110                  Page: 6           Date Filed: 03/27/2023
                                                                Federal Register / Vol. 88, No. 29 / Monday, February 13, 2023 / Rules and Regulations                                                 9337

                                                   Improving Regulation and Regulatory                  G. Executive Order 13045: Protection of               K. Congressional Review Act (CRA)
                                                   Review                                                  Children From Environmental Health                 L. Judicial Review
                                                 B. Paperwork Reduction Act (PRA)                          and Safety Risks
                                                 C. Regulatory Flexibility Act (RFA)                    H. Executive Order 13211: Actions That              C. Where do I go if I have state-specific
                                                                                                           Significantly Affect Energy Supply,              questions?
                                                 D. Unfunded Mandates Reform Act of 1995
                                                                                                           Distribution or Use
                                                   (UMRA)                                               I. National Technology Transfer and                   The following table identifies the
                                                 E. Executive Order 13132: Federalism                      Advancement Act (NTTAA)                          states covered by this final action along
                                                 F. Executive Order 13175: Consultation                 J. Executive Order 12898: Federal Actions
                                                   and Coordination With Indian Tribal
                                                                                                                                                            with an EPA Regional office contact
                                                                                                           To Address Environmental Justice in
                                                   Governments                                             Minority Populations and Low-Income              who can respond to questions about
                                                                                                           Populations                                      specific SIP submissions.

                                                                                                      Regional offices                                                                      States

                                              EPA Region 2: Kenneth Fradkin, Air and Radiation Division/Air Programs Branch, EPA Region 2, 290 Broadway,                        New Jersey, New York.
                                               25th Floor, New York, NY 10007.
                                              EPA Region 3: Mike Gordon, Planning and Implementation Branch, EPA Region III, 1600 JFK Boulevard, Phila-                         Maryland, West Virginia.
                                               delphia, Pennsylvania 19103.
                                              EPA Region 4: Evan Adams, Air and Radiation Division/Air Planning and Implementation Branch, EPA Region IV,                       Alabama, Kentucky, Mis-
                                               61 Forsyth Street SW, Atlanta, Georgia 30303.                                                                                      sissippi.
                                              EPA Region 5: Olivia Davidson, Air & Radiation Division/Air Programs Branch, EPA Region V, 77 W. Jackson                          Indiana, Illinois, Michigan,
                                               Boulevard, Chicago, Illinois 60604–3511.                                                                                           Minnesota, Ohio, Wis-
                                                                                                                                                                                  consin.
                                              EPA Region 6: Sherry Fuerst, Air and Radiation Division, EPA Region 6, 1201 Elm Street, Suite 500, Dallas,                        Arkansas, Louisiana, Okla-
                                               Texas 75270.                                                                                                                       homa, Texas.
                                              EPA Region 7: William Stone, Air and Radiation Division, Air Quality Planning Branch, EPA Region VII, 11201                       Missouri.
                                               Renner Boulevard, Lenexa, Kansas 66219.
                                              EPA Region 8: Adam Clark, Air and Radiation Division, EPA, Region VIII, Mailcode 8ARD–IO, 1595 Wynkoop                            Utah.
                                               Street, Denver, Colorado 80202.
                                              EPA Region 9: Tom Kelly, Air and Radiation Division, EPA Region IX, 75 Hawthorne St., San Francisco, Cali-                        California, Nevada.
                                               fornia 94105.



                                              II. Background and Overview                             transport’’ provision, which generally                On May 24, 2022, the EPA proposed to
                                                 The following provides background                    requires SIPs to contain adequate                     disapprove four additional good
                                              for the EPA’s final action on these SIP                 provisions to prohibit in-state emissions             neighbor SIP submissions from the
                                              submissions related to the interstate                   activities from having certain adverse                States of California, Nevada, Utah, and
                                              transport requirements for the 2015 8-                  air quality effects on other states due to            Wyoming.6 On October 25, 2022, the
                                              hour ozone NAAQS (2015 ozone                            interstate transport of pollution. There              EPA proposed to disapprove a new good
                                              NAAQS).                                                 are two so-called ‘‘prongs’’ within CAA               neighbor SIP submission from Alabama
                                                                                                      section 110(a)(2)(D)(i)(I). A SIP for a               submitted on June 21, 2022.7 The EPA
                                              A. Description of Statutory Background                  new or revised NAAQS must contain                     is deferring action on the proposals
                                                On October 1, 2015, the EPA                           adequate provisions prohibiting any                   related to the good neighbor SIP
                                              promulgated a revision to the ozone                     source or other type of emissions                     submissions from Tennessee and
                                              NAAQS (2015 ozone NAAQS), lowering                      activity within the state from emitting               Wyoming at this time. As explained in
                                              the level of both the primary and                       air pollutants in amounts that will                   the notifications of proposed
                                              secondary standards to 0.070 parts per                  significantly contribute to                           disapproval, the EPA’s justification for
                                              million (ppm) for the 8-hour standard.1                 nonattainment of the NAAQS in another                 each of these proposals applies uniform,
                                              Section 110(a)(1) of the CAA requires                   state (prong 1) or interfere with                     nationwide analytical methods, policy
                                              states to submit, within 3 years after                  maintenance of the NAAQS in another                   judgments, and interpretation with
                                              promulgation of a new or revised                        state (prong 2). The EPA and states must              respect to the same CAA obligations,
                                              standard, SIP submissions 2 meeting the                 give independent significance to prong                i.e., implementation of good neighbor
                                              applicable requirements of section                      1 and prong 2 when evaluating                         requirements under CAA section
                                              110(a)(2).3 One of these applicable                     downwind air quality problems under                   110(a)(2)(D)(i)(I) for the 2015 ozone
                                              requirements is found in CAA section                    CAA section 110(a)(2)(D)(i)(I).4                      NAAQS for states across the country.
                                              110(a)(2)(D)(i)(I), otherwise known as                     On February 22, 2022, the EPA
                                                                                                                                                            The EPA’s final action is likewise based
                                              the ‘‘good neighbor’’ or ‘‘interstate                   proposed to disapprove 19 good
                                                                                                                                                            on this common core of determinations.
                                                                                                      neighbor SIP submissions from the
                                                                                                                                                            As indicated at proposal, the EPA is
                                                 1 National Ambient Air Quality Standards for         States of Alabama, Arkansas, Illinois,
                                                                                                                                                            taking a consolidated, single final action
                                              Ozone, Final Rule, 80 FR 65292 (October 26, 2015).      Indiana, Kentucky, Louisiana,
                                              Although the level of the standard is specified in      Maryland, Michigan, Minnesota,
                                              the units of ppm, ozone concentrations are also                                                               (February 22, 2022) (Kentucky); 87 FR 9484
                                              described in parts per billion (ppb). For example,
                                                                                                      Mississippi, Missouri, New Jersey, New                (February 22, 2022) (New Jersey, New York); 87 FR
                                              0.070 ppm is equivalent to 70 ppb.                      York, Ohio, Oklahoma, Tennessee,                      9463 (February 22, 2022) (Maryland); 87 FR 9533
khammond on DSKJM1Z7X2PROD with RULES2




                                                 2 The terms ‘‘submission,’’ ‘‘revision,’’ and        Texas, West Virginia, and Wisconsin.5                 (February 22, 2022) (Missouri); 87 FR 9516
                                              ‘‘submittal’’ are used interchangeably in this                                                                (February 22, 2022) (West Virginia).
                                              document.                                                 4 See North Carolina v. EPA, 531 F.3d 896, 909–       6 87 FR 31443 (May 24, 2022) (California); 87 FR
                                                 3 SIP revisions that are intended to meet the        11 (D.C. Cir. 2008) (North Carolina).                 31485 (May 24, 2022) (Nevada); 87 FR 31470 (May
                                              applicable requirements of section 110(a)(1) and (2)      5 87 FR 9545 (February 22, 2022) (Alabama,          24, 2022) (Utah); 87 FR 31495 (May 24, 2022)
                                              of the CAA are often referred to as infrastructure      Mississippi, Tennessee); 87 FR 9798 (February 22,     (Wyoming).
                                              SIPs and the applicable elements under CAA              2022) (Arkansas, Louisiana, Oklahoma, Texas); 87        7 87 FR 64412 (October 25, 2022) (Alabama).

                                              section 110(a)(2) are referred to as infrastructure     FR 9838 (February 22, 2022) (Illinois, Indiana,       Alabama withdrew its original good neighbor SIP
                                              requirements.                                           Michigan, Minnesota, Ohio, Wisconsin); 87 FR 9498     submission on April 21, 2022. Id. at 64419.



                                         VerDate Sep<11>2014   17:17 Feb 10, 2023   Jkt 259001   PO 00000   Frm 00003   Fmt 4701   Sfmt 4700   E:\FR\FM\13FER2.SGM   13FER2
                                                                    Case: 23-60069                    Document: 110                 Page: 7           Date Filed: 03/27/2023
                                              9338              Federal Register / Vol. 88, No. 29 / Monday, February 13, 2023 / Rules and Regulations

                                              on the proposed SIP disapprovals.8                      stakeholders on EPA’s prior interstate                C. Background on the EPA’s Ozone
                                              Included in this document is final                      transport rulemakings and SIP actions,13              Transport Modeling Information
                                              action on 2015 ozone NAAQS interstate                   as well as a number of court decisions,                  In general, the EPA has performed
                                              transport SIPs addressing CAA section                   the EPA has developed and used the                    nationwide air quality modeling to
                                              110(a)(2)(D)(i)(I) for Alabama, Arkansas,               following 4-step interstate transport                 project ozone design values, which are
                                              California, Illinois, Indiana, Kentucky,                framework to evaluate a state’s                       used in combination with measured
                                              Louisiana, Maryland, Michigan,                          obligations to eliminate interstate                   data to identify nonattainment and
                                              Minnesota, Mississippi, Missouri,                       transport emissions under the interstate              maintenance receptors at Step 1. To
                                              Nevada, New Jersey, New York, Ohio,                     transport provision for the ozone                     quantify the contribution of emissions
                                              Oklahoma, Texas, Utah, West Virginia,                   NAAQS: (1) Identify monitoring sites                  from specific upwind states on 2023
                                              and Wisconsin. The 2015 ozone NAAQS                     that are projected to have problems                   ozone design values for the identified
                                              interstate transport SIP submissions                    attaining and/or maintaining the                      downwind nonattainment and
                                              addressing CAA section                                                                                        maintenance receptors at Step 2, the
                                                                                                      NAAQS (i.e., nonattainment and/or
                                              110(a)(2)(D)(i)(I) for Tennessee and                                                                          EPA performed nationwide, state-level
                                                                                                      maintenance receptors); (2) identify
                                              Wyoming will be addressed in a                                                                                ozone source apportionment modeling
                                              separate action.                                        states that impact those air quality
                                                                                                      problems in other (i.e., downwind)                    for 2023. The source apportionment
                                              B. Description of the EPA’s 4-Step                      states sufficiently such that the states              modeling projected contributions to
                                              Interstate Transport Framework                          are considered ‘‘linked’’ and therefore               ozone at receptors from precursor
                                                                                                      warrant further review and analysis; (3)              emissions of anthropogenic nitrogen
                                                 The EPA used a 4-step interstate
                                                                                                      identify the emissions reductions                     oxides (NOX) and volatile organic
                                              transport framework (or 4-step
                                                                                                                                                            compounds (VOCs) in individual
                                              framework) to evaluate each state’s                     necessary (if any), applying a
                                                                                                                                                            upwind states.
                                              implementation plan submission                          multifactor analysis, to eliminate each                  The EPA has released several
                                              addressing the interstate transport                     linked upwind state’s significant                     documents containing projected design
                                              provision for the 2015 ozone NAAQS.                     contribution to nonattainment or                      values, contributions, and information
                                              The EPA has addressed the interstate                    interference with maintenance of the                  relevant to air agencies for evaluating
                                              transport requirements of CAA section                   NAAQS at the locations identified in                  interstate transport with respect to the
                                              110(a)(2)(D)(i)(I) with respect to prior                Step 1; and (4) adopt permanent and                   2015 ozone NAAQS. First, on January 6,
                                              NAAQS in several regulatory actions,                    enforceable measures needed to achieve                2017, the EPA published a notice of data
                                              including the Cross-State Air Pollution                 those emissions reductions.                           availability (NODA) in which the
                                              Rule (CSAPR), which addressed                                                                                 Agency requested comment on
                                              interstate transport with respect to the                   The general steps of this framework
                                                                                                      allow for some methodological                         preliminary interstate ozone transport
                                              1997 ozone NAAQS as well as the 1997                                                                          data including projected ozone design
                                              and 2006 fine particulate matter                        variation, and this can be seen in the
                                                                                                      evolution of the EPA’s analytical                     values and interstate contributions for
                                              standards,9 the Cross-State Air Pollution                                                                     2023 using a 2011 base year platform.14
                                              Rule Update (CSAPR Update) 10 and the                   process across its prior rulemakings.
                                                                                                      This also means states have some                      In the NODA, the EPA used the year
                                              Revised CSAPR Update, both of which                                                                           2023 as the analytic year for this
                                              addressed the 2008 ozone NAAQS.11                       flexibility in developing analytical
                                                                                                                                                            preliminary modeling because that year
                                                 Shaped through the years by input                    methods within this framework (and
                                                                                                                                                            aligns with the expected attainment year
                                              from state air agencies 12 and other                    may also attempt to justify an
                                                                                                                                                            for Moderate ozone nonattainment areas
                                                                                                      alternative framework altogether). The                for the 2015 ozone NAAQS.15 On
                                                 8 In its proposals, the EPA stated ‘‘The EPA may
                                                                                                      four steps of the framework simply                    October 27, 2017, the EPA released a
                                              take a consolidated, single final action on all the     provide a reasonable organization to the
                                              proposed SIP disapproval actions with respect to                                                              memorandum (October 2017
                                              obligations under CAA section 110(a)(2)(D)(i)(I) for    analysis of the complex air quality                   memorandum) containing updated
                                              the 2015 ozone NAAQS. Should EPA take a single          challenge of interstate ozone transport.              modeling data for 2023, which
                                              final action on all such disapprovals, this action      As discussed further throughout this
                                              would be nationally applicable, and the EPA would                                                             incorporated changes made in response
                                              also anticipate, in the alternative, making and
                                                                                                      document, the EPA has organized its                   to comments on the NODA, and was
                                              publishing a finding that such final action is based    evaluation of the states’ SIP submissions             intended to provide information to
                                              on a determination of nationwide scope or effect.’’     around this analytical framework                      assist states’ efforts to develop SIP
                                              E.g., 87 FR 9463, 9475 n.51.                            (including the specific methodologies
                                                 9 See Federal Implementation Plans: Interstate
                                                                                                                                                            submissions to address interstate
                                              Transport of Fine Particulate Matter and Ozone and
                                                                                                      within each step as evolved over the                  transport obligations for the 2008 ozone
                                              Correction of SIP Approvals, 76 FR 48208 (August        course of the CSAPR rulemakings since                 NAAQS.16 On March 27, 2018, the EPA
                                              8, 2011).                                               2011), but where states presented                     issued a memorandum (March 2018
                                                 10 Cross-State Air Pollution Rule Update for the
                                                                                                      alternative approaches either to the                  memorandum) noting that the same
                                              2008 Ozone NAAQS, 81 FR 74504 (October 26,              EPA’s methodological approaches
                                              2016).                                                                                                        2023 modeling data released in the
                                                 11 In 2019, the United States Court of Appeals for   within the framework, or organized
                                              the District of Columbia Circuit (D.C. Circuit)         their analysis in some manner that                      14 See Notice of Availability of the Environmental

                                              remanded CSAPR Update to the extent it failed to        differed from it entirely, we have                    Protection Agency’s Preliminary Interstate Ozone
                                              require upwind states to eliminate their significant                                                          Transport Modeling Data for the 2015 8-hour Ozone
                                                                                                      evaluated those analyses on their merits              National Ambient Air Quality Standard (NAAQS),
                                              contribution by the next applicable attainment date
                                              by which downwind states must come into                 or, in some cases, identified why even                82 FR 1733 (January 6, 2017).
                                              compliance with the NAAQS, as established under         if those approaches were acceptable, the                15 See 82 FR 1733, 1735 (January 6, 2017).
khammond on DSKJM1Z7X2PROD with RULES2




                                              CAA section 181(a). Wisconsin v. EPA, 938 F.3d          state still does not have an approvable                 16 See Information on the Interstate Transport
                                              303, 313 (D.C. Cir. 2019) (Wisconsin). The Revised                                                            State Implementation Plan Submissions for the
                                              CSAPR Update for the 2008 Ozone NAAQS, 86 FR
                                                                                                      SIP submission as a whole.
                                                                                                                                                            2008 Ozone National Ambient Air Quality
                                              23054 (April 30, 2021), responded to the remand of                                                            Standards under Clean Air Act Section
                                              CSAPR Update in Wisconsin and the vacatur of a            13 In addition to CSAPR rulemakings, other          110(a)(2)(D)(i)(I), October 27, 2017 (‘‘October 2017
                                              separate rule, the ‘‘CSAPR Close-Out,’’ 83 FR 65878     regional rulemakings addressing ozone transport       memorandum’’), available in Docket No. EPA–HQ–
                                              (December 21, 2018), in New York v. EPA, 781 F.         include the ‘‘NOX SIP Call,’’ 63 FR 57356 (October    OAR–2021–0663 or at https://www.epa.gov/
                                              App’x. 4 (D.C. Cir. 2019).                              27, 1998), and the ‘‘Clean Air Interstate Rule’’      interstate-air-pollution-transport/interstate-air-
                                                 12 See 63 FR 57356, 57361 (October 27, 1998).        (CAIR), 70 FR 25162 (May 12, 2005).                   pollution-transport-memos-and-notices.



                                         VerDate Sep<11>2014   17:17 Feb 10, 2023   Jkt 259001   PO 00000   Frm 00004   Fmt 4701   Sfmt 4700   E:\FR\FM\13FER2.SGM   13FER2
                                                                   Case: 23-60069                    Document: 110                  Page: 8           Date Filed: 03/27/2023
                                                               Federal Register / Vol. 88, No. 29 / Monday, February 13, 2023 / Rules and Regulations                                                 9339

                                              October 2017 memorandum could also                      joint effort by the EPA, MJOs, and states             and technically appropriate information
                                              be useful for identifying potential                     to develop a new, more recent emissions               for the proposed rulemakings that were
                                              downwind air quality problems with                      platform for use by the EPA and states                issued earlier in 2022.
                                              respect to the 2015 ozone NAAQS at                      in regulatory modeling as an                             The EPA invited and received
                                              Step 1 of the 4-step interstate transport               improvement over the dated, 2011-                     comments on the 2016v2 emissions
                                              framework.17 The March 2018                             based platform that the EPA had used to               inventories and modeling that were
                                              memorandum also included the then                       project ozone design values and                       used to support proposals related to
                                              newly available contribution modeling                   contribution data provided in the 2017                2015 ozone NAAQS interstate transport.
                                              data for 2023 to assist states in                       and 2018 memoranda. The EPA used                      (The EPA had earlier published the
                                              evaluating their impact on potential                    the 2016v1 emissions to project ozone                 emissions inventories on its website in
                                              downwind air quality problems for the                   design values and contributions for                   September of 2021 and invited initial
                                              2015 ozone NAAQS under Step 2 of the                    2023. On October 30, 2020, in the notice              feedback from states and other
                                              4-step interstate transport framework.18                of proposed rulemaking for the Revised                interested stakeholders.24) In response
                                              The EPA subsequently issued two more                    CSAPR Update, the EPA released and                    to these comments, the EPA made a
                                              memoranda in August and October                         accepted public comment on 2023                       number of updates to the 2016v2
                                              2018, providing additional information                  modeling that used the 2016v1                         inventories and model design to
                                              to states developing interstate transport               emissions platform.21 Although the                    construct a 2016v3 emissions platform
                                              SIP submissions for the 2015 ozone                      Revised CSAPR Update addressed                        which was used to update the air
                                              NAAQS concerning, respectively,                         transport for the 2008 ozone NAAQS,                   quality modeling. The EPA made
                                              potential contribution thresholds that                  the projected design values and                       additional updates to its modeling in
                                              may be appropriate to apply in Step 2                   contributions from the 2016v1 platform                response to comments as well. The EPA
                                              of the 4-step interstate transport                      were also useful for identifying                      is now using this updated modeling to
                                              framework, and considerations for                       downwind ozone problems and linkages                  inform its final action on these SIP
                                              identifying downwind areas that may                     with respect to the 2015 ozone                        submissions. Details on the air quality
                                              have problems maintaining the standard                  NAAQS.22                                              modeling and the methods for
                                              at Step 1 of the 4-step interstate                         Following the final Revised CSAPR                  projecting design values and
                                              transport framework.19                                  Update, the EPA made further updates                  determining contributions in 2023 are
                                                 Following the release of the modeling                to the 2016-based emissions platform to               described in Section III and in the TSD
                                              data shared in the March 2018                           include updated onroad mobile                         titled ‘‘Air Quality Modeling TSD for
                                              memorandum, the EPA performed                           emissions from Version 3 of the EPA’s                 the 2015 8-hour ozone NAAQS
                                              updated modeling using a 2016-based                     Motor Vehicle Emission Simulator                      Transport SIP Final Actions’’, hereafter
                                              emissions modeling platform (i.e.,                      (MOVES) model (MOVES3) 23 and                         known as the Final Action AQM
                                              2016v1). This emissions platform was                    updated emissions projections for                     TSD.25 26 Additional details related to
                                              developed under the EPA/Multi-                          electric generating units (EGUs) that                 the updated 2016v3 emissions platform
                                              Jurisdictional Organization (MJO)/state                 reflect the emissions reductions from                 are located in the TSD titled
                                              collaborative project.20 This                           the Revised CSAPR Update, recent                      ‘‘Preparation of Emissions Inventories
                                              collaborative project was a multi-year                  information on plant closures, and other              for the 2016v3 North American
                                                                                                      inventory improvements. The construct                 Emissions Modeling Platform,’’
                                                 17 See Information on the Interstate Transport
                                                                                                      of the updated emissions platform,                    hereafter known as the 2016v3
                                              State Implementation Plan Submissions for the           2016v2, is described in the ‘‘Technical               Emissions Modeling TSD, included in
                                              2015 Ozone National Ambient Air Quality
                                              Standards under Clean Air Act Section                   Support Document (TSD): Preparation                   Docket ID No. EPA–HQ–OAR–2021–
                                              110(a)(2)(D)(i)(I), March 27, 2018 (‘‘March 2018        of Emissions Inventories for the 2016v2               0663.27
                                              memorandum’’), available in Docket No. EPA–HQ–          North American Emissions Modeling
                                              OAR–2021–0663 or at https://www.epa.gov/                                                                      D. The EPA’s Approach To Evaluating
                                              interstate-air-pollution-transport/interstate-air-
                                                                                                      Platform,’’ hereafter known as the                    Interstate Transport SIPs for the 2015
                                              pollution-transport-memos-and-notices.                  2016v2 Emissions Modeling TSD, and is                 Ozone NAAQS
                                                 18 The March 2018 memorandum, however,               included in Docket No. EPA–HQ–OAR–
                                              provided, ‘‘While the information in this               2021–0663. The EPA performed air                         The EPA is applying a consistent set
                                              memorandum and the associated air quality               quality modeling using the 2016v2                     of policy judgments across all states for
                                              analysis data could be used to inform the                                                                     purposes of evaluating interstate
                                              development of these SIPs, the information is not       emissions to provide projections of
                                              a final determination regarding states’ obligations     ozone design values and contributions                 transport obligations and the
                                              under the good neighbor provision. Any such             in 2023 that reflect the effects on air               approvability of interstate transport SIP
                                              determination would be made through notice-and-
                                                                                                      quality of the 2016v2 emissions                       submissions for the 2015 ozone NAAQS
                                              comment rulemaking.’’ March 2018 memorandum                                                                   under CAA section 110(a)(2)(D)(i)(I).
                                              at 2.                                                   platform. The results of the 2016v2
                                                 19 See Analysis of Contribution Thresholds for       modeling were used by the EPA as part                 These policy judgments conform with
                                              Use in Clean Air Act Section 110(a)(2)(D)(i)(I)         of the Agency’s evaluation of state SIP               relevant case law and past agency
                                              Interstate Transport State Implementation Plan          submissions with respect to Steps 1 and               practice as reflected in CSAPR and
                                              Submissions for the 2015 Ozone National Ambient
                                                                                                      2 of the 4-step interstate transport                  related rulemakings. Employing a
                                              Air Quality Standards, August 31, 2018) (‘‘August                                                             nationally consistent approach is
                                              2018 memorandum’’); Considerations for                  framework at the proposal stage of this
                                              Identifying Maintenance Receptors for Use in Clean      action. By using the 2016v2 modeling                    24 https://www.epa.gov/air-emissions-modeling/
                                              Air Act Section 110(a)(2)(D)(i)(I) Interstate
                                              Transport State Implementation Plan Submissions
                                                                                                      results, the EPA used the most current                2016v2-platform.
                                                                                                                                                              25 See Final Action AQM TSD in Docket ID No.
                                              for the 2015 Ozone National Ambient Air Quality
khammond on DSKJM1Z7X2PROD with RULES2




                                                                                                        21 See 85 FR 68964, 68981 (October 30, 2020).       EPA–HQ–OAR–2021–0663
                                              Standards, October 19, 2018 (‘‘October 2018
                                              memorandum’’), available in Docket No. EPA–HQ–            22 See the Air Quality Modeling Technical             26 References to section numbers in roman

                                              OAR–2021–0663 or at https://www.epa.gov/                Support Document for the Final Revised Cross-State    numeral refer to sections of this preamble unless
                                              airmarkets/memo-and-supplemental-information-           Air Pollution Rule Update, included in Docket No.     otherwise specified, and references to section
                                              regarding-interstate-transport-sips-2015-ozone-         EPA–HQ–OAR–2021–0663.                                 numbers in numeric form refer to the Response to
                                              naaqs.                                                    23 86 FR 1106. Additional details and               Comments document for this final action included
                                                 20 The results of this modeling, as well as the      documentation related to the MOVES3 model can         in the docket.
                                              underlying modeling files, are included in Docket       be found at https://www.epa.gov/moves/latest-           27 See 2016v3 Emissions Modeling TSD in Docket

                                              No. EPA–HQ–OAR–2021–0663.                               version-motor-vehicle-emission-simulator-moves.       ID No. EPA–HQ–OAR–2021–0663.



                                         VerDate Sep<11>2014   17:17 Feb 10, 2023   Jkt 259001   PO 00000   Frm 00005   Fmt 4701   Sfmt 4700   E:\FR\FM\13FER2.SGM   13FER2
                                                                   Case: 23-60069                     Document: 110                  Page: 9            Date Filed: 03/27/2023
                                              9340              Federal Register / Vol. 88, No. 29 / Monday, February 13, 2023 / Rules and Regulations

                                              particularly important in the context of                as the EPA or others may have                             guidance, but was intended to generate
                                              interstate ozone transport, which is a                  identified or suggested in the past, the                  further discussion around potential
                                              regional-scale pollution problem                        EPA evaluated whether the state                           approaches to addressing ozone
                                              involving many smaller contributors.                    adequately justified the technical and                    transport among interested stakeholders.
                                              Effective policy solutions to the problem               legal basis for doing so. For example,                    To the extent states sought to develop or
                                              of interstate ozone transport going back                the EPA has considered the arguments                      rely on one or more of these ideas in
                                              to the NOX SIP Call have necessitated                   put forward by Alabama, Missouri,                         support of their SIP submissions, the
                                              the application of a uniform framework                  Ohio, Oklahoma, Texas, and Utah                           EPA reviewed their technical and legal
                                              of policy judgments to ensure an                        related to alternative methods of                         justifications for doing so.35
                                              ‘‘efficient and equitable’’ approach. See               identifying receptors.29 The EPA also                        The remainder of this section
                                              EPA v. EME Homer City Generation, LP,                   has considered the arguments                              describes the EPA’s analytical
                                              572 U.S. 489, 519 (2014) (EME Homer                     attempting to justify an alternative                      framework with respect to analytic year,
                                              City). Some comments on EPA’s                           contribution threshold at Step 2                          definition of nonattainment and
                                              proposed SIP disapprovals claim the                     pursuant to the August 2018                               maintenance receptors, selection of
                                              EPA is imposing non-statutory                           memorandum made by Alabama,                               contribution threshold, and multifactor
                                              requirements onto SIPs or that the EPA                  Arkansas, Illinois, Indiana, Kentucky,                    control strategy assessment.
                                              must allow states to take inconsistent                  Louisiana, Michigan, Mississippi,
                                                                                                                                                                1. Selection of Analytic Year
                                              approaches to implementing good                         Missouri, Oklahoma, and Utah,30 as
                                              neighbor requirements. Both views are                   well as criticisms of the 1 percent of the                   In general, the states and the EPA
                                              incorrect; the EPA’s use of its                         NAAQS contribution threshold made by                      must implement the interstate transport
                                              longstanding framework to evaluate                      Nevada and Ohio.31 These topics are                       provision in a manner ‘‘consistent with
                                              these SIP submissions reflects a                        further addressed in Section V.B as well                  the provisions of [title I of the CAA.]’’
                                              reasonable and consistent approach to                   as the RTC document.                                      See CAA section 110(a)(2)(D)(i). This
                                              implementing the requirements of CAA                       The EPA notes that certain potential                   requires, among other things, that these
                                              section 110(a)(2)(D)(i)(I), while                       concepts included in an attachment to                     obligations are addressed consistently
                                              remaining open to alternative                           the March 2018 memorandum require                         with the timeframes for downwind areas
                                              approaches states may present. These                    unique consideration, and these ideas                     to meet their CAA obligations. With
                                              comments are further addressed in                       do not constitute agency guidance with                    respect to ozone NAAQS, under CAA
                                              Section V and the Response to Comment                   respect to interstate transport                           section 181(a), this means obligations
                                              (RTC) document contained in the docket                  obligations for the 2015 ozone NAAQS.                     must be addressed ‘‘as expeditiously as
                                              for this action, Docket ID No. EPA–HQ–                  Attachment A to the March 2018                            practicable’’ and no later than the
                                              OAR–2021–0663.                                          memorandum identified a ‘‘Preliminary                     schedule of attainment dates provided
                                                 In the March, August, and October                    List of Potential Flexibilities’’ that could              in CAA section 181(a)(1).36 Several D.C.
                                              2018 memoranda, the EPA recognized                      potentially inform SIP development.                       Circuit court decisions address the issue
                                              that states may be able to establish                    However, the EPA made clear in both                       of the relevant analytic year for the
                                              alternative approaches to addressing                    the March 2018 memorandum 32 and in                       purposes of evaluating ozone transport
                                              their interstate transport obligations for              Attachment A that the list of ideas was                   air-quality problems. On September 13,
                                              the 2015 ozone NAAQS that vary from                     not endorsed by the Agency but rather                     2019, the D.C. Circuit issued a decision
                                              a nationally uniform framework. The                     ‘‘comments provided in various forums’’                   in Wisconsin, remanding the CSAPR
                                              EPA emphasized in these memoranda,                      on which the EPA sought ‘‘feedback                        Update to the extent that it failed to
                                              however, that such alternative                          from interested stakeholders.’’ 33                        require upwind states to eliminate their
                                              approaches must be technically justified                Further, Attachment A stated, ‘‘EPA is                    significant contribution by the next
                                              and appropriate in light of the facts and               not at this time making any                               applicable attainment date by which
                                              circumstances of each particular state’s                determination that the ideas discussed                    downwind states must come into
                                              submission.28 In general, the EPA                       below are consistent with the                             compliance with the NAAQS, as
                                              continues to believe that deviation from                requirements of the CAA, nor are we                       established under CAA section 181(a).
                                              a nationally consistent approach to                     specifically recommending that states                     See 938 F.3d 303, 313.
                                              ozone transport must be substantially                   use these approaches.’’ 34 Attachment A                      On May 19, 2020, the D.C. Circuit
                                              justified and have a well-documented                    to the March 2018 memorandum,                             issued a decision in Maryland v. EPA
                                              technical basis that is consistent with                 therefore, does not constitute agency                     that cited the Wisconsin decision in
                                              CAA obligations and relevant case law.                                                                            holding that the EPA must assess the
                                              Where states submitted SIP submissions                     29 87 FR 64421–64422 (Alabama); 87 FR 9540–            impact of interstate transport on air
                                              that rely on any such potential concepts                9541 (Missouri); 87 FR 9869–9870 (Ohio); 87 FR            quality at the next downwind
                                                                                                      9820–9822 (Oklahoma); 87 FR 9826–9829 (Texas);            attainment date, including Marginal
                                                                                                      and 87 FR 31480–31481 (Utah).
                                                 28 March 2018 memorandum at 3 (‘‘EPA also
                                                                                                         30 87 FR 64423–64424 (Alabama); 87 FR 9806–
                                                                                                                                                                area attainment dates, in evaluating the
                                              notes that, in developing their own rules, states                                                                 basis for the EPA’s denial of a petition
                                                                                                      9807 (Arkansas); 87 FR 9852–9853 (Illinois); 87 FR
                                              have flexibility to follow the familiar four-step
                                              transport framework (using EPA’s analytical
                                                                                                      9855–9856 (Indiana); 87 FR 9509–9510 (Kentucky);          under CAA section 126(b) Maryland v.
                                                                                                      87 FR 9815–9816 (Louisiana); 87 FR 9861–9862
                                              approach or somewhat different analytical
                                                                                                      (Michigan); 87 FR 9557 (Mississippi); 87 FR 9541–            35 E.g., 87 FR 64423–64425 (Alabama); 87 FR
                                              approaches within this steps) or alternative
                                                                                                      9544 (Missouri); 87 FR 9819 (Oklahoma); 87 FR             31453–31454 (California); 87 FR 9852–9854
                                              framework, so long as their chosen approach has
                                                                                                      31478 (Utah).                                             (Illinois); 87 FR 9859–9860 (Indiana); 87 FR 9508,
                                              adequate technical justification and is consistent         31 87 FR 31492 (Nevada); 87 FR 9871 (Ohio).
                                              with the requirements of the CAA.’’); August 2018                                                                 9515 (Kentucky); 87 FR 9861–9862 (Michigan); 87
khammond on DSKJM1Z7X2PROD with RULES2




                                                                                                         32 ‘‘In addition, the memorandum is accompanied
                                              memorandum at 1 (‘‘The EPA and air agencies                                                                       FR 9869–9870 (Ohio); 87 FR 9798, 9818–9820
                                              should consider whether the recommendations in          by Attachment A, which provides a preliminary list        (Oklahoma); 87 FR 31477–31481 (Utah); 87 FR
                                              this guidance are appropriate for each situation.’’);   of potential flexibilities in analytical approaches for   9526–9527 (West Virginia).
                                              October 2018 memorandum at 1 (‘‘Following the           developing a good neighbor SIP that may warrant              36 For attainment dates for the 2015 ozone

                                              recommendations in this guidance does not ensure        further discussion between EPA and states.’’ March        NAAQS, refer to CAA section 181(a), 40 CFR
                                              that EPA will approve a SIP revision in all instances   2018 memorandum at 1.                                     51.1303, and Additional Air Quality Designations
                                                                                                         33 March 2018 memorandum, Attachment A at A–
                                              where the recommendations are followed, as the                                                                    for the 2015 Ozone National Ambient Air Quality
                                              guidance may not apply to the facts and                 1.                                                        Standards, 83 FR 25776 (June 4, 2018, effective
                                              circumstances underlying a particular SIP.’’).             34 Id.                                                 August 3, 2018).



                                         VerDate Sep<11>2014   17:17 Feb 10, 2023   Jkt 259001   PO 00000   Frm 00006   Fmt 4701   Sfmt 4700   E:\FR\FM\13FER2.SGM      13FER2
                                                                   Case: 23-60069                      Document: 110               Page: 10            Date Filed: 03/27/2023
                                                                Federal Register / Vol. 88, No. 29 / Monday, February 13, 2023 / Rules and Regulations                                                9341

                                              EPA, 958 F.3d 1185, 1203–04 (D.C. Cir.                   and it is now past 2021. In this                        In addition, the EPA identifies a
                                              2020) (Maryland). The court noted that                   circumstance, the EPA does not believe               receptor to be a ‘‘maintenance’’ receptor
                                              ‘‘section 126(b) incorporates the Good                   it would be appropriate to evaluate                  for purposes of defining interference
                                              Neighbor Provision,’’ and, therefore,                    states’ obligations under CAA section                with maintenance, consistent with the
                                              ‘‘EPA must find a violation [of section                  110(a)(2)(D)(i)(I) as of an attainment date          method used in CSAPR and upheld by
                                              126] if an upwind source will                            that is wholly in the past, because the              the D.C. Circuit in EME Homer City
                                              significantly contribute to downwind                     Agency interprets the interstate                     Generation, L.P. v. EPA, 795 F.3d 118,
                                              nonattainment at the next downwind                       transport provision as forward looking.              136 (D.C. Cir. 2015) (EME Homer City
                                              attainment deadline. Therefore, the                      See 86 FR 23054, 23074; see also                     II).41 Specifically, the EPA identified
                                              agency must evaluate downwind air                        Wisconsin, 938 F.3d at 322 (rejecting                maintenance receptors as those
                                              quality at that deadline, not at some                    Delaware’s argument that the EPA                     receptors that would have difficulty
                                              later date.’’ Id. at 1204 (emphasis                      should have used an analytic year of                 maintaining the relevant NAAQS in a
                                              added). The EPA interprets the court’s                   2011 instead of 2017). Consequently, in              scenario that takes into account
                                              holding in Maryland as requiring the                     this proposal the EPA will use the                   historical variability in air quality at
                                              states and the Agency, under the good                    analytical year of 2023 to evaluate each             that receptor. The variability in air
                                              neighbor provision, to assess downwind                   state’s CAA section 110(a)(2)(D)(i)(I) SIP           quality was determined by evaluating
                                              air quality as expeditiously as                          submission with respect to the 2015                  the ‘‘maximum’’ future design value at
                                              practicable and no later than the next                   ozone NAAQS.                                         each receptor based on a projection of
                                              applicable attainment date,37 which at                                                                        the maximum measured design value
                                                                                                       2. Step 1 of the 4-Step Interstate
                                              the time of EPA’s proposed and final                                                                          over the relevant period. The EPA
                                                                                                       Transport Framework
                                              actions on the SIPs addressed in this                                                                         interprets the projected maximum
                                              action is the Moderate area attainment                      In Step 1, the EPA identifies                     future design value to be a potential
                                              date under CAA section 181 for ozone                     monitoring sites that are projected to               future air quality outcome consistent
                                              nonattainment. The Moderate area                         have problems attaining and/or                       with the meteorology that yielded
                                              attainment date for the 2015 ozone                       maintaining the NAAQS in the 2023                    maximum measured concentrations in
                                              NAAQS is August 3, 2024.38 Thus, 2023                    analytic year. Where the EPA’s analysis              the ambient data set analyzed for that
                                              is now the appropriate year for analysis                 shows that a site does not fall under the            receptor (i.e., ozone conducive
                                              of interstate transport obligations for the              definition of a nonattainment or                     meteorology). The EPA also recognizes
                                              2015 ozone NAAQS, because the 2023                       maintenance receptor, that site is                   that previously experienced
                                              ozone season is the last relevant ozone                  excluded from further analysis under                 meteorological conditions (e.g.,
                                              season during which achieved                             the EPA’s 4-step interstate transport                dominant wind direction, temperatures,
                                              emissions reductions in linked upwind                    framework. For sites that are identified             air mass patterns) promoting ozone
                                              states could assist downwind states                      as a nonattainment or maintenance                    formation that led to maximum
                                              with meeting the August 3, 2024,                         receptor in 2023, the EPA proceeds to                concentrations in the measured data
                                              Moderate area attainment date for the                    the next step of the 4-step interstate               may reoccur in the future. The
                                              2015 ozone NAAQS.                                        transport framework by identifying                   maximum design value gives a
                                                 The EPA recognizes that the                           which upwind states contribute to those              reasonable projection of future air
                                              attainment date for nonattainment areas                  receptors above the contribution                     quality at the receptor under a scenario
                                              classified as Marginal for the 2015                      threshold.                                           in which such conditions do, in fact,
                                              ozone NAAQS was August 3, 2021.                             The EPA’s approach to identifying
                                                                                                                                                            reoccur. The projected maximum design
                                              Under the Maryland holding, any                          ozone nonattainment and maintenance
                                                                                                                                                            value is used to identify upwind
                                              necessary emissions reductions to                        receptors in this action gives
                                                                                                                                                            emissions that, under those
                                              satisfy interstate transport obligations                 independent consideration to both the
                                                                                                                                                            circumstances, could interfere with the
                                              should have been implemented by no                       ‘‘contribute significantly to
                                                                                                                                                            downwind area’s ability to maintain the
                                              later than this date. At the time of the                 nonattainment’’ and the ‘‘interfere with
                                                                                                                                                            NAAQS.
                                              statutory deadline to submit interstate                  maintenance’’ prongs of CAA section                     Recognizing that nonattainment
                                              transport SIPs (October 1, 2018), many                   110(a)(2)(D)(i)(I), consistent with the              receptors are also, by definition,
                                              states relied upon the EPA’s modeling of                 D.C. Circuit’s direction in North
                                                                                                                                                            maintenance receptors, the EPA often
                                              the year 2023, and no state provided an                  Carolina.39
                                                                                                                                                            uses the term ‘‘maintenance-only’’ to
                                              alternative analysis using a 2021                           The EPA identifies nonattainment
                                                                                                                                                            refer to those receptors that are not
                                              analytic year (or the prior 2020 ozone                   receptors as those monitoring sites that
                                                                                                                                                            nonattainment receptors. Consistent
                                              season). However, the EPA must act on                    are projected to have average design
                                                                                                                                                            with the concepts for maintenance
                                              SIP submissions using the information                    values that exceed the NAAQS and that
                                                                                                                                                            receptors, as described earlier, the EPA
                                              available at the time it takes such action,              are also measuring nonattainment based
                                                                                                                                                            identifies ‘‘maintenance-only’’ receptors
                                                                                                       on the most recent monitored design
                                                                                                                                                            as those monitoring sites that have
                                                 37 The EPA notes that the court in Maryland did       values. This approach is consistent with
                                                                                                                                                            projected average design values above
                                              not have occasion to evaluate circumstances in           prior transport rulemakings, such as the
                                              which the EPA may determine that an upwind                                                                    the level of the applicable NAAQS, but
                                                                                                       CSAPR Update, where the EPA defined
                                              linkage to a downwind air quality problem exists                                                              that are not currently measuring
                                              at Steps 1 and 2 of the interstate transport             nonattainment receptors as those areas
                                                                                                                                                            nonattainment based on the most recent
                                              framework by a particular attainment date, but for       that both currently measure
                                                                                                                                                            official design values. In addition, those
                                              reasons of impossibility or profound uncertainty the     nonattainment and that the EPA projects
                                              Agency is unable to mandate upwind pollution             will be in nonattainment in the analytic
khammond on DSKJM1Z7X2PROD with RULES2




                                              controls by that date. See Wisconsin, 938 F.3d at                                                             and modeling to define nonattainment receptor,
                                              320. The D.C. Circuit noted in Wisconsin that upon       year (i.e., 2023).40                                 was also applied in CAIR. See 70 FR 25241, 25249
                                              a sufficient showing, these circumstances may                                                                 (January 14, 2005); see also North Carolina, 531
                                              warrant flexibility in effectuating the purpose of the     39 See North Carolina, 531 F.3d at 910–11          F.3d at 913–14 (affirming as reasonable the EPA’s
                                              interstate transport provision.                          (holding that the EPA must give ‘‘independent        approach to defining nonattainment in CAIR).
                                                 38 See CAA section 181(a); 40 CFR 51.1303;            significance’’ to each prong of CAA section             41 See 76 FR 48208 (August 8, 2011). The CSAPR

                                              Additional Air Quality Designations for the 2015         110(a)(2)(D)(i)(I)).                                 Update and Revised CSAPR Update also used this
                                              Ozone National Ambient Air Quality Standards, 83           40 See 81 FR 74504 (October 26, 2016). This same   approach. See 81 FR 74504 (October 26, 2016) and
                                              FR 25776 (June 4, 2018, effective August 3, 2018).       concept, relying on both current monitoring data     86 FR 23054 (April 30, 2021).



                                         VerDate Sep<11>2014   17:17 Feb 10, 2023   Jkt 259001   PO 00000   Frm 00007   Fmt 4701   Sfmt 4700   E:\FR\FM\13FER2.SGM   13FER2
                                                                  Case: 23-60069                    Document: 110                  Page: 11            Date Filed: 03/27/2023
                                              9342             Federal Register / Vol. 88, No. 29 / Monday, February 13, 2023 / Rules and Regulations

                                              monitoring sites with projected average                 NAAQS (i.e., 0.70 ppb) at downwind                    Mississippi, Missouri, Oklahoma, and
                                              design values below the NAAQS, but                      receptors. This is consistent with the                Utah. Ohio also criticized the 1 percent
                                              with projected maximum design values                    Step 2 approach that the EPA applied in               of the NAAQS threshold, though it
                                              above the NAAQS are also identified as                  CSAPR for the 1997 ozone NAAQS,                       acknowledged it was linked above
                                              ‘‘maintenance-only’’ receptors, even if                 which has subsequently been applied in                either a 1 percent of the NAAQS or 1
                                              they are currently measuring                            the CSAPR Update and Revised CSAPR                    ppb contribution threshold. Nevada also
                                              nonattainment based on the most recent                  Update when evaluating interstate                     criticized the 1 percent of the NAAQS
                                              official design values.                                 transport obligations for the 2008 ozone              contribution threshold, but ultimately
                                                As discussed further in Section III.B.,               NAAQS, and in the EPA’s proposals for                 relied on it to support its submission.
                                              in response to comments, the Agency                     this action. The EPA continues to find                   In the proposals for this action, the
                                              has also taken a closer look at measured                1 percent to be an appropriate                        EPA evaluated each states’ support for
                                              ozone levels at monitoring sites in 2021                threshold. For ozone, as the EPA found                the use of an alternative threshold at
                                              and 2022 for the purposes of informing                  in the CAIR, CSAPR, and CSAPR                         Step 2 (e.g., 1 ppb), and additionally
                                              the identification of additional receptors              Update, a portion of the nonattainment                shared its experience since the issuance
                                              in 2023. We find there is a basis to                    problems from anthropogenic sources in                of the August 2018 memorandum
                                              consider certain sites with elevated                    the U.S. result from the combined                     regarding use of alternative thresholds
                                              ozone levels that are not otherwise                     impact of relatively small contributions,             at Step 2. The EPA solicited comment
                                              identified as receptors to be an                        typically from multiple upwind states                 on the subject as it considered the
                                              additional type of maintenance-only                     and, in some cases, substantially larger              appropriateness of rescinding the
                                              receptor given the likelihood that ozone                contributions from a subset of particular             memorandum.42 The EPA received
                                              levels above the NAAQS could persist at                 upwind states, along with contributions               numerous comments related to both the
                                              those locations through at least 2023.                  from in-state sources. The EPA’s                      EPA’s evaluation of SIP submissions
                                              We refer to these as violating-monitor                  analysis shows that much of the ozone                 relying on an alternative threshold, and
                                              maintenance-only receptors (‘‘violating                 transport problem being analyzed in this              the EPA’s experience with alternative
                                              monitors’’). For purposes of this action,               action is still the result of the collective          thresholds. The EPA is not, at this time
                                              we use this information only in a                       impacts of contributions from upwind                  rescinding the August 2018
                                              confirmatory way for states that are                    states. Therefore, application of a                   memorandum; however, for purposes of
                                              otherwise found to be linked using the                  consistent contribution threshold is                  evaluating contribution thresholds for
                                              modeling-based methodology. The EPA                     necessary to identify those upwind                    the 2015 ozone NAAQS, the EPA
                                              intends to take separate action to                      states that should have responsibility for            continues to find the use of an
                                              address states that are linked only to                  addressing their contribution to the                  alternative threshold problematic for the
                                              one or more violating-monitor receptors.                downwind nonattainment and                            reasons stated at proposal. Regardless of
                                                                                                      maintenance problems to which they                    the EPA’s position on the August 2018
                                              3. Step 2 of the 4-Step Interstate
                                                                                                      collectively contribute. Continuing to                memorandum, the EPA continues to
                                              Transport Framework
                                                                                                      use 1 percent of the NAAQS as the                     find that the arguments put forth in the
                                                 In Step 2, the EPA quantifies the                                                                          SIP submissions of by Alabama,
                                              contribution of each upwind state to                    screening metric to evaluate collective
                                                                                                      contribution from many upwind states                  Arkansas, Illinois, Indiana, Kentucky,
                                              each receptor in the 2023 analytic year.                                                                      Louisiana, Michigan, Mississippi,
                                              The contribution metric used in Step 2                  also allows the EPA (and states) to apply
                                                                                                      a consistent framework to evaluate                    Missouri, Oklahoma, and Utah, as well
                                              is defined as the average impact from                                                                         as arguments in comments received on
                                              each state to each receptor on the days                 interstate emissions transport under the
                                                                                                                                                            these actions, to be inadequate. See
                                              with the highest ozone concentrations at                interstate transport provision from one
                                                                                                                                                            Section V.B.7 and the RTC Document
                                              the receptor based on the 2023                          NAAQS to the next. See 81 FR 74518;
                                                                                                                                                            for additional detail.
                                              modeling. If a state’s contribution value               see also 86 FR 23085 (reviewing and
                                              does not equal or exceed the threshold                  explaining rationale from CSAPR, 76 FR                4. Step 3 of the 4-Step Interstate
                                              of 1 percent of the NAAQS (i.e., 0.70                   48237–38, for selection of 1 percent                  Transport Framework
                                              ppb for the 2015 ozone NAAQS), the                      threshold).                                              Consistent with the EPA’s
                                              upwind state is not ‘‘linked’’ to a                        The EPA’s August 2018 memorandum                   longstanding approach to eliminating
                                              downwind air quality problem, and the                   recognizes that in certain circumstances,             significant contribution and interference
                                              EPA, therefore, concludes that the state                a state may be able to establish that an              with maintenance, at Step 3, a
                                              does not contribute significantly to                    alternative contribution threshold of 1               multifactor assessment of potential
                                              nonattainment or interfere with                         ppb is justifiable. Where a state relies on           emissions controls is conducted for
                                              maintenance of the NAAQS in the                         this alternative threshold in their SIP               states linked at Steps 1 and 2. The EPA’s
                                              downwind states. However, if a state’s                  submission, and where that state                      analysis at Step 3 in prior Federal
                                              contribution equals or exceeds the 1                    determined that it was not linked at                  actions addressing interstate transport
                                              percent threshold, the state’s emissions                Step 2 using the alternative threshold,               requirements has primarily focused on
                                              are further evaluated in Step 3,                        the EPA evaluated whether the state                   an evaluation of cost-effectiveness of
                                              considering both air quality and cost as                provided a technically sound                          potential emissions controls (on a
                                              part of a multi-factor analysis, to                     assessment of the appropriateness of                  marginal cost-per-ton basis), the total
                                              determine what, if any, emissions might                 using this alternative threshold based on             emissions reductions that may be
                                              be deemed ‘‘significant’’ and, thus, must               the facts and circumstances underlying                achieved by requiring such controls (if
                                              be eliminated pursuant to the                           its application in the particular SIP                 applied across all linked upwind states),
khammond on DSKJM1Z7X2PROD with RULES2




                                              requirements of CAA section                             submission. The states covered by this                and an evaluation of the air quality
                                              110(a)(2)(D)(i)(I).                                     action that rely on a contribution                    impacts such emissions reductions
                                                 In this final action, the EPA relies in              threshold other than 1 percent of the                 would have on the downwind receptors
                                              the first instance on the 1 percent                     NAAQS in their 2015 ozone NAAQS                       to which a state is linked; other factors
                                              threshold for the purpose of evaluating                 good neighbor SIP submission are                      may potentially be relevant if
                                              a state’s contribution to nonattainment                 Alabama, Arkansas, Illinois, Indiana,
                                              or maintenance of the 2015 ozone                        Kentucky, Louisiana, Michigan,                          42 See,   e.g., 87 FR 9551.



                                         VerDate Sep<11>2014   17:17 Feb 10, 2023   Jkt 259001   PO 00000   Frm 00008   Fmt 4701   Sfmt 4700   E:\FR\FM\13FER2.SGM   13FER2
                                                                  Case: 23-60069                     Document: 110                 Page: 12            Date Filed: 03/27/2023
                                                               Federal Register / Vol. 88, No. 29 / Monday, February 13, 2023 / Rules and Regulations                                          9343

                                              adequately supported. In general, where                 maintenance of the NAAQS.44 For a                     proposals, and the EPA in this final
                                              the EPA’s or state-provided alternative                 state linked at Steps 1 and 2 to rely on              action has responded to comments on
                                              air quality and contribution modeling                   an emissions control measure at Step 3                our evaluation of the various
                                              establishes that a state is linked at Steps             to address its interstate transport                   information and arguments made by
                                              1 and 2, it will be insufficient at Step                obligations, that measure must be                     states. The EPA’s final decision to
                                              3 for a state merely to point to its                    included in the state’s SIP so that it is             disapprove these states’ SIP submittals
                                              existing rules requiring control                        permanent and federally enforceable.                  is based on our evaluation of the entire
                                              measures as a basis for SIP approval. In                See CAA section 110(a)(2)(D) (‘‘Each                  record, recognizing that states possess
                                              general, the emissions-reducing effects                 such [SIP] shall . . . contain adequate               the authority in the first instance to
                                              of all existing emissions control                       provisions. . . .’’). See also CAA                    propose how they would address their
                                              requirements are already reflected in the               section 110(a)(2)(A); Committee for a                 significant contribution to air quality
                                              future year projected air quality results               Better Arvin v. EPA, 786 F.3d 1169,                   problems in other states. Nonetheless, as
                                              of the modeling for Steps 1 and 2. If the               1175–76 (9th Cir. 2015) (holding that                 explained in the proposals, and in this
                                              state is shown to still be linked to one                measures relied on by a state to meet                 document and supporting materials in
                                              or more downwind receptor(s) despite                    CAA requirements must be included in                  the docket, we conclude that no state
                                              these existing controls, but that state                 the SIP).                                             included in this action effectively
                                              believes it has no outstanding good                                                                           demonstrated that it will not be linked
                                                                                                      III. The EPA’s Updated Air Quality and
                                              neighbor obligations, the EPA expects                                                                         to at least one air quality receptor in
                                                                                                      Contribution Analysis
                                              the state to provide sufficient                                                                               2023, and none of these states’ various
                                              justification to support a conclusion by                   As noted in Section II, the EPA relied
                                                                                                      in part on its 2016v2 emissions                       arguments for alternative approaches
                                              the EPA that the state has adequate                                                                           ultimately present a satisfactory basis
                                              provisions prohibiting ‘‘any source or                  platform-based air quality modeling to
                                                                                                      support its proposed interstate transport             for the EPA to approve these states’ SIP
                                              other type of emissions activity within                                                                       submissions.
                                              the State from emitting any air pollutant               actions taken in 2022. Following receipt
                                              in amounts which will’’ ‘‘contribute                    of comments, the EPA updated this                     A. Description of Air Quality Modeling
                                              significantly to nonattainment in, or                   modeling, incorporating new                           for the Final Action
                                              interfere with maintenance by,’’ any                    information received to create the
                                              other State with respect to the NAAQS.                  2016v3 emissions inventory and making                    In this section, the Agency describes
                                              See CAA section 110(a)(2)(D)(i)(I).                     additional updates to improve model                   the air quality modeling performed
                                              While the EPA has not prescribed a                      performance. Using the 2016v3                         consistent with Steps 1 and 2 of the 4-
                                              particular method for this assessment,                  emissions inventory, the EPA evaluated                step interstate transport framework to
                                              as many commenters note, the EPA                        modeling projections for air quality                  (1) Identify locations where it expects
                                              expects states at a minimum to present                  monitoring sites and considered current               nonattainment or maintenance problems
                                              a sufficient technical evaluation. This                 ozone monitoring data at these sites to               with respect to the 2015 ozone NAAQS
                                              would typically include information on                  identify receptors that are anticipated to            for the 2023 analytic year, and (2)
                                              emissions sources, applicable control                   have problems attaining or maintaining                quantify the contributions from
                                              technologies, emissions reductions,                     the 2015 ozone NAAQS.                                 anthropogenic emissions from upwind
                                              costs, cost effectiveness, and downwind                    This section presents a summary of                 states to downwind ozone
                                              air quality impacts of the estimated                    the methodology and results of the                    concentrations at monitoring sites
                                              reductions, before concluding that no                   2016v3 modeling of 2023, along with                   projected to be in nonattainment or have
                                              additional emissions controls should be                 the application of the EPA’s Step 1 and               maintenance problems for the 2015
                                              required.43 The EPA responds to                         Step 2 methodology for identifying                    ozone NAAQS in 2023. This section
                                              comment on issues related to Step 3 in                  receptors and upwind states that                      includes information on the air quality
                                              Section V.B.8. and in the RTC                           contribute to those receptors. We also                modeling platform used in support of
                                              document.                                               explain that current measured ozone                   the final SIP disapproval action with a
                                                                                                      levels based on data for 2021 and                     focus on the base year and future base
                                              5. Step 4 of the 4-Step Interstate
                                                                                                      preliminary data for 2022 at other                    case emissions inventories. The EPA
                                              Transport Framework
                                                                                                      monitoring sites (i.e., monitoring sites              also provides the projection of 2023
                                                 At Step 4, states (or the EPA) develop               that are not projected to be receptors in             ozone concentrations and the interstate
                                              permanent and federally-enforceable                     2023 based on air quality modeling)                   contributions for 8-hour ozone. The
                                              control strategies to achieve the                       confirm the likely continuation of                    Final Action AQM TSD in Docket ID
                                              emissions reductions determined to be                   elevated ozone levels in 2023 at these                No. EPA–HQ–OAR–2021–0663 contains
                                              necessary at Step 3 to eliminate                        locations and confirm that nearly all                 more detailed information on the air
                                              significant contribution to                             upwind states in this action are also                 quality modeling aspects supporting our
                                              nonattainment or interference with                      linked above 1 percent of the NAAQS to                final action on these SIP submissions.
                                                                                                      one or more of these monitors.
                                                43 Because no state included new enforceable
                                                                                                         While all of this information                      1. Public Review of Air Quality
                                              emissions control measures in the submissions                                                                 Modeling Information for the Proposed
                                              under review here, we focus our analysis on
                                                                                                      compiled by the EPA (both the
                                              whether states justified that no additional controls    modeling and monitoring data) plays a                 Action
                                              were required. As examples of general approaches        critical role in the basis for this final
                                              for how a Step 3 analysis could be conducted for                                                                The EPA provided several
                                                                                                      action, the EPA has also thoroughly
                                              their sources, states could look to the CSAPR                                                                 opportunities to comment on the
khammond on DSKJM1Z7X2PROD with RULES2




                                              Update, 81 FR 74504, 74539–51; CSAPR, 76 FR             evaluated the modeling information and
                                                                                                                                                            emissions modeling platform and air
                                              48208, 48246–63; CAIR, 70 FR 25162, 25195–229;          other analyses and arguments presented
                                                                                                                                                            quality modeling results that were used
                                              or the NOX SIP Call, 63 FR 57356, 57399–405. See        by the upwind states in their SIP
                                              also Revised CSAPR Update, 86 FR 23054, 23086–                                                                for the proposed SIP submission
                                                                                                      submittals. Our evaluation of the states’
                                              23116. Consistently across these rulemakings, the                                                             actions. On September 20, 2021, the
                                              EPA has developed emissions inventories, analyzed       analyses was generally set forth in the
                                                                                                                                                            EPA publicly released via our web page
                                              different levels of control stringency at different
                                              cost thresholds, and assessed resulting downwind          44 The EPA notes that any controls included in an   updated emissions inventories (2016v2)
                                              air quality improvements.                               approved SIP are federally-enforceable.               and requested comment from states and


                                         VerDate Sep<11>2014   17:17 Feb 10, 2023   Jkt 259001   PO 00000   Frm 00009   Fmt 4701   Sfmt 4700   E:\FR\FM\13FER2.SGM   13FER2
                                                                   Case: 23-60069                      Document: 110               Page: 13            Date Filed: 03/27/2023
                                              9344              Federal Register / Vol. 88, No. 29 / Monday, February 13, 2023 / Rules and Regulations

                                              MJOs on these data.45 In January 2022,                   modeling region (i.e., modeling domain)              improved from a 21.4 percent under
                                              the EPA released air quality modeling                    that covers the contiguous 48 states                 prediction for May and June to a 12.6
                                              results including projected ozone design                 using a horizontal resolution of 12 x 12             percent under prediction in the period
                                              values and contributions from 2023                       km. The EPA used the CAMx version                    July through September. As described in
                                              based on the 2016v2 emissions. At that                   7.10 for air quality modeling which is               the AQM TSD, the seasonal pattern in
                                              time the EPA indicated its intent to use                 the same model that the EPA used for                 bias in the Upper Midwest region
                                              these data to support upcoming                           the proposed rule air quality                        improves somewhat gradually with time
                                              transport rulemakings. Then, on                          modeling.50 Additional information on                from the middle of May to the latter part
                                              February 22, 2022, the EPA published                     the 2016-based air quality modeling                  of June. In view of the seasonal pattern
                                              proposed disapprovals for 19 interstate                  platform can be found in the Final                   in bias in the Upper Midwest and in
                                              transport SIP submissions using the                      Action AQM TSD.                                      other regions of the U.S., the EPA
                                              modeling data released in January 2022                      Comments: Commenters noted that
                                                                                                                                                            focused its investigation of model
                                              and the emissions inventories shared in                  the 2016 base year summer maximum
                                                                                                                                                            performance on model inputs that, by
                                              September 2021.46 The EPA provided a                     daily average 8-hour (MDA8) ozone
                                                                                                       predictions from the proposal modeling               their nature, have the largest temporal
                                              60-day comment period on these
                                              proposals. On May 24, 2022, the EPA                      were biased low compared to the                      variation within the ozone season.
                                              proposed disapprovals for an additional                  corresponding measured concentrations                These inputs include emissions from
                                              four states’ interstate transport SIP                    in certain locations. In this regard,                biogenic sources and lightning NOX,
                                              submissions using the same modeling                      commenters said that model                           and contributions from transport of
                                              platform, and provided a 62-day                          performance statistics for a number of               international anthropogenic emissions
                                              comment period.47 The EPA provided a                     monitoring sites, particularly those in              and natural sources into the U.S. Both
                                              30-day comment period beginning on                       portions of the West and in the area                 biogenic and lightning NOX emissions
                                              October 25, 2022, on the proposed                        around Lake Michigan, were outside the               in the U.S. dramatically increase from
                                              disapproval of Alabama’s June 21, 2022,                  range of published performance criteria              spring to summer.52 53 In contrast, ozone
                                              SIP submission, which relied on the                      for normalized mean bias (NMB) and                   transported into the U.S. from
                                              same modeling platform as the other                      normalized mean error (NME) of less                  international anthropogenic and natural
                                              noted proposals.48 In addition to its                    than plus or minus 15 percent and less               sources peaks during the period March
                                              proposed disapprovals, the EPA also                      than 25 percent, respectively.51                     through June, with lower contributions
                                              proposed approval of Iowa’s, Arizona’s,                  Comments say the EPA must investigate                during July through September.54 55 To
                                              and Colorado’s SIP submissions using                     the factors contributing to low bias and             investigate the impacts of the sources,
                                              the 2016v2 modeling and provided 30-                     make necessary corrections to improve                the EPA conducted sensitivity model
                                              day comment periods. 87 FR 9477                          model performance in the modeling                    runs which focused on the effects on
                                              (February 22, 2022) (Iowa); 87 FR 37776                  supporting final SIP actions. Some                   model performance of adding NOX
                                              (June 24, 2022) (Arizona); and 87 FR                     commenters said that the EPA should                  emissions from lightning strikes, using
                                              27050 (May 6, 2022) (Colorado).                          include NOX emissions from lightning                 updated biogenic emissions, and using
                                              2. Overview of Air Quality Modeling                      strikes and assess the treatment of other            an alternative approach (described in
                                              Platform                                                 background sources of ozone to improve               more detail later in this section) for
                                                                                                       model performance for the final action.              quantifying transport of ozone and
                                                 The EPA used version 3 of the 2016-                   Additional information on the                        precursor pollutants into the U.S. from
                                              based modeling platform (i.e., 2016v3)                   comments on model performance can be                 international anthropogenic and natural
                                              for the air quality modeling for this final              found in the RTC document for this                   sources. In the air quality modeling for
                                              SIP disapproval action. This modeling                    final SIP disapproval action.                        proposal, the amount of transport from
                                              platform includes 2016 base year                            EPA Response: In response to these                international sources was based on a
                                              emissions from anthropogenic and                         comments the EPA examined the                        simulation of the hemispheric version of
                                              natural sources and future year                          temporal and spatial characteristics of              the Community Multi-scale Air Quality
                                              projected anthropogenic emissions for                    model under prediction to investigate
                                              2023.49 The emissions data contained in                  the possible causes of under prediction                 52 Guenther, A.B., 1997. Seasonal and spatial
                                              the 2016v3 platform represent an update                  of MDA8 ozone concentrations in                      variations in natural volatile organic compound
                                              to the 2016 version 2 inventories used                   different regions of the U.S. in the                 emissions. Ecol. Appl. 7, 34–45. http://dx.doi.org/
                                              for the proposal modeling.                               proposal modeling. The EPA’s analysis                10.1890/1051-0761(1997)
                                                 The air quality modeling for this final                                                                    007[0034:SASVIN]2.0.CO;2. Guenther, A., Hewitt,
                                                                                                       indicates that the under prediction was              C.N., Erickson, D., Fall, R.
                                              disapproval action was performed for a                   most extensive during May and June                      53 Kang D, Mathur R, Pouliot GA, Gilliam RC,

                                                                                                       with less bias during July and August in             Wong DC. Significant ground-level ozone attributed
                                                 45 https://www.epa.gov/air-emissions-modeling/
                                                                                                       most regions of the U.S. For example, in             to lightning-induced nitrogen oxides during
                                              2016v2-platform.                                                                                              summertime over the Mountain West States. NPJ
                                                 46 These proposals are listed in footnote 5 of this   the Upper Midwest region model under                 Clim Atmos Sci. 2020 Jan 30;3:6. doi: 10.1038/
                                              action.                                                  prediction was larger in May and June                s41612–020–0108–2. PMID: 32181370; PMCID:
                                                 47 The EPA also relied on this same modeling data     compared to July through September.                  PMC7075249.
                                              to support proposed Federal Implementation Plans         Specifically, the normalized mean bias                  54 Jaffe DA, Cooper OR, Fiore AM, Henderson BH,
                                              (FIPs) resolving interstate transport obligations for                                                         Tonnesen GS, Russell AG, Henze DK, Langford AO,
                                              27 states for the 2015 ozone NAAQS. 87 FR 20036
                                                                                                       for days with measured concentrations
                                                                                                                                                            Lin M, Moore T. Scientific assessment of
                                              (April 6, 2022). The EPA allowed 60 days to receive      greater than or equal to 60 ppb                      background ozone over the U.S.: Implications for air
                                              comments on the proposed FIP rule, including                                                                  quality management. Elementa (Wash DC).
khammond on DSKJM1Z7X2PROD with RULES2




                                              acceptance of comment on the 2016v2 emissions              50 Ramboll Environment and Health, January         2018;6(1):56. doi: 10.1525/elementa.309. PMID:
                                              inventory-based modeling platform. The EPA then          2021, https://www.camx.com.                          30364819; PMCID: PMC6198683.
                                              allowed for an additional 15 days via an extension         51 Christopher Emery, Zhen Liu, Armistead G.          55 Henderson, B.H., P. Dolwick, C. Jang, A., Eyth,
                                              of the comment period. 87 FR 29108 (May 12,              Russell, M. Talat Odman, Greg Yarwood & Naresh       J. Vukovich, R. Mathur, C. Hogrefe, N. Possiel, G.
                                              2022).                                                   Kumar (2017) Recommendations on statistics and       Pouliot, B. Timin, K.W. Appel, 2019. Global
                                                 48 87 FR 64412, 64413.
                                                                                                       benchmarks to assess photochemical model             Sources of North American Ozone. Presented at the
                                                 49 The 2016v3 platform also includes projected        performance, Journal of the Air & Waste              18th Annual Conference of the UNC Institute for the
                                              emissions for 2026. However, the 2026 data are not       Management Association, 67:5, 582–598, DOI:          Environment Community Modeling and Analysis
                                              applicable and were not used in this final action.       10.1080/10962247.1265027.                            System (CMAS) Center, October 21–23, 2019.



                                         VerDate Sep<11>2014   17:17 Feb 10, 2023   Jkt 259001   PO 00000   Frm 00010   Fmt 4701   Sfmt 4700   E:\FR\FM\13FER2.SGM   13FER2
                                                                   Case: 23-60069                      Document: 110               Page: 14            Date Filed: 03/27/2023
                                                                Federal Register / Vol. 88, No. 29 / Monday, February 13, 2023 / Rules and Regulations                                                  9345

                                              Model (H–CMAQ) 56 for 2016. The                          MDA8 ozone greater than or equal to 60               inventories using the Sparse Matrix
                                              outputs from this hemispheric modeling                   ppb is considerably improved (i.e., less             Operator Kernel Emissions (SMOKE)
                                              were then used to provide boundary                       bias and error) compared to the proposal             Modeling System version 4.9 to produce
                                              conditions for the national scale air                    modeling in nearly all regions. For                  the gridded, hourly, speciated, model-
                                              quality modeling at proposal.57 Overall,                 example, in the Upper Midwest, which                 ready emissions for input to the air
                                              H–CMAQ tends to under predict                            includes monitoring sites along Lake                 quality model. Additional information
                                              daytime ozone concentrations at rural                    Michigan, the normalized mean bias                   on the development of the emissions
                                              and remote monitoring sites across the                   improved from a 19 percent under                     inventories and on data sets used during
                                              U.S. during the spring of 2016 whereas                   prediction to a 6.9 percent under                    the emissions modeling process are
                                              the predictions from the GEOS-Chem                       prediction and in the Southwest region,              provided in the document titled
                                              global model 58 were generally less                      which includes monitoring sites in                   ‘‘Technical Support Document (TSD):
                                              biased.59 During the summer of 2016                      Denver, Las Cruces, El Paso, and Salt                Preparation of Emissions Inventories for
                                              both models showed varying degrees of                    Lake City, normalized mean bias                      the 2016v3 North American Emissions
                                              over prediction with GEOS-Chem                           improved from a 13.6 percent under                   Modeling Platform,’’ hereafter known as
                                              showing somewhat greater over                            prediction to a 4.8 percent under                    the ‘‘2016v3 Emissions Modeling TSD.’’
                                              prediction, compared to H–CMAQ. In                       prediction.60 In all regions, the                    This TSD is available in the docket for
                                              view of those results, the EPA examined                  normalized mean bias and normalized                  this action.62
                                              the impacts of using GEOS-Chem as an                     mean error statistics for high ozone days
                                              alternative to H–CMAQ for providing                      based on the modeling supporting final               4. Foundation Emissions Inventory
                                              boundary conditions for the modeling                     SIP actions are within the range of
                                              supporting this final action.                            performance criteria benchmarks (i.e.,                  The 2016v3 emissions platform is
                                                 For the lightning NOX, biogenics, and                 less than plus or minus 15 percent for               comprised of data from various sources
                                              GEOS-Chem sensitivity runs, the EPA                      normalized mean bias and less than 25                including data developed using models,
                                              reran the proposal modeling using each                   percent for normalized mean error).61                methods, and source datasets that
                                              of these inputs, individually. Results                   Additional information on model                      became available in calendar years 2020
                                              from these sensitivity runs indicate that                performance information is provided in               through 2022, in addition to data
                                              each of the three updates provides an                    the AQM TSD. In summary, the EPA                     retained from the Inventory
                                              improvement in model performance.                        included emissions of lightning NOX, as              Collaborative 2016 version 1 (2016v1)
                                              However, by far the greatest                             requested by commenters, and                         Emissions Modeling Platform, released
                                              improvement in modeling performance                      investigated and addressed concerns                  in October 2019. The 2016v1 platform
                                              is attributable to the use of GEOS-Chem.                 about model performance for the                      was developed through a national
                                              In view of these results the EPA has                     modeling supporting final SIP actions.               collaborative effort between the EPA
                                              included lightning NOX emissions,                                                                             and state and local agencies along with
                                              updated biogenic emissions, and                          3. Emissions Inventories                             MJOs. The 2016v2 platform used to
                                              international transport from GEOS-                          The EPA developed emissions                       support the proposed action included
                                              Chem in the air quality modeling                         inventories to support air quality                   updated data, models and methods as
                                              supporting final SIP actions. Details on                 modeling for this final action, including            compared to 2016v1. The 2016v3
                                              the results of the individual sensitivity                emissions estimates for EGUs, non-EGU                platform includes updates implemented
                                              runs can be found in the AQM TSD. For                    point sources (i.e., stationary point                in response to comments along with
                                              the air quality modeling supporting                      sources), stationary nonpoint sources,               other updates to the 2016v2 platform
                                              final SIP actions, model performance                     onroad mobile sources, nonroad mobile                such as corrections and the
                                              based on days in 2016 with measured                      sources, other mobile sources, wildfires,            incorporation of updated data sources
                                                                                                       prescribed fires, and biogenic emissions             that became available prior to the
                                                 56 Mathur, R., Gilliam, R., Bullock, O.R., Roselle,   that are not the direct result of human              2016v3 inventories being developed.
                                              S., Pleim, J., Wong, D., Binkowski, F., and 1 Streets,   activities. The EPA’s air quality                    Several commenters noted that the
                                              D.: Extending the applicability of the community
                                              multiscale air quality model to 2 hemispheric
                                                                                                       modeling relies on this comprehensive                2016v2 platform did not include NOX
                                              scales: motivation, challenges, and progress. In:        set of emissions inventories because                 emissions that resulted from lightning
                                              Steyn DG, Trini S (eds) Air 3 pollution modeling         emissions from multiple source                       strikes. To address this, lightning NOX
                                              and its applications, XXI. Springer, Dordrecht, pp       categories are needed to model ambient
                                              175–179, 2012.                                                                                                emissions were computed and included
                                                 57 Boundary conditions are the concentrations of
                                                                                                       air quality and to facilitate comparison             in the 2016v3 platform.
                                              pollutants along the north, east, south, and west        of model outputs with ambient
                                                                                                       measurements.                                           For this final action, the EPA
                                              boundaries of the air quality modeling domain.
                                              Boundary conditions vary in space and time and are          Prior to the modeling of air quality,             developed emissions inventories for the
                                              typically obtained from predictions of global or         the emissions inventories must be                    base year of 2016 and the projected year
                                              hemispheric models. Information on how boundary
                                                                                                       processed into a format that is                      of 2023. The 2023 inventories represent
                                              conditions were developed for modeling supporting                                                             changes in activity data and of predicted
                                              EPA’s final SIP actions can be found in the AQM          appropriate for the air quality model to
                                              TSD.                                                     use. To prepare the emissions                        emissions reductions from on-the-books
                                                 58 I. Bey, D.J. Jacob, R.M. Yantosca, J.A. Logan,
                                                                                                       inventories for air quality modeling, the            actions, planned emissions control
                                              B.D. Field, A.M. Fiore, Q. Li, H.Y. Liu, L.J. Mickley,
                                                                                                       EPA processed the emissions                          installations, and promulgated Federal
                                              M.G. Schultz. Global modeling of tropospheric                                                                 measures that affect anthropogenic
                                              chemistry with assimilated meteorology: model
                                              description and evaluation. J. Geophys. Res.               60 A comparison of model performance from the      emissions. The 2016 emissions
                                              Atmos., 106 (2001), pp. 23073–23095, 10.1029/            proposal modeling to the final modeling for          inventories for the U.S. primarily
khammond on DSKJM1Z7X2PROD with RULES2




                                              2001jd000807.                                            individual monitoring sites can be found in the      include data derived from the 2017
                                                 59 Henderson, B.H., P. Dolwick, C. Jang, A., Eyth,    docket for this final action.
                                                                                                         61 Christopher Emery, Zhen Liu, Armistead G.
                                                                                                                                                            National Emissions Inventory (2017
                                              J. Vukovich, R. Mathur, C. Hogrefe, G. Pouliot, N.
                                              Possiel, B. Timin, K.W. Appel, 2022. Meteorological      Russell, M. Talat Odman, Greg Yarwood & Naresh
                                              and Emission Sensitivity of Hemispheric Ozone and        Kumar (2017) Recommendations on statistics and         62 See Preparation of Emissions Inventories for

                                              PM2.5. Presented at the 21st Annual Conference of        benchmarks to assess photochemical model             the 2016v3 North American Emissions Modeling
                                              the UNC Institute for the Environment Community          performance, Journal of the Air & Waste              Platform TSD, also available at https://
                                              Modeling and Analysis System (CMAS) Center,              Management Association, 67:5, 582–598, DOI:          www.epa.gov/air-emissions-modeling/2016v3-
                                              October 17–19, 2022.                                     10.1080/10962247.1265027.                            platform.



                                         VerDate Sep<11>2014   17:17 Feb 10, 2023   Jkt 259001   PO 00000   Frm 00011   Fmt 4701   Sfmt 4700   E:\FR\FM\13FER2.SGM   13FER2
                                                                  Case: 23-60069                    Document: 110                  Page: 15            Date Filed: 03/27/2023
                                              9346             Federal Register / Vol. 88, No. 29 / Monday, February 13, 2023 / Rules and Regulations

                                              NEI) 63 and data specific to the year of                of the contiguous U.S. electric power                 under construction new builds known
                                              2016. The following sections provide an                 sector. It provides forecasts of least cost           as of early summer 2022. This projected
                                              overview of the construct of the 2016v3                 capacity expansion, electricity dispatch,             base case accounts for the effects of the
                                              emissions and projections. The fire                     and emissions control strategies while                final Mercury and Air Toxics Standards
                                              emissions were unchanged between the                    meeting energy demand and                             rule, CSAPR, the CSAPR Update, the
                                              2016v2 and 2016v3 emissions                             environmental, transmission, dispatch,                Revised CSAPR Update, New Source
                                              platforms. For the 2016v3 platform, the                 and reliability constraints. The EPA has              Review enforcement settlements, the
                                              biogenic emissions were updated to use                  used IPM for over two decades to better               final Effluent Limitation Guidelines
                                              the latest available versions of the                    understand power sector behavior under                (ELG) Rule, the Coal Combustion
                                              Biogenic Emissions Inventory System                     future business-as-usual conditions and               Residual (CCR) Rule, and other on-the-
                                              and associated land use data to help                    to evaluate the economic and emissions                books Federal and state rules (including
                                              address comments related to a                           impacts of prospective environmental                  renewable energy tax credit extensions
                                              degradation in model performance in                     policies. The model is designed to                    from the Consolidated Appropriations
                                              the 2016v2 platform as compared to the                  reflect electricity markets as accurately             Act of 2021) through early 2021
                                              2016v1 platform. Details on the                         as possible. The EPA uses the best                    impacting emissions of SO2, NOX,
                                              construction of the inventories are                     available information from utilities,                 directly emitted particulate matter,
                                              available in the 2016v3 Emissions                       industry experts, gas and coal market                 carbon dioxide (CO2), and power plant
                                              Modeling TSD. Details on how the EPA                    experts, financial institutions, and                  operations. It also includes final actions,
                                              responded to comments related to                        government statistics as the basis for the            up through the Summer 2022, the EPA
                                              emissions inventories are available in                  detailed power sector modeling in IPM.                has taken to implement the Regional
                                              the RTC document for this action.                       The model documentation provides                      Haze Rule and best available retrofit
                                                 Development of emissions inventories                 additional information on the                         technology (BART) requirements.
                                              for annual NOX and sulfur dioxide (SO2)                 assumptions discussed here as well as                 Documentation of IPM version 6 and
                                              emissions for EGUs in the 2016 base                     all other model assumptions and                       NEEDS, along with updates, is in Docket
                                              year inventory are based primarily on                   inputs.64 The EPA relied on the same                  ID No. EPA–HQ–OAR–2021–0663 and
                                              data from continuous emissions                          model platform as in the proposals but                available online at https://www.epa.gov/
                                              monitoring systems (CEMS) and other                     made substantial updates to reflect                   airmarkets/power-sector-modeling.
                                              monitoring systems allowed for use by                   public comments on near-term fossil                      Non-EGU point source emissions are
                                              qualifying units under 40 CFR part 75,                  fuel market price volatility and updated              mostly consistent with those in the
                                              with other EGU pollutants estimated                     fleet information reflecting Summer                   proposal modeling except where they
                                              using emissions factors and annual heat                 2022 U.S. Energy Information Agency                   were updated in response to comments.
                                              input data reported to the EPA. For                     (EIA) 860 data, unit-level comments,                  Several commenters mentioned that
                                              EGUs not reporting under part 75, the                   and additional updates to the National                point source emissions carried forward
                                              EPA used data submitted to the NEI by                   Electric Energy Data System (NEEDS)                   from 2014 NEI were not the best
                                              state, local, and tribal agencies. The                  inventory.                                            estimates of 2017 emissions. Thus,
                                              final action inventories include updates                   The IPM version 6—Updated Summer
                                                                                                                                                            emissions sources in 2016v2 that had
                                              made in response to comments on the                     2021 Reference Case incorporated recent
                                                                                                                                                            been projected from the 2014 NEI in the
                                              proposed actions including the                          updates through the summer 2022 to
                                                                                                                                                            proposal were replaced with emissions
                                              proposed SIP submission disapprovals                    account for updated Federal and state
                                                                                                                                                            based on the 2017 NEI. Point source
                                              and the proposed FIP. The Air                           environmental regulations (including
                                                                                                                                                            emissions submitted to the 2016 NEI or
                                              Emissions Reporting Rule, (80 FR 8787;                  Renewable Portfolio Standards (RPS),
                                                                                                                                                            to the 2016v1 platform development
                                              February 19, 2015), requires that Type A                Clean Energy Standards (CES) and other
                                                                                                                                                            process specifically for the year 2016
                                              point sources large enough to meet or                   state mandates), fleet changes
                                                                                                                                                            were retained in 2016v3.
                                              exceed specific thresholds for emissions                (committed EGU retirements and new
                                                                                                      builds), electricity demand, technology                  The 2023 non-EGU point source
                                              be reported to the EPA via the NEI every
                                                                                                      cost and performance assumptions from                 emissions were grown from 2016 to
                                              year, while the smaller Type B point
                                                                                                      recent data for renewables adopting                   2023 using factors based on AEO 2022
                                              sources must only be reported to EPA
                                                                                                      from National Renewable Energy Lab                    and reflect emissions reductions due to
                                              every 3 years. In response to comments,
                                                                                                      (NREL’s) Annual Technology Baseline                   known national and local rules, control
                                              emissions data for EGUs that did not
                                                                                                      2020 and for fossil sources from the                  programs, plant closures, consent
                                              have data submitted to the NEI specific
                                                                                                      EIA’s Annual Energy Outlook (AEO)                     decrees, and settlements that could be
                                              to the year 2016 were filled in with data
                                                                                                      2020. Natural gas and coal price                      computed as reductions to specific units
                                              from the 2017 NEI. For more
                                                                                                      projections reflect data developed in fall            by July 2022.
                                              information on the details of how the
                                              2016 EGU emissions were developed                       2020 but updated in summer 2022 to                       Aircraft emissions and ground
                                              and prepared for air quality modeling,                  capture near-term price volatility and                support equipment at airports are
                                              see the 2016v3 Emissions Modeling                       current market conditions. The                        represented as point sources and are
                                              TSD.                                                    inventory of EGUs provided as an input                based on adjustments to emissions in
                                                 The EPA projected 2023 baseline EGU                  to the model was the NEEDS fall 2022                  the January 2021 version of the 2017
                                              emissions using version 6 of the                        version and is available on the EPA’s                 NEI. The EPA developed and applied
                                              Integrated Planning Model (IPM)                         website.65 This version of NEEDS                      factors to adjust the 2017 airport
                                              (www.epa.gov/airmarkets/powersector-                    reflects announced retirements and                    emissions to 2016 and 2023 based on
                                                                                                                                                            activity growth projected by the Federal
khammond on DSKJM1Z7X2PROD with RULES2




                                              modeling). IPM, developed by ICF
                                              Consulting, is a state-of-the-art, peer-                  64 Detailed information and documentation of the    Aviation Administration Terminal Area
                                              reviewed, multi-regional, dynamic,                      EPA’s Base Case, including all the underlying         Forecast 2021,66 the latest available
                                                                                                      assumptions, data sources, and architecture           version at the time the factors were
                                              deterministic linear programming model                  parameters can be found on the EPA’s website at:
                                                                                                      https://www.epa.gov/airmarkets/power-sector-
                                                                                                                                                            developed.
                                                63 https://www.epa.gov/air-emissions-inventories/     modeling.
                                              2017-national-emissions-inventory-nei-technical-          65 Available at https://www.epa.gov/airmarkets/       66 https://www.faa.gov/data_research/aviation/

                                              support-document-tsd.                                   national-electric-energy-data-system-needs-v6.        taf/.



                                         VerDate Sep<11>2014   17:17 Feb 10, 2023   Jkt 259001   PO 00000   Frm 00012   Fmt 4701   Sfmt 4700   E:\FR\FM\13FER2.SGM   13FER2
                                                                  Case: 23-60069                    Document: 110                  Page: 16            Date Filed: 03/27/2023
                                                               Federal Register / Vol. 88, No. 29 / Monday, February 13, 2023 / Rules and Regulations                                                      9347

                                                Emissions at rail yards were                          and nonpoint oil and gas emissions                    account for pandemic impacts, and then
                                              represented as point sources. The 2016                  inventories are available in the 2016v3               projected from 2021 to 2023 using AEO
                                              rail yard emissions are largely                         Emissions Modeling TSD in Docket ID                   2022-based factors.69 Recent updates to
                                              consistent with the 2017 NEI rail yard                  No. EPA–HQ–OAR–2021–0663.                             inspection and maintenance programs
                                              emissions. The 2016 and 2023 rail yard                     Onroad mobile sources include                      in North Carolina and Tennessee were
                                              emissions were developed through the                    exhaust, evaporative, and brake and tire              reflected in the MOVES inputs for the
                                              2016v1 Inventory Collaborative process.                 wear emissions from vehicles that drive               modeling supporting this final action.
                                              Class I rail yard emissions were                        on roads, parked vehicles, and vehicle                The 2023 onroad mobile emissions were
                                              projected based on the AEO freight rail                 refueling. Emissions from vehicles using              computed within SMOKE by
                                              energy use growth rate projections for                  regular gasoline, high ethanol gasoline,              multiplying the respective emissions
                                              2023 with the fleet mix assumed to be                   diesel fuel, and electric vehicles were               factors developed using MOVES with
                                              constant throughout the period.                         represented, along with buses that used               the year-specific activity data. Prior to
                                                The EPA made multiple updates to                      compressed natural gas. The EPA                       computing the final action emissions for
                                              point source oil and gas emissions in                   developed the onroad mobile source                    2023, the EPA made updates to some
                                              response to comments. For the 2016v3                    emissions for states other than                       onroad inputs in response to comments
                                              modeling, the point source oil and gas                  California using the EPA’s Motor                      and to implement corrections.
                                              emissions for 2016 were based on the                    Vehicle Emissions Simulator (MOVES).                     The commercial marine vessel (CMV)
                                              2016v2 point inventory except that most                 MOVES3 was released in November                       emissions in the 2016 base case
                                              2014 NEI-based emissions were                           2020 and has been followed by some                    emissions inventory for this action were
                                              replaced with 2017 NEI emissions.                       minor releases that improved the usage                based on those in the 2017 NEI. Factors
                                              Additionally, in response to comments,                  of the model but that do not have                     were applied to adjust the 2017 NEI
                                              state-provided emissions equivalent to                  substantive impacts on the emissions                  emissions backward to represent
                                              those in the 2016v1 platform were used                  estimates. For 2016v2, MOVES3 was                     emissions for the year 2016. The CMV
                                              for Colorado, and some New Mexico                       run using inputs provided by state and                emissions are consistent with the
                                              emissions were replaced with data                       local agencies through the 2017 NEI                   emissions for the 2016v1 platform CMV
                                              backcast from 2020 to 2016. To develop                  where available, in combination with                  emissions released in February 2020
                                              inventories for 2023 for the 2016v3                     nationally available data sets to develop             although, in response to comments, the
                                              platform, the year 2016 oil and gas point               a complete inventory. Onroad emissions                EPA implemented an improved process
                                              source inventories were first projected                 were developed based on emissions                     for spatially allocating CMV emissions
                                              to 2021 values based on actual historical               factors output from MOVES3 run for the                along state and county boundaries for
                                              production data, then those 2021                        year 2016, coupled with activity data                 the modeling supporting this final
                                              emissions were projected to 2023 using                  (e.g., vehicle miles traveled and vehicle             action.
                                              regional projection factors based on                    populations) representing the year 2016.                 The EPA developed nonroad mobile
                                              AEO 2022 projections. This was an                       The 2016 activity data were provided by               source emissions inventories (other than
                                              update from the 2016v2 approach in                      some state and local agencies through                 CMV, locomotive, and aircraft
                                              which actual data were used only                        the 2016v1 process, and the remaining                 emissions) for 2016 and 2023 from
                                              through the year 2019, because 2021                     activity data were derived from those                 monthly, county, and process level
                                              data were not yet available. NOX and                    used to develop the 2017 NEI. The                     emissions output from MOVES3. Types
                                                                                                      onroad emissions were computed                        of nonroad equipment include
                                              VOC reductions resulting from co-
                                                                                                      within SMOKE by multiplying
                                              benefits to New Source Performance                                                                            recreational vehicles, pleasure craft, and
                                                                                                      emissions factors developed using
                                              Standards (NSPS) for Stationary                                                                               construction, agricultural, mining, and
                                                                                                      MOVES with the appropriate activity
                                              Reciprocating Internal Combustion                                                                             lawn and garden equipment.70 The
                                                                                                      data. Prior to computing the final action
                                              Engines (RICE) are reflected, along with                                                                      nonroad emissions for the final action
                                                                                                      emissions for 2016, updates to some
                                              Natural Gas Turbine and Process Heater                                                                        were unchanged from those at the
                                                                                                      onroad inputs were made in response to
                                              NSPS NOX controls and Oil and Gas                                                                             proposal. The nonroad mobile
                                                                                                      comments and to implement
                                              NSPS VOC controls. In some cases, year                                                                        emissions control programs include
                                                                                                      corrections. Onroad mobile source
                                              2019 point source inventory data were                                                                         reductions to locomotives, diesel
                                                                                                      emissions for California were consistent
                                              used instead of the projected future year               with the updated emissions data
                                                                                                                                                            engines, and recreational marine
                                              emissions except for the Western                        provided by the state for the final                   engines, along with standards for fuel
                                              Regional Air Partnership (WRAP) states                  action.                                               sulfur content and evaporative
                                              of Colorado, New Mexico, Montana,                          The 2023 onroad emissions reflect                  emissions. A comprehensive list of
                                              Wyoming, Utah, North Dakota, and                        projected changes to fuel properties and
                                              South Dakota. The WRAP future year                      usage, along with the impact of the rules
                                                                                                                                                              69 VMT data for 2020 were the latest available at

                                              inventory 67 was used in these WRAP                                                                           the time of final rule data development but were
                                                                                                      included in MOVES3 for each of those                  heavily impacted by the pandemic and unusable to
                                              states in all future years except in New                years. MOVES emissions factors for the                project to 2023; in addition, it was determined that
                                              Mexico where the WRAP base year                         year 2023 were used. A comprehensive                  chaining factors based on AEO 2020 and AEO2021
                                              emissions were projected using the EIA                  list of control programs included for                 obtain the needed factors led to unrealistic artifacts,
                                              historical and AEO forecasted                                                                                 thus only AEO 2022 data were used.
                                                                                                      onroad mobile sources is available in                   70 Line haul locomotives are also considered a
                                              production data. Estimated impacts                      the 2016v3 Emissions Modeling TSD.                    type of nonroad mobile source but the emissions
                                              from the recent oil and gas rule in the                 Year 2023 activity data for onroad                    inventories for locomotives were not developed
                                              New Mexico Administrative code                          mobile sources were provided by some                  using MOVES3. Year 2016 and 2023 locomotive
khammond on DSKJM1Z7X2PROD with RULES2




                                              20.2.50 68 were also included. Details on                                                                     emissions were developed through the 2016v1
                                                                                                      state and local agencies, and otherwise               process, and the year 2016 emissions are mostly
                                              the development of the projected point                  were projected to 2023 by first                       consistent with those in the 2017 NEI. The
                                                                                                      projecting the 2016 activity to year 2019             projected locomotive emissions for 2023 were
                                                 67 http://www.wrapair2.org/pdf/WRAP_OGWG_
                                                                                                      based on county level vehicle miles                   developed by applying factors to the base year
                                              2028_OTB_RevFinalReport_05March2020.pdf.                                                                      emissions using activity data based on AEO freight
                                                 68 https://www.env.nm.gov/air-quality/ozone-         traveled (VMT) from the Federal                       rail energy use growth rate projections along with
                                              draft-rule/ and https://www.srca.nm.gov/parts/          Highway Administration. The VMT                       emissions rates adjusted to account for recent
                                              title20/20.002.0050.html.                               were held flat from 2019 to 2021 to                   historical trends.



                                         VerDate Sep<11>2014   17:17 Feb 10, 2023   Jkt 259001   PO 00000   Frm 00013   Fmt 4701   Sfmt 4700   E:\FR\FM\13FER2.SGM   13FER2
                                                                  Case: 23-60069                    Document: 110                  Page: 17            Date Filed: 03/27/2023
                                              9348             Federal Register / Vol. 88, No. 29 / Monday, February 13, 2023 / Rules and Regulations

                                              control programs included for mobile                    WRAP baseline inventory.72 A                          D.C. Circuit confirmed that the EPA’s
                                              sources is available in the 2016v3                      California Air Resources Board-                       approach to identifying maintenance
                                              Emissions Modeling TSD.                                 provided inventory was used for 2016                  receptors in CSAPR comported with the
                                                 For stationary nonpoint sources, some                oil and gas emissions in California.                  court’s prior instruction to give
                                              emissions in the 2016 base case                         Nonpoint oil and gas inventories for                  independent meaning to the ‘‘interfere
                                              emissions inventory come directly from                  2023 were developed by first projecting               with maintenance’’ prong in the good
                                              the 2017 NEI, others were adjusted from                 the 2016 oil and gas inventories to 2021              neighbor provision.75
                                              the 2017 NEI to represent 2016 levels,                  values based on actual production data.                  In the CSAPR Update and the Revised
                                                                                                      Next, those 2021 emissions were                       CSAPR Update, the EPA identified
                                              and the remaining emissions including
                                                                                                      projected to 2023 using regional                      nonattainment receptors as those
                                              those from oil and gas, fertilizer, and
                                                                                                      projection factors by product type based              monitoring sites that are projected to
                                              solvents were computed specifically to
                                                                                                      on AEO 2022 projections. A 2017–2019                  have average design values that exceed
                                              represent 2016. Stationary nonpoint
                                                                                                      average inventory was used for oil and                the NAAQS and that are also measuring
                                              sources include evaporative sources,                    natural gas exploration emissions in
                                              consumer products, fuel combustion                                                                            nonattainment based on the most recent
                                                                                                      2023 everywhere except for California                 monitored design values. This approach
                                              that is not captured by point sources,                  and in the WRAP states in which data
                                              agricultural livestock, agricultural                                                                          is consistent with prior transport
                                                                                                      from the WRAP future year inventory 73                rulemakings, such as the NOX SIP Call
                                              fertilizer, residential wood combustion,                were used. NOX and VOC reductions
                                              fugitive dust, and oil and gas sources.                                                                       and CAIR, where the EPA defined
                                                                                                      that are co-benefits to the NSPS for RICE             nonattainment receptors as those areas
                                              The emissions sources derived from the                  are reflected, along with Natural Gas
                                              2017 NEI include agricultural livestock,                                                                      that both currently monitor
                                                                                                      Turbines and Process Heaters NSPS                     nonattainment and that the EPA projects
                                              fugitive dust, residential wood                         NOX controls and NSPS Oil and Gas
                                              combustion, waste disposal (including                                                                         will be in nonattainment in the future
                                                                                                      VOC controls. The WRAP future year                    compliance year.
                                              composting), bulk gasoline terminals,                   inventory was used for oil and natural
                                              and miscellaneous non-industrial                                                                                 The Agency explained in the NOX SIP
                                                                                                      gas production sources in 2023 except                 Call and CAIR and then reaffirmed in
                                              sources such as cremation, hospitals,                   in New Mexico where the WRAP Base
                                              lamp breakage, and automotive repair                                                                          the CSAPR Update that the EPA has the
                                                                                                      year emissions were projected using the               most confidence in our projections of
                                              shops. A recent method to compute                       EIA historical and AEO forecasted
                                              solvent VOC emissions was used.71                                                                             nonattainment for those counties that
                                                                                                      production data. Estimated impacts                    also measure nonattainment for the
                                                 Where comments were provided                         from the New Mexico Administrative                    most recent period of available ambient
                                              about projected control measures or                     Code 20.2.50 were included.                           data. The EPA separately identified
                                              changes in nonpoint source emissions,                   B. Air Quality Modeling To Identify                   maintenance receptors as those
                                              those inputs were first reviewed by the                 Nonattainment and Maintenance                         receptors that would have difficulty
                                              EPA. Those found to be based on                         Receptors                                             maintaining the relevant NAAQS in a
                                              reasonable data for affected emissions                                                                        scenario that accounts for historical
                                              sources were incorporated into the                         This section describes the air quality
                                                                                                      modeling and analyses that the EPA                    variability in air quality at that receptor.
                                              projected inventories for 2023 to the                                                                         The variability in air quality was
                                              extent possible. Where possible,                        performed in Step 1 to identify locations
                                                                                                      where the Agency expects there to be                  determined by evaluating the
                                              projection factors based on the AEO                                                                           ‘‘maximum’’ future design value at each
                                              used data from AEO 2022, the most                       nonattainment or maintenance receptors
                                                                                                      for the 2015 ozone NAAQS in 2023.                     receptor based on a projection of the
                                              recent AEO at the time available at the                                                                       maximum measured design value over
                                              time the inventories were developed.                    Where the EPA’s analysis shows that an
                                                                                                      area or site does not fall under the                  the relevant period. The EPA interprets
                                              Federal regulations that impact the                                                                           the projected maximum future design
                                              nonpoint sources were reflected in the                  definition of a nonattainment or
                                                                                                      maintenance receptor in 2023, that site               value to be a potential future air quality
                                              inventories. Adjustments for state fuel                                                                       outcome consistent with the
                                              sulfur content rules for fuel oil in the                is excluded from further analysis under
                                                                                                      the EPA’s good neighbor framework.                    meteorology that yielded maximum
                                              Northeast were included along with                                                                            measured concentrations in the ambient
                                              solvent controls applicable within the                  1. Approach for Identifying Receptors                 data set analyzed for that receptor (i.e.,
                                              northeast ozone transport region (OTR)                     In the proposed actions, the EPA                   ozone conducive meteorology). The EPA
                                              states. Details are available in the                    applied the same approach used in the                 also recognizes that previously
                                              2016v3 Emissions Modeling TSD.                          CSAPR Update and the Revised CSAPR                    experienced meteorological conditions
                                                 Nonpoint oil and gas emissions                       Update to identify nonattainment and                  (e.g., dominant wind direction,
                                              inventories for many states were                        maintenance receptors for the 2008                    temperatures, and air mass patterns)
                                              developed based on outputs from the                     ozone NAAQS.74 The EPA’s approach                     promoting ozone formation that led to
                                              2017 NEI version of the EPA Oil and                     gives independent effect to both the                  maximum concentrations in the
                                              Gas Tool using activity data for year                   ‘‘contribute significantly to                         measured data may reoccur in the
                                              2016. Production-related emissions data                 nonattainment’’ and the ‘‘interfere with              future. The maximum design value
                                              from the 2017 NEI were used for                         maintenance’’ prongs of section                       gives a reasonable projection of future
                                              Oklahoma, 2016v1 emissions were used                    110(a)(2)(D)(i)(I), consistent with the               air quality at the receptor under a
                                              for Colorado and Texas production-                      D.C. Circuit’s direction in North                     scenario in which such conditions do,
                                              related sources to respond to comments.                 Carolina. Further, in its decision on the             in fact, reoccur. The projected
khammond on DSKJM1Z7X2PROD with RULES2




                                              Data for production-related nonpoint oil                remand of CSAPR from the Supreme                      maximum design value is used to
                                              and gas emissions in the States of                      Court in the EME Homer City II case, the              identify upwind emissions that, under
                                              Colorado, Montana, New Mexico, North                                                                          those circumstances, could interfere
                                                                                                        72 http://www.wrapair2.org/pdf/WRAP_OGWG_
                                              Dakota, South Dakota, Utah, and                                                                               with the downwind area’s ability to
                                                                                                      Report_Baseline_17Sep2019.pdf.
                                              Wyoming were obtained from the                            73 http://www.wrapair2.org/pdf/WRAP_OGWG_
                                                                                                                                                            maintain the NAAQS.
                                                                                                      2028_OTB_RevFinalReport_05March2020.pdf.
                                                71 https://doi.org/10.5194/acp-21-5079-2021.            74 See 86 FR 23078–79.                                75 EME   Homer City II, 795 F.3d at 136.



                                         VerDate Sep<11>2014   17:17 Feb 10, 2023   Jkt 259001   PO 00000   Frm 00014   Fmt 4701   Sfmt 4700   E:\FR\FM\13FER2.SGM   13FER2
                                                                   Case: 23-60069                     Document: 110                Page: 18            Date Filed: 03/27/2023
                                                                Federal Register / Vol. 88, No. 29 / Monday, February 13, 2023 / Rules and Regulations                                          9349

                                                 Therefore, applying this methodology                    EPA Response: In response to                       our modeling did not identify these sites
                                              for this action, the EPA assessed the                   comments, the EPA compared the                        as receptors, we do not believe it is
                                              magnitude of the maximum projected                      projected 2023 design values based on                 sufficiently certain that these sites will
                                              design values for 2023 at each receptor                 the proposal modeling to recent trends                be in nonattainment that they should be
                                              in relation to the 2015 ozone NAAQS                     in measured data. As a result of this                 considered nonattainment receptors. In
                                              and, where such a value exceeds the                     analysis, the EPA agrees that current                 the face of this uncertainty in the
                                              NAAQS, the EPA determined that                          data indicate that there are monitoring               record, we regard our ability to consider
                                              receptor to be a ‘‘maintenance’’ receptor               sites at risk of continued nonattainment              such sites as receptors for purposes of
                                              for purposes of defining interference                   in 2023 even though the model                         good neighbor analysis under CAA
                                              with maintenance, consistent with the                   projected average and maximum design                  section 110(a)(2)(D)(i)(I) to be a function
                                              method used in CSAPR and upheld by                      values at these sites are below the                   of the requirement to prohibit emissions
                                              the D.C. Circuit in EME Homer City II.76                NAAQS (i.e., these sites would not be                 that interfere with maintenance of the
                                              That is, monitoring sites with a                        modeling-based receptors at Step 1).                  NAAQS; even if an area may be
                                              maximum design value that exceeds the                   While the EPA has confidence in the                   projected to be in attainment, we have
                                              NAAQS are projected to have                             reliability of the modeling for projecting            reliable information indicating that
                                              maintenance problems in the future                      air quality conditions and contributions              there is a clear risk that attainment will
                                              analytic years.                                         in future years, it would not be                      not in fact be achieved in 2023. Thus,
                                                 Recognizing that nonattainment                       reasonable to ignore recent measured                  our authority for treating these sites as
                                              receptors are also, by definition,                      ozone levels in many areas that are                   receptors at Step 1 in 2023 flows from
                                              maintenance receptors, the EPA often                    clearly not fully consistent with certain             the responsibility in CAA section
                                              uses the term ‘‘maintenance-only’’ to                   concentrations in the Step 1 analysis for             110(a)(2)(i)(I) to prohibit emissions that
                                              refer to receptors that are not also                    2023. Therefore, the EPA has developed                interfere with maintenance of the
                                              nonattainment receptors. Consistent                     an additional maintenance-only                        NAAQS. See, e.g., North Carolina, 531
                                              with the concepts for maintenance                       receptor category, which includes what                F.3d at 910–11 (failing to give effect to
                                              receptors, as described earlier, the EPA                we refer to as ‘‘violating monitor’’                  the interfere with maintenance clause
                                                                                                      receptors, based on current ozone                     ‘‘provides no protection for downwind
                                              identifies ‘‘maintenance-only’’ receptors
                                                                                                      concentrations measured by regulatory                 areas that, despite EPA’s predictions,
                                              as those monitoring sites that have
                                                                                                      ambient air quality monitoring sites.                 still find themselves struggling to meet
                                              projected average design values above                      Specifically, the EPA has identified
                                              the level of the applicable NAAQS, but                                                                        NAAQS due to upwind interference
                                                                                                      monitoring sites with measured 2021                   . . . .’’) (emphasis added). Recognizing
                                              that are not currently measuring                        and preliminary 2022 design values and
                                              nonattainment based on the most recent                                                                        that no modeling can perfectly forecast
                                                                                                      4th high maximum daily 8-hour average                 the future, and ‘‘a degree of imprecision
                                              official design values. In addition, those              (MDA8) ozone in both 2021 and 2022
                                              monitoring sites with projected average                                                                       is inevitable in tackling the problem of
                                                                                                      (preliminary data) that exceed the                    interstate air pollution,’’ this approach
                                              design values below the NAAQS, but                      NAAQS as having the greatest risk of
                                              with projected maximum design values                                                                          in the Agency’s judgement best balances
                                                                                                      continuing to have a problem attaining                the need to avoid both ‘‘under-control’’
                                              above the NAAQS are also identified as                  the standard in 2023. These criteria
                                              ‘‘maintenance only’’ receptors, even if                                                                       and ‘‘overcontrol,’’ EME Homer City,
                                                                                                      sufficiently consider measured air                    572 U.S. at 523. The EPA’s analysis of
                                              they are currently measuring                            quality data so as to avoid including
                                              nonattainment based on the most recent                                                                        these additional receptors further is
                                                                                                      monitoring sites that have measured
                                              official certified design values.77                                                                           explained in Section III.C.
                                                                                                      nonattainment data in recent years but
                                                 Comment: The EPA received                            could reasonably be anticipated to not                   However, because we did not propose
                                              comments claiming that the projected                    have a nonattainment or maintenance                   to apply this expansion of the basis for
                                              design values for 2023 were biased low                  problem in 2023, in line with our                     regulation under the good neighbor
                                              compared to recent measured data.                       modeling results. Our methodology is                  provision receptor-identification
                                              Commenters noted that a number of                       intended only to identify those sites that            methodology as the sole basis for
                                              monitoring sites that are projected to be               have sufficiently poor ozone levels that              finding an upwind state linked, in this
                                              below the NAAQS in 2023 based on the                    there is clearly a reasonable expectation             action we are only using this receptor
                                              EPA’s modeling for the proposed action                  that an ozone nonattainment or                        category on a confirmatory basis. That
                                              are currently measuring nonattainment                   maintenance problem will persist in the               is, for states that we find linked based
                                              based on data from 2020 and 2021. One                   2023 ozone season. Moreover, the 2023                 on our traditional modeling-based
                                              commenter requested that the EPA                        ozone season is so near in time that                  methodology in 2023, we find in this
                                              determine whether its past modeling                     recent measured ozone levels can be                   final analysis that the linkage at Step 2
                                              tends to overestimate or underestimate                  used to reasonably project whether an                 is strengthened and confirmed if that
                                              actual observed design values. If EPA                   air quality problem is likely to persist.             state is also linked to one or more
                                              finds that the agency’s model tends to                  We view this approach to identifying                  ‘‘violating-monitor’’ receptors. If a state
                                              underestimate future year design values,                additional receptors in 2023 as the best              is only linked to a violating-monitor
                                              the commenter requests that EPA re-run                  means of responding to the comments                   receptor in this final analysis, we are
                                              its ozone modeling, incorporating                       on this issue in this action, while also              deferring taking final action on that
                                              parameters that account for this                        identifying all transport receptors.                  state’s SIP submittal. This is the case for
                                              tendency.                                                  For purposes of this action, we will               the State of Tennessee. Among the states
                                                                                                      treat these violating monitors as an                  that previously had their transport SIPs
khammond on DSKJM1Z7X2PROD with RULES2




                                                76 EME   Homer City II, 795 F.3d at 136.              additional type of maintenance-only                   approved for the 2015 ozone NAAQS,
                                                77 See  https://www.epa.gov/air-trends/air-quality-   receptor. We acknowledge that the                     the EPA has also identified a linkage to
                                              design-values for design value reports. At the time     traditional modeling plus monitoring                  violating-monitor receptors for the State
                                              of this action, the most recent reports of certified    methodology we used at proposal and in                of Kansas. The EPA intends to further
                                              design values available are for the calendar year
                                              2021. The 2022 values are considered
                                                                                                      prior ozone transport rules would                     review its air quality modeling results
                                              ‘‘preliminary’’ and therefore subject to change         otherwise have identified such sites as               and recent measured ozone levels, and
                                              before certification.                                   being in attainment in 2023. Because                  we intend to address these states’ good


                                         VerDate Sep<11>2014   17:17 Feb 10, 2023   Jkt 259001   PO 00000   Frm 00015   Fmt 4701   Sfmt 4700   E:\FR\FM\13FER2.SGM   13FER2
                                                                  Case: 23-60069                    Document: 110                  Page: 19            Date Filed: 03/27/2023
                                              9350             Federal Register / Vol. 88, No. 29 / Monday, February 13, 2023 / Rules and Regulations

                                              neighbor obligations as expeditiously as                concentrations. Following the approach                For those sites that are projected to be
                                              practicable in a future action.                         in the CSAPR Update and the Revised                   violating the NAAQS based on the
                                                                                                      CSAPR Update, the EPA also projected                  average design values in 2023, the
                                              2. Methodology for Projecting Future
                                                                                                      future year design values based on a                  Agency examined the measured design
                                              Year Ozone Design Values
                                                                                                      modified version of the ‘‘3 x 3’’                     values for 2021, which are the most
                                                 Consistent with the EPA’s modeling                   approach for those monitoring sites                   recent official measured design values at
                                              guidance, the 2016 base year and future                 located in coastal areas. In this                     the time of this final action.
                                              year air quality modeling results were                  alternative approach, the EPA                           As noted earlier, the Agency proposes
                                              used in a relative sense to project design              eliminated from the RRF calculations                  to identify nonattainment receptors in
                                              values for 2023.78 That is, the ratios of               the modeling data in those grid cells                 this rulemaking as those sites that are
                                              future year model predictions to base                   that are dominated by water (i.e., more               violating the NAAQS based on current
                                              year model predictions are used to                      than 50 percent of the area in the grid               measured air quality through 2021 and
                                              adjust ambient ozone design values up                   cell is water) and that do not contain a              have projected average design values of
                                              or down depending on the relative                       monitoring site (i.e., if a grid cell is more         71 ppb or greater. Maintenance-only
                                              (percent) change in model predictions                   than 50 percent water but contains an                 receptors include both: (1) Those sites
                                              for each location. The EPA’s modeling                   air quality monitor, that cell would                  with projected average design values
                                              guidance recommends using measured                      remain in the calculation). The choice of             above the NAAQS that are currently
                                              ozone concentrations for the 5-year                     more than 50 percent of the grid cell                 measuring clean data (i.e., ozone design
                                              period centered on the base year as the                 area as water as the criteria for                     values below the level of the 2015 ozone
                                              air quality data starting point for future              identifying overwater grid cells is based             NAAQS in 2021) and (2) those sites
                                              year projections. This average design                   on the treatment of land use in the                   with projected average design values
                                              value is used to dampen the effects of                  Weather Research and Forecasting                      below the level of the NAAQS, but with
                                              inter-annual variability in meteorology                 model (WRF). Specifically, in the WRF                 projected maximum design values of 71
                                              on ozone concentrations and to provide                  meteorological model those grid cells                 ppb or greater. In addition to the
                                              a reasonable projection of future air                   that are greater than 50% overwater are               maintenance-only receptors, ozone
                                              quality at the receptor under average                   treated as being 100 percent overwater.               nonattainment receptors are also
                                              conditions. In addition, the Agency                     In such cases the meteorological                      maintenance receptors because the
                                              calculated maximum design values from                   conditions in the entire grid cell reflect            projected maximum design values for
                                              within the 5-year base period to                        the vertical mixing and winds over                    each of these sites is always greater than
                                              represent conditions when meteorology                                                                         or equal to the average design value.
                                                                                                      water, even if part of the grid cell also
                                              is more favorable than average for ozone                                                                      Further, as explained previously in this
                                                                                                      happens to be over land with land-based
                                              formation. Because the base year for the                                                                      section, the EPA identifies certain
                                                                                                      emissions, as can often be the case for
                                              air quality modeling used in this final                                                                       monitoring sites as ‘‘violating monitor’’
                                                                                                      coastal areas. Overlaying land-based
                                              action is 2016, measured data for 2014–                                                                       maintenance-only receptors based on
                                                                                                      emissions with overwater meteorology
                                              2018 (i.e., design values for 2016, 2017,                                                                     2021 and 2022 measured ozone levels.
                                                                                                      may be representative of conditions at
                                              and 2018) were used to project average                                                                          The monitoring sites that the Agency
                                                                                                      coastal monitors during times of on-
                                              and maximum design values in 2023.                                                                            projects to be nonattainment and
                                                 The ozone predictions from the 2016                  shore flow associated with synoptic
                                                                                                                                                            maintenance receptors for the ozone
                                              and future year air quality model                       conditions or sea-breeze or lake-breeze
                                                                                                                                                            NAAQS in the 2023 base case are used
                                              simulations were used to project 2016–                  wind flows. But there may be other
                                                                                                                                                            for assessing the contribution of
                                              2018 average and maximum ozone                          times, particularly with off-shore wind
                                                                                                                                                            emissions in upwind states to
                                              design values to 2023 using an approach                 flow, when vertical mixing of land-                   downwind nonattainment and
                                              similar to the approach in the EPA’s                    based emissions may be too limited due                maintenance of the 2015 ozone NAAQS
                                              guidance for attainment demonstration                   to the presence of overwater                          as part of this final action.
                                              modeling. This guidance recommends                      meteorology. Thus, for our modeling the
                                              using model predictions from the 3 x 3                  EPA projected average and maximum                     3. 2023 Nonattainment and
                                              array of grid cells surrounding the                     design values at individual monitoring                Maintenance-Only Receptors for the
                                                                                                      sites based on both the ‘‘3 x 3’’ approach            Final Action
                                              location of the monitoring site to
                                              calculate a Relative Response Factor                    as well as the alternative approach that                 In this section we provide information
                                              (RRF) for that site. However, the                       eliminates overwater cells in the RRF                 on modeling-based design values and
                                              guidance also notes that an alternative                 calculation for near-coastal areas (i.e.,             measured data for monitoring sites
                                              array of grid cells may be used in certain              ‘‘no water’’ approach). The projected                 identified as nonattainment or
                                              situations where local topographic or                   2023 design values using both the ‘‘3 x               maintenance-only receptors in 2023 for
                                              geographical feature (e.g., a large water               3’’ and ‘‘no-water’’ approaches are                   this final action. Table III.B–1 of this
                                              body or a significant elevation change)                 provided in the docket for this final                 action contains the 2016-centered base
                                              may influence model response.                           action. Both approaches result in the                 period average and maximum 8-hour
                                                 The 2016–2018 base period average                    same set of receptors in 2023. That is,               ozone design values, the 2023 projected
                                              and maximum design values were                          monitoring sites that are identified as               average and maximum design values
                                              multiplied by the RRF to project each of                receptors in 2023 based on the ‘‘3 x 3’’              and the measured 2021 design values
                                              these design values to 2023. In this                    approach are also receptors based on the              for monitoring sites that are projected to
                                              manner, the projected design values are                 ‘‘no water’’ approach.                                be nonattainment receptors in 2023.
                                              grounded in monitored data, and not the                    Consistent with the truncation and                 Table III.B–2 of this action contains this
khammond on DSKJM1Z7X2PROD with RULES2




                                              absolute model-predicted future year                    rounding procedures for the 8-hour                    same information for monitoring sites
                                                                                                      ozone NAAQS, the projected design                     that are projected to be maintenance-
                                                78 U.S. Environmental Protection Agency, 2018.        values are evaluated after truncation to              only receptors in 2023, based on air
                                              Modeling Guidance for Demonstrating Attainment          integers in units of ppb. Therefore,                  quality modeling. Table III.B–3 of this
                                              of Air Quality Goals for Ozone, PM2.5, and Regional
                                              Haze, Research Triangle Park, NC. https://
                                                                                                      projected design values that are greater              action contains the 2023 projected
                                              www.epa.gov/scram/state-implementation-plan-sip-        than or equal to 71 ppb are considered                average and maximum design values
                                              attainment-demonstration-guidance.                      to be violating the 2015 ozone NAAQS.                 and 2021 design values and 4th high


                                         VerDate Sep<11>2014   17:17 Feb 10, 2023   Jkt 259001   PO 00000   Frm 00016   Fmt 4701   Sfmt 4700   E:\FR\FM\13FER2.SGM   13FER2
                                                                    Case: 23-60069                       Document: 110                    Page: 20            Date Filed: 03/27/2023
                                                                Federal Register / Vol. 88, No. 29 / Monday, February 13, 2023 / Rules and Regulations                                               9351

                                              MDA8 ozone concentrations and                                 monitor maintenance-only receptors.                    on the approach for projecting average
                                              preliminary 2020 design values and 4th                        The design values for all monitoring                   and maximum design values are
                                              high MDA8 ozone concentrations for                            sites in the U.S. are provided in the                  provided in the AQM TSD.
                                              monitoring sites identified as violating                      docket for this action. Additional details

                                                TABLE III.B–1—AVERAGE AND MAXIMUM 2016-CENTERED AND 2023 BASE CASE 8-HOUR OZONE DESIGN VALUES AND
                                                                  2021 DESIGN VALUES (PPB) AT PROJECTED NONATTAINMENT RECEPTORS a
                                                                                                                             2016 centered    2016 centered                           2023
                                                    Monitor ID                State                 County                                                       2023 average                      2021
                                                                                                                                average         maximum                              maximum

                                              060650016    ................         CA    Riverside ...................               79.0                80.0              72.2          73.1              78
                                              060651016    ................         CA    Riverside ...................               99.7                101               91.0          92.2              95
                                              080350004    ................         CO    Douglas ....................                77.3                 78               71.3          71.9              83
                                              080590006    ................         CO    Jefferson ...................               77.3                 78               72.8          73.5              81
                                              080590011    ................         CO    Jefferson ...................               79.3                 80               73.5          74.1              83
                                              090010017    ................         CT    Fairfield .....................             79.3                 80               71.6          72.2              79
                                              090013007    ................         CT    Fairfield .....................             82.0                 83               72.9          73.8              81
                                              090019003    ................         CT    Fairfield .....................             82.7                 83               73.3          73.6              80
                                              481671034    ................         TX    Galveston .................                 75.7                  77              71.5          72.8              72
                                              482010024    ................         TX    Harris ........................             79.3                 81               75.1          76.7              74
                                              490110004    ................         UT    Davis .........................             75.7                 78               72.0          74.2              78
                                              490353006    ................         UT    Salt Lake ..................                76.3                 78               72.6          74.2              76
                                              490353013    ................         UT    Salt Lake ..................                76.5                 77               73.3          73.8              76
                                              551170006    ................         WI    Sheboygan ...............                   80.0                 81               72.7          73.6              72
                                                a 2016-centered base period average design values and projected average and maximum design values are reported with 1 digit to the right of
                                              the decimal, as recommended in the EPA’s modeling guidance. The 2016 maximum design values and 2021 design values are truncated to inte-
                                              ger values consistent with ozone design value reporting convention in appendix U of 40 CFR part 50.

                                                TABLE III.B–2—AVERAGE AND MAXIMUM 2016-CENTERED AND 2023 BASE CASE 8-HOUR OZONE DESIGN VALUES AND
                                                                 2021 DESIGN VALUES (PPB) AT PROJECTED MAINTENANCE-ONLY RECEPTORS
                                                                                                                             2016 centered    2016 centered                           2023
                                                    Monitor ID                State                 County                                                       2023 average                      2021
                                                                                                                                average         maximum                              maximum

                                              040278011    ................      AZ       Yuma ........................               72.3                  74              70.4          72.1              67
                                              080690011    ................      CO       Larimer .....................               75.7                  77              70.9          72.1              77
                                              090099002    ................      CT       New Haven ...............                   79.7                  82              70.5          72.6              82
                                              170310001    ................       IL      Cook .........................              73.0                  77              68.2          71.9              71
                                              170314201    ................       IL      Cook .........................              73.3                  77              68.0          71.5              74
                                              170317002    ................       IL      Cook .........................              74.0                  77              68.5          71.3              73
                                              350130021    ................      NM       Dona Ana .................                  72.7                  74              70.8          72.1              80
                                              350130022    ................      NM       Dona Ana .................                  71.3                  74              69.7          72.4              75
                                              350151005    ................      NM       Eddy .........................              69.7                  74              69.7          74.1              77
                                              350250008    ................      NM       Lea ............................            67.7                  70              69.8          72.2              66
                                              480391004    ................      TX       Brazoria ....................               74.7                  77              70.4          72.5              75
                                              481210034    ................      TX       Denton ......................               78.0                  80              69.8          71.6              74
                                              481410037    ................      TX       El Paso .....................               71.3                  73              69.8          71.4              75
                                              482010055    ................      TX       Harris ........................             76.0                  77              70.9          71.9              77
                                              482011034    ................      TX       Harris ........................             73.7                  75              70.1          71.3              71
                                              482011035    ................      TX       Harris ........................             71.3                  75              67.8          71.3              71
                                              530330023    ................      WA       King ..........................             73.3                  77              67.6          71.0              64
                                              550590019    ................      WI       Kenosha ...................                 78.0                  79              70.8          71.7              74
                                              551010020    ................      WI       Racine ......................               76.0                  78              69.7          71.5              73



                                                In total, in 2023 there are a total of                      are identified as ‘‘violating-monitor’’                the analytical basis for our Step 2
                                              projected 33 modeling-based receptors                         maintenance-only receptors in 2023.As                  findings by establishing that many
                                              nationwide including 14 nonattainment                         noted earlier in this section, the EPA                 upwind states covered in this action are
                                              receptors in 9 different counties and 19                      uses the approach of considering                       also projected to contribute above 1
                                              maintenance-only receptors in 13                              ‘‘violating-monitor’’ maintenance-only                 percent of the NAAQS to these
                                              additional counties (Harris County, TX,                       receptors as confirmatory of the                       additional ‘‘violating monitor’’
                                              has both nonattainment and                                    proposal’s identification of receptors                 maintenance-only receptors.
                                              maintenance-only receptors).                                  and does not implicate additional
                                                As shown in Table III.B–3 of this                           linked states in this final action, Rather,
khammond on DSKJM1Z7X2PROD with RULES2




                                              action, there are 49 monitoring sites that                    using this approach serves to strengthen




                                         VerDate Sep<11>2014   17:17 Feb 10, 2023     Jkt 259001    PO 00000      Frm 00017    Fmt 4701   Sfmt 4700   E:\FR\FM\13FER2.SGM   13FER2
                                                                    Case: 23-60069                      Document: 110                   Page: 21            Date Filed: 03/27/2023
                                              9352               Federal Register / Vol. 88, No. 29 / Monday, February 13, 2023 / Rules and Regulations

                                                TABLE III.B–3—AVERAGE AND MAXIMUM 2023 BASE CASE 8-HOUR OZONE, AND 2021 AND PRELIMINARY 2022 DESIGN
                                                                   VALUES (PPB) AND 4TH HIGH CONCENTRATIONS AT VIOLATING MONITORS a
                                                                                                                         2023            2023                                               2021          2022 P
                                                    Monitor ID             State                  County                                                   2021           2022 P
                                                                                                                        average         maximum                                           4th high        4th high

                                              40070010 ................         AZ     Gila .........................          67.9             69.5              77               76             75                  74
                                              40130019 ................         AZ     Maricopa .................              69.8             70.0              75               77             78                  76
                                              40131003 ................         AZ     Maricopa .................              70.1             70.7              80               80             83                  78
                                              40131004 ................         AZ     Maricopa .................              70.2             70.8              80               81             81                  77
                                              40131010 ................         AZ     Maricopa .................              68.3             69.2              79               80             80                  78
                                              40132001 ................         AZ     Maricopa .................              63.8             64.1              74               78             79                  81
                                              40132005 ................         AZ     Maricopa .................              69.6             70.5              78               79             79                  77
                                              40133002 ................         AZ     Maricopa .................              65.8             65.8              75               75             81                  72
                                              40134004 ................         AZ     Maricopa .................              65.7             66.6              73               73             73                  71
                                              40134005 ................         AZ     Maricopa .................              62.3             62.3              73               75             79                  73
                                              40134008 ................         AZ     Maricopa .................              65.6             66.5              74               74             74                  71
                                              40134010 ................         AZ     Maricopa .................              63.8             66.9              74               76             77                  75
                                              40137020 ................         AZ     Maricopa .................              67.0             67.0              76               77             77                  75
                                              40137021 ................         AZ     Maricopa .................              69.8             70.1              77               77             78                  75
                                              40137022 ................         AZ     Maricopa .................              68.2             69.1              76               78             76                  79
                                              40137024 ................         AZ     Maricopa .................              67.0             67.9              74               76             74                  77
                                              40139702 ................         AZ     Maricopa .................              66.9             68.1              75               77             72                  77
                                              40139704 ................         AZ     Maricopa .................              65.3             66.2              74               77             76                  76
                                              40139997 ................         AZ     Maricopa .................              70.5             70.5              76               79             82                  76
                                              40218001 ................         AZ     Pinal ........................          67.8             69.0              75               76             73                  77
                                              80013001 ................         CO     Adams .....................             63.0             63.0              72               77             79                  75
                                              80050002 ................         CO     Arapahoe ................               68.0             68.0              80               80             84                  73
                                              80310002 ................         CO     Denver ....................             63.6             64.8              72               74             77                  71
                                              80310026 ................         CO     Denver ....................             64.5             64.8              75               77             83                  72
                                              90079007 ................         CT     Middlesex ................              68.7             69.0              74               73             78                  73
                                              90110124 ................         CT     New London ...........                  65.5             67.0              73               72             75                  71
                                              170310032 ..............            IL   Cook .......................            67.3             69.8              75               75             77                  72
                                              170311601 ..............            IL   Cook .......................            63.8             64.5              72               73             72                  71
                                              181270024 ..............           IN    Porter ......................           63.4             64.6              72               73             72                  73
                                              260050003 ..............           MI    Allegan ....................            66.2             67.4              75               75             78                  73
                                              261210039 ..............           MI    Muskegon ...............                67.5             68.4              74               79             75                  82
                                              320030043 ..............          NV     Clark .......................           68.4             69.4              73               75             74                  74
                                              350011012 ..............          NM     Bernalillo .................            63.8             66.0              72               73             76                  74
                                              350130008 ..............          NM     Dona Ana ................               65.6             66.3              72               76             79                  78
                                              361030002 ..............          NY     Suffolk .....................           66.2             68.0              73               74             79                  74
                                              390850003 ..............          OH     Lake ........................           64.3             64.6              72               74             72                  76
                                              480290052 ..............          TX     Bexar ......................            67.1             67.8              73               74             78                  72
                                              480850005 ..............          TX     Collin .......................          65.4             66.0              75               74             81                  73
                                              481130075 ..............          TX     Dallas ......................           65.3             66.5              71               71             73                  72
                                              481211032 ..............          TX     Denton ....................             65.9             67.7              76               77             85                  77
                                              482010051 ..............          TX     Harris ......................           65.3             66.3              74               73             83                  72
                                              482010416 ..............          TX     Harris ......................           68.8             70.4              73               73             78                  71
                                              484390075 ..............          TX     Tarrant ....................            63.8             64.7              75               76             76                  77
                                              484391002 ..............          TX     Tarrant ....................            64.1             65.7              72               77             76                  80
                                              484392003 ..............          TX     Tarrant ....................            65.2             65.9              72               72             74                  72
                                              484393009 ..............          TX     Tarrant ....................            67.5             68.1              74               75             75                  75
                                              490571003 ..............          UT     Weber .....................             69.3             70.3              71               74             77                  71
                                              550590025 ..............          WI     Kenosha ..................              67.6             70.7              72               73             72                  71
                                              550890008 ..............          WI     Ozaukee .................               65.2             65.8              71               72             72                  72
                                                a 2022 preliminary design values are based on 2022 measured MDA8 concentrations provided by state air agencies to the EPA’s Air Quality
                                              System (AQS), as of January 3, 2023.


                                              C. Air Quality Modeling To Quantify                         CAMx employs enhanced source                              The EPA performed nationwide, state-
                                              Upwind State Contributions                                  apportionment techniques that track the                 level ozone source apportionment
                                                This section documents the                                formation and transport of ozone from                   modeling using the CAMx Ozone
                                              procedures the EPA used to quantify the                     specific emissions sources and                          Source Apportionment Technology/
                                              impact of emissions from specific                           calculates the contribution of sources                  Anthropogenic Precursor Culpability
                                              upwind states on ozone design values in                     and precursors to ozone for individual                  Analysis (OSAT/APCA) technique 79 to
                                              2023 for the identified downwind                            receptor locations. The benefit of the                  quantify the contribution of 2023 NOX
khammond on DSKJM1Z7X2PROD with RULES2




                                              nonattainment and maintenance                               photochemical model source                              and VOC emissions from all sources in
                                              receptors. The EPA used CAMx                                apportionment technique is that all                     each state to the corresponding
                                              photochemical source apportionment                          modeled ozone at a given receptor                       projected ozone design values in 2023 at
                                              modeling to quantify the impact of                          location in the modeling domain is
                                                                                                                                                                    79 As part of this technique, ozone formed from
                                              emissions in specific upwind states on                      tracked back to specific sources of                     reactions between biogenic VOC and NOX with
                                              downwind nonattainment and                                  emissions and boundary conditions to                    anthropogenic NOX and VOC are assigned to the
                                              maintenance receptors for 8-hour ozone.                     fully characterize culpable sources.                    anthropogenic emissions.



                                         VerDate Sep<11>2014    17:17 Feb 10, 2023   Jkt 259001    PO 00000      Frm 00018   Fmt 4701   Sfmt 4700   E:\FR\FM\13FER2.SGM   13FER2
                                                                           Case: 23-60069                                Document: 110                               Page: 22                    Date Filed: 03/27/2023
                                                                       Federal Register / Vol. 88, No. 29 / Monday, February 13, 2023 / Rules and Regulations                                                                                         9353

                                              air quality monitoring sites. The CAMx                                           The contribution modeling provided                                            (2) Average the contributions and
                                              OSAT/APCA model run was performed                                             contributions to ozone from                                                   average the concentrations for the top 10
                                              for the period May 1 through September                                        anthropogenic NOX and VOC emissions                                           modeled ozone concentration days in
                                              30 using the projected future base case                                       in each state, individually. The                                              2023;
                                              emissions and 2016 meteorology for this                                       contributions to ozone from chemical                                             (3) Divide the average contribution by
                                              time period. In the source                                                    reactions between biogenic NOX and                                            the corresponding average concentration
                                              apportionment modeling the Agency                                             VOC emissions were modeled and                                                to obtain a Relative Contribution Factor
                                              tracked (i.e., tagged) the amount of                                          assigned to the ‘‘biogenic’’ category. The                                    (RCF) for each monitoring site;
                                              ozone formed from anthropogenic                                               contributions from wildfire and
                                              emissions in each state individually as                                       prescribed fire NOX and VOC emissions                                            (4) Multiply the 2023 average design
                                              well as the contributions from other                                          were modeled and assigned to the                                              value by the 2023 RCF at each site to
                                              sources (e.g., natural emissions).                                            ‘‘fires’’ category. That is, the                                              produce the average contribution metric
                                                 In the state-by-state source                                               contributions from the ‘‘biogenic’’ and                                       values in 2023; 81
                                              apportionment model run, the EPA                                              ‘‘fires’’ categories are not assigned to                                         (5) Truncate the average contribution
                                              tracked the ozone formed from each of                                         individual states nor are they included                                       metric values to two digits to the right
                                              the following tags:                                                           in the state contributions.                                                   of the decimal for comparison to the 1
                                                 • States—anthropogenic NOX                                                    For the Step 2 analysis, the EPA                                           percent of the NAAQS screening
                                              emissions and VOC emissions from                                              calculated a contribution metric that                                         threshold (0.70 ppb)
                                              individual state (emissions from all                                          considers the average contribution on
                                              anthropogenic sectors in a given state                                                                                                                         The resulting contributions from each
                                                                                                                            the 10 highest ozone concentration days
                                              were combined);                                                                                                                                             tag to each monitoring site in the U.S.
                                                                                                                            (i.e., top 10 days) in 2023 using the same
                                                 • Biogenics—biogenic NOX and VOC                                           approach as the EPA used in the
                                                                                                                                                                                                          for 2023 can be found in the docket for
                                              emissions domain-wide (i.e., not by                                                                                                                         this final action. Additional details on
                                                                                                                            proposed action and in the Revised
                                              state);                                                                                                                                                     the source apportionment modeling and
                                                                                                                            CSAPR Update.80 This average
                                                 • Boundary Concentrations—                                                                                                                               the procedures for calculating
                                              concentrations transported into the air                                       contribution metric is intended to
                                                                                                                                                                                                          contributions can be found in the AQM
                                              quality modeling domain;                                                      provide a reasonable representation of
                                                                                                                                                                                                          TSD. The EPA’s response to comments
                                                 • Tribes—the emissions from those                                          the contribution from individual states
                                                                                                                                                                                                          on the method for calculating the
                                              tribal lands for which the Agency has                                         to projected future year design values,
                                                                                                                            based on modeled transport patterns                                           contribution metric can be found in the
                                              point source inventory data emissions                                                                                                                       RTC document for this final action.
                                              modeling platform (EPA did not model                                          and other meteorological conditions
                                              the contributions from individual                                             generally associated with modeled high                                           The largest contribution from each
                                              tribes);                                                                      ozone concentrations at the receptor. An                                      state that is the subject of this final
                                                 • Canada and Mexico—                                                       average contribution metric constructed                                       action to modeled 8-hour ozone
                                              anthropogenic emissions from those                                            in this manner ensures the magnitude of                                       nonattainment and modeling-based
                                              sources in the portions of Canada and                                         the contributions is directly related to                                      maintenance receptors in downwind
                                              Mexico included within the modeling                                           the magnitude of the ozone design value                                       states in 2023 are provided in Table
                                              domain (the EPA did not model the                                             at each site.                                                                 III.C–1 of this action. The largest
                                              contributions from Canada and Mexico                                             The analytic steps for calculating the                                     contribution from each state to the
                                              separately);                                                                  contribution metric for the 2023 analytic                                     additional ‘‘violating monitor’’
                                                 • Fires—combined emissions from                                            year are as follows:                                                          maintenance-only receptors is provided
                                              wild and prescribed fires domain-wide                                            (1) Calculate the 8-hour average                                           in Table III.C–2 of this action. All states
                                              (i.e., not by state); and                                                     contribution from each source tag to                                          that are linked to one or more
                                                 • Offshore—combined emissions                                              individual ozone monitoring site for the                                      nonattainment or maintenance-only
                                              from offshore marine vessels and                                              time period of the 8-hour daily                                               receptors are also linked to one or more
                                              offshore drilling platforms within the                                        maximum modeled concentrations in                                             violating monitor maintenance
                                              modeling domain.                                                              2023;                                                                         receptors, except for Minnesota.

                                                TABLE III.C–1—LARGEST CONTRIBUTION BY STATE TO DOWNWIND 8-HOUR OZONE NONATTAINMENT AND MAINTENANCE
                                                                                       RECEPTORS IN 2023 (ppb)
                                                                                                                                                                                                                          Largest             Largest
                                                                                                                                                                                                                        contribution        contribution
                                                                                                                     Upwind state                                                                                     to a downwind       to a downwind
                                                                                                                                                                                                                      nonattainment      maintenance-only
                                                                                                                                                                                                                         receptor            receptor

                                              Alabama .......................................................................................................................................................                    0.75                   0.65
                                              Arkansas ......................................................................................................................................................                    0.94                   1.21
                                              California ......................................................................................................................................................                 35.27                   6.31
                                              Illinois ...........................................................................................................................................................              13.89                  19.09
                                              Indiana .........................................................................................................................................................                  8.90                  10.03
                                              Kentucky ......................................................................................................................................................                    0.84                   0.79
khammond on DSKJM1Z7X2PROD with RULES2




                                              Louisiana ......................................................................................................................................................                   9.51                   5.62

                                                80 The use of daily contributions on the top 10                               81 Note that a contribution metric value was not                            contributions are based on the days with the highest
                                              concentration days for calculating the average                                calculated for any receptor at which there were                               ozone projections. This criterion is consistent with
                                              contribution metric is designed to be consistent                              fewer than 5 days with model-predicted MDA8                                   the criterion for projecting design values, as
                                              with the method specified in the modeling                                     ozone concentrations greater than or equal to 60                              recommended in the EPA’s modeling guidance. In
                                              guidance in terms of the number of days to use                                ppb in 2023. Eliminating from the Step 2 evaluation                           the modeling for this final action, the monitoring
                                              when projecting future year design values.                                    any receptors for which the modeling does not meet                            site in Seattle, Washington (530330023), was the
                                                                                                                            this criterion ensures that upwind state                                      only receptor that did not meet this criterion.



                                         VerDate Sep<11>2014          17:17 Feb 10, 2023          Jkt 259001       PO 00000        Frm 00019        Fmt 4701       Sfmt 4700        E:\FR\FM\13FER2.SGM              13FER2
                                                                              Case: 23-60069                                 Document: 110                         Page: 23                     Date Filed: 03/27/2023
                                              9354                       Federal Register / Vol. 88, No. 29 / Monday, February 13, 2023 / Rules and Regulations

                                                TABLE III.C–1—LARGEST CONTRIBUTION BY STATE TO DOWNWIND 8-HOUR OZONE NONATTAINMENT AND MAINTENANCE
                                                                                 RECEPTORS IN 2023 (ppb)—Continued
                                                                                                                                                                                                                        Largest             Largest
                                                                                                                                                                                                                      contribution        contribution
                                                                                                                        Upwind state                                                                                to a downwind       to a downwind
                                                                                                                                                                                                                    nonattainment      maintenance-only
                                                                                                                                                                                                                       receptor            receptor

                                              Maryland ......................................................................................................................................................                  1.13                  1.28
                                              Michigan .......................................................................................................................................................                 1.59                  1.56
                                              Minnesota ....................................................................................................................................................                   0.36                  0.85
                                              Mississippi ....................................................................................................................................................                 1.32                  0.91
                                              Missouri ........................................................................................................................................................                1.87                  1.39
                                              Nevada .........................................................................................................................................................                 1.11                  1.13
                                              New Jersey ..................................................................................................................................................                    8.38                  5.79
                                              New York .....................................................................................................................................................                  16.10                 11.29
                                              Ohio .............................................................................................................................................................               2.05                  1.98
                                              Oklahoma .....................................................................................................................................................                   0.79                  1.01
                                              Texas ...........................................................................................................................................................                1.03                  4.74
                                              Utah .............................................................................................................................................................               1.29                  0.98
                                              West Virginia ................................................................................................................................................                   1.37                  1.49
                                              Wisconsin .....................................................................................................................................................                  0.21                  2.86

                                                 TABLE III.C–2—LARGEST CONTRIBU-                                             more recent air quality and contribution                                   summary of Alabama’s June 21, 2022,
                                                 TION TO DOWNWIND 8-HOUR OZONE                                               information. Here we provide a brief,                                      SIP submission, as well as Alabama’s
                                                 ‘‘VIOLATING   MONITOR’’ MAINTE-                                             high level overview of the SIP                                             previous submission history, was
                                                 NANCE-ONLY RECEPTORS (ppb)
                                                                                                                             submissions and the EPA’s evaluation                                       provided in the proposed SIP
                                                                                                                             and key bases for disapproval. These                                       submission disapproval.83 In its
                                                                                                            Largest          summaries are presented for ease of                                        submission, Alabama advocated for
                                                                                                          contribution       reference and to direct the public to the                                  discounting maintenance receptors
                                                                                                        to a downwind
                                                                                                           violating         most relevant portions of the proposals                                    through use of historical data trends.
                                                               Upwind State                                 monitor          and final rule record for further                                          The EPA finds Alabama’s approach is
                                                                                                         maintenance-
                                                                                                             only            information. The full basis for the EPA’s                                  not adequately justified.84 The EPA
                                                                                                           receptor          disapprovals is available in relevant                                      disagrees with Alabama’s assessment of
                                                                                                                             Federal Register notifications of                                          the 2016v2 modeling,85 and further
                                              Alabama ..........................................                      0.79
                                              Arkansas .........................................                      1.16
                                                                                                                             proposed disapproval for each state, in                                    responds to comments on model
                                              California .........................................                    6.97   the technical support documents                                            performance in Section III. The EPA
                                              Illinois ..............................................                16.53   informing the proposed and final action,                                   disagrees with Alabama’s arguments for
                                              Indiana .............................................                   9.39   and in the responses to comments in                                        application of a higher contribution
                                              Kentucky ..........................................                     1.57
                                              Louisiana .........................................                     5.06   Section V and the RTC document. In                                         threshold than 1 percent of the NAAQS
                                              Maryland ..........................................                     1.14   general, except as otherwise noted, the                                    at Step 2,86 and further addresses the
                                              Michigan ..........................................                     3.47   comments and updated air quality                                           relevance of ‘‘significant impact levels’’
                                              Minnesota ........................................                      0.64   information did not convince the
                                              Mississippi .......................................                     1.02
                                                                                                                                                                                                        within the Prevention of Significant
                                              Missouri ...........................................                    2.95   Agency that a change from proposal was                                     Deterioration program (‘‘PSD SILs’’) in
                                              Nevada ............................................                     1.11   warranted for any state. The exceptions                                    Section V.B.6. The EPA found technical
                                              New Jersey .....................................                        8.00   are that the EPA is deferring action at                                    flaws in Alabama’s back trajectory
                                              New York .........................................                     12.08
                                              Ohio .................................................                  2.25
                                                                                                                             this time on the proposed disapprovals                                     analysis.87 The State did not conduct an
                                              Oklahoma ........................................                       1.57   for Tennessee and Wyoming. Further,                                        adequate Step 3 analysis, and the EPA
                                              Texas ...............................................                   3.83   the EPA is finalizing partial approvals of                                 identified several unsupported
                                              Utah .................................................                  1.46   prong 1 (‘‘significant contribution to                                     assertions in the SIP submission.88
                                              West Virginia ...................................                       1.79
                                              Wisconsin ........................................                      5.10   nonattainment’’) for Minnesota and                                         Alabama also argued in its SIP
                                                                                                                             Wisconsin because they are linked only                                     submission that it had already
                                              IV. Summary of Bases for Disapproval                                           to maintenance-only receptors; the EPA                                     implemented all cost-effective controls.
                                                                                                                             is finalizing a partial disapproval with                                   However, the State included an
                                                 As explained in Section II, the EPA                                         respect to prong 2 (‘‘interference with                                    insufficient evaluation of additional
                                              relies on the 4-step interstate transport                                      maintenance’’) obligations for these two                                   emissions control opportunities to
                                              framework to evaluate obligations under                                        states.                                                                    support such a conclusion.89 The EPA
                                              CAA section 110(a)(2)(D)(i)(I). At
                                                                                                                             A. Alabama                                                                 further addresses arguments related to
                                              proposal, the EPA used this framework
                                              to guide its evaluation of each state’s                                          In the 2016v3 modeling, Alabama is                                       modeling-based receptors and does not consider the
                                              SIP submission. While the EPA used                                             projected to be linked above 1 percent                                     contributions to violating-monitor maintenance-
                                              this framework to maintain a nationally                                        of the NAAQS to one nonattainment                                          only receptors. Each state’s maximum contribution
                                              consistent and equitable approach to                                                                                                                      to downwind violating-monitor maintenance-only
khammond on DSKJM1Z7X2PROD with RULES2




                                                                                                                             receptor. It is also linked to one                                         receptors is available in the Final Action AQM TSD.
                                              interstate transport, the contents of each                                     violating-monitor maintenance-only                                           83 87 FR 64419–64421.
                                              individual state’s submission were                                             receptor. Its highest-level contribution is                                  84 Id. at 64421–64422.
                                              evaluated on their own merits, and the                                         0.75 ppb to Galveston County, Texas                                          85 Id. at 64422–64423.
                                              EPA considered the facts and                                                   (AQS Site ID 481671034).82 A full                                            86 Id. at 64423–64424.
                                              information, including information from                                                                                                                     87 Id. at 64424–64425.

                                              the Agency, available to the state at the                                         82 The highest-magnitude downwind contribution                            88 Id. at 64425–64426.

                                              time of its submission, in addition to                                         from each state is based on the contributions to                             89 Id.




                                         VerDate Sep<11>2014            17:17 Feb 10, 2023              Jkt 259001    PO 00000    Frm 00020        Fmt 4701       Sfmt 4700       E:\FR\FM\13FER2.SGM              13FER2
                                                                    Case: 23-60069                    Document: 110                  Page: 24            Date Filed: 03/27/2023
                                                                  Federal Register / Vol. 88, No. 29 / Monday, February 13, 2023 / Rules and Regulations                                           9355

                                              mobile sources in Section V.C.1.90                        transport SIP submission for the 2015                  ozone NAAQS.106 California included
                                              Additionally, as explained in Section                     ozone NAAQS.                                           no permanent and enforceable
                                              V.B.9,91 reliance on prior transport FIPs                                                                        emissions controls in its SIP
                                                                                                        C. California
                                              such as the CSAPR Update is not a                                                                                submission 107 and argued that interstate
                                              sufficient analysis at Step 3. The State                    In the 2016v3 modeling, California is                transport is fundamentally different in
                                              included no permanent and enforceable                     projected to be linked above 1 percent                 the western U.S. than in the eastern
                                              emissions controls in its SIP                             of the NAAQS to eight nonattainment                    U.S., to which the EPA responds in
                                              submission.92 We provide further                          receptors and four maintenance-only                    Section V.C.3.108 We provide further
                                              response to comments regarding                            receptors. It is also linked to 26                     response to comments regarding
                                              Alabama’s SIP submission in the RTC                       violating-monitor maintenance-only                     California’s SIP submission in the RTC
                                              document. The EPA is finalizing                           receptor. Its highest-level contribution is
                                                                                                                                                               document. The EPA is finalizing
                                              disapproval of Alabama’s interstate                       35.27 ppb to the nonattainment receptor
                                                                                                                                                               disapproval of California’s interstate
                                              transport SIP submission for the 2015                     located on the Morongo Band of
                                                                                                                                                               transport SIP submission for the 2015
                                              ozone NAAQS.                                              Missions Indians reservation (AQS Site
                                                                                                        ID 060651016).101 A full summary of                    ozone NAAQS.
                                              B. Arkansas                                               California’s October 1, 2018, SIP                      D. Illinois
                                                 In the 2016v3 modeling, Arkansas is                    submission was provided in the
                                              projected to be linked above 1 percent                    proposed SIP submission                                   In the 2016v3 modeling, Illinois is
                                              of the NAAQS to one nonattainment                         disapproval.102 The EPA found                          projected to be linked above 1 percent
                                              receptor and five maintenance-only                        technical and legal flaws in California’s              of the NAAQS to two nonattainment
                                              receptors. It is also linked to seven                     geographic, meteorological, wildfire,                  receptors and three maintenance-only
                                              violating-monitor maintenance-only                        and trajectories analysis, and the State’s             receptors. It is also linked to six
                                              receptor. Its highest-level contribution is               arguments related to local, international,             violating-monitor maintenance-only
                                              1.21 ppb to Brazoria County Texas (AQS                    and non-anthropogenic emissions.103                    receptor. Its highest-level contribution is
                                              Site ID 480391004). A full summary of                     The EPA further addresses the topic of                 19.09 ppb to Kenosha County,
                                              Arkansas’s October 10, 2019, SIP                          international emissions in Section                     Wisconsin (AQS Site ID 550590019). A
                                              submission was provided in the                            V.C.2. The State did not conduct an                    full summary of Illinois’s May 21, 2019,
                                              proposed SIP submission disapproval.93                    adequate Step 3 analysis.104 California                SIP submission was provided in the
                                              The EPA disagrees with Arkansas’s                         in its SIP submission argued that it had               proposed SIP submission
                                              arguments for application of a higher                     already implemented all cost-effective                 disapproval.109 The EPA disagrees with
                                              contribution threshold than 1 percent of                  controls. However, California provided                 Illinois’s arguments for application of a
                                              the NAAQS at Step 2, and further                          an insufficient evaluation of additional               higher contribution threshold than 1
                                              addresses the relevance of PSD SILs in                    control opportunities to support such a                percent of the NAAQS at Step 2.110 The
                                              Section V.B.6.94 The EPA also found                       conclusion.105 Further, the State’s                    state did not conduct an adequate Step
                                              technical flaws in Arkansas’s                             reliance on the cost-effectiveness                     3 analysis.111 The State included an
                                              ‘‘consistent and persistent’’ claims and                  threshold in the CSAPR Update is                       insufficient evaluation of additional
                                              back trajectory analysis,95 and legal                     insufficient for the more protective 2015              emissions control opportunities in its
                                              flaws in the state’s arguments related to                                                                        SIP submission.112 The EPA also found
                                              relative contribution.96 The State did                      101 We note that, consistent with the EPA’s prior
                                                                                                                                                               technical and legal flaws in Illinois’
                                              not conduct an adequate Step 3                            good neighbor actions in California, the regulatory
                                                                                                        ozone monitor located on the Morongo Band of           arguments related to ‘‘on-the-way’’
                                              analysis.97 Arkansas argued in its SIP                    Mission Indians (‘‘Morongo’’) reservation is a         controls, participation in the Lake
                                              submission that it had already                            projected downwind receptor in 2023. See               Michigan Air Directors Consortium
                                              implemented all cost-effective controls.                  monitoring site 060651016 in Table V.D–1. of this
                                                                                                                                                               (LADCO), and international
                                              However, the State included an                            action. We also note that the Temecula, California,
                                                                                                        regulatory ozone monitor is a projected downwind       contributions.113 The EPA further
                                              insufficient evaluation of additional                     receptor in 2023 and in past regulatory actions has    addresses the topic of international
                                              emissions control opportunities to                        been deemed representative of air quality on the
                                                                                                                                                               contribution in Section V.C.2. Further,
                                              support such a conclusion.98 Further,                     Pechanga Band of Luiseño Indians (‘‘Pechanga’’)
                                                                                                        reservation. See, e.g., Approval of Tribal             as explained in Section V.B.9., states
                                              the State’s reliance on the cost-
                                                                                                        Implementation Plan and Designation of Air             may not rely on non-SIP measures to
                                              effectiveness thresholds in the CSAPR                     Quality Planning Area; Pechanga Band of Luiseño
                                              and CSAPR Update is insufficient for                                                                             meet SIP requirements, and reliance on
                                                                                                        Mission Indians, 80 FR 18120, at 18121–18123
                                              the more protective 2015 ozone                            (April 3, 2015); see also monitoring site 060650016    prior transport FIPs such as the CSAPR
                                              NAAQS.99 The State included no                            in Table V.D–1. of this action. The presence of        Update is not a sufficient analysis at
                                              permanent and enforceable controls in
                                                                                                        receptors on, or representative of, the Morongo and    Step 3.114 The State included no
                                                                                                        Pechanga reservations does not trigger obligations     permanent and enforceable controls in
                                              its SIP submission.100 We provide                         for the Morongo and Pechanga Tribes. Nevertheless,
                                              further response to comments regarding                    these receptors are relevant to the EPA’s assessment   its SIP submission.115 We provide
                                              Arkansas’s SIP submission in the RTC                      of any linked upwind states’ good neighbor             further response to comments regarding
                                                                                                        obligations. See, e.g., Approval and Promulgation of   Illinois’s SIP submission in the RTC
                                              document. The EPA is finalizing                           Air Quality State Implementation Plans; California;
                                              disapproval of Arkansas’s interstate                      Interstate Transport Requirements for Ozone, Fine
                                                                                                                                                               document. The EPA is finalizing
                                                                                                        Particulate Matter, and Sulfur Dioxide, 83 FR 65093    disapproval of Illinois’s interstate
                                                90 See   also id. at 64425–64426.                       (December 19, 2018). Under 40 CFR 49.4(a), tribes
                                                91 See   also id. at 64426.                             are not subject to the specific plan submittal and      106 Id. at 31458–31459.
                                                92 Id.                                                  implementation deadlines for NAAQS-related              107 Id. at 31461.
khammond on DSKJM1Z7X2PROD with RULES2




                                                93 87
                                                                                                        requirements, including deadlines for submittal of
                                                       FR 9798, 9803–9806 (February 22, 2022).          plans addressing transport impacts. We also note
                                                                                                                                                                108 See also id. at 31453.
                                                94 Id. at 9806–9807.                                                                                            109 Id. at 9845.
                                                                                                        that California’s maximum contribution to a
                                                95 Id. at 9808–9809.                                                                                            110 Id. at 9852–9853.
                                                                                                        downwind state receptor is 6.31 ppb in Yuma
                                                96 Id. at 9809–9810.                                    County, Arizona (AQS Site ID 040278011).                111 Id. at 9853–9855.
                                                97 Id. at 9809–9810.                                      102 87 FR 31448–31452.                                112 Id. at 9853.
                                                98 Id. at 9810.                                           103 Id. at 31454–31457, 31460.                        113 Id. at 9853–9854.
                                                99 Id.                                                    104 Id. at 31458–31461.                               114 See also id. at 9854.
                                                100 Id. at 9811.                                          105 Id. at 31458.                                     115 Id. at 9855.




                                         VerDate Sep<11>2014     17:17 Feb 10, 2023   Jkt 259001   PO 00000   Frm 00021   Fmt 4701   Sfmt 4700   E:\FR\FM\13FER2.SGM      13FER2
                                                                   Case: 23-60069                    Document: 110                  Page: 25            Date Filed: 03/27/2023
                                              9356               Federal Register / Vol. 88, No. 29 / Monday, February 13, 2023 / Rules and Regulations

                                              transport SIP submission for the 2015                    F. Kentucky                                           modeling.131 Kentucky in its SIP
                                              ozone NAAQS.                                                                                                   submission advocated for lower
                                                                                                          In the 2016v3 modeling, Kentucky is                interstate ozone transport responsibility
                                              E. Indiana                                               projected to be linked above 1 percent                for states linked only to maintenance-
                                                                                                       of the NAAQS to two nonattainment                     only receptors. The EPA finds
                                                 In the 2016v3 modeling, Indiana is                    receptors and one maintenance-only
                                              projected to be linked above 1 percent                                                                         Kentucky’s arguments in this regard
                                                                                                       receptor. It is also linked to four                   inadequately supported.132 The
                                              of the NAAQS to four nonattainment                       violating-monitor maintenance-only
                                              receptors and six maintenance-only                                                                             Commonwealth included no permanent
                                                                                                       receptor. Its highest-level contribution              and enforceable emissions controls in
                                              receptors. It is also linked to 10                       based on the 2016v3 modeling is 0.84
                                              violating-monitor maintenance                                                                                  its SIP submission.133 We provide
                                                                                                       ppb to Fairfield County, Connecticut                  further response to comments regarding
                                              receptors. Its highest-level contribution                (AQS Site ID 090019003). A full
                                              is 10.03 ppb to Racine County,                                                                                 Kentucky’s SIP submission in the RTC
                                                                                                       summary of Kentucky’s January 11,                     document. The EPA is finalizing
                                              Wisconsin (AQS Site ID 551010020). A                     2019, SIP submission was provided in
                                              full summary of Indiana’s November 2,                                                                          disapproval of Kentucky’s interstate
                                                                                                       the proposed SIP submission                           transport SIP submission for the 2015
                                              2018, SIP submission was provided in                     disapproval.124 Although the EPA’s
                                              the proposed SIP submission                                                                                    ozone NAAQS.
                                                                                                       2016v3 modeling indicated a highest-
                                              disapproval.116 The EPA disagrees with                   level contribution below 1 ppb, the EPA               G. Louisiana
                                              Indiana’s arguments for application of a                 disagrees with Kentucky’s arguments for
                                              higher contribution threshold than 1                     application of a higher contribution                     In the 2016v3 modeling, Louisiana is
                                              percent of the NAAQS at Step 2.117 The                   threshold than 1 percent of the NAAQS                 projected to be linked above 1 percent
                                              State did not conduct an adequate Step                   at Step 2.125 Further, Kentucky is linked             of the NAAQS to two nonattainment
                                              3 analysis.118 The EPA found technical                   above 1 ppb to a violating-monitor                    receptors and five maintenance-only
                                              and legal flaws in Indiana’s arguments                   receptor. The EPA addresses the                       receptors. It is also linked to 10
                                              related to ozone concentration and                       relevance of the PSD SILs in Section                  violating-monitor maintenance-only
                                              design value trends, the timing of                       V.B.6. The Commonwealth did not                       receptor. Its highest-level contribution is
                                              expected source shutdowns, local                         conduct an adequate Step 3 analysis.126               9.51 ppb to Galveston County Texas
                                              emissions, international and offshore                    The EPA found technical and legal                     (AQS Site ID 481671034). A full
                                              contributions, Indiana’s portion of                      flaws in Kentucky’s arguments related                 summary of Louisiana’s November 13,
                                              contribution, and Indiana’s back                         to the level and timing of upwind versus              2019, SIP submission was provided in
                                                                                                       downwind-state responsibilities, NOX                  the proposed SIP submission
                                              trajectory analysis.119 The EPA further
                                                                                                       emissions trends and other air quality                disapproval.134 The EPA disagrees with
                                              addresses the topic of international
                                                                                                       information, and back-trajectory                      Louisiana’s arguments for application of
                                              emissions in Section V.C.2. Indiana
                                                                                                       analyses.127 The EPA also found                       a higher contribution threshold than 1
                                              argued that it would not be cost-
                                                                                                       technical and legal flaws in certain                  percent of the NAAQS and disagrees
                                              effective to implement controls on non-
                                                                                                       State-level comments submitted by                     with Louisiana’s criticisms of a 1
                                              EGUs. However, the State included an
                                                                                                       Midwest Ozone Group and attached to                   percent of the NAAQS contribution
                                              insufficient evaluation of additional                                                                          threshold at Step 2.135 The EPA further
                                              emissions control opportunities, for any                 Kentucky’s submission, including
                                                                                                       arguments related to international                    addresses technical comments on the 1
                                              type of source, to support that                                                                                percent of the NAAQS contribution
                                              conclusion.120 The EPA also confirmed                    emissions.128 The EPA further addresses
                                                                                                       the topics of international emissions in              threshold in Section V.B.4. Louisiana
                                              that EGU shutdowns identified by                                                                               did not conduct an adequate Step 3
                                              Indiana were included in the 2016v2                      Section V.C.2. Kentucky in its SIP
                                                                                                       submission also argued that it had                    analysis.136 The State included an
                                              modeling,121 and if they were valid and                                                                        insufficient evaluation of additional
                                              not included in the 2016v2 modeling,                     already implemented all cost-effective
                                                                                                       controls. However, the Commonwealth                   emissions control opportunities in its
                                              then they were incorporated into the                                                                           SIP submission.137 The EPA also found
                                              2016v3 modeling as explained in                          included an insufficient evaluation of
                                                                                                       additional emissions control                          technical flaws in Louisiana’s
                                              Section III and the 2016v3 Emissions                                                                           ‘‘consistent and persistent’’ claims,
                                                                                                       opportunities to support such a
                                              Modeling TSD. Further, in Section                                                                              assessment of seasonal weather patterns,
                                                                                                       conclusion.129 As explained in Section
                                              V.B.9., states may not rely on non-SIP                                                                         surface wind directions, and back
                                                                                                       V.B.9., states may not rely on non-SIP
                                              measures to meet SIP requirements.122                                                                          trajectory analysis.138 The State
                                                                                                       measures to meet SIP requirements, and
                                              The State included no permanent and                                                                            included no permanent and enforceable
                                                                                                       reliance on prior transport FIPs such as
                                              enforceable emissions controls in its SIP                the CSAPR Update is not a sufficient                  controls in its SIP submission.139 We
                                              submission.123 We provide further                        analysis at Step 3.130 The EPA also                   provide further response to comments
                                              response to comments regarding                           confirmed in the proposed SIP                         regarding Louisiana’s SIP submission in
                                              Indiana’s SIP submission in the RTC                      submission disapproval that EGU                       the RTC document. The EPA is
                                              document. The EPA is finalizing                          shutdowns identified by Kentucky were                 finalizing disapproval of Louisiana’s
                                              disapproval of Indiana’s interstate                      included in the 2016v2 modeling, and                  interstate transport SIP submission for
                                              transport SIP submission for the 2015                    yet Kentucky was still linked in that                 the 2015 ozone NAAQS.
                                              ozone NAAQS.
                                                                                                                                                               131 Id. at 9511–9512.
khammond on DSKJM1Z7X2PROD with RULES2




                                                                                                         124 87  FR 9498, 9503–9507 (February 22, 2022).
                                                116 Id. at 9845–9847.                                    125 Id.                                               132 Id. at 9514–9515.
                                                                                                                 at 9509–9510.
                                                117 Id. at 9855–9856.                                    126 Id. at 9511–9515.                                 133 Id. at 9515.
                                                118 Id. at 9857–9861.                                    127 Id. at 9512–9514.                                 134 Id. at 9811–9812.
                                                119 Id. at 9858–9861.                                    128 Id. at 9508, 9515. The state also did not         135 Id. at 9812, 9815–9816.
                                                120 Id. at 9857–9858.                                                                                          136 Id. at 9814–9816.
                                                                                                       explain its own views regarding the relevance of
                                                121 Id. at 9858–9859.                                  these materials to its submission. Id.                  137 Id. at 9814. 9816.
                                                122 See also id. at 9861.                                129 Id. at 9511–9512.                                 138 Id. at 9814–9816.
                                                123 Id.                                                  130 See also id. at. 9512.                            139 Id. at 9816.




                                         VerDate Sep<11>2014    17:17 Feb 10, 2023   Jkt 259001   PO 00000   Frm 00022   Fmt 4701   Sfmt 4700   E:\FR\FM\13FER2.SGM      13FER2
                                                                   Case: 23-60069                   Document: 110                  Page: 26            Date Filed: 03/27/2023
                                                                Federal Register / Vol. 88, No. 29 / Monday, February 13, 2023 / Rules and Regulations                                                  9357

                                              H. Maryland                                             EPA further addresses technical                       the EPA acknowledges that Minnesota’s
                                                 In the 2016v3 modeling, Maryland is                  comments on the 1 percent of the                      Step 3 analysis was insufficient in part
                                              projected to be linked above 1 percent                  NAAQS contribution threshold in                       because the State assumed it was not
                                              of the NAAQS to three nonattainment                     Section V.B.4 and addresses comments                  linked at Step 2, this is ultimately
                                              receptors and one maintenance-only                      regarding the relevance of the PSD SILs               inadequate to support a conclusion that
                                              receptor. It is also linked to three                    in Section V.B.6. The State did not                   the State’s sources do not interfere with
                                              violating-monitor maintenance                           conduct an adequate Step 3 analysis.148               maintenance of the 2015 ozone NAAQS
                                              receptors. Its highest-level contribution               Michigan argued in its SIP submission                 in other states in light of more recent air
                                              is 1.28 ppb to New Haven County,                        that additional controls would be                     quality analysis.154 The State included
                                              Connecticut (AQS Site ID 090099002). A                  premature and burdensome. However,                    no permanent and enforceable
                                              full summary of Maryland’s October 16,                  the State included an insufficient                    emissions controls in its SIP
                                              2019, SIP submission was provided in                    evaluation of additional emissions                    submission.155 We provide further
                                              the proposed SIP submission                             control opportunities to support such a               response to comments regarding
                                              disapproval.140 The state did not                       conclusion.149 The EPA found technical                Minnesota’s SIP submission in the RTC
                                              conduct an adequate Step 3 analysis.141                 and legal flaws in Michigan’s arguments               document. Although EPA proposed to
                                              The State included an insufficient                      related to upwind-state obligations as to             disapprove both prong 1 and prong 2 of
                                              evaluation of additional emissions                      maintenance-only receptors,                           Minnesota’s SIP submission, the present
                                              control opportunities in its SIP                        international emissions, relative                     record, including the results of the
                                              submission.142 Further, as explained in                 contribution, apportionment, and                      2016v3 modeling, indicates that
                                              Section V.B.9, states may not rely on                   upwind versus downwind-state                          Minnesota is not linked to any
                                              non-SIP measures to meet SIP                            responsibilities.150 The EPA further                  nonattainment receptors.156 The EPA is
                                              requirements, and reliance on prior                     addresses the topics of mobile sources
                                                                                                                                                            finalizing a partial approval of
                                              transport FIPs such as the CSAPR                        and international emissions in Sections
                                                                                                                                                            Minnesota’s interstate transport SIP
                                              Update is not a sufficient analysis at                  V.C.1 and V.C.2, respectively. The EPA
                                                                                                                                                            submission for the 2015 ozone NAAQS
                                              Step 3.143 The EPA also confirmed in                    also confirmed in the proposed SIP
                                                                                                                                                            as to prong 1 and a partial disapproval
                                              the proposed SIP submission                             submission disapproval that the EGU
                                                                                                                                                            as to prong 2.
                                              disapproval that state emissions                        retirements identified by Michigan as
                                              controls and regulations identified by                  not included in the 2011-based EPA                    K. Mississippi
                                              Maryland were generally included in                     modeling, as well as various Federal
                                              the 2016v2 modeling, and yet Maryland                   rules, were included in the 2016v2                       In the 2016v3 modeling, Mississippi
                                              was still linked in that modeling.144 The               modeling, and yet Michigan was still                  is projected to be linked above 1 percent
                                              State included no permanent and                         linked in that modeling.151 The State                 of the NAAQS to one nonattainment
                                              enforceable controls in its SIP                         included no permanent and enforceable                 receptor and two maintenance-only
                                              submission.145 We provide further                       emissions controls in its SIP                         receptors. It is also linked to eight
                                              response to comments regarding                          submission.152 We provide further                     violating-monitor maintenance
                                              Maryland’s SIP submission in the RTC                    response to comments regarding                        receptors. Its highest-level contribution
                                              document. The EPA is finalizing                         Michigan’s SIP submission in the RTC                  is 1.32 ppb to Galveston County, Texas
                                              disapproval of Maryland’s interstate                    document. The EPA is finalizing                       (AQS Site ID 481671034). A full
                                              transport SIP submission for the 2015                   disapproval of Michigan’s interstate                  summary of Mississippi’s September 3,
                                              ozone NAAQS.                                            transport SIP submission for the 2015                 2019, SIP submission was provided in
                                                                                                      ozone NAAQS.                                          the proposed SIP submission
                                              I. Michigan                                                                                                   disapproval.157 In its submission,
                                                                                                      J. Minnesota
                                                 In the 2016v3 modeling, Michigan is                                                                        Mississippi advocated for discounting
                                              projected to be linked above 1 percent                     In the 2016v3 modeling, Minnesota is               receptors through use of historical data
                                              of the NAAQS to four nonattainment                      projected to be linked above 1 percent                trends. The EPA finds Mississippi’s
                                              receptors and six maintenance-only                      of the NAAQS to one maintenance-only                  approach is not adequately justified.158
                                              receptors. It is also linked to eight                   receptor. It is not linked to a violating-            In the 2011-based modeling,
                                              violating-monitor maintenance                           monitor maintenance-only receptor. Its                Mississippi’s contribution to receptors
                                              receptors. Its highest-level contribution               highest-level contribution is 0.85 ppb to             was above 1 percent of the NAAQS, but
                                              is 1.59 to Sheboygan County, Wisconsin                  Cook County, Illinois (AQS Site ID                    below 1 ppb. The EPA disagrees with
                                              (AQS Site ID 551170006). A full                         170310001). A full summary of                         Mississippi’s arguments for application
                                              summary of Michigan’s March 5, 2019,                    Minnesota’s October 1, 2018, SIP                      of a higher contribution threshold than
                                              SIP submission was provided in the                      submission was provided in the
                                              proposed SIP submission                                 proposed SIP submission                                 154 Id. at 9868–9869.
                                              disapproval.146 The EPA disagrees with                  disapproval.153 Because Minnesota was                   155 Id. at 9869.
                                              Michigan’s arguments for application of                 not projected to be linked to any                       156 The EPA received a comment that it would be

                                              a higher contribution threshold than 1                  receptor in 2023 in the EPA’s 2011-                   arbitrary and capricious for the EPA to finalize a
                                                                                                      based modeling, comments argued that                  full disapproval of Tennessee’s good neighbor SIP
                                              percent of the NAAQS as well as                                                                               submission (both prong 1 and prong 2) if EPA
                                              criticisms of a 1 percent of the NAAQS                  the EPA must approve the SIP                          concluded the state is linked only to a maintenance-
                                              contribution threshold at Step 2.147 The                submission and not rely on new                        only receptor (prong 2). EPA is deferring final
                                                                                                      modeling. The EPA responds to these                   action on Tennessee’s good neighbor SIP
khammond on DSKJM1Z7X2PROD with RULES2




                                                140 Id. at 9469.                                      comments in Section V.A.4. Although                   submission, but in reviewing linkages in the 2016v3
                                                141 Id.                                                                                                     modeling we determined that Minnesota and
                                                        at 9470–9473.
                                                142 Id. at 9471, 9473.                                  148 Id.
                                                                                                                                                            Wisconsin are not linked above 1 percent of the
                                                                                                                at 9863–9867.                               NAAQS to any nonattainment receptors (prong 1)
                                                143 See also id. at 9471, 9473 n.46, 9474.              149 Id. at 9864.                                    but are linked to maintenance-only receptors (prong
                                                144 Id. at 9472–9473.                                   150 Id. at 9864–9867.
                                                                                                                                                            2); these states are receiving partial approvals and
                                                145 Id. at 9473–9474.                                   151 Id. at 9866.                                    partial disapprovals.
                                                146 Id. at 9847–9848.                                   152 Id. at 9867.                                      157 87 FR 9554.
                                                147 Id. at 9861–9862.                                   153 Id. at 9867.                                      158 Id. at 9556.




                                         VerDate Sep<11>2014   18:19 Feb 10, 2023   Jkt 259001   PO 00000   Frm 00023   Fmt 4701   Sfmt 4700   E:\FR\FM\13FER2.SGM      13FER2
                                                                        Case: 23-60069                    Document: 110                  Page: 27             Date Filed: 03/27/2023
                                              9358                   Federal Register / Vol. 88, No. 29 / Monday, February 13, 2023 / Rules and Regulations

                                              1 percent of the NAAQS at Step 2,159                          finalizing disapproval of Missouri’s June             New Jersey argued in its SIP submission
                                              and further addresses the relevance of                        10, 2019, interstate transport SIP                    that existing controls were sufficient to
                                              the PSD SILs in Section V.B.6. The state                      submission for the 2015 ozone NAAQS.                  address the State’s good neighbor
                                              did not conduct a Step 3 analysis.160                                                                               obligations. However, the State included
                                                                                                            M. Nevada
                                              The State included no evaluation of                                                                                 an insufficient evaluation of additional
                                              additional emissions control                                     In the 2016v3 modeling, Nevada is                  emissions control opportunities to
                                              opportunities in its SIP submission.161                       projected to be linked above 1 percent                support such a conclusion.175 The
                                              The State included no permanent and                           of the NAAQS to three nonattainment                   State’s reliance on the cost-effectiveness
                                              enforceable emissions controls in its SIP                     receptors and one maintenance-only                    threshold in the CSAPR Update is
                                              submission.162 We provide further                             receptor. It is also linked to one                    insufficient for a more protective
                                              response to comments regarding                                violating-monitor maintenance receptor.               NAAQS.176 The State included no
                                              Mississippi’s SIP submission in the RTC                       Its highest-level contribution is 1.13 ppb            permanent and enforceable emissions
                                              document. The EPA is finalizing                               to Weber County, Utah (AQS Site ID                    controls in its SIP submission.177 We
                                              disapproval of Mississippi’s interstate                       490570002). A full summary of                         provide further response to comments
                                              transport SIP submission for the 2015                         Nevada’s October 1, 2018, SIP                         regarding New Jersey’s SIP submission
                                              ozone NAAQS.                                                  submission was provided in the                        in the RTC document. The EPA is
                                                                                                            proposed SIP submission                               finalizing disapproval of New Jersey’s
                                              L. Missouri
                                                                                                            disapproval.169 Because Nevada was not                interstate transport SIP submission for
                                                 In the 2016v3 modeling, Missouri is                        projected to be linked to any receptor in             the 2015 ozone NAAQS.
                                              projected to be linked above 1 percent                        2023 in the EPA’s 2011-based modeling,
                                              of the NAAQS to one nonattainment                                                                                   O. New York
                                                                                                            commenters on the proposed SIP
                                              receptor and three maintenance-only                           submission disapproval argued that the                   In the 2016v3 modeling, New York is
                                              receptors. It is also linked to five                          EPA must approve the SIP submission                   projected to be linked above 1 percent
                                              violating-monitor maintenance                                 and not rely on new modeling. The EPA                 of the NAAQS to three nonattainment
                                              receptors. Its highest-level contribution                     responds to these comments in Section                 receptors and one maintenance-only
                                              is 1.87 ppb to Sheboygan County,                              V.A.4. The EPA also responds to                       receptor. It is also linked to two
                                              Wisconsin (AQS Site ID 551170006). A                          technical criticisms of the 1 percent of              violating-monitor maintenance
                                              full summary of Missouri’s June 10,                           the NAAQS contribution threshold and                  receptors. Its highest-level contribution
                                              2019, SIP submission was provided in                          the relevance of the PSD SILs in Section              is 16.10 ppb to Fairfield County,
                                              the proposed SIP submission                                   V.B.4 and in Section V.B.6, respectively.             Connecticut (AQS Site ID 090010017). A
                                              disapproval.163 In its submission,                            The State did not conduct a Step 3                    full summary of New York’s September
                                              Missouri advocated for discounting                            analysis.170 The State included no                    25, 2018, SIP submission was provided
                                              certain maintenance receptors through                         evaluation of additional emissions                    in the proposed SIP submission
                                              use of historical data trends. The EPA                        control opportunities in its SIP                      disapproval.178 The state did not
                                              finds Missouri’s approach is not                              submission.171 The State included no                  conduct an adequate Step 3 analysis.179
                                              adequately justified.164 The EPA                              additional emissions controls in its SIP              New York argued in its SIP submission
                                              disagrees with Missouri’s arguments for                       submission.172 We provide response to                 that existing controls were sufficient to
                                              application of a higher contribution                          comments specific to interstate                       address the State’s good neighbor
                                              threshold than 1 percent of the NAAQS                         transport policy in the western U.S. in               obligations. However, the state included
                                              at Step 2, and further addresses                                                                                    an insufficient evaluation of additional
                                                                                                            Section V.C.3. We provide further
                                              comments regarding the August 2018                                                                                  emissions control opportunities to
                                                                                                            response to comments regarding
                                              memorandum in Section V.B.7.165 The                                                                                 support such a conclusion.180 The
                                                                                                            Nevada’s SIP submission in the RTC
                                              State did not conduct a Step 3                                                                                      State’s reliance on the cost-effectiveness
                                                                                                            document. The EPA is finalizing
                                              analysis.166 The State included no                                                                                  threshold in the CSAPR Update is
                                                                                                            disapproval of Nevada’s interstate
                                              evaluation of additional emissions                                                                                  insufficient for the more protective 2015
                                                                                                            transport SIP submission for the 2015
                                              control opportunities in its SIP                                                                                    ozone NAAQS.181 The State included
                                                                                                            ozone NAAQS.
                                              submission.167 The State included no                                                                                no permanent and enforceable
                                              permanent and enforceable emissions                           N. New Jersey                                         emissions controls in its SIP
                                              controls in its SIP submission.168 We                            In the 2016v3 modeling, New Jersey is              submission.182 We provide further
                                              provide further response to comments                                                                                response to comments regarding New
                                                                                                            projected to be linked above 1 percent
                                              regarding Missouri’s SIP submission in                                                                              York’s SIP submission in the RTC
                                                                                                            of the NAAQS to three nonattainment
                                              the RTC document. The EPA is                                                                                        document. The EPA is finalizing
                                                                                                            receptors and one maintenance-only
                                                                                                                                                                  disapproval of New York’s interstate
                                                                                                            receptor. It is also linked to three
                                                159 Id.   at 9557.                                                                                                transport SIP submission for the 2015
                                                160 Id.   at 9558.                                          violating-monitor maintenance
                                                                                                                                                                  ozone NAAQS.
                                                161 Id.                                                     receptors. Its highest-level contribution
                                                162 Id.                                                     is 8.38 ppb to Fairfield County,                      P. Ohio
                                                163 Id.  at 9538–9540.                                      Connecticut (AQS Site ID 090019003). A                  In the 2016v3 modeling, Ohio is
                                                 164 Id. at 9540–9541.
                                                                                                            full summary of New Jersey’s May 13,                  projected to be linked above 1 percent
                                                 165 See also id. at 9541–9544.
                                                 166 Id. at 9544.
                                                                                                            2019, SIP submission was provided in                  of the NAAQS to four nonattainment
                                                 167 Id.
                                                                                                            the proposed SIP submission                           receptors and five maintenance-only
                                                 168 We note that in comments, Missouri indicated           disapproval.173 The State did not
khammond on DSKJM1Z7X2PROD with RULES2




                                              its intent to submit a new SIP submission to the              conduct an adequate Step 3 analysis.174                 175 Id.

                                              EPA, which would re-evaluate good neighbor                                                                            176 Id.
                                              obligations based on its 2016v2 linkages and                    169 87  FR 31485, 31492–31493 (May 24, 2022).         177 Id. at 9496–9497.
                                              provide an analysis that would include emissions                170 Id. at 31493.                                     178 Id. at 9489–9490.
                                              reductions requirements. The EPA received this                  171 Id.                                               179 Id. at 9492–9494.
                                              submission on November 1, 2022. The EPA
                                                                                                              172 Id.                                               180 Id. at 9493.
                                              explains its consideration of this new submission
                                                                                                              173 Id. at 9490–9491.                                 181 Id. at 9493–9494.
                                              as separate SIP submission in the RTC document for
                                              this final action.                                              174 Id. at 9496.                                      182 Id. at 9494–9495.




                                         VerDate Sep<11>2014         17:17 Feb 10, 2023   Jkt 259001   PO 00000   Frm 00024   Fmt 4701   Sfmt 4700   E:\FR\FM\13FER2.SGM      13FER2
                                                                  Case: 23-60069                    Document: 110                  Page: 28            Date Filed: 03/27/2023
                                                               Federal Register / Vol. 88, No. 29 / Monday, February 13, 2023 / Rules and Regulations                                                   9359

                                              receptors. It is also linked to nine                    sources.194 We further address this topic             threshold than 1 percent of the NAAQS
                                              violating-monitor maintenance                           in Section V.C.1. Ohio also argued in its             at Step 2 203 and further addresses
                                              receptors. Its highest-level contribution               SIP submission that it had already                    comments regarding the relevance of the
                                              is 2.05 ppb to Fairfield County,                        implemented all cost-effective controls.              PSD SILs in Section V.B.6. The State did
                                              Connecticut (AQS Site ID 090019003). A                  However, the state included no                        not conduct an adequate Step 3
                                              full summary of Ohio’s September 28,                    evaluation of additional emissions                    analysis.204 Oklahoma argued in its SIP
                                              2018, SIP submission was provided in                    control opportunities to support such a               submission that it had already
                                              the proposed SIP submission                             claim.195 Further, the State’s reliance on            implemented all cost-effective controls.
                                              disapproval.183 In its submission, Ohio                 the cost-effectiveness threshold in the               However, the State included an
                                              advocated for use of the Texas                          CSAPR Update is insufficient for the                  insufficient evaluation of additional
                                              Commission on Environmental Quality                     more protective 2015 ozone NAAQS.196                  emissions control opportunities to
                                              (TCEQ)’s definition of maintenance                      The State included no permanent and                   support such a conclusion.205 As
                                              receptors. The EPA finds that TCEQ’s                    enforceable emissions controls in its SIP             explained in Section V.B.9, states may
                                              definition is legally and technically                   submission.197 We provide further                     not rely on non-SIP measures to meet
                                              flawed,184 and as a result Ohio’s                       response to comments regarding Ohio’s                 SIP requirements, and reliance on prior
                                              approach is also not adequately                         SIP submission in the RTC document.                   transport FIPs such as the CSAPR
                                              justified.185 The EPA further evaluates                 The EPA is finalizing disapproval of
                                                                                                                                                            Update is not a sufficient analysis at
                                              TCEQ’s technical arguments in a TSD                     Ohio’s interstate transport SIP
                                                                                                                                                            Step 3.206 Further, the State’s reliance
                                              prepared by regional modeling staff.186                 submission for the 2015 ozone NAAQS.
                                                                                                                                                            on the cost-effectiveness threshold in
                                              The EPA disagrees with Ohio’s
                                                                                                      Q. Oklahoma                                           the CSAPR Update is insufficient for the
                                              arguments for application of a higher
                                              contribution threshold than 1 percent of                   In the 2016v3 modeling, Oklahoma is                more protective 2015 ozone NAAQS.207
                                              the NAAQS at Step 2.187 The EPA                         projected to be linked above 1 percent                The EPA finds legal flaws in
                                              responds to technical criticisms of the 1               of the NAAQS to one nonattainment                     Oklahoma’s argument related to
                                              percent of the NAAQS contribution                       receptor and one maintenance-only                     collective contribution.208 The State
                                              threshold in Section V.B.4. The State                   receptor. It is also linked to eight                  included no permanent and enforceable
                                              did not conduct an adequate Step 3                      violating-monitor maintenance                         emissions controls in its SIP
                                              analysis.188 The State included an                      receptors. Its highest-level contribution             submission.209 We provide further
                                              insufficient evaluation of additional                   is 1.01 ppb to Denton County, Texas                   response to comments regarding
                                              emissions control opportunities in its                  (AQS Site ID 481210034). A full                       Oklahoma’s SIP submission in the RTC
                                              SIP submission.189 The EPA found                        summary of Oklahoma’s October 25,                     document. The EPA is finalizing
                                              technical deficiencies in Ohio’s                        2018, SIP submission was provided in                  disapproval of Oklahoma’s interstate
                                              unsubstantiated claims that emissions                   the proposed SIP submission                           transport SIP submission for the 2015
                                              are overestimated.190 The EPA also                      disapproval.198 In its submission,                    ozone NAAQS.
                                              confirmed in the proposed SIP                           Oklahoma advocated for use of TCEQ’s
                                                                                                      definition of maintenance receptors and               R. Texas
                                              submission disapproval that several
                                              EGU and non-EGUs identified by Ohio                     modeling to discount receptors in                       In the 2016v3 modeling, Texas is
                                              were included in the 2016v2 modeling,                   Texas. The EPA finds that TCEQ’s                      projected to be linked above 1 percent
                                              and yet Ohio was still linked in that                   definition is legally and technically
                                                                                                                                                            of the NAAQS to one nonattainment
                                              modeling.191 The EPA summarizes the                     flawed 199 and, as a result, Oklahoma’s
                                                                                                                                                            receptor and nine maintenance-only
                                              emissions inventories used in the                       approach is also not adequately
                                                                                                                                                            receptors. It is also linked to ten
                                              2016v3 modeling in Section III.A.                       justified.200 The EPA further evaluates
                                                                                                                                                            violating-monitor maintenance-only
                                              Further, as explained in Section V.B.9,                 TCEQ’s technical arguments in the EPA
                                                                                                                                                            receptor. Its highest-level contribution is
                                              states may not rely on non-SIP measures                 Region 6 2015 8-Hour Ozone Transport
                                                                                                      SIP Proposal TSD (Evaluation of TCEQ                  4.74 ppb to Dona Ana County, New
                                              to meet SIP requirements, and reliance                                                                        Mexico (AQS Site ID 350130021). A full
                                              on prior transport FIPs such as the                     Modeling TSD) prepared by regional
                                                                                                      modeling staff.201 Comments argued                    summary of Texas’s August 17, 2018,
                                              CSAPR Update is not a sufficient                                                                              SIP submission was provided in the
                                              analysis at Step 3.192 The EPA finds                    against the use of updated modeling
                                                                                                      where linkages in the EPA’s 2011-based                proposed SIP submission
                                              legal flaws and deficiencies in Ohio’s                                                                        disapproval,210 and additional details
                                              arguments related to upwind versus                      modeling and later iterations of EPA
                                                                                                      modeling differ. The EPA addressed the                were provided in the Evaluation of
                                              downwind-state responsibilities, the                                                                          TCEQ Modeling TSD. The EPA
                                              role of international emissions, relative               change in identified linkages between
                                                                                                      the 2011-based modeling and the                       identified several technical flaws in
                                              contribution, and overcontrol.193 The                                                                         TCEQ’s modeling and analysis of
                                              EPA discusses international emissions                   2016v2 modeling in the proposed SIP
                                                                                                      disapproval,202 and further responds to               modeling results.211 In its submission,
                                              in Section V.C.2. The EPA disagrees                                                                           Texas advocated for use of its own
                                              with Ohio’s arguments related to mobile                 comments on the use of updated
                                                                                                      modeling in Section V.A.4. The EPA                    definition of maintenance receptors and
                                                183 Id.                                               disagrees with Oklahoma’s arguments                   modeling. The EPA finds Texas’s
                                                        at 9849–9851.
                                                184 Id. at 9826–9829.                                 for application of a higher contribution              approach inadequately justified and
                                                185 Id. at 9869–9870.
                                                186 2015 8-Hour Ozone Transport SIP Proposal            194 Id.                                               203 Id.at 9819.
                                              TSD, in Docket ID No. EPA–R06–OAR–2021–0801               195 Id. at 9872–9873.                                 204 Id.at 9822–9824.
khammond on DSKJM1Z7X2PROD with RULES2




                                              (hereinafter Evaluation of TCEQ Modeling TSD).            196 Id. at 9874.                                     205 Id. at 9822–9824.
                                                187 Id. at 9871.                                        197 Id. at 9875.                                     206 See also id. at. 9822–9823.
                                                188 Id. at 9871–9875.                                   198 Id. at 9816–9818.                                207 Id.
                                                189 Id. at 9871–9875.                                   199 Id. at 9826–9829.                                208 Id. at 9823.
                                                190 Id. at 9872.                                        200 Id. at 9820–9822.                                209 Id. at 9824.
                                                191 Id.                                                 201 Evaluation of TCEQ Modeling TSD in Docket        210 Id. at 9824–9826.
                                                192 See also id. at 9874–9875.                        ID No. EPA–R06–OAR–2021–0801.                          211 Id. at 9829–9830; Evaluation of TCEQ
                                                193 Id. at 9873–9874.                                   202 87 FR 9823.                                     Modeling TSD.



                                         VerDate Sep<11>2014   17:17 Feb 10, 2023   Jkt 259001   PO 00000   Frm 00025   Fmt 4701   Sfmt 4700   E:\FR\FM\13FER2.SGM      13FER2
                                                                  Case: 23-60069                    Document: 110                  Page: 29            Date Filed: 03/27/2023
                                              9360             Federal Register / Vol. 88, No. 29 / Monday, February 13, 2023 / Rules and Regulations

                                              legally and technically flawed.212 The                  eastern U.S., an argument we have                     additional emissions control
                                              EPA further evaluated TCEQ’s technical                  previously rejected and respond to                    opportunities to support such a
                                              arguments in the Evaluation of TCEQ                     further in Section V.C.3.221 The State                conclusion.230 The EPA also confirmed
                                              Modeling TSD. In comment on the                         did not conduct an adequate Step 3                    in the proposed SIP submission
                                              proposal, Texas pointed to differences                  analysis.222 The State included an                    disapproval that specific EGU
                                              in linkages in the EPA’s 2011-based                     insufficient evaluation of additional                 shutdowns identified by West Virginia
                                              modeling and 2016v2 modeling. The                       emissions control opportunities in its                were included in the 2016v2 modeling,
                                              EPA addressed the change in identified                  SIP submission.223 The EPA finds                      which continued to show West Virginia
                                              linkages between the 2011-based                         technical and legal flaws in the State’s              was linked at Step 2.231 As explained in
                                              modeling and the 2016v2 modeling in                     arguments related to relative                         Section V.B.9, a state may not rely on
                                              the proposed SIP submission                             contribution, international and non-                  non-SIP measures to satisfy SIP
                                              disapproval,213 and further responds to                 anthropogenic emissions, and the                      requirements, and reliance on prior
                                              comments on the use of updated                          relationship of upwind versus                         transport FIPs such as the CSAPR
                                              modeling in Section V.A.4. The State                    downwind-state responsibilities.224 The               Update is not a sufficient analysis at
                                              did not conduct an adequate Step 3                      EPA further addresses the topics of                   Step 3.232 Further, the State’s reliance
                                              analysis.214 The State included an                      international emissions in Section V.C.2              on the cost-effectiveness threshold in
                                              insufficient evaluation of additional                   and wildfires in the RTC document. The                the CSAPR Update is insufficient for a
                                              emissions control opportunities in its                  EPA also confirmed in the proposed SIP                more protective NAAQS.233 The State
                                              SIP submission.215 The EPA found                        submission disapproval that several                   included no permanent and enforceable
                                              technical flaws in Texas’s arguments                    anticipated controls identified by Utah               emissions controls in its SIP
                                              related to ‘‘consistent and persistent’’                were included in the 2016v2 modeling,                 submission.234 We provide further
                                              claims and its other assessments,                       and yet Utah was still linked in that                 response to comments regarding West
                                              including analysis of back                              modeling.225 The State included no                    Virginia’s SIP submission in the RTC
                                              trajectories.216 The State included no                  permanent and enforceable emissions                   document. The EPA is finalizing
                                              permanent and enforceable emissions                     controls in its SIP submission.226 We                 disapproval of West Virginia’s interstate
                                              controls in its SIP submission.217 We                   provide further response to comments                  transport SIP submission for the 2015
                                              provide further response to comments                    regarding Utah’s SIP submission in the                ozone NAAQS.
                                              regarding Texas’s SIP submission in the                 RTC document. The EPA is finalizing
                                                                                                                                                            U. Wisconsin
                                              RTC document. The EPA is finalizing                     disapproval of Utah’s interstate
                                              disapproval of Texas’s interstate                       transport SIP submission for the 2015                    In the 2016v3 modeling, Wisconsin is
                                              transport SIP submission for the 2015                   ozone NAAQS.                                          projected to be linked above 1 percent
                                              ozone NAAQS.                                                                                                  of the NAAQS to three maintenance-
                                                                                                      T. West Virginia                                      only receptors. It is also linked to five
                                              S. Utah                                                    In the 2016v3 modeling, West                       violating-monitor maintenance
                                                 In the 2016v3 modeling, Utah is                      Virginia is projected to be linked above              receptors. Its highest-level contribution
                                              projected to be linked above 1 percent                  1 percent of the NAAQS to three                       is 2.86 ppb to Cook County, Illinois
                                              of the NAAQS to three nonattainment                     nonattainment receptors and one                       (AQS Site ID 170314201). A full
                                              receptors and one maintenance-only                      maintenance-only receptor. It is also                 summary of Wisconsin’s September 14,
                                              receptor. It is also linked to four                     linked to four violating-monitor                      2018, SIP submission was provided in
                                              violating-monitor maintenance                           maintenance receptors. Its highest-level              the proposed SIP submission
                                              receptors. Its highest-level contribution               contribution is 1.49 ppb to New Haven                 disapproval.235 The State did not assess
                                              is 1.29 ppb to Douglas County, Colorado                 County, Connecticut (AQS Site ID                      in its SIP submission whether the state
                                              (AQS Site ID 080350004). A full                         090099002). A full summary of West                    was linked at Step 2,236 and did not
                                              summary of Utah’s January 29, 2020,                     Virginia’s February 4, 2019, SIP                      conduct an adequate Step 3 analysis.237
                                              SIP submission was provided in the                      submission was provided in the                        The State included an insufficient
                                              proposed SIP submission                                 proposed SIP submission                               evaluation of additional emissions
                                              disapproval.218 In its submission, Utah                 disapproval.227 The EPA finds technical               control opportunities.238 Further, as
                                              argued that certain receptors in                        and legal flaws in the State’s                        explained in Section V.B.9, reliance on
                                              Colorado should not be counted as                       examination of back trajectories and                  prior transport FIPs such as the CSAPR
                                              receptors for the purpose of 2015 ozone                 arguments related to mobile sources and               Update is not a sufficient analysis at
                                              NAAQS interstate transport, but Utah’s                  international emissions.228 The EPA                   Step 3.239 The EPA found additional
                                              explanation is insufficient to discount                 further addresses the topics of mobile                inadequacies and legal flaws in
                                              those receptors.219 The EPA disagrees                   sources and international emissions in                Wisconsin’s submission.240 The State
                                              with Utah’s arguments for application of                Section V.C.1 and in Section V.C.2,                   included no permanent and enforceable
                                              a higher contribution threshold than 1                  respectively. The State did not conduct               emissions controls in its SIP
                                              percent of the NAAQS at Step 2.220 Utah                 an adequate Step 3 analysis.229 West                  submission.241 We provide further
                                              suggested in its SIP submission that                    Virginia argued in its SIP submission                 response to comments regarding
                                              interstate transport is fundamentally                   that it had already implemented all cost-
                                              different in the western U.S. than in the               effective controls. However, the State                  230 Id. at 9528–9529.
                                                                                                      included an insufficient evaluation of                  231 Id. at 9529–9530.
                                                212 87                                                                                                        232 See also id. at 9530–9532.
                                                       FR 9826–9829.
                                                213 Id.                                                                                                       233 Id. at 9531.
                                                       at 9831.                                         221 See  also id. at 31479–31481, 31482.
khammond on DSKJM1Z7X2PROD with RULES2




                                               214 Id. at 9831–9834.                                    222 Id.                                               234 Id. at 9532.
                                                                                                                at 31481–31483.
                                               215 Id. at 9831, 9834.                                   223 Id. at 31482                                      235 Id. at 9851.

                                               216 Id. at 9832–9833, Evaluation of TCEQ                 224 Id. at 31481–31483.                               236 Id. at 9875.

                                              Modeling TSD.                                             225 Id. at 31483.                                     237 Id. at 9875–9876.
                                               217 87 FR 9834.                                          226 Id.                                               238 Id. at 9876.
                                               218 Id. at 31475–31477.                                  227 Id. at 9522–9524.                                 239 See also id.
                                               219 Id. at 31480–31481.                                  228 Id. at 9526–9527, 9528.                           240 Id.
                                               220 Id. at 31478.                                        229 Id. at 9527–9532.                                 241 Id. at 9876–9877.




                                         VerDate Sep<11>2014   17:17 Feb 10, 2023   Jkt 259001   PO 00000   Frm 00026   Fmt 4701   Sfmt 4700   E:\FR\FM\13FER2.SGM      13FER2
                                                                   Case: 23-60069                       Document: 110                Page: 30            Date Filed: 03/27/2023
                                                                Federal Register / Vol. 88, No. 29 / Monday, February 13, 2023 / Rules and Regulations                                                    9361

                                              Wisconsin’s SIP submission in the RTC                        EPA Response: The EPA disagrees.                    EPA, 723 F.3d 1201, 1223 (10th Cir.
                                              document. Although EPA proposed to                        The EPA has followed the Clean Air Act                 2013).
                                              disapprove both prong 1 and prong 2 of                    provisions, which prescribe specified                     It is true that the EPA would not be
                                              Wisconsin’s SIP submission, the present                   maximum amounts of time for states to                  legally authorized to finalize a FIP for
                                              record, including the results of the                      make SIP submissions, for the EPA to                   any state unless and until the EPA
                                              2016v3 modeling, indicates that                           act on those submissions, and for the                  formally finalizes a disapproval of that
                                              Wisconsin is not linked to any                            EPA to promulgate FIPs if necessary, but               state’s SIP submission (or makes a
                                              nonattainment receptors.242 The EPA is                    do not prohibit the EPA from acting                    finding of failure to submit for any state
                                              finalizing a partial approval of                          before that time elapses. Nothing                      that fails to make a complete SIP
                                              Wisconsin’s interstate transport SIP                      relieves the EPA from its statutory                    submission), per CAA section 110(c),
                                              submission for the 2015 ozone NAAQS                       obligation to take final action on                     but the EPA has not yet finalized a FIP
                                              as to prong 1 and a partial disapproval                   complete SIP submissions before the                    for any state for good neighbor
                                              as to prong 2.                                            Agency within the timeframes                           obligations for the 2015 ozone NAAQS.
                                              V. Response to Key Comments                               prescribed by the statute.245 The EPA’s                Further, the sequencing of our actions
                                                                                                        proposed FIP does not constitute the                   here is consistent with the EPA’s past
                                                The EPA received numerous
                                                                                                        ‘‘promulgation’’ of a FIP because the                  practice in our efforts to timely address
                                              comments on the proposed action
                                                                                                        proposed FIP is not a final action that                good neighbor obligations. For example,
                                              which are summarized in the RTC
                                                                                                        imposes any requirements on sources or                 at the time the EPA proposed the
                                              document along with the EPA’s
                                                                                                        states. And although the EPA’s FIP                     CSAPR Update FIPs in December of
                                              responses to those comments in Docket
                                                                                                        authority is not at issue in this action,              2015, we had not yet proposed action on
                                              ID No. EPA–HQ–OAR–2021–0663. Each
                                                                                                        the EPA notes the Agency has been clear                several states’ SIP submissions but
                                              comment in its entirety is available in
                                                                                                        that it will not finalize a FIP for any                finalized those SIP disapproval actions
                                              the relevant regional docket(s) for this
                                              action.243 The following sections                         state until predicate authority is                     prior to finalization of the FIP.246
                                              summarize key comments and the EPA’s                      established for doing so under CAA                        Additional comments on cooperative
                                              responses.                                                section 110(c)(1). 87 FR 20036, 20057                  federalism are addressed in Section
                                                                                                        (April 6, 2022) (‘‘The EPA is proposing                V.B.5.
                                              A. SIP Evaluation Process                                                                                           Further, The D.C. Circuit in Wisconsin
                                                                                                        this FIP action now to address twenty-
                                              1. Relationship Between Timing of                         six states’ good neighbor obligations for              held that states and the EPA are
                                              Proposals To Disapprove SIPs and                          the 2015 ozone NAAQS, but the EPA                      obligated to fully address good neighbor
                                              Promulgate FIPs                                           will not finalize this FIP action for any              obligations for ozone ‘‘as expeditiously
                                                 Comment: Comments alleged                              state unless and until it has issued a                 as practical’’ and in no event later than
                                              generally that the timing of the EPA’s                    final finding of failure to submit or a                the next relevant downwind attainment
                                              proposed actions on the SIP                               final disapproval of that state’s SIP                  dates found in CAA section 181(a),247
                                              submissions in relation to proposed                       submission.’’). The EPA strongly                       and states and the EPA may not delay
                                              FIPs was unlawful, unfair, or both.                       disagrees that proposing a FIP prior to                implementation of measures necessary
                                              Some comments claimed that the                            proposing or finalizing disapproval of a               to address good neighbor requirements
                                              sequence of the EPA’s actions is                          SIP submission oversteps the Agency’s                  beyond the next applicable attainment
                                              improper, unreasonable, or bad policy.                    authority. Indeed, the ability to propose              date without a showing of impossibility
                                              Several commenters asserted that                          a FIP before finalizing a SIP disapproval              or necessity.248 It is important for the
                                              because the EPA proposed FIPs (or,                        follows ineluctably from the structure of              states and the EPA to assure that
                                              according to some, promulgated FIPs,                      the statute, which, as the Supreme Court               necessary emissions reductions are
                                              which is not factually correct) prior to                  recognized in EME Homer City, does not                 achieved, to the extent feasible, by the
                                              finalizing disapproval of the state SIP                   oblige the EPA ‘‘to wait two years or                  2023 ozone season to assist downwind
                                              submission, the EPA allegedly exceeded                    postpone its [FIP] action even a single                areas with meeting the August 3, 2024,
                                              its statutory authority and overstepped                   day.’’ 572 U.S. at 509. If the EPA can                 attainment deadline for Moderate
                                              the states’ primary role in addressing                    finalize a FIP immediately upon                        nonattainment areas. Further, the D.C.
                                              the good neighbor provision under CAA                     disapproving a SIP, then surely the EPA                Circuit in Wisconsin emphasized that
                                              section 110.244                                           must have the authority to propose that                the EPA has the authority under CAA
                                                                                                        FIP before taking final action on the SIP              section 110 to structure its actions so as
                                                242 The EPA received a comment that it would be
                                                                                                        submission. Accord Oklahoma v. U.S.                    to ensure necessary reductions are
                                              arbitrary and capricious for the EPA to finalize a                                                               achieved by the downwind attainment
                                              full disapproval of Tennessee’s good neighbor SIP
                                              submission (both prong 1 and prong 2) if EPA                 245 Although the EPA anticipates responding to
                                                                                                                                                                  246 The proposed CSAPR Update was published
                                              concluded the State is linked only to a                   comments related to the EPA’s FIP authority in a
                                              maintenance-only receptor (prong 2).The EPA is            separate FIP rulemaking, the EPA notes with regard     on December 3, 2015, and included proposed FIPs
                                              deferring final action on Tennessee’s good neighbor       to the procedural timing concerns raised in            for Indiana, Louisiana, New York, Ohio, Texas, and
                                              SIP submission, but in reviewing linkages in the          comments on this action that the Supreme Court         Wisconsin. 80 FR 75705. At that time, the EPA had
                                              2016v3 modeling we determined that Minnesota              confirmed in EME Homer City Generation, ‘‘EPA is       not yet even proposed action on good neighbor SIP
                                              and Wisconsin are not linked above 1 percent of the       not obliged to wait two years or postpone its action   submissions for the 2008 ozone NAAQS from
                                              NAAQS to any nonattainment receptors (prong 1)            even a single day: The Act empowers the Agency         Indiana, Louisiana, New York, Ohio, Texas, and
                                              but are linked to maintenance-only receptors (prong       to promulgate a FIP ‘at any time’ within the           Wisconsin; however, the EPA subsequently
                                              2); these States are receiving partial approvals and      two-year limit.’’ 572 U.S. 489 at 509. The             proposed and finalized these disapprovals before
                                              partial disapprovals.                                     procedural timeframes under CAA section 110 do         finalizing the CSAPR Update FIPs, published on
khammond on DSKJM1Z7X2PROD with RULES2




                                                243 See the memo ‘‘Regional Dockets Containing          not function to establish a norm or expectation that   October 26, 2016 (81 FR 74504). See 81 FR 38957
                                              Additional Supporting Materials for Final Action          the EPA must or should use the full amount of time     (June 15, 2016) (Indiana); 81 FR 53308 (August 12,
                                              on 2015 Ozone NAAQS Good Neighbor SIP                     allotted, particularly when doing so would place       2016) (Louisiana); 81 FR 58849 (August 26, 2016)
                                              Submissions’’ in the docket for this action, for a list   the Agency in conflict with the more ‘‘central’’       (New York); 81 FR 38957 (June 15, 2016) (Ohio); 81
                                              of all regional dockets.                                  statutory objective of meeting the NAAQS               FR 53284 (August 12, 2016) (Texas); 81 FR 53309
                                                244 The EPA notes the commenters’ reference to          attainment deadlines in the Act. EME Homer City,       (August 12, 2016) (Wisconsin).
                                                                                                                                                                  247 Wisconsin, 938 F.3d at 313–14 (citing North
                                              FIPs is to proposed good neighbor FIPs for the 2015       572 U.S. 489, 509 (2014). See also Wisconsin, 938
                                              ozone NAAQS that were proposed separately from            F.3d at 318, 322; Sierra Club v. EPA, 294 F.3d 155,    Carolina, 531 F.3d at 911–12.
                                              this rulemaking action. 87 FR 20036 (April 6, 2022).      161 (D.C. Cir. 2002) (Sierra Club).                       248 See Wisconsin, 938 F.3d at 320.




                                         VerDate Sep<11>2014    17:17 Feb 10, 2023   Jkt 259001   PO 00000   Frm 00027   Fmt 4701   Sfmt 4700   E:\FR\FM\13FER2.SGM   13FER2
                                                                    Case: 23-60069                     Document: 110                 Page: 31            Date Filed: 03/27/2023
                                              9362               Federal Register / Vol. 88, No. 29 / Monday, February 13, 2023 / Rules and Regulations

                                              dates,249 the next of which for the 2015                  significant contribution and thereby                  Hawaii,260 Idaho,261 Iowa,262 Kansas,263
                                              ozone NAAQS is now the Moderate area                      protect human health and welfare is                   Maine,264 Massachusetts,265
                                              attainment date of August 3, 2024.250                     already several years delayed. The EPA                Montana,266 Nebraska,267 New
                                              The court pointed out that the CAA                        shares additional responses related to                Hampshire,268 North Carolina,269 North
                                              section 110 schedule of SIP and FIP                       the timing of 2015 ozone NAAQS good                   Dakota,270 Oregon,271 Rhode Island,272
                                              deadlines is procedural whereas the                       neighbor actions in Section V.A.                      South Carolina,273 South Dakota,274
                                              attainment schedule is ‘‘central to the                      Comment: Some comments allege the                  Vermont,275 and Washington.276
                                              regulatory scheme[.]’’ 251 Thus, the                      EPA is depriving States of the                           The policy judgments made by the
                                              sequence and timing of the EPA’s action                   opportunity to target specific emissions              EPA in all actions on 2015 ozone
                                              in disapproving these SIP submissions                     reductions opportunities, or the                      NAAQS good neighbor SIP submissions,
                                              is informed by the need to ensure that                    opportunity to revise their submissions               including approval actions, reflect
                                              any necessary good neighbor obligations                   at any point in the future.                           consistency with relevant good neighbor
                                              identified in the separate FIP                                                                                  case law and past agency practice
                                                                                                           EPA Response: The EPA disagrees.
                                              rulemaking are implemented as                                                                                   implementing the good neighbor
                                                                                                        The EPA has repeatedly emphasized
                                              expeditiously as practicable and no later                                                                       provision as reflected in the original
                                                                                                        that states have the freedom at any time
                                              than the next attainment date. As                                                                               CSAPR, CSAPR Update, Revised CSAPR
                                                                                                        to develop a revised SIP submission and
                                              explained in our proposed disapproval,                                                                          Update, and related rulemakings.
                                                                                                        submit that to the EPA for approval, and
                                              analysis (and, if possible,                                                                                     Employing a nationally consistent
                                                                                                        this remains true. See 87 FR 20036,
                                              implementation) of good neighbor                                                                                approach is particularly important in
                                                                                                        20051 (April 6, 2022); 86 FR 23054,
                                              obligations should begin in the 2023                                                                            the context of interstate ozone transport,
                                              ozone season. See, e.g., 87 FR 9798,                      23062 (April 30, 2021); 81 FR 74504,
                                                                                                        74506 (Oct. 26, 2016). In the proposed                which is a regional-scale pollution
                                              9801–02 (Feb. 22, 2022). Indeed, states’                                                                        problem involving many smaller
                                              and the EPA’s analysis would have been                    FIPs, as in prior transport actions, the
                                                                                                        EPA discusses a number of ways in                     contributors. Effective policy solutions
                                              more appropriately aligned with 2020,                                                                           to the problem of interstate ozone
                                              rather than 2023 (as had been presented                   which states could take over or replace
                                                                                                        a FIP, see 87 FR 20036, 20149–51                      transport dating back to the NOX SIP
                                              in the EPA’s March 2018                                                                                         Call [63 FR 57356 (October 27, 1998)]
                                              memorandum 252), corresponding with                       (Section VII.D: ‘‘Submitting A SIP’’); see
                                                                                                        also id. at 20040 (noting as one purpose              have necessitated the application of a
                                              the 2021 Marginal area attainment date.                                                                         uniform framework of policy judgments
                                              However, that clarification in legal                      in proposing the FIP that ‘‘this proposal
                                                                                                        will provide states with as much                      to ensure an ‘‘efficient and equitable’’
                                              obligations was not established by case                                                                         approach. See EME Homer City, 572
                                              law until 2020. See Maryland, 958 F.3d                    information as the EPA can supply at
                                                                                                        this time to support their ability to                 U.S. at 519. In any case, the approach
                                              at 1203–04.                                                                                                     of the proposed transport FIP is not the
                                                 In short, nothing in the language of                   submit SIP revisions to achieve the
                                                                                                        emissions reductions the EPA believes                 subject of this SIP disapproval. This
                                              CAA section 110(c) prohibits the EPA                                                                            rulemaking does not impose any
                                              from proposing a FIP as a backstop, to                    necessary to eliminate significant
                                                                                                        contribution’’). If, and when, the EPA                specific emissions control measures on
                                              be finalized and implemented only in                                                                            the states. Nor is the EPA disapproving
                                              the event that a SIP submission is first                  receives a SIP submission that satisfies
                                                                                                        the requirements of CAA section                       these SIP submittals because they did
                                              found to be deficient and final                                                                                 not follow exactly the control strategies
                                              disapproval action on the SIP                             110(a)(2)(D)(i)(I), the Agency will take
                                                                                                        action to approve that SIP submission.                in the proposed FIP—the EPA has
                                              submission is taken. Such an approach                                                                           repeatedly indicated openness to
                                              is a reasonable and prudent means of                         Comment: Some commenters assert                    alternative approaches to addressing
                                              assuring that the statutory obligation to                 that the EPA is disapproving SIP                      interstate pollution obligations, but for
                                              reduce air pollution affecting the health                 submissions for the sole purpose of                   reasons explained elsewhere in the
                                              and welfare of those living in                            pursuing an alleged objective of                      rulemaking record, the EPA finds that
                                              downwind states is implemented                            establishing nation-wide standards in                 none of the states included in this
                                              without delay, either via a SIP, or where                 FIPs. Other commenters point to the                   action submitted approvable approaches
                                              such plan is deficient, via a FIP. The                    proposed FIPs to make arguments that                  to addressing those obligations.
                                              sequencing of the EPA’s actions here is                   the EPA’s decision to finalize                           The EPA disputes the contentions that
                                              therefore reasonably informed by its                      disapproval of the SIPs is an allegedly               the FIP proposal itself indicates that the
                                              legal obligations under the CAA,                          foregone conclusion or that the EPA has               EPA did not earnestly examine the SIP
                                              including in recognition of the fact that                 allegedly failed to provide the                       submissions for compliance with the
                                              the implementation of necessary                           opportunity for meaningful public                     CAA or have an appropriate rationale
                                              emissions reductions to eliminate                         engagement on the proposed
                                                                                                        disapproval of the SIPs.                                260 86 FR 73129 (December 27, 2021).
                                                249 Wisconsin,   938 F.3d at 318 (‘‘When EPA
                                              determines a State’s SIP is inadequate, the EPA
                                                                                                           EPA Response: The EPA disagrees as                   261 85 FR 65722 (October 16, 2020).
                                              presumably must issue a FIP that will bring that          the facts do not support this assertion.                262 87 FR 22463 (April 15, 2022).
                                                                                                                                                                263 87 FR 19390 (April 4, 2022).
                                              State into compliance before upcoming attainment          To date, the EPA has approved 24 good
                                                                                                                                                                264 86 FR 45870 (August 17, 2021).
                                              deadlines, even if the outer limit of the statutory       neighbor SIPs for the 2015 ozone
                                              timeframe gives the EPA more time to formulate the                                                                265 85 FR 5572 (January 31, 2020).

                                              FIP.’’) (citing Sierra Club, 294 F.3d at 161).
                                                                                                        NAAQS: Alaska,253 Colorado,254                          266 87 FR 21578 (April 12, 2022).
                                                 250 See CAA section 181(a); 40 CFR 51.1303;            Connecticut,255 Delaware,256 District of                267 85 FR 21325 (April 17, 2020).
                                              Additional Air Quality Designations for the 2015          Columbia,257 Florida,258 Georgia,259                    268 86 FR 45870 (August 17, 2021).
khammond on DSKJM1Z7X2PROD with RULES2




                                              Ozone National Ambient Air Quality Standards, 83                                                                  269 86 FR 68413 (December 2, 2021).
                                              FR 25776 (June 4, 2018, effective August 3, 2018).          253 84
                                                 251 Wisconsin, 938 F.3d at 322 (‘‘Delaware’s
                                                                                                                  FR 69331 (December 18, 2019).                 270 85 FR 20165 (April 10, 2020).
                                                                                                          254 87  FR 61249 (October 11, 2022).                  271 84 FR 22376 (May 17, 2019).
                                              argument leans too heavily on the SIP submission            255 86 FR 71830 (December 20, 2021).                  272 86 FR 70409 (December 10, 2021).
                                              deadline. SIP submission deadlines, unlike
                                                                                                          256 85 FR 25307 (May 1, 2020).                        273 86 FR 68413 (December 2, 2021).
                                              attainment deadlines, are ‘procedural’ and,
                                                                                                          257 85 FR 5570 (January 31, 2020).                    274 85 FR 67653 (October 26, 2020).
                                              therefore, not ‘central to the regulatory scheme.’ ’’)
                                              (citing Sierra Club, 294 F.3d at 161).                      258 86 FR 68413 (December 2, 2021).                   275 85 FR 34357 (June 4, 2020).
                                                 252 See March 2018 memorandum.                           259 Id.                                               276 83 FR 47568 (September 20, 2018).




                                         VerDate Sep<11>2014     17:17 Feb 10, 2023   Jkt 259001   PO 00000   Frm 00028   Fmt 4701   Sfmt 4700   E:\FR\FM\13FER2.SGM     13FER2
                                                                  Case: 23-60069                    Document: 110                  Page: 32            Date Filed: 03/27/2023
                                                               Federal Register / Vol. 88, No. 29 / Monday, February 13, 2023 / Rules and Regulations                                                    9363

                                              for proposing to disapprove certain SIP                 110(a)(2)(D)(i)(I). For the same reason,               event later than the next relevant
                                              submissions. The EPA also disputes that                 comments criticizing specific                          downwind attainment dates found in
                                              the FIP proposal indicates that the EPA                 substantive requirements or                            CAA section 181(a),278 and the EPA may
                                              did not intend to consider comments on                  implementation timelines in the                        not delay implementation of measures
                                              the proposed disapprovals. Comments                     proposed FIPs are beyond the scope of                  necessary to address good neighbor
                                              making claims the EPA did not follow                    this action.                                           requirements beyond the next
                                              proper administrative procedure have                                                                           applicable attainment date without a
                                              been submitted utilizing the very notice                2. Requests for Additional Time To
                                                                                                                                                             showing of impossibility or necessity.279
                                              and comment process these comments                      Revise SIP Submissions
                                                                                                                                                             Further, the court pointed out that the
                                              claim the EPA is skipping, and these                       Comment: Some commenters argue                      CAA section 110 schedule of SIP and
                                              claims are factually unsupported.                       that the EPA must or should delay                      FIP deadlines is procedural, and while
                                              Comments related to the length of the                   action on these SIP submissions so that                the EPA has complied with the
                                              comment period and claims of ‘‘pretext’’                states can reexamine and resubmit SIP                  mandatory sequence of actions required
                                              are addressed in the RTC document.                      submissions. Other commenters argue                    under section 110 here, we are mindful
                                                 Comment: Several comments pointed                    that states must be given more time to                 of the court’s observation that, as
                                              out how hard many states have worked                    re-examine and resubmit their SIP                      compared with the fundamental
                                              to develop an approvable SIP                            submission for various reasons,                        substantive obligations of title I of the
                                              submission.                                             including the substantive requirements                 CAA to attain and maintain the NAAQS,
                                                 EPA Response: The EPA                                in the proposed FIPs.                                  the maximum timeframes allotted under
                                              acknowledges and appreciates states’                       EPA Response: The EPA notes that                    section 110 are less ‘‘central to the
                                              efforts to develop approvable SIPs.                     there is no support in the Clean Air Act               regulatory scheme[.]’’ 280
                                              Cooperative federalism is a cornerstone                 for such a delay. CAA section 110(a)(1)                   Comment: Other comments take the
                                              of CAA section 110, and the EPA strives                 requires states to adopt and submit SIP                position that states are owed a second
                                              to collaborate with its state partners.                 submissions meeting certain                            opportunity to submit SIP submissions
                                              The timing of the EPA’s 2015 ozone                      requirements including the                             before the EPA takes final action for
                                              NAAQS good neighbor actions is not in                   requirements of CAA section                            various reasons, including claims that
                                              any way intended to call into question                  110(a)(2)(D)(i)(I), ‘‘within 3 years (or               the EPA failed to issue adequate
                                              any state’s commitment to develop                       such shorter period as the Administrator               guidance or is otherwise walking back
                                              approvable SIPs. The EPA evaluated                      prescribe) after the promulgation of a                 previously issued guidance. They allege
                                              each SIP submission on its merits. The                  national primary ambient air quality                   that a state cannot choose controls to
                                              EPA relies on collaboration with state                  standard (or any revision thereof).’’ CAA              eliminate significant contribution until
                                              air agencies to ensure SIP submissions                  section 110(a)(1). The submission                      the EPA quantifies the contribution.
                                              are technically and legally defensible,                 deadline clearly runs from the date of                 Other comments argue that the EPA
                                              and the Agency’s action here is in no                   promulgation of the NAAQS, which for                   should not or cannot base the
                                              way meant to undermine that                             the 2015 ozone NAAQS was October 1,                    disapprovals on alleged shifts in policy
                                              collaboration between state and Federal                 2015. 80 FR 65291 (Oct. 26, 2015). In                  that occurred after the Agency received
                                              partners respecting SIP development.                    addition, while the Administrator is
                                                 Comment: Several comments make                                                                              the SIP submissions.
                                                                                                      given authority to prescribe a period                     EPA Response: The EPA disagrees
                                              various arguments about when the EPA
                                                                                                      shorter than three years for the states to             that the Agency was required to issue
                                              can finalize FIPs. Some commenters
                                                                                                      adopt and submit such SIP submissions,                 guidance or quantify individual states’
                                              argue that CAA section 110(c)(1)
                                                                                                      the Act does not give the Administrator                level of significant contribution for 2015
                                              guarantees states an additional two
                                                                                                      authority to lengthen the time allowed                 ozone NAAQS good neighbor
                                              years to correct their SIP submissions
                                                                                                      for CAA section 110(a)(2) submissions.                 obligations, because as noted in EME
                                              before the EPA finalizes a FIP. Others
                                                                                                      And the EPA would be in violation of                   Homer City, the Supreme Court clearly
                                              argue that the notice and comment
                                              requirements of the Administrative                      court-ordered deadlines if it deferred                 held that ‘‘nothing in the statute places
                                              Procedures Act mandate that the EPA                     taking final action beyond January 31,                 EPA under an obligation to provide
                                              finalize a SIP submission disapproval                   2023, for all but two of the states                    specific metrics to States before they
                                              before proposing a FIP. One commenter                   covered by this action.277                             undertake to fulfill their good neighbor
                                              suggested that a state must be allowed                     Comments asserting that the EPA                     obligations.’’ 281 The Agency issued
                                              to fully exhaust its judicial remedies to               must give more time to states to correct               three memoranda in 2018 to provide
                                              challenge a SIP submission disapproval                  deficiencies and re-submit conflict with               modeling results and some ideas to
                                              before the EPA can promulgate a FIP.                    the controlling caselaw in that they                   states in the development of their SIP
                                              Commenters also raise concerns about                    would elevate the maximum timeframes                   submissions. However, certain aspects
                                              the analysis and requirements in the                    allowable within the procedural                        of those discussions were specifically
                                              proposed FIPs.                                          framework of CAA section 110 over the
                                                 EPA Response: Comments opining on                    attainment schedule of CAA section 181                    278 Wisconsin, 938 F.3d at 313–14 (citing North

                                                                                                      that the D.C. Circuit has now held                     Carolina, 531 F.3d at 911–12). On May 19, 2020, the
                                              when the EPA is legally authorized to                                                                          D.C. Circuit in Maryland, applying the Wisconsin
                                              propose or finalize a FIP are outside the               multiple times must be the animating                   decision, held that the EPA must assess air quality
                                              scope of this action. While the EPA                     focus in the timing of good neighbor                   at the next downwind attainment date, including
                                              acknowledges that the Agency has no                     obligations. The D.C. Circuit in                       Marginal area attainment dates, in evaluating the
                                                                                                      Wisconsin held that states and the EPA                 basis for the EPA’s denial of a petition under CAA
                                              obligation or authority to finalize a FIP
khammond on DSKJM1Z7X2PROD with RULES2




                                                                                                                                                             section 126(b). Maryland, 958 F.3d at 1203–04.
                                              until finalizing a disapproval of a SIP                 are obligated to fully address good                       279 See Wisconsin, 938 F.3d at 320.

                                              submission or determining that a state                  neighbor obligations for ozone ‘‘as                       280 Wisconsin, 938 F.3d at 322 (‘‘Delaware’s

                                              failed to submit a complete SIP                         expeditiously as practical’’ and in no                 argument leans too heavily on the SIP submission
                                              submission (CAA section 110(c)(1)), this                                                                       deadline. SIP submission deadlines, unlike
                                                                                                         277 The EPA has no court-ordered deadline to take   attainment deadlines, are ‘procedural’ and therefore
                                              action is limited to determining whether                final action on the good neighbor SIP submission       not ‘central to the regulatory scheme.’’’) (citing
                                              the covered SIP submissions meet the                    from Alabama dated June 21, 2022, or Utah’s good       Sierra Club, 294 F.3d at 161).
                                              requirements of CAA section                             neighbor SIP submission.                                  281 EME Homer City, 572 U.S. at 510.




                                         VerDate Sep<11>2014   17:17 Feb 10, 2023   Jkt 259001   PO 00000   Frm 00029   Fmt 4701   Sfmt 4700   E:\FR\FM\13FER2.SGM   13FER2
                                                                  Case: 23-60069                    Document: 110                  Page: 33            Date Filed: 03/27/2023
                                              9364              Federal Register / Vol. 88, No. 29 / Monday, February 13, 2023 / Rules and Regulations

                                              identified as not constituting agency                   memorandum rather than on the most                    emissions platform standing alone. Use
                                              guidance (especially Attachment A to                    recent modeling results is not                        of that platform, or any other modeling
                                              the March 2018 memorandum, which                        prejudicial to the outcome of the EPA’s               platform, is not ipso facto grounds for
                                              comprised an unvetted list of outside                   analysis, as our action on Alabama’s                  disapproval at all. As evident in the
                                              stakeholders’ ideas). Further, states’                  more recent submission evaluating the                 proposed disapprovals and summarized
                                              submissions did not meet the terms of                   State’s arguments with respect to the                 in Section IV, the EPA evaluated the SIP
                                              the August or October 2018 memoranda                    newer, 2016-based modeling makes                      submissions based on the merits of the
                                              addressing contribution thresholds and                  clear.                                                arguments put forward in each SIP
                                              maintenance receptors, respectively.                       Contrary to commenters’ arguments,                 submission.
                                              (See Section V.B for further discussion                 the EPA had no obligation to issue
                                                                                                      further guidance, define obligations, or              3. Alleged Harm to States Caused by
                                              of these memoranda.) We acknowledge                                                                           Time Between SIP Submission and the
                                              that the EPA reassessed air quality and                 otherwise clarify or attempt to interpret
                                                                                                      states’ responsibilities since the                    EPA’s Action
                                              states’ contribution levels through
                                              additional modeling before proposing                    issuance of the 2018 memoranda, prior                    Comment: Many comments pointed to
                                              action on these SIP submissions. But                    to acting on these SIP submissions.                   the EPA’s statutory deadlines to take
                                              that is not in any way an effort to                     States themselves were aware or should                action on the SIP submissions to argue
                                              circumvent the SIP/FIP process; rather it               have been aware of the case law                       that the EPA’s delay harmed the upwind
                                              is an outcome of the reality that the EPA               developments in Wisconsin and in                      state’s interests because now the EPA
                                              updated its modeling platform from a                    Maryland, which called into question                  may conclude they need to reduce their
                                              2011 to a 2016 base year and updated                    the EPA’s use of 2023 as the analytical               emissions to satisfy their good neighbor
                                              its emissions inventory information                     year in the March 2018 memorandum.                    obligations in the separate FIP
                                              along with other updates. There is                      Those decisions were issued in 2019                   rulemaking whereas had the EPA acted
                                              nothing improper in the Agency                          and 2020 respectively, yet no state                   by statutory deadlines using the older
                                              improving its understanding of a                        moved to amend or supplement their                    modeling, they might have had their SIP
                                              situation before taking action, and the                 SIP submissions with analysis of an                   submissions approved. Some
                                              Agency reasonably must be able to act                   earlier analytical year or to otherwise               commenters suggest that the EPA never
                                              on SIP submissions using the                            bring their analyses into conformance                 gave the state SIP submissions the
                                              information available at the time it takes              with those decisions (e.g., through fuller            appropriate review or suggest that the
                                              such action. Those updates have not                     analysis of non-EGU emissions                         EPA’s review of the SIP submissions
                                                                                                      reduction potential or through treatment              was prejudiced by the FIP it had
                                              uniformly been used to disapprove
                                                                                                      of international contribution). Given the             proposed.
                                              SIPs—the new modeling for instance
                                                                                                      Supreme Court’s 2014 holding in EME                      EPA Response: The EPA
                                              supported the approval of Montana’s                                                                           acknowledges that the Agency’s
                                              and Colorado’s SIPs.282 Nor has the new                 Homer City, 572 U.S. at 508–510, which
                                                                                                      reversed a D.C. Circuit holding that the              statutory deadlines to take final action
                                              modeling prevented states from                                                                                on these SIP submissions generally fell
                                              submitting new SIP submissions based                    EPA was obligated to define good
                                                                                                      neighbor obligations,284 states had no                in 2020 and 2021. However, the delay
                                              on that modeling. For instance, the State                                                                     in acting caused no prejudice to the
                                              of Alabama withdrew its prior                           reason to expect the EPA would be
                                                                                                      obligated to issue further guidance to                upwind states. First, this action to
                                              submission in April of 2022, following                                                                        disapprove SIP submissions itself will
                                              our proposed disapproval, and                           clarify requirements in the wake of
                                                                                                      those decisions. The EPA agrees with                  not impose any requirements or
                                              submitted a new submission (further                                                                           penalties on any state or sources within
                                                                                                      those commenters who point out that
                                              updated in June of 2022) analyzing the                                                                        that state. Second, these delays have
                                                                                                      states have the first opportunity to
                                              2016v2 modeling used at proposal. The                                                                         primarily had the effect of deferring
                                                                                                      assess and address obligations in
                                              EPA is acting on that new submission                                                                          relief to downwind states and their
                                                                                                      implementing the NAAQS, but with that
                                              and evaluating the new arguments the                                                                          citizens from excessive levels of ozone
                                                                                                      understanding in mind, it is notable that
                                              State developed regarding the more                                                                            pollution under the good neighbor
                                                                                                      prior to the proposed disapprovals in
                                              recent modeling. Nonetheless, as                                                                              provision. Further, the EPA has
                                                                                                      February of 2022, no state moved to
                                              explained in the EPA’s proposed                                                                               generally had a practice of correcting its
                                                                                                      amend or supplement their SIP
                                              disapproval of Alabama’s new                                                                                  action on good neighbor SIP submittals
                                                                                                      submission as the case law on good
                                              submission and in Section IV.A, the                                                                           if later information indicates that a prior
                                                                                                      neighbor obligations evolved or in
                                              new arguments that Alabama has                                                                                action was in error—thus, it is not the
                                                                                                      response to new modeling information
                                              presented in its more recent submission                                                                       case that simply having obtained an
                                                                                                      as it became available.
                                              do not lead the EPA to a contrary                                                                             approval based on earlier modeling
                                                                                                         Further, the EPA has evaluated state
                                              conclusion that its SIP submission                                                                            would have meant a state would be
                                                                                                      SIP submissions on the merits of what
                                              should be approved.283 This                                                                                   forever insulated from later being
                                                                                                      is contained in the submission, not the
                                              demonstrates two points contrary to                     use of any particular modeling platform.              subject to corrective or remedial good
                                              commenters’ contentions: first, the EPA                 The EPA disagrees with commenters’                    neighbor actions. See, e.g.,86 FR 23056,
                                              is following the science and is making                  assertions that the EPA has proposed                  23067–68 (April 30, 2021) (error
                                              nationally consistent determinations at                 disapproval of a state’s proposed SIP                 correcting Kentucky’s approval to a
                                              Steps 1 and 2, based on its review of                   due to the use of a particular modeling               disapproval and promulgating FIP
                                              each state’s submission; and second, the                platform. As noted previously, the EPA                addressing Kentucky’s outstanding 2008
                                              fact that states made submissions based                                                                       ozone NAAQS good neighbor
khammond on DSKJM1Z7X2PROD with RULES2




                                                                                                      approved state SIP submissions that
                                              on the 2011-based modeling results                      have used the earlier modeling. The                   obligations); 87 FR 20036, 20041 (April
                                              presented in the March 2018                             EPA did not reach its conclusion to                   6, 2022) (proposing error correction for
                                                                                                      disapprove states’ SIP submissions                    Delaware’s 2015 ozone NAAQS SIP
                                                282 87 FR 6095, 6097 at n. 15 (February 3, 2022)
                                                                                                      based on the use of the 2016v2                        approval to a disapproval based on
                                              (Montana proposal); 87 FR 27050, 27056 (May 6,
                                              2022) (Colorado, proposal), 87 FR 61249 (October                                                              updated air quality modeling). Finally,
                                              11, 2022) (Colorado, final).                              284 EME Homer City Generation, L.P. v. EPA, 696     there is no basis in the CAA to use the
                                                283 87 FR 64412 (October 25, 2022).                   F.3d 7 (D.C. Cir. 2012) (EME Homer City I).           Agency’s own delay as a basis to nullify


                                         VerDate Sep<11>2014   17:17 Feb 10, 2023   Jkt 259001   PO 00000   Frm 00030   Fmt 4701   Sfmt 4700   E:\FR\FM\13FER2.SGM   13FER2
                                                                  Case: 23-60069                    Document: 110                  Page: 34            Date Filed: 03/27/2023
                                                               Federal Register / Vol. 88, No. 29 / Monday, February 13, 2023 / Rules and Regulations                                                   9365

                                              the authority granted in the Act to                     unexpected rulemaking obligation to                   expeditiously as practicable.’’ 287 The
                                              address the nation’s air pollution                      complete good neighbor requirements as                downsides of commenters’ policy
                                              problems, as the statute itself contains                to the states with remanded CSAPR                     preference in favor of giving states
                                              other forms of adequate remedy. CAA                     Update FIPs. This led to the EPA                      another opportunity to develop SIP
                                              section 304(a)(2) provides for judicial                 proposing and then issuing an                         submissions, or in first acting on each
                                              recourse where there is an alleged                      economically significant, major rule                  SIP submission before proposing a FIP,
                                              failure by the agency to perform a                      assessing additional EGU emissions                    are that such a sequence of actions
                                              nondiscretionary duty, and that                         reduction obligations as well as                      would have led to multiple years of
                                              recourse is for the Agency to be placed                 presenting updated air quality modeling               additional delay in addressing good
                                              on a court-ordered deadline to address                  analysis using novel techniques and                   neighbor obligations. Even if such a
                                              the relevant obligations. Accord                        presenting information on a host of non-              choice was available to the Agency
                                              Oklahoma, 723 F.3d at 1223–24;                          EGU industrial sources for the first time,            using the CAA section 110(k)(5) SIP call
                                              Montana Sulphur and Chemical Co. v.                     i.e., the Revised CSAPR Update, 86 FR                 mechanism, it was entirely reasonable
                                              U.S. EPA, 666 F.3d 1174, 1190–91 (9th                   23054 (April 30, 2021). That rule is now              for the EPA to decline to use that
                                              Cir. 2012).                                             currently subject to judicial review in               mechanism in this instance. (EPA
                                                 Comment: Some comments contend                       the D.C. Circuit, Midwest Ozone Group                 further addresses comments in support
                                              that the EPA’s delay in acting on SIP                   v. EPA, No. 21–1146 (D.C. Cir. argued                 of a SIP call approach in the RTC
                                              submissions was a deliberate attempt to                 Sept. 28, 2022).285 The EPA has also                  document.)
                                              circumvent the SIP/FIP process, unduly                  been in the process of reviewing and                     In short, commenters’ notion that the
                                              burden the states, or to defer making                   acting upon many states’ good neighbor                EPA was deliberately or intentionally
                                              information available to states.                        SIPs where the available information                  deferring or delaying action on these SIP
                                              Comments allege that the EPA                            indicates that an approval of the state’s             submissions to circumvent any required
                                              intentionally stalled an evaluative                     submission was appropriate.286                        legal process or reach any specific result
                                              action until the perceived ‘‘facts’’ of the                Finally, the Agency needed time to                 is simply incorrect. Commenters have
                                              situation changed such that the analyses                review and evaluate the SIP                           not supplied any evidence to support
                                              submitted by states were rendered                       submissions in a coordinated fashion to               the claim either that any legal process
                                              outdated.                                               act on all the states’ submissions in a               was circumvented or that the Agency’s
                                                 EPA Response: The EPA disagrees                      consistent manner. As the EPA                         conduct was in bad faith. See Biden v.
                                              with both allegations. In this respect, it              explained in the proposed disapproval                 Texas, 142 S.Ct. 2528, 2546–47 (2022)
                                              is important to review the recent history               action, consistency in defining CAA                   (presumption of regularity attends
                                              of the EPA’s regulatory actions and                     obligations is critically important in the            agency action absent a ‘‘strong showing
                                              litigation with respect to good neighbor                context of addressing a regional-scale                of bad faith or improper behavior’’)
                                              obligations for both the 2008 and 2015                  pollutant like ozone. See, e.g., 87 FR                (citing Citizens to Protect Overton Park
                                              ozone NAAQS, and in particular, the                     9807 n.48. Through coordinated                        v. Volpe, 401 U.S. 302, 420 (1971); SEC
                                              substantial additional workload the                     development of the bases for how the                  v. Chenery, 318 U.S. 80, 87 (1943)).
                                              Agency took on in the wake of the                       Agency could act on the SIP
                                              remand of the CSAPR Update in                                                                                 4. Use of Updated Modeling
                                                                                                      submissions, while also evaluating the
                                              Wisconsin. In 2018, as the EPA issued                   contours of a potential Federal plan to                  Comment: Comments allege that by
                                              the memoranda cited by commenters                       implement obligations where required,                 relying on modeling not available at the
                                              and planned to shift its focus to                       the EPA sequenced its deliberations and               time of SIP submission development,
                                              implementing the 2015 standards, it                     decision making to maximize efficient,                the EPA ‘‘moved the goal post.’’
                                              also issued the CSAPR Close-out, which                  consistent, and timely action, in                     Comments note the timeframes set out
                                              made an analytical finding that there                   recognition of the need to implement                  for action on SIPs, citing section 110 of
                                              were no further obligations for 21 states               any necessary obligations ‘‘as                        the Act, and allege that by failing to act
                                              for the 2008 standards following the                                                                          on SIP submissions in a timely manner
                                              CSAPR Update. 83 FR 65878 (Dec. 21,                        285 During this time, the EPA also fulfilled its   and basing such actions on new
                                              2018). However, contrary to the EPA’s                   obligations to act on several petitions brought by    modeling, the EPA imposes an arbitrary
                                              understanding that it had fully                         downwind states under section 126(b) of the CAA.      and capricious standard. Comments
                                              addressed good neighbor obligations for                 These actions culminated in litigation and
                                                                                                      ultimately adverse decisions in Maryland and New
                                                                                                                                                            state that the EPA should not
                                              the 2008 ozone NAAQS, the D.C.                          York v. EPA. Maryland v, 958 F.3d; New York v.        disapprove a SIP based on data not
                                              Circuit’s decisions in Wisconsin                        EPA, 964 F.3d 1214, 2020 WL 3967838 (D.C. Cir.        available to states during development
                                              (remanding the CSAPR Update) and in                     2020). Further review and action on these remands     of the SIP submissions or to the EPA
                                              New York (vacating the CSAPR Close-                     remains pending before the agency.
                                                                                                         286 In chronological order: 83 FR 47568
                                                                                                                                                            during the period statutorily allotted for
                                              out), forced the Agency to quickly pivot                                                                      the EPA to take final action on SIP
                                                                                                      (September 20, 2018) (Washington); 84 FR 69331
                                              back to addressing remaining                            (December 18, 2019) (Alaska); 84 FR 22376 (May 17,    submissions.
                                              obligations under the 2008 standards.                   2019) (Oregon); 85 FR 5570 (January 31, 2020)            EPA Response: In response to
                                              Wisconsin v. EPA, 938 F.3d 303 (D.C.                    (Washington, DC); 85 FR 5572 (January 31, 2020)       comments’ claims that the EPA has
                                              Cir. 2019); New York v. EPA, 781 F.                     (Massachusetts); 85 FR 20165 (April 10, 2020)
                                                                                                      (North Dakota); 85 FR 21325 (April 17, 2020)          inappropriately changed states’
                                              App’x. 4 (D.C. Cir. 2019). The EPA was                  (Nebraska); 85 FR 25307 (May 1, 2020) (Delaware);     obligations for interstate transport by
                                              subject to renewed deadline suit                        85 FR 34357 (June 4, 2020) (Vermont); 85 FR 65722     relying on updated modeling not
                                              litigation under CAA section 304, which                 (October 16, 2020) (Idaho); 85 FR 67653 (October      available to states at the time they
                                              led to a March 15, 2021, deadline to take               26, 2020) (South Dakota); 86 FR 45870 (August 17,
khammond on DSKJM1Z7X2PROD with RULES2




                                                                                                      2021) (Maine and New Hampshire); 86 FR 68413          prepared their SIP submissions, the EPA
                                              final action on several states whose FIPs               (December 2, 2021) (Florida, Georgia, North           disagrees. As an initial matter, the EPA
                                              had been remanded and were                              Carolina, and South Carolina); 86 FR 70409            disagrees with comment’s claiming that
                                              incomplete in the wake of the CSAPR                     (December 10, 2021) (Rhode Island); 86 FR 71830       the agency expected state air agencies to
                                              Close-out vacatur. New Jersey v.                        (December 20, 2021) (Connecticut); 86 FR 73129
                                                                                                      (December 27, 2021) (Hawaii); 87 FR 19390 (April      develop a SIP submission based on
                                              Wheeler, 475 F.Supp.3d 308 (S.D.N.Y.                    4, 2022) (Kansas); 87 FR 21578 (April 12, 2022)
                                              2020). Throughout 2020 and 2021, the                    (Montana); 87 FR 22463 (April 15, 2022) (Iowa); and     287 CAA section 181(a); Wisconsin, 938 F.3d at

                                              EPA was therefore focused on an                         87 FR 61249 (October 11, 2022) (Colorado).            313–14 (citing North Carolina, 531 F.3d at 911–12).



                                         VerDate Sep<11>2014   17:17 Feb 10, 2023   Jkt 259001   PO 00000   Frm 00031   Fmt 4701   Sfmt 4700   E:\FR\FM\13FER2.SGM   13FER2
                                                                  Case: 23-60069                    Document: 110                  Page: 35            Date Filed: 03/27/2023
                                              9366             Federal Register / Vol. 88, No. 29 / Monday, February 13, 2023 / Rules and Regulations

                                              some unknown future data. The EPA                       States from emitting in amounts ‘‘which will’’        receptors and linkages for the 2015
                                              recognizes that states generally                        contribute to downwind nonattainment. 42              ozone NAAQS in the 2023 analytic year.
                                              developed their SIP submissions with                    U.S.C. 7410(a)(2)(D)(i) (emphasis added).             The 2016-based meteorology and
                                                                                                      Given the use of the future tense, it would
                                              the best available information at the                                                                         boundary conditions used in the
                                                                                                      be anomalous for EPA to subject upwind
                                              time of their development. As stated in                 States to good neighbor obligations in 2017           modeling have been available through
                                              the proposals, the EPA did not evaluate                 by considering which downwind States were             the 2016v1 platform, which was used
                                              states’ SIP submissions based solely on                 once in nonattainment in 2011.                        for the Revised CSAPR Update
                                              the 2016v2 emissions platform (or the                                                                         (proposed in November of 2020, 85 FR
                                                                                                         Wisconsin, 903 F.3d at 322. By the
                                              2016v3 platform, which incorporates                                                                           68964). The updated emissions
                                                                                                      same token, here, holding the EPA to a
                                              comments generated during the public                                                                          inventory files used in the current
                                                                                                      consideration only of what information
                                              comment period on the proposed SIP                                                                            modeling were publicly released
                                                                                                      states had available regarding the 2023
                                              actions and which supports these final                                                                        September 21, 2021, for stakeholder
                                                                                                      analytic year at the time of their SIP
                                              SIP disapproval actions). We evaluated                                                                        feedback, and have been available on
                                                                                                      submissions or at the time of a deadline
                                              the SIP submissions based on the merits                                                                       our website since that time.288 The
                                                                                                      under CAA section 110, would likewise
                                              of the arguments put forward in each                                                                          CAMx modeling software that the EPA
                                                                                                      elevate the ‘‘procedural’’ deadlines of
                                              SIP submission, which included any                                                                            used has likewise been publicly
                                                                                                      CAA section 110 above the substantive
                                              analysis put forward by states to support                                                                     available for over a year. CAMx version
                                                                                                      requirements of the CAA that are
                                              their conclusions. Thus, we disagree                                                                          7.10 was released by the model
                                                                                                      ‘‘central to the regulatory scheme.’’
                                              with commenters who allege the Agency                                                                         developer, Ramboll, in December 2020.
                                                                                                      Doing so here would force the Agency
                                              has ignored the information provided by                                                                       On January 19, 2022, we released on our
                                                                                                      to act on these SIP submissions knowing               website and notified a wide range of
                                              the states in their submissions. Indeed,
                                                                                                      that more recent refined, high quality,               stakeholders of the availability of both
                                              the record for this action reflects our
                                                                                                      state-of-the-science modeling and                     the modeling results for 2023 and 2026
                                              extensive evaluation of states’ air
                                                                                                      monitoring data would produce a                       (including contribution data) along with
                                              quality and contribution analyses. See
                                                                                                      different result in our forward-looking               many key underlying input files.289
                                              generally Section IV, which summarizes
                                                                                                      analysis of 2023 than the information                    By providing the 2016 meteorology
                                              our evaluation for each state.
                                                 We disagree with commenters who                      available in 2018. Nothing in the CAA                 and boundary conditions (used in the
                                              advocate that the EPA’s evaluation of                   dictates that the EPA must be forced                  2016v1 version) in fall of 2020, and by
                                              these submissions must be limited to                    into making substantive errors in its                 releasing updated emissions inventory
                                              the information available to states at the              good neighbor analysis on this basis.                 information used in 2016v2 in
                                                                                                         We relied on CAMx Version 7.10 and                 September of 2021,290 states and other
                                              time they made their submissions, or
                                                                                                      the 2016v2 emissions platform to make                 interested parties had multiple
                                              information at the time of the deadline
                                                                                                      updated determinations regarding                      opportunities prior to the proposed
                                              for the EPA to act on their submissions.
                                                                                                      which receptors would likely exist in                 disapprovals in February of 2022 to
                                              It can hardly be the case that the EPA
                                                                                                      2023 and which states are projected to                consider how our modeling updates
                                              is prohibited from taking rulemaking
                                                                                                      contribute above the contribution                     could affect their status for purposes of
                                              action using the best information
                                                                                                      threshold to those receptors. As                      evaluating potential linkages for the
                                              available to it at the time it takes such
                                                                                                      explained in the preamble of the EPA’s                2015 ozone NAAQS. Further, by using
                                              action. Nothing in the CAA suggests that
                                                                                                      proposed actions and further detailed in              the updated modeling results, the EPA
                                              the Agency must deviate from that
                                                                                                      the document titled ‘‘Air Quality                     is using the most current and
                                              general principle when acting on SIP
                                                                                                      Modeling TSD: 2015 Ozone National                     technically appropriate information for
                                              submissions. While CAA section
                                                                                                      Ambient Air Quality Standards                         this rulemaking. This modeling was not
                                              110(k)(2) specifies a time period in
                                                                                                      Proposed Interstate Transport Air Plan                performed to ‘‘move the goal posts’’ for
                                              which the Administrator is to act on a
                                                                                                      Disapproval’’ and 2016v2 Emissions                    states but meant to provide updated
                                              state submission, neither this provision
                                                                                                      Inventory TSD, both available in Docket               emissions projections, such as
                                              nor any other provision of the CAA
                                                                                                      ID no. EPA–HQ–OAR–2021–0663, the                      additional emissions reductions for
                                              specifies that the remedy for the EPA’s
                                                                                                      2016v2 modeling built off previous                    EGUs following promulgation of the
                                              failure to meet a statutory deadline is to
                                                                                                      modeling iterations used to support the               Revised CSAPR Update for the 2008
                                              arrest or freeze the information the EPA
                                                                                                      EPA’s action on interstate transport                  ozone NAAQS, more recent information
                                              may consider to what was available at
                                                                                                      obligations. The EPA continuously                     on plant closures and fuel switches, and
                                              the time of a SIP submission deadline
                                                                                                      refines its modeling to ensure the results            sector trends, including non-EGU
                                              under CAA section 110. Indeed, in the
                                                                                                      are as indicative as possible of air                  sectors. The construct of the 2016v2
                                              interstate transport context, this would
                                                                                                      quality in future years. This includes                emissions platform is described in the
                                              lead to an anomalous result. For
                                                                                                      adjusting our modeling platform and                   2016v2 Emissions Modeling TSD
                                              example, the D.C. Circuit rejected an
                                                                                                      updating our emissions inventories to                 contained in Docket ID No. EPA–HQ–
                                              argument made by Delaware against the
                                                                                                      reflect current information.                          OAR–2021–0663.
                                              CSAPR Update air quality analysis that                     Additionally, we disagree with                        Finally, comments related to the
                                              the EPA was limited to reviewing air                    comments claiming that the 2016v2                     timing of the EPA’s action to disapprove
                                              quality conditions in 2011 (rather than                 modeling results were sprung upon the                 these SIP submissions are addressed in
                                              2017) at the time of the statutory                      states with the publication of the                    Section V.A.1. The EPA notes the
                                              deadline for SIP submittals. The court                  proposed disapprovals. The EPA has                    statute provides a separate remedy for
                                              explained,                                              been publishing a series of data and                  agency action unlawfully delayed. In
khammond on DSKJM1Z7X2PROD with RULES2




                                                 Delaware’s argument leans too heavily on             modeling releases beginning as early as               section 304 of the CAA, there is a
                                              the SIP submission deadline. SIP submission             the publication of the 2016v1 modeling
                                              deadlines, unlike attainment deadlines, are             with the proposed Revised CSAPR                         288 See https://www.epa.gov/air-emissions-
                                              ‘‘procedural’’ and therefore not ‘‘central to                                                                 modeling/2016v2-platform.
                                              the regulatory scheme.’’ Sierra Club, 294 F.3d          Update in November of 2020, which                       289 See https://www.epa.gov/scram/
                                              at 161. Nor can Delaware’s argument be                  could have been used to track how the                 photochemical-modeling-applications.
                                              reconciled with the text of the Good                    EPA’s modeling updates were                             290 https://www.epa.gov/air-emissions-modeling/

                                              Neighbor Provision, which prohibits upwind              potentially affecting the list of possible            2016v2-platform.



                                         VerDate Sep<11>2014   17:17 Feb 10, 2023   Jkt 259001   PO 00000   Frm 00032   Fmt 4701   Sfmt 4700   E:\FR\FM\13FER2.SGM   13FER2
                                                                  Case: 23-60069                    Document: 110                  Page: 36            Date Filed: 03/27/2023
                                                               Federal Register / Vol. 88, No. 29 / Monday, February 13, 2023 / Rules and Regulations                                                     9367

                                              process for filing suit against the EPA                    EPA Response: Although some                        5. Cooperative Federalism and the
                                              for its failure to comply with a non-                   commenters indicate that our modeling                 EPA’s Authority
                                              discretionary statutory duty under the                  iterations have provided differing                       Comment: Many comments point to
                                              CAA. The appropriate remedy in such                     outcomes and are therefore unreliable,                the concept of cooperative federalism as
                                              cases is an order to compel agency                      this is not what the overall record                   embodied in the CAA to make various
                                              action, not a determination that the                    indicates. Rather, in general, although               arguments as to why the EPA cannot or
                                              agency, by virtue of missing a deadline,                the specifics of states’ linkages may                 should not be allowed to exercise its
                                              has been deprived of or constrained in                  change slightly, our modeling overall                 independent judgment in evaluating the
                                              its authority to act. See Oklahoma, 723                 has provided consistent outcomes                      arguments presented by the states in the
                                              F.3d at 1224 (‘‘[W]hen ‘there are less                  regarding which states are linked to                  SIP submissions, and some also argue
                                              drastic remedies available for failure to               downwind air quality problems. For                    that the EPA must approve each state’s
                                              meet a statutory deadline’—such as a                    example, the EPA’s modeling shows                     submission in deference to how states
                                              motion to compel agency action—                         that most states that were linked to one              choose to interpret the CAA
                                              ‘courts should not assume that Congress                 or more receptors using the 2011-based
                                                                                                                                                            requirements they must meet.
                                              intended the agency to lose its power to                platform (i.e., the March 2018 data                      EPA Response: The CAA establishes a
                                              act.’ The Court ‘would be most reluctant                release) are also linked to one or more               framework for state-Federal partnership
                                              to conclude that every failure of an                    receptors using the newer 2016-based                  to implement the NAAQS based on
                                              agency to observe a procedural                          platform. Because each platform uses                  cooperative federalism. Under the
                                              requirement voids subsequent agency                     different meteorology (i.e., 2011 and                 general model of cooperative federalism,
                                              action, especially when important                       2016) it is not at all unexpected that an             the Federal Government establishes
                                              public rights are at stake.’’’) (cleaned up)            upwind state could be linked to
                                                                                                                                                            broad standards or goals, states are
                                              (quoting Brock v. Pierce County, 476                    different receptors using 2011 versus
                                                                                                                                                            given the opportunity to determine how
                                              U.S. 253, 260 (1986)).                                  2016 meteorology.
                                                 Comment: Comments state that it is                      In addition, although a state may be               they wish to achieve those goals, and if
                                              inappropriate for the EPA to revise its                 linked to a different set of receptors,               states choose not to or fail to adequately
                                              emissions inventory and to conduct new                  states are often linked to receptors in the           implement programs to achieve those
                                              air quality modeling without allowing                   same area that has a persistent air                   goals, a Federal agency is empowered to
                                              an appropriate opportunity for                          quality problem. These differing results              directly regulate to achieve the
                                              stakeholder review and comment and                      regarding receptors and linkages can be               necessary ends. Under the CAA, once
                                              that the EPA must allow public                          affected by the varying meteorology                   the EPA establishes or revises a
                                              comment on any updated (i.e., 2016v3)                   from year to year, but this does not                  NAAQS, states have the obligation and
                                              modeling prior to use by the EPA in a                   indicate that the modeling or the EPA or              opportunity in the first instance to
                                              final action. Comments claim that the                   the state’s methodology for identifying               develop an implementation plan under
                                              EPA must withdraw the proposed                          receptors or linkages is inherently                   CAA section 110 and the EPA will
                                              disapproval and provide states time to                  unreliable. Rather, for many states these             approve SIP submissions under CAA
                                              develop new SIP submissions based on                    separate modeling runs all indicated: (i)             section 110 that fully satisfy the
                                              the updated information.                                that there would be receptors in areas                requirements of the CAA. This sequence
                                                 EPA Response: The EPA has                            that would struggle with nonattainment                of steps is not in dispute.
                                              evaluated a wide range of technical                     or maintenance in the future, and (ii)                   The EPA does not, however, agree
                                              information and critiques of its 2016v2                 that the state was linked to some set of              with the comments’ characterization of
                                              emissions inventory and modeling                        these receptors, even if the receptors                the EPA’s role in the state-Federal
                                              platform following a solicitation of                    and linkages differed from one another                relationship as being ‘‘secondary’’ such
                                              public feedback as well the public                      in their specifics (e.g., a different set of          that the EPA must defer to state choices
                                              comment period on this action (and the                  receptors were identified to have                     heedless of the substantive objectives of
                                              proposed FIP action) and has responded                  nonattainment or maintenance                          the Act; such deference would be
                                              to those comments and incorporated                      problems, or a state was linked to                    particularly inappropriate in the context
                                              updates into the version of the modeling                different receptors in one modeling run               of addressing interstate pollution. The
                                              being used in this final action (2016v3).               versus another).                                      EPA believes that the comments
                                              See Section III, the Final Action AQM                      The EPA interprets this common                     fundamentally misunderstand or
                                              TSD, and Section 4 of the RTC                           result as indicative that a state’s                   inaccurately describe this action, as well
                                              document for further discussion.                        emissions have been substantial enough                as the ‘‘‘division of responsibilities’
                                                 The EPA’s development of and                         to generate linkages at Step 2 to varying             between the states and the federal
                                              reliance on newer modeling to confirm                   sets of downwind receptors generated                  government’’ they identify in CAA
                                              modeling used at the proposal stage is                  under varying assumptions and                         section 110 citing the Train-Virginia
                                              in no way improper and is simply                        meteorological conditions, even if the                line of cases 291 and other cases.292
                                              another iteration of the EPA’s                          precise set of linkages changed between
                                                                                                                                                              291 See Virginia v. EPA, 108 F.3d 1397, 1407 (D.C.
                                              longstanding scientific and technical                   modeling runs. Under these
                                                                                                                                                            Cir. 1997) (Virginia) (quoting Train v. Natural
                                              work to improve our understanding of                    circumstances, we think it is                         Resources Defense Council, Inc., 421 U.S. 60, 79
                                              air quality issues and causes going back                appropriate to proceed to a Step 3                    (1975) (Train)). The ‘‘Train-Virginia line of cases’’
                                              decades. Where the 2016v3 modeling                      analysis to determine what portion of a               are named for the U.S. Supreme Court case Train,
                                              produced a potentially different                        particular state’s emissions should be                421 U.S. and to the D.C. Circuit case Virginia, 108
                                                                                                                                                            F.3d. The D.C. Circuit has described these cases as
                                              outcome for states from proposal, that is               deemed ‘‘significant.’’ We also note that
khammond on DSKJM1Z7X2PROD with RULES2




                                                                                                                                                            defining a ‘‘federalism bar’’ that generally
                                              reflected in this action (e.g., our deferral            only four states included in the                      recognizes states’ ability to select emissions control
                                              of final action on Tennessee and                        proposed disapprovals went from being                 measures in their SIPs so long as CAA requirements
                                              Wyoming’s SIP submissions).                             unlinked to being linked between the                  are met. See, e.g., Michigan v. EPA, 213 F.3d 663,
                                                 Comment: Comments allege that                        2011-based modeling provided in the                   687 (D.C. Cir. 2000) (Michigan).
                                                                                                                                                              292 Union Elec. Co. v. EPA, 427 U.S. 246 (1976),
                                              EPA’s modeling results have been                        March 2018 memorandum and the                         Am. Elec. Power Co. v. Connecticut, 565 U.S. 410
                                              inconsistent, questioning the reliability               2016v2-based modeling—Alabama,                        (2011), Fla. Power & Light v. Costle, 650 F.2d 579
                                              of the results.                                         Minnesota, Nevada, and Tennessee.                                                                  Continued




                                         VerDate Sep<11>2014   17:17 Feb 10, 2023   Jkt 259001   PO 00000   Frm 00033   Fmt 4701   Sfmt 4700   E:\FR\FM\13FER2.SGM   13FER2
                                                                   Case: 23-60069                       Document: 110                Page: 37             Date Filed: 03/27/2023
                                              9368              Federal Register / Vol. 88, No. 29 / Monday, February 13, 2023 / Rules and Regulations

                                              Those cases, some of which pre-date the                   after those SIPs were due. Some                        comment also characterizes the EPA’s
                                              CAA amendments of 1990 resulting in                       comments additionally claim that it is                 invocation of Maryland as an
                                              the current Good Neighbor Provision,293                   unreasonable for the EPA to disapprove                 inappropriate shifting of regulatory
                                              stand only for the proposition that the                   SIP submissions based on standards that                burden to upwind states.
                                              EPA must approve state plans if they                      were not defined, mandated, or required                   EPA Response: This is an incorrect
                                              meet the applicable CAA requirements.                     by official guidance.                                  interpretation of the D.C. Circuit’s
                                              But these cases say nothing about what                       EPA Response: Comments’ contention                  holdings in North Carolina, Wisconsin,
                                              those applicable requirements are. The                    is unsupported by the statute or                       and Maryland, which held that the EPA
                                              EPA is charged under CAA section 110                      applicable case law. Regarding the need                and the states must align good neighbor
                                              with reviewing states’ plans for                          for the EPA’s guidance in addressing                   obligations to the extent possible with
                                              compliance with the CAA and                               good neighbor obligations, in EME                      the downwind areas’ attainment dates.
                                              approving or disapproving them based                      Homer City, the Supreme Court clearly                  These are set by the statute and remain
                                              on EPA’s determinations. Thus, the EPA                    held that ‘‘nothing in the statute places              fixed regardless of whether downwind
                                              must ultimately determine whether state                   the EPA under an obligation to provide                 areas are delayed in implementing their
                                              plans satisfy the requirements of the Act                 specific metrics to States before they                 own obligations. It would be
                                              or not. Abundant case law reflects an                     undertake to fulfill their good neighbor               unworkable to expect that upwind
                                              understanding that the EPA must                           obligations.’’ 296                                     states’ obligations could be perfectly
                                              evaluate SIP submissions under the                           Nonetheless, as comments point out,                 aligned with each downwind area’s
                                              CAA section 110(k)(2) and (3).294 If they                 the EPA issued three ‘‘memoranda’’ in                  actual timetable for implementing the
                                              are deficient, the EPA must so find, and                  2018 to provide some assistance to                     relevant emissions controls, and no
                                              become subject to the obligation to                       states in developing these SIP                         court has held that this is the EPA’s or
                                              directly implement the relevant                           submissions. In acting on the SIP                      the states’ obligation under the good
                                              requirements through a Federal                            submissions in this action, the EPA is                 neighbor provision. Further, this ignores
                                              implementation plan under CAA                             neither rescinding nor acting                          the fact that upwind states must also
                                              section 110(c), unless EPA approves an                    inconsistently with the memoranda—to                   address their interference with
                                              applicable SIP first.295                                  the extent the memoranda constituted                   maintenance of the NAAQS, as well as
                                                The EPA responds in greater detail to                   agency guidance (not all the information               the Maryland court’s holding that good
                                              these comments in the RTC document.                       provided did constitute guidance),                     neighbor obligations should be
                                                                                                        information or ideas in the memoranda                  addressed by the Marginal area
                                              6. Availability of Guidance for SIP
                                                                                                        had not at that time been superseded by                attainment date for ozone under subpart
                                              Submissions
                                                                                                        case law developments, and the                         2 of part D of title I of the CAA. Both
                                                 Comment: Comments contend the                          memoranda’s air quality and                            circumstances may involve situations in
                                              EPA failed to issue guidance in a timely                                                                         which the home state for an identified
                                                                                                        contribution data had not at that time
                                              fashion by releasing its August 2018                                                                             downwind receptor does not have a
                                                                                                        been overtaken by updated modeling
                                              memorandum 31 days prior to when                                                                                 specific obligation to plan for and
                                                                                                        and other updated air quality
                                              SIPs addressing interstate ozone                                                                                 implement specific emissions controls
                                                                                                        information. While comments specific
                                              transport were due and issuing the                                                                               while an upwind state may nonetheless
                                                                                                        to each of those memoranda are
                                              October 2018 memorandum 18 days                                                                                  be found to have good neighbor
                                                                                                        addressed elsewhere in this record, we
                                                                                                        note in brief that each memorandum                     obligations. But, as the Maryland court
                                              (5th Cir. 1981), Bethlehem Steel Corp. v. Gorsuch,                                                               recognized, the absence of specific
                                              742 F.2d 1028 (7th Cir. 1984), Concerned Citizens         made clear that the EPA’s action on SIP
                                              of Bridesburg v. EPA, 836 F.2d 777 (3d Cir. 1987),        submissions would be through a                         enumerated requirements does not
                                              North Carolina, 531 F.3d 896, Luminant, 675 F.3d          separate notice-and-comment                            mean the downwind state does not have
                                              917 (5th. Cir. 2012), Luminant Co. LLC v. EPA, 714
                                                                                                        rulemaking process and that SIP                        a statutorily binding obligation subject
                                              F.3d 841 (5th. Cir. 2013), North Dakota v. EPA, 730                                                              to burdensome regulatory consequences:
                                              F.3d 750 (8th. Cir. 2013), EME Homer City II, 795         submissions seeking to rely on or take
                                              F.3d 118 (D.C. Cir. 2015), and Texas v. USEPA, 829        advantage of any information or                        ‘‘Delaware must achieve attainment ‘as
                                              F.3d 405 (5th. Cir. 2016).                                concepts in these memoranda would be                   expeditiously as practicable,’’’ and ‘‘an
                                                 293 The 1970 version of the Act required SIPs to
                                                                                                        carefully reviewed against the relevant                upgrade from a marginal to a moderate
                                              include ‘‘adequate provisions for intergovernmental
                                                                                                        legal requirements and technical                       nonattainment area carries significant
                                              cooperation’’ concerning interstate air pollution.                                                               consequences . . . .’’ Maryland, 958
                                              CAA section 110(a)(2)(E), 84 Stat. 1681, 42 U.S.C.        information available to the EPA at the
                                              1857c–5(a)(2)(E). In 1977, Congress amended the                                                                  F.3d at 1204.
                                                                                                        time it would take such rulemaking
                                              Good Neighbor Provision to direct States to submit                                                                  Further, where any downwind-state
                                              SIP submissions that included provisions
                                                                                                        action.                                                delays are unreasonable or violate
                                              ‘‘adequate’’ to ‘‘prohibi[t] any stationary source        B. Application of the 4-Step Interstate                statutory timeframes, the CAA provides
                                              within the State from emitting any air pollutant in
                                              amounts which will . . . prevent attainment or            Transport Framework                                    recourse to compel the completion of
                                              maintenance [of air quality standards] by any other                                                              such duties in CAA section 304, not to
                                              State.’’ CAA section 108(a)(4), 91 Stat. 693, 42          1. Analytic Year                                       defer the elimination of significant
                                              U.S.C. 7410(a)(2)(E) (1976 ed., Supp. II). Congress          Comment: One comment asserted that                  contribution and thereby expose the
                                              again amended the Good Neighbor Provision in
                                              1990 to its current form.
                                                                                                        2023 is not an appropriate analytical                  public in downwind areas to the
                                                 294 See, e.g., Virginia, 108 F.3d at 1406. See also,   year because, according to the                         elevated pollution levels caused in part
                                              e.g., Westar Energy v. EPA, 608 Fed. App’x 1, 3           commenter, the EPA and at least some                   by upwind states’ pollution. Regardless,
                                              (D.C. Cir. 2015) (‘‘EPA acted well within the bounds      downwind states have not in fact                       in this action, 2023 aligns with the
                                              of its delegated authority when it disapproved of
                                                                                                        implemented mandatory emissions                        Moderate area attainment date in 2024,
khammond on DSKJM1Z7X2PROD with RULES2




                                              Kansas’s proposed [good neighbor] SIP.’’) (emphasis
                                              added); Oklahoma, 723 F.3d at 1209 (upholding the         control requirements associated with                   and all of the downwind nonattainment
                                              EPA’s disapproval of ‘‘best available retrofit            their nonattainment areas, and North                   areas corresponding to receptor
                                              technology’’ (BART) SIP, noting BART ‘‘does not           Carolina and Wisconsin require that                    locations identified at Step 1 in this
                                              differ from other parts of the CAA—states have the                                                               action are already classified as being in
                                              ability to create SIPs, but they are subject to EPA
                                                                                                        upwind and downwind state obligations
                                              review’’).                                                must be implemented ‘‘on par.’’ The                    Moderate nonattainment or have been
                                                 295 EME Homer City Generation, 572 U.S. at 508–                                                               reclassified to Moderate and the
                                              510.                                                       296 EME   Homer City, 572 U.S. at 510.                relevant states face obligations to submit


                                         VerDate Sep<11>2014    17:17 Feb 10, 2023   Jkt 259001   PO 00000   Frm 00034   Fmt 4701   Sfmt 4700     E:\FR\FM\13FER2.SGM   13FER2
                                                                   Case: 23-60069                    Document: 110                  Page: 38               Date Filed: 03/27/2023
                                                                Federal Register / Vol. 88, No. 29 / Monday, February 13, 2023 / Rules and Regulations                                                     9369

                                              SIP submissions and implement                            guidance, but was intended to generate                 transport framework as a guide for its
                                              reasonably available control                             further discussion around potential                    review to ensure a consistent and
                                              technologies (RACT) by January 1, 2023.                  approaches to addressing ozone                         equitable evaluation of each states’
                                              See 87 FR 60897, 60899 (October 7,                       transport among interested stakeholders.               submissions, the EPA has also
                                              2022). The EPA further responds to this                  The EPA emphasized in this                             considered states’ individual arguments
                                              comment in the RTC document.                             memorandum that any such alternative                   without predetermining the EPA’s
                                                                                                       approaches must be technically justified               conclusions about the state’s transport
                                              2. Attachment A to the March 2018
                                                                                                       and appropriate in light of the facts and              obligations.
                                              Memorandum
                                                                                                       circumstances of each particular state’s                  It was never the Agency’s intent in
                                                 Comment: Comments state that states                   submittal.300 As stated in the proposed                sharing Attachment A that states would
                                              conducted their analyses based on the                    SIP disapprovals,301 the March 2018                    invoke one or more of the potential
                                              flexibilities listed in Attachment A of                  memorandum provided that, ‘‘While the                  ‘‘flexibilities’’ that outside parties
                                              the March 2018 Memorandum.                               information in this memorandum and                     advocated for as a basis for concluding
                                              Comments cite the part of the                            the associated air quality analysis data               that no additional emissions controls
                                              memorandum where the EPA notes that                      could be used to inform the                            were necessary to address interstate
                                              ‘‘in developing their own rules, states                  development of these SIPs, the                         transport for the more protective 2015
                                              have flexibility to follow the familiar                  information is not a final determination               ozone NAAQS without proper
                                              four-step transport framework (using                     regarding states’ obligations under the                justification. Nothing in Attachment A
                                              [the] EPA’s analytical approach or                       good neighbor provision.’’ 302 In this                 suggested that was the Agency’s
                                              somewhat different analytical                            final SIP disapproval action, the EPA                  intended objective. Indeed, where
                                              approaches within these steps) or                        again affirms that certain concepts                    certain approaches identified in
                                              alternative frameworks, so long as their                 included in Attachment A to the March                  Attachment A might have produced
                                              chosen approach has adequate technical                   2018 memorandum require unique                         analytical conclusions requiring upwind
                                              justification and is consistent with the                 consideration, and these ideas do not                  states to reduce their emissions, no state
                                              requirements of the CAA.’’ Comments                      constitute agency guidance with respect                invoking Attachment A followed
                                              state that the EPA’s disapproval of SIP                  to transport obligations for the 2015                  through with implementing those
                                              submissions that took advantage of the                   ozone NAAQS.                                           controls. We observe this dynamic at
                                              flexibilities is arbitrary and capricious                   In response to comments’ claims that                work in Kentucky’s submission, because
                                              because the EPA has changed, without                     since the time transport SIP submissions               Kentucky appended comments from the
                                              communication, its consideration of                      were submitted to the EPA for review,                  Midwest Ozone Group to its submission
                                              what is deemed to be the ‘‘necessary                     the EPA has changed, without                           that demonstrated that applying a
                                              provisions’’ required for an approvable                  communication, its consideration of                    ‘‘weighted’’ approach to allocating
                                              SIP submission too late in the SIP                       what is deemed to be the ‘‘necessary                   upwind-state responsibility at Step 3
                                              submission process and because, in                       provisions’’ required for an approvable                would have resulted in an emissions
                                              disapproving these SIPs, the EPA is                      SIP submission, the EPA disagrees. As                  control obligation on Kentucky’s
                                              applying a consistent set of policy                      comments note, and as stated in the                    sources, yet the State offered no
                                              judgments across all states.                             proposed disapproval notifications, the                explanation in its submittal why it was
                                                 EPA Response: Comments mistakenly                     EPA recognizes that states have                        not adopting that approach or even what
                                              view Attachment A to the March 2018                      discretion to develop their own SIP                    its views on that approach were. See 87
                                              memorandum releasing modeling                            transport submissions and agrees that                  FR 9515. As another example, Michigan
                                              results as constituting agency guidance.                 states are not bound to using the 4-step               cited Attachment A to the March 2018
                                              The EPA further disagrees with                           interstate transport framework the EPA                 in developing a methodology for
                                              commenters’ characterization of the                      has historically used. However, states                 calculating significant contribution
                                              EPA’s stance regarding the                               must then provide sufficient                           under which Michigan would have been
                                              ‘‘flexibilities’’ listed (without analysis)              justification and reasoning to support                 responsible for eliminating up to 0.12
                                              in Attachment A. Attachment A to the                     their analytical conclusions and                       ppb of contribution to downwind
                                              March 2018 memorandum identified a                       emissions control strategies. See, e.g., 87            receptors; however, the State suggested
                                              ‘‘Preliminary List of Potential                          FR 9798, 9801. In the SIP submissions                  that uncertainty caused by modeling
                                              Flexibilities’’ that could potentially                   being disapproved in this action, no                   ‘‘noise’’ was too great to either require
                                              inform SIP development.297 However,                      state provided any enforceable
                                                                                                                                                              emissions reductions or demonstrate
                                              the EPA made clear in that attachment                    emissions control strategies for approval
                                                                                                                                                              that Michigan had any linkages to
                                              that the list of ideas were not                          into their SIP. The EPA has evaluated
                                                                                                                                                              receptors at all. See 87 FR 9860–9861.
                                              suggestions endorsed by the Agency but                   the merits of each state’s arguments as
                                                                                                                                                              However, this explanation did not, as an
                                              rather ‘‘comments provided in various                    to why no additional emissions
                                                                                                                                                              analytical matter, demonstrate a level of
                                              forums’’ from outside parties on which                   reduction requirements are needed to
                                                                                                                                                              scientific uncertainty which might
                                              the EPA sought ‘‘feedback from                           satisfy their obligations under CAA
                                                                                                                                                              allow for ignoring the results,303
                                              interested stakeholders.’’ 298 Further,                  section 110(a)(2)(D)(i)(I) for the more
                                              Attachment A stated, ‘‘EPA is not at this                protective 2015 ozone NAAQS. While                        303 Scientific uncertainty may only be invoked to
                                              time making any determination that the                   the EPA used its own 4-step interstate                 avoid comporting with the requirements of the CAA
                                              ideas discussed later are consistent with                                                                       when ‘‘the scientific uncertainty is so profound that
                                                                                                         300 March  2018 memorandum.                          it precludes . . . reasoned judgment’’
                                              the requirements of the CAA, nor are we                    301 E.g.,87 FR 9487.                                 Massachusetts v. EPA, 127 S.Ct. 1438 (2007). See
khammond on DSKJM1Z7X2PROD with RULES2




                                              specifically recommending that states                      302 See Information on the Interstate Transport      Wisconsin, 938 F.3d at 318–19 (‘‘Scientific
                                              use these approaches.’’ 299 Attachment                   State Implementation Plan Submissions for the          uncertainty, however, does not excuse EPA’s failure
                                              A to the March 2018 memorandum,                          2015 Ozone National Ambient Air Quality                to align the deadline for eliminating upwind States’
                                              therefore, does not constitute agency                    Standards under Clean Air Act Section                  significant contributions with the deadline for
                                                                                                       110(a)(2)(D)(i)(I), March 27, 2018, available in       downwind attainment of the NAAQS.’’). See also
                                                                                                       docket EPA–HQ–OAR–2021–0663 or at https://             EME Homer City, 795 F.3d at 135–36 (‘‘We will not
                                                297 March   2018 memorandum, Attachment A.             www.epa.gov/interstate-air-pollution-transport/        invalidate EPA’s predictions solely because there
                                                298 Id.
                                                                                                       interstate-air-pollution-transport-memos-and-          might be discrepancies between those predictions
                                                299 Id.                                                notices.                                                                                          Continued




                                         VerDate Sep<11>2014    17:17 Feb 10, 2023   Jkt 259001   PO 00000   Frm 00035   Fmt 4701   Sfmt 4700   E:\FR\FM\13FER2.SGM   13FER2
                                                                  Case: 23-60069                     Document: 110                 Page: 39            Date Filed: 03/27/2023
                                              9370              Federal Register / Vol. 88, No. 29 / Monday, February 13, 2023 / Rules and Regulations

                                              particularly when the Agency has                        reason to justify using a design value                concentration threshold is lower than
                                              implemented good neighbor                               from the baseline period that is lower                what monitoring devices are capable of
                                              requirements at levels of ‘‘significant                 than the maximum design value based                   detecting. Comments reference the
                                              contribution’’ comparable to or even                    on monitored data during the same                     reported precision of Federal reference
                                              less than 0.12 ppb. See Wisconsin, 938                  baseline period. To justify such an                   monitors for ozone and the rounding
                                              F.3d at 322–23 (rejecting Wisconsin’s                   approach, the EPA anticipated that any                requirements found in 40 CFR part 50,
                                              argument that it should not face good                   such showing would be based on an                     appendix U, Interpretation of the
                                              neighbor obligations for the 2008 ozone                 analytical demonstration that: (1)                    Primary and Secondary National
                                              NAAQS on the basis that its emission                    Meteorological conditions in the area of              Ambient Air Quality Standards for
                                              reductions would only improve a                         the monitoring site were conducive to                 Ozone, for support. Comments note that
                                              downwind receptor by two ten-                           ozone formation during the period of                  the 1 percent contribution threshold of
                                              thousandths of a part per billion).                     clean data or during the alternative base             0.70 ppb is lower than the
                                                 The EPA continues to neither endorse                 period design value used for                          manufacturer’s reported precision of
                                              the ‘‘flexibilities’’ in Attachment A, nor              projections; (2) ozone concentrations                 Federal reference monitors for ozone
                                              stakes a position that states are                       have been trending downward at the                    and that the requirements found in
                                              precluded from relying on these                         site since 2011 (and ozone precursor                  appendix U truncates monitor values of
                                              concepts in the development of their                    emissions of NOX and VOC have also                    0.70 ppb to 0 ppb.
                                              good neighbor SIP submissions,                          decreased); and (3) emissions are                        EPA Response: The EPA disagrees
                                              assuming they could be adequately                       expected to continue to decline in the                that a 1 percent of the NAAQS
                                              justified both technically and legally.                 upwind and downwind states out to the                 contribution threshold at Step 2 is
                                              This has been demonstrated through the                  attainment date of the receptor. EPA                  ‘‘inappropriate’’ for the 2015 ozone
                                              EPA’s extensive evaluation of the merits                evaluated state’s analyses and found no               NAAQS due to modeling biases and
                                              of each states’ SIP submissions,                        state successfully applied these criteria             errors. The explanation for how the 1
                                              including their attempted use of                        to justify the use of one of these                    percent contribution threshold was
                                              flexibilities and derivatives of the EPA’s              alternative approaches. The air quality               originally derived is available in the
                                              historically applied 4-step interstate                  data and projections in Section III                   2011 CSAPR rulemaking. See 76 FR
                                              transport framework.304                                 indicate that trends in historic measured             48208, 48236–38 (Aug. 8, 2011). The
                                                                                                      data do not necessarily support                       EPA has effectively applied a 1 percent
                                              3. Step 1: October 2018 Memorandum
                                                                                                      adopting a less stringent approach for                of the NAAQS threshold to identify
                                                 Comments: Comments claimed that                      identifying maintenance receptors for                 linked upwind states in three prior FIP
                                              the EPA is not honoring its October                     purposes of the 2015 ozone NAAQS. In                  rulemakings and numerous state-
                                              2018 memorandum, which they claim                       fact, as explained in Section III, the EPA            specific actions. The D.C. Circuit has
                                              would allow for certain monitoring sites                has found in its analysis for this final              declined to establish bright line criteria
                                              identified as maintenance-only                          action that, in general, recent measured              for model performance. In upholding
                                              receptors in the EPA’s methodology to                   data from regulatory ambient air quality              the EPA’s approach to evaluating
                                              be excluded as receptors based on                       ozone monitoring sites suggest a number               interstate transport in CSAPR, the D.C.
                                              historical data trends. They assert that                of receptors with elevated ozone levels               Circuit held that it would not
                                              the EPA is inappropriately disapproving                 will persist in 2023 even though our                  ‘‘invalidate EPA’s predictions solely
                                              SIP submissions where the state                         traditional methodology at Step 1 did                 because there might be discrepancies
                                              sufficiently demonstrated certain                       not identify these monitoring sites as                between those predictions and the real
                                              monitoring sites should not be                          receptors in 2023. Thus, the EPA is not               world. That possibility is inherent in the
                                              considered to have a maintenance                        acting inconsistently with that                       enterprise of prediction.’’ EME Homer
                                              problem in 2023.                                        memorandum—the factual conditions                     City II, 795 F.3d at 135. The court
                                                 EPA Response: The October 2018                       that would need to exist for the                      continued to note that ‘‘the fact that a
                                              memorandum recognized that states                       suggested approaches of that                          ‘model does not fit every application
                                              may be able to demonstrate in their SIPs                memorandum to be applicable have not                  perfectly is no criticism; a model is
                                              that conditions exist that would justify                been demonstrated as being applicable                 meant to simplify reality in order to
                                              treating a monitoring site as not being a               or appropriate based on the relevant                  make it tractable.’ ’’ Id. at 135–36
                                              maintenance receptor despite results                    data.                                                 (quoting Chemical Manufacturers
                                              from our modeling methodology                              We further respond to comments                     Association v. EPA, 28 F.3d 1259, 1264
                                              identifying it as such a receptor. The                  related to the identification of receptors            (DC Cir. 1994). See also Sierra Club v.
                                              EPA explained that this demonstration                   at Step 1 the RTC document.                           EPA, 939 F.3d 649, 686–87 (5th Cir.
                                              could be appropriate under two                                                                                2019) (upholding the EPA’s modeling in
                                              circumstances: (1) the site currently has               4. Step 2: Technical Merits of a 1
                                                                                                                                                            the face of complaints regarding an
                                                                                                      Percent of the NAAQS Contribution
                                              ‘‘clean data’’ indicating attainment of                                                                       alleged ‘‘margin of error,’’ noting
                                                                                                      Threshold
                                              the 2015 ozone NAAQS based on                                                                                 challengers face a ‘‘considerable
                                              measured air quality concentrations, or                    Comment: Several comments contend                  burden’’ in overcoming a ‘‘presumption
                                              (2) the state believes there is a technical             that for technical reasons, the 0.70 ppb              of regularity’’ afforded ‘‘the EPA’s
                                                                                                      threshold is inappropriate for                        choice of analytical methodology’’)
                                              and the real world. That possibility is inherent in     determining whether a state is linked to              (citing BCCA Appeal Grp. v. EPA, 355
                                              the enterprise of prediction.’’).                       a downwind receptor at Step 2 of the 4-               F.3d 817, 832 (5th Cir. 2003)).
                                                304 Nor in the course of this evaluation has the
                                                                                                      step interstate transport framework.                     Furthermore, it is not appropriate to
khammond on DSKJM1Z7X2PROD with RULES2




                                              EPA uniformly ruled out the concepts in
                                              Attachment A. For example, we noted at proposal
                                                                                                      Comments state that the degree to which               compare the bias/error involved in the
                                              that California’s identification of a flexibility in    errors exist in modeling ozone                        estimation of total ozone to the potential
                                              Attachment A related to excluding certain air           concentrations and contributions make                 error in the estimation of the subset of
                                              quality data associated with atypical events may be     it inappropriate for a threshold as low               ozone that is contributed by a single
                                              generally consistent with the EPA’s modeling
                                              guidance, but this does not affect the ultimate
                                                                                                      as 0.70 ppb to be used. Some comments                 state.305 For example, on a specific day
                                              determination that California’s SIP is not              further state that the 0.70 ppb threshold
                                              approvable. See 87 FR 31454.                            is inappropriate because the                            305 See,   e.g., 87 FR 9798 at 9816.



                                         VerDate Sep<11>2014   17:17 Feb 10, 2023   Jkt 259001   PO 00000   Frm 00036   Fmt 4701   Sfmt 4700   E:\FR\FM\13FER2.SGM   13FER2
                                                                  Case: 23-60069                    Document: 110                  Page: 40            Date Filed: 03/27/2023
                                                               Federal Register / Vol. 88, No. 29 / Monday, February 13, 2023 / Rules and Regulations                                          9371

                                              the modeled versus monitored ozone                      revised CSAPR Update when evaluating                     EPA Response: To clarify, the EPA
                                              value may differ by 2 ppb but that is a                 interstate transport obligations for the              does not use the 1 percent of the
                                              relatively small percentage of the total                2008 ozone NAAQS. The EPA continues                   NAAQS threshold as the definition of
                                              modeled ozone, which for a receptor of                  to find 1 percent to be an appropriate                ‘‘significance.’’ Rather, where a state’s
                                              interest would be on the order of 70                    threshold. For ozone, as the EPA found                contribution equals or exceeds the 1
                                              ppb. It would be unrealistic to assign all              in the CAIR, CSAPR, and CSAPR                         percent of the NAAQS threshold, the
                                              of the 2 ppb discrepancy in the earlier                 Update, a portion of the nonattainment                EPA expects states to further evaluate
                                              example to the estimated impact from a                  and maintenance problems in the U.S.                  their emissions to determine whether
                                              single state because the 2 ppb error                    results from the combined impact of                   their emissions constitute significant
                                              would be the combination of the error                   relatively small contributions from                   contribution or interference with
                                              from all sources of ozone that contribute               many upwind states, along with                        maintenance. The contribution
                                              to the total, including estimated impacts               contributions from in-state sources and               threshold is a screening threshold to
                                              from other states, the home state of the                other sources. The EPA’s analysis shows               identify states which may be
                                              receptor, and natural background                        that much of the ozone transport                      ‘‘contributing’’ to an out of state
                                              emissions.                                              problem being analyzed for purposes of                receptor. The EPA has maintained this
                                                 To address comments that compare                     evaluating 2015 ozone NAAQS SIP                       interpretation of the relevant statutory
                                              the 0.70 ppb threshold to the Federal                   obligations is still the result of the                language across many rulemakings,
                                              reference monitors for ozone and the                    collective impacts of contributions from              though commenters continue to confuse
                                              rounding requirements found in 40 CFR                   many upwind states. Therefore,                        the Step 2 threshold with a
                                              part 50, appendix U, the EPA notes that                 application of a consistent contribution              determination of ‘‘significance,’’ which
                                              the comment is mistaken in applying                     threshold is necessary to identify those              it is not. See EME Homer City, 572 U.S.
                                              criteria related to the precision of                    upwind states that should have                        at 500–502 (explaining the difference
                                              monitoring data to the modeling                         responsibility for addressing their                   between the ‘‘screening’’ analysis at
                                              methodology by which we project                         contribution to the downwind                          Steps 1 and 2 whereby the EPA
                                              contributions when quantifying and                      nonattainment and maintenance                         ‘‘excluded as de minimis any upwind
                                              evaluating interstate transport at Step 2.              problems to which they collectively                   State that contributed less than one
                                              Indeed, contributions by source or state                contribute. Where a great number of                   percent of the . . . NAAQS’’ and the
                                              cannot be derived from the total                        geographically dispersed emissions                    ‘‘control’’ analysis at Step 3 whereby the
                                              ambient concentration of ozone at a                     sources contribute to a downwind air                  EPA determined ‘‘cost thresholds’’ to
                                              monitor at all but must be apportioned                  quality problem, which is the case for                define significance).
                                              through modeling. Under our                             ozone, EPA believes that, in the context                 Further, the EPA’s air quality and
                                              longstanding methodology for doing so,                  of CAA section 110(a)(2)(D)(i)(I), a state-           contribution modeling for ozone
                                              the contribution values identified from                 level threshold of 1 percent of the                   transport is based on application of the
                                              upwind states are based on a robust                     NAAQS is a reasonably small enough                    model in a relative sense rather than
                                              assessment of the average impact of                     value to identify only the greater-than-              relying upon absolute model
                                              each upwind state’s ozone-precursor                     de minimis contributers yet is not so                 predictions. All models have limitations
                                              emissions over a range of scenarios, as                 large that it unfairly focuses attention              resulting from uncertainties in inputs
                                              explained in the Final Action AQM                       for further action only on the largest                and scientific formulation. To minimize
                                              TSD. This analysis is in no way                                                                               the effects of these uncertainties, the
                                                                                                      single or few upwind contributers.
                                              connected with or dependent on                                                                                modeling is anchored to base period
                                                                                                      Continuing to use 1 percent of the
                                              monitoring instruments’ precision of                                                                          measured data in the EPA’s guidance
                                                                                                      NAAQS as the screening metric to
                                              measurement. See EME Homer City II,                                                                           approach for projecting design values.
                                                                                                      evaluate collective contribution from
                                              795 F.3d 118, 135–36 (‘‘‘[A] model is                                                                         Notably, the EPA also uses our source
                                                                                                      many upwind states also allows the EPA
                                              meant to simplify reality in order to                                                                         apportionment modeling in a relative
                                                                                                      (and states) to apply a consistent
                                              make it tractable.’’’).                                                                                       sense when calculating the average
                                                                                                      framework to evaluate interstate
                                                                                                                                                            contribution metric (used to identify
                                              5. Step 2: Justification of a 1 Percent of              emissions transport under the interstate
                                                                                                                                                            linkages). In this method the magnitude
                                              the NAAQS Contribution Threshold                        transport provision from one NAAQS to
                                                                                                                                                            of the contribution metric is tied to the
                                                 Comment: Comments contend that the                   the next. See 81 FR 74504, 74518. See                 magnitude of the projected average
                                              EPA has not provided enough basis for                   also 86 FR 23054, 23085 (reviewing and                design value which is tied to the base
                                              reliance on the 0.70 ppb threshold,                     explaining rationale from CSAPR, 76 FR                period average measured design value.
                                              claiming that its use is therefore                      48208, 48236–38, for selection of 1                   The EPA’s guidance has recommended
                                              arbitrary and capricious.                               percent threshold).                                   against applying bright-line criteria for
                                                 EPA Response: The EPA is finalizing                     Further, the EPA notes that the role of            judging whether statistical measures of
                                              its proposed approach of consistently                   the Step 2 threshold is limited and just              model performance constitute
                                              using a 1 percent of the NAAQS                          one step in the 4-Step interstate                     acceptable or unacceptable model
                                              contribution threshold at Step 2. This                  transport framework. It serves to screen              performance.
                                              approach ensures both national                          in states for further evaluation of                      The Agency continues to find that this
                                              consistency across all states and                       emissions control opportunities                       method using the CAMx model to
                                              consistency and continuity with our                     applying a multifactor analysis at Step               evaluate contributions from upwind
                                              prior interstate transport actions for                  3. Thus, as the Supreme Court has                     states to downwind areas is reliable.
                                              other NAAQS. Comments have not                          recognized, the contribution threshold                The agency has used CAMx routinely in
khammond on DSKJM1Z7X2PROD with RULES2




                                              established that this approach is either                essentially functions to exclude states               previous notice and comment transport
                                              unlawful or arbitrary and capricious.                   with ‘‘de minimis’’ impacts. EME Homer                rulemakings to evaluate contributions
                                                 The 1 percent threshold is consistent                City, 572 U.S. at 500.                                relative to the 1 percent threshold for
                                              with the Step 2 approach that the EPA                      Comment: Commenters contend that                   both ozone and PM2.5. In fact, in the
                                              applied in CSAPR for the 1997 ozone                     the EPA cannot use the 1 percent                      original CSAPR, the EPA found that
                                              NAAQS, which has subsequently been                      threshold as a determination for                      ‘‘[t]here was wide support from
                                              applied in the CSAPR Update and                         significance.                                         commenters for the use of CAMx as an


                                         VerDate Sep<11>2014   17:17 Feb 10, 2023   Jkt 259001   PO 00000   Frm 00037   Fmt 4701   Sfmt 4700   E:\FR\FM\13FER2.SGM   13FER2
                                                                  Case: 23-60069                    Document: 110                  Page: 41            Date Filed: 03/27/2023
                                              9372             Federal Register / Vol. 88, No. 29 / Monday, February 13, 2023 / Rules and Regulations

                                              appropriate, state-of-the science air                   made equivalent. Further, comments                    future attainment/nonattainment, the
                                              quality tool for use in the [Cross-State                incorrectly associate the EPA’s Step 2                good neighbor methodology of using
                                              Air Pollution] Rule. There were no                      contribution threshold with the                       multiple days provides a more robust
                                              comments that suggested that the EPA                    identification of ‘‘significant’’ emissions           approach to establishing that a linkage
                                              should use an alternative model for                     (which does not occur until Step 3), and              exists at the state level than relying on
                                              quantifying interstate transport.’’ 76 FR               so it is not the case that the EPA is                 a single day of data.
                                              48229 (August 8, 2011). In this action,                 interpreting the same term differently.
                                                                                                        The EPA has previously explained                    7. Step 2: August 2018 Memorandum
                                              the EPA has taken a number of steps
                                              based on comments and new                               this distinction between the good                        Comment: Comments assert that in
                                              information to ensure to the greatest                   neighbor framework and PSD SILs. See                  the August 2018 memorandum the EPA
                                              extent the accuracy and reliability of its              70 FR 25162, 25190–25191 (May 12,                     committed itself to approving SIP
                                              modeling projections at Step 1 and 2, as                2005); 76 FR 48208, 48237 (August 8,                  submissions from states with
                                              discussed elsewhere in this document.                   2011). Importantly, the implication of                contributions below 1 ppb, and so now
                                                                                                      the PSD SIL threshold is not that single-             the EPA should or must approve the
                                              6. Step 2: Prevention of Significant                    source contribution below this level                  good neighbor SIP submission from any
                                              Deterioration Significant Impact Levels                 indicates the absence of a contribution               state with a contribution below 1 ppb,
                                                 Comment: Several comments insist                     or that no emissions control                          either based on modeling available at
                                              that when identifying an appropriate                    requirements are warranted. Rather, the               the time of the state’s SIP submission or
                                              linkage threshold at Step 2 of the 4-step               PSD SIL threshold addresses whether                   at any time.
                                              framework, the EPA should consider or                   further, more comprehensive, multi-                      EPA Response: These comments
                                              rely on the 1 ppb significant impact                    source review or analysis of air quality              mischaracterize the content and the
                                              level (SIL) for ozone used as part of the               impacts are required of the source to                 EPA’s application of August 2018
                                              prevention of significant deterioration                 support a demonstration that it meets                 memorandum. Further, the EPA
                                              PSD permitting process. Comments                        the criteria for a permit. A source with              disputes that the EPA misled states or
                                              reference the EPA’s April 17, 2018,                     estimated impacts below the PSD SIL                   that the EPA has not appropriately
                                              guidance memorandum, ‘‘Significant                      may use this to demonstrate that it will              reviewed SIP submissions from states
                                              Impact Levels for Ozone and Fine                        not cause or contribute (as those terms               that attempted to rely on an alternative
                                              Particles in the Prevention of Significant              are used within the PSD program) to a                 contribution threshold at Step 2.
                                              Deterioration Permitting Program’’ (SIL                 violation of an ambient air quality                      Specifically, the EPA’s August 2018
                                              guidance), as well as the EPA’s March                   standard, but is still subject to meeting             memorandum provided an analysis
                                              2018 memorandum’s Attachment A                          applicable control requirements,                      regarding ‘‘the degree to which certain
                                              flexibilities to lend support to their                  including best available control                      air quality threshold amounts capture
                                              opinion that the 1 ppb SIL should also                  technology, designed to moderate the                  the collective amount of upwind
                                              be used to determine linkages at Step 2.                source’s impact on air quality.                       contribution from upwind states.’’ 306 It
                                                 EPA Response: The EPA’s SIL                            Moreover, other aspects of the                      interpreted ‘‘that information to make
                                              guidance relates to a different provision               technical methodology in the SIL                      recommendations about what
                                              of the Clean Air Act regarding                          guidance compared to the good                         thresholds may be appropriate for use
                                              implementation of the prevention of                     neighbor framework make a direct                      in’’ SIP submissions (emphasis
                                              significant deterioration (PSD)                         comparison between these two values                   added).307 Specifically, the August 2018
                                              permitting program. This program                        misleading. For instance, in PSD permit               memorandum said, ‘‘Because the
                                              applies in areas that have been                         modeling using a single year of                       amount of upwind collective
                                              designated attainment of the NAAQS                      meteorology the maximum single-day 8-                 contribution capture with the 1 percent
                                              and is intended to ensure that such                     hour contribution is evaluated with                   and the 1 ppb thresholds is generally
                                              areas remain in attainment even if                      respect to the SIL. The purpose of the                comparable, overall, we believe it may
                                              emissions were to increase as a result of               contribution threshold at Step 2 of the               be reasonable and appropriate for states
                                              new sources or major modifications to                   4-step good neighbor framework is to                  to use a 1 ppb contribution threshold, as
                                              existing sources located in those areas.                determine whether the average                         an alternative to a 1 percent threshold,
                                              This purpose is different than the                      contribution from a collection of sources             at Step 2 of the 4-step framework in
                                              purpose of the good neighbor provision,                 in a state is small enough not to warrant             developing their SIP revisions
                                              which is to assist downwind areas (in                   any additional control for the purpose of             addressing the good neighbor provision
                                              some cases hundreds or thousands of                     mitigating interstate transport, even if              for the 2015 ozone NAAQS.’’ (emphasis
                                              miles away) in resolving ongoing                        that control were highly cost effective.              added).308 Thus, the text of the August
                                              nonattainment of the NAAQS or                           Using a 1 percent of the NAAQS                        2018 memorandum does not guarantee
                                              difficulty maintaining the NAAQS                        threshold is more appropriate for                     that any state with a contribution below
                                              through eliminating the emissions from                  evaluating multi-day average                          1 ppb has an automatically approvable
                                              other states that are significantly                     contributions from upwind states than a               good neighbor SIP. In fact, the August
                                              contributing to those problems. In                      1 ppb threshold applied for a single day,             2018 memorandum indicated that
                                              addition, as discussed earlier, the                     since that lower value of 1 percent of                ‘‘[f]ollowing these recommendations
                                              purpose of the Step 2 threshold within                  the NAAQS will capture variations in                  does not ensure that EPA will approve
                                              the EPA’s interstate transport framework                contribution. If EPA were to use a single             a SIP revision in all instances where the
                                              for ozone is to broadly sweep in all                    day reflecting the maximum amount of                  recommendations are followed, as the
                                              states contributing to identified                       contribution from an upwind state to
khammond on DSKJM1Z7X2PROD with RULES2




                                                                                                                                                            guidance may not apply to the facts and
                                              receptors above a de minimis level in                   determine whether a linkage exists at                 circumstances underlying a particular
                                              recognition of the collective-                          Step 2, comments’ arguments for use of                SIP. Final decisions by the EPA to
                                              contribution problem associated with                    the PSD SIL might have more force.                    approve a particular SIP revision will
                                              regional-scale ozone transport. The                     However, that would likely cause more
                                              threshold used in the context of PSD SIL                states to become linked, not less. And in               306 August 2018 memorandum, page 1.
                                              serves an entirely different purpose, and               any case, consistent with the method in                 307 August 2018 memorandum, page 1.
                                              so it does not follow that they should be               our modeling guidance for projecting                    308 August 2018 memorandum, page 4.




                                         VerDate Sep<11>2014   17:17 Feb 10, 2023   Jkt 259001   PO 00000   Frm 00038   Fmt 4701   Sfmt 4700   E:\FR\FM\13FER2.SGM   13FER2
                                                                  Case: 23-60069                    Document: 110                  Page: 42            Date Filed: 03/27/2023
                                                               Federal Register / Vol. 88, No. 29 / Monday, February 13, 2023 / Rules and Regulations                                          9373

                                              only be made based on the requirements                    The EPA disagrees with comments’                    is not clear that any states invested
                                              of the statute and will only be made                    claims that the Agency has reversed                   much of their own public resources in
                                              following an air agency’s final                         course on applying the August 2018                    developing state-specific arguments in
                                              submission of the SIP revision to the                   memorandum. In line with the                          support of a 1 ppb threshold. As the
                                              EPA, and after appropriate notice and                   memorandum, the EPA evaluated every                   EPA observed at proposal, in nearly all
                                              opportunity for public review and                       justification put forward by every state              submittals, the states did not provide
                                              comment.’’ 309 The August 2018                          covered by this SIP disapproval action                the EPA with analysis specific to their
                                              memorandum also stated, ‘‘EPA and air                   that attempted to justify an alternative              state or the receptors to which its
                                              agencies should consider whether the                    threshold under the August 2018                       emissions are potentially linked. In one
                                              recommendations in this guidance are                    memorandum, which are Alabama,312                     case, the EPA’s proposed approval of
                                              appropriate for each situation.’’ 310 The               Arkansas,313 Illinois,314 Indiana,315                 Iowa’s SIP submittal, ‘‘the EPA
                                              EPA’s assessment of every SIP                           Kentucky,316 Louisiana,317 Michigan,318               expended its own resources to attempt
                                              submission that invoked the August                      Mississippi,319 Missouri,320 and                      to supplement the information
                                              2018 memorandum considered the                          Oklahoma,321 and Utah.322 The EPA                     submitted by the state, in order to more
                                              particular arguments raised by the                      also addressed criticisms of the 1                    thoroughly evaluate the state-specific
                                              state.311                                               percent of the NAAQS contribution                     circumstances that could support
                                                Comment: Some comments allege that                    threshold made by Ohio 323 and                        approval.’’ E.g., 87 FR 9806–07
                                              the EPA representatives led the states to               Nevada.324 (The topic of the EPA’s input              (emphasis added). The EPA emphasizes
                                              believe that their SIP submission would                 during state’s SIP-development                        again that it was the EPA’s sole
                                              be approved on the basis of a 1 ppb                     processes is further discussed in the                 discretion to perform this analysis in
                                              contribution threshold. The comments                    RTC document.)                                        support of the state’s submittal, and the
                                              further claim that the EPA has now                        For this reason, the EPA disagrees                  Agency is not obligated to conduct
                                              since reversed course on its August                     with comment that case law reviewing                  supplemental analysis to fill the gaps
                                              2018 memorandum and imposed new                         changes in agency positions as                        whenever it believes a state’s analysis is
                                              requirements on states that were not                    articulated in FCC v. Fox TV Stations,                insufficient. Id.
                                              included in the EPA’s guidance. One                     Inc., is applicable to this action. The                  We acknowledge that certain states
                                              comment suggested EPA switched                          Agency has not imposed a requirement                  may have assumed the EPA would
                                              position without explanation from the                   that states must use a 1 percent of the               approve SIP submissions from states
                                              August 2018 guidance to its proposed                    NAAQS threshold (which would reflect                  whose contribution to any receptor was
                                              disapprovals, which it viewed as                        a change in position from the August                  below 1 ppb, but that assumption
                                              unlawful under FCC v. Fox TV Stations,                  2018 memorandum). Rather, under the                   reflected a misunderstanding of the
                                              Inc., 556 U.S. 502 (2009).                              terms of the August 2018 memorandum,                  August 2018 memorandum, and in any
                                                EPA Response: As an initial matter,                   the Agency has found that Alabama,                    case, an assumption is not, as a legal
                                              we note that the salience of these                      Arkansas, Illinois, Indiana, Kentucky,                matter, the same thing as a reliance
                                              comments is limited to only a handful                   Louisiana, Michigan, Mississippi,                     interest.
                                              of states. The August 2018                              Missouri, Nevada, Ohio, Oklahoma, and                    The EPA is not formally rescinding
                                              memorandum made clear that the                          Utah have not made a sufficient                       the August 2018 memorandum in this
                                              Agency had substantial doubts that any                  showing that the use of an alternative                action or at this time, but since guidance
                                              threshold greater than 1 ppb (such as 2                 contribution threshold is justified for               memoranda are not binding in the first
                                              ppb) would be acceptable, and the                       those States. Even if it were found that              place, it is not required that agencies
                                              Agency is affirming that a threshold                    the Agency’s position had                             must ‘‘rescind’’ a guidance the moment
                                              higher than 1 ppb would not be justified                fundamentally changed between this                    it becomes outdated or called into
                                              under any circumstance for purposes of                  rulemaking action and the August 2018                 question. As the Agency made clear in
                                              this action. No comment provided a                      memorandum (which we do not                           the August 2018 memorandum, all of
                                              credible basis for using a threshold even               concede to be the case), we do not                    EPA’s proposals for action on interstate
                                              higher than 1 ppb. So this issue is                     believe that any state had a legitimate               transport SIP submissions are subject to
                                              primarily limited to the difference                     reliance interest that would be sufficient            rulemaking procedure, including public
                                                                                                      to overcome the countervailing public                 notice and comment, before the EPA
                                              between a 0.70 ppb threshold and a 1.0
                                                                                                      interest that is served in declining to               makes a final decision.
                                              ppb threshold. Therefore, we note that
                                                                                                      approve a state’s use of the 1 ppb                       Although the EPA is not formally
                                              this issue is only relevant to a small                                                                        revoking the August 2018 memorandum
                                              number of states whose only                             threshold where the state did not have
                                                                                                      adequate technical justification. First,              at this time, and we have separately
                                              contributions to any receptor are above                                                                       found that no state successfully
                                              1 percent of the NAAQS but lower than                   neither states nor the emissions sources
                                                                                                      located in those states have incurred                 established a basis for use of a 1 ppb
                                              1 ppb. Under the 2016v3 modeling of                                                                           threshold, we also continue to believe,
                                              2023 being used in this final action,                   any compliance costs based on the
                                                                                                      August 2018 memorandum. Second, it                    as set forth in our proposed
                                              those states with contributions that fall                                                                     disapprovals, that national ozone
                                              between 0.70 ppb and 1 ppb included                       312 87                                              transport policy associated with
                                                                                                               FR 64423–64424.
                                              in this action are Alabama, Kentucky,                     313 87 FR 9806–9807.                                addressing obligations for the 2015
                                              and Minnesota.                                            314 87 FR 9852–9853.                                ozone NAAQS is not well-served by
                                                309 August
                                                                                                        315 87 FR 9855–9856.
                                                                                                                                                            allowing for less protective thresholds at
                                                           2018 memorandum, page 1.                     316 87 FR 9508–9511.
                                                                                                                                                            Step 2. Furthermore, the EPA disagrees
khammond on DSKJM1Z7X2PROD with RULES2




                                                310 August 2018 memorandum, page 1.                     317 87 FR 9812–9813.
                                                311 87 FR 64423–64424 (Alabama); 87 FR 9806–            318 87 FR 9861–9862.
                                                                                                                                                            that national consistency is an
                                              9807 (Arkansas); 87 FR 9852–9853 (Illinois); 87 FR        319 87 FR 9557.
                                                                                                                                                            inappropriate consideration in the
                                              9855–9856 (Indiana); 87 FR 9508–9511 (Kentucky);          320 87 FR 9541–9543.                                context of interstate ozone transport.
                                              87 FR 9812–9813 (Louisiana); 87 FR 9861–9862              321 87 FR 9818–9820.                                The Good Neighbor provision, CAA
                                              (Michigan); 87 FR 9557 (Mississippi); 87 FR 9541–
                                              9543 (Missouri); 87 FR 31492 (Nevada); 87 FR
                                                                                                        322 87 FR 31477–31451.                              section 110(a)(2)(D)(i)(I), requires to a
                                              9870–9871 (Ohio); 87 FR 9818–9820 (Oklahoma);             323 87 FR 9870–9871.                                unique degree of concern for
                                              87 FR 31477–31451 (Utah).                                 324 87 FR 31492.                                    consistency, parity, and equity across


                                         VerDate Sep<11>2014   17:17 Feb 10, 2023   Jkt 259001   PO 00000   Frm 00039   Fmt 4701   Sfmt 4700   E:\FR\FM\13FER2.SGM   13FER2
                                                                  Case: 23-60069                    Document: 110                  Page: 43            Date Filed: 03/27/2023
                                              9374             Federal Register / Vol. 88, No. 29 / Monday, February 13, 2023 / Rules and Regulations

                                              state lines.325 For a regional air                      every state. Indeed, the 1 ppb threshold              NAAQS contribution threshold, the EPA
                                              pollutant such as ozone, consistency in                 has the disadvantage of losing a certain              would be obligated to seek feedback on
                                              requirements and expectations across all                amount of total upwind contribution for               that contribution threshold through a
                                              states is essential. Based on the EPA’s                 further evaluation at Step 3 (e.g.,                   public notice and comment process. The
                                              review of good neighbor SIP                             roughly 7 percent of total upwind state               EPA’s basis and rationale for every SIP
                                              submissions to-date and after further                   contribution was lost according to the                submission covered by this final SIP
                                              consideration of the policy implications                modeling underlying the August 2018                   disapproval action, including the use of
                                              of attempting to recognize an alternative               memorandum; in the EPA’s 2016v2 and                   a 1 percent of the NAAQS contribution
                                              Step 2 threshold for certain states, the                2016v3 modeling, the amount lost is 5                 threshold, was in fact presented for
                                              Agency now believes the attempted use                   percent). Further, this logic has no end              public comment. The EPA received, and
                                              of different thresholds at Step 2 with                  point. A similar observation could be                 is addressing in this action, many
                                              respect to the 2015 ozone NAAQS raises                  made with respect to any incremental                  detailed comments about contribution
                                              substantial policy consistency and                      change. For example, should the EPA                   thresholds. Further, the EPA’s
                                              practical implementation concerns. The                  next recognize a 1.2 ppb threshold                    application of a 1 percent of the NAAQS
                                              availability of different thresholds at                 because that would only cause some                    threshold has been consistently used in
                                              Step 2 has the potential to result in                   small additional loss in capture of                   notice-and-comment rulemakings
                                              inconsistent application of good                        upwind state contribution as compared                 beginning with the CSAPR rulemaking
                                              neighbor obligations based solely on the                to 1 ppb? If the only basis for moving                in 2010–2011 and including both FIP
                                              strength of a state’s SIP submission at                 to a 1 ppb threshold is that it captures              actions (CSAPR Update and Revised
                                              Step 2 of the 4-step interstate transport               a ‘‘similar’’ (but actually smaller)                  CSAPR Update) and numerous actions
                                              framework. From the perspective of                      amount of upwind contribution, then                   on ozone transport SIP submissions. In
                                              ensuring effective regional                             there is no basis for moving to that                  each case, the 1 percent of the NAAQS
                                              implementation of good neighbor                         threshold at all. Considering the core                threshold was subject to rigorous vetting
                                              obligations, the more important analysis                statutory objective of ensuring                       through public comment and the
                                              is the evaluation of the emissions                      elimination of all significant                        Agency’s response to those comments,
                                              reductions needed, if any, to address a                 contribution to nonattainment or                      including through analytical evaluations
                                              state’s significant contribution after                  interference with maintenance of the                  of alternative thresholds. See, e.g., 81 FR
                                              consideration of a multifactor analysis                 NAAQS in other states as well as the                  74518–19. By contrast, the August 2018
                                              at Step 3, including a detailed                         broad, regional nature of the collective              memorandum was not issued through
                                              evaluation that considers air quality                   contribution problem with respect to                  notice-and-comment rulemaking
                                              factors and cost. While alternative                     ozone, we continue to find no                         procedures, and the EPA was careful to
                                              thresholds for purposes of Step 2 may                   compelling policy reason to adopt a new               caveat its utility and ultimate reliability
                                              be ‘‘similar’’ in terms of capturing the                threshold for all states of 1 ppb.                    for that reason.
                                              relative amount of upwind contribution                     It also is unclear why use of a 1 ppb                 Comment: Some comments claim that
                                              (as described in the August 2018                        threshold would be appropriate for all                the EPA is applying the August 2018
                                              memorandum), nonetheless, use of an                     states under a more protective NAAQS                  memorandum inconsistently based on
                                              alternative threshold would allow                       when a 1 percent of the NAAQS                         the EPA’s actions with regard to action
                                              certain states to avoid further evaluation              contribution threshold has been used for              good neighbor SIP submissions from
                                              of potential emissions controls while                   less protective NAAQS. To illustrate, a               Iowa and Oregon for the 2015 ozone
                                              other states with a similar level of                    state contributing greater than 0.75 ppb              NAAQS and Arizona’s good neighbor
                                              contribution would proceed to a Step 3                  but less than 1 ppb to a receptor under               SIP submission for the 2008 ozone
                                              analysis. This can create significant                   the 2008 ozone NAAQS was ‘‘linked’’ at                NAAQS.
                                              equity and consistency problems among                   Step 2 using the 1 percent of the                        EPA Response: The EPA disagrees
                                              states.                                                 NAAQS contribution threshold, but if a                that there is any such inconsistency.
                                                 One comment suggested that the EPA                   1 ppb threshold were used for the 2015                The EPA withdrew a previously
                                              could address this potentially                          ozone NAAQS, then that same state                     proposed approval of Iowa’s SIP
                                              inequitable outcome by simply adopting                  would not be ‘‘linked’’ to a receptor at              submission where the Agency had
                                              a 1 ppb contribution threshold for all                  Step 2 under a NAAQS that is set to be                attempted to substantiate the use of a 1
                                              states. However, the August 2018                        more protective of human health and                   ppb contribution threshold, and re-
                                              memorandum did not conclude that 1                      the environment. Consistency with past                proposed and finalized approval of that
                                              ppb would be appropriate for all states,                interstate transport actions such as                  SIP based on a different rationale using
                                              and the EPA does not view that                          CSAPR, and the CSAPR Update and                       a 1 percent of the NAAQS contribution
                                              conclusion to be supported at present.                  Revised CSAPR Update rulemakings                      threshold. 87 FR 9477 (Feb. 22, 2022);
                                              The EPA recognized in the August 2018                   (which used a Step 2 threshold of 1                   87 FR 22463 (April 15, 2022). As
                                              memorandum that on a nationwide                         percent of the NAAQS for two less                     explained earlier in this section, this
                                              basis there was some similarity in the                  protective ozone NAAQS), is an                        experience of the EPA attempting to
                                              amount of total upwind contribution                     important consideration. Continuing to                justify 1 ppb for a state through
                                              captured between 1 percent and 1 ppb.                   use a 1 percent of NAAQS approach                     additional air quality analysis, where
                                              However, while this may be true in                      ensures that if the NAAQS are revised                 the state had not conducted an analysis
                                              some sense, that is hardly a compelling                 and made more protective, an                          the Agency considered to be sufficient
                                              basis to move to a 1 ppb threshold for                  appropriate increase in stringency at                 is part of the reason the Agency is
                                                                                                      Step 2 occurs, to ensure an                           moving away from attempting to justify
khammond on DSKJM1Z7X2PROD with RULES2




                                                325 The EPA notes that Congress has placed on the     appropriately larger amount of total                  use of this alternative contribution
                                              EPA a general obligation to ensure the requirements     upwind-state contribution is captured                 threshold.
                                              of the CAA are implemented consistently across          for purposes of fully addressing                         The EPA also disputes the claim that
                                              states and regions. See CAA section 301(a)(2).          interstate transport obligations. See 76              Oregon and Arizona were the only states
                                              Where the management and regulation of interstate
                                              pollution levels spanning many states is at stake,      FR 48208, 48237–38.                                   ‘‘allowed’’ to use a 1 ppb threshold. The
                                              consistency in application of CAA requirements is          One comment identified that if the                 EPA approved Oregon’s SIP submission
                                              paramount.                                              EPA were to use a 1 percent of the                    for the 2015 ozone NAAQS on May 17,


                                         VerDate Sep<11>2014   17:17 Feb 10, 2023   Jkt 259001   PO 00000   Frm 00040   Fmt 4701   Sfmt 4700   E:\FR\FM\13FER2.SGM   13FER2
                                                                  Case: 23-60069                    Document: 110                  Page: 44            Date Filed: 03/27/2023
                                                               Federal Register / Vol. 88, No. 29 / Monday, February 13, 2023 / Rules and Regulations                                          9375

                                              2019, and both Oregon and the EPA                       intentionally exploiting the Supreme                  while the EPA does not direct states to
                                              relied on a 1 percent of the NAAQS                      Court decision in EME Homer City to                   use a particular framework, nonetheless,
                                              contribution threshold. 84 FR 7854,                     justify any requirements it deems                     each state must show that its decision-
                                              7856 (March 5, 2019) (proposal); 84 FR                  necessary to further Federal policy                   making was based on a ‘‘technically
                                              22376 (May 17, 2019) (final). In our FIP                decisions. Some comments identify that                appropriate or justifiable’’ evaluation.
                                              proposal for the 2015 ozone NAAQS,                      some states did not conduct a Step 3                     Further, the Agency has a statutory
                                              the EPA explained it was not proposing                  analysis in their submitted SIPs                      obligation to review and approve or
                                              to conduct an error correction for                      because, using the flexibilities provided             disapprove SIP submittals according to
                                              Oregon even though updated modeling                     in the 2018 memoranda, these states                   the requirements of the Clean Air Act.
                                              indicated Oregon contributed above 1                    concluded in Step 1 and Step 2 that no                See CAA section 110(k)(3). And the
                                              percent of the NAAQS to monitors in                     controls were required. One comment                   Agency is empowered to interpret those
                                              California, because the specific monitors               suggests that the EPA propose an 18-                  statutory requirements and exercise
                                              in California are not interstate ozone                  month period to allow these states to                 both technical and policy judgment in
                                              transport ‘‘receptors’’ at Step 1. See 87               proceed with Steps 3 and 4.                           acting on SIP submissions. Indeed, the
                                              FR 20036, 20074–20075 (April 6, 2022).                     EPA Response: The EPA disagrees                    task of allocating responsibility for
                                              The EPA solicited public comment on                     that it is obligated to defer to states’              interstate pollution particularly
                                              its approach to Oregon’s contribution to                choices in the development of good                    necessitates Federal involvement. See
                                              California receptors as part of the 2015                neighbor SIP submissions. As required                 EME Homer City, 572 U.S. at 514 (‘‘The
                                              ozone NAAQS transport FIP                               by the Act, the EPA has evaluated each                statute . . . calls upon the Agency to
                                              development, and the Agency has not                                                                           address a thorny causation problem:
                                                                                                      of the SIP submissions for compliance
                                              yet taken final action on that FIP. In                                                                        How should EPA allocate among
                                                                                                      with the CAA, including whether an
                                              2016, the EPA previously approved                                                                             multiple contributing upwind States
                                                                                                      adequate Step 3 analysis was
                                              Arizona’s good neighbor SIP for the                                                                           responsibility for a downwind State’s
                                                                                                      conducted—or whether states had
                                              earlier 2008 ozone NAAQS based on a                                                                           excess pollution?’’); see also Wisconsin,
                                                                                                      offered an approvable alternative
                                              similar rationale with regard to certain                                                                      938 F.3d at 320. Further, we have
                                                                                                      approach to evaluating their good
                                              monitors in California in 2016. 81 FR                                                                         consistently disapproved states’ good
                                                                                                      neighbor obligations—and found in
                                              15200 (March 22, 2016) (proposal); 81                                                                         neighbor SIP submissions addressing
                                                                                                      each case that what these states
                                              FR 31513 (May 19, 2016) (final rule).                                                                         prior ozone NAAQS when we have
                                                                                                      submitted was not approvable. The
                                              The Agency’s view with respect to its                                                                         found those states linked through our
                                                                                                      Supreme Court has recognized that the                 air quality modeling and yet the state
                                              evaluation of both Arizona and Oregon
                                                                                                      EPA is not obligated to provide states                failed to conduct an analysis of
                                              is that specific monitors in California
                                                                                                      with guidance before taking action to                 emissions control opportunities, or such
                                              are not interstate ozone transport
                                                                                                      disapprove a SIP submission. EME                      analysis was perfunctory or otherwise
                                              ‘‘receptors’’ at Step 1. The EPA has not
                                                                                                      Homer City, 572 U.S. at 508–10.                       unsatisfactory. We have been upheld in
                                              approved or applied an alternative Step
                                                                                                      Nonetheless, throughout the entire                    our judgment that such SIPs are not
                                              2 threshold for any state.
                                                 Comments related to the specific                     history of the EPA’s actions to                       approvable. See Westar Energy v. EPA,
                                              circumstances of an individual state                    implement the good neighbor provision                 608 Fed. App’x 1, 3 (DC Cir. 2015)
                                              and/or its arguments put forth in its SIP               for ozone, starting with the 1998 NOX                 (‘‘EPA acted well within the bounds of
                                              submission as it pertains to the August                 SIP Call, we have consistently adopted                its delegated authority when it
                                              2018 Memorandum are further                             a similar approach at Step 3 that                     disapproved of Kansas’s proposed SIP.’’)
                                              addressed in the RTC document.                          evaluates emissions reduction                         (emphasis added).
                                                                                                      opportunities for linked states applying                 With respect to the assertion that no
                                              8. Step 3: States’ Step 3 Analyses for the              a multifactor analysis. States could have             state has successfully avoided a FIP
                                              2015 Ozone NAAQS                                        performed a similar analysis of                       with an approvable Step 3 analysis, we
                                                 Comment: Comments state that the                     emissions control opportunities. The                  note first that at this time, no final FIP
                                              EPA has not provided any guidance on                    EPA has not directed states that they                 addressing the 2015 ozone NAAQS has
                                              what an appropriate Step 3 analysis                     must conduct a Step 3 analysis in                     been promulgated. More directly to the
                                              would entail, and therefore any decision                precisely the manner the EPA has done                 point, no state submission that is the
                                              where the Agency rejects a Step 3                       in its prior regional transport                       subject of this disapproval action
                                              analysis is arbitrary and capricious. One               rulemakings; however, SIPs addressing                 offered any additional emissions control
                                              comment claims that not a single state                  the obligations in CAA section                        measures. While it is conceivable that a
                                              has successfully made a Step 3                          110(a)(2)(D)(i)(I) must prohibit ‘‘any                Step 3 analysis may result in a
                                              demonstration leading to an approvable                  source or other type of emissions                     determination that no additional
                                              interstate transport SIP for the 2015                   activity within the State’’ from emitting             controls are needed, EPA expects that
                                              ozone NAAQS. Comments note that                         air pollutants which will contribute                  such circumstances will generally be
                                              there is no requirement in the CAA that                 significantly to downwind air quality                 rare, else the CAA’s interstate transport
                                              states must complete an analysis similar                problems. Thus, States seeking to rely                provisions are rendered ineffective. For
                                              to the EPA’s, and the EPA cannot                        on an alternative approach to defining                example, the EPA determined in the
                                              substitute its own judgment for that of                 ‘‘significance’’ must use an approach                 CSAPR Update that even though the
                                              the state’s in crafting a SIP. Rather, the              that comports with the statute’s                      District of Columbia and Delaware were
                                              EPA is obligated to defer to state                      objectives to determine whether and to                linked to out of state receptors at Steps
                                              choices. One comment asserts that the                   what degree emissions from a state                    1 and 2 of the 4-step interstate transport
khammond on DSKJM1Z7X2PROD with RULES2




                                              EPA is required to interpret the term                   should be ‘‘prohibited’’ to eliminate                 framework, no additional control
                                              ‘‘significant contribution’’ in a manner                emissions that will ‘‘contribute                      measures were required of either
                                              ‘‘which ties contribution to an amount                  significantly to nonattainment in, or                 jurisdiction. As to the District of
                                              which contributes significantly to                      interfere with maintenance of’’ the                   Columbia, we found that there were no
                                              downwind maintenance or                                 NAAQS in any other state. Further, the                affected EGU sources that would fall
                                              nonattainment problems.’’ Another                       approach selected must be reasonable                  under the CSAPR Update’s control
                                              comment claims the EPA is                               and technically justified. Therefore,                 program. For Delaware, we found that


                                         VerDate Sep<11>2014   17:17 Feb 10, 2023   Jkt 259001   PO 00000   Frm 00041   Fmt 4701   Sfmt 4700   E:\FR\FM\13FER2.SGM   13FER2
                                                                   Case: 23-60069                      Document: 110               Page: 45            Date Filed: 03/27/2023
                                              9376              Federal Register / Vol. 88, No. 29 / Monday, February 13, 2023 / Rules and Regulations

                                              there were no emissions reductions                       failure to use this particular                       Update or the Revised CSAPR Update,
                                              available from any affected sources for                  methodology.                                         as a permissible means of achieving
                                              any of the emissions control                                In its March 2018 memorandum,                     emissions reductions to eliminate
                                              stringencies that were analyzed. See 81                  Attachment A, the Agency                             significant contribution for the 2015
                                              FR 74504, 74553. No state’s submission                   acknowledged that there could be                     ozone NAAQS.
                                              covered in this action contained an                      multiple ways of conducting a Step 3                    EPA Response: The EPA disagrees. As
                                              emissions control analysis that would                    analysis. The Agency did not endorse                 the EPA has noted on page 16 of our
                                              allow for these types of conclusions to                  any particular approach and noted the                September 2013 memorandum
                                              be reached for all of its sources.326                    Attachment was merely a list of                      ‘‘Guidance on Infrastructure State
                                              States generally did not conduct any                     stakeholder ideas that the EPA was not               Implementation Plan (SIP) Elements
                                              comparative analysis of available                        recommending any state follow. The                   under Clean Air Act sections 110(a)(1)
                                              emissions control strategies—nor did                     apparent result of this ‘‘flexibility,’’             and 110(a)(2)’’ (2013 Infrastructure SIP
                                              they prohibit any additional ozone-                      however, was that no state presented a               Guidance): ‘‘a FIP is not a state plan and
                                              precursor emissions.                                     Step 3 analysis that resulted in                     thus cannot serve to satisfy the state’s
                                                                                                       including any enforceable emissions                  obligation to submit a SIP.’’ 327 Indeed,
                                                 We are unclear what another                           reductions to address good neighbor                  the general principle that measures
                                              comment intends in asserting that the                    obligations for the 2015 ozone NAAQS                 relied on to meet states’ CAA
                                              EPA is required to interpret ‘‘significant               in their interstate transport SIP                    obligations must be part of the SIP has
                                              contribution’’ in a manner ‘‘which ties                  submittals. Likewise, the comment here               been recognized by courts, such as in
                                              contribution to an amount which                          did not include information or analysis              Committee for a Better Arvin, 786 F.3d
                                              contributes significantly to downwind                    establishing that any particular                     1169 (9th Cir. 2015).
                                              maintenance or nonattainment                             alternative Step 3 approach should have                 This principle is grounded in the
                                              problems.’’ The EPA disagrees that: (1)                  been approved or that any state                      recognition that if such measures are not
                                              It has imposed or mandated a specific                    performed such an analysis in a manner               rendered enforceable within the SIP
                                              approach to Step 3 in this action, (2)                   that would have addressed ‘‘significant              itself, then they may be modified or
                                              this action established a particular level               contribution’’ even in the manner the                amended in ways that would undermine
                                              of emissions reduction that states were                  comment appears to be suggesting.                    the basis for the state’s reliance on them,
                                              required to achieve, or (3) it mandated                     Notably, materials appended to one                while the approved SIP itself would
                                              a particular methodology for making                      State’s SIP submission, developed by                 purport to have addressed the relevant
                                              such a determination. To the extent the                  the Midwest Ozone Group (MOG), did                   obligation merely by outdated reference
                                              comment suggests that the Agency                         present an analysis applying an                      to that modified or nonexistent control
                                              cannot mandate that states use cost as                   approach to ‘‘significant contribution’’             measure residing outside the SIP. For
                                              a method of allocating responsibility in                 that was based on calculating a                      example, to be credited for attainment
                                              their transport SIPs, first, the Agency                  proportional share of each state’s                   demonstration purposes, requirements
                                              has not done so. Further, as to whether                  contribution to a downwind receptor,                 that may otherwise be federally
                                              cost could be used as a permissible                      and this methodology would have                      enforceable (such as new source review
                                              method of allocating responsibility, the                 imposed on that State’s, Kentucky’s,                 permit limits or terms in federally
                                              comment ignores the Supreme Court’s                      sources an obligation to eliminate 0.02              enforceable consent orders), must be in
                                              holding to the contrary in EME Homer                     ppb of ozone at the relevant receptor.               the state’s implementation plan so that
                                              City, 572 U.S. at 518, and the D.C.                      See 87 FR 9507. While the EPA does not               they could not later be changed without
                                              Circuit’s earlier holding to the same                    endorse or here evaluate the merits of               being subject to the EPA’s approval.
                                              effect in Michigan, 213 F.3d at 687–88,                  such an approach, it is noteworthy that              This principle is instrumental to
                                              both of which upheld the EPA’s                           the State in that instance did not adopt             ensuring that states cannot take credit
                                              approach of using uniform cost-                          that approach, did not impose that                   for control measures that might be
                                              effectiveness thresholds to allocate                     obligation on its sources through                    changed (even by the EPA itself)
                                              upwind state responsibilities under the                  enforceable measures by revising its SIP,            without the EPA’s required approval
                                              good neighbor provision for prior                        and offered no explanation for its                   action under CAA section 110, which
                                              NAAQS. While this approach may be                        decision not to do so. See id. 9516                  includes the obligation to ensure there
                                              reasonable to apply again for the 2015                   (‘‘This approach would have imposed                  is no interference or backsliding with
                                              ozone NAAQS (and the EPA has                             additional emissions reductions for                  respect to all applicable CAA
                                              proposed to do so in the proposed FIP                    Kentucky sources. Kentucky’s final SIP               requirements. See CAA section 110(l).
                                              action published on April 6, 2022), the                  did not consider MOG’s proposal and                  See also Montana Sulfur and Chemical
                                              EPA did not impose such a requirement                    did not provide an explanation for why               Co. v. EPA, 666 F.3d 1174, 1195–96 (9th
                                              on states in developing SIP submissions,                 it was rejecting this approach to                    Cir. 2012) (‘‘The EPA correctly reads 42
                                              nor is the EPA finding any SIP                           allocating upwind emissions reductions,              U.S.C. 7410(a)(2) as requiring states to
                                              submission not approvable based on a                     even though it appended this                         include enforceable emissions limits
                                                                                                       recommendation to its SIP submittal.’’).             and other control measures in the plan
                                                 326 We note that California’s SIP submission is not
                                                                                                       9. Step 4: Attempt To Rely on FIPs in                itself.’’) (emphasis in original); 40 CFR
                                              approvable at Step 3, despite the fact that the EPA      a SIP Submission                                     51.112(a) (‘‘Each plan must demonstrate
                                              has not identified NOX emissions control                                                                      that the measures, rules, and regulations
                                              opportunities at the state’s EGUs. Nonetheless, the         Comment: One comment states that                  contained in it are adequate to provide
                                              SIP submission is not approvable because the state       FIPs or other Federal emissions control
khammond on DSKJM1Z7X2PROD with RULES2




                                              attempted to rely on the CSAPR Update cost                                                                    for the timely attainment and
                                              threshold to justify a no-control determination
                                                                                                       measures do not have to be incorporated
                                              when that threshold was in relation to a partial         into and enforceable under state law to                327 Guidance on Infrastructure State

                                              remedy for a less protective NAAQS, and even if          be an approvable SIP measure. They                   Implementation Plan (SIP) Elements under Clean
                                              it could be reasonably concluded that no emissions       view it as acceptable for a state to rely            Air Act Sections 110(a)(1) and 110(a)(2), September
                                              reductions are appropriate at EGUs in California,                                                             13, 2013 (available at https://www.epa.gov/sites/
                                              the SIP submission did not conduct an adequate
                                                                                                       in its SIP Submission on the emissions               default/files/2015-12/documents/guidance_on_
                                              analysis of emissions control opportunities at its       reductions achieved by prior ozone                   infrastructure_sip_elements_multipollutant_final_
                                              non-EGU industrial sources. See 87 FR 31459–60.          transport FIPs, such as the CSAPR                    sept_2013.pdf).



                                         VerDate Sep<11>2014   17:17 Feb 10, 2023   Jkt 259001   PO 00000   Frm 00042   Fmt 4701   Sfmt 4700   E:\FR\FM\13FER2.SGM   13FER2
                                                                  Case: 23-60069                    Document: 110                  Page: 46            Date Filed: 03/27/2023
                                                               Federal Register / Vol. 88, No. 29 / Monday, February 13, 2023 / Rules and Regulations                                                   9377

                                              maintenance of the national standard                    emissions control requirements (e.g.,                 EPA believes that the NOX reductions
                                              that it implements.’’) (emphasis added).                Step 4). The EPA is not aware of any                  from its Federal programs are an
                                                 The EPA has applied this same                        good neighbor SIP submission that it                  important reason for the historical and
                                              interpretation in implementing other                    has approved where a state purported to               long-running trend of improving air
                                              infrastructure SIP requirements found in                eliminate its significant contribution                quality in the United States. The trend
                                              CAA section 110(a)(2). For example, in                  (e.g., satisfy Steps 3 and 4) simply by               helps explain why the overall number of
                                              implementing CAA section 110(a)(2)(C),                  referring to Federal measures that were               receptors and severity of ozone
                                              (D)(i)(II), (D)(ii), and (J) relating to the            not included in its SIP and enforceable               nonattainment problems under the 1997
                                              permitting program for PSD, the EPA                     as a matter of state law. Finally, it bears           and 2008 ozone NAAQS have declined.
                                              has developed FIPs that incorporate by                  emphasizing that the EPA’s assessment                 As a result of this long history, NOX
                                              reference provisions codified at 40 CFR                 of the 2015 ozone transport SIPs has                  emissions from onroad and nonroad
                                              51.21, and some states have taken                       already accounted for the emissions-                  mobile sources have substantially
                                              delegation of that FIP to implement the                 reducing effects of both the CSAPR                    decreased and are predicted to continue
                                              relevant requirements. But the EPA does                 Update and the Revised CSAPR Update                   to decrease into the future as newer
                                              not and cannot approve the state as                     in its baseline air quality modeling at               vehicles and engines that are subject to
                                              having met these infrastructure SIP                     Steps 1 and 2, and so pointing to either              the more recent and more stringent
                                              elements, even by virtue of taking                      of those rules as measures that would                 standards replace older vehicles and
                                              delegation of the FIP. See, e.g., 83 FR                 eliminate significant contribution at                 engines.329
                                              8818, 8820 (March 1, 2018). Likewise,                   Step 3, for purposes of the 2015 ozone                   The EPA included mobile source
                                              under one of the pathways presented in                  NAAQS, would be impermissible                         emissions in the 2016v2 modeling used
                                              our 2013 Infrastructure SIP Guidance,                   double-counting.                                      to support the proposal of these SIP
                                              the EPA does not approve SIPs                                                                                 disapproval actions to help determine
                                              addressing interstate visibility transport              C. Good Neighbor Provision Policy                     state linkages at Steps 1 and 2 of the
                                              obligations under CAA section                           1. Mobile Source Emissions                            4-step interstate transport framework
                                              110(a)(2)(D)(i)(II) (‘‘prong 4’’) until the                                                                   and has done likewise in its 2016v3
                                              state itself has a fully approved regional                 Comment: Several comments assert                   modeling. However, whether mobile
                                              haze plan, and states cannot rely on the                that mobile source emissions within the               source emissions are a large portion of
                                              CSAPR ‘‘better than BART’’ FIPs to meet                 home state of the location of receptors               an upwind or downwind state’s NOX
                                              their prong 4 requirements until they                   are the primary source of nonattainment               emissions, and whether they represent a
                                              have replaced that FIP with an approved                 problems in downwind areas. Some                      large portion of the contribution to
                                              SIP. See, e.g., 84 FR 13800, 13801 (April               comments additionally state that a                    downwind nonattainment and
                                              8, 2019); 84 FR 43741, 43744 (Aug. 22,                  larger portion of their own upwind state              maintenance receptors, does not answer
                                              2019).                                                  emissions is from mobile source                       the question regarding the adequacy of
                                                 The comment does not provide                         emissions. These comments request that                an upwind state’s SIP submission. The
                                              contrary examples where the EPA has                     the EPA focus on these emissions                      question is whether ‘‘any source or
                                              approved, as a SIP-based emissions                      sources rather than stationary sources to             other type of emissions activity’’ (in the
                                              control program, requirements that are                  reduce ongoing nonattainment                          collective) in an upwind state is
                                              established through Federal regulation                  problems. These comments claim                        contributing significantly to downwind
                                              or other types of emissions control                     mobile sources are federally regulated                receptors, see CAA section
                                              programs that are outside the SIP. It is                and, therefore, the EPA bears the                     110(a)(2)(D)(i). A state’s transport SIP
                                              true that in the first two steps of the                 responsibility to either take action to               must include a technical and adequate
                                              4-step interstate transport framework,                  reduce mobile source emissions                        justification to support its conclusion
                                              the EPA conducts air quality modeling                   nationwide or encourage downwind                      that the state has satisfied its interstate
                                              based on emissions inventories                          states to implement strategies to reduce              transport obligations for the 2015 ozone
                                              reflective of on-the-books state and                    their own local mobile source                         NAAQS.
                                              Federal emissions control requirements,                 emissions.                                               To the extent that comments argue
                                              to make determinations about air quality                   Response: The EPA recognizes that                  that mobile source emissions should be
                                              conditions and contribution levels that                 nationwide, mobile sources represent a                the focus of emissions reductions for the
                                              can be anticipated in the baseline in a                 large portion of ozone-precursor                      purposes of resolving interstate
                                              future analytic year. If the comment’s                  emissions and, as such, would be                      transport obligations, states could have
                                              examples were intended to reference                     expected to have a large impact on                    provided such an analysis for how
                                              this consideration of Federal measures                  nonattainment and maintenance                         mobile source reductions might achieve
                                              in prior actions on SIP submittals, the                 receptors.                                            necessary reductions. See, e.g., 70 FR
                                              EPA agrees that it does consider such                      The EPA has been regulating mobile                 25209. However, states conducted no
                                              measures at these steps of its analysis,                source emissions since it was                         such analysis of methods or control
                                              and the EPA has consistently taken this                 established as a Federal agency in 1970               techniques that could be used to reduce
                                              approach throughout its prior ozone                     and is committed to continuing the                    mobile source emissions, instead
                                              transport actions. But here we are                      effective implementation and                          claiming that states cannot control
                                              discussing Step 3 and 4 of the                          enforcement of current mobile source                  mobile source emissions, as this is a
                                              framework, where states that have been                  emissions standards and evaluating the                federally-regulated sector, or states
                                              found to contribute to downwind                         need for additional standards.328 The                 cannot reasonably control these
                                              nonattainment and maintenance
khammond on DSKJM1Z7X2PROD with RULES2




                                                                                                                                                            emissions. States do have options,
                                              problems, e.g., are linked at Steps 1 and                 328 On December 20, 2022, the EPA finalized
                                                                                                                                                            however, to reduce emissions from
                                              2 to an out of state receptor, would need               more stringent emissions standards for NOX and
                                                                                                                                                            certain aspects of their mobile source
                                              to evaluate their continuing emissions                  other pollutants from heavy-duty vehicles and
                                              to determine what if any of those                       engines, beginning with model year 2027. See
                                                                                                      https://www.epa.gov/regulations-emissions-            and medium-duty vehicles as well as options to
                                              emissions should be deemed                              vehicles-and-engines/final-rule-and-related-          address pollution from locomotives.
                                              ‘‘significant’’ (e.g., Step 3) and                      materials-control-air-pollution. The EPA is also        329 https://gispub.epa.gov/air/trendsreport/2022/

                                              eliminated through enforceable                          developing new multi-pollutant standards for light-   #home.



                                         VerDate Sep<11>2014   17:17 Feb 10, 2023   Jkt 259001   PO 00000   Frm 00043   Fmt 4701   Sfmt 4700   E:\FR\FM\13FER2.SGM   13FER2
                                                                   Case: 23-60069                     Document: 110                Page: 47            Date Filed: 03/27/2023
                                              9378              Federal Register / Vol. 88, No. 29 / Monday, February 13, 2023 / Rules and Regulations

                                              sectors, and to the extent a state is                   to downwind states’ ability to attain and             international emissions also contribute
                                              attributing its contribution to out of                  maintain the NAAQS. Whether                           some amount of pollution to the same
                                              state receptors to its mobile sources, it               emissions from other states or other                  receptors to which the state is linked.
                                              could have conducted an analysis of                     countries also contribute to the same                   To the extent comments compare the
                                              possible programs or measures that                      downwind air quality issue is typically               influence of international emissions
                                              could achieve emissions reductions                      not relevant in assessing whether a                   with the EPA’s treatment of receptors in
                                              from those sources. (For example, a                     downwind state has an air quality                     California to which Oregon contributes
                                              general list of types of transportation                 problem, or whether an upwind state is                greater than 0.70 ppb, the EPA responds
                                              control measures can be found in CAA                    significantly contributing to that                    to these comments in the RTC
                                              section 108(f).330)                                     problem. (Only in rare cases has EPA                  document.
                                                 State-specific issues raised by                      concluded that certain monitoring sites               3. Western Interstate Transport Policy
                                              comments are further addressed in the                   should not be considered receptors at
                                              RTC document.                                           Step 1 due to the very low collective                    Comment: Several comments argue
                                                                                                      upwind-state contribution at those                    that the EPA should consider an
                                              2. International Contributions                                                                                alternative approach to evaluating
                                                                                                      receptors. See the RTC document.)
                                                 Comment: Several comments state                      States are not obligated under CAA                    interstate transport in the western U.S.
                                              that international emissions contribute                 section 110(a)(2)(D)(i)(I) to act alone to            Comments assert there are
                                              to nonattainment and maintenance                        reduce emissions in amounts sufficient                considerations unique to the western
                                              receptors downwind, and these                           to resolve a downwind receptor’s                      states, such as increased background,
                                              emissions are not within the jurisdiction               nonattainment or maintenance problem.                 international, and wildfire contributions
                                              of the states. They advocate for the EPA                Rather, states are obligated to eliminate             to ozone concentrations in the west.
                                              should considering this when acting on                                                                        Some commenters believe a ‘‘case-by-
                                                                                                      their own ‘‘significant contribution’’ to
                                              SIP submissions. Some comments claim                                                                          case’’ assessment is more appropriate
                                                                                                      that receptor or ‘‘interference’’ with the
                                              that, in the west, international                                                                              for evaluating western states’ interstate
                                                                                                      ability of other states to attain or
                                              contributions are even greater than in                                                                        transport obligations, as they claim the
                                                                                                      maintain the NAAQS. The statutory
                                              eastern portions of the U.S. and support                                                                      EPA had done for the 2008 ozone
                                                                                                      standard is, fundamentally, one of
                                              their notion that the EPA’s evaluation of                                                                     standards. They additionally argue that
                                                                                                      contribution, not causation.
                                              interstate transport should take special                                                                      the EPA modeling is not able to
                                              consideration of unique regional factors                   Indeed, the D.C. Circuit in Wisconsin              accurately project ozone concentrations
                                              when determining upwind state                           specifically rejected petitioner                      in the west because of these factors,
                                              obligations, or that the Agency should                  arguments suggesting that upwind states               along with the west’s unique
                                              otherwise explain why it is still                       should be excused from good neighbor                  topographical influence on ozone
                                              inappropriate to factor in higher                       obligations on the basis that some other              transport.
                                              international contributions, as the                     source of emissions (whether                             Response: The EPA disagrees that
                                              Agency has done in Oregon’s case.                       international or another upwind state)                either its nationwide photochemical
                                                 Response: The EPA responded to                       could be considered the ‘‘but-for’’ cause             grid modeling or the 4-step interstate
                                              similar arguments related to                            of downwind air quality problem. See                  transport framework for ozone cannot
                                              international emissions included in the                 Wisconsin, 938 F.3d at 323–324. The                   generally be applied to states in the
                                              SIP submissions of Arkansas, California,                court viewed petitioners’ arguments as                western region of the U.S. and has
                                              Illinois, Indiana, Kentucky, Michigan,                  essentially an argument ‘‘that an                     maintained that position consistently
                                              Missouri, Ohio, Utah, Wyoming, and                      upwind state ‘contributes significantly’              throughout numerous actions.332
                                              West Virginia in the proposed                           to downwind nonattainment only when                   Though at times the EPA has found it
                                              disapprovals.331 No comments on the                     its emissions are the sole cause of                   appropriate to examine more closely
                                              proposed disapprovals provided new                      downwind nonattainment.’’ Id. at 324.                 discreet issues for some western
                                              information to indicate the EPA’s initial               The court explained that ‘‘an upwind                  states,333 the 4-step interstate transport
                                              assessment was incorrect. These                         state can ‘contribute’ to downwind                    framework itself is appropriate for
                                              comments’ reasoning related to                          nonattainment even if its emissions are               assessing good neighbor obligations of
                                              international emissions is inapplicable                 not the but-for cause.’’ Id. at 324–325.              western states in the absence of those
                                              to the requirements of CAA section                      See also Catawba County v. EPA, 571                   circumstances. The EPA evaluated the
                                              110(a)(2)(D)(i)(I). The good neighbor                   F.3d 20, 39 (DC Cir. 2009) (rejecting the             contents of the western states’ SIP
                                              provision requires states and the EPA to                argument ‘‘that ‘significantly contribute’            submissions covered by this action on
                                              address interstate transport of air                     unambiguously means ‘strictly cause’’’                the merits of the information the states
                                              pollution that significantly contributes                because there is ‘‘no reason why the                  provided. As described at proposal and
                                                                                                      statute precludes EPA from determining                reiterated in Section IV, the EPA is
                                                 330 In making this observation, the EPA is not       that [an] addition of [pollutant] into the            finalizing its disapproval of California,
                                              suggesting that mobile source emissions reductions      atmosphere is significant even though a
                                              are necessarily required to address a state’s good      nearby county’s nonattainment problem                   332 For a discussion of this history, see for

                                              neighbor obligations, but merely pointing out that      would still persist in its absence’’); Miss.          example 87 FR 31480–81 (proposed disapproval of
                                              if the state itself attributes the problem to mobile                                                          Utah SIP submission) and 87 FR 31453–56
                                              sources, then it is reasonable to expect that further   Comm’n on Envtl. Quality v. EPA, 790                  (proposed disapproval of California SIP
                                              analysis of such control strategies would be            F.3d 138, 163 n.12 (DC Cir. 2015)                     submission).
                                              explored.                                               (observing that the argument that ‘‘there               333 See, e.g., Approval of Arizona’s 2008 ozone
                                                 331 87 FR 9798, 9809–9810 (Feb. 22, 2022)                                                                  NAAQS interstate transport SIP submission, 81 FR
                                                                                                      likely would have been no violation at
khammond on DSKJM1Z7X2PROD with RULES2




                                              (Arkansas); 87 FR 31443, 31460–31461 (May 24,                                                                 15200 (March 22, 2016) (Step 1 analysis concluding
                                              2022) (California); 87 FR 9854 (Illinois); 87 FR
                                                                                                      all . . . if it were not for the emissions            certain monitors in California should not be
                                              9859–9860 (Indiana); 87 FR 9498, 9508 (Feb. 22,         resulting from [another source]’’ is                  considered interstate transport receptors for
                                              2022) (Kentucky); 87 FR 9838, 9865 (Michigan); 87       ‘‘merely a rephrasing of the but-for                  purposes of the good neighbor provision for the
                                              FR 9533, 9543 (Feb. 22, 2022) (Missouri); 87 FR         causation rule that we rejected in                    2008 ozone NAAQS); see also 87 FR 61249, 61254–
                                              9838 at 9874 (Ohio); 87 FR 31470, 31482 (May 24,                                                              55 (Oct. 11, 2022) (in approving Colorado’s
                                              2022) (Utah); 87 FR 9516, 9527 (Feb. 22, 2022)
                                                                                                      Catawba County’’). Therefore, a state is              interstate transport SIP for the 2015 ozone NAAQS,
                                              (West Virginia); 87 FR 31495, 31507 (May 24, 2022)      not excused from eliminating its                      analyzing unique issues associated with wintertime
                                              (Wyoming).                                              significant contribution on the basis that            inversion conditions in certain western areas).



                                         VerDate Sep<11>2014   17:17 Feb 10, 2023   Jkt 259001   PO 00000   Frm 00044   Fmt 4701   Sfmt 4700   E:\FR\FM\13FER2.SGM   13FER2
                                                                    Case: 23-60069                    Document: 110                  Page: 48            Date Filed: 03/27/2023
                                                                 Federal Register / Vol. 88, No. 29 / Monday, February 13, 2023 / Rules and Regulations                                             9379

                                              Nevada, and Utah’s SIP submissions.                       support their conclusions regarding long               C. Regulatory Flexibility Act (RFA)
                                              This final determination is based on                      range transport of ozone in the west.336                  I certify that this action will not have
                                              these evaluations, as well as the EPA’s                     While comments point to relatively                   a significant economic impact on a
                                              2016v2 and 2016v3 modeling following                      higher level of contributions from non-                substantial number of small entities
                                              stakeholder feedback.                                     anthropogenic, local, or international                 under the RFA. This action will not
                                                 The EPA continues to find it                           contributions in the west as reason for                impose any requirements on small
                                              appropriate to rely on the results of its                 evaluating interstate transport                        entities. This action is disapproving SIP
                                              nationwide modeling in the western                        differently in the west, a state is not                submissions for not containing the
                                              U.S., despite comments concerning the                     excused from eliminating its significant               necessary provisions to satisfy interstate
                                              ability for the EPA’s modeling to                         contribution due to contributions from                 transport requirements under CAA
                                              accurately project ozone concentrations                   these sources, where the data shows that               section 110(a)(2)(D)(i)(I).
                                              and contributions in western states, as                   anthropogenic emissions from upwind                    D. Unfunded Mandates Reform Act of
                                              well as its ability to support the EPA’s                  states also contribute collectively to                 1995 (UMRA)
                                              4-step framework for assessing interstate                 identified receptors at levels that
                                                                                                        indicate there to be an interstate                        This action does not contain any
                                              transport. The EPA’s nationwide                                                                                  unfunded mandate as described in
                                              photochemical grid modeling considers                     contribution problem as well. As stated
                                                                                                                                                               UMRA 2 U.S.C. 1531–1538 and does not
                                              multiple complex factors, including                       in Section V.C.2, a state is not excused
                                                                                                                                                               significantly or uniquely affect small
                                              those raised in comments, such as                         from eliminating its significant
                                                                                                                                                               governments. The action imposes no
                                              terrain complexities, variability in                      contribution on the basis that
                                                                                                                                                               enforceable duty on any state, local or
                                              emissions (e.g., wildfire emissions),                     international emissions also contribute
                                                                                                                                                               tribal governments or the private sector.
                                              meteorology, and topography. While the                    some amount of pollution to the same
                                                                                                        receptors to which the state is linked.                E. Executive Order 13132: Federalism
                                              EPA continues to believe its 2016v2
                                              modeling performs equally as well in                      This same principle applies broadly to                   This action does not have federalism
                                              both the west and the east, the EPA has                   other arguments as to which emissions                  implications. It will not have substantial
                                                                                                        are the ‘‘cause’’ of the problem; the good             direct effects on the states, on the
                                              adjusted its 2016v3 modeling to ensure
                                                                                                        neighbor provision established a                       relationship between the National
                                              its predictions more closely replicate
                                                                                                        contribution standard, not a but-for                   Government and the states, or on the
                                              the relative magnitude of concentrations
                                                                                                        causation standard. See Wisconsin, 938                 distribution of power and
                                              and day-to-day variability that are
                                                                                                        F.3d at 323–25.                                        responsibilities among the various
                                              characteristic of observed 8-hour daily
                                                                                                                                                               levels of government.
                                              maximum ozone concentrations in each                      VI. Statutory and Executive Order
                                              region, as explained in Section III.A and                 Reviews                                                F. Executive Order 13175: Consultation
                                              the RTC document. As such, the EPA                                                                               and Coordination With Indian Tribal
                                              continues to find its modeling reliable                     Additional information about these                   Governments
                                              for characterizing ozone concentrations                   statutes and Executive orders can be
                                                                                                        found at https://www.epa.gov/laws-                        This action has tribal implications.
                                              and contribution values in the western                                                                           However, this action does not impose
                                              U.S. Further responses regarding the                      regulations/laws-and-executive-orders.
                                                                                                                                                               substantial direct compliance costs on
                                              reliability of the EPA’s modeling in the                  A. Executive Orders 12866: Regulatory                  federally recognized tribal governments,
                                              western U.S. is provided in the RTC                       Planning and Executive Order 13563:                    nor preempt tribal law. This action
                                              document.                                                 Improving Regulation and Regulatory                    includes disapproving the portion of
                                                 The EPA disagrees with comments                        Review                                                 Oklahoma’s SIP submission addressing
                                              noting that the Agency took an                                                                                   the state’s good neighbor obligations
                                                                                                          This action is not a significant                     under CAA section 110(a)(2)(D)(i)(I) for
                                              alternative approach for western states                   regulatory action and was, therefore, not
                                              when assessing interstate transport                                                                              the 2015 ozone NAAQS and applies to
                                                                                                        submitted to the Office of Management                  certain areas of Indian country as
                                              obligations under the 2008 ozone                          and Budget for review.                                 discussed in Section IV.C of the
                                              NAAQS. As explained in our proposed
                                                                                                        B. Paperwork Reduction Act (PRA)                       proposed action, ‘‘Air Plan Disapproval;
                                              disapproval of California’s 2015 ozone
                                                                                                                                                               Arkansas, Louisiana, Oklahoma, and
                                              NAAQS interstate transport SIP
                                                                                                           This action does not impose an                      Texas; Interstate Transport of Air
                                              submission, while the EPA has in                                                                                 Pollution for the 2015 Ozone National
                                              limited circumstances found unique                        information collection burden under the
                                                                                                        provisions of the Paperwork Reduction                  Ambient Air Quality Standards’’ (87 FR
                                              issues associated with addressing ozone                                                                          9798 at 9824, February 2, 2022).
                                              transport in western states, the EPA has                  Act. This final action does not establish
                                                                                                        any new information collection                         However, this action does not impose
                                              consistently applied the 4-step interstate                                                                       substantial direct compliance costs on
                                                                                                        requirement apart from what is already
                                              transport framework in western states,                                                                           federally recognized tribal governments
                                                                                                        required by law. This finding relates to
                                              as it has done here, and has identified                                                                          because no actions will be required of
                                                                                                        the requirement in the CAA for states to
                                              ozone transport problems in the west                                                                             tribal governments. This action will also
                                                                                                        submit SIPs under CAA section
                                              that are similar to those in the east.334 335                                                                    not preempt tribal law as no Oklahoma
                                                                                                        110(a)(2)(D)(i)(I) addressing interstate
                                              At proposal, the EPA addressed states’                    transport obligations associated with the              tribe implements a regulatory program
                                              arguments regarding the impact of                         2015 ozone NAAQS.                                      under the CAA, and thus does not have
                                              unique factors such as topography and,                                                                           applicable or related tribal laws. The
khammond on DSKJM1Z7X2PROD with RULES2




                                              as part of the EPA’s evaluation of the                       336 See, e.g., 87 FR 31443, 31457. The EPA          EPA consulted with tribal officials
                                              contents of the SIP submission,                           evaluated California’s qualitative consideration of    under the EPA Policy on Consultation
                                              provided explanation as to why the EPA                    unique topographic factors that may influence the      and Coordination with Indian Tribes
                                              found the states’ arguments did not                       transport of emissions from sources within the state   early in the process of developing this
                                                                                                        to downwind receptors in Colorado and Arizona.
                                                                                                        The EPA concluded that the State’s arguments do
                                                                                                                                                               regulation to permit them to have
                                                334 87   FR 31443, 31453.                               not present sufficient evidence that called into       meaningful and timely input into its
                                                335 81   FR 74503, 74523.                               question the results of the EPA’s modeling.            development. A summary of that


                                         VerDate Sep<11>2014     17:17 Feb 10, 2023   Jkt 259001   PO 00000   Frm 00045   Fmt 4701   Sfmt 4700   E:\FR\FM\13FER2.SGM   13FER2
                                                                  Case: 23-60069                    Document: 110                  Page: 49            Date Filed: 03/27/2023
                                              9380             Federal Register / Vol. 88, No. 29 / Monday, February 13, 2023 / Rules and Regulations

                                              consultation is provided in the file                       Under the CAA, the Administrator is                   This rulemaking is ‘‘nationally
                                              ‘‘2015 Ozone Transport OK Tribal                        required to approve a SIP submission                  applicable’’ within the meaning of CAA
                                              Consultation Meeting Record 3–3–                        that complies with the provisions of the              section 307(b)(1). In this final action, the
                                              2022,’’ in the docket for this action.                  Act and applicable Federal regulations.               EPA is applying a uniform legal
                                                                                                      42 U.S.C. 7410(k); 40 CFR 52.02(a).                   interpretation and common, nationwide
                                              G. Executive Order 13045: Protection of                                                                       analytical methods with respect to the
                                                                                                      Thus, in reviewing SIP submissions, the
                                              Children From Environmental Health                                                                            requirements of CAA section
                                                                                                      EPA’s role is to review state choices,
                                              and Safety Risks                                                                                              110(a)(2)(D)(i)(I) concerning interstate
                                                                                                      and approve those choices if they meet
                                                 The EPA interprets Executive Order                   the minimum criteria of the Act. As                   transport of pollution (i.e., ‘‘good
                                              13045 as applying only to those                         articulated in this final action, the EPA             neighbor’’ requirements) to disapprove
                                              regulatory actions that concern health or               is determining that certain SIPs do not               SIP submissions that fail to satisfy these
                                              safety risks that the EPA has reason to                 meet certain minimum requirements,                    requirements for the 2015 ozone
                                              believe may disproportionately affect                   and the EPA is disapproving those SIPs.               NAAQS. Based on these analyses, the
                                              children, per the definition of ‘‘covered               Specifically, this action disapproves                 EPA is disapproving SIP submittals for
                                              regulatory action’’ in section 2–202 of                 certain SIP submissions as not                        the 2015 ozone NAAQS for 21 states
                                              the Executive order. This action is not                 containing the necessary provisions to                located across a wide geographic area in
                                              subject to Executive Order 13045                        satisfy ‘‘good neighbor’’ requirements                eight of the ten EPA Regions and ten
                                              because it merely disapproves SIP                       under CAA section 110(a)(2)(D)(i)(I).                 Federal judicial circuits. Given that on
                                              submissions as not containing the                       The EPA did not perform an EJ analysis                its face this action addresses
                                              necessary provisions to satisfy interstate              and did not consider EJ in this action.               implementation of the good neighbor
                                              transport requirements under CAA                        The CAA and applicable implementing                   requirements of CAA section
                                              section 110(a)(2)(D)(i)(I).                             regulations neither prohibit nor require              110(a)(2)(D)(i)(I) in a large number of
                                                                                                      such an evaluation. In a wholly separate              states located across the country and
                                              H. Executive Order 13211: Actions That                  regulatory action, the EPA will fully                 given the interdependent nature of
                                              Significantly Affect Energy Supply,                     address the CAA ‘‘good neighbor’’                     interstate pollution transport and the
                                              Distribution or Use                                     requirements under section                            common core of knowledge and analysis
                                                This action is not subject to Executive               110(a)(2)(D)(i)(I) for the 2015 ozone                 involved in evaluating the submitted
                                              Order 13211, because it is not a                        NAAQS as it regards the SIP                           SIPs, this is a ‘‘nationally applicable’’
                                              significant regulatory action under                     disapprovals included in this final                   action within the meaning of CAA
                                              Executive Order 12866.                                  action. Consideration of EJ is not                    section 307(b)(1).
                                                                                                      required as part of this action, and there               In the alternative, to the extent a court
                                              I. National Technology Transfer and                     is no information in the record                       finds this action to be locally or
                                              Advancement Act (NTTAA)                                 inconsistent with the stated goal of E.O.             regionally applicable, the Administrator
                                                                                                      12898 of achieving EJ for people of                   is exercising the complete discretion
                                                This rulemaking does not involve                                                                            afforded to him under the CAA to make
                                              technical standards.                                    color, low-income populations, and
                                                                                                      Indigenous peoples.                                   and publish a finding that this action is
                                              J. Executive Order 12898: Federal                                                                             based on a determination of
                                              Actions To Address Environmental                        K. Congressional Review Act (CRA)                     ‘‘nationwide scope or effect’’ within the
                                              Justice in Minority Populations and                       This action is subject to the CRA, and              meaning of CAA section 307(b)(1). In
                                              Low-Income Populations                                  the EPA will submit a rule report to                  this final action, the EPA is interpreting
                                                                                                      each House of the Congress and to the                 and applying section 110(a)(2)(D)(i)(I) of
                                                 Executive Order 12898 (Federal                                                                             the CAA for the 2015 ozone NAAQS
                                              Actions To Address Environmental                        Comptroller General of the United
                                                                                                      States. This action is not a ‘‘major rule’’           based on a common core of nationwide
                                              Justice in Minority Populations and                                                                           policy judgments and technical analysis
                                              Low-Income Populations, 59 FR 7629,                     as defined by 5 U.S.C. 804(2).
                                                                                                                                                            concerning the interstate transport of
                                              Feb. 16, 1994) directs Federal agencies                 L. Judicial Review                                    pollutants throughout the continental
                                              to identify and address                                                                                       U.S. In particular, the EPA is applying
                                                                                                         Section 307(b)(1) of the CAA governs
                                              ‘‘disproportionately high and adverse                                                                         here the same, nationally consistent 4-
                                                                                                      judicial review of final actions by the
                                              human health or environmental effects’’                                                                       step interstate transport framework for
                                                                                                      EPA. This section provides, in part, that
                                              of their actions on minority populations                                                                      assessing obligations for the 2015 ozone
                                                                                                      petitions for review must be filed in the
                                              and low-income populations to the                                                                             NAAQS that it has applied in other
                                                                                                      D.C. Circuit: (i) when the agency action
                                              greatest extent practicable and                                                                               nationally applicable rulemakings, such
                                                                                                      consists of ‘‘nationally applicable
                                              permitted by law. The EPA defines                                                                             as CSAPR, the CSAPR Update, and the
                                                                                                      regulations promulgated, or final actions
                                              environmental justice (EJ) as ‘‘the fair                                                                      Revised CSAPR Update. The EPA is
                                                                                                      taken, by the Administrator,’’ or (ii)
                                              treatment and meaningful involvement                                                                          relying on the results from nationwide
                                                                                                      when such action is locally or regionally
                                              of all people regardless of race, color,                                                                      photochemical grid modeling using a
                                                                                                      applicable, but ‘‘such action is based on
                                              national origin, or income with respect                                                                       2016 base year and 2023 projection year
                                                                                                      a determination of nationwide scope or
                                              to the development, implementation,                                                                           as the primary basis for its assessment
                                                                                                      effect and if in taking such action the
                                              and enforcement of environmental laws,                                                                        of air quality conditions and pollution
                                                                                                      Administrator finds and publishes that
                                              regulations, and policies.’’ The EPA                                                                          contribution levels at Step 1 and Step 2
                                                                                                      such action is based on such a
                                              further defines the term fair treatment to                                                                    of that 4-step framework and applying a
                                                                                                      determination.’’ For locally or regionally
                                              mean that ‘‘no group of people should                                                                         nationally uniform approach to the
khammond on DSKJM1Z7X2PROD with RULES2




                                                                                                      applicable final actions, the CAA
                                              bear a disproportionate burden of                                                                             identification of nonattainment and
                                                                                                      reserves to the EPA complete discretion
                                              environmental harms and risks,
                                                                                                      whether to invoke the exception in
                                              including those resulting from the                                                                            effect, the Administrator takes into account a
                                                                                                      (ii).337                                              number of policy considerations, including his
                                              negative environmental consequences of
                                                                                                                                                            judgment balancing the benefit of obtaining the D.C.
                                              industrial, governmental, and                              337 In deciding whether to invoke the exception    Circuit’s authoritative centralized review versus
                                              commercial operations or programs and                   by making and publishing a finding that an action     allowing development of the issue in other contexts
                                              policies.’’                                             is based on a determination of nationwide scope or    and the best use of agency resources.



                                         VerDate Sep<11>2014   17:17 Feb 10, 2023   Jkt 259001   PO 00000   Frm 00046   Fmt 4701   Sfmt 4700   E:\FR\FM\13FER2.SGM   13FER2
                                                                  Case: 23-60069                    Document: 110                    Page: 50            Date Filed: 03/27/2023
                                                               Federal Register / Vol. 88, No. 29 / Monday, February 13, 2023 / Rules and Regulations                                                     9381

                                              maintenance receptors across the entire                 States Court of Appeals for the District                Subpart F—California
                                              geographic area covered by this final                   of Columbia Circuit by April 14, 2023.
                                              action.338 The EPA has also evaluated                                                                           ■ 4. Section 52.223 is amended by
                                                                                                      List of Subjects in 40 CFR Part 52                      adding paragraph (p)(7) to read as
                                              each state’s arguments for the use of
                                              alternative approaches or alternative                     Environmental protection, Air                         follows:
                                              sets of data with an eye to ensuring                    pollution control, Incorporation by
                                                                                                      reference, Ozone.                                       § 52.223    Approval status.
                                              national consistency and avoiding
                                              inconsistent or inequitable results                                                                             *     *    *     *      *
                                                                                                      Michael S. Regan,                                         (p) * * *
                                              among upwind states (i.e., those states
                                                                                                      Administrator.                                            (7) The interstate transport
                                              for which good neighbor obligations are
                                              being evaluated in this action) and                       For the reasons set forth in the                      requirements for Significant
                                              between upwind and downwind states                      preamble, 40 CFR part 52 is amended as                  Contribution to Nonattainment (Prong 1)
                                              (i.e., those states that contain receptors              follows:                                                and Interstate Transport—Interference
                                              signifying ozone nonattainment or                                                                               with Maintenance (Prong 2) of Clean Air
                                                                                                      PART 52—APPROVAL AND                                    Act (CAA) section 110(a)(2)(D)(i)(I).
                                              maintenance problems).
                                                                                                      PROMULGATION OF                                         ■ 5. Section 52.283 is amended by
                                                 The Administrator finds that this is a               IMPLEMENTATION PLANS
                                              matter on which national uniformity in                                                                          adding paragraph (h) to read as follows:
                                              judicial resolution of any petitions for                ■ 1. The authority citation for part 52                 § 52.283    Interstate Transport.
                                              review is desirable, to take advantage of               continues to read as follows:
                                              the D.C. Circuit’s administrative law                                                                           *     *    *       *    *
                                                                                                          Authority: 42 U.S.C. 7401 et seq.                     (h) 2015 ozone NAAQS. The 2018
                                              expertise, and to facilitate the orderly
                                              development of the basic law under the                                                                          Infrastructure SIP Revision, submitted
                                                                                                      Subpart B—Alabama                                       on October 1, 2018, does not meet the
                                              Act. The Administrator also finds that
                                              consolidated review of this action in the               ■ 2. Section 52.56 is added to read as                  following specific requirements of Clean
                                              D.C. Circuit will avoid piecemeal                       follows:                                                Air Act section 110(a)(2)(D)(i)(I) for the
                                              litigation in the regional circuits, further                                                                    2015 ozone national ambient air quality
                                              judicial economy, and eliminate the risk                § 52.56     Control strategy: Ozone.                    standards (NAAQS).
                                              of inconsistent results for different                     (a) The state implementation plan                       (1) The requirements of CAA section
                                              states, and that a nationally consistent                (SIP) revision submitted on June 21,                    110(a)(2)(D)(i)(I) regarding significant
                                              approach to the CAA’s mandate                           2022, addressing Clean Air Act section                  contribution to nonattainment of the
                                              concerning interstate transport of ozone                110(a)(2)(D)(i)(I) (prongs 1 and 2) for the             2015 ozone NAAQS in any other State
                                              pollution constitutes the best use of                   2015 ozone national ambient air quality                 and interference with maintenance of
                                              agency resources. The EPA’s responses                   standards (NAAQS) is disapproved.                       the 2015 ozone NAAQS by any other
                                              to comments on the appropriate venue                      (b) [Reserved]                                        State.
                                              for petitions for review are contained in                                                                         (2) [Reserved]
                                              the RTC document.                                       Subpart E—Arkansas
                                                                                                                                                              Subpart O—Illinois
                                                 For these reasons, this final action is              ■ 3. Section 52.174 is amended by
                                              nationally applicable or, alternatively,                adding paragraph (b) to read as follows:                ■ 6. Section 52.720 is amended in the
                                              the Administrator is exercising the                                                                             table in paragraph (e), under the
                                              complete discretion afforded to him by                  § 52.174        Control strategy and regulations:       heading ‘‘Section 110(a)(2)
                                              the CAA and finds that this final action                Ozone.
                                                                                                                                                              Infrastructure Requirements,’’ by
                                              is based on a determination of                          *      *    *    *      *                               revising the entry for ‘‘2015 Ozone
                                              nationwide scope or effect for purposes                    (b) The portion of the SIP submittal                 NAAQS Infrastructure Requirements’’ to
                                              of CAA section 307(b)(1) and is                         from October 10, 2019, addressing Clean                 read as follows:
                                              publishing that finding in the Federal                  Air Act section 110(a)(2)(D)(i)(I) for the
                                              Register. Under section 307(b)(1) of the                2015 ozone national ambient air quality                 § 52.720    Identification of plan.
                                              CAA, petitions for judicial review of                   standards (NAAQS) is disapproved.                       *       *    *        *     *
                                              this action must be filed in the United                                                                             (e) * * *

                                                                         EPA-APPROVED ILLINOIS NONREGULATORY AND QUASI-REGULATORY PROVISIONS
                                                                                      Applicable
                                                                                      geographic            State
                                                   Name of SIP provision                or non-           submittal             EPA approval date                                   Comments
                                                                                      attainment            date
                                                                                         area


                                                        *                       *                         *                      *                       *                      *                     *

                                                                                                     Section 110(a)(2) Infrastructure Requirements
khammond on DSKJM1Z7X2PROD with RULES2




                                                338 In the report on the 1977 Amendments that         the ‘‘nationwide scope or effect’’ exception applies    H.R. Rep. No. 95–294 at 323, 324, reprinted in 1977
                                              revised section 307(b)(1) of the CAA, Congress          would be appropriate for any action that has a          U.S.C.C.A.N. 1402–03.
                                              noted that the Administrator’s determination that       scope or effect beyond a single judicial circuit. See



                                         VerDate Sep<11>2014   17:17 Feb 10, 2023   Jkt 259001   PO 00000     Frm 00047   Fmt 4701   Sfmt 4700   E:\FR\FM\13FER2.SGM   13FER2
                                                                    Case: 23-60069                     Document: 110                    Page: 51           Date Filed: 03/27/2023
                                              9382               Federal Register / Vol. 88, No. 29 / Monday, February 13, 2023 / Rules and Regulations

                                                                  EPA-APPROVED ILLINOIS NONREGULATORY AND QUASI-REGULATORY PROVISIONS—Continued
                                                                                        Applicable
                                                                                        geographic            State
                                                   Name of SIP provision                  or non-           submittal             EPA approval date                                    Comments
                                                                                        attainment            date
                                                                                           area

                                                       *                 *                                *                        *                *                             *                    *
                                              2015 Ozone NAAQS Infrastruc-             Statewide ...    5/16/2019           2/13/2023, [INSERT FEDERAL          All CAA infrastructure elements under
                                                ture Requirements.                                        and 9/22/           REGISTER CITATION].                  110(a)(2) have been approved except
                                                                                                          2020.                                                    (D)(i)(I) Prongs 1, 2, which are disapproved,
                                                                                                                                                                   and no action has been taken on (D)(i)(II)
                                                                                                                                                                   Prong 4.



                                              Subpart P—Indiana                                         Requirements for the 2015 Ozone                         § 52.770    Identification of plan.
                                                                                                        NAAQS’’ after the entry for ‘‘Section                   *       *    *         *    *
                                              ■ 7. Section 52.770 is amended in the                     110(a)(2) Infrastructure Requirements
                                                                                                                                                                    (e) * * *
                                              table in paragraph (e) by adding an entry                 for the 2008 8-Hour Ozone NAAQS’’ to
                                              for ‘‘Section 110(a)(2) Infrastructure                    read as follows:

                                                                  EPA-APPROVED INDIANA NONREGULATORY PROVISIONS AND QUASI-REGULATORY PROVISIONS
                                                                 Title                      Indiana date                    EPA approval                                          Explanation


                                                       *                     *                              *                   *                          *                        *             *
                                              Section 110(a)(2) Infrastructure Re-            11/2/2018         2/13/2023, [INSERT FEDERAL               All CAA infrastructure elements have been approved
                                                quirements for the 2015 Ozone                                     REGISTER CITATION].                       except (D)(i)(I) Prongs 1 and 2, which are dis-
                                                NAAQS.                                                                                                      approved, and no action has been taken on the
                                                                                                                                                            visibility portion of (D)(i)(II).

                                                         *                        *                         *                      *                       *                       *                   *



                                              Subpart S—Kentucky                                        § 52.996        Disapprovals.                           intended to address the Clean Air Act
                                                                                                        *     *    *     *     *                                (CAA) section 110(a)(2)(D)(i)(I)
                                              ■ 8. Section 52.930 is amended by                                                                                 interstate transport requirements for the
                                                                                                          (b) The SIP submittal from November
                                              adding paragraph (n) to read as follows:                                                                          2015 8-hour ozone national ambient air
                                                                                                        13, 2019, addressing Clean Air Act
                                              § 52.930       Control strategy: Ozone.                   section 110(a)(2)(D)(i)(I) for the 2015                 quality standard (NAAQS).
                                              *     *    *       *    *                                 ozone NAAQS is disapproved.
                                                                                                                                                                Subpart X—Michigan
                                                (n) Disapproval. The state
                                              implementation plan (SIP) revision                        Subpart V—Maryland
                                                                                                                                                                ■ 11. Section 52.1170 is amended in the
                                              submitted on January 11, 2019,                                                                                    table in paragraph (e), under the
                                              addressing Clean Air Act section                          ■ 10. Section 52.1076 is amended by
                                                                                                        adding paragraph (gg) to read as follows:               heading ‘‘Infrastructure,’’ by revising the
                                              110(a)(2)(D)(i)(I) (prongs 1 and 2) for the                                                                       entry for ‘‘Section 110(a)(2)
                                              2015 ozone national ambient air quality                   § 52.1076 Control strategy plans for                    infrastructure requirements for the 2015
                                              standards (NAAQS) is disapproved.                         attainment and rate-of-progress: Ozone.                 ozone NAAQS’’ to read as follows:
                                                                                                        *     *    *    *     *
                                              Subpart T—Louisiana                                                                                               § 52.1170    Identification of plan.
                                                                                                          (gg) Disapproval. EPA is disapproving
                                              ■ 9. Section 52.996 is amended by                         Maryland’s October 16, 2019, State                      *       *    *         *    *
                                              adding paragraph (b) to read as follows:                  Implementation Plan (SIP) revision                          (e) * * *

                                                                         EPA-APPROVED MICHIGAN NONREGULATORY AND QUASI-REGULATORY PROVISIONS
                                                                                        Applicable
                                                                                        geographic            State
                                                   Name of nonregulatory                  or non-           submittal             EPA approval date                                    Comments
                                                      SIP provision                     attainment            date
                                                                                           area
khammond on DSKJM1Z7X2PROD with RULES2




                                                         *                        *                         *                      *                       *                       *                   *

                                                                                                                             Infrastructure




                                         VerDate Sep<11>2014     17:17 Feb 10, 2023   Jkt 259001   PO 00000     Frm 00048   Fmt 4701   Sfmt 4700   E:\FR\FM\13FER2.SGM   13FER2
                                                                  Case: 23-60069                     Document: 110                   Page: 52            Date Filed: 03/27/2023
                                                               Federal Register / Vol. 88, No. 29 / Monday, February 13, 2023 / Rules and Regulations                                                    9383

                                                               EPA-APPROVED MICHIGAN NONREGULATORY AND QUASI-REGULATORY PROVISIONS—Continued
                                                                                      Applicable
                                                                                      geographic            State
                                                   Name of nonregulatory                or non-           submittal             EPA approval date                                   Comments
                                                      SIP provision                   attainment            date
                                                                                         area

                                                       *                     *                            *                      *                *                              *                       *
                                              Section 110(a)(2) infrastructure       Statewide ...            3/8/2019    2/13/2023, [INSERT FEDERAL          Approved CAA elements: 110(a)(2)(A), (B),
                                                requirements for the 2015                                                   REGISTER CITATION].                 (C), (D)(i)(II) Prong 3, D(ii), (E)(i), (F), (G),
                                                ozone NAAQS.                                                                                                    (H), (J), (K), (L), and (M).
                                                                                                                                                              Disapproved CAA elements: 110(a)(2)(D)(i)(I)
                                                                                                                                                                Prongs 1 and 2, and 110(a)(2)(D)(i)(II) Prong
                                                                                                                                                                4. No action on CAA element
                                                                                                                                                                110(1)(2)(E)(ii).

                                                        *                       *                         *                      *                       *                      *                    *



                                              Subpart Y—Minnesota                                     entry for ‘‘Section 110(a)(2)                           § 52.1220    Identification of plan.
                                                                                                      Infrastructure Requirements for the 2015                *       *    *        *     *
                                              ■ 12. Section 52.1220 is amended in the                 Ozone NAAQS’’ to read as follows:
                                              table in paragraph (e) by revising the                                                                              (e) * * *

                                                                                        EPA-APPROVED MINNESOTA NONREGULATORY PROVISIONS
                                                                                      Applicable            State
                                                                                      geographic          submittal
                                                   Name of nonregulatory                or non-             date/              EPA approved date                                    Comments
                                                      SIP provision                   attainment          effective
                                                                                         area               date


                                                       *                     *                            *                      *                *                           *                      *
                                              Section 110(a)(2) Infrastructure       Statewide ...         10/1/2018      2/13/2023, [INSERT FEDERAL          Fully approved for all CAA elements except
                                                Requirements for the 2015                                                   REGISTER CITATION].                 transport elements of (D)(i)(I) Prong 2, which
                                                Ozone NAAQS.                                                                                                    are disapproved, and no action has been
                                                                                                                                                                taken on the visibility protection require-
                                                                                                                                                                ments of (D)(i)(II).



                                              Subpart Z—Mississippi                                   disapproved for section 110(a)(2)(D)(i)(I)              the CAA infrastructure requirements of
                                                                                                      (prongs 1 and 2).                                       section 110(a)(2) for the 2015 8-hour
                                              ■ 13. Section 52.1273 is amended by                       (2) [Reserved]                                        ozone NAAQS, is disapproved for
                                              adding paragraph (b) read as follows:                                                                           section 110(a)(2)(D)(i)(I) (prongs 1 and
                                                                                                      Subpart DD—Nevada                                       2).
                                              § 52.1273     Control strategy: Ozone.
                                                                                                      ■ 15. Section 52.1472 is amended by                       (2) [Reserved]
                                              *     *    *       *    *
                                                                                                      adding paragraph (k) to read as follows:                  (d) [Reserved]
                                                (b) Disapproval. The state
                                              implementation plan (SIP) revision                      § 52.1472       Approval status.                        Subpart HH—New York
                                              submitted on September 3, 2019,
                                                                                                      *     *     *    *     *
                                              addressing Clean Air Act section                          (k) 2015 8-hour ozone NAAQS. The                      ■ 17. Section 52.1683 is amended by
                                              110(a)(2)(D)(i)(I) (prongs 1 and 2) for the             SIP submittal from October 1, 2018, is                  adding paragraph (v) to read as follows:
                                              2015 ozone national ambient air quality                 disapproved for Clean Air Act (CAA)
                                              standards (NAAQS) is disapproved.                                                                               § 52.1683    Control strategy: Ozone.
                                                                                                      section 110(a)(2)(D)(i)(I) (prongs 1 and                *     *     *    *     *
                                              Subpart AA—Missouri                                     2) for the NDEP, Clark County, and
                                                                                                      Washoe County portions of the Nevada                      (v) Disapproval. The portion of the
                                                                                                      SIP submission.                                         SIP revision submitted on September
                                              ■ 14. Section 52.1323 is amended by                                                                             25, 2018, addressing Clean Air Act
                                              adding paragraph (p) to read as follows:                                                                        section 110(a)(2)(D)(i)(I) (prongs 1 and
                                                                                                      Subpart FF—New Jersey
                                              § 52.1323     Approval status.                                                                                  2) for the 2015 ozone NAAQS is
                                                                                                      ■ 16. Section 52.1586 is amended by                     disapproved.
                                              *     *     *    *    *
                                                                                                      adding paragraph (c) and reserved
                                                (p) For the 2015 8-hour ozone                                                                                 Subpart KK—Ohio
khammond on DSKJM1Z7X2PROD with RULES2




                                                                                                      paragraph (d) to read as follows:
                                              NAAQS:
                                                (1) Disapproval. Missouri state                       § 52.1586 Section 110(a)(2) infrastructure              ■  18. Section 52.1870 is amended in the
                                              implementation plan (SIP) revision                      requirements.                                           table in paragraph (e), under
                                              submitted on June 10, 2019, to address                  *     *    *    *    *                                  ‘‘Infrastructure Requirements,’’ by
                                              the Clean Air Act (CAA) infrastructure                    (c) 2015 8-hour ozone NAAQS—(1)                       revising the entry for ‘‘Section 110(a)(2)
                                              requirements of section 110(a)(2) for the               Disapproval. New Jersey SIP revision                    infrastructure requirements for the 2015
                                              2015 8-hour ozone NAAQS, is                             submitted on May 13, 2019, to address                   ozone NAAQS’’ to read as follows:


                                         VerDate Sep<11>2014   17:17 Feb 10, 2023   Jkt 259001   PO 00000     Frm 00049   Fmt 4701   Sfmt 4700   E:\FR\FM\13FER2.SGM   13FER2
                                                                       Case: 23-60069                  Document: 110                    Page: 53           Date Filed: 03/27/2023
                                              9384               Federal Register / Vol. 88, No. 29 / Monday, February 13, 2023 / Rules and Regulations

                                              § 52.1870      Identification of plan.                        (e) * * *
                                              *      *       *         *    *

                                                                            EPA-APPROVED OHIO NONREGULATORY AND QUASI-REGULATORY PROVISIONS
                                                                                        Applicable
                                                                                        geographic
                                                               Title                      or non-        State date                    EPA approval                                   Comments
                                                                                        attainment
                                                                                           area


                                                         *                        *                         *                      *                       *                      *                    *

                                                                                                                    Infrastructure Requirements


                                                       *                     *                              *                      *                *                              *                    *
                                              Section 110(a)(2) infrastructure         Statewide ...         9/28/2018      2/13/2023, [INSERT FEDERAL          Approved CAA elements: 110(a)(2)(A), (B),
                                                requirements for the 2015                                                     REGISTER CITATION].                 (C), (D)(i)(II) prongs 3 and 4, (E), (F), (G),
                                                ozone NAAQS.                                                                                                      (H), (J), (K), (L), and (M). Elements (D)(i)(I)
                                                                                                                                                                  prongs 1 and 2 are disapproved.

                                                         *                        *                         *                      *                       *                      *                    *



                                              Subpart LL—Oklahoma                                       Subpart SS—Texas                                        110(a)(2)(D)(i)(I) for the 2015 ozone
                                                                                                                                                                NAAQS is disapproved.
                                              ■ 19. Section 52.1922 is amended by                       ■ 20. Section 52.2275 is amended by:
                                                                                                        ■ a. Removing the first paragraph (m);                  Subpart XX—West Virginia
                                              adding paragraph (c) to read as follows:
                                                                                                        and                                                     ■ 21. Section 52.2520 is amended in the
                                              § 52.1922      Approval status.
                                                                                                        ■ b. Adding paragraph (o).                              table in paragraph (e) by adding the
                                              *      *    *     *     *                                   The addition reads as follows:                        entry ‘‘Section 110(a)(2) Infrastructure
                                                 (c) The portion of the SIP submittal                                                                           Requirements for the 2015 8-Hour
                                                                                                        § 52.2275 Control strategy and
                                              from October 25, 2018, addressing Clean                                                                           Ozone NAAQS’’ at the end of the table
                                                                                                        regulations: Ozone.
                                              Air Act section 110(a)(2)(D)(i)(I) for the                                                                        to read as follows:
                                              2015 ozone national ambient air quality                   *     *    *     *   *
                                                                                                          (o) Disapproval. The portion of the                   § 52.2520    Identification of plan.
                                              standards (NAAQS) is disapproved.
                                                                                                        SIP submittal from September 12, 2018,                  *       *    *        *    *
                                                                                                        addressing Clean Air Act section                            (e) * * *

                                                                                        Applicable            State
                                                   Name of non-regulatory               geographic          submittal             EPA approval date                          Additional explanation
                                                       SIP revision                        area               date


                                                       *                     *                              *                      *                *                           *                    *
                                              Section 110(a)(2) Infrastructure         Statewide ...            2/4/2019    2/13/2023, [INSERT FEDERAL          Disapproval—EPA is disapproving West Vir-
                                                Requirements for the 2015 8-                                                  REGISTER CITATION].                 ginia’s February 4, 2019, State Implementa-
                                                Hour Ozone NAAQS.                                                                                                 tion Plan (SIP) revision intended to address
                                                                                                                                                                  the CAA section 110(a)(2)(D)(i)(I) interstate
                                                                                                                                                                  transport requirements for the 2015 8-hour
                                                                                                                                                                  ozone national ambient air quality standard
                                                                                                                                                                  (NAAQS).



                                              Subpart YY—Wisconsin                                        (l) Partial approval/disapproval. In a                EPA did not take action on any other
                                                                                                        September 14, 2018, submission, WDNR                    elements. We will address the
                                              ■ 22. Section 52.2591 is amended by                       certified that the State has satisfied the              remaining requirements in a separate
                                              adding paragraph (l) to read as follows:                  infrastructure SIP requirements of                      action.
                                                                                                        section 110(a)(2)(A) through (H), and (J)               [FR Doc. 2023–02407 Filed 2–10–23; 8:45 am]
                                              § 52.2591 Section 110(a)(2) infrastructure
                                              requirements.
                                                                                                        through (M) for the 2015 ozone NAAQS.
                                                                                                                                                                BILLING CODE 6560–50–P
                                                                                                        For section 110(a)(2)(D)(i)(I), prong 1 is
                                              *      *       *         *    *                           approved and prong 2 is disapproved.
khammond on DSKJM1Z7X2PROD with RULES2




                                         VerDate Sep<11>2014     17:17 Feb 10, 2023   Jkt 259001   PO 00000     Frm 00050   Fmt 4701   Sfmt 9990   E:\FR\FM\13FER2.SGM   13FER2
      Case: 23-60069     Document: 110    Page: 54   Date Filed: 03/27/2023




                                  EXHIBIT 2

EPA, Proposed Rule, Air Plan Disapproval; Arkansas, Louisiana, Oklahoma, and

Texas; Interstate Transport of Air Pollution for the 2015 8-Hour Ozone National

Ambient Air Quality Standards, 87 Fed. Reg. 9798 (Feb. 22, 2022)
                                                                    Case: 23-60069                    Document: 110                  Page: 55            Date Filed: 03/27/2023
                                                9798                  Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules

                                                ENVIRONMENTAL PROTECTION                                personal information provided. For                    Docket No. EPA–HQ–OAR–2021–0663
                                                AGENCY                                                  detailed instructions on sending                      contains additional modeling files,
                                                                                                        comments and additional information                   emissions inventory files, technical
                                                40 CFR Part 52                                          on the rulemaking process, see the                    support documents, and other relevant
                                                [EPA–R06–OAR–2021–0801, EPA–HQ–                         ‘‘Public Participation’’ heading of the               supporting documentation regarding
                                                OAR–2021–0663; FRL–9338–01–R6]                          SUPPLEMENTARY INFORMATION section of                  interstate transport of emissions for the
                                                                                                        this document. Out of an abundance of                 2015 8-hour ozone NAAQS which are
                                                Air Plan Disapproval; Arkansas,                         caution for members of the public and                 being used to support this action,
                                                Louisiana, Oklahoma, and Texas;                         our staff, the EPA Docket Center and                  including Preparation of Emissions
                                                Interstate Transport of Air Pollution for               Reading Room are open to the public by                Inventories for the 2016v2 North
                                                the 2015 8-Hour Ozone National                          appointment only to reduce the risk of                American Emissions Modeling Platform,
                                                Ambient Air Quality Standards                           transmitting COVID–19. Our Docket                     and Air Quality Modeling TSD for 2015
                                                                                                        Center staff also continues to provide                ozone NAAQS Transport SIP Proposed
                                                AGENCY:  Environmental Protection                       remote customer service via email,
                                                Agency (EPA).                                                                                                 Actions. All comments regarding
                                                                                                        phone, and webform. For further                       information in either of these dockets
                                                ACTION: Proposed rule.                                  information on the EPA Docket Center                  are to be made in Docket No. EPA–R06–
                                                SUMMARY:    Pursuant to the Federal Clean               services and the current status, please               OAR–2021–0801. For additional
                                                Air Act (CAA or the Act), the                           visit us online at https://www.epa.gov/               submission methods, please contact
                                                Environmental Protection Agency (EPA                    dockets.                                              Sherry Fuerst, 214–665–6454,
                                                or Agency) is proposing to disapprove                   FOR FURTHER INFORMATION CONTACT:                      fuerst.sherry@epa.gov. For the full EPA
                                                State Implementation Plan (SIP)                         Sherry Fuerst, EPA Region 6 Office, AR–               public comment policy, information
                                                submittals from Arkansas, Louisiana,                    SI, 214–665–6454, fuerst.sherry@                      about CBI or multimedia submissions,
                                                Oklahoma and Texas regarding                            epa.gov. We encourage the public to                   and general guidance on making
                                                interstate transport for the 2015 8-hour                submit comments via https://                          effective comments, please visit https://
                                                ozone national ambient air quality                      www.regulations.gov, as there will be a               www.epa.gov/dockets/commenting-epa-
                                                standard (NAAQS). This provision                        delay in processing mail and no courier               dockets. Due to public health concerns
                                                requires that each state’s SIP contain                  or hand deliveries will be accepted.                  related to COVID–19, the EPA Docket
                                                adequate provisions to prohibit                         Please call or email the contact above if             Center and Reading Room are open to
                                                emissions from within the state from                    you need alternative access to material               the public by appointment only. Our
                                                significantly contributing to                           indexed but not provided in the docket.               Docket Center staff also continues to
                                                nonattainment or interfering with                       SUPPLEMENTARY INFORMATION: Public                     provide remote customer service via
                                                maintenance of the NAAQS in other                       Participation: Submit your comments,                  email, phone, and webform. For further
                                                states. The ‘‘good neighbor’’ or                        identified by Docket ID No. EPA–R06–                  information and updates on EPA Docket
                                                ‘‘interstate transport’’ requirement is                 OAR–2021–0801, at https://                            Center services, please visit us online at
                                                part of the broader set of                              www.regulations.gov (our preferred                    https://www.epa.gov/dockets.
                                                ‘‘infrastructure’’ requirements, which                  method), or the other methods                            The EPA continues to carefully and
                                                are designed to ensure that the                         identified in the ADDRESSES section.                  continuously monitor information from
                                                structural components of each state’s air               Once submitted, comments cannot be                    the Centers for Disease Control and
                                                quality management program are                          edited or removed from the docket. The                Prevention (CDC), local area health
                                                adequate to meet the state’s                            EPA may publish any comment received                  departments, and our Federal partners
                                                responsibilities under the CAA. This                    to its public docket. Do not submit to                so that we can respond rapidly as
                                                disapproval, if finalized, will establish a             the EPA’s docket at https://                          conditions change regarding COVID–19.
                                                2-year deadline for the EPA to                          www.regulations.gov any information                      The index to the dockets for this
                                                promulgate a Federal Implementation                     you consider to be Confidential                       action, Docket No. EPA–R06–OAR–
                                                Plan (FIP) to address the relevant                      Business Information (CBI) or other                   2021–0801 and EPA–HQ–OAR–2021–
                                                interstate transport requirements, unless               information whose disclosure is                       0663, are available electronically at
                                                the EPA approves a subsequent SIP                       restricted by statute. Multimedia                     https://www.regulations.gov. While all
                                                submittal that meets these requirements.                submissions (audio, video, etc.) must be              documents in the docket are listed in
                                                Disapproval does not start a mandatory                  accompanied by a written comment.                     the index, some information may not be
                                                sanctions clock.                                        The written comment is considered the                 publicly available due to docket file size
                                                DATES: Written comments must be                         official comment and should include                   restrictions or content (e.g., CBI).
                                                received on or before April 25, 2022.                   discussion of all points you wish to                     Throughout this document, ‘‘we,’’
                                                ADDRESSES: You may send comments,                       make. The EPA will generally not                      ‘‘us,’’ and ‘‘our’’ means the EPA.
                                                identified as Docket No. EPA–R06–                       consider comments or comment
                                                OAR–2021–0801, by any of the                            contents located outside of the primary               Table of Contents
                                                following methods: Federal                              submission (i.e., on the web, cloud, or               I. Background
                                                eRulemaking Portal at https://                          other file sharing system).                              A. Description of Statutory Background
                                                www.regulations.gov following the                          There are two dockets supporting this                 B. Description of the EPA’s 4-Step
                                                online instructions for submitting                      action, EPA–R06–OAR–2021–0801 and                           Interstate Transport Regulatory Process
                                                comments or via email to fuerst.sherry@                 EPA–HQ–OAR–2021–0663. Docket No.                         C. Background on the EPA’s Ozone
                                                                                                        EPA–R06–OAR–2021–0801 contains                              Transport Modeling Information
lotter on DSK11XQN23PROD with PROPOSALS2




                                                epa.gov. Include Docket ID No. EPA–
                                                R06–OAR–2021–0801 in the subject line                   information specific to Arkansas,                        D. The EPA’s Approach to Evaluating
                                                                                                        Louisiana, Oklahoma, and Texas,                             Interstate Transport SIPs for the 2015
                                                of the message.                                                                                                     Ozone NAAQS
                                                   Instructions: All comments submitted                 including the notice of proposed                         1. Selection of Analytic Year
                                                must include the Docket ID No. for this                 rulemaking, submittals from the states,                  2. Step 1 of the 4-Step Interstate Transport
                                                rulemaking. Comments received may be                    and the EPA Region 6 2015 8-Hour                            Framework
                                                posted without change to https://                       Ozone Transport SIP Proposal Technical                   3. Step 2 of the 4-Step Interstate Transport
                                                www.regulations.gov/, including any                     Support Document (EPA Region 6 TSD).                        Framework



                                           VerDate Sep<11>2014   20:06 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00002   Fmt 4701   Sfmt 4702   E:\FR\FM\22FEP2.SGM   22FEP2
                                                                    Case: 23-60069                    Document: 110                  Page: 56            Date Filed: 03/27/2023
                                                                      Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules                                                     9799

                                                   4. Step 3 of the 4-Step Interstate Transport           3. Results of the EPA’s Step 1 and Step 2            addressing the interstate transport
                                                      Framework                                              Modeling and Findings for Texas                   provision for the 2015 ozone NAAQS.
                                                   5. Step 4 of the 4-Step Interstate Transport           4. Evaluation of Information Provided by             The EPA has addressed the interstate
                                                      Framework                                              TCEQ Regarding Step 3
                                                II. Arkansas SIP Submission Addressing                    5. Evaluation of Information Provided by
                                                                                                                                                               transport requirements of CAA section
                                                      Interstate Transport of Air Pollution for              TCEQ Regarding Step 4                             110(a)(2)(D)(i)(I) with respect to prior
                                                      the 2015 Ozone NAAQS and the EPA                    6. Conclusion                                        ozone NAAQS in several regional
                                                      Evaluation of the SIP Submission                  VI. Proposed Action                                    regulatory actions, including the Cross-
                                                   A. Summary of ADEQ SIP Submission                    VII. Statutory and Executive Order Reviews             State Air Pollution Rule (CSAPR),
                                                      Addressing Interstate Transport of Air                                                                   which addressed interstate transport
                                                      Pollution for the 2015 Ozone NAAQS                I. Background
                                                                                                                                                               with respect to the 1997 ozone NAAQS
                                                   B. EPA Evaluation of the ADEQ SIP                    A. Description of Statutory Background                 as well as the 1997 and 2006 fine
                                                      Submission
                                                   1. Evaluation of Information Provided by               On October 1, 2015, the EPA                          particulate matter standards,4 and the
                                                      ADEQ Regarding Step 1                             promulgated a revision to the 2015 8-                  Cross-State Air Pollution Rule Update
                                                   2. Evaluation of Information Provided by             hour ozone NAAQS (2015 ozone                           (CSAPR Update) 5 and the Revised
                                                      ADEQ Regarding Step 2                             NAAQS), lowering the level of both the                 CSAPR Update, both of which
                                                   3. Results of the EPA’s Step 1 and Step 2            primary and secondary standards to                     addressed the 2008 ozone NAAQS.6
                                                      Modeling and Findings for Arkansas                                                                          Through the development and
                                                                                                        0.070 parts per million (ppm).1 Section
                                                   4. Evaluation of Information Provided by                                                                    implementation of the CSAPR
                                                      ADEQ Regarding Step 3                             110(a)(1) of the CAA requires states to
                                                   5. Evaluation of Information Provided by             submit, within 3 years after                           rulemakings and prior regional
                                                      ADEQ Regarding Step 4                             promulgation of a new or revised                       rulemakings pursuant to the interstate
                                                   6. Conclusion                                        standard, SIP submissions meeting the                  transport provision,7 the EPA, working
                                                III. Louisiana SIP Submission Addressing                applicable requirements of section                     in partnership with states, developed
                                                      Interstate Transport of Air Pollution for         110(a)(2).2 One of these applicable                    the following 4-Step framework to
                                                      the 2015 Ozone NAAQS and the EPA                  requirements is found in CAA section                   evaluate a state’s obligations to
                                                      Evaluation of the SIP Submission                                                                         eliminate interstate transport emissions
                                                   A. Summary of LDEQ SIP Submission
                                                                                                        110(a)(2)(D)(i)(I), otherwise known as
                                                      Addressing Interstate Transport of Air            the ‘‘interstate transport’’ or ‘‘good                 under the interstate transport provision
                                                      Pollution for the 2015 Ozone NAAQS                neighbor’’ provision, which generally                  for the ozone NAAQS: (1) Identify
                                                   B. EPA Evaluation of the LDEQ SIP                    requires SIPs to contain adequate                      monitoring sites that are projected to
                                                      Submission                                        provisions to prohibit in-state emissions              have problems attaining and/or
                                                   1. Evaluation of Information Provided by             activities from having certain adverse                 maintaining the NAAQS (i.e.,
                                                      LDEQ Regarding Steps 1 and 2                      air quality effects on other states due to             nonattainment and/or maintenance
                                                   2. Results of the EPA’s Step 1 and Step 2            interstate transport of pollution. There               receptors); (2) identify states that impact
                                                      Modeling and Findings for Louisiana                                                                      those air quality problems in other (i.e.,
                                                                                                        are two requirements, often referred to
                                                   3. Evaluation of Information Provided by
                                                      LDEQ Regarding Step 3                             as ‘‘prongs’’ within CAA section                       downwind) states sufficiently such that
                                                   4. Evaluation of Information Provided by             110(a)(2)(D)(i)(I). A SIP for a new or                 the states are considered ‘‘linked’’ and
                                                      LDEQ Regarding Step 4                             revised NAAQS must contain adequate                    therefore warrant further review and
                                                   5. Conclusion                                        provisions prohibiting any source or                   analysis; (3) identify the emissions
                                                IV. Oklahoma SIP Submission Addressing                  other type of emissions activity within                reductions necessary (if any), applying a
                                                      Interstate Transport of Air Pollution for         the state from emitting air pollutants in              multifactor analysis, to eliminate each
                                                      the 2015 Ozone NAAQS and the EPA                  amounts that will significantly                        linked upwind state’s significant
                                                      Evaluation of the SIP Submission                  contribute to nonattainment of the                     contribution to nonattainment or
                                                   A. Summary of ODEQ SIP Submission
                                                                                                        NAAQS in another state (prong 1) or                    interference with maintenance of the
                                                      Addressing Interstate Transport of Air
                                                      Pollution for the 2015 Ozone NAAQS                interfere with maintenance of the                      NAAQS at the locations identified in
                                                   B. EPA Evaluation of the ODEQ SIP                    NAAQS in another state (prong 2). The                  Step 1; and (4) adopt permanent and
                                                      Submission                                        EPA and states must give independent                   enforceable measures needed to achieve
                                                   1. Evaluation of Information Provided by             significance to prong 1 and prong 2                    those emissions reductions.
                                                      ODEQ Regarding Steps 1 and 2                      when evaluating downwind air quality
                                                   2. Results of the EPA’s Step 1 and Step 2            problems under CAA section                                4 See ‘‘Federal Implementation Plans: Interstate
                                                      Modeling and Findings for Oklahoma                110(a)(2)(D)(i)(I).3                                   Transport of Fine Particulate Matter and Ozone and
                                                   3. Evaluation of Information Provided by                                                                    Correction of SIP Approvals’’, 76 FR 48208 (Aug.
                                                      ODEQ Regarding Step 3                             B. Description of the EPA’s 4-Step                     8, 2011).
                                                   4. Evaluation of Information Provided by             Interstate Transport Regulatory Process                   5 See ‘‘Cross-State Air Pollution Rule Update for

                                                      ODEQ Regarding Step 4                                                                                    the 2008 Ozone NAAQS’’, 81 FR 74504 (Oct. 26,
                                                   5. Conclusion
                                                                                                           The EPA is using the 4-Step interstate              2016).
                                                   C. Impact on Areas of Indian Country                 transport framework (or 4-Step                            6 In 2019, the D.C. Circuit Court of Appeals

                                                V. Texas SIP Submission Addressing                      framework) described in detail below to                remanded the CSAPR Update to the extent it failed
                                                                                                                                                               to require upwind states to eliminate their
                                                      Interstate Transport of Air Pollution for         evaluate states’ SIP submittals                        significant contribution by the next applicable
                                                      the 2015 Ozone NAAQS and the EPA                                                                         attainment date by which downwind states must
                                                      Evaluation of the SIP Submission                    1 ‘‘National Ambient Air Quality Standards for
                                                                                                                                                               come into compliance with the NAAQS, as
                                                   A. Summary of TCEQ SIP Submission                    Ozone’’, Final Rule, 80 FR 65292 (October 26,          established under CAA section 181(a). Wisconsin v.
                                                      Addressing Interstate Transport of Air            2015). Although the level of the standard is           EPA, 938 F.3d 303, 313 (D.C. Cir. 2019). The
                                                      Pollution for the 2015 Ozone NAAQS                specified in the units of ppm, ozone concentrations    Revised CSAPR Update for the 2008 Ozone
                                                   B. EPA Evaluation of the TCEQ SIP                    are also described in parts per billion (ppb). For     NAAQS, 86 FR 23054 (April 30, 2021), responded
lotter on DSK11XQN23PROD with PROPOSALS2




                                                                                                        example, 0.070 ppm is equivalent to 70 ppb.            to the remand of the CSAPR Update in Wisconsin
                                                      Submission                                          2 SIP revisions that are intended to meet the        and the vacatur of a separate rule, the ‘‘CSAPR
                                                   1. Evaluation of Information Provided by
                                                                                                        applicable requirements of section 110(a)(1) and (2)   Close-Out,’’ 83 FR 65878 (December 21, 2018), in
                                                      TCEQ Regarding Step 1                             of the CAA are often referred to as infrastructure     New York v. EPA, 781 F. App’x. 4 (D.C. Cir. 2019).
                                                   i. Evaluation of TCEQ’s Methodology for              SIPs and the applicable elements under section            7 In addition to the CSAPR rulemakings, other
                                                      Identifying Maintenance Receptors                 110(a)(2) are referred to as infrastructure            regional rulemakings addressing ozone transport
                                                   ii. Evaluation of the TCEQ Modeling                  requirements.                                          include the ‘‘NOX SIP Call,’’ 63 FR 57356 (October
                                                   2. Evaluation of Information Provided by               3 See North Carolina v. EPA, 531 F.3d 896, 909–      27, 1998), and the ‘‘Clean Air Interstate Rule’’
                                                      TCEQ Regarding Step 2                             11 (D.C. Cir. 2008).                                   (CAIR), 70 FR 25162 (May 12, 2005).



                                           VerDate Sep<11>2014   20:06 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00003   Fmt 4701   Sfmt 4702   E:\FR\FM\22FEP2.SGM   22FEP2
                                                                     Case: 23-60069                       Document: 110                Page: 57            Date Filed: 03/27/2023
                                                9800                    Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules

                                                C. Background on the EPA’s Ozone                          2018, we issued a memorandum (March                     collaborative project.15 This
                                                Transport Modeling Information                            2018 memorandum) noting that the                        collaborative project was a multi-year
                                                                                                          same 2023 modeling data released in the                 joint effort by the EPA, MJOs, and states
                                                  In general, the EPA has performed                                                                               to develop a new, more recent emissions
                                                                                                          October 2017 memorandum could also
                                                nationwide air quality modeling to                                                                                platform for use by the EPA and states
                                                                                                          be useful for identifying potential
                                                project ozone design values (DVs) 8                                                                               in regulatory modeling as an
                                                                                                          downwind air quality problems with
                                                which are used in combination with                                                                                improvement over the dated 2011-based
                                                                                                          respect to the 2015 ozone NAAQS at
                                                measured data to identify                                                                                         platform that the EPA had used to
                                                                                                          Step 1 of the 4-Step framework.12 The
                                                nonattainment and maintenance                                                                                     project ozone DVs and contribution data
                                                receptors. To quantify the contribution                   March 2018 memorandum also included
                                                                                                          the then newly available contribution                   provided in the 2017 and 2018
                                                of emissions from specific upwind                                                                                 memoranda. The EPA used the 2016v1
                                                states on 2023 ozone DVs for the                          modeling data to assist states in
                                                                                                          evaluating their impact on potential                    emissions to project ozone DVs and
                                                identified downwind nonattainment                                                                                 contributions for 2023. On October 30,
                                                and maintenance receptors, the EPA                        downwind air quality problems for the
                                                                                                          2015 ozone NAAQS under Step 2 of the                    2020, in the Notice of Proposed
                                                performed nationwide, state-level ozone                                                                           Rulemaking for the Revised CSAPR
                                                source apportionment modeling for                         4-Step framework.13 The EPA
                                                                                                          subsequently issued two more                            Update, the EPA released and accepted
                                                2023. The source apportionment                                                                                    public comment on 2023 modeling that
                                                modeling provided contributions to                        memoranda in August and October
                                                                                                                                                                  used the 2016v1 emissions platform.16
                                                ozone at receptors from precursor                         2018, providing additional information
                                                                                                                                                                  See 85 FR 68964, 68981. Although the
                                                emissions of anthropogenic nitrogen                       to states developing interstate transport
                                                                                                                                                                  Revised CSAPR Update addressed
                                                oxides (NOX) and volatile organic                         SIP submissions for the 2015 ozone
                                                                                                                                                                  transport for the 2008 ozone NAAQS,
                                                compounds (VOCs) in individual                            NAAQS concerning, respectively,
                                                                                                                                                                  the projected DVs and contributions
                                                upwind states.                                            potential contribution thresholds that                  from the 2016v1 platform are also useful
                                                                                                          may be appropriate to apply in Step 2                   for identifying downwind ozone
                                                   The EPA has released several
                                                documents containing projected ozone                      of the 4-Step interstate transport                      problems and linkages with respect to
                                                design values, contributions, and                         framework, and considerations for                       the 2015 ozone NAAQS.17
                                                information relevant to evaluating                        identifying downwind areas that may                        Following the Revised CSAPR Update
                                                interstate transport with respect to the                  have problems maintaining the standard                  final rule, the EPA made further updates
                                                2015 ozone NAAQS. First, on January 6,                    at Step 1 of the 4-Step interstate                      to the 2016 emissions platform to
                                                2017, the EPA published a notice of data                  transport framework.14                                  include mobile emissions from the
                                                availability (NODA) in which we                              Since the release of the modeling data               EPA’s Motor Vehicle Emission
                                                requested comment on preliminary                          shared in the March 2018                                Simulator MOVES3 model 18 and
                                                interstate ozone transport data including                 memorandum, the EPA performed                           updated emissions projections for
                                                projected ozone DVs and interstate                        updated modeling using a 2016-based                     electric generating units (EGUs) that
                                                contributions for 2023 using a 2011 base                  emissions modeling platform (i.e.,                      reflect the emissions reductions from
                                                year platform.9 In the NODA, the EPA                      2016v1). This emissions platform was                    the Revised CSAPR Update, recent
                                                used the year 2023 as the analytic year                   developed under the EPA/Multi-                          information on plant closures, and other
                                                for this preliminary modeling because                     Jurisdictional Organization (MJO)/state                 sector trends. The construct of the
                                                that year aligns with the expected                                                                                updated emissions platform, 2016v2, is
                                                attainment year for Moderate ozone                        interstate-air-pollution-transport/interstate-air-
                                                                                                                                                                  described in the Technical Support
                                                nonattainment areas for the 2015                          pollution-transport-memos-and-notices.                  Document (TSD) Preparation of
                                                NAAQS.10 On October 27, 2017, we                             12 See EPA memorandum, ‘‘Information on the          Emissions Inventories for the 2016v2
                                                released a memorandum (October 2017                       Interstate Transport State Implementation Plan          North American Emissions Modeling
                                                                                                          Submissions for the 2015 Ozone National Ambient         Platform, which is included in Docket
                                                memorandum) containing updated                            Air Quality Standards under Clean Air Act section
                                                modeling data for 2023, which                             110(a)(2)(D)(i)(I)’’, March 27, 2018, (‘‘March 2018     ID No. EPA–HQ–OAR–2021–0663. The
                                                incorporated changes made in response                     memorandum’’) available in Docket ID No. EPA–           EPA performed air quality modeling of
                                                to comments on the NODA, and noted                        HQ–OAR–2021–0663 or at https://www.epa.gov/             the 2016v2 emissions using the most
                                                                                                          interstate-air-pollution-transport/interstate-air-      recent publicly released version of the
                                                that the modeling may be useful for                       pollution-transport-memos-and-notices.
                                                states developing SIPs to address                            13 The March 2018 memorandum, however,
                                                                                                                                                                  Comprehensive Air-quality Model with
                                                interstate transport obligations for the                  provided, ‘‘While the information in this               extensions (CAMx) photochemical
                                                2008 ozone NAAQS.11 On March 27,                          memorandum and the associated air quality               modeling, version 7.10.19 The EPA now
                                                                                                          analysis data could be used to inform the               proposes to rely on the air quality
                                                                                                          development of these SIPs, the information is not
                                                  8 A design value is a statistic that describes the
                                                                                                          a final determination regarding states’ obligations
                                                                                                                                                                  modeling performed using CAMx,
                                                air quality status of a given location relative to the    under the interstate transport provision. Any such      version 7.10, and the newly available
                                                level of the NAAQS. Design values are typically           determination would be made through notice-and-         2016v2 emissions platform in evaluating
                                                used to designate and classify nonattainment areas,       comment rulemaking.’’
                                                as well as to assess progress towards meeting the
                                                                                                                                                                  states’ submissions with respect to Steps
                                                                                                             14 See EPA memorandums, ‘‘Analysis of
                                                NAAQS. See https://www.epa.gov/air-trends/air-            Contribution Thresholds for Use in Clean Air Act          15 The results of this modeling, as well as the
                                                quality-design-values#report.                             section 110(a)(2)(D)(i)(I) Interstate Transport State
                                                  9 See ‘‘Notice of Availability of the Environmental                                                             underlying modeling files, are included in Docket
                                                                                                          Implementation Plan Submissions for the 2015
                                                Protection Agency’s Preliminary Interstate Ozone                                                                  ID No. EPA–HQ–OAR–2021–0663.
                                                                                                          Ozone National Ambient Air Quality Standards’’,           16 See 85 FR 68964, 68981 (Oct. 30, 2020).
                                                Transport Modeling Data for the 2015 8-hour Ozone         August 31, 2018 (‘‘August 2018 memorandum’’),
                                                National Ambient Air Quality Standard (NAAQS)’’,          and ‘‘Considerations for Identifying Maintenance
                                                                                                                                                                    17 See the Air Quality Modeling Technical
lotter on DSK11XQN23PROD with PROPOSALS2




                                                82 FR 1733 (January 6, 2017).                             Receptors for Use in Clean Air Act section              Support Document for the Final Revised Cross-State
                                                  10 82 FR at 1735.
                                                                                                          110(a)(2)(D)(i)(I) Interstate Transport State           Air Pollution Rule Update, available in Docket ID
                                                  11 See EPA memorandum, ‘‘Information on the             Implementation Plan Submissions for the 2015            No. EPA–HQ–OAR–2021–0063 for this action.
                                                                                                                                                                    18 Additional details and documentation related
                                                Interstate Transport State Implementation Plan            Ozone National Ambient Air Quality Standards’’,
                                                Submissions for the 2008 Ozone National Ambient           October 19, 2018 (‘‘October 2018 memorandum’’),         to the MOVES3 model can be found at https://
                                                Air Quality Standards under Clean Air Act section         available in Docket ID No. EPA–HQ–OAR–2021–             www.epa.gov/moves/latest-version-motor-vehicle-
                                                110(a)(2)(D)(i)(I)’’, October 27, 2017, (‘‘October 2017   0663 or at https://www.epa.gov/airmarkets/memo-         emission-simulator-moves.
                                                memorandum’’) available in Docket ID No. EPA–             and-supplemental-information-regarding-interstate-        19 Ramboll Environment and Health, January

                                                HQ–OAR–2021–0663 or at https://www.epa.gov/               transport-sips-2015-ozone-naaqs.                        2021, www.camx.com.



                                           VerDate Sep<11>2014    20:06 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00004   Fmt 4701   Sfmt 4702   E:\FR\FM\22FEP2.SGM    22FEP2
                                                                    Case: 23-60069                    Document: 110                   Page: 58            Date Filed: 03/27/2023
                                                                      Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules                                                     9801

                                                1 and 2 of the 4-Step framework and                     EME Homer City Generation, LP v. EPA,                  definition of nonattainment and
                                                generally referenced within this action                 572 U.S. 489, 519 (2014).                              maintenance receptors, selection of
                                                as 2016v2 modeling for 2023. By using                      In the March, August, and October                   contribution threshold, and multifactor
                                                the updated modeling results, the EPA                   2018 memoranda, the EPA recognized                     control strategy analysis.
                                                is using the most current and                           that states may be able to establish
                                                                                                        alternative approaches to addressing                   1. Selection of Analytic Year
                                                technically appropriate information for
                                                this proposed rulemaking. Sections II–V                 their interstate transport obligations for                In general, the states and the EPA
                                                of this action and the Air Quality                      the 2015 ozone NAAQS that vary from                    must implement the interstate transport
                                                Modeling TSD for 2015 ozone NAAQS                       a nationally uniform framework. The                    provision in a manner ‘‘consistent with
                                                Transport SIP Proposed Actions,                         EPA emphasized in these memoranda,                     the provisions of [title I of the CAA.]’’
                                                included in Docket ID No. EPA–HQ–                       however, that such alternative                         CAA section 110(a)(2)(D)(i). This
                                                OAR–2021–0663 for this proposal,                        approaches must be technically justified               requires, among other things, that these
                                                contain additional detail on the EPA’s                  and appropriate in light of the facts and              obligations are addressed consistently
                                                2016v2 modeling. In this action, the                    circumstances of each particular state’s               with the timeframes for downwind areas
                                                EPA is inviting public comment on this                  submittal. In general, the EPA continues               to meet their CAA obligations. With
                                                updated 2023 modeling, which uses a                     to believe that deviation from a                       respect to ozone NAAQS, under CAA
                                                2016v2 emissions platform. Per the                      nationally consistent approach to ozone                section 181(a), this means obligations
                                                instructions in the Supplementary                       transport must be substantially justified              must be addressed ‘‘as expeditiously as
                                                Information section above, all public                   and have a well-documented technical                   practicable’’ and no later than the
                                                comments, including comments on the                     basis that is consistent with relevant                 schedule of attainment dates provided
                                                EPA’s air quality modeling should be                    case law. Where states submitted SIPs                  in CAA section 181(a)(1).24 Several D.C.
                                                submitted in the Regional docket for                    that rely on any such potential                        Circuit court decisions address the issue
                                                this action, Docket ID No. EPA–R06–                     ‘‘flexibilities’’ as may have been                     of the relevant analytic year for the
                                                OAR–2021–0801. Comments are not                         identified or suggested in the past, the               purposes of evaluating ozone transport
                                                being accepted in Docket No. EPA–HQ–                    EPA will evaluate whether the state                    air quality problems. On September 13,
                                                OAR–2021–0663.                                          adequately justified the technical and                 2019, the D.C. Circuit issued a decision
                                                   States may have chosen to rely on the                legal basis for doing so.                              in Wisconsin v. EPA, remanding the
                                                results of EPA modeling and/or                             The EPA notes that certain concepts                 CSAPR Update to the extent that it
                                                alternative modeling performed by                       included in an attachment to the March                 failed to require upwind states to
                                                                                                        2018 memorandum require unique                         eliminate their significant contribution
                                                states or Multi-Jurisdictional
                                                                                                        consideration, and these ideas do not                  by the next applicable attainment date
                                                Organizations (MJOs) to evaluate
                                                                                                        constitute agency guidance with respect                by which downwind states must come
                                                downwind air quality problems and
                                                                                                        to transport obligations for the 2015                  into compliance with the NAAQS, as
                                                contributions as part of their
                                                                                                        ozone NAAQS. Attachment A to the                       established under CAA section 181(a).
                                                submissions. In Sections II–V of this
                                                                                                        March 2018 memorandum identified a                     938 F.3d at 313.
                                                action, we evaluate how the states used                                                                           On May 19, 2020, the D.C. Circuit
                                                                                                        ‘‘Preliminary List of Potential
                                                air quality modeling information in                                                                            issued a decision in Maryland v. EPA
                                                                                                        Flexibilities’’ that could potentially
                                                their submissions.                                                                                             that cited the Wisconsin decision in
                                                                                                        inform SIP development.21 However,
                                                D. The EPA’s Approach to Evaluating                     the EPA made clear in Attachment A                     holding that the EPA must assess the
                                                Interstate Transport SIPs for the 2015                  that the list of ideas were not                        impact of interstate transport on air
                                                Ozone NAAQS                                             suggestions endorsed by the Agency but                 quality at the next downwind
                                                                                                        rather ‘‘comments provided in various                  attainment date, including Marginal
                                                   The EPA proposes to apply a                                                                                 area attainment dates, in evaluating the
                                                consistent set of policy judgments                      forums’’ on which the EPA sought
                                                                                                        ‘‘feedback from interested                             basis for the EPA’s denial of a petition
                                                across all states for purposes of                                                                              under CAA section 126(b). Maryland v.
                                                evaluating interstate transport                         stakeholders.’’ 22 Further, Attachment A
                                                                                                        stated, ‘‘EPA is not at this time making               EPA, 958 F.3d 1185, 1203–04 (D.C. Cir.
                                                obligations and the approvability of                                                                           2020). The court noted that ‘‘section
                                                interstate transport SIP submittals for                 any determination that the ideas
                                                                                                        discussed below are consistent with the                126(b) incorporates the Good Neighbor
                                                the 2015 ozone NAAQS. These policy                                                                             Provision,’’ and, therefore, ‘‘EPA must
                                                judgments reflect consistency with                      requirements of the CAA, nor are we
                                                                                                        specifically recommending that states                  find a violation [of section 126] if an
                                                relevant case law and past agency                                                                              upwind source will significantly
                                                practice as reflected in the CSAPR and                  use these approaches.’’ 23 Attachment A
                                                                                                        to the March 2018 memorandum,                          contribute to downwind nonattainment
                                                related rulemakings. Nationwide                                                                                at the next downwind attainment
                                                consistency in approach is particularly                 therefore, does not constitute agency
                                                                                                        guidance, but was intended to generate                 deadline. Therefore, the agency must
                                                important in the context of interstate                                                                         evaluate downwind air quality at that
                                                ozone transport, which is a regional-                   further discussion around potential
                                                                                                        approaches to addressing ozone                         deadline, not at some later date.’’ Id. at
                                                scale pollution problem involving many                                                                         1204 (emphasis added). The EPA
                                                smaller contributors. Effective policy                  transport among interested stakeholders.
                                                                                                        To the extent states sought to develop or              interprets the court’s holding in
                                                solutions to the problem of interstate                                                                         Maryland as requiring the states and the
                                                ozone transport going back to the 1998                  rely on these ideas in support of their
                                                                                                        SIP submittals, the EPA will review the                Agency, under the interstate transport
                                                NOX SIP Call 20 have necessitated the                                                                          provision, to assess downwind air
                                                application of a uniform framework of                   technical and legal justifications for
lotter on DSK11XQN23PROD with PROPOSALS2




                                                                                                        doing so.                                              quality as expeditiously as practicable
                                                policy judgments in order to ensure an                                                                         and no later than the next applicable
                                                                                                           The remainder of this section
                                                ‘‘efficient and equitable’’ approach. See
                                                                                                        describes the EPA’s proposed
                                                                                                                                                                 24 For attainment dates for the 2015 8-hour ozone
                                                  20 See
                                                                                                        framework with respect to analytic year,
                                                         63 FR 57356. The NOX SIP Call required                                                                NAAQS, refer to CAA section 181(a), 40 CFR
                                                22 eastern states and the District of Columbia to                                                              51.1303, and ‘‘Additional Air Quality Designations
                                                                                                          21 March     2018 memorandum, Attachment A.
                                                submit state implementation plans (SIPs) that set                                                              for the 2015 Ozone National Ambient Air Quality
                                                                                                          22 Id.   at A–1.
                                                statewide ozone season NOx budgets which would                                                                 Standards’’, 83 FR 25776 (June 4, 2018, effective
                                                reduce emissions of NOX.                                  23 Id.                                               Aug. 3, 2018).



                                           VerDate Sep<11>2014   20:06 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00005    Fmt 4701   Sfmt 4702   E:\FR\FM\22FEP2.SGM   22FEP2
                                                                    Case: 23-60069                    Document: 110                  Page: 59            Date Filed: 03/27/2023
                                                9802                  Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules

                                                attainment date,25 which is now the                     have problems attaining and/or                        quality was determined by evaluating
                                                Moderate area attainment date under                     maintaining the NAAQS in the 2023                     the ‘‘maximum’’ future DV at each
                                                CAA section 181 for ozone                               analytic year. Where the EPA’s analysis               receptor based on a projection of the
                                                nonattainment. The Moderate area                        shows that a site does not fall under the             maximum measured DV over the
                                                attainment date for the 2015 ozone                      definition of a nonattainment or                      relevant period. The EPA interprets the
                                                NAAQS is August 3, 2024.26 The EPA                      maintenance receptor, that site is                    projected maximum future DV to be a
                                                believes that 2023 is now the                           excluded from further analysis under                  potential future air quality outcome
                                                appropriate year for analysis of                        the EPA’s 4-Step framework. For sites                 consistent with the meteorology that
                                                interstate transport obligations for the                that are identified as a nonattainment or             yielded maximum measured
                                                2015 ozone NAAQS, because the 2023                      maintenance receptor in 2023, we                      concentrations in the ambient data set
                                                ozone season is the last relevant ozone                 proceed to the next step of our 4-Step                analyzed for that receptor (i.e., ozone
                                                season during which achieved                            framework by identifying the upwind                   conducive meteorology). The EPA also
                                                emissions reductions in linked upwind                   state’s contribution to those receptors.              recognizes that previously experienced
                                                states could assist downwind states                        The EPA’s approach to identifying                  meteorological conditions (e.g.,
                                                with meeting the August 3, 2024,                        ozone nonattainment and maintenance                   dominant wind direction, temperatures,
                                                Moderate area attainment date for the                   receptors in this action is consistent                air mass patterns) promoting ozone
                                                2015 ozone NAAQS.                                       with the approach used in previous                    formation that led to maximum
                                                   The EPA recognizes that the                          transport rulemakings. The EPA’s                      concentrations in the measured data
                                                attainment date for nonattainment areas                 approach gives independent                            may reoccur in the future. The
                                                classified as Marginal for the 2015                     consideration to both the ‘‘contribute                maximum DV gives a reasonable
                                                ozone NAAQS was August 3, 2021.                         significantly to nonattainment’’ and the              projection of future air quality at the
                                                Under the Maryland holding, any                         ‘‘interfere with maintenance’’ prongs of              receptor under a scenario in which such
                                                necessary emissions reductions to                       CAA section 110(a)(2)(D)(i)(I),                       conditions do, in fact, reoccur. The
                                                satisfy interstate transport obligations                consistent with the D.C. Circuit’s                    projected maximum DV is used to
                                                should have been implemented by no                      direction in North Carolina v. EPA.27                 identify upwind emissions that, under
                                                later than this date. At the time of the                   For the purpose of this proposal, the              those circumstances, could interfere
                                                statutory deadline to submit interstate                 EPA identifies ‘‘nonattainment’’                      with the downwind area’s ability to
                                                transport SIPs (October 1, 2018), many                  receptors as those monitoring sites that              maintain the NAAQS.
                                                states relied upon the EPA modeling of                  are projected to have average DVs in                    Recognizing that nonattainment
                                                the year 2023, and no state provided an                 2023 that exceed the NAAQS and that                   receptors are also, by definition,
                                                alternative analysis using a 2021                       are also measuring nonattainment based                maintenance receptors, the EPA often
                                                analytic year (or the prior 2020 ozone                  on the most recent monitored DVs. This                uses the term ‘‘maintenance-only’’ to
                                                season). However, the EPA must act on                   approach is consistent with prior                     refer to those receptors that are not
                                                SIP submittals using the information                    transport rulemakings, such as the                    nonattainment receptors. Consistent
                                                available at the time it takes such action.             CSAPR Update, where the EPA defined                   with the concepts for maintenance
                                                In this circumstance, the EPA does not                  nonattainment receptors as those areas                receptors, as described above, the EPA
                                                believe it would be appropriate to                      that both currently measure                           identifies ‘‘maintenance-only’’ receptors
                                                evaluate states’ obligations under CAA                  nonattainment and that the EPA projects               as those monitoring sites that have
                                                section 110(a)(2)(D)(i)(I) as of an                     will be in nonattainment in the future                projected average DVs above the level of
                                                attainment date that is wholly in the                   analytic year (i.e., 2023).28                         the applicable NAAQS, but that are not
                                                past, because the Agency interprets the                    In addition, in this proposal, the EPA             currently measuring nonattainment
                                                interstate transport provision as forward               identifies a receptor to be a                         based on the most recent official DVs. In
                                                looking. See 86 FR at 23074; see also                   ‘‘maintenance’’ receptor for purposes of              addition, those monitoring sites with
                                                Wisconsin, 938 F.3d at 322.                             defining interference with maintenance,               projected average DVs below the
                                                Consequently, in this proposal the EPA                  consistent with the method used in the                NAAQS, but with projected maximum
                                                proposes to use the analytical year of                  CSAPR and upheld by the D.C. Circuit                  DVs above the NAAQS are also
                                                2023 to evaluate each state’s CAA                       in EME Homer City Generation, L.P. v.                 identified as ‘‘maintenance only’’
                                                section 110(a)(2)(D)(i)(I) SIP submission               EPA, 795 F.3d 118, 136 (D.C. Cir.                     receptors, even if they are currently
                                                with respect to the 2015 ozone NAAQS.                   2015).29 Specifically, the EPA identified             measuring nonattainment based on the
                                                                                                        maintenance receptors as those                        most recent official DVs.
                                                2. Step 1 of the 4-Step Interstate
                                                Transport Framework                                     receptors that would have difficulty                  3. Step 2 of the 4-Step Interstate
                                                                                                        maintaining the relevant NAAQS in a                   Transport Framework
                                                   In Step 1, the EPA identifies
                                                                                                        scenario that takes into account                         In Step 2, the EPA quantifies the
                                                monitoring sites that are projected to
                                                                                                        historical variability in air quality at              contribution of each upwind state to
                                                   25 We note that the court in Maryland did not
                                                                                                        that receptor. The variability in air                 each receptor in the 2023 analytic year.
                                                have occasion to evaluate circumstances in which
                                                                                                           27 See North Carolina v. EPA, 531 F.3d 896, 910–
                                                                                                                                                              The contribution metric used in Step 2
                                                the EPA may determine that an upwind linkage to                                                               is defined as the average impact from
                                                a downwind air quality problem exists at Steps 1        11 (D.C. Cir. 2008) (holding that the EPA must give
                                                and 2 of the 4-Step interstate transport framework      ‘‘independent significance’’ to each prong of CAA     each state to each receptor on the days
                                                by a particular attainment date, but for reasons of     section 110(a)(2)(D)(i)(I)).                          with the highest ozone concentrations at
                                                impossibility or profound uncertainty the Agency is        28 See 81 FR 74504 (October 26, 2016). This same
                                                                                                                                                              the receptor based on the 2023
                                                unable to mandate upwind pollution controls by          concept, relying on both current monitoring data      modeling. If a state’s contribution value
lotter on DSK11XQN23PROD with PROPOSALS2




                                                that date. See Wisconsin, 938 F.3d at 320. The D.C.     and modeling to define nonattainment receptor,
                                                Circuit noted in Wisconsin that upon a sufficient       was also applied in CAIR. See 70 FR at 25241,         does not equal or exceed the threshold
                                                showing, these circumstances may warrant                25249 (January 14, 2005); see also North Carolina,    of 1 percent of the NAAQS (i.e., 0.70
                                                flexibility in effectuating the purpose of the          531 F.3d at 913–14 (affirming as reasonable EPA’s     ppb for the 2015 ozone NAAQS), the
                                                interstate transport provision.                         approach to defining nonattainment in CAIR).          upwind state is not ‘‘linked’’ to a
                                                   26 See CAA section 181(a); 40 CFR 51.1303;              29 See 76 FR 48208 (August 8, 2011). CSAPR

                                                ‘‘Additional Air Quality Designations for the 2015      Update and Revised CSAPR Update also used this
                                                                                                                                                              downwind air quality problem, and the
                                                Ozone National Ambient Air Quality Standards’’,         approach. See 81 FR 74504 (October 26, 2016) and      EPA, therefore, concludes that the state
                                                83 FR 25776 (June 4, 2018, effective Aug. 3, 2018).     86 FR 23054 (April 30, 2021).                         does not significantly contribute to


                                           VerDate Sep<11>2014   20:06 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00006   Fmt 4701   Sfmt 4702   E:\FR\FM\22FEP2.SGM   22FEP2
                                                                    Case: 23-60069                    Document: 110                  Page: 60            Date Filed: 03/27/2023
                                                                      Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules                                                   9803

                                                nonattainment or interfere with                         Step 2 using the alternative threshold,               5. Step 4 of the 4-Step Interstate
                                                maintenance of the NAAQS in the                         the EPA will evaluate whether the state               Transport Framework
                                                downwind states. However, if a state’s                  provided a technically sound                             In Step 4, states (or the EPA) develop
                                                contribution equals or exceeds the 1                    assessment of the appropriateness of                  permanent and federally enforceable
                                                percent threshold, the state’s emissions                using this alternative threshold based on             control strategies to achieve the
                                                are further evaluated in Step 3,                        the facts and circumstances underlying                emissions reductions determined to be
                                                considering both air quality and cost of                its application in the particular SIP                 necessary in Step 3 to eliminate
                                                controls as part of a multifactor analysis,             submission.                                           significant contribution to
                                                to determine what, if any, emissions                    4. Step 3 of the 4-Step Interstate                    nonattainment or interference with
                                                might be deemed ‘‘significant’’ and,                    Transport Framework                                   maintenance of the NAAQS. For a state
                                                thus, must be eliminated under CAA                                                                            linked in Steps 1 and 2 to rely on an
                                                section 110(a)(2)(D)(i)(I). The EPA is                     Consistent with the EPA’s
                                                                                                                                                              emissions control measure in Step 3 to
                                                proposing to continue to rely in the first              longstanding approach to eliminating
                                                                                                                                                              address its interstate transport
                                                instance on the 1 percent threshold for                 significant contribution or interference
                                                                                                                                                              obligations, that measure must be
                                                the purpose of evaluating a state’s                     with maintenance, at Step 3, states
                                                                                                                                                              included in the state’s SIP so that it is
                                                contribution to nonattainment or                        linked at Steps 1 and 2 are generally
                                                                                                                                                              permanent and federally enforceable.
                                                maintenance of the 2015 ozone NAAQS                     expected to prepare a multifactor
                                                                                                                                                              See CAA section 110(a)(2)(D) (‘‘Each
                                                (i.e., 0.70 ppb) at downwind receptors.                 analysis of potential emissions controls.
                                                                                                                                                              such [SIP] shall . . . contain adequate
                                                This is consistent with the Step 2                      The EPA’s analysis at Step 3 in prior
                                                                                                                                                              provisions. . . .’’). See also CAA
                                                approach that the EPA applied in                        Federal actions addressing interstate
                                                                                                                                                              section 110(a)(2)(A); Committee for a
                                                CSAPR for the 1997 ozone NAAQS,                         transport requirements has primarily
                                                                                                                                                              Better Arvin v. U.S. E.P.A., 786 F.3d
                                                which has subsequently been applied in                  focused on an evaluation of cost-
                                                                                                                                                              1169, 1175–76 (9th Cir. 2015) (holding
                                                the CSAPR Update when evaluating                        effectiveness of potential emissions
                                                                                                                                                              that measures relied on by state to meet
                                                interstate transport obligations for the                controls (on a marginal cost-per-ton
                                                                                                                                                              CAA requirements must be included in
                                                2008 ozone NAAQS. For ozone, as the                     basis), the total emissions reductions
                                                                                                                                                              the SIP).
                                                EPA found in the Clean Air Interstate                   that may be achieved by requiring such
                                                Rule (CAIR), CSAPR, and CSAPR                           controls (if applied across all linked                II. Arkansas SIP Submission
                                                Update, a portion of the nonattainment                  upwind states), and an evaluation of the              Addressing Interstate Transport of Air
                                                                                                        air quality impacts such emissions                    Pollution for the 2015 Ozone NAAQS
                                                problem from anthropogenic sources in
                                                                                                        reductions would have on the                          and the EPA Evaluation of the SIP
                                                the U.S. results from the combined
                                                                                                        downwind receptors to which a state is                Submission
                                                impact of relatively small contributions
                                                                                                        linked; other factors may potentially be
                                                from many upwind states, along with                                                                           A. Summary of ADEQ SIP Submission
                                                                                                        relevant if adequately supported. In
                                                contributions from in-state sources and,                                                                      Addressing Interstate Transport of Air
                                                                                                        general, where the EPA’s or alternative
                                                in some cases, substantially larger                                                                           Pollution for the 2015 Ozone NAAQS
                                                                                                        air quality and contribution modeling
                                                contributions from a subset of upwind                                                                            On October 10, 2019, the Arkansas
                                                                                                        establishes that a state is linked at Steps
                                                states. The EPA’s analysis shows that                                                                         Division of Environmental Quality
                                                                                                        1 and 2, it will be insufficient at Step
                                                much of the ozone transport problem                                                                           (ADEQ) of the Arkansas Department of
                                                                                                        3 for a state merely to point to its
                                                being analyzed in this proposed rule is                                                                       Energy and Environment made a SIP
                                                                                                        existing rules requiring control
                                                still the result of the collective impacts                                                                    submission addressing interstate
                                                                                                        measures as a basis for approval. In
                                                of contributions from many upwind                                                                             transport of air pollution for the 2015
                                                                                                        general, the emissions-reducing effects
                                                states. Therefore, application of a                                                                           ozone NAAQS. The ADEQ SIP
                                                                                                        of all existing emissions control
                                                consistent contribution threshold is                                                                          submission provided an analysis of
                                                                                                        requirements are already reflected in the
                                                necessary to identify those upwind                                                                            Arkansas’s air emissions impact to
                                                                                                        air quality results of the modeling for
                                                states that should have responsibility for                                                                    downwind states using the EPA’s 4-Step
                                                                                                        Steps 1 and 2. If the state is shown to
                                                addressing their contribution to the                                                                          framework and an analytic year of 2023
                                                                                                        still be linked to one or more downwind
                                                downwind nonattainment and                                                                                    and concluded that the State’s air
                                                                                                        receptor(s), states must provide a well-
                                                maintenance problems to which they                                                                            emissions will not contribute
                                                                                                        documented evaluation determining
                                                collectively contribute. Continuing to                                                                        significantly to nonattainment or
                                                                                                        whether their emissions constitute
                                                use 1 percent of the NAAQS as the                                                                             interfere with maintenance of the 2015
                                                                                                        significant contribution or interference
                                                screening metric to evaluate collective                                                                       ozone NAAQS in other states.
                                                                                                        with maintenance by preparing a
                                                contribution from many upwind states                                                                             To identify downwind monitors
                                                                                                        multifactor assessment that evaluates
                                                also allows the EPA (and states) to apply                                                                     projected to be in nonattainment and/or
                                                                                                        additional available control
                                                a consistent framework to evaluate                                                                            have maintenance issues in 2023 (Step
                                                                                                        opportunities. While the EPA has not
                                                interstate emissions transport under the                                                                      1), ADEQ relied on the EPA’s interstate
                                                                                                        prescribed a particular method for this
                                                interstate transport provision from one                                                                       transport modeling results that are
                                                                                                        assessment, the EPA expects states at a
                                                NAAQS to the next. See 81 FR at 74518.                                                                        included as an attachment to the March
                                                                                                        minimum to present a sufficient
                                                See also 86 FR at 23085 (reviewing and                                                                        2018 memorandum. The EPA modeling
                                                                                                        technical evaluation. This would
                                                explaining rationale from CSAPR); 76                                                                          results included with the March 2018
                                                                                                        typically include information on
                                                FR at 48237–38 (for selection of 1                                                                            memorandum provide: (1) Projected
                                                                                                        emissions sources, applicable control
                                                percent threshold).
                                                                                                        technologies, emissions reductions,
                                                   The EPA’s August 2018 memorandum                                                                           sources, states could look to the CSAPR Update, 81
lotter on DSK11XQN23PROD with PROPOSALS2




                                                                                                        costs, cost effectiveness, and downwind               FR 74504, 74539–51; CSAPR, 76 FR 48208, 48246–
                                                recognized that in certain                              air quality impacts of the estimated                  63; CAIR, 70 FR 25162, 25195–229; or the NOX SIP
                                                circumstances, a state may be able to                   reductions, before concluding that no                 Call, 63 FR 57356, 57399–405. See also Revised
                                                establish that an alternative contribution              additional emissions controls should be               CSAPR Update, 86 FR 23054, 23086–23116.
                                                threshold of 1 ppb is justifiable. Where                                                                      Consistently across these rulemakings, the EPA has
                                                                                                        required.30                                           developed emissions inventories, analyzed different
                                                a state relies on this alternative                                                                            levels of control stringency at different cost
                                                threshold, and where that state                           30 As examples of general approaches for how        thresholds, and assessed resulting downwind air
                                                determined that it was not linked at                    such an analysis could be conducted for their         quality improvements.



                                           VerDate Sep<11>2014   20:06 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00007   Fmt 4701   Sfmt 4702   E:\FR\FM\22FEP2.SGM   22FEP2
                                                                          Case: 23-60069                            Document: 110                           Page: 61                  Date Filed: 03/27/2023
                                                9804                         Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules

                                                average DV and maximum DV for the                                      three different contribution thresholds:                            rationale ADEQ provided was based on
                                                future year 2023 (fy 2023) for ozone                                   1 Percent of the NAAQS, 1 ppb, and 2                                the consistency with the reported
                                                monitors projected to be potential                                     ppb. ADEQ summarized the August                                     precision of Federal reference monitors
                                                nonattainment or maintenance receptors                                 2018 memorandum and concluded that                                  for ozone and the rounding
                                                in the 48 contiguous States and (2) the                                the 1 percent and 1 ppb contribution                                requirements found in 40 CFR part 50,
                                                expected contribution of State emissions                               thresholds are generally comparable.                                Appendix U, Interpretation of the
                                                to the projected ozone concentrations at                               Second, ADEQ referenced an April 2018                               Primary and Secondary National
                                                each ozone monitor.                                                    memorandum 32 in which the EPA                                      Ambient Air Quality Standards for
                                                   At Step 2, ADEQ identified those                                                                                                        Ozone. ADEQ noted that the 1 percent
                                                                                                                       examined the use of a significant impact
                                                states to which Arkansas contributes                                                                                                       contribution threshold of 0.7 ppb is
                                                                                                                       level (SIL) value of 1 ppb for
                                                emissions and then applied a 1 ppb                                                                                                         lower than the manufacturer’s reported
                                                contribution threshold to determine                                    determining whether a proposed
                                                                                                                       prevention of significant deterioration                             precision of Federal reference monitors
                                                projected nonattainment and/or
                                                                                                                       (PSD) source causes or contributes to a                             for ozone and that the requirements
                                                maintenance receptors in other states
                                                                                                                       violation of the corresponding 2015                                 found in Appendix U truncates monitor
                                                that might be significantly impacted by
                                                emissions from Arkansas. ADEQ                                          ozone NAAQS. Despite recognizing that                               values of 0.7 ppb to 0 ppb.
                                                provided three rationales as a basis to                                a contribution threshold is not the same                               As stated previously, ADEQ identified
                                                support their decision to rely on a 1 ppb                              as a significance level, ADEQ claimed                               all potential nonattainment and
                                                contribution threshold. First, ADEQ                                    that a contribution threshold and                                   maintenance receptors for fy 2023
                                                cited to the August 2018                                               significance level are sufficiently                                 showing a contribution of emissions
                                                memorandum 31 that compares the                                        analogous to support the use of a 1 ppb                             from Arkansas.33 These receptors are
                                                collective contribution captured by                                    contribution threshold. The final                                   included in Table AR–1.

                                                   TABLE AR–1—PROJECTED NONATTAINMENT AND MAINTENANCE RECEPTORS IDENTIFIED BY ARKANSAS BASED ON THE
                                                                                   EPA’S MARCH 2018 MEMORANDUM
                                                                                                                                                                                             2023             2023              Arkansas
                                                                                                           Receptor                                                                       average DV       maximum DV          contribution
                                                                                                   (site ID, county, state)                                                                  (ppb)            (ppb)               (ppb)

                                                260050003, Allegan, MI ...............................................................................................................               69               71.7              1.64
                                                482011039, Harris, TX ................................................................................................................             71.8               73.5              0.99
                                                480391004, Brazoria, TX .............................................................................................................                74               74.9              0.90
                                                484392003, Tarrant, TX ..............................................................................................................              72.5               74.8              0.78
                                                481210034, Denton, TX ..............................................................................................................               69.7                 72              0.58
                                                482011034, Harris, TX ................................................................................................................             70.8               71.6              0.54
                                                551170006, Sheboygan, WI ........................................................................................................                  72.8               75.1              0.51
                                                550790085, Milwaukee, WI .........................................................................................................                 71.2                 73              0.40
                                                482010024, Harris, TX ................................................................................................................             70.4               72.8              0.29
                                                261630019, Wayne, MI ...............................................................................................................                 69                 71              0.27
                                                240251001, Harford, MD .............................................................................................................               70.9               73.3              0.17
                                                90019003, Fairfield, CT ...............................................................................................................              73               75.9              0.13
                                                90013007, Fairfield, CT ...............................................................................................................              71                 75              0.13
                                                361030002, Suffolk, NY ...............................................................................................................               74               75.5              0.12
                                                360810124, Queens, NY .............................................................................................................                70.2                 72              0.09
                                                90099002, New Haven, CT .........................................................................................................                  69.9               72.6              0.08
                                                90010017, Fairfield, CT ...............................................................................................................            68.9               71.2              0.07
                                                80590006, Jefferson, CO ............................................................................................................               71.3               73.7              0.03
                                                80590011, Jefferson, CO ............................................................................................................               70.9               73.9              0.02
                                                81230009, Weld, CO ...................................................................................................................             70.2               71.4              0.02
                                                80350004, Douglas, CO ..............................................................................................................               71.1               73.2              0.01



                                                   Based on a 1 ppb contribution                                       that when different modeling protocols                              infer that there is no consistent or
                                                threshold, ADEQ identified only one fy                                 were employed, future year DV                                       persistent relationship between elevated
                                                2023 projected maintenance receptor,                                   projections and contributions could                                 ozone days in Allegan County, MI and
                                                Allegan County, MI, and no fy 2023                                     differ considerably. ADEQ therefore                                 air traveling through Arkansas. ADEQ
                                                projected nonattainment receptors                                      elected to consider other evidence                                  assessed wind patterns on elevated
                                                linked to Arkansas. ADEQ also cited                                    regarding its linkage to air quality in                             ozone days—days with a maximum
                                                other modeling performed by TCEQ and                                   Allegan County, MI. Specifically, ADEQ                              daily average 8-hour ozone (MDA8)
                                                Midwest Ozone Group, which showed                                      analyzed back trajectory information to                             greater than 70.9 ppb in Allegan County,
                                                  31 ‘‘Analysis of Contribution Thresholds for Use                     Standards, April 17, 2018, ‘‘Guidance on Significant                submission, the EPA considers sites matching these
                                                in Clean Air Act section 110(a)(2)(D)(i)(I) Interstate                 Impact Levels for Ozone and Fine Particles in the
lotter on DSK11XQN23PROD with PROPOSALS2




                                                                                                                                                                                           criteria to be projected nonattainment areas and
                                                Transport State Implementation Plan Submissions                        Prevention of Significant Deterioration Permitting                  projected maintenance areas, respectively. ADEQ
                                                for the 2015 Ozone National Ambient Air Quality                        Program’’ (‘‘SILs Guidance’’ or ‘‘April 2018                        ranked these sites by Arkansas’s potential
                                                Standards’’, August 31, 2018, available in Docket ID                   memorandum’’), available at: https://www.epa.gov/
                                                                                                                                                                                           contribution, which the EPA determined based on
                                                No. EPA–HQ–OAR–2021–0663 or at https://                                sites/default/files/2018-04/documents/sils_policy_
                                                www.epa.gov/airmarkets/memo-and-supplemental-                          guidance_document_final_signed_4-17-18.pdf.                         the daily eight-hour average contributions on the
                                                information-regarding-interstate-transport-sips-                          33 Table AR–1 lists all sites that the EPA projected             top ten concentration days in 2023.
                                                2015-ozone-naaqs.                                                      to have a fy 2023 average DV or fy 2023 maximum
                                                  32 See EPA memorandum from Peter Tsirigotis,                         DV greater than 70.9 ppb in our March 2018
                                                Director of the Office of Air Quality planning and                     memorandum. As Arkansas stated in the SIP



                                           VerDate Sep<11>2014        20:06 Feb 18, 2022       Jkt 256001      PO 00000      Frm 00008       Fmt 4701      Sfmt 4702     E:\FR\FM\22FEP2.SGM      22FEP2
                                                                     Case: 23-60069                     Document: 110                Page: 62            Date Filed: 03/27/2023
                                                                       Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules                                                   9805

                                                MI. ADEQ used the National Oceanic                      County, MI monitor site. Second, ADEQ                 emission trends from the eight states 43
                                                and Atmospheric Administration                          filtered out any back trajectory that did             with contributions greater than 1 ppb to
                                                (NOAA) HYbrid Single Particle                           not have a path through any portion of                the Allegan County, MI receptor. The
                                                Lagrangian Integrated Trajectory                        Arkansas. After ADEQ applied their                    emission trends evaluation examined
                                                (HYSPLIT) 34 model to evaluate wind                     filter criteria, 41 out of 608 back                   ozone precursors, nitrogen oxides (NOX)
                                                back trajectories from over a 10-year                   trajectories (6.74%) remained from 22                 and volatile organic compounds (VOC),
                                                period (2008–2017).35 Over the course                   out of the 95 elevated ozone days (23%)               from 2011 to 2017 and the model
                                                of the 10-year period, ADEQ identified                  examined. Of the 10 years examined,                   projected fy 2023 emissions level.
                                                95 elevated ozone days (MDA8 > 70.9                     ADEQ also found that air passing                      ADEQ noted that the two states with the
                                                ppb) for the Allegan County, MI                         through Arkansas only reached Allegan                 highest contributions to Allegan County,
                                                monitor.36 Next, ADEQ identified the                    County, MI on four or more days in one                MI—Illinois and Indiana—have both
                                                maximum ozone value within these                        year: 2012.41 For 2012, HYSPLIT                       experienced year-over-year decreases in
                                                elevated ozone days.37 Using HYSPLIT,                   analyses indicated 14 Arkansas-Allegan                NOX emissions in excess of 20,000 tons
                                                ADEQ ran 72-hour back trajectories                      County, MI linked back trajectories for               of NOX reduced per year. Arkansas had
                                                using the hour of the maximum ozone                     7 days in total in 2012, whereas for                  also experienced decreases in NOX
                                                value for each elevated day as the back                 2011, 2013, 2014, and 2016 the                        emissions each evaluated year and
                                                trajectory start time. To consider the                  HYSPLIT analyses indicated three, two,                emitted less NOX than any other of the
                                                effects of vertical variations in wind                  zero and one days with Arkansas-                      potentially linked states. In addition,
                                                flows on transport patterns, ADEQ used                  Allegan County, MI linked back                        ADEQ referenced the EPA projections
                                                the following starting heights above                    trajectories, respectively. For the 10                showing that most potentially linked
                                                ground level: 100m, 500m, 1000m, and                    years ADEQ’s performed HYSPLITs,                      states will continue to realize reductions
                                                1500m. ADEQ obtained 40 km grid                         ADEQ’s HYSPLIT analysis indicated on                  in NOX, as well as VOCs, through 2023.
                                                meteorological data for the back                        average 2.2 days per year had                         ADEQ confirmed that based on this
                                                trajectory analysis using Eta Data                      trajectories with Arkansas-Allegan                    analysis, the overall general trends of
                                                Assimilation System (EDAS) data.38 In                   County, MI linked back trajectories.                  NOX and VOC emissions are declining
                                                total, ADEQ ran 152 back trajectories for               ADEQ also noted that these trajectories               from Arkansas and the other linked
                                                each mixing height.39 ADEQ filtered the                 passed through other states and through               states. The continuation of trends in the
                                                back trajectories to determine whether                  Metropolitan Statistical Areas (MSAs) 42              emissions reductions observed,
                                                further analysis is warranted using two                 both before and after traversing through              particularly from Illinois and Indiana,
                                                criteria. First, ADEQ filtered out back                 Arkansas. Specifically, ADEQ stated                   are anticipated by ADEQ to result in air
                                                trajectories that had a starting hour                   that 37 trajectories passed through the               quality improvements in Allegan
                                                mixing height below the back trajectory                 Chicago-Naperville-Elgin, IL–IN–WI                    County, MI.
                                                start height because ADEQ asserted                      MSA prior to reaching Allegan County,                    In terms of cost analysis, ADEQ
                                                these air parcels would not have                        MI. Based on these results, ADEQ                      focused only on the cost of NOX
                                                reached ambient air 40 at the Allegan                   concluded that other states and MSAs                  controls at electric generating units
                                                                                                        were more likely to have influenced                   (EGUs) in the State because EGUs are
                                                   34 HYbrid Single-Particle Lagrangian Integrated
                                                                                                        ozone concentrations at the Allegan                   the largest source of NOX emissions that
                                                Trajectory (HYSPLIT) model is a complete system
                                                for computing both simple air parcel trajectories       County, MI monitor on the days with                   ADEQ regulates. In its analysis, ADEQ
                                                and complex dispersion and deposition                   back trajectories linked to Arkansas.                 found that the costs to install additional
                                                simulations. The model is designed to support a            In Step 3, ADEQ also considered air                NOX controls (selective catalytic
                                                wide range of simulations related to the                quality trends in Allegan County, MI,
                                                atmospheric transport and dispersion of pollutants                                                            reduction, SCR and selective
                                                and hazardous materials to the Earth’s surface.         emission trends in other upwind states,               noncatalytic reduction, SNCR) at EGUs
                                                   35 ADEQ analyzed ten years of HYSPLIT back           relative contribution from other upwind               exceed the EPA’s cost thresholds used
                                                trajectories to examine potential relationships         states, and cost factors. ADEQ presented              for the CSAPR and CSAPR Update
                                                between elevated ozone days at the Allegan County,      that ozone DVs in Allegan County, MI
                                                MI monitor and emissions from Arkansas. In the
                                                                                                                                                              rules.44 Based on ADEQ’s evaluation of
                                                SIP submission ADEQ stated their rationale for
                                                                                                        fluctuated over the 2008–2017 period                  the evidence, ADEQ concluded that no
                                                looking at an extended period of time is to gain a      with higher concentration occurring                   additional controls beyond pre-existing
                                                more complete picture of how Arkansas’s emissions       from 2012 through 2014 but declining
                                                might contribute to elevated ozone in Allegan           since 2014. ADEQ also mentioned that                     43 The eight linked states include Illinois, 42%;
                                                County, MI, rather than relying entirely on the
                                                EPA’s modeling simulation, which is based on a          despite the most recent 2017 DV for the               Indiana, 15%; Michigan, 7%; Missouri, 6%; Texas,
                                                                                                        Allegan County monitor continuing to                  5%; Wisconsin, 4%; Oklahoma, 3% and Arkansas,
                                                single base year.
                                                                                                                                                              4%. The remaining contribution is labeled at
                                                   36 See the AirNow-Tech website at https://           show an exceedance of the 2015 ozone                  ‘‘Other’’. The linkages are based on the EPA’s
                                                www.airnowtech.org/. AirNow-Tech is a website for       NAAQS, the EPA-projected 2023 ozone                   modeling results that are attached to the March
                                                air quality data management analysis, and decision
                                                support used by the Federal, State, Tribal, and local
                                                                                                        average DV at the Allegan County, MI                  2018 memorandum.
                                                                                                                                                                 44 The EPA’s Revised CSAPR Update, 86 FR
                                                air quality organizations.                              monitor, based on data provided in the
                                                                                                                                                              23054 (April 20, 2021), states ‘‘. . . EPA adjusted
                                                   37 If the same maximum eight-hour value              March 2018 memorandum, is 69.0 ppb,                   its representative cost for optimizing existing SNCR
                                                occurred multiple times a day, ADEQ evaluated all       which would be in attainment of the                   control to $1,800 per ton in response to comments
                                                incidences of the value for that day.                   2015 ozone NAAQS in 2023.                             received on the proposed rule . . . EPA views
                                                   38 EDAS is an intermittent data assimilation
                                                                                                           Next, ADEQ included an evaluation of               $1,600 per ton for optimization of existing SCR
                                                system that uses successive three-hour model                                                                  control and installation of state-of-the are NOX
                                                forecasts to generate gridded meteorological fields     the relative contribution and the                     combustion controls and $1,800 per ton for
                                                that reflect observations covering the continental                                                            optimization of existing SNCRs as comparable for
lotter on DSK11XQN23PROD with PROPOSALS2




                                                United States. EDAS is accessible at https://             41 The number of days in a given year and the
                                                                                                                                                              policy purposes.’’ ADEQ’s screening analysis using
                                                ready.arl.noaa.gov/edas40.php.                          number of consecutive years is of particular          the EPA tools (referencing the EPA’s Air Pollution
                                                   39 Mixing heights (m), defined as the height above   relevance for the ozone NAAQS, which is               Control Cost Estimation Spreadsheet for SCR)
                                                ground level of the layer adjacent to the ground        calculated based the annual fourth-highest daily      shows that cost-effectiveness values for ozone-
                                                over which an emitted or entrained inert non-           maximum eight-hour concentration averaged over        season operation of SCR and SNCR are: $12,605–
                                                buoyant tracer will be mixed by turbulence.             three consecutive years.                              $31,580/ton for SCR and $4,221–$45,581 for SNCR.
                                                   40 Ambient air is the ‘‘portion of the atmosphere,     42 MSA is defined as a geographic region with a     ADEQ notes that any costs imposed to install
                                                external to buildings, to which the general public      high population density at its core and close         controls at the examined EGUs would be passed on
                                                has access.’’ 40 CFR 50.1(e).                           economic ties throughout the area.                    to Arkansas ratepayers.



                                           VerDate Sep<11>2014   20:06 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00009   Fmt 4701   Sfmt 4702   E:\FR\FM\22FEP2.SGM   22FEP2
                                                                    Case: 23-60069                    Document: 110                  Page: 63            Date Filed: 03/27/2023
                                                9806                  Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules

                                                state and Federal regulations were                      higher monitored values within                        the interstate transport provision, which
                                                warranted for Arkansas sources to                       nonattainment/maintenance regions.46                  requires states to eliminate significant
                                                satisfy interstate transport obligations                Modeling using both the 2011 and 2016                 contribution or interference with
                                                for the 2015 ozone NAAQS.                               based years consistently project that                 maintenance of the NAAQS at known
                                                  Based on the determinations made by                   certain areas will have problems                      and ongoing air quality problem areas in
                                                ADEQ at Steps 1 through 3, ADEQ did                     attaining and/or maintaining the 2015                 other states. The EPA does not, in this
                                                not include any new control measures                    ozone NAAQS including receptors in                    action, agree that the State has justified
                                                in the SIP submission to reduce ozone                   Texas.                                                its application of the 1 ppb threshold. In
                                                precursor emissions as part of a Step 4                                                                       any case, both the EPA’s most recent
                                                analysis.                                               2. Evaluation of Information Provided
                                                                                                        by ADEQ Regarding Step 2                              modeling, EPA 2016v2 modeling, and
                                                B. EPA Evaluation of the ADEQ SIP                                                                             the modeling relied on by ADEQ in its
                                                                                                           As noted earlier, ADEQ utilized a 1                SIP submittal, indicate that the State is
                                                Submission                                              ppb threshold at Step 2 to identify                   projected to contribute greater than both
                                                   The EPA is proposing to find that                    whether the State was ‘‘linked’’ to a                 the 1 percent and alternative 1 ppb
                                                ADEQ’s October 10, 2019, SIP                            projected downwind nonattainment or                   thresholds. While the EPA does not, in
                                                submission does not meet the State’s                    maintenance receptor. ADEQ identified                 this action, propose to approve of the
                                                obligations with respect to prohibiting                 linkages for Arkansas to one 2023                     State’s application of the 1 ppb
                                                emissions that contribute significantly                 projected maintenance receptor, Allegan               threshold, because the State has
                                                to nonattainment or interfere with                      County, MI, and no 2023 projected                     linkages greater than 1 ppb to projected
                                                maintenance of the 2015 ozone NAAQS                     nonattainment receptors.
                                                                                                                                                              downwind nonattainment or
                                                in any other state based on the EPA’s                      As discussed in the EPA’s August
                                                                                                                                                              maintenance receptors, (as shown in
                                                evaluation of the SIP submission using                  2018 memorandum, with appropriate
                                                the 4-Step interstate transport                         additional analysis it may be reasonable              Table AR–2) the State’s use of this
                                                framework, and the EPA is therefore                     for states to use a 1 ppb contribution                alternative threshold at Step 2 of the 4-
                                                proposing to disapprove ADEQ’s SIP                      threshold as an alternative to a 1 percent            Step interstate framework would not
                                                submission.                                             threshold, at Step 2 of the 4-Step                    alter our review and proposed
                                                                                                        interstate transport framework, for the               disapproval of this SIP submittal.
                                                1. Evaluation of Information Provided                                                                            Additionally, the EPA here shares
                                                                                                        purposes of identifying linkages to
                                                by ADEQ Regarding Step 1                                                                                      further evaluation of its experience
                                                                                                        downwind receptors. However, the
                                                   At Step 1 of the 4-Step framework,                   EPA’s August 2018 memorandum                          since the issuance of the August 2018
                                                ADEQ relied on the EPA modeling                         provided that whether or not a 1 ppb                  memorandum regarding use of
                                                released in the March 2018                              threshold is appropriate must be based                alternative thresholds at Step 2. This
                                                memorandum to identify nonattainment                    on an evaluation of state-specific                    experience leads the Agency to now
                                                and maintenance receptors in 2023. As                   circumstances, and no such evaluation                 believe it may not be appropriate to
                                                described in Section I of this action, the              was included in the state’s submittal.                continue to attempt to recognize
                                                EPA has recently performed updated                      Instead, ADEQ cited to the EPA’s SILs                 alternative contribution thresholds at
                                                modeling using the 2016v2 platform to                   Guidance as a basis to support the use                Step 2. The August 2018 memorandum
                                                evaluate interstate transport of ozone for              of a 1 ppb threshold; however, ADEQ                   stated that ‘‘it may be reasonable and
                                                a fy 2023.45 The EPA proposes to                        did not explain the relevance of the SILs             appropriate’’ for states to rely on an
                                                primarily rely on the EPA’s modeling                    Guidance to ADEQ’s statutory obligation               alternative threshold of 1 ppb threshold
                                                using the 2016v2 platform (EPA 2016v2                   under the interstate transport provision.             at Step 2. (The memorandum also
                                                modeling), to identify projected                        The SILs Guidance relates to a different              indicated that any higher alternative
                                                nonattainment and maintenance                           provision of the Clean Air Act regarding              threshold, such as 2 ppb, would likely
                                                receptors in fy 2023. Updating the base                 implementation of the prevention of                   not be appropriate.) However, the EPA
                                                period from 2011 (base period used in                   significant deterioration (PSD)                       also provided that ‘‘air agencies should
                                                data included in the March 2018                         permitting program, i.e., a program that              consider whether the recommendations
                                                memorandum) to a more recent year                       applies in areas that have been                       in this guidance are appropriate for each
                                                (2016) allows for better projections of                 designated attainment of the NAAQS.                   situation.’’ Following receipt and review
                                                which monitors will have problems                       The SILs Guidance is not applicable to                of 49 interstate transport SIP submittals
                                                attaining and/or maintaining the 2015                                                                         for the 2015 ozone NAAQS, the EPA’s
                                                ozone NAAQS and factors in more                           46 We note that ADEQ identified additional
                                                                                                                                                              experience has been that nearly every
                                                recent base year DVs. The EPA notes                     modeling performed by TCEQ and Midwest Ozone          state that attempted to rely on a 1 ppb
                                                that with a switch from 2011 base                       Group, but simply concluded that different
                                                                                                        modeling can lead to differences in DV projections    threshold did not provide sufficient
                                                period meteorology to 2016 base period                  and ozone contributions of these two alternative      information and analysis to support a
                                                meteorology, it is normal and expected                  modeling analyses, only TCEQ’s modeling using a       determination that an alternative
                                                that the potential downwind                             2012 base year identified receptors in Texas that     threshold was reasonable or appropriate
                                                nonattainment or maintenance receptors                  projected different DVs for the Texas receptors
                                                                                                        identified in the EPA’s 2011 base year. We discuss    for that state.
                                                would change due to the different                       the EPA’s review of the TCEQ’s modeling elsewhere        For instance, in nearly all submittals,
                                                weather patterns that occurred in the                   in this action and the Technical Support Document
                                                                                                                                                              the states did not provide the EPA with
                                                different base periods, which impacts                   for this action ‘‘EPA Region 6 2015 8-Hour Ozone
                                                                                                        Transport SIP Proposal Technical Support              analysis specific to their state or the
                                                both the transport of pollutants from
                                                                                                        Document’’ (EPA Region 6 2015 Ozone Transport         receptors to which its emissions are
lotter on DSK11XQN23PROD with PROPOSALS2




                                                upwind states and what receptors have                   SIP TSD.pdf) included in the Regional docket for      potentially linked. In one case, the
                                                                                                        this action (Docket ID No. EPA–R06–OAR–2021–
                                                  45 Per the instructions in the Supplementary          0801), but we do conclude that TCEQ and recent
                                                                                                                                                              proposed approval of Iowa’s SIP
                                                Information section above, all public comments,         monitoring data indicate that there are problematic   submittal, the EPA expended its own
                                                including comments on the EPA’s air quality             receptors that are expected to be either              resources to attempt to supplement the
                                                modeling should be submitted in the Regional            nonattainment or maintenance receptors in 2023        information submitted by the state, in
                                                docket for this action, Docket ID No. EPA–R06–          including the Texas receptors that the EPA
                                                OAR–2021–0801. Comments are not being accepted          identified in our March 2018 memorandum with
                                                                                                                                                              order to more thoroughly evaluate the
                                                in Docket No. EPA–HQ–OAR–2021–0663.                     Arkansas linkages.                                    state-specific circumstances that could


                                           VerDate Sep<11>2014   20:06 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00010   Fmt 4701   Sfmt 4702   E:\FR\FM\22FEP2.SGM   22FEP2
                                                                    Case: 23-60069                     Document: 110                 Page: 64            Date Filed: 03/27/2023
                                                                      Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules                                                    9807

                                                support approval.47 It was at the EPA’s                 equity and consistency problems among                 memorandum. The EPA invites
                                                sole discretion to perform this analysis                states.                                               comment on this broader discussion of
                                                in support of the state’s submittal, and                   Further, it is not clear that national             issues associated with alternative
                                                the Agency is not obligated to conduct                  ozone transport policy is best served by              thresholds at Step 2. (See
                                                supplemental analysis to fill the gaps                  allowing for less stringent thresholds at             Supplementary Information section
                                                whenever it believes a state’s analysis is              Step 2. The EPA recognized in the                     above for details and docket to submit
                                                insufficient. The Agency no longer                      August 2018 memorandum that there                     comments). Depending on public
                                                intends to undertake supplemental                       was some similarity in the amount of                  comments received in relation to this
                                                analysis of SIP submittals with respect                 total upwind contribution captured (on
                                                                                                                                                              action and further evaluation of this
                                                to alternative thresholds at Step 2 for                 a nationwide basis) between 1 percent
                                                                                                                                                              issue, the EPA may determine to rescind
                                                purposes of the 2015 ozone NAAQS.                       and 1 ppb. However, the EPA notes that
                                                   Furthermore, the EPA’s experience                    while this may be true in some sense,                 the 2018 memorandum in the future.
                                                since 2018 is that allowing for                         that is hardly a compelling basis to                     ADEQ included information in its SIP
                                                alternative Step 2 thresholds may be                    move to a 1 ppb threshold. Indeed, the                submission regarding back trajectories,
                                                impractical or otherwise inadvisable for                1 ppb threshold has the disadvantage of               emissions trends, and EGU cost controls
                                                a number of additional policy reasons.                  losing a certain amount of total upwind               to conclude that emissions from
                                                For a regional air pollutant such as                    contribution for further evaluation at                Arkansas should not be considered to
                                                ozone, consistency in requirements and                  Step 3 (e.g., roughly seven percent of                contribute significantly to
                                                expectations across all states is                       total upwind state contribution was lost              nonattainment or interfere with
                                                essential. Based on its review of                       according to the modeling underlying                  maintenance of the NAAQS in other
                                                submittals to-date and after further                    the August 2018 memorandum; 49 in                     states because there is not a persistent
                                                consideration of the policy implications                EPA 2016v2 modeling, the amount lost                  and consistent pattern of contribution
                                                of attempting to recognize an alternative               is five percent). Considering the core                from the State. While it is not entirely
                                                Step 2 threshold for certain states, the                statutory objective of ensuring
                                                                                                                                                              clear whether ADEQ was analyzing
                                                Agency now believes the attempted use                   elimination of all significant
                                                                                                                                                              these factors under Step 2 or Step 3, the
                                                of different thresholds at Step 2 with                  contribution to nonattainment or
                                                                                                        interference of the NAAQS in other                    EPA is evaluating such arguments under
                                                respect to the 2015 ozone NAAQS raises
                                                                                                        states and the broad, regional nature of              Step 3, as we view these statements in
                                                substantial policy consistency and
                                                practical implementation concerns.48                    the collective contribution problem with              the SIP submission to speak to whether
                                                The availability of different thresholds                respect to ozone, there does not appear               or not a contribution is ‘‘significant’’
                                                at Step 2 has the potential to result in                to be a compelling policy imperative in               once a linkage is established.
                                                inconsistent application of interstate                  allowing some states to use a 1 ppb                   3. Results of the EPA’s Step 1 and Step
                                                transport obligations based solely on the               threshold while others rely on a 1                    2 Modeling and Findings for Arkansas
                                                strength of a state’s SIP submittal at Step             percent of NAAQS threshold.
                                                2 of the 4-Step interstate transport                       Consistency with past interstate                     As described in Section I of this
                                                framework. From the perspective of                      transport actions such as CSAPR, and                  action, the EPA performed air quality
                                                ensuring effective regional                             the CSAPR Update and Revised CSAPR                    modeling using the 2016v2 emissions
                                                implementation of interstate transport                  Update rulemakings (which used a Step                 platform to project DVs and
                                                obligations, the more important analysis                2 threshold of 1 percent of the NAAQS                 contributions for 2023 (EPA 2016v2
                                                is the evaluation of the emissions                      for two less stringent ozone NAAQS), is
                                                                                                                                                              modeling). This data was examined to
                                                reductions needed, if any, to address a                 also important. Continuing to use a 1
                                                                                                                                                              determine if Arkansas contributes at or
                                                state’s significant contribution after                  percent of NAAQS approach ensures
                                                                                                        that as the NAAQS are revised and                     above the threshold of 1 percent of the
                                                consideration of a multifactor analysis                                                                       2015 ozone NAAQS (0.70 ppb) to any
                                                at Step 3, including a detailed                         made more stringent, an appropriate
                                                                                                        increase in stringency at Step 2 occurs,              downwind nonattainment or
                                                evaluation that considers air quality                                                                         maintenance receptor. As shown in
                                                factors and cost. Where alternative                     so as to ensure an appropriately larger
                                                                                                        amount of total upwind-state                          Table AR–2, the data 50 indicate that in
                                                thresholds for purposes of Step 2 may
                                                                                                        contribution is captured for purposes of              2023, emissions from Arkansas
                                                be ‘‘similar’’ in terms of capturing the
                                                                                                        fully addressing interstate transport.                contribute greater than 1 percent of the
                                                relative amount of upwind contribution
                                                (as described in the August 2018                        Accord 76 FR 48237–38.                                standards to nonattainment or
                                                                                                           Therefore, notwithstanding the                     maintenance-only receptors in Texas:
                                                memorandum), nonetheless, use of an
                                                                                                        August 2018 memorandum’s                              Denton County (Monitor ID.
                                                alternative threshold would allow
                                                                                                        recognition of the potential viability of             481210034), Brazoria County (Monitor
                                                certain states to avoid further evaluation
                                                                                                        alternative Step 2 thresholds, and in                 ID. 480391004), Harris County (Monitor
                                                of potential emission controls while
                                                                                                        particular, a potentially applicable 1                ID. 482010055, Monitor ID. 482011034,
                                                other states must proceed to a Step 3
                                                                                                        ppb threshold, the EPA’s experience
                                                analysis. This can create significant
                                                                                                        since the issuance of that memorandum
                                                  47 ‘‘Air Plan Approval; Iowa; Infrastructure State
                                                                                                        has revealed substantial programmatic
                                                Implementation Plan Requirements for the 2015           and policy difficulties in attempting to
                                                Ozone National Ambient Air Quality Standard’’, 85       implement this approach. Nonetheless,
                                                FR 12232 (March 2, 2020). The agency received           the EPA is not, at this time, rescinding
                                                adverse comments on this proposed approval and
lotter on DSK11XQN23PROD with PROPOSALS2




                                                has not taken final action with respect to this
                                                                                                        the August 2018 memorandum. The
                                                proposal.                                               basis for the EPA’s proposed
                                                  48 We note that Congress has placed on the EPA        disapproval of ADEQ’s SIP submission
                                                a general obligation to ensure the requirements of      with respect to the Step 2 analysis is, in               50 Design values and contributions at individual
                                                the CAA are implemented consistently across states      the Agency’s view, warranted even
                                                and regions. See CAA section 301(a)(2). Where the                                                             monitoring sites nationwide are provided in the
                                                management and regulation of interstate pollution       under the terms of the August 2018                    file: 2016v2_DVs_state_contributions.xlsx which is
                                                levels spanning many states is at stake, consistency                                                          included in docket ID No. EPA–HQ–OAR–2021–
                                                in application of CAA requirements is paramount.          49 See   August 2018 memorandum, at page 4.         0663.



                                           VerDate Sep<11>2014   20:06 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00011   Fmt 4701   Sfmt 4702   E:\FR\FM\22FEP2.SGM   22FEP2
                                                                     Case: 23-60069                          Document: 110                          Page: 65                 Date Filed: 03/27/2023
                                                9808                   Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules

                                                and Monitor ID. 482011035).51 52                                2016v2 results for 2023, the EPA                                  from sources or other emissions activity
                                                Therefore, based on the EPA’s                                   proposes to find that Arkansas is linked                          at Step 3 of the 4-Step framework.
                                                evaluation of the information submitted                         at Steps 1 and 2 and has an obligation
                                                by ADEQ, and based on the EPA model                             to assess potential emissions reductions

                                                 TABLE AR–2—PROJECTED NONATTAINMENT AND MAINTENANCE RECEPTORS WITH ARKANSAS LINKAGES IN 2023 BASED
                                                                                     ON EPA 2016V2 MODELING

                                                                                                                                                                                    2023             2023              Arkansas
                                                                    Receptor                                                      Nonattainment/                                 average DV       maximum DV          contribution
                                                            (site ID, county, state)                                               maintenance                                      (ppb)            (ppb)               (ppb)

                                                481210034,   Denton, TX ................................     Maintenance .....................................................            70.4               72.2               0.76
                                                480391004,   Brazoria, TX ..............................     Maintenance .....................................................            70.1               72.3               1.39
                                                482010055,   Harris, TX ..................................   Nonattainment ..................................................             71.0               72.0               1.00
                                                482011034,   Harris, TX ..................................   Maintenance .....................................................            70.3               71.6               1.38
                                                482011035,   Harris, TX ..................................   Maintenance .....................................................            68.0               71.6               1.34



                                                   We recognize that the results of the                         modeling results included in EPA’s                                attaining and is not expected to have
                                                EPA modeling released in the March                              March 2018 memorandum to be of equal                              difficulty maintaining the standard in
                                                2018 memorandum (2011 base year) and                            reliability relative to more recent EPA                           2023. As such, the EPA is not relying on
                                                the EPA 2016v2 modeling (2016 base                              2016v2 modeling. However, where                                   the comparative analysis of emissions
                                                year) identified different receptors and                        alternative or older modeling generated                           trends that ADEQ provided in order to
                                                linkages at Steps 1 and 2 of the 4-Step                         linkages, even if those linkages differ                           conclude that Arkansas’s emissions do
                                                framework. These differing results about                        from linkages in EPA 2016v2 modeling,                             not contribute significantly to a
                                                receptors and linkages can be affected                          that information provides further                                 nonattainment or maintenance problem
                                                by the varying meteorology from year to                         evidence, not less, in support of a                               in Allegan, MI. We note however, that
                                                year, but we do not think the differing                         conclusion that the state is required to                          ADEQ’s SIP submission and response to
                                                results mean that the modeling or the                           proceed to Step 3 to further evaluate its                         comments do not clearly define what
                                                EPA methodology for identifying                                 emissions.                                                        ADEQ considers to be persistent and
                                                receptors or linkages is inherently                                                                                               consistent pattern of contribution.
                                                                                                                4. Evaluation of Information Provided
                                                unreliable. Rather, these separate                                                                                                Rather, the SIP submission simply states
                                                                                                                by ADEQ Regarding Step 3
                                                modeling runs indicated (1) that there                                                                                            that contribution should be deemed
                                                were receptors that would struggle with                            At Step 3 of the 4-Step framework, a                           ‘‘significant’’ only if there is a persistent
                                                nonattainment or maintenance in the                             state’s emissions are further evaluated,                          and consistent pattern of several days
                                                future, and (2) that Arkansas was linked                        in light of multiple factors, including air                       with elevated ozone.
                                                to some set of these receptors, even if                         quality and cost considerations, to                                  To be clear, the modeling establishing
                                                the receptors and linkages differed from                        determine what, if any, emissions                                 linkages of Arkansas to downwind
                                                one another in their specifics (e.g., a                         contribute significantly to                                       nonattainment and maintenance
                                                different set of receptors were identified                      nonattainment or interfere with                                   receptors already establishes that there
                                                to have nonattainment or maintenance                            maintenance and, thus, must be                                    is a consistent and persistent pattern of
                                                problems, or Arkansas was linked to                             eliminated under CAA section                                      contribution on elevated ozone days
                                                different receptors in one modeling run                         110(a)(2)(D)(i)(I).                                               from Arkansas to other states. That is
                                                versus another). We think this common                              ADEQ included in their SIP                                     because EPA’s methodology for
                                                result indicates that Arkansas’s                                submission a further analysis of its                              projecting future year ozone
                                                emissions were substantial enough to                            modeled linkage to Allegan, MI (the                               concentrations accounts for precisely
                                                generate linkages at Steps 1 and 2 to                           only linked receptor it analyzed, based                           these concerns—the relative response
                                                some set of downwind receptors, under                           on its application of a 1 ppb threshold).                         factor 53 that is applied to historic
                                                varying assumptions and meteorological                          Arkansas stated that the purpose and its                          monitored data to generate projections
                                                conditions, even if the precise set of                          conclusion of this analysis was that it                           is calculated by looking only at days
                                                linkages changed between modeling                               would not contribute significantly to the                         with elevated ozone levels (ten days is
                                                runs. Under these circumstances, we                             Allegan, MI monitor because the state’s                           preferred with a minimum of five days).
                                                think it is appropriate to proceed to a                         emissions did not result in a consistent                          The EPA notes that monitored
                                                Step 3 analysis to determine what                               and persistent pattern of ozone                                   attainment with the ozone standard is
                                                portion of Arkansas’s emissions should                          contribution. As stated earlier, EPA                              determined by averaging the fourth high
                                                be deemed ‘‘significant.’’ In doing so,                         2016v2 modeling projects that the                                 value recorded each year for three years.
                                                we are not considering our own earlier                          Allegan County, MI receptor will be                               So, the EPA believes it is important to
                                                  51 These modeling results are consistent with the                52 Allegan County Monitor ID. 260050003 is not                 modeled value. Then a similar concentration
                                                results of a prior round of 2023 modeling using the             a receptor in 2023 in the EPA 2016v2 modeling.                    average is developed for same 10 base case days and
                                                2016v1 emissions platform which became available                2023 avg DV is 67.3 ppb and 2023 Max. DV is 68.4                  the same grid cell that provided the base case
lotter on DSK11XQN23PROD with PROPOSALS2




                                                to the public in the fall of 2020 in the Revised                ppb, so the Allegan County monitor is not a                       concentration to calculate a future year 10-day
                                                CSAPR Update, as noted in Section I of this action.             receptor in 2023 for nonattainment or maintenance.                average modeled value using the future year
                                                That modeling showed that Arkansas had a                           53 The relative response factor (RRF) is a ratio               modeling results. The RRF is then calculated by
                                                maximum contribution greater than 0.70 ppb to at                developed using the modeled changes between the                   using this future year 10-day average model value
                                                least one nonattainment or maintenance-only                     base case and future case for high ozone modeled                  divided by the base case year 10-day average model
                                                receptor in 2023. These modeling results are                    days. Typically, the 10 highest MDA8 modeled days                 value to develop a ratio representing the change in
                                                included in the file ‘‘Ozone Design Values And                  in the base case are found and the maximum value                  modeled ozone. The RRF is then multiplied times
                                                Contributions Revised CSAPR Update.xlsx’’ in                    from the 3x3 grid centered on the monitor for each                the base DV value to result in a projected future
                                                docket EPA–HQ–OAR–2021–0663.                                    day is used to calculate a 10-day average base case               year DV.



                                           VerDate Sep<11>2014   20:06 Feb 18, 2022      Jkt 256001     PO 00000      Frm 00012      Fmt 4701      Sfmt 4702     E:\FR\FM\22FEP2.SGM     22FEP2
                                                                    Case: 23-60069                    Document: 110                   Page: 66             Date Filed: 03/27/2023
                                                                      Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules                                                       9809

                                                estimate impacts on the days with                       centerline does not have to pass directly                 HYSPLIT back trajectory information
                                                highest projected ozone levels. The                     over emissions sources or emission                        did not show that the base years used
                                                EPA’s approach, as detailed in the Air                  source areas but merely relatively near                   in the EPA modeling (2011 and 2016)
                                                Quality Modeling Technical Support                      emission source areas for those areas to                  demonstrated an unusual amount of
                                                Document for 2015 Ozone NAAQS                           contribute to concentrations at the                       transport of air parcels from Arkansas to
                                                Transport SIP Proposed Actions                          endpoint. The EPA relies on back                          nonattainment or maintenance receptors
                                                included in Docket ID No. EPA–HQ–                       trajectory analysis as a corollary                        in downwind states (i.e., the modeling
                                                OAR–2021–0663, does this by                             analysis along with observation-based                     years used by the EPA do not skew the
                                                estimating the average fy 2023 impact                   meteorological wind fields at multiple                    results toward finding linkages).56
                                                from an upwind state on the days with                   heights to examine the general                            Therefore, although Arkansas asserted
                                                the highest projected ozone levels at the               plausibility of the photochemical model                   that its additional air quality factor
                                                downwind nonattainment or                               ‘‘linkages.’’ Since the back trajectory                   analysis using back trajectory analysis is
                                                maintenance receptor. The days chosen                   calculations do not account for any air                   a permissible way to interpret which
                                                to analyze the future impacts are chosen                pollution formation, dispersion,                          contributions are ‘‘significant’’ because
                                                initially by the selecting the ten highest              transformation, or removal processes as                   that analysis examines whether there
                                                days in the base period modeling that                   influenced by emissions, chemistry,                       was a ‘‘persistent and consistent pattern
                                                are projected to be above 65 ppb in the                 deposition, etc., the trajectories cannot                 of contribution on several days with
                                                base period. If there are not ten days                  be used to develop quantitative                           elevated ozone,’’ the modeled linkage at
                                                above 65 ppb at a potential receptor, the               contributions. Therefore, back                            Step 2 is a superior approach for
                                                number of days above 65 ppb are used                    trajectories cannot be used to                            assessing the persistence of a state’s
                                                as long as there is at least five days                  quantitatively evaluate the magnitude of                  contribution. It is superior because it is
                                                above 65 ppb in the base period. If the                 the existing photochemical                                based on the average of the
                                                air quality modeling shows fewer than                   contributions from upwind states to                       contributions on the five to ten highest
                                                five days above 65 ppb in the base                      downwind receptors. Chemical                              ozone days. Considering the form of the
                                                period, then the data for impacts at that               transport models, such as the one relied                  standard, this is a sufficient number of
                                                receptor in fy 2023 are not calculated.                 upon by Arkansas to establish the                         days to determine if an impact is
                                                The base and future year modeling for                   linkage between Arkansas and those                        persistent enough to impact an area’s
                                                these five to ten days is then used to                  downwind receptors in the first                           ability to attain or maintain the
                                                project fy 2023 ozone DVs to determine                  instance, do take these factors into                      standard. The modeling is also a better
                                                whether it is projected to be a                         account and therefore provide a more                      method because it accounts for
                                                nonattainment or maintenance receptor                   robust assessment of ozone                                dispersion while back trajectory
                                                in 2023. For the same five to ten days                  contribution.                                             analysis as performed by Arkansas only
                                                identified, the future year modeling                       During ADEQ’s public comment                           shows the centerline of air parcel travel
                                                provides the estimated daily                            period, the EPA submitted comments                        and otherwise will leave out days when
                                                contribution at a potential receptor’s                  noting concerns regarding the                             Arkansas would have contributed to
                                                future year daily MDA8 and these daily                  methodology ADEQ used in their                            downwind problems. Finally, because
                                                contributions are averaged for the five to              HYSPLIT back trajectories analysis.54                     the modeling accounts for dispersion
                                                ten days to result in the average                       While we are not providing a detailed                     and chemical reactions, it can provide a
                                                contribution from the upwind area.                      evaluation of ADEQ’s HYSPLIT analysis                     quantitative estimate of contribution.
                                                                                                        in this rulemaking, we do note that our
                                                   As mentioned previously, ADEQ used                                                                                ADEQ also contested the significance
                                                                                                        review identified a number of concerns
                                                HYSPLIT back trajectories to assess                                                                               of its modeled contribution above 1 ppb
                                                                                                        with how ADEQ screened out a number
                                                wind patterns on elevated ozone days in                                                                           based on the relatively larger
                                                                                                        of back trajectories, which invalidates
                                                an attempt to demonstrate that there is                                                                           contributions of other upwind states to
                                                                                                        ADEQ’s conclusions.55 While we
                                                not persistent and consistent pattern of                                                                          the receptor to which it was linked. The
                                                                                                        disagree with ADEQ’s methodologies
                                                contribution from Arkansas to the                                                                                 EPA disagrees that a state’s small
                                                                                                        and conclusions, we note that ADEQ’s
                                                Allegan County, MI receptor. HYSPLIT                                                                              contribution relative to other upwind
                                                back trajectory analyses use archived                      54 The EPA reviewed the ADEQ SIP submission
                                                                                                                                                                  states is a permissible basis for finding
                                                meteorological modeling that includes                   and provided comments during the State’s public           no obligation under the interstate
                                                actual observed data (surface, upper air,               comment period for the proposed SIP action. The           transport provision. CAA
                                                                                                        EPA’s comment letter and ADEQ’s response to               110(a)(2)(D)(i)(I) requires states and the
                                                airplane data, etc.) and modeled                        comments are included in ADEQ’s October 19,
                                                meteorological fields to estimate the                   2019, SIP submission, which is available in the
                                                                                                                                                                  EPA to address interstate transport of air
                                                most likely route of an air parcel                      Regional docket for this action (Docket ID No. EPA–       pollution that contributes to downwind
                                                transported to a receptor at a specified                R06–OAR–2021–0801).                                       states’ ability to attain and maintain the
                                                                                                           55 Concerns included removing of HYSPLIT back
                                                time. The method essentially follows a                                                                            NAAQS. Whether emissions from other
                                                                                                        trajectories based on start height, the start time that
                                                parcel of air backward in hourly steps                  Arkansas used for the back trajectories and
                                                                                                                                                                  states also contribute to the same
                                                for a specified length of time. HYSPLIT                 removing of back trajectories when the centerline         downwind air quality issue is irrelevant
                                                estimates the central path in both the                  passed near but not through Arkansas because              in assessing whether a downwind state
                                                                                                        Arkansas has some very large point sources near the       has an air quality problem, or whether
                                                vertical and horizontal planes. The                     Arkansas state line that could be contributing.
                                                HYSPLIT central path represents the                     Texas also screened their HYPSLIT back trajectories
                                                                                                                                                                  an upwind state is significantly
                                                centerline with the understanding that                  similarly to Arkansas and we have further                 contributing to that problem. States are
                                                there are areas on each side horizontally               discussed our concerns and why such screening             not obligated under CAA section
lotter on DSK11XQN23PROD with PROPOSALS2




                                                                                                        invalidates conclusions from the HYSPLIT back             110(a)(2)(D)(i)(I) to reduce emissions
                                                and vertically that also contribute to the              trajectory analyses. See EPA’s review and
                                                concentration at the end point monitor.                 conclusions in discussion of TCEQ’s HYSPLIT
                                                                                                                                                                  sufficient on their own to resolve
                                                The horizontal and vertical areas that                  analyses in the ‘‘EPA Region 6 2015 8-Hour Ozone
                                                                                                        Transport SIP Proposal Technical Support                    56 ADEQ’s summary of trajectories indicated that
                                                potentially contribute to the end point
                                                                                                        Document’’ (EPA Region 6 2015 Ozone Transport             2011 had three linked back trajectories and 2016
                                                concentration grow wider from the                       SIP TSD.pdf) included in the Regional docket for          had one linked back trajectories and the EPA
                                                centerline the further back in time the                 this action (Docket ID No. EPA–R06–OAR–2021–              calculated the average for 2008–2017 in ADEQ’s
                                                trajectory goes. Therefore, a HYSPLIT                   0801).                                                    table was 2.2 linked back trajectories per year.



                                           VerDate Sep<11>2014   20:06 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00013   Fmt 4701   Sfmt 4702   E:\FR\FM\22FEP2.SGM     22FEP2
                                                                    Case: 23-60069                    Document: 110                  Page: 67            Date Filed: 03/27/2023
                                                9810                  Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules

                                                downwind receptors’ nonattainment or                    approach (i.e., Step 3 of the 4-Step                  and Arkansas’s small contribution
                                                maintenance problems. Rather, states                    interstate transport framework) when                  relative to other states potentially linked
                                                are obligated to eliminate their own                    identifying emissions contributions that              to Allegan County, MI based on EPA’s
                                                ‘‘significant contribution’’ or                         the Agency has determined to be                       modeling.
                                                ‘‘interference’’ with the ability of other              ‘‘significant’’ (or interfere with                       Arkansas’s analysis is inadequate
                                                states to attain or maintain the NAAQS.                 maintenance) in each of its prior
                                                                                                                                                              because its focus is only on EGUs.57 See
                                                Indeed, the D.C. Circuit in Wisconsin                   Federal, regional ozone transport
                                                                                                                                                              Wisconsin, 938 F.3d at 318–20. We also
                                                specifically rejected arguments                         rulemakings, and this interpretation of
                                                suggesting that upwind states should be                 the statute has been upheld by the                    find Arkansas’s conclusions as to the
                                                excused from interstate transport                       Supreme Court. See EME Homer City,                    availability of cost-effective controls for
                                                obligations on the basis that some other                572 U.S. 489, 519 (2014). While the EPA               EGUs to be inadequate. Relying on the
                                                source of emissions (whether                            has not directed states that they must                CSAPR Update’s (or any other CAA
                                                international or another upwind state)                  conduct a Step 3 analysis in precisely                program’s) determination of cost-
                                                could be considered the ‘‘but-for’’ cause               the manner the EPA has done in its                    effectiveness without further Step 3
                                                of downwind air quality problem. 938                    prior regional transport rulemakings,                 analysis is not approvable. Cost-
                                                F.3d 303 at 323–324. The court viewed                   state implementation plans addressing                 effectiveness must be assessed in the
                                                these arguments as essentially an                       the obligations in CAA section                        context of the specific CAA program;
                                                argument ‘‘that an upwind State                         110(a)(2)(D)(i)(I) must prohibit ‘‘any                assessing cost-effectiveness in the
                                                ‘contributes significantly’ to downwind                 source or other type of emissions                     context of ozone transport should reflect
                                                nonattainment only when its emissions                   activity within the State’’ from emitting             a more comprehensive evaluation of the
                                                are the sole cause of downwind                          air pollutants which will contribute                  nature of the interstate transport
                                                nonattainment.’’ 938 F.3d 303 at 324.                   significantly to downwind air quality                 problem, the total emissions reductions
                                                The court explained that ‘‘an upwind                    problems. Thus, states must complete                  available at several cost thresholds, and
                                                State can ‘contribute’ to downwind                      something similar to the EPA’s analysis               the potential air quality impacts of those
                                                nonattainment even if its emissions are                 (or an alternative approach to defining               reductions at downwind receptors.
                                                not the but-for cause.’’ Id. At 324–325.                ‘‘significance’’ that comports with the               While the EPA has not established a
                                                See also Catawba County v. EPA, 571                     statute’s objectives) to determine                    benchmark cost-effectiveness value for
                                                F.3d 20, 39 (D.C. Cir. 2009) (rejecting                 whether and to what degree emissions                  2015 ozone NAAQS interstate transport
                                                the argument ‘‘that ‘significantly                      from a state should be ‘‘prohibited’’ to              obligations, because the 2015 ozone
                                                contribute’ unambiguously means                         eliminate emissions that will                         NAAQS is a more stringent and more
                                                ‘strictly cause’’’ because there is ‘‘no                ‘‘contribute significantly to                         protective air quality standard, it is
                                                reason why the statute precludes EPA                    nonattainment in, or interfere with
                                                                                                                                                              reasonable to expect control measures or
                                                from determining that [an] addition of                  maintenance of’’ the NAAQS in any
                                                                                                                                                              strategies to address interstate transport
                                                [pollutant] into the atmosphere is                      other state. As discussed below, ADEQ
                                                                                                                                                              under this NAAQS to reflect higher
                                                significant even though a nearby                        did not conduct an adequate analysis in
                                                                                                                                                              marginal control costs. ADEQ’s
                                                county’s nonattainment problem would                    their SIP submission. We therefore
                                                still persist in its absence’’); Miss.                  propose that ADEQ was required to                     submission failed to provide a
                                                Comm’n on Envtl. Quality v. EPA, 790                    analyze emissions from the sources and                justification for why the $1400/ton
                                                F.3d 138, 163 n.12 (D.C. Cir. 2015)                     other emissions activity from within the              threshold used in the CSAPR Update is
                                                (observing that the argument that ‘‘there               State to determine whether its                        appropriate to rely on for the 2015
                                                likely would have been no violation at                  contributions were significant, and we                ozone NAAQS. ADEQ’s analysis does
                                                all . . . if it were not for the emissions              propose to disapprove its submission                  not consider any air quality impacts of
                                                resulting from [another source]’’ is                    because Arkansas failed to adequately                 assessed controls at downwind
                                                ‘‘merely a rephrasing of the but-for                    do so.                                                receptors. As stated above, assessing
                                                causation rule that we rejected in                         In analyzing potential additional NOX              cost-effectiveness in the context of
                                                Catawba County.’’). Therefore, a state is               controls, ADEQ found that additional                  ozone transport requires more than just
                                                not excused from eliminating its                        controls on its EGUs would exceed the                 assessing the cost of controls per ton of
                                                significant contribution on the basis that              cost-effectiveness thresholds identified              NOX removed. As such, ADEQ’s
                                                emissions from other states also                        in the CSAPR and CSAPR Update rules.                  assessment of the cost of controls and
                                                contribute some amount of pollution to                  For the cost analysis, Arkansas only                  reliance on the marginal cost threshold
                                                the same receptors to which the state is                focused on the potential costs of NOX                 of $1,400/ton used for the CSAPR
                                                linked.                                                 controls for EGUs. As stated above,                   Update is inadequate. Furthermore, EPA
                                                   ADEQ did not provide additional                      Arkansas found that the costs to install              2016v2 modeling captures all existing
                                                analysis for other receptors to which it                additional NOX controls (selective                    CSAPR trading programs in the baseline
                                                was linked above 1 percent in the air                   catalytic reduction, SCR, and selective               and confirms that these control
                                                quality modeling upon which it relied,                  noncatalytic reduction, SNCR) at                      programs were not sufficient to
                                                and to which it continues to be linked                  electric generating units (EGUs) exceed               eliminate Arkansas’s linkage at Steps 1
                                                in EPA 2016v2 modeling. To effectively                  EPA’s cost thresholds used for the                    and 2 under the 2015 ozone NAAQS.
                                                evaluate which emissions in the state                   CSAPR and CSAPR Update rules. Based                   The State was therefore obligated at
                                                should be deemed ‘‘significant’’ and                    on the projected cost of these controls               Step 3 to assess additional control
                                                therefore prohibited, states generally                  relative to the thresholds used in those
lotter on DSK11XQN23PROD with PROPOSALS2




                                                                                                                                                              measures using a multifactor analysis.
                                                should prepare an accounting of sources                 two prior EPA rules, Arkansas
                                                and other emissions activity for relevant               concluded that no new controls beyond                   57 In 2017, National Emission Inventory (NEI)

                                                pollutants and assess potential,                        those Federal and State regulations                   NOX emissions from EGU sources represent 56%
                                                additional emissions reduction                          already in existence were cost-effective,             percent of the total NOx emissions categories in
                                                                                                                                                              Arkansas that report emissions to the NEI. See AR
                                                opportunities and resulting downwind                    especially considering that Allegan                   NOx.xlsx datasheet included in the Regional docket
                                                air quality improvements. The EPA has                   County, MI is projected to be in                      for this action (Docket ID No. EPA–R06–OAR–
                                                consistently applied this general                       attainment with the 2015 ozone NAAQS                  2021–0801).



                                           VerDate Sep<11>2014   20:06 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00014   Fmt 4701   Sfmt 4702   E:\FR\FM\22FEP2.SGM   22FEP2
                                                                          Case: 23-60069                           Document: 110                          Page: 68                  Date Filed: 03/27/2023
                                                                             Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules                                                                       9811

                                                5. Evaluation of Information Provided                                 (LDEQ) made a SIP submission                                       state emissions to the projected ozone
                                                by ADEQ Regarding Step 4                                              addressing the State of Louisiana’s                                concentrations at each ozone monitor.
                                                   Step 4 of the 4-Step interstate                                    interstate transport of air pollution for                             LDEQ used a contribution threshold
                                                transport framework calls for the                                     the 2015 ozone NAAQS. The SIP                                      of 1 ppb in LDEQ’s Step 2 to identify
                                                development of permanent and                                          submission provided LDEQ’s analysis of                             projected nonattainment and/or
                                                federally enforceable control strategies                              Louisiana’s impact to downwind states                              maintenance receptors in other states
                                                to achieve the emissions reductions                                   and concluded that emissions from
                                                                                                                                                                                         that might be impacted by emissions
                                                determined to be necessary at Step 3 to                               Louisiana will not contribute
                                                                                                                                                                                         from Louisiana and tagged them for
                                                eliminate significant contribution to                                 significantly to nonattainment or
                                                                                                                                                                                         further review. To support a 1 ppb
                                                nonattainment or interference with                                    interfere with maintenance of the 2015
                                                                                                                                                                                         contribution threshold, LDEQ’s
                                                maintenance of the NAAQS. ADEQ’s                                      ozone NAAQS in other states.
                                                                                                                                                                                         submission stated that a 1 percent
                                                SIP submission, which looked only at                                     The LDEQ’s SIP submission provided                              threshold is inappropriate because that
                                                additional NOX controls at EGUs and                                   an analysis of Louisiana’s air emissions                           value is not detectable by a monitor and
                                                dismissed such controls as not cost-                                  impact to downwind states using a 3-
                                                effective relative to the thresholds                                                                                                     the value of 1 percent of the 2015 ozone
                                                                                                                      Step alternative framework similar to                              NAAQS would be truncated to zero if
                                                established in earlier EPA transport                                  the EPA’s 4-Step framework. LDEQ’s 3-
                                                rules, did not constitute an adequate                                                                                                    calculated in accordance with the
                                                                                                                      Step alternative framework includes:                               method for determining DVs for the
                                                emission reduction analysis at Step 3.                                Step 1: Identify monitors projected to be
                                                Based on its conclusions, ADEQ did not                                                                                                   ozone NAAQS. LDEQ also stated that
                                                                                                                      in nonattainment or have maintenance
                                                revise its SIP to include any emission                                                                                                   the more stringent threshold of 1
                                                                                                                      issues in a future year; Step 2: Identify
                                                reductions. As a result, the EPA                                                                                                         percent of the NAAQS (0.7 ppb) is an
                                                                                                                      projected nonattainment and/or
                                                proposes to disapprove ADEQ’s                                                                                                            order of magnitude smaller than the
                                                                                                                      maintenance monitors in other states
                                                submittal on the separate, additional                                 that might be impacted by emissions                                biases and errors typically documented
                                                basis that Arkansas has not developed                                 from Louisiana, tagging them for further                           for regional photochemical modeling.58
                                                or included permanent and enforceable                                                                                                    Based on LDEQ’s approach of evaluating
                                                                                                                      review; and, Step 3: Determine if
                                                emissions reductions in its SIP                                                                                                          linkages at the 1 ppb threshold, five
                                                                                                                      emissions from Louisiana contribute
                                                necessary to meet the obligations of                                                                                                     Texas receptors were identified by
                                                                                                                      significantly to nonattainment or
                                                CAA section 110(a)(2)(D)(i)(I).                                                                                                          Louisiana for analysis. The Texas
                                                                                                                      interfere with maintenance at the
                                                6. Conclusion                                                         monitors tagged for review in Step 2.                              receptors and corresponding receptor
                                                                                                                      LDEQ noted that its Step 1 is identical                            data presented in Louisiana’s SIP are
                                                   Based on the EPA’s evaluation of
                                                ADEQ’s SIP submission, the EPA is                                     to the EPA’s Step 1, and its Steps 2 and                           summarized further in this notice in
                                                proposing to find that ADEQ’s October                                 3 are equivalent to the EPA’s Step 2.                              Table LA–1.59 The March 2018
                                                19, 2019, SIP submission addressing                                   Louisiana further noted that Steps 3 and                           memorandum identified monitors in
                                                CAA section 110(a)(2)(D)(i)(I) does not                               4 of the EPA’s 4-Step framework are                                Allegan, Michigan and Milwaukee and
                                                meet the State’s interstate transport                                 relevant only if emissions from                                    Sheboygan, Wisconsin as potential
                                                obligations because it fails to contain                               Louisiana contribute significantly to                              nonattainment and maintenance-only
                                                the necessary provisions to eliminate                                 nonattainment or interfere with                                    receptors linked to emissions from
                                                emissions that will contribute                                        maintenance at downwind monitors in                                Louisiana based on 1 percent of the
                                                significantly to nonattainment or                                     another state.                                                     NAAQS threshold. However, Louisiana
                                                interfere with maintenance of the 2015                                   LDEQ’s Step 1 was to identify                                   did not include the Allegan, Michigan
                                                ozone NAAQS in any other state.                                       downwind monitors projected to be in                               and Milwaukee and Sheboygan,
                                                III. Louisiana SIP Submission                                         nonattainment and/or have maintenance                              Wisconsin receptors in the State’s
                                                Addressing Interstate Transport of Air                                issues in future year 2023 (fy 2023). At                           analysis because the March 2018
                                                Pollution for the 2015 Ozone NAAQS                                    this step, LDEQ relied on the EPA’s                                memorandum shows that Louisiana’s
                                                and the EPA Evaluation of the SIP                                     interstate transport modeling results                              projected modeled contribution values
                                                Submission                                                            that are included as an attachment to                              to each receptor is less than 1 ppb.
                                                                                                                      the March 2018 memorandum. The EPA
                                                A. Summary of LDEQ SIP Submission                                     March 2018 modeling results provided:
                                                Addressing Interstate Transport of Air                                (1) Projected average DV and maximum
                                                Pollution for the 2015 Ozone NAAQS                                    DV for 2023 for the ozone monitors (or
                                                  On November 13, 2019, the Louisiana                                 ‘‘receptors’’) in the 48 contiguous states
                                                Department of Environmental Quality                                   and (2) the expected contribution of

                                                    TABLE LA–1—PROJECTED NONATTAINMENT AND MAINTENANCE RECEPTORS IDENTIFIED BY LOUISIANA BASED ON THE
                                                                                    EPA’S MARCH 2018 MEMORANDUM
                                                                                                                                                                                           2023             2023              Louisiana
                                                                                                          Receptor                                                                      Average DV       Maximum DV          Contribution
                                                                                                  (site ID, county, state)                                                                (ppb) 60         (ppb) 61             (ppb)
lotter on DSK11XQN23PROD with PROPOSALS2




                                                480391004, Brazoria, TX .............................................................................................................            74.0               74.9               3.80

                                                   58 The Louisiana SIP submittal did not provide a                   2006 and 2012’’. Atmospheric Environment 61,                       2015 ozone NAAQS. The Louisiana SIP submittal
                                                specific citation to the Simon et al., 2012 reference                 124–139.                                                           appears to have inadvertently omitted Harris
                                                to support this assertion. However, we believe the                      59 The five potential nonattainment and                          County, TX Monitor ID No. 482011034 for analysis.
                                                reference is associated with the following article:                                                                                      EPA’s March 2018 memorandum identified this
                                                                                                                      maintenance receptor monitors identified by LDEQ
                                                Simon, H., Baker, K.R., Phillips, S., 2012.
                                                                                                                      are from the Dallas-Fort Worth and Houston-                        monitor as a maintenance receptor with a
                                                ‘‘Compilation and interpretation of photochemical
                                                model performance statistics published between                        Galveston-Brazoria, TX nonattainment areas for the                 contribution of 3.38 ppb from Louisiana emissions.




                                           VerDate Sep<11>2014       20:06 Feb 18, 2022       Jkt 256001      PO 00000      Frm 00015      Fmt 4701      Sfmt 4702      E:\FR\FM\22FEP2.SGM     22FEP2
                                                                     Case: 23-60069                               Document: 110                             Page: 69                   Date Filed: 03/27/2023
                                                9812                    Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules

                                                   TABLE LA–1—PROJECTED NONATTAINMENT AND MAINTENANCE RECEPTORS IDENTIFIED BY LOUISIANA BASED ON THE
                                                                             EPA’S MARCH 2018 MEMORANDUM—Continued
                                                                                                                                                                                              2023                 2023          Louisiana
                                                                                                        Receptor                                                                           Average DV           Maximum DV      Contribution
                                                                                                (site ID, county, state)                                                                     (ppb) 60             (ppb) 61         (ppb)

                                                482011039,   Harris, TX ................................................................................................................               71.8            73.5                4.72
                                                484392003,   Tarrant, TX ..............................................................................................................                72.5            74.8                1.71
                                                481210034,   Denton, TX ..............................................................................................................                 69.7            72.0                1.92
                                                482010024,   Harris, TX ................................................................................................................               70.4            72.8                4.72



                                                   ForLDEQ’s Step 3, Louisiana stated                               framework, and the EPA is therefore                                     issuance of the August 2018
                                                that an air emission contribution from                              proposing to disapprove Louisiana’s SIP                                 memorandum regarding use of
                                                the State should only be considered                                 submission.                                                             alternative thresholds at Step 2. This
                                                significant if there is a persistent and                                                                                                    experience leads the Agency to now
                                                                                                                    1. Evaluation of Information Provided
                                                consistent pattern of contribution on                                                                                                       believe it may not be appropriate to
                                                several days with elevated ozone. In                                by LDEQ Regarding Steps 1 and 2
                                                                                                                                                                                            continue to attempt to recognize
                                                trying to determine whether there is a                                 At Step 1 of the 4-Step interstate                                   alternative contribution thresholds at
                                                persistent and consistent pattern of                                transport framework, LDEQ relied on                                     Step 2. The August 2018 memorandum
                                                contribution, LDEQ analyzed seasonal                                EPA modeling released in the March                                      stated that ‘‘it may be reasonable and
                                                weather patterns, surface wind                                      2018 memorandum to identify                                             appropriate’’ for states to rely on an
                                                directions, and periodic back                                       nonattainment and maintenance                                           alternative threshold of 1 ppb threshold
                                                trajectories. LDEQ used the National                                receptors in 2023. At Step 2 of the                                     at Step 2.63 (The memorandum also
                                                Oceanic and Atmospheric                                             4-Step interstate transport framework,                                  indicated that any higher alternative
                                                Administration (NOAA) Hybrid Single                                 LDEQ relied on the EPA modeling                                         threshold, such as 2 ppb, would likely
                                                Particle Lagrangian Integrated Trajectory                           released in the March 2018                                              not be appropriate.) However, the EPA
                                                (HYSPLIT) 62 model to perform 99 back                               memorandum to identify upwind state                                     also provided that ‘‘air agencies should
                                                trajectories for exceedances from the                               linkages to nonattainment and                                           consider whether the recommendations
                                                receptor monitors identified in Table                               maintenance receptors in 2023. LDEQ                                     in this guidance are appropriate for each
                                                LA–1 for 2016, 2017, and 2018. Based                                additionally utilized a 1 ppb threshold                                 situation.’’ Following receipt and review
                                                on an analysis of the HYSPLIT results,                              at Step 2 to identify whether the state                                 of 49 interstate transport SIP submittals
                                                LDEQ stated that approximately 28% of                               was ‘‘linked’’ to a projected downwind                                  for the 2015 ozone NAAQS, the EPA’s
                                                the trajectories travel in or through                               nonattainment or maintenance receptor.                                  experience has been that nearly every
                                                Louisiana, and only 8% of those back                                As discussed in the EPA’s August 2018                                   state that attempted to rely on a 1 ppb
                                                trajectories originate in the State. The                            memorandum, with appropriate                                            threshold did not provide sufficient
                                                SIP submission also stated that a                                   additional analysis it may be reasonable                                information and analysis to support a
                                                comparison of the EPA’s modeled                                     for states to use a 1 ppb contribution                                  determination that an alternative
                                                contribution between Texas and                                      threshold, as an alternative to a 1                                     threshold was reasonable or appropriate
                                                Louisiana monitors indicates that a far                             percent threshold, at Step 2 of the                                     for that state.
                                                greater proportion of the total ozone                               4-Step interstate transport framework,                                     For instance, in nearly all submittals,
                                                detected in Louisiana originates in                                 for the purposes of identifying linkages                                the states did not provide the EPA with
                                                Texas rather than vice versa. Therefore,                            to downwind receptors. In any case, the                                 analysis specific to their state or the
                                                Louisiana concluded that the impact                                 State is projected to contribute greater                                receptors to which its emissions are
                                                from the State’s air emissions was                                  than both the 1 percent and the                                         potentially linked. In one case, the
                                                insignificant to the overall attainment at                          alternative 1 ppb thresholds to receptors                               proposed approval of Iowa’s SIP
                                                the receptor monitors identified in                                 in Texas, regardless of whether we look                                 submittal, the EPA expended its own
                                                Table LA–1 and does not significantly                               at LDEQ’s analysis (which relied on the                                 resources to attempt to supplement the
                                                contribute to nonattainment or interfere                            EPA’s older modeling) or updated                                        information submitted by the state, in
                                                with maintenance of the 2015 ozone                                  modeling the EPA has performed in                                       order to more thoroughly evaluate the
                                                NAAQS in other states.                                              advance of this proposal. As seen in the                                state-specific circumstances that could
                                                B. EPA Evaluation of the LDEQ SIP                                   tables LA–1 and LA–2, Louisiana                                         support approval.64 The Agency no
                                                Submission                                                          contributes nearly five times the 1 ppb                                 longer intends to undertake
                                                                                                                    threshold to nonattainment or                                           supplemental analysis of SIP submittals
                                                  The EPA is proposing to find that                                 maintenance receptors in Texas.
                                                LDEQ’s November 13, 2019, SIP                                                                                                               with respect to alternative thresholds at
                                                                                                                    Therefore, while the EPA does not, in                                   Step 2 for purposes of the 2015 ozone
                                                submission does not meet the State’s                                this action, approve of the State’s
                                                obligations with respect to prohibiting                                                                                                     NAAQS.
                                                                                                                    application of the 1 ppb threshold,                                        Furthermore, the EPA’s experience
                                                emissions that contribute significantly
                                                                                                                    because the State has linkages greater                                  since 2018 is that allowing for
                                                to nonattainment or interfere with
                                                                                                                    than 1 ppb to projected downwind                                        alternative Step 2 thresholds may be
                                                maintenance of the 2015 NAAQS in any
lotter on DSK11XQN23PROD with PROPOSALS2




                                                                                                                    nonattainment or maintenance
                                                other state based on the EPA’s
                                                                                                                    receptors, the State’s use of this                                        63 See August 2018 memorandum, at page 4.
                                                evaluation of the SIP submission using
                                                                                                                    alternative threshold at Step 2 of the                                    64 ‘‘AirPlan Approval; Iowa; Infrastructure State
                                                the 4-Step interstate transport
                                                                                                                    4-Step interstate framework would not                                   Implementation Plan Requirements for the 2015
                                                                                                                    alter our review and proposed                                           Ozone National Ambient Air Quality Standard’’, 85
                                                 60 Information added from the EPA’s March 2018
                                                                                                                                                                                            FR 12232 (March 2, 2020). The Agency received
                                                memorandum.                                                         disapproval of this SIP submittal.                                      adverse comments on this proposed approval and
                                                 61 Id.                                                                The EPA here shares further                                          has not taken final action with respect to this
                                                 62 See FN 34.                                                      evaluation of its experience since the                                  proposal.



                                           VerDate Sep<11>2014   20:06 Feb 18, 2022         Jkt 256001      PO 00000       Frm 00016        Fmt 4701      Sfmt 4702       E:\FR\FM\22FEP2.SGM          22FEP2
                                                                      Case: 23-60069                       Document: 110                          Page: 70                 Date Filed: 03/27/2023
                                                                         Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules                                                                   9813

                                                impractical or otherwise inadvisable for                      August 2018 memorandum that there                                 particular, a potentially applicable 1
                                                a number of additional policy reasons.                        was some similarity in the amount of                              ppb threshold, the EPA’s experience
                                                For a regional air pollutant such as                          total upwind contribution captured (on                            since the issuance of that memorandum
                                                ozone, consistency in requirements and                        a nationwide basis) between 1 percent                             has revealed substantial programmatic
                                                expectations across all states is                             and 1 ppb. However, the EPA notes that                            and policy difficulties in attempting to
                                                essential. Based on its review of                             while this may be true in some sense,                             implement this approach. Nonetheless,
                                                submittals to-date and after further                          that is not a compelling basis to move                            the EPA is not at this time rescinding
                                                consideration of the policy implications                      to a 1 ppb threshold. Indeed, the 1 ppb                           the August 2018 memorandum. The
                                                of attempting to recognize an alternative                     threshold has the disadvantage of losing                          basis for a proposed disapproval of
                                                Step 2 threshold for certain states, the                      a certain amount of total upwind                                  LDEQ’s SIP submission with respect to
                                                Agency now believes the attempted use                         contribution for further evaluation at                            the Step 2 analysis we believe is
                                                of different thresholds at Step 2 with                        Step 3 (e.g., roughly seven percent of                            warranted under the terms of the August
                                                respect to the 2015 ozone NAAQS raises                        total upwind state contribution was lost                          2018 memorandum. The EPA invites
                                                substantial policy consistency and                            according to the modeling underlying                              comment on this broader discussion of
                                                practical implementation concerns.65                          the August 2018 memorandum; 66 in the                             issues associated with alternative
                                                The availability of different thresholds                      EPA’s updated modeling, the amount                                thresholds at Step 2. Depending on
                                                at Step 2 has the potential to result in                      lost is five percent). Considering the                            public comments received and further
                                                inconsistent application of interstate                        core statutory objective of ensuring                              evaluation of this issue, the EPA may
                                                transport obligations based solely on the                     elimination of all significant                                    determine to rescind the 2018
                                                strength of a state’s SIP submittal at Step                   contribution to nonattainment or                                  memorandum in the future.
                                                2 of the 4-Step interstate transport                          interference of the NAAQS in other
                                                                                                                                                                                2. Results of the EPA’s Step 1 and Step
                                                framework. From the perspective of                            states and the broad, regional nature of
                                                                                                                                                                                2 Modeling and Findings for Louisiana
                                                ensuring effective regional                                   the collective contribution problem with
                                                implementation of interstate transport                        respect to ozone, there does not appear                              As described in Section I of this
                                                obligations, the more important analysis                      to be a compelling policy imperative in                           action, the EPA performed air quality
                                                is the evaluation of the emissions                            allowing some states to use a 1 ppb                               modeling using the 2016v2 emissions
                                                reductions needed, if any, to address a                       threshold while others rely on a 1                                platform to project DVs and
                                                state’s significant contribution after                        percent of NAAQS threshold.                                       contributions for 2023.67 This data was
                                                consideration of a multifactor analysis                          Consistency with past interstate                               examined to determine if Louisiana
                                                at Step 3, including a detailed                               transport actions such as CSAPR, and                              contributes at or above the threshold of
                                                evaluation that considers air quality                         the CSAPR Update and Revised CSAPR                                1 percent of the 2015 ozone NAAQS
                                                factors and cost. Where alternative                           Update rulemakings (which used a Step                             (0.70 ppb) to any downwind
                                                thresholds for purposes of Step 2 may                         2 threshold of 1 percent of the NAAQS                             nonattainment or maintenance receptor.
                                                be ‘‘similar’’ in terms of capturing the                      for two less stringent ozone NAAQS), is                           As shown in Table LA–2, the data 68
                                                relative amount of upwind contribution                        also important. Continuing to use a 1                             indicate that in 2023, emissions from
                                                (as described in the August 2018                              percent of NAAQS approach ensures                                 Louisiana contributed greater than 1
                                                memorandum), nonetheless, use of an                           that as the NAAQS are revised and                                 percent of the standards to
                                                alternative threshold would allow                             made more stringent, an appropriate                               nonattainment or maintenance-only
                                                certain states to avoid further evaluation                    increase in stringency at Step 2 occurs,                          receptors in Texas.69 Therefore, based
                                                of potential emission controls while                          so as to ensure an appropriately larger                           on the EPA’s evaluation of the
                                                other states must proceed to a Step 3                         amount of total upwind-state                                      information submitted by LDEQ, and
                                                analysis. This can create significant                         contribution is captured for purposes of                          based on the EPA’s most recent
                                                equity and consistency problems among                         fully addressing interstate transport.                            modeling results for 2023, the EPA
                                                states.                                                       Accord 76 FR 48237–38.                                            proposes to find that Louisiana is linked
                                                   Further, it is not clear that national                        Therefore, notwithstanding the                                 at Steps 1 and 2 and has an obligation
                                                ozone transport policy is best served by                      August 2018 memorandum’s                                          to assess potential emissions reductions
                                                allowing for less stringent thresholds at                     recognition of the potential viability of                         from sources or other emissions activity
                                                Step 2. The EPA recognized in the                             alternative Step 2 thresholds, and in                             at Step 3 of the 4-Step framework.

                                                  TABLE LA–2—PROJECTED NONATTAINMENT AND MAINTENANCE RECEPTORS WITH LOUISIANA LINKAGES BASED ON EPA
                                                                                          2016V2 MODELING
                                                                                                                                                                                  2023             2023              Louisiana
                                                                      Receptor                                                  Nonattainment/                                 Average DV       Maximum DV          Contribution
                                                              (site ID, county, state)                                           maintenance                                      (ppb)            (ppb)               (ppb)

                                                482010024, Harris, TX ..................................   Nonattainment ..................................................             75.2               76.8               4.31
                                                482010055, Harris, TX ..................................   Nonattainment ..................................................             71.0               72.0               5.39
                                                480391004, Brazoria, TX ..............................     Maintenance .....................................................            70.1               72.3               7.03

                                                  65 We note that Congress has placed on the EPA              modeling should be submitted in the Regional                      to the public in the fall of 2020 in the Revised
                                                a general obligation to ensure the requirements of            docket for this action, Docket ID No. EPA–R06–                    CSAPR Update, as noted in Section I of this action.
lotter on DSK11XQN23PROD with PROPOSALS2




                                                the CAA are implemented consistently across states            OAR–2021–0801. Comments are not being accepted                    That modeling showed that Louisiana had a
                                                and regions. See CAA section 301(a)(2). Where the             in Docket No. EPA–HQ–OAR–2021–0663.                               maximum contribution greater than 0.70 ppb to at
                                                management and regulation of interstate pollution                68 DVs and contributions at individual monitoring
                                                                                                                                                                                least one nonattainment or maintenance-only
                                                levels spanning many states is at stake, consistency          sites nationwide are provided in the file: ‘‘2016v2_
                                                in application of CAA requirements is paramount.                                                                                receptor in 2023. These modeling results are
                                                                                                              DVs_state_contributions.xlsx’’, which is included in
                                                  66 See August 2018 memorandum, at page 4.                   Docket ID No. EPA–HQ–OAR–2021–0663.                               included in the file ‘‘Ozone DVs And Contributions
                                                  67 Per the instructions in the Supplementary                   69 These modeling results are consistent with the              Revised CSAPR Update.xlsx’’ in Docket No. EPA–
                                                Information section above, all public comments,               results of a prior round of 2023 modeling using the               HQ–OAR–2021–0663.
                                                including comments on the EPA’s air quality                   2016v1 emissions platform, which became available



                                           VerDate Sep<11>2014     20:06 Feb 18, 2022    Jkt 256001   PO 00000      Frm 00017      Fmt 4701      Sfmt 4702     E:\FR\FM\22FEP2.SGM     22FEP2
                                                                      Case: 23-60069                       Document: 110                          Page: 71                 Date Filed: 03/27/2023
                                                9814                     Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules

                                                  TABLE LA–2—PROJECTED NONATTAINMENT AND MAINTENANCE RECEPTORS WITH LOUISIANA LINKAGES BASED ON EPA
                                                                                    2016V2 MODELING—Continued
                                                                                                                                                                                  2023                2023        Louisiana
                                                                      Receptor                                                  Nonattainment/                                 Average DV          Maximum DV    Contribution
                                                              (site ID, county, state)                                           maintenance                                      (ppb)               (ppb)         (ppb)

                                                481210034, Denton, TX ................................     Maintenance .....................................................              70.4            72.2            3.22
                                                482011034, Harris, TX ..................................   Maintenance .....................................................              70.3            71.6            4.93
                                                482011035, Harris, TX ..................................   Maintenance .....................................................              68.0            71.6            4.77



                                                3. Evaluation of Information Provided                         an analysis in their SIP submission.                              areas exceed both a 1 percent or a 1 ppb
                                                by LDEQ Regarding Step 3                                      Instead LDEQ interpreted the Act’s                                threshold. While linkages to specific
                                                                                                              requirements as only requiring an                                 receptors may change with updated
                                                   At Step 3 of the 4-Step interstate                                                                                           modeling, both modeling analyses
                                                                                                              analysis of emission reductions where
                                                transport framework, a state’s emissions                                                                                        consistently show emissions from
                                                                                                              there was a ‘‘consistent and persistent’’
                                                are further evaluated, in light of                                                                                              Louisiana impact both downwind
                                                                                                              pattern of contribution and conducted
                                                multiple factors, including air quality                                                                                         nonattainment receptors and downwind
                                                                                                              an air-quality-only analysis in order to
                                                and cost considerations, to determine                                                                                           maintenance receptors in Texas.
                                                                                                              refute such a pattern. We propose to
                                                what, if any, emissions contribute                                                                                                 The LDEQ SIP submission stated that
                                                                                                              find that LDEQ was required to analyze
                                                significantly to nonattainment or                                                                                               Louisiana’s contribution should be
                                                                                                              emissions from the sources and other
                                                interfere with maintenance and, thus,                                                                                           deemed ‘‘significant’’ per CAA section
                                                                                                              emissions activity from within
                                                must be eliminated under CAA section                                                                                            110(a)(2)(D)(i)(I) only if there is a
                                                                                                              Louisiana to determine whether its
                                                110(a)(2)(D)(i)(I).                                                                                                             persistent and consistent pattern of
                                                                                                              contributions were significant, and we
                                                   To effectively evaluate which                              propose to disapprove its submission                              contribution on several days with
                                                emissions in the state should be deemed                       because LDEQ did not do so.                                       elevated ozone. LDEQ asserted that its
                                                ‘‘significant’’ and therefore prohibited,                        As noted, LDEQ stated in its SIP                               linkages to Texas do not warrant further
                                                states generally should prepare an                            submission that emissions from                                    analysis because, according to LDEQ,
                                                accounting of sources and other                               Louisiana should not be considered to                             emissions from Louisiana do not
                                                emissions activity for relevant                               contribute significantly to                                       persistently and consistently contribute
                                                pollutants and assess potential,                              nonattainment or interfere with                                   on several days of elevated ozone.
                                                additional emissions reduction                                maintenance of the NAAQS in other                                 However, the EPA modeling that LDEQ
                                                opportunities and resulting downwind                          states because there is not a ‘‘persistent                        relied upon to demonstrate linkages in
                                                air quality improvements. The EPA has                         and consistent’’ pattern of contribution                          the first instance already establishes that
                                                consistently applied this approach (i.e.,                     from the State. The SIP submission does                           there is a consistent and persistent
                                                Step 3 of the 4-Step interstate transport                     not explain what LDEQ considers to be                             pattern of contribution from Louisiana
                                                framework) when identifying emissions                         a persistent and consistent pattern of                            to Texas receptors on elevated ozone
                                                contributions that the Agency has                             contribution, even after the LDEQ                                 days. The EPA’s methodology for
                                                determined to be ‘‘significant’’ (or                          received a comment during its state                               projecting future year ozone
                                                interfere with maintenance) in each of                        comment period that requested that the                            concentrations accounts for precisely
                                                its prior Federal, regional ozone                             LDEQ define ‘‘persistent and                                      these concerns—the relative response
                                                transport rulemakings, and this                               consistent’’ in terms of impacts on                               factor 71 that is applied to historic
                                                interpretation of the statute has been                        downwind states. The LDEQ responded,                              monitored data to generate projections
                                                upheld by the Supreme Court. See EME                          ‘‘Louisiana has defined the pattern and                           is calculated by looking only at days
                                                Homer City, 572 U.S. 489, 519 (2014).                         has provided back trajectories on those                           with elevated ozone levels. The EPA
                                                While the EPA has not directed states                         monitored exceedances for the 2016–                               notes that monitored attainment with
                                                that they must conduct a Step 3 analysis                      2018 ozone seasons, which will show                               the ozone standard is determined by
                                                in precisely the manner the EPA has                           that the definition is applicable to the                          averaging the fourth high value recorded
                                                done in its prior regional transport                          conclusion.’’ 70 We do not agree that this                        each year for three years. So, the EPA
                                                rulemakings, state implementation                             suffices as an explanation as to why                              believes it is important to estimate
                                                plans addressing the obligations in CAA                       LDEQ does not need to further analyze                             impacts on the days with highest
                                                section 110(a)(2)(D)(i)(I) must prohibit                      its potential emission reductions under                           projected ozone levels. The days chosen
                                                ‘‘any source or other type of emissions                       Step 3 before determining it has no                               to analyze the future impacts are chosen
                                                activity within the State’’ from emitting                     statutory obligation under the interstate                         initially by the selecting the 10 highest
                                                air pollutants which will contribute                          transport provision. In the case of                               days in the base period modeling that
                                                significantly to downwind air quality                         Louisiana, modeling in the March 2018                             are projected to be above 65 ppb in the
                                                problems. Thus, states must complete                          memorandum and the EPA’s more                                     base period. If there are not 10 days
                                                an analysis similar to the EPA’s (or an                       recent 2016v2 modeling both project                               above 65 ppb at a potential receptor, the
                                                alternative approach to defining                              that receptors in the Houston-Galveston-                          number of days above 65 ppb are used
                                                ‘‘significance’’ that comports with CAA                       Brazoria (HGB) and Dallas-Fort Worth                              so long as there is at least five days
                                                requirements) to determine whether,
lotter on DSK11XQN23PROD with PROPOSALS2




                                                                                                              (DFW) ozone nonattainment areas in                                above 65 ppb in the base period. If the
                                                and to what degree, emissions from a                          Texas will have difficulty attaining or                           air quality modeling shows fewer than
                                                state should be ‘‘prohibited’’ to                             maintaining the 2015 ozone NAAQS,                                 five days above 65 ppb in the base
                                                eliminate emissions that will                                 and Louisiana’s contribution to these                             period, then the data for impacts at that
                                                ‘‘contribute significantly to                                                                                                   receptor in 2023 are not calculated. The
                                                nonattainment, or interfere with                                70 See LDEQ SIP Submission, Appendix A,                         base and future year modeling for these
                                                maintenance of’’ the NAAQS in any                             available in the Regional docket for this action
                                                other state. LDEQ did not conduct such                        (Docket ID No. EPA–R06–OAR–2021–0801).                             71 See   FN 53.



                                           VerDate Sep<11>2014     20:06 Feb 18, 2022    Jkt 256001   PO 00000      Frm 00018      Fmt 4701      Sfmt 4702     E:\FR\FM\22FEP2.SGM        22FEP2
                                                                    Case: 23-60069                    Document: 110                  Page: 72            Date Filed: 03/27/2023
                                                                      Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules                                            9815

                                                5–10 days are then used to project 2023                 provide information directly pertinent                confirmed that Louisiana is an upwind
                                                ozone DVs to determine whether it is                    to when ozone is high at areas in Texas               area for the receptors in Texas often
                                                projected to be a nonattainment or                      and whether Louisiana is a contributing               enough to potentially contribute to
                                                maintenance receptor in 2023. For these                 area during those specific times.                     nonattainment or interfere with
                                                same 5–10 days identified, the future                      LDEQ also included 99 back trajectory              maintenance. The analysis did not
                                                year modeling provides the estimated                    analyses during the 2016, 2017, and                   provide evidence that was contrary to
                                                daily contribution at a potential                       2018 years for the dates of ozone                     the conclusions of the EPA’s
                                                receptor’s future year daily MDA8 and                   exceedances at the monitors referenced                photochemical modeling analyses (i.e.,
                                                these daily contributions are averaged                  in Table LA–1 of this action. HYSPLIT                 the EPA’s modeling results in the March
                                                for the 5–10 days to result in the average              back trajectory analyses use archived                 2018 memorandum and EPA 2016v2
                                                contribution from the upwind area.                      meteorological modeling that includes                 model).
                                                   LDEQ’s air quality analysis used to                  actual observed data (surface, upper air,                Photochemical modeling simulations
                                                dismiss its linkages to Texas receptors                 airplane data, etc.) and modeled                      for ozone interstate transport assessment
                                                as not ‘‘significant’’ consists of an                   meteorological fields to estimate the                 is relied upon by the EPA to simulate
                                                evaluation of seasonal weather patterns,                most likely route of an air parcel                    the formation and fate of oxidant
                                                surface wind directions, and periodic                   transported to a receptor at a specified              precursors, primary and secondary
                                                back trajectories. The State’s weather                  time. The method essentially follows a                particulate matter concentrations, and
                                                pattern analysis relied on large-scale                  parcel of air backward in hourly steps                deposition over regional and urban
                                                weather patterns as they relate to                                                                            spatial scales. Photochemical modeling
                                                                                                        for a specified length of time. HYSPLIT
                                                commonly observed wind directions                                                                             is the most sophisticated tool available
                                                                                                        estimates the central path in both the
                                                rather than weather patterns and                                                                              to estimate future ozone levels and
                                                                                                        vertical and horizontal planes. The
                                                conditions that are specifically                                                                              contributions to those modeled future
                                                                                                        HYSPLIT central path represents the
                                                conducive to ozone formation or tied to                                                                       ozone levels. Consideration of the
                                                                                                        centerline with the understanding that
                                                specific days when high ozone was                                                                             different processes that affect primary
                                                                                                        there are areas on each side horizontally
                                                monitored in the downwind areas.                                                                              and secondary pollutants at the regional
                                                                                                        and vertically that also contribute to the
                                                General weather pattern discussions                                                                           scale in different locations is
                                                                                                        concentrations at the end point. The
                                                that are not associated with specific                                                                         fundamental to understanding and
                                                                                                        horizontal and vertical areas that
                                                ozone episodes are not generally                                                                              assessing the effects of emissions on air
                                                                                                        potentially contribute to concentrations              quality concentrations. For the 2015
                                                informative of interstate transport
                                                decisions. It is necessary to investigate               at the endpoint grow wider from the                   ozone NAAQS interstate transport
                                                specific instances of high ozone,                       centerline the further back in time the               analysis, the EPA performed
                                                because as discussed previously,                        trajectory goes. Therefore, a HYSPLIT                 nationwide, state-level ozone source
                                                violations of the ozone standard can be                 centerline does not have to pass directly             apportionment modeling using CAMx to
                                                driven by as few as 4 days per year                     over emissions sources or emission                    quantify the contribution of NOX and
                                                because the compliance with the                         source areas but merely relatively near               VOC emissions from all sources in each
                                                standard is evaluated based on the                      emission source areas for those areas to              state to project 2023 ozone
                                                average of the fourth high value                        contribute to concentrations at the                   concentrations at ozone monitoring
                                                measured each of three consecutive                      trajectory endpoint. The EPA relies on                sites. Detailed information for the EPA’s
                                                years.                                                  back trajectory analysis as a corollary               modeling may be found in the Air
                                                   LDEQ’s wind rose analysis is based on                analysis along with observation-based                 Quality Modeling TSD in Docket No.
                                                surface sites in the Dallas-Fort Worth                  meteorological wind fields at multiple                EPA–HQ–OAR–2021–0663.
                                                areas, Houston-Galveston-Brazoria                       heights to examine the general                           LDEQ concluded in the SIP submittal,
                                                areas, and other areas in Texas and                     plausibility of the photochemical model               citing an article 72 published in 2012,
                                                Louisiana, but the analysis does not                    ‘‘linkages.’’ Since the back trajectory               that the use of 1 percent of the standard
                                                address transport winds between                         calculations do not account for any air               for modeled contribution as the sole
                                                Louisiana and the Texas areas with                      pollution formation, dispersion,                      definition of significant contribution is
                                                receptors on high ozone days at the                     transformation, or removal processes as               inappropriate for the 2015 ozone
                                                identified receptors. There are several                 influenced by emissions, chemistry,                   NAAQS. LDEQ’s reasoning for this
                                                limitations associated with LDEQ’s                      deposition, etc., the trajectories cannot             conclusion is that the more stringent 0.7
                                                wind rose analysis: (1) Wind directions                 be used to develop quantitative                       ppb threshold ‘‘is an order of magnitude
                                                measured at the surface are not                         contributions. Therefore, back                        smaller than the biases and errors
                                                necessarily good indicators of the wind                 trajectories cannot be used to                        typically documented for regional
                                                direction occurring at higher elevations,               quantitatively evaluate the magnitude of              photochemical modeling.’’ First, the
                                                which tend to have a stronger influence                 the existing photochemical                            EPA does not use the 1 percent
                                                on interstate ozone transport; (2) wind                 contributions from upwind states to                   threshold as the sole definition of
                                                directions change spatially over the                    downwind receptors. LDEQ’s HYSPLIT                    significant contribution; at Step 2 of the
                                                range of distance involved in transport                 back trajectory analysis for 2016, 2017,              analysis, the 1 percent threshold is used
                                                from Louisiana to Texas; (3) wind                       and 2018 showed that on high ozone                    to identify contributions between states
                                                directions change temporally over the                   days in Texas at the receptors identified             and downwind problem areas for
                                                range of time involved in ozone                         by the EPA in the 2018 memorandum                     further analysis at Step 3. Second,
                                                transport from Louisiana to Texas; and                  that 28% of the trajectories passed                   photochemical transport models such as
                                                                                                        through Louisiana. LDEQ proffered that
lotter on DSK11XQN23PROD with PROPOSALS2




                                                (4) the wind roses are based on wind                                                                          CAMx have been extensively peer
                                                data measured throughout the year, not                  some of these back trajectories did not               reviewed and used to support SIPs and
                                                just during either ozone season or                      pass directly over areas with emissions               explore relationships between inputs
                                                monitored ozone episode days. In                        but did not consider that the back                    and air quality impacts in the U.S. and
                                                addition, as discussed previously,                      trajectories only represent a centerline              beyond. The EPA works to continually
                                                LDEQ’s wind rose analysis is not                        and there are areas on either side of the             develop and update both the guidelines
                                                limited to the wind conditions that are                 centerline that would be contributing
                                                conducive to high ozone, so it does not                 areas. LDEQ’s trajectory analysis                       72 Simon   et al., supra FN 58.



                                           VerDate Sep<11>2014   20:06 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00019   Fmt 4701   Sfmt 4702   E:\FR\FM\22FEP2.SGM   22FEP2
                                                                     Case: 23-60069                     Document: 110                Page: 73            Date Filed: 03/27/2023
                                                9816                   Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules

                                                on using modeling results and the latest                receptor and natural background                       Step 4. To the extent that LDEQ
                                                versions of photochemical model                         emissions.                                            discussed emissions reductions, the
                                                platforms to support scientific                            In sum, the EPA disagrees that the                 State only provided a summary of
                                                assessments and regulatory                              estimates of potential error in the                   existing already implemented
                                                determinations. Prior to using                          models estimates of total ozone, call                 enforceable control regulations. The
                                                photochemical modeling to support a                     into question the use of 1 percent as a               EPA’s 2016v2 modeling analyses have
                                                regulatory assessment, a model                          threshold for linkage. As noted earlier,              already accounted for the
                                                performance evaluation is completed to                  in the case of Louisiana, the difference              implementation of the regulations cited
                                                establish a benchmark to assess how                     between a 1 percent threshold and a 1                 by LDEQ’s submission—including the
                                                accurately the model predicts observed                  ppb threshold is irrelevant to the                    CSAPR rulemakings and prior regional
                                                concentrations and to identify model                    decision here because linkages are                    rulemakings—and even with those
                                                limitations. The model performance                      present at both threshold levels. As to               reductions in place, the modeling
                                                evaluation provides a better                            Louisiana’s conclusion that the impacts               results consistently show receptors that
                                                understanding of the model’s                            from Louisiana’s emissions are not                    are projected to be in nonattainment or
                                                limitations and biases and serves as a                  persistent, the contribution analysis is              to struggle with maintenance, and
                                                diagnostic evaluation for further model                 the average impact for at least 5 days                Louisiana contributing to those
                                                development and improvement. As                         and up to 10 days for the 2016 base                   receptors. Relying only on the existing
                                                discussed in Section I of this document                 period which is sufficiently persistent               enforceable control regulations is
                                                and the Air Quality Modeling TSD in                     considering the first through fourth high             insufficient to address the Louisiana air
                                                Docket No. EPA–HQ–OAR–2021–0663,                        monitored values set the monitored DV.                emission contributions to linked
                                                                                                           We recognize that the results of the               downwind air quality problems. As a
                                                the EPA follows the most recent
                                                                                                        EPA (2011 and 2016 base year)                         result, the EPA proposes to disapprove
                                                established modeling guidance and
                                                                                                        modeling indicated different receptors                LDEQ’s submittal on the separate,
                                                provides with this action the updated
                                                                                                        and linkages at Steps 1 and 2 of the                  additional basis that the State has not
                                                modeling analysis based on the recent                   4-Step interstate transport framework.
                                                CAMx model update. By using the most                                                                          developed permanent and enforceable
                                                                                                        These differing results regarding                     emissions reductions necessary to meet
                                                recent 2016v2 photochemical modeling                    receptors and linkages can be affected
                                                enhancements (EPA 2016v2 modeling)                                                                            the obligations of CAA section
                                                                                                        by the varying meteorology from year to               110(a)(2)(D)(i)(I).
                                                results are more representative of the                  year, but we do not think the differing
                                                projected local and regional air quality                results means that the modeling or the                5. Conclusion
                                                as it is based on more recent emission                  EPA or the state’s methodology for
                                                estimates with fewer years between the                                                                           Based on the EPA’s evaluation of
                                                                                                        identifying receptors or linkages is                  LDEQ’s SIP submission, the EPA is
                                                base case year (2016) and the future year               inherently unreliable. Rather, these
                                                (2023). In addition, to reduce the impact                                                                     proposing to find that LDEQ’s
                                                                                                        separate modeling runs all indicated: (1)             November 13, 2019, SIP submission
                                                of any potential biases or errors, the                  That there are receptors that would
                                                EPA uses the modeling results in a                                                                            pertaining to interstate transport of air
                                                                                                        struggle with nonattainment or                        pollution does not meet the State’s
                                                relative sense rather than rely on                      maintenance in the future; and (2) that
                                                absolute model predictions.73                                                                                 interstate transport obligations because
                                                                                                        Louisiana is linked to some set of these              it fails to contain the necessary
                                                  Furthermore, it is not appropriate to                 receptors, even if the receptors and                  provisions to eliminate emissions that
                                                compare the bias/error involved in the                  linkages differed from one another in                 will contribute significantly to
                                                estimation of total ozone to the potential              their specifics (e.g., Louisiana was                  nonattainment or interfere with
                                                error in the estimation of the subset of                linked to a different set of receptors in             maintenance of the 2015 ozone NAAQS
                                                ozone that is contributed by a single                   one modeling run versus another).                     in any other state.
                                                state. For example, on a specific day the               These results indicates that Louisiana’s
                                                modeled vs. monitored ozone value may                   emissions were substantial enough to                  IV. Oklahoma SIP Submission
                                                differ by 2 ppb but that is relatively                  generate linkages at Steps 1 and 2 to at              Addressing Interstate Transport of Air
                                                small percentage of the total modeled                   least some set of downwind receptors,                 Pollution for the 2015 Ozone NAAQS
                                                ozone, which for a receptor of interest                 under varying assumptions and                         and the EPA Evaluation of the SIP
                                                would be on the order of 70 ppb. It                     meteorological conditions, even if the                Submission
                                                would be unrealistic to assign all the 2                precise set of linkages changed between
                                                                                                                                                              A. Summary of ODEQ SIP Submission
                                                ppb, in the above example, to the                       modeling runs.
                                                                                                                                                              Addressing Interstate Transport of Air
                                                estimated impact from a single state as                 4. Evaluation of Information Provided                 Pollution for the 2015 Ozone NAAQS
                                                the 2 ppb error would be the                            by LDEQ Regarding Step 4
                                                combination of the error from all                                                                               On October 25, 2018, the Oklahoma
                                                sources of ozone that contribute to the                    Step 4 of the 4-Step interstate                    Department of Environmental Quality
                                                total, including estimated impacts from                 transport framework calls for                         (ODEQ) made a SIP submission
                                                other states, the home state of the                     development of permanent and                          addressing interstate transport of air
                                                                                                        federally enforceable control strategies              pollution for the 2015 ozone NAAQS.
                                                   73 See ‘‘Modeling Guidance for Demonstrating Air     to achieve the emissions reductions                   The SIP submission provided ODEQ’s
                                                Quality Goals for Ozone, PM2.5 and Regional Haze’’,     determined to be necessary at Step 3 to               analysis of their impact to downwind
                                                Nov. 29, 2018, at 101, available at https://            eliminate significant contribution to                 states using the EPA’s 4-Step framework
                                                www.epa.gov/sites/default/files/2020-10/                nonattainment or interference with                    and an analytic year of 2023 and
lotter on DSK11XQN23PROD with PROPOSALS2




                                                documents/o3-pm-rh-modeling_guidance-2018.pdf
                                                (‘‘2018 Air Quality Modeling Guidance’’). See also
                                                                                                        maintenance of the NAAQS. As                          concluded that emissions from
                                                ‘‘Draft Modeling Guidance for Demonstrating             mentioned previously, LDEQ’s SIP                      Oklahoma will not contribute
                                                Attainment of Air Quality Goals for Ozone, PM2.5,       submission did not contain an                         significantly to nonattainment or
                                                and Regional Haze’’, Dec. 3, 2014, at 97–98,            evaluation of additional emission                     interfere with maintenance of the 2015
                                                available at https://www.epa.gov/sites/default/files/
                                                2020-10/documents/draft-o3-pm-rh-modeling_
                                                                                                        control opportunities (or establish that              ozone NAAQS in other states.
                                                guidance-2014.pdf (‘‘2014 Draft Air Quality             no additional controls are required),                   To identify downwind air quality
                                                Modeling Guidance’’).                                   thus, no information was provided at                  problems that are linked to emissions


                                           VerDate Sep<11>2014   20:06 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00020   Fmt 4701   Sfmt 4702   E:\FR\FM\22FEP2.SGM   22FEP2
                                                                      Case: 23-60069                        Document: 110               Page: 74            Date Filed: 03/27/2023
                                                                         Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules                                                  9817

                                                from Oklahoma and therefore warrant                         identify six downwind nonattainment                     EPA memorandum. To support its
                                                further review and analysis (Steps 1 and                    and maintenance receptors 74 with a                     alternative contribution threshold,
                                                2), ODEQ used EPA interstate transport                      contribution from Oklahoma of 1                         ODEQ referenced an EPA memorandum
                                                modeling results found in the March                         percent of the 2015 ozone NAAQS (0.70                   from April 17, 2018, which
                                                2018 memorandum. The EPA modeling                           parts ppb) or greater. ODEQ then                        recommended a Significant Impact
                                                results projected: (1) An average DV and                    applied a 1 ppb threshold to remove                     Level (SIL) for ozone of 1.0 ppb for
                                                a maximum DV for the year 2023 for                          from further analysis three receptors                   proposed sources subject to the
                                                ozone monitors in the 48 contiguous                         with a contribution from Oklahoma of                    Prevention of Significant Deterioration
                                                States and (2) the expected contribution                    less than 1 ppb. ODEQ noted that the                    (PSD) permitting program.75 Table OK–
                                                from emissions in each state to the                         possibility of using an alternative                     1 provides information on the six
                                                ozone concentrations at each ozone                          contribution threshold was one of the                   nonattainment and maintenance
                                                monitor.                                                    areas of flexibility identified in the                  receptors identified by ODEQ, including
                                                   ODEQ used the information from the                       March 2018 EPA memorandum and                           the three receptors ODEQ identified for
                                                March 2018 EPA memorandum to                                discussed further in the August 2018                    further analysis.

                                                   TABLE OK–1—NONATTAINMENT AND MAINTENANCE RECEPTORS IDENTIFIED BY ODEQ BASED ON THE EPA’S MARCH
                                                                                         2018 MEMORANDUM
                                                                                                                2023             2023                Oklahoma
                                                                      Receptor                               average DV       maximum DV            contribution          ODEQ’s step 1 and 2 determination
                                                              (site ID, county, state)                          (ppb)            (ppb)                 (ppb)

                                                260050003, Allegan, MI ..................................             69.0                71.7               1.31    Maintenance receptor identified for further
                                                                                                                                                                       analysis.
                                                481210034, Denton, TX ..................................              69.7                72.0               1.23    Maintenance receptor identified for further
                                                                                                                                                                       analysis.
                                                484392003, Tarrant, TX ..................................             72.5                74.8               1.71    Nonattainment receptor identified for further
                                                                                                                                                                       analysis.
                                                480391004, Brazoria, TX ................................              74.0                74.9               0.90    Nonattainment receptor with contribution less
                                                                                                                                                                       than 1 ppb; no further analysis.
                                                550790085, Milwaukee, WI ............................                 71.2                73.0               0.76    Nonattainment receptor with contribution less
                                                                                                                                                                       than 1 ppb; no further analysis.
                                                551170006, Sheboygan, WI ...........................                  72.8                75.1               0.95    Nonattainment receptor with contribution less
                                                                                                                                                                       than 1 ppb; no further analysis.



                                                   ODEQ further evaluated the two                           of ozone pollution in 2023 whereas the                  County sites, ODEQ switched to using
                                                Texas receptors (Tarrant County and                         EPA modeling used 2011 as the base                      the 2023 average DV projected by TCEQ
                                                Denton County) and the receptor in                          year for that assessment. In addition, the              rather than the EPA’s projected average
                                                Allegan County, MI. ODEQ did not                            ODEQ stated that TCEQ used a method                     DVs. The ODEQ noted that the projected
                                                further evaluate the contribution from                      different from the EPA’s method to                      2023 average DV was 68 ppb for the
                                                Oklahoma to the receptors in Brazoria                       identify whether a monitor would have                   Denton County site and 66 ppb for the
                                                County, TX, Milwaukee County, WI,                           trouble maintaining the 2015 ozone                      Tarrant County site based on the TCEQ
                                                and Sheboygan County, WI because the                        NAAQS (i.e., a maintenance receptor).                   modeling. ODEQ then claimed that
                                                contributions from Oklahoma to these                        To identify maintenance receptors,                      these results demonstrate that both of
                                                receptors were less than 1 ppb.                             TCEQ calculated a ‘‘maintenance future                  these sites are in attainment in 2023.
                                                   For the two remaining Texas                              year (fy) DV’’ by projecting to 2023 the                   To assess whether Oklahoma
                                                receptors, ODEQ returned to Steps 1 and                     most recent regulatory DV that contains                 interferes with maintenance of the 2015
                                                2 of the 4-Step interstate transport                        the base year (i.e., the 2012–2014 DV for               ozone standard at these two sites, ODEQ
                                                framework using modeling performed                          a base year of 2012), whereas the EPA’s                 used (1) the Texas method to calculate
                                                by the Texas Commission on                                  methodology for identifying                             a ‘‘maintenance future year DV’’ for
                                                Environmental Quality (TCEQ). The                           maintenance receptors uses the                          2023 and (2) a maximum DV calculated
                                                TCEQ modeling results are included in                       maximum DV, which is the highest                        using the highest of the three base year
                                                the Regional docket for this action                         monitored DV from among the three                       DVs multiplied by a relative response
                                                (Docket ID No. EPA–R06–OAR–2021–                            DVs that contain the base year (i.e., the               factor derived from TCEQ’s modeling
                                                0801). ODEQ stated that the primary                         2009–2011, 2010–2012 and 2011–2013                      (i.e., EPA’s method for identifying
                                                difference between the EPA modeling                         DVs for a base year of 2011).                           maintenance receptors but using TCEQ’s
                                                and the TCEQ modeling is that the                             To assess whether Oklahoma is linked                  modeling rather than EPA’s modeling).
                                                TCEQ modeling used 2012 as the ‘‘base                       to nonattainment of the 2015 ozone                      This assessment is summarized in Table
                                                year’’ for assessing interstate transport                   standard at the Denton and Tarrant                      OK–2.
lotter on DSK11XQN23PROD with PROPOSALS2




                                                  74 Nonattainment receptors are monitoring sites           projected 2023 DV greater than 70.9 ppb).               ozone NAAQS (i.e., maximum projected 2023 DV
                                                that are anticipated to have problems attaining and         Maintenance receptors are monitoring sites that are     greater than 70.9 ppb).
                                                maintaining the 2015 ozone NAAQS (i.e., average             anticipated to have problems maintaining the 2015         75 See FN 32.




                                           VerDate Sep<11>2014     20:06 Feb 18, 2022    Jkt 256001   PO 00000   Frm 00021   Fmt 4701   Sfmt 4702   E:\FR\FM\22FEP2.SGM    22FEP2
                                                                      Case: 23-60069                        Document: 110                Page: 75            Date Filed: 03/27/2023
                                                9818                     Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules

                                                      TABLE OK–2—SUMMARY OF TCEQ MODELING (2012 BASE PERIOD) USED BY ODEQ TO ASSESS MAINTENANCE
                                                                                             RECEPTORS
                                                                                                                                   2023             Maintenance
                                                                                                                2023
                                                                      Receptor                                                 maximum DV               DV
                                                                                                             average DV                                                 ODEQ’s step 1 and step 2 determination
                                                              (site ID, county, state)                                          (ppb) (EPA          (ppb)(TCEQ
                                                                                                                (ppb)            method)*             method)

                                                481210034 Denton, TX ...................................                68                70.7                65.9    Future DVs project no attainment or mainte-
                                                                                                                                                                        nance problems.
                                                484392003 Tarrant, TX ...................................               66                69.9                62.4    Future DVs project no attainment or mainte-
                                                                                                                                                                        nance problems.
                                                  * These values are not based on calculations made by the EPA. ODEQ calculated these values by using the maximum DV for the 2010–2014
                                                5-year period (i.e., the highest of the DVs in 2012, 2013, and 2014) multiplied by relative response factor for the receptor obtained from TCEQ’s
                                                modeling.


                                                   ODEQ noted in their assessment that                      ppb difference between the 2011-                         additional windfarms, and electric
                                                based on the TCEQ modeling and TCEQ                         centered and 2023 maximum DVs over                       utilities installing solar generation
                                                definition of maintenance receptor, it is                   the 12 years from 2011 to 2023. Finally,                 facilities have led to Oklahoma NOX
                                                expected that the Denton and Tarrant                        ODEQ applied the 1.1917 ppb per year                     emissions reductions; and that any
                                                sites will not experience nonattainment                     value to the 2016-centered maximum                       additional NOX reductions from the
                                                or maintenance problems in 2023.                            DV of 75 ppb to estimate a 2023                          electric generation section would
                                                Because ODEQ claimed that the Denton                        maximum DV of 66.66 ppb.                                 require more costly emissions controls.
                                                and Tarrant County sites will not be                          ODEQ also asserted that the relatively                 ODEQ concluded that the existing
                                                nonattainment or maintenance receptors                      small contribution from Oklahoma (3%                     controls in Oklahoma have resulted in
                                                in 2023, ODEQ did not analyze potential                     of total upwind state contributions)                     significant decreases in ozone DVs in
                                                emissions reductions at Step 3 to                           combined with the distance between                       Oklahoma and that additional controls
                                                address its contribution to these two                       Oklahoma sources and the Allegan                         would not be cost-effective. Given their
                                                sites.                                                      County, Michigan site, warrants a focus                  conclusions, ODEQ did not adopt
                                                   With respect to the remaining                            on nearby states with greater                            additional controls to reduce ozone
                                                receptor at Allegan County, MI, ODEQ                        proportional contributions as the most                   precursor emissions (Step 4).
                                                provided an analysis of projected 2023                      prudent approach to addressing
                                                DVs for this site and information on                                                                                 B. EPA Evaluation of the ODEQ SIP
                                                                                                            interstate transport of ozone precursors
                                                emissions trends in Oklahoma to assert                                                                               Submission
                                                                                                            for this receptor.
                                                that emissions from Oklahoma do not                           The ODEQ also provided the                                The EPA is proposing to find that
                                                significantly contribute to                                 anthropogenic NOX and VOC data of                        ODEQ’s October 25, 2018, SIP
                                                nonattainment or interfere with                             Oklahoma’s emissions from EPA’s                          submission does not demonstrate that
                                                maintenance of the 2015 ozone NAAQS                         emission trends and modeling to                          the State’s obligations with respect to
                                                at the Allegan County, MI site.                             demonstrate an anticipated substantial                   prohibiting emissions that contribute
                                                   ODEQ noted that (1) the DV for the                       reduction of NOX and VOC from 2011                       significantly to nonattainment or
                                                Allegan County, MI site has had a                           to 2023: (1) Reductions of NOX from                      interfere with maintenance of the 2015
                                                substantial reduction in the last 6 years                   405,000 to 235,000 tons per year and (2)                 ozone NAAQS in any other state based
                                                from 84 ppb in 2012 to 73 ppb in 2017,                      reductions of VOC from 414,000 to                        on the EPA’s evaluation of the SIP
                                                a 1.8 ppb per year decrease, on average                     295,000 tons per year.76 ODEQ noted                      submission using the 4-Step interstate
                                                and (2) the Allegan County, MI site is                      these reductions should result in                        transport framework have been met. The
                                                substantially influenced by mobile                          considerable reductions in ozone                         EPA is therefore proposing to
                                                sources from the Chicago area and these                     concentrations. The ODEQ stated that                     disapprove ODEQ’s submission.
                                                emissions are expected to be greatly                        due to the emissions reductions
                                                reduced in the near future, by roughly                                                                               1. Evaluation of Information Provided
                                                                                                            required by rules like CSAPR, the 2016                   by ODEQ Regarding Steps 1 and 2
                                                a 1 ppb per year decrease, leading to                       CSAPR Update, and the regional haze
                                                attainment of the 2015 ozone standard.                      requirements, the NOX emissions from                        As noted earlier, ODEQ first used the
                                                The ODEQ then calculated a projected                        electric generation in Oklahoma have                     information from the EPA’s March 2018
                                                2023 maintenance DV for the Allegan                         dropped significantly during the ozone                   memorandum to identify nonattainment
                                                County, MI site using the EPA’s method,                     season from 38,285 tons per year in                      and maintenance receptors with a
                                                but assuming that the base year was                         2011 to 10,435 tons per year in 2017.                    contribution from Oklahoma of 0.70 ppb
                                                2016 rather than 2011, as in the EPA’s                      ODEQ also stated that changes in the                     or greater (i.e., ODEQ identified
                                                modeling or 2012 as in the TCEQ                             Southwest Power Pool 77, building of                     receptors that would be deemed
                                                modeling. The ODEQ noted that the                                                                                    nonattainment and maintenance
                                                maximum DV in the 2016-centered base                           76 ODEQ used the EPA’s emissions data shared          receptors under the EPA’s methodology
                                                period (i.e., 2014–2016, 2015–2017, and                     alongside the October 2018 memorandum, ‘‘state-          for Steps 1 and 2). ODEQ then utilized
                                                2016–2018) was 75 ppb at the Allegan                        sector_annual_emissions_data_1.xlsx’’ available at       a 1 ppb threshold and elected not to
                                                County, Michigan site. The ODEQ then                        https://www.epa.gov/airmarkets/memo-and-
lotter on DSK11XQN23PROD with PROPOSALS2




                                                                                                            supplemental-information-regarding-interstate-
                                                                                                                                                                     further analyze any receptors to which
                                                calculated the difference between the                       transport-sips-2015-ozone-naaqs.                         it did not contribute greater than 1 ppb.
                                                2011-centered base period maximum                              77 The Southwest Power Pool is a regional electric

                                                DV of 86 ppb and the 2023 projected                         transmission organization regulated by the Federal       transmission in portions of fourteen states:
                                                maximum DV of 71.7 ppb, using data                          Energy Regulatory Commission whose purpose is            Arkansas, Iowa, Kansas, Louisiana, Minnesota,
                                                                                                            promoting efficiency and reliability in the operation    Missouri, Montana, Nebraska, New Mexico, North
                                                from the EPA’s modeling. The ODEQ                           and planning of the electric transmission grid and       Dakota, Oklahoma, South Dakota, Texas and
                                                calculated a ‘‘ppb per year’’ reduction of                  ensuring non-discrimination in the provision of          Wyoming. See 18 CFR 35.34 and https://
                                                1.1917 ppb per year, based on the 14.3                      electric transmission services. It manages electric      www.ferc.gov/electric-power-markets.



                                           VerDate Sep<11>2014     20:06 Feb 18, 2022    Jkt 256001   PO 00000   Frm 00022   Fmt 4701   Sfmt 4702   E:\FR\FM\22FEP2.SGM     22FEP2
                                                                       Case: 23-60069                    Document: 110                  Page: 76            Date Filed: 03/27/2023
                                                                         Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules                                                   9819

                                                ODEQ provided further evaluation of                        for the 2015 ozone NAAQS, the EPA’s                    implementation of interstate transport
                                                the State’s emissions to those receptors                   experience has been that nearly every                  obligations, the more important analysis
                                                to which Oklahoma contributes greater                      state that attempted to rely on a 1 ppb                is the evaluation of the emissions
                                                than 1 ppb (i.e., Allegan County, MI,                      threshold did not provide sufficient                   reductions needed, if any, to address a
                                                Denton County, TX and Tarrant County,                      information and analysis to support a                  state’s significant contribution after
                                                TX).                                                       determination that an alternative                      consideration of a multifactor analysis
                                                   As discussed in the EPA’s August                        threshold was reasonable or appropriate                at Step 3, including a detailed
                                                2018 memorandum, with appropriate                          for that state.                                        evaluation that considers air quality
                                                additional analysis it may be reasonable                      For instance, in nearly all submittals,             factors and cost. Where alternative
                                                for states to use a 1 ppb contribution                     the states did not provide the EPA with                thresholds for purposes of Step 2 may
                                                threshold, as an alternative to a 1                        analysis specific to their state or the                be ‘‘similar’’ in terms of capturing the
                                                percent threshold, at Step 2 of the 4-                     receptors to which its emissions are                   relative amount of upwind contribution
                                                Step interstate transport framework, for                   potentially linked. In one case, the                   (as described in the August 2018
                                                the purposes of identifying linkages to                    proposed approval of Iowa’s SIP                        memorandum), nonetheless, use of an
                                                downwind receptors. However, the                           submittal, the EPA expended its own                    alternative threshold would allow
                                                EPA’s August 2018 memorandum                               resources to attempt to supplement the                 certain states to avoid further evaluation
                                                provided that whether or not a 1 ppb                       information submitted by the state, in                 of potential emission controls while
                                                threshold is appropriate must be based                     order to more thoroughly evaluate the                  other states must proceed to a Step 3
                                                on an evaluation of state-specific                         state-specific circumstances that could                analysis. This can create significant
                                                circumstances, and no such evaluation                      support approval. 79 It was at the EPA’s               equity and consistency problems among
                                                was included in the ODEQ’s submittal.                      sole discretion to perform this analysis               states.
                                                Instead, ODEQ’s SIP submission                             in support of the state’s submittal, and                  Further, it is not clear that national
                                                justified the State’s use of a 1 ppb                       the Agency is not obligated to conduct                 ozone transport policy is best served by
                                                threshold based on the threshold’s use                     supplemental analysis to fill the gaps                 allowing for less stringent thresholds at
                                                in the SILs Guidance.78 ODEQ did not                       whenever it believes a state’s analysis is             Step 2. The EPA recognized in the
                                                explain the relevance of the SILs                          insufficient. The Agency no longer                     August 2018 memorandum that there
                                                Guidance to Oklahoma’s statutory                           intends to undertake supplemental                      was some similarity in the amount of
                                                obligation under the interstate transport                  analysis of SIP submittals with respect                total upwind contribution captured (on
                                                provision. The SILs Guidance relates to                    to alternative thresholds at Step 2 for                a nationwide basis) between 1 percent
                                                a different provision of the CAA                           purposes of the 2015 ozone NAAQS.                      and 1 ppb. However, the EPA notes that
                                                regarding implementation of the                               Furthermore, the EPA’s experience                   while this may be true in some sense,
                                                prevention of significant deterioration                    since 2018 is that allowing for                        that is hardly a compelling basis to
                                                (PSD) permitting program, i.e., a                          alternative Step 2 thresholds may be                   move to a 1 ppb threshold. Indeed, the
                                                program that applies in areas that have                    impractical or otherwise inadvisable for               1 ppb threshold has the disadvantage of
                                                been designated attainment of the                          a number of additional policy reasons.                 losing a certain amount of total upwind
                                                NAAQS, and it is not applicable to the                     For a regional air pollutant such as                   contribution for further evaluation at
                                                interstate transport provision, which                      ozone, consistency in requirements and                 Step 3 (e.g., roughly seven percent of
                                                requires states to eliminate emissions                     expectations across all states is                      total upwind state contribution was lost
                                                that contribute significantly or interfere                 essential. Based on its review of                      according to the modeling underlying
                                                with maintenance of the NAAQS at                           submittals to-date and after further                   the August 2018 memorandum; 81 in
                                                known, ongoing, or projected air quality                   consideration of the policy implications               EPA 2016v2 modeling, the amount lost
                                                problem areas in other states. The EPA                     of attempting to recognize an alternative              is five percent). Considering the core
                                                does not, in this action, agree that the                   Step 2 threshold for certain states, the               statutory objective of ensuring
                                                State has justified its application of the                 Agency now believes the attempted use                  elimination of all significant
                                                1 ppb threshold.                                           of different thresholds at Step 2 with                 contribution to nonattainment or
                                                   Additionally, the EPA here shares                       respect to the 2015 ozone NAAQS raises                 interference of the NAAQS in other
                                                further evaluation of its experience                       substantial policy consistency and                     states and the broad, regional nature of
                                                since the issuance of the August 2018                      practical implementation concerns.80                   the collective contribution problem with
                                                memorandum regarding use of                                The availability of different thresholds               respect to ozone, there does not appear
                                                alternative thresholds at Step 2. This                     at Step 2 has the potential to result in               to be a compelling policy imperative in
                                                experience leads the Agency to now                         inconsistent application of interstate                 allowing some states to use a 1 ppb
                                                believe it may not be appropriate to                       transport obligations based solely on the              threshold while others rely on a 1
                                                continue to attempt to recognize                           strength of a state’s SIP submittal at Step            percent of NAAQS threshold.
                                                alternative contribution thresholds at                     2 of the 4-Step interstate transport                      Consistency with past interstate
                                                Step 2. The August 2018 memorandum                         framework. From the perspective of                     transport actions such as CSAPR, and
                                                stated that ‘‘it may be reasonable and                     ensuring effective regional                            the CSAPR Update and Revised CSAPR
                                                appropriate’’ for states to rely on an                                                                            Update rulemakings (which used a Step
                                                alternative threshold of 1 ppb threshold                     79 ‘‘Air Plan Approval; Iowa; Infrastructure State   2 threshold of 1 percent of the NAAQS
                                                at Step 2. (The memorandum also                            Implementation Plan Requirements for the 2015          for two less stringent ozone NAAQS), is
                                                indicated that any higher alternative                      Ozone National Ambient Air Quality Standard’’, 85      also important. Continuing to use a 1
                                                threshold, such as 2 ppb, would likely                     FR 12232 (March 2, 2020). The agency received          percent of NAAQS approach ensures
                                                                                                           adverse comments on this proposed approval and
lotter on DSK11XQN23PROD with PROPOSALS2




                                                not be appropriate.) However, the EPA                      has not taken final action with respect to this
                                                                                                                                                                  that as the NAAQS are revised and
                                                also provided that ‘‘air agencies should                   proposal.                                              made more stringent, an appropriate
                                                consider whether the recommendations                         80 We note that Congress has placed on the EPA       increase in stringency at Step 2 occurs,
                                                in this guidance are appropriate for each                  a general obligation to ensure the requirements of     so as to ensure an appropriately larger
                                                situation.’’ Following receipt and review                  the CAA are implemented consistently across states     amount of total upwind-state
                                                                                                           and regions. See CAA section 301(a)(2). Where the
                                                of 49 interstate transport SIP submittals                  management and regulation of interstate pollution      contribution is captured for purposes of
                                                                                                           levels spanning many states is at stake, consistency
                                                  78 See   FN 32.                                          in application of CAA requirements is paramount.        81 See   August 2018 memorandum, at page 4.



                                           VerDate Sep<11>2014      20:06 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00023   Fmt 4701   Sfmt 4702   E:\FR\FM\22FEP2.SGM     22FEP2
                                                                    Case: 23-60069                    Document: 110                  Page: 77            Date Filed: 03/27/2023
                                                9820                  Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules

                                                fully addressing interstate transport.                     With regard to the Denton County and               basis that the EPA had not adequately
                                                Accord 76 FR 48237–38.                                  Tarrant County, TX receptors cited in                 given meaning to the phrase ‘‘interfere
                                                   Therefore, notwithstanding the                       ODEQ’s submission, ODEQ chose to rely                 with maintenance’’ in the interstate
                                                August 2018 memorandum’s                                on the TCEQ’s modeling and                            transport provision. Specifically, North
                                                recognition of the potential viability of               methodology, instead of the EPA                       Carolina argued that it had counties that
                                                alternative Step 2 thresholds, and in                   modeling, and trends in ozone DVs and                 were projected to attain the NAAQS in
                                                particular, a potentially applicable 1                  emissions to conclude that these                      the future analytic year, but were at risk
                                                ppb threshold, the EPA’s experience                     monitoring sites will be in attainment                of falling back into nonattainment due
                                                since the issuance of that memorandum                   by 2023 and will not have a problem                   to interference from upwind sources,
                                                has revealed substantial programmatic                   maintaining the 2015 ozone NAAQS. As                  particularly given year-to-year
                                                and policy difficulties in attempting to                noted in Section IV.A of this action,                 variability in ozone levels. The court
                                                implement this approach. Nonetheless,                   ODEQ used modeling results from the                   agreed, holding that the EPA’s rule did
                                                the EPA is not, at this time, rescinding                TCEQ along with the TCEQ alternative                  not adequately protect ‘‘[a]reas that find
                                                the August 2018 memorandum. The                         method for identifying maintenance                    themselves barely meeting attainment.’’
                                                basis for the EPA’s proposed                            receptors to claim that using the TCEQ                Id. at 910. Consequently, the EPA has
                                                disapproval of ADEQ’s SIP submission                    modeling and methods, the Denton                      developed a methodology, used in its
                                                with respect to the Step 2 analysis is, in              County and Tarrant County monitors                    2011 CSAPR and its 2016 CSAPR
                                                the Agency’s view, warranted even                       would not have a problem maintaining                  Update and Revised CSAPR Update, for
                                                under the terms of the August 2018                      the NAAQS in 2023. The ODEQ                           identifying areas that may struggle to
                                                memorandum. The EPA invites                             supplemented that analysis by citing the              maintain the NAAQS. See 76 FR at
                                                comment on this broader discussion of                   downward trend in NOX and VOC                         48227–28. EPA’s approach to addressing
                                                issues associated with alternative                      emissions in Oklahoma. ODEQ also                      maintenance receptors was upheld in
                                                thresholds at Step 2. (See                              provided TCEQ modeling and emissions                  the EME Homer City litigation. See 795
                                                Supplementary Information section                       data for the Dallas-Fort Worth                        F.3d 118, 136–37. It was also upheld in
                                                above for details and docket to submit                  nonattainment area to show that mobile                Wisconsin. 938 F.3d at 325–26. In
                                                comments). Depending on public                          sources represent the largest emissions               Wisconsin, the court noted that four
                                                comments received in relation to this                   category in this area and that emissions              upwind states were linked only to
                                                action and further evaluation of this                   from this sector have declined since                  maintenance receptors and rejected the
                                                issue, the EPA may determine to rescind                 2005 and are expected to continue to                  argument that application of the same
                                                the 2018 memorandum in the future.                      decline in the future. As described in                control level as EPA imposes for those
                                                   In any case, as discussed in the                     Table OK–2, ODEQ (1) provided the                     states linked to nonattainment receptors
                                                following subsection, based on the                      average 2023 DV for the Denton County,                was unreasonable or unlawful absent a
                                                                                                        TX receptor from the TCEQ modeling                    particularized showing of overcontrol.
                                                EPA’s most recent modeling, the State is
                                                                                                        and (2) used TCEQ modeling data with                  Id. at 327.
                                                projected to contribute greater than both
                                                                                                        a 2012 base year to calculate a 2023                     In order to explain the differences
                                                the one percent and alternative 1 ppb
                                                                                                        maintenance DV of 65.9 ppb (using the                 between TCEQ’s and the EPA’s
                                                thresholds at the Denton County, TX
                                                                                                        TCEQ methodology for identifying                      methodology for identifying
                                                receptor, (Monitor ID. 481210034).
                                                                                                        maintenance receptors) and a 2023                     maintenance receptors, it is helpful to
                                                Based on the EPA’s modeling results
                                                                                                        maximum DV of 70.7 ppb (using the                     provide some additional context of how
                                                included in the March 2018
                                                                                                        EPA methodology for identifying                       the EPA projects future air quality.
                                                memorandum, Oklahoma was also
                                                                                                        maintenance receptors, combined with                     The EPA’s air quality modeling
                                                projected to contribute 1.23 ppb to the
                                                                                                        TCEQ’s modeling results). ODEQ relied                 guidance has long recommended
                                                Denton County, TX receptor. (In the                     on this information, which is based on
                                                EPA 2016v2 modeling the Allegan                                                                               developing a base DV (i.e., the DV that
                                                                                                        TCEQ modeling with a 2012 base year,                  will be used as a starting point to model
                                                County, MI and Tarrant County, TX                       to conclude that the Denton County, TX
                                                receptors are not projected to have                                                                           and analyze for purposes of projecting
                                                                                                        and Tarrant County, TX monitors would                 future air quality concentrations) that is
                                                problems attaining or maintaining the                   not have problems attaining and
                                                2015 ozone NAAQS). Even under                                                                                 the average of three DVs spanning a
                                                                                                        maintaining the 2015 ozone NAAQS.                     five-year period, centered around one
                                                ODEQ’s own analysis, the State was                         ODEQ’s SIP submission (or TCEQ, to
                                                linked to receptors with contributions                                                                        year for which an emissions inventory
                                                                                                        the extent that Oklahoma is merely                    will be submitted (e.g., if 2011 was the
                                                exceeding 1 ppb. Therefore, based on                    incorporating and relying on Texas’
                                                Oklahoma’s linkages greater than 1 ppb                                                                        base emissions inventory year, a state
                                                                                                        submission) does not adequately                       would use monitored values from 2009–
                                                to projected downwind nonattainment                     explain or justify how relying on
                                                or maintenance receptors, the State’s                                                                         2011, 2010–2012, 2011–2013 as the
                                                                                                        TCEQ’s method for identifying                         starting point for projecting air quality
                                                use of this alternative threshold at Step               maintenance receptors reasonably
                                                2 of the 4-Step interstate framework is                                                                       concentrations in future years).82 The
                                                                                                        identifies areas that will have difficulty
                                                inconsequential to our proposed action                                                                        average of these three DVs is then
                                                                                                        maintaining the NAAQS. EPA proposes
                                                on the state’s SIP.                                                                                           multiplied by a relative response
                                                                                                        to find that ODEQ has provided no
                                                   In the remainder of this section, EPA                                                                      factor 83 to generate an average DV for
                                                                                                        sound technical basis (either on its own
                                                evaluates ODEQ’s conclusions that                                                                             the future year.84 If a receptor’s average
                                                                                                        or through reliance on Texas) for how
                                                emissions from Oklahoma do not                          its chosen methodology gives meaning                    82 See  FN 73.
                                                contribute to nonattainment or interfere
lotter on DSK11XQN23PROD with PROPOSALS2




                                                                                                        to the CAA’s instruction that states                    83 See  FN 53.
                                                with maintenance at receptors in                        submit interstate transport SIPs that                    84 While it is not critical to this discussion, for
                                                Tarrant County, TX (Monitor ID.                         prohibit their states’ emissions from                 purposes of explanation, the relative response factor
                                                484392003) and Denton County, TX                        interfering with the maintenance of the               is a fractional change that represents how ozone at
                                                (Monitor ID. 481210034). We evaluate                    NAAQS in another state.                               a given receptor responds to changes in emissions
                                                                                                                                                              when all other variables are constant. For more
                                                ODEQ’s conclusions as to the Allegan,                      In North Carolina v. EPA, 531 F.3d                 explanation of the RRF, please see 2018 Air Quality
                                                MI (Monitor ID. 260050003) in Section                   896, 909–11 (D.C. Cir. 2008), the D.C.                Modeling Guidance or 2014 Draft Air Quality
                                                IV.B.3 of this action.                                  Circuit rejected the EPA’s CAIR on the                Modeling Guidance.



                                           VerDate Sep<11>2014   20:06 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00024   Fmt 4701   Sfmt 4702   E:\FR\FM\22FEP2.SGM     22FEP2
                                                                    Case: 23-60069                    Document: 110                  Page: 78            Date Filed: 03/27/2023
                                                                      Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules                                                  9821

                                                future year DV is greater than or equal                 areas that might struggle to maintain the             receptors. The consequence of TCEQ’s
                                                to the level of the NAAQS, and the                      NAAQS in particularly ozone conducive                 maintenance method is that it often
                                                receptor has recent monitored data that                 conditions.                                           results in lower DVs than the
                                                violates the NAAQS, that receptor is                       As discussed further in the EPA                    nonattainment method as demonstrated
                                                considered a ‘‘nonattainment’’ receptor                 Region 6 TSD 86 for this action, the EPA              by our analysis, which indicates that it
                                                at Step 1. To identify maintenance                      has reviewed the set of 21 receptors for              is often not considering conditions
                                                receptors, the EPA’s methodology looks                  which Texas had contributions of 0.7                  when an area would have difficulty
                                                to the highest DV of the three DVs used                 ppb or more in the EPA’s 2016 base year               maintaining the standard. Further, it is
                                                to calculate the 5-year weighted average                modeling analyses, or TCEQ’s modeling                 unreasonable to have a method that
                                                DV (e.g., in the 2011 example, if 2009–                 (2012 base year), and evaluated the                   would not identify nonattainment
                                                2011 had the highest DV of 2009–2011,                   results of using TCEQ’s alternate                     receptors also as maintenance receptors.
                                                2010–2012, and 2011–2013). The EPA                      maintenance methodology. For these 21                    Again, EPA also assessed a number of
                                                then applies the same relative response                 receptors, TCEQ’s method resulted in 15               monitored DV trends that were provided
                                                factor to that highest DV to generate a                 of the 21 2023 maintenance DVs                        in TCEQ’s SIP and previous TCEQ
                                                projected future maximum DV. Where a                    predicted to be lower than the 2023                   attainment demonstration SIPs
                                                receptor’s maximum DV exceeds the                       nonattainment DVs from the                            indicating that there are at times large
                                                level of the NAAQS, the EPA has                         nonattainment methodology that uses                   annual fluctuations upward from year to
                                                deemed those receptors to be                            the 5-year center weighted average. Of                year in monitored DVs (sometimes 2–3
                                                ‘‘maintenance’’ receptors. This                         these 15 receptors, three receptors have              ppb increase in one year) that are due
                                                methodology was designed to address                     2023 maintenance DVs that are 3 ppb                   to variations in meteorology. Neither
                                                the D.C. Circuit’s holding that the CAA’s               lower, five receptors have 2023                       TCEQ nor ODEQ addressed in their SIP
                                                ‘‘interference with maintenance’’ prong                 maintenance DVs that are 2 ppb lower,                 submissions whether the three years
                                                requires states and the EPA to protect                  and seven receptors have 2023                         that comprise the most recent DV (i.e.,
                                                areas that may struggle with                            maintenance DVs that are 1 ppb lower.                 2012, 2013, and 2014) had
                                                maintaining the standard in the face of                 In comparison, using the EPA’s                        meteorological conditions conducive for
                                                variable conditions.                                    maintenance methodology results in all                formation of high ozone concentrations.
                                                   In its modeling, TCEQ adopted an                     21 2023 maintenance DVs being equal                   On the other hand, the EPA
                                                identical approach to the EPA’s for                     or up to 4 ppb higher than the 2023                   methodology can identify variations in
                                                identifying nonattainment receptors—it                  nonattainment DVs. Again, the EPA                     ozone levels that might result in
                                                looked at three sets of DVs over a five-                uses the average of the three DVs that                difficulty in maintaining the standard
                                                year period and averaged those DVs to                   contain the base year modeled for the                 over a longer period of time. The TCEQ
                                                generate a base year DV. TCEQ then                      nonattainment methodology and the                     method will only identify areas that
                                                applied a relative response factor to that              maximum of these three DVs for the                    have difficulty maintaining the standard
                                                base year DV to project a receptor’s                    maintenance methodology. Because                      for a single design value period and, as
                                                average DV in the future year. For                      TCEQ’s maintenance methodology of                     a result, does not address the
                                                maintenance receptors, however, TCEQ                    just using the most recent DV (2012–                  meteorological variability issue
                                                elected not to examine variability in                   2014 DV) often results in maintenance                 sufficiently.
                                                DVs over a five-year period by using the                DVs lower than the 2023 nonattainment                    In its SIP submittal, ODEQ contended
                                                highest DV of the three DVs making up                   DVs methodology results, the EPA finds                that, based on TCEQ’s use of a 2012 base
                                                the base year DV. Instead, TCEQ (and by                 that the TCEQ methodology is not                      year, and using TCEQ’s air quality
                                                extension, ODEQ), used only the most                    adequately identifying conditions when                modeling, even if Texas had used the
                                                recent DV of the three DVs, regardless                  a receptor would have more difficulty                 EPA’s method of identifying
                                                of whether the most recent DV was                       maintaining the standard. In fact, the                maintenance receptors, the projected
                                                highest or lowest. TCEQ’s proffered                     TCEQ’s method also identified one                     maximum DV for the Denton County
                                                explanation for using the most recent                   receptor in their SIP submission as a                 and Tarrant County receptors would be
                                                DV to identify maintenance receptors                    nonattainment receptor in 2023 that                   70.7 ppb and 69.9 ppb, respectively,
                                                was that the latest DV ‘‘takes into                     would not have been identified as a                   which are considered to be in
                                                consideration . . . any emissions                       maintenance receptor, which further                   attainment of the 2015 ozone NAAQS in
                                                reductions that might have occurred.’’ 85               highlights the concern that TCEQ’s                    2023. However, this conclusion relied
                                                TCEQ in its submission does not                         method did not adequately identify                    upon a relative response factor derived
                                                explain why or how this methodology                     areas that may struggle to maintain the               from the TCEQ modeling and TCEQ’s
                                                identifies those areas that may be                      standard. TCEQ did not address                        modeling results, which are discussed
                                                meeting the NAAQS or that may be                        whether the three years that comprise                 in more detail in Section V of this action
                                                projected to meet the NAAQS but may                     the most recent design value (i.e., 2012,             and in the EPA Region 6 TSD.87 TCEQ’s
                                                nevertheless struggle to maintain the                   2013, and 2014) had meteorological                    modeled projections for 2023 including
                                                NAAQS, given meteorological                             conditions highly conducive for                       nonattainment and maintenance values
                                                variability. In fact, because TCEQ’s                    formation of high ozone concentrations                (using either TCEQ’ or EPA’s
                                                stated purpose in using the most recent                 and thus would be an appropriate time                 methodology) are much lower than
                                                DV was to capture more recent                           period to assess whether area could                   recent monitored values (2018–2020 DV
                                                emissions reductions, Texas’                            have difficulty maintaining the standard              and preliminary 2019–2021 DVs) 88 for
                                                methodology appears to be aimed at                      and the EPA’s analysis confirms that
lotter on DSK11XQN23PROD with PROPOSALS2




                                                limiting receptors which could be                       this time period is not highly conducive
                                                                                                                                                                87 Id.

                                                identified as maintenance receptors,                    to ozone formation, at least for many
                                                                                                                                                                88 Monitoring data from the EPA’s Air Quality

                                                compared to the EPA’s methodology,                                                                            System (AQS) (https://www.epa.gov/aqs). 2021
                                                                                                                                                              monitoring data is preliminary and still has to
                                                which was designed to identify those                      86 ‘‘EPA Region 6 2015 8-Hour Ozone Transport       undergo Quality Assurance/Quality Control
                                                                                                        SIP Proposal Technical Support Document’’ (EPA        analysis and be certified by the State of Texas,
                                                  85 TCEQ submission at 3–39 to 3–40, available in      Region 6 2015 Ozone Transport SIP TSD.pdf)            submitted to EPA, and reviewed and concurred on
                                                the Regional docket for this action (Docket ID No.      included in Docket ID No. EPA–R06–OAR–2021–           by EPA. 2018–2020 DVs are 72 ppb and 73 ppb at
                                                EPA–R06–OAR–2021–0801).                                 0801.                                                                                          Continued




                                           VerDate Sep<11>2014   20:06 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00025   Fmt 4701   Sfmt 4702   E:\FR\FM\22FEP2.SGM     22FEP2
                                                                       Case: 23-60069                       Document: 110                     Page: 79           Date Filed: 03/27/2023
                                                9822                     Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules

                                                many monitors and the amount of                               maximum design value in 2023 for the                    This data was examined to determine if
                                                further DV reductions needed to match                         Denton County receptor is 72.2 ppb.                     Oklahoma contributes at or above the
                                                TCEQ’s modeling is more than is                               Recent monitored air quality data at the                threshold of 1 percent of the 2015 ozone
                                                reasonably expected to occur for many                         Denton receptor are consistent with the                 NAAQS (0.70 ppb) to any downwind
                                                monitors/receptors. This                                      EPA’s projections that this is an area                  nonattainment or maintenance receptor.
                                                underestimation of future DVs results in                      that will struggle to maintain the 2015                 As shown in Table OK–3, the most
                                                mis-identifying these two receptors and                       ozone NAAQS in 2023; the 2020 DV for                    recent modeling data 91 indicate that in
                                                other receptors as not being                                  Denton was 72 ppb.90                                    2023, emissions from Oklahoma
                                                nonattainment or maintenance                                    Finally, in its submittal, ODEQ                       contribute greater than one percent of
                                                receptors. Specifically, these two                            pointed to the significant reductions in                the standard to maintenance-only
                                                receptors would need to have at least a                       emissions that have occurred in the                     receptors in Denton County, TX and in
                                                                                                              State, but the EPA believes these
                                                3–4 ppb decrease in the next 2–3 years                                                                                Cook County, IL. Oklahoma is not
                                                                                                              reductions have already been accounted
                                                just to attain the 2015 Ozone NAAQS in                                                                                linked to any nonattainment receptors
                                                                                                              for in the most recent modeling;
                                                2023. As discussed in the EPA Region                                                                                  in EPA’s most recent modeling (EPA
                                                                                                              therefore, even with these reductions,
                                                6 TSD, TCEQ’s previous DFW                                    the Denton County, TX receptor is                       2016v2 modeling). Therefore, based on
                                                Attainment Demonstration SIP includes                         projected to struggle with maintenance                  the EPA’s evaluation of the information
                                                long-term DV trends analysis that                             of the 2015 ozone NAAQS in 2023.                        submitted by ODEQ and based on the
                                                indicates that DFW DVs decrease                                                                                       EPA’s most recent modeling results for
                                                approximately 1 ppb per year.89                               2. Results of the EPA’s Step 1 and Step                 2023, the EPA proposes to find that
                                                Moreover, as discussed in Section                             2 Modeling and Findings for Oklahoma                    Oklahoma is linked at Steps 1 and 2 and
                                                IV.B.2 of this action, the EPA’s updated                         As described in Section I of this                    has an obligation to assess potential
                                                modeling, which relies upon more                              action, the EPA performed air quality                   emissions reductions from sources or
                                                recent data and the latest information on                     modeling using the 2016v2 platform to                   other emissions activity at Step 3 of the
                                                emissions reductions, indicates that the                      project DVs and contributions for 2023.                 4-Step framework.

                                                 TABLE OK–3—PROJECTED NONATTAINMENT AND MAINTENANCE RECEPTORS WITH OKLAHOMA LINKAGES IN 2023 BASED
                                                                                     ON EPA 2016V2 MODELING

                                                                                                                                                                        2023               2023              Oklahoma
                                                                      Receptor                             Nonattainment/maintenance                2020 DV          average DV         maximum DV          contribution
                                                              (site ID, county, state)                                                                                  (ppb)              (ppb)               (ppb)

                                                481210034, Denton, TX ...............................      Maintenance .........................               72              70.4               72.2                1.19
                                                170310032, Cook, IL ....................................   Maintenance .........................               74              69.8               72.4                0.75



                                                3. Evaluation of Information Provided                         interstate transport framework) when                    statute’s objectives) to determine
                                                by ODEQ Regarding Step 3                                      identifying emissions contributions that                whether and to what degree emissions
                                                                                                              the Agency has determined to be                         from a state should be ‘‘prohibited’’ to
                                                   At Step 3 of the 4-Step interstate                         ‘‘significant’’ (or interfere with                      eliminate emissions that will
                                                transport framework, a state’s emissions                      maintenance) in each of its prior                       ‘‘contribute significantly to
                                                are further evaluated, in light of                            Federal, regional ozone transport                       nonattainment in, or interfere with
                                                multiple factors, including air quality                       rulemakings, and this interpretation of                 maintenance of’’ the NAAQS in any
                                                and cost considerations, to determine                         the statute has been upheld by the                      other state. ODEQ did not conduct such
                                                what, if any, emissions contribute                            Supreme Court. See EME Homer City,                      an analysis in their SIP submission.
                                                significantly to nonattainment or                             572 U.S. at 519. While the EPA has not                     As noted earlier, ODEQ provided
                                                interfere with maintenance and, thus,                         directed states that they must conduct a                some data on emissions and already
                                                must be eliminated under CAA section                          Step 3 analysis in precisely the manner                 implemented emissions reductions for
                                                110(a)(2)(D)(i)(I).                                           the EPA has done in its prior regional                  sources in Oklahoma and stated that the
                                                   To effectively evaluate which                              transport rulemakings, state                            2016 CSAPR Update is the only
                                                emissions in the state should be deemed                       implementation plans addressing the                     reasonable control warranted based on
                                                ‘‘significant’’ and therefore prohibited,                     obligations in CAA section                              Oklahoma’s limited contributions to the
                                                states generally should prepare an                            110(a)(2)(D)(i)(I) must prohibit ‘‘any                  Michigan and Texas receptors. Thus,
                                                accounting of sources and other                               source or other type of emissions                       Oklahoma relied on its EGUs being
                                                emissions activity for relevant                               activity within the State’’ from emitting               subject to the CSAPR Update (which
                                                pollutants and assess potential,                              air pollutants which will contribute                    reflected a stringency at the nominal
                                                additional emissions reduction                                significantly to downwind air quality                   marginal cost threshold of $1400/ton
                                                opportunities and resulting downwind                          problems. Thus, states must complete                    (2011$) for the 2008 ozone NAAQS) to
                                                air quality improvements. The EPA has                         something similar to the EPA’s analysis                 argue that it had already implemented
                                                consistently applied this general                             (or an alternative approach to defining                 all cost-effective emissions reductions,
                                                approach (i.e., Step 3 of the 4-Step                          ‘‘significance’’ that comports with the                 and had no additional statutory
lotter on DSK11XQN23PROD with PROPOSALS2




                                                the Denton County and Tarrant County monitors/                   90 DVs and contributions at individual monitoring    CSAPR Update, as noted above. That modeling
                                                receptors respectively. Preliminary 2019–2021 DVs             sites nationwide are provide in the file: ‘‘2016v2_     showed that Oklahoma had a maximum
                                                are 74 ppb and 72 ppb at the Denton County and                DVs_state_contributions.xlsx’’ which is included in     contribution greater than 0.70 ppb to at least one
                                                Tarrant County monitors/receptors respectively.               Docket ID No. EPA–HQ–OAR–2021–0663.                     nonattainment or maintenance-only receptor in
                                                  89 EPA also analyzed trends using AQS data, See
                                                                                                                 91 These modeling results are consistent with the    2023. These modeling results are included in
                                                                                                              results of a prior round of 2023 modeling using the     ‘‘Ozone DVs And Contributions Revised CSAPR
                                                EPA Region 6 TSD.                                             2016v1 emissions platform which became available        Update.xlsx’’ in Docket ID No. EPA–HQ–OAR–
                                                                                                              to the public in the fall of 2020 in the Revised        2021–0663.



                                           VerDate Sep<11>2014     20:06 Feb 18, 2022    Jkt 256001    PO 00000     Frm 00026    Fmt 4701    Sfmt 4702   E:\FR\FM\22FEP2.SGM   22FEP2
                                                                    Case: 23-60069                    Document: 110                  Page: 80            Date Filed: 03/27/2023
                                                                      Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules                                           9823

                                                obligation to prohibit emissions under                  conclude that it does not contribute                  Comm’n on Envtl. Quality v. EPA,790
                                                CAA section 110(a)(2)(D)(i)(I) with                     significantly to nonattainment or                     F.3d 138, 163 n. 12 (D.C. Cir. 2015)
                                                respect to the 2015 ozone NAAQS.                        maintenance at the receptor.                          (observing that the argument the ‘‘there
                                                   The EPA disagrees with ODEQ’s                           The EPA disagrees with respect to                  likely would have been no violation at
                                                conclusions for the following reasons:                  ODEQ’s assertion regarding the                        all . . . if it were not for the emissions
                                                First, the CSAPR Update did not                         relatively small contribution of                      resulting from [another source is
                                                regulate non-electric generating units,                 emissions from Oklahoma to the                        ‘‘merely a rephrasing of the but-for
                                                and thus this analysis is incomplete. See               Allegan County, MI receptor compared                  causation rule that we rejected in
                                                Wisconsin, 938 F.3d at 318–20. Second,                  to emissions from other upwind states                 Catawba County.’’). Therefore, a state is
                                                relying on the CSAPR Update’s (or any                   such as Illinois. Whether emissions                   not excused from eliminating its
                                                other CAA program’s) determination of                   from other states or countries also                   significant contribution on the basis that
                                                cost-effectiveness without further Step 3               contribute to the same downwind air                   other upwind states also contribute
                                                analysis is not approvable. Cost-                       quality issue is irrelevant in assessing              some amount of pollution to the same
                                                effectiveness must be assessed in the                   whether a downwind state has an air                   receptors to which the state is linked.
                                                context of the specific CAA program;                    quality problem, or whether an upwind                    As explained in Section IV.A of this
                                                assessing cost-effectiveness in the                     state is contributing significantly to that           action, ODEQ’s weight of evidence also
                                                context of ozone transport should reflect               problem. States are not obligated under               concluded that the Allegan receptor
                                                a more comprehensive evaluation of the                  CAA section 110(a)(2)(D)(i)(I) to reduce              would be attaining the NAAQS in 2023
                                                nature of the interstate transport                      emissions sufficient on their own to                  based on an analysis that assumed a
                                                problem, the total emissions reductions                 resolve downwind receptors’                           projection of a linear reduction in DVs
                                                available at several cost thresholds, and               nonattainment or maintenance                          across a 12-year period (2011 to
                                                the air quality impacts of the reductions               problems. Rather, states are obligated to             projected 2023 values), and then
                                                at downwind receptors. While the EPA                    eliminate their own significant                       applied that annual reduction (1.1917
                                                has not established a benchmark cost-                   contribution or interference with the                 ppb/year) to the receptor’s 2016-
                                                effectiveness value for 2015 ozone                      ability of other states to attain or                  centered base period maximum DV (75
                                                NAAQS interstate transport obligations,                 maintain the NAAQS.                                   ppb). The EPA does not necessarily
                                                because the 2015 ozone NAAQS is a                          Further, the court in Wisconsin                    agree that the assumptions made in
                                                more stringent and more protective air                  explained that downwind jurisdictions                 Oklahoma’s weight-of-evidence analysis
                                                quality standard, it is reasonable to                   often may need to heavily rely on                     are reasonable; however, because the
                                                expect control measures or strategies to                emissions reductions from upwind                      updated modeling also shows that
                                                address interstate transport under this                 states in order to achieve attainment of              Allegan County, MI is no longer a
                                                NAAQS to reflect higher marginal                        the NAAQS, 938 F.3d at 316–17; such                   receptor in 2023, we propose to find
                                                control costs. As such, the marginal cost               states would face increased regulatory                such assumptions are inconsequential to
                                                threshold of $1,400/ton for the CSAPR                   burdens including the risk of bumping                 our action on Oklahoma’s SIP.
                                                Update (which addresses the 2008                        up to a higher nonattainment                             We recognize that the results of the
                                                ozone NAAQS and is in 2011$) is not                     classification if attainment is not                   EPA (2011 and 2016 base year)
                                                an appropriate cost threshold and                       reached by the relevant deadline,                     modeling indicated different receptors
                                                cannot be approved as a benchmark to                    Maryland, 958 F.3d at 1204. Indeed, the               and linkages at Steps 1 and 2 of the 4-
                                                use for interstate transport SIP                        D.C. Circuit in Wisconsin specifically                Step interstate transport framework.
                                                submissions for the 2015 ozone                          rejected petitioner arguments suggesting              These differing results regarding
                                                NAAQS.                                                  that upwind states should be excused                  receptors and linkages can be affected
                                                   In addition, the most recent EPA                     from interstate transport obligations on              by the varying meteorology from year to
                                                modeling captures all existing CSAPR                    the basis that some other sources of                  year, but we do not think the differing
                                                trading programs in the baseline, and                   emissions (whether international or                   results mean that the modeling or the
                                                that modeling confirms that these                       another upwind state) could be                        EPA methodology for identifying
                                                control programs were not sufficient to                 considered the ‘‘but-for’’ cause of                   receptors or linkages is inherently
                                                eliminate Oklahoma’s linkage at Steps 1                 downwind air quality problem. 938                     unreliable. Rather, these separate
                                                and 2 under the 2015 ozone NAAQS.                       F.3dat 323–324. The court viewed                      modeling runs all indicated: (1) That
                                                The State was therefore obligated at                    petitioners’ arguments as essentially an              there are receptors that would struggle
                                                Step 3 to assess additional control                     argument ‘‘that an upwind state                       with nonattainment or maintenance in
                                                measures using a multifactor analysis.                  ‘contributes significantly’ to downwind               the future; and (2) that Oklahoma was
                                                   Finally, relying on a FIP at Step 3 is               nonattainment only when its emissions                 linked to some set of these receptors,
                                                per se not approvable if the state has not              are the sole cause of downwind                        even if the receptors and linkages
                                                adopted that program into its SIP and                   nonattainment.’’ 938 F.3d at 324. The                 differed from one another in their
                                                instead continues to rely on the FIP.                   court explained that ‘‘an upwind state                specifics (e.g., Oklahoma was linked to
                                                States may not rely on FIP measures to                  can ‘contribute’ to downwind                          a different set of receptors in one
                                                meet SIP requirements. See CAA section                  nonattainment even if its emissions are               modeling run versus another). These
                                                110(a)(2)(D) (‘‘Each such [SIP] shall . . .             not the but-for cause.’’ Id.at 324–325.               results indicate that emissions from
                                                contain adequate provisions . . . .’’).                 See also Catawba County v. EPA, 571                   Oklahoma are substantial enough to
                                                See also CAA section 110(a)(2)(A);                      F.3d 20, 39 (D.C. Cir. 2009) (rejecting               generate linkages at Steps 1 and 2 to at
                                                Committee for a Better Arvin v. U.S.                    the argument ‘‘that ‘significantly                    least some downwind receptors, under
lotter on DSK11XQN23PROD with PROPOSALS2




                                                E.P.A., 786 F.3d 1169, 1175–76 (9th Cir.                contribute’ unambiguously means                       varying assumptions and meteorological
                                                2015) (holding that measures relied on                  ‘strictly cause’’’ because there is ‘‘no              conditions, even if the precise set of
                                                by state to meet CAA requirements must                  reason why the statute precludes EPA                  linkages changed between modeling
                                                be included in the SIP).                                from determining that [an] addition of                runs.
                                                   In addition, ODEQ’s submission                       [pollutant] into the atmosphere is                       We therefore propose that ODEQ was
                                                included a weight of evidence                           significant even though a nearby                      required to analyze emissions from the
                                                evaluation of its contribution to the                   county’s nonattainment problem would                  sources and other emissions activity
                                                Allegan County, MI receptor to                          still persist in its absence’’); Miss.                from within the State to determine


                                           VerDate Sep<11>2014   20:06 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00027   Fmt 4701   Sfmt 4702   E:\FR\FM\22FEP2.SGM   22FEP2
                                                                    Case: 23-60069                    Document: 110                  Page: 81            Date Filed: 03/27/2023
                                                9824                  Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules

                                                whether its contributions were                          Quality v. EPA, 740 F.3d 185 (D.C. Cir.                  As explained earlier, the EPA is
                                                significant. Because ODEQ failed to                     2014).92                                               proposing to find that the portion of
                                                perform this analysis, we propose to                       On October 1, 2020, the EPA                         Oklahoma’s SIP submission addressing
                                                disapprove its submission.                              approved Oklahoma’s SAFETEA request                    CAA section 110(a)(2)(D)(i)(I) does not
                                                                                                        to administer all of the State’s EPA-                  meet the State’s interstate transport
                                                4. Evaluation of Information Provided                   approved environmental regulatory                      obligations, because it fails to contain
                                                by ODEQ Regarding Step 4                                programs, including the Oklahoma SIP,                  the necessary provisions to eliminate
                                                   Step 4 of the 4-Step interstate                      in the requested areas of Indian country.              emissions which will contribute
                                                                                                        As requested by Oklahoma, the EPA’s                    significantly to nonattainment or
                                                transport framework calls for
                                                                                                        approval under SAFETEA does not                        interfere with maintenance of the 2015
                                                development of permanent and
                                                                                                        include Indian country lands, including                ozone NAAQS in any other state.
                                                federally enforceable control strategies
                                                                                                        rights-of-way running through the same,                Consistent with the D.C. Circuit’s
                                                to achieve the emissions reductions                                                                            decision in ODEQ v. EPA and the EPA’s
                                                                                                        that: (1) Qualify as Indian allotments,
                                                determined to be necessary at Step 3 to                                                                        October 1, 2020, SAFETEA approval,
                                                                                                        the Indian titles to which have not been
                                                eliminate significant contribution to                                                                          this disapproval if finalized as proposed
                                                                                                        extinguished, under 18 U.S.C. 1151(c);
                                                nonattainment or interference with                      (2) are held in trust by the United States             will extend to areas of Indian country in
                                                maintenance of the NAAQS. As                            on behalf of an individual Indian or                   Oklahoma where the State has SIP
                                                mentioned previously, ODEQ’s SIP                        Tribe; or (3) are owned in fee by a Tribe,             planning authority.
                                                submission did not contain an                           if the Tribe (a) acquired that fee title to
                                                evaluation of additional emission                                                                              V. Texas SIP Submission Addressing
                                                                                                        such land, or an area that included such               Interstate Transport of Air Pollution for
                                                control opportunities (or establish that                land, in accordance with a treaty with
                                                no additional controls are required),                                                                          the 2015 Ozone NAAQS and the EPA
                                                                                                        the United States to which such Tribe                  Evaluation of the SIP Submission
                                                thus, no information was provided at                    was a party, and (b) never allotted the
                                                Step 4. As a result, EPA proposes to                    land to a member or citizen of the Tribe.              A. Summary of TCEQ SIP Submission
                                                disapprove ODEQ’s submittal on the                         The EPA’s approval under SAFETEA                    Addressing Interstate Transport of Air
                                                separate, additional basis that the State               expressly provided that to the extent the              Pollution for the 2015 Ozone NAAQS
                                                has not developed permanent and                         EPA’s prior approvals of Oklahoma’s                       On August 17, 2018, the Texas
                                                enforceable emissions reductions                        environmental programs excluded                        Commission on Environmental Quality
                                                necessary to meet the obligations of                    Indian country, any such exclusions are                (TCEQ) made a SIP submission
                                                CAA section 110(a)(2)(d)(i)(I).                         superseded for the geographic areas of                 addressing interstate transport of air
                                                                                                        Indian country covered by the EPA’s                    pollution for the 2015 ozone NAAQS.
                                                5. Conclusion
                                                                                                        approval of Oklahoma’s SAFETEA                         The SIP submission provided TCEQ’s
                                                  Based on the EPA’s evaluation of                      request.93 The approval also provided                  analysis of their impact to downwind
                                                ODEQ’s SIP submission, the EPA is                       that future revisions or amendments to                 states using a framework similar to
                                                proposing to find that the portion of                   Oklahoma’s approved environmental                      EPA’s 4-Step framework and concluded
                                                ODEQ’s SIP submission addressing CAA                    regulatory programs would extend to                    that emissions from Texas will not
                                                section 110(a)(2)(D)(i)(I) does not meet                the covered areas of Indian country                    contribute significantly to
                                                the State’s interstate transport                        (without any further need for additional               nonattainment or interfere with
                                                obligations because it fails to contain                 requests under SAFETEA).94                             maintenance of the 2015 ozone NAAQS
                                                the necessary provisions to eliminate                                                                          in other states.
                                                emissions which will interfere with
                                                                                                          92 In ODEQ v. EPA, the D.C. Circuit held that
                                                                                                                                                                  In the submittal, TCEQ provided the
                                                                                                        under the CAA, a state has the authority to            steps they used to assess whether
                                                maintenance of the 2015 ozone NAAQS                     implement a SIP in non-reservation areas of Indian
                                                                                                                                                               emissions from Texas contribute
                                                in any other state.                                     country in the state, where there has been no
                                                                                                        demonstration of tribal jurisdiction. Under the D.C.   significantly to nonattainment or
                                                C. Impact on Areas of Indian Country                    Circuit’s decision, the CAA does not provide           interfere with maintenance of the 2015
                                                                                                        authority to states to implement SIPs in Indian        ozone NAAQS in other States: (1)
                                                   Following the U.S. Supreme Court                     reservations. ODEQ did not, however, substantively
                                                                                                        address any request under the separate authority in
                                                                                                                                                               Identify monitors projected to be in
                                                decision in McGirt v Oklahoma, 140 S                    Indian country provided specifically to Oklahoma       nonattainment or have maintenance
                                                Ct. 2452 (2020), the Governor of the                    under SAFETEA. That separate authority was not         issues in future year 2023; (2) identify
                                                State of Oklahoma requested approval                    invoked until the State submitted its request under    for further review projected
                                                under Section 10211(a) of the Safe,                     SAFETEA, and was not approved until the EPA’s
                                                                                                        decision, described in this section, on October 1,
                                                                                                                                                               nonattainment and/or maintenance
                                                Accountable, Flexible, Efficient                        2020.                                                  monitors in other states that are
                                                Transportation Equity Act of 2005: A                      93 The EPA’s prior approvals relating to             impacted by emissions from Texas; and
                                                Legacy for Users, Public Law 109–59,                    Oklahoma’s SIP frequently noted that the SIP was       (3) determine if emissions from Texas
                                                119 Stat. 1144, 1937 (August 10, 2005)                  not approved to apply in areas of Indian country       contribute significantly to
                                                                                                        (consistent with the D.C. Circuit’s decision in
                                                (‘‘SAFETEA’’), to administer in certain                 ODEQ v. EPA) located in the state. See, e.g., 85 FR
                                                                                                                                                               nonattainment or interfere with
                                                areas of Indian country (as defined at 18               20178, 20180 (April 10, 2020). Such prior expressed    maintenance at the monitors identified
                                                U.S.C. 1151) the State’s environmental                  limitations are superseded by the EPA’s approval of    in TCEQ Step 2. TCEQ stated that their
                                                regulatory programs that were                           Oklahoma’s SAFETEA request.                            Step 1 is the same as EPA’s Step 1 and
                                                                                                          94 On December 22, 2021, the EPA proposed to
                                                previously approved by the EPA for                                                                             that their Steps 2 and 3 are equivalent
                                                                                                        withdraw and reconsider the October 1, 2020
                                                areas outside of Indian country. The                    SAFETEA approval. See https://www.epa.gov/ok/          to EPA’s Step 2. TCEQ used a
lotter on DSK11XQN23PROD with PROPOSALS2




                                                State’s request excluded certain areas of               proposed-withdrawal-and-reconsideration-and-
                                                Indian country further described below.                 supporting-information. The EPA is engaging in         the approval of Oklahoma’s program to reflect the
                                                                                                        further consultation with tribal governments and       outcome of the proposed withdrawal and
                                                In addition, the State only sought                      expects to have discussions with the State of          reconsideration of the October 1, 2020 SAFETEA
                                                approval to the extent that such                        Oklahoma as part of this reconsideration. The EPA      approval. To the extent any change occurs in the
                                                approval is necessary for the State to                  also notes that the October 1, 2020 approval is the    scope of Oklahoma’s SIP authority in Indian
                                                                                                        subject of a pending challenge in Federal court.       country before the finalization of this proposed
                                                administer a program in light of                        Pawnee Nation of Oklahoma v Regan, No. 20–9635         rule, such a change may affect the scope of the
                                                Oklahoma Dept. of Environmental                         (10th Cir.). The EPA may make further changes to       EPA’s final action on the proposed rule.



                                           VerDate Sep<11>2014   20:06 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00028   Fmt 4701   Sfmt 4702   E:\FR\FM\22FEP2.SGM   22FEP2
                                                                      Case: 23-60069                              Document: 110                            Page: 82                   Date Filed: 03/27/2023
                                                                         Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules                                                                          9825

                                                contribution threshold of one percent of                            and the October 2017 updated modeling                                  assessing whether a monitor would have
                                                the NAAQS (0.7 ppb) in their Step 2                                 data for 2023),96 was a meteorologically                               maintenance issues. Texas explained
                                                analysis to identify nonattainmentand/                              anomalous year for Texas and                                           that it chose to define maintenance
                                                or maintenance monitors in other states                             surrounding states as it was the hottest                               receptors in this way to capture more
                                                that are impacted by emissions from                                 year on record and the single-worst                                    recent emission reductions. The SIP
                                                Texas. TCEQ further stated that EPA’s                               drought year recorded in Texas since                                   submittal also included a discussion of
                                                Steps 3 and 4 are relevant only if                                  1895. TCEQ’s modeling also used some                                   why TCEQ believes their approach for
                                                emissions from Texas contribute                                     different emissions estimates for the                                  identifying maintenance receptors is
                                                significantly to nonattainment or                                   base year and future year 2023                                         appropriate. The TCEQ modeling and
                                                interfere with maintenance at                                       emissions, including different future                                  differences with the EPA modeling is
                                                downwind monitors in another state.                                 year emissions for EGUs. There were                                    discussed in detail in the EPA Region 6
                                                Because Texas TCEQ concluded that it                                also some differences in methods used                                  TSD for this action.
                                                has no such emissions, EPA’s Steps 3                                in the model results analysis and the
                                                and 4 are not addressed in the SIP                                                                                                            Based on their modeling, TCEQ
                                                                                                                    model performance evaluation. TCEQ                                     provided: (1) A table of downwind
                                                submission.
                                                                                                                    also used a different methodology than                                 receptors projected to be in
                                                   To identify monitors projected to be
                                                in nonattainment or have maintenance                                the EPA to identify monitors projected                                 nonattainment of the 2015 ozone
                                                issues in 2023, (EPA Step 1 and TCEQ                                to be maintenance receptors in 2023.                                   NAAQS in 2023 and have a contribution
                                                Step 1), TCEQ conducted its own                                     TCEQ used only the most recent DV                                      from Texas emissions at a threshold of
                                                regional photochemical modeling using                               containing the base year 2012, (i.e., the                              0.7 ppb or greater and (2) a table of
                                                a 2012 base year. TCEQ’s modeling and                               monitored DV for 2012–2014), to project                                downwind maintenance receptors
                                                EPA’s modeling differ in significant                                a 2023 ‘‘maintenance DV’’ for assessing                                projected to have problems attaining
                                                respects, which are discussed in detail                             whether a monitor would have                                           and maintaining the 2015 ozone
                                                in the EPA Region 6 2015 8-Hour Ozone                               maintenance issues. The EPA’s                                          NAAQS in 2023 and have a contribution
                                                Transport SIP Proposal Technical                                    methodology uses the maximum of the                                    from Texas emissions at a threshold of
                                                Support Document (EPA Region 6                                      three consecutive regulatory DVs                                       0.7 ppb or greater. TCEQ identified
                                                TSD).95 In particular, TCEQ used a 2012                             containing the base year, which is the                                 these receptors for further analysis. The
                                                base year, stating that (1) the year 2012                           highest monitored DV from among the                                    nonattainment and maintenance
                                                had above average temperatures across                               three DVs that contain the 2011 base                                   receptors provided by TCEQ are listed
                                                most of the U.S., except in some states                             year (i.e., the 2009–2011 DV, 2010–2012                                in Table TX–1. TCEQ noted that except
                                                in the southeast and (2) the year 2011,                             DV or and 2011–2013 DV that all                                        for Arapahoe County, CO (Monitor ID.
                                                (which was used by the EPA in the                                   contain modeled base year of 2011), to                                 80050002) all the maintenance receptors
                                                NODA published on January 6, 2017                                   project a 2023 maximum DV for                                          are also nonattainment receptors.

                                                     TABLE TX–1—PROJECTED 2023 NONATTAINMENT AND MAINTENANCE RECEPTORS IDENTIFIED BY TCEQ MODELING
                                                                                         USING 2012 BASE YEAR
                                                                                                                                                                                                               2023
                                                                                                                                                                                             2023          maintenance         Texas
                                                                                                        Receptor                                                                          average DV            DV           contribution
                                                                                                (site ID, county, state)                                                                     (ppb)         (ppb) (TCEQ          (ppb)
                                                                                                                                                                                                             method)

                                                80350004,   Douglas, CO ..............................................................................................................               73               72              1.42
                                                80590006,   Jefferson, CO ............................................................................................................               72               73              1.26
                                                80590011,   Jefferson, CO ............................................................................................................               71               71              1.26
                                                80690011,   Larimer, CO ...............................................................................................................              72               71              1.22
                                                80050002,   Arapahoe, CO ............................................................................................................               *70               71              1.15
                                                40038001,   Cochise, AZ ...............................................................................................................              71             **69              1.06
                                                60371201,   Los Angeles, CA ........................................................................................................                 80               78              0.76
                                                60371701,   Los Angeles, CA ........................................................................................................                 80               82              0.72
                                                60376012,   Los Angeles, CA ........................................................................................................                 87               86               0.9
                                                60658001,   Riverside, CA .............................................................................................................              88               85              0.73
                                                60658005,   Riverside, CA .............................................................................................................              84               83              0.71
                                                60710001,   San Bernardino, CA ..................................................................................................                    71               72              0.84
                                                60710306,   San Bernardino, CA ..................................................................................................                    76               77              0.81
                                                60711004,   San Bernardino, CA ..................................................................................................                    91               90              0.88
                                                60714001,   San Bernardino, CA ..................................................................................................                    82               79              0.86
                                                60714003,   San Bernardino, CA ..................................................................................................                    94               91              0.74
                                                  * TCEQ did not include this value in their SIP narrative (this cell was blank). The EPA obtained this value from data that was in TCEQ’s
                                                spreadsheet of future 2023 DVs with state contributions.
                                                  ** TCEQ did not provide this calculation. The EPA used TCEQ’s modeling information to calculate this value using the Relative Response Fac-
                                                tor in TCEQ spreadsheet of future 2023 DVs with state contributions and the monitor’s 2012–2014 DV (0.983 X 71 ppb, truncation applied).
lotter on DSK11XQN23PROD with PROPOSALS2




                                                  TCEQ also noted that in the EPA’s                                 based on the receptors being identified                                contribution threshold. TCEQ provided
                                                2017 Transport NODA, the EPA’s                                      as nonattainment or maintenance                                        a table of those monitors along with the
                                                modeling linked Texas to six receptors                              receptors and based on a 0.7 ppb                                       EPA and TCEQ modeling results for

                                                  95 ‘‘EPA Region 6 2015 8-Hour Ozone Transport                     included in Docket ID No. EPA–R06–OAR–2021–                              96 The NODA and the October 2017 modeling are

                                                SIP Proposal Technical Support Document’’ (EPA                      0801.                                                                  discussed in Section I.C of this action.
                                                Region 6 2015 Ozone Transport SIP TSD.pdf)



                                           VerDate Sep<11>2014    20:06 Feb 18, 2022        Jkt 256001      PO 00000       Frm 00029       Fmt 4701       Sfmt 4702      E:\FR\FM\22FEP2.SGM      22FEP2
                                                                         Case: 23-60069                           Document: 110                         Page: 83           Date Filed: 03/27/2023
                                                9826                        Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules

                                                those receptors (Table TX–2).97 TCEQ                                analysis, and methodologies (primarily                      OAR–2021–0801) for more details. With
                                                stated that the differences are due to                              TCEQ’s alternate maintenance receptor                       exception of the Jefferson County, CO
                                                changes the TCEQ made to modeling                                   methodology), see the EPA Region 6                          receptor (Monitor ID. 80590011) TCEQ
                                                inputs (primarily the different base year                           TSD included in the Regional docket for                     did not further review its linkages to
                                                of 2012 versus the EPA’s 2011),                                     this action (Docket ID No. EPA–R06–                         any of the receptors in Table TX–2.

                                                   TABLE TX–2—TCEQ INFORMATION ON RECEPTORS LINKED TO TEXAS BY EPA MODELING IN THE TRANSPORT NODA
                                                                                    PUBLISHED ON JANUARY 6, 2017
                                                                                                                                                              EPA 2023         EPA Texas            TCEQ 2023     TCEQ Texas
                                                                                             Receptor                                                        average DV        contribution         average DV     contribution
                                                                                     (site ID, county, state)                                                   (ppb)             (ppb)                (ppb)          (ppb)

                                                260050003, Allegan, MI ...................................................................................             68.8                2.49              71            0.59
                                                551170006, Sheboygan, WI ............................................................................                  71.0                1.92              70            0.73
                                                240251001, Harford, MD .................................................................................               71.3                0.91              65            0.69
                                                360850067, Richmond, NY .............................................................................                  71.2                0.77              62            0.67
                                                361030002, Suffolk, NY ...................................................................................             71.3                0.71              67            0.63
                                                80590011, Jefferson, CO ................................................................................               69.7                1.03              71            1.26



                                                   TCEQ then used a weight of evidence                              monitoring sites that are projected to                      not adequately protect ‘‘[a]reas that find
                                                approach to assess whether emissions                                have problems attaining and/or                              themselves barely meeting attainment.’’
                                                from Texas contribute significantly to                              maintaining the NAAQS (i.e.,                                Id. at 910. Consequently, the EPA has
                                                nonattainment or interfere with                                     nonattainment and maintenance                               developed a methodology, as described
                                                maintenance at the receptors listed in                              receptors). In executing this step, TCEQ                    elsewhere in this action and used in its
                                                Table TX–1. TCEQ stated that the Texas                              elected to rely on their own modeling                       2011 CSAPR and its 2016 CSAPR
                                                contribution to a receptor should be                                and methodology for identifying                             Update and Revised CSAPR Update, for
                                                deemed ‘‘significant’’ only if there is a                           receptors. The EPA is evaluating the                        identifying areas that may struggle to
                                                persistent and consistent pattern of                                TCEQ’s modeling and methodology here                        maintain the NAAQS. See 76 FR at
                                                contribution on several days with                                   at Step 1.                                                  48227–28. The EPA’s approach to
                                                elevated ozone. Consideration was given                             i. Evaluation of TCEQ’s Methodology for                     addressing maintenance receptors was
                                                to factors such as DV trends, number of                             Identifying Maintenance Receptors                           upheld in the EME Homer City
                                                elevated ozone days, back trajectory                                                                                            litigation. See 795 F.3d 118, 136–37. It
                                                analysis on elevated ozone days,                                       As discussed in Section V.A of this                      was also upheld in Wisconsin. 938 F.3d
                                                modeled concentrations on future                                    action, in addition to the use of an                        at 325–26. In Wisconsin, the court noted
                                                expected elevated ozone days, total                                 alternative modeling platform, TCEQ
                                                                                                                                                                                that four upwind states were linked
                                                interstate contributions at tagged                                  also created its own method for
                                                                                                                                                                                only to maintenance receptors and
                                                monitors, and responsiveness of ozone                               identifying maintenance receptors.
                                                                                                                                                                                rejected the argument that application of
                                                to emissions from Texas. Based on their                             TCEQ has not adequately explained or
                                                                                                                                                                                the same control level as the EPA
                                                assessment, TCEQ concluded that                                     justified how its method for identifying
                                                                                                                                                                                imposes for those states linked to
                                                emissions from Texas do not contribute                              maintenance receptors reasonably
                                                                                                                                                                                nonattainment receptors was
                                                significantly to nonattainment or                                   identifies areas that will have difficulty
                                                                                                                                                                                unreasonable or unlawful absent a
                                                interfere with maintenance of the 2015                              maintaining the NAAQS. The EPA
                                                                                                                    proposes to find that TCEQ has not                          particularized showing of overcontrol.
                                                ozone NAAQS at any downwind                                                                                                     Id. at 327.
                                                monitors. Our evaluation of the TCEQ                                provided a sufficient technical basis for
                                                submission is further discussed in                                  how its chosen methodology gives                               To explain the differences between
                                                Section V.B and in the EPA Region 6                                 meaning to the CAA’s instruction that                       TCEQ’s and the EPA’s methodology for
                                                TSD for this action.                                                states submit good neighbor SIPs that                       identifying maintenance receptors, it is
                                                                                                                    prohibit their states’ emissions from                       helpful to provide some additional
                                                B. EPA Evaluation of the TCEQ SIP                                   interfering with the maintenance of the                     context of how the EPA projects future
                                                Submission                                                          NAAQS in another state.                                     air quality. The EPA’s air quality
                                                   Based on the EPA’s evaluation of the                                In North Carolina v. EPA, 531 F.3d                       modeling guidance has long
                                                SIP submission, the EPA is proposing to                             896, 909–11 (D.C. Cir. 2008), the D.C.                      recommended developing a base design
                                                find that TCEQ’s August 17, 2018, SIP                               Circuit rejected the EPA’s CAIR on the                      value (DV) 98 (i.e., the design value that
                                                submission does not meet the State’s                                basis that the EPA had not adequately                       will be used as a starting point to model
                                                obligations with respect to prohibiting                             given meaning to the phrase ‘‘interfere                     and analyze for purposes of projecting
                                                emissions that contribute significantly                             with maintenance’’ in the good neighbor                     future air quality concentrations) that is
                                                to nonattainment or interfere with                                  provision. Specifically, North Carolina                     the average of three DVs spanning a
                                                maintenance of the 2015 ozone NAAQS                                 argued that it had counties that were                       five-year period, centered around one
                                                in any other state.                                                 projected to attain the NAAQS in the                        year for which an emissions inventory
                                                                                                                    future analytic year but were at risk of                    will be submitted (e.g., if 2011 was the
                                                1. Evaluation of Information Provided
lotter on DSK11XQN23PROD with PROPOSALS2




                                                                                                                    falling back into nonattainment due to                      base emissions inventory year, a state
                                                by TCEQ Regarding Step 1                                            interference from upwind sources,                           would use monitored values from 2009–
                                                   As explained in Section I of this                                particularly given year-to-year                             2011, 2010–2012, 2011–2013 as the
                                                action, at Step 1 of the 4-Step interstate                          variability in ozone levels. The court                      starting point for projecting air quality
                                                transport framework, the EPA identifies                             agreed, holding that the EPA’s rule did                     concentrations in future years).99 The
                                                  97 TCEQ    SIP Submission, at page 3–49 (Table 3–                    98 See   FN 8.                                             99 See   FN 73.
                                                12).



                                           VerDate Sep<11>2014       20:06 Feb 18, 2022      Jkt 256001      PO 00000      Frm 00030      Fmt 4701     Sfmt 4702   E:\FR\FM\22FEP2.SGM     22FEP2
                                                                    Case: 23-60069                    Document: 110                  Page: 84            Date Filed: 03/27/2023
                                                                      Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules                                                 9827

                                                average of these three DVs is then                      variability. Unfortunately, the three                 conducive meteorology.102 The
                                                multiplied by a relative response factor                years of variation that TCEQ accounted                variation of DVs at individual monitors
                                                (RRF) 100 to generate an average DV for                 for is already built into the structure of            from year to year can be significant,
                                                the future year. If a receptor’s average                the standard. Thus, the TCEQ method                   even where emissions trend
                                                future year DV is greater than or equal                 gave no consideration to the variability              downwards. The EPA also assessed a
                                                to the level of the NAAQS, and the                      between calculated DVs which provides                 number of monitored DV trends that
                                                receptor has recent monitored data that                 a direct indication of the difficulty a               were provided in TCEQ’s SIP
                                                violates the NAAQS, that receptor is                    receptor will have in maintaining the                 submission and previous TCEQ
                                                considered a ‘‘nonattainment’’ receptor                 standard. In other words, to determine                attainment demonstration SIPs
                                                at Step 1. To identify maintenance                      whether a receptor will have difficulty               indicating that there are at times large
                                                receptors, the EPA’s methodology looks                  maintaining the standard, one must                    annual fluctuations upward from year to
                                                to the highest DV of the three DVs used                 consider the variation in the metric that             year in monitored DVs (sometimes 2–3
                                                to calculate the 5-year weighted average                will be used to determine compliance                  ppb increase in one year) that are due
                                                design value (e.g., in the 2011 example,                with the standard. An indication of the               to variations in meteorology.103 This is
                                                if 2009–2011 had the highest design                     variability of a metric cannot be                     precisely why it is important to consider
                                                value of 2009–2011, 2010–2012, and                      determined by only considering a single               highly variable meteorology and its
                                                2011–2013). The EPA then applies the                    estimate of that metric.                              influence on DVs—the issue at the heart
                                                same relative response factor to that                      TCEQ’s stated purpose in using the                 of the D.C. Circuit’s finding on
                                                highest design value to generate a                      most recent DV was to capture more                    ‘‘interference with maintenance’’ in
                                                projected future maximum design value.                  recent emissions reductions. TCEQ’s                   North Carolina. Areas that are required
                                                Where a receptor’s maximum design                       methodology, however, limits receptors                under the Act to attain by an attainment
                                                value exceeds the level of the NAAQS,                   which could be identified as                          date may fail to attain because of a
                                                the EPA has deemed those receptors to                   maintenance receptors, compared to the                combination of both local emissions,
                                                be ‘‘maintenance’’ receptors. This                      EPA’s methodology largely because it                  upwind emissions, and ozone
                                                methodology was designed to address                     only looks at one design value period                 conducive meteorology, among other
                                                the D.C. Circuit’s holding that the CAA’s               rather than selecting the maximum of                  factors. The North Carolina decision
                                                ‘‘interference with maintenance’’ prong                 the three DV periods EPA’s                            made clear that in interpreting the good
                                                requires states and the EPA to protect                  methodology considers. Thus, TCEQ’s                   neighbor provision, upwind state and
                                                areas that may struggle with                            methodology greatly reduces the                       the EPA obligations to reduce emissions
                                                maintaining the standard in the face of                 probability that meteorological                       must account for variable conditions
                                                inter-annual variability in ozone-                      conditions which make it difficult to                 that could cause an area that is
                                                conducive conditions.                                   maintain the standard will be                         sometimes attaining the NAAQS to fall
                                                   In its modeling, TCEQ adopted an                     considered. As discussed further below,               out of attainment. See also Wisconsin,
                                                identical approach to the EPA’s for                     the effects of emissions trends are                   938 F.3d at 327 (‘‘Variations in
                                                identifying nonattainment receptors—it                  already captured through other aspects                atmospheric conditions and weather
                                                looked at three sets of DVs over a five-                of the methodology to identify                        patterns can bring maintenance
                                                year period and averaged those DVs to                   receptors. So, in trying to give more                 receptors into nonattainment even
                                                generate a base year DV. TCEQ then                      weight to emission reductions, by                     without elevated emissions.’’).
                                                applied a relative response factor to that              selecting only one design value (2012–                   In addition, TCEQ claimed that its use
                                                base year design value to project a                     2014) for its base year, TCEQ’s                       of the 2012–2014 DV (i.e., the most
                                                receptor’s average design value in the                  methodology did not give any                          recent in the 5-year base period it
                                                future year. For its maintenance                        consideration to interannual variability              examined) is more reliable than the
                                                receptors, however, TCEQ used only the                  in ozone-conducive meteorology as does                EPA’s method, because that more recent
                                                most recent design value of the set of                  the EPA’s method.                                     DV accounts for both emission
                                                three DVs, regardless of whether the                       The EPA’s methodology, using the                   reductions and because there is a
                                                most recent design value was highest or                 maximum DV which accounts for the                     shorter interval between the monitored
                                                lowest, instead of considering                          variability in ozone concentrations and               DV and the projected DV. As we note
                                                variability in conditions over a five-year              DVs due to changes in meteorology over                elsewhere, the TCEQ’s base year
                                                period, or using the highest DV of the                  the five years of the base year DV                    modeled inventory is 2012 emissions
                                                three DVs making up the base year                       period, was designed to identify those                and the TCEQ’s model projections for
                                                design value. TCEQ’s proffered                          areas that might struggle to maintain the             2023 include the expected emission
                                                explanation for using the most recent                   NAAQS in particularly ozone conducive                 reductions from 2012 thru 2014 and to
                                                DV to identify maintenance receptors                    conditions. TCEQ claimed that the                     2023. By just using the 2012–2014 DV
                                                was that the latest DV ‘‘takes into                     EPA’s method undervalues changes in                   data, TCEQ claimed they are giving
                                                consideration . . . any emissions                       air quality due to emission reductions                weight to emission reductions during
                                                reductions that might have                              and overvalues changes due to variation               the final base years where EPA’s method
                                                occurred.’’ 101 However, TCEQ in its                    in meteorology. TCEQ pointed out that                 does not. The effect of emission
                                                submission does not explain how this                    emissions nationwide are generally                    reductions, however, is already factored
                                                methodology takes into account                          trending downward as a result of                      in the method since the modeling
                                                meteorological variability in identifying               Federal motor vehicle standards and                   projection to 2023 is explicitly designed
                                                those areas that may be meeting the                     other technological improvements. The                 to project the changes in ozone due to
lotter on DSK11XQN23PROD with PROPOSALS2




                                                NAAQS or that may be projected to                       EPA agrees that ozone levels generally                emission reductions from the 2012 base
                                                meet the NAAQS but may nevertheless                     trend downward, but there is not a                    year emission levels. So, in fact, the
                                                struggle to maintain the NAAQS.                         steady decline from year to year in                   EPA method does give weight to
                                                   TCEQ argued that the 3-year DV used                  ozone concentrations. Rather, ozone                   emission reductions. Furthermore, since
                                                includes some meteorological                            levels tend to vary from year to year
                                                                                                        with some years showing an increase                    102 See EPA Region 6 TSD, included in Docket ID
                                                  100 SeeFN 53.                                         instead of a decrease mainly due to                   No. EPA–R06–OAR–2021–0801.
                                                  101 TCEQ SIP submission at 3–39 to 3–40.              inter-annual variability in ozone-                     103 Id.




                                           VerDate Sep<11>2014   20:06 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00031   Fmt 4701   Sfmt 4702   E:\FR\FM\22FEP2.SGM   22FEP2
                                                                    Case: 23-60069                    Document: 110                  Page: 85            Date Filed: 03/27/2023
                                                9828                  Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules

                                                TCEQ agrees that the average of the DVs                 maximum of these three DVs for the                    practical consequence of the EPA’s
                                                based on 2010–2014 ozone levels are                     maintenance methodology. Because                      approach is that it could lead to over-
                                                reliable enough to use in the                           TCEQ’s maintenance methodology of                     control and that it might require upwind
                                                identification of nonattainment                         just using the most recent DV (2012–                  states to consider or implement controls
                                                receptors, it is unclear how the 2012–                  2014 DV) often results in maintenance                 when the downwind state in which the
                                                2014 period is deemed more reliable for                 DVs lower than the 2023 nonattainment                 monitor is located does not have any
                                                the maintenance test since the modeled                  DVs methodology results, the EPA finds                obligations to control local emissions.
                                                emissions are still for 2012. We also                   that the TCEQ methodology is not                      TCEQ argued that this ‘‘conflation’’ of
                                                note, as discussed throughout this                      adequately identifying conditions when                nonattainment and maintenance results
                                                action, the EPA has updated its                         a receptor would have more difficulty                 in there being no independent meaning
                                                modeling to use a 2016 base year—that                   maintaining the standard. In fact, the                to ‘‘maintenance.’’
                                                is, a five year period spanning 2014–                   TCEQ’s method also identified one                        With respect to the first of these
                                                2018, and applied its methodology for                   receptor in their SIP submission as a                 assertions from TCEQ, we note that
                                                defining maintenance receptors using                    nonattainment receptor in 2023 that                   TCEQ’s methodology for identifying
                                                that five year base period. Using a more                would not have been identified as a                   receptors (like the EPA’s) is entirely
                                                recent base period (EPA’s 2016v2)                       maintenance receptor, which further                   distinct from ozone designations under
                                                provides the most recent design values,                 highlights the concern that TCEQ’s                    the Clean Air Act; neither TCEQ nor the
                                                shorter period of projection (2016 to                   method did not adequately identify                    EPA take current or presumed future
                                                2023 versus a 2011 or 2012 base year)                   areas that may struggle to maintain the               designations of areas into account, and
                                                and a more accurate basis for                           standard. TCEQ did not address                        any implementation requirements like a
                                                projections of future air quality. We note              whether the three years that comprise                 maintenance plan under CAA section
                                                that the EPA undertook a large                          the most recent design value (i.e., 2012,             175A, in identifying receptors. TCEQ’s’
                                                collaborative multi-year effort with                    2013, and 2014) had meteorological                    discussion, therefore, of maintenance
                                                states (including TCEQ) and other                       conditions highly conducive for                       plan contingency measures or
                                                stakeholders input and review in                        formation of high ozone concentrations                maintenance plans generally is
                                                developing the 2016v2 emission                          and thus would be an appropriate time                 irrelevant and misplaced. None of the
                                                inventories. By virtue of this update,                  period to assess whether area could                   areas to which Texas is linked in the
                                                any monitored DV used by the EPA to                     have difficulty maintaining the standard              EPA 2016v2 modeling has been
                                                identify maintenance receptors in this                  and the EPA’s analysis confirms that                  redesignated to attainment for the 2015
                                                action accounts for more recent                         this time period is not highly conducive              ozone NAAQS, and none of the areas to
                                                emission reductions and provides a                      to ozone formation, at least for many                 which Texas is linked in its own
                                                shorter interval between base year                      receptors. The consequence of TCEQ’s                  modeling has been redesignated to
                                                monitored DV and the projected future                   maintenance method is that it often                   attainment for that NAAQS. We also fail
                                                analytic year.                                          results in lower DVs than the                         to see how TCEQ’s approach to
                                                   As discussed further in the EPA                      nonattainment test as demonstrated by                 identifying maintenance receptors
                                                Region 6 TSD 104 for this action, the EPA               our analysis, which indicates that it is              differs in any relevant respect from the
                                                has reviewed the set of 21 receptors for                often not considering conditions when                 EPA’s approach with regard to the
                                                which Texas had contributions of 0.7                    an area would have difficulty                         alleged ‘‘conflation’’ of projecting
                                                ppb or more in the EPA’s 2016 base year                 maintaining the standard. It is also                  attainment in a future year rather than
                                                modeling analyses, or TCEQ’s modeling                   unreasonable to have a test that would                the ability of an attainment receptor to
                                                (2012 base year), and evaluated the                     not identify nonattainment receptors                  maintain attainment. Both TCEQ and
                                                results of using TCEQ’s alternate                       also as maintenance receptors.                        the EPA identify maintenance receptors
                                                maintenance methodology. For these 21                      TCEQ also made several additional                  based on projections of air quality in a
                                                receptors, TCEQ’s method resulted in 15                 assertions in support of their conclusion             future year to determine whether the
                                                of the 21 2023 maintenance DVs                          that their method for identifying                     receptor will have difficulty attaining or
                                                predicted to be lower than the 2023                     maintenance receptors was the better                  maintaining the standard. TCEQ’s
                                                nonattainment DVs from the                              reading of the CAA, compared to the                   arguments about overcontrol based on
                                                nonattainment methodology that uses                     EPA’s. TCEQ claimed that its approach                 the application of a uniform remedy to
                                                the 5-year center weighted average. Of                  was more consistent with the CAA’s                    states linked to both nonattainment and
                                                these 15 receptors, three receptors have                concept of maintenance as areas that                  maintenance receptors were also not
                                                2023 maintenance DVs that are 3 ppb                     were formerly nonattainment and that                  germane; in this case, TCEQ had
                                                lower, five receptors have 2023                         have since attained and will continue to              identified no remedy to apply
                                                maintenance DVs that are 2 ppb lower,                   maintain by accounting for: (1)                       whatsoever because it had failed to
                                                and seven receptors have 2023                           Emissions reductions occurring in the                 identify that the emissions from Texas
                                                maintenance DVs that are 1 ppb lower.                   later design values of the base DV                    cause a problem in the first instance.
                                                In comparison, using the EPA’s                          period; (2) ‘‘commitments regarding                   The D.C. Circuit has already rejected the
                                                maintenance methodology results in all                  contingency measures to address future                idea that the application of a uniform
                                                21 2023 maintenance DVs being equal                     emission reductions;’’ and (3) the                    control to both nonattainment and
                                                or up to 4 ppb higher than the 2023                     impact of any maintenance plans that                  maintenance receptors is on its face
                                                nonattainment DVs. Again, the EPA                       are in place. TCEQ also asserted that the             overcontrol or impermissible under the
                                                uses the average of the three DVs that                  EPA’s approach conflates the likelihood               interstate transport provision. See
lotter on DSK11XQN23PROD with PROPOSALS2




                                                contain the base year modeled for the                   of attaining the standard in a future year            Wisconsin, 938 F.3d at 327. Based on
                                                nonattainment methodology and the                       and the ability of an attainment monitor              our evaluation of TCEQ’s approach to
                                                                                                        to maintain that attainment status.                   identify maintenance receptors for 2023,
                                                  104 ‘‘EPA Region 6 2015 8-Hour Ozone Transport
                                                                                                        Specifically, TCEQ argued that because                we propose to find the State’s approach
                                                SIP Proposal Technical Support Document’’ (EPA
                                                Region 6 2015 Ozone Transport SIP TSD.pdf)
                                                                                                        any remedies devised to address                       is inadequate as it does not sufficiently
                                                included in Docket ID No. EPA–R06–OAR–2021–             nonattainment monitors would have to                  identify maintenance receptors. Further,
                                                0801.                                                   apply to maintenance monitors, a                      TCEQ had not explained how its


                                           VerDate Sep<11>2014   20:06 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00032   Fmt 4701   Sfmt 4702   E:\FR\FM\22FEP2.SGM   22FEP2
                                                                      Case: 23-60069                        Document: 110                      Page: 86               Date Filed: 03/27/2023
                                                                       Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules                                                              9829

                                                approach meets the statutory                                  emissions to downwind states. See EPA                          recent monitored 2020 DVs and
                                                requirement to address areas that, even                       Region 6 TSD for full analysis details.                        preliminary 2021 DVs, which shows
                                                if meeting the NAAQS, may struggle to                            One analysis included in the EPA                            that recent monitored ozone
                                                maintain the standard in years where                          Region 6 TSD examined the average                              concentrations are significantly higher
                                                conditions are conducive to ozone                             amount of improvement that would                               than TCEQ’s modeling projected for
                                                formation. Rather, the TCEQ had created                       have to occur for the 9 monitors with                          2023. TCEQ’s ozone DVs for these
                                                its own approach to identify these areas                      the highest measured design values in                          receptors would need to drop on the
                                                that they describe as designed to                             the Dallas-Ft. Worth and Houston-                              order of 7–15 ppb in two to three years
                                                account for the most emission                                 Galveston-Brazoria nonattainment areas                         for TCEQ’s projections to bear out. As
                                                reductions possible—i.e., the most                            (those with an observed 2018–2020 DV                           noted previously, this would require an
                                                recent DV of the three under analysis;                        of 74 ppb or greater) to reach the level                       unusual amount of emission reductions
                                                an approach that likely under-identifies                      of ozone projected by the TCEQ                                 without any control measures identified
                                                areas that will struggle to maintain the                      modeling. The average decrease needed                          of sufficient magnitude. We note that
                                                NAAQS and that certainly is not                               by 2023 to meet TCEQ’s 2023 projected                          the EPA’s projected 2023 ozone DVs
                                                designed to capture potential air quality                     DVs is 7.56 ppb. Improvements of this                          based on EPA 2016v2 modeling show
                                                problems.                                                     magnitude do not occur in three years                          ozone DVs that are also lower than
                                                                                                              unless there is an unusually large                             recent monitoring data. However, EPA
                                                ii. Evaluation of the TCEQ Modeling                           change in emissions or a large change in                       2016v2 modeling projections are much
                                                   As discussed in Section V.A of this                        meteorological conduciveness for ozone                         closer to anticipated 2023 ozone levels
                                                action, TCEQ conducted regional                               generation. TCEQ did not identify any                          as compared to TCEQ’s modeling. This
                                                photochemical modeling to identify                            large emission reductions not already
                                                                                                                                                                             indicates that the EPA’s modeling is
                                                nonattainment and maintenance                                 accounted for in the modeling to be
                                                                                                                                                                             more accurate in identifying
                                                receptors in 2023 using a 2012 base                           implemented in the 2021–2023
                                                                                                                                                                             nonattainment and/or maintenance
                                                                                                              timeframe nor is the EPA aware of such
                                                year. As discussed further in the EPA                                                                                        receptors in the Midwest Region. While
                                                                                                              a change. This information supports our
                                                Region 6 TSD, we have several concerns                                                                                       the TCEQ modeling projects much
                                                                                                              finding that that TCEQ’s modeling is
                                                with the reliability of TCEQ’s modeling                                                                                      lower overall ozone levels for the
                                                                                                              underestimating future ozone levels in
                                                results. States are free to develop their                                                                                    Midwest Region in 2023, the modeling
                                                                                                              the two nonattainment areas in Texas
                                                own modeling, but that modeling must                                                                                         does tend to corroborate the projected
                                                                                                              that make up a large proportion of the
                                                be technically supportable, and the EPA                                                                                      amount emissions that Texas may be
                                                                                                              total ozone and a large portion of
                                                is obligated to assess and evaluate the                                                                                      contributing to projected ozone levels at
                                                                                                              emissions of ozone pre-cursors that
                                                reliability of that technical                                                                                                5 of the 7 nonattainment and
                                                                                                              transport to downwind areas. This
                                                demonstration when determining                                                                                               maintenance receptors identified in the
                                                                                                              underestimation of future year ozone
                                                whether the Act’s requirements are met.                       levels from Texas emissions can cause                          EPA’s modeling.105 Thus, despite the
                                                   The TCEQ’s modeling underestimates                         both an underestimation of ozone in                            differences in identification of
                                                future ozone levels. When the TCEQ                            downwind areas and also an                                     nonattainment and maintenance
                                                2023 projected concentrations are                             underestimation of Texas’s impact on                           receptors, both sets of modeling indicate
                                                compared to 2020 and preliminary 2021                         downwind State’s ozone nonattainment                           that Texas’s contribution to receptors in
                                                monitor values, it is clear that the TCEQ                     and maintenance receptors.                                     the Midwest Region are greater than 0.7
                                                modeling is projecting an unusual                                TCEQ’s modeling also underestimates                         ppb (i.e., 1 percent of the 2015 ozone
                                                decline in ozone levels without there                         2023 ozone levels outside of the State of                      NAAQS). Table TX–3 provides
                                                being an unusual level of emission                            Texas including areas of interest in                           information on those receptors,
                                                reductions to support the decline. The                        California, Colorado and the Midwest                           including the amount of contribution
                                                EPA compared recent monitoring values                         Region (Illinois, Wisconsin, and                               attributed to emissions from Texas
                                                and reasonably anticipated decreases in                       Michigan). The EPA discusses this                              based on EPA’s 2016v2 modeling and
                                                DVs by 2023 both within Texas and in                          underprediction for all of these areas in                      TCEQ’s modeling. Despite the
                                                other parts of the country. These                             the EPA Region 6 TSD. In Table TX–3,                           differences in identification of
                                                underestimations likely result in                             we present only the results for the                            nonattainment and maintenance
                                                TCEQ’s modeling not adequately                                Midwest Region along with the EPA’s                            receptors, both sets of modeling indicate
                                                identifying nonattainment and/or                              modeling prediction. We note that                              that Texas’s contribution to receptors in
                                                maintenance receptors in 2023. These                          TCEQ’s 2023 modeled DVs are                                    the Midwest are greater than 0.7 ppb
                                                underestimations also result in smaller                       significantly lower than the EPA’s 2023                        (i.e., 1 percent of the 2015 ozone
                                                projected contributions from Texas                            modeled DVs. The table also provides                           NAAQS).

                                                TABLE TX–3—EPA AND TCEQ MODELING RESULTS FOR DOWNWIND RECEPTORS IDENTIFIED BY EPA 2016V2 MODELING
                                                                                                                                                                              Monitored
                                                                                                                                                      TCEQ: 2023
                                                                                                                                     EPA: 2023                               2018–2020
                                                                                            2023 nonattainment/                                       average DV/                            EPA: Texas      TCEQ: Texas
                                                            Receptor                                                                average DV/                             DV/preliminary
                                                                                                maintenance                                           maintenance                            contribution     contribution
                                                    (site ID, county, state)                                                        maximum DV                               2019–2021
                                                                                               (EPA 2016v2)                                                DV                                   (ppb)            (ppb)
                                                                                                                                       (ppb)                                    DV**
                                                                                                                                                         (ppb)*                 (ppb)
lotter on DSK11XQN23PROD with PROPOSALS2




                                                170310001,    Cook,   IL   ...........   Maintenance    .........................       69.6/73.4    60/58   ............           75/71             0.86   1.6.
                                                170310032,    Cook,   IL   ...........   Maintenance    .........................       69.8/72.4    68/66   ............           74/75             1.46   1.31.
                                                170314201,    Cook,   IL   ...........   Maintenance    .........................       69.9/73.4    64/62   ............           77/74             1.15   1.25.
                                                170317002,    Cook,   IL   ...........   Maintenance    .........................       70.1/73.0    66/65   ............           75/73             1.58   1.22.

                                                  105 We note that for two of the Wisconsin                   information to generate 2023 DVs, so only 5 of the
                                                receptors, TCEQ’s modeling does not provide                   7 monitors can be compared.




                                           VerDate Sep<11>2014   20:06 Feb 18, 2022       Jkt 256001   PO 00000       Frm 00033     Fmt 4701   Sfmt 4702   E:\FR\FM\22FEP2.SGM      22FEP2
                                                                    Case: 23-60069                        Document: 110                  Page: 87              Date Filed: 03/27/2023
                                                9830                  Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules

                                                       TABLE TX–3—EPA AND TCEQ MODELING RESULTS FOR DOWNWIND RECEPTORS IDENTIFIED BY EPA 2016V2
                                                                                        MODELING—Continued
                                                                                                                                                                      Monitored
                                                                                                                                                TCEQ: 2023
                                                                                                                               EPA: 2023                             2018–2020
                                                                                           2023 nonattainment/                                  average DV/                             EPA: Texas       TCEQ: Texas
                                                            Receptor                                                          average DV/                           DV/preliminary
                                                                                               maintenance                                      maintenance                             contribution      contribution
                                                    (site ID, county, state)                                                  maximum DV                             2019–2021
                                                                                              (EPA 2016v2)                                           DV                                    (ppb)             (ppb)
                                                                                                                                 (ppb)                                  DV**
                                                                                                                                                   (ppb)*               (ppb)

                                                550590019, Kenosha, WI ....           Nonattainment .......................       72.8/73.7    67/66 ............            74/74                1.72   1.44.
                                                550590025, Kenosha, WI ....           Maintenance .........................       69.2/72.3    No data*** ....               74/72                1.81   No data.***
                                                551010020, Racine, WI .......         Nonattainment .......................       71.3/73.2    No data*** ....               73/73                1.34   No data.***
                                                   * TCEQ did not provide sufficient data and analysis of the meteorology for the 2010–2014 period to support their claim that 2012–2014 period
                                                was a worst-case combination of meteorology compared to the 2010–2012 and 2011–2013 periods. If the future DV projected from this highest
                                                value is below the standard, one can be reasonably certain the receptor will not have difficulty maintaining the standard and, as such, upwind
                                                states will not interfere with maintenance in downwind states. Because the TCEQ method only looks at one DV and does not account for the var-
                                                iability in DVs due to meteorological conditions, it is less likely to identify maintenance receptors than the EPA method. See https://www.epa.gov/
                                                air-trends/air-quality-design-values
                                                   ** Preliminary 2019–2021 DVs. Monitoring data from the EPA’s Air Quality System (AQS) (https://www.epa.gov/aqs). 2021 monitoring data is
                                                preliminary and still has to undergo Quality Assurance/Quality Control analysis and be certified by the State of Texas, submitted to the EPA, and
                                                reviewed and concurred on by EPA. 2018–2020 DVs are 72 ppb and 73 ppb at the Denton County and Tarrant County monitors/receptors re-
                                                spectively. Preliminary 2019–2021 DVs are 74 ppb and 72 ppb at the Denton County and Tarrant County monitors/receptors respectively.
                                                   *** Kenosha, WI Monitor ID. 550590025 was installed and began operating May 13, 2013, so the first three year DV available is 2013–2015.
                                                Racine, WI Monitor ID. 551010020 was installed in April 14, 2014 so the first three year DV available is 2015–2017. TCEQ’s modeling used
                                                monitored DV data for 2010–2012, 2011–2013, and 2012–2014 to project to the future year. Since these monitors do not have valid DVs for
                                                these periods, TCEQ’s modeling can’t be used to project 2023 values and identify if they would be nonattainment or maintenance receptors.


                                                  The EPA investigated TCEQs                                and/or maintenance receptors in 2023 in                  quality problems that warrant further
                                                modeling and the underestimation for                        the Midwest Region (Illinois,                            review and additional analysis. We
                                                the future year. See the EPA Region 6                       Wisconsin, and Michigan), while                          therefore endorse TCEQ’ use of the 1
                                                TSD for further information on our                          TCEQ’s modeling using a 2012 base year                   percent contribution threshold to
                                                review. Our review indicated some                           indicated only linkages to western                       identify linkages requiring further
                                                underestimation bias in the base case                       receptors. As discussed above and in the                 analysis. However, because we propose
                                                and general model performance                               EPA Region 6 TSD, the TCEQ’s                             to disapprove TCEQ’s identification of
                                                concerns but nothing that was a clear                       modeling is underestimating projected                    nonattainment and/or maintenance
                                                cause of the much lower 2023 DVs that                       ozone levels in the Midwest Region for                   receptors (at Step 1) due to
                                                TCEQ’s modeling is projecting. For the                      2023. If TCEQ’s 2023 modeled DVs were                    underestimations in TCEQ’s modeling
                                                EPA’s 2016 base year modeling, the EPA                      closer to recent observed monitoring                     and their unsupported methodology of
                                                undertook a large collaborative multi-                      data and anticipated 2023 monitored                      identifying maintenance receptors, their
                                                year effort with states (including Texas)                   DVs, TCEQ would likely have also                         submission as to Step 2 is also flawed.
                                                and other stakeholder input in                              identified nonattainment and/or                          We note, however, that even in its own
                                                developing the 2016 emission                                maintenance receptors in the Midwest                     modeling, TCEQ has identified
                                                inventories including 2016v2, so that                       Region.                                                  nonattainment and/or maintenance
                                                the EPA’s modeling would be based on                           To summarize, TCEQ did its own                        receptors to which it contributed more
                                                the best data available. Using a 2016                       modeling at Step 1. Our analysis shows                   than 1 percent of the NAAQS (i.e.,
                                                base year also provides a more recent                       that TCEQ’s modeling likely                              identified linkages warranting
                                                platform that shortens the number of                        underestimates ozone levels at potential                 additional analysis at Step 3).
                                                years to project emission changes,                          receptors and that TCEQ’s methodology
                                                                                                                                                                     3. Results of the EPA’s Step 1 and Step
                                                reducing uncertainties in the 2023                          for identifying maintenance receptors
                                                                                                                                                                     2 Modeling and Findings for Texas
                                                projection compared to TCEQ’s                               used to identify maintenance receptors
                                                projection from a 2012 base to 2023 or                      fails to reasonably identify areas that                     As described in Section I and
                                                the EPA’s earlier 2011 base year                            will have difficulty maintaining the                     elsewhere in this action, the EPA
                                                modeling. Use of a more recent 2016                         NAAQS.                                                   performed air quality modeling using
                                                base year also allows for the use of                                                                                 the 2016v2 emissions platform to
                                                                                                            2. Evaluation of Information Provided                    project design values and contributions
                                                monitored DVs from a more recent
                                                                                                            by TCEQ Regarding Step 2                                 for 2023. This data was examined to
                                                period. The combination of these and
                                                other issues discussed in the EPA                              TCEQ, like the EPA, used a 1 percent                  determine if Texas contributes at or
                                                Region 6 TSD result in less model                           of the ozone NAAQS (or 0.7 ppb) as the                   above the threshold of 1 percent of the
                                                uncertainty compared to TCEQ’s 2012                         ‘‘linkage’’ threshold to identify states as              2015 ozone NAAQS (0.70 ppb) to any
                                                base year modeling and has provided a                       ‘‘linked’’ for contributions it made to                  downwind nonattainment or
                                                better estimate of 2023 ozone levels and                    areas with projected air quality                         maintenance receptor. As shown in
                                                therefore, we believe a more reliable                       problems. Although TCEQ asserted that                    Table TX–4, the data 106 indicate that in
                                                                                                            the EPA treats the 1 percent threshold                   2023, emissions from Texas are
lotter on DSK11XQN23PROD with PROPOSALS2




                                                tool for predicting which areas of the
                                                country will be nonattainment or have                       as the threshold by which the EPA                        projected to contribute greater than 1
                                                difficulty maintaining the standard as                      determines ‘‘significant contribution’’                  percent of the standard to both
                                                well as assessing contributions from                        this is in fact incorrect. The EPA, like
                                                                                                                                                                        106 Design values and contributions at individual
                                                upwind states.                                              TCEQ, uses the 1 percent contribution
                                                                                                                                                                     monitoring sites nationwide are provided in the
                                                  The EPA’s modeling using both 2011                        threshold to identify those linkages                     file: ‘‘2016v2_DVs_state_contributions.xlsx’’, which
                                                and 2016 base year periods identified                       between a contributing upwind state                      is included in docket ID No. EPA–HQ–OAR–2021–
                                                that Texas was linked to nonattainment                      and a receptor projected to have air                     0663.



                                           VerDate Sep<11>2014   20:06 Feb 18, 2022     Jkt 256001   PO 00000     Frm 00034   Fmt 4701   Sfmt 4702   E:\FR\FM\22FEP2.SGM     22FEP2
                                                                      Case: 23-60069                            Document: 110                        Page: 88                 Date Filed: 03/27/2023
                                                                         Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules                                                                    9831

                                                nonattainment and maintenance-only                               receptors and 2 Kenosha County, WI                                nonattainment area (one Racine County
                                                receptors in the Chicago, IL–IN–WI                               receptors) and the Milwaukee, WI                                  receptor).107
                                                nonattainment area (4 Cook County, IL

                                                    TABLE TX–4—PROJECTED NONATTAINMENT AND MAINTENANCE RECEPTORS WITH TEXAS LINKAGES BASED ON EPA
                                                                                               2016V2
                                                                                                                                                                                     2023             2023               Texas
                                                                     Receptor                                               Nonattainment/maintenance                             average DV       maximum DV          contribution
                                                             (site ID, county, state)                                                                                                (ppb)            (ppb)               (ppb)

                                                170310001,    Cook, IL ......................................   Maintenance ...................................................            69.6              73.4               0.86
                                                170310032,    Cook, IL ......................................   Maintenance ...................................................            69.8              72.4               1.46
                                                170314201,    Cook, IL ......................................   Maintenance ...................................................            69.9              73.4               1.15
                                                170317002,    Cook, IL ......................................   Maintenance ...................................................            70.1              73.0               1.58
                                                550590019,    Kenosha, WI ...............................       Nonattainment ................................................             72.8              73.7               1.72
                                                550590025,    Kenosha, WI ...............................       Maintenance ...................................................            69.2              72.3               1.81
                                                551010020,    Racine, WI ..................................     Nonattainment ................................................             71.3              73.2               1.34



                                                   We recognize that the results of the                          earlier modeling to be of equal                                   framework) when identifying emissions
                                                EPA (2011 and 2016 base year) and                                reliability relative to more recent                               contributions that the Agency has
                                                TCEQ (2012 base year) modeling                                   modeling. However, where alternative                              determined to be ‘‘significant’’
                                                indicated different receptors and                                or older modeling generated linkages,                             (contribution to nonattainment or
                                                linkages at Steps 1 and 2 of the 4-Step                          even if those linkages differ from                                interfere with maintenance) in each of
                                                interstate transport framework. These                            linkages in the EPA’s most recent set of                          its prior Federal, regional ozone
                                                differing results regarding receptors and                        modeling (EPA 2016v2), that                                       transport rulemakings, and this
                                                linkages can be affected by the varying                          information provides further evidence,                            interpretation of the statute has been
                                                meteorology from year to year, but we                            not less, in support of a conclusion that                         upheld by the Supreme Court. See EME
                                                do not think the differing results mean                          the State is required to proceed to Step                          Homer City, 572 U.S. 489, 519 (2014).
                                                that the modeling or the EPA or the                              3 to further evaluate its emissions.                              While the EPA has not directed states
                                                State’s methodology for identifying                                 Therefore, based on the EPA’s                                  that they must conduct a Step 3 analysis
                                                receptors or linkages is inherently                              evaluation of the information submitted                           in precisely the manner the EPA has
                                                unreliable. Rather, the three separate                           by TCEQ and based on the EPA 2016v2                               done in its prior regional transport
                                                modeling runs all indicated: (1) There                           modeling results for 2023, the EPA                                rulemakings, state implementation
                                                were receptors that would struggle with                          proposes to find that Texas is linked at                          plans addressing the obligations in CAA
                                                nonattainment or maintenance in the                              Steps 1 and 2 and has an obligation to                            section 110(a)(2)(D)(i)(I) must prohibit
                                                future; and (2) Texas was linked to some                         assess potential emissions reductions                             ‘‘any source or other type of emissions
                                                set of these receptors, even if the                              from sources or other emissions activity                          activity within the State’’ from emitting
                                                receptors and linkages differed from one                         at Step 3 of the 4-Step framework.                                air pollutants which will contribute
                                                another in their specifics (e.g., a                                                                                                significantly to downwind air quality
                                                                                                                 4. Evaluation of Information Provided
                                                different set of receptors were identified                                                                                         problems. Thus, states must complete
                                                                                                                 by TCEQ Regarding Step 3
                                                to have nonattainment or maintenance                                                                                               something similar to the EPA’s analysis
                                                problems, or Texas was linked to                                    At Step 3 of the 4-Step interstate                             (or an alternative approach to defining
                                                different receptors in one modeling run                          transport framework, a state’s emissions                          ‘‘significance’’ that comports with the
                                                versus another). These results indicate                          are further evaluated, considering                                statute’s objectives) to determine
                                                that emissions from Texas were                                   multiple factors, including air quality                           whether and to what degree emissions
                                                substantial enough to generate linkages                          and cost considerations, to determine                             from a state should be ‘‘prohibited’’ to
                                                at Steps 1 and 2 to some downwind                                what, if any, emissions significantly                             eliminate emissions that will
                                                receptors, under varying assumptions                             contribute to nonattainment or interfere                          ‘‘contribute significantly to
                                                and meteorological conditions, even if                           with maintenance and, thus, must be                               nonattainment in, or interfere with
                                                the precise set of linkages changed                              eliminated under CAA section                                      maintenance of’’ the NAAQS in any
                                                between modeling runs. Under these                               110(a)(2)(D)(i)(I).                                               other state. TCEQ did not demonstrate
                                                circumstances, we think it is                                       To effectively evaluate which                                  such an analysis in their SIP
                                                appropriate to proceed to a Step 3                               emissions in the state should be deemed                           submission. We therefore propose that
                                                analysis to determine what portion of                            ‘‘significant’’ and therefore prohibited,                         TCEQ was required to analyze
                                                emissions from Texas should be deemed                            states generally should prepare an                                emissions from the sources and other
                                                ‘‘significant.’’ In doing so, we are not                         accounting of sources and other                                   emissions activity from within the State
                                                agreeing with the methods and                                    emissions activity for relevant                                   to determine whether its contributions
                                                assumptions contained in TCEQ’s                                  pollutants and assess potential                                   were significant, and we propose to
                                                modeling (see previous discussion and                            additional emissions reduction                                    disapprove its submission because
                                                the EPA Region 6 TSD included in the                             opportunities and resulting downwind                              Texas failed to do so.
lotter on DSK11XQN23PROD with PROPOSALS2




                                                docket for this proposal for further                             air quality improvements. The EPA has                                Instead, as noted in Section V.A of
                                                discussion on evaluation of that                                 consistently applied this approach (i.e.,                         this action, TCEQ interpreted the Act’s
                                                modeling), or that we consider our own                           Step 3 of the 4-Step interstate transport                         requirements as only requiring an
                                                  107 These modeling results are consistent with the             CSAPR Update, as noted in Section I of this action.               2023. These modeling results are included in the
                                                results of a prior round of 2023 modeling using the              That modeling showed that Texas had a maximum                     file ‘‘Ozone Design Values And Contributions
                                                2016v1 emissions platform which became available                 contribution greater than 0.70 ppb to at least one                Revised CSAPR Update.xlsx’’ in Docket No. EPA–
                                                to the public in the fall of 2020 in the Revised                 nonattainment or maintenance-only receptor in                     HQ–OAR–2021–0663.



                                           VerDate Sep<11>2014   20:06 Feb 18, 2022       Jkt 256001      PO 00000      Frm 00035     Fmt 4701      Sfmt 4702     E:\FR\FM\22FEP2.SGM     22FEP2
                                                                    Case: 23-60069                    Document: 110                  Page: 89            Date Filed: 03/27/2023
                                                9832                  Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules

                                                analysis of emission reductions where                   above in Section II.B.4 of this action,               this is a sufficient number of days to
                                                ‘‘there is a persistent and consistent                  but, in summary, averages the                         determine if an impact is persistent
                                                pattern of contribution on several days                 contributions from an upwind state for                enough to impact an area’s ability to
                                                with elevated ozone.’’ TCEQ asserted                    up to 10 days, which is preferred, (but               attain or maintain the standard.
                                                that it would make the determination of                 a minimum 5 days) at a given receptor.                   TCEQ used the National Oceanic and
                                                whether such pattern existed based on                   Given the ozone standard is an average                Atmospheric Administration (NOAA)
                                                a weight-of-evidence approach that                      of the fourth high value from each of                 HYSPLIT 108 model to produce back
                                                takes into consideration air quality                    three years, the EPA technique, also                  trajectories for all the monitored ozone
                                                factors such as: Current attainment                     used by Texas, is appropriate to identify             exceedance days (2007–2016) for the
                                                status of the monitors, design value                    impacts of sufficient persistence to                  five receptors in Colorado and 10
                                                trends, the meteorological conditions                   impact a downwind receptor’s ability to               receptors in Southern California to
                                                that lead to high ozone formation at the                attain or maintain the standard.                      evaluate how many of the back
                                                monitor, the number of days with                           The EPA reviewed TCEQ’s evaluation                 trajectories went through Texas. TCEQ
                                                elevated observed ozone, back                           of the current attainment status of the               also used data from these back
                                                trajectories, Texas’ relative contribution              monitors and design value trends, and                 trajectories to do an endpoint count
                                                on modeled high ozone days, Texas’                      concludes, as described in more detail                analysis. We note that we have several
                                                contribution as part of the collective                  in the EPA Region 6 TSD, that the                     concerns with how TCEQ performed the
                                                interstate contribution to future                       provided information does not support                 back trajectories including start time
                                                modeled DVs, alternate contribution                     the large decreases in ozone levels that              and heights, length (number of hours) of
                                                method analysis, and model sensitivity                  TCEQ’s modeling projects will occur by                the back trajectory, inappropriate
                                                runs to reductions of Texas’ emissions                  2023. The analysis for California and                 removal of some back trajectories based
                                                on receptors. However, TCEQ stated that                 Colorado receptors provides evidence                  on start height, center-line height touch
                                                it did not consider or analyze all factors              that TCEQ’s photochemical modeling is                 down, and trajectory center-line height
                                                for every monitor. Thus, different                      overestimating the ozone reductions                   when over Texas, and inappropriate
                                                factors were analyzed for the receptors                 expected at these receptors between                   counting of trajectories by not
                                                in different regions (Colorado, Arizona,                2012 and 2023 and actually presents                   considering that the center-line
                                                and Southern California). The EPA has                   evidence that more nonattainment and/                 represents the centerline of a much
                                                reviewed the different factors that TCEQ                or maintenance receptors should have                  wider area of air parcels that could have
                                                provided for each of the regions in the                 been identified.                                      reached the monitor/receptor. Due to
                                                EPA Region 6 TSD, but we will provide                      The EPA also reviewed the trends in                these concerns, as discussed in more
                                                a brief summary of the evaluation                       the number of high ozone days per year                detail in the EPA Region 6 TSD, the EPA
                                                below. TCEQ also asserted that use of                   provided by TCEQ for Colorado and                     finds the results of TCEQ’s back
                                                the 1 percent threshold as the ‘‘sole’’                 California. While this data supports that             trajectory and endpoint analysis flawed
                                                definition of significant contribution for              the number of ozone exceedance days is                (underestimates back trajectories that
                                                the 2015 ozone NAAQS is                                 improving, neither the analysis of the                reach Texas) and do not provide
                                                inappropriate. Based on the application                 number of high ozone days in Colorado                 evidence that refutes the TCEQ
                                                of selected factors for each of the                     or California provide any evidence to                 photochemical modeling analysis
                                                monitors to which TCEQ’s modeling                       refute the TCEQ’s photochemical                       results.
                                                found that it was linked, TCEQ                          modeling results that show these areas                   We note that even valid back
                                                concluded that none of its contributions                should be considered nonattainment                    trajectories are of limited use as
                                                to any other states were significant.                   and/or maintenance receptors. TCEQs                   HYSPLIT simply estimates the path a
                                                   As explained above, TCEQ has                         modeling overestimates ozone                          parcel of air backward in hourly steps
                                                mischaracterized the EPA’s                              reductions yet still shows Texas linked               for a specified length of time. HYSPLIT
                                                interpretation of the CAA in stating that               to receptors at both nonattainment and                estimates the central path in both the
                                                the EPA defines significant contribution                maintenance levels in 2023.                           vertical and horizontal planes. The
                                                ‘‘solely’’ using a 1 percent threshold.                    The TCEQ cited a conceptual model                  HYSPLIT central path represents the
                                                The EPA, like TCEQ, uses the 1 percent                  of ozone formation for areas in Southern              centerline with the understanding that
                                                threshold to identify areas for further                 California. TCEQ indicated that                       there are areas on each side horizontally
                                                analysis. The difference is that the EPA                Southern California is isolated and                   and vertically that also contribute to the
                                                in past analyses has examined potential                 transport into the basin is unlikely on a             concentrations at the end point. The
                                                emission reductions in linked upwind                    frequent basis, but this information does             horizontal and vertical areas that
                                                states and the air quality impacts at                   not refute the TCEQ’s modeling. As                    potentially contribute to concentrations
                                                downwind receptors that would result                    discussed in Section III.B.3 of this                  at the endpoint (monitor) grow wider
                                                from the implementation of those                        action, photochemical modeling is the                 from the centerline the further back in
                                                reductions to assess which                              most sophisticated tool available to                  time the trajectory goes. Therefore, a
                                                contributions are ‘‘significant.’’ This                 estimate future ozone levels and                      HYSPLIT centerline does not have to
                                                interpretation of significant                           contributions to those modeled future                 pass directly over emissions sources or
                                                contribution, as discussed above, has                   ozone levels. Consideration of the                    emission source areas, but merely
                                                been upheld by the Supreme Court and                    different processes that affect primary               relatively near emission source areas for
                                                the D.C. Circuit.                                       and secondary pollutants at the regional              those areas, to contribute to
                                                   As an initial matter, the EPA believes               scale in different locations is                       concentrations at the trajectory
                                                                                                        fundamental to understanding and
lotter on DSK11XQN23PROD with PROPOSALS2




                                                source apportionment modeling, as                                                                             endpoint. The EPA relies on back
                                                performed by the EPA and also by                        assessing the effects of emissions on air             trajectory analysis as a corollary
                                                TCEQ, to determine which states are                     quality concentrations. TCEQ’s                        analysis along with observation-based
                                                linked is an appropriate tool to identify               modeling showed transport at 10                       meteorological wind fields at multiple
                                                impacts that are persistent enough to                   monitors having contributions greater                 heights to examine the general
                                                impact a downwind receptors ability to                  than 0.7 ppb on average for the 5–10                  plausibility of the photochemical model
                                                attain or maintain the standard. This                   days used in the modeling analyses.
                                                approach is described in more detail                    Considering the form of the standard,                   108 See   FN 34.



                                           VerDate Sep<11>2014   20:06 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00036   Fmt 4701   Sfmt 4702   E:\FR\FM\22FEP2.SGM   22FEP2
                                                                    Case: 23-60069                    Document: 110                  Page: 90            Date Filed: 03/27/2023
                                                                      Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules                                                  9833

                                                ‘‘linkages.’’ Since the back trajectory                 small compared to Intra-State                         issues, these values could be higher. Not
                                                calculations do not account for any air                 contribution.                                         surprisingly, the DDM tool shows that
                                                pollution formation, dispersion,                           As an initial matter, the EPA is not               monitors in Colorado are much more
                                                transformation, or removal processes as                 solely relying on TCEQ’s findings of                  responsive to intra-state reductions than
                                                influenced by emissions, chemistry,                     linkages to Colorado and California but               reductions in Texas. That said, the
                                                deposition, etc., the trajectories cannot               is also relying on its own findings of                results of the DDM tool showing only a
                                                be used to develop quantitative                         linkages to areas in the Midwest Region.              relatively small response to reductions
                                                contributions. Therefore, back                          As such, TCEQ’s analysis of relative                  is not inconsistent with the finding that
                                                trajectories cannot be used to                          contributions to Colorado and California              Texas emissions contribute significantly
                                                quantitatively evaluate the magnitude of                does not provide justification for not                to elevated readings in Colorado. As has
                                                the existing photochemical                              addressing downwind impacts.                          been discussed elsewhere, the EPA
                                                contributions from upwind states to                     Nonetheless, EPA has found in the past                believes a contribution of 1 percent of
                                                downwind receptors. It is interesting to                that certain California receptors are so              the standard is an appropriate threshold
                                                note that TCEQ’s analysis of the back                   heavily impacted by local emissions,                  such that further analysis is warranted.
                                                trajectories indicates that the 2012                    and total upwind contribution is so low,                 Overall, these additional analyses
                                                meteorology used by TCEQ seemed to                      that those receptors may not be                       performed by TCEQ do not provide
                                                yield more back trajectories that reach                 considered to be affected by interstate               sufficient evidence to refute the
                                                Texas than most years for many of the                   ozone transport. See 81 FR 15200 (Mar.                modeling results that TCEQ’s modeling
                                                Colorado monitors. This seems to be                     22, 2016). However, this is a narrow                  indicates downwind nonattainment
                                                consistent with TCEQ identifying                        circumstance that does not apply in the               and/or maintenance receptors in
                                                linkages to Colorado when the EPA’s                     vast majority of cases and has never                  Colorado and Southern California are
                                                modeling of 2016 does not.                              been applied outside of California. EPA               impacted by Texas emissions and Texas’
                                                   TCEQ performed an alternate                          has previously found, for instance, that              contribution is 0.7 ppb or greater.109 In
                                                contribution analysis for the ten                       receptors in Colorado are heavily                     fact, the monitored ozone design value
                                                California receptors and the five                       impacted by upwind-state contribution.                trends provide evidence that future year
                                                Colorado receptors using all days                       See 82 FR 9155 (Feb. 3, 2017); 81 FR                  modeled ozone levels are
                                                modeled in 2023 that had values over 70                 71991 (Oct. 19, 2016). EPA need not                   underestimated by TCEQ’s modeling
                                                ppb rather than focus on just the 5–10                  draw any conclusions here regarding                   and there are likely more receptors that
                                                highest values under the EPA’s                          whether the California sites TCEQ                     should have been identified with
                                                technique. Particularly for California,                 identified should or should not be                    additional potential linkages. Although
                                                this meant many more days could be                      considered receptors for ozone-transport              Texas asserted that its additional air
                                                included in the average which had the                   purposes. EPA affirms, contrary to                    quality factor analysis is a permissible
                                                effect of showing a smaller estimated                   TCEQ’s suggestion, that the Colorado                  way to interpret which contributions are
                                                contribution. We believe it is                          receptors TCEQ analyzed are impacted                  ‘‘significant’’ because that analysis
                                                appropriate to focus on the highest                     by upwind state contributions.                        examines whether there was a
                                                values as these are the ones that                       However, the EPA’s finding that Texas                 ‘‘persistent and consistent pattern of
                                                ultimately will have to be reduced for                  is linked to receptors in other states is             contribution on several days with
                                                the standard to be attained. As                         based on still other linkages found in                elevated ozone’’ we find that such
                                                discussed in the EPA Region 6 TSD, the                  EPA’s modeling to receptors in other                  pattern is already established by a
                                                EPA’s review of TCEQ’s alternate                        states, which are clearly impacted by                 modeled linkage at Step 2.
                                                contribution method analysis for                        the collective contribution of multiple                  In addition, EPA 2016v2 modeling
                                                California and Colorado receptors is that               upwind states, including Texas. Under                 using 2016 base year meteorology
                                                it does not provide substantial evidence                CAA section 110(a)(2)(D)(i)(I)                        indicates linkages from Texas to
                                                that refutes the TCEQ’s photochemical                   downwind states are not obligated to                  receptors in the Midwest Region but
                                                modeling analysis results, including the                reduce emissions on their own to                      does not indicate impacts from Texas
                                                contribution analysis using the EPA’s                   resolve nonattainment or maintenance                  emissions on the Colorado and other
                                                contribution methodology.                               problems. Rather, states are obligated to             western receptors identified by TCEQ.
                                                   TCEQ provided an analysis of                         eliminate their own significant                       With a different base period such as
                                                collective interstate contribution to the               contribution or interference with the                 TCEQ’s 2012 base period meteorology
                                                2023 DV for the five Colorado and ten                   ability of other states to attain or                  and the EPA’s 2016 base period
                                                California receptors. The collective                    maintain the NAAQS.                                   meteorology, it is not uncommon that
                                                interstate contribution at tagged                          TCEQ also performed photochemical                  the potential downwind nonattainment
                                                Colorado receptors ranges from 9.32%                    modeling analysis using the Direct                    or maintenance receptors could change.
                                                to 10.27%. The collective interstate                    Decoupled Method (DDM) tool for                       These differing results about receptors
                                                contribution at tagged California                       receptors in Colorado. DDM provides a                 and linkages can be affected by the
                                                receptors ranges from 3.2% to 4.58%.                    first derivative of the changes in ozone              varying meteorology from year to year
                                                TCEQ argues that these are small                        (linear relationship where the DDM                    and the selection of different base years,
                                                percentages (Colorado and California)                   value is the slope of the line for changes            but we do not think the differing results
                                                and not as high as the collective                       in ozone) resulting from changes in NOX               mean that the modeling or the EPA
                                                interstate contribution percentages the                 emissions from all Texas’ NOX                         methodology for identifying receptors or
                                                EPA calculated for monitors in Eastern                  emissions. The DDM modeling does                      linkages is inherently unreliable. Rather,
lotter on DSK11XQN23PROD with PROPOSALS2




                                                States, which ranged from 17% to 67%.                   show some response to Texas NOX                       these separate modeling runs indicated
                                                TCEQ also notes that a significant                      emissions but from the scale it is hard               (1) that there were receptors that would
                                                portion of the tagged Colorado monitors’                to discern the level of response but it
                                                2023 modeled DVs is due to background                   appears to be in the 0–2 ppb range in                   109 TCEQ also identified a monitor in Cochise

                                                emissions (sum of contributions from to                 general with some values in the 0.2 –2                County, Arizona (ID 40038001), but the monitor’s
                                                                                                                                                              recent DVs are below the NAAQS. From AQS, the
                                                biogenic, fires, and boundary                           ppb range for modeled values over 60                  2014–2016 and 2015–2017 DVs are each 65 ppb;
                                                conditions). For the California receptors               ppb. Since the modeling has                           2016–2018, 2017–2019, and 2018–2020 DVs are 66
                                                TCEQ argues that these percentages are                  underprediction and underestimation                   ppb; and preliminary 2019–2021 DV is 66 ppb.



                                           VerDate Sep<11>2014   20:06 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00037   Fmt 4701   Sfmt 4702   E:\FR\FM\22FEP2.SGM   22FEP2
                                                                     Case: 23-60069                      Document: 110                Page: 91            Date Filed: 03/27/2023
                                                9834                    Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules

                                                struggle with nonattainment or                           However, the State’s interstate transport              VII. Statutory and Executive Order
                                                maintenance in the future, and (2) that                  submission did not revise its SIP to                   Reviews
                                                Texas was linked to some set of these                    identify any specific emission                         A. Executive Order 12866: Regulatory
                                                receptors, even if the receptors and                     reductions, nor did it include a revision              Planning and Review and Executive
                                                linkages differed from one another in                    to its SIP to ensure any such reductions               Order 13563: Improving Regulation and
                                                their specifics (e.g., a different set of                were permanent and enforceable. The                    Regulatory Review
                                                receptors were identified to have                        other control measures identified in
                                                nonattainment or maintenance                             TCEQ’s submission are, as noted by                       This action is not a significant
                                                problems, or Texas was linked to                         TCEQ, already adopted and                              regulatory action and was therefore not
                                                different receptors in one modeling run                                                                         submitted to the Office of Management
                                                                                                         implemented measures and do not
                                                versus another). We think this common                                                                           and Budget for review
                                                                                                         contain an evaluation of additional
                                                result indicates that Texas’s emissions                  emission control opportunities (or                     B. Paperwork Reduction Act (PRA)
                                                were substantial enough to generate
                                                                                                         establish that no additional controls are                This proposed action does not impose
                                                linkages at Steps 1 and 2 to some set of
                                                                                                         required). As a result, the EPA proposes               an information collection burden under
                                                downwind receptors, under varying
                                                assumptions and meteorological                           to disapprove TCEQ’s submittal on the                  the PRA because it does not contain any
                                                conditions, even if the precise set of                   separate, additional basis that the Texas              information collection activities
                                                linkages changed between modeling                        has not included permanent and
                                                                                                         enforceable emissions reductions in its                C. Regulatory Flexibility Act (RFA)
                                                runs.
                                                                                                         SIP as necessary to meet the obligations                  I certify that this action will not have
                                                   In sum, the EPA’s more recent and                                                                            a significant economic impact on a
                                                                                                         of CAA section 110(a)(2)(d)(i)(I).
                                                robust 2016 base year modeling                                                                                  substantial number of small entities
                                                platform indicates that Texas is linked                  6. Conclusion                                          under the RFA. This action merely
                                                to several receptors in the Midwest                                                                             proposes to disapprove a SIP
                                                Region as does the EPA’s earlier 2011                      Based on the EPA’s evaluation of
                                                                                                                                                                submission as not meeting the CAA.
                                                base year modeling. TCEQ’s 2012 base                     TCEQ’s SIP submission, the EPA is
                                                case modeling showed linkages to states                  proposing to find that the Texas August                D. Unfunded Mandates Reform Act
                                                in the west. As discussed, the EPA does                  17, 2018, SIP submission pertaining to                 (UMRA)
                                                not find the additional weight of                        interstate transport of air pollution does                This action does not contain any
                                                evidence evaluations conducted by                        not meet the State’s interstate transport              unfunded mandate as described in
                                                TCEQ provide compelling reasons to                       obligations, because it fails to contain               UMRA, 2 U.S.C. 1531–1538, and does
                                                discount the impacts indicated in                        the necessary provisions to eliminate                  not significantly or uniquely affect small
                                                Colorado and California by the TCEQ                      emissions that will contribute                         governments. The action imposes no
                                                modeling. In fact, we think TCEQ’s                       significantly to nonattainment or                      enforceable duty on any state, local or
                                                modeling likely underestimates these                     interfere with maintenance of the 2015                 tribal governments or the private sector.
                                                issues. We therefore propose that Texas                  ozone NAAQS in any other state.
                                                was required to analyze emissions from                                                                          E. Executive Order 13132: Federalism
                                                the sources and other emissions activity                 VI. Proposed Action                                      This action does not have federalism
                                                from within the State to determine                                                                              implications. It will not have substantial
                                                                                                           We are proposing to disapprove the
                                                whether its contributions were                                                                                  direct effects on the states, on the
                                                significant, and we propose to                           SIP submissions from Arkansas,
                                                                                                                                                                relationship between the national
                                                disapprove its submission because                        Louisiana, Oklahoma, and Texas
                                                                                                                                                                government and the states, or on the
                                                Texas failed to do so.                                   pertaining to interstate transport of air              distribution of power and
                                                                                                         pollution which will significantly                     responsibilities among the various
                                                5. Evaluation of Information Provided                    contribute to nonattainment or interfere
                                                by TCEQ Regarding Step 4                                                                                        levels of government.
                                                                                                         with maintenance of the 2015 ozone
                                                                                                         NAAQS in other states. Under CAA                       F. Executive Order 13175: Consultation
                                                   Step 4 of the 4-Step interstate                                                                              and Coordination With Indian Tribal
                                                transport framework calls for                            section 110(c)(1), the disapprovals
                                                                                                         would establish a 2-year deadline for                  Governments
                                                development of permanent and
                                                federally enforceable control strategies                 the EPA to promulgate FIPs for these                     This proposed action disapproving
                                                to achieve the emissions reductions                      states to address the CAA section                      the portion of Oklahoma’s SIP
                                                determined to be necessary at Step 3 to                  110(a)(2)(D)(i)(I) interstate transport                submission addressing the State’s
                                                eliminate significant contribution to                    requirements pertaining to significant                 interstate transport obligations under
                                                nonattainment or interference with                       contribution to nonattainment and                      CAA section 110(a)(2)(D)(i)(I) for the
                                                maintenance of the NAAQS. Texas                          interference with maintenance of the                   2015 ozone NAAQS will apply to
                                                indicated that because a number of                       2015 ozone NAAQS in other states,                      certain areas of Indian country as
                                                counties in its state had been designated                unless the EPA approves SIPs that meet                 discussed in Section IV.C of this action,
                                                nonattainment for the 2015 ozone                         these requirements. Disapproval does                   and therefore, has tribal implications as
                                                NAAQS, there could be attainment                         not start a mandatory sanctions clock for              specified in E.O. 13175 (65 FR 67249,
                                                demonstration and potential controls                     Arkansas, Louisiana, Oklahoma, or                      November 9, 2000). However, this
                                                contemplated in association with those                   Texas.                                                 proposed action will neither impose
                                                                                                                                                                substantial direct compliance costs on
lotter on DSK11XQN23PROD with PROPOSALS2




                                                nonattainment designations.110
                                                                                                                                                                federally recognized tribal governments,
                                                  110 Pointing to anticipated upcoming emission                                                                 nor preempt tribal law. This proposed
                                                reductions, even if they were not included in the                                                               action will not impose substantial direct
                                                analysis at Steps 1 and 2, is not sufficient as a Step                                                          compliance costs on federally
                                                3 analysis, for the reasons discussed in Section
                                                V.B.4 of this action. In this section, we explain that
                                                                                                                                                                recognized tribal governments because
                                                to the extent such anticipated reductions are not        enforceable, reliance on such anticipated reductions   no actions will be required of tribal
                                                included in the SIP and rendered permanent and           is also insufficient at Step 4.                        governments. This proposed action will


                                           VerDate Sep<11>2014    20:06 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00038   Fmt 4701   Sfmt 4702   E:\FR\FM\22FEP2.SGM   22FEP2
                                                                    Case: 23-60069                    Document: 110                  Page: 92            Date Filed: 03/27/2023
                                                                      Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules                                                      9835

                                                also not preempt tribal law as no                       regulations promulgated, or final actions              particular, the EPA is applying here
                                                Oklahoma tribe implements a regulatory                  taken, by the Administrator,’’ or (ii)                 (and in other proposed actions related to
                                                program under the CAA, and thus does                    when such action is locally or regionally              the same obligations) the same,
                                                not have applicable or related tribal                   applicable, if ‘‘such action is based on               nationally consistent 4-Step framework
                                                laws. Consistent with the EPA Policy on                 a determination of nationwide scope or                 for assessing interstate transport
                                                Consultation and Coordination with                      effect and if in taking such action the                obligations for the 2015 ozone NAAQS.
                                                Indian Tribes (May 4, 2011), the EPA                    Administrator finds and publishes that                 The EPA relies on a single set of
                                                will offer consultation to tribal                       such action is based on such a                         updated, 2016 base year photochemical
                                                governments whose lands are located                     determination.’’ For locally or regionally             grid modeling results of the year 2023
                                                within the exterior boundaries of the                   applicable final actions, the CAA                      as the primary basis for its assessment
                                                State of Oklahoma that may be affected                  reserves to the EPA complete discretion                of air quality conditions and
                                                by this action.                                         whether to invoke the exception in                     contributions at Steps 1 and 2 of the 4-
                                                                                                        (ii).111                                               Step framework. Further, the EPA
                                                G. Executive Order 13045: Protection of                    The EPA anticipates that this
                                                Children From Environmental Health                                                                             proposes to determine and apply a set
                                                                                                        proposed rulemaking, if finalized,
                                                Risks and Safety Risks                                                                                         of nationally consistent policy
                                                                                                        would be ‘‘nationally applicable’’
                                                  The EPA interprets Executive Order                    within the meaning of CAA section                      judgments to apply the 4-Step
                                                13045 as applying only to those                         307(b)(1) because it would take final                  framework. The EPA has selected a
                                                regulatory actions that concern                         action on SIP submittals for the 2015                  nationally uniform analytic year (2023)
                                                environmental health or safety risks that               ozone NAAQS for four states, which are                 for this analysis and is applying a
                                                the EPA has reason to believe may                       located in three different Federal                     nationally uniform approach to
                                                disproportionately affect children, per                 judicial circuits. It would apply                      nonattainment and maintenance
                                                the definition of ‘‘covered regulatory                  uniform, nationwide analytical                         receptors and a nationally uniform
                                                action’’ in section 2–202 of the                        methods, policy judgments, and                         approach to contribution threshold
                                                Executive Order. This action is not                     interpretation with respect to the same                analysis.112 For these reasons, the
                                                subject to Executive Order 13045                        CAA obligations, i.e., implementation of               Administrator intends, if this proposed
                                                because it merely proposes to                           interstate transport requirements under                action is finalized, to exercise the
                                                disapprove a SIP submission as not                      CAA section 110(a)(2)(D)(i)(I) for the                 complete discretion afforded to him
                                                meeting the CAA.                                        2015 ozone NAAQS for states across the                 under the CAA to make and publish a
                                                H. Executive Order 13211, Actions That                  country, and final action would be                     finding that this action is based on one
                                                Significantly Affect Energy Supply,                     based on this common core of                           or more determinations of nationwide
                                                Distribution or Use                                     determinations, described in further                   scope or effect for purposes of CAA
                                                                                                        detail below.                                          section 307(b)(1).113
                                                  This action is not subject to Executive                  If the EPA takes final action on this
                                                Order 13211, because it is not a                        proposed rulemaking[, in the                           List of Subjects in 40 CFR Part 52
                                                significant regulatory action under                     alternative,] the Administrator intends
                                                Executive Order 12866.                                                                                           Environmental protection, Air
                                                                                                        to exercise the complete discretion
                                                                                                                                                               pollution control, Incorporation by
                                                I. National Technology Transfer and                     afforded to him under the CAA to make
                                                                                                                                                               reference, Ozone.
                                                Advancement Act                                         and publish a finding that the final
                                                                                                        action (to the extent a court finds the                  Authority: 42 U.S.C. 7401 et seq.
                                                   This rulemaking does not involve                     action to be locally or regionally
                                                technical standards.                                                                                             Dated: February 1, 2022.
                                                                                                        applicable) is based on a determination                Earthea Nance,
                                                J. Executive Order 12898: Federal                       of ‘‘nationwide scope or effect’’ within
                                                                                                        the meaning of CAA section 307(b)(1).                  Regional Administrator, Region 6.
                                                Actions To Address Environmental
                                                                                                        Through this rulemaking action (in                     [FR Doc. 2022–02961 Filed 2–18–22; 8:45 am]
                                                Justice in Minority Populations and
                                                Low-Income Populations                                  conjunction with a series of related                   BILLING CODE 6560–50–P

                                                   The EPA believes the human health or                 actions on other SIP submissions for the
                                                                                                                                                                 112 A finding of nationwide scope or effect is also
                                                environmental risk addressed by this                    same CAA obligations), the EPA
                                                                                                        interprets and applies section                         appropriate for actions that cover states in multiple
                                                action will not have potential                                                                                 judicial circuits. In the report on the 1977
                                                disproportionately high and adverse                     110(a)(2)(d)(i)(I) of the CAA for the 2015
                                                                                                                                                               Amendments that revised section 307(b)(1) of the
                                                human health or environmental effects                   ozone NAAQS based on a common core                     CAA, Congress noted that the Administrator’s
                                                on minority, low-income or indigenous                   of nationwide policy judgments and                     determination that the ‘‘nationwide scope or effect’’
                                                populations. This action merely                         technical analysis concerning the                      exception applies would be appropriate for any
                                                proposes to disapprove a SIP                            interstate transport of pollutants                     action that has a scope or effect beyond a single
                                                submission as not meeting the CAA.                      throughout the continental U.S. In                     judicial circuit. See H.R. Rep. No. 95–294 at 323,
                                                                                                                                                               324, reprinted in 1977 U.S.C.C.A.N. 1402–03.
                                                K. CAA Section 307(b)(1)                                   111 In deciding whether to invoke the exception       113 The EPA may take a consolidated, single final

                                                                                                        by making and publishing a finding that an action      action on all of the proposed SIP disapproval
                                                  Section 307(b)(1) of the CAA governs                  is based on a determination of nationwide scope or     actions with respect to obligations under CAA
                                                judicial review of final actions by the                 effect, the Administrator takes into account a         section 110(a)(2)(D)(i)(I) for the 2015 ozone
                                                EPA. This section provides, in part, that               number of policy considerations, including his         NAAQS. Should the EPA take a single final action
                                                                                                        judgment balancing the benefit of obtaining the D.C.
                                                petitions for review must be filed in the               Circuit’s authoritative centralized review versus
                                                                                                                                                               on all such disapprovals, this action would be
lotter on DSK11XQN23PROD with PROPOSALS2




                                                D.C. Circuit: (i) When the agency action                allowing development of the issue in other contexts    nationally applicable, and the EPA would also
                                                consists of ‘‘nationally applicable                     and the best use of agency resources.                  anticipate, in the alternative, making and
                                                                                                                                                               publishing a finding that such final action is based
                                                                                                                                                               on a determination of nationwide scope or effect.




                                           VerDate Sep<11>2014   20:06 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00039   Fmt 4701   Sfmt 9990   E:\FR\FM\22FEP2.SGM   22FEP2
      Case: 23-60069    Document: 110   Page: 93   Date Filed: 03/27/2023




                                 EXHIBIT 3

TCEQ, Transport State Implementation Plan (SIP) Revision for the 2015 Ozone

National Ambient Air Quality Standards (NAAQS), Docket No. 2017-1762-SIP

(Aug. 8, 2018)
          Case: 23-60069               Document: 110               Page: 94         Date Filed: 03/27/2023
Bryan W. Shaw, Ph.D., P.E., Chairman
Toby Baker, Commissioner
Jon Niermann, Commissioner
Stephanie Bergeron Perdue, Interim Executive Director



                          TEXAS COMMISSION ON ENVIRONMENTAL QUALITY
                                       Protecting Texas by Reducing and Preventing Pollution

                                                        August 17,2018


                                                                                         Docket No. 2017-1762-SIP
                                                                                       Project No. 2017-039-SIP-NR


    Ms. Anne Idsal
    Regional Administrator
    U.S. Environmental Protection Agency - Region 6
    1445 Ross Avenue
    Dallas, Texas 75202-2733
    Dear Ms. Idsal:
    On August 8, 2018, the Texas Commission on Environmental Quality (Commission)
    adopted revisions to the State Implementation Plan (SIP) to meet Federal Clean Air Act
    (FCAA), Section 110(a)(2)(D) transport requirements for the 2015 ozone National
    Ambient Air Quality Standards (NAAQS).
    The Commission adopted the 2015 Ozone NAAQS Transport SIP Revision. The SIP
    revision outlines the requirements of FCAA, Section 110(a)(2)(D)(i) and (ii) and the
    Texas provisions supporting the requirements for the 2015 ozone NAAQS. The
    revision also includes a technical demonstration to support the determination that
    Texas meets the interstate transport requirements of Section 110(a)(2)(D)(i)(I). The
    infrastructure requirements of FCAA, Section 110(a)(2)(A) through (C) and (E) through
    (M) are addressed in a separate SIP revision (Non-Rule Project No. 2017-040-SIP-NR).
    Enclosed are the proposed revisions to the SIP, a public hearing certification, a
    complete record of the public hearing, and the accompanying order. I look forward to
    your expeditious approval of these SIP revisions.
    Sincerely,

  ~W/..l-aw-
   Bryan W. Shaw, Ph.D., P.E.
   Chairman

   BWS/alb
   Enclosures
   cc:       The Honorable Greg Abbott, Governor of Texas
             Mr. Steven Schar, Office of Budget and Policy, Office of the Governor
             Ms. Stephanie Bergeron Perdue, Interim Executive Director, Texas Commission
             on Environmental Quality
                      I
                          P.O. Box 13087 • Austin, Texas 78711-3087 • 512-239-1000 • tceq.texas.gov
                                  How is our customer service? tceq.texas.gov/customersurvey
                                                        printed on recycled paper
      Case: 23-60069      Document: 110      Page: 95     Date Filed: 03/27/2023



               TEXAS CoMMISSION ON ENVIRONMENTAL QuALITY




                                                              Docket No. 2017-1762-SIP
                                                            Project No. 2017-039-SIP-NR




THE STATE OF TEXAS

COUNTY OF TRAVIS



      This is to certify that the attached electronic file is included and that the

electronic file is a true and correct copy of documents for a revision to the Texas State

Implementation Plan, adopted on August 8, 2018, pursuant to 40 Code of Federal

Regulations§ 51.104. I am the records administrator for the Air Quality Division of

the Texas Commission on Environmental Quality (Commission).




                             1l>r D~uff, Director
                                  Air Quality Division
                                  Texas Commission on Environmental Quality
Case: 23-60069     Document: 110       Page: 96       Date Filed: 03/27/2023




                 Texas Commission on Environmental Quality
                             Public Hearing
                              April10, 2018

                 Concerning Revisions to 2015 Ozone NAAQS
                           Transport SIP Revision

                        Project No. 2017-039-SIP-NR
       Case: 23-60069         Document: 110        Page: 97       Date Filed: 03/27/2023




                                        INTRODUCTION


The Texas Commission on Environmental Quality (TCEQ or commission) held a public hearing

in Austin on Apri110, 2018 to receive testimony regarding revisions to the state implementation

plan (SIP) under the requirements of Texas Health and Safety Code, §382.017; Texas

Government Code, Chapter 2001, Subchapter B; and 40 Code of Federal Regulations §51.1 02

of the United States Environmental Protection Agency concerning SIPs.



The 2015 Ozone National Ambient Air Quality Standards (NMQS) revision outlines the

requirements of Federal Clean Air Act, Section 110(a)(2)(D)(i) and (ii) and the Texas provisions

supporting the requirements for the 2015 ozone NMQS. This revision includes a technical

demonstration supporting the determination that Texas meets the interstate transport

requirements of Section 110(a)(2)(D)(i)(l).



The comment period closed on April1 0, 2018. All testimony and comments have been

reviewed and seriously considered. This hearing record contains a complete record of the

public hearing and is divided into the following four sections:



o   Public Notification and Proposal

o   Written and Oral Testimony

o   Evaluation of Testimony

o   Staff Recommendations/Order



Additional copies of this hearing record are maintained in the TCEQ central office at 12100 Park

35 Circle, Austin, Texas 78753. For further information, please contact Kristin Jacobsen at

 (512) 239-4907.
Case: 23-60069   Document: 110   Page: 98   Date Filed: 03/27/2023




  NOTICE & PROPOSAL
         Case: 23-60069         Document: 110        Page: 99     Date Filed: 03/27/2023



                                        PUBLIC NOTIFICATION



Notification to the public of the proposed revisions was conducted by the following procedures:



1. Publication of notice of public hearing in the following newspapers on the date listed:

       Austin American-Statesman: March 9, 2018
       Dallas Morning News: March 10, 2018
       Houston Chronicle: March 9, 2018



2. Publication of the Notice of Public Hearing in the March 23, 2018, issue of the Texas Register

   (43 TexReg 1907).



4. Correspondence forwarding the notice of public hearings to the following officials and agencies:

       Speaker of the House

       Lieutenant Governor

       Alamo Area Council of Governments

       Capital Area Planning Council

       City of Austin, Mayor's Office

       City' of Dallas, Office of Environmental Quality

       City of Dallas, Department of Aviation

       City of El Paso, Environmental Services, Compliance Unit

       City of Fort Worth, Code Compliance Environmental Section

        City of Houston, Department of Health and Human Services

        East Texas Council of Governments

        El Paso Metropolitan Planning Organization

        Federal Highway Administration
 Case: 23-60069        Document: 110          Page: 100   Date Filed: 03/27/2023



Galveston County Health District

Harris County Pollution Control Services Department

Houston-Galveston Area Council

North Central Texas Council of Governments

South East Texas Regional Planning Commission

Texas Department of Transportation

Travis County Judge

Victoria Metropolitan Planning Organization

Arkansas Department of Environmental Quality

Central States Air Resource Agencies Association

Louisiana Department of Environmental Quality

New Mexico Environmental Department

Oklahoma Department of Environmental Quality

United States Environmental Protection Agency
Case: 23-60069   Document: 110                      Page: 101               Date Filed: 03/27/2023
                  Example of Newspaper Classified Ad

                      Dallas Morning News, March 10, 2018




                  (       l.ega! Notice~      J        TM commission will hold .
                                                       a public hearing on these
                                                      :proposals In Austin on    ·
                                                      :· ~.%~ 0
                                                              1
                                                                ,~ 8~~)gf~~ ~:~ocm
                                                         2015 at the commission's
                      NOTICE OF PUBLIC                  central office located at
                   HT~~k'l~TRlu~~~~I~G                  12100 Park 3S Circle The
                                                      : hearing Is structured for
                        AND TRANSPORT                  "the receipt of oral or ·
                            STATE                       written comments bv
                       IMPLEMENTATION
                      PLMI REVISION FOR
                        THE 2015 OZONE
                                                       l~:t.~~~~~~~~n:;~•• ~,
                      NATIDNALAMBIENT                  oral statements when
                         AIR QUALITY                   coiled uoon In order of
                          STANDARDS                    ~Y~~~~.~~~~~a~~ be
                  The Texas Commission
                  on Environmental Qualify
                                                       r.~~~~~h~~~:r!he
                  (commission) w111                    comm•sslon staff
                  conduct a public hearing             members will be       ·
                  to receive testimony                 avaolable to discuss the
                  regarding proposed                   propasa/ 30 minutes prior
                  rev1slons to the state               to the hearing.
                  ImPlementation plan                    Persons who have special
                  (SIPl under the                        communication or other
                  requirements of Texas               ·. accommodation needs ·
                  Health and Safety Code,                         1
                  §382.0171 Texas
                  Government Code,                    . ~~~n':rrtfe ~~~~~J~,;outd
                  Chaoter 2001, Subchapter              contact Joyce Spencer·
                  B; nnd 40 Cot!• of -     ,            Nelson, Air Quality
                  Federal Regulations                   Division at (512) 239·5017
                                                        or 1-BOIJ.RELAY·TX
                 '!lbi~0s2 ~~Z~~~~~~~a,· ·· ·.,         (TDDJ. Requests should
                                                        be mode as far In
                  [ci~~:;~~~ 1~~~~. (E ~~~              advance as passible.

                    The proPosed :ZOIS Ozone           Electronic comments
                    Notional Ambient A•r .             may be submitted at:
                    Quality Standards                  http://wwwl.tceq.texas.
                                                       oov/rules/ecommen~ I.
                 • CNAAQS)Infrastrutlure              . File sl<e restrictions moy
                 . SIP revision would      .            apply to comments bemg
                  · outline the requirements
                 · of Federal Clean Air A<;t
                 . CFCAA), Section                     :~~i,',~~~~~~:~t~m. All
                    1IOCoH2)(AIIhrough (Cl
                    and ( El through IMJ, and
                                                       ~8;'5'1)~~~~ ~U'"8~"q t~e
                    the Texas provisions                 Infrastructure SIP ·
                    SUPPOrtln'J the                      r•vlslon should reference
                    requirements lor the 2015            Pro,ect No. 2017-040-SIP·
                    ozone NAAQS. Tha'e                   NR. All comments
                    requirements Include                 renardong the 2015 Ozone
                                                      1 NAAQS TransPOrt SIP
                    bos1c program elements               rev•s •on should reference
                    such as: enforceable               · Protect No. 2017-0~·SIP•
                    em1sslon limitations and
                    control measures; olr
                    quality monltorlnq and            • rn~or~o,",;'~me:arding
                                                      -t~ese SIP'revlslons,
                    modeling; o permitting            . please ccntact Krlslln
                    program; adequate                 \ Patten, Air Quality • ·-. •
                  ~~~~~~f;'l::,:~s.~~~:'l~               DIVISion, (5121 239-4907.
                                                         1 he comment Period
                  to corry out the plan;                 closes APrillO, 2018.
                  emissions reporting:                   Coooes of the propased
                  emergencY POWers;                      SIP revoslons can be
                  feuebg~1fe~b~~~~~~i-~~~              ~~~~~s~f~~·'r  ~~tsite at
                  Pro1ect No. 2017·040-SIP·            https :/twww.!ceq.texas ..
                  NRI.                                  gov/alrquolltvtslptcrlterm·
                  The orooosed 2015 Ozone               po•tutantslsh>·OZane.
                  NAAQS·Transocrt SIP
                  revision would outline the
                  requlroments of FCAA,
                  Section IIO(a)(2)(D)(Il
                  and (ill and the Texas
                  provisions supportmg the
                  requirements lor th~ 2015
                  ozone NAAQS. This
                  proposed revision would
                  also mclude a technical
                 ·?~.;ndo~~tr~\~.\'t!gn'rrfa'lort
                 , T~xos meets the
                  ~e:iu~i~~e~t~~rs~~11an
                  llOiaiC2HD)(IICII (tlnn.
                  Rule Project No. 2017·0~­
                  SIP·NR).
            Case: 23-60069                  Document: 110                   Page: 102         Date Filed: 03/27/2023


the preliminary hearing, an eviden iary hearing will not be held on the       Chapter 2001, Subchapter B; and 40 Code of Federal Regulations
date of this preliminary hearing. pon failure ofl\lichael Rodriguez           §5 1.102 ofthe United States Environmental Protection Agency (EPA)
dba Oak Acres Mobile llome ark to appear at the preliminary                   concerning SIPs.
hearing or evidentiary hearing, t e factual allegations in the notice
will be deemed admitted as true, a d the relief sought in the notice of       The proposed 2015 Ozone National Ambient Air Quality Standards
hearing may be granted by defaul The specific allegations included            (NAAQS) Infrastructure SIP revision would outline the requirements
in the notice are those set forth in t e Executive Director's Preliminary     of Federal Clean Air Act (FCAA), Section 110(a)(2)(A) through (C)
Report and Petition, attached her to and incorporated herein for all          and (E) through (M), and the Texas provisions supporting the require·
 purposes.                                                                    ments for the 2015 ozone NAAQS. These requirements include basic
                                                                              program elements such as: enforceable emission limitations and con·
Michael Rodriguez dba Oak Ac s Mobile Home Park, the Execu·                   trot measures; air quality monitoring and modeling; a permitting pro-
tive Director of the Commission, d the Commission's Public Interest           gram; adequate funding and persoMel; authority under state law to
Counsel are the only designated p ies to this proceeding.                     carry out the plan; emissions reporting; emergency powers; public par·
Legal Authority: Tex. Health &        afety Code ch. 341 and 30 Tex.          ticipation; and fee collection. (Non-Rule Project No. 2017..040-SIP-
Admin. Code chs. 70 and 290; Te       Water Code §7.058, and the Rules        NR).
of Procedure of the Texas Commi      ion on Environmental Quality and         The proposed 2015 Ozone NAAQS Transport SIP revision would
the State Office of Administrative   earings, including 30 Tex. Admin.        outline the requirements of FCAA, Section 110(a)(2)(D)(i) and (ii)
Code §§70.108 and 70.109 and ch       80, and I Tex. Admin. Code ch.          and the Texas provisions supporting the requirements for the 2015
155.                                                                          ozone NAAQS. This proposed revision would also include a technical
                                                                              demonstration to support the determination that Texas meets the inter·
Further information regarding thi hearing may be obtained by con·             state transport requirements of Section II O(a)(2)(D)(i)(l). (Non-Rule
tacting Elizabeth Harkrider, Staff ttomey, Texas Commission on En·            Project No. 2017..039-SIP-NR).
vironmental Quality, Litigation D vision, Mail Code 175, P.O. Box
13087, Austin, Texas 78711-3087 telephone (512) 239-3400. Infor·              The commission will hold a public hearing on these proposals in Austin
mation concerning your participat n in this hearing may be obtained           on April10, 2018, at 2:00p.m. in Building E, Room 201S at the com-
by contacting Vic McWherter, Pub ·c Interest Counsel, Mail Code 103,          mission's central office located at 12100 Park 35 Circle. The hearing
at the same P.O. Box address giv n above, or by telephone at (512)            is structured for the receipt of oral or written comments by interested
239-6363.                                                                     persons. Individuals may present oral statements when called upon in
                                                                              order of registration. Open discussion will not be permitted during the
Any document filed prior to e hearing must be filed with
TCEQ's Office of the Chief Cl rk and SOAH. Documents filed                    hearing; however, commission staff members will be available to dis·
with the Office of the Chief Cl rk may be filed electronically at             cuss the proposal 30 minutes prior to the hearing.
http://www.tceq.texas.gov/gotoleFl ings or sent to the following ad·          Persons who have special communication or other accommodation
dress: TCEQ Office of the Chic Clerk, Mail Code 105, P.O. Box                 needs who are pi&Ming to attend the hearing should contact Joyce
13087, Austin, Texas 78711-3087. Documents filed with SOAH may                Spencer-Nelson, Air Quality Division at (512) 239-5017 or (800)
be filed via fax at (512) 322-206 or sent to the following address:           RELAY·TX (TDD). Requests should be made as far in advance as
SOAH, 300 West 15th Street, Suit 504, Austin, Texas 78701. When               possible.
contacting the Commission or SO H regarding this matter, reference            Electronic comments may be submitted at: http://wwwl.tceq.texas.g-
the SOAH docket number given at the top of this notice.
                                                                              ovlruleslecommentsl. File size restrictions may apply to comments
In accordance with 1 Tex. Admin. ode §155.401(a), Notice of Hear·             being submitted via the eComments system. All comments regard·
ing, "Parties that are not represent d by an attorney may obtain infor·       ing the 2015 Ozone NAAQS Infrastructure SIP revision should ref·
mat ion regarding contested case h arings on the public website of the        erence Project No. 2017-040-SIP-NR. All comments regarding the
State Office of Administrative He rings at www.soah.texas.gov, or in          2015 Ozone NAAQS Transport SIP revision should reference Project
printed format upon request to SO H."                                         No. 2017-039-SIP-NR. For further information regarding these SIP
                                                                              revisions, please contact Kristin Patton, Air Quality Division, (512)
Persons who need special accom dations at the hearing should call             239-4907. The comment period closes April 10, 2018. Copies of
the SOAH Docketing Department (5 12) 475-3445, at least one week              the proposed SIP revisions can be obtained from the commission's
before the hearing.                                                           website at https:llwww.tceq.texas.gov/airqualitylsiplcriteria-pollutan-
Issued: March 12, 2018                                                        tslsip-ozone.
TRD-201801118                                                                 TRD-201801037
Bridget C. Bohac                                                              Robert Martinez
Chief Clerk                                                                    Director, Environmental Law Division
Texas Commission on Environment I Quality                                     Texas Commission on Environmental Quality
Filed: March 14, 2018                                                          Filed: March 9, 2018

                       •             •           •
 Notice of Public Hearing Regarding Infrastructure and
                                                                                                    •
                                                                               Notice of Public Meeting
                                                                                                                 •            •
 Transport State Implementation Plan Revision for the 2015                     Air Quality Standard Permit for Co crete Batch Plants Proposed Reg·
 Ozone National Ambient Air Quality Standards                                  istration No. 149713
 The Texas Commission on Environmental Quality (commission) will               Application. Soto Ready Mi.x, Inc., has applied to the Texas Commis·
 conduct a public hearing to receive testimony regarding proposed re·          sion on Environmental Quality (T EQ) for an Air Quality Standard
 visions to the state implementation plan (SIP) under the requirements         Permit, Registration No. 149713,\ ich would authorize construction
 of Texas Health and Safety Code, §382.017; Texas Government Code,             of a permanent concrete batch pi t located at 3411 De Soto Street,



                                                                              IN ADDITION Marcil 23,2018 43 TexReg 1907
            Case: 23-60069          Document: 110             Page: 103      Date Filed: 03/27/2023
Bryan W. Shaw, Ph.D., P.E., Chairman
Toby Baker, Commissioner
Jon Niermann, Commissioner
Richard A. Hyde, P.E., Executive Director



          TEXAS COMMISSION ON ENVIRONMENTAL QUALITY
                               Protecting Texas by Reducing and Preventing Pollution


     NOTICE OF PUBLIC HEARING REGARDING INFRASTRUCTURE AND TRANSPORT
      STATE IMPLEMENTATION PLAN REVISION FOR THE 2015 OZONE NATIONAL
                       AMBIENT AIR QUALITY STANDARDS

    The Texas Commission on Environmental Quality (commission) will conduct a public
    hearing to receive testimony regarding proposed revisions to the state implementation
    plan (SIP) under the requirements of Texas Health and Safety Code, §382.017; Texas
    Government Code, Chapter 2001, Subchapter B; and 40 Code of Federal Regulations
    §51.102 of the United States Environmental Protection Agency (EPA) concerning SIPs.

    The proposed 2015 Ozone National Ambient Air Quality Standards (NAAQS)
    Infrastructure SIP revision would outline the requirements of Federal Clean Air Act
    (FCAA), Section 110(a)(2)(A) through (C) and (E) through (M), and the Texas provisions
    supporting the requirements for the 2015 ozone NAAQS. These requirements include
    basic program elements such as: enforceable emission limitations and control
    measures; air quality monitoring and modeling; a permitting program; adequate
    funding and personnel; authority under state law to carry out the plan; emissions
    reporting; emergency powers; public participation; and fee collection. (Non-Rule
    Project No. 2017-040-SIP-NR).

    The proposed 2015 Ozone NAAQS Transport SIP revision would outline the
    requirements of FCAA, Section 110(a)(2)(D)(i) and (ii) and the Texas provisions
    supporting the requirements for the 2015 ozone NAAQS. This proposed revision
    would also include a technical demonstration to support the determination that Texas
    meets the interstate transport requirements of Section 110(a)(2)(D)(i)(l). (Non-Rule
    Project No. 2017-039-SIP-NR).

    The commission will hold a public hearing on these proposals in Austin on April 10,
    2018, at 2:00p.m. in Building E, Room 201S at the commission's central office located
    at 12100 Park 3 5 Circle. The hearing is structured for the receipt of oral or written
    comments by interested persons. Individuals may present oral statements when called
    upon in order of registration. Open discussion will not be permitted during the
    hearing; however, commission staff members will be available to discuss the proposal
    30 minutes prior to the hearing.
    Persons who have special communication or other accommodation needs who are
    planning to attend the hearing should contact Joyce Spencer-Nelson, Air Quality
    Division at (512) 239-5017 or 1-800-RELAY-TX (IDD). Requests should be made as far
    in advance as possible.

    Electronic comments may be submitted at:
    http://wwwl.tceq.texas.gov/rules/ecomments/. File size restrictions may apply to
    comments being submitted via the eComments system. All comments regarding the
                P.O. Box 13087 · Austin, Texas 78711-3087 · 512-239-1000 · tceq.texas.gov
                        How is our customer service? www.tceq.texas.gov/customersurvey
                                                 printed on recycled paper
     Case: 23-60069        Document: 110               Page: 104
                                                            Date Filed: 03/27/2023
2015 Ozone NAAQS Infrastructure SIP revision should reference Project No. 2017-040-
SIP-NR. All comments regarding the 2015 Ozone NAAQS Transport SIP revision should
reference Project No. 2017-039-SIP-NR. For further information regarding these SIP
revisions, please contact Kristin Patton, Air Quality Division, (512) 239-4907. The
comment period closes April10, 2018. Copies of the proposed SIP revisions can be
obtained from the commission's website at
https://www.tceq.texas.gov/airquality/sip/criteria-pollutants/sip-ozone.




             P.O. Box 13087 • Austin, Texas 78711-3087 • 512-239-1000 • tceq.texas.gov
                  How is our customer service?     tceq.texas.gov/goto/customersurvey
                                          printed on recycled paper
Case: 23-60069   Document: 110   Page: 105   Date Filed: 03/27/2023




          REVISIONS TO THE STATE OF TEXAS AIR QUALITY
      IMPLEMENTATION PLAN CONCERNING FEDERAL CLEAN AIR
          ACT SECTIONS 110(a)(1) AND (2) INFRASTRUCTURE




             TRANSPORT DEMONSTRATION FOR OZONE




         TEXAS COMMISSION ON ENVIRONMENTAL QUALITY
                        P.O. BOX 13087
                  AUSTIN, TEXAS 78711-3087




      FEDERAL CLEAN AIR ACT, SECTIONS 110(A)(1) AND (2)
    TRANSPORT STATE IMPLEMENTATION PLAN REVISION FOR
       THE 2015 OZONE NATIONAL AMBIENT AIR QUALITY
                       STANDARDS



                 PROJECT NUMBER 2017-039-SIP-NR




                            Proposal
                          March 7, 2018
Case: 23-60069   Document: 110     Page: 106     Date Filed: 03/27/2023




                 This page intentionally left blank
       Case: 23-60069      Document: 110       Page: 107     Date Filed: 03/27/2023




                                 EXECUTIVE SUMMARY

This proposed revision to the state implementation plan (SIP) is intended to meet the
infrastructure and transport requirements of the Federal Clean Air Act (FCAA), §110(a).
States are required by FCAA, §110(a)(1) to submit SIP revisions providing for the
implementation, maintenance, and enforcement of a new or revised National Ambient
Air Quality Standard (NAAQS) within three years after promulgation. On October 1,
2015, the United States Environmental Protection Agency (EPA) revised the primary
and secondary NAAQS for ozone to an eight-hour standard of 0.070 parts per million.
Infrastructure and transport SIP revisions to address the 2015 Ozone NAAQS are due
to the EPA by October 1, 2018.

FCAA, §110(a)(2)(A) through (M), lists the elements that infrastructure and transport
SIP submissions must contain. This proposed SIP revision specifically addresses
transport requirements under FCAA, §110(a)(2)(D) for the 2015 ozone NAAQS. The
remaining infrastructure requirements of FCAA, §110(a)(2)(A) through (M) are
addressed in a separate SIP revision (Project No. 2017-040-SIP-NR). This proposed SIP
revision documents how the transport elements listed in FCAA, §110(a)(2)(D) are
currently addressed in the Texas SIP and provides a detailed technical demonstration
and other supporting information to meet the interstate transport requirements of
FCAA, §110(a)(2)(D)(i) and (ii).

Pursuant to FCAA, §110(a)(2)(D)(i), this proposed SIP revision must contain several
elements that provide supporting information demonstrating that Texas is:

   •   not contributing significantly to nonattainment of the 2015 ozone NAAQS for
       areas in other states;

   •   not interfering with the maintenance of the 2015 ozone NAAQS in any other
       state;

   •   not interfering with measures required to meet an implementation plan for any
       other state related to prevention of significant deterioration (PSD); and

   •   not interfering with measures required to meet the implementation plan for any
       other state related to regional haze and visibility.

In addition, pursuant to FCAA, §110(a)(2)(D)(ii), this proposed SIP revision must
provide information demonstrating compliance with the applicable requirements of
FCAA, §126 and §115 relating to interstate and international pollution abatement.

To meet the requirements of FCAA, §110(a)(2)(D)(i)(I), this proposed SIP revision
includes an analysis of ozone design value and emissions trends in Texas, a modeling
analysis of the impacts of Texas’ emissions on other states, and a discussion of
existing ozone control strategies to demonstrate that emissions from Texas do not
contribute significantly to nonattainment or interfere with maintenance of the 2015
ozone NAAQS in another state. Information regarding how Texas meets the
requirements of FCAA, §110(a)(2)(D)(i)(II) is provided in Chapter 4: Prevention of
Significant Deterioration and Visibility Transport [FCAA, §110(a)(2)(D)(i)(II)]. Statements



                                           ES-1
      Case: 23-60069      Document: 110      Page: 108    Date Filed: 03/27/2023




regarding compliance with FCAA, §110(a)(2)(D)(ii) are provided in Chapter 5: Interstate
Pollution Abatement and International Air Pollution [FCAA, §110(a)(2)(D)(ii)].




                                          ES-2
      Case: 23-60069      Document: 110         Page: 109   Date Filed: 03/27/2023




                          SECTION V-A: LEGAL AUTHORITY

General
The Texas Commission on Environmental Quality (TCEQ) has the legal authority to
implement, maintain, and enforce the National Ambient Air Quality Standards (NAAQS)
and to control the quality of the state’s air, including maintaining adequate visibility.

The first air pollution control act, known as the Clean Air Act of Texas, was passed by
the Texas Legislature in 1965. In 1967, the Clean Air Act of Texas was superseded by a
more comprehensive statute, the Texas Clean Air Act (TCAA), found in Article 4477-5,
Vernon’s Texas Civil Statutes. The legislature amended the TCAA in 1969, 1971, 1973,
1979, 1985, 1987, 1989, 1991, 1993, 1995, 1997, 1999, 2001, 2003, 2005, 2007, 2009,
2011, 2013, 2015, and 2017. In 1989, the TCAA was codified as Chapter 382 of the
Texas Health and Safety Code.

Originally, the TCAA stated that the Texas Air Control Board (TACB) is the state air
pollution control agency and is the principal authority in the state on matters relating
to the quality of air resources. In 1991, the legislature abolished the TACB effective
September 1, 1993, and its powers, duties, responsibilities, and functions were
transferred to the Texas Natural Resource Conservation Commission (TNRCC). With
the creation of the TNRCC, the authority over air quality is found in both the Texas
Water Code and the TCAA. Specifically, the authority of the TNRCC is found in
Chapters 5 and 7. Chapter 5, Subchapters A - F, H - J, and L, include the general
provisions, organization, and general powers and duties of the TNRCC, and the
responsibilities and authority of the executive director. Chapter 5 also authorizes the
TNRCC to implement action when emergency conditions arise and to conduct hearings.
Chapter 7 gives the TNRCC enforcement authority. In 2001, the 77th Texas Legislature
continued the existence of the TNRCC until September 1, 2013, and changed the name
of the TNRCC to the TCEQ. In 2009, the 81st Texas Legislature, during a special
session, amended section 5.014 of the Texas Water Code, changing the expiration date
of the TCEQ to September 1, 2011, unless continued in existence by the Texas Sunset
Act. In 2011, the 82nd Texas Legislature continued the existence of the TCEQ until
2023.

The TCAA specifically authorizes the TCEQ to establish the level of quality to be
maintained in the state’s air and to control the quality of the state’s air by preparing
and developing a general, comprehensive plan. The TCAA, Subchapters A - D, also
authorize the TCEQ to collect information to enable the commission to develop an
inventory of emissions; to conduct research and investigations; to enter property and
examine records; to prescribe monitoring requirements; to institute enforcement
proceedings; to enter into contracts and execute instruments; to formulate rules; to
issue orders taking into consideration factors bearing upon health, welfare, social and
economic factors, and practicability and reasonableness; to conduct hearings; to
establish air quality control regions; to encourage cooperation with citizens’ groups
and other agencies and political subdivisions of the state as well as with industries and
the federal government; and to establish and operate a system of permits for
construction or modification of facilities.

Local government authority is found in Subchapter E of the TCAA. Local governments
have the same power as the TCEQ to enter property and make inspections. They also

                                            i
      Case: 23-60069      Document: 110         Page: 110   Date Filed: 03/27/2023




may make recommendations to the commission concerning any action of the TCEQ
that affects their territorial jurisdiction, may bring enforcement actions, and may
execute cooperative agreements with the TCEQ or other local governments. In addition,
a city or town may enact and enforce ordinances for the control and abatement of air
pollution not inconsistent with the provisions of the TCAA and the rules or orders of
the commission.

Subchapters G and H of the TCAA authorize the TCEQ to establish vehicle inspection
and maintenance programs in certain areas of the state, consistent with the
requirements of the Federal Clean Air Act; coordinate with federal, state, and local
transportation planning agencies to develop and implement transportation programs
and measures necessary to attain and maintain the NAAQS; establish gasoline volatility
and low emission diesel standards; and fund and authorize participating counties to
implement vehicle repair assistance, retrofit, and accelerated vehicle retirement
programs.

Applicable Law
The following statutes and rules provide necessary authority to adopt and implement
the state implementation plan (SIP). The rules listed below have previously been
submitted as part of the SIP.

Statutes
All sections of each subchapter are included, unless otherwise noted.
    TEXAS HEALTH & SAFETY CODE, Chapter 382                         September 1, 2017
    TEXAS WATER CODE                                                September 1, 2017

Chapter 5: Texas Natural Resource Conservation Commission
   Subchapter A: General Provisions
   Subchapter B: Organization of the Texas Natural Resource Conservation
                 Commission
   Subchapter C: Texas Natural Resource Conservation Commission
   Subchapter D: General Powers and Duties of the Commission
   Subchapter E: Administrative Provisions for Commission
   Subchapter F: Executive Director (except §§5.225, 5.226, 5.227, 5.2275,5.231, 5.232,
                 and 5.236)
   Subchapter H: Delegation of Hearings
   Subchapter I: Judicial Review
   Subchapter J: Consolidated Permit Processing
   Subchapter L: Emergency and Temporary Orders (§§5.514, 5.5145, and 5.515 only)
   Subchapter M: Environmental Permitting Procedures (§5.558 only)

Chapter 7: Enforcement
   Subchapter A: General Provisions (§§7.001, 7.002, 7.0025, 7.004, and 7.005 only)
   Subchapter B: Corrective Action and Injunctive Relief (§7.032 only)
   Subchapter C: Administrative Penalties
   Subchapter D: Civil Penalties (except §7.109)
   Subchapter E: Criminal Offenses and Penalties: §§7.177, 7.179-7.183




                                           ii
        Case: 23-60069      Document: 110          Page: 111   Date Filed: 03/27/2023




Rules

All of the following rules are found in 30 Texas Administrative Code, as of the
following latest effective dates:

Chapter 7: Memoranda of Understanding, §§7.110 and 7.119
                                               December 13, 1996 and May 2, 2002

Chapter 19: Electronic Reporting                                            March 15, 2007

Chapter 35: Subchapters A-C, K: Emergency and Temporary Orders
and Permits; Temporary Suspension or Amendment of Permit
Conditions                                                                    July 20, 2006

Chapter 39: Public Notice, §§39.201; 39.401; 39.403(a) and (b)(8)-(10);
39.405(f)(1) and (g); 39.409; 39.411 (a), (b)(1)-(6), and (8)-(10) and (c)(1)-
(6) and (d); 39.413(9), (11), (12), and (14); 39.418(a) and (b)(3) and (4);
39.419(a), (b), (d), and (e); 39.420(a), (b) and (c)(3) and (4); 39.423 (a)
and (b); 39.601-39.605                                                      December 29, 2016

Chapter 55: Requests for Reconsideration and Contested Case
Hearings; Public Comment, §§55.1; 55.21(a) - (d), (e)(2), (3), and (12), (f)
and (g); 55.101(a), (b), and (c)(6) - (8); 55.103; 55.150; 55.152(a)(1), (2),
and (6) and (b); 55.154; 55.156; 55.200; 55.201(a) - (h); 55.203; 55.205;
55.209, and 55.211                                                          December 31, 2015

Chapter 101: General Air Quality Rules                                    October 12, 2017

Chapter 106: Permits by Rule, Subchapter A                                   April 17, 2014

Chapter 111: Control of Air Pollution from Visible Emissions and
Particulate Matter                                                          August 3, 2017

Chapter 112: Control of Air Pollution from Sulfur Compounds                   July 16, 1997

Chapter 113: Standards of Performance for Hazardous Air Pollutants
and for Designated Facilities and Pollutants                                  May 14, 2009

Chapter 114: Control of Air Pollution from Motor Vehicles               December 29, 2016

Chapter 115: Control of Air Pollution from Volatile Organic
Compounds                                                                     June 25, 2015

Chapter 116: Permits for New Construction or Modification               November 24, 2016

Chapter 117: Control of Air Pollution from Nitrogen Compounds                 June 25, 2015

Chapter 118: Control of Air Pollution Episodes                               March 5, 2000

Chapter 122: §122.122: Potential to Emit                                 February 23, 2017


                                             iii
      Case: 23-60069     Document: 110        Page: 112   Date Filed: 03/27/2023




Chapter 122: §122.215: Minor Permit Revisions                             June 3, 2001

Chapter 122: §122.216: Applications for Minor Permit Revisions            June 3, 2001

Chapter 122: §122.217: Procedures for Minor Permit Revisions       December 11, 2002

Chapter 122: §122.218: Minor Permit Revision Procedures for Permit
Revisions Involving the Use of Economic Incentives, Marketable
Permits, and Emissions Trading                                            June 3, 2001




                                         iv
      Case: 23-60069     Document: 110       Page: 113   Date Filed: 03/27/2023




                        SECTION VI: CONTROL STRATEGY

A.   Introduction (No change)
B.   Ozone (No change)
C.   Particulate Matter (No change)
D.   Carbon Monoxide (No change)
E.   Lead (No change)
F.   Oxides of Nitrogen (No change)
G.   Sulfur Dioxide (No change)
H.   Conformity with the National Ambient Air Quality Standards (No change)
I.   Site Specific (No change)
J.   Mobile Sources Strategies (No change)
K.   Clean Air Interstate Rule (No change)
L.   Transport (Revised)
M.   Regional Haze (No change)




                                         v
       Case: 23-60069     Document: 110          Page: 114   Date Filed: 03/27/2023




                                  TABLE OF CONTENTS

Executive Summary
Section V-A: Legal Authority
Section VI: Control Strategy
Table of Contents
List of Acronyms
List of Tables
List of Figures
List of Appendices
Chapter 1: General
    1.1 Background
    1.2 Introduction
    1.3 Health Effects
    1.4 Public Hearing and Comment Information
    1.5 Social and Economic Considerations
    1.6 Fiscal and Manpower Resources
Chapter 2: Ozone Data
    2.1 Introduction
    2.2 Ozone Design Value Trends in Texas
    2.3 Ozone Emissions Trends in Texas
       2.3.1 General
       2.3.2 Historical Emissions Inventory Trends
    2.4 Ozone Data Summary
Chapter 3: Significant Contribution to Nonattainment and Interference With
Maintenance [FCAA, §110(a)(2)(D)(i)(I)]
    3.1 Introduction
    3.2 Step 1: Identification of Projected Nonattainment and Maintenance Monitors
       3.2.1 Modeling Domain
       3.2.2 Modeling Episode
         3.2.2.1 Meteorology of 2012
         3.2.2.2 Ozone Production in 2012
       3.2.3 Base Case Modeling


                                            vi
  Case: 23-60069      Document: 110      Page: 115    Date Filed: 03/27/2023




     3.2.3.1 Meteorological Modeling
     3.2.3.2 Emissions Modeling
     3.2.3.3 Initial and Boundary Conditions
     3.2.3.4 Photochemical Modeling
  3.2.4 Future Year Modeling
     3.2.4.1 Emissions Modeling
     3.2.4.2 Initial and Boundary Conditions
     3.2.4.3 Photochemical Modeling
3.3 Step 2: Source Apportionment and Identification of Downwind Monitors
Tagged For Further Review
  3.3.1 Identification of Nonattainment Monitors for Further Review
  3.3.2 Identification of Maintenance Monitors for Further Review
3.4 Step 3: Analysis to Determine if Texas Emissions Contribute Significantly to
Nonattainment or Interfere with Maintenance at Tagged Monitors
  3.4.1 Colorado Monitors
     3.4.1.1 Eight-Hour Ozone Design Value Trends
     3.4.1.2 Monitored Elevated Ozone Days
     3.4.1.3 Back Trajectory Analysis on Elevated Ozone Days
     3.4.1.4 Texas Contributions on Projected Future Year Elevated Ozone Days
     3.4.1.5 Collective Interstate Contribution to the Future Design Value
     3.4.1.6 Direct Decoupled Method and Analysis of MDA8 Ozone
     Responsiveness to Texas Emissions
  3.4.2 Arizona Monitor(s)
  3.4.3 California Monitors
     3.4.3.1 Conceptual Model of Eight-Hour Ozone Formation at Tagged
     California Monitors
     3.4.3.2 Eight-Hour Ozone Design Value Trends
     3.4.3.3 Monitored Elevated Ozone Days
     3.4.3.4 Back Trajectory Analysis on Elevated Ozone Days
     3.4.3.5 Texas Contributions on Projected Future Year Elevated Ozone Days
     3.4.3.6 Collective Interstate Contribution to the Future Design Value
3.5 Conclusion
3.6 References


                                       vii
      Case: 23-60069       Document: 110      Page: 116    Date Filed: 03/27/2023




Chapter 4: Control Strategies
    4.1 Introduction
    4.2 Emissions Reductions from Electric Generating Units (EGU)
      4.2.1 Utility Electric Generation in Ozone Nonattainment Areas
      4.2.2 Utility Electric Generation in East and Central Texas
      4.2.3 Senate Bill 7 (76th Texas Legislature)
    4.3 Emission Reductions from Other Sources
      4.3.1 East Texas Engines
      4.3.2 Mass Emissions Cap and Trade (MECT) Program
      4.3.3 Highly Reactive Volatile Organic Compounds (HRVOC) Rules and HRVOC
      Emissions Cap and Trade (HECT) Program
      4.3.4 Cement Kilns
    4.4 Additional Measures
      4.4.1 SmartWay Transport Partnership and the Blue Skyway Collaborative
      4.4.2 Energy Efficiency and Renewable Energy (EE/RE) Measures
      4.4.3 Consent Decrees with Refineries
      4.4.4 Clean Air Interstate Rule (CAIR) and Cross-State Air Pollution Rule (CSAPR)
      4.4.5 Texas Emissions Reduction Plan (TERP)
      4.4.6 Clean School Bus Program
      4.4.7 Local Initiatives
      4.4.8 Voluntary Measures
    4.5 2008 Ozone NAAQS SIP Revisions Adopted Since 2015
      4.5.1 DFW 2008 Eight Hour Ozone SIP Revisions
      4.5.2 HGB 2008 Eight-Hour Ozone SIP Revisions
    4.6 Conclusions
Chapter 5: Prevention of Significant Deterioration and Visibility Transport [FCAA,
§110(a)(2)(D)(i)(II)]
    5.1 Introduction
    5.2 PSD
    5.3 Visibility Transport
Chapter 6: Interstate Pollution Abatement and International Air Pollution [FCAA,
§110(a)(2)(D)(ii)]
    6.1 Introduction


                                           viii
      Case: 23-60069      Document: 110        Page: 117   Date Filed: 03/27/2023




   6.2 Interstate Pollution Abatement
      6.2.1 Compliance with FCAA, §126(a)
      6.2.2 Compliance with FCAA, §126(b) and (c)
   6.3 International Air Pollution
      6.3.1 Compliance with FCAA, §115
Chapter 7: Conclusions
Chapter 8: Future Revisions to the National Ambient Air Quality Standards (NAAQS)




                                          ix
        Case: 23-60069     Document: 110          Page: 118   Date Filed: 03/27/2023




                                   LIST OF ACRONYMS

3-D          three-dimensional
AD           attainment demonstration
APCA         Anthropogenic Culpability Precursor Analysis
AQS          Air Quality System
BART         best available retrofit technology
BEIS         Biogenic Emissions Inventory Systems
BPA          Beaumont-Port Arthur
CAIR         Clean Air Interstate Rule
CAMx         Comprehensive Air Quality Model with Extensions
CEMS         continuous emissions monitoring system
CSAPR        Cross-State Air Pollution Rule
CST          Central Standard Time
CTM          Chemical Transport Model
DDM          Direct Decoupled Method
DERA         Diesel Emissions Reduction Act
DERI         Diesel Emissions Reduction Incentive Program
DFW          Dallas-Fort Worth
DVB          baseline design value
DVF          future year design value
EE           energy efficiency
EI           emissions inventory
EGF          electric generating facility
EGU          electric generating unit
EPA          United States Environmental Protection Agency
EPS3         Emissions Processor System
ESL          Energy Systems Laboratory
FCAA         Federal Clean Air Act
FINN         Fire Inventory of NCAR
FIP          federal implementation plan
FR           Federal Register
FY           fiscal year
g/hp-hr      grams per horsepower-hour


                                              x
       Case: 23-60069      Document: 110         Page: 119   Date Filed: 03/27/2023




GEOS        Goddard Earth Observing System
GHG         greenhouse gas
H-GAC       Houston-Galveston Area Council
HB          House Bill
HECT        Highly Reactive Volatile Organic Compounds Emissions Cap and Trade
HGB         Houston-Galveston-Brazoria
hp          horsepower
HRVOC       Highly Reactive Volatile Organic Compounds
HTAP        Hemispheric Transport of Air Pollution
HYSPLIT     Hybrid Single Particle Lagrangian Integrated Trajectory
km          kilometers
Kv          vertical diffusivity
LAI         Leaf Area Index
lb/MMBtu    pound per million British thermal units
m           meters
m AGL       meters above ground level
MB          mean bias
MDA8        maximum daily average eight-hour (ozone concentration)
MDVF        maintenance future year design value
ME          mean error
MECT        Mass Emissions Cap and Trade
MW          megawatts
NAAQS       National Ambient Air Quality Standard
NCAR        National Center for Atmospheric Research
NCDC        National Climatic Data Center
NCEP        National Centers for Environmental Prediction
NMB         normalized mean bias
NME         normalized mean error
NOAA        National Oceanic and Atmospheric Administration
NODA        Notice of Data Availability
NOX         nitrogen oxides
NSR         New Source Review
O3          ozone
PM          particulate matter


                                            xi
        Case: 23-60069       Document: 110     Page: 120   Date Filed: 03/27/2023




PM2.5        particulate matter with an aerodynamic diameter less than or equal to a
             nominal 2.5 micrometers
ppb          parts per billion
ppm          parts per million
PSD          prevention of significant deterioration
PUCT         Public Utility Commission of Texas
RACT         reasonably available control technology
RE           renewable energy
RFP          reasonable further progress
RMSE         root mean square error
RRF          relative response factor
SB           Senate Bill
SECO         State Energy Conservation Office
SIP          state implementation plan
SMOKE        Sparse Matrix Operation Kernel Emissions (System)
SO2          sulfur dioxide
TAC          Texas Administrative Code
TACB         Texas Air Control Board
TCAA         Texas Clean Air Act
TCEQ         Texas Commission on Environmental Quality (commission)
TCFP         Texas Clean Fleet Program
TERP         Texas Emissions Reduction Plan
THSC         Texas Health and Safety Code
TNGVGP       Texas Natural Gas Vehicle Grant Program
TNRCC        Texas Natural Resource Conservation Commission
tpd          tons per day
tpy          tons per year
TUC          Texas Utilities Code
TXDVF        Texas contribution to a monitor’s future year design value
VOC          volatile organic compounds
WRF          Weather Research and Forecasting Model




                                             xii
      Case: 23-60069       Document: 110      Page: 121   Date Filed: 03/27/2023




                                   LIST OF TABLES

Table 1-1:   Public Hearing Information
Table 3-1:   2015 Ozone NAAQS Transport SIP Revision CAMx Modeling Domain
             Definitions
Table 3-2:   2015 Ozone NAAQS Transport SIP Revision CAMx Modeling Domain
             Vertical Structure
Table 3-3:   2015 Transport SIP Revision WRF Modeling Domain Definitions
Table 3-4:   2015 Transport SIP Revision WRF Modeling Domain Vertical Structure
Table 3-5:   WRF Model Configuration Parameters
Table 3-6:   Emissions Processing Modules
Table 3-7:   Statistical Model Performance Evaluation Metrics for TCEQ’s 2015 Ozone
             NAAQS Transport SIP Revision Configuration
Table 3-8:   Apportion of Total Ozone Concentration for cell index [242, 78] on episode
             day July 14 at 12:00 p.m. CST to Contribution Categories
Table 3-9:   Downwind Nonattainment Monitors Tagged for Further Review
Table 3-10: Downwind Maintenance Monitors Tagged for Further Review
Table 3-11: Monitors Linked to Texas by EPA Modeling in the 2015 Transport NODA
Table 3-12: Number of HYSPLIT Back Trajectories at Each Tagged Colorado Monitor
Table 3-13: Modeled Elevated Ozone Days in the Future Year at the Tagged Colorado
            Monitors
Table 3-14: Collective Interstate Contribution to Future Design Value at Tagged
            Colorado Monitors
Table 3-15: Number of HYSPLIT Back Trajectories at Each Tagged California Monitor
Table 3-16: Modeled Elevated Ozone Days in the Future Year
Table 3-17: Collective Interstate Contributions to Future Design Values at Tagged
            California Monitors




                                           xiii
      Case: 23-60069     Document: 110     Page: 122    Date Filed: 03/27/2023




                                  LIST OF FIGURES

Figure 2-1: 2016 Eight-Hour Ozone Design Values by County in Texas
Figure 2-2: Eight-Hour Ozone Design Values and Population by Area in Texas
Figure 2-3: Statewide Historical NOX Emissions Trends in Tons per Year
Figure 2-4: Statewide Historical VOC Emissions Trends in Tons per Year
Figure 2-5: DFW 10-County Nonattainment Area Historical NOX Emissions Trends in
            Tons per Year
Figure 2-6: DFW 10-County Nonattainment Area Historical VOC Emissions Trends in
            Tons per Year
Figure 2-7: HGB Eight-County Nonattainment Area Historical NOX Emissions Trends in
            Tons per Year
Figure 2-8: HGB Eight-County Nonattainment Area Historical VOC Emissions Trends in
            Tons per Year
Figure 3-1: Map of 2015 Ozone NAAQS Transport SIP Revision CTM Modeling Domain
Figure 3-2: U.S. Drought Monitor Map of Texas for July 26, 2011
Figure 3-3: May through October 2012 Statewide NCDC Temperature Ranks
Figure 3-4: May through October 2012 Statewide NCDC Precipitation Ranks
Figure 3-5: Change in Texas Drought Conditions from July 2011 to July 2012
Figure 3-6: Meteorologically-Adjusted Ozone Trends for NCDC Climate Regions for
            2000 through 2016
Figure 3-7: Map of 2015 Ozone NAAQS Transport SIP Revision Meteorological
            Modeling Domain
Figure 3-8: Matching of WRF and CAMx Vertical Layers
Figure 3-9: Wind Speed Mean Bias for May through September 2012
Figure 3-10: Two Meter Temperature Mean Bias for May through September 2012
Figure 3-11: Humidity Mean Bias for May through September 2012
Figure 3-12: Wind Speed Mean Absolute Error for May through September 2012
Figure 3-13: Two Meter Temperature Mean Absolute Error for May through September
             2012
Figure 3-14: Humidity Mean Absolute Error for May through September 2012
Figure 3-15: Wind Speed RMSE for May through September 2012
Figure 3-16: Two Meter Temperature RMSE for May through September 2012
Figure 3-17: Humidity RMSE for May through September 2012
Figure 3-18: Base Case Representative Day Total Anthropogenic Precursor Emissions by
             Geographic Regions
Figure 3-19: Base Case Representative Day Total Anthropogenic Precursor Emissions by
             Source Category
Figure 3-20: Biogenic VOC Emissions in RPO_12km Domain on July 18, 2012


                                         xiv
      Case: 23-60069      Document: 110     Page: 123     Date Filed: 03/27/2023




Figure 3-21: Initial Concentration on April 16, 2012 in the RPO_12km
Figure 3-22: 2012 East Boundary Condition Cross-Section for July 18, 2012 Episode Day
Figure 3-23: 2012 West Boundary Condition Cross-Section for July 18, 2012 Episode
             Day
Figure 3-24: 2012 North Boundary Condition Cross-Section for July 18, 2012 Episode
             Day
Figure 3-25: 2012 South Boundary Condition Cross-Section for July 18, 2012 Episode
             Day
Figure 3-26: Mean Bias for the May through September 2012 Episode at AQS Monitoring
             Sites
Figure 3-27: RMSE for May through September 2012 Episode at AQS Monitoring Sites
Figure 3-28: Future Year Representative Day Total Anthropogenic Precursor Emissions
             by Geographic Region
Figure 3-29: Future Year Representative Day Total Anthropogenic Precursor Emissions
             by Source Category
Figure 3-30: 2023 East Boundary Condition Cross-Section for July 18, 2012 Episode Day
Figure 3-31: 2023 West Boundary Condition Cross-Section for July 18, 2012 Episode
             Day
Figure 3-32: 2023 North Boundary Condition Cross-Section for July 18, 2012 Episode
             Day
Figure 3-33: 2023 South Boundary Condition Cross-Section for July 18, 2012 Episode
             Day
Figure 3-34: Baseline Design Value (DVB) for the 2015 Ozone NAAQS Transport SIP
             Revision
Figure 3-35: 2023 Future Design Value (DVF) for the AQS Monitors in the RPO_12km
             Domain
Figure 3-36: 2023 Maintenance Future Year Design Value (MDVF) for the AQS Monitors
             in the RPO_12km Domain
Figure 3-37: APCA Geographic Regions for the 2015 Ozone NAAQS Transport SIP
             Revision
Figure 3-38: Breakdown of Total Hourly Modeled Ozone Concentration by APCA
             Contribution Categories for the Manvel Croix Monitor Grid Cell on July 14
             at 12:00 p.m. CST
Figure 3-39: Map of Additional APCA Geographic Regions Based on Location of Tagged
             Monitors
Figure 3-40: Eight-Hour Ozone Design Values for Monitors in the Denver-Aurora Area
Figure 3-41: Number of Elevated Eight-Hour Ozone Days at the Tagged Colorado
             Monitors for the years 2007 through 2016
Figure 3-42: HYSPLIT Back Trajectory Endpoints that Meet Filter Criteria from the
             Tagged Colorado Monitors



                                          xv
      Case: 23-60069      Document: 110     Page: 124     Date Filed: 03/27/2023




Figure 3-43: Number of Trajectories that Reach Texas and the Number of Elevated
             Eight-Hour Ozone Days at Each Tagged Colorado Monitor
Figure 3-44: Fourth-Highest Eight-Hour Ozone and the Number of Trajectories that
             Reach Texas
Figure 3-45: DDM Responsiveness of Ozone in July 2023 at Highland Reservoir
Figure 3-46: DDM Responsiveness of Ozone in August 2023 at Highland Reservoir
Figure 3-47: DDM Responsiveness of Ozone in July 2023 at Chatfield State Park
Figure 3-48: DDM Responsiveness of Ozone in August 2023 at Chatfield State Park
Figure 3-49: DDM Responsiveness of Ozone in July 2023 at Rocky Flats
Figure 3-50: DDM Responsiveness of Ozone in August 2023 at Rocky Flats
Figure 3-51: DDM Responsiveness of Ozone in July 2023 at National Renewable Energy
             Labs-NREL
Figure 3-52: DDM Responsiveness of Ozone in August 2023 at National Renewable
             Energy Labs-NREL
Figure 3-53: DDM Responsiveness of Ozone in July 2023 at Fort Collins-West
Figure 3-54: DDM Responsiveness of Ozone in August 2023 at Fort Collins-West
Figure 3-55: Design Value Trends from 2007 through 2016 for Chiricahua National
             Monument (AQS ID: 040038001)
Figure 3-56: Eight-Hour Ozone Design Values for Monitors in the Los Angeles Area
Figure 3-57: Number of Elevated Eight-Hour Ozone Days at the Tagged California
             Monitors for the years 2012 through 2016
Figure 3-58: HYSPLIT Back Trajectory Endpoints that Meet Filter Criteria from the
             Tagged California Monitors




                                          xvi
     Case: 23-60069   Document: 110      Page: 125   Date Filed: 03/27/2023




                            LIST OF APPENDICES

Appendix        Appendix Name

Appendix A      Meteorological Modeling for the Transport State Implementation
                Plan Revision for the 2015 Eight-Hour Ozone National Ambient Air
                Quality Standard
Appendix B      Emissions Modeling for the Transport State Implementation Plan
                Revision for the 2015 Eight-Hour Ozone National Ambient Air
                Quality Standard
Appendix C      Photochemical Model Performance Evaluation for the Transport
                State Implementation Plan Revision for the 2015 Eight-Hour Ozone
                National Ambient Air Quality Standard
Appendix D      Photochemical Modeling Protocol for the Transport State
                Implementation Plan Revision for the 2015 Eight-Hour Ozone
                National Ambient Air Quality Standard




                                      xvii
       Case: 23-60069     Document: 110      Page: 126    Date Filed: 03/27/2023




                                CHAPTER 1: GENERAL

1.1 BACKGROUND
Information on the Texas state implementation plan (SIP) and a list of SIP revisions and
other air quality plans adopted by the commission can be found on the Texas State
Implementation Plan webpage (http://www.tceq.texas.gov/airquality/sip) on the Texas
Commission on Environmental Quality’s (TCEQ) website (http://www.tceq.texas.gov/).

1.2 INTRODUCTION
On October 1, 2015, the United States Environmental Protection Agency (EPA) revised
the primary and secondary NAAQS for ozone to an eight-hour standard of 0.070 parts
per million (ppm) or 70 parts per billion (ppb) (80 Federal Register (FR) 65291, October
26, 2015). Within three years of the promulgation of any new or revised NAAQS, FCAA,
§110(a)(1) requires states to submit a SIP revision to provide for the implementation,
maintenance, and enforcement of the NAAQS. Section 110(a)(2)(A) through (M), lists the
elements that the SIP submissions must contain. This proposed SIP revision would
specifically address transport requirements under FCAA, §110(a)(2)(D). The TCEQ is
addressing the infrastructure requirements of FCAA, §110(a)(2)(A) through (C) and (E)
through (M) in a separate concurrent SIP revision (Project No. 2017-040-SIP-NR).
Submittal of this SIP revision and the infrastructure SIP revision covering FCAA,
§110(a)(2)(A) through (C) and (E) through (M) will fulfil the FCAA, §110(a)(1)
requirement. Infrastructure and transport SIP revisions to address the 2015 Ozone
NAAQS are due to the EPA by October 1, 2018.

Pursuant to FCAA, §110(a)(2)(D)(i), this proposed transport SIP revision must contain
adequate provisions that prohibit any source or other type of emissions activity within
the state from emitting any NAAQS pollutants in amounts that will:

   •   contribute significantly to nonattainment of the 2015 ozone NAAQS for areas in
       other states;
   •   interfere with the maintenance of the 2015 ozone NAAQS in any other state;
   •   interfere with measures required to meet an implementation plan for any other
       state related to prevention of significant deterioration (PSD); and
   •   interfere with measures required to meet the implementation plan for any other
       state related to regional haze and visibility.

In addition, pursuant to FCAA, §110(a)(2)(D)(ii), this proposed SIP revision must
provide information demonstrating compliance with the applicable requirements of
FCAA, §126 and §115 relating to interstate and international pollution abatement.

The EPA has historically failed to issue timely guidance to address transport
requirements for previous NAAQS and has not issued formal guidance for states to use
in developing transport SIP revisions for the 2015 ozone NAAQS. In order to meet
statutory deadlines, states do not have the option of waiting for the EPA to provide
guidance before proceeding with SIP development, review, and submittal and must
proceed without the EPA’s formal guidance to develop submittals based on
information available at the time.


                                          1-1
      Case: 23-60069      Document: 110      Page: 127    Date Filed: 03/27/2023




This proposed SIP revision includes an analysis of required transport elements in
FCAA, §110(a)(2)(D)(i) and (ii) consistent with statutory requirements and includes a
technical demonstration and various Texas provisions that support the conclusion that
Texas meets the requirements of each section. The TCEQ acknowledges that proposed
changes to federal regulations may have future impacts on how the TCEQ meets the
requirements of FCAA, §110(a)(2)(D); however, this proposed SIP revision reflects the
methods and means by which Texas meets these requirements at the time this SIP
revision was developed. Should future federal rule changes necessitate state rule
changes, the TCEQ will act appropriately at that time.

1.3 HEALTH EFFECTS
On October 1, 2015, the EPA revised the primary and secondary eight-hour ozone
NAAQS to 70 ppb (80 FR 65291). To support the 2015 ozone NAAQS, the EPA provided
information that suggested that health effects may potentially occur at levels lower
than the 2008 standard of 75 ppb. Breathing relatively high levels of ground-level
ozone can cause acute respiratory problems like cough and decreases in lung function
and can aggravate the symptoms of asthma. Repeated exposures to high levels of
ozone can potentially make people more susceptible to allergic responses and lung
inflammation.

Children are at a relatively higher risk from exposure to ozone when compared to
adults since they breathe more air per pound of body weight than adults and because
children’s respiratory systems are still developing. Children also spend a considerable
amount of time outdoors during summer and during the start of the school year
(August through October) when high ozone levels are typically recorded. Adults most
at risk from exposures to elevated ozone levels are people working or exercising
outdoors and individuals with preexisting respiratory diseases.

1.4 PUBLIC HEARING AND COMMENT INFORMATION
The commission will hold a public hearing for this proposed SIP revision at the
following time and location:

Table 1-1: Public Hearing Information
       City              Date             Time                   Location
                                                      Texas Commission on
                                                      Environmental Quality,
 Austin, TX         April 10, 2018      2:00 p.m.     12100 Park 35 Circle,
                                                      Building E, Room 201S

The public comment period will open on March 9, 2018, and close on April 10, 2018.
Written comments will be accepted via mail, fax, or through the eComments
(http://www1.tceq.texas.gov/rules/ecomments/index.cfm) system. All comments
should reference the “2015 Ozone NAAQS Transport SIP Revision” and should
reference Project Number 2017-039-SIP-NR. Comments may be submitted to Kristin
Patton, MC 206, State Implementation Plan Team, Air Quality Division, Texas
Commission on Environmental Quality, P.O. Box 13087, Austin, Texas 78711-3087 or
faxed to (512) 239-6188. If you choose to submit electronic comments, they must be
submitted through the eComments system. File size restrictions may apply to


                                          1-2
      Case: 23-60069      Document: 110      Page: 128    Date Filed: 03/27/2023




comments being submitted via the eComments system. Comments must be received by
April 10, 2018.

An electronic version of the 2015 Ozone NAAQS Transport SIP Revision and
appendices can be found on the TCEQ’s Air Pollution from Ozone webpage
(https://www.tceq.texas.gov/airquality/sip/criteria-pollutants/sip-ozone).

1.5 SOCIAL AND ECONOMIC CONSIDERATIONS
Because rulemaking is not a part of this SIP revision, there are no changes that would
impact society or the economy.

1.6 FISCAL AND MANPOWER RESOURCES
The TCEQ has determined that its fiscal and manpower resources are adequate and
will not be adversely affected through the implementation of this plan.




                                          1-3
       Case: 23-60069         Document: 110         Page: 129      Date Filed: 03/27/2023




                                  CHAPTER 2: OZONE DATA

2.1 INTRODUCTION
Ozone (O3) is a secondary pollutant that is created through a photochemical reaction
between oxygen (O2), nitrogen oxides (NOX), and volatile organic compounds (VOC). NOX
refers to the combination of nitrogen oxide (NO) and nitrogen dioxide (NO2). The
following reactions show how NOX, VOC, and O2 react in the presence of sunlight (hv)
to form O3:
                                                  ℎ𝑣𝑣
                                       𝑂𝑂2 + 𝑁𝑁𝑁𝑁2 ↔ 𝑂𝑂3 + 𝑁𝑁𝑁𝑁

                                         𝑁𝑁𝑁𝑁 + 𝑉𝑉𝑉𝑉𝑉𝑉 → 𝑁𝑁𝑁𝑁2

The amount of ozone formed depends on several factors. Meteorological conditions,
such as wind direction and speed, temperature, mixing height, solar radiation, and
other parameters, affect the rates at which ozone formation occurs. The types and the
concentration of precursors present can affect net reactivity of precursor compounds
found in a plume of emissions.

Precursor compounds, NOX and VOC, also exist under natural conditions. Ozone is
created and destroyed on a natural cycle according to atmospheric conditions and
chemical concentrations, even in the absence of additional anthropogenic precursor
sources. This natural ozone formation is known as “natural background” ozone and is
the starting point for measuring the contribution of ozone and precursors attributable
to human activity. Within an urban area, not all ozone formation is necessarily caused
by emissions produced locally because anthropogenic precursors, along with ozone
formed by them, are often transported over long distances. Because the amount of
ozone formed depends on so many other variables, it can be difficult to quantify the
exact contribution from specific sources.

The United States Environmental Protection Agency (EPA) revised the eight-hour ozone
National Ambient Air Quality Standard (NAAQS) to 0.070 parts per million (ppm) in
2015. On November 16, 2017, the EPA designated the majority of Texas as
attainment/unclassifiable for the 2015 eight-hour ozone NAAQS (82 Federal Register
54232). On December 22, 2017, the EPA sent 120-day letters responding to state
recommendations for remaining area designations. 1 The EPA is proposing
nonattainment designations for Collin, Dallas, Denton, Ellis, Johnson, Kaufman, Parker,
Rockwall, Tarrant, and Wise Counties in the Dallas-Fort Worth (DFW) area and Brazoria,
Chambers, Fort Bend, Galveston, Harris, Liberty, Montgomery, and Waller Counties in
the Houston-Galveston-Brazoria (HGB) area. The EPA also intends to designate all other
counties listed in the proposal as attainment/unclassifiable. This chapter will discuss
trends in ozone and ozone precursor emissions in Texas to demonstrate the progress
the state has made towards achieving the NAAQS.




1
 Samuel Coleman to the Honorable Greg Abbott, December 22, 2017, in EPA’s Response to Texas,
https://www.epa.gov/sites/production/files/2017-12/documents/tx_ltr_12_22_17.pdf

                                                 2-1
      Case: 23-60069      Document: 110      Page: 130     Date Filed: 03/27/2023




2.2 OZONE DESIGN VALUE TRENDS IN TEXAS
A design value is a statistic that is used to compare air quality data to the NAAQS. For
eight-hour ozone, a design value is the three-year average of the fourth-highest daily-
maximum eight-hour averaged ozone. The latest year in the three-year average is used
to represent the design value for that three-year period. Design values are calculated at
each ozone monitor and the monitor with the highest design value will set the design
value for that area. Although the eight-hour ozone NAAQS is reported in ppm, design
values in this chapter will be displayed in parts per billion (ppb) for ease of reading.

In 2016, Texas had 76 ozone monitoring sites in 34 counties that reported valid data
to the EPA. Eight-hour ozone design values for 2016 are displayed in Figure 2-1: 2016
Eight-Hour Ozone Design Values by County in Texas and listed in Table 2-1: 2016 Eight-
Hour Ozone Design Values by County in Texas. Figure 2-1 and Table 2-1show that most
Texas counties have 2016 design values below the 2015 ozone NAAQS of 70 ppb.
Three areas of Texas: DFW, HGB, and San Antonio, have eight-hour ozone design values
above 70 ppb.




Figure 2-1: 2016 Eight-Hour Ozone Design Values by County in Texas




                                           2-2
        Case: 23-60069       Document: 110       Page: 131   Date Filed: 03/27/2023




Table 2-1: 2016 Eight-Hour Ozone Design Values by County in Texas
                                                             2016 Eight-Hour Ozone
                  CSA/CBSA                      County
                                                              Design Values (ppb)
 Dallas—Fort Worth                       Denton                                  80
 Houston—The Woodlands                   Harris                                  79
 Houston—The Woodlands                   Galveston                              76
 Houston—The Woodlands                   Brazoria                               75
 Dallas—Fort Worth                       Tarrant                                75
 Dallas—Fort Worth                       Collin                                 74
 San Antonio—New Braunfels               Bexar                                  73
 Dallas—Fort Worth                       Parker                                 73
 Dallas—Fort Worth                       Dallas                                 72
 Dallas—Fort Worth                       Johnson                                72
 Houston—The Woodlands                   Montgomery                             72
 El Paso—Las Cruces                      El Paso                                70
 Dallas—Fort Worth                       Hood                                   69
 Beaumont—Port Arthur                    Jefferson                              68
 Killeen-Temple                          Bell                                   67
 Longview-Marshall                       Gregg                                  66
 Dallas—Fort Worth                       Rockwall                               66
 Austin—Round Rock                       Travis                                 66
 Tyler-Jacksonville                      Smith                                  65
 Victoria—Port Lavaca                    Victoria                               65
 Amarillo-Borger                         Randall                                64
 Corpus Christi—Kingsville—Alice         Nueces                                 64
 Beaumont—Port Arthur                    Orange                                 64
 Dallas—Fort Worth                       Ellis                                  63
 Waco                                    McLennan                               63
 No CSA                                  Brewster                               62
 Longview-Marshall                       Harrison                               62
 Dallas—Fort Worth                       Kaufman                                61
 Dallas—Fort Worth                       Navarro                                61
 No CSA                                  Polk                                   61
 Dallas—Fort Worth                       Hunt                                   60
 Brownsville-Harlingen-Raymondville      Cameron                                57
 McAllen-Edinburg                        Hidalgo                                55
 Laredo                                  Webb                                   54

Design value trends can be used to determine if various areas in Texas are making
progress towards attainment of the ozone NAAQS. Eight-hour ozone design value
trends by Texas area are displayed in Figure 2-2: Eight-Hour Ozone Design Values and
Population by Area in Texas. Figure 2-2 shows that all areas of Texas have shown
decreases in design values over the past 25 years. No area has seen an increase in
eight-hour ozone design values. As mentioned above, in 2016 only three areas in Texas
are measuring above the 2015 ozone NAAQS of 70 ppb. The largest ozone decreases

                                             2-3
      Case: 23-60069      Document: 110      Page: 132     Date Filed: 03/27/2023




from 1991 through 2016 were observed in the HGB area, which had a 34% decrease in
eight-hour ozone design values, and the Beaumont-Port Arthur (BPA) area, which had a
33% decrease in eight-hour ozone design values.




Figure 2-2: Eight-Hour Ozone Design Values and Population by Area in Texas

2.3 OZONE EMISSIONS TRENDS IN TEXAS
2.3.1 General
The Texas Commission on Environmental Quality (TCEQ) maintains an inventory of
current information for sources of ozone precursor emissions (NOX and VOC) that
identifies the types of emissions sources present in an area, the amount of each
pollutant emitted, and the types of processes and control devices employed at each
plant or source category. The total anthropogenic inventory of NOX and VOC emissions
for an area is derived from estimates developed for three general categories of
emissions sources: point, area, and mobile (both non-road and on-road). The emissions
inventory also provides data for a variety of air quality planning tasks, including
establishing baseline emissions levels, calculating reduction targets, developing control
strategies to achieve emissions reductions, developing emissions inputs for air quality
models, and tracking actual emissions reductions against established emissions
growth and control budgets.

The most current emissions inventory (EI) data were analyzed as part of this ozone
transport SIP revision. At the time of preparation of this SIP revision, the TCEQ was

                                           2-4
      Case: 23-60069       Document: 110      Page: 133    Date Filed: 03/27/2023




planning the development of the 2017 periodic EI in accordance with the EPA’s Air
Emissions Reporting Requirements (40 Code of Federal Regulations Part 51, Subpart
A). The calendar year 2014 periodic inventory was the most recent periodic inventory
available to develop this SIP revision’s EI.

Additionally, 10 years of anthropogenic emissions data (2005 through 2014) were
analyzed to develop historical trend data. During this time, the EI for Texas and its two
current ozone nonattainment areas (DFW and HGB) showed a significant decrease in
ozone precursor emissions from all source categories; reductions range from 15 to
46%, as detailed in Section 2.3.2: Historical Emissions Inventory Trends. These
reductions contributed to the attainment of both the one-hour and the 1997 eight-hour
ozone NAAQS. These reductions were accomplished through a variety of federal, state,
and local regulations and programs as detailed below.

2.3.2 Historical Emissions Inventory Trends
For the 10-year historical period up to and including 2014 (2005 through 2014), overall
anthropogenic ozone precursor emissions in Texas as well as the DFW and HGB ozone
nonattainment areas declined substantially. As demonstrated in Figure 2-3: Statewide
Historical NOX Emissions Trends in Tons per Year and Figure 2-4: Statewide Historical
VOC Emissions Trends in Tons per Year, anthropogenic NOX emissions decreased 35%
and anthropogenic VOC emissions decreased 17% from 2005 through 2014. These
emissions reductions were the result of regulations implemented at the federal, state,
and local levels and innovative programs implemented by the TCEQ.

Both 30 Texas Administrative Code (TAC) Chapter 115: Control of Air Pollution from
Volatile Organic Compounds and 30 TAC Chapter 117: Control of Air Pollution from
Nitrogen Compounds regulations have significantly reduced overall ozone precursor
emissions at both major and minor (point and area) industrial, commercial, and
institutional sources in the DFW and HGB ozone nonattainment areas as well as other
portions of the state (e.g., East Texas Combustion Rule).

The implementation of statewide or regional emissions banking and trading programs
have also assisted in reducing ozone precursor emissions. For example, the Emissions
Banking and Trading of Allowances program has implemented annual NOX emissions
caps for grandfathered and electing electric generating facilities. Similarly, the Highly
Reactive Volatile Organic Compound (HRVOC) Emissions Cap and Trade Program and
the Mass Emissions Cap and Trade Program have specifically reduced HRVOC and NOX
emissions, respectively, from point sources in the HGB area.

Innovative emissions reduction programs such as the Texas Emissions Reduction Plan
and 30 TAC Chapter 114: Control of Air Pollution from Motor Vehicles, which includes
programs such as the AirCheckTexas Drive a Clean Machine program and vehicle
emissions testing, have also reduced mobile source emissions, the primary source of
NOX emissions in the state.

The following graphs illustrate these trends statewide as well as in the DFW and HGB
ozone nonattainment areas.




                                           2-5
      Case: 23-60069    Document: 110     Page: 134   Date Filed: 03/27/2023




Figure 2-3: Statewide Historical NOX Emissions Trends in Tons per Year




Figure 2-4: Statewide Historical VOC Emissions Trends in Tons per Year




                                        2-6
      Case: 23-60069     Document: 110     Page: 135   Date Filed: 03/27/2023




Similarly, Figure 2-5: DFW 10-County Nonattainment Area Historical NOX Emissions
Trends in Tons per Year and Figure 2-6: DFW 10-County Nonattainment Area Historical
VOC Emissions Trends in Tons per Year demonstrate a marked 46% decrease in
anthropogenic NOX emissions and a 15% decrease in anthropogenic VOC emissions
from 2005 through 2014.




Figure 2-5: DFW 10-County Nonattainment Area Historical NOX Emissions Trends in
Tons per Year




                                         2-7
      Case: 23-60069     Document: 110     Page: 136   Date Filed: 03/27/2023




Figure 2-6: DFW 10-County Nonattainment Area Historical VOC Emissions Trends in
Tons per Year

Finally, the HGB area shows significant overall progress in reducing anthropogenic
emissions. As shown in Figure 2-7: HGB Eight-County Nonattainment Area Historical
NOX Emissions Trends in Tons per Year and Figure 2-8: HGB Eight-County
Nonattainment Area Historical VOC Emissions Trends in Tons per Year, a 43% decrease
in anthropogenic NOX emissions and a 37% decrease in anthropogenic VOC emissions
has occurred from 2005 through 2014.




                                         2-8
      Case: 23-60069    Document: 110     Page: 137   Date Filed: 03/27/2023




Figure 2-7: HGB Eight-County Nonattainment Area Historical NOX Emissions Trends
in Tons per Year




Figure 2-8: HGB Eight-County Nonattainment Area Historical VOC Emissions Trends
in Tons per Year

                                        2-9
      Case: 23-60069      Document: 110      Page: 138    Date Filed: 03/27/2023




2.4 OZONE DATA SUMMARY
Ozone data in Texas show that there are three areas that have eight-hour ozone design
values above 70 ppb: DFW, HGB, and San Antonio. Over the past 25 years, all areas in
Texas have observed some decrease in eight-hour ozone design values. The largest
eight-hour ozone design value decreases from 1991 through 2016 were observed in the
HGB and the BPA areas with decreases of 34% and 33%, respectively.

Statewide trend analysis using the 2005 through 2014 emissions shows a similar
reduction in ozone precursor emissions: a 17% reduction in VOC emissions and a 35%
reduction in NOX emissions. These reductions have assisted the state in attaining both
the one-hour and 1997 eight-hour ozone NAAQS and are expected to help the state in
attaining the 2008 and 2015 NAAQS in the future.




                                          2-10
      Case: 23-60069       Document: 110      Page: 139     Date Filed: 03/27/2023




      CHAPTER 3: SIGNIFICANT CONTRIBUTION TO NONATTAINMENT AND
         INTERFERENCE WITH MAINTENANCE [FCAA, §110(A)(2)(D)(i)(I)]

3.1 INTRODUCTION
The Federal Clean Air Act (FCAA), §110(a)(2)(D)(i)(I) requires states to submit a state
implementation plan (SIP) revision that contains adequate provisions to prohibit any
source or other type of emissions activity within the state from emitting any air
pollutants in amounts that will contribute significantly to nonattainment of the
National Ambient Air Quality Standards (NAAQS) for areas in other states or interfere
with maintenance of the NAAQS in any other state. The purpose of FCAA’s
§110(a)(2)(D)(i)(I), also known as the “good neighbor” provision, is to ensure that
emissions in one state that contribute significantly to nonattainment or interfere with
maintenance in another state are addressed appropriately.

For this SIP revision, the key aspect of fulfilling this obligation is to determine if
emissions from Texas contribute significantly to nonattainment or interfere with
maintenance of the 2015 eight-hour ozone NAAQS in another state. The following
sections utilize photochemical modeling and data analysis to demonstrate that
emissions from Texas do not contribute significantly to nonattainment or interfere
with maintenance of the 2015 eight-hour ozone NAAQS in another state.

The approach used by the Texas Commission on Environmental Quality (TCEQ) to
determine if emissions from Texas contribute significantly to nonattainment or
interfere with maintenance at downwind monitors in another state is based partly on
the United States Environmental Protection Agency’s (EPA) Notice of Data Availability
of Preliminary Interstate Ozone Transport Modeling Data for the 2015 Ozone NAAQS
(2015 Transport NODA) published in the January 6, 2017 Federal Register (82 FR 1733),
with several key improvements. The TCEQ used a three-step approach, detailed below,
to determine if emissions from Texas contribute significantly to nonattainment or
interfere with maintenance at downwind monitors in another state.

   Step 1: Identify monitors projected to be in nonattainment or have maintenance
   issues in a future year.

   Step 2: Identify projected nonattainment and/or maintenance monitors in other
   states that might be impacted by emissions from Texas, tagging them for further
   review.

   Step 3: Determine if emissions from Texas contribute significantly to
   nonattainment or interfere with maintenance at the monitors tagged for review in
   Step 2.

The EPA used a four-step framework, referred to as the Cross-State Air Pollution Rule
(CSAPR) framework, to address the requirements of the “good neighbor” provision in
the 2015 Transport NODA. From the 2015 Transport NODA, the four steps in the
CSAPR framework are as follows (82 FR 1735):

   “[1] Identifying downwind receptors that are expected to have problems attaining
   or maintaining clean air standards (i.e., NAAQS);


                                           3-1
       Case: 23-60069          Document: 110        Page: 140       Date Filed: 03/27/2023




   [2] determining which states contribute to these problems in amounts sufficient to
   “link: them to the downwind air quality problems;

   [3] for states linked to downwind air quality problems, identifying upwind
   emissions that significantly contribute to nonattainment or interfere with
   maintenance of the NAAQS by quantifying upwind reductions in ozone precursor
   emissions and apportioning emissions reduction responsibility among upwind
   states; and

   [4] for states that are found to have emissions that significantly contribute to
   nonattainment or interfere with maintenance of the NAAQS downwind, adopting
   SIPs or FIPs that eliminate such emissions.”

The TCEQ’s three-step process covers steps [1] and [2] of the four-step framework.
Step 1 of the TCEQ’s three-step process is the same as step [1] of the EPA’s four-step
framework. Steps 2 and 3 of the TCEQ’s process together are equivalent to step [2] of
the EPA’s framework. Steps [3] and [4] of EPA’s framework are relevant only if
emissions from Texas contribute significantly to nonattainment or interfere with
maintenance at downwind monitors in another state and are therefore not addressed
in this SIP revision.

In the 2015 Transport NODA, upwind states with contributions greater than or equal
to 0.7 ppb to a monitor’s future year design value are linked to the downwind monitor.
Once the linkages have been established, the portion of emissions from linked states
that were determined by the EPA to have contributed significantly to nonattainment or
interfere with maintenance are identified (Steps 2 and 3, respectively, of the EPA’s
four-step framework). The EPA’s framework establishes the 1% of NAAQS threshold as
the default definition of significant contribution to nonattainment or interference with
maintenance. The TCEQ has maintained and noted in comments to EPA on its
transport modeling, that an arbitrary threshold of 1% of the NAAQS for significant
contribution to nonattainment or interference with maintenance is inappropriate and
incomplete. 2, 3 In the 2015 Transport NODA, the EPA acknowledges that a contribution
of 1% of the NAAQS from an upwind state alone does not determine whether the
upwind state significantly contributes to nonattainment or interferes with maintenance
of a NAAQS to a downwind state (FR 82 1740). The TCEQ believes that it is critical to
determine if emissions from an upwind state contribute significantly to nonattainment
or interfere with maintenance prior to the identification (and subsequent reduction) of
such emissions.




2
  “Comments by the Texas Commission on Environmental Quality Regarding the Notice of Availability of
the Environmental Protection Agency’s Preliminary Interstate Ozone Transport Modeling Data for the 2015
Ozone National Ambient Air Quality Standard”, available at
https://www.tceq.texas.gov/assets/public/agency/nc/air/TCEQ-Summary-on-
EPA%E2%80%93HQ%E2%80%93OAR%E2%80%932016%E2%80%930751.pdf
3
 “Comments by the Texas Commission On Environmental Quality Regarding Disapproval of Air Quality
Implementation Plans: Interstate Transport of Air Pollution for the 2008 Ozone National Ambient Air
Quality Standards”, available at https://www.tceq.texas.gov/assets/public/agency/nc/air/TCEQ-
Comments-on-EPA-R06-OAR-2012-0985.docx

                                                 3-2
          Case: 23-60069       Document: 110       Page: 141     Date Filed: 03/27/2023




In this SIP revision, the TCEQ is partially addressing its concern with the use of the 1%
of NAAQS threshold as the definition of significant contribution to nonattainment by
adding a step that uses a more comprehensive analysis to determine if emissions from
an upwind state contribute significantly to nonattainment or interfere with
maintenance.

For Step 1, the TCEQ used regional photochemical modeling to identify monitors
projected to be in nonattainment or have maintenance issues in the future year. In Step
2, if the Texas contribution to a monitor’s future year design value was greater than or
equal to 1% of the NAAQS (i.e., 0.7 ppb) the monitor was tagged for further review. In
Step 3, a comprehensive review of modeling and analysis of monitoring data was used
to determine if emissions from Texas contributed significantly to nonattainment or
interfered with maintenance for monitors tagged in Step 2.

3.2 STEP 1: IDENTIFICATION OF PROJECTED NONATTAINMENT AND
MAINTENANCE MONITORS
The TCEQ used photochemical modeling, in accordance with the EPA’s 2014 Draft
Modeling Guidance for Demonstrating Attainment of Air Quality Goals for Ozone, PM2.5,
and Regional Haze (EPA Modeling Guidance) 4, to identify monitors projected to be in
nonattainment in a future year. Photochemical modeling for ozone consists of using a
regional Chemical Transport Model (CTM) with appropriate meteorological and
emissions inputs, to simulate the formation and transport of ozone.

To assess the future attainment status of monitors, the EPA’s Modeling Guidance uses
modeling results in a relative sense. This relative approach is based on how the model
responds to the change in emissions between a base year and a future year while
holding meteorological inputs constant. For this SIP revision, the TCEQ used a 2012
base year and a 2023 future year to identify monitors projected to be in nonattainment
or have maintenance issues in the future. The future year of 2023 was chosen based on
the assumed attainment date for moderate nonattainment areas as detailed in EPA’s
2015 Transport NODA.

The photochemical modeling process began with episode, base year, and domain
selection. Base case and future year modeling was conducted, and results were
interpreted to determine future year (2023) design values (DVF) at monitoring sites in
the modeling domain.

3.2.1 Modeling Domain
The geographic extent of the modeling domain used for the 2015 ozone NAAQS
Transport SIP revision is shown in Figure 3-1: Map of 2015 Ozone NAAQS Transport SIP
Revision CTM Modeling Domain. The domain includes the 48 contiguous states of the
United States (U.S.), with parts of southern Canada and northern Mexico.




4
    https://www3.epa.gov/scram001/guidance/guide/Draft_O3-PM-RH_Modeling_Guidance-2014.pdf

                                                3-3
          Case: 23-60069       Document: 110     Page: 142   Date Filed: 03/27/2023




Figure 3-1: Map of 2015 Ozone NAAQS Transport SIP Revision CTM Modeling
Domain

The CTM used for this SIP revision is the Comprehensive Air Quality Model with
Extensions (CAMx), version 6.40. CAMx is a three-dimensional grid-based Eulerian
model designed to simulate the formation and transport of ozone and ozone precursor
concentrations over regional and urban spatial scales. 5 The modeling domain, referred
to as the rpo_12km domain, has a horizontal grid resolution of 12 kilometers (km) by
12 km and 29 vertical layers. The domain definitions are provided in Table 3-1: 2015
Ozone NAAQS Transport SIP Revision CAMx Modeling Domain Definitions.

Table 3-2: 2015 Ozone NAAQS Transport SIP Revision CAMx Modeling Domain Vertical
Structure provides details of the modeling domain vertical layers such as the top and
center height in meters Above Ground Level (m AGL) and thickness in meters (m).




5
    http://www.camx.com/about/default.aspx

                                               3-4
      Case: 23-60069      Document: 110          Page: 143      Date Filed: 03/27/2023




Table 3-1: 2015 Ozone NAAQS Transport SIP Revision CAMx Modeling Domain
Definitions
                                                   Number of       Number of
                Easting Range      Northing
   Domain                                             Cells          Cells      Short Name
                     (km)         Range (km)
                                                    (Easting)      (Northing)
 National RPO
                (-2736,2592)      (-2088,1944)         444            336        rpo_12km
 Domain

Table 3-2: 2015 Ozone NAAQS Transport SIP Revision CAMx Modeling Domain
Vertical Structure
    CAMx              Top                Center              Thickness
    Layer           (m AGL)             (m AGL)                 (m)
     29                   18250                16445                 3611
     28                   14639                13632                 2015
     27                   12624                10786                 3675
     26                    8949                 7891                 2115
     25                    6833                 6289                 1088
     24                    5746                 5290                   911
     23                    4835                 4449                   772
     22                    4063                 3704                   717
     21                    3346                 3175                   341
     20                    3005                 2840                   330
     19                    2675                 2515                   320
     18                    2355                 2225                   259
     17                    2096                 1969                   253
     16                    1842                 1718                   248
     15                    1595                 1474                   242
     14                    1353                 1281                   143
     13                    1210                 1140                   141
     12                    1069                 1000                   139
     11                     930                  861                   138
     10                     792                  747                    91
      9                     702                  656                    90
      8                     612                  567                    89
      7                     522                  478                    89
      6                     433                  389                    88
      5                     345                  302                    87
      4                     258                  215                    87
      3                     171                  128                    86
      2                      85                   60                    51
      1                      34                   17                    34


3.2.2 Modeling Episode
The modeling episode used for this SIP revision was the May 1 through September 30,
2012 period (May through September 2012). A robust modeling platform had been
developed for May through September 2012 as part of the Houston-Galveston Brazoria
Attainment Demonstration SIP revision for the 2008 Eight-hour Ozone NAAQS (HGB

                                            3-5
        Case: 23-60069         Document: 110         Page: 144       Date Filed: 03/27/2023




AD SIP) that was adopted on December 15, 2016 by the commission and submitted to
the EPA on December 29, 2016. The May through September 2012 episode was selected
in accordance with the episode selection criteria specified in the EPA Modeling
Guidance, details of which are documented in the section 3.4: Episode Selection of the
HGB AD SIP. 6 The EPA, in its 2015 Transport NODA, used May 1 through September 30,
2011 period (May through September 2011) for its transport modeling. However, 2011
was a meteorologically anomalous year for Texas and surrounding states as it was the
hottest year on record and the single-worst drought year recorded in Texas since 1895
(Hoerling et al., 2012). Figure 3-2: U.S. Drought Monitor Map of Texas for July 26, 2011
shows the extent of the drought across the state.




Figure 3-2: U.S. Drought Monitor Map of Texas for July 26, 2011

The TCEQ has submitted comments on the unsuitability of the May through September
2011 episode for Texas ozone modeling in response to several EPA actions such as the




6
 Revisions to the State of Texas Air Quality Implementation Plan for the Control of Ozone Air Pollution,
Houston-Galveston Brazoria Attainment Demonstration SIP revision for the 2008 Eight-hour Ozone
Standard Nonattainment Area (pages 3-4 to 3-17)
https://www.tceq.texas.gov/assets/public/implementation/air/sip/hgb/HGB_2016_AD_RFP/AD_Adoption
/16016SIP_HGB08AD_ado.pdf


                                                  3-6
       Case: 23-60069          Document: 110        Page: 145       Date Filed: 03/27/2023




EPA 2011 modeling platform, 7 EPA 2018 Modeling Platform, 8 EPA NODA on Updated
Transport Modeling for the 2008 Ozone NAAQS 9 and the 2015 Transport NODA. 10

3.2.2.1 Meteorology of 2012
Meteorology for the May through September 2012 period was analyzed for the rest of
the contiguous U.S. The year 2012 had above average temperatures across most of the
U.S., except in some states in the southeast. New Hampshire had their highest May
through October average temperatures on record. The National Oceanic and
Atmospheric Administration’s (NOAA) National Climatic Data Center (NCDC)
temperature rankings11 for the May through October average temperature of 2012
relative to the years 1895 through 2012 are shown in Figure 3-3: May through October
2012 Statewide NCDC Temperature Ranks. The numbers in each state represent the
numerical rank for that state for 2012. Among the NCDC climatic regions, 12 the
Northeast had its warmest year on record for the years 1895 through 2012.




7
   TCEQ comments on EPA’s “Notice of Availability of the EPA’s 2011 Modeling Platform.” Submitted
3/31/14 and available at https://www.tceq.texas.gov/agency/nc/Air_Issues.html/#033114
8
   TCEQ comments on EPA’s “Notice of Availability of the EPA’s 2018 Modeling Platform.” Submitted
6/24/14 and available at https://www.tceq.texas.gov/agency/nc/Air_Issues.html/#062414
9
   TCEQ comments on EPA’s Notice of Data Availability of the Updated Ozone Transport Modeling Data for
the 2008 Ozone NAAQS. Submitted 10/15/15 and available at
https://www.tceq.texas.gov/agency/nc/Air_Issues.html/#101515
10
   TCEQ comments on EPA’s “Preliminary Interstate Ozone Transport Modeling Data for 2015 Ozone
NAAQS.” Submitted 4/5/17 and available at
https://www.tceq.texas.gov/agency/nc/Air_Issues.html/#040517
11
   Explanation of Climatological Rankings available at https://www.ncdc.noaa.gov/monitoring-
references/dyk/ranking-definition
12
   NCDC US Climatic Region definitions are available at https://www.ncdc.noaa.gov/monitoring-
references/maps/us-climate-regions.php

                                                 3-7
      Case: 23-60069      Document: 110     Page: 146    Date Filed: 03/27/2023




Figure 3-3: May through October 2012 Statewide NCDC Temperature Ranks

Figure 3-4: May through October 2012 Statewide NCDC Precipitation Ranks shows the
NCDC precipitation rankings for the May through October months of 2012 relative to
the years 1895 through 2012. May through October 2012 had below normal or much
below normal precipitation in most of the South and Northern Rockies and Plains and
parts of the Upper Midwest and Ohio River Valley climate regions with a record driest
year for Nebraska and Wyoming. However, the Northeast and parts of the Southeast
had above normal or much above normal precipitation.




                                          3-8
      Case: 23-60069      Document: 110     Page: 147    Date Filed: 03/27/2023




Figure 3-4: May through October 2012 Statewide NCDC Precipitation Ranks

The entire central portion of the U.S. was in some state of drought. However, the
drought reported in Texas by July 2011 had diminished in severity by July 2012. Figure
3-5: Change in Texas Drought Conditions from July 2011 to July 2012 shows the change
in drought class from July 26, 2011 to July 24, 2012 with approximately 60 to 70% of
Texas showing improvement by three to five drought classes statewide.




                                          3-9
       Case: 23-60069         Document: 110         Page: 148      Date Filed: 03/27/2023




Figure 3-5: Change in Texas Drought Conditions from July 2011 to July 2012

3.2.2.2 Ozone Production in 2012
The TCEQ analyzed, similarly to the EPA’s analysis for its transport modeling, 13 the
meteorologically adjusted ozone trends for the NCDC climate regions for May through
September 2012. Figure 3-6: Meteorologically-Adjusted Ozone Trends for NCDC Climate
Regions for 2000 through 2016 14 shows the meteorologically-adjusted ozone trends
from 2000 through 2016. The 2010 through 2016 time period shows variation in
ozone conducive conditions across years and climate regions. The year 2012 was more
conducive (relative to 2010 through 2016) for ozone formation in the Northeast, Upper
Midwest, Northwest, Northern Rockies and Plains, and West regions while for the Ohio
River Valley, South, Southeast, and Southwest climate regions 2011 was more
conducive to ozone production. In the past the EPA has acknowledged that no single
year will be representative of “typical” meteorological conditions for ozone for all
regions of the U.S. (EPA, August 2016). Based on this analysis, the TCEQ concluded that
the well-tested 2012 modeling platform is appropriate for use in this SIP revision.




13
   “Air Quality Modeling Technical Support Document for the 2008 Ozone NAAQS Cross-State Air Pollution
Rule Proposal”, available at https://www.epa.gov/sites/production/files/2015-
11/documents/air_quality_modeling_tsd_proposed_rule.pdf
14
   Data for this analysis shown in Figure 3-6 was obtained from the EPA’s Air-Trends webpage
(https://www.epa.gov/air-trends/trends-ozone-adjusted-weather-conditions)

                                                3-10
                     Case: 23-60069    Document: 110      Page: 149   Date Filed: 03/27/2023




Figure 3-6: Meteorologically-Adjusted Ozone Trends for NCDC Climate Regions for 2000 through 2016




                                                       3-11
      Case: 23-60069      Document: 110      Page: 150   Date Filed: 03/27/2023




3.2.3 Base Case Modeling
Base case modeling was used to evaluate the CTM’s ability to replicate measured ozone
and precursor concentrations. The adequacy of the model in replicating observations
was assessed statistically and graphically. Satisfactory model performance in base case
modeling provided a degree of confidence in the use of the model to predict future
ozone concentrations and to evaluate transport impacts.

Base case modeling included the generation of initial and boundary conditions,
emissions inputs and meteorological inputs for the May through September 2012
period needed by CAMx. Results of base case modeling included modeled ozone and
precursor concentrations for every grid cell of the rpo_12km domain for every hour of
May through September 2012. The base case modeling results were evaluated by
comparisons with observed measurements at monitoring sites across the modeling
domain. The model performance evaluation was iterative. Feedback from successive
evaluations was incorporated to ensure that the model was adequately replicating
observations throughout the modeling domain and episode. Details of the inputs
generated for base case modeling are provided below.

3.2.3.1 Meteorological Modeling
The TCEQ used the Weather Research and Forecasting Model (WRF) version 3.8.1 to
create the May through September 2012 meteorological inputs for CAMx. The WRF
domain was chosen to accommodate the CAMx domain shown in Figure 3-1. Figure 3-7:
Map of 2015 Ozone NAAQS Transport SIP Revision Meteorological Modeling Domain
shows the geographical extent of the WRF modeling domain, along with the CAMx
domain for reference.




                                          3-12
         Case: 23-60069       Document: 110      Page: 151        Date Filed: 03/27/2023




Figure 3-7: Map of 2015 Ozone NAAQS Transport SIP Revision Meteorological
Modeling Domain

For the meteorological model, a single domain was used, referred to as na_12km, with
horizontal grid resolution of 12 km x 12 km and 44 vertical layers. The WRF model
domain definitions are provided in Table 3-3: 2015 Transport SIP Revision WRF
Modeling Domain Definitions. Table 3-4: 2015 Transport SIP Revision WRF Modeling
Domain Vertical Structure provides details of the WRF model domain vertical layers,
such as heights and thickness. Figure 3-8: Matching of WRF and CAMx Vertical Layers
shows how the vertical layers of WRF shown in Table 3-4 are matched to the vertical
layers of CAMx shown in Table 3-2.

Table 3-3: 2015 Transport SIP Revision WRF Modeling Domain Definitions
                                                     Number of        Number of
                     Easting       Northing                                           Short
   Domain                                               Cells           Cells
                   Range (km)     Range (km)                                          Name
                                                      (Easting)       (Northing)
 North
 America           (-2916,2916)   (-2304,2304)          489              387        na_12km
 Domain

Table 3-4: 2015 Transport SIP Revision WRF Modeling Domain Vertical Structure
 WRF      Sigma      Top      Center   Thickness
 Layer    Level    (m AGL)   (m AGL)      (m)
 44        0.000     20581     20054        1054


                                              3-13
        Case: 23-60069      Document: 110      Page: 152   Date Filed: 03/27/2023




WRF      Sigma      Top      Center   Thickness
Layer    Level    (m AGL)   (m AGL)      (m)
43        0.010     19527     18888        1278
42        0.025     18249     17573        1353
41        0.045     16896     16344        1103
40        0.065     15793     15215        1156
39        0.090     14637     14144         987
38        0.115     13650     13136        1029
37        0.145     12621     12168         906
36        0.175     11716     11245         941
35        0.210     10774     10294         962
34        0.250      9813      9379         867
33        0.290      8946      8550         792
32        0.330      8154      7790         729
31        0.370      7425      7128         594
30        0.405      6830      6551         559
29        0.440      6271      6007         528
28        0.475      5743      5492         501
27        0.510      5242      5037         410
26        0.540      4832      4636         393
25        0.570      4439      4250         378
24        0.600      4061      3878         365
23        0.630      3696      3520         352
22        0.660      3344      3173         341
21        0.690      3003      2838         330
20        0.720      2673      2513         320
19        0.750      2353      2224         259
18        0.775      2094      1967         253
17        0.800      1841      1717         247
16        0.825      1593      1472         242
15        0.850      1352      1280         143
14        0.865      1209      1138         141
13        0.880      1068       999         139
12        0.895       929       860         137
11        0.910       792       746          91
10        0.920       701       656          90
9         0.930       611       566          89
8         0.940       522       477          89
7         0.950       433       389          88
6         0.960       345       301          87
5         0.970       258       214          87
4         0.980       171       128          86
3         0.990        85        60          51
2         0.996        34        26          17
1         0.998        17         8          17
0         1.000         0         0           0




                                            3-14
      Case: 23-60069    Document: 110      Page: 153   Date Filed: 03/27/2023




Figure 3-8: Matching of WRF and CAMx Vertical Layers


                                        3-15
         Case: 23-60069        Document: 110         Page: 154       Date Filed: 03/27/2023




The initial and boundary conditions for WRF modeling were obtained from the GCIP
(GEWEX (Global Energy and Water EXperiment) Continental-Scale International Project)
NCEP (National Centers for Environmental Prediction) Eta data archive. Where data
were missing from the GCIP NCEP Eta archive, data extracted from the NCEP North
American Mesoscale model were used. More details regarding how missing data were
handled is presented in Appendix A: Meteorological Modeling for the Transport State
Implementation Plan Revision for the 2015 Eight-Hour Ozone National Ambient Air
Quality Standard. To optimize performance, two types of nudging were utilized. The
first type was analysis nudging, both three-dimensional (3-D) and surface. The 3-D
analysis nudging was used to nudge the wind, temperature and moisture, while the
surface analysis nudging was only used to nudge wind and temperature. The second
type of nudging used was observational nudging, which used the radar profiler data
for nudging aloft winds towards observed vertical profiles.

The selection of the final meteorological modeling configuration for May through
September 2012 resulted from numerous sensitivity tests and model performance
evaluation. The final WRF parameterization schemes and options selected are shown in
Table 3-5: WRF Model Configuration Parameters. Details of the meteorological
sensitivity tests are provided in Appendix A.

Table 3-5: WRF Model Configuration Parameters
                                                                             Land-
     Domain       Nudging Type          PBL     Cumulus       Radiation                Microphysics
                                                                            Surface
               3-D, Surface Analysis,
                                              Multiscale
               PX Soil Nudging, NPN                           RRTM /        Pleim-
     na_12km                            YSU   Kain-                                    WSM5
               and CAP Radar                                  Dudhia        Xiu
                                              Fritsch
               Profiler Observations

WRF output was post-processed using the WRF2CAMx version 4.6 utility with the
Community Multi-Scale Air Quality (CMAQ) modeling system vertical diffusivity (Kv)
option to convert the WRF meteorological fields to the appropriate CAMx grid and
input format. The 100 m Kv Patch program developed by Ramboll Environ 15 was used
to modify the vertical diffusivity coefficients based on a land-use basis to maintain
vertical mixing within the first 100 meters of the model over urban areas. Sub grid
stratiform cloud diagnostics were applied to better simulate ultraviolet-attenuation in
CAMx.

WRF model performance was evaluated for wind speed and direction, temperature, and
humidity. Figure 3-9: Wind Speed Mean Bias for May through September 2012, Figure
3-10: Two Meter Temperature Mean Bias for May through September 2012, and Figure
3-11: Humidity Mean Bias for May through September 2012 show the mean bias for
wind speed, temperature, and humidity, respectively for May through September 2012
for each monitoring station across the na_12km domain.




15
  “Dallas-Fort Worth Modeling Support: Improving Vertical Mixing, Plume-in-Grid, and Photolysis Rates in
CAMx”, TCEQ Project report available at
https://www.tceq.texas.gov/assets/public/implementation/air/am/contracts/reports/pm/5821110365FY1
206-20120820-environ_dfw_modeling_support.pdf

                                                 3-16
      Case: 23-60069   Document: 110      Page: 155   Date Filed: 03/27/2023




Figure 3-9: Wind Speed Mean Bias for May through September 2012




Figure 3-10: Two Meter Temperature Mean Bias for May through September 2012




                                       3-17
      Case: 23-60069      Document: 110      Page: 156    Date Filed: 03/27/2023




Figure 3-11: Humidity Mean Bias for May through September 2012

Figure 3-9 shows that wind speed had a negative bias along the East Coast, Southeast,
and western continental U.S., while eastern Texas, the Ohio River Valley, and the Great
Lakes region had a positive bias. Mean bias for temperature in Figure 3-10 does not
show strong geographical trends, although slightly more monitors in the western U.S.
show a positive bias. Figure 3-11 shows that there was a positive bias for humidity at
most monitoring stations in the domain, although a negative bias is seen over much of
Oklahoma through eastern Kansas and into southern Nebraska, and also in parts of
southern California.

Figure 3-12: Wind Speed Mean Absolute Error for May through September 2012, Figure
3-13: Two Meter Temperature Mean Absolute Error for May through September 2012,
and Figure 3-14: Humidity Mean Absolute Error for May through September 2012 show
the mean absolute error for wind speed, temperature, and humidity, respectively for
May through September 2012 at monitoring stations across the na_12km domain.




                                          3-18
      Case: 23-60069   Document: 110      Page: 157   Date Filed: 03/27/2023




Figure 3-12: Wind Speed Mean Absolute Error for May through September 2012




Figure 3-13: Two Meter Temperature Mean Absolute Error for May through
September 2012




                                       3-19
      Case: 23-60069      Document: 110      Page: 158    Date Filed: 03/27/2023




Figure 3-14: Humidity Mean Absolute Error for May through September 2012

Figure 3-12 and Figure 3-13 show that the mean absolute error for wind speed and
temperature, respectively, were lower in the eastern U.S. than western U.S. Figure 3-14
shows a more north/south regional difference for humidity, with monitors in the
northern U.S. having less mean absolute error than monitors in the southern U.S.

Figure 3-15: Wind Speed RMSE for May through September 2012, Figure 3-16: Two
Meter Temperature RMSE for May through September 2012, and Figure 3-17: Humidity
RMSE for May through September 2012 show the Root Mean Square Error (RMSE) for
wind speed, temperature, and humidity, respectively, for May through September 2012
at monitoring stations across the na_12km domain.




                                          3-20
     Case: 23-60069    Document: 110      Page: 159   Date Filed: 03/27/2023




Figure 3-15: Wind Speed RMSE for May through September 2012




Figure 3-16: Two Meter Temperature RMSE for May through September 2012




                                       3-21
      Case: 23-60069      Document: 110      Page: 160   Date Filed: 03/27/2023




Figure 3-17: Humidity RMSE for May through September 2012

Similar to the Mean Absolute Error in Figures 3-12 through 3-14, Figure 3-15 and
Figure 3-16 show an east/west regional trend with monitors in the east having lower
RMSE than monitors in the west for wind speed and temperature, respectively, while
Figure 3-17 shows that RMSE for humidity in the southern and central monitors are
greater than RMSE for northern monitors.

Overall, WRF model performance for May through September 2012 was acceptable for
the CTM input. More details regarding WRF model performance, including daily,
monthly, and regional performance statistics, are presented in Appendix A.

3.2.3.2 Emissions Modeling
Emissions modeling is the process of creating CAMx-ready emissions inputs. For base
case modeling, precursor emissions inputs are chemically speciated into the Carbon
Bond 6 (CB6) chemical mechanism species used in CAMx, temporally allocated, and
spatially distributed to 12 km grid cells for May through September 2012. The main
ozone precursors are nitrogen oxides (NOX) and volatile organic compounds (VOC)
while carbon monoxide (CO) plays a minor role in ozone formation. Though CO has
very low reactivity and does not play a major role in controlling ozone formation, in
this subsection details of CO modeling emissions inventories are presented as CO is a
chemical species in the model.

Version 3.22 of the Emissions Processor System (EPS3) was used to prepare the gridded
emissions inputs. Table 3-6: Emissions Processing Modules summarizes many of the
steps taken to prepare the required emission files needed by CAMx and the software
modules in EPS3 that were used for each step.


                                          3-22
      Case: 23-60069       Document: 110       Page: 161      Date Filed: 03/27/2023




Table 3-6: Emissions Processing Modules
    EPS3
                                               Description
   Module
              Prepare area and non-link based area and mobile source emissions for further
 PREAM
              processing
 LBASE        Spatially allocate link-based mobile source emissions among grid cells
              Group point source emissions into elevated and low-level categories for
 PREPNT
              further processing
 CNTLEM       Apply controls to model strategies, apply adjustments, make projections, etc.
 TMPRL        Apply temporal profiles to allocate emissions by day type and hour
              Chemically speciate emissions into nitrogen oxide (NO), nitrogen dioxide (NO2),
 SPCEMS
              and various CB6 VOC species
 GRDEM        Spatially distribute emissions by grid cell using source category surrogates
 MRGUAM       Merge and adjust multiple gridded files for model-ready input
 PIGEMS       Assign Plume-in-Grid (PiG) emissions and merge elevated point source files

Figure 3-18: Base Case Representative Day Total Anthropogenic Precursor Emissions by
Geographic Regions shows the total anthropogenic precursor emissions in the
rpo_12km domain by major geographic region (Texas, Non-Texas U.S., southern
Canada, northern Mexico, and Oceanic) on a sample 2012 summer weekday in tons per
day.




Figure 3-18: Base Case Representative Day Total Anthropogenic Precursor
Emissions by Geographic Regions

Emissions modeling includes preparing emissions inventories for anthropogenic
emissions source categories such as stationary point sources (power plants, refineries,

                                            3-23
          Case: 23-60069         Document: 110         Page: 162   Date Filed: 03/27/2023




etc.), area sources (dry cleaners, gas stations, etc.), on-road mobile sources (cars,
trucks, etc.), non-road mobile sources (construction vehicles, lawn mowing equipment,
etc.), off-road mobile sources (locomotives, commercial marine, aircraft, etc.), and
oceanic (off-shore oil rigs and ocean-going vessels). Figure 3-19: Base Case
Representative Day Total Anthropogenic Precursor Emissions by Source Category shows
the total anthropogenic precursor emissions in the rpo_12km domain by source
category for a sample 2012 summer weekday in tons per day.




Figure 3-19: Base Case Representative Day Total Anthropogenic Precursor
Emissions by Source Category

Emissions inventories for natural emissions source categories, i.e., biogenic sources
and fires, were also developed. Version 3.61 of the Biogenic Emissions Inventory
System (BEIS) (Bash et al., 2016) within the Sparse Matrix Operation Kernel Emissions
(SMOKE) System version 3.7 16 was used to create the biogenic emissions inventory.
Figure 3-20: Biogenic VOC Emissions in RPO_12km Domain on July 18, 2012 shows a
sample of biogenic VOC emissions in the rpo_12km domain.




16
     Available at https ://www.cmascenter.org/smoke/

                                                  3-24
      Case: 23-60069      Document: 110      Page: 163    Date Filed: 03/27/2023




Figure 3-20: Biogenic VOC Emissions in RPO_12km Domain on July 18, 2012

Wildfire emissions were estimated from the daily Fire Inventory from the National
Center for Atmospheric Research (NCAR) (FINN) version 1.5 product for 2012
(Wiedinmyer, 2011). The FINN fire estimates were projected to the model grid and
grouped together if fires were within 5 km of each other. Each fire was treated as a
point source and processed using the EPS3 PREFIR, CHMSPL, TMPRL, and PSTFIR

                                          3-25
       Case: 23-60069        Document: 110       Page: 164      Date Filed: 03/27/2023




modules following the methodology developed in a TCEQ project.17 The fire emissions
were temporally allocated according to the temperate North American diurnal cycle of
fires from Mu et al. (2011).

Since the purpose of base case modeling is to evaluate the ability of the model to
recreate a past episode, measured and reported emissions data from 2012 with the
highest resolution available were relied upon to determine the spatial and temporal
allocation of emissions in the modeling domain for each hour of the modeling episode.
Details of the development and processing of emissions inventories for base case
modeling are provided in Appendix B: Emissions Modeling for the Transport State
Implementation Plan Revision for the 2015 Eight-Hour Ozone National Ambient Air
Quality Standard.

3.2.3.3 Initial and Boundary Conditions
In addition to emissions and meteorological inputs, CAMx requires initial and
boundary conditions. Initial conditions refer to the state of the atmosphere in the
rpo_12km domain at the start of the modeling episode. Boundary conditions refer to
the state of the atmosphere at the five edges (North, South, East, West, and Top) of the
rpo_12km domain.

The initial and boundary conditions were derived from the output of a three-
dimensional global CTM, GEOS-Chem. The GEOS-Chem model simulates atmospheric
chemical and physical processes driven by assimilated meteorological observations
from the NASA’s Goddard Earth Observing System (GEOS). 18 The TCEQ used a modified
version of the standard GEOS-Chem version 10-01. The modifications were
implemented by Ramboll Environ as part of TCEQ projects 19, 20 that updated the
lightning NOX module (Travis et al., 2016; Zhang et al., 2014) and halogen chemistry
(Sherwen et al., 2016; Yarwood et al., 2016), and fixed several model errors.

For the base case simulation, GEOS-Chem was run for 2012 with a grid resolution of
2.0 degrees latitude x 2.5 degrees longitude, using meteorology from the GEOS Model
Version 5 (GEOS-5) and global anthropogenic emissions inventory for non-U.S. regions
from the Hemispheric Transport of Air Pollution (HTAP) version 2. For U.S. emissions,
the U.S. National Emission Inventory 2011 (2011 National Emissions Inventory) was
used. GEOS-Chem results were used to provide one-way dynamic boundary
concentrations at three-hour intervals and an initial concentration field for the CAMx
simulations. Figure 3-21: Initial Concentration on April 16, 2012 in the RPO_12km
shows a map of the initial ozone concentration field on 12 a.m., April 16, 2012 at the
surface layer in the rpo_12km domain. April 16, 2012 is the start date of the CAMx



17
   “Boundary Condition and Fire Emissions Modeling”, Tai et al, September 2008,
https://www.tceq.texas.gov/assets/public/implementation/air/am/contracts/reports/pm/5820784005FY0
810-20080831-environ-bcic_final_report.pdf
18
   GEOS-Chem Model, http://acmg.seas.harvard.edu/geos/
19
   “Updated Boundary Conditions for CAMx Modeling”, Nopmongcol et al, July 2016,
https://www.tceq.texas.gov/assets/public/implementation/air/am/contracts/reports/pm/5821662241FY1
615-20160729-environ-GEOSChem_BC_for_CAMx.pdf
20
   “2013 Boundary Conditions for CAMx Modeling”, Nopmongcol et al, June 2017,
https://www.tceq.texas.gov/assets/public/implementation/air/am/contracts/reports/pm/582177144421-
20170627-environ-2013_BC_GEOS_Chem.pdf

                                              3-26
      Case: 23-60069      Document: 110      Page: 165   Date Filed: 03/27/2023




simulation with a ramp up period of April 16 through April 30 for the base case
modeling.




Figure 3-21: Initial Concentration on April 16, 2012 in the RPO_12km

Figure 3-22: 2012 East Boundary Condition Cross-Section for July 18, 2012 Episode Day,
Figure 3-23: 2012 West Boundary Condition Cross-Section for July 18, 2012 Episode Day,
Figure 3-24: 2012 North Boundary Condition Cross-Section for July 18, 2012 Episode
Day, and Figure 3-25: 2012 South Boundary Condition Cross-Section for July 18, 2012
Episode Day show a samples of the 2012 east, west, north, and south, respectively,
boundary conditions for the July 18, 2012 episode day for the three-hour window of 12
p.m. to 3 p.m.




                                          3-27
      Case: 23-60069    Document: 110      Page: 166   Date Filed: 03/27/2023




Figure 3-22: 2012 East Boundary Condition Cross-Section for July 18, 2012 Episode
Day




Figure 3-23: 2012 West Boundary Condition Cross-Section for July 18, 2012 Episode
Day




Figure 3-24: 2012 North Boundary Condition Cross-Section for July 18, 2012
Episode Day

                                        3-28
         Case: 23-60069        Document: 110        Page: 167       Date Filed: 03/27/2023




Figure 3-25: 2012 South Boundary Condition Cross-Section for July 18, 2012
Episode Day

3.2.3.4 Photochemical Modeling
The TCEQ used CAMx version 6.40, 21 with the following options:

     •   New gas-phase chemistry mechanism CB6 “revision 4,” with condensed halogen
         chemistry and inline sea salt emissions (CB6r4h); and

     •   Wesely dry deposition scheme.

In addition to the meteorological, emissions, and initial and boundary condition
inputs, CAMx needs spatially resolved surface characteristic parameters,
albedo/haze/ozone (i.e., opacity), photolysis rates and a file with chemistry
parameters.

Surface characteristic parameters, including topographic elevation, Leaf Area Index
(LAI), vegetative distribution, and water/land boundaries are input to CAMx via a land-
use file. The land-use file provides the fractional contribution of 26 land-use categories
per grid cell, as defined by Zhang et al (2003). The land use file was developed using
version 3 of the Biogenic Emissions Land Use Database for areas outside the U.S. and
the 2006 National Land Cover Dataset for the U.S. For Texas and surrounding states,
updated land-use files developed by Texas A&M University (Popescu et al., 2012) were
used. The land use file, in addition to the land-use categories, has LAI ratios. LAI is the
ratio of total upper leaf surface of vegetation divided by the surface area of the land
on which the vegetation grows. LAI is a dimensionless value, typically ranging from
zero for bare ground to over seven for a dense forest. Monthly averaged LAI was
created from the eight-day 1 km resolution MODIS MCD15A2 product.

Spatially resolved opacity and photolysis rates that are specific to the chemistry
parameters for the CB6 mechanism are input to CAMx via a photolysis rates file and an
opacity file. The chemistry parameters for the CB6 mechanism are provided in the


21
  User’s Guide Comprehensive Air Quality Model with Extensions (CAMx), Version 6.30, Ramboll
 Environ, Inc., April 2016, available at http://www.camx.com/files/camxusersguide_v6-30.pdf

                                                 3-29
          Case: 23-60069       Document: 110      Page: 168   Date Filed: 03/27/2023




chemistry parameters file. Episode-specific satellite data from the Total Ozone
Mapping Spectrometer were used to prepare the clear-sky photolysis rates and opacity
files. Photolysis rates are internally adjusted by CAMx according to cloud and aerosol
properties using the inline Tropospheric Ultraviolet Visible model.

The CAMx model configuration was applied to the 2012 base case using the episode-
specific meteorological inputs, biogenic and anthropogenic emission inputs, and initial
and boundary conditions described above. The CAMx modeling results were compared
to the measured ozone and ozone precursor concentrations at all regulatory
monitoring sites in the rpo_12km domain, which resulted in several modeling
iterations to implement improvements to the meteorological modeling, emissions
modeling, and subsequent CAMx modeling. Various configuration changes such as the
choice of biogenic emission models, land-use model used in WRF modeling, impact of
cloud assimilation, etc., were evaluated along with updates to various anthropogenic
emissions categories.

Statistical metrics such as Mean Bias (MB), Mean Error (ME), Normalized Mean Bias
(NMB), Normalized Mean Error (NME), and RMSE were calculated by comparing
monitored (measured) and bi-linearly interpolated modeled ozone concentrations for
all episode days and monitors. These statistical metrics were used to evaluate the
different configurations and arrive at the final configuration used for the 2015 Ozone
NAAQS Transport SIP revision.

Episode-wide model performance statistics and graphics for the final modeling
configuration are presented below. Figure 3-26: Mean Bias for the May through
September 2012 Episode at AQS Monitoring Sites shows the mean bias for all the EPA
Air Quality System (AQS) 22 monitoring sites for the May through September 2012
episode for days with observed Maximum Daily Average Eight-Hour (MDA8) ozone
concentration greater than or equal to 60 ppb. Figure 3-26 shows that the mean biases
for days with MDA8 greater than 60 ppb differ by region, with monitors along the East
Coast showing positive bias while monitors on the West Coast show negative biases.
Most monitors have a mean bias in the range of ± 5 ppb on high ozone days, which is
acceptable model performance (Simon et al.,2012). Figure 3-27: RMSE for May through
September 2012 Episode at AQS Monitoring Sites shows the RMSE for each of the AQS
monitoring sites on days with observed MDA8 greater than 60 ppb. The RMSE at most
monitors in the modeling domain were in the range of 6 to 12 ppb. However, monitors
along the northeast and the southwest coast had higher deviations with RMSE in the 16
to 20 ppb range. Table 3-7: Statistical Model Performance Evaluation Metrics for TCEQ’s
2015 Ozone NAAQS Transport SIP Revision Configuration provides the statistical
metrics for the May through September 2012 episode on days with observed MDA8
greater than 60 ppb for each of the NCDC Climate Regions.




22
     https://www.epa.gov/aqs

                                               3-30
      Case: 23-60069   Document: 110      Page: 169   Date Filed: 03/27/2023




Figure 3-26: Mean Bias for the May through September 2012 Episode at AQS
Monitoring Sites




                                       3-31
         Case: 23-60069   Document: 110       Page: 170    Date Filed: 03/27/2023




Figure 3-27: RMSE for May through September 2012 Episode at AQS Monitoring
Sites

Table 3-7: Statistical Model Performance Evaluation Metrics for TCEQ’s 2015 Ozone
NAAQS Transport SIP Revision Configuration
                          No. of    MB      ME     NMB     NME     RMSE
        Climate Region
                           Obs     (ppb)   (ppb)    (%)     (%)    (ppb)
 Northeast                 5281      4.1     8.4    5.9     12.2    11.0
 Ohio Valley               9861     -2.5     6.8    -3.6    10.0     8.5
 Upper Midwest             2950     -6.2     8.3    -8.9    11.9     9.9
 Southeast                 3203      3.1     6.8    4.7     10.2     8.8
 South                     5020     -3.9     6.5    -5.7     9.6     8.1
 Southwest                 7215     -5.5     7.1    -8.4    10.8     9.0
 Northern Rockies          1084     -7.5     8.6   -11.8    13.4    10.4
 Northwest                  193     -7.0     8.2   -10.9    12.7    10.2
 West                     10672     -9.2   10.4    -13.1    14.9    12.7
 National                 45479     -3.9     8.0    -5.7    11.7    10.1

Overall, the base case modeling showed reasonable model performance and is
comparable with the EPA’s modeling documented in the 2015 Transport NODA.
Although the EPA had better performance in the Northeast climate region, in the South

                                           3-32
      Case: 23-60069      Document: 110      Page: 171    Date Filed: 03/27/2023




climate region, which includes Texas and surrounding states, the TCEQ’s modeling
performed better than the EPA’s. Detailed performance evaluation for the 2012 base
case modeling episode is included in Appendix C: Photochemical Model Performance
Evaluation for the Transport State Implementation Plan Revision for the 2015 Eight-
Hour Ozone National Ambient Air Quality Standard.

3.2.4 Future Year Modeling
Future year modeling is used to predict ozone concentrations and calculate a DVF at
each AQS monitor in the modeling domain in the future year, 2023. In future year
modeling, the same modeling episode (May through September 2012) is used, but with
projected future anthropogenic emissions. Future year modeling predicts the change in
ozone concentrations due to changes in anthropogenic emissions in a future year while
keeping the meteorological and natural emissions (biogenic and wildfires) inputs
constant. Future year modeling answers the question: what would the ozone
concentrations be in the future if the same meteorological conditions (that resulted in
a high ozone episode in the past) were to repeat?

The meteorological inputs generated for May through September 2012 using the WRF
model and described in section 3.2.3.1: Meteorological Modeling were used as inputs to
the CTM in the future year modeling.

3.2.4.1 Emissions Modeling
For future year modeling, emissions inventories were developed for the anthropogenic
emissions source categories by applying growth and control factors to base year
emissions. Growth and control factors are developed based on the projected growth in
the demand for goods and services, along with the reduction in emissions expected
from state, local, and federal control programs. Figure 3-28: Future Year Representative
Day Total Anthropogenic Precursor Emissions by Geographic Region shows the total
projected anthropogenic precursor emissions in the rpo_12km domain by major
geographic region on a representative 2023 summer weekday in tons per day. Figure
3-29: Future Year Representative Day Total Anthropogenic Precursor Emissions by
Source Category shows the total projected anthropogenic precursor emissions in the
rpo_12km domain by source category for a sample 2023 summer weekday in tons per
day.




                                          3-33
      Case: 23-60069     Document: 110      Page: 172   Date Filed: 03/27/2023




Figure 3-28: Future Year Representative Day Total Anthropogenic Precursor
Emissions by Geographic Region




Figure 3-29: Future Year Representative Day Total Anthropogenic Precursor
Emissions by Source Category

Since biogenic emissions are dependent upon the meteorological conditions on a given
day, the same episode-specific emissions that were used in the base case modeling

                                         3-34
       Case: 23-60069        Document: 110       Page: 173      Date Filed: 03/27/2023




were also used in the 2023 future year modeling. Since future year wildfires cannot be
predicted, the wildfire emissions inventory developed for the base case modeling was
also used in the 2023 future year modeling. Details regarding the development of the
2023 emissions inventory, including projection tools, projection growth factors and
federal/state/local rules and programs incorporated are provided in Appendix B.

3.2.4.2 Initial and Boundary Conditions
For future year modeling, updated 2023 initial and boundary conditions were
developed by running GEOS-Chem again. The 2023 initial and boundary conditions
were developed by using projected 2023 anthropogenic emissions inventories with the
same GEOS-Chem meteorological and CTM configurations as the 2012 base case. The
2023 anthropogenic emissions were updated from the base year using projected
growth factors. Emissions in North America (specifically, the continental U.S., southern
Canada, and northern Mexico) were projected using the same methods used by the
TCEQ to project anthropogenic emissions in the rpo_12km domain as explained in
Appendix B. In all other areas of the GEOS-Chem domain, emissions projection factors
from the Representative Concentration Pathway (RCP85) Database 23 were used to
develop the 2023 anthropogenic emissions. Since the RCP85 data are only available at
5 or 10 year intervals (e.g., 2000, 2005, 2010, 2020, etc.), emission projections factors
for 2023 were linearly interpolated from changes between the two nearest projection
years. Details of the emissions projections methodology are available in the TCEQ
Project FY2016-16 report Updated Boundary Conditions for CAMx Modeling. 24

Figure 3-30: 2023 East Boundary Condition Cross-Section for July 18, 2012 Episode Day,
Figure 3-31: 2023 West Boundary Condition Cross-Section for July 18, 2012 Episode Day,
Figure 3-32: 2023 North Boundary Condition Cross-Section for July 18, 2012 Episode
Day, and Figure 3-33: 2023 South Boundary Condition Cross-Section for July 18, 2012
Episode Day show samples of the 2023 east, west, north and south boundary
conditions for July 18, 2012 episode day for the three-hour window of 12 p.m. to 3
p.m.




23
  https://tntcat.iiasa.ac.at/RcpDb/dsd?Action=htmlpage&page=welcome
24
  “Updated Boundary Conditions for CAMx Modeling”, Nopmongcol et al, July 2016,
https://www.tceq.texas.gov/assets/public/implementation/air/am/contracts/reports/pm/5821662241FY1
615-20160729-environ-GEOSChem_BC_for_CAMx.pdf

                                              3-35
      Case: 23-60069    Document: 110      Page: 174   Date Filed: 03/27/2023




Figure 3-30: 2023 East Boundary Condition Cross-Section for July 18, 2012 Episode
Day




Figure 3-31: 2023 West Boundary Condition Cross-Section for July 18, 2012 Episode
Day




Figure 3-32: 2023 North Boundary Condition Cross-Section for July 18, 2012
Episode Day

                                        3-36
      Case: 23-60069      Document: 110         Page: 175     Date Filed: 03/27/2023




Figure 3-33: 2023 South Boundary Condition Cross-Section for July 18, 2012
Episode Day

3.2.4.3 Photochemical Modeling
For future year modeling, the 2023 anthropogenic emissions inventories were input
along with the 2012 meteorological, biogenic, and wildfire emissions to the CAMx
model configuration detailed in the section 3.2.3: Base Case Modeling. The output of
the future year modeling, ozone concentrations for each grid cell in the rpo_12km
domain, was post-processed to obtain the 2023 DVF at each AQS monitor in the
rpo_12km domain.

Projected Nonattainment Monitors
The methodology described in EPA Modeling Guidance was used to determine the 2023
DVF at each monitor in the rpo_12km domain. A monitor’s DVF is calculated by
multiplying the Relative Response Factor (RRF) by a baseline year design value (DVB) as
shown in Equation 3-1: Future Year Design Value Calculation for a Monitor.

                                   𝐷𝐷𝐷𝐷𝐹𝐹 = 𝑅𝑅𝑅𝑅𝑅𝑅 × 𝐷𝐷𝐷𝐷𝐵𝐵

Equation 3-1: Future Year Design Value Calculation for a Monitor

The RRF is the ratio of the average future year modeled MDA8 ozone concentrations to
the average base year modeled MDA8 ozone concentrations on the top 10 modeled
MDA8 base year days. In accordance with EPA Modeling Guidance, the maximum
concentration of the three-by-three grid cell array surrounding each monitor on the top
10 base year days with modeled MDA8 above 60 ppb was used to calculate the RRF for
each monitor. The DVB is the average of the regulatory design values for the three
consecutive years containing the base year, as shown in Figure 3-34: Baseline Design
Value (DVB) for the 2015 Ozone NAAQS Transport SIP.




                                            3-37
      Case: 23-60069     Document: 110      Page: 176   Date Filed: 03/27/2023




Figure 3-34: Baseline Design Value (DVB) for the 2015 Ozone NAAQS Transport SIP
Revision

Figure 3-35: 2023 Future Design Value (DVF) for the AQS Monitors in the RPO_12km
Domain shows a map of the rpo_12km domain with the 2023 DVF for each AQS
monitor.




                                         3-38
      Case: 23-60069      Document: 110      Page: 177   Date Filed: 03/27/2023




Figure 3-35: 2023 Future Design Value (DVF) for the AQS Monitors in the RPO_12km
Domain

Projected Maintenance Monitors
In Step 1, in addition to identifying the monitors projected to be in nonattainment in
2023 as described above, monitors projected to have maintenance issues were also
identified. To identify monitors that could have maintenance issues in 2023, the TCEQ
calculated Maintenance Future Year Design Values (MDVF). The 2023 MDVF is calculated
using the same equation presented in Equation 3-1, except that the DVB is the most
recent, instead of the average, of the three regulatory design values containing the
base year. Therefore, since 2012 is the base year, the 2014 design value that is the
latest regulatory design value that contains the base year of 2012 is used as DVB. For
monitors with no regulatory 2014 design value, the 2013 or 2012 design values were
used as applicable. The regulatory design values after 2014, namely 2015 and 2016,
are not used since these design values do not include monitored data from the
modeling base year of 2012.

The TCEQ’s approach for identifying maintenance monitors differs from the approach
used by the EPA in the 2015 Transport NODA. The EPA used the maximum of the three
consecutive regulatory design values containing the base year as the DVB to identify
maintenance monitors. However, as the TCEQ commented, this approach is not
appropriate for monitors with design values that have been decreasing because of
emissions reductions and not merely due to meteorological variability. The TCEQ’s
approach takes into consideration both meteorological variability (since the latest
regulatory design value is itself an average of the fourth highest measured

                                          3-39
      Case: 23-60069       Document: 110      Page: 178    Date Filed: 03/27/2023




concentrations for three years) and any emissions reductions that might have
occurred. It should be noted that it is possible that the latest regulatory design value
might also be the maximum design value. Figure 3-36: 2023 Maintenance Future Year
Design Value (MDVF) for the AQS Monitors in the RPO_12km Domain shows the MDVF
for all the AQS monitors in the rpo_12km domain.




Figure 3-36: 2023 Maintenance Future Year Design Value (MDVF) for the AQS
Monitors in the RPO_12km Domain

3.3 STEP 2: SOURCE APPORTIONMENT AND IDENTIFICATION OF DOWNWIND
MONITORS TAGGED FOR FURTHER REVIEW
Section 3.2 detailed how photochemical modeling was used in the relative sense to
identify monitors projected to be in nonattainment or have maintenance issues in
2023. In this section, details on Step 2 and the identification of the subset of monitors
that might be impacted by Texas emissions from the approximately 1200 AQS
monitors in the rpo_12km domain are presented. The subset of monitors tagged in
Step 2 were further reviewed in Step 3 to determine if emissions from Texas contribute
significantly to nonattainment or interfere with maintenance at that monitor.

The Anthropogenic Culpability Precursor Analysis (APCA) tool was used to identify and
tag the subset of downwind monitors that might be impacted by Texas emissions (and
will be further reviewed in Step 3). APCA is a probing tool in CAMx that is used to
apportion the modeled ozone concentration at each grid cell at each simulation hour
to specific user-defined geographic regions and/or source categories. APCA does this
by keeping track of the origin of the NOX and VOC precursors creating the ozone in
each grid cell for each time step during the model run.


                                           3-40
       Case: 23-60069        Document: 110      Page: 179   Date Filed: 03/27/2023




The APCA contribution categories chosen were to facilitate better understanding of
interstate problems at the monitors within the rpo_12km domain. Since Step 2 is to
identify monitors that might be impacted by Texas emissions, the TCEQ considered
Texas anthropogenic emissions as a contribution category for this SIP revision.
Anthropogenic emissions from other states in the continental U.S. were grouped
together as one contribution category. Other contribution categories were chosen to
separate out the impacts of emissions that are not directly related to interstate
problems such as biogenics, fires, ocean, etc. The following are source contribution
categories that were used in the APCA model run:

   •   Texas Anthro – NOX and VOC emissions from Texas anthropogenic sources;

   •   Non-Texas U.S. Anthro – NOX and VOC emissions from anthropogenic sources in
       the 47 other states of the continental U.S.;

   •   Non-U.S. Anthro – NOX and VOC emissions from southern Canadian and
       northern Mexican anthropogenic sources included in the rpo_12km domain;

   •   Ocean Anthro – NOX and VOC emissions from ocean-going vessels and off-shore
       oil and gas platforms;

   •   Biogenic Emissions;

   •   Fires; and

   •   Initial and boundary conditions.

Figure 3-37: APCA Geographic Regions for the 2015 Ozone NAAQS Transport SIP shows
a map of the APCA contribution categories with Texas in red, Non-Texas U.S. in pink,
Non-U.S. in lavender, and Ocean in blue.




                                             3-41
       Case: 23-60069        Document: 110      Page: 180     Date Filed: 03/27/2023




Figure 3-37: APCA Geographic Regions for the 2015 Ozone NAAQS Transport SIP
Revision

The outputs of an APCA model run are the total modeled hourly concentration and the
breakdown of the total concentration by each user-specified contribution category for
each grid cell of the domain for each hour of the episode. For example, as part of the
2023 APCA simulation, for cell index [242, 78], which contains the Manvel Croix
monitor, the hourly modeled ozone concentration is 72.21 ppb on episode day July 14
at 12:00 p.m. Central Standard Time (CST). The total ozone concentration of 72.21 ppb
in the cell is apportioned to the specified contribution categories as shown in Table
3-8: Apportion of Total Ozone Concentration for cell index [242, 78] on episode day July
14 at 12:00 p.m. CST to Contribution Categories.

Table 3-8: Apportion of Total Ozone Concentration for cell index [242, 78] on
episode day July 14 at 12:00 p.m. CST to Contribution Categories
                      Category                      Contribution
 Texas anthropogenic emissions                              48.41
 Non-Texas US anthropogenic emissions                        0.72
 Non-US anthropogenic emissions                              0.25
 Ocean anthropogenic emissions                               7.71
 Fire emissions                                              0.32
 Biogenic emissions                                          4.91
 Boundary conditions                                         9.90


                                             3-42
      Case: 23-60069      Document: 110      Page: 181    Date Filed: 03/27/2023




Figure 3-38: Breakdown of Total Hourly Modeled Ozone Concentration by APCA
Contribution Categories for the Manvel Croix Monitor Grid Cell on July 14 at 12:00 p.m.
CST is a graphical representation of the breakdown of the total hourly modeled
concentration in the grid cell containing the Manvel Croix monitor on July 14
(contained within the red box) at 12:00 p.m. CST (identified by a gold star) by each
APCA contribution category.




Figure 3-38: Breakdown of Total Hourly Modeled Ozone Concentration by APCA
Contribution Categories for the Manvel Croix Monitor Grid Cell on July 14 at 12:00
p.m. CST

In an APCA model run, the sum concentrations apportioned to each contribution
category will always equal the total modeled concentration for each grid cell for each
hour. APCA apportions ozone formed due to the interaction of biogenic and
anthropogenic precursor emissions by recognizing that biogenic emissions as a non-
controllable category. Therefore, APCA apportions/attributes ozone formed from such
interactions to the anthropogenic precursor emissions. Details of how APCA results
were used to tag downwind nonattainment and maintenance monitors for further
review are presented in this section.

To identify nonattainment and maintenance monitors for further review, Texas
contribution to the monitor’s 2023 DVF (2023 TXDVF) was evaluated. The following
methodology was used to determine the 2023 TXDVF.

   1. Calculate the 2023 MDA8 total concentration for each grid cell for each episode
      day.

   2. Calculate the 2023 MDA8 Texas contribution using the hourly apportioned
      concentration for Texas for each grid cell for each episode day, using
      contributions from the hours that comprised the MDA8 concentration for that
      day.

   3. For each monitor, calculate the ratio of the average of the 2023 MDA8 Texas
      contribution to the average of the 2023 MDA8 total concentration from the
      same days and grid cells used in the 2023 DVF calculation for that monitor.

   4. Calculate the 2023 TXDVF for each monitor by multiplying the 2023 DVF for that
      monitor by the ratio calculated in the previous step for that monitor.

                                          3-43
      Case: 23-60069        Document: 110      Page: 182    Date Filed: 03/27/2023




In addition to determining TXDVF, the contribution of each APCA category to the 2023
DVF for each AQS monitor in the rpo_12km domain was also calculated using the steps
outlined above.

3.3.1 Identification of Nonattainment Monitors for Further Review
Two criteria were used to tag downwind nonattainment monitors for further review - a
monitor’s 2023 DVF is greater than or equal to 71 ppb and the monitor’s 2023 TXDVF is
greater than or equal to 0.7 ppb. Table 3-9: Downwind Nonattainment Monitors Tagged
for Further Review, sorted by state, provides details such as AQS ID, site name, state
and county, 2023 DVF, and 2023 TXDVF, of the downwind nonattainment monitors
tagged for further review in Step 3.

Table 3-9: Downwind Nonattainment Monitors Tagged for Further Review
                                                                                     2023
                                                                      2023 DVF
  AQS ID              Site Name              State         County                    TXDVF
                                                                        (ppb)
                                                                                     (ppb)
 80350004   Highland Reservoir          Colorado     Douglas                73          1.42

 80590006   Chatfield State Park        Colorado     Jefferson              72          1.26

 80590011   Rocky Flats                 Colorado     Jefferson              71          1.26
            National Renewable Energy
 80690011                               Colorado     Larimer                72          1.22
            Labs-NREL
            Chiricahua National
 40038001                               Arizona      Cochise                71          1.06
            Monument
 60371201   Reseda                      California   Los Angeles            80          0.76

 60371701   Pomona                      California   Los Angeles            80          0.72

 60376012   Santa Clarita               California   Los Angeles            87           0.9

 60658001   Rubidoux                    California   Riverside              88          0.73

 60658005   Mira Loma (Van Buren)       California   Riverside              84          0.71

 60710001   Barstow                     California   San Bernardino         71          0.84

 60710306   Victorville-Park Avenue     California   San Bernardino         76          0.81

 60711004   Upland                      California   San Bernardino         91          0.88

 60714001   Hesperia-Olive Street       California   San Bernardino         82          0.86

 60714003   Redlands                    California   San Bernardino         94          0.74


3.3.2 Identification of Maintenance Monitors for Further Review
Two criteria were used to tag downwind maintenance monitors for further review – a
monitor’s 2023 MDVF is greater than or equal to 71 ppb and the monitor’s 2023 TXDVF is
greater than or equal to 0.7 ppb. Table 3-10: Downwind Maintenance Monitors Tagged
for Further Review, sorted by state, provides details such as AQS ID, site name, state

                                            3-44
      Case: 23-60069        Document: 110        Page: 183      Date Filed: 03/27/2023




and county, 2023 MDVF, and 2023 TXDVF, of the downwind maintenance monitors
tagged for further review in Step 3.

Table 3-10: Downwind Maintenance Monitors Tagged for Further Review
                                                                        2023       2023
  AQS ID          Site Name             State          County           MDVF       TXDVF
                                                                        (ppb)      (ppb)
 80350004   Highland Reservoir        Colorado      Douglas                  72          1.42

 80590006   Chatfield State Park      Colorado      Jefferson                73          1.26

 80590011   Rocky Flats               Colorado      Jefferson                71          1.26
            National Renewable
 80690011                             Colorado      Larimer                  71          1.22
            Energy Labs-NREL
 80050002   Highland Reservoir        Colorado      Arapahoe                 71          1.15

 60371201   Reseda                    California    Los Angeles              78          0.76

 60371701   Pomona                    California    Los Angeles              82          0.72

 60376012   Santa Clarita             California    Los Angeles              86           0.9

 60658001   Rubidoux                  California    Riverside                85          0.73

 60658005   Mira Loma (Van Buren)     California    Riverside                83          0.71

 60710001   Barstow                   California    San Bernardino           72          0.84

 60710306   Victorville-Park Avenue   California    San Bernardino           77          0.81

 60711004   Upland                    California    San Bernardino           90          0.88

 60714001   Hesperia-Olive Street     California    San Bernardino           79          0.86

 60714003   Redlands                  California    San Bernardino           91          0.74


Except for the Highland Reservoir (AQS ID: 80050002) monitor in Arapahoe County,
Colorado, all the maintenance monitors are also nonattainment monitors.

In the 2015 Transport NODA, the EPA’s modeling linked Texas to six monitors based
solely because modeled contributions to a monitor’s future year design value were
greater than or equal to 0.7 ppb. Table 3 11: Monitors Linked to Texas by EPA Modeling
in the 2015 Transport NODA shows the six monitors, the 2023 DVF and modeled Texas
contributions to DVF from the EPA’s modeling and the corresponding values
determined using the TCEQ’s modeling.




                                            3-45
         Case: 23-60069        Document: 110         Page: 184        Date Filed: 03/27/2023




Table 3-11: Monitors Linked to Texas by EPA Modeling in the 2015 Transport NODA
                                               2023 DVF                         2023 DVF       2023 TXDVF in
                                                             2023 TXDVF in
                                                in EPA                            TCEQ            TCEQ
      AQS ID        State        County                      EPA Modeling
                                               Modeling                         Modeling         Modeling
                                                                 (ppb)
                                                 (ppb)                            (ppb)           (ppb)
     260050003   Michigan      Allegan               68.8               2.49            71              0.59
     551170006   Wisconsin     Sheboygan             71.0               1.92            70              0.73
     240251001   Maryland      Harford               71.3               0.91            65              0.69
     360850067   New York      Richmond              71.2               0.77            62              0.67
     361030002   New York      Suffolk               71.3               0.71            67              0.63
     80590011    Colorado      Jefferson             69.7               1.03            71              1.26

In the EPA’s modeling, five of the six monitors linked to Texas were located in eastern
states, whereas all the monitors tagged for further review by the TCEQ’s modeling are
located in western states. 25 This difference is due to key changes made by the TCEQ to
address several critical concerns with the EPA’s methodology in the 2015 Transport
NODA; therefore, the TCEQ focused only on the monitors tagged for further review by
TCEQ modeling and shown in Table 3-9 and Table 3-10 to determine if emissions from
Texas contribute significantly to nonattainment or interfere with maintenance.

The downwind nonattainment and maintenance monitors tagged for further review are
in three states: Arizona, California, and Colorado. To aid further review and analysis of
the tagged monitors, APCA runs were conducted with additional contribution
categories: California Anthro, Colorado Anthro, New Mexico Anthro, Kansas Anthro,
Nebraska Anthro, Wyoming Anthro, Utah Anthro, California Anthro, Arizona Anthro,
Nevada Anthro and Oregon Anthro. Figure 3-39: Map of Additional APCA Geographic
Regions Based on Location of Tagged Monitors shows all the geographic contribution
regions used in the APCA runs for this 2015 Ozone NAAQS Transport SIP revision.




25
  Per the EPA, Eastern states include all states from Texas northward to North Dakota and eastward to the
East Coast while the Western states include the 11 western contiguous states of Arizona, California,
Colorado, Idaho, Montana, Nevada, New Mexico, Oregon, Utah, Washington, and Wyoming (FR 82, 1737).

                                                  3-46
      Case: 23-60069      Document: 110      Page: 185    Date Filed: 03/27/2023




Figure 3-39: Map of Additional APCA Geographic Regions Based on Location of
Tagged Monitors

3.4 STEP 3: ANALYSIS TO DETERMINE IF TEXAS EMISSIONS CONTRIBUTE
SIGNIFICANTLY TO NONATTAINMENT OR INTERFERE WITH MAINTENANCE AT
TAGGED MONITORS
This section describes the analysis used to determine whether Texas emissions
significantly contribute to nonattainment or interfere with maintenance at the sixteen
downwind monitors that were tagged for further review in Step 2. To make this
determination, a weight-of-evidence approach was used. Interstate transport is a
complex problem and a nuanced approach that takes into consideration the factors
relevant to the ozone conditions at the tagged monitors is required. Examples of
factors considered include the current attainment status of the monitors, design value
trends, the meteorological conditions that lead to high ozone formation at the
monitor, and the number of days with elevated ozone (observed and modeled).

Since there could be considerable variation in the characteristics of the ozone problem
at each monitor, not all factors were considered or analyzed for every monitor. In
addition, the use of 1% of the NAAQS threshold for modeled contribution as the sole
definition of significant contribution is inappropriate for the 2015 ozone NAAQS since
the more stringent 0.7 ppb threshold is an order of magnitude smaller than the biases
and errors typically documented for regional photochemical modeling (Simon et al.,
2012). The Texas contribution should be deemed “significant” only if there is a
persistent and consistent pattern of contribution on several days with elevated

                                          3-47
      Case: 23-60069      Document: 110      Page: 186     Date Filed: 03/27/2023




ozone. Analysis is presented for each state with a tagged downwind monitor in the
following sections.

3.4.1 Colorado Monitors
Modeling tagged four Colorado nonattainment monitors, as shown in Table 3-9, for
further review. In addition to these monitors, modeling also tagged one Colorado
maintenance monitor, the Highland Reservoir (AQS ID 080050002) monitor, as shown
in Table 3-10 for further review.

Results of in-depth analysis leads to the conclusion that Texas emissions do not
contribute to nonattainment or interfere with maintenance at the five Colorado
monitors tagged for further review. The conclusion is based on design value trends,
number of monitored elevated ozone days, back trajectory analysis on elevated ozone
days, average modeled contributions from modeled future elevated ozone days, the
collective interstate contribution to the future design values, and the responsiveness to
Texas emissions at these monitors. Details of the analysis are presented in the
following sections.

3.4.1.1 Eight-Hour Ozone Design Value Trends
Eight-hour ozone design value trends at the tagged monitors, along with the other
monitors in the Denver-Aurora combined statistical area (CSA), are displayed in Figure
3-40: Eight-Hour Ozone Design Values for Monitors in the Denver-Aurora Area. The
Colorado monitors tagged for further review are highlighted in color while the other
monitors in the Denver-Aurora CSA are in gray. The four nonattainment monitors
tagged for further review have the highest eight-hour ozone design values in the
Denver-Aurora CSA, ranging from 80 ppb at National Renewable Energy Labs to 75 ppb
at Fort Collins West. The tagged maintenance monitor does not have valid eight-hour
ozone in 2016, but its last valid eight-hour ozone design value, 79 ppb in 2013, was
one of the five highest eight-hour ozone design values for that year. All other monitors
except one, the Welch monitor, in the Denver-Aurora area, have eight-hour ozone
design values below the 2015 ozone NAAQS. Overall, eight-hour ozone design values in
the Denver-Aurora area have been decreasing from 2007 through 2016. Decreases
observed are modest ranging from a 2% to 10%.




                                          3-48
      Case: 23-60069      Document: 110      Page: 187   Date Filed: 03/27/2023




Figure 3-40: Eight-Hour Ozone Design Values for Monitors in the Denver-Aurora
Area

3.4.1.2 Monitored Elevated Ozone Days
To investigate the contribution of Texas emissions to ozone at the tagged Colorado
monitors, days that had elevated ozone at each of the five tagged monitors were
identified. Any day with a monitored daily maximum eight-hour average ozone
concentration greater than 70 ppb was considered an elevated ozone day. From 2012
through 2016 the number of elevated ozone days at the Colorado monitors ranged
from a high of 116 days at Rocky Flats to a low of 46 days at Highland Reservoir. In
order to better characterize the ozone problem at the Colorado monitors and have
more days with elevated ozone, the number of years evaluated was increased from five
to ten. Using ten years of data more than doubled the number of elevated ozone days
at some of the monitors, with a high of 237 days at Rocky Flats and a low of 78 days at
Highland Reservoir. The number of elevated ozone days at each tagged monitor from
the past 10 years is shown in Figure 3-41: Number of Elevated Eight-Hour Ozone Days
at the Tagged Colorado Monitors for the years 2007 through 2016. Figure 3-41 shows
that the five monitors seem to have similar trends with varying levels of severity.
Trends in elevated ozone days overall appear to be decreasing, with a peak occurring
in 2012. Over the past 10 years, all five tagged monitors in Colorado observed the
highest number of elevated ozone days in 2012. The Rocky Flats monitor historically
observed the most elevated ozone days until the most recent two years (2015 and
2016), when the National Renewable Energy Labs monitor observed the highest number
of elevated ozone days.

                                          3-49
      Case: 23-60069       Document: 110      Page: 188    Date Filed: 03/27/2023




Figure 3-41: Number of Elevated Eight-Hour Ozone Days at the Tagged Colorado
Monitors for the years 2007 through 2016

3.4.1.3 Back Trajectory Analysis on Elevated Ozone Days
The elevated ozone days identified were used as a starting point to examine back
trajectories from the tagged monitors. NOAA’s HYbrid Single-Particle Lagrangian
Integrated Trajectory (HYSPLIT) back trajectory model was used to run 72-hour back
trajectories for each elevated ozone day at each tagged monitor. A test run of back
trajectories for the top 10 modeled high ozone days showed that some endpoints
reached Texas only after 72 hours; therefore, it was determined that 72 hours was an
appropriate length of time to determine whether air from Texas reaches Colorado on a
given day. The time of daily maximum one-hour ozone on the elevated eight-hour
ozone day was used as the starting hour for each trajectory. If the maximum one-hour
ozone occurred over multiple hours, then multiple trajectories were run, using each
different hour as the starting hour. Three starting heights were used, 500 m AGL, 1000
m AGL, and 1500 m AGL.

To look for probable cases where pollution from Texas was transported to Colorado,
back trajectories were filtered for the following two conditions: back trajectories that
did not hit the surface (zero m AGL) at any time during the 72-hour run, and back
trajectories that started within the HYSPLIT calculated mixing layer in Colorado. The
filtering criteria ensured that the back trajectories used were those that capture air
that would affect the ground level monitor. The total number of HYSPLIT back
trajectories and the number of trajectories that meet the filtering criteria are

                                           3-50
      Case: 23-60069       Document: 110      Page: 189      Date Filed: 03/27/2023




summarized in Table 3-12: Number of HYSPLIT Back Trajectories at Each Tagged
Colorado Monitor.

Table 3-12: Number of HYSPLIT Back Trajectories at Each Tagged Colorado Monitor
                                                        Number of Back     Percent of Back
                                       Number of
                                                          Trajectories       Trajectories
  AQS ID           Site Name              Back
                                                        that Meet Filter   that Meet Filter
                                       Trajectories
                                                            Criteria           Criteria

 80050002   Highland Reservoir                    282               189                67%


 80350004   Chatfield State Park                  594               367                62%


 80590006   Rocky Flats                           846               578                68%

            National Renewable
 80590011                                         624               380                61%
            Energy Labs-NREL

 80690011   Fort Collins-West                     663               434                65%


The filtered back trajectories are displayed on the map in Figure 3-42: HYSPLIT Back
Trajectory Endpoints that Meet Filter Criteria from the Tagged Colorado Monitors. For a
trajectory (whether run forward or backward in time), the estimated location of the air
parcel during each hour of the trajectory is referred to as an endpoint. The green
endpoints represent an air parcel that is located above the mixing layer while the
purple endpoints represent an air parcel that is located within the mixing layer. It is
important to know which endpoints are located within the mixing layer because an
endpoint in the mixing layer would demonstrate a clearer case of emissions at that
location being transported to the starting location. Although it is difficult to see any
detail for specific trajectories in the Colorado area, the map shows back trajectory end
points that end in Texas. Out of the 1,948 back trajectories with 134,185 endpoints
displayed in Figure 3-42, 116 back trajectories (6%) with a total of 2,019 endpoints
(1.5%) reach Texas. Of those 2,019 endpoints, 912 are located within the mixing layer
over Texas, meaning 0.68% of endpoints are located within the Texas mixing layer.




                                           3-51
      Case: 23-60069     Document: 110      Page: 190    Date Filed: 03/27/2023




Figure 3-42: HYSPLIT Back Trajectory Endpoints that Meet Filter Criteria from the
Tagged Colorado Monitors

Although most back trajectories do not reach Texas on elevated ozone days in
Colorado, further analysis was necessary to indicate whether the days where
trajectories that reached Texas had a significant impact on ozone levels in Colorado.
To investigate further, the number of trajectories to reach Texas from Colorado were
calculated for each year from 2007 through 2016. The number of trajectories reaching
Texas from each monitor were then compared to the number of elevated eight-hour
ozone days for each year. The results are shown in Figure 3-43: Number of Trajectories
that Reach Texas and the Number of Elevated Eight-Hour Ozone Days at Each Tagged
Colorado Monitor. Figure 3-43 shows that the number of trajectories that reach Texas
from Colorado varies by year. Most years from 2007 through 2016 show fewer than
five, and some show zero trajectories that reach Texas. Of the trajectories that reach
Texas from Colorado, 66% occurred during 2011 and 2012. This spike does not appear
to be a pattern that repeats frequently. There were also many more elevated eight-hour
ozone days observed in 2012 compared to other years. This may indicate that there
were some unusual meteorological patterns that occurred that year that caused a more
severe ozone season. There are years where few, if any, trajectories reach Texas and
the number of elevated ozone days still remained high. For example, National
Renewable Energy Labs had over 15 elevated eight-hour ozone days in 2007, 2008,
2015, and 2016, but only one trajectory reached Texas over those four years combined.


                                         3-52
      Case: 23-60069      Document: 110      Page: 191    Date Filed: 03/27/2023




Figure 3-43: Number of Trajectories that Reach Texas and the Number of Elevated
Eight-Hour Ozone Days at Each Tagged Colorado Monitor

While the number of elevated ozone days can indicate the severity of an ozone season,
the fourth-highest eight-hour ozone concentrations provide more information on how
close the area is to attaining the standard. The fourth-highest eight-hour ozone values
at the tagged Colorado monitors, along with the number of trajectories that reach
Texas each year, are shown in Figure 3-44: Fourth-Highest Eight-Hour Ozone and the
Number of Trajectories that Reach Texas. Overall, trends in the fourth-highest eight-
hour ozone concentrations have only slightly decreased. The increase in trajectories
that reach Texas in 2012 did not appear to increase the fourth-highest eight-hour
ozone values at the tagged Colorado monitors much, if at all. The fourth-highest eight-


                                          3-53
      Case: 23-60069      Document: 110      Page: 192   Date Filed: 03/27/2023




hour ozone values in 2015 and 2016 remained above 70 ppb, even though those years
observed no trajectories that reached Texas.




Figure 3-44: Fourth-Highest Eight-Hour Ozone and the Number of Trajectories that
Reach Texas

In summary, trajectory analysis of transport from Texas to Colorado indicates that
emissions from Texas are unlikely to affect ozone concentrations in the mixing layer
over Colorado on elevated ozone days. Although trajectory analysis can have
uncertainty (Stein et al. 2017), the large data set examined greatly reduces the
uncertainty related to small sample sizes. Filtering the back trajectories by only
looking at trajectories during elevated ozone episodes, that start within Colorado’s


                                          3-54
       Case: 23-60069      Document: 110      Page: 193    Date Filed: 03/27/2023




mixing layer, that do not hit the surface, and that have endpoints within Texas’ mixing
layer is an attempt to find a clear case where emissions in Texas would affect the
ozone in Colorado. Those filters showed that 6% of elevated ozone days in Colorado
had trajectories that reached the mixing layer in Texas. Further analysis of the
trajectories by year showed that 66% of days where trajectories reached the Texas
mixing layer occurred in 2011 and 2012. There are many years where no trajectories
reach Texas from Colorado. In the years where no trajectories reached Texas, the
tagged monitors still observed a high number of elevated ozone days and fourth-
highest eight-hour ozone concentrations above 70 ppb. Most importantly, the latest
data (2015 and 2016) indicate that Texas was not upwind during any elevated ozone
days at any of the five sites shown in Figure 3-44. Although air from Texas can reach
Colorado, the air from Texas does not appear to significantly affect the ozone
concentrations.

3.4.1.4 Texas Contributions on Projected Future Year Elevated Ozone Days
The previous sections showed that although there is possible transport of air parcels
from Texas to the Colorado monitors on some historical monitored elevated ozone
days, the probability of such transport is small. In addition to monitored elevated
ozone days in the past, contributions from Texas on projected future year elevated
ozone days were also evaluated. The subset of 2023 days with modeled MDA8 greater
than 70 ppb was identified, and the average modeled Texas contributions for this
subset of days were computed. Table 3-13: Modeled Elevated Ozone Days in the Future
Year at the Tagged Colorado Monitors shows the number of days with modeled MDA8
greater than 70 ppb, the average eight-hour Texas ozone contribution, the average
MDA8 for each of the tagged Colorado monitors, and the percentage of Texas
contribution in the MDA8s.

Table 3-13: Modeled Elevated Ozone Days in the Future Year at the Tagged Colorado
Monitors
                                                    Average
                                                                  Average
                                                     Texas
                                   Number of                     MDA8 on       Percentage
                                                  Contribution
                                     Future                        Future       of Texas
      Site Name          AQS ID                    on Future
                                    Elevated                      Elevated    Contribution
                                                    Elevated
                                      Days                         Ozone        in MDA8
                                                  Ozone Days
                                                                 Days (ppb)
                                                      (ppb)

 Highland Reservoir     80350004              9           0.77        73.05         1.06%


 Chatfield State Park   80590006             10           0.89        73.64         1.21%


 Rocky Flats            80590011             11           0.86        74.09         1.16%

 National Renewable
                        80690011              2           0.56        73.06         0.77%
 Energy Labs

 Fort Collins-West      80050002              8           0.52        73.80         0.71%




                                           3-55
        Case: 23-60069          Document: 110         Page: 194       Date Filed: 03/27/2023




Table 3-13 shows that for the Colorado monitors, the expected average Texas
contribution on projected future elevated ozone days is a small percentage of the
projected average MDA8 on these days. The expected impact is not significant, since
the average contribution is less than one ppb on very few days, especially when
considering the uncertainties associated with model predictions.

3.4.1.5 Collective Interstate Contribution to the Future Design Value
The EPA has maintained that the nature of the interstate transport problem varies
between the western and eastern states. In the EPA’s 2015 Transport NODA, the EPA
states “While the 1 percent screening threshold has been traditionally applied to
evaluate upwind state linkages in eastern states where such collective contribution was
identified, the EPA noted in the CSAPR Update Rule for the 2008 ozone NAAQS that, as
to western states, there may be geographically specific factors to consider in
determining whether the 1 percent screening threshold is appropriate. For certain
receptors, where the collective contribution of emissions from one or more upwind
states may not be a considerable portion of the ozone concentration at the downwind
receptor, the EPA and states have considered, and could continue to consider, other
factors to evaluate those states’ planning obligation pursuant to the Good Neighbor
provision” (FR 82, 1740). Although the TCEQ does not believe that 1% of the NAAQS is
an appropriate threshold for determining significant contribution, it agrees that the
collective contribution of interstate transport is an important factor in the overall
evaluation. The EPA defines collective contribution as “...the total upwind states’
contribution to ozone concentration (from linked 26 and unlinked states) based on
modeling...”

The EPA has stated that the collective contribution metric is important to determine if
interstate transport is a significant contributor to a monitor’s nonattainment or
maintenance problems. 27 The collective interstate contribution to the 2023 DVF for the
tagged Colorado monitors was calculated. Table 3-14: Collective Interstate Contribution
to Future Design Value at Tagged Colorado Monitors provides the percentage of
interstate, intra-state, and background contributions to the future design values at the
five tagged Colorado monitors.




26
   The EPA uses the term “linked” to refer to downwind monitors that have contributions to future design
value greater than 1% of the NAAQS from an upwind state.
27
   In approving Nevada’s Inter-State Transport SIP the EPA states “One such factor that the EPA considers
relevant to determining the nature of a projected receptor’s interstate transport problem is the magnitude
of ozone attributable to transport from all upwind states collectively contributing to the air quality
problem” (81 FR 87859).

                                                  3-56
           Case: 23-60069        Document: 110      Page: 195        Date Filed: 03/27/2023




Table 3-14: Collective Interstate Contribution to Future Design Value at Tagged
Colorado Monitors
                                                    Percentage of     Percentage of      Percentage of
                                                      2023 DVF          2023 DVF           2023 DVF
               Site Name               AQS ID           from              from            from Intra-
                                                     Background         Interstate           State
                                                    Contribution      Contribution       Contribution
     Highland Reservoir              80350004               62.12%              9.86%            25.44%

     Chatfield State Park            80590006               60.57%            10.21%             26.88%

     Rocky Flats                     80590011               60.33%            10.27%             27.04%
     National Renewable Energy
                                     80690011               67.42%              9.32%            20.88%
     Labs
     Fort Collins-West               80050002               62.47%              9.88%            25.28%


The total interstate contribution at tagged Colorado monitors ranges from 9.32% to
10.27%. The percentage of total interstate contribution is a small percentage and not as
high as the total interstate percentages EPA calculated for Eastern States, which ranged
from 17% to 67%.28 A significant portion of the tagged Colorado monitors’ 2023 DVF is
due to background emissions (sum of contributions from to biogenic, fires, and
boundary conditions).

3.4.1.6 Direct Decoupled Method and Analysis of MDA8 Ozone Responsiveness to
Texas Emissions
Direct Decoupled Method (DDM) 29 is a probing tool available in CAMx that estimates
the responsiveness of ozone formation to small changes in any input parameter. The
DDM method calculates for each grid cell in the domain for each simulation hour the
first-order differential for ozone formation due to changes in specific inputs. DDM
results can explain the responsiveness of ozone formation due to marginal changes of
any input parameter. DDM results should be interpreted with care, since the method
only calculates the first-order differential which assumes a linear response. Ozone
formation is highly non-linear and therefore DDM results are only useful for a limited
range of input perturbations.

DDM was used to gauge the responsiveness of ozone formation to Texas NOX
emissions at the tagged Colorado monitors. For regional ozone problems and long-
range transport, NOX emissions play a major role. As part of the CSAPR final rule the
EPA stated, “Authoritative assessments of ozone control approaches have concluded
that, for reducing regional scale ozone transport, a NOX control strategy is most
effective, whereas VOC reductions are generally most effective locally, in more dense
urbanized areas” (76 FR 48222). For these reasons, the TCEQ focused on Texas NOX




28
   “Technical Support Document Evaluation of the Arizona Infrastructure SIP for 2008 O3 Transport (CAA
110(a)(2)(D)), U.S. EPA, Region 9, March 15, 2016, page 8 and footnotes 26 and 27.
29
   CAMx User Guide, page 177 available at http://www.camx.com/files/camxusersguide_v6-40.pdf

                                                 3-57
      Case: 23-60069     Document: 110      Page: 196   Date Filed: 03/27/2023




emissions while using DDM to evaluate the responsiveness of ozone formation at the
tagged Colorado monitors.

Because it is resource intensive to use the DDM tool, it was run for a subset of the
episode months, July and August, for the 2023 future year. July and August were
chosen because they had the highest number of the top 10 days that went into the
2023 DVF calculation. In addition to responsiveness to Texas NOX emissions,
responsiveness to Colorado NOX emissions was also calculated at the tagged monitors.
Since DDM calculates the responsiveness of ozone to NOX emissions, the DDM values
can be negative, indicating the destruction of ozone due to NOX titration.

A series of figures showing the DDM results for each of the tagged Colorado monitors
are presented below. In each figure, the hourly responsiveness of eight-hour average
ozone at the tagged monitor to Texas NOX emissions, Colorado NOX emissions, and NOX
emissions from other sources excluding boundary conditions (“Other NOX” emissions)
are shown as a line graphs in blue, purple, and orange, respectively, with the ozone
response in ppb is shown on the primary axis to the left. In addition to the
responsiveness the figures also have the hourly eight-hour average ozone depicted in
green line graph with markers, with the ozone concertation in ppb shown on the
secondary axis to the right. The 2015 ozone NAAQS is shown as a black line.

Figure 3-45: DDM Responsiveness of Ozone in July 2023 at Highland Reservoir shows
the responsiveness of ozone at the Highland Reservoir monitor (AQS ID: 80050002) to
Texas NOX emissions, Colorado NOX emissions, and NOX emissions from other sources
(excluding boundary conditions) in the rpo_12km domain for the month of July.




Figure 3-45: DDM Responsiveness of Ozone in July 2023 at Highland Reservoir

In the month of July, Highland Reservoir (AQS ID: 80050002) had two elevated ozone
days (July 11 and 12) and on both days, the modeled eight-hour ozone at the monitor
is significantly more responsive to Colorado and “Other NOX” emissions than to Texas
NOX emissions. This is a critical observation because the responsiveness of ozone at
this monitor to Texas NOX emissions remains flat throughout the month with no
changes between days with and without elevated ozone.

Figure 3-46: DDM Responsiveness of Ozone in August 2023 at Highland Reservoir shows
the responsiveness of ozone at the Highland Reservoir monitor (AQS ID: 80050002) to

                                         3-58
      Case: 23-60069      Document: 110      Page: 197   Date Filed: 03/27/2023




Texas NOX emissions, Colorado NOX emissions, and NOX emissions from other sources
in the rpo_12km domain (excluding boundary conditions) for the month of August.




Figure 3-46: DDM Responsiveness of Ozone in August 2023 at Highland Reservoir

Similar to the July results, the responsiveness of eight-hour ozone to Texas NOX
emissions at Highland Reservoir (AQS ID: 80050002) is near zero and stays flat in the
month of August. Figure 3-45 and Figure 3-46 show that the modeled eight-hour ozone
at Highland Reservoir (AQS ID: 80050002) is not responsive to Texas NOX emissions,
during the period studied.

Figure 3-47: DDM Responsiveness of Ozone in July 2023 at Chatfield State Park shows
the responsiveness of ozone at Chatfield State Park (AQS ID 80350004) to Texas NOX
emissions, Colorado NOX emissions, and NOX emissions from other sources in the
rpo_12km domain (excluding boundary conditions) for the month of July while Figure
3-48: DDM Responsiveness of Ozone in August 2023 at Chatfield State Park does the
same for the month of August. Chatfield State Park has fewer elevated ozone days
than Highland Reservoir but shows a similar pattern of very limited responsiveness to
Texas NOX emissions.




Figure 3-47: DDM Responsiveness of Ozone in July 2023 at Chatfield State Park




                                          3-59
      Case: 23-60069      Document: 110      Page: 198   Date Filed: 03/27/2023




Figure 3-48: DDM Responsiveness of Ozone in August 2023 at Chatfield State Park

Figure 3-49: DDM Responsiveness of Ozone in July 2023 at Rocky Flats and Figure 3-50:
DDM Responsiveness of Ozone in August 2023 at Rocky Flats show the responsiveness
of ozone at Rocky Flat (AQS ID: 80590006) to Texas NOX emissions, Colorado NOX
emissions, and NOX emissions from other sources in the rpo_12km domain (excluding
boundary conditions) for the months of July and August, respectively.

Rocky flats (AQS ID: 80590006) shows a small (approximately 2 ppb) responsiveness to
Texas NOX emissions in mid to late July. However, when ozone at the monitor is
responsive to Texas NOX emissions, elevated ozone was not observed except for a
minor response on one day, July 23.




Figure 3-49: DDM Responsiveness of Ozone in July 2023 at Rocky Flats




                                          3-60
      Case: 23-60069     Document: 110      Page: 199   Date Filed: 03/27/2023




Figure 3-50: DDM Responsiveness of Ozone in August 2023 at Rocky Flats

Figure 3-51: DDM Responsiveness of Ozone in July 2023 at National Renewable Energy
Labs-NREL and Figure 3-52: DDM Responsiveness of Ozone in August 2023 at National
Renewable Energy Labs-NREL show the responsiveness of ozone at National Renewable
Energy Labs – NREL (AQS ID: 80590011) to Texas NOX emissions, Colorado NOX
emissions, and NOX emissions from other sources in the rpo_12km domain (excluding
boundary conditions) for the months of July and August, respectively. In this case,
there appears to be some minor responsiveness to Texas’ NOX emissions on two high
ozone days in the third week of July, but similar to other Colorado monitors studied
the degree of responsiveness is overwhelmed by the responsiveness to Colorado and
“Other NOX” emissions.




Figure 3-51: DDM Responsiveness of Ozone in July 2023 at National Renewable
Energy Labs-NREL




                                         3-61
      Case: 23-60069     Document: 110      Page: 200   Date Filed: 03/27/2023




Figure 3-52: DDM Responsiveness of Ozone in August 2023 at National Renewable
Energy Labs-NREL

Figure 3-53: DDM Responsiveness of Ozone in July 2023 at Fort Collins-West and Figure
3-54: DDM Responsiveness of Ozone in August 2023 at Fort Collins-West show the
responsiveness of ozone at Fort Collins-West (AQS ID: 80690011) to Texas NOX
emissions, Colorado NOX emissions, and NOX emissions from other sources in the
rpo_12km domain (excluding boundary conditions) for the months of July and August,
respectively. At Fort Collins-West the highest ozone days recorded in July or August
were well below 71 ppb, so while ozone peak concentrations showed marginal
responsiveness to Texas NOX emissions on a few days, clearly there was no significant
contribution during this period.




Figure 3-53: DDM Responsiveness of Ozone in July 2023 at Fort Collins-West




                                         3-62
      Case: 23-60069     Document: 110      Page: 201    Date Filed: 03/27/2023




Figure 3-54: DDM Responsiveness of Ozone in August 2023 at Fort Collins-West

Both at National Renewable Energy Labs-NREL (AQS ID: 80590011) and Fort Collins-
West (AQS ID: 80690011), the same pattern of ozone responsiveness to Texas NOX
emissions as the other three tagged Colorado monitors was observed.

In summary, though the DDM analysis may on occasion exhibit a limited
responsiveness (two ppb or less) to Texas NOX emissions at the tagged Colorado
monitors, the instances where this occurs are infrequent and rarely coincide with
elevated ozone. Of the 62 days that DDM was estimated, the number of days that met
the condition of having elevated ozone (MDA8 greater than 70 ppb) and appreciable
responsiveness (greater than 1 ppb) ranged from three days at National Renewable
Energy Labs-NREL (AQS ID: 80590011) and Rocky flats (AQS ID: 80590006) to zero days
at Fort Collins-West (AQS ID: 80690011). In virtually all events, responsiveness to
Texas NOX emissions is dwarfed by that of Colorado and “Other NOX” emissions.

Analysis of the design value trends, number of monitored elevated ozone days, back
trajectory analysis on elevated ozone days, the modeled contributions on expected
elevated ozone days, total interstate contribution, and the responsiveness of ozone
formation at the tagged Colorado monitors to Texas NOX emissions leads to the
conclusion that Texas emissions do not contribute significantly to nonattainment or
interfere with maintenance of the 2015 ozone NAAQS at the tagged monitors in
Colorado.

3.4.2 Arizona Monitor(s)
Modeling tagged the Chiricahua National Monument (AQS ID: 040038001) monitor in
Cochise County, Arizona as a nonattainment monitor with a TXDVF of 1.06 ppb. A
survey of the monitor’s recent design values shows that the monitor is currently
attaining the 2015 eight-hour ozone NAAQS with a design value of 68 and 65 ppb in
2015 and 2016, respectively. In addition, the monitor has never been designated a
nonattainment monitor and has been in attainment of both the 1997 and 2008 eight-
hour ozone standards. Figure 3-55: Design Value Trends from 2007 through 2016 for
Chiricahua National Monument (AQS ID: 040038001) shows the design value trends for
the monitor.




                                         3-63
      Case: 23-60069      Document: 110      Page: 202    Date Filed: 03/27/2023




Figure 3-55: Design Value Trends from 2007 through 2016 for Chiricahua National
Monument (AQS ID: 040038001)

Since the monitor is already in attainment of the 2015 Eight-Hour Ozone NAAQS, it can
be concluded that emissions from Texas do not significantly contribute to
nonattainment at this downwind monitor. As detailed in subsection 2.3.2, Historical
Emissions Inventory Trends, anthropogenic ozone precursor emissions in Texas have
decreased significantly due to several federal, state and local regulations. Since ozone
precursor emissions in Texas, particularly NOX, are projected to stay capped or
decrease and the design value at this monitor is currently significantly below the 2015
ozone NAAQS (65 ppb in 2016), emissions from Texas are not expected to interfere
with maintenance of the 2015 ozone NAAQS.

3.4.3 California Monitors
Modeling tagged 10 monitors in California, as shown in Table 3-9 and Table 3-10, for
further review to determine if emissions from Texas contribute significantly to
nonattainment or interfere with maintenance of the 2015 ozone NAAQS at the
monitors. The tagged monitors are in the Los Angeles-South Coast Air Basin (South
Coast) and the Los Angeles–San Bernardino (Western Mojave Desert) nonattainment
areas.

After extensive analysis, it was concluded that Texas emissions do not significantly
contribute to nonattainment or interfere with maintenance at the 10 California
monitors tagged in Step 2. Analysis included review of the conceptual model
developed by the South Coast Air Basin for eight-hour ozone at these monitors, and
considered design value trends, number of monitored elevated ozone days, back
trajectory analysis on elevated ozone days, average modeled contributions from
modeled future elevated ozone days, and the collective interstate contribution to the
future design values at these monitors. Details of the analysis are presented in the
following sections.




                                          3-64
       Case: 23-60069         Document: 110        Page: 203       Date Filed: 03/27/2023




3.4.3.1 Conceptual Model of Eight-Hour Ozone Formation at Tagged California
Monitors
Both the South Coast and the Western Mojave Desert nonattainment areas have had
persistent nonattainment issues and have been designated nonattainment for every
federal one-hour and eight-hour ozone NAAQS (1997 and 2008). The ozone problems
in the Western Mojave Desert nonattainment area are largely due to transport from the
South Coast and San Joaquin Valley. 30 For the South Coast nonattainment area, the
EPA, 31 quoting the South Coast Air Quality Management District, described the
meteorological conditions that would contribute to ozone formation as follows:

               “The topography and climate of Southern California combine to
               make the Basin an area of high air pollution potential. During the
               summer months, a warm air mass frequently descends over the
               cool, moist marine layer produced by the interaction between the
               ocean’s surface and the lowest layer of the atmosphere. The warm
               upper layer forms a cap over the cool marine layer and inhibits the
               pollutants in the marine layer from dispersing upward. In addition,
               light winds during the summer further limit ventilation.
               Furthermore, sunlight triggers the photochemical reactions which
               produce ozone. The region experiences more days of sunlight than
               any other major urban area in the nation except Phoenix.”

               “The Basin’s severe air pollution problem is a consequence of the
               combination of emissions from the nation’s second largest urban
               area and meteorological conditions that are adverse to the
               dispersion of those emissions. The average wind speed for Los
               Angeles is the lowest of the nation’s ten largest urban areas. In
               addition, the summertime maximum mixing height (an index of
               how well pollutants can be dispersed vertically in the atmosphere)
               in Southern California averages the lowest in the U.S. The Southern
               California area is also an area with abundant sunshine, which
               drives the photochemical reactions which form pollutants such as
               ozone. In the Basin, high concentrations of ozone are normally
               recorded during the spring and summer months.”

3.4.3.2 Eight-Hour Ozone Design Value Trends
Eight-hour ozone design value trends at the tagged California monitors along with the
other monitors located in the Los Angeles CSA are displayed in Figure 3-56: Eight-Hour
Ozone Design Values for Monitors in the Los Angeles Area. The tagged California
monitors are highlighted in color while the other monitors in the Los Angeles CSA are
in gray. The 10 monitors tagged in Step 2 had eight-hour ozone design values, ranging
from 101 ppb to 80 ppb in 2016. The Los Angeles CSA had design values ranging from



30
   “Technical Support Document for 2008 Ozone NAAQS Designations”, Technical Analysis for Los Angeles
–San Bernardino Counties (West Mojave Desert), pages 7 and 8 of 11. Accessed 8/22/2017 at
https://www3.epa.gov/region9/air/ozone/pdf/R9_CA_AllTechAnalyses_FINAL2.pdf
31
   “Technical Support Document for 2008 Ozone NAAQS Designations”, Technical Analysis for Los Angeles
–South Coast Air Basin, page 7 of 13. Accessed 8/22/2017 at
https://www3.epa.gov/region9/air/ozone/pdf/R9_CA_AllTechAnalyses_FINAL2.pdf

                                                3-65
      Case: 23-60069      Document: 110      Page: 204   Date Filed: 03/27/2023




108 ppb to 63 ppb in 2016, and thus, none of the 10 tagged monitors recorded the
highest eight-hour ozone design value for the CSA in 2016. Eight-hour ozone design
values in the area have decreased overall for the past 10 years. The 10 monitors tagged
for further review have observed eight-hour ozone design value decreases from 2007
through 2016 ranging from 13% at Reseda (AQS ID: 60371201) to 5% at Victorville-Park
Avenue (AQS ID: 60710306).




Figure 3-56: Eight-Hour Ozone Design Values for Monitors in the Los Angeles Area

3.4.3.3 Monitored Elevated Ozone Days
To investigate the Texas contribution to ozone in California, days that had elevated
ozone were identified at each of the 10 monitors tagged in Step 2. Any day with a
monitored MDA8 ozone concentration greater than 70 ppb was considered an elevated
ozone day. The number of elevated ozone days at each tagged monitor from the past
five years is shown in Figure 3-57: Number of Elevated Eight-Hour Ozone Days at the
Tagged California Monitors. As Figure 3-57 shows, the trends in the number of
elevated ozone days at the 10 monitors vary. Trends in elevated ozone days overall
appear to be flat. The Redlands (AQS ID: 60714003) monitor consistently observed the
largest number of elevated ozone days, which ranged from a low of 76 days in 2015 to
a high of 98 days in 2012. The Pomona (AQS ID: 60371701), Barstow (AQS ID:
60710001), and Reseda (AQS ID: 60371201) monitors observed the least number of
elevated ozone days in the area, with Barstow (AQS ID: 60710001) observing only 18,
the lowest number, of elevated ozone days in 2015.


                                          3-66
      Case: 23-60069      Document: 110      Page: 205    Date Filed: 03/27/2023




Figure 3-57: Number of Elevated Eight-Hour Ozone Days at the Tagged California
Monitors for the years 2012 through 2016

3.4.3.4 Back Trajectory Analysis on Elevated Ozone Days
The elevated ozone days identified in the previous section were used as a starting
point to examine back trajectories from the tagged monitors. NOAA’s HYSPLIT back
trajectory model was used to run 72-hour back trajectories for each elevated ozone
day at each tagged monitor. The time of daily maximum one-hour ozone on the
elevated eight-hour ozone day was used as the starting hour for each trajectory. If the
maximum one-hour ozone occurred over multiple hours, then multiple trajectories
were run, using each different hour as the starting hour. Three starting heights were
used, 500 m AGL, 1000 m AGL, and 1500 m AGL.

To look for probable cases where pollution from Texas was transported to California,
back trajectories were filtered for the following two conditions: back trajectories that
did not hit the surface (zero m AGL) at any time during the 72-hour run, and back
trajectories that started within the HYSPLIT calculated mixing layer in California. The
conceptual model of ozone formation outlined for these monitors discusses the
significance of the mixing layer height. Per the conceptual model, the area has very low
mixing heights and a low-level subsidence inversion that prevents air transported into
the basin from mixing to the surface. The filtering criteria ensured that the back
trajectories used are those that capture air that would affect the ground level monitor.
Due to the geography and topography of the Los Angeles area, many back trajectories

                                          3-67
      Case: 23-60069        Document: 110      Page: 206      Date Filed: 03/27/2023




hit the ground after several hours back. In addition, on many days, the mixing layer at
the tagged monitors was below 1,000 m AGL, which eliminated the trajectories that
were run at higher altitudes. The total number of HYSPLIT back trajectories and the
number of trajectories that meet the filtering criteria are summarized in Table 3-15:
Number of HYSPLIT Back Trajectories at Each Tagged California Monitor.

Table 3-15: Number of HYSPLIT Back Trajectories at Each Tagged California Monitor
                                                           Number of Back     Percent of Back
                                         Number of
                                                             Trajectories     Trajectories that
  AQS ID              Site Name             Back
                                                           that Meet Filter      Meet Filter
                                         Trajectories
                                                               Criteria           Criteria
 60371201   Reseda                                  447                 45                 10%
 60371701   Pomona                                  567                 44                  8%
 60376012   Santa Clarita                          1011                155                 15%
 60658001   Rubidoux                                936                201                 21%
 60658005   Mira Loma (Van Buren)                   894                  0                  0%
 60710001   Barstow                                 504                228                 45%
 60710306   Victorville-Park Avenue                 750                259                 35%
 60711004   Upland                                  960                 90                  9%
 60714001   Hesperia-Olive Street                   939                244                 26%
 60714003   Redlands                               1371                394                 29%

A large number of back trajectories were run for each tagged monitor, as shown in
Table 3-15; however, few of the back trajectories met the filter criteria. One monitor,
Mira Loma (AQS ID: 60658005) had no back trajectories out of 894 that met the
criteria. These results show the difficulty in simulating conditions where an air parcel
travels from Texas and ends within the mixing layer of the Los Angeles area on an
elevated ozone day. This may indicate that there are not many situations when air
from Texas travels to the mixing layer over Los Angeles.

The endpoints for the filtered back trajectories are displayed on the map in Figure
3-58: HYSPLIT Back Trajectory Endpoints that Meet Filter Criteria from the Tagged
California Monitors. The green endpoints represent an air parcel that is located above
the mixing layer while the purple endpoints represent an air parcel that is located
within the mixing layer. It is important to know which endpoints are located within the
mixing layer because an endpoint in the mixing layer would demonstrate a clearer case
of emissions at that location being transported to the starting location. Although it is
difficult to see any trajectory detail in the California area, the map clearly shows very
few back-trajectory end points end in Texas. Out of the 1,660 back trajectories with
113,467 endpoints displayed in Figure 3-58, only 10 back trajectories with a total of 59
endpoints reach Texas. Of those 10 back trajectories, only 2 back trajectories and 4
endpoints are located within the mixing layer over Texas. Of those two back
trajectories that span from California to the mixing layer over Texas, one started at the
Rubidoux (AQS ID: 60658001) monitoring site and the other started at the Upland (AQS


                                            3-68
      Case: 23-60069      Document: 110      Page: 207   Date Filed: 03/27/2023




ID: 60711004) monitoring site. This represents 0.3% of the elevated ozone days from
2012 through 2016 at each monitor.




Figure 3-58: HYSPLIT Back Trajectory Endpoints that Meet Filter Criteria from the
Tagged California Monitors

While it appears that air from Texas can reach the Los Angeles area, based upon
trajectory analysis, this transport seems to occur very infrequently.

In summary, trajectory analysis of transport from Texas to Los Angeles indicates that
emissions from Texas are very unlikely to affect ozone concentrations in the mixing
layer over Los Angeles on high ozone days. Although trajectory analysis can have
uncertainty (Stein et al. 2017), the large data set examined greatly reduces the
uncertainty related to small sample sizes. Filtering the back trajectories by only
looking at trajectories during elevated ozone episodes that start within California’s
mixing layer, do not hit the surface, and have endpoints within Texas’ mixing layer is
an attempt to find a clear case where emissions in Texas could affect the ozone in
California. Those filters showed that only 0.03% of days were affected at the Rubidoux
and Upland monitors; therefore, Texas does not appear to hinder California’s progress
toward attaining the 2015 ozone NAAQS.



                                          3-69
           Case: 23-60069       Document: 110         Page: 208      Date Filed: 03/27/2023




3.4.3.5 Texas Contributions on Projected Future Year Elevated Ozone Days
Contributions from Texas to projected future year elevated ozone days at the tagged
California monitors were evaluated. Similar to the analysis for Colorado monitors, the
subset of 2023 days with modeled MDA8 greater than 70 ppb was identified and the
average modeled Texas contributions for this subset of days for each of the 10 tagged
California monitors was computed.

Table 3-16: Modeled Elevated Ozone Days in the Future Year shows the number of days
with modeled MDA8 greater than 70 ppb, the average eight-hour Texas ozone
contribution, the average MDA8 for each of the tagged California monitors, and the
percentage of Texas contribution to the MDA8s.

Table 3-16: Modeled Elevated Ozone Days in the Future Year
                                                                          Average
                                                           Average
                                          Number                          MDA8 on
                                                            Texas                     Percentage of
                                             of                           Elevated
                                                        Contribution                      Texas
           Site Name            AQS ID    Elevated                         Ozone
                                                         on Elevated                  Contributions
                                          Days in                         Days in
                                                         Ozone Days                     in MDA8
                                            2023                            2023
                                                        in 2023 (ppb)
                                                                            (ppb)
     Reseda                    60371201           9               0.53        73.33            0.73%
     Pomona                    60371701          60               0.26       76.87             0.35%
     Santa Clarita             60376012          13               0.41       73.94             0.56%
     Rubidoux                  60658001          57               0.30       77.67             0.39%
     Mira Loma
                               60658005          57               0.30       77.67             0.39%
     (Van Buren)
     Barstow                   60710001           1             0.00 32      70.82             0.00%
     Victorville-Park Avenue   60710306           5               0.19       72.24             0.27%
     Upland                    60711004          57               0.31       77.21             0.41%
     Hesperia-Olive Street     60714001          12               0.23       73.50             0.32%
     Redlands                  60714003          54               0.29       77.12             0.38%

Table 3-16 shows that the calculated average Texas contribution on projected future
elevated ozone days is less than 1% of the projected average MDA8 at all of the
monitors on these days.

3.4.3.6 Collective Interstate Contribution to the Future Design Value
The TCEQ calculated the collective interstate contributions 33 to the future design values
for the tagged California monitors. Table 3-17: Collective Interstate Contributions to
Future Design Values at Tagged California Monitors provides the percentage of




32
   The average Texas contribution on Future Elevated Ozone days for this monitor was 0.00035 ppb which
was rounded to 0.00 ppb.
33
   The collective contribution metric was calculated using the same methodology as used to calculate
Texas contribution in section 3.3.

                                                 3-70
      Case: 23-60069         Document: 110      Page: 209    Date Filed: 03/27/2023




interstate, intra-state, and background contributions to the future design values at the
10 tagged California monitors.

Table 3-17: Collective Interstate Contributions to Future Design Values at Tagged
California Monitors
                                       Percentage of     Percentage of    Percentage of
                                       Future Design     Future Design    Future Design
   AQS ID           Site Name            Value from        Value from    Value from Intra-
                                        Background          Interstate         State
                                        Contribution      Contribution     Contribution
 60371201    Reseda                             32.49%           3.62%             52.55%
 60371701    Pomona                             30.88%           4.05%             54.87%
 60376012    Santa Clarita                      37.41%           3.60%             49.00%
 60658001    Rubidoux                           29.22%           3.20%             57.20%
 60658005    Mira Loma (Van Buren)              29.22%           3.20%             57.20%
 60710001    Barstow                            58.53%           4.58%             30.64%
 60710306    Victorville-Park Avenue            36.58%           3.98%             49.55%
 60711004    Upland                             30.74%           4.22%             54.69%
 60714001    Hesperia-Olive Street              32.09%           3.97%             53.35%
 60714003    Redlands                           29.70%           3.25%             57.19%

The maximum collective contribution to the future design value is 4.58% at the Barstow
(AQS ID: 60710001) monitor. The 4.58% is insignificant compared to the intra-state
contribution of 30.64%. A similar trend is seen at all 10 of the tagged monitors, thereby
supporting the conclusion that interstate transport does not contribute significantly to
nonattainment at these monitors.

Based on the detailed analysis at the tagged California monitors, the design value
trends, back trajectory analysis on elevated ozone days, average Texas modeled
contributions on projected future elevated ozone days, and collective interstate
contributions to future design values, Texas emissions do not significantly contribute
to nonattainment or interfere with maintenance at the 10 tagged California monitors.

3.5 CONCLUSION
Texas emissions do not contribute significantly to nonattainment or interfere with
maintenance of the 2015 eight-hour ozone NAAQS at any downwind monitors.
Modeling was used to project the nonattainment and maintenance status of downwind
monitors in 2023. Among monitors projected to be in nonattainment or have
maintenance issues, 16 monitors were tagged for further review, one in Arizona, 10 in
California, and five in Colorado. Several factors were examined, such as design value
trends, number of elevated ozone days, back trajectory analysis on elevated ozone
days, modeled concentrations on future expected elevated ozone days, total interstate
contributions at tagged monitors, and responsiveness of ozone to Texas emissions.
Based on this rigorous analysis, it was concluded that emissions from Texas do not


                                             3-71
       Case: 23-60069       Document: 110       Page: 210      Date Filed: 03/27/2023




contribute significantly to nonattainment or interfere with maintenance of the 2015
eight-hour ozone NAAQS at the tagged downwind monitors.

3.6 REFERENCES
Bash, J., Baker, K., Beaver, M., 2016. Evaluation of improved land use and canopy
representation in BEIS v3.61 with biogenic VOC measurements in California,
Geoscientific Model Development, 9, 2191–2207.

Henderson, B.H., Akhtar, F., Pye, H.O.T., Napelenok, S.L., Hutzell, W.T., 2014. A
Database and Tool for Boundary Conditions for Regional Air Quality Modeling:
Description and Evaluations, Geoscientific Model Development, 7, 339-360.

Hoerling, M., Kumar, A., Dole, R., Nielson-Gammon, J., Eischeid, J., Perlwitz. J., Quan, X.,
Zhang, T., Pegion, P., and Chen, M., 2012. Anatomy of an Extreme Event. Journal of
Climate., 29, 2811-2832, doi: 10.1175/JCLI-D-12-00270.1.

Mu, M., et al. (2011), Daily and 3‐hourly variability in global fire emissions and
consequences for atmospheric model predictions of carbon monoxide, J. Geophys.
Res.,116, D24303, doi:10.1029/2011JD016245.

Sherwen, T., M.J., Evans, L.J., Carpenter, S.J., Andrews, R.T., Lidster, B., Dix, T.K., Koenig,
R., Sinreich, I., Ortega, R., Volkamer, A., and Saiz-Lopez. 2016. Iodine's impact on
tropospheric oxidants: a global model study in GEOS-Chem. Atmospheric Chemistry
and Physics, 16(2), pp.1161-1186.

Simon, H., Baker, K.R., and Phillips, S.B., 2012. Compilation and interpretation of
photochemical model performance statistics published between 2006 and 2012, 2012.,
Atmospheric Environment, v61, 124-139. doi: 10.1016/j.atmosenv.2012.07.012.

Stein, A.F., Draxler, R.R, Rolph, G.D., Stunder, B.J.B., Cohen, M.D., and Ngan, F., 2015.
NOAA's HYSPLIT atmospheric transport and dispersion modeling system, Bull. Amer.
Meteor. Soc., 96, 2059-2077, http://dx.doi.org/10.1175/BAMS-D-14-00110.1.

Travis, K., Jacob, D.J., Fisher, J.A., Kim, P. S., Marais, E.A., Zhu, L., Yu, K., Miller, C.C.,
Yantosca, R.M., Sulprizio, M.P., Thompson, A.M., Wennberg, P.O., Crounse, J.D., St. Clair,
J.M., Cohen, R.C., Laughner, J.L., Dibb, J.E., Hall, S.R., Ullmann, K., Wolfe, G.M., Pollack,
I.B., Peischl, J., Neuman, J.A, Zhou, X. 2016. Why do models overestimate surface ozone
in the Southeast United States? Atmos. Chem. Phys., 16, 13561-13577, doi:10.5194/acp-
16-13561-2016.

Yantosca, B., Sulprizio, M., Yannetti, M., Lundgren, L., Xu, J., 2015. GEOS-Chem v10-01
Online User’s Guide. Atmospheric Chemistry Modeling Group, School of Engineering
and Applied Sciences, Harvard University, Cambridge, MA. (Available at
http://acmg.seas.harvard.edu/geos/doc/man/ ).

Yantosca, B. 2004. GEOS-CHEMv7-01-02 User’s Guide, Atmospheric Chemistry Modeling
Group, Harvard University, Cambridge, MA.




                                             3-72
       Case: 23-60069       Document: 110       Page: 211     Date Filed: 03/27/2023




Yarwood, G., T. Sakulyanontvittaya, U. Nopmongcol, B. Koo. 2014. Ozone Depletion by
Bromine and Iodine over the Gulf of Mexico. Final Report for Work Order No. 582-11-
10365-FY14-12.

Wiedinmyer, C., Akagi, S. K., Yokelson, R. J., Emmons, L. K., Al-Saadi, J. A., Orlando, J. J.,
and Soja, A. J., 2011. The Fire INventory from NCAR (FINN): a high resolution global
model to estimate the emissions from open burning, Geosci. Model Dev., 4, 625-641,
doi:10.5194/gmd-4-625-2011, 2011.




                                            3-73
       Case: 23-60069         Document: 110         Page: 212      Date Filed: 03/27/2023




                             CHAPTER 4: CONTROL STRATEGIES

4.1 INTRODUCTION
On November 16, 2017, the United States Environmental Protection Agency (EPA) made
the first round of designations for the 2015 eight-hour ozone National Ambient Air
Quality Standards (NAAQS), designating 205 of the 254 counties in Texas as
attainment/unclassifiable, effective January 16, 2018 (82 Federal Register (FR) 54232).
On December 22, 2017, the EPA sent 120-day letters responding to state
recommendations for remaining area designations. 34 The EPA is proposing
nonattainment designations for Collin, Dallas, Denton, Ellis, Johnson, Kaufman, Parker,
Rockwall, Tarrant, and Wise Counties in the Dallas-Fort Worth (DFW) area and Brazoria,
Chambers, Fort Bend, Galveston, Harris, Liberty, Montgomery, and Waller Counties in
the Houston-Galveston-Brazoria (HGB) area. The EPA also intends to designate all other
counties listed in the proposal as attainment/unclassifiable. Under the 2008 eight-hour
ozone NAAQS, the DFW area, consisting of Collin, Dallas, Denton, Tarrant, Ellis,
Johnson, Kaufman, Parker, Rockwall, and Wise Counties, and the HGB area, consisting
of Brazoria, Chambers, Fort Bend, Galveston, Harris, Liberty, Montgomery, and Waller
Counties, are designated nonattainment. The rest of the counties in Texas are
designated unclassifiable/attainment for the 2008 eight-hour ozone NAAQS.

Attainment demonstration state implementation plan (SIP) revisions for any areas
designated as nonattainment for the 2015 eight-hour ozone NAAQS would not be due
until after this transport SIP revision is submitted to the EPA. Because designations for
Texas under the 2015 eight-hour ozone NAAQS have not been completed, attainment
demonstration SIP revision due dates have not been established and potential controls
have not yet been contemplated. However, Texas has implemented stringent and
innovative regulations that address emissions of nitrogen oxides (NOX) and volatile
organic compounds (VOC) from a wide variety of major and minor source types under
previous NAAQS. This chapter describes control measures for the DFW and HGB
nonattainment areas as well as other areas of the state.

4.2 EMISSIONS REDUCTIONS FROM ELECTRIC GENERATING UNITS (EGU)
4.2.1 Utility Electric Generation in Ozone Nonattainment Areas
The rules in 30 Texas Administrative Code (TAC) Chapter 117, Subchapter C establish
NOX emission specifications for utility electric generation for each ozone
nonattainment area in Texas. These rules apply to each electric generating facility that
generates electric energy for compensation, or are owned or operated by a
municipality or Public Utility Commission of Texas (PUCT) regulated utility or any of
its successors, regardless of whether the successor is a municipality or is regulated by
the PUCT.

In the HGB area, the owner or operator of each affected utility boiler, auxiliary steam
boiler, or stationary gas turbine must demonstrate compliance with the NOX emission
specifications through a system cap and participation in the HGB area Mass Emissions
Cap and Trade (MECT) Program. Affected sources were required to comply with the



34
  Samuel Coleman to the Honorable Greg Abbott, December 22, 2017, in EPA’s Response to Texas,
https://www.epa.gov/sites/production/files/2017-12/documents/tx_ltr_12_22_17.pdf

                                                 4-1
        Case: 23-60069         Document: 110         Page: 213       Date Filed: 03/27/2023




MECT Program rules beginning January 1, 2002, and comply with the system cap
requirements by March 31, 2004. Additional information about the MECT Program is
available in Section 4.3.2: Mass Emissions Cap and Trade (MECT) Program.

In the DFW area, each utility boiler that is part of a large system 35 must meet a NOX
emission rate of 0.033 pound per million British thermal units (lb/MMBtu) heat input,
and each utility boiler that is part of a small system must meet a NOX emission rate of
0.06 lb/MMBtu heat input. Compliance with the NOX emission rates may be
demonstrated on a daily average basis, a system-wide heat input weighted average
basis for utility boilers that are part of a large system, or through the use of emission
credits. Affected sources were required to comply with the rules by March 1, 2009.

In the Beaumont-Port Arthur (BPA) 1997 eight-hour ozone maintenance area, each
utility boiler must meet a NOX emission rate of 0.10 lb/MMBtu heat input. Compliance
with the NOX emission rates must be demonstrated on a daily average through the use
of either a system cap or emission credits. Affected sources were required to comply
with the rules by May 1, 2005.

4.2.2 Utility Electric Generation in East and Central Texas
The rules in 30 TAC Chapter 117, Subchapter E, Division 1 limit NOX emissions from
utility electric generation in Atascosa, Bastrop, Bexar, Brazos, Calhoun, Cherokee,
Fannin, Fayette, Freestone, Goliad, Gregg, Grimes, Harrison, Henderson, Hood, Hunt,
Lamar, Limestone, Marion, McLennan, Milam, Morris, Nueces, Parker, Red River,
Robertson, Rusk, Titus, Travis, Victoria, and Wharton Counties. The rules apply to each
utility electric power boiler and stationary gas turbine (including duct burners used in
turbine exhaust ducts) that generate electric energy for compensation; is owned by an
electric cooperative, independent power producer, municipality, river authority, or
public utility; and was placed into service before December 31, 1995. Utility electric
power boilers must meet a NOX emission rate of 0.14 lb/MMBtu for gas-fired units and
0.165 lb/MMBtu for coal-fired units. Stationary gas turbines (including duct burners
used in turbine exhaust ducts) must meet an annual average NOX emission rate of 0.14
lb/MMBtu for units subject to Texas Utilities Code (TUC), §39.264 (except §39.264(i)) or
0.15 lb/MMBtu for units not subject to TUC, §39.264 and units designated in
accordance with TUC, §39.264(i). Compliance with the NOX emission rates is based on
average heat input for a calendar year. Affected sources were required to comply with
the rules by May 1, 2005.

4.2.3 Senate Bill 7 (76th Texas Legislature)
Senate Bill (SB) 7 from the 1999 76th Texas Legislature, requires grandfathered, or
unpermitted, electric generating facilities (EGFs) and other EGFs that choose to
participate to achieve a 50% reduction in NOX emissions and a 25% reduction in sulfur
dioxide (SO2) emissions from the 1997 emission levels. The reductions were
implemented via participation in a cap and trade program in which participating EGFs
are required to surrender allowances equivalent to the actual emissions each control


35
  A large utility system is defined in 30 TAC Chapter 117 as: all boilers, auxiliary steam boilers, and
stationary gas turbines that are located in the DFW eight-hour ozone nonattainment area, and were part of
one electric power generating system on January 1, 2000, that had a combined electric generating capacity
equal to or greater than 500 megawatts.

                                                  4-2
      Case: 23-60069      Document: 110      Page: 214    Date Filed: 03/27/2023




period. For grandfathered EGFs, the allowance allocations were determined using the
following emission rates: 0.14 lb NOX/MMBtu and 1.38 lb SO2/MMBtu in the East Texas
region, and 0.195 lb NOX/MMBtu in the West Texas and El Paso regions. For electing
EGFs, the allowance allocations were equal to the emissions reported to the EPA's Acid
Rain Program in 1997, or if unavailable, by a method approved by the executive
director not to exceed any annual emission limitation authorized under Chapter 116,
Subchapter B or an applicable state or federal requirement. There are no coal-fired
EGFs located in the West Texas and El Paso regions that are subject to the Emissions
Banking and Trading Allowances Program. The SB 7 requirements were implemented
through rules in 30 TAC Chapter 101, Subchapter H, Division 2 and became effective
January 11, 2000. The initial control period for this program began on May 1, 2003.

4.3 EMISSION REDUCTIONS FROM OTHER SOURCES
4.3.1 East Texas Engines
The rules in 30 TAC Chapter 117, Subchapter E, Division 4 limit NOX emissions from
certain engines located in Anderson, Brazos, Burleson, Camp, Cass, Cherokee, Franklin,
Freestone, Gregg, Grimes, Harrison, Henderson, Hill, Hopkins, Hunt, Lee, Leon,
Limestone, Madison, Marion, Morris, Nacogdoches, Navarro, Panola, Rains, Robertson,
Rusk, Shelby, Smith, Titus, Upshur, Van Zandt, and Wood Counties. The rules apply to
stationary, gas-fired, reciprocating internal combustion engines rated 240 horsepower
(hp) and larger. Rich-burn gas-fired internal combustion engines rated less than 500 hp
must limit NOX emissions to 1.0 grams per horsepower-hour (g/hp-hr). Rich-burn
engines rated 500 hp or greater must limit NOX emissions to 0.60 g/hp-hr for landfill
gas-fired engines or 0.05 g/hp-hr for all other rich-burn engines. Affected sources were
required to comply with the rules by March 1, 2010.

The East Texas combustion rules reduce NOX emissions and ozone air pollution
transport into the DFW area. While these rules are part of the May 2007 DFW
Attainment Demonstration SIP Revision for the 1997 eight-hour ozone NAAQS, the
Northeast Texas area also benefits from NOX reductions resulting from the rules. Using
photochemical modeling sensitivity studies, the Texas Commission on Environmental
Quality (TCEQ) estimated that implementation of the rules results in an overall
reduction of approximately 22.4 tons per day (tpd) of NOX emissions in the 33 counties
subject to the rules by March 1, 2010. The TCEQ estimated the rules benefit the DFW
area by reducing ozone by an average of 0.1 to 0.2 parts per billion.

4.3.2 Mass Emissions Cap and Trade (MECT) Program
The MECT Program rules in 30 TAC Chapter 101, Subchapter H, Division 3 established
a mandatory annual NOX emission cap on sites in the HGB 1997 eight-hour ozone
nonattainment area that are either a major source of NOX with facilities subject to the
NOX emissions specifications in 30 TAC §117.310 or §117.1210, or have an
uncontrolled design capacity to emit at least 10.0 tons per year (tpy) of NOX from
facilities subject to 30 TAC §117.2010. Affected facilities include: utility boilers,
auxiliary steam boilers, or stationary gas turbines; industrial, commercial, or
institutional boilers and process heaters; stationary gas turbines; stationary internal
combustion engines; fluid catalytic cracking units (including carbon monoxide boilers,
carbon monoxide furnaces, and catalyst regenerator vents); boilers and industrial
furnaces that were regulated as existing facilities by the EPA under 40 Code of Federal
Regulations Part 266, Subpart H (as in effect on June 9, 1993); duct burners used in

                                          4-3
      Case: 23-60069       Document: 110     Page: 215     Date Filed: 03/27/2023




turbine exhaust ducts; pulping liquor recovery furnaces; lime kilns; lightweight
aggregate kilns; heat treating furnaces and reheat furnaces; magnesium chloride
fluidized bed dryers; and incinerators.

The MECT Program cap is enforced by the allocation, trading, and banking of
allowances. An allowance is the equivalent of 1.0 ton of NOX emissions. The MECT
Program cap was implemented on January 1, 2002 at historical emission levels with
mandatory NOX reductions increasing over time until achieving the final cap on April 1,
2007. Affected facilities that do not meet the criteria for receiving an allocation of
allowances must use allowances allocated to facilities already participating in the
program to cover annual NOX emissions. The projected 2018 MECT cap is 39,866.1 tpy
of NOX emissions.

4.3.3 Highly Reactive Volatile Organic Compounds (HRVOC) Rules and HRVOC
Emissions Cap and Trade (HECT) Program
The HRVOC rules in 30 TAC Chapter 115, Subchapter H are performance-based,
emphasizing monitoring, recordkeeping, reporting, and enforcement rather than
establishing individual unit emission rates. The rules apply to HRVOC emissions from
flares, process vents, cooling towers, and fugitive emission sources. In addition to the
monitoring requirements, affected sources in Harris County must meet an annual
HRVOC emission cap and a site-wide short-term HRVOC limit of 1,200 lb/hour from
any flare, vent, pressure relief valve, cooling tower, or any combination thereof.
Affected sources in Harris County must demonstrate compliance with these HRVOC
emission limits through participation in the HECT Program.

The HECT Program rules in 30 TAC Chapter 101, Subchapter H, Division 6 established
a mandatory annual HRVOC emission cap on sites in the HGB 1997 eight-hour ozone
nonattainment area with the potential to emit greater than 10.0 tpy of HRVOC from
facilities subject to 30 TAC Chapter 115, Subchapter H, Division 1 or Division 2. These
facilities include vent gas streams, flares, and cooling tower heat exchange systems.
Sites in Harris County are required to participate in the HECT Program. The program
was implemented on January 1, 2007.

The HECT Program cap is enforced by the allocation, trading, and banking of
allowances. An allowance is the equivalent of 1.0 ton of HRVOC emissions. The HECT
Program cap was established at a level demonstrated as necessary to allow the HGB
area to attain the one-hour ozone standard along with a 5% compliance margin to
account for potential emissions variations. The total initial cap was 3,451.5 tpy.

Allowances allocated from 2007 through 2010 were based on historical levels of
activity reported by affected sites. For 2011 and beyond, a site’s allocation was
determined by multiplying the total HECT cap by an industry-sector factor and a site-
specific factor. The industry-sector factor was determined by grouping sites into
sectors and determining each site’s proportion based on actual emissions. The site-
specific factor was based on a site’s uncontrolled emissions as a proportion of the
total uncontrolled emissions from all sites in that industry sector. The reallocation
includes a mandatory 10% cap reduction implemented during 2014, with additional 5%
reductions implemented at the start of each control period for 2015, 2016, and 2017.
The final HECT Program cap is set at 2,588.6 tpy for 2017 and all subsequent control
periods. Affected sites that do not receive an allocation of allowances must obtain and

                                           4-4
      Case: 23-60069      Document: 110      Page: 216    Date Filed: 03/27/2023




use allowances allocated to sites already participating in the program to cover annual
HRVOC emissions.

4.3.4 Cement Kilns
The rules in 30 TAC Chapter 117, Subchapter E, Division 1 limit NOx emissions from
cement kilns in Bexar, Comal, Ellis, Hays, and McLennan Counties. The rules require
cement kilns in Bexar, Comal, Hays, and McLennan Counties to reduce NOX emissions
30% below 1996 levels or to meet a NOx emissions cap of 6.0 pounds of NOx per ton of
cement clinker produced (lb NOX/ton of clinker) for wet kilns; 5.1 lb NOX/ton of clinker
for dry kilns; 3.8 lb NOX/ton of clinker for preheater kilns; and 2.8 lb NOX/ton of
clinker for preheater-precalciner or precalciner kilns. Affected sources were required
to comply with the rules by May 1, 2005. The rules also require cement kilns located in
Ellis County to meet an ozone season NOx emission source cap.

Ash Grove Cement Company operated three kilns in Ellis County, with an established
source cap under §117.3123 of 4.4 tpd. However, a 2013 consent decree between Ash
Grove and the EPA required by September 10, 2014 the shutdown of two kilns and
reconstruction of kiln #3 with selective non-catalytic reduction (SNCR) with an
emission limit of 1.5 lb NOX/ton of clinker and a 12-month rolling tonnage limit for
NOX of 975 tpy. The reconstructed kiln is a dry kiln with year-round SNCR operation.
The redesign allows 949,000 tpy of clinker, or 1.95 tpd of NOX, which is well below the
4.4 tpd source cap. Ash Grove’s enforceable limit continues to be 4.4 tpd, although
actual emissions are expected to be below the consent decree limit. Any modifications
or new construction would be required to meet nonattainment new source review with
best available control technology requirements, and would be subject to the same 1.5
lb NOX/ton of clinker emission limit in the New Source Performance Standards for
Portland Cement Plants. It would also be subject to other regulatory requirements,
including the National Emission Standards for Hazardous Air Pollutants for the
Portland Cement Manufacturing Industry.

Martin Marietta currently operates one dry preheater/precalciner kiln #5. The
permitted capacity of this kiln is 2,800,000 tons of clinker per year, and it has a
permitted emission factor of 1.95 lb NOX/ton of clinker. Based on these permit limits,
this kiln is therefore limited to a maximum of 7.48 tpd NOx, compared to the current
§117.3123 source cap of 7.9 tpd NOx. Kiln #5 typically operates well below the source
cap, at an average emission factor below 1.5 lb NOX/ton of clinker.

4.4 ADDITIONAL MEASURES
4.4.1 SmartWay Transport Partnership and the Blue Skyway Collaborative
Among its various efforts to improve air quality in Texas, the TCEQ continues to
promote two voluntary programs in cooperation with the EPA: SmartWay Transport
Partnership and Blue Skyways Collaborative.

The SmartWay Transport Partnership is a market-driven partnership aimed at helping
businesses move goods in the cleanest most efficient way possible. This is a voluntary
EPA program primarily for the freight transport industry that promotes strategies and
technologies to help improve fleet efficiency while also reducing air emissions.




                                          4-5
          Case: 23-60069        Document: 110       Page: 217   Date Filed: 03/27/2023




There are over 3,000 SmartWay partners in the U.S., including most of the nation’s
largest truck carriers, all the Class 1 rail companies, and many of the top Fortune 500
companies. Since its founding, SmartWay has reduced oil consumption by 170.3
million barrels and prevented the release of 1,458,000 tons of NOX and 59,000 tons of
particulate matter into the atmosphere. 36 Ports in the U.S. rely on SmartWay’s Port
Drayage Truck program to help reduce pollution in and around major national ports.
The Port of Houston Authority’s (PHA) partnership with the Environmental Defense
Fund and the Houston-Galveston Area Council (H-GAC) in the Port Drayage Truck
Bridge Loan Program received $9 million from the EPA’s Diesel Emissions Reduction
Act (DERA) SmartWay Program in 2009. On average, four trucks a month, or about 50
trucks a year, were approved for replacement funding.

In April 2015, the EPA awarded the PHA with a DERA grant of nearly $900,000. This
grant award, with matching funds of $1,669,560, had a total commitment of more than
$2.5 million. A total of 24 trucks were replaced that operate at the Port of Houston.
This included replacing 13 on-road over the road trucks that are only used inside the
PHA’s Turning Basin terminal. The replacement trucks were on-road terminal tractors,
with model year 2015 engines, which are built and designed to work on marine
terminals. The other 11 trucks replaced with this grant were older on-road terminal
tractors that operate in and around PHA’s Barbours Cut and Bayport container
terminals. The replacements for these trucks were also on-road terminal tractors with
model year 2016 engines.

In February 2015, the EPA awarded the PHA with a DERA grant of nearly $900,000.
This grant award, with matching funds of $900,000, had a total commitment of $1.8
million. It is expected, that at the end of this grant, 17 drayage trucks will be replaced.
The funding will provide for replacement trucks powered by certified engines that are
model year 2011 or newer, which are estimated to be 90% cleaner. These drayage
trucks operate in the Port of Houston and along the Houston Ship Channel. The
replacement trucks will also have Global Positioning System units to collect data on
idling and port operations, which will allow fleet owners and operators to gauge
opportunities for additional fuel savings and emissions reduction.

Approximately 170 Texas companies are SmartWay partners. The SmartWay Transport
Partnership will continue to benefit the HGB area by reducing emissions as more
companies and affiliates join, and additional idle reduction, trailer aerodynamic kits,
low-rolling resistance tire, and retrofit technologies are incorporated into SmartWay-
verified technologies.

The Blue Skyways Collaborative was created to encourage voluntary air emission
reductions by planning or implementing projects that use innovations in diesel
engines, alternative fuels, and renewable energy technologies applicable to on-road and
non-road sources. The Blue Skyways Collaborative partnerships include international,
federal, state, and local governments, non-profit organizations, environmental groups,
and private industries.




36
     https://www.epa.gov/smartway/learn-about-smartway

                                                 4-6
        Case: 23-60069         Document: 110         Page: 218        Date Filed: 03/27/2023




4.4.2 Energy Efficiency and Renewable Energy (EE/RE) Measures
Energy efficiency (EE) measures are typically programs that reduce the amount of
electricity and natural gas consumed by residential, commercial, industrial, and
municipal energy consumers. Examples of EE measures include: increasing insulation
in homes; installing compact fluorescent light bulbs; and replacing motors and pumps
with high efficiency units. Renewable energy (RE) measures include programs that
generate energy from resources that are replenished or are otherwise not consumed as
with traditional fuel-based energy production. Examples of renewable energy include
wind energy and solar energy projects.

Texas leads the nation in RE generation from wind. As of the third quarter 2017, Texas
has 21,450 megawatts (MW) of installed wind generation capacity,37 25% of all installed
wind capacity in the United States (U.S.) and three times the installed wind capacity of
Iowa, the state ranked second in installed wind capacity. Texas’ total net electrical
generation from renewable wind generators in 2016 was 57.5 million megawatt-hours
(MWh), approximately 25% of the total wind net electrical generation for the U.S. For
the first eight months in 2017, total net electrical generation from renewable wind
generators in Texas is estimated to be 44.8 million MWh, 38 approximately 17% more
than the same eight-month period in 2016.

While EE/RE measures are beneficial and do result in lower overall emissions from
fossil fuel-fired power plants in Texas, emission reductions resulting from these
programs are not explicitly included in photochemical modeling for SIP purposes
because local efficiency or renewable energy efforts may not result in local emissions
reductions or may be offset by increased demand in electricity. The complex nature of
the electrical grid makes accurately quantifying emission reductions from EE/RE
measures difficult. At any given time, it is impossible to determine exactly where a
specific user’s electricity was produced.

While specific emission reductions from EE/RE measures are not provided in the SIP,
persons interested in estimates of energy savings and emission reductions from EE/RE
measures can access additional information and reports from the Texas A&M
Engineering Experiment Station’s Energy Systems Laboratory (ESL) website
(http://esl.tamu.edu/). The reports submitted to the TCEQ regarding EE/RE measures
are available under Texas Emissions Reduction Plan (TERP) Letters and Reports.

Finally, the Texas Legislature has enacted a number of EE/RE measures and programs.
The following is a summary of Texas EE/RE legislation since 1999.

76th Texas Legislature, 1999

•    SB 7
•    House Bill (HB) 2492




37
   U.S. Department of Energy, National Renewable Energy Laboratory,
https://windexchange.energy.gov/maps-data/321
38
   U.S. Department of Energy, Energy Information Administration,
https://www.eia.gov/electricity/data/browser/

                                                  4-7
       Case: 23-60069       Document: 110     Page: 219   Date Filed: 03/27/2023




•   HB 2960

77th Texas Legislature, 2001

•   SB 5
•   HB 2277
•   HB 2278
•   HB 2845

78th Texas Legislature, 2003

•   HB 1365 (Regular Session)

79th Texas Legislature, 2005

•   SB 20 (First Called Session)
•   HB 2129 (Regular Session)
•   HB 2481 (Regular Session)

80th Texas Legislature, 2007

•   SB 12
•   HB 66
•   HB 3070
•   HB 3693

81st Texas Legislature, 2009

•   None

82nd Texas Legislature, 2011

•   SB 898 (Regular Session)
•   SB 924 (Regular Session)
•   SB 981 (Regular Session)
•   SB 1125 (Regular Session)
•   SB 1150 (Regular Session)
•   HB 51 (Regular Session)
•   HB 362 (Regular Session)

83rd Texas Legislature, 2013

•   None

84th Texas Legislature, 2015

•   SB 1626
•   HB 1736

85th Texas Legislature, 2017

                                            4-8
       Case: 23-60069     Document: 110      Page: 220    Date Filed: 03/27/2023




•   HB 1571 (Regular Session)

Renewable Energy

SB 5, 77th Texas Legislature, 2001, set goals for political subdivisions in affected
counties to implement measures to reduce energy consumption from existing facilities
by 5% each year for five years from January 1, 2002 through January 1, 2006. In 2007,
the 80th Texas Legislature passed SB 12, which extended the timeline set in SB 5
through 2007 and made the annual 5% reduction a goal instead of a requirement. The
State Energy Conservation Office (SECO) is charged with tracking the implementation
of SB 5 and SB 12. Also during the 77th Texas Legislature, the ESL, part of the Texas
Engineering Experiment Station, Texas A&M University System, was mandated to
provide an annual report on EE/RE efforts in the state as part of the TERP under Texas
Health and Safety Code (THSC), §388.003(e).

The 79th Texas Legislature, 2005, Regular and First Called Sessions, amended SB 5
through SB 20, HB 2129, and HB 2481 to add, among other initiatives, renewable
energy initiatives that require: 5,880 MW of generating capacity from renewable energy
by 2015; the TCEQ to develop a methodology for calculating emission reductions from
renewable energy initiatives and associated credits; the ESL to assist the TCEQ in
quantifying emissions reductions from EE/RE programs; and the PUCT to establish a
target of 10,000 MW of installed renewable technologies by 2025. Wind power
producers in Texas exceeded the renewable energy generation target by installing over
10,000 MW of wind electric generating capacity by 2010.

HB 2129, 79th Texas Legislature, 2005, Regular Session, directed the ESL to collaborate
with the TCEQ to develop a methodology for computing emission reductions
attributable to use of RE and for the ESL to annually quantify such emission
reductions. HB 2129 directed the Texas Environmental Research Consortium to use the
Texas Engineering Experiment Station to develop this methodology. With the TCEQ’s
guidance, the ESL produces an annual report, Statewide Air Emissions Calculations from
Energy Efficiency, Wind and Renewables, detailing these efforts.

In addition to the programs discussed and analyzed in the ESL report, local
governments may have enacted measures beyond what has been reported to SECO and
the PUCT. The TCEQ encourages local political subdivisions to promote EE/RE
measures in their respective communities and to ensure these measures are fully
reported to SECO and the PUCT.

SB 981, 82nd Texas Legislature, 2011, Regular Session, allows a retail electric customer
to contract with a third party to finance, install, or maintain a distributed renewable
generation system on the customer's side of the electric meter, regardless of whether
the customer owns the installed system. SB 981 also prohibits the PUCT from requiring
registration of the system as an electric utility if the system is not projected to send
power to the grid.

HB 362, 82nd Texas Legislature, 2011, Regular Session, helps property owners install
solar energy devices such as electric generating solar panels by establishing
requirements for property owners associations’ approval of installation of solar energy


                                          4-9
       Case: 23-60069       Document: 110      Page: 221   Date Filed: 03/27/2023




devices. HB 362 specifies the conditions that property owners associations may and
may not deny approval of installing solar energy devices.

SB 1626, 84th Texas Legislature, 2015, modifies the provisions established by HB 362
from the 82nd Texas Legislature, 2011, Regular Session, regarding property owners
associations’ authority to approve and deny installations of solar energy devices such
as electric generating solar panels. HB 362 included an exception that allowed
developers to prohibit installation of solar energy devices during the development
period. SB 1626 limits the exception during the development period to developments
with 50 or fewer units.

Residential and Commercial Building Codes and Programs

THSC, Chapter 388, Texas Building Energy Performance Standards, as adopted in SB 5
of the 77th Texas Legislature, 2001, Regular Session, states in §388.003(a) that single-
family residential construction must meet the energy efficiency performance standards
established in the energy efficiency chapter of the International Residential Code. The
Furnace Pilot Light Program includes energy savings accomplished by retrofitting
existing furnaces. Also included is a January 2006 federal mandate raising the
minimum Seasonal Energy Efficiency Ratio (SEER) for air conditioners in single-family
and multi-family buildings from 10 to 13.

THSC, Chapter 388, as adopted in SB 5 of the 77th Texas Legislature, 2001, states in
§388.003(b) that non-single-family residential, commercial, and industrial construction
must meet the energy efficiency performance standards established in the energy
efficiency chapter of the International Energy Conservation Code.

HB 51, 82nd Legislature, 2011, Regular Session, requires municipalities to report
implementation of residential and commercial building codes to SECO.

HB 1736, 84th Texas Legislature, 2015, updates THSC §388.003 to adopt, effective
September 1, 2016, the energy efficiency chapter of the International Residential Code
as it existed on May 1, 2015. HB 1736 also establishes a schedule by which SECO could
adopt updated editions of the International Residential Code in the future, not more
often than once every six years.

Federal Facility EE/RE Projects

Federal facilities are required to reduce energy use by Presidential Executive Order
13123 and the Energy Policy Act of 2005 (Public Law 109-58 EPACT20065).

Political Subdivisions Projects

SECO funds loans for energy efficiency projects for state agencies, institutions of
higher education, school districts, county hospitals, and local governments. Political
subdivisions in nonattainment and affected counties are required by SB 5, 77th Texas
Legislature, 2001, to report EE/RE projects to SECO. These projects are typically
building systems retrofits, non-building lighting projects, and other mechanical and
electrical systems retrofits such as municipal water and waste water treatment
systems.

                                            4-10
       Case: 23-60069      Document: 110      Page: 222    Date Filed: 03/27/2023




Electric Utility Sponsored Programs

Utilities are required by SB 7, 76th Texas Legislature, 1999, and SB 5, 77th Texas
Legislature, 2001, to report demand-reducing energy efficiency projects to the PUCT
(see THSC, §386.205 and Texas Utilities Code (TUC), §39.905). These projects are
typically air conditioner replacements, ventilation duct tightening, and commercial and
industrial equipment replacement.

SB 1125, 82nd Texas Legislature, 2011, Regular Session, amended the TUC, §39.905 to
require energy efficiency goals to be at least 30% of annual growth beginning in 2013.
The metric for the energy efficiency goal remains at 0.4% of peak summer demand
when a utility program accrues that amount of energy efficiency. SB 1150, 82nd Texas
Legislature, 2011, Regular Session, extended the energy efficiency goal requirements to
utilities outside the Electric Reliability Council of Texas area.

State Energy Efficiency Programs

HB 3693, 80th Texas Legislature, 2007, amended the Texas Education Code, Texas
Government Code, THSC, and TUC. The bill:

•   requires state agencies, universities and local governments to adopt energy
    efficiency programs;

•   provides additional incentives for electric utilities to expand energy conservation
    and efficiency programs;

•   includes municipal-owned utilities and cooperatives in efficiency programs;

•   increases incentives and provides consumer education to improve efficiency
    programs; and

•   supports other programs such as revision of building codes and research into
    alternative technology and renewable energy.

HB 51, 82nd Texas Legislature, 2011, Regular Session, requires new state buildings and
major renovations to be constructed to achieve certification under an approved high-
performance design evaluation system.

HB 51 also requires, if practical, that certain new and renovated state-funded
university buildings comply with approved high-performance building standards.

SB 898, 82nd Texas Legislature, 2011, Regular Session, extended the existing
requirement for state agencies, state-funded universities, local governments, and
school districts to adopt energy efficiency programs with a goal of reducing energy
consumption by at least 5% per state fiscal year (FY) for 10 state FYs from September
1, 2011 through August 31, 2021.

SB 924, 82nd Texas Legislature, 2011, Regular Session, requires all municipally owned
utilities and electric cooperatives that had retail sales of more than 500,000 MWh in
2005 to report each year to SECO information regarding the combined effects of the


                                           4-11
          Case: 23-60069         Document: 110         Page: 223      Date Filed: 03/27/2023




energy efficiency activities of the utility from the previous calendar year, including the
utility's annual goals, programs enacted to achieve those goals, and any achieved
energy demand or savings goals.

HB 1571, 85th Texas Legislature, 2017, Regular Session, expanded Education Code and
Government Code provisions for local governmental entities, schools, and state
agencies entering into energy saving performance contracts by authorizing the entities
to use any available money to pay the provider for energy or water conservation
measures. Previously, only money other than money borrowed from the state could be
used to pay for such conservation measures.

4.4.3 Consent Decrees with Refineries
The EPA's National Petroleum Refinery Initiative 39 has resulted in multi-issue
settlement agreements with the nation's major petroleum refineries. As of October
2016, 112 refineries representing more than 95% of total domestic refining capacity
are under settlement. The EPA consent decrees limit emissions from fluidized catalytic
cracking units, sulfur recovery units, heaters and boilers, and flares. The EPA estimates
that full implementation of the current settlements will result in more than 95,000 tpy
of NOX emission reductions. The EPA also anticipates VOC emission reductions will
result from consent decree requirements that reduce hydrocarbon flaring including:

•      installing continuous emissions monitoring systems (CEMS) or predictive emissions
       monitoring systems;
•      operating a flare gas recovery system to control continuous or routine flaring;
•      limiting flaring to only process upset gases, fuel gas released as a result of relief
       valve leakage, or gas released due to a malfunction; and
•      eliminating the routes of generated fuel gases and monitoring the flare with CEMS
       or a flow meter.

4.4.4 Clean Air Interstate Rule (CAIR) and Cross-State Air Pollution Rule (CSAPR)
In March 2005, the EPA issued CAIR to address EGU emissions that transport from one
state to another. The rule incorporated the use of three cap and trade programs to
reduce SO2 and NOX: the ozone-season NOX trading program, the annual NOX trading
program, and the annual SO2 trading program.

Texas was not included in the ozone season NOX program but was included for the
annual NOX and SO2 programs. As such, Texas was required to make necessary
reductions in annual SO2 and NOX emissions from new and existing EGUs to
demonstrate that emissions from Texas do not contribute to nonattainment or
interfere with maintenance of the 1997 particulate matter with an aerodynamic
diameter less than or equal to a nominal 2.5 micrometers (PM2.5) NAAQS in another
state. CAIR consisted of two phases for implementing necessary NOX and SO2
reductions. Phase I addressed required reductions from 2009 through 2014. Phase II
was intended to address reductions in 2015 and thereafter.




39
     https://www.epa.gov/enforcement/petroleum-refinery-national-case-results

                                                   4-12
      Case: 23-60069      Document: 110      Page: 224    Date Filed: 03/27/2023




In July 2006, the commission adopted a SIP revision to address how the state would
meet emissions allowance allocation budgets for NOX and SO2 established by the EPA to
meet the federal obligations under CAIR. The commission adopted a second CAIR-
related SIP revision in February 2010. This revision incorporated various federal rule
revisions that the EPA had promulgated since the TCEQ’s initial submittal. It also
incorporated revisions to 30 TAC Chapter 101 resulting from legislation during the
80th Texas Legislature, 2007.

A December 2008 court decision found flaws in CAIR but kept CAIR requirements in
place temporarily while directing the EPA to issue a replacement rule. In July 2011, the
EPA finalized CSAPR to meet Federal Clean Air Act (FCAA) requirements and respond
to the court’s order to issue a replacement program. Texas was included in CSAPR for
ozone season NOX, annual NOX, and annual SO2 due to the EPA’s determination that
Texas significantly contributes to nonattainment or interferes with maintenance of the
1997 eight-hour ozone NAAQS and the 1997 PM2.5 NAAQS in other states. As a result of
numerous EGU emission reduction strategies already in place in Texas, the annual and
ozone season NOX reduction requirements from CSAPR were relatively small but still
significant. CSAPR required an approximate 7% reduction in annual NOX emissions and
less than 5% reduction in ozone season NOX emissions.

On August 21, 2012, the U.S. Court of Appeals for the District of Columbia (D.C.)
Circuit vacated CSAPR. Under the D.C. Circuit Court’s ruling, CAIR remained in place
until the EPA developed a valid replacement.

The EPA and various environmental groups petitioned the Supreme Court of the United
States to review the D.C. Circuit Court's decision on CSAPR. On April 29, 2014, a
decision by the Supreme Court reversed the D.C. Circuit and remanded the case. On
October 23, 2014, the D.C. Circuit lifted the CSAPR stay and on November 21, 2014, the
EPA issued rulemaking, which shifted the effective dates of the CSAPR requirements to
account for the time that had passed after the rule was stayed in 2011. Phase 1 of
CSAPR took effect January 1, 2015 and Phase 2 began January 1, 2017. On July 28,
2015, the D.C. Circuit Court ruled that the 2014 annual SO2 budgets and the 2014
ozone season NOX budgets for Texas were invalid because they required over control of
Texas emissions, and remanded these budgets back to the EPA without vacatur.

On January 22, 2015, the EPA issued a memorandum to provide information on how it
intends to implement FCAA interstate transport requirements for the 2008 ozone
NAAQS. The EPA provided preliminary modeling results for 2018, which show
contribution to nonattainment of the 2008 ozone NAAQS in the HGB area from sources
outside of Texas. On July 23, 2015, the EPA issued a notice of data availability
regarding updated ozone transport modeling results for a 2017 attainment year.

On June 27, 2016, the EPA issued a memorandum outlining the agency’s approach for
responding to the D.C. Circuit’s July 2015 remand of the Phase 2 SO2 emissions
budgets, providing a choice of two paths for states with remanded budgets. Under the
first path, states could voluntarily continue to participate in CSAPR at the state’s
current Phase 2 SO2 and annual NOX budget levels through a SIP revision. Under the
second path, if a state does not choose to participate in CSAPR, the EPA would initiate
rulemaking by fall of 2016 to remove the state’s sources from CSAPR’s SO2 and annual
NOX programs and address any remaining interstate transport or regional haze

                                          4-13
      Case: 23-60069      Document: 110      Page: 225    Date Filed: 03/27/2023




obligations on a state-by-state basis. On November 10, 2016, the EPA published a
proposed rule to remove Texas sources from the CSAPR SO2 and annual NOX trading
programs. The EPA also proposed to determine that, following withdrawal of the
federal implementation plan (FIP) requirements, sources in Texas will not contribute
significantly to nonattainment or interfere with maintenance of the 1997 PM2.5 NAAQS
in any other state and that the EPA therefore will have no obligation to issue new FIP
requirements for Texas sources to address transport for the 1997 PM2.5 NAAQS (81 FR
78954). The rule was finalized, effective immediately, on September 29, 2017 (82 FR
45481).

On September 7, 2016, the EPA signed the final CSAPR Update Rule for the 2008 eight-
hour ozone standard. The EPA’s modeling shows that emissions from within Texas no
longer significantly contribute to downwind nonattainment or interference with
maintenance for the 1997 eight-hour ozone NAAQS even without implementation of
the original CSAPR ozone season NOX emissions budget. Accordingly, sources in Texas
are no longer subject to the emissions budget calculated to address the 1997 eight-
hour ozone NAAQS. However, this rule finalized a new ozone season NOX emissions
budget for Texas to address interstate transport with respect to the 2008 eight-hour
ozone NAAQS. This new budget became effective for the 2017 ozone season, the same
period in which the Phase 2 budget that was invalidated by the court was scheduled to
become effective.

CSAPR budgets for Texas may be subject to change in the future based on any
additional rulemaking to address remanded budgets or changes resulting from further
appeals.

4.4.5 Texas Emissions Reduction Plan (TERP)
The TERP program was created in 2001 by the 77th Texas Legislature to provide grants
to offset the incremental costs associated with reducing NOX emissions from high-
emitting heavy-duty internal combustion engines on heavy-duty vehicles, non-road
equipment, marine vessels, locomotives, and some stationary equipment.

The primary emissions reduction incentives are awarded under the Diesel Emissions
Reduction Incentive Program (DERI). DERI incentives are awarded to projects to
replace, repower, or retrofit eligible vehicles and equipment to achieve NOX emission
reductions in Texas ozone nonattainment areas and other counties identified as
affected counties under the TERP program where ground-level ozone is a concern.

From 2001 through August 2017, $1,088,390,866 in DERI grants were awarded for
projects projected to help reduce and estimated 179,427 tons of NOX over the life of
the projects. This includes $448,288,693 going to activities in the HGB area and
$377,422,749 to activities in the DFW area, with an estimated 78,445 tons of NOX
reduced in the HGB area and 62,731 tons of NOX reduced in the DFW area over the life
of the projects.

Three other incentive programs under the TERP program will result in the reduction in
NOX emissions in the DFW and HGB areas, as well as other TERP areas.

The Drayage Truck Incentive Program was established in 2013 to provide grants for
the replacement of drayage trucks operating in and from seaports and rail yards

                                          4-14
      Case: 23-60069      Document: 110      Page: 226     Date Filed: 03/27/2023




located in nonattainment areas. The name of this program was recently changed to the
Seaport and Rail Yard Areas Emissions Reduction Program, and replacement or
repower of cargo handling equipment was added to the eligible project list. Through
August 2017, the program awarded $6,209,424, with an estimated 353 tons of NOX
reduced over the life of the projects. In the HGB area the funding totaled $5.57 million,
with projects estimated to reduce up to 325 tons of NOX, over the life of the projects.
$542,061 was awarded to projects in the DFW area, with an estimated 27 tons of NOX
reduced over the life of the projects.

The Texas Clean Fleet Program (TCFP) was established in 2009 to provide grants for
the replacement of light-duty and heavy-duty diesel vehicles with vehicles powered by
alternative fuels, including: natural gas, liquefied petroleum gas, hydrogen, methanol
(85% by volume), or electricity. This program is for larger fleets, therefore applicants
must commit to replacing at least 10 eligible diesel-powered vehicles with qualifying
alternative fuel or hybrid vehicles. From 2009 through August 2017, over $58.16
million in TCFP grants were awarded for projects to help reduce an estimated 660 tons
of NOX over the life of the projects. Over $22.9 million in TCFP grants were awarded to
projects in the HGB area, with an estimated 216 tons of NOX reduced over the life of
the projects, and over $16.3 million was awarded in the DFW area, with an estimated
245 tons of NOX reduced over the life of the projects.

The Texas Natural Gas Vehicle Grant Program (TNGVGP) was established in 2011 to
provide grants for the replacement of medium-duty and heavy-duty diesel vehicles
with vehicles powered by natural gas. This program may include grants for individual
vehicles or multiple vehicles. The majority of the vehicle’s operation must occur in the
Texas nonattainment areas, other counties designated as affected counties under the
TERP, and the counties in and between the triangular area between Houston, San
Antonio, and DFW. From 2011 through August 2017, over $48.3 million in TNGVGP
grants were awarded for projects to help reduce an estimated 1,676 tons of NOX over
the life of the projects. Over $12.65 million in TNGVGP grants were awarded to
projects in the HGB area, with an estimated 348 tons of NOX reduced over the life of
the projects, and over $17.7 million was awarded to projects in the DFW area, with an
estimated 658 tons of NOX reduced of the life of the projects.

4.4.6 Clean School Bus Program
HB 3469, 79th Texas Legislature, 2005, Regular Session, established the Clean School
Bus Program, which provides monetary incentives for school districts in the state for
reducing emissions of diesel exhaust from school buses through retrofit of older
school buses with diesel oxidation catalysts, diesel particulate filters, and closed
crankcase filters. As of August 2017, the TCEQ Clean School Bus Program had
reimbursed approximately $34.6 million in grants for over 7,500 retrofit activities.
This amount included $4.7 million in federal funds. As a result of recent legislative
changes, this program will include replacement of older school buses with newer,
lower-emitting models going forward.

4.4.7 Local Initiatives
Local strategies in the DFW nonattainment area are being implemented by the North
Central Texas Council of Governments and local strategies in the HGB nonattainment
area are being implemented by H-GAC. Due to the continued progress of these


                                          4-15
      Case: 23-60069       Document: 110      Page: 227    Date Filed: 03/27/2023




measures, additional air quality benefits are expected to be gained that will further
reduce precursors to ground level ozone formation. A summary of local strategies for
the DFW nonattainment area is included in Appendix H: Local Initiatives Submitted by
the North Central Texas Council of Governments of the DFW 2008 Eight-Hour Ozone
Attainment Demonstration for the 2017 Attainment Year and information on local
measures in the HGB nonattainment area is available on the Houston-Galveston Area
Council website (http://www.h-gac.com/home/residents.aspx).

4.4.8 Voluntary Measures
While the oil and natural gas industry is required to install controls either due to state
or federal requirements, the oil and natural gas industry has in some instances
voluntarily implemented additional controls and practices to reduce VOC emissions
from oil and natural gas operations in the DFW nonattainment area as well as other
areas of the state. Examples of these voluntary efforts include: installing vapor
recovery units on condensate storage tanks; using low-bleed natural gas actuated
pneumatic devices; installing plunger lift systems in gas wells to reduce gas well
blowdown emissions; and implementing practices to reduce VOC emissions during well
completions (i.e., “Green Completions”). The EPA’s Natural Gas STAR Program provides
details on these and other practices recommended by the EPA as voluntary measures
to reduce emissions from oil and natural gas operations and improve efficiency.
Additional information on the EPA Natural Gas STAR Program may be found on the
EPA’s Natural Gas STAR Program webpage (http://www.epa.gov/gasstar/).

4.5 2008 OZONE NAAQS SIP REVISIONS ADOPTED SINCE 2015
All Texas SIP revisions are available on the Texas SIP Revisions webpage
(http://www.tceq.texas.gov/airquality/sip/sipplans.html).

Since 2015, Texas has adopted several SIP revisions to further address the 2008 eight-
hour ozone standard in the DFW and HGB areas. These latest SIP revisions and plans
are detailed in this section.

4.5.1 DFW 2008 Eight Hour Ozone SIP Revisions
On June 3, 2015, the commission adopted two revisions to the Texas SIP for the DFW
2008 eight-hour ozone moderate nonattainment area: the DFW 2008 Eight-Hour Ozone
Attainment Demonstration SIP Revision and the DFW 2008 Eight-Hour Ozone
Reasonable Further Progress (RFP) SIP Revision. On December 7, 2016, the EPA
published final approval of the DFW RFP SIP revision (81 FR 88124). Following proposal
of these SIP revisions, the attainment date for the DFW 2008 eight-hour ozone
moderate nonattainment area changed from December 31, 2018 to July 20, 2018 as a
result of the December 23, 2014 D.C. Circuit Court ruling and the EPA’s final 2008
ozone standard SIP requirements rule. Because the attainment year ozone season is the
ozone season immediately preceding a nonattainment area’s attainment date, the
attainment year for the DFW moderate nonattainment area also changed from 2018 to
2017. As a result of the change in the attainment year, it was necessary for the TCEQ
to develop a revised attainment demonstration. The DFW 2008 eight-hour ozone
nonattainment area attainment demonstration SIP revision for the 2017 attainment
year was adopted by the commission on July 6, 2016. On June 14, 2017, the EPA
approved part of the attainment demonstration SIP revision that describes how FCAA
requirements for vehicle inspection and maintenance and nonattainment new source

                                           4-16
      Case: 23-60069      Document: 110      Page: 228     Date Filed: 03/27/2023




review are met in the DFW area for the 2008 ozone NAAQS (82 FR 22291), effective on
September 12, 2017. On September 22, 2017, the EPA conditionally approved the
TCEQ's cement kiln NOx RACT analysis for Martin Marietta (82 FR 44320) predicated on
the TCEQ's commitment to establish the permitted emission limit of 1.95 lb NOx/ton of
clinker for kiln #5 in the SIP. The TCEQ committed to the EPA in a letter dated July 29,
2016 to prepare a SIP revision containing the 1.95 lb NOX/ton of clinker limit for Martin
Marietta and subsequently submit the SIP revision to the EPA if it is approved by the
commission. In the September 22, 2017 final rule, the EPA also fully approved NOX
RACT for all other affected sources in the 10-county DFW 2008 eight-hour ozone
nonattainment area. The EPA published final approval of VOC RACT on December 21,
2017 (82 FR 60546).

4.5.2 HGB 2008 Eight-Hour Ozone SIP Revisions
On December 15, 2016, the commission adopted two revisions to the Texas SIP for the
HGB 2008 eight-hour ozone moderate nonattainment area: the HGB 2008 Eight-Hour
Ozone Attainment Demonstration SIP Revision (Non-Rule Project No. 2016-016-SIP-NR)
and the HGB 2008 Eight-Hour Ozone RFP SIP Revision (Non-Rule Project No. 2016-017-
SIP-NR). These SIP revisions were adopted to meet federal obligations for the 2008
eight-hour ozone NAAQS for a moderate nonattainment area with a July 20, 2018
attainment deadline and a 2017 attainment year. The attainment demonstration SIP
revision incorporated revisions to 30 TAC Chapter 115 to update reasonably available
control technology for VOC storage tanks in the HGB area. The SIP and rule revisions
were submitted to the EPA on December 29, 2016. On May 15, 2017, the EPA approved
Section 4.9 of the attainment demonstration SIP revision that describes how FCAA
requirements for vehicle inspection and maintenance, nonattainment new source
review, and emission statements for large stationary point sources are met in the HGB
area for the 2008 ozone NAAQS (82 FR 22291). On June 6, 2017, the EPA published its
finding that the motor vehicle emissions budgets in the HGB RFP SIP revision are
adequate and must be used for transportation conformity determinations in the HGB
area (82 FR 26091). These budgets became effective June 21, 2017.

4.6 CONCLUSIONS
Texas has numerous control measures in place to address ozone precursor emissions
that are federally enforceable through SIP revisions. These measures have resulted in
significant decreases in eight-hour ozone design values in Texas. Any additional
control strategies necessary to address requirements for the 2015 eight-hour ozone
NAAQS will be evaluated when attainment demonstration and RFP SIP revisions are
developed and implemented.




                                          4-17
        Case: 23-60069          Document: 110         Page: 229       Date Filed: 03/27/2023




     CHAPTER 5: PREVENTION OF SIGNIFICANT DETERIORATION AND VISIBILITY
                     TRANSPORT [FCAA, §110(A)(2)(D)(i)(II)]

5.1 INTRODUCTION
The Federal Clean Air Act (FCAA), §110(a)(2)(D)(i)(II), requires states to submit a state
implementation plan (SIP) revision that contains adequate provisions to prohibit any
source or other type of emissions activity within the state from emitting any air
pollutants in amounts that will interfere with measures required to meet an
implementation plan for any other state related to prevention of significant
deterioration (PSD) or interfere with measures required to meet the implementation
plan for any other state related to regional haze and visibility. The following sections
provide information on how Texas meets the requirements of FCAA, §110(a)(2)(D)(i)(II).

5.2 PSD
Texas has a SIP-approved PSD and nonattainment New Source Review (NSR) permitting
program that contains requirements for sources of air pollutants to obtain an
approved permit before beginning construction of a facility and before modifying an
existing facility. The Texas Commission on Environmental Quality (TCEQ) has
established rules governing the enforcement of control measures, including attainment
plans and permitting programs that regulate construction and modification of
stationary sources.

On January 6, 2014, the United States Environmental Protection Agency (EPA)
published approval of Texas’ public participation requirements for air quality permits
(79 FR 551). 40 On November 10, 2014, the EPA published partial approval of the
October 2010 and April 2014 SIP submittals that revise Texas’ PSD program to provide
for the regulation of greenhouse gas (GHG) emissions and clarify the applicability of
best available control technology for all PSD permit applications (79 FR 66626). 41 The
EPA also approved revisions to the NSR permitting program as consistent with federal
requirements for PSD permitting of GHG emissions. Although the EPA originally
disapproved the Texas infrastructure SIP for the 1997 eight-hour ozone, and for the
1997 and 2006 PM2.5 National Ambient Air Quality Standards (NAAQS) for not
containing provisions for the permitting of GHGs, on September 4, 2015 the EPA
published a direct final rule in the Federal Register (FR) to correct the Code of Federal
Regulations to reflect that Texas now has a SIP-approved GHG permitting program (80
FR 53467). The rule became effective November 3, 2015.

On June 12, 2015, in response to a petition for rulemaking from the Sierra Club, the
EPA finalized a SIP call related to provisions in SIPs concerning how air agency rules in
EPA-approved SIPs treat excess emissions during periods of startup, shutdown, and
malfunction (SSM) of industrial source process or emission control equipment.
Although not one of the states named in the Sierra Club’s petition, the EPA’s final rule
included Texas. The State of Texas and the TCEQ disagree with the EPA that the TCEQ’s



40
   Approval and Promulgation of Implementation Plans; Texas; Prevention of Significant Deterioration;
Greenhouse Gas Tailoring Rule Revisions, 79 FR 66626 (November 10, 2014).
41
   Approval and Promulgation of Implementation Plans; Texas; Public Participation for Air Quality Permit
Applications, 79 FR 551 (January 6, 2014).

                                                   5-1
        Case: 23-60069         Document: 110         Page: 230       Date Filed: 03/27/2023




SIP-approved affirmative defense rule for certain excess emissions is substantially
inadequate to meet FCAA requirements and are challenging the EPA’s SIP call.

The following chapters of 30 Texas Administrative Code (TAC) contain rules relevant
for this federal requirement:

Chap. 35  Emergency and Temporary Orders and Permits; Temporary Suspension or
Amendment of Permit Conditions; Subchapters A, B, C, K

Chap. 39        Public Notice

Chap. 55        Requests for Reconsideration and Contested Case Hearings; Public Notice

Chap. 101       General Air Quality Rules

Chap. 106       Permits by Rule, Subchapter A, General Requirements

Chap. 112       Control of Air Pollution from Sulfur Compounds

Chap. 115       Control of Air Pollution from Volatile Organic Compounds

Chap. 116       Control of Air Pollution by Permits for New Construction or Modification

Chap. 117       Control of Air Pollution from Nitrogen Compounds

Texas has a robust, SIP-approved permitting program and therefore has met the
infrastructure requirements of §110(a)(2)(D)(i)(II).

5.3 VISIBILITY TRANSPORT
On December 16, 2014, the EPA published a proposed rule to partially disapprove the
Texas 2009 Regional Haze SIP revision and issue a federal implementation plan (FIP)
(79 FR 74818). The EPA also proposed to approve the Texas Best Available Retrofit
Technology (BART) rule for non-electric generating units (EGUs), and replace the
TCEQ’s reliance on the Clean Air Interstate Rule (CAIR) with a FIP implementing the
Cross-State Air Pollution Rule (CSAPR) in Texas for BART for EGUs. 42 On January 5,
2016, the EPA partially approved (for non-EGU BART) and partially disapproved the
Texas SIP and adopted a FIP for the reasonable progress goals and long-term strategy
requirements that were disapproved. The EPA did not finalize the EGU BART portion of
the proposal. On July 15, 2016, the 5th Circuit stayed EPA’s FIP of the Texas Regional
Haze Rule.

Because of litigation since the 2009 Texas Regional Haze SIP submission, EGUs are no
longer covered under CAIR or subsequent program provisions; and the EPA did not
finalize the disapproval of Texas EGU BART on January 5, 2016. In accordance with a
consent decree, the EPA published a proposed BART FIP on January 4, 2017 covering


42
  The D.C. Circuit lifted the stay on CSAPR and the EPA began implementing the rule on January 1, 2015.
However, on July 28, 2015 the D.C. Circuit ruled that the 2014 annual SO2 budgets and the 2014 ozone
season NOX budgets for Texas were invalid because they required overcontrol of Texas emissions, and
remanded these budgets back to the EPA without vacatur.

                                                  5-2
      Case: 23-60069      Document: 110      Page: 231     Date Filed: 03/27/2023




EGUs. The consent decree required the EPA to sign a final FIP in September 2017. On
September 29, 2017, the EPA Administrator signed a FIP to address BART requirements
for Texas EGUs, specifically with regard to nitrogen oxides (NOX), particulate matter
(PM), and sulfur dioxide (SO2). The final rule was published in the Federal Register on
October 17, 2017 (82 FR 48324). Additionally, on September 29, 2017, the EPA
finalized a rule withdrawing Texas from the CSAPR Group 2 SO2 and Annual NOX
Programs (82 FR 45481). The BART FIP relies on Texas’ participation in the CSAPR
Ozone Season NOX Program to fulfill NOX BART. Because Texas is no longer
participating in the CSAPR Group 2 SO2 Program, CSAPR cannot be relied upon to
satisfy SO2 BART. Therefore, the FIP establishes an SO2 trading program that applies to
select Texas EGUs. The EPA approved the TCEQ’s PM screening for EGUs from the 2009
Texas Regional Haze SIP submittal, eliminating the need to require controls for PM
BART. Additionally, the EPA disapproved portions of the Texas SIP with regard to
interstate visibility transport for the following NAAQS: 1997 eight-hour ozone; 1997
PM2.5 (annual and 24-hour); 2006 PM2.5 (24-hour); 2008 eight-hour; 2010 one-hour
nitrogen dioxide; and 2010 one-hour SO2. The EPA also made a finding that the BART
alternatives adopted as the FIP meet the interstate visibility transport requirements for
these NAAQS under FCAA §110(a)(2)(D)(i)(II).

Regional haze program requirements include progress reports due to the EPA every
five years, to demonstrate progress toward the visibility goal. The 2014 Five-Year
Regional Haze Progress Report SIP Revision was submitted to the EPA in March 2014.
On January 10, 2017, the EPA published the final Regional Haze Rule Amendments (82
FR 3078) extending the SIP submittal deadline for the second planning period from
July 31, 2018 to July 31, 2021 and adjusting the interim progress report submission
deadline so that second progress reports would be due by January 31, 2025. The
following SIP submittal would be due in 2028 and then every 10 years thereafter,
through 2064.

The following chapter of 30 TAC contains rules relevant for this federal requirement:

Chap. 101    General Air Quality Rules

Chap. 122    Subchapter E, Division 2, Clean Air Interstate Rule

Chap. 115    Control of Air Pollution from Volatile Organic Compounds

Chap. 116    Control of Air Pollution by Permits for New Construction or Modification

Chap. 117    Control of Air Pollution from Nitrogen Compounds

The modeling analysis in this SIP revision demonstrates that Texas does not contribute
to nonattainment or interfere with maintenance in another state for the 2015 ozone
NAAQS. The EPA has not established a separate visibility standard for ozone because
ozone does not directly impair visibility or substantially produce or contribute to the
production of the secondary air contaminants that cause visibility impairment or
regional haze. Particulate matter, rather than ozone, is the pollutant primarily
responsible for visibility impairment at Class I areas covered by the Regional Haze
Rule. Emissions from Texas EGUs that potentially contribute to both ozone
nonattainment and visibility impairment are already controlled under the ozone

                                           5-3
      Case: 23-60069       Document: 110      Page: 232    Date Filed: 03/27/2023




NAAQS, BART under the Regional Haze Rule, and interstate transport obligations.
Texas is also subject to the ozone season NOX budget under the CSAPR Update Rule for
the 2008 ozone standard. Based on the finding that emissions from Texas do not
interfere with measures to protect visibility in nearby states, Texas meets the visibility
transport provision for six other NAAQS under the BART FIP (82 FR 48324). When
considered alongside the modeling analysis in this SIP revision, and Texas’ inclusion in
the CSAPR Update Rule ozone season NOX trading program, it is concluded that Texas
meets the visibility transport provision for the 2015 ozone NAAQS as well.




                                           5-4
       Case: 23-60069          Document: 110        Page: 233       Date Filed: 03/27/2023




  CHAPTER 6: INTERSTATE POLLUTION ABATEMENT AND INTERNATIONAL AIR
                    POLLUTION [FCAA, §110(A)(2)(D)(ii)]

6.1 INTRODUCTION
The requirements of Federal Clean Air Act (FCAA), §110(a)(2)(D)(ii) are satisfied by
demonstrating compliance with the applicable requirements of FCAA, §126(a), 126(b)
and (c), and 115.

6.2 INTERSTATE POLLUTION ABATEMENT
6.2.1 Compliance with FCAA, §126(a)
Under section 126(a)(1) of the FCAA, a state implementation plan (SIP) must contain
provisions requiring each new or modified major source required by FCAA title I part C
to be subject to prevention of significant deterioration (PSD) permitting to notify
neighboring air agencies of potential impacts from the source. Per guidance on
development and submission of infrastructure SIPs issued by the United States
Environmental Protection Agency (EPA) on September 13, 2013,43 the EPA considers the
notification by the permitting authority to satisfy the requirement of FCAA,
§126(a)(1)(A) that a new or modified major source subject to part C notify neighboring
air agencies of its potential downwind impact. Texas has a SIP-approved PSD
permitting program that contains requirements for the permitting authority to notify
air agencies whose lands may be affected by emissions from that source.

6.2.2 Compliance with FCAA, §126(b) and (c)
The required content of an infrastructure SIP with respect to FCAA, §110(a)(2)(D)(ii) is
affected by sections 126(b) and 126(c) of the FCAA only if: (1) the Administrator has, in
response to a petition, made a finding under section 126(b) of the FCAA that emissions
from a source or sources within the air agency’s jurisdiction emit prohibited amounts
of air pollution relevant to the new or revised NAAQS for which the infrastructure SIP
submission is being made; and (2) under section 126(c) of the FCAA, the Administrator
has required the source or sources to cease construction, cease or reduce operations,
or comply with emissions limitations and compliance schedule requirements for
continued operation.

No source or sources within Texas are the subject of an active finding under section
126 of the FCAA with respect to the 2015 ozone NAAQS.

6.3 INTERNATIONAL AIR POLLUTION
6.3.1 Compliance with FCAA, §115
Section 115 of the FCAA authorizes the EPA Administrator to require a state to revise
its SIP under certain conditions to alleviate international transport into another
country. When acting on an infrastructure SIP submission for a new or revised NAAQS,
the EPA will look to whether the Administrator has made a finding with respect to


43
   Memorandum from Stephen D. Page, Director of the Office of Air Quality Planning and Standards,
September 13, 2013, Guidance on Infrastructure State Implementation Plan (SIP) Elements under Clean Air
Act Sections 110(a)(1) and 110(a)(2). EPA Office of Air Quality Planning and Standards.
https://www3.epa.gov/airquality/urbanair/sipstatus/docs/Guidance_on_Infrastructure_SIP_Elements_Mult
ipollutant_FINAL_Sept_2013.pdf

                                                 6-1
      Case: 23-60069      Document: 110     Page: 234     Date Filed: 03/27/2023




emissions of the particular NAAQS pollutant and its precursors, if applicable. There
are no final findings under section 115 of the FCAA against the State of Texas with
respect to the 2015 ozone NAAQS.




                                          6-2
      Case: 23-60069       Document: 110      Page: 235    Date Filed: 03/27/2023




                              CHAPTER 7: CONCLUSIONS

Texas has numerous control measures in place to address ozone precursor emissions
and these measures have resulted in significant decreases in eight-hour ozone design
values in Texas. Statewide trend analysis of ozone precursor emissions from 2005
through 2014 shows a 17% reduction in volatile organic compounds and a 35%
reduction in nitrogen oxides. These reductions have assisted the state in attaining both
the one-hour and 1997 eight-hour ozone National Ambient Air Quality Standards
(NAAQS) and are expected to help the state attain the 2008 and 2015 NAAQS in the
future. Over the past 25 years, all areas in Texas have observed some decrease in eight-
hour ozone design values with the greatest decreases observed in the Houston-
Galveston-Brazoria and Beaumont-Port Arthur areas with decreases of 34% and 33%
respectively.

The modeling analysis provided in this state implementation plan (SIP) revision
demonstrates that Texas emissions do not contribute significantly to nonattainment or
interfere with maintenance of the 2015 eight-hour ozone NAAQS at any downwind
monitors in 2023. Factors such as design value trends, number of elevated ozone days,
back trajectory analysis on elevated ozone days, modeled concentrations on future
expected elevated ozone days, total interstate contributions at tagged monitors, and
responsiveness of ozone to Texas emissions were examined for 16 monitors projected
to be in nonattainment or projected to have maintenance issues in other states. Based
on this modeling analysis, it is concluded that emissions from Texas do not contribute
significantly to nonattainment or interfere with maintenance of the 2015 eight-hour
ozone NAAQS in any other state.

Additionally, Texas has a robust, SIP-approved new source review permitting program
and therefore has met the Federal Clean Air Act (FCAA) infrastructure requirements
relating to prevention of significant deterioration (PSD). The Texas Commission on
Environmental Quality has also determined that Texas meets the visibility transport
provisions for the 2015 ozone NAAQS as the state is not contributing significantly to
nonattainment or maintenance issues in any other state, the EPA has not established a
separate visibility standard for ozone, Texas is subject to the ozone season NOX budget
under the Cross-State Air Pollution Rule Update, and the EPA has made a finding that
Texas meets the visibility transport provision for six other NAAQS under the Best
Available Retrofit Technology FIP.

Finally, Texas meets the FCAA requirements related to interstate pollution abatement
and international air pollution. Texas has a SIP-approved PSD permitting program that
contains requirements for the permitting authority to notify air agencies whose lands
may be affected by emissions from that source, no sources within Texas are the
subject of an active finding under section 126 of the FCAA with respect to the 2015
ozone NAAQS, and there are no final findings under section 115 of the FCAA against
the State of Texas with respect to the 2015 ozone NAAQS.

In conclusion, this SIP revision demonstrates that Texas meets the interstate transport
requirements of FCAA, §110(a)(2)(D)(i)(I) as well as the requirements of FCAA,
§110(a)(2)(D)(i)(II) for prevention of significant deterioration and visibility transport
and the interstate pollution abatement and international air pollution requirements of
FCAA, §110(a)(2)(D)(ii).

                                           7-1
      Case: 23-60069       Document: 110      Page: 236     Date Filed: 03/27/2023




   CHAPTER 8: FUTURE REVISIONS TO THE NATIONAL AMBIENT AIR QUALITY
                          STANDARDS (NAAQS)

Federal Clean Air Act (FCAA), §110(a)(1) requires states to submit state
implementation plans within three years after the promulgation of new or revised
NAAQS to meet the requirements of FCAA, §110(a)(2), including FCAA, §110(a)(2)(D),
relating to interstate transport. Therefore, if the NAAQS are revised in the future, the
Texas Commission on Environmental Quality will need to take the adequate steps
relating to the interstate transport of air pollution.




                                           8-1
Case: 23-60069   Document: 110    Page: 237    Date Filed: 03/27/2023




                 Appendices Available Upon Request



                            Kristin Patton
                   kristin.patton@tceq.texas.gov
                            512.239.4907
Case: 23-60069   Document: 110   Page: 238   Date Filed: 03/27/2023




                 TESTIMONY
     Case: 23-60069   Document: 110   Page: 239   Date Filed: 03/27/2023



                      INDEX OF WRITTEN TESTIMONY



NO WRITTEN COMMENTS WERE RECEIVED PERTAINING TO THIS SIP REVISION.
      Case: 23-60069    Document: 110      Page: 240     Date Filed: 03/27/2023




                          INDEX OF ORAL TESTIMONY




                       April1o, 2018, 2:00 p.m. -Austin, TX


Reference Number                            Submitted by

0-1                                         Cyrus Reed, Sierra Club, Lone Star Ch.apter
         Case: 23-60069     Document: 110      Page: 241    Date Filed: 03/27/2023




       JUDICIAL SERVICES COURT REPORTING COMPANY
                           4241 WOODCOCK DR. SUITE A204
                             SAN ANTONIO, TEXAS 78228
                                 TELE: (210) 681-4885
                                 FAX: (210) 681-4886




   TYPE OF PROCEEDING:    PUBLIC HEARING
NAME OF PROCEEDING:       INFRASTRUCTURE AND TRANSPORT STATE IMPLEMENTATION

     DATE AND TIME:       APRIL 10,2018AT2:04P.M.

           CASE NUMBER: NON-RULE PROJECT NO. 2017-039-SIP-NR and 2017-040-SIP-NR

             DELIVER TO: JOYCE NELSON
                         TEXAS COMMISSION ON ENVIRONMENTAL QUALITY
                         12100 PARK 35 CIRCLE, BUILDING F
                         AUSITN, TEXAS 78753




                        ORIGINAL PUBLIC MEETING
                              TRANSCRIPT
            Case: 23-60069      Document: 110   Page: 242   Date Filed: 03/27/2023
*Nationwide Scheduling*                                                 *Internet Repository*


                                                                                  Page 1
                          TEXAS COMMISSION ON ENVIRONMENTAL QUALITY



                                      HEARING TRANSCRIPT OF




                     THE PUBLIC HEARING REGARDING INFRASTRUCTURE AND

                   TRANSPORT STATE IMPLEMENTATION PLAN REVISION FOR

                          THE 2015 OZONE NATIONAL AMBIENT AIR QUALITY

                                            STANDARDS




                                         APRIL 10, 2018

                                            2:04 p.m.




                           The hearing at the Texas Commission on

                 Environmental Quality, on the lOth day of April,

                 2018, between 2:04p.m. and 2:12p.m., before

                 Katrina Faith Wright, Certified Shorthand Reporter

                 in and for the State of Texas, reported by

                 computerized stenotype machine, at 12100 Park 35

                 Circle, Austin, Texas 78753.
                Case: 23-60069                  Document: 110                Page: 243   Date Filed: 03/27/2023
*Nationwide Schedulin •

                                                                                                                              Page 2
            1                                                 P R E S E NT
            2

            3

            4         WITH THE AIR QUALITY DIVISION:

            5

            6         KRISTIN PATTON

           7          DONNA HUFF

           8          WALKER WILLIAMSON

           9          SHANTHA DANIEL

         10           DOUG BOYER

         11           KASEY SAVANICH

         12

         13

         14           WITH THE ENVIRONMENTAL LAW DIVISION:

         15

         16           AMY BROWNING

         17

         18

         19

         20

         21

         22

         23

         24           COURT REPORTER:                  KATRINA FAITH WRIGHT,

         25                                            Texas CSR No. 9220

Judicu:u """' vo=:o \oouun n.o::.,unuoy \o.U.          .:»C:tltl'\tllUtiiU 1 ltsXCI::t           WWW.JUUI\,ICSI::tt::l Vlc..;t:::;;:,C:t.\,;UIII
              Case: 23-60069            Document: 110        Page: 244    Date Filed: 03/27/2023
 *Nationwide Scheduling•                                                                *Internet Repository•


                                                                                                  Page 3
          1                     MS. PATTON:        Good afternoon.            I would like to

          2        welcome everyone to this public hearing being

          3        conducted by the Texas Commission on Environmental

          4        Quality.

          5                             My name is Kristin Patton, with the Air

          6        Quality Division.               I would also like to introduce

          7        Donna Huff, Walker Williamson, Shantha Daniel,

          8        Doug Boyer, and Kasey Savanich with the Air Quality

          9        Division; and Amy Browning with the Environmental

        10         Law Division.

        11                              We are here this afternoon to receive

        12        oral and written comments on two proposed State

        13         Implementation Plan, or SIP, revisions:                           The

        14         Infrastructure SIP revision and the Transport SIP

        15         revision for the 2015 ozone standard.

       16                      There are copies of the proposed SIP

       17         revisions for you to refer to while you are here,

       18         located on the far table.                         These documents, along

       19         with the associated appendices, are also available

       20         on the Commission's website.                         There is also a

       21         handout on the table next to the SIP revisions with

       22         the web address and a brief overview of the

       23         proposed revisions that we are taking comment on

       24         today.·

       25                      We will continue to accept comments on these


Judicial Services Court Reporting Co.          San Antonio, Texas                www.judicialservicessa.com
              Case: 23-60069            Document: 110      Page: 245    Date Filed: 03/27/2023
*Nationwide Scheduling•                                                               *Internet Repository•


                                                                                                Page 4
         1        proposals via the eComments system until midnight

         2        tonight.

          3                    This hearing is structured strictly for the

          4       receipt of oral or written comments on these

          5       proposals.             Open discussion during the hearing is

          6       not allowed.

          7                    We will now begin receiving comments in the

          8       order in which you registered.                       We have a

          9       court reporter present that will be transcribing

       10         your comments.              Please remember to speak directly

       11         into the microphone so that she can hear your

       12         comments.             When I call your name, please come up to

       13         the podium, state your name and who you represent,

       14         and begin your comments.

       15                               Cyrus Reed.

        16                   MR. REED:        Thank you.            For the record,

        17        Cyrus Reed representing the Lone Star chapter

        18         of the Sierra Club, a conservation organization

        19         sorry.

        20                                    (Microphone adjustments made.)

        21                   MR. REED:        For the record, Cyrus Reed

       22         representing the Lone Star chapter of the Sierra

       23         Club.           Sierra Club is a national conservation

       24         organization.              I represent the state chapter.                      We

       25         have about 27,000 members in Texas, and of course

Judicial Services Court Reporting Co.          San Antonio, Texas               www.judicialservicessa.com
               Case: 23-60069           Document: 110       Page: 246   Date Filed: 03/27/2023
*Nationwide Scheduling*                                                               *Internet Reposit~


                                                                                               Page 5
          1        the Sierra Club nationally has members all over.

          2                             My comments today, which are brief, are

           3       only on the Transport.                   Depending on timing, we may

           4       submit written comments both on the Transport and

           5       the Infrastructure proposed revisions.

           6                            I first wanted to make a general

           7       statement that I hope that whatever the final

           8       version of these SIP revisions are that are

           9       submitted to the EPA would include the latest

        10         information on nonattainment areas.

        11                              So I wanted to say on this SIP Transport

        12         revision, I appreciate the fact that TCEQ

        13         accurately reflects that Bexar County, San Antonio

        14         has design values over the current ozone standard.

        15         And to the extent that· when this is submitted,

        16         those nonattainment areas, that the EPA decides

        17         that is nonattainment areas, as I think they

        18         should, and that's a different rule matter, but I

        19         hope that this will reflect that.

        20                              That being said,· given that Bexar County

        21         is shown as an ozone design value above 70 parts
        22         per billion, it seems to me that it would be useful                                      I

        23         in this document to also show the historical

        24        nonsubmission trends in either Bexar County or the

       25         Bexar County and larger area.                     You have done it

Judicial Services Court Reporting Co.         San Antonio, Texas               www.judicialservicessa.com
            Case: 23-60069    Document: 110    Page: 247   Date Filed: 03/27/2023
*Nationwide Scheduling•                                                 *Internet Repository•


                                                                                 Page 6
        1        statewide.    You've done it for DFW, you have

        2       done it for Houston.          Why not show it in

        3       San Antonio as well?          I think that would be

        4       a good addition.


        5                     None of that necessarily relates to the

        6       transport of the emissions that create ozone, but

        7       at least it would be accurate in terms of this

        8       document on where we are in our nonattainment

        9       areas.

      10                      Just a couple of points.          As is

      11        reflected in this document, a lot of the EPA rules

      12        and decisions are always under litigation.                 Sierra

      13        Club is involved in a number of those.              So as

      14        things change, obviously these documents can be

      15        updated.

     16                       EPA previously disallowed a SIP revision

      17        related to ozone transport and then found that the

     18         latest rulings on the CSAPR Rule now take care of

     19         those issues.     That is still undergoing litigation.

     20         So to the extent that things change, obviously the

     21         SIP revision may need to be changed as well.

     22                       I wanted to bring up two other issues,

     23        more substantive issues, one being -- and, you

     24         know, based on conversations I've had with staff,

     25         this document essentially is stating it doesn't
              Case: 23-60069              Document: 110       Page: 248   Date Filed: 03/27/2023
*Nationwide Scheduling•                                                                 *Internet Repository•


                                                                                                  Page 7
          1        find any problems with either causing nonattainment

          2        in other areas or creating a problem .for

          3       maintaining attainment in other areas.

          4                               I will just note that previous                     when

          5        looking at previous issues, more related to

          6       visibility than ozone, we have found problems

          7       north and east of Texas, in Oklahoma and Arkansas,

          8       with some of the emissions coming from the coal

          9       plants.               I realize some of those coal plants have

        10        now retired, but would hope that you will address

        11         the extent to which northeastern coal plants could

        12         impact ozone in nearby states, which would

        13        be important.

        14                               Then I would also note that since our

        15        previous emissions inventory and control strategies

        16        on oil and gas facilities, there have been major

        17         increases in certain areas of the state in oil and

       18         gas drilling.               I don't see any             and I'll do

       19         written comments if I have got this wrong, but I

       20         don't see any discussion in here about control

       21         strategies on oil and gas and the emissions that

       22         they can also release, which can lead to ozone

       23         formation.

       24                                So I think it would be beneficial to

       25         have a discussion of oil and gas control strategies


Judicial Services Court Reporting Co.           San Antonio, Texas               www.judicialservicessa.com
             Case: 23-60069    Document: 110   Page: 249    Date Filed: 03/27/2023
*Nationwide Scheduling*                                                  *Internet Repository*


                                                                                   Page 8

         1       and what we are doing to limit ozone formation


         2       because of those emissions, particularly because of

         3       the big boom in the Permian Basin that has occurred

         4       in the last few years that I don't think has been

         5       analyzed.

         6                      So those are the comments I will make,

         7       and I reserve the right to do written comments

         8       before midnight, once I consult with our lawyers,

         9       to make sure I don't say anything that is wrong.

       10        Thanks.

       11                 MS. PATTON:   Thank you.

       12                       I don't believe there is anyone else

       13        present to comment at this time.

       14                       Once again, comments will be accepted

       15        via eComments system until midnight tonight.                     All

       16        comments should reference the SIP project number

       17        that the comment pertains to.             Copies of the

       18        proposed SIP revisions and appendices can be

       19        obtained from the Commission's website.               Please

       20        feel free to pick up the handout with the web

       21        address as well as the eComments web address from

       22        the registration table.         The handout also includes

       23        instructions on how to register to receive e-mail

       24        updates on issues related to the development of the

       25        SIP.
               Case: 23-60069           Document: 110       Page: 250   Date Filed: 03/27/2023
*Nationwide Scheduling*                                                                *Internet R~ository*


                                                                                                Page 9 I;
           1                            We appreciate your comments and we thank

           2       you for coming.

           3                            If there are no further comments, the

           4       hearing is now closed.

           5                            (Hearing concluded at 2:12p.m.)

           6

           7

           8

           9

        10

        11

        12

        13

        14

        15

        16

        17

        18

        19

        20

        21

        22

        23

        24

        25

Judicial Services Court Reporting Co.          San Antimio, Texas               www.judicialservicessa.com
              Case: 23-60069            Document: 110       Page: 251       Date Filed: 03/27/2023
*Nationwide Scheduling*                                                                   *Internet Repository•


                                                                                                  Page 10
          1         TEXAS COMMISSION ON ENVIRONMENTAL QUALITY

         2                                    HEARING TRANSCRIPT OF

         3          THE PUBLIC HEARING REGARDING INFRASTRUCTURE AND
                    TRANSPORT STATE IMPLEMENTATION PLAN REVISION FOR
          4            THE 2015 OZONE NATIONAL AMBIENT AIR QUALITY
                                        STANDARDS
         5
                                                        APRIL 10, 2018
          6
                                           REPORTER'S CERTIFICATION
         7
                        I, KATRINA FAITH WRIGHT, Certified Shorthand
         8        Reporter in and for the State of Texas, do hereby
                  certify:
          9
                        That said transcript of proceedings was taken
       10         before me at the time and place therein set forth
                  and was taken down by me in shorthand and
       11         thereafter was transcribed into typewriting under
                  my direction, and I hereby certify the foregoing
       12         transcript is a full, true, and correct transcript
                  of my shorthand notes so taken.
       13
                        I further certify that I am neither counsel
       14         for nor related to any party to said action, nor in
                  any way interested in the outcome thereof.
       15
                        IN WITNESS WHEREOF, I have hereunto
       16         subscribed my name this 20th day of April, 2018.
       17
        18
        19                                                            I
        20
                                                                    '/ ll   .
                                                                                                                  /
                                                                                i
       21                                                    (~~j~- (·~l .t··.~/            j
                                                                                            l    J
                                                                                                  )
                               KATRINA FAITH WRIGHT, Texas CSR 9220
       22                      CSR Expiration:   12/31/18
                               JUDICIAL SERVICES COURT REPORTING COMPANY
       23                      Firm Registration No. 774
                               4241 Woodcock Drive, Suite A204
       24                      San Antonio, Texas 78228
                               210-681-4885
       25                      210-681-4886 (fax)

Judicial ServiCes Court Reporting Co.          San Antonio, Texas                   www.judicialservicessa.com
                              Case: 23-60069      Document: 110       Page: 252    Date Filed: 03/27/2023

                           Texas Commission on Environmental Quality
                                                Public Hearhig Registration
                                                         Date: April10, 2018
                                                          Time: 2:00p.m.

Project Nos.: 2017-039-SIP-NR; 2017-040-SIP-NR
Short Titles: 2015 Ozone NAAQS Transport SIP Revision; 2015 Ozone NAAQS Infrastructure SIP Revision
Location: Texas Commission on Environmental Quality, 12100 Park 35 Circle, Building E, Room 201S, Austin, Texas 78753
Concerning: Proposed Infrastructure and Transport State Implementation Plan (SIP) Revisions for the 2015 Ozone National Ambient Air
              Quality Standards (NAAQS)

                        Name                                                Representing                      Presenting Oral Testimony?
                    (Please Print)                                                                                  (Circle One)


       C~~j ~~                                              s-;.Q__~ rA   ~&-, ~~           ~hd~~                   G       No


                                                                                                                      Yes   No

                                                                                                                      Yes   No

                                                                                                                      Yes   No

                                                                                                                     Yes    No

                                                                                                                     Yes    No

                                                                                                                     Yes    No

                                                                                                                     Yes    No
Case: 23-60069   Document: 110   Page: 253   Date Filed: 03/27/2023




                 EVALUATION
           Case: 23-60069         Document: 110   Page: 254     Date Filed: 03/27/2023

 Texas Commission on Environmental Quality
                              Interoffice Memorandum
To:             Commissioners                                 Date:   July 20, 2018
Thru:           Bridget C. Bohac, Chief Clerk
                Stephanie Bergeron Perdue, Interim Executive Director
From:        /J., Steve Hagle, P.E., Deputy Director
            IJffi Office of Air
Docket No.:      2017-1762-SIP
Subject:         Commission Approval for Adoption of Federal Clean Air Act (FCAA),
                 §110(a)(1) and §110(a)(2)(D) Transport State Implementation Plan (SIP)
                 Revision for the 2015 Ozone National Ambient Air Quality Standards
                 (NAAQS)
                 2015 Ozone NAAQS Transport SIP Revision
                 Project No. 2017-039-SIP-NR

Background and reason(s) for the SIP revision:
On October 1, 2015, the United States Environmental Protection Agency (EPA) revised the
primary and secondary NAAQS for ozone to an eight-hour standard of 0.070 parts per
million. Within three years of the promulgation of any new or revised NAAQS, FCAA,
§llO(a)(l) requires states to submit a SIP revision to provide for the implementation,
maintenance, and enforcement of the NAAQS. Section 110(a)(2)(A) through (M), lists the
elements that the SIP submissions must contain. This SIP revision specifically addresses
transport requirements under FCAA, §110(a)(2)(D). The remaining infrastructure
requirements of FCAA, § 11 O(a)(2)(A) through (M) are addressed in a separate SIP revision
(Project No. 2017-040-SIP-NR). Infrastructure and transport SIP revisions to address the
2015 ozone NAAQS are due to the EPA by October 1, 2018.

Scope of the SIP revision:

A.) Swnmary of what the SIP revision will do:
The proposed SIP revision documents how the transport elements listed in FCAA,
§ 11 O(a)(2)(D) are currently addressed in the Texas SIP. This SIP revision provides a
detailed technical demonstration and other supporting information to meet the interstate
transport requirements of FCAA, §110(a)(2)(D)(i) and (ii).

B.) Scope required by federal regulations or state statutes:
Pursuant to FCAA, §110(a)(2)(D)(i), this SIP revision must contain several elements that
provide supporting information demonstrating that Texas is:
    • not contributing significantly to nonattainment of the 2015 ozone NAAQS for
       areas in other states;
    • not interfering with the maintenance of the 2015 ozone NAAQS in any other state;
    • not interfering with measures required to meet an implementation plan for any
       other state related to prevention of significant deterioration (PSD); and
    • not interfering with measures required to meet the implementation plan for any
       other state related to regional haze and visibility.
         Case: 23-60069       Document: 110        Page: 255      Date Filed: 03/27/2023
Commissioners
Page 2
July 20, 2018

Re: Docket No. 2017-1762-SIP


In addition, pursuant to FCAA, §110(a)(2)(D)(ii), the SIP revision must provide information
demonstrating compliance with the applicable requirements of FCAA, § 126 and § 115
relating to interstate and international pollution abatement.

Guidance on development and submission of infrastructure SIPs issued by the EPA on
September 13, 2013 1 did not address §110(a)(2)(D)(i)(l), which specifically concerns
interstate pollution transport affecting attainment and maintenance of the NAAQS. The
EPA did not issue formal transport guidance prior to the development and proposal of
this SIP revision. On March 27, 2018, the EPA issued a memo to provide information to
assist states' efforts to develop transport SIP revisions for the 2015 ozone NAAQS. 2 The
memo notes that in developing transport SIP revisions, states have flexibility to follow the
four-step transport framework or alternative frameworks, so long as the chosen approach
has adequate technical justification and is consistent with the requirements of the FCAA.
The memo also includes a preliminary list of potential flexibilities in analytical
approaches for developing transport SIP revisions that may warrant further discussion
between the EPA and states. Although this transport SIP revision was developed prior to
the EPA's memo, the approach used in developing this SIP revision is consistent with the
EPA memo providing states with flexibility in their technical work and submittals. This
SIP revision includes an analysis of required transport elements consistent with statutory
requirements.

C.) Additional staff recommendations that are not required by federal rule or state
statute:
None
Statutory authority:
The EPA published the final rule establishing the revised NAAQS for ozone in the Federal
Register on October 26, 2015 (80 FR 65292). The authority to propose and adopt the SIP
revision is derived from FCAA, §110, which requires states to submit SIP revisions that
contain enforceable measures to achieve the NAAQS, and other general and specific
authority in Texas Water Code, Chapters 5 and 7, and Texas Health and Safety Code,
Chapter 382.




• Memorandum from Stephen D. Page, Director of the Office of Air Quality Planning and Standards,
September 13, 2013, Guidance on Infrastructure State Implementation Plan (SIP) Elements under
Clean Air Act Sections 11 O(a)(l) and 11 0(a)(2). EPA Office of Air Quality Planning and Standards.
https://www3.epa.gov/airquality/urbanair/sipstatus/docs/Guidance_on_Infrastructure_SIP_Eleme
nts_Multipollutant_FINAL_Sept_2013.pdf
2
  Memorandum from Peter Tsirigotis, Director of the Office of Air Quality Planning and Standards,
March 27, 2018, Information on the Interstate Transport State Implementation Plan Submissions (or
the 2015 Ozone National Ambient Air Quality Standards under Clean Air Act Section
110(a)(2)(D)(i)(I). EPA Office of Air Quality Planning and Standards.
https://www.epa.gov/sites/production/files/20 18-
03/documents/transport_memo_03_27 _l8_l.pdf
         Case: 23-60069     Document: 110      Page: 256     Date Filed: 03/27/2023
Commissioners
Page 3
July 20, 2018

Re: Docket No. 2017-1762-SIP


Effect on the:
A.) Regulated community:
No effects on the regulated community are anticipated. However, if the EPA were to issue
a federal implementation plan (FIP) because the state failed to submit a SIP revision there
could ultimately be significant effects on the regulated community.
B.) Public:
None
C.) Agency programs:
The SIP revision would have no new effect on agency programs.

Stakeholder meetings:
The proposed SIP revision went through a public review and comment period including
one public hearing.
Public comment:
The commission offered a public hearing on the proposed SIP revision in Austin on April
10, 2018. Notice of the public hearing was published in the Texas Register and the Austin
American-Statesman, Dallas Morning News, and Houston Chronicle newspapers.
The public comment period opened on March 9, 2018 and closed on April10, 2018.
During the comment period, staff received comments from the Lone Star Chapter of the
Sierra Club. The comments generally concerned nonattainment designations, ongoing
litigation, emissions, and control strategies. A summary of the comments and the TCEQ
response is provided as part of the SIP revision in the Response to Comments.
Significant changes from proposal:
None
Potential controversial concerns and legislative interest:
Section 110(a)(2)(D) of the FCAA requires transport SIPs to contain adequate provisions to
prevent emissions from interfering with visibility in another state. As part of the EPA's
October 17, 2017 FIP to address best available retrofit technology (BART) requirements
for Texas electric generating units, the EPA disapproved portions of the Texas SIP with
regard to interstate visibility transport for the 1997 eight-hour ozone, 1997 PM2.s (annual
and 24-hour), 2006 PM2.s (24-hour), 2008 eight-hour ozone, 2010 one-hour nitrogen
dioxide, and 2010 one-hour sulfur dioxide NAAQS (82 FR 48324). The EPA also made a
finding that the BART alternatives adopted as the FIP meet the interstate visibility
transport requirements for these NAAQS under FCAA, §110(a)(2)(D)(II). Based on the
finding that Texas meets the visibility transport provision for these other NAAQS under
the BART FIP, along with the modeling analysis in the proposed SIP revision
demonstrating that Texas does not significantly contribute to nonattainment or
maintenance in another state for the 2015 ozone NAAQS, the fact that the EPA has not
established a separate visibility standard for ozone, and because Texas is included in the
Cross-State Air Pollution Rule (CSAPR) Update ozone season nitrogen oxides (NOx) trading
         Case: 23-60069      Document: 110     Page: 257     Date Filed: 03/27/2023
Commissioners
Page 4
July 20, 2018

Re: Docket No. 2017-1762-SIP


program, it is concluded that Texas meets the visibility transport provision for the 2015
ozone NAAQS as well.

Texas is included in the EPA's CSAPR Update Rule for ozone season NOx. due to the EPA's
disapproval of the portion of Texas' 2008 ozone infrastructure and transport SIP revision
pertaining to the §110(a)(2)(D)(i)(I) interstate transport requirements and the EPA's
determination that Texas significantly contributes to nonattainment or interferes with
maintenance of the 2008 eight-hour ozone NAAQS in other states. While the CSAPR
Update Rule does not specifically cover the 2015 ozone NAAQS, litigation over the rule is
still ongoing and could potentially affect interstate transport requirements in the future.
Does this SIP revision affect any current policies or require development of new
policies?
No

What are the consequences if this SIP revision does not go forward? Are there
alternatives to this SIP revision?
Transport SIP revisions are required by § 11 O(a) of the FCAA to be submitted within three
years of the EPA promulgating the revised standard. The commission could choose to not
comply with requirements to develop and submit a transport SIP revision to the EPA.
However, if the required SIP revision is not submitted to the EPA by the October 1, 2018
deadline, the EPA has the authority to issue a finding of failure to submit requiring that
the TCEQ submit the SIP revision within a specified time period and potentially imposing
sanctions on the state. The EPA would be required to promulgate a FIP if the TCEQ failed
to make the submission within two years, or by October 1, 2020.
Key points in the SIP revision adoption schedule:
  Anticipated adoption date: August 8, 2018
  EPA due date: October 1, 2018

Agency contacts:
Kristin Patton, SIP Project Manager, Air Quality Division, (512) 239-4907
Amy Browning, Staff Attorney, (512) 239-0891
Joyce Spencer-Nelson, Texas Register Rule/Agenda Coordinator, (512) 239-5017

cc:   Chief Clerk, 2 copies
      Executive Director's Office
      Jim Rizk
      Office of General Counsel
      Kristin Patton
      Joyce Spencer-Nelson
       Case: 23-60069      Document: 110     Page: 258    Date Filed: 03/27/2023




              RESPONSE TO COMMENTS RECEIVED CONCERNING TilE
                TRANSPORT STATE IMPLEMENTATION PIAN (SIP)
                  REVISION FOR TilE 2015 EIGHT-HOUR OZONE
                                 STANDARD

The Texas Commission on Environmental Quality (commission or TCEQ) conducted a
public hearing in Austin on April10, 2018, at 2:00p.m. During the comment period,
which closed on April10, 2018, the commission received comments from the Lone Star
Chapter of the Sierra Club (Sierra Club).
TABLE OF CONTENTS
General Comments
Emissions
Control Strategies

GENERAL COMMENTS
Sierra Club commented that the final2015 Ozone NAAQS Transport SIP revision
should include the latest information on nonattainment area designations.

The TCEQ has updated the SIP revision to include the latest available information
related to final area designations for the 2015 ozone NAAQS.
Sierra Club commented that many EPA rules and decisions are under ongoing litigation
and that the SIP revision should be updated for any changes resulting from existing
litigation.

The SIP revision includes the latest information related to ongoing litigation
available at the time of development. As noted in Section 1.2: Introduction of the
SIP revision, the TCEQ acknowledges that proposed changes to federal regulations
may have future impacts on how the TCEQ meets the requirements of FCAA,
§110(a)(2)(D); however, this SIP revision reflects the methods and means by which
Texas meets these requirements at the time this SIP revision was developed. Should
future federal rule changes necessitate state rule changes, the TCEQ will act
appropriately at that time.
EMISSIONS
Sierra Club suggested that historical NOx emission trends for Bexar County or the
greater San Antonio area be included in the SIP revision.
NOx emissions trends for Bexar County and the greater San Antonio area are
included as part of the statewide trends discussed in the SIP revision in Section
2.3.2: Historical Emissions Inventory Trends. The request for additional emission
trend analysis specific to Bexar County or the San Antonio area is outside the scope
of this SIP revision.


                                      Page 1 of 2
       Case: 23-60069      Document: 110      Page: 259    Date Filed: 03/27/2023



Sierra Club commented that the SIP revision should address the extent to which coal
plants in northeastern Texas could impact ozone in nearby states, specifically
Oklahoma and Arkansas.
The TCEQ's modeling indicates there are no projected nonattainment or
maintenance monitors in Oklahoma and Arkansas for the 2015 ozone NAAQS. Any
ozone impacts on Oklahoma or Arkansas specifically from coal-fired power plants
in northeastern Texas beyond the requirements of FCAA, §110(a)(2)(D) are not
relevant for the purposes of this transport SIP revision. Further analysis presented
in this SIP revision was limited to the tagged projected nonattainment and/or
maintenance monitors in Arizona, California, and Colorado and determined that
emissions from Texas do not contribute significantly to nonattainment or interfere
with maintenance of the 2015 ozone NAAQS at these downwind monitors or in any
other state.
CONTROLSTRATEGffiS
Sierra Club commented that the SIP revision should include a discussion about control
strategies on oil and gas and what is being done to limit ozone formation as a result of
oil and gas emissions, particularly in the Permian Basin.
The SIP revision includes a discussion of existing control strategies related to oil
and gas emissions in Chapter 4: Control Strategies. Additional controls are not
addressed in this SIP revision as Texas emissions do not contribute significantly to
nonattainment or interfere with maintenance of the 2015 eight-hour ozone NAAQS
in any other state.




                                       Page 2 of 2
Case: 23-60069   Document: 110   Page: 260   Date Filed: 03/27/2023




     RECOMMENDATION
Case: 23-60069   Document: 110   Page: 261   Date Filed: 03/27/2023




          REVISIONS TO THE STATE OF TEXAS AIR QUALITY
      IMPLEMENTATION PLAN CONCERNING FEDERAL CLEAN AIR
          ACT SECTIONS 110(a)(1) AND (2) INFRASTRUCTURE




             TRANSPORT DEMONSTRATION FOR OZONE




         TEXAS COMMISSION ON ENVIRONMENTAL QUALITY
                        P.O. BOX 13087
                  AUSTIN, TEXAS 78711-3087




      FEDERAL CLEAN AIR ACT, SECTIONS 110(A)(1) AND (2)
    TRANSPORT STATE IMPLEMENTATION PLAN REVISION FOR
       THE 2015 OZONE NATIONAL AMBIENT AIR QUALITY
                       STANDARDS



                 PROJECT NUMBER 2017-039-SIP-NR




                           Adoption
                         August 8, 2018
Case: 23-60069   Document: 110     Page: 262     Date Filed: 03/27/2023




                 This page intentionally left blank
       Case: 23-60069      Document: 110      Page: 263     Date Filed: 03/27/2023




                                 EXECUTIVE SUMMARY

This revision to the state implementation plan (SIP) is intended to meet the
infrastructure and transport requirements of the Federal Clean Air Act (FCAA), §110(a).
States are required by FCAA, §110(a)(1) to submit SIP revisions providing for the
implementation, maintenance, and enforcement of a new or revised National Ambient
Air Quality Standard (NAAQS) within three years after promulgation. On October 1,
2015, the United States Environmental Protection Agency (EPA) revised the primary
and secondary NAAQS for ozone to an eight-hour standard of 0.070 parts per million.
Infrastructure and transport SIP revisions to address the 2015 Ozone NAAQS are due
to the EPA by October 1, 2018.

FCAA, §110(a)(2)(A) through (M), lists the elements that infrastructure and transport
SIP submissions must contain. This SIP revision specifically addresses transport
requirements under FCAA, §110(a)(2)(D) for the 2015 ozone NAAQS. The remaining
infrastructure requirements of FCAA, §110(a)(2)(A) through (M) are addressed in a
separate SIP revision (Project No. 2017-040-SIP-NR). This SIP revision documents how
the transport elements listed in FCAA, §110(a)(2)(D) are currently addressed in the
Texas SIP and provides a detailed technical demonstration and other supporting
information to meet the interstate transport requirements of FCAA, §110(a)(2)(D)(i)
and (ii).

Pursuant to FCAA, §110(a)(2)(D)(i), this SIP revision must contain several elements that
provide supporting information demonstrating that Texas is:

   •   not contributing significantly to nonattainment of the 2015 ozone NAAQS for
       areas in other states;

   •   not interfering with the maintenance of the 2015 ozone NAAQS in any other
       state;

   •   not interfering with measures required to meet an implementation plan for any
       other state related to prevention of significant deterioration (PSD); and

   •   not interfering with measures required to meet the implementation plan for any
       other state related to regional haze and visibility.

In addition, pursuant to FCAA, §110(a)(2)(D)(ii), this SIP revision must provide
information demonstrating compliance with the applicable requirements of FCAA,
§126 and §115 relating to interstate and international pollution abatement.

To meet the requirements of FCAA, §110(a)(2)(D)(i)(I), this SIP revision includes an
analysis of ozone design value and emissions trends in Texas, a modeling analysis of
the impacts of Texas’ emissions on other states, and a discussion of existing ozone
control strategies to demonstrate that emissions from Texas do not contribute
significantly to nonattainment or interfere with maintenance of the 2015 ozone
NAAQS in another state. Information regarding how Texas meets the requirements of
FCAA, §110(a)(2)(D)(i)(II) is provided in Chapter 4: Prevention of Significant
Deterioration and Visibility Transport [FCAA, §110(a)(2)(D)(i)(II)]. Statements regarding



                                           ES-1
      Case: 23-60069      Document: 110      Page: 264     Date Filed: 03/27/2023




compliance with FCAA, §110(a)(2)(D)(ii) are provided in Chapter 5: Interstate Pollution
Abatement and International Air Pollution [FCAA, §110(a)(2)(D)(ii)].




                                          ES-2
      Case: 23-60069      Document: 110         Page: 265   Date Filed: 03/27/2023




                          SECTION V-A: LEGAL AUTHORITY

General
The Texas Commission on Environmental Quality (TCEQ) has the legal authority to
implement, maintain, and enforce the National Ambient Air Quality Standards (NAAQS)
and to control the quality of the state’s air, including maintaining adequate visibility.

The first air pollution control act, known as the Clean Air Act of Texas, was passed by
the Texas Legislature in 1965. In 1967, the Clean Air Act of Texas was superseded by a
more comprehensive statute, the Texas Clean Air Act (TCAA), found in Article 4477-5,
Vernon’s Texas Civil Statutes. The legislature amended the TCAA in 1969, 1971, 1973,
1979, 1985, 1987, 1989, 1991, 1993, 1995, 1997, 1999, 2001, 2003, 2005, 2007, 2009,
2011, 2013, 2015, and 2017. In 1989, the TCAA was codified as Chapter 382 of the
Texas Health and Safety Code.

Originally, the TCAA stated that the Texas Air Control Board (TACB) is the state air
pollution control agency and is the principal authority in the state on matters relating
to the quality of air resources. In 1991, the legislature abolished the TACB effective
September 1, 1993, and its powers, duties, responsibilities, and functions were
transferred to the Texas Natural Resource Conservation Commission (TNRCC). With
the creation of the TNRCC, the authority over air quality is found in both the Texas
Water Code and the TCAA. Specifically, the authority of the TNRCC is found in
Chapters 5 and 7. Chapter 5, Subchapters A - F, H - J, and L, include the general
provisions, organization, and general powers and duties of the TNRCC, and the
responsibilities and authority of the executive director. Chapter 5 also authorizes the
TNRCC to implement action when emergency conditions arise and to conduct hearings.
Chapter 7 gives the TNRCC enforcement authority. In 2001, the 77th Texas Legislature
continued the existence of the TNRCC until September 1, 2013, and changed the name
of the TNRCC to the TCEQ. In 2009, the 81st Texas Legislature, during a special
session, amended section 5.014 of the Texas Water Code, changing the expiration date
of the TCEQ to September 1, 2011, unless continued in existence by the Texas Sunset
Act. In 2011, the 82nd Texas Legislature continued the existence of the TCEQ until
2023.

The TCAA specifically authorizes the TCEQ to establish the level of quality to be
maintained in the state’s air and to control the quality of the state’s air by preparing
and developing a general, comprehensive plan. The TCAA, Subchapters A - D, also
authorize the TCEQ to collect information to enable the commission to develop an
inventory of emissions; to conduct research and investigations; to enter property and
examine records; to prescribe monitoring requirements; to institute enforcement
proceedings; to enter into contracts and execute instruments; to formulate rules; to
issue orders taking into consideration factors bearing upon health, welfare, social and
economic factors, and practicability and reasonableness; to conduct hearings; to
establish air quality control regions; to encourage cooperation with citizens’ groups
and other agencies and political subdivisions of the state as well as with industries and
the federal government; and to establish and operate a system of permits for
construction or modification of facilities.

Local government authority is found in Subchapter E of the TCAA. Local governments
have the same power as the TCEQ to enter property and make inspections. They also

                                            i
      Case: 23-60069      Document: 110         Page: 266   Date Filed: 03/27/2023




may make recommendations to the commission concerning any action of the TCEQ
that affects their territorial jurisdiction, may bring enforcement actions, and may
execute cooperative agreements with the TCEQ or other local governments. In addition,
a city or town may enact and enforce ordinances for the control and abatement of air
pollution not inconsistent with the provisions of the TCAA and the rules or orders of
the commission.

Subchapters G and H of the TCAA authorize the TCEQ to establish vehicle inspection
and maintenance programs in certain areas of the state, consistent with the
requirements of the Federal Clean Air Act; coordinate with federal, state, and local
transportation planning agencies to develop and implement transportation programs
and measures necessary to attain and maintain the NAAQS; establish gasoline volatility
and low emission diesel standards; and fund and authorize participating counties to
implement vehicle repair assistance, retrofit, and accelerated vehicle retirement
programs.

Applicable Law
The following statutes and rules provide necessary authority to adopt and implement
the state implementation plan (SIP). The rules listed below have previously been
submitted as part of the SIP.

Statutes
All sections of each subchapter are included, unless otherwise noted.
    TEXAS HEALTH & SAFETY CODE, Chapter 382                         September 1, 2017
    TEXAS WATER CODE                                                September 1, 2017

Chapter 5: Texas Natural Resource Conservation Commission
   Subchapter A: General Provisions
   Subchapter B: Organization of the Texas Natural Resource Conservation
                 Commission
   Subchapter C: Texas Natural Resource Conservation Commission
   Subchapter D: General Powers and Duties of the Commission
   Subchapter E: Administrative Provisions for Commission
   Subchapter F: Executive Director (except §§5.225, 5.226, 5.227, 5.2275,5.231, 5.232,
                 and 5.236)
   Subchapter H: Delegation of Hearings
   Subchapter I: Judicial Review
   Subchapter J: Consolidated Permit Processing
   Subchapter L: Emergency and Temporary Orders (§§5.514, 5.5145, and 5.515 only)
   Subchapter M: Environmental Permitting Procedures (§5.558 only)

Chapter 7: Enforcement
   Subchapter A: General Provisions (§§7.001, 7.002, 7.0025, 7.004, and 7.005 only)
   Subchapter B: Corrective Action and Injunctive Relief (§7.032 only)
   Subchapter C: Administrative Penalties
   Subchapter D: Civil Penalties (except §7.109)
   Subchapter E: Criminal Offenses and Penalties: §§7.177, 7.179-7.183




                                           ii
        Case: 23-60069      Document: 110          Page: 267   Date Filed: 03/27/2023




Rules

All of the following rules are found in 30 Texas Administrative Code, as of the
following latest effective dates:

Chapter 7: Memoranda of Understanding, §§7.110 and 7.119
                                               December 13, 1996 and May 2, 2002

Chapter 19: Electronic Reporting                                            March 15, 2007

Chapter 35: Subchapters A-C, K: Emergency and Temporary Orders
and Permits; Temporary Suspension or Amendment of Permit
Conditions                                                                    July 20, 2006

Chapter 39: Public Notice, §§39.201; 39.401; 39.403(a) and (b)(8)-(10);
39.405(f)(1) and (g); 39.409; 39.411 (a), (b)(1)-(6), and (8)-(10) and (c)(1)-
(6) and (d); 39.413(9), (11), (12), and (14); 39.418(a) and (b)(3) and (4);
39.419(a), (b), (d), and (e); 39.420(a), (b) and (c)(3) and (4); 39.423 (a)
and (b); 39.601-39.605                                                      December 29, 2016

Chapter 55: Requests for Reconsideration and Contested Case
Hearings; Public Comment, §§55.1; 55.21(a) - (d), (e)(2), (3), and (12), (f)
and (g); 55.101(a), (b), and (c)(6) - (8); 55.103; 55.150; 55.152(a)(1), (2),
and (6) and (b); 55.154; 55.156; 55.200; 55.201(a) - (h); 55.203; 55.205;
55.209, and 55.211                                                          December 29, 2016

Chapter 101: General Air Quality Rules                                    October 12, 2017

Chapter 106: Permits by Rule, Subchapter A                                   April 17, 2014

Chapter 111: Control of Air Pollution from Visible Emissions and
Particulate Matter                                                          August 3, 2017

Chapter 112: Control of Air Pollution from Sulfur Compounds                   July 16, 1997

Chapter 113: Standards of Performance for Hazardous Air Pollutants
and for Designated Facilities and Pollutants                                  May 14, 2009

Chapter 114: Control of Air Pollution from Motor Vehicles               December 29, 2016

Chapter 115: Control of Air Pollution from Volatile Organic
Compounds                                                                   January 5, 2017

Chapter 116: Permits for New Construction or Modification               November 24, 2016

Chapter 117: Control of Air Pollution from Nitrogen Compounds                 June 25, 2015

Chapter 118: Control of Air Pollution Episodes                               March 5, 2000

Chapter 122: §122.122: Potential to Emit                                 February 23, 2017


                                             iii
      Case: 23-60069     Document: 110        Page: 268   Date Filed: 03/27/2023




Chapter 122: §122.215: Minor Permit Revisions                             June 3, 2001

Chapter 122: §122.216: Applications for Minor Permit Revisions            June 3, 2001

Chapter 122: §122.217: Procedures for Minor Permit Revisions       December 11, 2002

Chapter 122: §122.218: Minor Permit Revision Procedures for Permit
Revisions Involving the Use of Economic Incentives, Marketable
Permits, and Emissions Trading                                            June 3, 2001




                                         iv
      Case: 23-60069     Document: 110       Page: 269   Date Filed: 03/27/2023




                        SECTION VI: CONTROL STRATEGY

A.   Introduction (No change)
B.   Ozone (No change)
C.   Particulate Matter (No change)
D.   Carbon Monoxide (No change)
E.   Lead (No change)
F.   Oxides of Nitrogen (No change)
G.   Sulfur Dioxide (No change)
H.   Conformity with the National Ambient Air Quality Standards (No change)
I.   Site Specific (No change)
J.   Mobile Sources Strategies (No change)
K.   Clean Air Interstate Rule (No change)
L.   Transport (Revised)
M.   Regional Haze (No change)




                                         v
       Case: 23-60069     Document: 110          Page: 270   Date Filed: 03/27/2023




                                  TABLE OF CONTENTS

Executive Summary
Section V-A: Legal Authority
Section VI: Control Strategy
Table of Contents
List of Acronyms
List of Tables
List of Figures
List of Appendices
Chapter 1: General
    1.1 Background
    1.2 Introduction
    1.3 Health Effects
    1.4 Public Hearing and Comment Information
    1.5 Social and Economic Considerations
    1.6 Fiscal and Manpower Resources
Chapter 2: Ozone Data
    2.1 Introduction
    2.2 Ozone Design Value Trends in Texas
    2.3 Ozone Emissions Trends in Texas
       2.3.1 General
       2.3.2 Historical Emissions Inventory Trends
    2.4 Ozone Data Summary
Chapter 3: Significant Contribution to Nonattainment and Interference With
Maintenance [FCAA, §110(a)(2)(D)(i)(I)]
    3.1 Introduction
    3.2 Step 1: Identification of Projected Nonattainment and Maintenance Monitors
       3.2.1 Modeling Domain
       3.2.2 Modeling Episode
         3.2.2.1 Meteorology of 2012
         3.2.2.2 Ozone Production in 2012
       3.2.3 Base Case Modeling


                                            vi
  Case: 23-60069      Document: 110      Page: 271    Date Filed: 03/27/2023




     3.2.3.1 Meteorological Modeling
     3.2.3.2 Emissions Modeling
     3.2.3.3 Initial and Boundary Conditions
     3.2.3.4 Photochemical Modeling
  3.2.4 Future Year Modeling
     3.2.4.1 Emissions Modeling
     3.2.4.2 Initial and Boundary Conditions
     3.2.4.3 Photochemical Modeling
3.3 Step 2: Source Apportionment and Identification of Downwind Monitors
Tagged For Further Review
  3.3.1 Identification of Nonattainment Monitors for Further Review
  3.3.2 Identification of Maintenance Monitors for Further Review
3.4 Step 3: Analysis to Determine if Texas Emissions Contribute Significantly to
Nonattainment or Interfere with Maintenance at Tagged Monitors
  3.4.1 Colorado Monitors
     3.4.1.1 Eight-Hour Ozone Design Value Trends
     3.4.1.2 Monitored Elevated Ozone Days
     3.4.1.3 Back Trajectory Analysis on Elevated Ozone Days
     3.4.1.4 Texas Contributions on Projected Future Year Elevated Ozone Days
     3.4.1.5 Collective Interstate Contribution to the Future Design Value
     3.4.1.6 Direct Decoupled Method and Analysis of MDA8 Ozone
     Responsiveness to Texas Emissions
     3.4.1.7 Conclusion of Weight-of-Evidence Analysis of the Tagged Colorado
     Monitors
  3.4.2 Arizona Monitor(s)
  3.4.3 California Monitors
     3.4.3.1 Conceptual Model of Eight-Hour Ozone Formation at Tagged
     California Monitors
     3.4.3.2 Eight-Hour Ozone Design Value Trends
     3.4.3.3 Monitored Elevated Ozone Days
     3.4.3.4 Back Trajectory Analysis on Elevated Ozone Days
     3.4.3.5 Texas Contributions on Projected Future Year Elevated Ozone Days
     3.4.3.6 Collective Interstate Contribution to the Future Design Value



                                       vii
      Case: 23-60069       Document: 110      Page: 272    Date Filed: 03/27/2023




         3.4.3.7 Conclusion of the Weight-of Evidence Analysis of the Tagged
         California Monitors
    3.5 Conclusion
    3.6 References
Chapter 4: Control Strategies
    4.1 Introduction
    4.2 Emissions Reductions from Electric Generating Units (EGU)
      4.2.1 Utility Electric Generation in Ozone Nonattainment Areas
      4.2.2 Utility Electric Generation in East and Central Texas
      4.2.3 Senate Bill 7 (76th Texas Legislature)
    4.3 Emission Reductions from Other Sources
      4.3.1 East Texas Engines
      4.3.2 Mass Emissions Cap and Trade (MECT) Program
      4.3.3 Highly Reactive Volatile Organic Compounds (HRVOC) Rules and HRVOC
      Emissions Cap and Trade (HECT) Program
      4.3.4 Cement Kilns
    4.4 Additional Measures
      4.4.1 SmartWay Transport Partnership and the Blue Skyway Collaborative
      4.4.2 Energy Efficiency and Renewable Energy (EE/RE) Measures
      4.4.3 Consent Decrees with Refineries
      4.4.4 Clean Air Interstate Rule (CAIR) and Cross-State Air Pollution Rule (CSAPR)
      4.4.5 Texas Emissions Reduction Plan (TERP)
      4.4.6 Clean School Bus Program
      4.4.7 Local Initiatives
      4.4.8 Voluntary Measures
    4.5 2008 Ozone NAAQS SIP Revisions Adopted Since 2015
      4.5.1 DFW 2008 Eight Hour Ozone SIP Revisions
      4.5.2 HGB 2008 Eight-Hour Ozone SIP Revisions
    4.6 Conclusions
Chapter 5: Prevention of Significant Deterioration and Visibility Transport [FCAA,
§110(a)(2)(D)(i)(II)]
    5.1 Introduction
    5.2 PSD


                                           viii
      Case: 23-60069       Document: 110        Page: 273   Date Filed: 03/27/2023




    5.3 Visibility Transport
Chapter 6: Interstate Pollution Abatement and International Air Pollution [FCAA,
§110(a)(2)(D)(ii)]
    6.1 Introduction
    6.2 Interstate Pollution Abatement
      6.2.1 Compliance with FCAA, §126(a)
      6.2.2 Compliance with FCAA, §126(b) and (c)
    6.3 International Air Pollution
      6.3.1 Compliance with FCAA, §115
Chapter 7: Conclusions
Chapter 8: Future Revisions to the National Ambient Air Quality Standards (NAAQS)




                                           ix
        Case: 23-60069     Document: 110          Page: 274   Date Filed: 03/27/2023




                                   LIST OF ACRONYMS

3-D          three-dimensional
AD           attainment demonstration
APCA         Anthropogenic Culpability Precursor Analysis
AQS          Air Quality System
BART         best available retrofit technology
BEIS         Biogenic Emissions Inventory Systems
BPA          Beaumont-Port Arthur
CAIR         Clean Air Interstate Rule
CAMx         Comprehensive Air Quality Model with Extensions
CEMS         continuous emissions monitoring system
CSAPR        Cross-State Air Pollution Rule
CST          Central Standard Time
CTM          Chemical Transport Model
DDM          Direct Decoupled Method
DERA         Diesel Emissions Reduction Act
DERI         Diesel Emissions Reduction Incentive Program
DFW          Dallas-Fort Worth
DVB          baseline design value
DVF          future year design value
EE           energy efficiency
EI           emissions inventory
EGF          electric generating facility
EGU          electric generating unit
EPA          United States Environmental Protection Agency
EPS3         Emissions Processor System
ESL          Energy Systems Laboratory
FCAA         Federal Clean Air Act
FINN         Fire Inventory of NCAR
FIP          federal implementation plan
FR           Federal Register
FY           fiscal year
g/hp-hr      grams per horsepower-hour


                                              x
       Case: 23-60069      Document: 110         Page: 275   Date Filed: 03/27/2023




GEOS        Goddard Earth Observing System
GHG         greenhouse gas
H-GAC       Houston-Galveston Area Council
HB          House Bill
HECT        Highly Reactive Volatile Organic Compounds Emissions Cap and Trade
HGB         Houston-Galveston-Brazoria
hp          horsepower
HRVOC       Highly Reactive Volatile Organic Compounds
HTAP        Hemispheric Transport of Air Pollution
HYSPLIT     Hybrid Single Particle Lagrangian Integrated Trajectory
km          kilometers
Kv          vertical diffusivity
LAI         Leaf Area Index
lb/MMBtu    pound per million British thermal units
m           meters
m AGL       meters above ground level
MB          mean bias
MDA8        maximum daily average eight-hour (ozone concentration)
MDVF        maintenance future year design value
ME          mean error
MECT        Mass Emissions Cap and Trade
MW          megawatts
NAAQS       National Ambient Air Quality Standard
NCAR        National Center for Atmospheric Research
NCDC        National Climatic Data Center
NCEP        National Centers for Environmental Prediction
NMB         normalized mean bias
NME         normalized mean error
NOAA        National Oceanic and Atmospheric Administration
NODA        Notice of Data Availability
NOX         nitrogen oxides
NSR         New Source Review
O3          ozone
PM          particulate matter


                                            xi
        Case: 23-60069       Document: 110     Page: 276   Date Filed: 03/27/2023




PM2.5        particulate matter with an aerodynamic diameter less than or equal to a
             nominal 2.5 micrometers
ppb          parts per billion
ppm          parts per million
PSD          prevention of significant deterioration
PUCT         Public Utility Commission of Texas
RACT         reasonably available control technology
RE           renewable energy
RFP          reasonable further progress
RMSE         root mean square error
RRF          relative response factor
SB           Senate Bill
SECO         State Energy Conservation Office
SIP          state implementation plan
SMOKE        Sparse Matrix Operation Kernel Emissions (System)
SO2          sulfur dioxide
TAC          Texas Administrative Code
TACB         Texas Air Control Board
TCAA         Texas Clean Air Act
TCEQ         Texas Commission on Environmental Quality (commission)
TCFP         Texas Clean Fleet Program
TERP         Texas Emissions Reduction Plan
THSC         Texas Health and Safety Code
TNGVGP       Texas Natural Gas Vehicle Grant Program
TNRCC        Texas Natural Resource Conservation Commission
tpd          tons per day
tpy          tons per year
TUC          Texas Utilities Code
TXDVF        Texas contribution to a monitor’s future year design value
VOC          volatile organic compounds
WRF          Weather Research and Forecasting Model




                                             xii
      Case: 23-60069       Document: 110      Page: 277   Date Filed: 03/27/2023




                                   LIST OF TABLES

Table 2-1:   2016 Eight-Hour Ozone Design Values by County in Texas
Table 3-1:   2015 Ozone NAAQS Transport SIP Revision CAMx Modeling Domain
             Definitions
Table 3-2:   2015 Ozone NAAQS Transport SIP Revision CAMx Modeling Domain
             Vertical Structure
Table 3-3:   2015 Transport SIP Revision WRF Modeling Domain Definitions
Table 3-4:   2015 Transport SIP Revision WRF Modeling Domain Vertical Structure
Table 3-5:   WRF Model Configuration Parameters
Table 3-6:   Emissions Processing Modules
Table 3-7:   Statistical Model Performance Evaluation Metrics for TCEQ’s 2015 Ozone
             NAAQS Transport SIP Revision Configuration
Table 3-8:   Maximum and Minimum Eight-Hour Ozone Design Values for All U.S.
             Monitors for Each Year from 2007 through 2016
Table 3-9:   Apportion of Total Ozone Concentration for cell index [242, 78] on episode
             day July 14 at 12:00 p.m. CST to Contribution Categories
Table 3-10: Downwind Nonattainment Monitors Tagged for Further Review
Table 3-11: Downwind Maintenance Monitors Tagged for Further Review
Table 3-12: Monitors Linked to Texas by EPA Modeling in the 2015 Transport NODA
Table 3-13: Number of HYSPLIT Back Trajectories at Each Tagged Colorado Monitor
Table 3-14: Modeled Elevated Ozone Days in the Future Year at the Tagged Colorado
            Monitors
Table 3-15: Collective Interstate Contribution to Future Design Value at Tagged
            Colorado Monitors
Table 3-16: Number of HYSPLIT Back Trajectories at Each Tagged California Monitor
Table 3-17: Modeled Elevated Ozone Days in the Future Year
Table 3-18: Collective Interstate Contributions to Future Design Values at Tagged
            California Monitors




                                           xiii
      Case: 23-60069     Document: 110     Page: 278    Date Filed: 03/27/2023




                                  LIST OF FIGURES

Figure 2-1: 2016 Eight-Hour Ozone Design Values by County in Texas
Figure 2-2: Eight-Hour Ozone Design Values and Population by Area in Texas
Figure 2-3: Statewide Historical NOX Emissions Trends in Tons per Year
Figure 2-4: Statewide Historical VOC Emissions Trends in Tons per Year
Figure 2-5: DFW 10-County Nonattainment Area Historical NOX Emissions Trends in
            Tons per Year
Figure 2-6: DFW 10-County Nonattainment Area Historical VOC Emissions Trends in
            Tons per Year
Figure 2-7: HGB Eight-County Nonattainment Area Historical NOX Emissions Trends in
            Tons per Year
Figure 2-8: HGB Eight-County Nonattainment Area Historical VOC Emissions Trends in
            Tons per Year
Figure 3-1: Map of 2015 Ozone NAAQS Transport SIP Revision CTM Modeling Domain
Figure 3-2: U.S. Drought Monitor Map of Texas for July 26, 2011
Figure 3-3: May through October 2012 Statewide NCDC Temperature Ranks
Figure 3-4: May through October 2012 Statewide NCDC Precipitation Ranks
Figure 3-5: Change in Texas Drought Conditions from July 2011 to July 2012
Figure 3-6: Meteorologically-Adjusted Ozone Trends for NCDC Climate Regions for
            2000 through 2016
Figure 3-7: Map of 2015 Ozone NAAQS Transport SIP Revision Meteorological
            Modeling Domain
Figure 3-8: Matching of WRF and CAMx Vertical Layers
Figure 3-9: Wind Speed Mean Bias for May through September 2012
Figure 3-10: Two Meter Temperature Mean Bias for May through September 2012
Figure 3-11: Humidity Mean Bias for May through September 2012
Figure 3-12: Wind Speed Mean Absolute Error for May through September 2012
Figure 3-13: Two Meter Temperature Mean Absolute Error for May through September
             2012
Figure 3-14: Humidity Mean Absolute Error for May through September 2012
Figure 3-15: Wind Speed RMSE for May through September 2012
Figure 3-16: Two Meter Temperature RMSE for May through September 2012
Figure 3-17: Humidity RMSE for May through September 2012
Figure 3-18: Base Case Representative Day Total Anthropogenic Precursor Emissions by
             Geographic Regions
Figure 3-19: Base Case Representative Day Total Anthropogenic Precursor Emissions by
             Source Category
Figure 3-20: Biogenic VOC Emissions in RPO_12km Domain on July 18, 2012


                                         xiv
      Case: 23-60069      Document: 110     Page: 279     Date Filed: 03/27/2023




Figure 3-21: Initial Concentration on April 16, 2012 in the RPO_12km
Figure 3-22: 2012 East Boundary Condition Cross-Section for July 18, 2012 Episode Day
Figure 3-23: 2012 West Boundary Condition Cross-Section for July 18, 2012 Episode
             Day
Figure 3-24: 2012 North Boundary Condition Cross-Section for July 18, 2012 Episode
             Day
Figure 3-25: 2012 South Boundary Condition Cross-Section for July 18, 2012 Episode
             Day
Figure 3-26: Mean Bias for the May through September 2012 Episode at AQS Monitoring
             Sites
Figure 3-27: RMSE for May through September 2012 Episode at AQS Monitoring Sites
Figure 3-28: Future Year Representative Day Total Anthropogenic Precursor Emissions
             by Geographic Region
Figure 3-29: Future Year Representative Day Total Anthropogenic Precursor Emissions
             by Source Category
Figure 3-30: 2023 East Boundary Condition Cross-Section for July 18, 2012 Episode Day
Figure 3-31: 2023 West Boundary Condition Cross-Section for July 18, 2012 Episode
             Day
Figure 3-32: 2023 North Boundary Condition Cross-Section for July 18, 2012 Episode
             Day
Figure 3-33: 2023 South Boundary Condition Cross-Section for July 18, 2012 Episode
             Day
Figure 3-34: Baseline Design Value (DVB) for the 2015 Ozone NAAQS Transport SIP
             Revision
Figure 3-35: 2023 Future Design Value (DVF) for the AQS Monitors in the RPO_12km
             Domain
Figure 3-36: 2023 Maintenance Future Year Design Value (MDVF) for the AQS Monitors
             in the RPO_12km Domain
Figure 3-37: APCA Geographic Regions for the 2015 Ozone NAAQS Transport SIP
             Revision
Figure 3-38: Breakdown of Total Hourly Modeled Ozone Concentration by APCA
             Contribution Categories for the Manvel Croix Monitor Grid Cell on July 14
             at 12:00 p.m. CST
Figure 3-39: Map of Additional APCA Geographic Regions Based on Location of Tagged
             Monitors
Figure 3-40: Eight-Hour Ozone Design Values for Monitors in the Denver-Aurora Area
Figure 3-41: Number of Elevated Eight-Hour Ozone Days at the Tagged Colorado
             Monitors for the years 2007 through 2016
Figure 3-42: HYSPLIT Back Trajectory Endpoints that Meet Filter Criteria from the
             Tagged Colorado Monitors



                                          xv
      Case: 23-60069      Document: 110     Page: 280     Date Filed: 03/27/2023




Figure 3-43: Number of Trajectories that Reach Texas and the Number of Elevated
             Eight-Hour Ozone Days at Each Tagged Colorado Monitor
Figure 3-44: Fourth-Highest Eight-Hour Ozone and the Number of Trajectories that
             Reach Texas
Figure 3-45: DDM Responsiveness of Ozone in July 2023 at Highland Reservoir
Figure 3-46: DDM Responsiveness of Ozone in August 2023 at Highland Reservoir
Figure 3-47: DDM Responsiveness of Ozone in July 2023 at Chatfield State Park
Figure 3-48: DDM Responsiveness of Ozone in August 2023 at Chatfield State Park
Figure 3-49: DDM Responsiveness of Ozone in July 2023 at Rocky Flats
Figure 3-50: DDM Responsiveness of Ozone in August 2023 at Rocky Flats
Figure 3-51: DDM Responsiveness of Ozone in July 2023 at National Renewable Energy
             Labs-NREL
Figure 3-52: DDM Responsiveness of Ozone in August 2023 at National Renewable
             Energy Labs-NREL
Figure 3-53: DDM Responsiveness of Ozone in July 2023 at Fort Collins-West
Figure 3-54: DDM Responsiveness of Ozone in August 2023 at Fort Collins-West
Figure 3-55: Design Value Trends from 2007 through 2016 for Chiricahua National
             Monument (AQS ID: 040038001)
Figure 3-56: Eight-Hour Ozone Design Values for Monitors in the Los Angeles Area
Figure 3-57: Number of Elevated Eight-Hour Ozone Days at the Tagged California
             Monitors for the years 2012 through 2016
Figure 3-58: HYSPLIT Back Trajectory Endpoints that Meet Filter Criteria from the
             Tagged California Monitors




                                          xvi
     Case: 23-60069   Document: 110      Page: 281   Date Filed: 03/27/2023




                            LIST OF APPENDICES

Appendix        Appendix Name

Appendix A      Meteorological Modeling for the Transport State Implementation
                Plan Revision for the 2015 Eight-Hour Ozone National Ambient Air
                Quality Standard
Appendix B      Emissions Modeling for the Transport State Implementation Plan
                Revision for the 2015 Eight-Hour Ozone National Ambient Air
                Quality Standard
Appendix C      Photochemical Model Performance Evaluation for the Transport
                State Implementation Plan Revision for the 2015 Eight-Hour Ozone
                National Ambient Air Quality Standard
Appendix D      Photochemical Modeling Protocol for the Transport State
                Implementation Plan Revision for the 2015 Eight-Hour Ozone
                National Ambient Air Quality Standard




                                      xvii
       Case: 23-60069      Document: 110     Page: 282     Date Filed: 03/27/2023




                                CHAPTER 1: GENERAL

1.1 BACKGROUND
Information on the Texas state implementation plan (SIP) and a list of SIP revisions and
other air quality plans adopted by the commission can be found on the Texas State
Implementation Plan webpage (http://www.tceq.texas.gov/airquality/sip) on the Texas
Commission on Environmental Quality’s (TCEQ) website (http://www.tceq.texas.gov/).

1.2 INTRODUCTION
On October 1, 2015, the United States Environmental Protection Agency (EPA) revised
the primary and secondary NAAQS for ozone to an eight-hour standard of 0.070 parts
per million (ppm) or 70 parts per billion (ppb) (80 Federal Register (FR) 65291, October
26, 2015). Within three years of the promulgation of any new or revised NAAQS, FCAA,
§110(a)(1) requires states to submit a SIP revision to provide for the implementation,
maintenance, and enforcement of the NAAQS. Section 110(a)(2)(A) through (M), lists the
elements that the SIP submissions must contain. This SIP revision specifically
addresses transport requirements under FCAA, §110(a)(2)(D). The TCEQ is addressing
the infrastructure requirements of FCAA, §110(a)(2)(A) through (C) and (E) through (M)
in a separate concurrent SIP revision (Project No. 2017-040-SIP-NR). Submittal of this
SIP revision and the infrastructure SIP revision covering FCAA, §110(a)(2)(A) through
(C) and (E) through (M) will fulfil the FCAA, §110(a)(1) requirement. Infrastructure and
transport SIP revisions to address the 2015 Ozone NAAQS are due to the EPA by
October 1, 2018.

Pursuant to FCAA, §110(a)(2)(D)(i), this transport SIP revision must contain adequate
provisions that prohibit any source or other type of emissions activity within the state
from emitting any NAAQS pollutants in amounts that will:

   •   contribute significantly to nonattainment of the 2015 ozone NAAQS for areas in
       other states;
   •   interfere with the maintenance of the 2015 ozone NAAQS in any other state;
   •   interfere with measures required to meet an implementation plan for any other
       state related to prevention of significant deterioration (PSD); and
   •   interfere with measures required to meet the implementation plan for any other
       state related to regional haze and visibility.

In addition, pursuant to FCAA, §110(a)(2)(D)(ii), this SIP revision must provide
information demonstrating compliance with the applicable requirements of FCAA,
§126 and §115 relating to interstate and international pollution abatement.

The EPA has historically failed to issue timely guidance to address transport
requirements for previous NAAQS and did not issue formal guidance for states to use
in developing transport SIP revisions for the 2015 ozone NAAQS prior to proposal of
this SIP revision. In order to meet statutory deadlines, states do not have the option of
waiting for the EPA to provide guidance before proceeding with SIP development,
review, and submittal and must proceed without the EPA’s formal guidance to develop
submittals based on information available at the time. On March 27, 2018, the EPA
issued a memo to provide information to assist states’ efforts to develop transport SIP

                                           1-1
        Case: 23-60069          Document: 110          Page: 283       Date Filed: 03/27/2023




revisions for the 2015 ozone NAAQS.1 The memo notes that in developing transport
SIP revisions, states have flexibility to follow the four-step transport framework or
alternative frameworks, so long as the chosen approach has adequate technical
justification and is consistent with the requirements of the FCAA. The memo also
includes a preliminary list of potential flexibilities in analytical approaches for
developing transport SIP revisions that may warrant further discussion between the
EPA and states. Although this transport SIP revision was developed prior to the EPA’s
memo, the approach used in developing this SIP revision is consistent with the EPA
memo providing states with flexibility in their technical work and submittals.

This SIP revision includes an analysis of required transport elements in FCAA,
§110(a)(2)(D)(i) and (ii) consistent with statutory requirements and includes a technical
demonstration and various Texas provisions that support the conclusion that Texas
meets the requirements of each section. The TCEQ acknowledges that proposed
changes to federal regulations may have future impacts on how the TCEQ meets the
requirements of FCAA, §110(a)(2)(D); however, this SIP revision reflects the methods
and means by which Texas meets these requirements at the time this SIP revision was
developed. Should future federal rule changes necessitate state rule changes, the TCEQ
will act appropriately at that time.

1.3 HEALTH EFFECTS
On October 1, 2015, the EPA revised the primary and secondary eight-hour ozone
NAAQS to 70 ppb (80 FR 65291). To support the 2015 ozone NAAQS, the EPA provided
information that suggested that health effects may potentially occur at levels lower
than the 2008 standard of 75 ppb. Breathing relatively high levels of ground-level
ozone can cause acute respiratory problems like cough and decreases in lung function
and can aggravate the symptoms of asthma. Repeated exposures to high levels of
ozone can potentially make people more susceptible to allergic responses and lung
inflammation.

Children are at a relatively higher risk from exposure to ozone when compared to
adults since they breathe more air per pound of body weight than adults and because
children’s respiratory systems are still developing. Children also spend a considerable
amount of time outdoors during summer and during the start of the school year
(August through October) when high ozone levels are typically recorded. Adults most
at risk from exposures to elevated ozone levels are people working or exercising
outdoors and individuals with preexisting respiratory diseases.

1.4 PUBLIC HEARING AND COMMENT INFORMATION
The commission held a public hearing for this SIP revision on April 10, 2018 at 2:00
p.m. in Austin at the TCEQ Headquarters. Notice of the public hearing was published in




1
 Memorandum from Peter Tsirigotis, Director of the Office of Air Quality Planning and Standards, March
27, 2018, Information on the Interstate Transport State Implementation Plan Submissions for the 2015
Ozone National Ambient Air Quality Standards under Clean Air Act Section 110(a)(2)(D)(i)(I). EPA Office of
Air Quality Planning and Standards. https://www.epa.gov/sites/production/files/2018-
03/documents/transport_memo_03_27_18_1.pdf

                                                    1-2
      Case: 23-60069      Document: 110      Page: 284    Date Filed: 03/27/2023




the Texas Register as well as the Austin American-Statesman, Dallas Morning News, and
Houston Chronicle newspapers.

The public comment period opened on March 9, 2018, and closed on April 10, 2018.
Written comments were accepted via mail, fax, or through the eComments
(https://www6.tceq.texas.gov/rules/ecomments/) system. During the comment period,
staff received comments from the Lone Star Chapter of the Sierra Club. A summary of
the comments and the TCEQ response is provided as part of this SIP revision in the
Response to Comments.

1.5 SOCIAL AND ECONOMIC CONSIDERATIONS
Because rulemaking is not a part of this SIP revision, there are no changes that would
impact society or the economy.

1.6 FISCAL AND MANPOWER RESOURCES
The TCEQ has determined that its fiscal and manpower resources are adequate and
will not be adversely affected through the implementation of this plan.




                                          1-3
      Case: 23-60069      Document: 110        Page: 285     Date Filed: 03/27/2023




                             CHAPTER 2: OZONE DATA

2.1 INTRODUCTION
Ozone (O3) is a secondary pollutant that is created through a photochemical reaction
between oxygen (O2), nitrogen oxides (NOX), and volatile organic compounds (VOC). NOX
refers to the combination of nitrogen oxide (NO) and nitrogen dioxide (NO2). The
following reactions show how NOX, VOC, and O2 react in the presence of sunlight (hv)
to form O3:
                                             ℎ𝑣𝑣
                                  𝑂𝑂2 + 𝑁𝑁𝑁𝑁2 ↔ 𝑂𝑂3 + 𝑁𝑁𝑁𝑁

                                   𝑁𝑁𝑁𝑁 + 𝑉𝑉𝑉𝑉𝑉𝑉 → 𝑁𝑁𝑁𝑁2

The amount of ozone formed depends on several factors. Meteorological conditions,
such as wind direction and speed, temperature, mixing height, solar radiation, and
other parameters, affect the rates at which ozone formation occurs. The types and the
concentration of precursors present can affect net reactivity of precursor compounds
found in a plume of emissions.

Precursor compounds, NOX and VOC, also exist under natural conditions. Ozone is
created and destroyed on a natural cycle according to atmospheric conditions and
chemical concentrations, even in the absence of additional anthropogenic precursor
sources. This natural ozone formation is known as “natural background” ozone and is
the starting point for measuring the contribution of ozone and precursors attributable
to human activity. Within an urban area, not all ozone formation is necessarily caused
by emissions produced locally because anthropogenic precursors, along with ozone
formed by them, are often transported over long distances. Because the amount of
ozone formed depends on so many other variables, it can be difficult to quantify the
exact contribution from specific sources.

The United States Environmental Protection Agency (EPA) revised the eight-hour ozone
National Ambient Air Quality Standard (NAAQS) to 0.070 parts per million (ppm) in
2015. On November 16, 2017, the EPA designated the majority of Texas as
attainment/unclassifiable for the 2015 eight-hour ozone NAAQS (82 Federal Register
(FR) 54232). On June 4, 2018, the EPA published final designations for all remaining
areas of the state except the eight counties comprising the San Antonio area (83 FR
25776). The EPA finalized nonattainment designations for Collin, Dallas, Denton, Ellis,
Johnson, Kaufman, Parker, Tarrant, and Wise Counties in the Dallas-Fort Worth (DFW)
area and Brazoria, Chambers, Fort Bend, Galveston, Harris, and Montgomery Counties
in the Houston-Galveston-Brazoria (HGB) area. The EPA designated all remaining
counties as attainment/unclassifiable. On March 19, 2018, the EPA sent a 120-day
letter to the State of Texas regarding designations for the San Antonio area, proposing
to designate Atascosa, Bandera, Comal, Guadalupe, Kendall, Medina, and Wilson
Counties as attainment/unclassifiable and Bexar County as “at best” unclassifiable.
Final designations for the San Antonio area are expected by July 17, 2018. This chapter
discusses trends in ozone and ozone precursor emissions in Texas to demonstrate the
progress the state has made towards achieving the NAAQS.




                                            2-1
      Case: 23-60069      Document: 110      Page: 286     Date Filed: 03/27/2023




2.2 OZONE DESIGN VALUE TRENDS IN TEXAS
A design value is a statistic that is used to compare air quality data to the NAAQS. For
eight-hour ozone, a design value is the three-year average of the fourth-highest daily-
maximum eight-hour averaged ozone. The latest year in the three-year average is used
to represent the design value for that three-year period. Design values are calculated at
each ozone monitor and the monitor with the highest design value will set the design
value for that area. Although the eight-hour ozone NAAQS is reported in ppm, design
values in this chapter will be displayed in parts per billion (ppb) for ease of reading.

In 2016, Texas had 76 ozone monitoring sites in 34 counties that reported valid data
to the EPA. Eight-hour ozone design values for 2016 are displayed in Figure 2-1: 2016
Eight-Hour Ozone Design Values by County in Texas and listed in Table 2-1: 2016 Eight-
Hour Ozone Design Values by County in Texas. Figure 2-1 and Table 2-1 show that most
Texas counties have 2016 design values below the 2015 ozone NAAQS of 70 ppb.
Three areas of Texas: DFW, HGB, and San Antonio, have eight-hour ozone design values
above 70 ppb.




Figure 2-1: 2016 Eight-Hour Ozone Design Values by County in Texas




                                           2-2
        Case: 23-60069       Document: 110       Page: 287   Date Filed: 03/27/2023




Table 2-1: 2016 Eight-Hour Ozone Design Values by County in Texas
                                                                2016 Eight-Hour Ozone
                  CSA/CBSA                         County
                                                                 Design Values (ppb)
 Dallas—Fort Worth                       Denton                                    80
 Houston—The Woodlands                   Harris                                    79
 Houston—The Woodlands                   Galveston                                    76
 Houston—The Woodlands                   Brazoria                                     75
 Dallas—Fort Worth                       Tarrant                                      75
 Dallas—Fort Worth                       Collin                                       74
 San Antonio—New Braunfels               Bexar                                        73
 Dallas—Fort Worth                       Parker                                       73
 Dallas—Fort Worth                       Dallas                                       72
 Dallas—Fort Worth                       Johnson                                      72
 Houston—The Woodlands                   Montgomery                                   72
 El Paso—Las Cruces                      El Paso                                      70
 Dallas—Fort Worth                       Hood                                         69
 Beaumont—Port Arthur                    Jefferson                                    68
 Killeen-Temple                          Bell                                         67
 Longview-Marshall                       Gregg                                        66
 Dallas—Fort Worth                       Rockwall                                     66
 Austin—Round Rock                       Travis                                       66
 Tyler-Jacksonville                      Smith                                        65
 Victoria—Port Lavaca                    Victoria                                     65
 Amarillo-Borger                         Randall                                      64
 Corpus Christi—Kingsville—Alice         Nueces                                       64
 Beaumont—Port Arthur                    Orange                                       64
 Dallas—Fort Worth                       Ellis                                        63
 Waco                                    McLennan                                     63
 No CSA                                  Brewster                                     62
 Longview-Marshall                       Harrison                                     62
 Dallas—Fort Worth                       Kaufman                                      61
 Dallas—Fort Worth                       Navarro                                      61
 No CSA                                  Polk                                         61
 Dallas—Fort Worth                       Hunt                                         60
 Brownsville-Harlingen-Raymondville      Cameron                                      57
 McAllen-Edinburg                        Hidalgo                                      55
 Laredo                                  Webb                                         54

Design value trends can be used to determine if various areas in Texas are making
progress towards attainment of the ozone NAAQS. Eight-hour ozone design value
trends by Texas area are displayed in Figure 2-2: Eight-Hour Ozone Design Values and
Population by Area in Texas. Figure 2-2 shows that all areas of Texas have shown
decreases in design values over the past 25 years. No area has seen an increase in
eight-hour ozone design values. As mentioned above, in 2016 only three areas in Texas
are measuring above the 2015 ozone NAAQS of 70 ppb. The largest ozone decreases

                                             2-3
      Case: 23-60069      Document: 110      Page: 288     Date Filed: 03/27/2023




from 1991 through 2016 were observed in the HGB area, which had a 34% decrease in
eight-hour ozone design values, and the Beaumont-Port Arthur (BPA) area, which had a
33% decrease in eight-hour ozone design values.




Figure 2-2: Eight-Hour Ozone Design Values and Population by Area in Texas

2.3 OZONE EMISSIONS TRENDS IN TEXAS
2.3.1 General
The Texas Commission on Environmental Quality (TCEQ) maintains an inventory of
current information for sources of ozone precursor emissions (NOX and VOC) that
identifies the types of emissions sources present in an area, the amount of each
pollutant emitted, and the types of processes and control devices employed at each
plant or source category. The total anthropogenic inventory of NOX and VOC emissions
for an area is derived from estimates developed for three general categories of
emissions sources: point, area, and mobile (both non-road and on-road). The emissions
inventory also provides data for a variety of air quality planning tasks, including
establishing baseline emissions levels, calculating reduction targets, developing control
strategies to achieve emissions reductions, developing emissions inputs for air quality
models, and tracking actual emissions reductions against established emissions
growth and control budgets.

The most current emissions inventory (EI) data were analyzed as part of this ozone
transport SIP revision. At the time of preparation of this SIP revision, the TCEQ was

                                           2-4
      Case: 23-60069       Document: 110      Page: 289    Date Filed: 03/27/2023




planning the development of the 2017 periodic EI in accordance with the EPA’s Air
Emissions Reporting Requirements (40 Code of Federal Regulations Part 51, Subpart
A). The calendar year 2014 periodic inventory was the most recent periodic inventory
available to develop this SIP revision’s EI.

Additionally, 10 years of anthropogenic emissions data (2005 through 2014) were
analyzed to develop historical trend data. During this time, the EI for Texas and its two
current ozone nonattainment areas (DFW and HGB) showed a significant decrease in
ozone precursor emissions from all source categories; reductions range from 15 to
46%, as detailed in Section 2.3.2: Historical Emissions Inventory Trends. These
reductions contributed to the attainment of both the one-hour and the 1997 eight-hour
ozone NAAQS. These reductions were accomplished through a variety of federal, state,
and local regulations and programs as detailed below.

2.3.2 Historical Emissions Inventory Trends
For the 10-year historical period up to and including 2014 (2005 through 2014), overall
anthropogenic ozone precursor emissions in Texas as well as the DFW and HGB ozone
nonattainment areas declined substantially. As demonstrated in Figure 2-3: Statewide
Historical NOX Emissions Trends in Tons per Year and Figure 2-4: Statewide Historical
VOC Emissions Trends in Tons per Year, anthropogenic NOX emissions decreased 35%
and anthropogenic VOC emissions decreased 17% from 2005 through 2014. These
emissions reductions were the result of regulations implemented at the federal, state,
and local levels and innovative programs implemented by the TCEQ.

Both 30 Texas Administrative Code (TAC) Chapter 115: Control of Air Pollution from
Volatile Organic Compounds and 30 TAC Chapter 117: Control of Air Pollution from
Nitrogen Compounds regulations have significantly reduced overall ozone precursor
emissions at both major and minor (point and area) industrial, commercial, and
institutional sources in the DFW and HGB ozone nonattainment areas as well as other
portions of the state (e.g., East Texas Combustion Rule).

The implementation of statewide or regional emissions banking and trading programs
have also assisted in reducing ozone precursor emissions. For example, the Emissions
Banking and Trading of Allowances program has implemented annual NOX emissions
caps for grandfathered and electing electric generating facilities. Similarly, the Highly
Reactive Volatile Organic Compound (HRVOC) Emissions Cap and Trade Program and
the Mass Emissions Cap and Trade Program have specifically reduced HRVOC and NOX
emissions, respectively, from point sources in the HGB area.

Innovative emissions reduction programs such as the Texas Emissions Reduction Plan
and 30 TAC Chapter 114: Control of Air Pollution from Motor Vehicles, which includes
programs such as the AirCheckTexas Drive a Clean Machine program and vehicle
emissions testing, have also reduced mobile source emissions, the primary source of
NOX emissions in the state.

The following graphs illustrate these trends statewide as well as in the DFW and HGB
ozone nonattainment areas.




                                           2-5
      Case: 23-60069    Document: 110     Page: 290   Date Filed: 03/27/2023




Figure 2-3: Statewide Historical NOX Emissions Trends in Tons per Year




Figure 2-4: Statewide Historical VOC Emissions Trends in Tons per Year




                                        2-6
      Case: 23-60069     Document: 110     Page: 291   Date Filed: 03/27/2023




Similarly, Figure 2-5: DFW 10-County Nonattainment Area Historical NOX Emissions
Trends in Tons per Year and Figure 2-6: DFW 10-County Nonattainment Area Historical
VOC Emissions Trends in Tons per Year demonstrate a marked 46% decrease in
anthropogenic NOX emissions and a 15% decrease in anthropogenic VOC emissions
from 2005 through 2014.




Figure 2-5: DFW 10-County Nonattainment Area Historical NOX Emissions Trends in
Tons per Year




                                         2-7
      Case: 23-60069     Document: 110     Page: 292   Date Filed: 03/27/2023




Figure 2-6: DFW 10-County Nonattainment Area Historical VOC Emissions Trends in
Tons per Year

Finally, the HGB area shows significant overall progress in reducing anthropogenic
emissions. As shown in Figure 2-7: HGB Eight-County Nonattainment Area Historical
NOX Emissions Trends in Tons per Year and Figure 2-8: HGB Eight-County
Nonattainment Area Historical VOC Emissions Trends in Tons per Year, a 43% decrease
in anthropogenic NOX emissions and a 37% decrease in anthropogenic VOC emissions
has occurred from 2005 through 2014.




                                         2-8
      Case: 23-60069    Document: 110     Page: 293   Date Filed: 03/27/2023




Figure 2-7: HGB Eight-County Nonattainment Area Historical NOX Emissions Trends
in Tons per Year




Figure 2-8: HGB Eight-County Nonattainment Area Historical VOC Emissions Trends
in Tons per Year

                                        2-9
      Case: 23-60069      Document: 110      Page: 294    Date Filed: 03/27/2023




2.4 OZONE DATA SUMMARY
Ozone data in Texas show that there are three areas that have eight-hour ozone design
values above 70 ppb: DFW, HGB, and San Antonio. Over the past 25 years, all areas in
Texas have observed some decrease in eight-hour ozone design values. The largest
eight-hour ozone design value decreases from 1991 through 2016 were observed in the
HGB and the BPA areas with decreases of 34% and 33%, respectively.

Statewide trend analysis using the 2005 through 2014 emissions shows a similar
reduction in ozone precursor emissions: a 17% reduction in VOC emissions and a 35%
reduction in NOX emissions. These reductions have assisted the state in attaining both
the one-hour and 1997 eight-hour ozone NAAQS and are expected to help the state in
attaining the 2008 and 2015 NAAQS in the future.




                                          2-10
      Case: 23-60069       Document: 110      Page: 295     Date Filed: 03/27/2023




      CHAPTER 3: SIGNIFICANT CONTRIBUTION TO NONATTAINMENT AND
         INTERFERENCE WITH MAINTENANCE [FCAA, §110(A)(2)(D)(i)(I)]

3.1 INTRODUCTION
The Federal Clean Air Act (FCAA), §110(a)(2)(D)(i)(I) requires states to submit a state
implementation plan (SIP) revision that contains adequate provisions to prohibit any
source or other type of emissions activity within the state from emitting any air
pollutants in amounts that will contribute significantly to nonattainment of the
National Ambient Air Quality Standards (NAAQS) for areas in other states or interfere
with maintenance of the NAAQS in any other state. The purpose of FCAA’s
§110(a)(2)(D)(i)(I), also known as the “good neighbor” provision, is to ensure that
emissions in one state that contribute significantly to nonattainment or interfere with
maintenance in another state are addressed appropriately.

For this SIP revision, the key aspect of fulfilling this obligation is to determine if
emissions from Texas contribute significantly to nonattainment or interfere with
maintenance of the 2015 eight-hour ozone NAAQS in another state. The following
sections utilize photochemical modeling and data analysis to demonstrate that
emissions from Texas do not contribute significantly to nonattainment or interfere
with maintenance of the 2015 eight-hour ozone NAAQS in another state.

The approach used by the Texas Commission on Environmental Quality (TCEQ) to
determine if emissions from Texas contribute significantly to nonattainment or
interfere with maintenance at downwind monitors in another state is based partly on
the United States Environmental Protection Agency’s (EPA) Notice of Data Availability
of Preliminary Interstate Ozone Transport Modeling Data for the 2015 Ozone NAAQS
(2015 Transport NODA) published in the January 6, 2017 Federal Register (82 FR 1733),
with several key improvements. The TCEQ used a three-step approach, detailed below,
to determine if emissions from Texas contribute significantly to nonattainment or
interfere with maintenance at downwind monitors in another state.

   Step 1: Identify monitors projected to be in nonattainment or have maintenance
   issues in a future year.

   Step 2: Identify projected nonattainment and/or maintenance monitors in other
   states that might be impacted by emissions from Texas, tagging them for further
   review.

   Step 3: Determine if emissions from Texas contribute significantly to
   nonattainment or interfere with maintenance at the monitors tagged for review in
   Step 2.

The EPA used a four-step framework, referred to as the Cross-State Air Pollution Rule
(CSAPR) framework, to address the requirements of the “good neighbor” provision in
the 2015 Transport NODA. From the 2015 Transport NODA, the four steps in the
CSAPR framework are as follows (82 FR 1735):

   “[1] Identifying downwind receptors that are expected to have problems attaining
   or maintaining clean air standards (i.e., NAAQS);


                                           3-1
       Case: 23-60069          Document: 110        Page: 296       Date Filed: 03/27/2023




   [2] determining which states contribute to these problems in amounts sufficient to
   “link: them to the downwind air quality problems;

   [3] for states linked to downwind air quality problems, identifying upwind
   emissions that significantly contribute to nonattainment or interfere with
   maintenance of the NAAQS by quantifying upwind reductions in ozone precursor
   emissions and apportioning emissions reduction responsibility among upwind
   states; and

   [4] for states that are found to have emissions that significantly contribute to
   nonattainment or interfere with maintenance of the NAAQS downwind, adopting
   SIPs or FIPs that eliminate such emissions.”

The TCEQ’s three-step process covers steps [1] and [2] of the four-step framework.
Step 1 of the TCEQ’s three-step process is the same as step [1] of the EPA’s four-step
framework. Steps 2 and 3 of the TCEQ’s process together are equivalent to step [2] of
the EPA’s framework. Steps [3] and [4] of EPA’s framework are relevant only if
emissions from Texas contribute significantly to nonattainment or interfere with
maintenance at downwind monitors in another state and are therefore not addressed
in this SIP revision.

In the 2015 Transport NODA, upwind states with contributions greater than or equal
to 0.7 ppb to a monitor’s future year design value are linked to the downwind monitor.
Once the linkages have been established, the portion of emissions from linked states
that were determined by the EPA to have contributed significantly to nonattainment or
interfere with maintenance are identified (Steps 2 and 3, respectively, of the EPA’s
four-step framework). The EPA’s framework establishes the 1% of NAAQS threshold as
the default definition of significant contribution to nonattainment or interference with
maintenance. The TCEQ has maintained and noted in comments to EPA on its
transport modeling, that an arbitrary threshold of 1% of the NAAQS for significant
contribution to nonattainment or interference with maintenance is inappropriate and
incomplete. 2, 3 In the 2015 Transport NODA, the EPA acknowledges that a contribution
of 1% of the NAAQS from an upwind state alone does not determine whether the
upwind state significantly contributes to nonattainment or interferes with maintenance
of a NAAQS to a downwind state (FR 82 1740). The TCEQ believes that it is critical to
determine if emissions from an upwind state contribute significantly to nonattainment
or interfere with maintenance prior to the identification (and subsequent reduction) of
such emissions.




2
  “Comments by the Texas Commission on Environmental Quality Regarding the Notice of Availability of
the Environmental Protection Agency’s Preliminary Interstate Ozone Transport Modeling Data for the 2015
Ozone National Ambient Air Quality Standard”, available at
https://www.tceq.texas.gov/assets/public/agency/nc/air/TCEQ-Summary-on-
EPA%E2%80%93HQ%E2%80%93OAR%E2%80%932016%E2%80%930751.pdf
3
 “Comments by the Texas Commission On Environmental Quality Regarding Disapproval of Air Quality
Implementation Plans: Interstate Transport of Air Pollution for the 2008 Ozone National Ambient Air
Quality Standards”, available at https://www.tceq.texas.gov/assets/public/agency/nc/air/TCEQ-
Comments-on-EPA-R06-OAR-2012-0985.docx

                                                 3-2
          Case: 23-60069       Document: 110       Page: 297     Date Filed: 03/27/2023




In this SIP revision, the TCEQ is partially addressing its concern with the use of the 1%
of NAAQS threshold as the definition of significant contribution to nonattainment by
adding a step that uses a more comprehensive analysis to determine if emissions from
an upwind state contribute significantly to nonattainment or interfere with
maintenance.

For Step 1, the TCEQ used regional photochemical modeling to identify monitors
projected to be in nonattainment or have maintenance issues in the future year. In Step
2, if the Texas contribution to a monitor’s future year design value was greater than or
equal to 1% of the NAAQS (i.e., 0.7 ppb) the monitor was tagged for further review. In
Step 3, a comprehensive review of modeling and analysis of monitoring data was used
to determine if emissions from Texas contributed significantly to nonattainment or
interfered with maintenance for monitors tagged in Step 2.

3.2 STEP 1: IDENTIFICATION OF PROJECTED NONATTAINMENT AND
MAINTENANCE MONITORS
The TCEQ used photochemical modeling, in accordance with the EPA’s 2014 Draft
Modeling Guidance for Demonstrating Attainment of Air Quality Goals for Ozone, PM2.5,
and Regional Haze (EPA Modeling Guidance) 4, to identify monitors projected to be in
nonattainment in a future year. Photochemical modeling for ozone consists of using a
regional Chemical Transport Model (CTM) with appropriate meteorological and
emissions inputs, to simulate the formation and transport of ozone.

To assess the future attainment status of monitors, the EPA’s Modeling Guidance uses
modeling results in a relative sense. This relative approach is based on how the model
responds to the change in emissions between a base year and a future year while
holding meteorological inputs constant. For this SIP revision, the TCEQ used a 2012
base year and a 2023 future year to identify monitors projected to be in nonattainment
or have maintenance issues in the future. The future year of 2023 was chosen based on
the assumed attainment date for moderate nonattainment areas as detailed in EPA’s
2015 Transport NODA.

The photochemical modeling process began with episode, base year, and domain
selection. Base case and future year modeling was conducted, and results were
interpreted to determine future year (2023) design values (DVF) at monitoring sites in
the modeling domain.

3.2.1 Modeling Domain
The geographic extent of the modeling domain used for the 2015 ozone NAAQS
Transport SIP revision is shown in Figure 3-1: Map of 2015 Ozone NAAQS Transport SIP
Revision CTM Modeling Domain. The domain includes the 48 contiguous states of the
United States (U.S.), with parts of southern Canada and northern Mexico.




4
    https://www3.epa.gov/scram001/guidance/guide/Draft_O3-PM-RH_Modeling_Guidance-2014.pdf

                                                3-3
          Case: 23-60069       Document: 110     Page: 298   Date Filed: 03/27/2023




Figure 3-1: Map of 2015 Ozone NAAQS Transport SIP Revision CTM Modeling
Domain

The CTM used for this SIP revision is the Comprehensive Air Quality Model with
Extensions (CAMx), version 6.40. CAMx is a three-dimensional grid-based Eulerian
model designed to simulate the formation and transport of ozone and ozone precursor
concentrations over regional and urban spatial scales. 5 The modeling domain, referred
to as the rpo_12km domain, has a horizontal grid resolution of 12 kilometers (km) by
12 km and 29 vertical layers. The domain definitions are provided in Table 3-1: 2015
Ozone NAAQS Transport SIP Revision CAMx Modeling Domain Definitions.

Table 3-2: 2015 Ozone NAAQS Transport SIP Revision CAMx Modeling Domain Vertical
Structure provides details of the modeling domain vertical layers such as the top and
center height in meters Above Ground Level (m AGL) and thickness in meters (m).




5
    http://www.camx.com/about/default.aspx

                                               3-4
      Case: 23-60069      Document: 110          Page: 299      Date Filed: 03/27/2023




Table 3-1: 2015 Ozone NAAQS Transport SIP Revision CAMx Modeling Domain
Definitions
                                                   Number of       Number of
                Easting Range      Northing
   Domain                                             Cells          Cells      Short Name
                     (km)         Range (km)
                                                    (Easting)      (Northing)
 National RPO
                (-2736,2592)      (-2088,1944)         444            336        rpo_12km
 Domain

Table 3-2: 2015 Ozone NAAQS Transport SIP Revision CAMx Modeling Domain
Vertical Structure
    CAMx              Top                Center              Thickness
    Layer           (m AGL)             (m AGL)                 (m)
     29                   18250                16445                 3611
     28                   14639                13632                 2015
     27                   12624                10786                 3675
     26                    8949                 7891                 2115
     25                    6833                 6289                 1088
     24                    5746                 5290                   911
     23                    4835                 4449                   772
     22                    4063                 3704                   717
     21                    3346                 3175                   341
     20                    3005                 2840                   330
     19                    2675                 2515                   320
     18                    2355                 2225                   259
     17                    2096                 1969                   253
     16                    1842                 1718                   248
     15                    1595                 1474                   242
     14                    1353                 1281                   143
     13                    1210                 1140                   141
     12                    1069                 1000                   139
     11                     930                  861                   138
     10                     792                  747                    91
      9                     702                  656                    90
      8                     612                  567                    89
      7                     522                  478                    89
      6                     433                  389                    88
      5                     345                  302                    87
      4                     258                  215                    87
      3                     171                  128                    86
      2                      85                   60                    51
      1                      34                   17                    34


3.2.2 Modeling Episode
The modeling episode used for this SIP revision was the May 1 through September 30,
2012 period (May through September 2012). A robust modeling platform had been
developed for May through September 2012 as part of the Houston-Galveston Brazoria
Attainment Demonstration SIP revision for the 2008 Eight-hour Ozone NAAQS (HGB

                                            3-5
        Case: 23-60069         Document: 110         Page: 300       Date Filed: 03/27/2023




AD SIP) that was adopted on December 15, 2016 by the commission and submitted to
the EPA on December 29, 2016. The May through September 2012 episode was selected
in accordance with the episode selection criteria specified in the EPA Modeling
Guidance, details of which are documented in the section 3.4: Episode Selection of the
HGB AD SIP. 6 The EPA, in its 2015 Transport NODA, used May 1 through September 30,
2011 period (May through September 2011) for its transport modeling. However, 2011
was a meteorologically anomalous year for Texas and surrounding states as it was the
hottest year on record and the single-worst drought year recorded in Texas since 1895
(Hoerling et al., 2012). Figure 3-2: U.S. Drought Monitor Map of Texas for July 26, 2011
shows the extent of the drought across the state.




Figure 3-2: U.S. Drought Monitor Map of Texas for July 26, 2011

The TCEQ has submitted comments on the unsuitability of the May through September
2011 episode for Texas ozone modeling in response to several EPA actions such as the




6
 Revisions to the State of Texas Air Quality Implementation Plan for the Control of Ozone Air Pollution,
Houston-Galveston Brazoria Attainment Demonstration SIP revision for the 2008 Eight-hour Ozone
Standard Nonattainment Area (pages 3-4 to 3-17)
https://www.tceq.texas.gov/assets/public/implementation/air/sip/hgb/HGB_2016_AD_RFP/AD_Adoption
/16016SIP_HGB08AD_ado.pdf


                                                  3-6
       Case: 23-60069          Document: 110        Page: 301       Date Filed: 03/27/2023




EPA 2011 modeling platform, 7 EPA 2018 Modeling Platform, 8 EPA NODA on Updated
Transport Modeling for the 2008 Ozone NAAQS 9 and the 2015 Transport NODA. 10

3.2.2.1 Meteorology of 2012
Meteorology for the May through September 2012 period was analyzed for the rest of
the contiguous U.S. The year 2012 had above average temperatures across most of the
U.S., except in some states in the southeast. New Hampshire had their highest May
through October average temperatures on record. The National Oceanic and
Atmospheric Administration’s (NOAA) National Climatic Data Center (NCDC)
temperature rankings11 for the May through October average temperature of 2012
relative to the years 1895 through 2012 are shown in Figure 3-3: May through October
2012 Statewide NCDC Temperature Ranks. The numbers in each state represent the
numerical rank for that state for 2012. Among the NCDC climatic regions, 12 the
Northeast had its warmest year on record for the years 1895 through 2012.




7
   TCEQ comments on EPA’s “Notice of Availability of the EPA’s 2011 Modeling Platform.” Submitted
3/31/14 and available at https://www.tceq.texas.gov/agency/nc/Air_Issues.html/#033114
8
   TCEQ comments on EPA’s “Notice of Availability of the EPA’s 2018 Modeling Platform.” Submitted
6/24/14 and available at https://www.tceq.texas.gov/agency/nc/Air_Issues.html/#062414
9
   TCEQ comments on EPA’s Notice of Data Availability of the Updated Ozone Transport Modeling Data for
the 2008 Ozone NAAQS. Submitted 10/15/15 and available at
https://www.tceq.texas.gov/agency/nc/Air_Issues.html/#101515
10
   TCEQ comments on EPA’s “Preliminary Interstate Ozone Transport Modeling Data for 2015 Ozone
NAAQS.” Submitted 4/5/17 and available at
https://www.tceq.texas.gov/agency/nc/Air_Issues.html/#040517
11
   Explanation of Climatological Rankings available at https://www.ncdc.noaa.gov/monitoring-
references/dyk/ranking-definition
12
   NCDC U.S. Climatic Region definitions are available at https://www.ncdc.noaa.gov/monitoring-
references/maps/us-climate-regions.php

                                                 3-7
      Case: 23-60069      Document: 110     Page: 302    Date Filed: 03/27/2023




Figure 3-3: May through October 2012 Statewide NCDC Temperature Ranks

Figure 3-4: May through October 2012 Statewide NCDC Precipitation Ranks shows the
NCDC precipitation rankings for the May through October months of 2012 relative to
the years 1895 through 2012. May through October 2012 had below normal or much
below normal precipitation in most of the South and Northern Rockies and Plains and
parts of the Upper Midwest and Ohio River Valley climate regions with a record driest
year for Nebraska and Wyoming. However, the Northeast and parts of the Southeast
had above normal or much above normal precipitation.




                                          3-8
      Case: 23-60069      Document: 110     Page: 303    Date Filed: 03/27/2023




Figure 3-4: May through October 2012 Statewide NCDC Precipitation Ranks

The entire central portion of the U.S. was in some state of drought. However, the
drought reported in Texas by July 2011 had diminished in severity by July 2012. Figure
3-5: Change in Texas Drought Conditions from July 2011 to July 2012 shows the change
in drought class from July 26, 2011 to July 24, 2012 with approximately 60 to 70% of
Texas showing improvement by three to five drought classes statewide.




                                          3-9
       Case: 23-60069         Document: 110         Page: 304      Date Filed: 03/27/2023




Figure 3-5: Change in Texas Drought Conditions from July 2011 to July 2012

3.2.2.2 Ozone Production in 2012
The TCEQ analyzed, similar to the EPA’s analysis for its transport modeling, 13 the
meteorologically adjusted ozone trends for the NCDC climate regions for May through
September 2012. Figure 3-6: Meteorologically-Adjusted Ozone Trends for NCDC Climate
Regions for 2000 through 2016 14 shows the meteorologically-adjusted ozone trends
from 2000 through 2016. The 2010 through 2016 time period shows variation in
ozone-conducive conditions across years and climate regions. The year 2012 was more
conducive (relative to 2010 through 2016) for ozone formation in the Northeast, Upper
Midwest, Northwest, Northern Rockies and Plains, and West regions while for the Ohio
River Valley, South, Southeast, and Southwest climate regions 2011 was more
conducive to ozone production. In the past the EPA has acknowledged that no single
year will be representative of “typical” meteorological conditions for ozone for all
regions of the U.S. (EPA, August 2016). Based on this analysis, the TCEQ concluded that
the well-tested 2012 modeling platform is appropriate for use in this SIP revision.




13
   “Air Quality Modeling Technical Support Document for the 2008 Ozone NAAQS Cross-State Air Pollution
Rule Proposal”, available at https://www.epa.gov/sites/production/files/2015-
11/documents/air_quality_modeling_tsd_proposed_rule.pdf
14
   Data for this analysis shown in Figure 3-6 was obtained from the EPA’s Air-Trends webpage
(https://www.epa.gov/air-trends/trends-ozone-adjusted-weather-conditions)

                                                3-10
                     Case: 23-60069    Document: 110      Page: 305   Date Filed: 03/27/2023




Figure 3-6: Meteorologically-Adjusted Ozone Trends for NCDC Climate Regions for 2000 through 2016




                                                       3-11
      Case: 23-60069      Document: 110      Page: 306   Date Filed: 03/27/2023




3.2.3 Base Case Modeling
Base case modeling was used to evaluate the CTM’s ability to replicate measured ozone
and precursor concentrations. The adequacy of the model in replicating observations
was assessed statistically and graphically. Satisfactory model performance in base case
modeling provided a degree of confidence in the use of the model to predict future
ozone concentrations and to evaluate transport impacts.

Base case modeling included the generation of initial and boundary conditions,
emissions inputs and meteorological inputs for the May through September 2012
period needed by CAMx. Results of base case modeling included modeled ozone and
precursor concentrations for every grid cell of the rpo_12km domain for every hour of
May through September 2012. The base case modeling results were evaluated by
comparisons with observed measurements at monitoring sites across the modeling
domain. The model performance evaluation was iterative. Feedback from successive
evaluations was incorporated to ensure that the model was adequately replicating
observations throughout the modeling domain and episode. Details of the inputs
generated for base case modeling are provided below.

3.2.3.1 Meteorological Modeling
The TCEQ used the Weather Research and Forecasting Model (WRF) version 3.8.1 to
create the May through September 2012 meteorological inputs for CAMx. The WRF
domain was chosen to accommodate the CAMx domain shown in Figure 3-1. Figure 3-7:
Map of 2015 Ozone NAAQS Transport SIP Revision Meteorological Modeling Domain
shows the geographical extent of the WRF modeling domain, along with the CAMx
domain for reference.




                                          3-12
         Case: 23-60069       Document: 110      Page: 307        Date Filed: 03/27/2023




Figure 3-7: Map of 2015 Ozone NAAQS Transport SIP Revision Meteorological
Modeling Domain

For the meteorological model, a single domain was used, referred to as na_12km, with
horizontal grid resolution of 12 km x 12 km and 44 vertical layers. The WRF model
domain definitions are provided in Table 3-3: 2015 Transport SIP Revision WRF
Modeling Domain Definitions. Table 3-4: 2015 Transport SIP Revision WRF Modeling
Domain Vertical Structure provides details of the WRF model domain vertical layers,
such as heights and thickness. Figure 3-8: Matching of WRF and CAMx Vertical Layers
shows how the vertical layers of WRF shown in Table 3-4 are matched to the vertical
layers of CAMx shown in Table 3-2.

Table 3-3: 2015 Transport SIP Revision WRF Modeling Domain Definitions
                                                     Number of        Number of
                     Easting       Northing                                           Short
   Domain                                               Cells           Cells
                   Range (km)     Range (km)                                          Name
                                                      (Easting)       (Northing)
 North
 America           (-2916,2916)   (-2304,2304)          489              387        na_12km
 Domain

Table 3-4: 2015 Transport SIP Revision WRF Modeling Domain Vertical Structure
 WRF      Sigma      Top      Center   Thickness
 Layer    Level    (m AGL)   (m AGL)      (m)
 44        0.000     20581     20054        1054


                                              3-13
        Case: 23-60069      Document: 110      Page: 308   Date Filed: 03/27/2023




WRF      Sigma      Top      Center   Thickness
Layer    Level    (m AGL)   (m AGL)      (m)
43        0.010     19527     18888        1278
42        0.025     18249     17573        1353
41        0.045     16896     16344        1103
40        0.065     15793     15215        1156
39        0.090     14637     14144         987
38        0.115     13650     13136        1029
37        0.145     12621     12168         906
36        0.175     11716     11245         941
35        0.210     10774     10294         962
34        0.250      9813      9379         867
33        0.290      8946      8550         792
32        0.330      8154      7790         729
31        0.370      7425      7128         594
30        0.405      6830      6551         559
29        0.440      6271      6007         528
28        0.475      5743      5492         501
27        0.510      5242      5037         410
26        0.540      4832      4636         393
25        0.570      4439      4250         378
24        0.600      4061      3878         365
23        0.630      3696      3520         352
22        0.660      3344      3173         341
21        0.690      3003      2838         330
20        0.720      2673      2513         320
19        0.750      2353      2224         259
18        0.775      2094      1967         253
17        0.800      1841      1717         247
16        0.825      1593      1472         242
15        0.850      1352      1280         143
14        0.865      1209      1138         141
13        0.880      1068       999         139
12        0.895       929       860         137
11        0.910       792       746          91
10        0.920       701       656          90
9         0.930       611       566          89
8         0.940       522       477          89
7         0.950       433       389          88
6         0.960       345       301          87
5         0.970       258       214          87
4         0.980       171       128          86
3         0.990        85        60          51
2         0.996        34        26          17
1         0.998        17         8          17
0         1.000         0         0           0




                                            3-14
      Case: 23-60069    Document: 110      Page: 309   Date Filed: 03/27/2023




Figure 3-8: Matching of WRF and CAMx Vertical Layers


                                        3-15
         Case: 23-60069        Document: 110         Page: 310       Date Filed: 03/27/2023




The initial and boundary conditions for WRF modeling were obtained from the GCIP
(GEWEX (Global Energy and Water EXperiment) Continental-Scale International Project)
NCEP (National Centers for Environmental Prediction) Eta data archive. Where data
were missing from the GCIP NCEP Eta archive, data extracted from the NCEP North
American Mesoscale model were used. More details regarding how missing data were
handled is presented in Appendix A: Meteorological Modeling for the Transport State
Implementation Plan Revision for the 2015 Eight-Hour Ozone National Ambient Air
Quality Standard. To optimize performance, two types of nudging were utilized. The
first type was analysis nudging, both three-dimensional (3-D) and surface. The 3-D
analysis nudging was used to nudge the wind, temperature and moisture, while the
surface analysis nudging was only used to nudge wind and temperature. The second
type of nudging used was observational nudging, which used the radar profiler data
for nudging aloft winds towards observed vertical profiles.

The selection of the final meteorological modeling configuration for May through
September 2012 resulted from numerous sensitivity tests and model performance
evaluation. The final WRF parameterization schemes and options selected are shown in
Table 3-5: WRF Model Configuration Parameters. Details of the meteorological
sensitivity tests are provided in Appendix A.

Table 3-5: WRF Model Configuration Parameters
                                                                             Land-
     Domain       Nudging Type          PBL     Cumulus       Radiation                Microphysics
                                                                            Surface
               3-D, Surface Analysis,
                                              Multiscale
               PX Soil Nudging, NPN                           RRTM /        Pleim-
     na_12km                            YSU   Kain-                                    WSM5
               and CAP Radar                                  Dudhia        Xiu
                                              Fritsch
               Profiler Observations

WRF output was post-processed using the WRF2CAMx version 4.6 utility with the
Community Multi-Scale Air Quality (CMAQ) modeling system vertical diffusivity (Kv)
option to convert the WRF meteorological fields to the appropriate CAMx grid and
input format. The 100 m Kv Patch program developed by Ramboll Environ 15 was used
to modify the vertical diffusivity coefficients based on a land-use basis to maintain
vertical mixing within the first 100 meters of the model over urban areas. Sub grid
stratiform cloud diagnostics were applied to better simulate ultraviolet-attenuation in
CAMx.

WRF model performance was evaluated for wind speed and direction, temperature, and
humidity. Figure 3-9: Wind Speed Mean Bias for May through September 2012, Figure
3-10: Two Meter Temperature Mean Bias for May through September 2012, and Figure
3-11: Humidity Mean Bias for May through September 2012 show the mean bias for
wind speed, temperature, and humidity, respectively for May through September 2012
for each monitoring station across the na_12km domain.




15
  “Dallas-Fort Worth Modeling Support: Improving Vertical Mixing, Plume-in-Grid, and Photolysis Rates in
CAMx”, TCEQ Project report available at
https://www.tceq.texas.gov/assets/public/implementation/air/am/contracts/reports/pm/5821110365FY1
206-20120820-environ_dfw_modeling_support.pdf

                                                 3-16
      Case: 23-60069   Document: 110      Page: 311   Date Filed: 03/27/2023




Figure 3-9: Wind Speed Mean Bias for May through September 2012




Figure 3-10: Two Meter Temperature Mean Bias for May through September 2012




                                       3-17
      Case: 23-60069      Document: 110      Page: 312    Date Filed: 03/27/2023




Figure 3-11: Humidity Mean Bias for May through September 2012

Figure 3-9 shows that wind speed had a negative bias along the East Coast, Southeast,
and western continental U.S., while eastern Texas, the Ohio River Valley, and the Great
Lakes region had a positive bias. Mean bias for temperature in Figure 3-10 does not
show strong geographical trends, although slightly more monitors in the western U.S.
show a positive bias. Figure 3-11 shows that there was a positive bias for humidity at
most monitoring stations in the domain, although a negative bias is seen over much of
Oklahoma through eastern Kansas and into southern Nebraska, and also in parts of
southern California.

Figure 3-12: Wind Speed Mean Absolute Error for May through September 2012, Figure
3-13: Two Meter Temperature Mean Absolute Error for May through September 2012,
and Figure 3-14: Humidity Mean Absolute Error for May through September 2012 show
the mean absolute error for wind speed, temperature, and humidity, respectively for
May through September 2012 at monitoring stations across the na_12km domain.




                                          3-18
      Case: 23-60069   Document: 110      Page: 313   Date Filed: 03/27/2023




Figure 3-12: Wind Speed Mean Absolute Error for May through September 2012




Figure 3-13: Two Meter Temperature Mean Absolute Error for May through
September 2012




                                       3-19
      Case: 23-60069      Document: 110      Page: 314    Date Filed: 03/27/2023




Figure 3-14: Humidity Mean Absolute Error for May through September 2012

Figure 3-12 and Figure 3-13 show that the mean absolute error for wind speed and
temperature, respectively, were lower in the eastern U.S. than western U.S. Figure 3-14
shows a more north/south regional difference for humidity, with monitors in the
northern U.S. having less mean absolute error than monitors in the southern U.S.

Figure 3-15: Wind Speed RMSE for May through September 2012, Figure 3-16: Two
Meter Temperature RMSE for May through September 2012, and Figure 3-17: Humidity
RMSE for May through September 2012 show the Root Mean Square Error (RMSE) for
wind speed, temperature, and humidity, respectively, for May through September 2012
at monitoring stations across the na_12km domain.




                                          3-20
     Case: 23-60069    Document: 110      Page: 315   Date Filed: 03/27/2023




Figure 3-15: Wind Speed RMSE for May through September 2012




Figure 3-16: Two Meter Temperature RMSE for May through September 2012




                                       3-21
      Case: 23-60069      Document: 110      Page: 316   Date Filed: 03/27/2023




Figure 3-17: Humidity RMSE for May through September 2012

Similar to the Mean Absolute Error in Figures 3-12 through 3-14, Figure 3-15 and
Figure 3-16 show an east/west regional trend with monitors in the east having lower
RMSE than monitors in the west for wind speed and temperature, respectively, while
Figure 3-17 shows that RMSE for humidity in the southern and central monitors are
greater than RMSE for northern monitors.

Overall, WRF model performance for May through September 2012 was acceptable for
the CTM input. More details regarding WRF model performance, including daily,
monthly, and regional performance statistics, are presented in Appendix A.

3.2.3.2 Emissions Modeling
Emissions modeling is the process of creating CAMx-ready emissions inputs. For base
case modeling, precursor emissions inputs are chemically speciated into the Carbon
Bond 6 (CB6) chemical mechanism species used in CAMx, temporally allocated, and
spatially distributed to 12 km grid cells for May through September 2012. The main
ozone precursors are nitrogen oxides (NOX) and volatile organic compounds (VOC)
while carbon monoxide (CO) plays a minor role in ozone formation. Though CO has
very low reactivity and does not play a major role in controlling ozone formation, in
this subsection details of CO modeling emissions inventories are presented as CO is a
chemical species in the model.

Version 3.22 of the Emissions Processor System (EPS3) was used to prepare the gridded
emissions inputs. Table 3-6: Emissions Processing Modules summarizes many of the
steps taken to prepare the required emission files needed by CAMx and the software
modules in EPS3 that were used for each step.


                                          3-22
      Case: 23-60069       Document: 110       Page: 317      Date Filed: 03/27/2023




Table 3-6: Emissions Processing Modules
    EPS3
                                               Description
   Module
              Prepare area and non-link based area and mobile source emissions for further
 PREAM
              processing
 LBASE        Spatially allocate link-based mobile source emissions among grid cells
              Group point source emissions into elevated and low-level categories for
 PREPNT
              further processing
 CNTLEM       Apply controls to model strategies, apply adjustments, make projections, etc.
 TMPRL        Apply temporal profiles to allocate emissions by day type and hour
              Chemically speciate emissions into nitrogen oxide (NO), nitrogen dioxide (NO2),
 SPCEMS
              and various CB6 VOC species
 GRDEM        Spatially distribute emissions by grid cell using source category surrogates
 MRGUAM       Merge and adjust multiple gridded files for model-ready input
 PIGEMS       Assign Plume-in-Grid (PiG) emissions and merge elevated point source files

Figure 3-18: Base Case Representative Day Total Anthropogenic Precursor Emissions by
Geographic Regions shows the total anthropogenic precursor emissions in the
rpo_12km domain by major geographic region (Texas, Non-Texas U.S., southern
Canada, northern Mexico, and Oceanic) on a sample 2012 summer weekday in tons per
day.




Figure 3-18: Base Case Representative Day Total Anthropogenic Precursor
Emissions by Geographic Regions

Emissions modeling includes preparing emissions inventories for anthropogenic
emissions source categories such as stationary point sources (power plants, refineries,

                                            3-23
          Case: 23-60069         Document: 110         Page: 318   Date Filed: 03/27/2023




etc.), area sources (dry cleaners, gas stations, etc.), on-road mobile sources (cars,
trucks, etc.), non-road mobile sources (construction vehicles, lawn mowing equipment,
etc.), off-road mobile sources (locomotives, commercial marine, aircraft, etc.), and
oceanic (off-shore oil rigs and ocean-going vessels). Figure 3-19: Base Case
Representative Day Total Anthropogenic Precursor Emissions by Source Category shows
the total anthropogenic precursor emissions in the rpo_12km domain by source
category for a sample 2012 summer weekday in tons per day.




Figure 3-19: Base Case Representative Day Total Anthropogenic Precursor
Emissions by Source Category

Emissions inventories for natural emissions source categories, i.e., biogenic sources
and fires, were also developed. Version 3.61 of the Biogenic Emissions Inventory
System (BEIS) (Bash et al., 2016) within the Sparse Matrix Operation Kernel Emissions
(SMOKE) System version 3.7 16 was used to create the biogenic emissions inventory.
Figure 3-20: Biogenic VOC Emissions in RPO_12km Domain on July 18, 2012 shows a
sample of biogenic VOC emissions in the rpo_12km domain.




16
     Available at https ://www.cmascenter.org/smoke/

                                                  3-24
      Case: 23-60069      Document: 110      Page: 319    Date Filed: 03/27/2023




Figure 3-20: Biogenic VOC Emissions in RPO_12km Domain on July 18, 2012

Wildfire emissions were estimated from the daily Fire Inventory from the National
Center for Atmospheric Research (NCAR) (FINN) version 1.5 product for 2012
(Wiedinmyer, 2011). The FINN fire estimates were projected to the model grid and
grouped together if fires were within 5 km of each other. Each fire was treated as a
point source and processed using the EPS3 PREFIR, CHMSPL, TMPRL, and PSTFIR

                                          3-25
       Case: 23-60069        Document: 110       Page: 320      Date Filed: 03/27/2023




modules following the methodology developed in a TCEQ project.17 The fire emissions
were temporally allocated according to the temperate North American diurnal cycle of
fires from Mu et al. (2011).

Since the purpose of base case modeling is to evaluate the ability of the model to
recreate a past episode, measured and reported emissions data from 2012 with the
highest resolution available were relied upon to determine the spatial and temporal
allocation of emissions in the modeling domain for each hour of the modeling episode.
Details of the development and processing of emissions inventories for base case
modeling are provided in Appendix B: Emissions Modeling for the Transport State
Implementation Plan Revision for the 2015 Eight-Hour Ozone National Ambient Air
Quality Standard.

3.2.3.3 Initial and Boundary Conditions
In addition to emissions and meteorological inputs, CAMx requires initial and
boundary conditions. Initial conditions refer to the state of the atmosphere in the
rpo_12km domain at the start of the modeling episode. Boundary conditions refer to
the state of the atmosphere at the five edges (North, South, East, West, and Top) of the
rpo_12km domain.

The initial and boundary conditions were derived from the output of a three-
dimensional global CTM, GEOS-Chem. The GEOS-Chem model simulates atmospheric
chemical and physical processes driven by assimilated meteorological observations
from the NASA’s Goddard Earth Observing System (GEOS). 18 The TCEQ used a modified
version of the standard GEOS-Chem version 10-01. The modifications were
implemented by Ramboll Environ as part of TCEQ projects 19, 20 that updated the
lightning NOX module (Travis et al., 2016; Zhang et al., 2014) and halogen chemistry
(Sherwen et al., 2016; Yarwood et al., 2016), and fixed several model errors.

For the base case simulation, GEOS-Chem was run for 2012 with a grid resolution of
2.0 degrees latitude x 2.5 degrees longitude, using meteorology from the GEOS Model
Version 5 (GEOS-5) and global anthropogenic emissions inventory for non-U.S. regions
from the Hemispheric Transport of Air Pollution (HTAP) version 2. For U.S. emissions,
the U.S. National Emission Inventory 2011 (2011 National Emissions Inventory) was
used. GEOS-Chem results were used to provide one-way dynamic boundary
concentrations at three-hour intervals and an initial concentration field for the CAMx
simulations. Figure 3-21: Initial Concentration on April 16, 2012 in the RPO_12km
shows a map of the initial ozone concentration field on 12 a.m., April 16, 2012 at the
surface layer in the rpo_12km domain. April 16, 2012 is the start date of the CAMx



17
   “Boundary Condition and Fire Emissions Modeling”, Tai et al, September 2008,
https://www.tceq.texas.gov/assets/public/implementation/air/am/contracts/reports/pm/5820784005FY0
810-20080831-environ-bcic_final_report.pdf
18
   GEOS-Chem Model, http://acmg.seas.harvard.edu/geos/
19
   “Updated Boundary Conditions for CAMx Modeling”, Nopmongcol et al, July 2016,
https://www.tceq.texas.gov/assets/public/implementation/air/am/contracts/reports/pm/5821662241FY1
615-20160729-environ-GEOSChem_BC_for_CAMx.pdf
20
   “2013 Boundary Conditions for CAMx Modeling”, Nopmongcol et al, June 2017,
https://www.tceq.texas.gov/assets/public/implementation/air/am/contracts/reports/pm/582177144421-
20170627-environ-2013_BC_GEOS_Chem.pdf

                                              3-26
      Case: 23-60069      Document: 110      Page: 321   Date Filed: 03/27/2023




simulation with a ramp up period of April 16 through April 30 for the base case
modeling.




Figure 3-21: Initial Concentration on April 16, 2012 in the RPO_12km

Figure 3-22: 2012 East Boundary Condition Cross-Section for July 18, 2012 Episode Day,
Figure 3-23: 2012 West Boundary Condition Cross-Section for July 18, 2012 Episode Day,
Figure 3-24: 2012 North Boundary Condition Cross-Section for July 18, 2012 Episode
Day, and Figure 3-25: 2012 South Boundary Condition Cross-Section for July 18, 2012
Episode Day show a samples of the 2012 east, west, north, and south, respectively,
boundary conditions for the July 18, 2012 episode day for the three-hour window of 12
p.m. to 3 p.m.




                                          3-27
      Case: 23-60069    Document: 110      Page: 322   Date Filed: 03/27/2023




Figure 3-22: 2012 East Boundary Condition Cross-Section for July 18, 2012 Episode
Day




Figure 3-23: 2012 West Boundary Condition Cross-Section for July 18, 2012 Episode
Day




Figure 3-24: 2012 North Boundary Condition Cross-Section for July 18, 2012
Episode Day

                                        3-28
         Case: 23-60069        Document: 110        Page: 323       Date Filed: 03/27/2023




Figure 3-25: 2012 South Boundary Condition Cross-Section for July 18, 2012
Episode Day

3.2.3.4 Photochemical Modeling
The TCEQ used CAMx version 6.40, 21 with the following options:

     •   New gas-phase chemistry mechanism CB6 “revision 4,” with condensed halogen
         chemistry and inline sea salt emissions (CB6r4h); and

     •   Wesely dry deposition scheme.

In addition to the meteorological, emissions, and initial and boundary condition
inputs, CAMx needs spatially resolved surface characteristic parameters,
albedo/haze/ozone (i.e., opacity), photolysis rates, and a file with chemistry
parameters.

Surface characteristic parameters, including topographic elevation, Leaf Area Index
(LAI), vegetative distribution, and water/land boundaries are input to CAMx via a land-
use file. The land-use file provides the fractional contribution of 26 land-use categories
per grid cell, as defined by Zhang et al (2003). The land use file was developed using
version 3 of the Biogenic Emissions Land Use Database for areas outside the U.S. and
the 2006 National Land Cover Dataset for the U.S. For Texas and surrounding states,
updated land-use files developed by Texas A&M University (Popescu et al., 2012) were
used. The land use file, in addition to the land-use categories, has LAI ratios. LAI is the
ratio of total upper leaf surface of vegetation divided by the surface area of the land
on which the vegetation grows. LAI is a dimensionless value, typically ranging from
zero for bare ground to over seven for a dense forest. Monthly averaged LAI was
created from the eight-day 1 km resolution MODIS MCD15A2 product.

Spatially resolved opacity and photolysis rates that are specific to the chemistry
parameters for the CB6 mechanism are input to CAMx via a photolysis rates file and an
opacity file. The chemistry parameters for the CB6 mechanism are provided in the


21
  User’s Guide Comprehensive Air Quality Model with Extensions (CAMx), Version 6.30, Ramboll
 Environ, Inc., April 2016, available at http://www.camx.com/files/camxusersguide_v6-30.pdf

                                                 3-29
          Case: 23-60069       Document: 110      Page: 324   Date Filed: 03/27/2023




chemistry parameters file. Episode-specific satellite data from the Total Ozone
Mapping Spectrometer were used to prepare the clear-sky photolysis rates and opacity
files. Photolysis rates are internally adjusted by CAMx according to cloud and aerosol
properties using the inline Tropospheric Ultraviolet Visible model.

The CAMx model configuration was applied to the 2012 base case using the episode-
specific meteorological inputs, biogenic and anthropogenic emission inputs, and initial
and boundary conditions described above. The CAMx modeling results were compared
to the measured ozone and ozone precursor concentrations at all regulatory
monitoring sites in the rpo_12km domain, which resulted in several modeling
iterations to implement improvements to the meteorological modeling, emissions
modeling, and subsequent CAMx modeling. Various configuration changes such as the
choice of biogenic emission models, land-use model used in WRF modeling, impact of
cloud assimilation, etc., were evaluated along with updates to various anthropogenic
emissions categories.

Statistical metrics such as Mean Bias (MB), Mean Error (ME), Normalized Mean Bias
(NMB), Normalized Mean Error (NME), and RMSE were calculated by comparing
monitored (measured) and bi-linearly interpolated modeled ozone concentrations for
all episode days and monitors. These statistical metrics were used to evaluate the
different configurations and arrive at the final configuration used for the 2015 Ozone
NAAQS Transport SIP revision.

Episode-wide model performance statistics and graphics for the final modeling
configuration are presented below. Figure 3-26: Mean Bias for the May through
September 2012 Episode at AQS Monitoring Sites shows the mean bias for all the EPA
Air Quality System (AQS) 22 monitoring sites for the May through September 2012
episode for days with observed Maximum Daily Average Eight-Hour (MDA8) ozone
concentration greater than or equal to 60 ppb. Figure 3-26 shows that the mean biases
for days with MDA8 greater than 60 ppb differ by region, with monitors along the East
Coast showing positive bias while monitors on the West Coast show negative biases.
Most monitors have a mean bias in the range of ± 5 ppb on high ozone days, which is
acceptable model performance (Simon et al.,2012). Figure 3-27: RMSE for May through
September 2012 Episode at AQS Monitoring Sites shows the RMSE for each of the AQS
monitoring sites on days with observed MDA8 greater than 60 ppb. The RMSE at most
monitors in the modeling domain were in the range of 6 to 12 ppb. However, monitors
along the northeast and the southwest coast had higher deviations with RMSE in the 16
to 20 ppb range. Table 3-7: Statistical Model Performance Evaluation Metrics for TCEQ’s
2015 Ozone NAAQS Transport SIP Revision Configuration provides the statistical
metrics for the May through September 2012 episode on days with observed MDA8
greater than 60 ppb for each of the NCDC Climate Regions.




22
     https://www.epa.gov/aqs

                                               3-30
      Case: 23-60069   Document: 110      Page: 325   Date Filed: 03/27/2023




Figure 3-26: Mean Bias for the May through September 2012 Episode at AQS
Monitoring Sites




                                       3-31
         Case: 23-60069   Document: 110       Page: 326    Date Filed: 03/27/2023




Figure 3-27: RMSE for May through September 2012 Episode at AQS Monitoring
Sites

Table 3-7: Statistical Model Performance Evaluation Metrics for TCEQ’s 2015 Ozone
NAAQS Transport SIP Revision Configuration
                          No. of    MB      ME     NMB     NME     RMSE
        Climate Region
                           Obs     (ppb)   (ppb)    (%)     (%)    (ppb)
 Northeast                 5281      4.1     8.4    5.9     12.2    11.0
 Ohio Valley               9861     -2.5     6.8    -3.6    10.0     8.5
 Upper Midwest             2950     -6.2     8.3    -8.9    11.9     9.9
 Southeast                 3203      3.1     6.8    4.7     10.2     8.8
 South                     5020     -3.9     6.5    -5.7     9.6     8.1
 Southwest                 7215     -5.5     7.1    -8.4    10.8     9.0
 Northern Rockies          1084     -7.5     8.6   -11.8    13.4    10.4
 Northwest                  193     -7.0     8.2   -10.9    12.7    10.2
 West                     10672     -9.2   10.4    -13.1    14.9    12.7
 National                 45479     -3.9     8.0    -5.7    11.7    10.1

Overall, the base case modeling showed reasonable model performance and is
comparable with the EPA’s modeling documented in the 2015 Transport NODA.
Although the EPA had better performance in the Northeast climate region, in the South

                                           3-32
      Case: 23-60069      Document: 110      Page: 327    Date Filed: 03/27/2023




climate region, which includes Texas and surrounding states, the TCEQ’s modeling
performed better than the EPA’s. Detailed performance evaluation for the 2012 base
case modeling episode is included in Appendix C: Photochemical Model Performance
Evaluation for the Transport State Implementation Plan Revision for the 2015 Eight-
Hour Ozone National Ambient Air Quality Standard.

3.2.4 Future Year Modeling
Future year modeling is used to predict ozone concentrations and calculate a DVF at
each AQS monitor in the modeling domain in the future year, 2023. In future year
modeling, the same modeling episode (May through September 2012) is used, but with
projected future anthropogenic emissions. Future year modeling predicts the change in
ozone concentrations due to changes in anthropogenic emissions in a future year while
keeping the meteorological and natural emissions (biogenic and wildfires) inputs
constant. Future year modeling answers the question: what would the ozone
concentrations be in the future if the same meteorological conditions (that resulted in
a high ozone episode in the past) were to repeat?

The meteorological inputs generated for May through September 2012 using the WRF
model and described in section 3.2.3.1: Meteorological Modeling were used as inputs to
the CTM in the future year modeling.

3.2.4.1 Emissions Modeling
For future year modeling, emissions inventories were developed for the anthropogenic
emissions source categories by applying growth and control factors to base year
emissions. Growth and control factors are developed based on the projected growth in
the demand for goods and services, along with the reduction in emissions expected
from state, local, and federal control programs. Figure 3-28: Future Year Representative
Day Total Anthropogenic Precursor Emissions by Geographic Region shows the total
projected anthropogenic precursor emissions in the rpo_12km domain by major
geographic region on a representative 2023 summer weekday in tons per day. Figure
3-29: Future Year Representative Day Total Anthropogenic Precursor Emissions by
Source Category shows the total projected anthropogenic precursor emissions in the
rpo_12km domain by source category for a sample 2023 summer weekday in tons per
day.




                                          3-33
      Case: 23-60069     Document: 110      Page: 328   Date Filed: 03/27/2023




Figure 3-28: Future Year Representative Day Total Anthropogenic Precursor
Emissions by Geographic Region




Figure 3-29: Future Year Representative Day Total Anthropogenic Precursor
Emissions by Source Category

Since biogenic emissions are dependent upon the meteorological conditions on a given
day, the same episode-specific emissions that were used in the base case modeling

                                         3-34
       Case: 23-60069        Document: 110       Page: 329      Date Filed: 03/27/2023




were also used in the 2023 future year modeling. Since future year wildfires cannot be
predicted, the wildfire emissions inventory developed for the base case modeling was
also used in the 2023 future year modeling. Details regarding the development of the
2023 emissions inventory, including projection tools, projection growth factors and
federal/state/local rules and programs incorporated are provided in Appendix B.

3.2.4.2 Initial and Boundary Conditions
For future year modeling, updated 2023 initial and boundary conditions were
developed by running GEOS-Chem again. The 2023 initial and boundary conditions
were developed by using projected 2023 anthropogenic emissions inventories with the
same GEOS-Chem meteorological and CTM configurations as the 2012 base case. The
2023 anthropogenic emissions were updated from the base year using projected
growth factors. Emissions in North America (specifically, the continental U.S., southern
Canada, and northern Mexico) were projected using the same methods used by the
TCEQ to project anthropogenic emissions in the rpo_12km domain as explained in
Appendix B. In all other areas of the GEOS-Chem domain, emissions projection factors
from the Representative Concentration Pathway (RCP85) Database 23 were used to
develop the 2023 anthropogenic emissions. Since the RCP85 data are only available at
5 or 10 year intervals (e.g., 2000, 2005, 2010, 2020, etc.), emission projections factors
for 2023 were linearly interpolated from changes between the two nearest projection
years. Details of the emissions projections methodology are available in the TCEQ
Project FY2016-16 report Updated Boundary Conditions for CAMx Modeling. 24

Figure 3-30: 2023 East Boundary Condition Cross-Section for July 18, 2012 Episode Day,
Figure 3-31: 2023 West Boundary Condition Cross-Section for July 18, 2012 Episode Day,
Figure 3-32: 2023 North Boundary Condition Cross-Section for July 18, 2012 Episode
Day, and Figure 3-33: 2023 South Boundary Condition Cross-Section for July 18, 2012
Episode Day show samples of the 2023 east, west, north and south boundary
conditions for July 18, 2012 episode day for the three-hour window of 12 p.m. to 3
p.m.




23
  https://tntcat.iiasa.ac.at/RcpDb/dsd?Action=htmlpage&page=welcome
24
  “Updated Boundary Conditions for CAMx Modeling”, Nopmongcol et al, July 2016,
https://www.tceq.texas.gov/assets/public/implementation/air/am/contracts/reports/pm/5821662241FY1
615-20160729-environ-GEOSChem_BC_for_CAMx.pdf

                                              3-35
      Case: 23-60069    Document: 110      Page: 330   Date Filed: 03/27/2023




Figure 3-30: 2023 East Boundary Condition Cross-Section for July 18, 2012 Episode
Day




Figure 3-31: 2023 West Boundary Condition Cross-Section for July 18, 2012 Episode
Day




Figure 3-32: 2023 North Boundary Condition Cross-Section for July 18, 2012
Episode Day

                                        3-36
      Case: 23-60069      Document: 110         Page: 331     Date Filed: 03/27/2023




Figure 3-33: 2023 South Boundary Condition Cross-Section for July 18, 2012
Episode Day

3.2.4.3 Photochemical Modeling
For future year modeling, the 2023 anthropogenic emissions inventories were input
along with the 2012 meteorological, biogenic, and wildfire emissions to the CAMx
model configuration detailed in the section 3.2.3: Base Case Modeling. The output of
the future year modeling, ozone concentrations for each grid cell in the rpo_12km
domain, was post-processed to obtain the 2023 DVF at each AQS monitor in the
rpo_12km domain.

Projected Nonattainment Monitors
The methodology described in EPA Modeling Guidance was used to determine the 2023
DVF at each monitor in the rpo_12km domain. A monitor’s DVF is calculated by
multiplying the Relative Response Factor (RRF) by a baseline year design value (DVB) as
shown in Equation 3-1: Future Year Design Value Calculation for a Monitor.

                                   𝐷𝐷𝐷𝐷𝐹𝐹 = 𝑅𝑅𝑅𝑅𝑅𝑅 × 𝐷𝐷𝐷𝐷𝐵𝐵

Equation 3-1: Future Year Design Value Calculation for a Monitor

The RRF is the ratio of the average future year modeled MDA8 ozone concentrations to
the average base year modeled MDA8 ozone concentrations on the top 10 modeled
MDA8 base year days. In accordance with EPA Modeling Guidance, the maximum
concentration of the three-by-three grid cell array surrounding each monitor on the top
10 base year days with modeled MDA8 above 60 ppb was used to calculate the RRF for
each monitor. The DVB is the average of the regulatory design values for the three
consecutive years containing the base year, as shown in Figure 3-34: Baseline Design
Value (DVB) for the 2015 Ozone NAAQS Transport SIP.




                                            3-37
      Case: 23-60069     Document: 110      Page: 332   Date Filed: 03/27/2023




Figure 3-34: Baseline Design Value (DVB) for the 2015 Ozone NAAQS Transport SIP
Revision

Figure 3-35: 2023 Future Design Value (DVF) for the AQS Monitors in the RPO_12km
Domain shows a map of the rpo_12km domain with the 2023 DVF for each AQS
monitor.




                                         3-38
      Case: 23-60069      Document: 110      Page: 333    Date Filed: 03/27/2023




Figure 3-35: 2023 Future Design Value (DVF) for the AQS Monitors in the RPO_12km
Domain

Projected Maintenance Monitors
In Step 1, in addition to identifying the monitors projected to be in nonattainment in
2023 as described above, monitors projected to have maintenance issues were also
identified. To identify monitors that could have maintenance issues in 2023, the TCEQ
calculated Maintenance Future Year Design Values (MDVF). The 2023 MDVF is calculated
using the same equation presented in Equation 3-1, except that the DVB is the most
recent, instead of the average, of the three regulatory design values containing the
base year. Therefore, since 2012 is the base year, the 2014 design value that is the
latest regulatory design value that contains the base year of 2012 is used as DVB. For
monitors with no regulatory 2014 design value, the 2013 or 2012 design values were
used as applicable. The regulatory design values after 2014, namely 2015 and 2016,
are not used since these design values do not include monitored data from the
modeling base year of 2012.

The TCEQ’s approach for identifying maintenance monitors differs from the approach
used by the EPA in the 2015 Transport NODA. The EPA used the maximum of the three
consecutive regulatory design values containing the base year as the DVB to identify
maintenance monitors. Both the EPA’s approach and the TCEQ’s approach account for
three years of meteorological variability in their choice of DVB to identify maintenance
monitors since a single design value is a three-year average of the annual fourth-
highest MDA8 ozone concentration. The EPA’s approach is to choose the maximum of
the three consecutive regulatory design values containing the base year as the DVB

                                          3-39
            Case: 23-60069      Document: 110         Page: 334       Date Filed: 03/27/2023




while the TCEQ’s approach is to choose the latest of the three consecutive regulatory
design values containing the base year as the DVB. For the reasons described below, the
TCEQ determined that the selection of the most recent DVB addresses all issues
relevant for an independent assessment of maintenance; and therefore, provides a
comprehensive assessment of the potential impacts of Texas emissions on potential
maintenance monitors.

The EPA’s approach to identify maintenance monitors provides independent meaning
to “maintenance” by choosing a DVB that is different from the DVB used in the
identification of nonattainment monitors. As discussed previously, EPA chooses the
maximum DVB. The EPA justified this approach by inappropriately under-weighting the
role of emissions reductions in the inter-annual variability of design values. Inter-
annual variability in design values is mainly a function of both meteorology and
emissions. By choosing the maximum DVB, EPA provides less weight to the impact of
emission reductions over time at a particular monitor, without justification. The EPA’s
approach under-emphasizes emissions reductions and future maintenance plan
requirements that provide for attainment and maintenance. The EPA’s approach
assumes that inter-annual variability in design values is mainly attributable to
meteorological conditions and any downward trend in design value is due to
meteorology not being conducive to ozone formation.

Despite meteorological inter-annual variability there is a well-documented 25 nationwide
decrease in ozone design values over time with many monitors attaining and
maintaining ever-tightening standards. A nonattainment monitor progresses into
maintenance through emissions reductions, not through weather modification. Even
accounting for meteorological conditions, ozone formation has been on a downward
trajectory in most parts of the country. As shown in Figure 3-6, which depicts the
meteorologically adjusted ozone trends for the NCDC climate regions for May through
September (ozone season) for years 2000 through 2016, a downward trend in
meteorologically adjusted ozone (the blue line) in the later years can be seen for most
regions. Table 3-8: Maximum and Minimum Eight-Hour Ozone Design Values for All U.S.
Monitors for Each Year from 2007 through 2016 shows how many monitors had either
a maximum or a minimum eight-hour ozone design value for each year from 2007
through 2016, with the five years that are included in the three consecutive regulatory
design values containing the base year used in TCEQ’s modeling shaded in light blue.

Table 3-8: Maximum and Minimum Eight-Hour Ozone Design Values for All U.S.
Monitors for Each Year from 2007 through 2016
     Year      Number of Monitors with           Number of Monitors with
              Maximum Eight-Hour Ozone          Minimum Eight-Hour Ozone
                    Design Value                      Design Value
     2007                            582                                 18
     2008                            106                                  4
     2009                                10                                    14
     2010                                24                                    67



25
  “Our Nation’s Air – Status and Trends though 2015”, Interactive web report available at
https://gispub.epa.gov/air/trendsreport/2016/

                                                  3-40
        Case: 23-60069    Document: 110      Page: 335    Date Filed: 03/27/2023




 Year      Number of Monitors with      Number of Monitors with
          Maximum Eight-Hour Ozone     Minimum Eight-Hour Ozone
                Design Value                 Design Value
 2011                              5                            44
 2012                             43                            13
 2013                             18                            47
 2014                              0                            51
 2015                              6                          362
 2016                              6                            180

As seen in Table 3-8, the maximum design value occurs more often in the earlier years
and the minimum design value occurs more often in later years, though not always the
latest years. This further shows that ozone is decreasing despite changes in
meteorology from year to year.

In addition, since the maximum design value in the set of three consecutive regulatory
design values containing the base year tends to be the oldest design value, the EPA’s
choice for DVB can inappropriately emphasize ozone concentrations from the first year
(which is farthest from the future year) of the five-year window through its
contribution to the oldest of three design values.

The TCEQ approach provides independent meaning to maintenance monitors in a
manner consistent with the FCAA’s concept of maintenance areas as areas that were
formerly in nonattainment and that have since attained the standard and will continue
to maintain that status in the future because it accounts for both meteorological
variability and the latest emissions impact on the monitor, which could be either
increasing or decreasing. The concept of maintenance is forward looking and must
account for meteorological variability, the emissions reductions that have occurred in
the past (through the establishment of permanent and enforceable measures on major
stationary sources and well as trends such as fleet turnover), and commitments
regarding contingency measures to address future emission reductions necessary if
the area violates the standard.

The EPA’s approach would appear to be more appropriate if the goal is to maximize
the likelihood that a monitor would attain the NAAQS in a particular future year, since
ozone concentrations in a particular year are subject to random meteorological effects,
but that is not the focus in the identification of maintenance monitors. Although
meteorology plays a role in determining whether or not an attainment monitor
maintains that status, the EPA’s approach conflates two related but distinct concepts:
the likelihood of attaining the standard in a future year and the ability of an
attainment monitor to maintain that attainment status.

Since all nonattainment monitors are simultaneously maintenance monitors and any
remedies devised to address nonattainment monitors would have to apply to
maintenance monitors due to the overlapping nature of the two methods, another
practical consequence of the EPA’s approach is that it could easily lead to over-control
as well as requiring upwind states to consider or implement controls when the
downwind state in which the maintenance monitor is located does not have any
obligations to control local emissions. Such an approach was already adopted in CSAPR

                                          3-41
      Case: 23-60069      Document: 110      Page: 336    Date Filed: 03/27/2023




where the EPA treated maintenance monitors identically to the way it treated
nonattainment monitors, both in linking states to specific monitors and devising
emission limits for the linked states. This conflation of nonattainment and
maintenance further results in there being effectively no independent meaning to
“maintenance” as opposed to “nonattainment,” contrary to North Carolina v.
Environmental Protection Agency, 531 F.3d 896 (D.C. Cir. 2008) (North Carolina).

The TCEQ’s recommended approach accounts for meteorological variability, while
accounting for possible emissions reductions, since the latest design value itself
consists of monitoring data from a three-year period. Using the latest of the three
design values acknowledges the progress made by states but still accounts for any
recent changes in ozone concentrations. The TCEQ method provides independent
meaning of maintenance (North Carolina) in a manner that is consistent with the
FCAA’s concept of maintenance and without penalizing upwind states for old
violations at monitors that have seen substantial reductions over a five-year period. By
focusing on the latest design value, the approach also harmonizes the requirements of
§175A, the maintenance plan requirement for areas that were formerly nonattainment
with the requirements of FCAA, §110(a)(2)(D). Since the latest design value will reflect
the current state of ozone concentrations in an area and the impact of any
maintenance plans that are in place to prevent local emissions from causing an area to
slip back into nonattainment, the TCEQ’s approach will ensure that only monitors with
maintenance issues that are truly driven by interstate transport are tagged as
maintenance monitors. Due to the differences in the TCEQ’s approach (including
choice of base year) and the EPA’s approach, the set of monitors projected to be
maintenance in 2023 are, not unexpectedly, different from the monitors identified as
maintenance monitors in the 2015 Transport NODA.

Figure 3-36: 2023 Maintenance Future Year Design Value (MDVF) for the AQS Monitors
in the RPO_12km Domain shows the MDVF for all the AQS monitors in the rpo_12km
domain.




                                          3-42
      Case: 23-60069      Document: 110      Page: 337     Date Filed: 03/27/2023




Figure 3-36: 2023 Maintenance Future Year Design Value (MDVF) for the AQS
Monitors in the RPO_12km Domain

3.3 STEP 2: SOURCE APPORTIONMENT AND IDENTIFICATION OF DOWNWIND
MONITORS TAGGED FOR FURTHER REVIEW
Section 3.2 detailed how photochemical modeling was used in the relative sense to
identify monitors projected to be in nonattainment or have maintenance issues in
2023. In this section, details on Step 2 and the identification of the subset of monitors
that might be impacted by Texas emissions from the approximately 1200 AQS
monitors in the rpo_12km domain are presented. The subset of monitors tagged in
Step 2 were further reviewed in Step 3 to determine if emissions from Texas contribute
significantly to nonattainment or interfere with maintenance at that monitor.

The Anthropogenic Culpability Precursor Analysis (APCA) tool was used to identify and
tag the subset of downwind monitors that might be impacted by Texas emissions (and
will be further reviewed in Step 3). APCA is a probing tool in CAMx that is used to
apportion the modeled ozone concentration at each grid cell at each simulation hour
to specific user-defined geographic regions and/or source categories. APCA does this
by keeping track of the origin of the NOX and VOC precursors creating the ozone in
each grid cell for each time step during the model run.

The APCA contribution categories chosen were to facilitate better understanding of
interstate problems at the monitors within the rpo_12km domain. Since Step 2 is to
identify monitors that might be impacted by Texas emissions, the TCEQ considered
Texas anthropogenic emissions as a contribution category for this SIP revision.
Anthropogenic emissions from other states in the continental U.S. were grouped
together as one contribution category. Other contribution categories were chosen to

                                          3-43
       Case: 23-60069        Document: 110      Page: 338   Date Filed: 03/27/2023




separate out the impacts of emissions that are not directly related to interstate
problems such as biogenics, fires, ocean, etc. The following are source contribution
categories that were used in the APCA model run:

   •   Texas Anthro – NOX and VOC emissions from Texas anthropogenic sources;

   •   Non-Texas U.S. Anthro – NOX and VOC emissions from anthropogenic sources in
       the 47 other states of the continental U.S.;

   •   Non-U.S. Anthro – NOX and VOC emissions from southern Canadian and
       northern Mexican anthropogenic sources included in the rpo_12km domain;

   •   Ocean Anthro – NOX and VOC emissions from ocean-going vessels and off-shore
       oil and gas platforms;

   •   Biogenic Emissions;

   •   Fires; and

   •   Initial and boundary conditions.

Figure 3-37: APCA Geographic Regions for the 2015 Ozone NAAQS Transport SIP shows
a map of the APCA contribution categories with Texas in red, Non-Texas U.S. in pink,
Non-U.S. in lavender, and Ocean in blue.




                                             3-44
       Case: 23-60069        Document: 110      Page: 339    Date Filed: 03/27/2023




Figure 3-37: APCA Geographic Regions for the 2015 Ozone NAAQS Transport SIP
Revision

The outputs of an APCA model run are the total modeled hourly concentration and the
breakdown of the total concentration by each user-specified contribution category for
each grid cell of the domain for each hour of the episode. For example, as part of the
2023 APCA simulation, for cell index [242, 78], which contains the Manvel Croix
monitor, the hourly modeled ozone concentration is 72.21 ppb on episode day July 14
at 12:00 p.m. Central Standard Time (CST). The total ozone concentration of 72.21 ppb
in the cell is apportioned to the specified contribution categories as shown in Table
3-9: Apportion of Total Ozone Concentration for cell index [242, 78] on episode day July
14 at 12:00 p.m. CST to Contribution Categories.

Table 3-9: Apportion of Total Ozone Concentration for cell index [242, 78] on
episode day July 14 at 12:00 p.m. CST to Contribution Categories
                      Category                      Contribution
 Texas anthropogenic emissions                              48.41
 Non-Texas U.S. anthropogenic emissions                      0.72
 Non-U.S. anthropogenic emissions                            0.25
 Ocean anthropogenic emissions                               7.71
 Fire emissions                                              0.32
 Biogenic emissions                                          4.91
 Boundary conditions                                         9.90


                                             3-45
      Case: 23-60069      Document: 110      Page: 340    Date Filed: 03/27/2023




Figure 3-38: Breakdown of Total Hourly Modeled Ozone Concentration by APCA
Contribution Categories for the Manvel Croix Monitor Grid Cell on July 14 at 12:00 p.m.
CST is a graphical representation of the breakdown of the total hourly modeled
concentration in the grid cell containing the Manvel Croix monitor on July 14
(contained within the red box) at 12:00 p.m. CST (identified by a gold star) by each
APCA contribution category.




Figure 3-38: Breakdown of Total Hourly Modeled Ozone Concentration by APCA
Contribution Categories for the Manvel Croix Monitor Grid Cell on July 14 at 12:00
p.m. CST

In an APCA model run, the sum concentrations apportioned to each contribution
category will always equal the total modeled concentration for each grid cell for each
hour. APCA apportions ozone formed due to the interaction of biogenic and
anthropogenic precursor emissions by recognizing that biogenic emissions as a non-
controllable category. Therefore, APCA apportions/attributes ozone formed from such
interactions to the anthropogenic precursor emissions. Details of how APCA results
were used to tag downwind nonattainment and maintenance monitors for further
review are presented in this section.

To identify nonattainment and maintenance monitors for further review, Texas
contribution to the monitor’s 2023 DVF (2023 TXDVF) was evaluated. The following
methodology was used to determine the 2023 TXDVF.

   1. Calculate the 2023 MDA8 total concentration for each grid cell for each episode
      day.

   2. Calculate the 2023 MDA8 Texas contribution using the hourly apportioned
      concentration for Texas for each grid cell for each episode day, using
      contributions from the hours that comprised the MDA8 concentration for that
      day.

   3. For each monitor, calculate the ratio of the average of the 2023 MDA8 Texas
      contribution to the average of the 2023 MDA8 total concentration from the
      same days and grid cells used in the 2023 DVF calculation for that monitor.

   4. Calculate the 2023 TXDVF for each monitor by multiplying the 2023 DVF for that
      monitor by the ratio calculated in the previous step for that monitor.

                                          3-46
      Case: 23-60069        Document: 110      Page: 341    Date Filed: 03/27/2023




In addition to determining TXDVF, the contribution of each APCA category to the 2023
DVF for each AQS monitor in the rpo_12km domain was also calculated using the steps
outlined above.

3.3.1 Identification of Nonattainment Monitors for Further Review
Two criteria were used to tag downwind nonattainment monitors for further review - a
monitor’s 2023 DVF is greater than or equal to 71 ppb and the monitor’s 2023 TXDVF is
greater than or equal to 0.7 ppb. Table 3-10: Downwind Nonattainment Monitors
Tagged for Further Review, sorted by state, provides details such as AQS ID, site name,
state and county, 2023 DVF, and 2023 TXDVF, of the downwind nonattainment monitors
tagged for further review in Step 3.

Table 3-10: Downwind Nonattainment Monitors Tagged for Further Review
                                                                                     2023
                                                                      2023 DVF
  AQS ID              Site Name              State         County                    TXDVF
                                                                        (ppb)
                                                                                     (ppb)
 80350004   Chatfield State Park        Colorado     Douglas                73          1.42

 80590006   Rocky Flats                 Colorado     Jefferson              72          1.26
            National Renewable Energy
 80590011                               Colorado     Jefferson              71          1.26
            Labs-NREL
 80690011   Fort Collins-West           Colorado     Larimer                72          1.22
            Chiricahua National
 40038001                               Arizona      Cochise                71          1.06
            Monument
 60371201   Reseda                      California   Los Angeles            80          0.76

 60371701   Pomona                      California   Los Angeles            80          0.72

 60376012   Santa Clarita               California   Los Angeles            87           0.9

 60658001   Rubidoux                    California   Riverside              88          0.73

 60658005   Mira Loma (Van Buren)       California   Riverside              84          0.71

 60710001   Barstow                     California   San Bernardino         71          0.84

 60710306   Victorville-Park Avenue     California   San Bernardino         76          0.81

 60711004   Upland                      California   San Bernardino         91          0.88

 60714001   Hesperia-Olive Street       California   San Bernardino         82          0.86

 60714003   Redlands                    California   San Bernardino         94          0.74


3.3.2 Identification of Maintenance Monitors for Further Review
Two criteria were used to tag downwind maintenance monitors for further review – a
monitor’s 2023 MDVF is greater than or equal to 71 ppb and the monitor’s 2023 TXDVF is
greater than or equal to 0.7 ppb. Table 3-11: Downwind Maintenance Monitors Tagged
for Further Review, sorted by state, provides details such as AQS ID, site name, state

                                            3-47
      Case: 23-60069        Document: 110        Page: 342      Date Filed: 03/27/2023




and county, 2023 MDVF, and 2023 TXDVF, of the downwind maintenance monitors
tagged for further review in Step 3.

Table 3-11: Downwind Maintenance Monitors Tagged for Further Review
                                                                        2023       2023
  AQS ID          Site Name             State          County           MDVF       TXDVF
                                                                        (ppb)      (ppb)
 80350004   Chatfield State Park      Colorado      Douglas                  72          1.42

 80590006   Rocky Flats               Colorado      Jefferson                73          1.26
            National Renewable
 80590011                             Colorado      Jefferson                71          1.26
            Energy Labs-NREL
 80690011   Fort Collins-West         Colorado      Larimer                  71          1.22

 80050002   Highland Reservoir        Colorado      Arapahoe                 71          1.15

 60371201   Reseda                    California    Los Angeles              78          0.76

 60371701   Pomona                    California    Los Angeles              82          0.72

 60376012   Santa Clarita             California    Los Angeles              86           0.9

 60658001   Rubidoux                  California    Riverside                85          0.73

 60658005   Mira Loma (Van Buren)     California    Riverside                83          0.71

 60710001   Barstow                   California    San Bernardino           72          0.84

 60710306   Victorville-Park Avenue   California    San Bernardino           77          0.81

 60711004   Upland                    California    San Bernardino           90          0.88

 60714001   Hesperia-Olive Street     California    San Bernardino           79          0.86

 60714003   Redlands                  California    San Bernardino           91          0.74


Except for the Highland Reservoir (AQS ID: 80050002) monitor in Arapahoe County,
Colorado, all the maintenance monitors are also nonattainment monitors.

In the 2015 Transport NODA, the EPA’s modeling linked Texas to six monitors based
solely because modeled contributions to a monitor’s future year design value were
greater than or equal to 0.7 ppb. Table 3 12: Monitors Linked to Texas by EPA Modeling
in the 2015 Transport NODA shows the six monitors, the 2023 DVF and modeled Texas
contributions to DVF from the EPA’s modeling and the corresponding values
determined using the TCEQ’s modeling.




                                            3-48
         Case: 23-60069        Document: 110         Page: 343        Date Filed: 03/27/2023




Table 3-12: Monitors Linked to Texas by EPA Modeling in the 2015 Transport NODA
                                               2023 DVF                         2023 DVF       2023 TXDVF in
                                                             2023 TXDVF in
                                                in EPA                            TCEQ            TCEQ
      AQS ID        State        County                      EPA Modeling
                                               Modeling                         Modeling         Modeling
                                                                 (ppb)
                                                 (ppb)                            (ppb)           (ppb)
     260050003   Michigan      Allegan               68.8               2.49            71              0.59
     551170006   Wisconsin     Sheboygan             71.0               1.92            70              0.73
     240251001   Maryland      Harford               71.3               0.91            65              0.69
     360850067   New York      Richmond              71.2               0.77            62              0.67
     361030002   New York      Suffolk               71.3               0.71            67              0.63
     80590011    Colorado      Jefferson             69.7               1.03            71              1.26

There are significant though not unexpected differences between the TCEQ’s modeling
results and the EPA’s modeling results. For example, in the EPA’s modeling, five of the
six monitors linked to Texas were located in Eastern states, whereas all the monitors
tagged for further review by the TCEQ’s modeling are located in Western states. 26 The
differences are due to key changes the TCEQ made to modeling inputs, analysis, and
methodologies to address several critical concerns with the EPA’s modeling and
approach in the 2015 Transport NODA, as discussed in this SIP revision as well as the
TCEQ’s comments on the 2015 Transport NODA. Some of the changes include a
different base year, a different EGU projection tool, changes to the methodology used
to identify maintenance monitors, and changes to the methodology used to calculate
Texas’ contribution to downwind monitors. These changes are appropriate since there
are no regulatory requirements that specify required modeling parameters for
transport analysis. Further, as stated by the EPA in the 2015 Transport NODA, “The
EPA believes that states may rely on this or other appropriate modeling, data or
analyses to develop approvable Good Neighbor SIPs…” (82 FR 1735); therefore, the
TCEQ can make choices different than those made by the EPA as long as the modeling
and analysis is technically justifiable. The TCEQ’s modeling and analysis, though
different from the EPA’s modeling and analysis, are valid as they are within the CSAPR
framework and follow sound scientific principles and the EPA Modeling Guidance,
where applicable. Therefore, the TCEQ focused only on the monitors tagged for further
review by TCEQ modeling and shown in Table 3-10 and Table 3-11 to determine if
emissions from Texas contribute significantly to nonattainment or interfere with
maintenance.

The downwind nonattainment and maintenance monitors tagged for further review are
in three states: Arizona, California, and Colorado. To aid further review and analysis of
the tagged monitors, APCA runs were conducted with additional contribution
categories: California Anthro, Colorado Anthro, New Mexico Anthro, Kansas Anthro,
Nebraska Anthro, Wyoming Anthro, Utah Anthro, California Anthro, Arizona Anthro,
Nevada Anthro and Oregon Anthro. Figure 3-39: Map of Additional APCA Geographic
Regions Based on Location of Tagged Monitors shows all the geographic contribution
regions used in the APCA runs for this 2015 Ozone NAAQS Transport SIP revision.



26
  Per the EPA, Eastern states include all states from Texas northward to North Dakota and eastward to the
East Coast while the Western states include the 11 western contiguous states of Arizona, California,
Colorado, Idaho, Montana, Nevada, New Mexico, Oregon, Utah, Washington, and Wyoming (FR 82, 1737).

                                                  3-49
      Case: 23-60069      Document: 110      Page: 344    Date Filed: 03/27/2023




Figure 3-39: Map of Additional APCA Geographic Regions Based on Location of
Tagged Monitors

3.4 STEP 3: ANALYSIS TO DETERMINE IF TEXAS EMISSIONS CONTRIBUTE
SIGNIFICANTLY TO NONATTAINMENT OR INTERFERE WITH MAINTENANCE AT
TAGGED MONITORS
This section describes the analysis used to determine whether Texas emissions
significantly contribute to nonattainment or interfere with maintenance at the sixteen
downwind monitors that were tagged for further review in Step 2. To make this
determination, a weight-of-evidence approach was used. Interstate transport is a
complex problem and a nuanced approach that takes into consideration the factors
relevant to the ozone conditions at the tagged monitors is required. Examples of
factors considered include the current attainment status of the monitors, design value
trends, the meteorological conditions that lead to high ozone formation at the
monitor, and the number of days with elevated ozone (observed and modeled).

Since there could be considerable variation in the characteristics of the ozone problem
at each monitor, not all factors were considered or analyzed for every monitor. In
addition, the use of 1% of the NAAQS threshold for modeled contribution as the sole
definition of significant contribution is inappropriate for the 2015 ozone NAAQS since
the more stringent 0.7 ppb threshold is an order of magnitude smaller than the biases
and errors typically documented for regional photochemical modeling (Simon et al.,
2012). The Texas contribution should be deemed “significant” only if there is a
persistent and consistent pattern of contribution on several days with elevated

                                          3-50
      Case: 23-60069      Document: 110      Page: 345     Date Filed: 03/27/2023




ozone. Analysis is presented for each state with a tagged downwind monitor in the
following sections.

3.4.1 Colorado Monitors
Modeling tagged four Colorado nonattainment monitors, as shown in Table 3-10, for
further review. In addition to these monitors, modeling also tagged one Colorado
maintenance monitor, the Highland Reservoir (AQS ID 080050002) monitor, as shown
in Table 3-11 for further review.

Results of in-depth analysis leads to the conclusion that Texas emissions do not
contribute to nonattainment or interfere with maintenance at the five Colorado
monitors tagged for further review. The conclusion is based on design value trends,
number of monitored elevated ozone days, back trajectory analysis on elevated ozone
days, average modeled contributions from modeled future elevated ozone days, the
collective interstate contribution to the future design values, and the responsiveness to
Texas emissions at these monitors. Details of the analysis are presented in the
following sections.

3.4.1.1 Eight-Hour Ozone Design Value Trends
Eight-hour ozone design value trends at the tagged monitors, along with the other
monitors in the Denver-Aurora combined statistical area (CSA), are displayed in Figure
3-40: Eight-Hour Ozone Design Values for Monitors in the Denver-Aurora Area. The
Colorado monitors tagged for further review are highlighted in color while the other
monitors in the Denver-Aurora CSA are in gray. The four nonattainment monitors
tagged for further review have the highest eight-hour ozone design values in the
Denver-Aurora CSA, ranging from 80 ppb at National Renewable Energy Labs to 75 ppb
at Fort Collins West. The tagged maintenance monitor does not have valid eight-hour
ozone in 2016, but its last valid eight-hour ozone design value, 79 ppb in 2013, was
one of the five highest eight-hour ozone design values for that year. All other monitors
except one, the Welch monitor, in the Denver-Aurora area, have eight-hour ozone
design values below the 2015 ozone NAAQS. Overall, eight-hour ozone design values in
the Denver-Aurora area have been decreasing from 2007 through 2016. Decreases
observed are modest, ranging from a 2% to 10%.




                                          3-51
      Case: 23-60069      Document: 110      Page: 346   Date Filed: 03/27/2023




Figure 3-40: Eight-Hour Ozone Design Values for Monitors in the Denver-Aurora
Area

3.4.1.2 Monitored Elevated Ozone Days
To investigate the contribution of Texas emissions to ozone at the tagged Colorado
monitors, days that had elevated ozone at each of the five tagged monitors were
identified. Any day with a monitored daily maximum eight-hour average ozone
concentration greater than 70 ppb was considered an elevated ozone day. From 2012
through 2016 the number of elevated ozone days at the Colorado monitors ranged
from a high of 116 days at Rocky Flats to a low of 46 days at Highland Reservoir. In
order to better characterize the ozone problem at the Colorado monitors and have
more days with elevated ozone, the number of years evaluated was increased from five
to ten. Using ten years of data more than doubled the number of elevated ozone days
at some of the monitors, with a high of 237 days at Rocky Flats and a low of 78 days at
Highland Reservoir. The number of elevated ozone days at each tagged monitor from
the past 10 years is shown in Figure 3-41: Number of Elevated Eight-Hour Ozone Days
at the Tagged Colorado Monitors for the years 2007 through 2016. Figure 3-41 shows
that the five monitors seem to have similar trends with varying levels of severity.
Trends in elevated ozone days overall appear to be decreasing, with a peak occurring
in 2012. Over the past 10 years, all five tagged monitors in Colorado observed the
highest number of elevated ozone days in 2012. The Rocky Flats monitor historically
observed the most elevated ozone days until the most recent two years (2015 and
2016), when the National Renewable Energy Labs monitor observed the highest number
of elevated ozone days.

                                          3-52
      Case: 23-60069       Document: 110      Page: 347    Date Filed: 03/27/2023




Figure 3-41: Number of Elevated Eight-Hour Ozone Days at the Tagged Colorado
Monitors for the years 2007 through 2016

3.4.1.3 Back Trajectory Analysis on Elevated Ozone Days
The elevated ozone days identified were used as a starting point to examine back
trajectories from the tagged monitors. NOAA’s HYbrid Single-Particle Lagrangian
Integrated Trajectory (HYSPLIT) back trajectory model was used to run 72-hour back
trajectories for each elevated ozone day at each tagged monitor. A test run of back
trajectories for the top 10 modeled high ozone days showed that some endpoints
reached Texas only after 72 hours; therefore, it was determined that 72 hours was an
appropriate length of time to determine whether air from Texas reaches Colorado on a
given day. The time of daily maximum one-hour ozone on the elevated eight-hour
ozone day was used as the starting hour for each trajectory. If the maximum one-hour
ozone occurred over multiple hours, then multiple trajectories were run, using each
different hour as the starting hour. Three starting heights were used, 500 m AGL, 1000
m AGL, and 1500 m AGL.

To look for probable cases where pollution from Texas was transported to Colorado,
back trajectories were filtered for the following two conditions: back trajectories that
did not hit the surface (zero m AGL) at any time during the 72-hour run, and back
trajectories that started within the HYSPLIT calculated mixing layer in Colorado. The
filtering criteria ensured that the back trajectories used were those that capture air
that would affect the ground level monitor. The total number of HYSPLIT back
trajectories and the number of trajectories that meet the filtering criteria are

                                           3-53
      Case: 23-60069       Document: 110      Page: 348      Date Filed: 03/27/2023




summarized in Table 3-13: Number of HYSPLIT Back Trajectories at Each Tagged
Colorado Monitor.

Table 3-13: Number of HYSPLIT Back Trajectories at Each Tagged Colorado Monitor
                                                        Number of Back     Percent of Back
                                       Number of
                                                          Trajectories       Trajectories
  AQS ID           Site Name              Back
                                                        that Meet Filter   that Meet Filter
                                       Trajectories
                                                            Criteria           Criteria

 80050002   Highland Reservoir                    282               189                67%


 80350004   Chatfield State Park                  594               367                62%


 80590006   Rocky Flats                           846               578                68%

            National Renewable
 80590011                                         624               380                61%
            Energy Labs-NREL

 80690011   Fort Collins-West                     663               434                65%


The filtered back trajectories are displayed on the map in Figure 3-42: HYSPLIT Back
Trajectory Endpoints that Meet Filter Criteria from the Tagged Colorado Monitors. For a
trajectory (whether run forward or backward in time), the estimated location of the air
parcel during each hour of the trajectory is referred to as an endpoint. The green
endpoints represent an air parcel that is located above the mixing layer while the
purple endpoints represent an air parcel that is located within the mixing layer. It is
important to know which endpoints are located within the mixing layer because an
endpoint in the mixing layer would demonstrate a clearer case of emissions at that
location being transported to the starting location. Although it is difficult to see any
detail for specific trajectories in the Colorado area, the map shows back trajectory end
points that end in Texas. Out of the 1,948 back trajectories with 134,185 endpoints
displayed in Figure 3-42, 116 back trajectories (6%) with a total of 2,019 endpoints
(1.5%) reach Texas. Of those 2,019 endpoints, 912 are located within the mixing layer
over Texas, meaning 0.68% of endpoints are located within the Texas mixing layer.




                                           3-54
      Case: 23-60069     Document: 110      Page: 349    Date Filed: 03/27/2023




Figure 3-42: HYSPLIT Back Trajectory Endpoints that Meet Filter Criteria from the
Tagged Colorado Monitors

Although most back trajectories do not reach Texas on elevated ozone days in
Colorado, further analysis was necessary to indicate whether the days where
trajectories that reached Texas had a significant impact on ozone levels in Colorado.
To investigate further, the number of trajectories to reach Texas from Colorado were
calculated for each year from 2007 through 2016. The number of trajectories reaching
Texas from each monitor were then compared to the number of elevated eight-hour
ozone days for each year. The results are shown in Figure 3-43: Number of Trajectories
that Reach Texas and the Number of Elevated Eight-Hour Ozone Days at Each Tagged
Colorado Monitor. Figure 3-43 shows that the number of trajectories that reach Texas
from Colorado varies by year. Most years from 2007 through 2016 show fewer than
five, and some show zero trajectories that reach Texas. Of the trajectories that reach
Texas from Colorado, 66% occurred during 2011 and 2012. This spike does not appear
to be a pattern that repeats frequently. There were also many more elevated eight-hour
ozone days observed in 2012 compared to other years. This may indicate that there
were some unusual meteorological patterns that occurred that year that caused a more
severe ozone season. There are years where few, if any, trajectories reach Texas and
the number of elevated ozone days still remained high. For example, National
Renewable Energy Labs had over 15 elevated eight-hour ozone days in 2007, 2008,
2015, and 2016, but only one trajectory reached Texas over those four years combined.


                                         3-55
      Case: 23-60069      Document: 110      Page: 350    Date Filed: 03/27/2023




Figure 3-43: Number of Trajectories that Reach Texas and the Number of Elevated
Eight-Hour Ozone Days at Each Tagged Colorado Monitor

While the number of elevated ozone days can indicate the severity of an ozone season,
the fourth-highest eight-hour ozone concentrations provide more information on how
close the area is to attaining the standard. The fourth-highest eight-hour ozone values
at the tagged Colorado monitors, along with the number of trajectories that reach
Texas each year, are shown in Figure 3-44: Fourth-Highest Eight-Hour Ozone and the
Number of Trajectories that Reach Texas. Overall, trends in the fourth-highest eight-
hour ozone concentrations have only slightly decreased. The increase in trajectories
that reach Texas in 2012 did not appear to increase the fourth-highest eight-hour
ozone values at the tagged Colorado monitors much, if at all. The fourth-highest eight-


                                          3-56
      Case: 23-60069      Document: 110      Page: 351   Date Filed: 03/27/2023




hour ozone values in 2015 and 2016 remained above 70 ppb, even though those years
observed no trajectories that reached Texas.




Figure 3-44: Fourth-Highest Eight-Hour Ozone and the Number of Trajectories that
Reach Texas

In summary, trajectory analysis of transport from Texas to Colorado indicates that
emissions from Texas are unlikely to affect ozone concentrations in the mixing layer
over Colorado on elevated ozone days. Although trajectory analysis can have
uncertainty (Stein et al. 2017), the large data set examined greatly reduces the
uncertainty related to small sample sizes. Filtering the back trajectories by only
looking at trajectories during elevated ozone episodes, that start within Colorado’s


                                          3-57
       Case: 23-60069      Document: 110      Page: 352    Date Filed: 03/27/2023




mixing layer, that do not hit the surface, and that have endpoints within Texas’ mixing
layer is an attempt to find a clear case where emissions in Texas would affect the
ozone in Colorado. Those filters showed that 6% of elevated ozone days in Colorado
had trajectories that reached the mixing layer in Texas. Further analysis of the
trajectories by year showed that 66% of days where trajectories reached the Texas
mixing layer occurred in 2011 and 2012. There are many years where no trajectories
reach Texas from Colorado. In the years where no trajectories reached Texas, the
tagged monitors still observed a high number of elevated ozone days and fourth-
highest eight-hour ozone concentrations above 70 ppb. Most importantly, the latest
data (2015 and 2016) indicate that Texas was not upwind during any elevated ozone
days at any of the five sites shown in Figure 3-44. Although air from Texas can reach
Colorado, the air from Texas does not appear to significantly affect the ozone
concentrations.

3.4.1.4 Texas Contributions on Projected Future Year Elevated Ozone Days
The previous sections showed that although there is possible transport of air parcels
from Texas to the Colorado monitors on some historical monitored elevated ozone
days, the probability of such transport is small. In addition to monitored elevated
ozone days in the past, contributions from Texas on projected future year elevated
ozone days were also evaluated. The subset of 2023 days with modeled MDA8 greater
than 70 ppb was identified, and the average modeled Texas contributions for this
subset of days were computed. Table 3-14: Modeled Elevated Ozone Days in the Future
Year at the Tagged Colorado Monitors shows the number of days with modeled MDA8
greater than 70 ppb, the average eight-hour Texas ozone contribution, the average
MDA8 for each of the tagged Colorado monitors, and the percentage of Texas
contribution in the MDA8s.

Table 3-14: Modeled Elevated Ozone Days in the Future Year at the Tagged Colorado
Monitors
                                                    Average
                                                                  Average
                                                     Texas
                                   Number of                     MDA8 on       Percentage
                                                  Contribution
                                     Future                        Future       of Texas
      Site Name          AQS ID                    on Future
                                    Elevated                      Elevated    Contribution
                                                    Elevated
                                      Days                         Ozone        in MDA8
                                                  Ozone Days
                                                                 Days (ppb)
                                                      (ppb)

 Chatfield State Park   80350004              9           0.77        73.05         1.06%


 Rocky Flats            80590006             10           0.89        73.64         1.21%

 National Renewable
                        80590011             11           0.86        74.09         1.16%
 Energy Labs-NREL

 Fort Collins-West      80690011              2           0.56        73.06         0.77%


 Highland Reservoir     80050002              8           0.52        73.80         0.71%




                                           3-58
        Case: 23-60069          Document: 110         Page: 353       Date Filed: 03/27/2023




Table 3-14 shows that for the Colorado monitors, the expected average Texas
contribution on projected future elevated ozone days is a small percentage of the
projected average MDA8 on these days. The expected impact is not significant, since
the average contribution is less than one ppb on very few days, especially when
considering the uncertainties associated with model predictions.

3.4.1.5 Collective Interstate Contribution to the Future Design Value
The EPA has maintained that the nature of the interstate transport problem varies
between the western and eastern states. In the EPA’s 2015 Transport NODA, the EPA
states “While the 1 percent screening threshold has been traditionally applied to
evaluate upwind state linkages in eastern states where such collective contribution was
identified, the EPA noted in the CSAPR Update Rule for the 2008 ozone NAAQS that, as
to western states, there may be geographically specific factors to consider in
determining whether the 1 percent screening threshold is appropriate. For certain
receptors, where the collective contribution of emissions from one or more upwind
states may not be a considerable portion of the ozone concentration at the downwind
receptor, the EPA and states have considered, and could continue to consider, other
factors to evaluate those states’ planning obligation pursuant to the Good Neighbor
provision” (FR 82, 1740). Although the TCEQ does not believe that 1% of the NAAQS is
an appropriate threshold for determining significant contribution, it agrees that the
collective contribution of interstate transport is an important factor in the overall
evaluation. The EPA defines collective contribution as “...the total upwind states’
contribution to ozone concentration (from linked 27 and unlinked states) based on
modeling...”

The EPA has stated that the collective contribution metric is important to determine if
interstate transport is a significant contributor to a monitor’s nonattainment or
maintenance problems. 28 The collective interstate contribution to the 2023 DVF for the
tagged Colorado monitors was calculated. Table 3-15: Collective Interstate Contribution
to Future Design Value at Tagged Colorado Monitors provides the percentage of
interstate, intra-state, and background contributions to the future design values at the
five tagged Colorado monitors.




27
   The EPA uses the term “linked” to refer to downwind monitors that have contributions to future design
value greater than 1% of the NAAQS from an upwind state.
28
   In approving Nevada’s Inter-State Transport SIP the EPA states “One such factor that the EPA considers
relevant to determining the nature of a projected receptor’s interstate transport problem is the magnitude
of ozone attributable to transport from all upwind states collectively contributing to the air quality
problem” (81 FR 87859).

                                                  3-59
           Case: 23-60069        Document: 110      Page: 354        Date Filed: 03/27/2023




Table 3-15: Collective Interstate Contribution to Future Design Value at Tagged
Colorado Monitors
                                                                      Percentage of
                                                    Percentage of                        Percentage of
                                                                        2023 DVF
                                                      2023 DVF                             2023 DVF
                                                                          from
               Site Name               AQS ID           from                              from Intra-
                                                                        Collective
                                                     Background                              State
                                                                        Interstate
                                                    Contribution                         Contribution
                                                                      Contribution
     Chatfield State Park            80350004               62.12%              9.86%            25.44%

     Rocky Flats                     80590006               60.57%            10.21%             26.88%
     National Renewable Energy
                                     80590011               60.33%            10.27%             27.04%
     Labs-NREL
     Fort Collins-West               80690011               67.42%              9.32%            20.88%

     Highland Reservoir              80050002               62.47%              9.88%            25.28%


The collective interstate contribution at tagged Colorado monitors ranges from 9.32%
to 10.27%. It is a small percentage and not as high as the collective interstate
contribution percentages the EPA calculated for monitors in Eastern States, which
ranged from 17% to 67%.29 A significant portion of the tagged Colorado monitors’ 2023
DVF is due to background emissions (sum of contributions from to biogenic, fires, and
boundary conditions).

3.4.1.6 Direct Decoupled Method and Analysis of MDA8 Ozone Responsiveness to
Texas Emissions
Direct Decoupled Method (DDM) 30 is a probing tool available in CAMx that estimates
the responsiveness of ozone formation to small changes in any input parameter. The
DDM method calculates for each grid cell in the domain for each simulation hour the
first-order differential for ozone formation due to changes in a specific input
parameter(s). DDM results can explain the responsiveness of ozone formation due to
marginal changes of any input parameter. DDM results should be interpreted with care,
since the method only calculates the first-order differential which assumes a linear
response. Ozone formation is highly non-linear and therefore DDM results are only
useful for a limited range of input perturbations, about ±15% of the input parameter
value in a given simulation.

DDM was used to gauge the responsiveness of ozone formation to Texas NOX
emissions at the tagged Colorado monitors. For regional ozone problems and long-
range transport, NOX emissions play a major role. As part of the CSAPR final rule the
EPA stated, “Authoritative assessments of ozone control approaches have concluded
that, for reducing regional scale ozone transport, a NOX control strategy is most
effective, whereas VOC reductions are generally most effective locally, in more dense
urbanized areas” (76 FR 48222). For these reasons, the TCEQ focused on Texas NOX


29
   “Technical Support Document Evaluation of the Arizona Infrastructure SIP for 2008 O3 Transport (CAA
110(a)(2)(D)), U.S. EPA, Region 9, March 15, 2016, page 8 and footnotes 26 and 27.
30
   CAMx User Guide, page 177 available at http://www.camx.com/files/camxusersguide_v6-40.pdf

                                                 3-60
      Case: 23-60069      Document: 110      Page: 355    Date Filed: 03/27/2023




emissions while using DDM to evaluate the responsiveness of ozone formation at the
tagged Colorado monitors.

Because it is resource intensive to use the DDM tool, it was run for a subset of the
episode months, July and August, for the 2023 future year. July and August were
chosen because they had the highest number of the top 10 days that went into the
2023 DVF calculation for the tagged Colorado monitors. In addition to responsiveness
to Texas NOX emissions, responsiveness to Colorado NOX emissions was also calculated
at the tagged monitors. Since DDM calculates the responsiveness of ozone to NOX
emissions, the DDM values can be negative, indicating the destruction of ozone due to
NOX titration.

A series of figures showing the DDM results for each of the tagged Colorado monitors
are presented below. Each figure depicts, for every hour of every day for the July and
August episode months, the 2023 modeled eight-hour average of ozone
responsiveness at a tagged monitor to Texas NOX emissions, Colorado NOX emissions,
and NOX emissions from other sources excluding boundary conditions (“Other NOX”
emissions) as line graphs in blue, purple, and orange, respectively. The ozone
responsiveness in ppb is shown on the primary axis to the left. In addition to the
hourly eight-hour average ozone responsiveness, each figure has the hourly modeled
2023 eight-hour average ozone concentration in ppb for the July and August episode
months, depicted by a green line graph with circle markers on the secondary axis to
the right. The 2015 ozone NAAQS is shown as a black line. Both the ozone
responsiveness and the modeled ozone are from the grid cell where the monitor is
located.

Figure 3-45: DDM Responsiveness of Ozone in July 2023 at Highland Reservoir shows
the responsiveness of ozone at the Highland Reservoir monitor (AQS ID: 80050002) to
Texas NOX emissions, Colorado NOX emissions, and NOX emissions from other sources
(excluding boundary conditions) in the rpo_12km domain for the month of July.




Figure 3-45: DDM Responsiveness of Ozone in July 2023 at Highland Reservoir

In the month of July, Highland Reservoir (AQS ID: 80050002) had two elevated ozone
days (July 11 and 22) and on both days, the modeled eight-hour ozone at the monitor
is significantly more responsive to Colorado NOX and “Other NOX” emissions than to
Texas NOX emissions. This is a critical observation because the responsiveness of

                                          3-61
      Case: 23-60069      Document: 110      Page: 356   Date Filed: 03/27/2023




ozone at this monitor to Texas NOX emissions remains flat throughout the month with
little change between days with and without elevated ozone.

Figure 3-46: DDM Responsiveness of Ozone in August 2023 at Highland Reservoir shows
the responsiveness of ozone at the Highland Reservoir monitor (AQS ID: 80050002) to
Texas NOX emissions, Colorado NOX emissions, and NOX emissions from other sources
in the rpo_12km domain (excluding boundary conditions) for the month of August.




Figure 3-46: DDM Responsiveness of Ozone in August 2023 at Highland Reservoir

Similar to the July results, the responsiveness of eight-hour ozone to Texas NOX
emissions at Highland Reservoir (AQS ID: 80050002) is near zero and stays flat in the
month of August. Figure 3-45 and Figure 3-46 show that the modeled eight-hour ozone
at Highland Reservoir (AQS ID: 80050002) is not responsive to Texas NOX emissions,
during the period studied.

Figure 3-47: DDM Responsiveness of Ozone in July 2023 at Chatfield State Park shows
the responsiveness of ozone at Chatfield State Park (AQS ID 80350004) to Texas NOX
emissions, Colorado NOX emissions, and NOX emissions from other sources in the
rpo_12km domain (excluding boundary conditions) for the month of July while Figure
3-48: DDM Responsiveness of Ozone in August 2023 at Chatfield State Park does the
same for the month of August. Chatfield State Park has fewer elevated ozone days
than Highland Reservoir but shows a similar pattern of very limited responsiveness to
Texas NOX emissions.




                                          3-62
      Case: 23-60069      Document: 110      Page: 357   Date Filed: 03/27/2023




Figure 3-47: DDM Responsiveness of Ozone in July 2023 at Chatfield State Park




Figure 3-48: DDM Responsiveness of Ozone in August 2023 at Chatfield State Park

Figure 3-49: DDM Responsiveness of Ozone in July 2023 at Rocky Flats and Figure 3-50:
DDM Responsiveness of Ozone in August 2023 at Rocky Flats show the responsiveness
of ozone at Rocky Flat (AQS ID: 80590006) to Texas NOX emissions, Colorado NOX
emissions, and NOX emissions from other sources in the rpo_12km domain (excluding
boundary conditions) for the months of July and August, respectively.

Rocky Flats (AQS ID: 80590006) shows a small (approximately 2 ppb) responsiveness
to Texas NOX emissions in mid to late July. However, when ozone at the monitor is
responsive to Texas NOX emissions, elevated ozone was not observed except for a
minor response on one day, July 23.




                                          3-63
      Case: 23-60069     Document: 110      Page: 358   Date Filed: 03/27/2023




Figure 3-49: DDM Responsiveness of Ozone in July 2023 at Rocky Flats




Figure 3-50: DDM Responsiveness of Ozone in August 2023 at Rocky Flats

Figure 3-51: DDM Responsiveness of Ozone in July 2023 at National Renewable Energy
Labs-NREL and Figure 3-52: DDM Responsiveness of Ozone in August 2023 at National
Renewable Energy Labs-NREL show the responsiveness of ozone at National Renewable
Energy Labs – NREL (AQS ID: 80590011) to Texas NOX emissions, Colorado NOX
emissions, and NOX emissions from other sources in the rpo_12km domain (excluding
boundary conditions) for the months of July and August, respectively. In this case,
there appears to be some minor responsiveness to Texas’ NOX emissions on two high
ozone days in the third week of July, but similar to other Colorado monitors studied
the degree of responsiveness is overwhelmed by the responsiveness to Colorado NOX
and “Other NOX” emissions.




                                         3-64
      Case: 23-60069     Document: 110      Page: 359   Date Filed: 03/27/2023




Figure 3-51: DDM Responsiveness of Ozone in July 2023 at National Renewable
Energy Labs-NREL




Figure 3-52: DDM Responsiveness of Ozone in August 2023 at National Renewable
Energy Labs-NREL

Figure 3-53: DDM Responsiveness of Ozone in July 2023 at Fort Collins-West and Figure
3-54: DDM Responsiveness of Ozone in August 2023 at Fort Collins-West show the
responsiveness of ozone at Fort Collins-West (AQS ID: 80690011) to Texas NOX
emissions, Colorado NOX emissions, and NOX emissions from other sources in the
rpo_12km domain (excluding boundary conditions) for the months of July and August,
respectively. At Fort Collins-West the highest ozone days recorded in July or August
were well below 71 ppb, so while ozone peak concentrations showed marginal
responsiveness to Texas NOX emissions on a few days, clearly there was no significant
contribution during this period.




                                         3-65
      Case: 23-60069     Document: 110      Page: 360    Date Filed: 03/27/2023




Figure 3-53: DDM Responsiveness of Ozone in July 2023 at Fort Collins-West




Figure 3-54: DDM Responsiveness of Ozone in August 2023 at Fort Collins-West

Both at National Renewable Energy Labs-NREL (AQS ID: 80590011) and Fort Collins-
West (AQS ID: 80690011), the same pattern of ozone responsiveness to Texas NOX
emissions as the other three tagged Colorado monitors was observed.

In summary, though the DDM analysis may on occasion exhibit a limited
responsiveness (two ppb or less) to Texas NOX emissions at the tagged Colorado
monitors, the instances where this occurs are infrequent and rarely coincide with
elevated ozone. Of the 62 days that DDM was estimated, the number of days that met
the condition of having elevated ozone (MDA8 greater than 70 ppb) and appreciable
responsiveness (greater than 1 ppb) ranged from three days at National Renewable
Energy Labs-NREL (AQS ID: 80590011) and Rocky flats (AQS ID: 80590006) to zero days
at Fort Collins-West (AQS ID: 80690011). In virtually all events, responsiveness to
Texas NOX emissions is dwarfed by that of Colorado NOX and “Other NOX” emissions.

3.4.1.7 Conclusion of Weight-of-Evidence Analysis of the Tagged Colorado Monitors
Analysis of the design value trends, number of monitored elevated ozone days, back
trajectory analysis on elevated ozone days, the modeled contributions on expected
elevated ozone days, total interstate contribution, and the responsiveness of ozone
formation at the tagged Colorado monitors to Texas NOX emissions leads to the

                                         3-66
      Case: 23-60069      Document: 110      Page: 361     Date Filed: 03/27/2023




conclusion that Texas emissions do not contribute significantly to nonattainment or
interfere with maintenance of the 2015 ozone NAAQS at the tagged monitors in
Colorado.

3.4.2 Arizona Monitor(s)
Modeling tagged the Chiricahua National Monument (AQS ID: 040038001) monitor in
Cochise County, Arizona as a nonattainment monitor with a TXDVF of 1.06 ppb. A
survey of the monitor’s recent design values shows that the monitor is currently
attaining the 2015 eight-hour ozone NAAQS with a design value of 68 and 65 ppb in
2015 and 2016, respectively. In addition, the monitor has never been designated a
nonattainment monitor and has been in attainment of both the 1997 and 2008 eight-
hour ozone standards. Figure 3-55: Design Value Trends from 2007 through 2016 for
Chiricahua National Monument (AQS ID: 040038001) shows the design value trends for
the monitor.




Figure 3-55: Design Value Trends from 2007 through 2016 for Chiricahua National
Monument (AQS ID: 040038001)

Since the monitor is already in attainment of the 2015 Eight-Hour Ozone NAAQS, it can
be concluded that emissions from Texas do not significantly contribute to
nonattainment at this downwind monitor. As detailed in subsection 2.3.2, Historical
Emissions Inventory Trends, anthropogenic ozone precursor emissions in Texas have
decreased significantly due to several federal, state, and local regulations. Since ozone
precursor emissions in Texas, particularly NOX, are projected to stay capped or
decrease and the design value at this monitor is currently significantly below the 2015
ozone NAAQS (65 ppb in 2016), emissions from Texas are not expected to interfere
with maintenance of the 2015 ozone NAAQS.

3.4.3 California Monitors
Modeling tagged 10 monitors in California, as shown in Table 3-10 and Table 3-11, for
further review to determine if emissions from Texas contribute significantly to
nonattainment or interfere with maintenance of the 2015 ozone NAAQS at the

                                          3-67
       Case: 23-60069         Document: 110        Page: 362       Date Filed: 03/27/2023




monitors. The tagged monitors are in the Los Angeles-South Coast Air Basin (South
Coast) and the Los Angeles–San Bernardino (Western Mojave Desert) nonattainment
areas.

After extensive analysis, it was concluded that Texas emissions do not significantly
contribute to nonattainment or interfere with maintenance at the 10 California
monitors tagged in Step 2. Analysis included review of the conceptual model
developed by the South Coast Air Basin for eight-hour ozone at these monitors, and
considered design value trends, number of monitored elevated ozone days, back
trajectory analysis on elevated ozone days, average modeled contributions from
modeled future elevated ozone days, and the collective interstate contribution to the
future design values at these monitors. Details of the analysis are presented in the
following sections.

3.4.3.1 Conceptual Model of Eight-Hour Ozone Formation at Tagged California
Monitors
Both the South Coast and the Western Mojave Desert nonattainment areas have had
persistent nonattainment issues and have been designated nonattainment for every
federal one-hour and eight-hour ozone NAAQS (1997 and 2008). The ozone problems
in the Western Mojave Desert nonattainment area are largely due to transport from the
South Coast and San Joaquin Valley. 31 For the South Coast nonattainment area, the
EPA, 32 quoting the South Coast Air Quality Management District, described the
meteorological conditions that would contribute to ozone formation as follows:

               “The topography and climate of Southern California combine to
               make the Basin an area of high air pollution potential. During the
               summer months, a warm air mass frequently descends over the
               cool, moist marine layer produced by the interaction between the
               ocean’s surface and the lowest layer of the atmosphere. The warm
               upper layer forms a cap over the cool marine layer and inhibits the
               pollutants in the marine layer from dispersing upward. In addition,
               light winds during the summer further limit ventilation.
               Furthermore, sunlight triggers the photochemical reactions which
               produce ozone. The region experiences more days of sunlight than
               any other major urban area in the nation except Phoenix.”

               “The Basin’s severe air pollution problem is a consequence of the
               combination of emissions from the nation’s second largest urban
               area and meteorological conditions that are adverse to the
               dispersion of those emissions. The average wind speed for Los
               Angeles is the lowest of the nation’s ten largest urban areas. In
               addition, the summertime maximum mixing height (an index of
               how well pollutants can be dispersed vertically in the atmosphere)


31
   “Technical Support Document for 2008 Ozone NAAQS Designations”, Technical Analysis for Los Angeles
–San Bernardino Counties (West Mojave Desert), pages 7 and 8 of 11. Accessed 8/22/2017 at
https://www3.epa.gov/region9/air/ozone/pdf/R9_CA_AllTechAnalyses_FINAL2.pdf
32
   “Technical Support Document for 2008 Ozone NAAQS Designations”, Technical Analysis for Los Angeles
–South Coast Air Basin, page 7 of 13. Accessed 8/22/2017 at
https://www3.epa.gov/region9/air/ozone/pdf/R9_CA_AllTechAnalyses_FINAL2.pdf

                                                3-68
      Case: 23-60069      Document: 110      Page: 363   Date Filed: 03/27/2023




             in Southern California averages the lowest in the U.S. The Southern
             California area is also an area with abundant sunshine, which
             drives the photochemical reactions which form pollutants such as
             ozone. In the Basin, high concentrations of ozone are normally
             recorded during the spring and summer months.”

3.4.3.2 Eight-Hour Ozone Design Value Trends
Eight-hour ozone design value trends at the tagged California monitors along with the
other monitors located in the Los Angeles CSA are displayed in Figure 3-56: Eight-Hour
Ozone Design Values for Monitors in the Los Angeles Area. The tagged California
monitors are highlighted in color while the other monitors in the Los Angeles CSA are
in gray. The 10 monitors tagged in Step 2 had eight-hour ozone design values, ranging
from 101 ppb to 80 ppb in 2016. The Los Angeles CSA had design values ranging from
108 ppb to 63 ppb in 2016, and thus, none of the 10 tagged monitors recorded the
highest eight-hour ozone design value for the CSA in 2016. Eight-hour ozone design
values in the area have decreased overall for the past 10 years. The 10 monitors tagged
for further review have observed eight-hour ozone design value decreases from 2007
through 2016 ranging from 13% at Reseda (AQS ID: 60371201) to 5% at Victorville-Park
Avenue (AQS ID: 60710306).




Figure 3-56: Eight-Hour Ozone Design Values for Monitors in the Los Angeles Area




                                          3-69
      Case: 23-60069     Document: 110      Page: 364   Date Filed: 03/27/2023




3.4.3.3 Monitored Elevated Ozone Days
To investigate the Texas contribution to ozone in California, days that had elevated
ozone were identified at each of the 10 monitors tagged in Step 2. Any day with a
monitored MDA8 ozone concentration greater than 70 ppb was considered an elevated
ozone day. The number of elevated ozone days at each tagged monitor from the past
five years is shown in Figure 3-57: Number of Elevated Eight-Hour Ozone Days at the
Tagged California Monitors. As Figure 3-57 shows, the trends in the number of
elevated ozone days at the 10 monitors vary. Trends in elevated ozone days overall
appear to be flat. The Redlands (AQS ID: 60714003) monitor consistently observed the
largest number of elevated ozone days, which ranged from a low of 76 days in 2015 to
a high of 98 days in 2012. The Pomona (AQS ID: 60371701), Barstow (AQS ID:
60710001), and Reseda (AQS ID: 60371201) monitors observed the least number of
elevated ozone days in the area, with Barstow (AQS ID: 60710001) observing only 18,
the lowest number, of elevated ozone days in 2015.




Figure 3-57: Number of Elevated Eight-Hour Ozone Days at the Tagged California
Monitors for the years 2012 through 2016

3.4.3.4 Back Trajectory Analysis on Elevated Ozone Days
The elevated ozone days identified in the previous section were used as a starting
point to examine back trajectories from the tagged monitors. NOAA’s HYSPLIT back
trajectory model was used to run 72-hour back trajectories for each elevated ozone


                                         3-70
      Case: 23-60069        Document: 110      Page: 365      Date Filed: 03/27/2023




day at each tagged monitor. The time of daily maximum one-hour ozone on the
elevated eight-hour ozone day was used as the starting hour for each trajectory. If the
maximum one-hour ozone occurred over multiple hours, then multiple trajectories
were run, using each different hour as the starting hour. Three starting heights were
used, 500 m AGL, 1000 m AGL, and 1500 m AGL.

To look for probable cases where pollution from Texas was transported to California,
back trajectories were filtered for the following two conditions: back trajectories that
did not hit the surface (zero m AGL) at any time during the 72-hour run, and back
trajectories that started within the HYSPLIT calculated mixing layer in California. The
conceptual model of ozone formation outlined for these monitors discusses the
significance of the mixing layer height. Per the conceptual model, the area has very low
mixing heights and a low-level subsidence inversion that prevents air transported into
the basin from mixing to the surface. The filtering criteria ensured that the back
trajectories used are those that capture air that would affect the ground level monitor.
Due to the geography and topography of the Los Angeles area, many back trajectories
hit the ground after several hours back. In addition, on many days, the mixing layer at
the tagged monitors was below 1,000 m AGL, which eliminated the trajectories that
were run at higher altitudes. The total number of HYSPLIT back trajectories and the
number of trajectories that meet the filtering criteria are summarized in Table 3-16:
Number of HYSPLIT Back Trajectories at Each Tagged California Monitor.

Table 3-16: Number of HYSPLIT Back Trajectories at Each Tagged California Monitor
                                                           Number of Back     Percent of Back
                                         Number of
                                                             Trajectories     Trajectories that
  AQS ID              Site Name             Back
                                                           that Meet Filter      Meet Filter
                                         Trajectories
                                                               Criteria           Criteria
 60371201   Reseda                                  447                 45                 10%
 60371701   Pomona                                  567                 44                  8%
 60376012   Santa Clarita                          1011                155                 15%
 60658001   Rubidoux                                936                201                 21%
 60658005   Mira Loma (Van Buren)                   894                  0                  0%
 60710001   Barstow                                 504                228                 45%
 60710306   Victorville-Park Avenue                 750                259                 35%
 60711004   Upland                                  960                 90                  9%
 60714001   Hesperia-Olive Street                   939                244                 26%
 60714003   Redlands                               1371                394                 29%

A large number of back trajectories were run for each tagged monitor, as shown in
Table 3-16; however, few of the back trajectories met the filter criteria. One monitor,
Mira Loma (AQS ID: 60658005) had no back trajectories out of 894 that met the
criteria. These results show the difficulty in simulating conditions where an air parcel
travels from Texas and ends within the mixing layer of the Los Angeles area on an



                                            3-71
      Case: 23-60069      Document: 110      Page: 366     Date Filed: 03/27/2023




elevated ozone day. This may indicate that there are not many situations when air
from Texas travels to the mixing layer over Los Angeles.

The endpoints for the filtered back trajectories are displayed on the map in Figure
3-58: HYSPLIT Back Trajectory Endpoints that Meet Filter Criteria from the Tagged
California Monitors. The green endpoints represent an air parcel that is located above
the mixing layer while the purple endpoints represent an air parcel that is located
within the mixing layer. It is important to know which endpoints are located within the
mixing layer because an endpoint in the mixing layer would demonstrate a clearer case
of emissions at that location being transported to the starting location. Although it is
difficult to see any trajectory detail in the California area, the map clearly shows very
few back-trajectory end points end in Texas. Out of the 1,660 back trajectories with
113,467 endpoints displayed in Figure 3-58, only 10 back trajectories with a total of 59
endpoints reach Texas. Of those 10 back trajectories, only 2 back trajectories and 4
endpoints are located within the mixing layer over Texas. Of those two back
trajectories that span from California to the mixing layer over Texas, one started at the
Rubidoux (AQS ID: 60658001) monitoring site and the other started at the Upland (AQS
ID: 60711004) monitoring site. This represents 0.3% of the elevated ozone days from
2012 through 2016 at each monitor.




                                          3-72
      Case: 23-60069      Document: 110      Page: 367    Date Filed: 03/27/2023




Figure 3-58: HYSPLIT Back Trajectory Endpoints that Meet Filter Criteria from the
Tagged California Monitors

While it appears that air from Texas can reach the Los Angeles area, based upon
trajectory analysis, this transport seems to occur very infrequently.

In summary, trajectory analysis of transport from Texas to Los Angeles indicates that
emissions from Texas are very unlikely to affect ozone concentrations in the mixing
layer over Los Angeles on high ozone days. Although trajectory analysis can have
uncertainty (Stein et al. 2017), the large data set examined greatly reduces the
uncertainty related to small sample sizes. Filtering the back trajectories by only
looking at trajectories during elevated ozone episodes that start within California’s
mixing layer, do not hit the surface, and have endpoints within Texas’ mixing layer is
an attempt to find a clear case where emissions in Texas could affect the ozone in
California. Those filters showed that only 0.03% of days were affected at the Rubidoux
and Upland monitors; therefore, Texas does not appear to hinder California’s progress
toward attaining the 2015 ozone NAAQS.

3.4.3.5 Texas Contributions on Projected Future Year Elevated Ozone Days
Contributions from Texas to projected future year elevated ozone days at the tagged
California monitors were evaluated. Similar to the analysis for Colorado monitors, the

                                          3-73
           Case: 23-60069       Document: 110         Page: 368      Date Filed: 03/27/2023




subset of 2023 days with modeled MDA8 greater than 70 ppb was identified and the
average modeled Texas contributions for this subset of days for each of the 10 tagged
California monitors was computed.

Table 3-17: Modeled Elevated Ozone Days in the Future Year shows the number of days
with modeled MDA8 greater than 70 ppb, the average eight-hour Texas ozone
contribution, the average MDA8 for each of the tagged California monitors, and the
percentage of Texas contribution to the MDA8s.

Table 3-17: Modeled Elevated Ozone Days in the Future Year
                                                                          Average
                                                           Average
                                          Number                          MDA8 on
                                                            Texas                     Percentage of
                                             of                           Elevated
                                                        Contribution                      Texas
           Site Name            AQS ID    Elevated                         Ozone
                                                         on Elevated                  Contributions
                                          Days in                         Days in
                                                         Ozone Days                     in MDA8
                                            2023                            2023
                                                        in 2023 (ppb)
                                                                            (ppb)
     Reseda                    60371201           9               0.53        73.33            0.73%
     Pomona                    60371701          60               0.26       76.87             0.35%
     Santa Clarita             60376012          13               0.41       73.94             0.56%
     Rubidoux                  60658001          57               0.30       77.67             0.39%
     Mira Loma
                               60658005          57               0.30       77.67             0.39%
     (Van Buren)
     Barstow                   60710001           1             0.00 33      70.82             0.00%
     Victorville-Park Avenue   60710306           5               0.19       72.24             0.27%
     Upland                    60711004          57               0.31       77.21             0.41%
     Hesperia-Olive Street     60714001          12               0.23       73.50             0.32%
     Redlands                  60714003          54               0.29       77.12             0.38%

Table 3-17 shows that the calculated average Texas contribution on projected future
elevated ozone days is less than 1% of the projected average MDA8 at all of the
monitors on these days.

3.4.3.6 Collective Interstate Contribution to the Future Design Value
The TCEQ calculated the collective interstate contributions 34 to the future design values
for the tagged California monitors. Table 3-18: Collective Interstate Contributions to
Future Design Values at Tagged California Monitors provides the percentage of
interstate, intra-state, and background contributions to the future design values at the
10 tagged California monitors.




33
   The average Texas contribution on Future Elevated Ozone days for this monitor was 0.00035 ppb which
was rounded to 0.00 ppb.
34
   The collective contribution metric was calculated using the same methodology as used to calculate
Texas contribution in section 3.3.

                                                 3-74
      Case: 23-60069         Document: 110      Page: 369    Date Filed: 03/27/2023




Table 3-18: Collective Interstate Contributions to Future Design Values at Tagged
California Monitors
                                                         Percentage of
                                       Percentage of
                                                           2023 DVF       Percentage of
                                         2023 DVF
                                                             from        2023 DVF from
  AQS ID           Site Name               from
                                                           Collective      Intra-State
                                        Background
                                                           Interstate     Contribution
                                       Contribution
                                                         Contribution
 60371201    Reseda                             32.49%           3.62%           52.55%
 60371701    Pomona                             30.88%           4.05%           54.87%
 60376012    Santa Clarita                      37.41%           3.60%           49.00%
 60658001    Rubidoux                           29.22%           3.20%           57.20%
 60658005    Mira Loma (Van Buren)              29.22%           3.20%           57.20%
 60710001    Barstow                            58.53%           4.58%           30.64%
 60710306    Victorville-Park Avenue            36.58%           3.98%           49.55%
 60711004    Upland                             30.74%           4.22%           54.69%
 60714001    Hesperia-Olive Street              32.09%           3.97%           53.35%
 60714003    Redlands                           29.70%           3.25%           57.19%

The maximum collective interstate contribution to the future design value is 4.58% at
the Barstow (AQS ID: 60710001) monitor, which is insignificant compared to the intra-
state contribution of 30.64%. A similar trend is seen at all 10 of the tagged monitors,
thereby supporting the conclusion that interstate transport does not contribute
significantly to nonattainment at these monitors.

3.4.3.7 Conclusion of the Weight-of Evidence Analysis of the Tagged California
Monitors
Based on the detailed analysis at the tagged California monitors, the design value
trends, back trajectory analysis on elevated ozone days, average Texas modeled
contributions on projected future elevated ozone days, and collective interstate
contributions to future design values, Texas emissions do not significantly contribute
to nonattainment or interfere with maintenance at the 10 tagged California monitors.

3.5 CONCLUSION
Texas emissions do not contribute significantly to nonattainment or interfere with
maintenance of the 2015 eight-hour ozone NAAQS at any downwind monitors.
Modeling was used to project the nonattainment and maintenance status of downwind
monitors in 2023. Among monitors projected to be in nonattainment or have
maintenance issues, 16 monitors were tagged for further review, one in Arizona, 10 in
California, and five in Colorado. Several factors were examined, such as design value
trends, number of elevated ozone days, back trajectory analysis on elevated ozone
days, modeled concentrations on future expected elevated ozone days, total interstate
contributions at tagged monitors, and responsiveness of ozone to Texas emissions.
Based on this rigorous analysis, it was concluded that emissions from Texas do not

                                             3-75
       Case: 23-60069       Document: 110       Page: 370      Date Filed: 03/27/2023




contribute significantly to nonattainment or interfere with maintenance of the 2015
eight-hour ozone NAAQS at the tagged downwind monitors.

3.6 REFERENCES
Bash, J., Baker, K., Beaver, M., 2016. Evaluation of improved land use and canopy
representation in BEIS v3.61 with biogenic VOC measurements in California,
Geoscientific Model Development, 9, 2191–2207.

Henderson, B.H., Akhtar, F., Pye, H.O.T., Napelenok, S.L., Hutzell, W.T., 2014. A
Database and Tool for Boundary Conditions for Regional Air Quality Modeling:
Description and Evaluations, Geoscientific Model Development, 7, 339-360.

Hoerling, M., Kumar, A., Dole, R., Nielson-Gammon, J., Eischeid, J., Perlwitz. J., Quan, X.,
Zhang, T., Pegion, P., and Chen, M., 2012. Anatomy of an Extreme Event. Journal of
Climate., 29, 2811-2832, doi: 10.1175/JCLI-D-12-00270.1.

Mu, M., et al. (2011), Daily and 3‐hourly variability in global fire emissions and
consequences for atmospheric model predictions of carbon monoxide, J. Geophys.
Res.,116, D24303, doi:10.1029/2011JD016245.

Sherwen, T., M.J., Evans, L.J., Carpenter, S.J., Andrews, R.T., Lidster, B., Dix, T.K., Koenig,
R., Sinreich, I., Ortega, R., Volkamer, A., and Saiz-Lopez. 2016. Iodine's impact on
tropospheric oxidants: a global model study in GEOS-Chem. Atmospheric Chemistry
and Physics, 16(2), pp.1161-1186.

Simon, H., Baker, K.R., and Phillips, S.B., 2012. Compilation and interpretation of
photochemical model performance statistics published between 2006 and 2012, 2012.,
Atmospheric Environment, v61, 124-139. doi: 10.1016/j.atmosenv.2012.07.012.

Stein, A.F., Draxler, R.R, Rolph, G.D., Stunder, B.J.B., Cohen, M.D., and Ngan, F., 2015.
NOAA's HYSPLIT atmospheric transport and dispersion modeling system, Bull. Amer.
Meteor. Soc., 96, 2059-2077, http://dx.doi.org/10.1175/BAMS-D-14-00110.1.

Travis, K., Jacob, D.J., Fisher, J.A., Kim, P. S., Marais, E.A., Zhu, L., Yu, K., Miller, C.C.,
Yantosca, R.M., Sulprizio, M.P., Thompson, A.M., Wennberg, P.O., Crounse, J.D., St. Clair,
J.M., Cohen, R.C., Laughner, J.L., Dibb, J.E., Hall, S.R., Ullmann, K., Wolfe, G.M., Pollack,
I.B., Peischl, J., Neuman, J.A, Zhou, X. 2016. Why do models overestimate surface ozone
in the Southeast United States? Atmos. Chem. Phys., 16, 13561-13577, doi:10.5194/acp-
16-13561-2016.

Yantosca, B., Sulprizio, M., Yannetti, M., Lundgren, L., Xu, J., 2015. GEOS-Chem v10-01
Online User’s Guide. Atmospheric Chemistry Modeling Group, School of Engineering
and Applied Sciences, Harvard University, Cambridge, MA. (Available at
http://acmg.seas.harvard.edu/geos/doc/man/ ).

Yantosca, B. 2004. GEOS-CHEMv7-01-02 User’s Guide, Atmospheric Chemistry Modeling
Group, Harvard University, Cambridge, MA.




                                             3-76
       Case: 23-60069       Document: 110       Page: 371     Date Filed: 03/27/2023




Yarwood, G., T. Sakulyanontvittaya, U. Nopmongcol, B. Koo. 2014. Ozone Depletion by
Bromine and Iodine over the Gulf of Mexico. Final Report for Work Order No. 582-11-
10365-FY14-12.

Wiedinmyer, C., Akagi, S. K., Yokelson, R. J., Emmons, L. K., Al-Saadi, J. A., Orlando, J. J.,
and Soja, A. J., 2011. The Fire INventory from NCAR (FINN): a high resolution global
model to estimate the emissions from open burning, Geosci. Model Dev., 4, 625-641,
doi:10.5194/gmd-4-625-2011, 2011.




                                            3-77
      Case: 23-60069       Document: 110     Page: 372     Date Filed: 03/27/2023




                         CHAPTER 4: CONTROL STRATEGIES

4.1 INTRODUCTION
On November 16, 2017, the United States Environmental Protection Agency (EPA) made
the first round of designations for the 2015 eight-hour ozone National Ambient Air
Quality Standards (NAAQS), designating 205 of the 254 counties in Texas as
attainment/unclassifiable, effective January 16, 2018 (82 Federal Register (FR) 54232).
On June 4, 2018, the EPA published final designations for all remaining areas of the
state except the eight counties comprising the San Antonio area (83 FR 25776). The
EPA finalized nonattainment designations for Collin, Dallas, Denton, Ellis, Johnson,
Kaufman, Parker, Tarrant, and Wise Counties in the Dallas-Fort Worth (DFW) area and
Brazoria, Chambers, Fort Bend, Galveston, Harris, and Montgomery Counties in the
Houston-Galveston-Brazoria (HGB) area. The EPA designated all remaining counties as
attainment/unclassifiable. On March 19, 2018, the EPA sent a 120-day letter to the
State of Texas regarding designations for the San Antonio area, proposing to designate
Atascosa, Bandera, Comal, Guadalupe, Kendall, Medina, and Wilson Counties as
attainment/unclassifiable and Bexar County as “at best” unclassifiable. Final
designations for the San Antonio area are expected by July 17, 2018.

Attainment demonstration state implementation plan (SIP) revisions for any areas
designated as nonattainment for the 2015 eight-hour ozone NAAQS would not be due
until after this transport SIP revision is submitted to the EPA. Because designations for
Texas under the 2015 eight-hour ozone NAAQS have not been completed, attainment
demonstration SIP revision due dates have not been established and potential controls
have not yet been contemplated. However, Texas has implemented stringent and
innovative regulations that address emissions of nitrogen oxides (NOX) and volatile
organic compounds (VOC) from a wide variety of major and minor source types under
previous NAAQS. This chapter describes control measures for the DFW and HGB
nonattainment areas as well as other areas of the state.

4.2 EMISSIONS REDUCTIONS FROM ELECTRIC GENERATING UNITS (EGU)
4.2.1 Utility Electric Generation in Ozone Nonattainment Areas
The rules in 30 Texas Administrative Code (TAC) Chapter 117, Subchapter C establish
NOX emission specifications for utility electric generation for each ozone
nonattainment area in Texas. These rules apply to each electric generating facility that
generates electric energy for compensation, and is owned or operated by a
municipality or Public Utility Commission of Texas (PUCT) regulated utility or any of
its successors, regardless of whether the successor is a municipality or is regulated by
the PUCT.

In the HGB area, the owner or operator of each affected utility boiler, auxiliary steam
boiler, or stationary gas turbine must demonstrate compliance with the NOX emission
specifications through a system cap and participation in the HGB area Mass Emissions
Cap and Trade (MECT) Program. Affected sources were required to comply with the
MECT Program rules beginning January 1, 2002, and comply with the system cap
requirements by March 31, 2004. Additional information about the MECT Program is
available in Section 4.3.2: Mass Emissions Cap and Trade (MECT) Program.




                                           4-1
        Case: 23-60069         Document: 110         Page: 373       Date Filed: 03/27/2023




In the DFW area, each utility boiler that is part of a large system 35 must meet a NOX
emission rate of 0.033 pound per million British thermal units (lb/MMBtu) heat input,
and each utility boiler that is part of a small system must meet a NOX emission rate of
0.06 lb/MMBtu heat input. Compliance with the NOX emission rates may be
demonstrated on a daily average basis, a system-wide heat input weighted average
basis for utility boilers that are part of a large system, or through the use of emission
credits. Affected sources were required to comply with the rules by March 1, 2009.

In the Beaumont-Port Arthur (BPA) 1997 eight-hour ozone maintenance area, each
utility boiler must meet a NOX emission rate of 0.10 lb/MMBtu heat input. Compliance
with the NOX emission rates must be demonstrated on a daily average through the use
of either a system cap or emission credits. Affected sources were required to comply
with the rules by May 1, 2005.

4.2.2 Utility Electric Generation in East and Central Texas
The rules in 30 TAC Chapter 117, Subchapter E, Division 1 limit NOX emissions from
utility electric generation in Atascosa, Bastrop, Bexar, Brazos, Calhoun, Cherokee,
Fannin, Fayette, Freestone, Goliad, Gregg, Grimes, Harrison, Henderson, Hood, Hunt,
Lamar, Limestone, Marion, McLennan, Milam, Morris, Nueces, Parker, Red River,
Robertson, Rusk, Titus, Travis, Victoria, and Wharton Counties. The rules apply to each
utility electric power boiler and stationary gas turbine (including duct burners used in
turbine exhaust ducts) that generate electric energy for compensation; is owned by an
electric cooperative, independent power producer, municipality, river authority, or
public utility; and was placed into service before December 31, 1995. Utility electric
power boilers must meet a NOX emission rate of 0.14 lb/MMBtu for gas-fired units and
0.165 lb/MMBtu for coal-fired units. Stationary gas turbines (including duct burners
used in turbine exhaust ducts) must meet an annual average NOX emission rate of 0.14
lb/MMBtu for units subject to Texas Utilities Code (TUC), §39.264 (except §39.264(i)) or
0.15 lb/MMBtu for units not subject to TUC, §39.264 and units designated in
accordance with TUC, §39.264(i). Compliance with the NOX emission rates is based on
average heat input for a calendar year. Affected sources were required to comply with
the rules by May 1, 2005.

4.2.3 Senate Bill 7 (76th Texas Legislature)
Senate Bill (SB) 7 from the 1999 76th Texas Legislature, requires grandfathered, or
unpermitted, electric generating facilities (EGFs) and other EGFs that choose to
participate to achieve a 50% reduction in NOX emissions and a 25% reduction in sulfur
dioxide (SO2) emissions from the 1997 emission levels. The reductions were
implemented via participation in a cap and trade program in which participating EGFs
are required to surrender allowances equivalent to the actual emissions each control
period. For grandfathered EGFs, the allowance allocations were determined using the
following emission rates: 0.14 lb NOX/MMBtu and 1.38 lb SO2/MMBtu in the East Texas
region, and 0.195 lb NOX/MMBtu in the West Texas and El Paso regions. For electing
EGFs, the allowance allocations were equal to the emissions reported to the EPA's Acid


35
  A large utility system is defined in 30 TAC Chapter 117 as: all boilers, auxiliary steam boilers, and
stationary gas turbines that are located in the DFW eight-hour ozone nonattainment area, and were part of
one electric power generating system on January 1, 2000, that had a combined electric generating capacity
equal to or greater than 500 megawatts.

                                                  4-2
      Case: 23-60069      Document: 110      Page: 374    Date Filed: 03/27/2023




Rain Program in 1997, or if unavailable, by a method approved by the executive
director not to exceed any annual emission limitation authorized under Chapter 116,
Subchapter B or an applicable state or federal requirement. There are no coal-fired
EGFs located in the West Texas and El Paso regions that are subject to the Emissions
Banking and Trading Allowances Program. The SB 7 requirements were implemented
through rules in 30 TAC Chapter 101, Subchapter H, Division 2 and became effective
January 11, 2000. The initial control period for this program began on May 1, 2003.

4.3 EMISSION REDUCTIONS FROM OTHER SOURCES
4.3.1 East Texas Engines
The rules in 30 TAC Chapter 117, Subchapter E, Division 4 limit NOX emissions from
certain engines located in Anderson, Brazos, Burleson, Camp, Cass, Cherokee, Franklin,
Freestone, Gregg, Grimes, Harrison, Henderson, Hill, Hopkins, Hunt, Lee, Leon,
Limestone, Madison, Marion, Morris, Nacogdoches, Navarro, Panola, Rains, Robertson,
Rusk, Shelby, Smith, Titus, Upshur, Van Zandt, and Wood Counties. The rules apply to
stationary, gas-fired, reciprocating internal combustion engines rated 240 horsepower
(hp) and larger. Rich-burn gas-fired internal combustion engines rated less than 500 hp
must limit NOX emissions to 1.0 grams per horsepower-hour (g/hp-hr). Rich-burn
engines rated 500 hp or greater must limit NOX emissions to 0.60 g/hp-hr for landfill
gas-fired engines or 0.50 g/hp-hr for all other rich-burn engines. Affected sources were
required to comply with the rules by March 1, 2010.

The East Texas combustion rules reduce NOX emissions and ozone air pollution
transport into the DFW area. While these rules are part of the May 2007 DFW
Attainment Demonstration SIP Revision for the 1997 eight-hour ozone NAAQS, the
Northeast Texas area also benefits from NOX reductions resulting from the rules. Using
photochemical modeling sensitivity studies, the Texas Commission on Environmental
Quality (TCEQ) estimated that implementation of the rules results in an overall
reduction of approximately 22.4 tons per day (tpd) of NOX emissions in the 33 counties
subject to the rules by March 1, 2010. The TCEQ estimated the rules benefit the DFW
area by reducing ozone by an average of 0.1 to 0.2 parts per billion.

4.3.2 Mass Emissions Cap and Trade (MECT) Program
The MECT Program rules in 30 TAC Chapter 101, Subchapter H, Division 3 establish a
mandatory annual NOX emission cap on sites in the HGB 1997 eight-hour ozone
nonattainment area that are either a major source of NOX with facilities subject to the
NOX emissions specifications in 30 TAC §117.310 or §117.1210, or have an
uncontrolled design capacity to emit at least 10.0 tons per year (tpy) of NOX from
facilities subject to 30 TAC §117.2010. Affected facilities include: utility boilers,
auxiliary steam boilers, or stationary gas turbines; industrial, commercial, or
institutional boilers and process heaters; stationary gas turbines; stationary internal
combustion engines; fluid catalytic cracking units (including carbon monoxide boilers,
carbon monoxide furnaces, and catalyst regenerator vents); boilers and industrial
furnaces that were regulated as existing facilities by the EPA under 40 Code of Federal
Regulations Part 266, Subpart H (as in effect on June 9, 1993); duct burners used in
turbine exhaust ducts; pulping liquor recovery furnaces; lime kilns; lightweight
aggregate kilns; heat treating furnaces and reheat furnaces; magnesium chloride
fluidized bed dryers; and incinerators.


                                          4-3
      Case: 23-60069       Document: 110      Page: 375     Date Filed: 03/27/2023




The MECT Program cap is enforced by the allocation, trading, and banking of
allowances. An allowance is the equivalent of 1.0 ton of NOX emissions. The MECT
Program cap was implemented on January 1, 2002 at historical emission levels with
mandatory NOX reductions increasing over time until achieving the final cap on April 1,
2007. Affected facilities that do not meet the criteria for receiving an allocation of
allowances must use allowances allocated to facilities already participating in the
program to cover annual NOX emissions. The projected 2018 MECT cap is 39,866.1 tpy
of NOX emissions.

4.3.3 Highly Reactive Volatile Organic Compounds (HRVOC) Rules and HRVOC
Emissions Cap and Trade (HECT) Program
The HRVOC rules in 30 TAC Chapter 115, Subchapter H are performance-based,
emphasizing monitoring, recordkeeping, reporting, and enforcement rather than
establishing individual unit emission rates. The rules apply to HRVOC emissions from
flares, process vents, cooling towers, and fugitive emission sources. In addition to the
monitoring requirements, affected sources in Harris County must meet an annual
HRVOC emission cap and a site-wide short-term HRVOC limit of 1,200 lb/hour from
any flare, vent, pressure relief valve, cooling tower, or any combination thereof.
Affected sources in Harris County must demonstrate compliance with these HRVOC
emission limits through participation in the HECT Program.

The HECT Program rules in 30 TAC Chapter 101, Subchapter H, Division 6 establish a
mandatory annual HRVOC emission cap on sites in Harris County with the potential to
emit greater than 10.0 tpy of HRVOC from facilities subject to 30 TAC Chapter 115,
Subchapter H, Division 1 or Division 2. These facilities include vent gas streams, flares,
and cooling tower heat exchange systems. Affected sites in Harris County are required
to participate in the HECT Program. The program was implemented on January 1,
2007.

The HECT Program cap is enforced by the allocation, trading, and banking of
allowances. An allowance is the equivalent of 1.0 ton of HRVOC emissions. The HECT
Program cap was established at a level demonstrated as necessary to allow the HGB
area to attain the one-hour ozone standard along with a 5% compliance margin to
account for potential emissions variations. The total initial cap was 3,451.5 tpy.

Allowances allocated from 2007 through 2010 were based on historical levels of
activity reported by affected sites. For 2011 and beyond, a site’s allocation was
determined by multiplying the total HECT cap by an industry-sector factor and a site-
specific factor. The industry-sector factor was determined by grouping sites into
sectors and determining each site’s proportion based on actual emissions. The site-
specific factor was based on a site’s uncontrolled emissions as a proportion of the
total uncontrolled emissions from all sites in that industry sector. The reallocation
includes a mandatory 10% cap reduction implemented during 2014, with additional 5%
reductions implemented at the start of each control period for 2015, 2016, and 2017.
The final HECT Program cap is set at 2,588.6 tpy for 2017 and all subsequent control
periods. Affected sites that do not receive an allocation of allowances must obtain and
use allowances allocated to sites already participating in the program to cover annual
HRVOC emissions.



                                           4-4
      Case: 23-60069      Document: 110      Page: 376    Date Filed: 03/27/2023




4.3.4 Cement Kilns
The rules in 30 TAC Chapter 117, Subchapter E, Division 1 limit NOx emissions from
cement kilns in Bexar, Comal, Ellis, Hays, and McLennan Counties. The rules require
cement kilns in Bexar, Comal, Hays, and McLennan Counties to reduce NOX emissions
30% below 1996 levels or to meet a NOx emissions cap of 6.0 pounds of NOx per ton of
cement clinker produced (lb NOX/ton of clinker) for wet kilns; 5.1 lb NOX/ton of clinker
for dry kilns; 3.8 lb NOX/ton of clinker for preheater kilns; and 2.8 lb NOX/ton of
clinker for preheater-precalciner or precalciner kilns. Affected sources were required
to comply with the rules by May 1, 2005. The rules also require cement kilns located in
Ellis County to meet an ozone season NOx emission source cap.

Ash Grove Cement Company operated three kilns in Ellis County, with an established
source cap under §117.3123 of 4.4 tpd. However, a 2013 consent decree between Ash
Grove and the EPA required by September 10, 2014 the shutdown of two kilns and
reconstruction of kiln #3 with selective non-catalytic reduction (SNCR) with an
emission limit of 1.5 lb NOX/ton of clinker and a 12-month rolling tonnage limit for
NOX of 975 tpy. The reconstructed kiln is a dry kiln with year-round SNCR operation.
The redesign allows 949,000 tpy of clinker, or 1.95 tpd of NOX, which is well below the
4.4 tpd source cap. Ash Grove’s enforceable limit continues to be 4.4 tpd, although
actual emissions are expected to be below the consent decree limit. Any modifications
or new construction would be required to meet nonattainment new source review with
best available control technology requirements, and would be subject to the same 1.5
lb NOX/ton of clinker emission limit in the New Source Performance Standards for
Portland Cement Plants. It would also be subject to other regulatory requirements,
including the National Emission Standards for Hazardous Air Pollutants for the
Portland Cement Manufacturing Industry.

TXI Operations, LP currently operates one dry preheater/precalciner kiln #5. The
permitted capacity of this kiln is 2,800,000 tons of clinker per year, and it has a
permitted emission factor of 1.95 lb NOX/ton of clinker. Based on these permit limits,
this kiln is therefore limited to a maximum of 7.48 tpd NOx, compared to the current
§117.3123 source cap of 7.9 tpd NOx. Kiln #5 typically operates well below the source
cap, at an average emission factor below 1.5 lb NOX/ton of clinker.

4.4 ADDITIONAL MEASURES
4.4.1 SmartWay Transport Partnership and the Blue Skyway Collaborative
Among its various efforts to improve air quality in Texas, the TCEQ continues to
promote two voluntary programs in cooperation with the EPA: SmartWay Transport
Partnership and Blue Skyways Collaborative.

The SmartWay Transport Partnership is a market-driven partnership aimed at helping
businesses move goods in the cleanest most efficient way possible. This is a voluntary
EPA program primarily for the freight transport industry that promotes strategies and
technologies to help improve fleet efficiency while also reducing air emissions.

There are over 3,000 SmartWay partners in the U.S., including most of the nation’s
largest truck carriers, all the Class 1 rail companies, and many of the top Fortune 500
companies. Since its founding, SmartWay has reduced oil consumption by 170.3
million barrels and prevented the release of 1,458,000 tons of NOX and 59,000 tons of

                                          4-5
          Case: 23-60069        Document: 110       Page: 377   Date Filed: 03/27/2023




particulate matter into the atmosphere. 36 Ports in the U.S. rely on SmartWay’s Port
Drayage Truck program to help reduce pollution in and around major national ports.
The Port of Houston Authority’s (PHA) partnership with the Environmental Defense
Fund and the Houston-Galveston Area Council (H-GAC) in the Port Drayage Truck
Bridge Loan Program received $9 million from the EPA’s Diesel Emissions Reduction
Act (DERA) SmartWay Program in 2009. On average, four trucks a month, or about 50
trucks a year, were approved for replacement funding.

In April 2015, the EPA awarded the PHA with a DERA grant of nearly $900,000. This
grant award, with matching funds of $1,669,560, had a total commitment of more than
$2.5 million. A total of 24 trucks were replaced that operate at the Port of Houston.
This included replacing 13 on-road over the road trucks that are only used inside the
PHA’s Turning Basin terminal. The replacement trucks were on-road terminal tractors,
with model year 2015 engines, which are built and designed to work on marine
terminals. The other 11 trucks replaced with this grant were older on-road terminal
tractors that operate in and around PHA’s Barbours Cut and Bayport container
terminals. The replacements for these trucks were also on-road terminal tractors with
model year 2016 engines.

In February 2015, the EPA awarded the PHA with a DERA grant of nearly $900,000.
This grant award, with matching funds of $900,000, had a total commitment of $1.8
million. It is expected, that at the end of this grant, 17 drayage trucks will be replaced.
The funding will provide for replacement trucks powered by certified engines that are
model year 2011 or newer, which are estimated to be 90% cleaner. These drayage
trucks operate in the Port of Houston and along the Houston Ship Channel. The
replacement trucks will also have Global Positioning System units to collect data on
idling and port operations, which will allow fleet owners and operators to gauge
opportunities for additional fuel savings and emissions reduction.

Approximately 170 Texas companies are SmartWay partners. The SmartWay Transport
Partnership will continue to benefit the HGB area by reducing emissions as more
companies and affiliates join, and additional idle reduction, trailer aerodynamic kits,
low-rolling resistance tire, and retrofit technologies are incorporated into SmartWay-
verified technologies.

The Blue Skyways Collaborative was created to encourage voluntary air emission
reductions by planning or implementing projects that use innovations in diesel
engines, alternative fuels, and renewable energy technologies applicable to on-road and
non-road sources. The Blue Skyways Collaborative partnerships include international,
federal, state, and local governments, non-profit organizations, environmental groups,
and private industries.

4.4.2 Energy Efficiency and Renewable Energy (EE/RE) Measures
Energy efficiency (EE) measures are typically programs that reduce the amount of
electricity and natural gas consumed by residential, commercial, industrial, and
municipal energy consumers. Examples of EE measures include: increasing insulation
in homes; installing compact fluorescent light bulbs; and replacing motors and pumps


36
     https://www.epa.gov/smartway/learn-about-smartway

                                                 4-6
        Case: 23-60069         Document: 110         Page: 378        Date Filed: 03/27/2023




with high efficiency units. Renewable energy (RE) measures include programs that
generate energy from resources that are replenished or are otherwise not consumed as
with traditional fuel-based energy production. Examples of renewable energy include
wind energy and solar energy projects.

Texas leads the nation in RE generation from wind. As of the first quarter 2018, Texas
has 22,799 megawatts (MW) of installed wind generation capacity, 37 25% of all installed
wind capacity in the United States (U.S.). Texas’ total net electrical generation from
renewable wind generators in 2016 was 57.5 million megawatt-hours (MWh),
approximately 25% of the total wind net electrical generation for the U.S. In 2017, total
net electrical generation from renewable wind generators in Texas was 67.0 million
MWh,38 approximately 17% more than in 2016.

While EE/RE measures are beneficial and do result in lower overall emissions from
fossil fuel-fired power plants in Texas, emission reductions resulting from these
programs are not explicitly included in photochemical modeling for SIP purposes
because local efficiency or renewable energy efforts may not result in local emissions
reductions or may be offset by increased demand in electricity. The complex nature of
the electrical grid makes accurately quantifying emission reductions from EE/RE
measures difficult. At any given time, it is impossible to determine exactly where a
specific user’s electricity was produced.

While specific emission reductions from EE/RE measures are not provided in the SIP,
persons interested in estimates of energy savings and emission reductions from EE/RE
measures can access additional information and reports from the Texas A&M
Engineering Experiment Station’s Energy Systems Laboratory (ESL) website
(http://esl.tamu.edu/). The reports submitted to the TCEQ regarding EE/RE measures
are available under Texas Emissions Reduction Plan (TERP) Letters and Reports.

Finally, the Texas Legislature has enacted a number of EE/RE measures and programs.
The following is a summary of Texas EE/RE legislation since 1999.

76th Texas Legislature, 1999

•    SB 7
•    House Bill (HB) 2492
•    HB 2960

77th Texas Legislature, 2001

•    SB 5
•    HB 2277
•    HB 2278
•    HB 2845



37
   U.S. Department of Energy, National Renewable Energy Laboratory,
https://windexchange.energy.gov/maps-data/321
38
   U.S. Department of Energy, Energy Information Administration,
https://www.eia.gov/electricity/data/browser/

                                                  4-7
       Case: 23-60069       Document: 110     Page: 379   Date Filed: 03/27/2023




78th Texas Legislature, 2003

•   HB 1365 (Regular Session)

79th Texas Legislature, 2005

•   SB 20 (First Called Session)
•   HB 2129 (Regular Session)
•   HB 2481 (Regular Session)

80th Texas Legislature, 2007

•   SB 12
•   HB 66
•   HB 3070
•   HB 3693

81st Texas Legislature, 2009

•   None

82nd Texas Legislature, 2011

•   SB 898 (Regular Session)
•   SB 924 (Regular Session)
•   SB 981 (Regular Session)
•   SB 1125 (Regular Session)
•   SB 1150 (Regular Session)
•   HB 51 (Regular Session)
•   HB 362 (Regular Session)

83rd Texas Legislature, 2013

•   None

84th Texas Legislature, 2015

•   SB 1626
•   HB 1736

85th Texas Legislature, 2017

•   HB 1571 (Regular Session)

Renewable Energy

SB 5, 77th Texas Legislature, 2001, set goals for political subdivisions in affected
counties to implement measures to reduce energy consumption from existing facilities
by 5% each year for five years from January 1, 2002 through January 1, 2006. In 2007,
the 80th Texas Legislature passed SB 12, which extended the timeline set in SB 5

                                            4-8
      Case: 23-60069      Document: 110      Page: 380    Date Filed: 03/27/2023




through 2007 and made the annual 5% reduction a goal instead of a requirement. The
State Energy Conservation Office (SECO) is charged with tracking the implementation
of SB 5 and SB 12. Also during the 77th Texas Legislature, the ESL, part of the Texas
Engineering Experiment Station, Texas A&M University System, was mandated to
provide an annual report on EE/RE efforts in the state as part of the TERP under Texas
Health and Safety Code (THSC), §388.003(e).

The 79th Texas Legislature, 2005, Regular and First Called Sessions, amended SB 5
through SB 20, HB 2129, and HB 2481 to add, among other initiatives, renewable
energy initiatives that require: 5,880 MW of generating capacity from renewable energy
by 2015; the TCEQ to develop a methodology for calculating emission reductions from
renewable energy initiatives and associated credits; the ESL to assist the TCEQ in
quantifying emissions reductions from EE/RE programs; and the PUCT to establish a
target of 10,000 MW of installed renewable technologies by 2025. Wind power
producers in Texas exceeded the renewable energy generation target by installing over
10,000 MW of wind electric generating capacity by 2010.

HB 2129, 79th Texas Legislature, 2005, Regular Session, directed the ESL to collaborate
with the TCEQ to develop a methodology for computing emission reductions
attributable to use of RE and for the ESL to annually quantify such emission
reductions. HB 2129 directed the Texas Environmental Research Consortium to use the
Texas Engineering Experiment Station to develop this methodology. With the TCEQ’s
guidance, the ESL produces an annual report, Statewide Air Emissions Calculations from
Energy Efficiency, Wind and Renewables, detailing these efforts.

In addition to the programs discussed and analyzed in the ESL report, local
governments may have enacted measures beyond what has been reported to SECO and
the PUCT. The TCEQ encourages local political subdivisions to promote EE/RE
measures in their respective communities and to ensure these measures are fully
reported to SECO and the PUCT.

SB 981, 82nd Texas Legislature, 2011, Regular Session, allows a retail electric customer
to contract with a third party to finance, install, or maintain a distributed renewable
generation system on the customer's side of the electric meter, regardless of whether
the customer owns the installed system. SB 981 also prohibits the PUCT from requiring
registration of the system as an electric utility if the system is not projected to send
power to the grid.

HB 362, 82nd Texas Legislature, 2011, Regular Session, helps property owners install
solar energy devices such as electric generating solar panels by establishing
requirements for property owners associations’ approval of installation of solar energy
devices. HB 362 specifies the conditions that property owners associations may and
may not deny approval of installing solar energy devices.

SB 1626, 84th Texas Legislature, 2015, modifies the provisions established by HB 362
from the 82nd Texas Legislature, 2011, Regular Session, regarding property owners
associations’ authority to approve and deny installations of solar energy devices such
as electric generating solar panels. HB 362 included an exception that allowed
developers to prohibit installation of solar energy devices during the development


                                          4-9
       Case: 23-60069       Document: 110      Page: 381   Date Filed: 03/27/2023




period. SB 1626 limits the exception during the development period to developments
with 50 or fewer units.

Residential and Commercial Building Codes and Programs

THSC, Chapter 388, Texas Building Energy Performance Standards, as adopted in SB 5
of the 77th Texas Legislature, 2001, Regular Session, states in §388.003(a) that single-
family residential construction must meet the energy efficiency performance standards
established in the energy efficiency chapter of the International Residential Code. The
Furnace Pilot Light Program includes energy savings accomplished by retrofitting
existing furnaces. Also included is a January 2006 federal mandate raising the
minimum Seasonal Energy Efficiency Ratio (SEER) for air conditioners in single-family
and multi-family buildings from 10 to 13.

THSC, Chapter 388, as adopted in SB 5 of the 77th Texas Legislature, 2001, states in
§388.003(b) that non-single-family residential, commercial, and industrial construction
must meet the energy efficiency performance standards established in the energy
efficiency chapter of the International Energy Conservation Code.

HB 51, 82nd Legislature, 2011, Regular Session, requires municipalities to report
implementation of residential and commercial building codes to SECO.

HB 1736, 84th Texas Legislature, 2015, updates THSC §388.003 to adopt, effective
September 1, 2016, the energy efficiency chapter of the International Residential Code
as it existed on May 1, 2015. HB 1736 also establishes a schedule by which SECO could
adopt updated editions of the International Residential Code in the future, not more
often than once every six years.

Federal Facility EE/RE Projects

Federal facilities are required to reduce energy use by Presidential Executive Order
13123 and the Energy Policy Act of 2005 (Public Law 109-58 EPACT20065).

Political Subdivisions Projects

SECO funds loans for energy efficiency projects for state agencies, institutions of
higher education, school districts, county hospitals, and local governments. Political
subdivisions in nonattainment and affected counties are required by SB 5, 77th Texas
Legislature, 2001, to report EE/RE projects to SECO. These projects are typically
building systems retrofits, non-building lighting projects, and other mechanical and
electrical systems retrofits such as municipal water and waste water treatment
systems.

Electric Utility Sponsored Programs

Utilities are required by SB 7, 76th Texas Legislature, 1999, and SB 5, 77th Texas
Legislature, 2001, to report demand-reducing energy efficiency projects to the PUCT
(see THSC, §386.205 and Texas Utilities Code (TUC), §39.905). These projects are
typically air conditioner replacements, ventilation duct tightening, and commercial and
industrial equipment replacement.


                                            4-10
       Case: 23-60069      Document: 110      Page: 382     Date Filed: 03/27/2023




SB 1125, 82nd Texas Legislature, 2011, Regular Session, amended the TUC, §39.905 to
require energy efficiency goals to be at least 30% of annual growth beginning in 2013.
The metric for the energy efficiency goal remains at 0.4% of peak summer demand
when a utility program accrues that amount of energy efficiency. SB 1150, 82nd Texas
Legislature, 2011, Regular Session, extended the energy efficiency goal requirements to
utilities outside the Electric Reliability Council of Texas area.

State Energy Efficiency Programs

HB 3693, 80th Texas Legislature, 2007, amended the Texas Education Code, Texas
Government Code, THSC, and TUC. The bill:

•   requires state agencies, universities and local governments to adopt energy
    efficiency programs;

•   provides additional incentives for electric utilities to expand energy conservation
    and efficiency programs;

•   includes municipal-owned utilities and cooperatives in efficiency programs;

•   increases incentives and provides consumer education to improve efficiency
    programs; and

•   supports other programs such as revision of building codes and research into
    alternative technology and renewable energy.

HB 51, 82nd Texas Legislature, 2011, Regular Session, requires new state buildings and
major renovations to be constructed to achieve certification under an approved high-
performance design evaluation system.

HB 51 also requires, if practical, that certain new and renovated state-funded
university buildings comply with approved high-performance building standards.

SB 898, 82nd Texas Legislature, 2011, Regular Session, extended the existing
requirement for state agencies, state-funded universities, local governments, and
school districts to adopt energy efficiency programs with a goal of reducing energy
consumption by at least 5% per state fiscal year (FY) for 10 state FYs from September
1, 2011 through August 31, 2021.

SB 924, 82nd Texas Legislature, 2011, Regular Session, requires all municipally owned
utilities and electric cooperatives that had retail sales of more than 500,000 MWh in
2005 to report each year to SECO information regarding the combined effects of the
energy efficiency activities of the utility from the previous calendar year, including the
utility's annual goals, programs enacted to achieve those goals, and any achieved
energy demand or savings goals.

HB 1571, 85th Texas Legislature, 2017, Regular Session, expanded Education Code and
Government Code provisions for local governmental entities, schools, and state
agencies entering into energy saving performance contracts by authorizing the entities
to use any available money to pay the provider for energy or water conservation

                                           4-11
          Case: 23-60069         Document: 110         Page: 383      Date Filed: 03/27/2023




measures. Previously, only money other than money borrowed from the state could be
used to pay for such conservation measures.

4.4.3 Consent Decrees with Refineries
The EPA's National Petroleum Refinery Initiative 39 has resulted in multi-issue
settlement agreements with the nation's major petroleum refineries. As of October
2016, 112 refineries representing more than 95% of total domestic refining capacity
are under settlement. The EPA consent decrees limit emissions from fluidized catalytic
cracking units, sulfur recovery units, heaters and boilers, and flares. The EPA estimates
that full implementation of the current settlements will result in more than 95,000 tpy
of NOX emission reductions. The EPA also anticipates VOC emission reductions will
result from consent decree requirements that reduce hydrocarbon flaring including:

•      installing continuous emissions monitoring systems (CEMS) or predictive emissions
       monitoring systems;
•      operating a flare gas recovery system to control continuous or routine flaring;
•      limiting flaring to only process upset gases, fuel gas released as a result of relief
       valve leakage, or gas released due to a malfunction; and
•      eliminating the routes of generated fuel gases and monitoring the flare with CEMS
       or a flow meter.

4.4.4 Clean Air Interstate Rule (CAIR) and Cross-State Air Pollution Rule (CSAPR)
In March 2005, the EPA issued CAIR to address EGU emissions that transport from one
state to another. The rule incorporated the use of three cap and trade programs to
reduce SO2 and NOX: the ozone-season NOX trading program, the annual NOX trading
program, and the annual SO2 trading program.

Texas was not included in the ozone season NOX program but was included for the
annual NOX and SO2 programs. As such, Texas was required to make necessary
reductions in annual SO2 and NOX emissions from new and existing EGUs to
demonstrate that emissions from Texas do not contribute to nonattainment or
interfere with maintenance of the 1997 particulate matter with an aerodynamic
diameter less than or equal to a nominal 2.5 micrometers (PM2.5) NAAQS in another
state. CAIR consisted of two phases for implementing necessary NOX and SO2
reductions. Phase I addressed required reductions from 2009 through 2014. Phase II
was intended to address reductions in 2015 and thereafter.

In July 2006, the commission adopted a SIP revision to address how the state would
meet emissions allowance allocation budgets for NOX and SO2 established by the EPA to
meet the federal obligations under CAIR. The commission adopted a second CAIR-
related SIP revision in February 2010. This revision incorporated various federal rule
revisions that the EPA had promulgated since the TCEQ’s initial submittal. It also
incorporated revisions to 30 TAC Chapter 101 resulting from legislation during the
80th Texas Legislature, 2007.




39
     https://www.epa.gov/enforcement/petroleum-refinery-national-case-results

                                                   4-12
      Case: 23-60069      Document: 110      Page: 384    Date Filed: 03/27/2023




A December 2008 court decision found flaws in CAIR but kept CAIR requirements in
place temporarily while directing the EPA to issue a replacement rule. In July 2011, the
EPA finalized CSAPR to meet Federal Clean Air Act (FCAA) requirements and respond
to the court’s order to issue a replacement program. Texas was included in CSAPR for
ozone season NOX, annual NOX, and annual SO2 due to the EPA’s determination that
Texas significantly contributes to nonattainment or interferes with maintenance of the
1997 eight-hour ozone NAAQS and the 1997 PM2.5 NAAQS in other states. As a result of
numerous EGU emission reduction strategies already in place in Texas, the annual and
ozone season NOX reduction requirements from CSAPR were relatively small but still
significant. CSAPR required an approximate 7% reduction in annual NOX emissions and
less than 5% reduction in ozone season NOX emissions.

On August 21, 2012, the U.S. Court of Appeals for the District of Columbia (D.C.)
Circuit vacated CSAPR. Under the D.C. Circuit Court’s ruling, CAIR remained in place
until the EPA developed a valid replacement.

The EPA and various environmental groups petitioned the Supreme Court of the United
States to review the D.C. Circuit Court's decision on CSAPR. On April 29, 2014, a
decision by the Supreme Court reversed the D.C. Circuit and remanded the case. On
October 23, 2014, the D.C. Circuit lifted the CSAPR stay and on November 21, 2014, the
EPA issued rulemaking, which shifted the effective dates of the CSAPR requirements to
account for the time that had passed after the rule was stayed in 2011. Phase 1 of
CSAPR took effect January 1, 2015 and Phase 2 began January 1, 2017. On July 28,
2015, the D.C. Circuit Court ruled that the 2014 annual SO2 budgets and the 2014
ozone season NOX budgets for Texas were invalid because they required over control of
Texas emissions, and remanded these budgets back to the EPA without vacatur.

On January 22, 2015, the EPA issued a memorandum to provide information on how it
intends to implement FCAA interstate transport requirements for the 2008 ozone
NAAQS. The EPA provided preliminary modeling results for 2018, which show
contribution to nonattainment of the 2008 ozone NAAQS in the HGB area from sources
outside of Texas. On July 23, 2015, the EPA issued a notice of data availability
regarding updated ozone transport modeling results for a 2017 attainment year.

On June 27, 2016, the EPA issued a memorandum outlining the agency’s approach for
responding to the D.C. Circuit’s July 2015 remand of the Phase 2 SO2 emissions
budgets, providing a choice of two paths for states with remanded budgets. Under the
first path, states could voluntarily continue to participate in CSAPR at the state’s
current Phase 2 SO2 and annual NOX budget levels through a SIP revision. Under the
second path, if a state does not choose to participate in CSAPR, the EPA would initiate
rulemaking by fall of 2016 to remove the state’s sources from CSAPR’s SO2 and annual
NOX programs and address any remaining interstate transport or regional haze
obligations on a state-by-state basis. On November 10, 2016, the EPA published a
proposed rule to remove Texas sources from the CSAPR SO2 and annual NOX trading
programs. The EPA also proposed to determine that, following withdrawal of the
federal implementation plan (FIP) requirements, sources in Texas will not contribute
significantly to nonattainment or interfere with maintenance of the 1997 PM2.5 NAAQS
in any other state and that the EPA therefore will have no obligation to issue new FIP
requirements for Texas sources to address transport for the 1997 PM2.5 NAAQS (81 FR


                                          4-13
      Case: 23-60069      Document: 110      Page: 385     Date Filed: 03/27/2023




78954). The rule was finalized, effective immediately, on September 29, 2017 (82 FR
45481).

On September 7, 2016, the EPA signed the final CSAPR Update Rule for the 2008 eight-
hour ozone standard. The EPA’s modeling shows that emissions from within Texas no
longer significantly contribute to downwind nonattainment or interference with
maintenance for the 1997 eight-hour ozone NAAQS even without implementation of
the original CSAPR ozone season NOX emissions budget. Accordingly, sources in Texas
are no longer subject to the emissions budget calculated to address the 1997 eight-
hour ozone NAAQS. However, this rule finalized a new ozone season NOX emissions
budget for Texas to address interstate transport with respect to the 2008 eight-hour
ozone NAAQS. This new budget became effective for the 2017 ozone season, the same
period in which the Phase 2 budget that was invalidated by the court was scheduled to
become effective.

CSAPR budgets for Texas may be subject to change in the future based on any
additional rulemaking to address remanded budgets or changes resulting from further
appeals.

4.4.5 Texas Emissions Reduction Plan (TERP)
The TERP program was created in 2001 by the 77th Texas Legislature to provide grants
to offset the incremental costs associated with reducing NOX emissions from high-
emitting heavy-duty internal combustion engines on heavy-duty vehicles, non-road
equipment, marine vessels, locomotives, and some stationary equipment.

The primary emissions reduction incentives are awarded under the Diesel Emissions
Reduction Incentive Program (DERI). DERI incentives are awarded to projects to
replace, repower, or retrofit eligible vehicles and equipment to achieve NOX emission
reductions in Texas ozone nonattainment areas and other counties identified as
affected counties under the TERP program where ground-level ozone is a concern.

From 2001 through August 2017, $1,088,390,866 in DERI grants were awarded for
projects projected to help reduce an estimated 179,427 tons of NOX over the life of the
projects. This includes $448,288,693 going to activities in the HGB area and
$377,422,749 to activities in the DFW area, with an estimated 78,445 tons of NOX
reduced in the HGB area and 62,731 tons of NOX reduced in the DFW area over the life
of the projects.

Three other incentive programs under the TERP program will result in the reduction in
NOX emissions in the DFW and HGB areas, as well as other TERP areas.

The Drayage Truck Incentive Program was established in 2013 to provide grants for
the replacement of drayage trucks operating in and from seaports and rail yards
located in nonattainment areas. The name of this program was recently changed to the
Seaport and Rail Yard Areas Emissions Reduction Program, and replacement or
repower of cargo handling equipment was added to the eligible project list. Through
August 2017, the program awarded $6,209,424, with an estimated 357 tons of NOX
reduced over the life of the projects. In the HGB area the funding totaled $5.56 million,
with projects estimated to reduce up to 325 tons of NOX, over the life of the projects.


                                          4-14
      Case: 23-60069      Document: 110      Page: 386     Date Filed: 03/27/2023




$542,061 was awarded to projects in the DFW area, with an estimated 27 tons of NOX
reduced over the life of the projects.

The Texas Clean Fleet Program (TCFP) was established in 2009 to provide grants for
the replacement of light-duty and heavy-duty diesel vehicles with vehicles powered by
alternative fuels, including: natural gas, liquefied petroleum gas, hydrogen, methanol
(85% by volume), or electricity. This program is for larger fleets, therefore applicants
must commit to replacing at least 10 eligible diesel-powered vehicles with qualifying
alternative fuel or hybrid vehicles. From 2009 through August 2017, over $58.16
million in TCFP grants were awarded for projects to help reduce an estimated 660 tons
of NOX over the life of the projects. Over $22.9 million in TCFP grants were awarded to
projects in the HGB area, with an estimated 216 tons of NOX reduced over the life of
the projects, and over $16.3 million was awarded in the DFW area, with an estimated
245 tons of NOX reduced over the life of the projects.

The Texas Natural Gas Vehicle Grant Program (TNGVGP) was established in 2011 to
provide grants for the replacement of medium-duty and heavy-duty diesel vehicles
with vehicles powered by natural gas. This program may include grants for individual
vehicles or multiple vehicles. The majority of the vehicle’s operation must occur in the
Texas nonattainment areas, other counties designated as affected counties under the
TERP, and the counties in and between the triangular area between Houston, San
Antonio, and DFW. From 2011 through August 2017, over $41.9 million in TNGVGP
grants were awarded for projects to help reduce an estimated 1,493 tons of NOX over
the life of the projects. Over $10.59 million in TNGVGP grants were awarded to
projects in the HGB area, with an estimated 310 tons of NOX reduced over the life of
the projects, and over $14.6 million was awarded to projects in the DFW area, with an
estimated 529 tons of NOX reduced of the life of the projects.

4.4.6 Clean School Bus Program
HB 3469, 79th Texas Legislature, 2005, Regular Session, established the Clean School
Bus Program, which provides monetary incentives for school districts in the state for
reducing emissions of diesel exhaust from school buses through retrofit of older
school buses with diesel oxidation catalysts, diesel particulate filters, and closed
crankcase filters. As of August 2017, the TCEQ Clean School Bus Program had
reimbursed approximately $34.6 million in grants for over 7,500 retrofit activities.
This amount included $4.7 million in federal funds. As a result of recent legislative
changes, this program will include replacement of older school buses with newer,
lower-emitting models going forward.

4.4.7 Local Initiatives
Local strategies in the DFW nonattainment area are being implemented by the North
Central Texas Council of Governments and local strategies in the HGB nonattainment
area are being implemented by H-GAC. Due to the continued progress of these
measures, additional air quality benefits are expected to be gained that will further
reduce precursors to ground level ozone formation. A summary of local strategies for
the DFW nonattainment area is included in Appendix H: Local Initiatives Submitted by
the North Central Texas Council of Governments of the DFW 2008 Eight-Hour Ozone
Attainment Demonstration for the 2017 Attainment Year and information on local



                                          4-15
      Case: 23-60069       Document: 110      Page: 387    Date Filed: 03/27/2023




measures in the HGB nonattainment area is available on the Houston-Galveston Area
Council website (http://www.h-gac.com/home/residents.aspx).

4.4.8 Voluntary Measures
While the oil and natural gas industry is required to install controls either due to state
or federal requirements, the oil and natural gas industry has in some instances
voluntarily implemented additional controls and practices to reduce VOC emissions
from oil and natural gas operations in the DFW nonattainment area as well as other
areas of the state. Examples of these voluntary efforts include: installing vapor
recovery units on condensate storage tanks; using low-bleed natural gas actuated
pneumatic devices; installing plunger lift systems in gas wells to reduce gas well
blowdown emissions; and implementing practices to reduce VOC emissions during well
completions (i.e., “Green Completions”). The EPA’s Natural Gas STAR Program provides
details on these and other practices recommended by the EPA as voluntary measures
to reduce emissions from oil and natural gas operations and improve efficiency.
Additional information on the EPA Natural Gas STAR Program may be found on the
EPA’s Natural Gas STAR Program webpage (http://www.epa.gov/gasstar/).

4.5 2008 OZONE NAAQS SIP REVISIONS ADOPTED SINCE 2015
All Texas SIP revisions are available on the Texas SIP Revisions webpage
(http://www.tceq.texas.gov/airquality/sip/sipplans.html).

Since 2015, Texas has adopted several SIP revisions to further address the 2008 eight-
hour ozone standard in the DFW and HGB areas. These latest SIP revisions and plans
are detailed in this section.

4.5.1 DFW 2008 Eight Hour Ozone SIP Revisions
On June 3, 2015, the commission adopted two revisions to the Texas SIP for the DFW
2008 eight-hour ozone moderate nonattainment area: the DFW 2008 Eight-Hour Ozone
Attainment Demonstration SIP Revision and the DFW 2008 Eight-Hour Ozone
Reasonable Further Progress (RFP) SIP Revision. On December 7, 2016, the EPA
published final approval of the DFW RFP SIP revision (81 FR 88124). Following proposal
of these SIP revisions, the attainment date for the DFW 2008 eight-hour ozone
moderate nonattainment area changed from December 31, 2018 to July 20, 2018 as a
result of the December 23, 2014 D.C. Circuit Court ruling and the EPA’s final 2008
ozone standard SIP requirements rule. Because the attainment year ozone season is the
ozone season immediately preceding a nonattainment area’s attainment date, the
attainment year for the DFW moderate nonattainment area also changed from 2018 to
2017. As a result of the change in the attainment year, it was necessary for the TCEQ
to develop a revised attainment demonstration. The DFW 2008 eight-hour ozone
nonattainment area attainment demonstration SIP revision for the 2017 attainment
year was adopted by the commission on July 6, 2016. On June 14, 2017, the EPA
approved part of the attainment demonstration SIP revision that describes how FCAA
requirements for vehicle inspection and maintenance and nonattainment new source
review are met in the DFW area for the 2008 ozone NAAQS (82 FR 22291), effective on
September 12, 2017. On September 22, 2017, the EPA conditionally approved the
TCEQ's cement kiln NOx RACT analysis for TXI Operations, LP (82 FR 44320) predicated
on the TCEQ's commitment to establish the permitted emission limit of 1.95 lb
NOx/ton of clinker for kiln #5 in the SIP. The TCEQ committed to the EPA in a letter

                                           4-16
      Case: 23-60069      Document: 110      Page: 388     Date Filed: 03/27/2023




dated July 29, 2016 to prepare a SIP revision containing the 1.95 lb NOX/ton of clinker
limit for TXI Operations, LP and subsequently submit the SIP revision to the EPA if it is
approved by the commission. In the September 22, 2017 final rule, the EPA also fully
approved NOX RACT for all other affected sources in the 10-county DFW 2008 eight-
hour ozone nonattainment area. The EPA published final approval of VOC RACT on
December 21, 2017 (82 FR 60546). On May 3, 2018 the EPA proposed approval of the
attainment demonstration, reasonably available control measures analysis, contingency
measures plan, and motor vehicle emissions budgets (83 FR 19483).

4.5.2 HGB 2008 Eight-Hour Ozone SIP Revisions
On December 15, 2016, the commission adopted two revisions to the Texas SIP for the
HGB 2008 eight-hour ozone moderate nonattainment area: the HGB 2008 Eight-Hour
Ozone Attainment Demonstration SIP Revision (Non-Rule Project No. 2016-016-SIP-NR)
and the HGB 2008 Eight-Hour Ozone RFP SIP Revision (Non-Rule Project No. 2016-017-
SIP-NR). These SIP revisions were adopted to meet federal obligations for the 2008
eight-hour ozone NAAQS for a moderate nonattainment area with a July 20, 2018
attainment deadline and a 2017 attainment year. The attainment demonstration SIP
revision incorporated revisions to 30 TAC Chapter 115 to update reasonably available
control technology for VOC storage tanks in the HGB area. The SIP and rule revisions
were submitted to the EPA on December 29, 2016. On May 15, 2017, the EPA approved
Section 4.9 of the attainment demonstration SIP revision that describes how FCAA
requirements for vehicle inspection and maintenance, nonattainment new source
review, and emission statements for large stationary point sources are met in the HGB
area for the 2008 ozone NAAQS (82 FR 22291). On June 6, 2017, the EPA published its
finding that the motor vehicle emissions budgets in the HGB RFP SIP revision are
adequate and must be used for transportation conformity determinations in the HGB
area (82 FR 26091). These budgets became effective June 21, 2017. On May 29, 2018,
the EPA published proposed approval of elements of the HGB attainment
demonstration SIP revision, specifically, the attainment demonstration, reasonably
available control measures analysis, contingency measures plan, and MVEBs (83 FR
24446).

4.6 CONCLUSIONS
Texas has numerous control measures in place to address ozone precursor emissions
that are federally enforceable through SIP revisions. These measures have resulted in
significant decreases in eight-hour ozone design values in Texas. Any additional
control strategies necessary to address requirements for the 2015 eight-hour ozone
NAAQS will be evaluated when attainment demonstration and RFP SIP revisions are
developed and implemented.




                                          4-17
        Case: 23-60069          Document: 110         Page: 389       Date Filed: 03/27/2023




     CHAPTER 5: PREVENTION OF SIGNIFICANT DETERIORATION AND VISIBILITY
                     TRANSPORT [FCAA, §110(A)(2)(D)(i)(II)]

5.1 INTRODUCTION
The Federal Clean Air Act (FCAA), §110(a)(2)(D)(i)(II), requires states to submit a state
implementation plan (SIP) revision that contains adequate provisions to prohibit any
source or other type of emissions activity within the state from emitting any air
pollutants in amounts that will interfere with measures required to meet an
implementation plan for any other state related to prevention of significant
deterioration (PSD) or interfere with measures required to meet the implementation
plan for any other state related to regional haze and visibility. The following sections
provide information on how Texas meets the requirements of FCAA, §110(a)(2)(D)(i)(II).

5.2 PSD
Texas has a SIP-approved PSD and nonattainment New Source Review (NSR) permitting
program that contains requirements for sources of air pollutants to obtain an
approved permit before beginning construction of a facility and before modifying an
existing facility. The Texas Commission on Environmental Quality (TCEQ) has
established rules governing the enforcement of control measures, including attainment
plans and permitting programs that regulate construction and modification of
stationary sources.

On January 6, 2014, the United States Environmental Protection Agency (EPA)
published approval of Texas’ public participation requirements for air quality permits
(79 FR 551). 40 On November 10, 2014, the EPA published partial approval of the
October 2010 and April 2014 SIP submittals that revise Texas’ PSD program to provide
for the regulation of greenhouse gas (GHG) emissions and clarify the applicability of
best available control technology for all PSD permit applications (79 FR 66626).41 The
EPA also approved revisions to the NSR permitting program as consistent with federal
requirements for PSD permitting of GHG emissions. Although the EPA originally
disapproved the Texas infrastructure SIP for the 1997 eight-hour ozone, and for the
1997 and 2006 PM2.5 National Ambient Air Quality Standards (NAAQS) for not
containing provisions for the permitting of GHGs, on September 4, 2015 the EPA
published a direct final rule in the Federal Register (FR) to correct the Code of Federal
Regulations to reflect that Texas now has a SIP-approved GHG permitting program (80
FR 53467). The rule became effective November 3, 2015.

On June 12, 2015, in response to a petition for rulemaking from the Sierra Club, the
EPA finalized a SIP call related to provisions in SIPs concerning how air agency rules in
EPA-approved SIPs treat excess emissions during periods of startup, shutdown, and
malfunction (SSM) of industrial source process or emission control equipment.
Although not one of the states named in the Sierra Club’s petition, the EPA’s final rule
included Texas. The State of Texas and the TCEQ disagree with the EPA that the TCEQ’s



40
   Approval and Promulgation of Implementation Plans; Texas; Prevention of Significant Deterioration;
Greenhouse Gas Tailoring Rule Revisions, 79 FR 66626 (November 10, 2014).
41
   Approval and Promulgation of Implementation Plans; Texas; Public Participation for Air Quality Permit
Applications, 79 FR 551 (January 6, 2014).

                                                   5-1
        Case: 23-60069         Document: 110         Page: 390       Date Filed: 03/27/2023




SIP-approved affirmative defense rule for certain excess emissions is substantially
inadequate to meet FCAA requirements and are challenging the EPA’s SIP call.

The following chapters of 30 Texas Administrative Code (TAC) contain rules relevant
for this federal requirement:

Chap. 35  Emergency and Temporary Orders and Permits; Temporary Suspension or
Amendment of Permit Conditions; Subchapters A, B, C, K

Chap. 39        Public Notice

Chap. 55        Requests for Reconsideration and Contested Case Hearings; Public Notice

Chap. 101       General Air Quality Rules

Chap. 106       Permits by Rule, Subchapter A, General Requirements

Chap. 112       Control of Air Pollution from Sulfur Compounds

Chap. 115       Control of Air Pollution from Volatile Organic Compounds

Chap. 116       Control of Air Pollution by Permits for New Construction or Modification

Chap. 117       Control of Air Pollution from Nitrogen Compounds

Texas has a robust, SIP-approved permitting program and therefore has met the
infrastructure requirements of §110(a)(2)(D)(i)(II).

5.3 VISIBILITY TRANSPORT
On December 16, 2014, the EPA published a proposed rule to partially disapprove the
Texas 2009 Regional Haze SIP revision and issue a federal implementation plan (FIP)
(79 FR 74818). The EPA also proposed to approve the Texas Best Available Retrofit
Technology (BART) rule for non-electric generating units (EGUs), and replace the
TCEQ’s reliance on the Clean Air Interstate Rule (CAIR) with a FIP implementing the
Cross-State Air Pollution Rule (CSAPR) in Texas for BART for EGUs. 42 On January 5,
2016, the EPA partially approved (for non-EGU BART) and partially disapproved the
Texas SIP and adopted a FIP for the reasonable progress goals and long-term strategy
requirements that were disapproved. The EPA did not finalize the EGU BART portion of
the proposal. On July 15, 2016, the 5th Circuit stayed EPA’s FIP of the Texas Regional
Haze Rule.

Because of litigation since the 2009 Texas Regional Haze SIP submission, EGUs are no
longer covered under CAIR or subsequent program provisions; and the EPA did not
finalize the disapproval of Texas EGU BART on January 5, 2016. In accordance with a
consent decree, the EPA published a proposed BART FIP on January 4, 2017 covering


42
  The D.C. Circuit lifted the stay on CSAPR and the EPA began implementing the rule on January 1, 2015.
However, on July 28, 2015 the D.C. Circuit ruled that the 2014 annual SO2 budgets and the 2014 ozone
season NOX budgets for Texas were invalid because they required overcontrol of Texas emissions, and
remanded these budgets back to the EPA without vacatur.

                                                  5-2
      Case: 23-60069      Document: 110      Page: 391     Date Filed: 03/27/2023




EGUs. The consent decree required the EPA to sign a final FIP in September 2017. On
September 29, 2017, the EPA Administrator signed a FIP to address BART requirements
for Texas EGUs, specifically with regard to nitrogen oxides (NOX), particulate matter
(PM), and sulfur dioxide (SO2). The final rule was published in the Federal Register on
October 17, 2017 (82 FR 48324). Additionally, on September 29, 2017, the EPA
finalized a rule withdrawing Texas from the CSAPR Group 2 SO2 and Annual NOX
Programs (82 FR 45481). The BART FIP relies on Texas’ participation in the CSAPR
Ozone Season NOX Program to fulfill NOX BART. Because Texas is no longer
participating in the CSAPR Group 2 SO2 Program, CSAPR cannot be relied upon to
satisfy SO2 BART. Therefore, the FIP establishes an SO2 trading program that applies to
select Texas EGUs. The EPA approved the TCEQ’s PM screening for EGUs from the 2009
Texas Regional Haze SIP submittal, eliminating the need to require controls for PM
BART. Additionally, the EPA disapproved portions of the Texas SIP with regard to
interstate visibility transport for the following NAAQS: 1997 eight-hour ozone; 1997
PM2.5 (annual and 24-hour); 2006 PM2.5 (24-hour); 2008 eight-hour; 2010 one-hour
nitrogen dioxide; and 2010 one-hour SO2. The EPA also made a finding that the BART
alternatives adopted as the FIP meet the interstate visibility transport requirements for
these NAAQS under FCAA §110(a)(2)(D)(i)(II).

Regional haze program requirements include progress reports due to the EPA every
five years, to demonstrate progress toward the visibility goal. The 2014 Five-Year
Regional Haze Progress Report SIP Revision was submitted to the EPA in March 2014.
On January 10, 2017, the EPA published the final Regional Haze Rule Amendments (82
FR 3078) extending the SIP submittal deadline for the second planning period from
July 31, 2018 to July 31, 2021 and adjusting the interim progress report submission
deadline so that second progress reports would be due by January 31, 2025. The
following SIP submittal would be due in 2028 and then every 10 years thereafter,
through 2064.

The following chapter of 30 TAC contains rules relevant for this federal requirement:

Chap. 101    General Air Quality Rules

Chap. 122    Subchapter E, Division 2, Clean Air Interstate Rule

Chap. 115    Control of Air Pollution from Volatile Organic Compounds

Chap. 116    Control of Air Pollution by Permits for New Construction or Modification

Chap. 117    Control of Air Pollution from Nitrogen Compounds

The modeling analysis in this SIP revision demonstrates that Texas does not contribute
to nonattainment or interfere with maintenance in another state for the 2015 ozone
NAAQS. The EPA has not established a separate visibility standard for ozone because
ozone does not directly impair visibility or substantially produce or contribute to the
production of the secondary air contaminants that cause visibility impairment or
regional haze. Particulate matter, rather than ozone, is the pollutant primarily
responsible for visibility impairment at Class I areas covered by the Regional Haze
Rule. Emissions from Texas EGUs that potentially contribute to both ozone
nonattainment and visibility impairment are already controlled under the ozone

                                           5-3
      Case: 23-60069       Document: 110      Page: 392    Date Filed: 03/27/2023




NAAQS, BART under the Regional Haze Rule, and interstate transport obligations.
Texas is also subject to the ozone season NOX budget under the CSAPR Update Rule for
the 2008 ozone standard. Based on the finding that emissions from Texas do not
interfere with measures to protect visibility in nearby states, Texas meets the visibility
transport provision for six other NAAQS under the BART FIP (82 FR 48324). When
considered alongside the modeling analysis in this SIP revision, and Texas’ inclusion in
the CSAPR Update Rule ozone season NOX trading program, it is concluded that Texas
meets the visibility transport provision for the 2015 ozone NAAQS as well.




                                           5-4
        Case: 23-60069         Document: 110        Page: 393       Date Filed: 03/27/2023




     CHAPTER 6: INTERSTATE POLLUTION ABATEMENT AND INTERNATIONAL AIR
                       POLLUTION [FCAA, §110(A)(2)(D)(ii)]

6.1 INTRODUCTION
The requirements of Federal Clean Air Act (FCAA), §110(a)(2)(D)(ii) are satisfied by
demonstrating compliance with the applicable requirements of FCAA, §126(a), 126(b)
and (c), and 115.

6.2 INTERSTATE POLLUTION ABATEMENT
6.2.1 Compliance with FCAA, §126(a)
Under section 126(a)(1) of the FCAA, a state implementation plan (SIP) must contain
provisions requiring each new or modified major source required by FCAA title I part C
to be subject to prevention of significant deterioration (PSD) permitting to notify
neighboring air agencies of potential impacts from the source. Per guidance on
development and submission of infrastructure SIPs issued by the United States
Environmental Protection Agency (EPA) on September 13, 2013,43 the EPA considers the
notification by the permitting authority to satisfy the requirement of FCAA,
§126(a)(1)(A) that a new or modified major source subject to part C notify neighboring
air agencies of its potential downwind impact. Texas has a SIP-approved PSD
permitting program that contains requirements for the permitting authority to notify
air agencies whose lands may be affected by emissions from that source.

6.2.2 Compliance with FCAA, §126(b) and (c)
The required content of an infrastructure SIP with respect to FCAA, §110(a)(2)(D)(ii) is
affected by sections 126(b) and 126(c) of the FCAA only if: (1) the Administrator has, in
response to a petition, made a finding under section 126(b) of the FCAA that emissions
from a source or sources within the air agency’s jurisdiction emit prohibited amounts
of air pollution relevant to the new or revised NAAQS for which the infrastructure SIP
submission is being made; and (2) under section 126(c) of the FCAA, the Administrator
has required the source or sources to cease construction, cease or reduce operations,
or comply with emissions limitations and compliance schedule requirements for
continued operation.

No source or sources within Texas are the subject of an active finding under section
126 of the FCAA with respect to the 2015 ozone NAAQS.

6.3 INTERNATIONAL AIR POLLUTION
6.3.1 Compliance with FCAA, §115
Section 115 of the FCAA authorizes the EPA Administrator to require a state to revise
its SIP under certain conditions to alleviate international transport into another
country. When acting on an infrastructure SIP submission for a new or revised NAAQS,
the EPA will look to whether the Administrator has made a finding with respect to


43
  Memorandum from Stephen D. Page, Director of the Office of Air Quality Planning and Standards,
September 13, 2013, Guidance on Infrastructure State Implementation Plan (SIP) Elements under Clean Air
Act Sections 110(a)(1) and 110(a)(2). EPA Office of Air Quality Planning and Standards.
https://www3.epa.gov/airquality/urbanair/sipstatus/docs/Guidance_on_Infrastructure_SIP_Elements_Mult
ipollutant_FINAL_Sept_2013.pdf

                                                 6-1
      Case: 23-60069      Document: 110     Page: 394     Date Filed: 03/27/2023




emissions of the particular NAAQS pollutant and its precursors, if applicable. There
are no final findings under section 115 of the FCAA against the State of Texas with
respect to the 2015 ozone NAAQS.




                                          6-2
      Case: 23-60069       Document: 110      Page: 395    Date Filed: 03/27/2023




                              CHAPTER 7: CONCLUSIONS

Texas has numerous control measures in place to address ozone precursor emissions
and these measures have resulted in significant decreases in eight-hour ozone design
values in Texas. Statewide trend analysis of ozone precursor emissions from 2005
through 2014 shows a 17% reduction in volatile organic compounds and a 35%
reduction in nitrogen oxides. These reductions have assisted the state in attaining both
the one-hour and 1997 eight-hour ozone National Ambient Air Quality Standards
(NAAQS) and are expected to help the state attain the 2008 and 2015 NAAQS in the
future. Over the past 25 years, all areas in Texas have observed some decrease in eight-
hour ozone design values with the greatest decreases observed in the Houston-
Galveston-Brazoria and Beaumont-Port Arthur areas with decreases of 34% and 33%
respectively.

The modeling analysis provided in this state implementation plan (SIP) revision
demonstrates that Texas emissions do not contribute significantly to nonattainment or
interfere with maintenance of the 2015 eight-hour ozone NAAQS at any downwind
monitors in 2023. Factors such as design value trends, number of elevated ozone days,
back trajectory analysis on elevated ozone days, modeled concentrations on future
expected elevated ozone days, total interstate contributions at tagged monitors, and
responsiveness of ozone to Texas emissions were examined for 16 monitors projected
to be in nonattainment or projected to have maintenance issues in other states. Based
on this modeling analysis, it is concluded that emissions from Texas do not contribute
significantly to nonattainment or interfere with maintenance of the 2015 eight-hour
ozone NAAQS in any other state.

Additionally, Texas has a robust, SIP-approved new source review permitting program
and therefore has met the Federal Clean Air Act (FCAA) infrastructure requirements
relating to prevention of significant deterioration (PSD). The Texas Commission on
Environmental Quality has also determined that Texas meets the visibility transport
provisions for the 2015 ozone NAAQS as the state is not contributing significantly to
nonattainment or maintenance issues in any other state, the EPA has not established a
separate visibility standard for ozone, Texas is subject to the ozone season NOX budget
under the Cross-State Air Pollution Rule Update, and the EPA has made a finding that
Texas meets the visibility transport provision for six other NAAQS under the Best
Available Retrofit Technology FIP.

Finally, Texas meets the FCAA requirements related to interstate pollution abatement
and international air pollution. Texas has a SIP-approved PSD permitting program that
contains requirements for the permitting authority to notify air agencies whose lands
may be affected by emissions from that source, no sources within Texas are the
subject of an active finding under section 126 of the FCAA with respect to the 2015
ozone NAAQS, and there are no final findings under section 115 of the FCAA against
the State of Texas with respect to the 2015 ozone NAAQS.

In conclusion, this SIP revision demonstrates that Texas meets the interstate transport
requirements of FCAA, §110(a)(2)(D)(i)(I) as well as the requirements of FCAA,
§110(a)(2)(D)(i)(II) for prevention of significant deterioration and visibility transport
and the interstate pollution abatement and international air pollution requirements of
FCAA, §110(a)(2)(D)(ii).

                                           7-1
      Case: 23-60069       Document: 110      Page: 396     Date Filed: 03/27/2023




   CHAPTER 8: FUTURE REVISIONS TO THE NATIONAL AMBIENT AIR QUALITY
                          STANDARDS (NAAQS)

Federal Clean Air Act (FCAA), §110(a)(1) requires states to submit state
implementation plans within three years after the promulgation of new or revised
NAAQS to meet the requirements of FCAA, §110(a)(2), including FCAA, §110(a)(2)(D),
relating to interstate transport. Therefore, if the NAAQS are revised in the future, the
Texas Commission on Environmental Quality will need to take the adequate steps
relating to the interstate transport of air pollution.




                                           8-1
Case: 23-60069   Document: 110    Page: 397    Date Filed: 03/27/2023




                 Appendices Available Upon Request



                            Kristin Patton
                   kristin.patton@tceq.texas.gov
                            512.239.4907
     Case: 23-60069   Document: 110   Page: 398   Date Filed: 03/27/2023




                                EXHIBIT 4

EPA, 2015 Ozone NAAQS Interstate Transport SIP Disapprovals – Response to

Comment (RTC) Document (Jan. 31, 2023)
Case: 23-60069   Document: 110   Page: 399   Date Filed: 03/27/2023




  2015 Ozone NAAQS Interstate Transport SIP Disapprovals –
          Response to Comment (RTC) Document




                                                                      1
        Case: 23-60069          Document: 110         Page: 400        Date Filed: 03/27/2023




This Response to Comments (RTC) document, together with the notice of final action titled Air Plan
Disapprovals; Interstate Transport of Air Pollution for the 2015 8-hour Ozone National Ambient Air
Quality Standards (NAAQS), presents the Environmental Protection Agency’s (EPA) responses to public
comments received on the EPA’s proposal of 21 state implementation plan (SIP) actions included in this
final action.

The EPA has addressed all significant issues raised in timely public comments. The EPA received 84
individual written comment submissions during the public comment periods. Table 1 provides the
commenter name, the commenter abbreviated name which may also be used within this document, and
links to the commenter’s submission in the docket for this action. This document, together with the
notice of final action, should be considered collectively as the EPA’s response to all significant comments
pertaining to the states included in this action.

Table 1: Commentor Acronyms & IDs
                            Commentor Name                                  Acronym                 ID
 Air Pollution Control Program, Missouri Department of Natural
                                                                              MDNR                  01
 Resources
 Alabama Department of Environmental Management                               ADEM                  02
 Alabama Power Company                                                         APC                  03
 Alabama Power Company, Southern Power Company, and
                                                                            APC et al.              04
 PowerSouth Energy Cooperative
 Ameren Missouri                                                                                    05
 Anonymous                                                                                          06
 Arkansas Department of Energy and Environment, Division of
                                                                              ADEQ                  07
 Environmental Quality
 Arkansas Electric Cooperative Corporation                                    AECC                  08
 Arkansas Environmental Federation                                             AEF                  09
 Arkansas Forest & Paper Council                                             AF&PC                  10
 Association of Electric Companies of Texas, BCCA Appeal Group,
                                                                           AECT et al.              11
 Texas Chemical Council and Texas Oil & Gas Association
 California Air Resources Board                                               CARB                  12
 City Utilities of Springfield, Missouri                                       CU                   13
 Cleco Corporate Holdings LLC                                                 Cleco                 14
 Ducote, Samuel                                                                                     15
 Eagle Materials Inc.                                                         Eagle                 16
 Emley, Margaret                                                                                    17
 Energy Security Partners                                                      ESP                  18
 Entergy Services, LLC                                                         ESL                  19
 Environmental Federation of Oklahoma                                          EFO                  20
 Evergy, Inc.                                                                                       21
 Hagerty, Logan                                                                                     22
 Idaho Power Company                                                           IPC                  23
 Kaw Nation                                                                                         24
 Kentucky Division for Air Quality                                            KDAQ                  25
 Louisiana Chemical Association                                                LCA                  26

                                                                                                         2
        Case: 23-60069          Document: 110          Page: 401       Date Filed: 03/27/2023




 Louisiana Department of Environmental Quality                                 LDEQ                  27
 Louisiana Electric Utility Environmental Group                               LEUEG                  28
 Maryland Department of the Environment                                        MDE                   29
 Midwest Ozone Group                                                           MOG                   30
 Minnesota Pollution Control Agency                                           MPCA                   31
 Mississippi Department of Environmental Quality                              MDEQ                   32
 Nevada Division of Environmental Protection                                  NDEP                   33
 New Jersey Department of Environmental Protection                            NJDEP                  34
 NRG Texas Power LLC                                                           NRG                   35
 Ohio Utilities and Generators Group                                           OUG                   36
 Oklahoma Department of Environmental Quality                                 ODEQ                   37
 PacifiCorp                                                                                          38
 Sierra Club                                                                                         39
 Southwestern Electric Power Company                                           SEPC                  40
 Tennessee Department of Environment and Conservation                          TDEC                  41
 Texas Commission on Environmental Quality                                     TCEQ                  42
 Texas Transport Working Group                                                                       43
 The Luminant Companies                                                                              44
 United States Steel Corporation                                            U.S. Steel               45
 Utah Associated Municipal Power System                                      UAMPS                   46
 Utah Division of Air Quality                                                UDAQ                    47
 Utah Petroleum Association and the Utah Mining Association                UPA & UMA                 48
 West Virginia Department of Environmental Protection                        WVDEP                   49
 WildEarth Guardians                                                          WEG                    50
 Wisconsin Department of Natural Resources                                   WDNR                    51
 Xcel Energy                                                                                         52


The responses presented in this document supplement the responses to comments that appear in the
notice of final action and addresses comments not discussed in the notice of final action. The EPA took
great care in presenting comment excerpts accurately in this document (either verbatim or
paraphrased), though did make some formatting adjustments for the ease of use of this document.
Complete and original copies of the comment letters, including some footnotes, tables, charts, etc.
which were not reproduced in this document are available in the dockets listed in the memo “Regional
Dockets Containing Additional Supporting Materials for Final Action on 2015 Ozone NAAQS Good
Neighbor SIP Submissions” found in the docket for this action. Although portions of the notice of final
action are paraphrased in this response to comment (RTC) document, to the extent such paraphrasing
introduces any confusion or apparent inconsistency, the notice of final action itself remains the
definitive statement of the rationale for the final action. This document, together with the notice of final
action, should be considered collectively as the EPA’s response to all significant comments submitted on
the EPA’s proposed disapprovals of SIPs addressing Clean Air Act (CAA) section 110(a)(2)(D)(i)(I) for the
2015 ozone NAAQS.

As stated in the preamble, the EPA is not taking final action on Tennessee’s SIP submission, and the SIP
submission from Alabama which EPA proposed to disapprove on February 22, 2022 has since been
                                                                                                           3
        Case: 23-60069          Document: 110         Page: 402        Date Filed: 03/27/2023




withdrawn by the state. However, the docket that included the EPA’s proposed action on Alabama and
Tennessee’s submissions also included action on other states’ SIP submissions (Mississippi and
Kentucky) that are being finalized in this action. In an effort to be responsive to all comments that may
have broader relevance to this action, EPA has considered all comments submitted in this docket and
responded as appropriate. However, where comments address EPA’s proposal with respect to issues
specific to Tennessee, the Agency defers responding to those comments and has made note of this in
this document where appropriate. EPA has included and responds to the comments received on the
EPA’s proposal of Alabama’s June 21, 2022 submission, proposed on October 25, 2022.




                                                                                                            4
           Case: 23-60069                      Document: 110                     Page: 403                Date Filed: 03/27/2023




Table of Contents
Table 1: Commentor Acronyms & IDs ........................................................................................................... 2
Table 2: Abbreviations and Acronyms .......................................................................................................... 8
1     Comments Related to Rulemaking Procedure .................................................................................... 12
    1.1      Timing of SIP Actions................................................................................................................... 12
    1.2      Guidance for SIP Submissions ..................................................................................................... 29
    1.3      Attachment A to the March 2018 Memorandum....................................................................... 37
    1.4      Use of Updated Modeling ........................................................................................................... 42
    1.5      States’ Step 3 Analysis................................................................................................................. 62
    1.6      EPA Input During SIP Submission Development ......................................................................... 68
    1.7      Length of Comment Period ......................................................................................................... 79
    1.8      Docket Document Availability ..................................................................................................... 86
2     Analytic Year of 2023 .......................................................................................................................... 89
3     Emissions Inventories ......................................................................................................................... 97
    3.1      Emissions Inventory - General .................................................................................................... 97
    3.2      Emissions Inventory – Non-EGUs ................................................................................................ 97
    3.3      Emissions Inventory – EGUs ...................................................................................................... 120
      3.3.1          Unit Corrections ................................................................................................................ 120
      3.3.2          EPA’s Integrated Planning Model (IPM) ............................................................................ 124
      3.3.3          Other EGU Inventory-Related Comments......................................................................... 130
4     Air Quality Modeling ......................................................................................................................... 135
    4.1      Modeling Design - General........................................................................................................ 135
      4.1.1          Modeling Design - Lake Michigan ..................................................................................... 136
      4.1.2          Modeling Design - Western States.................................................................................... 154
    4.2      Model Performance .................................................................................................................. 156
      4.2.1          Model Performance at Lake Michigan .............................................................................. 156
      4.2.2          Model Performance at Western States ............................................................................ 166
    4.3      Model Error vs Contribution Threshold .................................................................................... 184
5     Updates to Modeling and Changes in Linkages ................................................................................ 188
6     Step 1 ................................................................................................................................................ 206
    6.1      Projected Air Quality Problems................................................................................................. 206
      6.1.1          Western Receptors ........................................................................................................... 206

                                                                                                                                                               5
           Case: 23-60069                      Document: 110                     Page: 404                Date Filed: 03/27/2023




      6.1.2          Receptors Linked to Texas ................................................................................................ 209
      6.1.3          Meteorologically Adjusted Ozone Trends......................................................................... 216
    6.2      EPA Methodology for Determining Maintenance Receptors ................................................... 217
    6.3      TCEQ’s Alternative Methodology for Determining Maintenance Receptors ........................... 220
    6.4      October 2018 Memorandum .................................................................................................... 232
    6.5      Certain Monitoring Sites in California at Step 1........................................................................ 234
7     Step 2 ................................................................................................................................................ 238
    7.1      Methodology for Determining Future Year Contributions ....................................................... 238
    7.2      Contributions ............................................................................................................................ 251
    7.3      1 Percent as a Contribution Threshold ..................................................................................... 257
    7.4      August 2018 Memorandum ...................................................................................................... 267
    7.5      Maintenance-Only Linkages ...................................................................................................... 300
8     Step 3 ................................................................................................................................................ 303
    8.1      Determination of Significant Contribution ............................................................................... 303
    8.2      Alleged De Minimis Contribution .............................................................................................. 316
    8.3      Existing and Future State Controls ............................................................................................ 321
    8.4      Modeling and CAA Section 179B Guidance .............................................................................. 333
    8.5      Air Quality Factors..................................................................................................................... 339
    8.6      Cost Thresholds ......................................................................................................................... 342
    8.7      “Consistent and Persistent” Contribution ................................................................................ 347
    8.8      Hybrid Single-Particle Lagrangian Integrated Trajectory (HYSPLIT) Model .............................. 354
    8.9      Allegations of Inconsistency with Other Recent EPA Actions ................................................... 372
9     Controls ............................................................................................................................................. 376
    9.1      Supplemental Submission ......................................................................................................... 376
    9.2      Over-Control ............................................................................................................................. 377
10         Legal Comments Not Otherwise Addressed Elsewhere................................................................ 379
    10.1     Venue ........................................................................................................................................ 379
    10.2     SIP Call ....................................................................................................................................... 394
    10.3     Cooperative Federalism and the EPA’s Authority ..................................................................... 398
    10.4     Reliance on FIP Measures ......................................................................................................... 437
    10.5     Comments Alleging “Pretext” or Intent to Require Generation Shifting .................................. 439
    10.6     Allegation that Disapprovals of Western State SIP Submissions was Predetermined ............. 440

                                                                                                                                                               6
        Case: 23-60069                      Document: 110                   Page: 405               Date Filed: 03/27/2023




 10.7      EPA’s Response to Comment on Proposed Actions Related to Alabama ................................. 446
11      Miscellaneous ............................................................................................................................... 448
 11.1      Incorporation of Other’s Comments by Reference .................................................................. 448
 11.2      CAA Section 126 Petitions ......................................................................................................... 451
 11.3      Transport Policy ........................................................................................................................ 452
 11.4      Transport Policy- Western State Ozone Regulation ................................................................. 458
 11.5      International Contributions ...................................................................................................... 462
 11.6      Economic Impacts ..................................................................................................................... 463
 11.7      Environmental Justice ............................................................................................................... 467
 11.8      Mobile Sources Emissions ......................................................................................................... 468
 11.9      Typographical Concerns ............................................................................................................ 476
 11.10         Tribal Concerns ..................................................................................................................... 477
 11.11         Executive Order 13132 .......................................................................................................... 479
 11.12         Consent Decrees ................................................................................................................... 480
 11.13         General Recommendations .................................................................................................. 483
 11.14         Out of Scope.......................................................................................................................... 486
 11.15         Out of Scope - Comments on the Proposed FIP.................................................................... 489




                                                                                                                                                       7
       Case: 23-60069     Document: 110        Page: 406      Date Filed: 03/27/2023




Table 2: Abbreviations and Acronyms
ADEM        Alabama Department of Environmental Management
ADEQ        Arkansas Department of Energy and Environment, Division of Environmental
            Quality
AECC        Arkansas Electric Cooperative Corporation
AECT        Association of Electric Companies of Texas
AEF         Arkansas Environmental Federation
AEO         Annual Energy Outlook
AF&PC       Arkansas Forest & Paper Council
AL          Alabama
APA         Administrative Procedures Act
APC         Alabama Power Company
APCA        Anthropogenic Precursor Culpability Assessment
AQAT        Air Quality Assessment Tool
AQM TSD     Air Quality Modeling Technical Support Document
ASC         Air Stewardship Coalition
ASTM        American Society of Testing and Materials
AZ          Arizona
BACM        Best Available Control Measures
BACM        Best Available Control Measures
BACT        Best Available Control Technology
BARCT       Best Available Retrofit Control Technology
CA          California
CAA         Clean Air Act
CAIR        Clean Air Interstate Rule
CAMx        Comprehensive Air Quality Model with Extensions
CARB        California’s Air Resources Board
CDPHE       Colorado Department of Public Health and Environment
CenSARA     Central States Air Resources Agencies
CH4         Methane
CO          Colorado
COMAR       Code of Maryland Regulations
CSAPR       Cross-State Air Pollution Rule
CT          Connecticut
CU          City Utilities of Springfield, Missouri
D.C.        District of Columbia
DE          Delaware
DFW         Dallas-Fort Worth
DM/NFR      Denver Metro / North Front Range
DV          Design value
ECHO        Enforcement and Compliance History Online
EFO         Environmental Federation of Oklahoma
EGUs        Electric Generating Units
                                                                                       8
    Case: 23-60069       Document: 110        Page: 407       Date Filed: 03/27/2023




EMP       Emissions Modeling Platform
EO        Executive Order
EPA       Environmental Protection Agency
ERTAC     Eastern Regional Technical Advisory Committee
ESL       Entergy Services, LLC
ESP       Energy Security Partners
FIP       Federal Implementation Plan
FR        Federal Register
GHG       Greenhouse gases
HEED      Electric generating unit
HQ        Headquarters
hr        Hour
HYSPLIT   Hybrid Single-Particle Lagrangian Integrated Trajectory
IL        Illinois
IN        Indiana
IPC       Idaho Power Company
IPM       Integrated Planning Model
iSIP      Infrastructure State Implementation Plan (SIP)
KDAQ      Kentucky Division for Air Quality
Km        Kilometer
LADCO     Lake Michigan Air Directors Consortium
LCA       Louisiana Chemical Association
LDEQ      Louisiana Department of Environmental Quality
LEUEG     Louisiana Electric Utility Environmental Group
LEV       Low-Emissions Vehicle
LMOS      Lake Michigan Ozone Study
MACT      Maximum achievable control technology
MARAMA    Mid-Atlantic Regional Air Management Association, Inc.
MDA8      Maximum daily 8-h average
MDE       Maryland Department of the Environment
MDEQ      Mississippi Department of Environmental Quality
MDNR      Missouri Department of Natural Resources
MI        Michigan
MO        Missouri
MOG       Midwest Ozone Group
MOVES     Motor Vehicle Emissions Simulator
MPCA      Minnesota Pollution Control Agency
MPE       Model Performance Evaluation
MW        Megawatt
MWe       Megawatts electric
NAAQS     National Ambient Air Quality Standards
Nbias     Normalized bias
NDEP      Nevada Division of Environmental Protection

                                                                                       9
        Case: 23-60069      Document: 110           Page: 408      Date Filed: 03/27/2023




NEEDS        National Electric Energy Data System
NEI          National Emissions Inventory
NJ           New Jersey
NNSR         Nonattainment New Source Review
NO2          Nitrogen dioxide
NODA         Notice of Data Availability
NOX          Nitrogen oxides
NPRM         Notice of proposed rulemaking
NRG          NRG Texas Power LLC
NSR          New Source Review
NV           Nevada
NW           Northwest
NWF          Northern Wasatch Front
NYMA         New York Metropolitan Area
NYS DEC      New York State Department of Conservation
O3           Ozone
OAQPS        Office of Air Quality Planning and Standards
OAR          Office of Air and Radiation
ODEQ         Oklahoma Department of Environmental Quality
OH           Ohio
OK           Oklahoma
OTC          Ozone Transport Commission
OUG          Ohio Utilities and Generators Group
PA           Pennsylvania
PM           Particulate matter
PM2.5        PM with a diameter of 2.5 micrometers or less; fine particulate
ppb          Parts per billion
PSD          Prevention of Significant Deterioration
RACT         Reasonably available control technology
RCF          Relative Contribution Factor
RCU          Revised CSAPR Update
RFF          Relative Response Factors
RFG          Reformulated gasoline
RTC          Response to Comments
SAFETEA      Safe, Accountable, Flexible, Efficient Transportation Equity Act
SCCT         Simple cycle and regenerative combustion turbines
SCR          Selective catalytic reduction
SEPC         Southwestern Electric Power Company
SIP          State Implementation Plan
SNCR         Selective Non-Catalytic Reduction
SSM          Startup, shutdown, and malfunction
TCEQ         Texas Commission on Environmental Quality
TDEC         Tennessee Department of Environmental Conservation
                                                                                            10
    Case: 23-60069     Document: 110        Page: 409      Date Filed: 03/27/2023




TIP      Tribal Implementation Plan
TN       Tennessee
tpy      Tons per year
TSD      Technical Support Document
TX       Texas
U.S.     United States
U.S.C.   United States Code
UAMPS    Utah Associated Municipal Power System
UDAQ     Utah Division of Air Quality
UMA      Utah Mining Association
UPA      Utah Petroleum Association
UT       Utah
VOC      Volatile organic compounds
WDNR     Wisconsin Department of Natural Resources
WEG      WildEarth Guardians
WESTAR   Western States Air Resources Council
WI       Wisconsin
WRAP     Western Regional Air Partnership
WVDEP    West Virginia Department of Environmental Protection
yr       Year
ZEV      Zero-Emissions Vehicle




                                                                                    11
        Case: 23-60069          Document: 110         Page: 410        Date Filed: 03/27/2023




1 Comments Related to Rulemaking Procedure
1.1 Timing of SIP Actions

Comments


Commenter: Air Pollution Control Program, Missouri Department of Natural Resources

Commenter ID: 01

Docket ID: EPA-R07-OAR-2021-0851

Comment:

Further, EPA’s proposed disapproval of Missouri’s SIP and the imposition of a proposed FIP gives
Missouri no real opportunity to address EPA’s concerns and revise our SIP at step-3.



Commenter: Arkansas Environmental Federation

Commenter ID: 09

Docket ID: EPA-R06-OAR-2021-0801

Comment:

DEQ should be permitted time to analyze, address and/or correct any deficiencies identified by EPA
before finalizing a FIP. Although EPA might generally have the authority under Section 7410(c)(1)(B) to
issue a FIP at any time prior to the 2-year deadline after disapproval, nevertheless, CAA Section
7410(c)(1) contemplates that a state would be provided time to correct any deficiency and that EPA has
the discretion to allow up to two years for correction of any deficiency. EPA’s determination about
whether a FIP should be promulgated immediately as to a specific state should be based on a state-
specific analysis since a State may bring a particularized, as-applied challenge to a nationwide or
regional transport rule.

II. EPA’s Proposed SIP Disapproval and FIP Proposal is Out of Sequence.

EPA’s approach to taking action to disapprove the DEQ SIP and simultaneously promulgate a FIP, instead
of allowing DEQ to submit revisions to its SIP, effectively impairs ADEQ’s ability to make a state-specific
over-control analysis. EPA does not have the authority to impose requirements that result in over-
control, nor does it have the authority to mandate a particular control for a state. In fact, EPA seeks
comment on its proposed FIP as to whether its FIP results in over-control with respect to Arkansas. EPA
has the process backwards. Under EPA’s analysis based on the 2016 modeling platform, the single
Michigan maintenance receptor that Arkansas analyzed in its SIP submission is no longer an issue. Yet
now, EPA has identified receptors in Texas that it claims are adversely impacted by Arkansas emissions
and has imposed control requirements without allowing Arkansas the opportunity to evaluate EPA’s
newly-purported linkages to Texas and determine the appropriate emissions reductions, if any,
                                                                                                        12
        Case: 23-60069          Document: 110         Page: 411        Date Filed: 03/27/2023




necessary from Arkansas sources to address these purported linkages. Consequently, EPA’s SIP
disapproval and its proposed FIP are linked, and EPA should not finalize its FIP with respect to Arkansas
until DEQ has been given a reasonable amount of time to respond.



Commenter: Arkansas Department of Energy and Environment, Division of Environmental Quality

Commenter ID: 07

Docket ID: EPA-R06-OAR-2021-0801

Comment:

Timing of EPA’s Proposed Rule

Under the Clean Air Act §110(k), EPA has six months to determine whether or not a state’s SIP submittal
is complete once it is received from the state. From the time of the completeness determination, EPA
has twelve months to finalize an approval or disapproval of the state’s submission. For the Arkansas
Transport SIP, the deadline for EPA final action was November 7, 2020. EPA failed to meet its statutory
deadline for acting on the Arkansas Transport SIP. Not until EPA was sued by environmental
organizations and EPA conducted new analyses to effectively supersede analyses provided by the
previous EPA administration for use by states in SIP development did EPA issue a proposed action on the
Arkansas Transport SIP.

EPA failed to meet its statutory deadline for acting on the Arkansas Transport SIP. Not until EPA was
sued by environmental organizations and EPA conducted new analyses to effectively supersede analyses
provided by the previous EPA administration for use by states in SIP development did EPA issue a
proposed action on the Arkansas Transport SIP.

EPA had all of the information necessary based on the best available science to approve the interstate
component of the Arkansas Transport SIP submittal when its action was due on November 7, 2020.

[…]

Simply put, EPA did not act on 2015 Ozone Transport SIPs in a timely manner. As EPA notes in the
proposed disapproval, decision points are made based on information available at the time. Had EPA
reviewed the SIP in the timeframe required by federal law, the information available at the time—the
same information that states used to inform their decisions—would have ensured that states did not
waste time on robust analyses of available data for the purposes of making sound, evidence-based
decisions. EPA stalled an evaluative action until the perceived “facts” of the situation changed such that
timely state analyses were rendered outdated. Because EPA did not act on SIP submissions in a timely
manner as required by the Clean Air Act, and instead intended their assessment of Transport SIPs to be
“forward looking,” states have been put at a clear disadvantage in the final stages of the SIP process.

The Arkansas Transport SIP submittal clearly demonstrated, based on the information available at the
time, that the Arkansas SIP contains adequate provisions to ensure that in-state emissions activities do
not “significantly” contribute to nonattainment or interfere with maintenance of the 2015 ozone NAAQS
in any other state. DEQ requests that EPA withdraw its proposed disapproval and instead fully approve
                                                                                                         13
        Case: 23-60069           Document: 110          Page: 412        Date Filed: 03/27/2023




the Arkansas Transport SIP. In the alternative, EPA should allow DEQ the customary two years post-
disapproval to address identified deficiencies in the Arkansas Transport SIP and to resubmit to EPA, prior
to issuing a federal implementation plan.

[…]

States must undertake SIP development with limited technical resources, so the states rely heavily on
EPA data and EPA guidance in their decision-making. The threshold decision is fundamental to further
steps in the Interstate Transport Framework analysis. Therefore, this late-stage decision by EPA is
unreasonable. DEQ finds that this decision effectively forces states to fail in meeting EPA’s vacillating
interpretation of what is necessary for SIPs to meet interstate transport obligations.

[…]

DEQ does not believe that EPA has the information necessary to broad-stroke disapprove the Arkansas
Transport SIP. DEQ requests that EPA take pause on final SIP and FIP actions for the state until DEQ (or
EPA) has completed further analysis of linkages from emission sources and activities in the state to
determine if there are sources or emissions activities in the state that significantly contribute to the
newly identified nonattainment receptor or interfere with maintenance of the NAAQS in Texas, and if
so, to adopt appropriate control strategies to prohibit the significant contribution(s).



Commenter: Association of Electric Companies of Texas, BCCA Appeal Group, Texas Chemical Council
and Texas Oil & Gas Association

Commenter ID: 11

Docket ID: EPA-R06-OAR-2021-0801

Comment:

If EPA proceeds with disapproval on the basis of its new analysis, EPA should allow Texas to revise its SIP
submission.

EPA did not act on Texas’s SIP submission within the CAA’s statutory timeframe. Due to EPA’s own delay
in acting, EPA has deviated from its long-standing practice of giving states an opportunity to address
new information or analysis and, potentially, develop and submit revisions to EPA before the Agency
issues a FIP. In proposing a FIP and announcing that it intends to finalize the FIP concurrently with or
soon after it finalizes disapprovals of Transport SIPs, it is clear that EPA is not affording states and other
commentors a meaningful opportunity to integrate their concerns into the final action.

The CAA requires that, once a SIP is deemed complete, EPA must act on the SIP within 12 months. TCEQ
submitted its SIP on August 17, 2018. To comply with the CAA, EPA should have proposed to approve or
disapprove the SIP by February 2020. EPA, however, did not propose to disapprove Texas’s SIP
submission until February 22, 2022, as the result of a consent decree. Due to EPA’s own delay and the
accelerated timeline required by the consent decree, EPA is proposing to deny commentors the
opportunity to respond to the new data and analysis. Moreover, EPA has previously allowed states to
revise disapproved SIPs, consistent with CAA Section 110(c)(1), prior to issuing a FIP. EPA’s accelerated
                                                                                                            14
        Case: 23-60069          Document: 110          Page: 413       Date Filed: 03/27/2023




timeline for issuing a FIP, which resulted from EPA’s own delay, effectively penalizes Texas for timely
submitting its SIP.



Commenter: City Utilities of Springfield, Missouri

Commenter ID: 13

Docket ID: EPA-R07-OAR-2021-0851

Comment:

EPA decision to disapprove seems arbitrary and capacious in terms of timing, implementation schedule,
and level of reductions. Missouri has not been given time to redress EPA disapproval concerns within
their current plans to either enhance or supplement the record. EPA changed the modeled receptors in
upwind states attributed to Missouri’s contribution. Changes at this point in time will unduly burden
MDNR’s ability to implement rule changes outside the normal review and oversight process. Missouri
will be forced to absorb the Federal Plan allocation methodology without appropriate consent,
comment and justification.



Commenter: Eagle Materials Inc.

Commenter ID: 16

Docket ID: EPA-R09-OAR-2022-0138

Comment:

Under CAA § 110, states retain primary authority to address their ozone transport obligations until EPA
has taken final action on a SIP submission. If a state submits a SIP that does not adequately fulfill these
obligations, EPA is required to disapprove the SIP within 18 months. Because a disapproval is a
substantive rule “affecting individual rights and obligations,” EPA is required to go through notice-and-
comment rulemaking in finalizing its decision. Only after such disapproval is finalized, can EPA
promulgate a FIP in its place, which must similarly go through notice-and-comment. Here, however, EPA
issued a Proposed FIP before issuing its Proposed Disapproval of Nevada’s SIP, based on EPA’s
“anticipate[d]” determination that pending SIP submissions “may not have adequate provisions… to
address [the states’] interstate transport obligations for the 2015 ozone NAAQS.”

For EPA to issue its Proposed FIP before fulfilling it mandatory duty to timely act on the proposed
Nevada SIP is the very hallmark of unreasonable agency action. CAA § 110(k) requires EPA to take final
action to approve or disapprove a state’s SIP, once submitted, within 18 months. However, EPA
exceeded this deadline by over 2 years. Nevada submitted a revised SIP addressing interstate transport
obligations under the 2015 Ozone NAAQS on October 1, 2018. Under Section 110(k) of the CAA, EPA was
required to act on this submission by April 1, 2020—instead, EPA did not issue its Proposed Disapproval
until May 24, 2022.


                                                                                                          15
        Case: 23-60069            Document: 110           Page: 414        Date Filed: 03/27/2023




Commenter: Environmental Federation of Oklahoma

Commenter ID: 20

Docket ID: EPA-R06-OAR-2021-0801

Comment:

In particular, EFO supports DEQ’s assessment that EPA has overstepped its authority by circumventing
the normal SIP development and approval process in a number of ways, including but not limited to: […]
proposing a replacement Federal Implementation Plan (FIP) before the state even has a chance to
review the proposed SIP disapproval.



Commenter: Idaho Power Company

Commenter ID: 23

Docket ID: EPA-R09-OAR-2022-0138

Comment:

The Proposed Disapproval circumvents notice-and-comment requirements.

EPA exceeded its authority under the CAA in proposing a FIP prior taking final action on the Proposed
Disapproval. The CAA allows EPA to promulgate a FIP only “after the Administrator finds that a State
failed to make a require submission . . . or disapproves a state implementation plan submission.”

As discussed above, under the CAA, states retain primary authority to address their ozone transport
obligations until EPA has taken final action on a SIP submission. If a state submits a SIP that does not
adequately fulfill these obligations, EPA is required to disapprove the SIP within 18 months. Because a
disapproval is a substantive rule “affecting individual rights and obligations,” EPA is required to go
through notice-and-comment rulemaking in finalizing its decision.29 Only after such disapproval is
finalized can EPA promulgate a FIP in its place,30 which must similarly go through notice-and-comment.

Here, EPA proposed a FIP more than two years after it was statutorily obligated to respond to Nevada’s
SIP submission and more than a month before publishing the Proposed Disapproval—which is largely
based on modeling and data unavailable to Nevada at the time it developed its SIP. In other words,
Nevada held up its side of the cooperative federalism bargain struck by the Clean Air Act, but EPA did
not. This is the very hallmark of unreasonable agency action. Nevada submitted a revised SIP addressing
interstate transport obligations under the 2015 Ozone NAAQS on October 1, 2018. Under CAA Section
110(k), EPA was required to act on this submission by April 1, 2020, 18 months after Nevada submitted
its SIP. EPA published its Proposed Disapproval more than two years after this deadline had passed, on
May 24, 2022.
29
  See, e.g., Chrysler Corp. v. Brown, 441 U.S. 281, 302 (1979).
30
  See 42 U.S.C. § 7410(c)(1) (requiring Administrator to promulgate FIP “at any time within 2 years after”
disapproving a SIP). While the Supreme Court held in EPA v. EME Homer City Generation that, under this provision,


                                                                                                              16
         Case: 23-60069            Document: 110            Page: 415         Date Filed: 03/27/2023



“EPA is not obliged to wait two years or postpone its action even a single day,” the Court noted that this authority
applies “[a]fter EPA has disapproved a SIP.” 572 U.S. 489, 509 (2014) (emphasis added)


Commenter: Kentucky Division for Air Quality

Commenter ID: 25

Docket ID: EPA-R04-OAR-2021-0841

Comment:

Lack of Timeliness of EPA Action

Kentucky disagrees with EPA’s proposed disapproval of its State Implementation Plan (SIP) regarding the
interstate transport requirements for the 2015 8-hour ozone national ambient air quality standards
(NAAQS) because EPA’s inaction prohibited Kentucky from addressing any deficiencies identified or
submitting a revised SIP for approval. Kentucky’s final 2015 8-hour Ozone NAAQS Infrastructure SIP (I-
SIP) was transmitted to EPA on January 9, 2019, and included the interstate transport requirements. EPA
did not make a completeness determination within 60 days, and the SIP was deemed complete by
operation of law under 42 U.S.C. § 7410(k)(1)(B) six months later, on July 9, 2019. Once a completeness
determination occurs by operation of law, EPA has 12 months to take action on the SIP submittal. EPA
was required to act on Kentucky’s entire I-SIP by July 9, 2020. EPA approved the majority of the SIP
requirements on July 1, 2020, and approved sections addressing Clean Air Act (CAA) sections
110(a)(2)(C), 110(a)(2)(D)(i) Prong 3, 110(a)(2)(J), and 110(a)(2)(K) via a second approval on October 2,
2020. However, EPA took no action on the requirements for Interstate Transport, specifically prongs 1
and 2, until February 22, 2022, over 12 months past the statutorily required date for action.

EPA’s delayed disapproval of Kentucky’s I-SIP regarding prongs 1 and 2 of CAA section 110(a)(2)(D)(i)(1)
prevented Kentucky from addressing deficiencies or submitting SIP revisions. Kentucky would appreciate
the opportunity to address these identified deficiencies through a revised SIP submission, which may
eliminate the need for a Federal Implementation Plan.



Commenter: Louisiana Department of Environmental Quality

Commenter ID: 27

Docket ID: EPA-R06-OAR-2021-0801

Comment:

Louisiana submitted the Interstate Transport of Air Pollution for the 2015 8-Hour Ozone National
Ambient Air Quality Standards SIP on November 12, 2019, and EPA issued a “completeness finding” on
November 14, 2019. According to Federal Clean Air Act (FCAA) §110(k)(2), “within 12 months of a
determination ... the [EPA] Administrator shall act on the submission in accordance with paragraph (3).”
Paragraph three (3) addresses full and partial approval and disapproval. The FCAA is silent on the state's
recourse if EPA fails to act, which leads us to the current proposal. In this proposed disapproval, EPA
presents modeling results that change the predicted impacts on downwind states. It is important to
                                                                                                        17
        Case: 23-60069          Document: 110         Page: 416       Date Filed: 03/27/2023




note that these modeling results were not available to states prior to the initial submittal. If the
disapproval of the proposed SIP is finalized, EPA has a two-year timeframe to develop a Federal
Implementation Plan (FIP) to address the relevant interstate transport requirements. Alternatively, EPA
could approve a subsequent SIP submittal that meets these requirements. EPA proposed the FIP on April
6, 2022 some 43 days later.



Commenter: Midwest Ozone Group

Commenter ID: 30

Docket ID: EPA-R02-OAR-2021-0673, EPA-R03-OAR-2021-0872, EPA-R03-OAR-2021-0873, EPA-R04-OAR-
2021-0841, EPA-R05-OAR-2022-0006, EPA-R06-OAR-2021-0801, EPA-R07-OAR-2021-0851, EPA-R08-
OAR-2022-0315, EPA-R09-OAR-2022-0394, EPA-R09-OAR-2022-0138

Comment:

EPA’s accelerated approach to denial of these plans is inconsistent with the CAA

As evidenced by these several proposals for disapproval of Good Neighbor SIPs that accompanied this,
EPA has begun an accelerated denial of the efforts of upwind states’ and to implement a new transport
rule and in doing so has taken an approach that is inconsistent with applicable law and appropriate
science. This accelerated effort disenfranchises not only meaningful technical analysis of the agency’s
proposals but also curtails meaningful participation by all stakeholders.

Section 110(c) of the CAA states that “The [EPA] Administrator shall promulgate a Federal
implementation plan at any time within 2 years after the Administrator” if he: (1) finds that a state has
failed to make a required submission or that the state plan submitted “does not satisfy” the minimum
criteria in Section 110(k)(1)(A), or (2) “disapproves a State implementation plan submission in whole or
in part,” unless the State corrects the deficiency and the Administrator approves the correction before
the Administrator promulgates the plan.

In the event of a justified disapproval, EPA then is required to promulgate a Federal Implementation
Plan (“FIP”) within two years unless the State corrects the deficiency before promulgation of the FIP. At
issue in connection with the subject proposed SIP disapprovals are two initial considerations. First, EPA
must offer adequate justification for the proposed disapprovals. As will be discussed extensively in these
comments, EPA has not adequately demonstrated the basis for its actions.

[…]

Again, these comments will illustrate EPA is improperly advancing implementation plan denials, while
threatening with an imminent FIP proposal published in the Federal Register on April 6, 2022.

[…]

The Clean Air Act does not mandate promulgation of a FIP in such an abbreviated time frame. The CAA
allows FIP action any time within 2 years after the Administrator finds that a State has failed to make a
required submission or finds that the plan or plan revision submitted by the State does not satisfy the

                                                                                                        18
        Case: 23-60069         Document: 110          Page: 417       Date Filed: 03/27/2023




minimum criteria or disapproves a state implementation plan submission in whole or in part. The CAA
also specifically provides for the State to be allowed the opportunity to correct any deficiencies. We
urge EPA to revise its proposals to allow States an appropriate opportunity to respond to EPS’s findings
of deficiency.



Commenter: Mississippi Department of Environmental Quality

Commenter ID: 32

Docket ID: EPA-R04-OAR-2021-0841

Comment:

However, EPA did not act on [Mississippi’s] submittal for nearly two and a half years. Now, within one
week of proposing to disapprove the “good neighbor” portion of Mississippi’s 2015 O3 NAAQS iSIP, the
EPA administrator has signed a proposed Federal Implementation Plan (FIP) to impose on the state. The
imposition of the FIP is premature and unnecessary as MDEQ has demonstrated its commitment to
develop and submit an approvable iSIP and has historically strived to meet and exceed its obligations.

[…]

[T]he proposed FIP should not be imposed until MDEQ is given a reasonable opportunity to address the
alleged deficiencies in the iSIP and to resolve the modeling errors referenced herein.

[…]

MDEQ respectfully requests that EPA work collaboratively with MDEQ, allowing appropriate time for the
development and submittal of a revised iSIP, and not impose the proposed FIP on Mississippi, which
would be unnecessarily burdensome to Mississippians.



Commenter: Nevada Division of Environmental Protection

Commenter ID: 33

Docket ID: EPA-R09-OAR-2022-0138

Comment:

EPA failed to act on the Nevada’s iSIP by the 2020 statutory deadline. As of late 2021, despite the long-
standing process for review and prioritization of the SIP backlog (namely the SIP Management Plan) EPA
provided zero communication to NDEP on any significant aspect of the Nevada iSIP review and approval
process nor did EPA provide any substantive feedback on Nevada’s 2018 iSIP submission.

[…]

In contrast to its repeated failure for over 3 years to collaborate with NDEP on review of Nevada’s 2018
iSIP, in less than 6 months:

                                                                                                       19
          Case: 23-60069        Document: 110         Page: 418       Date Filed: 03/27/2023




      -   EPA ran and used results from a new modeling platform unavailable to NDEP at the time of the
          2018 iSIP;
      -   Proposed a new ozone FIP; and
      -   Proposed to disapprove Nevada’s iSIP.

EPA has taken these actions over a very short period without providing meaningful state consultation,
nor providing Nevada the time and resources to consider the new modeling results in the context of the
originally required 2018 iSIP submission.

[…]

NDEP requests that EPA withdraw the Proposed Regulation to provide the opportunity for NDEP to
meaningfully collaborate with EPA on this important effort and to evaluate, and if appropriate, propose
a revision to Nevada’s ISIP to meet our interstate transport obligations for the 2015 ozone NAAQS given
EPA’s decision to primarily rely on the new emissions platform.

NDEP stands by its commitment to continuing to review new air quality monitoring information as it
becomes available to ensure that NDEP’s negative declaration in the 2018 ISIP is still supported, if given
a reasonable opportunity and resources. NDEP request a reasonable opportunity to consider a) the new
information about downwind contribution that is available based on the new modeling platform; b)
potentially consider a demonstration of the appropriateness of a different threshold [EPA recognizes
that NDEP may not have considered analyzing the reasonableness and appropriateness of a larger
threshold of 1% (namely 1 ppb) in the iSIP submittal, because at the time the “State did not contribute
above 1 percent of the NAAQS to a projected downwind non-attainment or maintenance receptor”
(Section III.A of the proposed rule)]; and c) permanent and federally enforceable control strategies to
achieve the emissions reductions determined to be necessary to eliminate downwind contribution.



Commenter: Oklahoma Department of Environmental Quality

Commenter ID: 37

Docket ID: EPA-R06-OAR-2021-0801

Comment:

EPA Should Allow States to Submit Revised SIPs Before Issuing a FIP

Oklahoma maintains its SIP is approvable as submitted. However, EPA should afford states the
opportunity to address aspects of their SIPs that EPA has identified as deficient. EPA states on page 9801
of the proposed disapproval, “Where states submitted SIPs that rely on any such potential ‘flexibilities’
as may have been identified or suggested in the past, the EPA will evaluate whether the state
adequately justified the technical and legal basis for doing so.” Oklahoma notes that few, if any, of the
flexibilities offered by EPA in the 2018 Tsirigotis Memos have been approved when states have
developed SIPs relying on those flexibilities. EPA’s proposed decision to disapprove states’ approaches in
their SIPs warrants the opportunity for states to revise their SIPs to address deficiencies identified by
EPA. Further, where EPA has decided states have failed to meet “the technical and legal basis” for the

                                                                                                        20
        Case: 23-60069           Document: 110           Page: 419        Date Filed: 03/27/2023




flexibilities, the burden shifts and it is incumbent on EPA to more clearly articulate the justification, both
technical and legal, that EPA would find acceptable. Alternatively, it may be the case that EPA finds no
justification that satisfies these criteria. If that is the case, then EPA needs to say so. In any event, states
should be afforded the opportunity to revise their SIPs, ideally before the proposed disapproval is
noticed, but certainly before the disapproval is finalized. Now it appears that EPA is moving forward on a
FIP without providing the states the opportunity to modify their SIPs to accommodate the actual policies
by which EPA will review those SIPs. This is bad policy and undermines the cooperative and collaborative
relationship between states and EPA.

[…]

EPA Failed to Adequately Include State Participation

Oklahoma takes issue with EPA’s “wait and then hurry-up” approach to interstate air pollution transport
rulemaking. The delay in EPA’s evaluation of Oklahoma’s ozone transport SIP in combination with the
extended wait for EPA to develop the FIP, predictably ended up with EPA responding to a court order to
issue a rule in a short time frame with a process that fails to adequately include state participation. To
begin with, the development of the modeling platform should have concluded before EPA used the
platform for this rulemaking. ODEQ and other air quality agencies worked together to develop a letter
from Michael Vince (the Executive Director of the Central States Air Quality Agencies or CenSARA) to
Peter Tsirigotis, dated July 29, 2021 (included as Attachment C hereto). The letter makes the point that,
if air agencies are to be given the opportunity to provide meaningful feedback on the emissions inputs
used by EPA in rulemaking, they should have the opportunity to review and comment on the Emissions
Modeling Platform (EMP) before it is used in federal rulemaking. EPA did allow agencies the opportunity
to review an updated version of the EMP, but the version that was ultimately used to develop the
proposed disapproval of Oklahoma’s ozone transport SIP (and to develop the proposed FIP) had not
been released and did not undergo state review in advance of its deployment in support of EPA’s rule
development.

It should also be noted that EPA’s delay shortens the lead time available to address ongoing
nonattainment and maintenance problems due to upwind contributions.

[…]

Furthermore, it should be noted that the proposed disapproval was considerably late, as Section
110(k)(2) of the CAA states that EPA must take action within 12 months of a "complete" SIP submission.
The maximum amount of time EPA can take to deem a SIP submittal complete is 6 months, therefore,
even accounting for this timeline, EPA's action falls way behind the statutory requirement. Had EPA
reviewed and approved Oklahoma’s SIP submittal during its statutorily required timeframe, EPA would
have been measuring Oklahoma’s SIP submittal against comparable data. Because EPA took so long to
act on SIP submittals, EPA created a situation where the standard under which states developed their
SIPs was no longer the standard against which those SIPs were judged.



Commenter: PacifiCorp


                                                                                                             21
        Case: 23-60069           Document: 110           Page: 420        Date Filed: 03/27/2023




Commenter ID: 38

Docket ID: EPA-R08-OAR-2022-0315

Comment:

EPA’s Proposed Disapproval, and the already-published Proposed FIP, interfere with Utah’s right to
remedy any problems with its SIP.

In failing to observe the appropriate process, EPA has undermined the cooperative federalism
underpinning Section 110 of the CAA. EPA attempts to paper over this role reversal by saying that states
can always prepare a SIP later to replace the Proposed FIP. However, EPA will not approve any proposed
replacement SIP prior to finalizing the Proposed FIP, and the Proposed FIP sets insurmountable
standards for any subsequent SIP revision. The Proposed Disapproval will force Utah sources to begin
compliance efforts almost immediately due to the incredibly tight timeframes in the Proposed FIP. The
tight deadlines for compliance in the Proposed FIP essentially eliminate any reasonable opportunity for
Utah to develop, and EPA to approve, a revised SIP in accordance with EPA’s new approach to interstate
transport, which goes beyond CAA standards.

As long as Utah can submit evidence to show that emission reductions from sources in its boundaries
will not significantly impact the downwind monitors, its SIP satisfies the requirements of the good
neighbor provision, and EPA must approve it. However, in the past, EPA has provided states sufficient
time to make corrections or submit additional clarifications if necessary to achieve the good neighbor
provision via their own SIPs.22 PacifiCorp asks EPA to do the same in this instance. EPA should
acknowledge Utah’s authority and, if necessary, allow Utah time to provide additional evidence for Step
2 and, if necessary, to re-evaluate Steps 3 and 4 of EPA’s four-step methodology. Utah is uniquely
positioned to identify the right mix of requirements for the unique emission sources in its jurisdiction
and to determine how best to align those requirements with other regional regulatory efforts that
target some of the same units and pollutants, like regional haze. EPA’s extended delay in issuing the
Proposed Disapproval should not serve as a pretext for preventing Utah from finalizing an approvable
SIP.
22
  See, e.g., 84 FR 3,389, 3,390 (Feb. 12, 2019) (approving Wyoming’s good neighbor SIP after Wyoming submitted
supplemental information requested by EPA).



Commenter: PacifiCorp (Attachment - Berkshire Hathaway Energy (BHE) Company Comments on
Proposed Ozone Transport Rule)

Commenter ID: 38

Docket ID: EPA-R08-OAR-2022-0315

Comment:

EPA Should Work with Western States to Prepare SIPs that Achieve Necessary Ozone Reductions as Part
of a Just and Orderly Transition.


                                                                                                             22
        Case: 23-60069          Document: 110          Page: 421        Date Filed: 03/27/2023




The western states where BHE operates affected EGUs (Nevada, Wyoming, and Utah) submitted their
good neighbor SIPs to EPA between October 2018 and October 2019, years in advance of EPA’s
Proposed Rule. Each of these SIPs, in reliance upon EPA guidance and modeling, demonstrated that
there were no significant impacts on ozone nonattainment and maintenance in downwind states. Yet
EPA took no action on these SIP submissions for two and a half to three and a half years. It was not until
February 2022, when EPA signed the Proposed Rule imposing a FIP on these states (later publishing it for
public notice and comment on April 6), that these states learned that EPA did not intend to approve
their good neighbor SIPs. EPA did not even propose disapproval for these SIPs until May 23, 2022, a full
month and a half after proposing its FIP. And EPA has yet to finalize disapproval (the proper legal
predicate for a FIP). What’s more, EPA’s disapproval of these SIPs is based on a shift in its thinking in the
years since the SIPs were originally submitted.

[…]

EPA attempts to paper over the role reversal of the Proposed Rule by saying that states can always
prepare a SIP later for EPA approval. However, EPA has not yet finalized disapproval of the Nevada,
Utah, and Wyoming SIPs. In the past, EPA has provided states sufficient time to implement the good
neighbor provision via their own SIPs, even when supplemental information and analysis may have been
required. BHE asks EPA to do the same in this instance. Provisions in the Proposed Rule impose SIP
requirements not found in the CAA and essentially eliminate any reasonable opportunity for states to
make a future SIP submission. BHE encourages EPA to respect the cooperative federalism principles in
the CAA as the right way to achieve the best path forward.

[…]

EPA has now disavowed its prior guidance without allowing states an opportunity to react. In doing so,
EPA has claimed for itself the authority Congress granted to states, not to EPA. EPA attempts to paper
over this role reversal by saying that states can always prepare a SIP later for EPA approval. BHE
supports the opportunity for states to submit their own SIP to replace the proposed FIP, but unless EPA
can approve the SIP prior to finalizing the Proposed Rule, the Proposed Rule will nevertheless force
covered sources to begin compliance efforts almost immediately due to the incredibly tight timeframes
in the rule. The tight deadlines for compliance in the Proposed Rule will essentially eliminate any
reasonable opportunity for states to develop and EPA to approve a SIP in accordance with EPA’s new
approach to interstate transport unless EPA can commit to a more rapid review and approval process
than it has conducted in the past.

For EPA’s recognition of the states’ authority to submit a replacement SIP to have any real meaning, EPA
would need to move at least as quickly in reviewing and approving replacement SIPs as it has moved in
imposing the federal plan contained in the Proposed Rule. In addition, states would need sufficient time
to develop a replacement SIP, which would require the same kinds of complex analyses EPA conducted
to develop the Proposed Rule. In the past, EPA has provided states sufficient time to implement the
good neighbor provision via their own SIPs, and BHE asks EPA to do the same in this instance.

Regardless of timing, EPA should also acknowledge state authority to re-evaluate steps 3 and 4 of EPA’s
four-step methodology by identifying and implementing the measures needed to eliminate what EPA
has defined to be a significant contribution to downwind receptors, rather than requiring states to
                                                                                                          23
        Case: 23-60069          Document: 110          Page: 422        Date Filed: 03/27/2023




demonstrate that their measures, along with federal measures, will achieve reductions commensurate
with installation of SCR on coal-fired EGUs by the 2026 ozone season. States are uniquely positioned to
identify the right mix of requirements for the unique emission sources in their jurisdictions and to
determine how best to align those requirements with other regulatory efforts that target some of the
same units and pollutants, like regional haze. As long as a state can submit modeling to show that
emission reductions from sources in its state will eliminate the downwind impact that EPA has defined
as significant, its SIP should satisfy the requirements of the good neighbor provision and EPA must
approve it.



Commenter: Tennessee Department of Environment and Conservation

Commenter ID: 41

Docket ID: EPA-R04-OAR-2021-0841

Comment:

EPA has put states in an impossible position by waiting to take action on SIP submittals that occurred in
2018 and basing such actions on modeling that has been consistently changing since 2018 and is still
undergoing public comment. EPA quickly followed its proposed iSIP Disapproval with the proposed
Federal Implementation Plan EPA will put in place as it is highly unlikely that states will have the time to
revise their SIPs and resubmit them to EPA for consideration before the final Federal Implementation
Plan will take effect. EPA must respect states' role in creating a compliant SIP.



Commenter: Texas Commission on Environmental Quality

Commenter ID: 42

Docket ID: EPA-R06-OAR-2021-0801

Comment:

The EPA prematurely prepared a proposed FIP before finalizing action on Texas’ timely submitted SIP
revision to address 2015 eight-hour ozone standard interstate transport requirements. Texas submitted
its 2015 Ozone NAAQS Transport SIP Revision to the EPA on August 17, 2018. The EPA had over three
years to review the SIP revision prior to proposing the February 22, 2022, disapproval of the FCAA,
§110(a)(2)(D)(i)(I) interstate transport elements. Further, the EPA has developed a proposed FIP before
the proposed disapproval is final. Under FCAA §110(c)(1), the Administrator shall promulgate a FIP at
any time within two years after the Administrator “disapproves a State Implementation Plan in whole or
in part, unless the State corrects the deficiency, and the Administrator approves the plan or plan
revisions, before the Administrator promulgates such a Federal Implementation Plan.” EPA has not yet
disapproved the Texas transport SIP, and yet has clearly signaled that it intends to include Texas in such
a FIP directly upon finalizing the disapproval action. Although the Supreme Court has recognized that
“disapproval of a SIP, without more, triggers EPA's obligation to issue a FIP” and this action can occur “at
any time” within those two years (EPA v. EME Homer City Generation LP, et. al., 572 US 489, 490 (2014)),
                                                                                                          24
        Case: 23-60069          Document: 110         Page: 423        Date Filed: 03/27/2023




in this instance EPA has not disapproved Texas’ SIP. And unlike the fact pattern in EME Homer, Texas has
not had an opportunity to challenge the EPA’s disapproval of that SIP. Although EPA is under no
obligation to wait two years to issue a FIP, it does have to comply with the congressional scheme. The
disapproval of the SIP triggers EPA’s authority to issue the FIP. In this case, EPA is indeed “altering
Congress’ SIP and FIP schedule.” Id. at 491.

The EPA has conducted extensive work to include Texas in a proposed FIP to address interstate
transport for Texas under the 2015 eight-hour ozone standard before disapproval of Texas SIP. Although
the EPA proposed disapproving the Texas SIP submittal one month prior to the proposed FIP, there has
been no final action on that proposal. Additionally, there was no indication from EPA during the years of
work that went into the development of this FIP that the Texas SIP was inadequate, nor was Texas
afforded any opportunity to correct the deficiencies that EPA believes are present in the SIP. Had the
EPA reviewed the 2015 Ozone NAAQS Transport SIP Revision before developing a proposed FIP, the
purpose of which is to correct deficiencies in such a SIP, Texas would have had the opportunity
contemplated by the FCAA to correct any problems with its SIP in a timely fashion and avoid the
imposition of the FIP.

This is clearly distinguishable from the argument in EME Homer City that was dismissed by the Supreme
Court. The Court said that EPA did not have to give states an opportunity to correct a SIP before issuing
the FIP. Instead, in the present case EPA is stating that they not only can, but "must necessarily be able
to" propose a FIP before taking final action to disapprove a SIP. That was not the holding in EME Homer
City and is inconsistent with the Congress’ SIP and FIP schedule in the FCAA.

[…]

If the EPA had acted on the TCEQ’s SIP submission in a timely manner, the only available data would
have been the EPA’s 2011-base modeling. Therefore, it is arbitrary and unreasonable for the EPA to
evaluate the TCEQ’s submission based upon data that was unavailable to the TCEQ during the
development and submittal of its SIP revision.



Commenter: The Luminant Companies

Commenter ID: 44

Docket ID: EPA-R06-OAR-2021-0801

Comment:

In satisfaction of its obligation under Section 110(a)(2)(D), TCEQ submitted a timely SIP revision
addressing its good neighbor obligation for the 2015 ozone NAAQS on August 17, 2018. A SIP submittal
is deemed complete by operation of law if EPA has not otherwise found the submittal to be insufficient
within six months. Then, EPA has twelve months following a completeness determination to act on that
SIP. Therefore, the Clean Air Act required EPA to approve or disapprove Texas’s SIP no later than
February 17, 2020. Rather than review Texas’s submittal in a timely manner, EPA delayed its action
beyond the statutorily prescribed deadline and developed non-statutory, post-hoc modeling and
analyses by which it now proposes to judge Texas’s submittal.
                                                                                                        25
        Case: 23-60069          Document: 110         Page: 424       Date Filed: 03/27/2023




Commenter: United States Steel Corporation

Commenter ID: 45

Docket ID: EPA-R05-OAR-2022-0006

Comment:

U. S. Steel respectfully notes that in its proposed disapproval, U.S. EPA made some critical errors and,
therefore, we believe that in the spirit of cooperative federalism, that U.S. EPA reconsider the State
submittals and approve the SIP submittals; or if U.S. EPA still finds deficiencies with the SIPs, that the
states be given the opportunity to correct any asserted deficiencies before U.S. EPA proceeds with
promulgating a final rule disapproving the SIPs and issuing a Federal Implementation Plan (FIP). It is
significant to note that Congress contemplated States be given an opportunity to correct deficiencies
with SIPs (before U. S. EPA proceeds with a FIP) when enacting the Clean Air Act. The actions in
disapproving the SIP and proceeding with issuing a FIP (even before the SIP is disapproved) runs afoul of
the process afforded to States and federal cooperative federalism.

[…]

Even if the SIPs Did Not Satisfy EPA Approval Criteria, States Should be Given the Opportunity to
Supplement the SIP Submittal or Otherwise Correct the Asserted Deficiencies Before U.S. EPA finalizes
Disapproval of the SIP and Proceeds with a Federal Implementation Plan

U. S. Steel notes that U.S. EPA’s action in disapproving SIPs that were submitted to U.S. EPA years ago
and now years later is proposing to disapprove the SIPs and not giving the State an opportunity to
supplement the SIP submittal or otherwise correct the asserted deficiencies is inconsistent with
Congress’ intent for the Federal government and States to work collaboratively on ensuring the NAAQS
are maintained.



Commenter: United States Steel Corporation

Commenter ID: 45

Docket ID: EPA-R06-OAR-2021-0801

Comment:

EPA’s Proposal to disapprove Arkansas’s SIP while also promulgating a FIP is not the proper timing of
rulemaking on this issue. EPA not allowing DEQ to submit revisions to the SIP, this action impairs the
state’s ability to make state specific analyses regarding over-reach on controls by EPA. DEQ should be
permitted time to analyze, address and/or correct any deficiencies identified by EPA before finalizing a
FIP. Although EPA might generally have the authority under Section 7410(c)(1)(B) to issue a FIP at any
time prior to the 2-year deadline after disapproval (EME Homer S.Ct., 134 S.Ct. 1584 (2014)),
nevertheless, CAA Section 7410(c)(1) contemplates that a state would be provided time to correct any
deficiency and that EPA has the discretion to allow up to two years for correction of any deficiency.
                                                                                                        26
        Case: 23-60069          Document: 110         Page: 425        Date Filed: 03/27/2023




EPA’s determination about whether a FIP should be promulgated immediately as to a specific state
should be based on a state-specific analysis since a State may bring a particularized, as-applied challenge
to a nationwide or regional transport rule (EME Homer on remand, 795 F.3d 118 (D.C. Cir. 2015). EPA
should not move to finalize the proposed FIP with respect to Arkansas until DEQ has been provided
adequate time to review and respond.



Commenter: Utah Petroleum Association and the Utah Mining Association

Commenter ID: 48

Docket ID: EPA-R08-OAR-2022-0315

Comment:

Utah relied on the guidance in good faith and EPA should honor that in good faith. If EPA persists on
disavowing its still intact guidance, it should at a minimum offer Utah an opportunity to make
corrections and updates to its IT SIP before imposing a FIP.



Commenter: Xcel Energy

Commenter ID: 52

Docket IDs: EPA-R05-OAR-2022-0006

Comment:

Timeframe allowed for state response to SIP Disapproval:

While the Clean Air Act (CAA) allows states up to 2 years from SIP disapproval to issue a response to
EPA, the proposed FIP, with a scheduled final date of December 15, 2022, does not allow for that two-
year commitment period to take place. We believe that Congress provided for that timeline for a reason.
There are cases, such as this one, where is appears there are reasonable technical disagreements that
should be fully evaluated and resolved before EPA moves on to the next step in the process.



Commenter: Xcel Energy

Commenter ID: 52

Docket IDs: EPA-R06-OAR-2021-0801

Comment:

Timeframe allowed for state response to SIP Disapproval:

While the Clean Air Act (CAA) allows states up to 2 years from SIP disapproval to issue a response to
EPA, the proposed FIP, with a scheduled final date of December 15, 2022, does not allow for that two-

                                                                                                        27
        Case: 23-60069         Document: 110         Page: 426       Date Filed: 03/27/2023




year commitment period to take place. Xcel Energy believes that Congress provided for that timeline for
a reason. There are cases, like here, where is appears there are reasonable technical disagreements that
should be fully evaluated and resolved before EPA moves on to the next step in the process.



Response
As a general matter, the EPA disagrees that the EPA is forgoing the process required by statute, or that
the EPA is taking “accelerated action” on interstate transport state implementation plans (SIPs) for the
2015 ozone NAAQS. See Section V.A.1. of the preamble for responses to comments related to the
relationship between timing of proposals to disapprove SIPs and promulgate federal implementation
plans (FIPs), Section V.A.2. of the preamble for responses to comments related to requests for more
time to revise SIP submissions, and Section V.A.3. of the preamble for responses to comments related to
alleged harms to states caused by time between SIP submission and the EPA’s action.

Some commenters argue that the EPA should approve the SIP submissions. However, the EPA disagrees
that the SIP submissions for any state included in this final rule provided an approvable interstate
transport analysis or adequate provisions to eliminate significant contribution or interference with
maintenance. Rather, following review of comments received on the proposed notices and in
consideration of all additional data made available through the notice and comment process, the EPA
finds the SIP submissions covered by this action are deficient to address the statutory requirements of
the Clean Air Act (CAA), as detailed in the proposals and reiterated in this final action. See generally
preamble Section IV.

In response to PacifiCorp’s claim that EPA has historically “provided states sufficient time to make
corrections or submit additional clarifications if necessary to achieve the good neighbor provision via
their own SIPs” which points to the EPA’s approval of Wyoming’s prong 2 good neighbor SIP for the
20188 ozone NAAQS, the EPA notes that the EPA initially disapproved prong 2 of Wyoming’s 2008 ozone
NAAQS good neighbor SIP submission. 82 FR 9153 (February 3, 2017). EPA later approved a subsequent
submission from Wyoming addressing prong 2, which the state submitted on October 17, 2018. 84 FR
3389 (February 12, 2019, signed February 6, 2019). CAA section 110(c)(1) requires EPA to promulgate a
federal implementation plan (FIP) “at any time within 2 years” after disapproving a SIP submission,
unless the State corrects the deficiency, and the EPA approves the plan. In the case of Wyoming for the
2008 ozone NAAQS, the state submitted, and the EPA approved, a SIP, so the EPA did not promulgate a
FIP. While EPA generally seeks to work with states on the development of approvable SIPs, the timing
depends on each situation and is always subject to the procedural requirements and deadlines of CAA
section 110 as well as ensuring the substantive requirements of the Act will be met.

The EPA notes in response to PacifiCorp’s comment that the Agency is not taking final action on
Wyoming’s good neighbor SIP submission for the 2015 ozone NAAQS in this action and also that the EPA
is not using the proposed FIP (87 FR 20036; April 6, 2022) as a benchmark for any state in this final
action.

The EPA notes in response to Xcel’s comment that no consent decree established a deadline for the EPA
to finalize a 2015 ozone NAAQS good neighbor FIP for any state by December 15, 2022.


                                                                                                      28
        Case: 23-60069         Document: 110         Page: 427       Date Filed: 03/27/2023




Other issues raised by these comments are addressed in Sections II.C, III, and V.A.4 of the preamble and
in the following sections: Sections 1.3 (Attachment A to the March 2018 Memorandum), 1.4 (Use of
Updated Modeling), 1.6 (EPA Input During SIP Submission Development), 1.7 (Length of Comment
Period), 4 (Air Quality Modeling), 5 (Updates to Modeling and Changes in Linkages), 9.2 (Over-Control),
10.3 (Cooperative Federalism and the EPA’s Authority), 10.6 (Allegation that Disapprovals of Western
State SIP Submissions was Predetermined), 11.6 (Economic Impacts), and 11.12 (Consent Decrees).



1.2 Guidance for SIP Submissions

Comments


Commenter: Air Pollution Control Program, Missouri Department of Natural Resources

Commenter ID: 01

Docket ID: EPA-R07-OAR-2021-0851

Comment:

[T]he Air Program notes that EPA has not ever provided any guidance on what an appropriate step-3
analysis would entail, which makes any decision where it rejects a step-3 analysis arbitrary and
capricious.

[…]

EPA has offered no guidance to states on developing step-3 demonstrations in their good neighbor SIPs.



Commenter: Arkansas Department of Energy and Environment, Division of Environmental Quality

Commenter ID: 07

Docket ID: EPA-R06-OAR-2021-0801

Comment:

In the Proposed Rule, EPA seeks comment on rescinding recommendations presented to states in EPA’s
March 2018 Memorandum upon which many states relied in their analyses. By changing the rules so late
in the game, EPA has left its partner states with no room for participation in the implementation
process. Ultimately, a state that was unresponsive to obligations set in motion by the 2015 ozone
NAAQS would be in the same position as any other state that submitted a well supported Transport
Plan.



Commenter: Maryland Department of the Environment

                                                                                                      29
        Case: 23-60069         Document: 110          Page: 428       Date Filed: 03/27/2023




Commenter ID: 29

Docket ID: EPA-R03-OAR-2021-0872

Comment:

EPA has not developed any official guidance on the necessary elements or analysis that a state is
required to submit as part of an approvable Good Neighbor SIP. It is unreasonable for EPA to propose to
disapprove Maryland’s 2015 Good Neighbor SIP, in part, on the basis that Maryland did not submit a
“sufficient technical evaluation” that is not defined, mandated, or required.

The Good Neighbor SIP has been a required SIP element since the implementation of the 1997 8- hour
ozone standard. In the intervening 24 years, EPA has issued no official guidance for states to use in
developing an approvable Good Neighbor SIP. It is unclear what standard or criteria EPA uses to
determine approvability. The lack of guidance allows EPA broad latitude to disapprove SIPs for a variety
of reasons and disincentivizes states from submitting a required CAA element. Inevitably, the lack of
guidance creates an uneven playing field between the states.

The only direction EPA has supplied is a March 2018 memorandum entitled Information on the
Interstate Transport Implementation Plan Submissions for the 2015 Ozone National Ambient Air Quality
Standards under Clean Air Act Section 110(a)(2)(D)(i)(I). This memo included an extended discussion on
potential flexibilities in analytical approaches that states could use in developing their Good Neighbor
SIPs. EPA stated:

        …EPA is open to alternative frameworks to address good neighbor obligations or considerations
        outside the four-step process. The purpose of this attachment [Attachment A] is to identify
        potential flexibilities to inform SIP development and seek feedback on these concepts. EPA is not
        at this time making any determination that the ideas considered below are consistent with the
        requirements of the CAA, nor are we specifically recommending states use these approaches.
        Determinations regarding states’ obligations under the good neighbor provision would be made
        through notice-and-comment rulemaking.

The potential flexibilities included nearly 20 alternate analytical approaches for states to use in their
Good Neighbor SIPs. However, as EPA made clear, the document and accompanying flexibilities was not
a final determination on an approvable Good Neighbor SIP structure, and final determinations on any
flexibilities in a state’s SIP would be made through notice-and-comment rulemaking on that submittal.

[…]

The only thing states have to rely on is the four-step framework that EPA uses to assess interstate
transport. EPA has never expounded upon what elements are required to ensure an approvable SIP in
each of the four steps. States are thus left to address each of the four steps as best they can.



Commenter: Midwest Ozone Group

Commenter ID: 30

                                                                                                       30
        Case: 23-60069          Document: 110         Page: 429        Date Filed: 03/27/2023




Docket ID: EPA-R02-OAR-2021-0673, EPA-R03-OAR-2021-0872, EPA-R03-OAR-2021-0873, EPA-R04-OAR-
2021-0841, EPA-R05-OAR-2022-0006, EPA-R06-OAR-2021-0801, EPA-R07-OAR-2021-0851

Comment:

EPA improperly asserts that its three 2015 ozone NAAQS Good Neighbor SIP flexibility guidance
memoranda should no longer be considered applicable to development of the SIPs that are the subject
of its proposed disapprovals.

In 2018, EPA published three guidance documents describing the process by which states could
incorporate various “flexibilities” into their Good Neighbor SIPs. All of the documents were issued by the
USEPA, Director of Office of Air Quality Planning and Standards Peter Tsirigotis.

The March 27, 2018, Tsirigotis memo, styled “Information on Interstate Transport State Implementation
Plan Submissions for the 2015 Ozone National Ambient Air Quality Standards Under Clean Air Act
Section 110(a)(2)(D)(i)(I),” was addressed to EPA Regional Air Directors in all EPA Regions. The memo
states,

        [t]he purpose of this memorandum is to provide information to states and the Environmental
        Protection Agency Regional offices as they develop or review state implementation plans (SIPs)
        that address section 110(a)(2)(D)(i)(I) of Clean Air Act (CAA), also called the "good neighbor"
        provision, as it pertains to the 2015 ozone National Ambient Air Quality Standards (NAAQS).
        Specifically, this memorandum includes EPA's air quality modeling data for ozone for the year
        2023, including newly available contribution modeling results, and a discussion of elements
        previously used to address interstate transport. In addition, the memorandum is accompanied
        by Attachment A, which provides a preliminary list of potential flexibilities in analytical
        approaches for developing a good neighbor SIP that may warrant further discussion between
        EPA and states.

The August 13, 2018, Tsirigotis guidance memo, styled “Analysis of Contribution Thresholds for Use in
Clean Air Act Section 110(a)(2)(D)(i)(I) Interstate Transport State Implementation Plan Submissions for
the 2015 Ozone National Ambient Air Quality Standards,” also was addressed to EPA Regional Air
Directors in all EPA Regions. The memo states,

        “[t]he purpose of this memorandum is to provide analytical information regarding the degree to
        which certain air quality threshold amounts capture the collective amount of upwind
        contribution from upwind states to downwind receptors for the 2015 ozone National Ambient
        Air Quality Standards (NAAQS). It also interprets that information to make recommendations
        about what thresholds may be appropriate for use in state implementation plan (SIP) revisions
        addressing the good neighbor provision for that NAAQS . . . [t]his document does not substitute
        for provisions or regulations of the Clean Air Act (CAA), nor is it a regulation itself. Rather, it
        provides recommendations for states using the included analytical information in developing SIP
        submissions, and for the Environmental Protection Agency (EPA) Regional offices in acting on
        them. Thus, it does not impose binding, enforceable requirements on any party. State air
        agencies retain the discretion to develop good neighbor SIP revisions that differ from this
        guidance.

                                                                                                          31
        Case: 23-60069          Document: 110         Page: 430       Date Filed: 03/27/2023




The October 19, 2018, Tsirigotis guidance memo is titled “Considerations for Identifying Maintenance
Receptors for Use in Clean Air Act Section 11 0(a)(2)(D)(i)(I) Interstate Transport State Implementation
Plan Submissions for the 2015 Ozone National Ambient Air Quality Standards,” also was addressed to
EPA Regional Air Directors in all EPA Regions. As in the first two memoranda, the memo stated,

        [t]he purpose of this memorandum is to present information that states may consider as they
        evaluate the status of monitoring sites that the Environmental Protection Agency (EPA)
        identified as potential maintenance receptors with respect to the 2015 ozone national Ambient
        Air Quality Standards (NAAQS) based on EPA' s 2023 modeling. States may use this information
        when developing state implementation plans (SIPs) for the 2015 ozone AAQS addressing the
        good neighbor provision in Clean Air Act (CAA) section 110(a)(2)(D)(i)(I). In brief this document
        discusses (1) using alternative technical methods for projecting whether future air quality
        warrants identifying monitors as maintenance receptors and (2) considering current monitoring
        data when identifying monitoring sites that although projected to be in attainment as described
        below, should be identified as maintenance receptors because of the risk that they could exceed
        the NAAQS due to yearto-year (i.e., inter-annual) variability in meteorological
        conditions.(emphasis added).

In the ensuing two years and six months since the last guidance document was published, EPA has
known that states might be incorporating the 2018 guidance into Good Neighbor SIP submittals and has
made no public statement saying that it would not honor its guidance. Moreover, all of the subject 19
Good Neighbor SIPs have been pending before the Agency between two and one-half and almost four
years with only one proposed action by EPA – the proposed approval of Iowa’s Good Neighbor SIP that
incorporated the 2018 guidance in a March 2, 2020, proposal at 85 Fed. Reg. 12,232. Now, nearly three
years after the first Tsirigotis memo was published and two and a half years after the last was published,
EPA is attempting to assert that these documents are archival in nature and trying to walk back the
proposed Iowa approval (See 87 Fed. Reg. 9,477, February 22, 2022).

As EPA states in the proposed disapproval notices for Illinois, Indiana, Michigan, Minnesota, Ohio, and
Wisconsin (87 Fed. Reg. 9,838 at 9,841)):

        In the March, August, and October 2018 memoranda, the EPA recognized that states may be
        able to establish alternative approaches to addressing their interstate transport obligations for
        the 2015 8-hour ozone NAAQS that vary from a nationally uniform framework. The EPA
        emphasized in these memoranda, however, that such alternative approaches must be
        technically justified and appropriate considering the facts and circumstances of each state’s
        submittal. In general, the EPA continues to believe that deviation from a nationally consistent
        approach to ozone transport must be substantially justified and have a well-documented
        technical basis that is consistent with relevant case law. Where states submitted SIPs that rely
        on any such potential “flexibilities” as may have been identified or suggested in the past, the
        EPA will evaluate whether the state adequately justified the technical and legal basis for doing
        so.

        EPA notes that certain concepts included in an attachment to the March 2018 memorandum
        require unique consideration, and these ideas do not constitute Agency guidance with respect
        to transport obligations for the 2015 ozone NAAQS. Attachment A to the March 2018
                                                                                                           32
        Case: 23-60069          Document: 110          Page: 431       Date Filed: 03/27/2023




        memorandum identified a “Preliminary List of Potential Flexibilities” that could potentially
        inform SIP development. However, EPA made clear in that Attachment that the list of ideas
        were not suggestions endorsed by the Agency but rather “comments provided in various
        forums” on which the EPA sought “feedback from interested stakeholders.” Further,
        Attachment A stated, “EPA is not at this time making any determination that the ideas discussed
        below are consistent with the requirements of the CAA, nor are we specifically recommending
        that states use these approaches.” Attachment A to the March 2018 memorandum, therefore,
        does not constitute Agency guidance, but was intended to generate further discussion around
        potential approaches to addressing ozone transport among interested stakeholders. To the
        extent states sought to develop or rely on these ideas in support of their SIP submittals, EPA will
        thoroughly review the technical and legal justifications for doing so.

This disavowal of EPA’s guidance this late SIP development process is an arbitrary abuse of authority.
The Administrative Procedures Act allows federal agencies such as EPA to issue guidance without
following rulemaking procedures. 5 U.S.C. § 553. Although Agency guidance is not binding on regulated
parties, such parties are permitted to rely on Agency guidance as the Agency’s public statement of how
it intends to construe the statutes and rules it governs. Perez v. Mortg. Bankers Ass’n, 575 U.S. 92, 96–97
(2015). Indeed, Tsirigotis expressly notes in his 2018 memos that states could rely on the information
provided in the memos, including the “alternative technical methods” authorized by the memos, when
developing their SIPs in compliance with CAA Good Neighbor Provisions.

Once an agency issues guidance to regulated parties, the agency cannot “simply disregard” the
substance of its guidance and rely on “post hoc justifications” when deciding whether regulated parties
have acted in accordance with such guidance. Hoosier Env’t Council v. Nat. Prairie Indiana Farmland
Holdings, LLC, No. 4:19-CV-71 DRL-JEM, 2021 WL 4477152, at **13, 16 (N.D. Ind. Sept. 29, 2021). Doing
so constitutes an arbitrary and capricious action by the agency. Id. at *17. By waiting for years and until
after states complied with EPA’s 2018 guidance to backtrack on the guidance, add a new requirement,
not in the guidance, that alternative methods used by states in their SIPs must be “substantially justified
and have a well-documented technical basis,” and disapprove SIPs on that basis, EPA is engaging in
arbitrary and capricious actions. EPA should alter its position and encourage states to take advantage of
these flexibilities, as appropriate, and to incorporate these guidance flexibilities into their Good
Neighbor SIPs.



Commenter: Midwest Ozone Group

Commenter ID: 30

Docket ID: EPA-R08-OAR-2022-0315, EPA-R09-OAR-2022-0394, EPA-R09-OAR-2022-0138

Comment:

In the ensuing period of time since the last guidance document was published, EPA has known that
states might be incorporating the 2018 guidance into Good Neighbor SIP submittals and has made no
public statement saying that it would not honor its guidance.


                                                                                                         33
        Case: 23-60069          Document: 110          Page: 432       Date Filed: 03/27/2023




Commenter: Ohio Utilities and Generators Group

Commenter ID: 36

Docket ID: EPA-R05-OAR-2022-0006

Comment:

US EPA’s proposed disapproval is inconsistent with its own guidance.



Commenter: Oklahoma Department of Environmental Quality

Commenter ID: 37

Docket ID: EPA-R06-OAR-2021-0801

Comment:

Oklahoma objects to the proposed disapproval. This objection is based on many reasons, generally
including the unfair outcomes for states created by EPA’s refusal to acknowledge and apply in good faith
legitimate guidance memoranda issued by EPA in 2018.

[…]

In 2018, EPA’s Office of Air Quality Planning and Standards Director, Peter Tsirigotis, issued three
memoranda regarding SIP development for interstate transport for the 2015 ozone NAAQS. These
memoranda were held out to states as providing possible guidance for development of ozone transport
SIPs, and states relied on these memos accordingly. Notably, states’ infrastructure SIPs for the 2015
ozone NAAQS, including the transport portion of the SIP, were due to EPA on October 1, 2018. Yet, EPA
issued these memos in March, August, and October of 2018. The October EPA memo was issued after
the deadline for SIP submittal.

[…]

EPA’s failure to recognize its own guidance, and the predicament it has now put states in that face a SIP
disapproval and subsequent FIP, undermines the cooperative nature of the EPA-state relationship.

[…]

EPA has, without explanation, arbitrarily and capriciously changed its policy position through its refusal
to acknowledge the legitimacy of states’ good faith reliance on EPA guidance memoranda.

[…]

During the preparation of its SIP, a state agency cannot move forward unless the flexibilities, design
values, and general guidance offered in the memos may be relied upon



                                                                                                         34
        Case: 23-60069             Document: 110           Page: 433         Date Filed: 03/27/2023




Commenter: PacifiCorp

Commenter ID: 38

Docket ID: EPA-R08-OAR-2022-0315

Comment:

EPA’s rejection of flexibilities identified by its own Guidance is arbitrary and not well founded.

States have wide discretion in determining how to achieve the NAAQS, including their interstate
transport obligations, and EPA cannot force the states to adopt approaches reflecting the Agency’s
policy preferences. A “SIP basically embodies a set of choices . . . that the state must make for itself in
attempting to reach the NAAQS with minimum dislocation.”65 EPA also cannot substitute its own
judgment or a one-size-fits-all approach for that of the states when crafting a SIP, as the courts have
recognized over and over. This is especially true when a state’s SIP relied on guidance put forth by EPA.
65
  Concerned Citizens of Bridesburg v. EPA, 836 F.2d 777, 780–81 (3rd Cir. 1987); see also Com. of Virginia., 108
F.3d at 1410 (CAA Section 110 “does not enable EPA to force particular control measures on the states.”).



Commenter: Texas Commission on Environmental Quality

Commenter ID: 42

Docket ID: EPA-R06-OAR-2021-0801

Comment:

The EPA failed to issue guidance in a timely manner for states to use in developing transport SIP
revisions for the 2015 eight-hour ozone NAAQS. It is unreasonable and arbitrary for the EPA to require
state SIP revisions to include recommendations from memoranda and/or guidance issued after states
have submitted their revisions.

Developing a SIP revision is a years long process that requires complex technical analysis and compliance
with lengthy procedural requirements. Texas timely submitted its 2015 Ozone NAAQS Transport SIP
Revision on August 17, 2018, to meet the October 1, 2018, statutory deadline for states to submit
infrastructure and transport SIP revisions for the 2015 eight-hour ozone NAAQS. Thirty-one days before
the SIP revisions were statutorily required to be submitted, the EPA issued its Analysis of Contribution
Thresholds Memo on August 31, 2018. Eighteen days after this statutory deadline, the EPA further
issued its Considerations for Identifying Maintenance Receptors Memo (Maintenance Receptor
Guidance) on October 18, 2018. It is unreasonable and arbitrary for the EPA to expect, much less
require, that states comply with the recommendations in these guidance documents that were issued
either mere days before the deadline or after the deadline considering that SIP revisions are complex
and time consuming endeavors.

Texas’ transport SIP revision was developed prior to these late issued EPA memos. Texas reasonably
relied on EPA’s September 13, 2013, guidance on development and submission of infrastructure SIPs

                                                                                                                   35
        Case: 23-60069          Document: 110         Page: 434        Date Filed: 03/27/2023




since that was the only formal guidance available at the time to assist Texas in development of its SIP
revision in order to meet the statutory deadline for submittal.

In order to meet statutory deadlines, states do not have the option of waiting for the EPA to provide
updated guidance before proceeding with SIP development, review, and submittal; states must proceed
to develop submittals based on information available at the time. It is unreasonable to expect states to
review and/or incorporate recommendations after a SIP revision has been submitted. As a result of the
EPA’s lack of timely updated transport guidance for the 2015 eight-hour ozone standard, Texas was
forced to expend effort and resources to develop its SIP revision without fully knowing how the EPA
would evaluate Texas’ transport obligation.

The EPA has previously taken the position that failure to timely submit a SIP revision is sufficient reason
for the EPA to issue a FIP. Therefore, states must diligently develop SIP revisions to meet those statutory
deadlines. The EPA’s failure to update its guidance in a timely manner for the development of transport
SIP revisions was arbitrary and unreasonable because states cannot delay and must develop these
revisions with guidance currently available. The EPA’s actions put states in the untenable position of
developing SIP revisions without knowing what the EPA might expect, or simply accepting that EPA will
impose its own requirements in a potential FIP. This is an absurd result of the EPA’s failure to issue
timely guidance.

Finally, guidance documents are non-binding recommendations that have not gone through formal
rulemaking. The EPA has consistently failed to promulgate a rule that would instruct states in how,
exactly, they should evaluate and meet potential transport actions, much less provide such a rule in a
timely fashion that would allow states to meet the statutory requirement to demonstrate they have met
their transport obligations within three years of promulgation of a new standard. For example, the EPA
could have included criteria for evaluating transport obligations in the promulgation of the 2015 ozone
NAAQS itself, and yet made no mention of how states should consider or meet transport obligations. In
the absence of either such a rule, or even timely guidance, states such as Texas have tried to meet a
target that the EPA has not defined. Furthermore, if the EPA had proposed and finalized a rule that
specified requirements for transport at the same time that it proposed or even when it finalized the
2015 ozone NAAQS, states would have been able to evaluate such requirements and provide
appropriate feedback to the EPA on any such rule. That is the purpose of the rulemaking process. The
EPA’s failure to provide states this opportunity through the rulemaking process without the threat of an
already proposed FIP continues to circumvent the cooperative federalism structure that Congress
developed in the FCAA.



Commenter: West Virginia Department of Environmental Protection

Commenter ID: 49

Docket ID: EPA-R03-OAR-2021-0873

Comment:



                                                                                                          36
        Case: 23-60069          Document: 110         Page: 435       Date Filed: 03/27/2023




During the three years following DAQ’s SIP submittal and EPA’s failure to timely review it, which
culminated in this proposed disapproval, EPA reevaluated and modified without communication to
states what it considers as acceptable “necessary provisions” to meet the requirements of the 2015
Ozone Good Neighbor SIP. DAQ contends it is impossible for states to predict, much less meet, SIP
requirements which are in constant fluctuation, poorly or not defined, and never acted upon by EPA.

Historically DAQ prepared and assembled state implementation plans per a generally standardized
acceptable structure that included the four-step interstate framework. DAQ utilized this format when it
assembled the WV 2015 Ozone Good Neighbor SIP per the 2018 SIP Interstate Transport Information
Memorandum. EPA’s apparent abandonment of the standard in this disapproval perplexes DAQ and
further underscores EPA’s inability to timely communicate required shifting SIP structure to the states.
This disfunction violates cooperative federalism and lends uncertainty to the states and the regulated
community.



Response
See Section V.A.6. of the preamble for the EPA’s general responses to these comments.

In response to Arkansas Department of Environmental Quality, the EPA clarifies that the EPA took
comment on rescinding the August 2018 Memorandum, and that all states must comply with CAA
section 110(a)(2)(D)(i)(I) for the 2015 ozone NAAQS.

In response to Midwest Ozone Group, the EPA did in fact formally rescind the first proposed approval of
Iowa’s good neighbor SIP submission. 87 FR 9477 (February 22, 2022). The EPA re-proposed and
finalized an approval of Iowa’s good neighbor SIP on an entirely different basis. 87 FR 9477 (February 22,
2022); 87 FR 22463 (April 15, 2022). This was explained at proposal. See, e.g., 87 FR 9498, 9509
(February 22, 2022). Midwest Ozone Group is incorrect about the number of actions the EPA has taken
through April 2022 on good neighbor SIP submissions for the 2015 ozone NAAQS; the EPA also approved
23 good neighbor SIP submissions through that time, which is detailed in Section V.A.1 of the preamble.

Other issues raised by these comments are addressed in Sections II.D., V.B.2., V.B.3. and V.B.7. of the
preamble and the following sections: Sections 1.4 (Use of Updated Modeling), 5 (Updates to Modeling
and Changes in Linkages), 6.4 (October 2018 Memorandum), 7.4 (August 2018 Memorandum), 8.1
(Determination of Significant Contribution), 10.2 (SIP Call), and 10.3 (Cooperative Federalism and the
EPA’s Authority).



1.3 Attachment A to the March 2018 Memorandum

Comments


Commenter: Eagle Materials Inc.

Commenter ID: 16

                                                                                                          37
        Case: 23-60069          Document: 110          Page: 436       Date Filed: 03/27/2023




Docket ID: EPA-R09-OAR-2022-0138

Comment:

States Have Significant Discretion to Determine Measures Needed to Fulfill Their Interstate Transport
Obligations.

Section 110(a)(2)(D)(i)(I) of the CAA requires states to address interstate transport by preparing SIPs that
“contain adequate provisions prohibiting . . . any source or other type of emissions activity within the
State from emitting any air pollutant in amounts which will contribute significantly to nonattainment in,
or interfere with maintenance by, any other State with respect to any such national primary or
secondary ambient air quality standard.” This language leaves substantial discretion to the states in
determining both their significant contributions and the reduction measures necessary to eliminate
them.

EPA has recognized, in guidance, that states have discretion to apply their own analyses to both assess
and address their interstate transport obligations—in its March 2018 Guidance, EPA explicitly noted that
“in developing their own rules, states have flexibility to follow the familiar four-step transport
framework (using EPA's analytical approach or somewhat different analytical approaches within these
steps) or alternative frameworks, so long as their chosen approach has adequate technical justification
and is consistent with the requirements of the CAA.” EPA also evaluated certain flexibilities proposed by
states and other stakeholders, consistent with EPA’s “guiding principle” of “supporting states’ position
as ‘first actors’ in developing SIPs that address section 110(a)(2)(D) of the CAA.” While EPA emphasized
that it was not concluding that the particular flexibilities assessed were consistent with the
requirements of the CAA, these flexibilities demonstrate the broad range of analyses states can conduct
that can fulfill interstate transport obligations. Further, EPA recognized broad state flexibility in its
Proposed Disapproval, noting that “EPA has not prescribed to states any specific methodology for
developing SIP submissions.”

In performing its limited oversight role under the CAA, EPA cannot substitute its own judgment for that
of the states, and in particular, cannot “force particular control measures on the states.”



Commenter: Hagerty, Logan

Commenter ID: 22

Docket ID: EPA-R05-OAR-2022-0006

Comment:

One common issue prevented several of the five states from drafting an adequate SIP. The states
sharing this common issue were Illinois, Michigan, and Ohio. The issue was a document titled
“Attachment A to the March 2018 Memorandum.” The states erroneously used this EPA-provided
memorandum as justification for how their SIPs met the EPA standards. The modeling data within that
memorandum was only intended to “generate further discussion around potential approaches to
addressing ozone transport among interested stakeholders.” The proposed rule also states the

                                                                                                         38
        Case: 23-60069          Document: 110         Page: 437        Date Filed: 03/27/2023




memorandum included a provision that the memorandum was not intended to be a formal
determination in meeting required components of an SIP.

If Attachment A to the March 2018 Memorandum is easily understood to not be agency guidance in
drafting an SIP, there are two explanations as to why Illinois, Michigan, and Ohio committed this large
error. Either (1) state environmental offices recognized this Memorandum was not agency guidance and
intentionally used it to create an invalid SIP, or (2) the state agencies unintentionally used the
Memorandum as guidance owed to a lack of clarity of the part of the EPA. The latter explanation seems
more likely, because all the states who misused the 2018 Memorandum are in EPA Region 5.



Commenter: Idaho Power Company

Commenter ID: 23

Docket ID: EPA-R09-OAR-2022-0138

Comment:

EPA has recognized in guidance that states have discretion to apply their own analyses to both assess
and address their interstate transport obligations—in its March 2018 Guidance, EPA explicitly noted that
“in developing their own rules, states have flexibility to follow the familiar four-step transport
framework (using EPA's analytical approach or somewhat different analytical approaches within these
steps) or alternative frameworks, so long as their chosen approach has adequate technical justification
and is consistent with the requirements of the CAA.”

EPA also evaluated and approved certain flexibilities proposed by states and other stakeholders,
consistent with EPA’s “guiding principle” of “supporting states’ position as ‘first actors’ in developing
SIPs that address section 110(a)(2)(D) of the CAA.” While EPA emphasized that it was not concluding
that the particular flexibilities assessed were consistent with the requirements of the CAA, these
flexibilities demonstrate the broad range of analyses states can conduct that can fulfill interstate
transport obligations. Further, EPA recognized broad state flexibility in its Proposed Disapproval, noting
that “EPA has not prescribed to states any specific methodology for developing SIP submissions.”



Commenter: Oklahoma Department of Environmental Quality

Commenter ID: 37

Docket ID: EPA-R06-OAR-2021-0801

Comment:

As EPA stated in the March 2018 Tsirigotis Memo, the memo was intended to be used not only by
states, but as guidance for the EPA regions, as well. Generally, staff from the states and regions work
together in developing SIP submittals and, accordingly, states provide EPA regional staff with periodic
updates on progress toward SIP submittals. During the development process of Oklahoma’s ozone
transport SIP, Oklahoma discussed with EPA Region 6 its intent to use the flexibilities offered in the
                                                                                                          39
        Case: 23-60069          Document: 110          Page: 438        Date Filed: 03/27/2023




Tsirigotis memos. Therefore, during the final stages of SIP development in 2018, EPA Region 6 was on
notice of Oklahoma’s intent to use the flexibilities offered in the Tsirigotis memos.



Commenter: PacifiCorp

Commenter ID: 38

Docket ID: EPA-R08-OAR-2022-0315

Comment:

EPA published the Flexibility Guidance in 2018 to assist the states with developing their SIPs, and again,
Utah relied on that guidance. The Guidance emphasized that flexibility is allowed when developing a
good neighbor SIP:

        states have flexibility to follow the familiar four-step transport framework (using EPA’s analytical
        approach or somewhat different analytical approaches within these steps) or alternative
        frameworks, so long as their chosen approach has adequate technical justification and is
        consistent with the requirements of the CAA. . . . Over the next few months, EPA will be working
        with states to evaluate potential additional flexibilities for states to consider as they develop
        their good neighbor SIPs for the 2015 ozone NAAQS. Attachment A provides a preliminary list of
        potential flexibilities that may warrant additional discussion. EPA looks forward to discussing
        these and other potential flexibilities with states over the next few months, which will help
        inform states’ development of their good neighbor SIP submittals. [(emphasis added)]

The list of potential flexibilities included “identify[ing] the emissions reductions (if any)” from a
downwind state that could “prevent an identified upwind state from contributing significantly to those
downwind air quality problems” in the Step 3 analysis. The Attachment A flexibilities also included
analyzing the impact of international emissions on the downwind state.

Again, Utah (and numerous other states) followed EPA’s suggestions in the Flexibility Guidance to
consider “the relatively large impact of so-called ‘uncontrollable’ emissions (i.e., international and non-
anthropogenic emissions) and home state emissions at the Colorado receptors, as well as emissions
reductions already achieved as a result of other regulatory programs.” EPA agrees that these factors
were identified in Attachment A to the Flexibility Guidance, and EPA has recognized the flexibility
afforded to states in developing good neighbor provisions in this and other guidance documents.

Nonetheless, EPA rejected Utah’s analysis of each of the flexibilities without informing any of the states
that it had changed course and would not accept the considerations listed in Attachment A. And this
rejection came too late for Utah to make adjustments or provide additional information in response. For
example, Attachment A recommended considering international emissions and “the role of background
ozone levels [to] appropriately account for international transport.” Attachment A also suggested that
“air quality, cost, or emission reduction factors should be weighed differently in areas where
international contributions are relatively high.” Utah analyzed this factor, reasonably determining that
international emissions contributed in excess of 50% of ozone at the subject monitors and that such
“relatively high” international contributions should be considered in Step 3.
                                                                                                          40
        Case: 23-60069          Document: 110         Page: 439       Date Filed: 03/27/2023




But EPA now says the “flexibilities could not be considered by the states,” and specifically states that
international emissions and “other non-anthropogenic” emissions are “irrelevant.” After informing the
states that they could, even should, consider international emissions, EPA now, without warning or
notice, says its guidance is “irrelevant”. Such actions are arbitrary and capricious.

In the Proposed Disapproval, EPA treated the other considerations Utah relied on in the Step 3 analysis
in a similar fashion. Utah considered another “flexibility” from the Flexibility Guidance – the “current
and projected local emissions and whether downwind areas have considered and/or used available
mechanisms for regulatory relief,” and determined that this factor impacted Utah’s good neighbor SIP
analysis. Again, EPA now finds these in-state emissions are not “relevant” for the Denver area
nonattainment receptors. This about face was all the more shocking to Utah because it had worked
closely with EPA throughout developing and submitting what it had been assured was an approvable
SIP. EPA has rejected the use of these “flexibilities” in numerous SIP disapproval actions across the
country, catching state after state by surprise.



Commenter: Utah Division of Air Quality

Commenter ID: 47

Docket ID: EPA-R08-OAR-2022-0315

Comment:

The UDAQ disagrees with EPA’s disapproval of the SIP for the following reasons. First, through
coordination with EPA Region 8, UDAQ developed and submitted what the agency thought to be a fully
approvable SIP that met EPA’s guidance and requirements at the time. The EPA’s change of position at
these late stages of the SIP process wastes the state’s resources and time devoted to this rulemaking.



Commenter: West Virginia Department of Environmental Protection

Commenter ID: 49

Docket ID: EPA-R03-OAR-2021-0873

Comment:

DAQ contends that at the time of submittal the WV 2015 Ozone Good Neighbor SIP contained all
“necessary provisions” as were then currently required by EPA to constitute an approvable SIP. DAQ
utilized the March 27, 2018 EPA memorandum guidance from Office of Air Quality Planning and
Standards (“OAQPS”) Director Peter Tsirigotis titled Information on the Interstate Transport State
Implementation Plan Submissions for the 2015 Ozone National Ambient Air Quality Standards under
Clean Air Act Section 110(a)(2)(D)(i)(I) (“2018 Interstate Transport SIP Information Memorandum” and
included as Appendix C of the SIP) during preparation of the SIP. During the three years following DAQ’s
SIP submittal and EPA’s failure to timely review it, which culminated in this proposed disapproval, EPA


                                                                                                       41
        Case: 23-60069          Document: 110          Page: 440       Date Filed: 03/27/2023




reevaluated and modified without communication to states what it considers as acceptable “necessary
provisions” to meet the requirements of the 2015 Ozone Good Neighbor SIP.



Response
Attachment A to the March 2018 Memorandum is not Agency guidance. See Sections II.D and V.B.2 of
the preamble for the EPA’s general response to these comments.

In response to comments from West Virginia Department of Environmental Protection, the EPA’s
explanation of the deficiencies in West Virginia’s SIP submission were explained at proposal. See 87 FR
9524-9532 (February 22, 2022). In response to PacifiCorp, the EPA’s explanation of the deficiencies in
Nevada’s SIP submission were explained at proposal. See 87 FR 31492-31494 (May 24, 2022).

Other issues raised by these comments are addressed in Section V.C.2. of the preamble and in Sections
1.6 (EPA Input During SIP Submission Development), 4.2 (Model Performance), 5 (Updates to Modeling
and Changes in Linkages), 10.3 (Cooperative Federalism and the EPA’s Authority), and 11.4 (Transport
Policy – Western State Ozone Regulation).



1.4 Use of Updated Modeling

Comments


Commenter: Air Pollution Control Program, Missouri Department of Natural Resources

Commenter ID: 01

Docket ID: EPA-R07-OAR-2021-0851

Comment:

The Air Program notes that EPA’s proposed disapproval goes on to point out that the updated modeling
has identified four additional receptors (all in the Lake Michigan area) that Missouri is now linked to.
These receptors were not identified as linked receptors in the previous modeling relied upon in our SIP
submission. EPA uses this as further evidence to justify their proposed disapproval. This sleight-of-hand
move by EPA is a direct attack on Missouri’s right to develop its own SIP. If EPA is going to move the
target more than two years after the submission is made and use that tactic to justify its action, then a
proposed disapproval cannot be the appropriate action. […] Such action would instead favor stripping
states of their rights and imposing hundreds of millions of dollars in compliance costs without adequate
justification or the opportunity for states to update and retain control over their SIP. For these reasons,
EPA must withdraw the proposed disapproval and take action to approve Missouri’s submission.



Commenter: Alabama Department of Environmental Management

                                                                                                         42
        Case: 23-60069           Document: 110          Page: 441       Date Filed: 03/27/2023




Commenter ID: 02

Docket ID: EPA-R04-OAR-2021-0841

Comment:

ADEM submitted its 8-hr Ozone iSIP in August 2018, and after that date several rounds of additional
modeling were performed evaluating the impacts of upwind States on predicted future nonattainment
and maintenance monitors, including modeling in both 2021 and 2022 for the 2023 and 2026 future
years. This modeling was based on data that EPA collected, analyzed and published years after
Alabama's submittal. In an effort to quickly provide a SIP based on the newer modeling (February 2022),
ADEM rescinded the 2018 SIP, and presented EPA with a revised SIP, including a Weight of Evidence
(WOE) argument based on the readily available data.

[…]

The revised SIP package was submitted largely because of the impossible task of evaluating the revised
modeling, given the time and resources involved. EPA cannot expect States to evaluate future scenarios
when submitting SIPs, especially when the modeling is performed years after the original SIP submission
is made.

Additionally, it should be noted that the purpose of an iSIP is to verify that the State has the authority to
address the regulations of the Clean Air Act (CAA), not to determine if, and by how much, an upwind
State may impact a downwind monitor. If EPA intended to use updated modeling to assess impacts at
future nonattaining and maintenance receptors, a call for plan revisions should have occurred, allowing
EPA to incorporate and rely on modeling and monitoring data, while providing States the opportunity to
review the data and incorporate any changes, if needed, without the need for a FIP call.

Further, based on the timeline after submittal of the 2018 SIP, EPA did not meet its statutory review
time to determine completeness, which should have taken place in February 2020. Given that the
modeling, which EPA is basing the disapproval on, was not available until February 2022, EPA cannot
hold States to an impossible standard when developing SIPS.



Commenter: Alabama Power Company

Commenter ID: 03

Docket ID: EPA-R04-OAR-2021-0841

Comment:

Notably, EPA’s proposal to rely on recent analysis and data not available to the state either at the time
of its SIP submission or during EPA’s statutory review period is unfair to the state. Just as “[a]gency
actions must be assessed according to the statutes and regulations in effect at the time of the relevant
activity,” EPA’s approval or disapproval of a SIP should adhere to the guidance, data, and evidence
available and on the record at the time of EPA’s timely review of the SIP.18 Under Section 110 of the Act,
EPA has 12 months after its completeness determination to fully or partially approve, disapprove, or

                                                                                                           43
         Case: 23-60069            Document: 110            Page: 442         Date Filed: 03/27/2023




conditionally approve the SIP.19 Taking into account the time EPA is afforded to determine
“completeness” of a SIP submittal, EPA had at most until the end of February 2020 to act on ADEM’s SIP.
The recent modelling EPA has decided to rely on in its current review of Alabama’s 2018 SIP submittal
was not available in February 2020. Nor has it been available for thorough and complete review and
analysis by Alabama. EPA should not disapprove a SIP based on extra-record data not available either to
the state during its development of the SIP nor to EPA during the period statutorily allotted for EPA to
take final action on SIP submissions.20
18
   Texas v. EPA, 829 F.3d 405, 430 (5th Cir. 2016) (citing Caring Hearts Pers. Home Servs., Inc. v. Burwell, No. 14-
3243, 2016 WL 3064870 (10th Cir. May 31, 2016)); see also Wisconsin v. EPA, 938 F.3d 303, 336 (D.C. Cir. 2019)
(suggesting in dicta that the state may attack EPA’s “reliance on data compiled after the SIP action deadline” in
challenging EPA’s disapproval of a SIP (but not if challenging the subsequent FIP)).
19
   42 U.S.C. § 7410(k)(2)
20
   See Sierra Club v. EPA, 356 F.3d 296, 308 (D.C. Cir. 2004) (“To require states to revise completed plans every time
a new model is announced would lead to significant costs and potentially endless delays in the approval process.”).
Where new information arises, and if the criteria applicable to the provision are satisfied, EPA can exercise its
authority under section 7410(k)(5) to ensure SIPs satisfy the Act. This procedure guarantees states the opportunity
to draft SIPs in light of any such new data or analysis, which would not be available if EPA could act on post-record
material to disapprove a SIP.


Commenter: Ameren Missouri

Commenter ID: 05

Docket ID: EPA-R07-OAR-2021-0851

Comment:

USEPA has improperly proposed to disapprove of Missouri's good neighbor SIP based on modeling which
was not in the SIP submittal and was unavailable to Missouri or the public during the development of
the Missouri Good Neighbor SIP.



Commenter: Arkansas Department of Energy and Environment, Division of Environmental Quality

Commenter ID: 07

Docket ID: EPA-R06-OAR-2021-0801

Comment:

Timing of EPA’s Proposed Rule.

EPA had all of the information necessary based on the best available science to approve the interstate
component of the Arkansas Transport SIP submittal when its action was due on November 7, 2020. Yet,
EPA Headquarters “red-lighted” work by the EPA regions on these submittals unless EPA’s 2017
modeling results indicated that a state’s overall contribution to identified nonattainment and
maintenance areas was less than the threshold EPA had previously used to identify linkages for its Cross-
State Air Pollution Rule FIP for the 1997 ozone NAAQS. It is DEQ’s understanding that EPA regions did
                                                                                                                   44
        Case: 23-60069          Document: 110         Page: 443        Date Filed: 03/27/2023




not begin drafting actions on other submittals until after Downwinders at Risk, et al., sued EPA for
failure to act within Clean Air Act time frames.

Had EPA reviewed the SIP in the timeframe required by federal law, the information available at the
time—the same information that states used to inform their decisions—would have ensured that states
did not waste time on robust analyses of available data for the purposes of making sound, evidence-
based decisions. EPA stalled an evaluative action until the perceived “facts” of the situation changed
such that timely state analyses were rendered outdated.

EPA released two “updates” for modeling that were not made available to states in a timeframe
reasonable for inclusion in national program goals or state plans. 2016v1 was made available two years
after state plans were due to EPA, but EPA contends this data is useful for determining design values
and linkages to downwind areas (Step 1 of EPA’s recommended four-step framework for evaluating
interstate transport). EPA’s 2016v2 modeling—which EPA now purports is the measuring rod by which
state plans should be evaluated—was released by EPA to the states at the same time EPA was writing its
proposed disapproval and proposed FIP. EPA thus moved the target on what should be evaluated for
transport SIPs one and one-half years after the AR Transport SIP was deemed complete by EPA and four
years after the SIPs were due.

[…]

EPA proposes to primarily rely on a different modeling platform (EPA’s 2016 v2 modeling12) for its
evaluation of Arkansas’s SIP submittal instead of the modeling data that EPA made available to the
states for development of the Transport SIPs for the 2015 ozone NAAQS (EPA’s March 2018
Memorandum). The EPA’s 2016v2 modeling platform was developed as an update to EPA’s 2016v1
modeling platform. A 2011 modeling platform was used to generate the data provided to states for SIP
development in the March 2018 Memorandum. Among other updates to 2016v2, this platform
incorporated updated emissions data, which represent emissions for the 2016 base year, as well as
projected emissions for the 2023, 2026, and 2032 future years. As ADEQ pointed out in its SIP submittal,
different modeling platforms and inventory assumptions can yield different results. It is no surprise then
that changing the modeling platform may yield different ozone source apportionment results. ADEQ
finds that it is not reasonable for EPA to provide states with modeling data for use in SIP development
only to perform new modeling years later and then tell states that their decision-making, which was
based on the data available to them at the time is flawed.

[…]

If EPA believes insists that it must consider newer data in its review of state Transport SIPs, then DEQ
requests that EPA correct its emissions inventories, rerun the model using the updated 2016v2 platform,
and issue a Notice of Data Availability based on its updated modeling prior to finalizing action on the
Arkansas Transport SIP.

[…]

DEQ expended hundreds of hours of staff time and other resources to perform a robust analysis and
scientifically-based evaluation of the information that was available at the time of SIP development.
EPA’s disapproval moves the target on nonattainment and maintenance receptors that must be
                                                                                                        45
        Case: 23-60069         Document: 110         Page: 444        Date Filed: 03/27/2023




evaluated by primarily relying on data that was not available to the state at the time of SIP development
and was not available when EPA was statutorily required to act on the Arkansas Transport SIP. This
conduct is inconsistent with the cooperative federalism framework for air quality protection under the
Clean Air Act.



Commenter: Association of Electric Companies of Texas, BCCA Appeal Group, Texas Chemical Council
and Texas Oil & Gas Association

Commenter ID: 11

Docket ID: EPA-R06-OAR-2021-0801

Comment:

In the Proposed Disapproval, EPA relied on a new modeling platform that was released years after
Texas’s timely SIP submittal and mere months before EPA proposed to deny Texas’s SIP. Texas and the
public had no notice of the post-statutory period analysis EPA intended to apply to determine whether
to approve the SIP and now has no opportunity to evaluate EPA’s new platform and associated
analytical framework. In fact, the modeling files supporting EPA’s new analysis were provided just days
before the comment deadline on this action.

EPA’s new modeling, which EPA used in an attempt to quantify Texas’s “significant contribution,” is not
a lawful basis for disapproving Texas’s SIP. Before finalizing its disapproval, EPA should provide Texas
stakeholders an opportunity to evaluate the new modeling platform. The CAA grants states the primary
authority to implement the NAAQS and allows EPA to step in only where the state has failed in its duty.
Here, Texas did not fail in its duty. TCEQ relied on the most current information available to it at the
time the SIP was drafted and timely submitted a complete SIP meeting the CAA’s requirements and EPA
should judge the SIP solely on that basis.



Commenter: Cleco Corporate Holdings LLC

Commenter ID: 14

Docket ID: EPA-R06-OAR-2021-0801

Comment:

The Agency reviewed the Louisiana SIP, for which LDEQ relied on modeling data found in the March 27,
2018 guidance memorandum (March 27, 2018, Information on the Interstate Transport State
Implementation Plan Submissions for the 2015 Ozone National Ambient Air Quality Standards under
Clean Air Act Section (D)(i)(I)), and used the 2016v2 emissions platform to evaluate the Louisiana SIP.
The Technical Support Document for 2016v2 was not made available until 2022 which was after the
Louisiana SIP submittal. In addition, EPA relied on the air quality modeling performed using CAMx
version 7.10, which was released in January 2021. This release also took place after the Louisiana SIP
was submitted.

                                                                                                       46
        Case: 23-60069          Document: 110         Page: 445        Date Filed: 03/27/2023




Although EPA is issuing an invitation in the Proposal for public comment on the updated 2023 modeling,
which uses the 2016v2 emissions platform, EPA should not rely on modeling and data that was not
available at the time of the SIP submittal deadline and has not been updated based on public comment.
Instead, EPA should evaluate the Louisiana SIP based on the modeling data referred to in the March 27,
2018 memorandum (March 27, 2018, Information on the Interstate Transport State Implementation Plan
Submissions for the 2015 Ozone National Ambient Air Quality Standards under Clean Air Act Section
(D)(i)(l)) and subsequent 2018 guidance documents. At least, EPA should incorporate needed revisions
to the 2016v2 modeling platform based on comments provided by the states and other stakeholders as
provided in this docket and then re-analyze the Louisiana SIP based on the updated/corrected modeling
platform before issuing a final rule on the Louisiana SIP.



Commenter: Eagle Materials Inc.

Commenter ID: 16

Docket ID: EPA-R09-OAR-2022-0138

Comment:

Nevada adopted a broad and intentionally overinclusive approach to assessing its interstate transport
obligations, using EPA’s latest contribution modeling, released just months prior in March 2018, “to
identify and quantify contributions greater than 0.5 percent of the 2015 ozone NAAQS resulting from
Nevada’s anthropogenic emissions” for further analysis. [. . .] Nevada relied on EPA’s modeling,
emphasizing that “[a]lthough models can always be refined and there may be differences in certain
approaches to technical issues as the NDEP has commented, it is the NDEP’s position that the USEPA’s
modeling is state-of-the-science given the USEPA’s constraints.”

Nevada reviewed its contributions to receptors in California and Colorado under this framework,
considering relative intrastate contributions and overall interstate contributions. Based on this extensive
analysis, Nevada determined that “the contribution of 2023 base case anthropogenic NOx and VOC
emissions from sources within Nevada to any projected 2023 nonattainment or maintenance receptor at
greater than 0.5 percent of the NAAQS is limited to two states, California and Colorado.” However, for
each of these receptors, “Nevada’s contribution… [was] less than one percent of the 2015 ozone
NAAQS,” meaning that under EPA’s own analytical approach, Nevada was not linked to downwind air
quality problems and that no further reductions measures were necessary.

Despite Nevada’s highly conservative assessment of its interstate transport obligations, EPA’s Proposed
Disapproval nevertheless concludes, based on new air quality modeling using the 2016v2 emissions
platform, that Nevada is now linked to 2 receptors in Utah. Nevada’s contribution to these receptors is
between 0.86 ppb and 0.89 ppb, which falls below the 1 ppb linkage threshold determined by Nevada to
be more appropriate for Western states, where “interstate contributions… are relatively small,
especially given the large contributions from background and intrastate emissions.” EPA unreasonably
imposes its own analysis in evaluating Nevada’s SIP, rather than determining whether Nevada’s analysis
was reasonable.


                                                                                                        47
        Case: 23-60069         Document: 110         Page: 446       Date Filed: 03/27/2023




Further, EPA’s analysis relies on modeling that was not available until 3 years after Nevada was required
to submit its SIP revision in response to EPA’s revision to the ozone NAAQS on October 1, 2015. Under
the CAA, states are required to submit revised SIPs within 3 years after EPA revises the NAAQS. Nevada
met this 3-year deadline by submitting its revised SIP on October 1, 2018, relying on modeling that EPA
released just 6 months prior. Nevada specifically determined that EPA’s data represented the “best
available data with which to conduct Nevada’s transport analysis,” which EPA does not dispute in its
Proposed Disapproval. Rather, EPA asserts that “[b]y using the updated modeling results, the EPA is
using the most current and technically appropriate information for this proposed rulemaking.” However,
EPA fails to consider whether Nevada’s analysis using the best available data at the time was reasonable
and fails to even acknowledge the substantial change imposed by EPA’s new modeling, increasing
Nevada’s contribution to Utah receptors from under 0.5% of the NAAQS to above EPA’s 1% threshold.



Commenter: Environmental Federation of Oklahoma

Commenter ID: 20

Docket ID: EPA-R06-OAR-2021-0801

Comment:

In particular, EFO supports DEQ’s assessment that EPA has overstepped its authority by circumventing
the normal SIP development and approval process in a number of ways, including but not limited to: …
fourth, relying on data not available to the state for either review or use.



Commenter: Evergy, Inc.

Commenter ID: 21

Docket ID: EPA-R07-OAR-2021-0851

Comment:

EPA’s updated modeling for Missouri identified four new receptors near Lake Michigan. This comes two
years after the Missouri Department of Natural Resources (MDNR) Public submitted the Missouri SIP.



Commenter: Kentucky Division for Air Quality

Commenter ID: 25

Docket ID: EPA-R04-OAR-2021-0841

Comment:

EPA’s Use of Revised Modeling Data Not Available to States prior to Deadline for 2015 Infrastructure
Submittal

                                                                                                       48
        Case: 23-60069         Document: 110         Page: 447        Date Filed: 03/27/2023




At the time of Kentucky’s final 2015 Ozone I-SIP submittal, there were several guidance documents from
EPA as well as modeling data available to review and use for the Interstate Transport demonstration.
Specifically, two memos from EPA’s Office of Air Quality Planning and Standards (OAQPS), dated March
27, 2018, and August 31, 2018, were available. Additionally, EPA provided updated modeling
information with the March 27, 2018 memo for states to consider in developing their Interstate
Transport SIPs. Kentucky used the information provided in EPA’s March 27, 2018 memo and associated
modeling, and the recommended 1 part per billion (ppb) threshold from the August 31, 2018 memo to
evaluate the impacts that Kentucky emissions may have on downwind monitors.

In the current action, EPA has proposed disapproval of Kentucky’s Interstate Transport requirements of
the I-SIP submittal based on a second version of newly modeled data that was not made available to
Kentucky until well past the statutory deadline for Kentucky’s I-SIP submittal and EPA’s action regarding
that submittal. Specifically, EPA states, “EPA must act on SIP submittals using the information available
at the time it takes such action.” In the spirit of cooperative federalism, Kentucky would appreciate and
expect the opportunity to submit a revised SIP in accordance with the revised data and modeling, rather
than having the SIP disapproved after the fact.

Identification of newly impacted monitors without opportunity for States to review and develop an
appropriate SIP submittal

EPA is taking action to disapprove the remaining Interstate Transport portion of Kentucky’s SIP submittal
using newly updated data, specifically the 2016v2 platform, which was not available at the time of
Kentucky’s I-SIP submittal. Additionally, the monitors previously linked as being impacted by Kentucky
have changed with the newly available data. Kentucky was not afforded the opportunity to evaluate the
potential linkages or provide additional information regarding these potential linkages. Specifically,
using the 2016v2 platform, EPA has identified the Bucks County, PA monitor and the New Haven, CT
monitor as linked to Kentucky in using the newly updated data. The Bucks County, MD monitor was not
listed as either a nonattainment or maintenance monitor in the modeling data provided with the March
2018 memo. As such, Kentucky was not afforded the opportunity to evaluate the potential impact of
emissions for either area prior to submitting the 2015 Ozone I-SIP. An opportunity to submit a revised
SIP would provide Kentucky with the ability to review the 2016v2 platform, as well as the data and
modeling associated with the platform.



Commenter: Louisiana Chemical Association

Commenter ID: 26

Docket ID: EPA-R06-OAR-2021-0801

Comment:

EPA failed to act on the Louisiana Transport SIP timely, which led to LDEQ and the EPA performing the
required analysis under differing modeling data sets.

Pursuant to CAA §110(k), SIP submissions are deemed complete by operation of law six months after
receipt by EPA. Thus, the Louisiana Transport SIP was deemed complete by operation of law on May 19,
                                                                                                        49
        Case: 23-60069         Document: 110          Page: 448       Date Filed: 03/27/2023




2020. EPA must approve or disapprove, in whole or in a part, SIP submissions within 12 months of the
SIP submissions being deemed complete. CAA §110(k)(2). Thus EPA was required to act on the Louisiana
Transport SIP by May 19, 2021. EPA did not publish its proposed disapproval of the Louisiana Transport
SIP until February 22, 2022, nearly a year after it was due. [footnote: EPA entered into a consent decree
in the case of Downwinders at Risk et al. v. Regan, No. 21-cv-03551 (N.D. Cal), which required EPA to
issue proposed rules to act on a number of pending 2015 ozone NAAQS interstate transport SIP
submissions, including Louisiana’s, by April 30, 2022. Under that consent decree, EPA agreed to take
final action by December 15, 2022. The Consent Decree became effective upon by the Court on January
12, 2022.]. The deadlines in the CAA were purposefully enacted by Congress to prevent the exact
situation that has arisen here – state reliance on current data and guidance being reviewed by an EPA
that later has changed information, guidance, or methods.

The Louisiana Transport SIP relies on the 2023 modeling data released in the October 2017 Guidance
and presented in the March 27, 2018 guidance document entitled: Information on the Interstate
Transport State Implementation Plan Submissions for the 2015 Ozone National Ambient Air Quality
Standards under Clean Air Act Section (D)(i)(I) (“2015 Ozone NAAQS Memo”). The EPA issued two more
guidance documents, the August 2018 and October 2018 Guidance, which provide additional
information to states developing interstate transport SIP submissions for the 2015 Ozone NAAQS.

One month before LDEQ submitted the Louisiana Transport SIP, EPA released an updated modeling
platform using 2016-based emissions. The platform was developed by the National Emissions Inventory
Collaborative. The EPA used the 2016v1 emissions inventory in its subsequent modeling to project
ozone design values and contributions for 2023. Thereafter, the platform was updated as 2016v2. In
addition to reviewing the Louisiana Transport SIP under the March 2018 Guidance, EPA used the 2016v2
emissions platform to evaluate the Louisiana Transport SIP. The Technical Support Document for 2016v2
was not available until 2022. The EPA also relied on the air quality modeling performed using
Comprehensive Air-quality Model with extensions (CAMx) version 7.10, which was released in January
2021, long after the Louisiana Transport SIP was submitted.

LCA supports the use of the most current and technically appropriate information in developing and
reviewing SIP submissions. However, EPA is only now accepting comments on the updated 2023
modeling, which uses the 2016v2 emissions inventory platform. It is not reasonable for EPA to rely on
modeling and data that (i) was not available at the time of the SIP submittal deadline and (ii) has not
been updated based on public comment. EPA must evaluate the Louisiana Transport SIP based on the
modeling data referred to in the 2015 Ozone NAAQS Memo and subsequent guidance documents. At a
minimum, EPA must incorporate needed revisions to the 2016v2 modeling platform based on comments
provided by the states and other stakeholders as provided in this docket and then re-analyze the
Louisiana Transport SIP based on the updated/corrected modeling platform before issuing a final rule on
the Louisiana Transport SIP.



Commenter: Louisiana Department of Environmental Quality

Commenter ID: 27

Docket ID: EPA-R06-OAR-2021-0801
                                                                                                       50
        Case: 23-60069           Document: 110          Page: 449        Date Filed: 03/27/2023




Comment:

LDEQ submitted the mandatory 2015 ozone transport SIP on Nov. 12, 2019, based on EPA’s Model
2016v1. However, EPA unjustly and prejudicially based the disapproval on the updated version, 2016v2,
which includes refinements that have not been peer reviewed. Furthermore, this modeling was
performed after the SIP deadline.

Significant differences are present in EPA’s modeling used for LDEQ’s 2019 submittal and the modeling
used to theorize the disapproval proposal. This points to substantial alterations to model inputs
parameters. States were not allowed to review or comment on the newer model and or inputs prior to
use in the disapproval process.



Commenter: Midwest Ozone Group

Commenter ID: 30

Docket ID: EPA-R02-OAR-2021-0673, EPA-R03-OAR-2021-0872, EPA-R03-OAR-2021-0873, EPA-R04-OAR-
2021-0841, EPA-R05-OAR-2022-0006, EPA-R06-OAR-2021-0801, EPA-R07-OAR-2021-0851, EPA-R08-
OAR-2022-0315, EPA-R09-OAR-2022-0394, EPA-R09-OAR-2022-0138

Comment:

EPA’s intention to revise its emission inventory and to conduct new air quality modeling without
allowing an appropriate opportunity for stakeholder review and comment is inappropriate

EPA notes in the proposed disapprovals that, after the modeling it conducted in support of earlier
transport rules, e.g., CAIR, CSAPR, CSAPR Update, CSAPR Closeout, and Revised CSAPR Update, the
agency revised the emission inventory used in the modeling to assess the efficacy of prior transport
rules. EPA conducted new modeling using the revised inventory. The agency describes the process as
follows:

        Following the Revised CSAPR Update final rule, the EPA made further updates to the 2016
        emissions platform to include mobile emissions from the EPA’s Motor Vehicle Emission
        Simulator MOVES3 model 17 and updated emissions projections for electric generating units
        (EGUs) that reflect the emissions reductions from the Revised CSAPR Update, recent information
        on plant closures, and other sector trends. The construct of the updated emissions platform,
        2016v2, is described in the emissions modeling technical support document (TSD) for this
        proposed rule. (emphasis added).

In December 2021, MOG and other stakeholders submitted detailed comments on the 2016v2 emission
inventory platform in an effort to correct errors that existed in that platform. EPA’s efforts to revise this
emission inventory platform at this time raises the question about whether EPA intends to update the
modeling that has been used as the basis for the SIP disapprovals and the proposed FIP - but only in
support of the final rule.

While MOG urges EPA to rely on modeling that accurately reflects current on-the-books regulatory
requirements and up-to-date emission inventories, we strenuously object to the possibility that EPA
                                                                                                           51
       Case: 23-60069          Document: 110        Page: 450       Date Filed: 03/27/2023




would conduct any such additional modeling to support a final rule and not provide the opportunity for
that data to be reviewed, analyzed and commented on in advance of any final decision on the subject
SIP disapproval (or for that matter the related proposed FIP). These concerns were also expressed
earlier, in July 2021, by several MJOs (Westar, LADCO, SESARM, MARAMA, and CENSARA).



Commenter: Minnesota Pollution Control Agency

Commenter ID: 31

Docket ID: EPA-R05-OAR-2022-0006

Comment:

EPA’s proposed disapproval of Minnesota’s 2015 Ozone Transport SIP does not assess the quality of
Minnesota’s original submittal. Minnesota was identified as a non-significant contributor (below 0.7
parts per billion) to any ozone monitors in the 2018 modeling performed by both EPA and Lake Michigan
Air Directors Consortium (LADCO). Minnesota did not complete steps three or four of the 2015 Ozone
Transport SIP based on that information. Minnesota’s original submittal should have been approved
based on contribution information available from both EPA and LADCO at that time.

EPA is now proposing to use a revised 2016 modeling platform, EPA 2016 version 2 emissions modeling
platform (2016v2 EMP) to support a remedy for the Interstate Transport Rule for the 2015 Ozone
National Ambient Air Quality Standard (NAAQS).



Commenter: Maryland Department of the Environment

Commenter ID: 29

Docket ID: EPA-R03-OAR-2021-0872

Comment:

Additionally, MDE has been disadvantaged by EPA’s delay in acting to approve or disapprove its 2015
Good Neighbor SIP, which was submitted to EPA on October 16, 2019. EPA published its proposed
disapproval on February 22, 2022, and relied in part on “newer, updated modeling performed by the
EPA which was not available when MDE submitted its supplemental SIP.” By delaying its decision on
Maryland’s submittal for nearly 2.5 years, EPA moved the goal post for Maryland—an act the DC Circuit
admonished in New York v. EPA, 964 F.3d 1214, 1223 (D.C. Cir. 2020). While MDE agrees that EPA should
use current data and look toward the next applicable attainment date when approving SIPs or issuing
FIPs, an over 2-year gap between submittal and approval allows for newer technology to be developed
and relied upon, with no notice to states. If EPA were to review and approve or disapprove SIPs within
the timeframes required by the CAA, EPA would likely conduct its review based on the same modeling
and data that is available at the time SIPs are submitted by states. This would not only provide clear
parameters to both EPA and states, but could also result in timely emissions reductions and attainment
of the 2015 ozone NAAQS.

                                                                                                     52
        Case: 23-60069         Document: 110         Page: 451       Date Filed: 03/27/2023




Commenter: Nevada Division of Environmental Protection

Commenter ID: 33

Docket ID: EPA-R09-OAR-2022-0138

Comment:

EPA then suddenly released a new modeling platform for ozone interstate transport in October 2021,
and then failed to provide or allow states such as Nevada adequate time, resources, and technical
support to critically review the model. Instead, EPA abruptly announced that is expected “to use this
information in upcoming rulemaking actions, including ozone transport actions” and did not provide
NDEP time to check critical model inputs, such as background contributions and emissions from the
transportation sector.



Commenter: Oklahoma Department of Environmental Quality

Commenter ID: 37

Docket ID: EPA-R06-OAR-2021-0801

Comment:

EPA Has Unpredictably Changed the Rules Mid-Process

The proposed disapproval dismisses ODEQ’s analysis regarding the six monitors that established the
initial linkage between Oklahoma and downwind nonattainment and maintenance problems. 87 Fed.
Reg. 9818. In accord with the flexibilities offered in the 2018 Tsirigotis memos, the Oklahoma SIP
demonstrated that Oklahoma emissions had impacts below the significance threshold at three of the
monitors. Oklahoma’s SIP included a weight-of-evidence prediction that the remaining three receptors
would be in attainment in 2023. In fact, EPA’s more recent modeling confirms the accuracy of that
prediction for two of these receptors. However, in the proposed disapproval EPA now argues
Oklahoma’s emissions are linked to only two monitors, one of which is completely different than any
originally identified.

Notably, ODEQ relied on EPA’s modeling released with its March 2018 Memo to identify the initial six
impacted receptors in step 1 of the 4-step framework. Yet, in a surprising development, EPA moved the
goal posts by using completely different modeling for its decision to disapprove Oklahoma’s SIP and
thereby identified a new receptor supposedly impacted by Oklahoma. It stands to reason that, were
Oklahoma to address impacts to those monitors in a SIP modification, it is entirely possible that EPA
would find one or more different monitors to establish the linkage in a future rulemaking. This type of
whiplash decision-making by EPA leaves states unable to predict the outcomes of their efforts— or even
where to aim. There should be some basic measure of predictability for where the goal posts stand.

Furthermore, it should be noted that the proposed disapproval was considerably late, as Section
110(k)(2) of the CAA states that EPA must take action within 12 months of a "complete" SIP submission.
                                                                                                    53
         Case: 23-60069         Document: 110          Page: 452     Date Filed: 03/27/2023




The maximum amount of time EPA can take to deem a SIP submittal complete is 6 months, therefore,
even accounting for this timeline, EPA's action falls way behind the statutory requirement. Had EPA
reviewed and approved Oklahoma’s SIP submittal during its statutorily required timeframe, EPA would
have been measuring Oklahoma’s SIP submittal against comparable data. Because EPA took so long to
act on SIP submittals, EPA created a situation where the standard under which states developed their
SIPs was no longer the standard against which those SIPs were judged.

[…]

EPA failed to Adequately Include State Participation

[…] To begin with, the development of the modeling platform should have concluded before EPA used
the platform for this rulemaking. ODEQ and other air quality agencies worked together to develop a
letter from Michael Vince (the Executive Director of the Central States Air Quality Agencies or CenSARA)
to Peter Tsirigotis, dated July 29, 2021 (included as Attachment C hereto). The letter makes the point
that, if air agencies are to be given the opportunity to provide meaningful feedback on the emissions
inputs used by EPA in rulemaking, they should have the opportunity to review and comment on the
Emissions Modeling Platform (EMP) before it is used in federal rulemaking. EPA did allow agencies the
opportunity to review an updated version of the EMP, but the version that was ultimately used to
develop the proposed disapproval of Oklahoma’s ozone transport SIP (and to develop the proposed FIP)
had not been released and did not undergo state review in advance of its deployment in support of
EPA’s rule development.



Commenter: Tennessee Department of Environment and Conservation

Commenter ID: 41

Docket ID: EPA-R04-OAR-2021-0841

Comment:

Comment #1: EPA’s Poorly Timed Model Releases Undermine States’ Abilities to Demonstrate
Compliance with CAA §110(a)(2)(D)

The proposed disapproval discusses EPA’s modeling efforts at some length, and that discussion is
informative regarding the frequency of model updates and the total amount of time required for EPA to
finish its own modeling work—modeling that EPA now indicates states should have been using to
develop their iSIPs.

      1. January 2017- EPA Notice of Data Availability- EPA requested comment on preliminary interstate
         ozone transport data including projected ozone design values and interstate contributions for
         2023 using a 2011 base year platform.
      2. October 2017- EPA issued a memorandum containing updated modeling data “which
         incorporated changes made in response to comments on the [January 2017] NODA.”



                                                                                                      54
         Case: 23-60069         Document: 110          Page: 453       Date Filed: 03/27/2023




      3. March 2018 – EPA issued a new memorandum including newly available contribution modeling
         data for 2023 to assist states in evaluating their impact on potential downwind air quality
         problems for the 2015 8-hour ozone NAAQS

EPA then states that since the release of all the modeling information noted above, and subsequent to
the 2018 submittal of Tennessee’s iSIP, EPA performed updated modeling using a 2016-based emissions
modeling platform (2016v1) to project ozone design values and contributions for 2023. Specifically, on
October 30, 2020, the Notice of Proposed Rulemaking for the Revised CSAPR Update included updated
2023 modeling that used the 2016v1 emissions platform. Following the revised CSAPR update final rule,
EPA states it continued to make updates to the 2016 emission platform, updated emissions projections,
etc. and performed air quality modeling of the 2016v2 emissions using the most recent version of the
Comprehensive Air Quality Modeling with Extensions (CAMx) photochemical modeling version 7.10.

EPA proposes to primarily rely on modeling based on “the updated and newly available” 2016v2
emissions platform in evaluating the state iSIP submission and is, in fact, accepting public comment on
this updated 2023 modeling using the 2016v2 emissions platform at the very same time EPA proposes to
disapprove Tennessee’s ISIP. EPA has spent the greater part of five years revising and updating the
modeling that it now relies upon to disapprove Tennessee’s iSIP. This approach establishes an
impossible standard for states and leaves open the very real possibility that no state will be successful in
developing an iSIP under future standards.

[…]

Comment #3: EPA may not disapprove Tennessee’s Infrastructure SIP based on Prong 2 of CAA
§110(a)(2)(D)(i)(I) because Tennessee satisfied its Good Neighbor obligations in its 2018 iSIP submission.

EPA now proposes to disapprove Tennessee's SIP submission, based on data EPA published in 2021 and
2022 finding that Tennessee is “linked” to a single maintenance receptor in Denton County, Texas. EPA is
suggesting that Tennessee’s 2018 technical analysis was flawed because it failed to consider future data
that were not collected until years after the original submission was made, which would have required
Tennessee to perform Steps 3 and 4. As EPA puts it: “Because the entire technical basis for Tennessee's
submittal is that the State is not linked at Step 2, EPA proposes to disapprove Tennessee's SIP
submission based on EPA's finding that a linkage does exist.”

Nonetheless, EPA now proposes to disapprove Tennessee's SIP submission, based on data EPA published
in 2021 and 2022 finding that Tennessee is “linked” to a single maintenance receptor in Denton County,
Texas. EPA is suggesting that Tennessee’s 2018 technical analysis was flawed because it failed to
consider future data that were not collected until years after the original submission was made, which
would have required Tennessee to perform Steps 3 and 4. As EPA puts it: “Because the entire technical
basis for Tennessee's submittal is that the State is not linked at Step 2, EPA proposes to disapprove
Tennessee's SIP submission based on EPA's finding that a linkage does exist.”

As we noted in Comment #1, EPA’s entire approach and rationale in this proposed disapproval makes it
impossible for any SIPs a state might submit under the 2015 ozone standard or any future NAAQS to
demonstrate compliance with CAA §110(a)(2)(D) because not only must a state consider the evidence
available at the time of submission, but a state must also possess the ability to consider future evidence
that might demonstrate significant contributions to downwind nonattainment or interference with
                                                                                                         55
        Case: 23-60069          Document: 110          Page: 454       Date Filed: 03/27/2023




maintenance in a downwind state. The proposed disapproval of Delaware’s iSIP in the Federal
Implementation Plan Addressing Regional Ozone Transport for the 2015 Ozone National Ambient Air
Quality Standard perfectly illustrates this point. In Section IV.C.1 of the preamble to the proposed rule
(“Correction of EPA’s Determination Regarding Delaware’s SIP Submission and Its Impact on EPA’s FIP
Authority for Delaware”), EPA addresses Delaware’s Good Neighbor obligations as follows:

        In 2020, the EPA approved an infrastructure SIP submission from Delaware for the 2015 ozone
        NAAQS, which in part addressed the good neighbor provision at CAA section 110(a)(2)(D)(i)(I).
        The EPA concluded that, based on the modeling results presented in a 2018 March
        memorandum and using a 2023 analytic year, Delaware's largest impact on any potential
        downwind nonattainment or maintenance receptor was less than 1 percent of the NAAQS. As a
        result, the EPA found that Delaware would not significantly contribute to nonattainment or
        interfere with maintenance in any other state. Therefore, the EPA approved the portion of
        Delaware’s infrastructure SIP that addressed CAA section 110(a)(2)(D)(i)(I) for the 2015 ozone
        NAAQS . . . .

        Subsequent to the release of the modeling data shared in the March 2018 memorandum and
        EPA’s approval of Delaware’s 2015 ozone NAAQS good neighbor SIP submission, the EPA
        performed updated modeling, as described in Section V of this action. The data from this
        updated air quality modeling now show that Delaware is projected to contribute more than 1
        percent of the NAAQS to downwind receptors in Bristol, Pennsylvania, in the 2023 analytic year.
        Therefore, in light of the modeling data, EPA is proposing to find that its approval of
        Delaware’s 2015 ozone NAAQS infrastructure SIP submission, with regard only to the portion
        addressing the good neighbor provision at CAA section 110(a)(2)(D)(i)(I), was in error. Section
        110(k)(6) of the CAA gives the Administrator authority, without any further submission from a
        state, to revise certain prior actions, including actions to approve SIPs, upon determining that
        those actions were in error. The modeling data demonstrate that EPA’s prior conclusion that
        Delaware will not significantly contribute to nonattainment or interfere with maintenance in any
        other state in the 2023 analytic year was incorrect, which means that EPA’s approval of
        Delaware’s good neighbor SIP submission was in error. . . .

        As discussed in greater detail in the sections that follow, the EPA is proposing to determine that
        there are additional emissions reductions that are required for Delaware to satisfy its good
        neighbor obligations for the 2015 ozone NAAQS. The analysis on which the EPA proposes this
        conclusion for Delaware is the same, regionally consistent analytical framework25 on which the
        Agency proposes FIP action for the other states included in this proposal. The Agency recognizes
        that it is possible, based on updated information for the final rule—as applied within a regionally
        consistent analytical framework—that Delaware (or other states for which the EPA proposes
        FIPs in this action) may be found to have no further interstate transport obligation for the 2015
        ozone NAAQS. If such a circumstance were to occur, the EPA anticipates that it would not
        finalize this proposed error correction or may modify the error correction such that the approval
        of Delaware’s portion of the SIP as it relates to its good neighbor obligations may be affirmed.

This structure runs contrary to the principle articulated by the Supreme Court in EPA v. EME Homer City
Generation, L.P. that EPA must work toward an “efficient and equitable solution to the allocation

                                                                                                            56
        Case: 23-60069          Document: 110          Page: 455       Date Filed: 03/27/2023




problem the Good Neighbor Provision requires the Agency to address.” Instead, EPA’s imposition of
such an unworkable approach is a textbook failure to comply with EPA’s obligation to “select from
among reasonable options” under the Chevron framework [footnote: 572 U.S. at 492 (citing United
States v. Mead Corp., 533 U.S. 218, 229 (2001))] and imposes an entirely arbitrary and capricious
standard that states are effectively incapable of following.

The Clean Air Act does not envision nor suggest that states be held to an impossible standard when
developing SIPs. Because EPA has provided no evidence that Tennessee was “linked” to any downwind
states when it submitted its 2018 SIP revision, EPA may not disapprove Tennessee’s Infrastructure SIP
based on Prong 2 of CAA §110(a)(2)(D)(i)(I) and therefore should withdraw its proposed disapproval.

[…]

EPA has put states in an impossible position by waiting to take action on SIP submittals that occurred in
2018 and basing such actions on modeling that has been consistently changing since 2018 and is still
undergoing public comment.



Commenter: The Luminant Companies

Commenter ID: 44

Docket ID: EPA-R06-OAR-2021-0801

Comment:

Rather than review Texas’s submittal in a timely manner, EPA delayed its action beyond the statutorily
prescribed deadline and developed non-statutory, post-hoc modeling and analyses by which it now
proposes to judge Texas’s submittal.

[…]

And EPA cannot consider its post-hoc modeling and analyses that were not available as of its statutory
deadline to act to justify its action.41 Accordingly, EPA must approve Texas’s SIP based on the data
available by the statutory deadline so long as it satisfies the statutory requirements, which it does, as
discussed below.42

[…]

In support of Texas’s SIP, consistent with its expertise, TCEQ conducted modeling to discharge its
statutory duty to ensure its SIP contains adequate provisions to ensure that emissions from Texas will
not “contribute significantly” to downwind nonattainment or maintenance receptors for purposes of the
2015 ozone NAAQS. It was not until after TCEQ developed and proposed its SIP revision, including its
modeling, that EPA issued guidance to states on their development of interstate transport SIP revisions
for the 2015 ozone NAAQS. Nonetheless Texas’s SIP revision was consistent with the guidance EPA had
provided at the time of TCEQ’s submittal. EPA points to modeling it released in 2022, nearly four years
after TCEQ submitted its SIP, to support its proposed disapproval. EPA’s post hoc modeling is not a
lawful ground for disapproval.

                                                                                                            57
        Case: 23-60069             Document: 110           Page: 456         Date Filed: 03/27/2023




[…]
41
   See Wisconsin v. EPA, 938 F.3d 303, 336 (D.C. Cir. 2019) (suggesting that a state may challenge EPA’s “reliance on
data compiled after the SIP action deadline”); see also Sierra Club v. EPA, 356 F.3d 296, 308 (D.C. Cir. 2004) (“To
require states to revise completed plans every time a new model is announced would lead to significant costs and
potentially endless delays in the approval process.”).
42
   If necessary in light of new data, EPA may later issue a SIP call requiring a state to amend its SIP.


Commenter: PacifiCorp

Commenter ID: 38

Docket ID: EPA-R08-OAR-2022-0315

Comment:

When formulating its Interstate Transport Ozone SIP, Utah properly relied on the modeling data
provided by EPA to the states in 2017-18 and the Modeling Guidance1. However, rather than judge
Utah’s SIP by using the same 2017-18 modeling data it had provided, EPA instead chose to analyze a
newer data set that was unavailable to Utah at the time it developed its SIP. Notably, instead of the
2018 Modeling Guidance data, EPA relied on “the Agency’s most recently available modeling (2016v2) to
identify upwind contributions and linkages to downwind air quality problems in 2023.” This is the same
modeling EPA relied on for the Proposed FIP. This reliance is arbitrary because Utah has not been
afforded a meaningful opportunity to review and incorporate the same modeling upon which EPA bases
its decisions.

[…]

EPA should not evaluate Utah by newer modeling data not available when the Utah SIP was submitted.

Notably, EPA’s reliance on recent analysis and data not available to the state at the time of Utah’s SIP
submission and never provided during EPA’s statutory review period is unfair to the state, resulting in an
arbitrary and capricious action. Just as “[a]gency actions must be assessed according to the statutes and
regulations in effect at the time of the relevant activity,”29 EPA’s approval or disapproval of a SIP should
adhere to the guidance, data, and evidence available and on the record at the time of a state’s required
submission of the SIP.

In relation to the Proposed Disapproval, Utah submitted the Utah Ozone Transport SIP to EPA on
January 29, 2020. The SIP submission was determined complete by operation of law. Rather than rely on
the same data and information available to Utah at the time it drafted its SIP, EPA primarily relies “on
modeling based on the updated and newly available 2016v2 emissions platform in evaluating these
submissions with respect to Steps 1 and 2 of the 4-step interstate transport framework.” EPA’s
“updated” modeling wasn’t even released until 2021, a year after Utah submitted its SIP. EPA should not
disapprove a SIP based on extra-record data not available to the State during its development of the SIP.

1
 U.S. Environmental Protection Agency, 2018. Modeling Guidance for Demonstrating Attainment of Air Quality
Goals for Ozone, PM2.5, and Regional Haze, Research Triangle Park, NC.
https://www3.epa.gov/ttn/scram/guidance/guide/O3-PM-RH-Modeling_Guidance-2018.pdf
                                                                                                                  58
            Case: 23-60069            Document: 110         Page: 457   Date Filed: 03/27/2023



29
     See Texas v. EPA, 829 F.3d 405, 430 (5th Cir. 2016).



Commenter: Utah Division of Air Quality

Commenter ID: 47

Docket ID: EPA-R08-OAR-2022-0315

Comment:

[T]he proposed disapproval relies heavily on modeling results that were unavailable to the state during
the development of the SIP.

EPA's Proposed Disapproval Relies on the Modeling Results That Were Unavailable During the SIP
Development

 The EPA indicates that its proposed decision to disapprove Utah’s SIP relies heavily on using the
updated modeling platform 2016v2. The EPA explains that “by using the updated modeling results, the
EPA is using the most current and technically appropriate information for this proposed rulemaking.”
However, as EPA knows, these results were not available to the states during the development and
submittal of the interstate transport SIPs. Because SIP planning is a lengthy process, it is unacceptable
for EPA to use modeling results for their rulemaking that were developed after state SIP preparation. As
with all planning, SIP revisions are a representation of the best available data and modeling at that time.
Using results from a modeling effort that post-dated the states’ SIP development period is an additional
example of EPA changing expectations without issuing appropriate and timely guidance. By relying on
modeling results not available during the time of state SIP development, EPA is setting a precedent that
creates significant uncertainty for any planning effort, further eroding the trust required for effective
state and federal cooperation. This is clearly inconsistent with the cooperative federalism structure of
the CAA.



Commenter: West Virginia Department of Environmental Protection

Commenter ID: 49

Docket ID: EPA-R03-OAR-2021-0873

Comment:

In the WV 2015 Ozone Good Neighbor SIP, DAQ applied independent modeling performed by Alpine
Geophysics utilizing 2023 projected emissions. Alpine modeled at a finer 4-km grid within the
maintenance and nonattainment receptor areas rather than the 12-km grid utilized by EPA. Also, at this
time, the Lake Michigan Air Directors Consortium (“LADCO”) regional planning organization (“RPO”)
performed similar modeling. All three of these efforts modeled remarkably comparable impacts at the
downwind monitor locations. As such, DAQ is further puzzled by EPA’s abandonment of its own
modeling results by this proposed disapproval action.

                                                                                                         59
        Case: 23-60069             Document: 110           Page: 458         Date Filed: 03/27/2023




Response
See Section V.A.4. of the preamble for our general response to comments on the use of updated
modeling to support the EPA’s action. The EPA notes that the EPA is not disapproving any SIP submission
for its choice of modeling. The EPA’s evaluations of each SIP submission were explained at proposal. See,
e.g., 87 FR 9867-9869 (February 22, 2022) (Minnesota); 87 FR 9818-9824 (February 22, 2022)
(Oklahoma); 87 FR 31492-31493 (May 24, 2022) (Nevada); and 87 FR 31477-31483 (May 24, 2022)
(Utah). We respond to several additional specific comments here.

One commenter claimed, “By delaying its decision on Maryland’s submittal for nearly 2.5 years, the EPA
moved the goal post for Maryland—an act the DC Circuit admonished in New York v. EPA, 964 F.3d
1214, 1223 (D.C. Cir. 2020).” First, as explained in the preamble, the timing of the EPA’s action is not
moving the goal posts, nor does availing ourselves of the most recent 2015 ozone transport modeling
and monitoring information do so. Second, New York is inapposite. The court there found fault with the
EPA’s denial of a CAA section 126(b) petition from New York, which had identified many upwind-state
sources with relatively large NOX emissions that the state alleged significantly contributed in violation of
the good neighbor provision. The court found the EPA’s explanation for why the state had not made out
at least a facially plausible showing of significant contribution to be arbitrary and capricious. The court
noted that downwind petitioning states may lack the ability to conduct the kinds of analysis the
Agency’s denial suggested may be required and also found internal inconsistencies in the Agency’s
position during litigation. None of that is relevant here. First, this holding was not about air quality
determinations, but rather Step 3 analysis of source emissions reduction potential. Second, upwind
states are charged by the Act with evaluating, defining, and prohibiting their sources’ significant
contribution. Unlike a downwind jurisdiction, they possess all requisite authority to undertake an
analysis of emissions and emissions reduction potential within their borders. See generally CAA section
110(a)(2). Nor is the Agency obligated to define “significant contribution” for upwind states before
acting on these SIP submissions. See EPA v. EME Homer City, 572 U.S. 489, 508-09 (2014).

APC and PacifiCorp both cite Texas v. EPA, 829 F.3d 405 (5th Cir. 2016) to argue that “EPA’s approval or
disapproval of a SIP should adhere to the guidance, data, and evidence available and on the record at
the time of EPA’s timely review of the SIP.” In Texas, the 5th Circuit granted a preliminary stay of the
EPA’s disapproval of Oklahoma’s and Texas’ regional haze SIP submissions and promulgation of FIPs and
did not reach the merits of either the EPA’s assessment of the SIP submissions’ compliance with the
requirements of the CAA or the FIPs.2 Although the court noted that the EPA proposed amendments to
the regional haze rule subsequent to Texas and Oklahoma submitting regional haze SIP submissions,
that proposal was not relevant to the submissions before the court.3 Moreover, the EPA has not
promulgated any regulations to implement CAA section 110(a)(2)(D)(i)(I). Rather, EPA is applying its

2
 Texas v. EPA, 829 F.3d 405 (5th. Cir. 2016)
3
 See, e.g., Protection of Visibility: Amendments to Requirements for State Plans; Proposed Rule, 81 Fed. Reg.
26941, 26944 (May 4, 2016) (explaining that the proposed “changes would apply to periodic comprehensive state
implementation plans developed for the second and subsequent implementation periods and for progress reports
submitted subsequent to those plans.” And that EPA “[did] not intend for the proposed changes to affect the
development of state plans for the first implementation period or the first progress reports due under the existing
Regional Haze Rule.”)
                                                                                                                 60
        Case: 23-60069         Document: 110         Page: 459       Date Filed: 03/27/2023




longstanding framework for implementing CAA section 110(a)(2)(D)(i)(I) while recognizing and
considering any alternative approaches states presented. EPA further notes that to the extent APC
objects to EPA’s consideration of 2016v2 modeling or the updated 2016v3 modeling (adjusted in
response to public comment on this action), Alabama’s June 21, 2022, SIP submission was submitted
after the EPA made the 2016v2 modeling available and included arguments with respect to that
modeling, which the EPA has evaluated in this final action.

APC, The Luminant Companies, and PacifiCorp quote Sierra Club v. EPA, 356 F.3d 296, 308 (D.C. Cir.
2004): “To require states to revise completed plans every time a new model is announced would lead to
significant costs and potentially endless delays in the approval process.” In that case, Sierra Club
challenged EPA’s conditional approval of Maryland, Virginia, and Washington, D.C.’s attainment plans to
address the Washington, D.C. Metropolitan Area’s “Severe” classification for several reasons. 356 F.3d
at 300. One reason was that the rate-of-progress plans relied on an older emissions model (MOBILE5 as
opposed to the more recent MOBILE6). Id. EPA regulation specifically required states to use the latest
emission model available during the development their rate-of-progress plans for the purposes of
meeting Severe requirements, CAA section 172(c)(3); 40 CFR 51.112(a)(1), but because MOBILE6
became available one month before these SIP submissions were submitted, the EPA accepted the rate-
of-progress plan based on MOBILE5. 356 F.3d at 308. The court agreed it was reasonable for EPA to not
require Maryland, Virginia, and Washington, D.C. to revise their rate-of-progress plans using MOBILE6.
Id. The EPA notes the timing consideration quoted by commenters related to attainment planning in a
Serious nonattainment area. Here, however, the EPA has no regulations that require any state to use
any particular type of model to address statutory requirements under CAA section 110(a)(2)(D)(i)(I), nor
is the EPA disapproving any SIP submission on the basis of its choice of modeling (as compared to EPA’s
evaluation of the results of the modeling). Further, the Sierra Club case does not stand for the
proposition that EPA is prevented from considering the most up-to-date data in assessing whether
upwind states may be potentially significantly contributing to downwind nonattainment or
maintenance.

APC and The Luminant Companies cite Wisconsin v. EPA, 938 F.3d 303, 336 (D.C. Cir. 2019) for the
premise that the EPA’s disapproval of a SIP submission on the basis of “reliance on data compiled after
the SIP action deadline” may be challenged. The EPA acknowledges that Wisconsin noted such was the
States’ argument, but the D.C. Circuit did not opine on the validity of the assertion since it was not
relevant to the court’s evaluation of the CSPAR Update FIP.

A comment specifically pointed to the EPA’s proposed error correction of its approval of Delaware’s SIP
submission (which is a component of the proposed FIP rulemaking published April 6, 2022) to suggest
the EPA had created an unworkable standard for states. The commenter went on to argue that the EPA
must approve Tennessee’s SIP submission based on the information available at the time Tennessee
submitted it to the EPA. However, this argument is illogical. If the EPA were to do that, it would be
treating Delaware and Tennessee dissimilarly. In fact, the proposed error correction for Delaware only
illustrates the futility of commenters’ arguments for using outdated information to approve their SIP
submissions. Had the EPA done that, then just as it proposed for Delaware, the Agency would likely have
simply conducted error corrections of those approvals in light of the updated projections of air quality
and contributions in 2023 that are now available.

                                                                                                      61
           Case: 23-60069           Document: 110           Page: 460        Date Filed: 03/27/2023




Finally, it bears observance that if the EPA’s evaluation of information regarding 2023 projections was
arrested at the time of some deadline in the past or with the issuance of some older set of modeling
results, then the purpose of notice and comment rulemaking would itself be frustrated, because no
matter what arguments commenters could make about more recent or current real-world conditions or
updated projections regarding 2023, the Agency would be forced to ignore them. As an example, the
EPA would be obligated to ignore many of the comments on these proposals providing updates to the
EPA’s emissions inventories, which we have considered in developing the 2016v3 modeling of 2023.

In response to Louisiana Chemical Association, the EPA clarifies that the Agency found Louisiana’s SIP
submission complete on November 15, 2019. In response to Tennessee Department of Environment and
Conservation, the EPA notes that the Agency is deferring final action on Tennessee’s good neighbor SIP
submission at this time. In response to Midwest Ozone Group, the EPA notes that the Agency met with
Multi-Jurisdictional Organizations such as Central States Air Resource Agencies and others in Summer
2021 to discuss the concerns outlined in the July 2021 letter cited in the comment.4 The EPA
subsequently made emissions data available on September 20, 2021, as discussed in more detail in the
preamble in Sections II.C and III.A.1.

Other issues raised by these comments are addressed in the preamble in Sections II.C, II.D, III.A.1., V.A.,
and V.B.2, and V.A.6 , as well as in Section 1.2 (Guidance for SIP Submissions), Section 5 (Updates to
Modeling and Changes in Linkages), 6.1.2 (Step 1 Receptors Linked to Texas), 7.4 (August 2018
Memorandum), 8.1 (Determination of Significant Contribution), 10.2 (SIP Call), and 10.3 (Cooperative
Federalism and the EPA’s Authority).



1.5 States’ Step 3 Analysis

Comments


Commenter: Air Pollution Control Program, Missouri Department of Natural Resources

Commenter ID: 01

Docket ID: EPA-R07-OAR-2021-0851

Comment:

[T]he Air Program notes that EPA has not ever provided any guidance on what an appropriate step-3
analysis would entail, which makes any decision where it rejects a step-3 analysis arbitrary and
capricious. The following paragraphs explain the flaws of EPA’s step-3 analysis that it has proposed in
the FIPs for 26 states, including Missouri.

[…] Further, EPA’s step 3 process completely ignores the real question at hand with the enabling statute,
which ties contribution to an amount which contributes significantly to downwind maintenance or


4
    See “Meeting With States and MJOs on 8-18-2021” in the docket for this action.
                                                                                                          62
        Case: 23-60069             Document: 110           Page: 461         Date Filed: 03/27/2023




nonattainment problems. Instead, EPA completely ignores the statutory contribution issue and instead
is imposing controls that suit federal policy choices regardless of their impact on the downwind
receptors that EPA used as justification for disapproving the SIPs to begin with.

[…]

The mere fact that it appears extremely unreasonable, if not impossible, for many states to attempt to
address their good neighbor obligations through application of step-3 magnifies the overreach of the
federal executive branch in these actions. EPA has offered no guidance to states on developing step-3
demonstrations in their good neighbor SIPs Not a single state has successfully made a step-3
demonstration to avoid a FIP. Every single state that is contributing above the 1 percent threshold
(except for Oregon, as noted previously) is having their SIP disapproved, and the proposed FIP will
control and impose unnegotiable costs on citizens and sources in those states. This shows again that
EPA’s action will strip state energy choices from the states and place them into the hands of EPA if these
disapprovals are held to stand.



Commenter: Arkansas Environmental Federation

Commenter ID: 09

Docket ID: EPA-R06-OAR-2021-0801

Comment:

EPA also cannot substitute its own judgement for that of the state’s in crafting a SIP, as the courts have
recognized.).15 Accordingly, the fact that EPA has consistently applied Step 3 of its 4-Step framework to
identify “significant” emissions contributions for its ozone transport Federal Implementation Plans
(“FIPs”) and “this interpretation of the statute has been upheld by the Supreme Court,” has no bearing
on whether a state’s different choices for its own SIP are approvable under the CAA. In determining
whether a state’s emissions significantly contribute to nonattainment or interfere with maintenance,
EPA explains that “states must complete an analysis similar to the EPA’s. Yet there is no requirement in
the CAA that states must complete an analysis similar to EPA’s nor has EPA attempted to adopt
regulatory standards that purport to define the regulatory requirements for interstate transport SIPS.
The very cases cited by EPA, the Supreme Court and the D.C. Circuit Court of Appeals have ruled that
such plans may not result in controls that reduce emission by more than the amount necessary to
achieve attainment.18
15
   Bridesburg, 836 F.2d at 781 (quoting Train v. Natural Res. Def. Council, Inc., 421 U.S. 60, 79 (1975)) (internal
citations and quotations omitted) (“EPA has limited authority to reject a SIP . . . . The [CAA] gives the Agency no
authority to question the wisdom of a State’s choices of emission limitations if they are part of a plan which
satisfies the standards of [Section 110(a)(2)], and the Agency may devise and promulgate a specific plan of its own
only if a State fails to submit an implementation plan which satisfies those standards.”).
18
   EPA acknowledges that pursuant to EME Homer City decision, it cannot “require [] an upwind state to reduce
emissions by more than the amount necessary to achieve attainment in every downwind state to which it is
linked” for to do so would be “over-control”. 87 Fed. Reg. 200098-99. It further admits that its current modeling
demonstrates weakness in its conclusions regarding Arkansas’ linkages, and calls into question inclusion of non -
EGUs in the state plan. Id. One tenet of EPA proposed disapproval is that Arkansas’ analysis did not include non -
                                                                                                                 63
        Case: 23-60069             Document: 110           Page: 462         Date Filed: 03/27/2023



EGUs (87 Fed. Reg. 9810), yet EPA’s own modeling seems to indicate that the opposite - that to go beyond is in fact
over control. Id. Either way - and without waiver - this confusion regarding modeled results, ever-changing
linkages, and phantom necessity of control, particularly in Arkansas, highlights the unfairness and inefficiency of
EPA’s chosen process for this rule making, its numerous dockets, and the companion rule making proposing to
institute a FIP for Arkansas on the heels of this ill-conceived proposed disapproval.


Commenter: Louisiana Electric Utility Environmental Group

Commenter ID: 28

Docket ID: EPA-R06-OAR-2021-0801

Comment:

EPA also cannot substitute its own judgment for that of the state’s in crafting a SIP, as the courts have
recognized.11 Accordingly, the fact that EPA has consistently applied Step 3 of its 4- Step framework to
identify “significant” emissions contributions for its ozone transport Federal Implementation Plans
(“FIPs”) and “this interpretation of the statute has been upheld by the Supreme Court,” has no bearing
on whether a state’s different choices for its own SIP are approvable under the CAA. In determining
whether a state’s emissions significantly contribute to nonattainment or interfere with maintenance,
EPA explains that “states must complete an analysis similar to the EPA’s (or an alternative approach to
defining “significance” that comports with CAA requirements.)” Yet, there is no requirement in the CAA
that states must complete an analysis similar to EPA’s and EPA has not attempted to adopt regulatory
standards that purport to define the regulatory requirements for interstate transport SIPs.
11
   Bridesburg, 836 F.2d at 781 (quoting Train v. Natural Res. Def. Council, Inc., 421 U.S. 60, 79 (1975)) (internal
citations and quotations omitted) (“EPA has limited authority to reject a SIP . . . . The [CAA] gives the Agency no
authority to question the wisdom of a State’s choices of emission limitations if they are part of a plan which
satisfies the standards of [Section 110(a)(2)], and the Agency may devise and promulgate a specific plan of its own
only if a State fails to submit an implementation plan which satisfies those standards.”).



Commenter: The Luminant Companies

Commenter ID: 44

Docket ID: EPA-R06-OAR-2021-0801

Comment:

EPA proposes to go beyond the actual requirements of the Clean Air Act and evaluate Texas’s SIP
according to new, non-statutory standards. Specifically, EPA proposes to reject TCEQ’s expert modeling
projections of future design values and TCEQ’s quantification and assessment of Texas’s “significant
contribution” in favor of its own modeling. However, EPA’s quantification and assessment of a State’s
“significant contribution” to downwind nonattainment or maintenance issues is not a requirement of
the Act.30 The Clean Air Act does not provide EPA the authority to second-guess TCEQ and disapprove its
SIP simply because TCEQ’s modeling does not match EPA’s modeling or because EPA believes TCEQ’s
modeling “may understate” projected design values or there is “potential underestimation.”31 The
                                                                                                                 64
        Case: 23-60069            Document: 110            Page: 463        Date Filed: 03/27/2023




standard that EPA applies to Texas’s SIP and its supporting technical analysis in the Proposed
Disapproval has no basis in the Clean Air Act. EPA has announced its preference for a “nationally
consistent approach,” but this preference cannot override the clear and settled intent of Congress that
states be permitted to implement different and varying approaches if they choose. Nor can EPA’s policy
goal heighten or alter the standard set out in the Clean Air Act for a state’s SIP submittal such that a
“deviation” from EPA’s preferred approach “must be substantially justified,” as EPA claims. Plainly put,
EPA does not write SIPs. EPA’s competing view of Texas’s contribution or its potential to interfere with
maintenance in downwind States, and EPA’s overconservative methodology for determining these
things, are not requirements of the Act, nor has EPA promulgated regulations addressing this. In fact,
EPA has recognized that it “has not directed states that they must conduct [their] analysis in precisely
the manner the EPA has done in its prior regional transport rulemakings[.]” In fact, EPA has taken
inconsistent approaches (none of which are grounded in the statute), previously stating that states must
only use an assessment of significant contribution that is “comparable” to EPA’s preferred approach in
order to have its SIP approved.34
30
   [EME Homer City Generation, L.P. v. EPA, 696 F.3d 7 (D.C. Cir. 2012)] at 47 (Id. at 47 (“Nowhere does the [Clean
Air Act] place a requirement on EPA to quantify each State’s amount of ‘significant contribution’ to be eliminated
pursuant to the ‘good neighbor’ provision[.]”).
31
   EPA Region 6, 2015 8-Hour Ozone Transport SIP Proposal, Technical Support Document, Docket No. EPAR06-
OAR-2021-0801-0002, at 39, 66 (Feb. 2022) (“Proposed TSD”) (emphasis added).
34
   See [Guidance for State Implementation Plan (SIP) Submissions to Meet Current Outstanding Obligations Under
Section 110(a)(2)(D)(i) for the 8-Hour Ozone and PM2.5 National Ambient Air Quality Standards (Aug. 15, 2006)] at
5.


Commenter: Oklahoma Department of Environmental Quality

Commenter ID: 37

Docket ID: EPA-R06-OAR-2021-0801

Comment:

EPA’s Proposal is a Fundamental Change in Policy and is Not in Line With Previous CSAPR Policy-Making

As mentioned previously, under current EPA policy it is not possible for a state to be certain that any
quantity of NOx emissions reductions will comply with the good neighbor requirements without waiting
for the completion of Step 3 of the CSAPR framework. Because Step 3 is to be undertaken during the
development of the FIP, the approach adopted by EPA in its proposed FIP represents a substantive
change in policy, rather than an extension of the current approach. EPA’s CSAPR approach was
challenged in the courts and survived those challenges, giving EPA confidence in the fundamental
appropriateness of actions taken previously. However, the previous CSAPR remedies constitute a
different policy approach than the present EPA proposed action, which has metamorphosed into a form
substantively different from its previous versions



Commenter: Midwest Ozone Group

                                                                                                                 65
        Case: 23-60069          Document: 110         Page: 464        Date Filed: 03/27/2023




Commenter ID: 30

Docket ID: EPA-R02-OAR-2021-0673, EPA-R03-OAR-2021-0872, EPA-R03-OAR-2021-0873, EPA-R04-OAR-
2021-0841, EPA-R05-OAR-2022-0006, EPA-R06-OAR-2021-0801, EPA-R07-OAR-2021-0851

Comment:

In the absence of any guidance from EPA related to the assessment of Step 3 control measures, EPA
should defer to state plans which evaluate such control measures.

While EPA’s proposed disapprovals criticize states for failing to conduct an appropriate Step 3 analysis,
EPA makes it clear that it has not established guidelines for how states should conduct that analysis.
EPA’s treatment of this issues is illustrated by the following statement made by EPA in addressing the
Tennessee SIP:

        While the EPA has not directed states that they must conduct a Step 3 analysis in precisely the
        manner the EPA has done in its prior regional transport rulemakings, state implementation plans
        addressing the obligations in CAA section 110(a)(2)(D)(i)(I) must prohibit “any source or
        other type of emissions activity within the State” from emitting air pollutants which will
        contribute significantly to downwind air quality problems. Thus, states must complete
        something like the EPA’s analysis (or an alternative approach to defining “significance” that
        comports with the statute’s objectives) to determine whether and to what degree emissions
        from a state should be “prohibited” to eliminate emissions that will “contribute significantly to
        nonattainment in or interfere with maintenance of” the NAAQS in any other state. Tennessee
        did not conduct such an analysis in its SIP submission.

It is apparent that most states did little or no Step 3 analysis because, with many incorporating the 2018
flexibilities that EPA advised could be used in 2015 NAAQS Good Neighbor SIPs, they concluded in either
Step 1 or 2 that no controls were required. The proposed Good Neighbor SIP disapprovals should
therefore not impose a FIP without first allowing the states, working with their respective MJOs for a
regional approach, an opportunity to conduct a Step 3 analysis better tailored to their state and/or
region.

Rather than a wholesale disapproval of 19 state Good Neighbor SIPs, EPA should propose an 18-month
period for states to proceed with Steps 3 and 4, especially since the EGU-only approach is insufficient
and the other source contributions provide even more opportunity for the development of state- and
region-specific control strategies that would likely be more cost effective and avoid the over-control that
occurs with a generic FIP approach.



Commenter: Midwest Ozone Group

Commenter ID: 30

Docket ID: EPA-R08-OAR-2022-0315, EPA-R09-OAR-2022-0394, EPA-R09-OAR-2022-0138

Comment:

                                                                                                        66
        Case: 23-60069          Document: 110          Page: 465        Date Filed: 03/27/2023




Rather than a wholesale disapproval of state Good Neighbor SIPs, EPA should propose an 18-month
period for states to proceed with Steps 3 and 4, especially since the EGU-only approach is insufficient
and the other source contributions provide even more opportunity for the development of state- and
region-specific control strategies that would likely be more cost effective and avoid the over-control that
occurs with a generic FIP approach.



Commenter: PacifiCorp

Commenter ID: 38

Docket ID: EPA-R08-OAR-2022-0315

Comment:

The CAA does not require states to address their Good Neighbor obligations in a specific manner, nor
does it “enable EPA to force particular control measures on the states.” EPA has not adopted any
nationwide regulatory standards that purport to define the requirements for interstate transport SIPs
with respect to the 2015 ozone NAAQS. Specifically, EPA has previously explained that “[t]he precise
nature and contents of such a submission is not stipulated in the statute. [Therefore,] EPA believes that
the contents of the SIP submission required by section 110(a)(2)(D)(i) may vary depending upon the
facts and circumstances related to the specific NAAQS.” This is one of the reasons the CAA assigns
development of implementation plans to the states – they are able to use their local knowledge and
familiarity with regional conditions to best design the right type of plan for their location and citizens’
values and priorities.

EPA claims it “has not directed states that they must conduct a Step 3 analysis in precisely the manner
the EPA has done in its prior regional transport rulemakings.” But EPA rejects the flexibilities it
previously provided to the states and instead insists on a one-size-fits-all approach when assessing
significant contribution to NAAQS. In fact, EPA’s disapprovals force Utah and other states to “complete
something similar to EPA’s analysis” or “an alternative approach” that meets EPA’s policy choices and
preferred methods.

The Proposed Disapproval fails to recognize EPA’s limited role and obligation: “the Administrator shall
approve [a SIP or SIP revision] as a whole if it meets all of the applicable requirements of this chapter.”
EPA has long recognized its limited role, as stated in a recent SIP approval: [T]he Administrator is
required to approve a SIP submission that complies with the provisions of the CAA and applicable
Federal regulations. 42 U.S.C. 7410(k); 40 CFR 52.02(a). Thus, in reviewing SIP submissions, EPA’s role is
to approve state choices, provided that they meet the criteria of the CAA.



Response
The EPA did not define “significant contribution” for any state in this action, nor is the EPA required to
do so. EPA v. EME Homer City, 572 U.S. 489, 508-09 (2014). See Section V.B.8. of the preamble for the
EPA’s general response to these comments.

                                                                                                             67
        Case: 23-60069          Document: 110          Page: 466       Date Filed: 03/27/2023




A comment cites a notice in the Federal Register as “87 Fed. Reg. 200098-99” regarding the EPA’s
interpretation of the EME Homer City decision related to over control. Based on context, the EPA
assumes the comment was referring to the proposed good neighbor FIPs for Arkansas and other states
for the 2015 ozone NAAQS. See 87 FR 20098-99 (April 6, 2022). In that proposal the EPA stated,
“Although the court described over control as going beyond what is needed to address nonattainment,
EPA interprets the holding as not impacting its approach to defining and addressing both nonattainment
and maintenance receptors.”

In any case, this comment is inapposite as it relates to the EPA’s non-final analysis of potential emissions
controls in the proposed FIP rather than to the EPA’s evaluation of Arkansas’s SIP submission. In the
proposed SIP submission disapproval, the EPA explained that Arkansas’ reliance on air quality
information or factors was generally not sufficient at Step 3 to establish that no further emissions
controls would be appropriate in Arkansas. See 87 FR at 9808-10 (February 22, 2022). The EPA further
explained that Arkansas’ analysis was deficient for failing to fully analyze both additional electric
generating unit (EGU)and non-EGU controls. See id. at 9810-11. While in the proposed FIP the EPA
acknowledged that there was a potential for overcontrol if the full suite of the non-EGU controls as
proposed were included in the FIP’s control strategy for Arkansas, the EPA ultimately proposed to
determine that such over-control was not sufficiently established to justify not proposing the full suite of
non-EGU controls for Arkansas sources. See 87 FR 20099. Thus, there is no inconsistency between the
two proposals: the EPA’s evaluation of the SIP submission established that the state had not conducted
a proper Step 3 analysis of either EGU or non-EGU control opportunities; and in the proposed FIP, the
EPA proposed to apply both the EGU and non-EGU control strategies in Arkansas and proposed to find
there was insufficient evidence of overcontrol. Even if the EPA were to determine in a final FIP
rulemaking that no further emissions controls are warranted for some sub-set of these sources, that
would not change the fact that the Arkansas SIP submission’s Step 3 analysis is deficient and not
approvable.

The EPA explained the deficiencies of Texas’s SIP submission at proposal. See 87 FR 9826-9834 (February
22, 2022) and in the technical support document (TSD) titled “Region 6 2015 8-Hour Ozone Transport
SIP Proposal TSD”, in Docket ID No. EPA-R06-OAR-2021-0801 (hereinafter Evaluation of Texas
Commission on Environmental Quality (TCEQ) Modeling TSD). The EPA is not taking final action on
Tennessee’s Good Neighbor SIP submission for the 2015 ozone NAAQS in this action.

Other issues raised by these comments are addressed in Sections III, V.A.2., V.A.6., V.B.2., V.B.3., and
V.B.7. of the preamble and the following Sections: 4.2 (Model Performance), 6.4 (October 2018
Memorandum), 6.5 (Certain Monitoring Sites in California at Step 1) 10.2 (SIP Call), 10.3 (Cooperative
Federalism and the EPA’s Authority), 11.6 (Economic Impacts).



1.6 EPA Input During SIP Submission Development

Comments



                                                                                                           68
        Case: 23-60069          Document: 110         Page: 467        Date Filed: 03/27/2023




Commenter: Air Pollution Control Program, Missouri Department of Natural Resources

Commenter ID: 01

Docket ID: EPA-R07-OAR-2021-0851

Comment:

EPA shared no information as to its basis for the SIP disapproval prior to promulgating it, and the FIP, as
proposed, will impose hundreds of millions of dollars in compliance costs per year on all Missouri
citizens who purchase electricity, and potentially, on any citizen of the state that may depend on power
plants and other manufacturing industries in the state for their work and their livelihood. Prior to the
proposed FIP, EPA has offered no indication as to what might be acceptable under a step-3 analysis. This
puts states in an impossible position to submit an approvable SIP if they are unable to avoid obligations
under steps 1 and 2. However, EPA’s proposed FIPs shows that it is willing and eager to impose crippling
costs on states to pursue federal policy choices over state-protected decisions with no regard for the
impact that such costly controls have on the upwind states where EPA imposes the FIPs.

[…]

EPA should be required to submit comments on SIPs if it thinks the proposed SIPs have the potential for
controversial action and explain the issues EPA has with any proposed SIP submission. It is unreasonable
for EPA to sit on SIP submittals for years with no communication to states as to its intentions for
disapprovals and proposed FIPs that will impose hundreds of millions of dollars in annual compliance
costs that will be passed down to citizens in their state. EPA’s current action with the proposed FIP
shows that it intends to invoke its power from the Homer City case to impose whatever costs it
determines to be reasonable on any state where it can produce modeling showing that the state hits the
low and arbitrary 1 percent threshold.



Commenter: Arkansas Department of Energy and Environment, Division of Environmental Quality

Commenter ID: 07

Docket ID: EPA-R06-OAR-2021-0801

Comment:

Arkansas DEQ discussed methodology, modeling, and rationale with EPA early in the process and
throughout SIP development. EPA offered suggestions for refinement based on initial drafts, and
provided additional input during the public comment period for the 2015 Ozone Transport SIP draft and
associated rulemaking. There was at no point during this process any indication from EPA that this plan
or DEQ’s rationale was not approvable as DEQ was developing it, as long as the state provided rational,
science-based justification for the state’s decisions. DEQ did so.

In addition, EPA provided input on DEQ’s HYSPLIT modeling analysis during the comment period for the
SIP and DEQ made adjustments to its modeling in response to EPA’s comments. If EPA contends that
HYSPLIT modeling is not informative for the purposes of SIP decision-making, this should have been

                                                                                                        69
        Case: 23-60069            Document: 110           Page: 468        Date Filed: 03/27/2023




stated in early conversations between the agency and DEQ, before DEQ performed HYSPLIT modeling, or
during the public comment period (rather than suggesting modifications to DEQ’s methodology,
resulting in additional state resources invested in HYSPLIT modeling to bolster the SIP submittal in
response to EPA comments). See EPA comments and DEQ responses to comments on 2015 Ozone
Transport SIP, included here as Appendix A.



Commenter: Arkansas Environmental Federation

Commenter ID: 09

Docket ID: EPA-R06-OAR-2021-0801

Comment:

[Arkansas] DEQ has worked diligently to meet the NAAQS requirements for the 2015 ozone standard,
as outlined below. Significant work was required to develop the information necessary to
formulate the SIP based on EPA guidance at the time as shown by the following chronology, which
involved interaction with local stakeholders including AEF. Once that information was developed
and a proposed plan prepared, DEQ undertook the required state-rulemaking and legislative action.
DEQ worked collaboratively with EPA Region 6 throughout the process. Numerous discussions
were held by DEQ and EPA Region 6 to inform DEQ’s development of an appropriate SIP. DEQ
responded to questions and comments from EPA Region 6 to develop the SIP. Additionally, DEQ
developed additional information in response to EPA Region 6’s comments in a collaborative
effort that EPA has now abandoned. In spite of these efforts, EPA missed the statutorily mandated
deadline to act on DEQ’s SIP submission even though the SIP was approvable.



Commenter: Association of Electric Companies of Texas, BCCA Appeal Group, Texas Chemical Council
and Texas Oil & Gas Association

Commenter ID: 11

Docket ID: EPA-R06-OAR-2021-0801

Comment:

Due to EPA’s own delay and the accelerated timeline required by the consent decree, EPA is proposing
to deny commentors the opportunity to respond to the new data and analysis.29
29
  This is further compounded by the fact that EPA did not submit comments on Texas’s proposed SIP during
TCEQ’s public comment period. If EPA had concerns about TCEQ’s SIP submission, EPA should have raised concerns
during TCEQ’s public comment period for the draft SIP. This would have allowed TCEQ to revise the SIP submission
to address EPA’s concerns prior to finalizing it and submitting it to the Agency. See EPA, SIP PROCESSING MANUAL,
WHAT IS A SIP?, https://cfpub.epa.gov/oarwebadmin/sipman/sipman/mContent.cfm?chap=1&filePos=4 (last visited
Apr. 25, 2022) (“EPA should prepare comments on the proposed revisions and either testify at the hearing and
submit comments, or submit comments during the state’s public comment period. States are required by law to
provide the public and EPA 30 days to review and comment on proposed revisions to the SIP.”).

                                                                                                              70
       Case: 23-60069          Document: 110        Page: 469       Date Filed: 03/27/2023




Commenter: Environmental Federation of Oklahoma

Commenter ID: 20

Docket ID: EPA-R06-OAR-2021-0801

Comment:

In particular, EFO supports DEQ’s assessment that EPA has overstepped its authority by circumventing
the normal SIP development and approval process in a number of ways, including but not limited to:
[…]providing no indication of the upcoming SIP disapproval[.]



Commenter: Evergy, Inc.

Commenter ID: 21

Docket ID: EPA-R07-OAR-2021-0851

Comment:

MDNR claims that EPA did not reach out to discuss new modeling results nor identify any issues with
Missouri’s SIP during the course of those two years prior to proposing to disapprove the SIP and to
implement a Federal Implementation Plan (FIP).



Commenter: Maryland Department of the Environment

Commenter ID: 29

Docket ID: EPA-R03-OAR-2021-0872

Comment:

Maryland did adopt the CSAPR Update into its SIP. Maryland submitted its CSAPR Update Incorporation
by Reference (“IBR”) SIP #20-03 in response to direction from EPA Region 3 that Maryland could not
continue to be subject to the CSAPR Update and also submit a Good Neighbor SIP. In order for the Good
Neighbor SIP for the 2008 Ozone NAAQS to be approved, EPA Region 3 directed that CSAPR and the
CSAPR Update must be incorporated into Maryland’s regulations if MDE wanted to cite the rule(s) when
addressing the state’s Good Neighbor obligations.3

MDE committed to including the CSAPR Update in Maryland’s SIP in August 2019. The regulation was
proposed in December 2019, and was finalized into Maryland’s regulations at COMAR 26.11.28 on
March 23, 2020. Maryland’s Good Neighbor SIP for the 2015 Ozone NAAQS states:

       On October 26, 2016, the EPA finalized an update to CSAPR for the 2008 ozone NAAQS by
       issuing the CSAPR Close-Out [text error - “CSAPR Update”]. Maryland has been complying with
       the CSAPR Update limits and has committed to incorporating the Federal regulation into state
                                                                                                       71
        Case: 23-60069           Document: 110           Page: 470        Date Filed: 03/27/2023




        regulations and a State SIP. This will resolve any outstanding issues related to replacement of
        the CSAPR Update and FIP in Maryland or additional analysis of Maryland’s regulations.4

On October 16, 2019, Maryland submitted its 2015 Good Neighbor SIP, which committed to the CSAPR
Update IBR. The incorporation was finalized within 6 months and effective for over a year and a half
after Maryland’s 2015 Good Neighbor SIP was submitted to EPA. It was therefore reasonable to cite it
and rely on it (in part) in Maryland’s 2015 Good Neighbor SIP.

On March 15, 2021, EPA finalized the Revised CSAPR Update (“RCU”) in order to resolve 21 states’
transport obligations for the 2008 Ozone NAAQS. EPA made a procedural error5 by finalizing the RCU as
the FIP solution prior to disapproving Good Neighbor SIPs submitted by the states. EPA realized this
error and to remedy it, EPA Region 3 asked Maryland to withdraw both the Good Neighbor SIP for the
2008 Ozone NAAQS and Maryland’s IBR of the CSAPR Update into the state SIP. EPA stated that
Maryland’s transport obligations for the 2008 Ozone NAAQS were met by the RCU and that withdrawing
the SIP would not affect any other Maryland actions.

It is unreasonable for EPA to use Maryland’s compliance with EPA’s directive against it now. EPA is
estopped from such action because Maryland reasonably relied on EPA’s direction that withdrawal of
the 2008 Good Neighbor SIP and IBR would not affect its pending 2015 Good Neighbor SIP submittal. At
least, in the spirit of public transparency and consistent with the concept of cooperative federalism
upon which the CAA is based, EPA should have acknowledged in the proposed disapproval that the IBR
SIP was withdrawn at EPA’s request to correct EPA’s procedural error. The federal/state relationship is
built on trust and that trust is jeopardized when EPA regional offices are not fully transparent with their
state counterparts.
3
  See August 2019 letter from MDE to Mr. Cosmo Servidio: “EPA has informed MDE that Maryland cannot continue
to be subject to the CSAPR Update and the Federal Implementation Plan (FIP) and also submit a good neighbor
SIP… In an effort to expedite EPA’s approval process [for SIP #18-05 - Good Neighbor SIP for the 2008 ozone
NAAQS] and based on guidance of EPA Region 3 staff, MDE is currently working to incorporate by reference the
federal CSAPR Update into the Code of Maryland Regulations. This should resolve any outstanding issues that were
related to replacement of the CSAPR Update and the FIP in Maryland or additional analysis of Maryland’s
regulations.”
4
  Maryland SIP #19-02: Implementation, Maintenance, and Enforcement of the 0.070 ppm 8-hour Ozone National
Ambient Air Quality Standard State Implementation Plan §110(a)(2)(D) MD 70 ppb Ozone Transport SIP. Pg. 10
5
  See discussion related to submission of CSAPR IBR SIP #20-03 and message from C. Servidio


Commenter: Mississippi Department of Environmental Quality

Commenter ID: 32

Docket ID: EPA-R04-OAR-2021-0841

Comment:

MDEQ worked collaboratively with EPA Region 4 to properly respond to interstate transport, or “good
neighbor,” requirements and submitted what we believed EPA considered an approvable iSIP in
September 2019.


                                                                                                             72
        Case: 23-60069          Document: 110         Page: 471        Date Filed: 03/27/2023




Commenter: Nevada Division of Environmental Protection

Commenter ID: 33

Docket ID: EPA-R09-OAR-2022-0138

Comment:

EPA has repeatedly failed to meaningfully collaborate with NDEP on how to best address Nevada’s
interstate ozone transport obligations.

After EPA revised the ozone NAAQS in 2015, NDEP spent its limited resources to prepare and submit
Nevada’s iSIP by the required deadline of October 1, 2018, relying on EPA’s March 2018 modeling results
to establish that no out-of-state downwind receptors were impacted by Nevada sources.

EPA failed to act on Nevada’s iSIP by the 2020 statutory deadline. As of late 2021, despite the long-
standing process for review and prioritization of the SIP backlog (namely the SIP Management Plan) EPA
provided zero communication to NDEP on any significant aspect of the Nevada iSIP review and approval
process nor did EPA provide any substantive feedback on Nevada’s 2018 iSIP submission.



Commenter: Oklahoma Department of Environmental Quality

Commenter ID: 37

Docket ID: EPA-R06-OAR-2021-0801

Comment:

EPA Comments on Oklahoma’s SIP Submittal Did Not Reflect Its Intent to Disapprove, Indicating Implied
Consent for Use of 1 ppb Significance Threshold

As EPA stated in the March 2018 Tsirigotis Memo, the memo was intended to be used not only by
states, but as guidance for the EPA regions, as well. Generally, staff from the states and regions work
together in developing SIP submittals and, accordingly, states provide EPA regional staff with periodic
updates on progress toward SIP submittals. During the development process of Oklahoma’s ozone
transport SIP, Oklahoma discussed with EPA Region 6 its intent to use the flexibilities offered in the
Tsirigotis memos. Therefore, during the final stages of SIP development in 2018, EPA Region 6 was on
notice of Oklahoma’s intent to use the flexibilities offered in the Tsirigotis memos.

On August 14, 2018, Oklahoma published for public comment Oklahoma’s I-SIP Submittal, which
included the ozone transport SIP. On September 17, 2018 (the final day of the comment period),
Oklahoma received a letter containing comments on said SIP submittal from EPA Region 6 (Attachment
B). In its comments, EPA Region 6 suggested that ODEQ incorporate information from the August 2018
Tsirigotis Memo into the SIP submittal, stating:

        We suggest you factor in information from the EPA memo of August 31, 2018, “Analysis of
        Contribution Thresholds for Use in Clean Air Act Section 110(a)(2)(D)(i)(I) Interstate Transport
                                                                                                           73
       Case: 23-60069          Document: 110          Page: 472       Date Filed: 03/27/2023




        State Implementation Plan Submissions for the 2015 Ozone National Ambient Air Quality
        Standards.” The results of the analysis found in this memo would be a better justification for use
        of 1 parts per billion (ppb) threshold than the current narrative on a 1 ppb threshold.

Thus, not only is there an absence of comment on the record from EPA that Oklahoma should not rely
on the 2018 Tsirigotis Memos or use the 1 ppb threshold, but EPA actually encouraged ODEQ to rely
further on said memos to support the use of a 1 ppb threshold in the final SIP, which amounts to implied
consent from EPA for the reasonableness of the 1 ppb threshold and reliance on the 2018 Tsirigotis
Memos in demonstrating that reasonableness. Thus, EPA’s position in the proposed SIP disapproval
contradicts the 2018 Tsirigotis Memos and the comment letter from Region 6.



Commenter: Texas Commission on Environmental Quality

Commenter ID: 42

Docket ID: EPA-R06-OAR-2021-0801

Comment:

The EPA failed to provide Texas with formal comments on the adequacy of its analysis during the public
comment period for the SIP revision.

The EPA did not comment on the adequacy of the TCEQ’s analysis during the public comment period for
the 2015 Ozone Transport SIP Revision. The TCEQ and EPA Region 6 participated in discussions regarding
the proposed SIP revision, and the TCEQ answered questions from the EPA on the planned SIP submittal
and provided additional data to the EPA. The EPA did not indicate that the information provided failed
to address its concerns. The lack of EPA comment did not allow the TCEQ to address the issues outlined
in the EPA’s proposed disapproval in the adopted 2015 Ozone Transport SIP revision.



Commenter: United States Steel Corporation

Commenter ID: 45

Docket ID: EPA-R06-OAR-2021-0801

Comment:

[Arkansas] DEQ has expended an enormous amount of time and worked diligently to meet the NAAQS
for ozone. DEQ worked to develop the information necessary to formulate the SIP, developed a
proposed plan, and undertook the required state-rulemaking and legislative action. DEQ also worked
collaboratively with EPA Region 6. Numerous discussions were held by DEQ and EPA Region 6 to inform
DEQ’s development of an appropriate SIP. DEQ responded to questions and comments from EPA Region
6 to develop the SIP. Additionally, DEQ developed additional information in response to EPA Region 6’s
comments as a part of a collaborative process that EPA has now abandoned.



                                                                                                       74
        Case: 23-60069          Document: 110          Page: 473       Date Filed: 03/27/2023




Commenter: Utah Division of Air Quality

Commenter ID: 47

Docket ID: EPA-R08-OAR-2022-0315

Comment:

The benefit of cooperative federalism is having the autonomy to do what’s best for the state, but do so
in partnership with EPA to ensure that the CAA intent and requirements are met.

In this same spirit, UDAQ engaged early and often with our counterparts at Region 8 in the development
of our interstate transport SIP. Through this collaboration and EPA’s guidance, Utah selected the
alternative threshold of 1 ppb. […] Thus, UDAQ was surprised when EPA proposed to include Utah in the
proposed FIP, and subsequently disapproved the state’s SIP based in large part on the selection of the 1
ppb over the 1% of the NAAQS threshold. If the 1 ppb threshold was in fact inappropriate for the
development of this SIP, EPA should have communicated that view to UDAQ during the early
engagement and development process or during the state’s public comment period. Additionally, EPA
released no new guidance directing states to use a 1% threshold either prior to or after SIP submittal
deadlines.



Response
Some commenters assert that the EPA did not provide sufficient input to states during the development
of the SIP submissions, while others allege that the EPA led the states astray or implied to states that the
SIP submissions were approvable. The EPA is required under CAA section 110 to review a SIP submission
revision that has been formally submitted; based on the EPA’s determination of whether that
submission meets applicable CAA requirements, the EPA must then approve or disapprove the SIP
submission. There is no CAA requirement that the EPA must review, evaluate, and comment on a state’s
draft SIP submission revision during the state rulemaking process, and no legal basis for states to
assume that the EPA’s silence during a state public comment period constitutes the Agency's
endorsement of such SIP submission revision. Where the EPA did communicate views to these states on
draft SIP submission revisions, the EPA disagrees that such preliminary feedback should now bind the
Agency, and the EPA disagrees that we could in any way lawfully provide “implied consent” to states
regarding their draft SIP submissions before they have completed the required rulemaking processes at
both the state and federal level. After all, EPA cannot assure any state in advance of the EPA’s public
notice and comment process what the EPA’s final action on a SIP submission will be. Catawba County v.
EPA, 571 F.3d 20, 34 (D.C. Cir. 2009) (“[a]n agency pronouncement is not deemed a binding regulation
merely because it may have some substantive impact, as long as it leave[s] the administrator free to
exercise his informed discretion.”) citing Panhandle Producers & Royalty Owners Ass'n v. Econ.
Regulatory Admin., 822 F.2d 1105, 1110 (D.C. Cir. 1987) (quoting Brock v. Cathedral Bluffs Shale Oil Co.,
796 F.2d 533, 537 (D.C. Cir. 1986) (internal quotation marks omitted))).

The EPA encourages state air agencies to engage as early as possible with the Agency on the
development of any SIP submission revisions in an effort to address all technical and policy approvability
issues prior to submitting a final SIP submission package and appreciates states’ willingness to involve
                                                                                                         75
        Case: 23-60069            Document: 110          Page: 474         Date Filed: 03/27/2023




regional offices at the initial SIP submission development stage. Further, the EPA makes its best efforts
to work closely with states, but EPA cannot be expected to provide states definitive guidance on what
will ultimately be approvable. Nonetheless, the suggestions we made to states on their SIP submissions
in this instance are not inconsistent with the final action we are now taking.

Other issues raised by these comments are addressed in Section V.A.3., V.A.6., and V.B.7. of the
preamble and the following sections: 1.1 (Timing of SIP Actions), 1.2 (Guidance for SIP Submissions), 7.4
(August 2018 Memorandum), 10.3 (Cooperative Federalism and the EPA’s Authority), 11.6 (Economic
Impacts), and 11.12 (Consent Decrees).

We now address specific concerns about the EPA input during the SIP development process of specific
states.

Arkansas

Regarding Arkansas, the EPA specifically commented on Arkansas’ draft SIP submission that “EPA
disagrees with ADEQ on the applicability of the prevention of significant deterioration (PSD) significant
impact level (SIL) to a one parts per billion (ppb) threshold for assessing linkages to downwind receptors
because EPA’s analysis for the SIL did not contain information that could be used to evaluate the
collective contribution from upwind states at downwind receptors, a key element for consideration
given the regional nature of ozone transport.” This is consistent with the EPA’s position on this topic in
this action. Further, in response to this comment, ADEQ made no changes to its final SIP submission.
This is one example (of many) where the EPA provided feedback to a state during the SIP submission
development process that the state chose not to include or act upon. It is inauthentic to characterize the
disapproval of Arkansas’ SIP submission as being an abandonment of collaborative process when there
were specific EPA comments that went unaddressed by the state SIP submission, which contributed to
the final SIP submission being deficient.

The EPA noted in our comments to ADEQ on their draft SIP submissions, the state’s back trajectory
analysis “would give additional perspective on the representativeness of EPA’s modeling to examine the
yearly frequency” and that “[c]omparing the frequency in 2011 to the other years analyzed would help
determine if the frequency for 2011 was anomalous.”5 The EPA noted a number of concerns with the
analysis. Id. The EPA’s review found that Arkansas’ analysis did not suggest that the modeled base year
of 2011 used in EPA’s 2011-based modeling was anomalous compared with other years. 87 FR 9809. We
address additional comments related to the EPA’s technical concerns and conclusions from ADEQ’s
HYSPLIT analysis in Section 8.8.

Maryland

EPA’s proposed disapproval of Maryland’s SIP submission made the point that “relying on a FIP at Step 3
is per se not approvable if the state has not adopted that program into its SIP . . .” 87 FR 9463, 9471
(Feb. 22, 2022). This point was made in the context of addressing Maryland’s argument that the Cross-
State Air Pollution Rule (CSAPR) Update FIP (which the EPA promulgated to partially address good
neighbor obligations for the 2008 ozone NAAQS) satisfied the state’s good neighbor obligations for the

5
 The EPA’s comment letter on ADEQ’s draft SIP submission was attached to their SIP submission and is available in
Docket ID. No. EPA-R06-OAR-2021-0801 (Document ID No. EPA-R06-2021-00801-0003).
                                                                                                              76
        Case: 23-60069          Document: 110          Page: 475        Date Filed: 03/27/2023




2015 ozone NAAQS The statement that the EPA made at proposal is a correct statement of the EPA’s
interpretation of CAA section 110(a)(2), which is that FIP provisions cannot be relied upon to meet SIP
obligations unless the FIP provisions are incorporated into the SIP. (This aspect of Maryland Department
of the Environment (MDE’s) comment is further responded to in Section V.B.9 of the preamble regarding
reliance on FIP measures. MDE complains, however, that EPA itself encouraged the state to withdraw its
August 2018 SIP submission, which would have incorporated the CSAPR Update into its SIP and replaced
the CSAPR Update FIP. MDE claims the EPA’s change in advice to the state leading to the withdrawal of
that submission was due to our own “procedural error,” and that the EPA cannot now use the lack of
incorporation into its SIP submission of the CSAPR Update as a basis for disapproval. These comments
reflect a misunderstanding of the procedural history and omit certain key facts.

First, to review the series of actions we took to address Maryland’s good neighbor obligations for the
2008 ozone NAAQS: On December 31, 2012, Maryland submitted a SIP submission to address the
requirements of CAA section 110(a)(2)(D)(i)(I) with respect to the 2008 ozone NAAQS. On April 20, 2016,
Maryland withdrew its good neighbor SIP submission. On July 20, 2016, the EPA published a finding of
failure to submit a complete good neighbor SIP submission to address the requirements of CAA section
110(a)(2)(D)(i)(I) with respect to the 2008 ozone NAAQS for Maryland (81 FR 47040). On October 26,
2016, the EPA published a FIP for Maryland in the CSAPR Update addressing the requirements of CAA
section 110(a)(2)(D)(i)(I) with respect to the 2008 ozone NAAQS. However, the EPA did not determine
that the CSAPR Update FIP fully addressed the requirements of CAA section 110(a)(2)(D)(i)(I). On August
8, 2018, Maryland submitted a new SIP submission intended to fully address good neighbor
requirements for the 2008 ozone NAAQS by adopting the CSAPR Update emissions trading program into
its SIP. On December 21, 2018, the EPA published a determination in the CSAPR Close-Out that the
CSAPR Update FIP for Maryland fully addressed the requirements of CAA section 110(a)(2)(D)(i)(I) for the
2008 ozone NAAQS (83 FR 65878, effective February 19, 2019).

However, following the D.C. Circuit decisions in 2019 in Wisconsin v. EPA, 938 F.3d 303 (D.C. Cir. 2019)
and New York v. EPA, 781 Fed. App’x 4, 7 (D.C. Cir. 2019), to remand the CSAPR Update and vacate the
CSAPR Close-Out, the CSAPR Update FIP could no longer be said to fully correct the CAA section
110(a)(2)(D)(i)(I) deficiency identified in the July 20, 2016 finding of failure to submit. EPA promulgated
an updated FIP for Maryland and several other states in the Revised CSAPR Update, and this FIP
established a new emissions budget for Maryland’s EGUs as well as a new Group 3 emissions trading
program, which entirely replaced the Group 2 program that had been promulgated in the CSAPR
Update. 86 FR 23054 (April 30, 2021).

At that point, Maryland’s August 2018 submission adopting the CSAPR Update program was no longer
approvable as a remedy to its “significant contribution” under the 2008 ozone NAAQS, because the
CSAPR Update FIP for Maryland was replaced by a new, more stringent emissions control program. It
was at that point that the EPA encouraged Maryland to withdraw its August 2018 submission. The
withdraw of the submission saved resources for all parties as it avoided the EPA having to go through a
rulemaking process to disapprove that submission. Maryland remained free to adopt the Revised CSAPR
Update FIP requirements into its SIP should it have chosen to do so.

In any case, the EPA’s disapproval of Maryland’s 2015 ozone NAAQS good neighbor SIP submission was
not based solely upon non-incorporation of the CSAPR Update requirements into Maryland’s SIP. Even if

                                                                                                          77
        Case: 23-60069          Document: 110          Page: 476        Date Filed: 03/27/2023




the CSAPR Update—or even the Revised CSAPR Update—had been incorporated into the SIP, it wouldn’t
have even partially satisfied an appropriate Step 3 and Step 4 analysis. This is because the EPA has
already included the emissions-reducing effects of both the CSAPR Update and the Revised CSAPR
Update in its baseline air quality modeling at Steps 1 and 2 (in both the 2016v2 and 2016v3 modeling),
and so pointing to either of those rules as measures that would eliminate significant contribution at Step
3, for purposes of the 2015 ozone NAAQS, would be impermissible double-counting. Further, the CSAPR
Update only partially addressed interstate transport obligations for the less protective 2008 ozone
NAAQS. Maryland offered no explanation why those requirements would be sufficient to satisfy
Maryland’s good neighbor obligations for the more protective 2015 ozone NAAQS. And there are yet
additional reasons cited in the EPA’s proposed disapproval that this comment does not address, such as
Maryland’s failure to evaluate other nitrogen oxides (NOx) emitting sources at Step 3 and to analyze
potential NOx emission controls, costs, and effect on downwind receptors. These were independently
sufficient bases to disapprove Maryland’s 2015 ozone NAAQS good neighbor SIP submission. See 87 FR
9463 (Feb. 22, 2022).

Mississippi

The EPA agrees with the commenter's (MDEQ) statement about the collaborative efforts from both
MDEQ and EPA Region 4 (as well as headquarters) to support the state’s development of their 2015
ozone NAAQS transport SIP submission in 2019. The EPA worked with MDEQ to develop their 2015
ozone NAAQS transport SIP submissions based on information available at the time that Mississippi
initiated their SIP development process through the final SIP submission. At that time, it was believed
based on the 2011-based modeling that Mississippi would not be linked above 1 percent of the NAAQS
to any out of state receptors in 2023. However, as discussed in the proposal and elsewhere in this final
action, the EPA’s updated modeling now shows the state is projected to be linked.

Oklahoma

During the development of Oklahoma’s SIP submission, the EPA did suggest to Oklahoma that it “factor
in information” from the August 2018 memorandum in their rationale for using a 1 ppb contribution
threshold at Step 2, as that would be a “better justification” than arguments the state had drafted.6 This
suggestion, standing alone, cannot reasonably be understood as a final endorsement of the
appropriateness of a 1 ppb contribution threshold for Oklahoma. The EPA did not indicate that the
August 2018 memorandum pre-approved the use of a 1 ppb contribution threshold. Rather, it suggested
Oklahoma improve the draft rationale. The topics of the August 2018 memorandum and Oklahoma’s
arguments related to the appropriateness of an alternative contribution threshold for the state are
addressed in more detail in the preamble in Section V.B.7 and in Section 7.4 (August 2018
Memorandum).

Texas

Commenters (AECT et al., TCEQ) claim the EPA gave no indication that TCEQ’s submission may not be
approvable, additionally citing the EPA’s SIP Processing Manual, available on EPA’s website, to support


6
 A copy of the EPA’s comments on Oklahoma’s draft SIP submission are included in Docket ID No. EPA-HQ-OAR-
2021-0663.
                                                                                                             78
         Case: 23-60069            Document: 110            Page: 477         Date Filed: 03/27/2023




their argument that EPA should have done so.7 However, as TCEQ acknowledges, the EPA staff did in
fact meet with TCEQ staff to discuss the submission. As explained elsewhere in this response, there is no
obligation or requirement that EPA needed to have done so. Further, given the technical complexity of
TCEQ’s submittal (which included its own modeling efforts), it is understandable that EPA staff would
not have been able to offer views at that point as to how the Agency may ultimately act on the
submission.



1.7 Length of Comment Period

Comments


Commenter: Alabama Power Company, Southern Power Company, and PowerSouth Energy Cooperative

Commenter ID: 04

Docket ID: EPA-R04-OAR-2021-0841

Comment:

Further, commenters note that EPA did not provide affected stakeholders sufficient time to analyze and
comment on EPA’s proposed disapproval. EPA provided only 30 days for comments, which ended on the
Friday within the Thanksgiving holiday. The State of Alabama made a reasonable request for additional
time to provide comments on this highly technical and data-intensive issue, but EPA refused to grant
that or any extension. EPA offered no rationale or explanation as to why additional time could not be
afforded, only claiming it was “unnecessary.” But EPA should defer to the State of Alabama to determine
whether additional time to prepare its comments is necessary and only deny such a request for
compelling reasons. EPA offered no such reasons and none exist. By denying the State’s request for an
extension to the notice and comment period, EPA failed to provide stakeholders with adequate time to
evaluate the proposed requirements and failed to acknowledge that this is the only opportunity for
stakeholders to identify and comment on the flaws in EPA’s analysis. Allowing adequate time for
comments is also significant because stakeholders provide comments to EPA in order to preserve their
opportunity to bring errors to the attention of a reviewing court.



Commenter: Ameren Missouri

Commenter ID: 05



7
  EPA SIP Manual, available at https://cfpub.epa.gov/oarwebadmin/sipman/sipman/mIntro.cfm?chap=0&i=1.
Though cited by commenters for the proposition that the EPA must provide comments to states on draft SIP
submissions, the page cited by commenters notes that “Drafts are not required but can benefit the State if the
submittal is controversial or if the State anticipates requesting parallel processing by resolving the majority of
issues up front.”
                                                                                                                     79
        Case: 23-60069         Document: 110         Page: 478       Date Filed: 03/27/2023




Docket ID: EPA-R07-OAR-2021-0851

Comment:

USEPA needs to provide additional time to comment on the Missouri SIP disapproval for post processing
of model data review and comment per APA.



Commenter: Arkansas Department of Energy and Environment, Divison of Environmental Quality

Commenter ID: 07

Docket ID: EPA-R06-OAR-2021-0801

Comment:

[A]DEQ has performed a preliminary review of whether additional control measures for Arkansas are
necessary to fulfill its interstate obligations for the 2015 ozone NAAQS based on the new EPA identified
linkages. The length of the comment period does not provide adequate time to perform HYSPLIT
modeling, which based on EPA’s proposal, would be dismissed without adequate consideration, or
photochemical modeling.



Commenter: Cleco Corporate Holdings LLC

Commenter ID: 14

Docket ID: EPA-R06-OAR-2021-0801

Comment:

Cleco requests a 60-day extension of the comment period for the Proposal.

Cleco again requests a 60-day extension of the comment deadline for the Proposal. Due to the great
volume of information in which EPA based its SIP disapprovals, additional time is necessary for review of
the material which includes the state-specific 4-Step Interstate Transport results, the EPA's Ozone
Transp01i Modeling under the 2016v2 platform, and the EPA's after-the-fact change from the EPA 2018
memorandum (2011 base year) to the 20 l 6v2 modeling (2016 base year).

Any of these reasons should be sufficient justification to extend the comment deadline. Taken together,
these reasons should convince EPA to grant Cleco' s request for a 60-day extension. Cleco asks EPA to
reconsider this request.



Commenter: Eagle Materials Inc.

Commenter ID: 16

Docket ID: EPA-R09-OAR-2022-0138

                                                                                                      80
        Case: 23-60069           Document: 110         Page: 479        Date Filed: 03/27/2023




Comment:

EPA has unlawfully circumvented notice-and-comment requirements for its Proposed SIP Disapproval.

[…]

In addition, EPA is effectively depriving members of the public from meaningfully engaging with its
Proposed Disapproval by issuing it after its Proposed FIP. The comment period for this Proposed
Disapproval did not open until over a month after EPA published its Proposed FIP—the comment period
for the Proposed FIP closed before any commenters had a chance to submit comments on the Proposed
SIP Disapproval. This puts commenters in the untenable position of having to provide feedback on EPA’s
comprehensive and complex Proposed FIP without first understanding Nevada’s obligations under the
CAA.



Commenter: Idaho Power Company

Commenter ID: 23

Docket ID: EPA-R09-OAR-2022-0138

Comment:

Additionally, by proposing the FIP first, EPA has made clear that the finalization of the Proposed
Disapproval was a foregone conclusion, effectively circumventing required rulemaking procedures by
treating the Proposed Disapproval as final before giving any consideration to public comments. The
Administrative Procedure Act’s (“APA’s”) notice-and-comment procedures require EPA to “give
interested persons an opportunity to participate in the rule making” before a rule is finalized.32 Soliciting
public comment “allow[s] the agency to benefit from the expertise and input of the parties who file
comments with regard to the proposed rule” and “see[s] to it that the agency maintains a flexible and
open-minded attitude towards its own rules,” creating important safeguards against arbitrary or
unreasonable agency action.33 EPA cannot remain flexible and open-minded in its consideration of the
Proposed Disapproval where the Proposed FIP depends on this disapproval being finalized. EPA has
effectively finalized the Proposed Disapproval in a manner that circumvents its responsibility to respond
to public comments.34 Such a procedural shortcut is anathema to the APA’s carefully crafted rulemaking
structure.35

Finally, the CAA gives EPA up to two years after the disapproval of a SIP to promulgate a FIP. Because of
EPA’s own failure to act on SIP submissions in a timely manner and the resulting consent decree, the
Agency has accelerated the process, issuing a proposed FIP prior to issuing proposed SIP disapprovals.
The comment period for EPA’s Proposed Disapproval did not open until over a month after EPA
published its proposed FIP, meaning that the comment period for the proposed FIP closed before many
commenters had a chance to submit comments on the Proposed Disapproval. This put commenters in
the untenable position of having to provide feedback on EPA’s comprehensive and complex Good
Neighbor Plan without first understanding Nevada’s obligations under the CAA. Such an accelerated
timeline, with multiple overlapping comment periods out-of-sync with the CAA, significantly limited the
public’s ability to fully assess EPA’s action and provide meaningful comment.
                                                                                                          81
        Case: 23-60069             Document: 110           Page: 480         Date Filed: 03/27/2023



29
   See, e.g., Chrysler Corp. v. Brown, 441 U.S. 281, 302 (1979).
30
   See 42 U.S.C. § 7410(c)(1) (requiring Administrator to promulgate FIP “at any time within 2 years after”
disapproving a SIP). While the Supreme Court held in EPA v. EME Homer City Generation that, under this provision,
“EPA is not obliged to wait two years or postpone its action even a single day,” the Court noted that this authority
applies “[a]fter EPA has disapproved a SIP.” 572 U.S. 489, 509 (2014) (emphasis added)
32
   5 U.S.C. § 553(c).
33
   See McLouth Steel Prod. Corp. v. Thomas, 838 F.2d 1317, 1325 (D.C. Cir. 1988) (internal citations omitted).
34
   See City of Portland, Oregon v. EPA, 507 F.3d 706, 715 (D.C. Cir. 2007) (emphasizing that an agency must respond
to comments that “raise points relevant to the agency's decision and ... if adopted, would require a change in an
agency’s proposed rule”).
35
   See Metcalf v. Daley, 214 F.3d 1135, 1142 (9th Cir. 2000) (emphasizing that agency action “must be timely, and it
must be taken objectively and in good faith, not as an exercise in form over substance, and not as a subterfuge
designed to rationalize a decision already made”).


Commenter: Louisiana Electric Utility Environmental Group

Commenter ID: 28

Docket ID: EPA-R06-OAR-2021-0801

Comment:

As a part of these comments, LEUEG also requests a 60-day extension of the comment deadline for
EPA’s Proposed SIP Disapproval relating to Louisiana. LEUEG is aware of numerous requests for
extensions by industry stakeholders and believes EPA’s rejections of these requests to date is
unreasonable and unwarranted under the circumstances. As noted in other requests, more time is
plainly necessary for review of the 4-step Interstate Transport results, EPA’s Ozone Transport Modeling
under the 2016v2 platform, and EPA’s after-the-fact change from its 2018 memorandum (2011 base
year) to the 2016v2 modeling (2016 base year) by the state agencies and stakeholders.



Commenter: Midwest Ozone Group

Commenter ID: 30

Docket ID: EPA-R02-OAR-2021-0673, EPA-R03-OAR-2021-0872, EPA-R03-OAR-2021-0873, EPA-R04-OAR-
2021-0841, EPA-R05-OAR-2022-0006, EPA-R06-OAR-2021-0801, EPA-R07-OAR-2021-0851

Comment:

This accelerated effort disenfranchises not only meaningful technical analysis of the agency’s proposals
but also curtails meaningful participation by all stakeholders.

[…]

Second, EPA has not provided adequate public notice and comment as required by law.

[…]



                                                                                                                 82
        Case: 23-60069          Document: 110         Page: 481        Date Filed: 03/27/2023




The 60-day comment period is too short to allow review and analysis of the proposed denials for
multiple states.

EPA eight proposed Good Neighbor SIP disapprovals would result in disapproval of Good Neighbor SIPs
submitted by 19 states regarding interstate transport for the 2015 8-hour ozone national ambient air
quality standard. Significantly, EPA established a comment period of only 63 days that applies to all eight
proposals for all 19 states. The sheer number of EPA proposed actions regarding these Good Neighbor
SIPs alone is evidence that the comment period allowed by EPA is grossly insufficient. Compounding the
challenge for stakeholders of the inadequate comment period on these eight proposed disapprovals,
EPA also proposed a 181-page transport rule on April 6, 2022, during the pendency of the comment
period on these eight proposed disapprovals. The comment period on the transport rule is also 60 days,
ending June 6, 2022.

MOG has been an active participant in transport rule development since the 1997 NOx SIP Call and
continues to be keenly interested in the development of air pollution regulations that are based on
sound science. MOG has undertaken independent modeling and verification of EPA modeling in the
past and offered comments on how to improve the accuracy and completeness of those efforts in prior
comments on various transport rules.

As a result of its continued interest in the transport issue, MOG has developed technical capabilities that
allow it to analyze and verify the science behind both Good Neighbor SIPs proposed by states and EPA
actions to approve or disapprove them. MOG is acutely aware that preparation of proper technical
analyses of Good Neighbor SIPs involves the use of complicated dispersion models that take substantial
execution time. MOG’s significant experience in these matters also makes clear that simultaneous
analysis of eight proposed rulemakings in addition to analyzing a 181-page transport rule that involves
the same ozone NAAQS as the Good Neighbor SIPs dramatically complicates the analysis process.

The totality of these now nine pending rulemakings necessitates a period substantially longer than the
allowed 63 days to allow stakeholders, including MOG, to analyze the proposed rules in parallel and
prepare comprehensive comments that will better inform the rulemaking process, and EPA has utterly
failed to allow sufficient time for that to happen.



Commenter: Midwest Ozone Group

Commenter ID: 30

Docket ID: EPA-R08-OAR-2022-0315, EPA-R09-OAR-2022-0394, EPA-R09-OAR-2022-0138

Comment:

The 60-day comment period is too short to allow review and analysis of the proposed denials for
multiple states. EPA proposed Good Neighbor SIP disapprovals would result in disapproval of Good
Neighbor SIPs submitted by states regarding interstate transport for the 2015 8-hour ozone national
ambient air quality standard. Significantly, EPA established a comment period of only 60 days that
applies to all proposals.

                                                                                                        83
        Case: 23-60069         Document: 110         Page: 482       Date Filed: 03/27/2023




[…]

The totality of these pending rulemakings necessitates a period substantially longer than the allowed 63
days to allow stakeholders, including MOG, to analyze the proposed rules in parallel and prepare
comprehensive comments that will better inform the rulemaking process, and EPA has utterly failed to
allow sufficient time for that to happen.



Commenter: Utah Petroleum Association and the Utah Mining Association

Commenter ID: 48

Docket ID: EPA-R08-OAR-2022-0315

Comment:

Even though EPA jumped the gun, it must consider comments on this action fairly and completely.

[…]

EPA jumped the gun. The timing of this Proposed Disapproval, six weeks after proposing a FIP as part of
the GNR, is out of order and contrary to the requirements of the CAA, which requires that a Disapproval
be finalized before EPA promulgates a FIP such as the GNR.

The timeline suggests that EPA has no intention of paying heed to the comments on the Proposed
Disapproval. Such disregard for comments would be a violation of required administrative procedures.
EPA must fairly and completely consider all comments submitted.

Furthermore, with both actions in the proposal phase, comments on the Proposed Disapproval and the
Proposed GNR are inextricably linked.



Response
The EPA disagrees that it provided insufficient time for public comment. The EPA has provided more
than adequate time for the public to review the technical bases underlying this action. Congress’
presumptive minimum period for public comment on CAA regulations is 30 days. See CAA section
307(h). The comment period of at least 60 days for each of the proposed disapprovals is twice that
amount of time. (Due to time constraints, EPA was only able to provide a 30-day comment period on its
proposed disapproval of Alabama’s June 21, 2022 SIP submission—although there were 60 days to
comment on the February 24, 2022 proposed disapproval of its earlier submission, which the state
withdrew during the comment period). Some commenters state that that the EPA failed to provide
sufficient public process, however the commenters here actually participated in this public notice and
comment process, in many cases submitting detailed and lengthy comments.

Furthermore, the 2016-based meteorology and boundary conditions used in the modeling have been
available through the 2016v1 platform, which was used for the Revised CSAPR Update (proposed in
October of 2020, 85 FR 68964; October 30, 2020). The updated emissions inventory files used in the
current modeling were publicly released September 21, 2021, for stakeholder feedback, and have been
                                                                                                   84
        Case: 23-60069            Document: 110           Page: 483        Date Filed: 03/27/2023




available on our website since that time.8 The Comprehensive Air Quality Modeling with Extensions
(CAMx) modeling software that EPA used has likewise been publicly available for some time: CAMx
version 7.10 was released by the model developer, Ramboll, in December 2020. And on January 19,
2022, we released on our website and notified a wide range of stakeholders of the availability of both
the modeling results for 2023 and 2026 (including contribution data) along with many key underlying
input files.9

By providing the 2016 meteorology and boundary conditions (used in the 2016v1 version) in fall of 2020,
and by releasing updated emissions inventory information used in 2016v2 in September of 2021 we
gave states and other interested parties multiple opportunities prior to our February 2022 proposals to
consider how our modeling updates could affect their status for purposes of evaluating potential
linkages for the 2015 ozone NAAQS. We also supplied the full suite of modeling files (roughly 15
terabytes) to those who requested them; while the EPA acknowledges the process of delivering such
large files can take time, we do not believe having all of those files is necessary for the public to be able
to comment meaningfully on the proposals here.

In any case, for those who wished to comment on the EPA’s modeling through reviewing all of those
files and/or through running their own modeling, we note that the EPA used the same 2016v2 modeling
of 2023 for all of its proposed SIP submission actions and the proposed FIP. Commenters could
comment (and did comment) through any of those public comment periods on the modeling, and the
EPA has an obligation to consider such comments to the extent in-scope in taking this final action. Given
the overlapping timing of most of the EPA’s proposals, there was at least one public comment period
open at all times on the proposals using that modeling from Feb. 22, 2022, when the first set of
disapprovals were issued, through July 25, 2022 (the close of the public comment period on the
proposed disapprovals of several western states). That is effectively a combined comment period of 153
days, and is more than sufficient, in the EPA’s view, to allow for meaningful comment.10

Finally, it is true that the EPA has consent decree deadlines to take final action on most SIP submissions
covered by this action by January 31, 2023 (extended by stipulation of the parties from December 15,
2022).11 But the amount of time the EPA could provide for public comment was also informed by our
substantive obligation to see that interstate transport obligations for the 2015 ozone NAAQS are
addressed as expeditiously as practicable and no later than the next attainment date. See Wisconsin,
938 F.3d at 313-20.




8
 See https://www.epa.gov/air-emissions-modeling/2016v2-platform.
9
  See https://www.epa.gov/scram/photochemical-modeling-applications.
10
   Further, because EPA is acting on a new SIP submission from Alabama using the 2016v2 modeling, we note that
yet another comment period was open with respect to the application of the 2016v2 modeling in assessing good
neighbor obligations for the 2015 ozone NAAQS from the date of that proposal, October 25, 2022, through
November 25, 2022. See 87 FR 64412.
11
   New York et al. v. Regan, et al., No. 1:21-CV-00252 (S.D.N.Y.) (IN, KY, MI, OH, TX, WV); Our Children’s Earth
Foundation v. EPA, No. 20-8232 (S.D.N.Y.) (NY); Downwinders at Risk et al. v. Regan, No. 21-cv-03551 (N.D. Cal.)
(AR, CA, IL, IN, KY, LA, MD, MI, MN, MS, MO, NV, NJ, NY, OH, OK, TX, WV, WI).
                                                                                                               85
        Case: 23-60069            Document: 110           Page: 484        Date Filed: 03/27/2023




Under these circumstances, and mindful of the legal and procedural obligations applicable to the EPA, as
established by Congress and the courts, the comment period length was appropriate and consistent
with the requirements of the CAA and the Administrative Procedure Act (APA).12

The EPA disagrees with Arkansas Division of Environmental Quality’s characterization of EPA’s analysis of
Arkansas’s good neighbor SIP submission for the 2015 ozone NAAQS. 87 FR 9798, 9806-9811 (February
22, 2022).

Other issues raised by these comments are addressed in Section V.A.1. of the preamble and in the
following sections: Sections 1.2 (Guidance for SIP Submissions), 1.5 (State’s Step 3 Analysis), 1.8 (Docket
Document Availability), and 10.6 (Allegation that Disapprovals of Western State SIP Submissions was
Predetermined).



1.8 Docket Document Availability

Comment
Commenter: Ameren Missouri

Commenter ID: 05

Docket ID: EPA-R07-OAR-2021-0851

Comment:

USEPA has not made available post processing of model data from the revised modeling in the Docket
for the proposed disapproval of the Missouri Good Neighbor SIP and only references the files in another
docket9 which wasn’t posted until 40 days after the proposed Missouri GNS disapproval. Making matters
worse, interested parties were required to request the files from USEPA directly because the files were
not in the posted public docket decreasing the available review time even more. Requiring interested
parties to search two dockets and then request USEPA's data and analysis underlying this action and
wait for a response from USEPA fails to meet the transparency in government standard set by this
administration. USEPA needs to provide additional time to comment on the Missouri SIP disapproval so
that the post processing of model data can be reviewed and commented on in accordance with the
intent of the Administrative Procedures Act.
9
  The modeling relied upon as further proof of Missouri being linked to nonattainment in another state was
included as part of USEPA's proposed CSAPR FIP for the 2015 Ozone Standard published in the Federal Register on
April 6, 2022 under a separate docket. The public docket available on the internet for the proposed FIP did not
contain any of the model post processing files with modeled contribution data for Missouri so that it could be
reviewed. That data had to be requested separately (after searching both dockets).



12
  Section 553 of the Administrative Procedure Act requires that federal agencies provide general notice of
proposed rulemaking by publication in the Federal Register and to “give interested persons an opportunity to
participate in the rule making through submission of written data, views, or arguments with or without
opportunity for oral presentation.” 5 U.S.C. 553(b), (c).
                                                                                                               86
        Case: 23-60069           Document: 110          Page: 485        Date Filed: 03/27/2023




Response
All information supporting the proposed disapproval of Missouri’s SIP submission, including the data to
which the commenter refers, was publicly docketed on or before February 22, 2022. Because of their
size (around 15 terabytes), the full modeling files could not be posted online and so were held on data
drives at EPA’s Docket Center, as is routine for extremely large files, where it could be requested by
interested parties. See 87 FR 9534 (February 22, 2022). Comments on the length of the comment period
are addressed in Section 1.7 (Length of Comment Period).



Comment
Commenter: Louisiana Department of Environmental Quality

Commenter ID: 27

Docket ID: EPA-R06-OAR-2021-0801

Comment:

EPA formulated part of their proposed disapproval on results from the journal article “Improved
estimation of trends in U.S. ozone concentrations adjusted for interannual variability in meteorological
conditions,” authored by several EPA members/employees and one external author. This article was not
peer reviewed, neither is it available without purchase. The article should be made available in the
Docket with other supplementary materials. “Although this article has been reviewed by the U.S. EPA
and approved for publication, it does not necessarily reflect the U.S. EPA’s policies or views.” Atypically,
the subject matter of the article is accounted for in tweaks to the 2016v2 modeling.



Response
The EPA does not place certain docket materials, such as copyrighted material or documents protected
as Confidential Business Information on the Internet (i.e., regulations.gov), but such docket materials are
available for public review in person in the EPA Regional office or at the EPA Docket Center Reading
Room in Washington, D.C., as applicable.13 The article cited by the EPA to which the Louisiana
Department of Environmental Quality (LDEQ) is referring is protected by copyright, so the article’s title
was listed in the online Docket (EPA-R06-OAR-2021-0801), while the hard copy of the article is available
for public viewing in person at the EPA Region 6 office. Further, the preamble to the proposed
rulemaking directed the public to https://www.epa.gov/dockets for further information on the EPA
Docket Center Services, which include assisting the public with accessing particular documents in the
docket.




13
  Access EPA Dockets, available at https://www.epa.gov/dockets/access-epa-dockets (last accessed January 31,
2023).
                                                                                                               87
        Case: 23-60069          Document: 110          Page: 486        Date Filed: 03/27/2023




Regarding the comment about peer review, the article was published in the Atmospheric Environment
journal, 14 which requires peer review. The peer review requirement for the journal is listed in their
author's guide:

        This journal operates a single anonymized review process. All contributions will be initially
        assessed by the editor for suitability for the journal. Papers deemed suitable are then typically
        sent to a minimum of two independent expert reviewers to assess the scientific quality of the
        paper.15

The article in question was reviewed by three independent experts and accepted for publication with
minor revisions.




14
   Atmospheric Environment, available at https://www.sciencedirect.com/journal/atmospheric-environment (last
accessed January 31, 2023).
15
   Atmospheric Environment, Author Information Pack at 9, available at
https://www.elsevier.com/wps/find/journaldescription.cws_home/246?generatepdf=true. (Last accessed January
13, 2023).
                                                                                                            88
        Case: 23-60069          Document: 110         Page: 487       Date Filed: 03/27/2023




2 Analytic Year of 2023

Comments


Commenter: Midwest Ozone Group

Commenter ID: 30

Docket ID: EPA-R04-OAR-2021-0841

Comment:

These comments highlight the agency’s failure to align the responsibilities of upwind and downwind
states as it selected the analytical year for evaluating the Good Neighbor Provisions of the CAA. In the
case on the Kentucky plan, this failure is even more significant because Kentucky specifically noted the
disparity that exists between upwind states and those downwind states that significantly delayed the
imposition of nonattainment controls on sources within their own nonattainment areas. 87 Fed. Reg. at
9505. Kentucky demonstrated emissions from local sources in nonattainment areas were not properly
regulated resulting in on-going nonattainment impermissibly shifting the burden of emission controls to
upwind states. EPA response to the Kentucky plan fails to address the alignment issue and defaults to
the selection of 2023 as the appropriate analytic year. EPA did not assess the extent of delay of
downwind states emissions reductions programs on nonattainment. Id. at 9512.



Commenter: Midwest Ozone Group

Commenter ID: 30

Docket ID: EPA-R07-OAR-2021-0851

Comment:

These comments also highlight the agency’s failure to align the responsibilities of upwind and downwind
states as it selected the analytical year for evaluating the Good Neighbor Provisions of the CAA. EPA’s
response to the Missouri plan failed to address the alignment issue defaulting to the selection of 2023 as
the appropriate analytic year. EPA failed to assess the extent of delay of downwind states emissions
reductions programs on nonattainment.



Commenter: Midwest Ozone Group

Commenter ID: 30



                                                                                                       89
        Case: 23-60069           Document: 110          Page: 488        Date Filed: 03/27/2023




Docket ID: EPA-R02-OAR-2021-0673, EPA-R03-OAR-2021-0872, EPA-R03-OAR-2021-0873, EPA-R04-OAR-
2021-0841, EPA-R05-OAR-2022-0006, EPA-R06-OAR-2021-0801, EPA-R07-OAR-2021-0851, EPA-R08-
OAR-2022-0315, EPA-R09-OAR-2022-0394, EPA-R09-OAR-2022-0138

Comment:

EPA’s selection of 2023 as the analytical year for its assessments of the state plans fails to align the
obligation of upwind states with downwind states inasmuch as certain nonattainment areas have
delayed implementation of nonattainment controls until 2025 and beyond

Comment: EPA’s statutory duty is to harmonize the Good Neighbor Provision of CAA §110(a)(2)(D)(i)
with nonattainment and maintenance requirements of CAA §172 so that compliance burdens are
aligned among upwind and downwind states. MOG is not critical of the downwind state plans to the
extent those plans are designed and demonstrated to achieve attainment within the attainment
deadlines. MOG is, however, critical of EPA for disapproving upwind state Good Neighbor Plans without
consideration of the timing of the implementation of nonattainment controls by downwind states -
effectively shifting the burden of additional controls to the upwind states.

The Wisconsin remand concluded that EPA exceeded its statutory authority under the Good Neighbor
Provision “by issuing a Rule that does not call for upwind States to eliminate their substantial
contributions to downwind nonattainment in concert with the attainment deadlines.”

Wisconsin, 938 F.3d at 318. The Wisconsin remand directed EPA to address the downwind state
“deadline” in such a manner as to “harmonize” the deadlines of upwind and downwind states and to
apply “parallel timeframes.” Id. at 312, 314. The D.C. Circuit repeatedly has explained the CAA directive
to “harmonize” and manage the relationship described as parallel between the Good Neighbor
obligations for upwind states and statutory attainment deadlines for downwind areas. That relationship
is one of “par,” using the Court’s term, meaning to be judged on a common level with the other. With
this proposed disapproval, EPA ignores the obvious relationship between the downwind states’
obligation to implement controls to attain the standard relative to the obligation of an upwind state to
not significantly contribute to the nonattainment at issue.

This Court in North Carolina v. EPA, 531 F.3d 896 (D.C. Cir. 2008), found that EPA did not explain why it
did not coordinate the Good Neighbor Provision with the Clean Air Interstate Rule to provide a sufficient
level of protection to downwind states.

Despite CAA §110(a)(2)(D)(i)'s requirement that upwind contributions to downwind nonattainment be
“consistent with the provisions of [Title I],” EPA did not make any effort to harmonize CAIR’s Phase Two
deadline for upwind contributors to eliminate their significant contribution with the attainment
deadlines for downwind areas... As a result, downwind nonattainment areas must attain NAAQS for
ozone and PM2.5 without the elimination of upwind states’ significant contribution to downwind
nonattainment, forcing downwind areas to make greater reductions than CAA §110(a)(2)(D)(i)(I)
requires. Id. (emphasis added). The D.C. Circuit described its North Carolina ruling in the Wisconsin
remand as follows:

        We explained that EPA needed to “harmonize” the “Phase Two deadline for upwind
        contributors to eliminate their significant contribution with the attainment deadlines for
                                                                                                           90
        Case: 23-60069         Document: 110         Page: 489       Date Filed: 03/27/2023




        downwind areas.” ... . Otherwise, downwind areas would need to attain the NAAQS "without
        the elimination of upwind states' significant contribution."

Wisconsin, 938 F.3d at 314 (emphasis added). The Wisconsin remand explained, “In sum, under our
decision in North Carolina, the Good Neighbor Provision calls for elimination of upwind States’
significant contributions on par with the relevant downwind attainment deadlines.” Id. at 315 (emphasis
added). The Wisconsin opinion explains further:

        The Good Neighbor Provision, as North Carolina emphasized, requires upwind States to
        eliminate their significant contributions to downwind pollution “consistent with the provisions
        of this subchapter,” i.e., Title I of the Clean Air Act. 42 U.S.C. §7410(a)(2). One of the
        "provisions of this subchapter" is §7511(a)(1), which in turn requires downwind areas in
        moderate non-attainment to attain the NAAQS by July 20, 2018.

Id. at 315-16. The Wisconsin remand summarizes that “it is the statutorily designed relationship
between the Good Neighbor Provision’s obligations for upwind states and the statutory attainment
deadlines for downwind areas that generally calls for parallel timeframes.” Id. at 316.

EPA, however, takes the following actions. It interprets the court’s holding in Maryland v. EPA, 958 F.
3d 1185 (D.C. Cir. 2020) as requiring the states and the Agency, under the good neighbor provision, to
assess downwind air quality as expeditiously as practicable and no later than the next applicable
attainment date, which is now the Moderate area attainment date under CAA §181 for ozone
nonattainment. The Moderate area attainment date for the 2015 8-hour ozone NAAQS is August 3,
2024. The EPA provides that it believes that 2023 is now the appropriate year for analysis of interstate
transport obligations for the 2015 8-hour ozone NAAQS because the 2023 ozone season is the last
relevant ozone season during which achieved emissions reductions in linked upwind states could assist
downwind states with meeting the August 3, 2024, Moderate area attainment date for the 2015 8-hour
ozone NAAQS.” 87 Fed. Reg. 9,487-8. EPA is inappropriately shifting the burden to the transport states.

For New York’s disapproved transport plan, EPA offers the following criticism, “under the Wisconsin
decision, states and the EPA may not delay implementation of measures necessary to address good
neighbor requirements beyond the next applicable attainment date without a showing of impossibility
or necessity. See 938 F.3d at 320. In those cases where the measures identified by the State had
implementation timeframes beyond the next relevant attainment dates the submission did not offer a
demonstration of impossibility of earlier implementation of those control measures. Similarly, the
State’s submittal is insufficient to the extent the implementation timeframes for identified control
measures were left unidentified, unexplained, or too uncertain to permit the EPA to form a judgment as
to whether the timing requirements for good neighbor obligations have been met. 87 Fed. Reg. 9,494.
This narrative illustrates the disconnect between standards to which downwind plans are held versus
the standards to which upwind plans are held. Both plans must be aligned with the same timeframes.

Within the Clean Air Act, Subchapter 1, Part D titled “Plan Requirements for Nonattainment Areas” is
found Subpart 1 titled “Nonattainment Areas in General.” Subpart 1 includes Section 177 addressing
new motor vehicle emissions standards in state plans for nonattainment areas. It is apparent that the
CAA contemplated the option of developing nonattainment plans per Section 172 to address certain
new motor vehicles or new motor vehicle emissions. For those approved downwind nonattainment
                                                                                                        91
        Case: 23-60069          Document: 110         Page: 490        Date Filed: 03/27/2023




plans that include motor vehicle emissions reduction strategies for achieving attainment, delay in
implementation beyond the attainment date is unacceptable under CAA §179. Delay in implementation
of committed controls by a downwind state shifts the emissions reduction burdens onto upwind states if
EPA fails to engage in alignment of the dates upon which each of the states must satisfy nonattainment
strategy performance.

This issue of imbalance was specifically addressed by D.C. Circuit in the Wisconsin remand as an
appropriate basis for extending the compliance deadline for upwind states. In that case the Court stated
that: “if a modified attainment deadline applies to downwind States, EPA may be able, if justified, to
make a corresponding extension for an upwind State’s good neighbor obligations.” Wisconsin, 938 F.3d
at 317.

Nowhere in its discussion of the regulatory framework underlying these proposals does EPA recognize
the alignment obligation as articulated in the Wisconsin remand.



Response
Although the commenter criticizes the EPA’s selection of 2023 as an appropriate analytic year, they do
not identify their preferred alternative, nor are their arguments against 2023 compelling. The EPA
maintains its position that 2023 is an appropriate analytic year and comports with the relevant caselaw.

The commenter misreads the North Carolina v. EPA, 550 F.3d 1176 (D.C. 2008), Wisconsin v. EPA, 938
F.3d 303 (D.C. Cir. 2019), and Maryland v. EPA, 958 F.3d 1185 (D.C. Cir. 2020) decisions as calling for
good neighbor emissions controls to be aligned with the timing of the implementation of nonattainment
controls by downwind states. However, the D.C. Circuit has never held that, and such a requirement is
both untethered to the statute and almost certainly unworkable in practice. It would necessitate
coordinating the activities of multiple states with the EPA regional and headquarters offices to a level of
fine-tuning that effectively could preclude the implementation of good neighbor obligations altogether.
Indeed, the commenter offers no explanation how the EPA or upwind states should coordinate upwind
emissions control obligations for states linked to multiple downwind receptors whose states may be
implementing their requirements on different timetables. Far less drastic mechanisms than subjecting
people living in downwind receptor areas to continuing high levels of air pollution caused in part by
upwind-state pollution are available if the actual implementation of mandatory CAA requirements in the
downwind areas is delayed: CAA section 304(a)(2) provides for judicial recourse where there is an
alleged failure by the Agency to perform a nondiscretionary duty, and that recourse is for the Agency to
be placed on a court-ordered deadline to address the relevant obligations. Accord Oklahoma v. U.S. EPA,
723 F.3d 1201, 1223-24 (10th Cir. 2013); Montana Sulphur and Chemical Co. v. U.S. EPA, 666 F.3d 1174,
1190-91 (9th Cir. 2012).

What in fact the D.C. Circuit has repeatedly emphasized is that the statutory attainment dates are the
relevant downwind deadlines the EPA must align with in implementing the good neighbor provision. In
Wisconsin, the court held, “In sum, under our decision in North Carolina, the Good Neighbor Provision
calls for elimination of upwind States’ significant contributions on par with the relevant downwind
attainment deadlines.” Wisconsin, 938 F.3d. at 321. After that decision, the EPA interpreted Wisconsin
as limited to the attainment dates for Moderate or higher classifications under CAA section 181 on the
                                                                                                        92
           Case: 23-60069            Document: 110          Page: 491         Date Filed: 03/27/2023




basis that Marginal nonattainment areas have reduced planning requirements and other considerations.
See, e.g., 85 FR 29882, 29888–89 (May 19, 2020) (proposed approval of South Dakota’s 2015 ozone
NAAQS good neighbor SIP). However, on May 19, 2020, the D.C. Circuit in Maryland v. EPA, 958 F.3d
1185 (D.C. Cir. 2020), applying the Wisconsin decision, held that the EPA must assess air quality at the
next downwind attainment date, including Marginal area attainment dates under CAA section 181, in
evaluating the basis for the EPA’s denial of a petition under CAA section 126(b). 958 F.3d at 1203-04.
After Maryland, the EPA acknowledged that the Marginal attainment date is the first attainment date to
consider in evaluating good neighbor obligations. See, e.g., 85 FR 67653, 67654 (Oct. 26, 2020) (final
approval of South Dakota’s 2015 ozone NAAQS good neighbor SIP).

The relevance of CAA sections 172, 177, and 179 to the selection of the analytic year in this action is not
clear. The commenter cites these provisions to conclude that EPA did not appropriately consider
downwind attainment deadlines and the timing of upwind good neighbor obligations. These provisions
are found in subpart I, and while they may have continuing relevance or applicability to aspects of ozone
nonattainment planning requirements, the nonattainment dates for the 2015 ozone NAAQS flow from
subpart 2 of title I of the CAA, and specifically CAA section 181(a). Applying that statutory schedule to
the designations for the 2015 ozone NAAQS, the EPA has promulgated the applicable attainment dates
in its regulations at 40 CFR 51.1303. The effective date of the initial designations for the 2015 ozone
NAAQS was August 3, 2018 (83 FR 25776, June 4, 2018, effective August 3, 2018).16 Thus, the first
deadline for attainment planning under the 2015 ozone NAAQS was the Marginal attainment date of
August 3, 2021, and the second deadline for attainment planning is the Moderate attainment date of
August 3, 2024. If a Marginal area fails to attain by the attainment date it is reclassified, or “bumped
up,” to Moderate. Indeed, the EPA has just completed a rulemaking action reclassifying many areas of
the country from Marginal to Moderate nonattainment, including all of the areas where downwind
receptors have been identified in our 2023 modeling as well as many other areas of the country. 87 FR
60897, 60899 (Oct. 7, 2022).

Other than under the narrow circumstances of CAA section 181(a)(5) (discussed further below), the EPA
is not permitted under the CAA to extend the attainment dates for areas under a given classification;
that is, no matter when the EPA finalizes a determination that an area failed to attain by its attainment
date and reclassifies that area, the attainment date remains fixed, based on the number of years from
the area’s initial designation. See, e.g., CAA section 182(i) (authorizing the EPA to adjust any applicable
deadlines for newly reclassified areas “other than attainment dates”). As the D.C. Circuit has repeatedly
made clear, the statutory attainment schedule of the downwind nonattainment areas under subpart 2 is
rigorously enforced and is not subject to change based on policy considerations of the EPA or the states.

           [T]he attainment deadlines, the Supreme Court has said, are “the heart” of the Act. Train v. Nat.
           Res. Def. Council, 421 U.S. 60, 66, 95 S. Ct. 1470, 43 L.Ed.2d 731 (1975); see Sierra Club v. EPA,
           294 F.3d 155, 161 (D.C. Cir. 2002) (“the attainment deadlines are central to the regulatory
           scheme”) (alteration and internal quotation marks omitted). The Act’s central object is the
           “attain[ment] [of] air quality of specified standards [within] a specified period of time.” Train,
           421 U.S. at 64–65, 95 S. Ct. 1470.


16
     September 24, 2018, for the San Antonio area. 83 FR 35136 (July 25, 2018).
                                                                                                           93
        Case: 23-60069          Document: 110         Page: 492        Date Filed: 03/27/2023




Wisconsin, 938 F.3d at 316. See also Natural Resources Defense Council v. EPA, 777 F.3d 456, 466-68
(D.C. Cir. 2014) (NRDC) (holding the EPA cannot adjust the section 181 attainment schedule to run from
any other date than from the date of designation). See also id. at 468 (“EPA identifies no statutory
provision giving it free-form discretion to set Subpart 2 compliance deadlines based on its own policy
assessment concerning the number of ozone seasons within which a nonattainment area should be
expected to achieve compliance.”) (citing and quoting Whitman v. American Trucking Ass’ns, 531 U.S.
457, 484, (2001)) (“The principal distinction between Subpart 1 and Subpart 2 is that the latter
eliminates regulatory discretion that the former allowed.”). Furthermore, as the court in NRDC noted,
“[T]he ‘attainment deadlines ... leave no room for claims of technological or economic infeasibility.’” 777
F.3d at 488 (quoting Sierra Club, 294 F.3d at 161) (internal quotation marks and brackets omitted).

With the exception of the Uinta Basin, which does not have an identified receptor in this action, no
Marginal nonattainment area met the conditions of CAA section 181(a)(5) to obtain a one-year
extension of the Moderate area attainment date. 87 FR 60899. Thus, all Marginal areas (other than
Uinta) that failed to attain have been reclassified to Moderate. Id. (And the New York City Metropolitan
nonattainment area was initially classified as Moderate (see below for further details).). Even if the EPA
had extended the attainment date for any of the downwind areas, it is not clear that it would necessarily
follow that the EPA must correspondingly extend or delay the implementation of good neighbor
obligations. While the Wisconsin court recognized extensions under CAA section 181(a)(5) as a possible
source of timing flexibility in implementing the good neighbor provision, 938 F.3d at 320, the EPA and
the states are still obligated to implement good neighbor reductions as expeditiously as practicable and
are also obligated under the good neighbor provision to address “interference with maintenance.” Areas
that have obtained an extension under section 181(a)(5) or which are not designated as in
nonattainment could still be identified as struggling to maintain the NAAQS, and the EPA is obligated
under the good neighbor provision to eliminate upwind emissions interfering with the ability to maintain
the NAAQS as well. North Carolina, 531 F.3d at 908-11. Thus, while an extension under CAA 181(a)(5)
may be a source of flexibility in the timing of implementation of good neighbor obligations, as Wisconsin
recognized, it is not the case that the EPA must delay or defer good neighbor obligations for that reason,
and neither the D.C. Circuit nor any other court has so held.

The commenter is therefore incorrect to the extent that they argue the selection of 2023 as an analytic
year for upwind obligations results in the misalignment of downwind and upwind state obligations. To
the contrary, both downwind and upwind state obligations are driven by the statutory attainment date
of August 3, 2024, for Moderate areas, and the last year that air quality data may impact whether
nonattainment areas are found to have attained by the attainment date is 2023. That is why, in the
recent final rulemaking determinations that certain Marginal areas failed to attain by the attainment
date, bumping those areas up to Moderate, and giving them SIP submission deadlines and reasonably
available control measures (RACM) and reasonably available control technology (RACT) implementation
deadlines, the EPA set the attainment SIP submission deadlines for the bumped up Moderate areas to
be January 1, 2023. See 87 FR 60897, 60900 (Oct. 7, 2022). The implementation deadline for RACM and
RACT is also January 1, 2023. Id. This was in large part driven by the EPA’s ozone implementation
regulations, 40 CFR 51.1312(a)(3)(i), which previously established a RACT implementation deadline for
initially classified Moderate as no later than January 1, 2023, and the modeling and attainment
demonstration requirements in 40 CFR 51.1308(d), which requires a state to provide for implementation

                                                                                                        94
           Case: 23-60069         Document: 110          Page: 493       Date Filed: 03/27/2023




of all control measures needed for attainment no later than the beginning of the attainment year ozone
season (i.e., 2023). Given this regulatory history, the EPA can hardly be accused of letting states with
nonattainment areas for the 2015 ozone NAAQS avoid or delay their mandatory CAA obligations.

The commenter focuses on the EPA’s evaluation of New York’s good neighbor SIP submission to argue
the EPA is treating upwind and downwind states dissimilarly. The argument conflates New York’s role as
both a downwind and an upwind state. In evaluating the Good Neighbor SIP submission that New York
submitted, the EPA identified as a basis for disapproval that the state emissions control programs New
York cited included implementation timeframes to achieve the reductions, let alone ensure they were
achieved by 2023. 87 FR 9484, 9494 (Feb. 22, 2022). The EPA conducted the same inquiry into other
states’ claims regarding their existing or proposed state laws or other emissions reductions claimed in
their SIP submissions. See, e.g., 87 FR at 9472-73 (evaluating claims regarding emissions reductions
anticipated under Maryland’s state law); 87 FR at 9854 (evaluating claims regarding emissions
reductions anticipated under Illinois’ state law). Consistent with its treatment of the other upwind states
included in this action, the EPA is disapproving New York’s good neighbor SIP submission for the 2015
ozone NAAQS because its arguments did not demonstrate that it had fully prohibited emissions
significantly contributing to out of state nonattainment or maintenance problems.

The commenter attempts to contrast this evaluation with what it believes is the EPA’s permissive
attitude toward delays by downwind states, specifically claiming that “certain nonattainment areas have
delayed implementation of nonattainment controls until 2025 and beyond.” This apparently references
New York’s simple cycle and regenerative combustion turbines (SCCT) controls, which the commenter
cited elsewhere in its comments. New York's SCCT controls were not included by New York in the
submission under the EPA review in this action, nor was the prior approval of the SCCT controls
reexamined by the EPA or reopened for consideration by the Agency in this action. Although not part of
this rulemaking, the EPA notes that the SCCT controls were approved by the EPA as a SIP strengthening
measure and not to satisfy any specific planning requirements for the 2015 ozone NAAQS under CAA
section 182. 86 FR 43956, 43958 (Aug. 11, 2021). The SCCT controls submitted to the EPA were already a
state rule, and the only effect under the CAA of the EPA approving them into New York’s SIP was to
make them federally enforceable. 86 FR 43956, 43959 (Aug. 11, 2021). In other words, approval of the
SCCT controls did not relieve New York of its nonattainment planning obligations for the 2015 ozone
NAAQS.

The EPA notes that the New York-Northern New Jersey-Long Island, NY-NJ-CT nonattainment area was
initially designated as in Moderate nonattainment. 83 FR 25776 (June 4, 2018). Pursuant to this
designation, New York was required to submit a RACT SIP submission and an attainment demonstration
no later than 24 months and 36 months, respectively, after the effective date of the Moderate
designation. CAA section 182; 40 CFR 51.1308(a), 51.1312(a)(2). NY submitted a RACT SIP plan for the
2015 ozone standards on January 29, 2021,17 and the EPA is currently evaluating that submission. New
York has not yet submitted its attainment demonstration, which was due August 3, 2021. Further, the
New York-Northern New Jersey-Long Island, NY-NJ-CT nonattainment area remains subject to the
Moderate nonattainment area date of August 3, 2024; if it fails to attain the 2015 ozone NAAQS by


17
     See https://edap.epa.gov/public/extensions/S4S_Public_Dashboard_2/S4S_Public_Dashboard_2.html.
                                                                                                        95
        Case: 23-60069          Document: 110         Page: 494        Date Filed: 03/27/2023




August 3, 2024, it will be reclassified to Serious nonattainment, resulting in additional requirements on
the New York nonattainment area.

In any case, regardless of the status of New York’s and the EPA’s efforts in relation to the New York-
Northern New Jersey-Long Island, NY-NJ-CT nonattainment area (which are outside the scope of this
action), the EPA’s evaluation of 2023 as the relevant analytic year in assessing New York’s and other
states’ good neighbor obligations is entirely consistent with the statutory framework and court decisions
calling on the agency to align these obligations with the downwind areas’ statutory attainment
schedule. That principle holds regardless of the specific timing of the implementation of downwind
states’ emissions controls.




                                                                                                        96
        Case: 23-60069          Document: 110          Page: 495      Date Filed: 03/27/2023




3 Emissions Inventories
3.1 Emissions Inventory - General

Comment


Commenter: Arkansas Department of Energy and Environment, Division of Environmental Quality

Commenter ID: 07

Docket ID: EPA-R06-OAR-2021-0801

Comment:

Arkansas and more than 20 other states and regional groups submitted comments, suggestions, and
corrections to EPA for the emissions inventories datasets for the 2016v2 modeling platform.14 However,
the modeling data that EPA proposes to primarily rely upon in its disapproval of the Arkansas Transport
Plan does not reflect corrections to the modeling platform in response to state comments. EPA should
understand that failing to incorporate state-provided corrections to that data while moving forward
with issuing proposed actions essentially bars states from performing their role under the CAA.

[…]

In response to comments from the MJOs and states, EPA partially updated the 2016v2 platform
emissions inventories datasets for future modeling runs.15 However, the modeling that EPA is primarily
relying upon in its disapproval was performed before states could offer feedback and still contains all
the errors that states previously identified. Although DEQ disagrees with EPA’s choice to substitute new
modeling data for the data that was available when the state was developing its plan, EPA should
understand that failing to incorporate state-provided corrections to that data while moving forward
with issuing proposed actions essentially bars states from performing their role under the Clean Air Act.
14
   Index of /Air/emismod/2016/v2/reports/comments at
https://gaftp.epa.gov/Air/emismod/2016/v2/reports/comments/
15
   https://gaftp.epa.gov/Air/emismod/2016/v3/preliminary_updates/


Response:
The EPA has incorporated updates as appropriate into its 2016v3 modeling platform based on pre-
proposal feedback and information provided in public comments on the 2016v2 platform.



3.2 Emissions Inventory – Non-EGUs

Comment



                                                                                                       97
        Case: 23-60069          Document: 110         Page: 496       Date Filed: 03/27/2023




Commenter: Arkansas Department of Energy and Environment, Division of Environmental Quality

Commenter ID: 07

Docket ID: EPA-R06-OAR-2021-0801

Comment:

For point sources (ptnonipm) DEQ suggests that EPA consider examining the use of 2017 NEI data and
adjusting the dataset to create a 2016 base year. The 2017 data is more recent and if a backward base
year projection is necessary, then it would be a one year projection (2017 to 2016) and not two years
(2014 to 2016).

According to EPA’s 2016v2 TSD, for sources outside of the Mid-Atlantic Regional Air Management
Association (MARAMA) region, the maximum future year projection factor was capped at 1.25. Also the
future year projection factor was capped at a maximum of 2.5 if SCC/NAICS combinations with criteria
pollutant emissions >100 tons/year for the ptnonipm sector. However, the ptnonipm includes future
year projection factors that are greater than 1.25 for various facilities outside of MARAMA region where
the total annual emissions are less than 100 tons, including a future year projection factor as high as
1.468. DEQ does not know the origin of these greater than 1.25 exceptions to the TSD language and
whether they are possibly a result of state-submitted refinement data, which would be reliable sources.

The future year projection factor for NOx emissions from “Honeywell International Inc. – Hopewell”
(unit# 20375813) in Virginia is 6.79 for 2026 in the 2016v2 platform and was 0.63 for 2028 in 2016v1
platform. DEQ conducted trend analyses to evaluate some future year projection factors and DEQ’s
analysis for this source does not appear to support a future year projection factor of 6.79 and may
support a future year projection factor of 0.62; however, Virginia may have suggested the 6.79 as the
appropriate value and, if so, would likely be the best source of this data. DEQ suggests that EPA verify
the above example, possibly with Virginia if data was not already provided by Virginia, and other similar
examples. [Figure 1 available in full comment]



Response
The EPA concurs with the suggestion by the commenter to use 2017 National Emissions Inventory (NEI)
data to represent 2016 instead of data projected from 2014. The EPA implemented this approach into
the 2016v3 platform where a matching source could be identified in the 2017 NEI, however, data
submitted specifically for the year 2016 are used, where available. The EPA also updated the approach
for developing 2023 non-EGU point source emissions in the 2016v3 platform to make use of 2019 NEI
point source data as the basis for 2023 non-EGU point source emissions for source not related to oil and
gas production. Thus, the maximum projection factor of 1.25 is no longer relevant in the 2016v3
inventory for 2023. This approach applies to Honeywell International Inc. – Hopewell for 2023
emissions. As the analytic year for this action is 2023, projections for years later than 2023 are not
relevant for the identification of receptors and linkages at Steps 1 and 2 of the 4-step interstate
transport framework.



                                                                                                        98
        Case: 23-60069         Document: 110         Page: 497       Date Filed: 03/27/2023




Comment
Commenter: Cleco Corporate Holdings LLC

Commenter ID: 14

Docket ID: EPA-R06-OAR-2021-0801

Comment:

EPA should incorporate needed revisions to the 2016v2 modeling platform based on comments
provided by the states and other stakeholders as provided in this docket and then re-analyze the
Louisiana SIP based on the updated/corrected modeling platform before issuing a final rule on the
Louisiana SIP.



Response
In response to the commenter’s requests that the EPA reanalyze its modeling based on comments
received, the EPA has re-evaluated its emissions inventories to create the 2016v3 emissions modeling
platform and re-run the air quality models and related analyses using the 2016v3 inventories.
Specifically, with regards to Louisiana, the state continues to have a linkage to one or more downwind
receptors as indicated in the preamble in Sections III.C and IV.G.



Comment
Commenter: Eagle Materials Inc.

Commenter ID: 16

Docket ID: EPA-R09-OAR-2022-0138

Comment:

EPA’s new modeling fails to account for significant emissions reductions that have occurred since 2016.

The Proposed SIP Disapproval is based on updated air quality modeling, using EPA’s newly released
2016v2 Model. This modeling platform relies on emissions inventory data from the base year of 2016 to
develop future year emissions inventories using sector-specific methods. The 2016v2 update “draws on
data from the 2017 National Emissions Inventory,” incorporating “2016-specific state and local data
along with adjustment methods appropriate for each sector.” Based on projected future emissions
inventories from this model for 2023, 2026, and 2032, EPA assessed nonattainment and maintenance-
only receptors, as well as linked states, for purposes of evaluating state SIP submittals. While EPA’s
updated modeling accounts for certain updates between 2014 and 2016 in developing its baseline
emissions inventory for 2016, 2016v2 does not capture enforceable emissions limits and emissions
reductions from 2016 to present in modeling emissions in 2023 and 2026. These emissions reductions
significantly impact EPA’s assessment of nonattainment and maintenance-only receptors in these future
years, and call into question EPA’s determination that Nevada remains linked to downwind air quality
problems.

                                                                                                         99
        Case: 23-60069         Document: 110           Page: 498      Date Filed: 03/27/2023




Since 2016, at least fifteen Nevada facilities, identified in Table 1, have entered consent decrees
requiring enforceable NOx emissions reduction totaling at least 1,676 tpy, apart from additional
reductions that EPA has not quantified. EPA’s determination that Nevada is linked to downwind air
quality problems fails to account for these enforceable emission reductions because they fall outside
EPA’s 2016v2 modeling update.

Eagle believes that the marginal link between Nevada and downwind receptors has been eliminated by
these additional enforceable emission reductions. In its Proposed SIP Disapproval, EPA determined that
Nevada was linked to downwind air quality problems based on air quality projections and state
contributions identified in Table 2 [(table in full comment)], below. Nevada’s maximum contribution to
these receptors is 0.19 ppb above EPA’s 0.70 ppb linkage threshold. Because Nevada’s modeled
contribution to downwind receptors is so low, even a small reduction in projected emissions could
reduce Nevada’s level of contribution to these receptors below the 0.70 ppb threshold. Accordingly,
Eagle urges EPA account for these additional NOx reductions in evaluating Nevada’s interstate transport
obligations in its SIP submittal.

               Table 1: Enforceable Consent Decrees Impacting Nevada NOx Emissions,
                                           2016 – Present

       EPA Case No.              Facility Name           Date of Final Order    Estimated NOX Emissions
                                                                                      Reductions
    NVCCHA200162193         Lhoist North America of          7/5/2016                  Unknown
                              Arizona – Apex Plant
    NVCCHA200162109          Titanium Metals Corp.           5/17/2017                 Unknown
                               Henderson Facility
      09-2011-0506                Fernley Plant             10/30/2018                 1676 tpy
    NVCCHA200171077             Republic Services           1/29/2019                  Unknown
                             Renewable Energy LLC
    NVCCHA200172874          Caesars Entertainment           3/28/2019                 Unknown
                                      Corp.
    NVCCHA200172890          Robertsons Ready Mix            3/28/2019                 Unknown
    NVCCHA200172891              Wells Cargo Inc.            3/28/2019                 Unknown
    NVCCHA200179749            Nevada Ready Mix              9/26/2019                 Unknown
    NVCCHA200191116           Aggregate Industries           7/22/2020                 Unknown
                                  Sloan Quarry
    NVCCHA200192550             Blue Diamond Hill           09/24/2020                 Unknown
                                     Gypsum
    NVCCHA200192633          Titanium Metals Corp.          11/30/2020                 Unknown
                               Henderson Facility
    NVCCHA200196170         Pabco Building Products,         5/26/2021                 Unknown
                                       LLC
    NVCCHA200199608          Robertsons Ready Mix           08/02/2021                 Unknown
    NVCCHA200199945           EMD Acquisition LLC           9/23/2021                  Unknown
    NVCCHA200199607             Blue Diamond Hill           10/1/2021                  Unknown
                                     Gypsum




                                                                                                        100
           Case: 23-60069              Document: 110              Page: 499     Date Filed: 03/27/2023




Response
In response to commenter’s claims that the EPA’s emissions inventories did not include emissions
reductions from the facilities identified in the comment, the EPA has evaluated the information provided
by the commenter regarding these consent decrees.

Regarding commenter’s statement that the EPA has not quantified Nevada facilities subject to
enforcement related consent decree for NOX emissions reductions, the commenter tabulated names of
these facilities and their estimated NOX emissions reductions in Table 1 of the comment letter that is
duplicated above. For each row of the table, the comment document provides footnotes with web links
to the EPA’s database Enforcement and Compliance History Online (ECHO). However, with the exception
of the Fernley Plant, the estimated NOX emissions reductions for 14 of the 15 sources in the table are
reported as “Unknown”. To develop the 2023 non-EGU emissions in the 2016v3 platform, the EPA
started with the 2019 NEI point source inventory, as it was the latest complete point source inventory at
the time of the modeling. The EPA was able to identify some of the sources in the commenter’s table in
the NEI, although four facilities could not be found in the NEI with NOX, volatile organic compound
(VOC), or particulate matter (PM) emissions. The facilities that could not be found and the civil penalty
from ECHO listed in parentheses were Caesars Entertainment Corp. ($9,125), Robertsons Ready Mix
($7,250 and $3,120), Nevada Ready Mix (case not found in ECHO), and EMD Acquisition LLC ($12,640).
The penalties were modest with a maximum of $12,640. For the facilities that were found in the NEI, the
actual annual NOX emissions in tons from the 2016 inventory in the 2016v3 platform and the 2019 NEI
point inventory plus the modeled emissions in the modeled 2016v3 2023 inventory are shown in Table
3-1. The emissions in Table 3-1 were derived from facility and unit-level summaries of 2016v3 point
source emissions provided in the docket for this action.
Table 3-1 Recent and Projected Emissions for Nevada Facilities in Table 1

                                                                    2016 NOx     2019 NOx      2023 NOx
                         Facility Name
                                                                      (tons)       (tons)        (tons)
       Lhoist North America of Arizona – Apex Plant                   1,219        1,108         1,151
         Titanium Metals Corp. Henderson Facility                       10          24            24
                         Fernley Plant                                1,090        1,796         1,796
          Republic Services Renewable Energy LLC                        43          14            14
                       Wells Cargo Inc.                                 20          7              7
             Aggregate Industries Sloan Quarry                              7       19            19
                 Blue Diamond Hill Gypsum                              N/A          66            66
         Titanium Metals Corp. Henderson Facility                       10          24            24
                Pabco Building Products, LLC                           218         198           198


The only facilities in Table 3-1 with more than 70 tons of NOX emissions in 2019 are: Lhoist North
America of Arizona – Apex Plant, Fernley Plant, and Pabco Building Products, LLC. In ECHO18, the Lhoist
case is marked as resolved as of 2/1/2017, with a civil penalty of $7,500. We presume that any resulting

18
     https://echo.epa.gov/enforcement-case-report?activity_id=3601452966
                                                                                                          101
           Case: 23-60069          Document: 110         Page: 500         Date Filed: 03/27/2023




emission reductions would have been implemented in time to be reflected in the 2019 NEI. The Pabco
Building Products consent decree was from 2021, so any impacts would not be reflected in the 2019 NEI.
The ECHO status for Pabco19 is listed as resolved as of 6/8/2021 and the civil penalty was $7,600. Given
the actual NOX emissions in the 2019 NEI, the likely reduction in 2023 that could have been achieved
even if all emissions were eliminated in 2023 is about 200 tons per year (tpy) of NOX, while the total
annual modeled anthropogenic NOX in Nevada in 2023 is projected at 42,260 tons.
Thus, even a reduction of that level would not impact Nevada’s contribution to other states.

The summary for the Fernley case in ECHO20 is, “U.S. Environmental Protection Agency reached a
settlement with the Nevada Cement Company to install new air pollution control technology at its
Fernley, Nev. facility and replace a heavy-duty diesel truck and a diesel railcar mover at the facility with
clean emissions vehicles to address alleged violations of federal CAA regulations. The pollution controls
and clean emissions vehicles will reduce NOx emissions by approximately 1,140 tpy. Nevada Cement
Company also paid a civil penalty of $550,000 as part of the settlement.”

The EPA located the consent decree in United States v. Nevada Cement Company, Inc., Civil Action No.
17-302 (D. Nev.), which was amended in 2018. As amended, Section V.A of the consent decree requires
installation and operation either of Selective Non-Catalytic Reduction (SNCR) or catalytic filter bags with
ammonia injection and provides that EPA may require installation of low NOx burners. A copy of these
documents are available in the docket for this action.

A review of a June 19, 2020 issuance of two minor revisions to the operating permit for the Nevada
Cement Company shows an allowance of discharge of NOX to the atmosphere that will not exceed
475.84 pounds per hour, nor more than 2,084.20 tons per 12-month rolling period from the #1 Kiln, and
an allowance of discharge of NOX to the atmosphere that will not exceed 475.84 pounds per hour, nor
more than 2,084.20 tons per 12-month rolling period from the #2 Kiln. The EPA contacted the
Permitting Branch, Bureau of Air Pollution Control Nevada Division of Environmental Protection,
Department of Conservation and Natural Resources seeking the status of installation and operation of
SNCR at the Nevada Cement Company’s Fernley Plant. The supervisor promptly responded that she has
confirmed with the facility that the SNCR has been installed and is operational on the kilns prior to
October 2022. A copy of this document is made available in docket for this action. We note that the
actual 2019 emissions and the modeled 2023 emissions listed in Table 3-1 are about 1,800 tons, which is
significantly less than the total of the modified operating permit level of 4,168 tpy total for the two kilns
and is therefore a reasonable representation of the NOX emissions from this facility for 2023.

In summary, for all facilities except the Fernley Plant, the commenter has not provided adequate
information regarding NOX decreases for the EPA to fully evaluate commenter’s dispute of the linkage
results for these sources. Following the EPA’s analysis, the civil penalties for the cases other than
Fernley in the ECHO database were modest, indicating that the level of reductions would have been
minimal. Furthermore, an examination of the EPA-approved Regulations at 40 CFR 52.1470(c), and the
EPA-approved state source-specific permits at 40 CFR 52.1470(d) for Nevada did not show any of these
sources to have made these reductions pursuant to enforceable and permanent requirements of the


19
     https://echo.epa.gov/enforcement-case-report?activity_id=3602495139
20
     https://echo.epa.gov/enforcement-case-report?activity_id=2600059825
                                                                                                         102
        Case: 23-60069           Document: 110          Page: 501        Date Filed: 03/27/2023




state’s SIP. For Fernley, the modeled emissions are substantially less than the permitted emissions, so
while the installation of the SNCR will reduce emissions once they are fully installed and operating, the
EPA modeled the emissions in 2023 at only 43% of the modified level in the permit and therefore was at
a reasonable level to support the contribution analysis.

Given the detailed review of the consent decrees listed in Table 1 and their expected impacts all being
too small to make a difference, except potentially for Fernley (which we have otherwise accounted for
per above), we have sufficiently accounted for these comments in the final rule emissions inventory. Our
analysis projects Nevada to contribute more than 1 percent of the NAAQS to downwind receptors, as
noted in the preamble in Section III.C. and Section IV.M.



Comment
Commenter: Louisiana Chemical Association

Commenter ID: 26

Docket ID: EPA-R06-OAR-2021-0801

Comment:

EPA failed to take into account population decreases based on the 2020 census.

In addition to the inventory issues discussed above, EPA did not take into account the population
decrease in Louisiana based on the 2020 census. This affects various source emission calculations,
including many nonpoint source emissions. For Louisiana (and other states outside of the MARAMA), the
EPA used historical census populations to project nonpoint sources. A ratio of 2016 population to 2014
population was used to create a growth factor that was applied to certain sources. This analysis was
then used to calculate census-based growth for certain sectors and certain activities, including:
industrial solvent maintenance coatings, industrial adhesive applications, residential and commercial
portable gas cans, wastewater treatment recovery, etc.

In performing this analysis, EPA did not consider the 2020 census which showed that Louisiana’s
population growth from 2010-2020 was only 2.7 percent overall.53 The majority of parishes in Louisiana
experienced decreases in population. For example, Cameron Parish, which shares a border with
southeast Texas experienced a -17.9% population change from 2010 to 2020 and Caddo Parish, which
shares a border with Texas near Dallas experienced a -6.7% population change over the same time
period. In fact, of the seven parishes that share a border with Texas, four experienced a negative change
in population and two experienced an increase less than 3%.

At a minimum, EPA must incorporate needed revisions to the 2016v2 inventory based on the population
changes shown in the 2020 Census and then re-analyze the Louisiana Transport SIP based on the
updated/corrected modeling platform before issuing a final rule on the Louisiana Transport SIP.
53
  See Louisiana State Profile, 2020 Census, available at: https://www.census.gov/library/stories/state-
bystate/louisiana-population-change-between-census-decade.html; see also Louisiana's population continues to
shrink: Stats show nearly 13K decline between 2019, 2020, The Advocate, January 29, 2020 (available at:
https://www.theadvocate.com/baton_rouge/news/business/article_3833634c-5cdc-11eb-951d-
                                                                                                           103
           Case: 23-60069          Document: 110         Page: 502        Date Filed: 03/27/2023



b39a30651d28.html); Population declines in most Louisiana parishes, except for the suburbs, new estimates show,
Nola.com, March 25, 2022 (available at: https://www.nola.com/news/politics/article_fc5ff816-aba5-11ec-b605-
234640609e50.html) (“The vast majority of Louisiana’s parishes continued to shrink in the year after the 2020
census, drops that represented a continuation of a long-term trend that was exacerbated and sped up – in some
cases dramatically – by the impacts of the pandemic and the devastation of Hurricane Laura, according to new
estimates.”).



Response
The EPA disagrees with the Louisiana Chemical Association’s (LCA’s) claim that EPA’s emissions inventory
projections are flawed because the EPA failed to consider that the population in Louisiana is projected
to decrease, impacting the growth factor used to project non-point source emissions in the state. The
population-based growth method from 2014 to 2016 for the base year was used in the 2016v2 platform
used at proposal. For the final rule modeling with 2016v3, data from 2017 NEI were used instead of
using population-based factors to grow from 2014 to 2016, as 2017 NEI is a more recent inventory than
2014 NEI. Based on U.S. Census data,21 the population of Louisiana increased by 2% from 2010 to 2021.
The commenter seems to contradict their own claim that Louisiana’s population is decreasing by
identifying that between 2010 and 2020, Louisiana’s population increased overall by 2.7 percent.
Further, and as the commenter notes, population data are only used to project emissions for a few
Source Classifications Codes (SCCs) that impact NOX in the EPA’s 2016v2 and 2016v3 platforms. A
spreadsheet listing the SCCs that are projected based on human population is available in the docket for
this action. These factors increased Louisiana’s NOX emissions in 2023 by only 2 tons statewide in
2016v2. A spreadsheet showing state total emissions by SCC is available with the 2016v3 state total
summaries in the docket for this action. Human population change is also used to project solvent VOC
emissions. In the 2016v3 platform, the solvent emissions were projected to grow by 3.7% from 2016 to
2023. This is equivalent to 1,400 tons additional VOC out of 231,000 tons of anthropogenic VOC and
1.6M tons of VOC including biogenic and fire emissions. A change in VOC emissions of this magnitude
would not have a noticeable result in ozone concentrations or contributions. Overall, the limited use of
human population changes in projecting emissions from 2016 to 2023 does not have a significant impact
on ozone precursor emissions in Louisiana.



Comment
Commenter: Louisiana Chemical Association

Commenter ID: 26

Docket ID: EPA-R06-OAR-2021-0801

Comment:

The 2016v2 inventory contains sources that are permanently closed and fails to include emissions
reduction projects in Louisiana.


21
     https://www.census.gov/quickfacts/fact/table/LA/PST045221.
                                                                                                            104
        Case: 23-60069          Document: 110          Page: 503        Date Filed: 03/27/2023




Some of the discrepancies may be explained by issues with the inventory used. According to the
Technical Support Document for the 2016v2 platform (“2016v2 TSD”), the platform “draws on data from
the 2017 National Emissions Inventory (NEI), although the inventory was updated to represent the year
2016 through the incorporation of 2016-specific state and local data along with adjustment methods
appropriate for each sector.”

For instance, the non-EGU point source sector emissions in the 2016v2 platform have been updated
from the 2016 NEI point inventory and 2016v1 with certain changes. However, LCA believes that EPA has
failed to include a number of federally enforceable consent decrees for non-EGUs in its model, which
has served to overestimate emissions from Louisiana. In addition to the Cabot Facility consent decree
referenced in the 2016v2 TSD, the following consent decrees were also entered since 2016:

[See pages 12-14 of comment letter for specific list of consent decrees and facility information identified
by commenter.].



Response
In response to LCA’s claims that the EPA’s emissions inventories include emissions from sources in
Louisiana that have permanently shut down, the EPA has evaluated the information provided by the
commenter regarding these reductions and the status of the emissions at the facilities listed as planned
closures is as follows:

        Sterlington Power is not in the 2016v3 inventories for 2023 and is therefore modeled as closed.

        US Convent Refinery has 234 tons NOX in 2016 and 290 tons NOX in 2023 in the 2016v3 platform
        and is not closed. The commenter claims this facility closed in 2019, although LA DEQ reported
        290 tons of NOX in the preliminary 2020 NEI. In addition, on February 24, 2022, The Baton
        Rouge Advocate reported that Shell confirmed the refinery will be revived as an alternative fuel
        complex,22 and therefore it is not appropriate to remove the emissions in the 2023 modeling.

        Phillips 66 Alliance Refinery NOX emissions in the 2016v3 platform are approximately the same
        in 2016 at 813 tons as the modeled emissions in 2023 at 872 tons. The commenter states that
        this will be converting to a terminal facility, but no details are provided on the timing for this
        conversion or the expected impact to the emissions and thus the emissions are retained in the
        2016v3 platform.

Emissions for point sources used in the modeling by facility and unit are included in the docket for this
action. Regarding reductions in emissions due to consent decrees or other enforceable measures: The
installation of controls at Firestone Polymers by August 15, 2022, was too late to be reflected in the
2023 emissions used for modeling, although the 2023 NOx emissions are a minimal 44 tpy and a
reduction would have virtually no impact on the contribution analysis.

The general approach used by the EPA to develop the 2016v3 platform point source emissions for 2023
was to start with the 2019 NEI point source inventory, as the most recent complete point inventory at

22
  See https://www.theadvocate.com/baton_rouge/news/business/shell-confirms-shuttered-convent-facility-will-
become-an-alternative-fuels-complex/article_ad522d06-95ad-11ec-9457-bb64f61e4803.html.
                                                                                                        105
           Case: 23-60069          Document: 110          Page: 504        Date Filed: 03/27/2023




the time the modeling was performed. Next, known closures were applied, and growth was reflected
for some industries based on Annual Energy Outlook (AEO) 2022 industrial projections. Finally, controls
from known control programs were applied.

To review the specific reductions listed in this comment, the EPA used the agency interest and
document numbers provided by the commenter to download permit information from EDMS23 for the
identified facilities and specified dates. The status of the 2016v3 emissions for facilities noted as having
decrees or other enforceable measures to reduce permitted emissions more than 100 tons for NOX or
VOC are as follows:

           The Dow Company consent decree24 effective January 19, 2021, calls for 5,689 tpy of VOC
           reduction and 127 tpy of NOX reductions at Dow and Union Carbide facilities in Freeport Texas,
           Hahnville Louisiana, Plaquemine Louisiana, and Orange Texas. Union Carbide is a wholly owned
           subsidiary of Dow Chemical Co. Dow is required to install controls on covered flares to reduce
           emissions. The compliance deadlines in Hahnville are 12/31/2023 and 12/31/2024 for Olefins 1
           and 2, respectively. The compliance deadline for Plaquemine is 10/1/2021 for the first control
           system, and 12/31/2025 for the second and larger control system. The distribution in the
           targeted reduction between the facilities and between the states of Louisiana and Texas is not
           clear from the consent decree. As a result, it was not possible to implement specific reductions
           in the 2016v3 platform. In the 2016v3 platform, non-EGU NOx emissions from The Dow
           Company facilities in Louisiana in 2023 are modeled as 2,763 tpy while 2019 NEI emissions are
           2,703 tpy. The VOC emissions from The Dow Company facilities in the 2019 NEI are 1,294 tpy
           and are modeled as 1,294 tons in 2023 inventories in the 2016v3 platform.

           Columbia chemicals company (aka Birla Carbon) has a consent decree effective June 1, 2018,
           with a targeted permit reduction of 661 tons of NOX. Documentation for a permit modification
           provided August 26, 2022 (EDMS #13452282) shows that the permit is in the process of being
           updated to a total of 106 tpy, and that the current permitted value for NOX is 803 tpy. The 803
           tpy permitted value was enacted March 27, 2017 (EDMS #10551099) and as of January 22, 2023
           is still the most recent final permit for the facility. The emissions in 2023 in the 2016v3 platform
           were modeled at 632 tpy, thus the modeled emissions are within the permitted level as of
           January 22, 2023

           The Arcosa Lightweight Aggregates – Erwinville has a permit modification effective March 24,
           2020 (EDMS #12122066) with a reduction in NOX emissions of 106 tons for a final permitted
           level of 896 tons of NOX. The emissions in 2023 for the 2016v3 platform are modeled as 363
           tpy, the same as 2019 emissions and are within the permitted value.

           As of August 26, 2021, Cabot Corporation at the Villa Platte Plant has permitted NOx emissions
           of 1565 tpy (EDMS #12874234). The emissions for this plant for 2023 in the 2016 v3 modeling
           platform are 1,101 tpy and are therefore within the permitted level.




23
     https://edms.deq.louisiana.gov/edmsv2/quick-search
24
     https://www.epa.gov/sites/default/files/2021-01/documents/thedowchemicalcompany.pdf
                                                                                                           106
        Case: 23-60069         Document: 110         Page: 505       Date Filed: 03/27/2023




        As of March 20, 2019, Orion Engineered Carbon at the Ivanhoe plant has a permitted level of
        204tpy (EDMS #11574517), a reduction in permitted emissions of 1,156 tons. The permitted
        NOx emissions were later updated on July 28, 2022 to 272 tpy (EDMS #13406525). The actual
        emissions in 2016 were 797 tons, and the modeled emissions for 2023 in the 2016v3 platform
        were held constant at the 2019 level of 733 tpy. The NOx emissions were thus potentially
        overstated by about 460 tpy as compared to the permitted level for 2023. The total
        anthropogenic point source NOx from Louisiana modeled in 2016v3 for 2023 is 126,100 tons and
        the total anthropogenic NOx is 247,700 tons. Thus, even a 460 tpy overstatement of NOX from
        this facility would have virtually no impact on the contribution analysis.

        Union Carbide Corp. has a planned reduction in permitted NOX at its Olefin 1 and Olefin 2 plants
        of 122 tons effective March 9, 2021. Based on the Louisiana EDMS system document ID
        #12642791, the first plant would realize the emissions reduction by fourth quarter of 2023 an
        the second by fourth quarter of 2024. As of January 22, 2023, the most recent permit for the
        facility (EDMS #13192411) allows for 2,031 tpy of NOX. The amount modeled for 2023 in the
        2016v3 platform is 1,655 tons, which is well within the permitted level.

        The permit issued for Morehouse Bioenergy as of 10/6/2021 (EDMS #12918003) allows for 183
        tons of NOX and 218 tons of VOC. The NOX modeled in 2023 for the 2016v3 platform is 114 tpy,
        which is within the stated value of the permit. The VOC modeled for the facility in 2023 for the
        2016v3 platform is equal to the 2019 emissions level of 1,046 tons. The preliminary 2020 NEI
        emissions are higher than the 2019 emissions at 1,169 tons and had not yet shown the planned
        reduction in VOC to be effective in late 2021. The total point source VOC included in the 2016v3
        platform 2023 inventory is 64,700 tpy and the total of all anthropogenic VOC from Louisiana is
        231,600 tpy. Thus, the potential overstatement of 930 tons from this facility would have
        virtually no impact on the contribution analysis.

The permits referenced above have been downloaded from EDMS and are available in the docket for
this action. The changes for the remaining sources were under 100 tons of NOX or VOC and are not
reviewed in detail above, but the modeled point source emissions levels by unit as compared to 2019
and other recent-year levels are available in a unit-level comparison workbook in the docket for this
action. The total annual anthropogenic NOX emissions modeled in 2023 for Louisiana is 247,700 tons and
the total annual anthropogenic VOC emissions modeled is 231,600 tons. Reviewing many of the above
examples shows that the permitted emissions are often substantially higher than the actual emissions.
Thus, a reduction in permitted emissions does not necessarily correlate to a similar reduction in actual
emissions. It is not appropriate to simply subtract the change in permit emissions from actual
emissions, except in situations when the actual emissions are very close to the permitted level.

 Other issues raised by this comment related to EGUs in Louisiana are addressed in Section 3.3
(Emissions Inventory—EGUs).



Comment
Commenter: Minnesota Pollution Control Agency

Commenter ID: 31
                                                                                                    107
        Case: 23-60069         Document: 110          Page: 506       Date Filed: 03/27/2023




Docket ID: EPA-R05-OAR-2022-0006

Comment:

EPA is now proposing to use a revised 2016 modeling platform, EPA 2016 version 2 emissions modeling
platform (2016v2 EMP) to support a remedy for the Interstate Transport Rule for the 2015 Ozone
National Ambient Air Quality Standard (NAAQS). EPA requested comments on the platform by
December 17, 2021, and MPCA provided comments to Alison Eyth and the EmissionsModeling@epa.gov
mailbox on December 15, 2021. In those comments, MPCA stated that the 2016v2 EMP and derivative
modeling platforms will likely also be used by EPA for subsequent rule-making and technical evaluations
for the next few years, as it is now being used in EPA’s proposed disapproval of Minnesota’s 2015 Ozone
Transport SIP.

MPCA would like to reiterate our comments on the 2016v2 EMP for EPA’s consideration based on issues
identified by Minnesota and LADCO and other member states. Our comments identify three areas for
improvement in the 2016v2 EMP:

1. Non-electricity generation stationary (non-EGU) point source emissions controls

2. Future year emissions projections for various point and non-point inventory sectors

[...]

Non-EGU point source emissions controls

LADCO worked with member states to identify the highest-emitting sources and applicable control
technology information for non-EGU stationary point sources in the region. We generated a spreadsheet
with the highest-emitting non-EGU sources in 2016 for each LADCO state. The spreadsheet includes
columns for state input on emissions control information for each of the sources. The LADCO Emissions
Workgroup worked to identify base year emissions controls and potential emissions controls for
nonEGU point sources in the region. Given that EPA has included non-EGU point sources in the remedy
for the states’ obligations under the 2015 Ozone NAAQS Transport Rule, Minnesota reviewed the
control information for this sector and provided information to EPA on actual, existing controls at the
largest sources in the region.

The attached spreadsheet, nonegu_control_factors_survey_10252021 (MN Sources).xlsx, identifies
control information and future emission rate changes for several Minnesota sources in columns S
through V. The control information identified accounts for the installation of low NOX burners at the
taconite facilities in Minnesota as part of the Regional Haze Taconite Federal Implementation Plan (FIP).
Based on our estimates, we’re expecting just under 11,000 tons per year (TPY) in NOX reductions due to
the controls required by the Taconite FIP. MPCA first commented that we believed it was important to
have these significant reductions included in the 2016v2 inventory for non-EGUs, and again request that
EPA do so. See below for the summary of approximate emission reductions.

        • 2,100 TPY at Minorca Mine

        • 2,300 TPY at Hibbing Taconite

        • 700 TPY at United Taconite
                                                                                                     108
        Case: 23-60069             Document: 110           Page: 507         Date Filed: 03/27/2023




         • 3,600 TPY at US Steel Keetac

         • 2,100 TPY at US Steel Minntac

Future year emissions projections for various point and non-point inventory sectors

LADCO used EPA-generated emissions projection reports and identified a list of Source Classification
Codes (SCCs) that we believe have incorrect future year projection rates. The 2016v2 EMP projection
rates are not consistent either with real-world emissions trends or regional emissions projection
information. We request that EPA replace the 2016v2 EMP projections for these sources with the
updated rates provided by LADCO.

The attached spreadsheet, LADCO_EPA2016v2_Projections_Comments.xlsx, includes the list of the SCCs
with alternative projection information and LADCO comments on the sources of the alternative
information.



Response
In response to commenter’s (Minnesota Pollution Control Agency Association (MPCA)) statement that
the EPA should consider the comments it submitted on EPA’s 2016v2 emissions inventories in December
2021, the EPA acknowledges receipt of MPCA’s comments regarding updated emissions inventory data
on point-source non-EGU sources in Minnesota, as well as data on point and non-point sources
submitted in comments in the proposed action on Minnesota’s SIP submission. The EPA thanks MPCA
for this information and has considered, and incorporated as appropriate, this information in the 2016v3
emissions inventories.

In regard to the reflection of implemented and expected controls in the 2023 inventory, in the 2016v3
platform, the EPA started with the 2019 NEI point source inventory as the most recently available
complete inventory at the time the 2016v3 platform modeling was performed, and then reflected
impacts of known closures and controls in the intervening years. Specifically for the Taconite-related
sources mentioned by the commenter, the EPA incorporated draft year 2021 emissions into the 2023
inventory, as these were the latest available for those sources. In the provided spreadsheet on non-EGU
control factors, implementation dates for controls range from dates in 2018 through 2020 and would
therefore be included in the 2021 emissions values used in the 2016v3 platform emissions for 2023.

These emissions estimates are reflective of the current status of efforts to implement best available
retrofit technology (BART) FIP requirements for these sources. In particular, a revised emissions limit for
the Minntac facility was finalized in March 2021, (86 FR 12095; March 2, 2021), and the emissions
projections used for Minntac based on 2021 data are reflective of that limit. The EPA is still in the
process of reconsidering and setting BART emissions limits for the remaining taconite facilities in
Minnesota.25 Using 2021 emissions data for these units provides the best emissions data at this time and
until final BART emissions limits are set. As noted already, the EPA only considers emissions reductions


25
  Petitions for review and petitions for reconsideration of EPA’s 2016 BART FIP, 81 FR 21672 (Apr. 12, 2016),
remain pending and settlement discussions with the taconite facilities are ongoing. See Petition for Judicial Review,
U.S. Steel Corp. v. U.S. EPA, No. 18-1249 (8th Cir. Feb. 2, 2018).
                                                                                                                 109
        Case: 23-60069           Document: 110           Page: 508        Date Filed: 03/27/2023




from rules that are final. To the extent the commenter is referencing any emissions reductions from the
second planning period of the Regional Haze Program, the EPA notes that it has not yet taken final
action on the second planning period Regional Haze SIP submission from the MPCA.26 Although the EPA
acknowledges the efforts the state has made to develop a SIP submission, the EPA cannot incorporate
non-final or uncertain emissions reductions into its transport modeling platform.

For airports, nonroad, and oil and gas-related natural gas engines, the EPA reviewed these factors and
did not accept the revised projection factors as the provided rationales were not found to be credible
when the EPA explored available data sources for these source categories. The EPA did accept the
revised factor of 1.0 for nonpoint distillate as we found that industrial distillate sales are flat or declining
since 2016.27 More information is available in the 2016v3 Emissions Modeling TSD (the EPA notes that
the 2016v3 Emissions Modeling TSD contains information for the years 2016, 2023, and 2026; however,
years after 2023 are not relevant to this action, which is focused on the 2023 analytic year).

With regard to provided alternative projection rates for commercial aircraft (a uniform factor of 1.15),
and factors equal to 1.0 (i.e., constant emissions) for two-stroke pleasure craft on waterways, two-
stroke snowmobiles, and industrial natural gas usage in the point oil and gas sector, the EPA disagrees
with some of the provided factors following a review of the listed data sources and the emissions data.
For aircraft, because it is not appropriate to use a single projection factor for all airports the EPA instead
used airport-specific projection factors based on the 2021 Terminal Area Forecast released in June 2022
as the basis for the projection factors in the 2016v3 platform. With the EPA’s method, projection factors
are based on expected changes to traffic at major airports and expected state-level changes in traffic at
smaller airports. For pleasure craft, the EPA found data from the National Marine Manufacturers
Association that indicated that pleasure craft sales were not on the decline in the early 2020s and
therefore retained the emissions estimates from EPA’s Motor Vehicle Emission Simulator version 3
(MOVES3). The EPA agrees that snowmobile usage is flattening, but because the ozone season
snowmobile emissions are minimal, the EPA retained the emissions estimates from MOVES3. The EPA
disagrees that employment levels were a good surrogate for emissions from natural gas engines on
pipelines and instead uses information related to expected trends in natural gas usage based on factors
in the AEO 2022. The EPA agrees that the use of distillate oil is flat or declining and accepted the
proposed projection factor of 1.0 for those sources. More details on the EPA projection methods and
updates in the 2016v3 platform are described in the 2016v3 Emissions Modeling TSD.

A response to the portion of the comment related to the Eastern Regional Technical Advisory
Committee (ERTAC) versus IPM is included in Section 3.3.2 (EPA’s Integrated Planning Model (IPM)of this
RTC document.




26
   87 FR 52856, August 30, 2022. Minnesota was one of 15 states named in a Finding of Failure to Submit a SIP
which satisfies the visibility protection requirements of the Clean Air Act (CAA), as described in implementing
regulations, for the regional haze second planning period. Minnesota submitted a second planning period Regional
Haze SIP submission to the EPA on December 22, 2022.
27
   https://www.eia.gov/dnav/pet/hist/LeafHandler.ashx?n=PET&s=KD0VISNUS1&f=A
                                                                                                            110
        Case: 23-60069          Document: 110         Page: 509       Date Filed: 03/27/2023




Comment
Commenter: United States Steel Corporation

Commenter ID: 45

Docket ID: EPA-R05-OAR-2022-0006

Comment:

The Proposed Disapproval is not based upon Accurate Projected Emission Estimates and the Model
Over-Predicts Impacts

The emission estimates from sources that would be affected by the rule are incorrect; and do not reflect
the actual projected emissions. These emission estimates do not include reductions that have been and
will be implemented under other actions.

For example, it does not appear that U.S. EPA has considered current and projected emission reductions
that have resulted from years of effort by both U.S. EPA and the taconite industry in revising the Federal
Implementation Plan (FIP) for regional haze in Minnesota. In addition, undoing or redoing the
evaluations and productive efforts that have occurred for over 10 years that have resulted in significant
NOx reductions that have been shown to be technologically and economically feasible is inefficient and
inappropriate. In sum, these efforts, and most importantly, these reductions must be considered in U. S.
EPA’s evaluation.

While U. S. Steel disagrees with EPA’s proposed threshold of 1 percent, if the data are corrected and
incorporated into modeling for Minnesota, it would show that Minnesota’s contribution impact is less
than EPA’s 1 percent proposed “interference” threshold as previously demonstrated by LADCO and U. S.
EPA.



Response
In response to commenter’s claim that emissions from sources in Minnesota are overestimated, because
the EPA failed to consider emissions reductions from programs such as Regional Haze, in the 2016v3
emissions for 2023, EPA used actual 2021 emissions provided by the MPCA that accounted for
reductions implemented as of that year. As noted already, the EPA only considers emissions reductions
from rules that are final.



Comment
Commenter: Oklahoma Department of Environmental Quality

Commenter ID: 37

Docket ID: EPA-R06-OAR-2021-0801

Comment:



                                                                                                      111
        Case: 23-60069            Document: 110           Page: 510        Date Filed: 03/27/2023




Non-EGU Point Sources – Oklahoma respectfully requests that EPA use 2017 National Emissions
Inventory (NEI) data for all non-EGU point sources rather than the data currently in the 2016v2 EMP.
The temporal profile for these facilities is not weather dependent as is the case for the EGU sector, and
ODEQ does not think that will raise any concerns regarding the coupling of emissions data and weather
that may be likely to lead to ozone formation at sites experiencing difficulties attaining or maintaining
attainment of the NAAQS. In addition, a number of errors were noted during ODEQ’s review of the
2016v2 EMP and the 2017 NEI data corrects those errors. For non-EGU point sources, some of the
problems ODEQ observed may be associated with PM-2.5 augmentation performed by EPA on data
submitted to the 2016 Emissions Inventory System (EIS). In some cases, it appears that there was an
assumption that ODEQ’s primary PM2.5 represented only the filterable component, but that was not
the case.12

Oil & Gas Sector – For the facilities whose emissions ODEQ submitted as oil and gas sector point sources
in the 2017 NEI, Oklahoma requests that EPA use the 2017 NEI data rather than the data in the 2016v2
EMP. As was the case for other non-EGU point sources, ODEQ believes that the 2017 NEI data are more
representative of actual facility emissions. With regard to area oil and gas emissions, ODEQ recommends
use of the 2017 NEI data for the production segment.
12
  Primary fine particulate matter with an aerodynamic diameter less than or equal to 2.5 micrometers (PM-2.5) is
composed of filterable and condensable components. If a state agency supplies only the filterable component in its
submission to the EIS, EPA will augment those data to yield total PM-2.5. In Oklahoma’s case, ODEQ submitted
total PM-2.5 and no augmentation should have been performed.



Response
In response to commenter’s request that the EPA use 2017 NEI data for all non-EGU point sources
instead of 2016v2 EMP data, the EPA has updated the point source inventories to use 2017 NEI for
emissions projected from 2014, although the 2016 point source emissions were retained where they
reflected year 2016-specific data. Similarly, the EPA has accepted the Oklahoma Department of
Environmental Quality’s (DEQ’s) request to use 2017 NEI for emissions from point source oil and gas
sources. In response to commenter’s claims that issues with inventory data may be associated with
PM2.5 augmentation completed by EPA, the EPA notes that PM augmentation is not relevant for ozone-
focused modeling. Finally, the EPA accepted the comment to use 2017 data for production-related area
(i.e., nonpoint) oil and gas emissions in Oklahoma in the 2016v3 platform.



Comment
Commenter: PacifiCorp (Attachment – Ramboll Evaluation)

Commenter ID: 38

Docket ID: EPA-R08-OAR-2022-0315

Comment:



                                                                                                              112
        Case: 23-60069         Document: 110          Page: 511       Date Filed: 03/27/2023




Missing Anthropogenic Emission Controls in the DM/NFR NAA Will Result in Reductions in Future Year
Ozone Design Values

EPA used the MOVES3 mobile source emissions model to define mobile source emissions for the 2016,
2023 and 2026 emission scenarios. MOVES3 uses vehicle sales through 2020 to define the level of
Electric Vehicle (EV) sales penetration for each year. However, MOVES3 assumes zero EV sales in
Colorado for year 2021 and newer years, presumably because EV sales are not a federally enforceable
control measure. This is clearly an incorrect assumption as EV sales in 2021 were greater than previous
years.

On January 17, 2019, the Governor of Colorado issued Executive Order B 2019 00221 to support a
transition to zero emission vehicles. The Colorado Electric Vehicle Plan 2020 lays out the blueprint for
increasing sales of EVs stablishing a target of almost a million EVs in the state by 2030, which is
approximately half of how many vehicles are currently in Colorado. Thus, increased EV sales are a reality
in Colorado and assuming no EV sales from 2021 on in MOVES3 will overstate future year NOX and VOC
emissions in the DM/NFR NAA and other areas in Colorado resulting in EPA overstating the 2023 and
2026 ozone design values in their Proposed Transport Rule.

The Clean Air Act (CAA) allows California to set its own motor vehicle emission emissions standards
provided they are no less stringent than the Federal standards. Under Section 177 of the CAA (42 U.S.C.
7507), states are allowed to opt-in to California’s Low-Emissions Vehicle (LEV) criteria pollutants and
greenhouse gas (GHG) emissions regulations and Zero Emissions Vehicle (ZEV) regulations. Colorado is
one of 14 Section 177 states that have adopted the California motor vehicle emission standards, which
includes a ZEV mandate that is mainly EVs. Thus, EV sales in Colorado from 2021 are a reality and legally
binding under Section 177 of the CAA and assuming there are none, as in the Proposed Transport Rule,
is incorrect and will overstate Colorado VOC and NOX emissions in 2023 and 2026 resulting in
overstating 2023 and 2026 ozone design values at nonattainment/maintenance receptors in the
DM/NFR NAA.

On April 13, 2022, EPA proposed to redesignate the DM/NFR ozone NAA from Serious to Severe under
the 2008 ozone NAAQS due to failure to attain by the July 20, 2021 attainment date for a Serious ozone
NAA. As a Severe ozone NAA, the DM/NFR NAA will be subject to additional requirements that will
reduce NOX and VOC emissions. One such mandatory requirement for a Severe ozone NAA is the
implementation of reformulated gasoline (RFG) in the NAA that will reduce NOX and VOC emissions
resulting in reduced ozone concentrations. The Proposed Transport Rule 2026 ozone design value
projections did not account for the fact that RFG will be mandatory in the DM/NFR NAA resulting in an
overstatement of 2026 emissions and 2026 ozone design values.



Response
The commenter mentions the impact of the California’s CAA waiver on other states like Colorado and
noted that those emissions must be accounted for accurately. Any state that had adopted California’s
Low-Emissions Vehicle LEV criteria pollutant and Zero-Emissions Vehicle (ZEV) regulations at the time
the EPA was building its 2016v2 emission profiles and projections would have seen those emissions
changes included in the modeling. Specifically, because Colorado adopted the LEV rule prior to 2019,
                                                                                                      113
        Case: 23-60069            Document: 110           Page: 512        Date Filed: 03/27/2023




this is reflected in the modeling. Because Colorado did not adopt its ZEV regulations until after 2019,
these programs are not accounted for in the 2016v2 modeling.

The Colorado Electric Vehicle Plan 202028 says that by “achieving its goal of 940,000 EVs by 2030, the
state could see significant environmental benefits that include emission reductions. As noted in the
2018 Colorado Electric Vehicle Plan, Colorado could experience an annual reduction of ozone forming
pollutants estimated at 800 tons of NOx, 800 tons of volatile organic compounds (VOC).” If these
numbers are correct, the ozone season ozone-precursor emissions would be reduced by approximately
600 tons, which is only 0.6 percent of the total ozone-precursor emissions projected for Colorado, and
only by 2030, well after the 2023 analytic year. These changes, alone, are unlikely to bring the state of
Colorado back into attainment for the 2015 ozone NAAQS. Emission reductions that will come from
forthcoming reformulated gasoline (RFG) requirements will most likely be too small on their own, or in
combination with other planned vehicle programs in the state, to change the attainment status of
Denver. We note that the emission rates included in MOVES3 reflect the national Tier 3 program, which
harmonizes emission rates for NOX and VOC with the California LEV program starting with model year
2017 and are applied in all states.

For the 2016v3 modeling platform, the EPA used actual vehicle populations by fuel type (e.g., gasoline,
diesel, electric) and by county for all states, not the assumptions of these populations in MOVES3. For
the proposal modeling, the populations based on registration data from the calendar year 2017 and for
the final rule modeling the starting populations for future years were initially populated from actual
registration data for the year 2020 and were then projected to the modeling year 2023 using fuel-
specific trends based on the AEO 2022.



Comment
Commenter: United States Steel Corporation

Commenter ID: 45

Docket ID: EPA-R05-OAR-2022-0006

Comment:

The emission estimates from other sources, including those in Illinois, Indiana, Ohio and Michigan – and
in particular, emissions from the iron and steel sources in those states, are overstated and are
inconsistent with prior state submittals.



Response
The EPA disagrees with the commenter that iron and steel emissions have been overstated in its
modeling. Further, the commenter has not provided data suggesting why it believes emissions from iron
and steel sources in Illinois, Indiana, Ohio, and Michigan are overstated, nor has the commenter


28
  The Colorado Electric Vehicle Plan 2020 can be accessed via https://energyoffice.colorado.gov/zero-emission-
vehicles/colorado-ev-plan-2020.
                                                                                                             114
        Case: 23-60069          Document: 110         Page: 513        Date Filed: 03/27/2023




explained how the EPA’s modeling overstates these emissions. In the 2016v3 platform, EPA based 2023
non-EGU point emissions for facilities other than Taconite facilities on actual 2019 emissions as these
are state-submitted data for the NEI and are consistent with operations in recent years. Any closures
known to take effect by 2023 were applied along with the impacts of known control programs.



Comment
Commenter: Utah Petroleum Association and the Utah Mining Association

Commenter ID: 48

Docket ID: EPA-R08-OAR-2022-0315

Comment:

The 2011 base emissions year in the modeling provided by EPA to use in IT SIPs is out of date and not
predictive of current downwind influences.

In its IT SIP, Utah documented its substantial emission reductions occurring after the baseline model
year, a 30% reduction in VOC emissions and a 37% reduction in NOx by 2017 based on the latest
triennial emission inventory at the time of IT SIP submittal. These reductions came about at least in part
due to controls implemented on sources for the PM2.5 Serious nonattainment SIP and controls
implemented on oil and gas sources operating in the Uinta Basin. Some reductions resulted from
ongoing motor vehicle fleet turnover and implementation of Tier 3 fuels.

Without modeling the substantial emission reductions, we cannot know how much these reductions
would reduce the downwind influence. We can only consider these reductions as weight of evidence
and to demonstrate that Utah has already implemented the types of controls that might be required in
an IT SIP, as Utah has done in its IT SIP.

EPA should take these substantial reductions into account when it considers whether Utah has more
than a threshold contribution to a downwind State.



Response
In response to the commenter’s criticism of the EPA’s 2011 base year emissions being out of date for
use to support the EPA action on interstate transport, we first note that the EPA’s 2016v2 modeling
relied on in part at proposal, does not use 2011 as its base year, but instead uses 2016. This is for the
exact reason the commenter states; 2016 provides more up-to-date data. With the collaborative
development of the 2016-based inventories, the EPA believes this modeling provides up-to-date air
quality projections. That said, no SIP submission is being disapproved on the grounds that the state
relied on older versions of EPA or non-EPA modeling. The EPA has more recent data than the 2011 base
year emissions included in the 2016v2 and 2016v3 emissions platform modeling. The EPA explained at
proposal why Utah’s reference to Best Available Control Technology (BACT) and Best Available Control
Measures (BACM) for the Salt Lake City PM2.5 nonattainment area, implementing controls on oil and gas
sources in the Uinta Basin, and implementation of Tier 3 gasoline was insufficient to support a

                                                                                                        115
        Case: 23-60069           Document: 110          Page: 514       Date Filed: 03/27/2023




conclusion that the state has no outstanding good neighbor obligations for the 2015 ozone NAAQS. See
87 FR 31477-31483 (May 24, 2022).

Comment
Commenter: WildEarth Guardians

Commenter ID: 50

Docket ID: EPA-R06-OAR-2021-0801-0042

Comment:

Thank you for the opportunity to offer public comments regarding EPA’s proposed disapproval of
Texas’s 2015 Ozone Interstate Transport State Implementation Plan (SIP). WildEarth Guardians supports
EPA’s ultimate decision to disapprove the Texas SIP proposal. However, because neither Texas’s nor
EPA’s ozone modeling results appear to accurately reflect the true impact of emissions from Texas on
ozone pollution levels in New Mexico, we request that EPA take a closer look at this issue as it finalizes
its SIP disapproval and formulates a Federal Implementation Plan (FIP) for Texas. In particular, we
request that EPA ensure that ozone precursor emissions from Texas’s oil and gas industry, including in
the Permian Basin straddling the Texas-New Mexico border, are fully accounted for in EPA’s modeling,
and that EPA’s FIP ensures that these emissions do not significantly contribute to future exceedances of
the ozone NAAQS at monitoring sites in southeastern New Mexico. Guardians requests that EPA revisit
its assumptions regarding emissions from the oil and gas industry – particularly in the booming Permian
Basin – to ensure that its modeling efforts provide a realistic projection of ozone pollution levels at sites
significantly impacted by such emissions.

TCEQ Modeled 2023 Design Values in New Mexico

With oil and gas development and production booming in the Permian Basin, it is critical that EPA fully
evaluate the impact of oil and gas sector emissions on ozone pollution levels in New Mexico. With
monitored design values in southern and southeastern New Mexico currently well in exceedance of the
2015 NAAQS, it is highly unlikely that these receptors will achieve attainment by 2023. As EPA explained
in the Technical Support Document (“TSD”) for the EPA Region 6 2015 8-Hour Ozone Transport SIP
Proposal that it would not expect ozone design values to decrease by more than 0-1 ppb per year. As
such, the 2020 and 2021 design values in southern and southeastern New Mexico suggest that monitors
in these areas will likely see 2023 ozone design values that continue to significantly exceed the 2015
ozone NAAQS, thus warranting future year modeling and state contribution analysis to determine
whether upwind states are inappropriately causing or contributing to ozone violations.

[table in full comment]

In light of the well-documented ozone pollution problem documented at monitoring sites in southern
and southeastern New Mexico, we request EPA apply the analysis described in Sections 1 and 2 of the
Technical Support Document (TSD) for the EPA Region 6 2015 8-Hour Ozone Transport SIP Proposal to
TCEQ’s modeled 2023 design values for Eddy County and Dona Ana County monitors in New Mexico,
identified below.

[table in full comment]
                                                                                                         116
        Case: 23-60069         Document: 110         Page: 515        Date Filed: 03/27/2023




Specifically, we request EPA evaluate recent design value monitored trends in Dona Ana and Eddy
Counties to determine what potential design value declines – if any – could be expected by 2023. Using
this information, we request EPA compare the TCEQ modeled 2023 design values for the monitors in
these counties to the 2020 monitored design value and preliminary 2021 design value and determine
whether TCEQ’s modeling is underestimating future ozone design values in this region of New Mexico.
Accurately determining whether monitors in Southern and Southeast New Mexico qualify as
nonattainment or maintenance receptors is essential because TCEQ identified Texas anthropogenic
emission sources as contributing well in excess of 1% of the NAAQS, or 0.70 ppb, to the vast majority of
monitors in New Mexico – a potentially significant contribution to nonattainment or interference with
maintenance. Accordingly, given the likelihood that these monitoring sites are likely to remain in
exceedance of the 2015 NAAQS by the 2023 attainment deadline, it is critical that EPA’s analysis take
into account Texas’s significant contribution to ozone pollution in southern and southeastern New
Mexico. Understanding Texas’s contribution is an essential first step towards ensuring that a Good
Neighbor FIP for Texas take the steps needed to ensure that emissions from Texas – including those
from the oil and gas industry – do not significantly contribute to non-attainment in New Mexico.



Response
In response to commenter’s request that the EPA revisit its emissions inventories and projections of the
oil and gas sector in the Permian Basin, the EPA notes that since the release of the 2016v2 inventories,
the EPA has continued to work with the states to further refine these inventories for the 2016v3
platform. In particular, the EPA worked with New Mexico Environment Department to improve the
characterization of oil and gas emissions in New Mexico in the 2016v3 platform. As a result, the EPA
modified the base year inventories for New Mexico submitted by the Western Regional Air Partnership
(WRAP), as well as projections for New Mexico and Texas to better reflect the emissions for the Permian
Basin. Details of these changes can be found in the Emissions Modeling TSD, in the docket for this action
(docket ID No. EPA-HQ-OAR-2021-0663).

The EPA addresses comments related to model performance and design in Section 4 (Air Quality
Modeling) of the RTC.



Comments
Commenter: Wisconsin Department of Natural Resources

Commenter ID: 51

Docket ID: EPA-R05-OAR-2022-0006

Comment:

EPA should review Wisconsin’s December 2021 comments on the 2016v2 emissions modeling platform
and incorporate this information in future versions of the platform.

On December 15, 2021, the WDNR provided comments on EPA’s draft 2016v2 emissions modeling
platform. EPA has indicated that states should use this notice and comment opportunity to resubmit
                                                                                                     117
        Case: 23-60069           Document: 110          Page: 516       Date Filed: 03/27/2023




these comments to EPA to ensure they are in the record. The WDNR is therefore providing those
comments again as an enclosure to this letter. EPA should evaluate WDNR’s comments and incorporate
the suggested changes when it revises its 2016 platform for use in future regulatory actions, such as a
final 2015 ozone NAAQS transport rule.



Commenter: Wisconsin Department of Natural Resources (Attachment – 2021 comments)

Commenter ID: 51

Docket ID: EPA-R05-OAR-2022-0006

Comment:

Control and Growth Assumptions for Industrial Point Sources

4. There are several industrial point source retirements and committed controls in Wisconsin that are
not included in EPA’s projected 2023, 2026 and 2032 emissions (see Table 2). The EPA should integrate
these retirements and controls into its projected emissions.

5. The petroleum coke growth factor of 1.98 for A-M Kaukauna paper mill (Agency FID 445031180) unit
B11 process #5 and unit B09 process #3 is inappropriate. The EPA should instead use a growth factor
equivalent to the growth factor of coal of 0.88 for this facility. Petroleum coke throughput at this facility
is expected to be proportional to coal throughput or less.

Table 2 – Wisconsin Industrial Point Source Post-2016 Retirements and Controls [available in full
comment]

Control and Growth Assumptions for Mobile Sources

6. Commercial Marine Vessels. The EPA’s Technical Support Document for the draft 2016v2 Platform
(dated September 2021) states that the commercial marine emissions in 2016v2 are the same as those
in 2016v1 (see pages 57 and 61). However, the draft 2016v1 Platform provides two sets of commercial
marine emissions:

        • One nationwide, with the files dated during January and February 2020. The data for these
        emissions can be accessed at the following links:

        https://gaftp.epa.gov/Air/emismod/2016/v1/2016emissions/
        https://gaftp.epa.gov/Air/emismod/2016/v1/2023emissions/
        https://gaftp.epa.gov/Air/emismod/2016/v1/2028emissions/

        • A second focused on the Great Lakes area, with the files dated later, during May 2020. These
        files cover two modeling domains:

                o DO3: Parts of four states6 surrounding Lake Michigan

                o DO2: A larger domain surrounding the Great Lakes, including all or parts of 16 states7
                and part of Canada

                                                                                                          118
        Case: 23-60069            Document: 110            Page: 517        Date Filed: 03/27/2023




        The data for these emissions can be accessed at the following link:
        https://gaftp.epa.gov/Air/emismod/2016/v1/2016emissions/cmv_other_grids/

The commercial marine emissions in the draft 2016v2 Platform match those in the first (nationwide) set
cited above. The emissions within the states covered in the second (Great Lakes) set are not updated to
match the emissions in that set. The EPA should either update the commercial marine emissions within
the DO2 and DO3 modeling domains to match the May 2020 data or document why the earlier
nationwide emissions estimates are preferable.
6
 These four states are: Illinois, Indiana, Michigan, and Wisconsin.
7
 These 16 states are: Arkansas, Illinois, Indiana, Iowa, Kansas, Kentucky, Michigan, Minnesota, Missouri, New York,
Ohio, Oklahoma, Pennsylvania, Tennessee, West Virginia, and Wisconsin.


Response
The EPA acknowledges receipt of the commenter’s comments on the 2016v2 emissions inventories in
December 2021, which were also attached to their comment on the proposal. In the 2016v3 inventories
used for the final rule modeling, the EPA has taken these comments into consideration. The EPA ensured
that three units at Georgia-Pacific Consumer Products LP and specific units at Green Bay Packaging Inc.
Mill Division were not included in the 2023 projected inventories in the 2016v3 platform due to unit
retirements. The EPA confirmed that the specified control devices were associated with the Cardinal FG
and ND Paper units in the inventories used to model 2023 in the 2016v3 platform. Regarding the units
at the A-M Kaukauna paper mill, the EPA updated its projection methods for the 2016v3 platform. The
emissions in 2023 are now projected to be 91% and 92% of the 2016 emissions at the two units as
opposed to having higher emissions in 2023 as was projected in the 2016v2 platform. The emissions at
these units are projected to decrease further by 2026 in the 2016v3 platform, although the 2026
emissions numbers are not relevant to this action.

Regarding the comment on the Commercial Marine Vessel (CMV) inventories, there were multiple sets
of inventories in the 2016v2 platform because the EPA provided CMV emissions on finer than 12
kilometer (km) grids (D02 and D03) at the request of the Lake Michigan Air Directors Consortium
(LADCO) to support air quality modeling on fine grids in their region. The D03 and D02 emissions are out
of scope with respect to this action as these data were not used in the EPA modeling and were only used
in LADCO modeling. However, the EPA did respond to a request by LADCO to provide emissions
compatible with the 2016v3 platform on those grids.



Comment
Commenter: Xcel Energy

Commenter ID: 52

Docket ID: EPA-R05-OAR-2022-0006

Comment:



                                                                                                               119
        Case: 23-60069          Document: 110          Page: 518        Date Filed: 03/27/2023




EPA’s disapproval of the MN SIP is based on revised EPA modeling that the MPCA, in their comments,
has identified flaws with (including the failure to consider substantial planned NOC emissions
reductions).

Response
The EPA received comments from MPCA as commenter suggests and has responded to those comments
in this final action. The EPA has updated its emissions inventories for Minnesota sources to reflect input
MPCA provided in its comment letter, and these updates are included in the 2016v3 modeling.



3.3 Emissions Inventory – EGUs
3.3.1 Unit Corrections


Comments


Commenter: Louisiana Chemical Association

Commenter ID: 26

Docket ID: EPA-R06-OAR-2021-0801

Comment:

Finally, the following EGU sources have converted or retired coal-fired units and/or installed emissions
controls to reduce emissions in Louisiana:

    •   Big Cajun II, Unit 2 was converted from coal to natural gas in 2015 and generates 540
        megawatts. The conversion sharply reduced emissions of sulfur, mercury, nitrogen oxide and
        particulate matter. Other technologies installed to reduce nitrogen oxide emissions include
        Selective Non-Catalytic Reduction (“SNCR”) technology in May 2014

    •   At Big Cajun II, Unit 1 and Unit 3, Selective Non-Catalytic Reduction (“SNCR”) technology was
        installed to reduce nitrogen oxide emissions in May 2014

    •   Big Cajun II, Unit 1, a coal-fired unit, will retire or be refueled to natural gas by December 2025
        as part of a consent decree agreement

    •   Planned retirement or conversion of Rodemacher Unit 2 at Brame Energy Center, which is a 523-
        megawatt generating unit predominately powered by coal which will retire or cease burning
        coal in 2028 through EPA approval of the CCR Part A Demonstration-submittal and/or Brame
        Energy Center’s ELG Notice of Plan Participation

    •   Retirement of Dolet Hills Power Station, a 642-megawatt coal-fired generating unit, took place
        in December 2021.



                                                                                                         120
        Case: 23-60069          Document: 110         Page: 519        Date Filed: 03/27/2023




Thus, the EPA inventory used for the modeling does not account for all relevant emission reductions. As
discussed above, at a minimum, EPA must incorporate needed revisions to the 2016v2 inventory and
then re-analyze the Louisiana Transport SIP based on the updated/corrected modeling platform before
issuing a final rule on the Louisiana Transport SIP.

Commenter: Mississippi Department of Environmental Quality

Commenter ID: 32

Docket ID: EPA-R04-OAR-2021-0841

Comment:

EMISSION SOURCES The air quality modeling results from the 2016v2 Emissions Modeling Platform
indicate that by 2026, emissions occurring in Mississippi will no longer contribute to nonattainment nor
significantly contribute/interfere with maintenance at any downwind receptor, even without actions to
reduce emissions from Mississippi sources. However, it is important to note that many emissions
reductions are scheduled or have taken place at Mississippi facilities since 2016, which is the emissions
year the 2016v2 platform is based on. These include:

    •   Mississippi Power Company’s plan to shut down Plant Watson Unit 4, a 2,760 MMBtu natural
        gas fired boiler, in December 2023 and to retire all coal units at Plant Daniel no later than
        December 2027.
    •   Cooperative Energy Plant RD Morrow’s retirement of all coal units in 2018 and replacement with
        natural gas combined cycle units.
    •   Entergy Mississippi Plant Baxter Wilson’s retirement of Unit 2, a 6,680 MMBtu natural gas fired
        boiler with fuel oil backup, in 2018 and plans to shut down the remaining Unit 1, a 4,790 MMBtu
        natural gas fired boiler with fuel oil backup, in May 2023.
    •   Entergy Mississippi Plant Rex Brown’s retirement of Unit 4, a 2,130 MMBtu natural gas fired
        boiler with fuel oil backup, in 2018 and the remaining Unit 5, a fuel oil fired combustion turbine,
        in 2019. Plant Rex Brown is now completely shut down.

These significant emissions reductions from Mississippi sources alone should be adequate to allow EPA
to approve a revised Mississippi iSIP.



Commenter: Oklahoma Department of Environmental Quality

Commenter ID: 37

Docket ID: EPA-R06-OAR-2021-0801

Comment:

ODEQ has provided informal feedback to the EPA concerning the 2016 v2 EMP and those comments are
also provided below.



                                                                                                       121
        Case: 23-60069          Document: 110          Page: 520        Date Filed: 03/27/2023




EGU Sector - ODEQ has identified a few minor updates that should be made to Version 6 of the National
Electric Energy Data System (NEEDS) and those updates are included in Attachment D.

[Attachment D is available in its entirety in the original comment letter.]



Commenter: PacifiCorp (Attachment - Berkshire Hathaway Energy (BHE) Company Comments on
Proposed Ozone Transport Rule)

Commenter ID: 38

Docket ID: EPA-R08-OAR-2022-0315

Comment:

BHE has identified significant NOX emission reductions in Wyoming that are not taken into account by
EPA’s analysis. There are a number of required and planned control projects and retirements scheduled
at PacifiCorp units in the coming years that will accomplish significant emission reductions that EPA
should consider when determining whether it is warranted to include Wyoming in the scope of the
Proposed Rule. In particular, PacifiCorp will be converting Jim Bridger Units 1 and 2 to natural gas by
2024 and has committed to retire or cease burning coal at five other units: Naughton Units 1 and 2 prior
to 2026, and Dave Johnston Unit 3 by the end of 2027, and Dave Johnston Units 1 and 2 by 2028. The
cessation of coal combustion on Naughton Units 1 and 2 and Dave Johnston Units 1, 2 and 3 will provide
NOx reductions of 2,945 tons compared to 2021 ozone season emissions. As with Utah, EPA’s underlying
analysis for the Proposed Rule includes major errors in the emissions attributable to PacifiCorp’s, which
resulted in NOx emissions in Wyoming that are several times larger than the NOx emission estimates
used in Steps 1 and 2.

[…]

1. Potential Technical Errors in Proposal – Appendix A Proposed Rule State Emissions Budget
Calculations and Engineering Analytics

[…]Some 2023 allocations appear to result from the assumption that LNB/OFA have not been installed
for Hunter Unit 3 and Naughton Unit 1. Both units currently utilize LNB/OFA. Additional corrections are
also requested for the Jim Bridger Units 1 and 2 and the Dave Johnston Unit 1.

[…]

iv. Wyoming Dave Johnston Unit 1 should be rated at a capacity of 93 MW

EPA lists Dave Johnston Unit 1 with a capacity greater than 100 MW. However, the most recent data
indicates the correct capacity during ozone season is 93 MW. BHE asks EPA to correct the capacity of
Dave Johnston Unit 1 and adjust the associated allocations for Wyoming accordingly.



Commenter: Wisconsin Department of Natural Resources (Attachment – 2021 comments)

Commenter ID: 51
                                                                                                       122
           Case: 23-60069        Document: 110        Page: 521        Date Filed: 03/27/2023




Docket ID: EPA-R05-OAR-2022-0006

Comment:

 The EPA should include the most recent information on utilities’ publicly available retirement or fuel-
switching plans for EGUs in the updated 2016v2 Platform. Wisconsin utilities have publicly announced
shutdown dates by 2025 at three power plants (see Table 1), and EPA should ensure these shutdowns
are reflected in the Power Sector Modeling Platform v6 forecasts (EPA currently forecasts these EGUs to
operate through 2032). In addition, EPA should ensure its EGU model forecasts do not shut down EGUs
that have not yet announced plans for retirement, including Wisconsin’s Manitowoc Public Utilities
(ORIS ID 4125). The WDNR is also providing this list of upcoming retirements, or continued operation,
within the Clean Air Markets Power Sector Modeling Contact Form, as requested by EPA.

[…]

Table 1 – Wisconsin EGU Scheduled Retirements

Facility               Unit ID      ORIS      Retirement Date

South Oak Creek           5         4041          1/1/2024

South Oak Creek           6         4041          1/1/2024

South Oak Creek           7         4041          1/1/2025

South Oak Creek           8         4041          1/1/2025

Weston                    2         4078          1/1/2024

Columbia                  1         8023          1/1/2024

Columbia                  2         8023          1/1/2025



Response
The EPA has incorporated information from these comments and additional feedback from power sector
stakeholders and others into the power sector emissions projections that are used in the final
photochemical grid modeling (2016v3) where the EPA has reviewed and determined that information to
be sufficiently reliable and appropriate for use. We do not include in our baseline modeling projections
at Steps 1 and 2 emissions changes at power plants or other emissions sources that are not sufficiently
certain to occur, for example, if such projected emissions changes are only anticipated under proposed
but not finalized state or federal rules, or where the potential retirement or conversion of units is not
sufficiently committed to be considered reliable. A table with the units included in these comments,
along with the changes, reflected in the National Electric Energy Data System (NEEDS) is included in a file
titled “SIP Approval Comments – EGU Units.xls” contained in the docket for this action. We note that
action on Wyoming’s SIP submittal is not included in this action, and comments regarding allowance
allocations or any other elements of other proposed rules are likewise outside the scope of this action.



                                                                                                       123
        Case: 23-60069         Document: 110        Page: 522       Date Filed: 03/27/2023




3.3.2 EPA’s Integrated Planning Model (IPM)


Comments


Commenter: Arkansas Department of Energy and Environment, Division of Environmental Quality

Commenter ID: 07

Docket ID: EPA-R06-OAR-2021-0801

Comment:

For the ptegu sector:

    1. For regional haze purposes, DEQ previously compared future year projections in EPA’s 2016v1
       platform and the v16.1 future year projections developed by the Eastern Regional Technical
       Advisory Committee (ERTAC), deciding ERTAC’s v16.1 future year projections were more
       appropriate than EPA’s Integrated Planning Model (IPM) future year projections that informed
       EPA’s 2016v1 platform. So it may be informative to conduct a thorough comparison of ERTAC’s
       v16.1(or a future update) and EPA’s 2016v2 (or a future update) to evaluate future year
       projections if EPA continues to choose to use IPM instead of ERTAC.
    2. If EPA choses to continue to use IPM instead of ERTAC, then DEQ suggests that EPA
       communicate with states to seek any updates and/or corrections prior to conducting IPM
       modeling as is done by ERTAC.
    3. For some sectors (e.g., solvents, nonpt, nonroad), EPA’s 2016v2 platform future year projections
       utilized Energy Information Agency’s (EIA) Annual Energy Outlook (AEO) 2021 data. However,
       according to the TSD, the ptegu IPM modeling used AEO 2020 data (e.g., demand, gas and coal
       market assumptions, cost and performance of fossil generation technologies, among others).
       The latest AEO 2021 was released on February 3, 2021 and DEQ suggests that EPA update the
       2016v2 using the latest AEO data in all sectors. Table 4.2 of EPA’s 2016v2 TSD reported total
       2026 NOx emission for Arkansas as 9,258 tons; however, summing the three files (summer,
       winter, and wintershld) for both cems and noncems data for the ptegu sector indicates the total
       2026 NOx emissions for Arkansas as being 9,273 tons. DEQ did not make this comparison for
       others states. DEQ suggests that EPA identify the source of the discrepancy in the above
       example and conduct the same comparison for other states.
    4. IPM modeling for the 2032 future year includes emissions for the Entergy Arkansas White Bluff
       plant. However, a state and federally enforceable administrative order requires the cessation of
       coal-fired operations by no later than December 31, 2028 and any possible operation beyond
       2028 is unknown and would require future permitting action if ambient air emissions are to be
       emitted. DEQ suggests that EPA zero out emissions beyond 2028 for Entergy Arkansas White
       Bluff.
    5. IPM modeling for the 2032 future year includes emissions for the Entergy Arkansas White Bluff
       plant. However, a state and federally enforceable administrative order requires the cessation of
       coal-fired operations by no later than December 31, 2028 and any possible operation beyond

                                                                                                   124
         Case: 23-60069          Document: 110         Page: 523        Date Filed: 03/27/2023




         2028 is unknown and would require future permitting actions if ambient air emissions are to be
         emitted. DEQ suggests that EPA zero out emissions beyond 2028 for this facility.
   6.    IPM 2032 projections show zero NOx emissions for the winter shoulder months (March, April,
         October, and November) for the Flint Creek, Plum Point, Arkansas Electric Thomas B Fitzhugh
         Corp, and Harry D. Mattison Power plants in Arkansas. Also, IPM projected zero SO2 emissions
         for Plum Point, Flint Creek, Union Power Station, and others in 2032 for the winter shoulder
         months. IPM projected zero NOx and SO2 emissions for Independence plant in 2026 for the
         same shoulder moths. Historical data consistently shows both NOx and SO2 emissions for all of
         these facilities in these months. DEQ suggests that EPA re-examine this data and potentially
         other IPM projections in Arkansas and in other states as DEQ did not evaluate this beyond the
         above examples.
   7.    IPM did not project 2026 emissions for the Flint Creek Power Plant, but did project 2032
         emissions. We suggest EPA re-examining including 2026 emissions for this facility.
   8.    IPM did not project 2026 and 2032 ptegu sector emissions for the John W. Turk Power Plant.
         However, IPM did project 2026 and 2032 ptnonipm sector emissions for this facility of NOx at
         less than 1 ton and SO2 at less than 1 ton. Historical NOx and SO2 emissions for the John W.
         Turk Power Plant are presented in Figure 2. EPA should include appropriate 2026 and 2032
         ptegu sector emissions and verify the 2026 and 2032 ptnonipm sector emissions for the John W.
         Turk Power Plant. [Figure 2 available in full comment]
   9.    IPM did not project 2026 ptegu sector emissions for the Plum Point Energy Station. However,
         IPM did project 2026 ptnonipm sector for this facility of NOx at 1.96 tons and SO2 at 0.07 ton.
         Historical emissions for the Plum Point Energy Station are presented in Figure 3. In addition, IPM
         did project 2032 ptegu emissions, although the 2032 ptegu future year projection was a 62%
         reduction for SO2 emissions from a 2021 baseline. For the Plum Point Energy Station, EPA
         should include appropriate 2026 ptegu sector emissions, verify the 2026 ptnonipm sector
         emissions, and verify the reasonableness of the 2032 ptegu SO2 emissions. [Figure 3 available in
         full comment]
   10.   PM 2026 projected NOx emissions from the ARK Elec Co-Op-Oswald Generating Station are Unit
         G7: 172 tons, Unit G6: 115 tons, and Unit G5: 115 tons. IPM 2032 projected NOx emissions are
         Unit G7: 160 tons, Unit G6: 107 tons, and Unit G5: 107 tons. Table 1 provides gross load from
         IPM future year projections and a 5-year average of historical data (2017-2021) for these units.
         The 2011-2021 historical NOx emissions for these units are provided in Figure 4. EPA should
         verify the reasonableness of projected 2026 and 2032 NOx emissions for all of this facility’s units
         and potentially for IPM-projected emissions at other facilities. [Table 1 and Figure 4 available in
         full comment]



Commenter: Minnesota Pollution Control Agency

Commenter ID: 31

Docket ID: EPA-R05-OAR-2022-0006

Comment:

                                                                                                        125
        Case: 23-60069         Document: 110          Page: 524       Date Filed: 03/27/2023




Stationary point EGU growth rate differences between the ERTAC vs IPM models

LADCO recognizes that EPA uses the IPM to estimate future year EGU emissions, and that the IPM
projection methodology differs from the ERTAC EGU model that is endorsed by the Multi-Jurisdictional
Organizations and the majority of the states in the eastern half of the country. Minnesota would also
like to indicate our support for the use of ERTAC EGU projections in the 2016v2 EMP and ask EPA to
consider replacing IPM projections with ERTAC EGU projections for sources in the LADCO region in
subsequent modeling platforms.



Commenter: Oklahoma Department of Environmental Quality

Commenter ID: 37

Docket ID: EPA-R06-OAR-2021-0801

Comment:

In addition, ODEQ suggests that EPA model future year emissions from the EGU sector using the Eastern
Regional Technical Advisory Committee’s (ERTAC) EGU Projections Tool rather than the Integrated
Planning Model (IPM). This request is a departure for Oklahoma from our previous request when ODEQ
submitted comments on the modeling platform in advance of the CSAPR Update. However, ODEQ has
worked more closely with the ERTAC development team and we believe that, at this time, the ERTAC
EGU Forecasting Tool does a superior job forecasting hourly emissions, especially on high electricity
demand days and better meets Oklahoma’s needs as well as those of our sister agencies.



Commenter: Texas Commission on Environmental Quality

Commenter ID: 42

Docket ID: EPA-R06-OAR-2021-0801

Comment:

The EPA did not consider all of the information provided to it by the TCEQ.

The TCEQ disagrees with the potential concerns that the EPA raises with regards to the TCEQ’s modeling
of electric generating units and boundary conditions. The EPA in the “EPA Region 6 2015 8-Hour Ozone
Transport SIP Proposal Technical Support Document” discusses potential concerns about the electric
generating unit (EGU) emissions and boundary conditions in TCEQ’s modeling. The EPA fails to
acknowledge the additional analysis provided to the EPA via email on June 6, 2016, detailing the
differences in 2023 EGU emissions by state in the TCEQ modeling with the various EGU emissions
projections available at the time TCEQ’s SIP was developed. The comparison showed that the EGU
emissions included in TCEQ’s modeling were comparable to emissions in EPA’s Engineering Analysis and
the latest emissions available in the Air Market’s Program Database.



                                                                                                   126
        Case: 23-60069            Document: 110           Page: 525        Date Filed: 03/27/2023




Commenter: Wisconsin Department of Natural Resources (Attachment – 2021 comments)

Commenter ID: 51

Docket ID: EPA-R05-OAR-2022-0006

Comment:

The EPA should integrate the Eastern Region Technical Advisory Committee (ERTAC) EGU model
forecasts into the updated 2016v2 Platform. The WDNR recognizes that EPA uses the Integrated
Planning Model (IPM) to estimate future year EGU emissions, and that the IPM projection methodology
differs from the ERTAC EGU model that is endorsed by the multi-jurisdictional organizations (MJOs) and
the majority of the states in the eastern half of the country. States are using the ERTAC EGU model to
consolidate and update technical information for the current State EGU fleets and to forecast the best
understanding of how those fleets will change into the future in regard to planned retirements of
specific units (e.g., the Wisconsin EGU retirements listed in Table 1 ), changes in fuels by specific units,
responses to existing air emissions related regulations (State and Federal), and any planned new
installations of retrofit emission control devices.

[(Table 1 is available in the full comment, as well as in WDNR’s comment excerpt above.)]



Response
The EPA disagrees with commenters who suggest the Integrated Planning Model (IPM) is an inadequate
or unreliable modeling tool to analyze the power sector. We conducted the air quality modeling for the
final rule incorporating updated EGU emissions projections (available at: https://www.epa.gov/power-
sector-modeling/supporting-documentation-2015-ozone-naaqs-actions) reflecting fleet and other input
updates as of Summer 2022, which also includes updates from commenters and through the pre-
proposal request for input on our emissions inventories.

Several commentors suggested EPA replace its use of the Integrated Planning Model (IPM) with ERTAC.
One commentor also suggested that ERTAC is more transparent compared to IPM. IPM, developed by
ICF Consulting, is a state-of-the-art, peer-reviewed,29 multi-regional, dynamic, deterministic linear
programming model of the contiguous U.S. electric power sector. It provides forecasts of least cost
capacity expansion, electricity dispatch, and emission control strategies while meeting energy demand
and environmental, transmission, dispatch, and reliability constraints. The EPA has used IPM for almost
three decades to better understand power sector behavior under future business-as-usual conditions
and to evaluate the economic and emission impacts of prospective environmental policies. The model is
designed to reflect electricity markets as accurately as possible. The EPA uses the best available
information from utilities, industry experts, gas and coal market experts, financial institutions, and
government statistics as the basis for the detailed power sector modeling in IPM. For the modeling used

29
  IPM has been peer reviewed periodically evaluating transparency of inputs and documentation, adequacy of
modeling capabilities, and appropriateness of the modeling platform use for regulatory and strategic power sector
analysis. The modeling platform and its documentation has consistently been found appropriate and adequate for
regulatory analysis by the independent peer reviewers with a lot to commend. The IPM Peer Review of v6 and the
Response to Peer Review can be found at: https://www.epa.gov/power-sector-modeling/ipm-peer-reviews
                                                                                                             127
        Case: 23-60069            Document: 110          Page: 526        Date Filed: 03/27/2023




in support of the proposed disapprovals, the EPA has provided extensive documentation30 of the input
assumptions and methodology that go into the EPA’s use of IPM. For this action, the EPA used an
updated version of power sector modeling.31

Additionally, EPA staff routinely meets with stakeholders to discuss IPM inputs and results, including
comparisons to ERTAC. Therefore, EPA believes IPM, including the versions of IPM projections used at
proposal and final, is both transparent and well-suited to analyze EGU emissions while reflecting the
impacts of changes to the EGU fleet, projected changes to electricity demand, changes in fuel prices,
and state and federal policies as of Summer 2022.

One commenter mentioned that the state’s projections of the EGU emissions for 2023 are comparable
to the EGU emissions from EPA’s engineering analytics tool for 2023. We agree in general that ERTAC is
similar to the “engineering analysis” approach that we have used for some transport applications, such
as in the Revised CSAPR Update, in that both are designed to be more rooted in recent operating
behavior. However, we observe that IPM is capturing much of this behavior while also accounting for
additional economic-based operational changes that may be expected in the future. Indeed, at proposal,
the EPA reviewed LADCO modeling using ERTAC, which was relied on by some SIP submissions
addressed in this action, particularly the Great Lakes states in Region 5, and that modeling supports the
same conclusions regarding those states’ linkages as our CAMx modeling using IPM. See 87 FR 9838.

Thus, there do not seem to be any apparent differences in the ultimate regulatory results for purposes
of this action as between some states’ ERTAC-based power sector modeling and the use of IPM, nor
have commenters here established such a difference. This is not surprising. In EPA’s Revised Cross-State
Air Pollution Rule Update for the 2008 Ozone NAAQS (86 FR 23054), EPA reaffirmed its Step 1 and Step 2
findings using an EGU emissions inventory from EPA’s engineering analytics tool in conjunction with its
air quality assessment tool (AQAT) to estimate air quality impacts and upwind state contributions. The
emissions inventory derived through the engineering analytics and subsequent AQAT sensitivity analysis
led to the same Step 1 and Step 2 findings as the IPM-based EGU emissions inventory and related CAMx
modeling results.

The EPA’s documentation includes all the detailed assumptions and data sources that are included as
input that is underlying in the version of IPM that is used to help inform power plant air regulatory and
legislative efforts for more than two decades. The model has been tailored to meet the unique
environmental considerations important to the EPA - including various national (legislative), federal, and
state level measures - while also fully capturing the detailed and complex economic and electric dispatch
dynamics of power plants across the country. The EPA’s goal is to explain and document the Agency’s
use of the model in a transparent and publicly accessible manner, while also providing for concurrent
channels for improving the model’s assumptions and representation by soliciting constructive feedback
to improve the model. In addition to soliciting feedback, the EPA has also commissioned peer reviews,
including of the latest version IPM v6. The recommendations from these peer reviews and the EPA’s

30
   https://www.epa.gov/power-sector-modeling/documentation-epas-power-sector-modeling-platform-v6-
summer-2021-reference
31
   The updated Power Sector Modeling input data, results, and corresponding documentation used for this final
action are available at https://www.epa.gov/power-sector-modeling/supporting-documentation-2015-ozone-
naaqs-actions.
                                                                                                            128
        Case: 23-60069         Document: 110          Page: 527       Date Filed: 03/27/2023




response are available on the EPA’s website (https://www.epa.gov/power-sector-modeling/ipm-peer-
reviews). These efforts include making all inputs and assumptions to the model, as well as output files
from the model, publicly available on EPA’s website and in the regulatory docket.

The EPA has and will continue to discuss modeling inputs and outputs of the IPM and ERTAC projections
with any interested parties. We note some differences here. The EGU emissions from IPM are projected
at the seasonal level based on economic dispatch, rather than historic behavior. These seasonal values
are then temporally allocated (i.e., post-processing IPM outputs based on historical emission patterns)
to create hourly emissions for use in the air quality modeling. The ERTAC tool assigns the hourly
emissions utilizing historical emissions patterns based on different methods and makes different
assumptions about which units will increase/decrease operation in individual hours based on historical
operation. Consequently, even if the seasonal emission estimates are identical between IPM and ERTAC
on a state, regional, or even unit basis, the final hourly projected emissions will be different and have
corresponding different effects on projected air quality. Consequently, when commenters state that
ERTAC should be used rather than IPM, they may be preferring the hourly emissions utilized in ERTAC
rather than that used by EPA based on the seasonal IPM outputs and EPA’s hourly temporal allocation
methodology that is independent of IPM. These comments are not specific enough for EPA to make
changes to the current temporalization methodology, which we continue to find sufficiently reliable to
inform this action.

IPM creates a consistent nationwide projection and can account for effects of regulatory programs that
may have differential effects on different units throughout the domain. For example, in IPM, emission
budgets reflect the recently finalized Revised CSAPR Update, and account for the changes in unit
dispatch relative to units that are not included in the program. The ERTAC tool, while well-refined and
consistently updated for particular states or even regions (e.g., LADCO)—and may be appropriately used
for air quality modeling by those entities for those areas—is not necessarily appropriate for a
nationwide assessment where consistent emissions projections and air quality modeling are necessary.

Arkansas provided several comments regarding the projection of EGU emissions for 2026 and later
years. In the proposed action, EPA relied on the same modeling data to support the proposed FIP for the
2015 ozone NAAQS. However, the projections of 2026 and 2032 data are not applicable and were not
used for this final action. EPA did incorporate into NEEDS any changes that addressed regulatory,
enforcement, permitting, or other operational data affecting EGU units. If those changes occur after
2023, they are not relevant to our action here on state SIP submissions.

ADEQ also provided comments regarding emission values included in the emissions modeling TSD. There
are minor differences that transpire when emissions are processed into hourly values input to the air
quality model and then summed back up again to provide the summary values in the emissions
modeling TSD. This level of difference is negligible and has no impact on the final air quality modeling
results.

In response to TCEQ’s comment, the EPA searched for the email identified in the comment. The EPA
located an email matching the description in the comment provided to EPA on June 6, 2018 (not June 6,




                                                                                                     129
        Case: 23-60069           Document: 110           Page: 528        Date Filed: 03/27/2023




2016 as TCEQ commented), which was after TCEQ and EPA had verbally discussed EPA’s review
comments and concerns on TCEQ’s proposed SIP submission.32

In the Evaluation of TCEQ Modeling TSD 33 for the proposed disapproval EPA indicated “TCEQ did not use
latest EGU emissions available at the time they proposed the SIP that incorporated reductions from
CSAPR Update/latest ERTAC projections in their modeling. It was unclear if this made any substantial
changes in the modeling analysis without updating the EGU emissions and redoing the modeling.”

One of the attachments to the June 6, 2018 email was a spreadsheet file showing EGU ozone season
NOx emissions totals for each state for purposes of TCEQ’s modeled years of 2012 and 2023. TCEQ also
included in the attachment similar state-wide total EGU NOx ozone season summaries that used a
newer version of ERTAC (v 2.7 that was available at the time) for 2011 and 2016; an EPA engineering
analysis summary for 2016, CSAPR II Cap34; and 2017 Ozone season emissions summary. TCEQ’s 2012
modeled emissions for Texas EGUs that used ERTAC v2.6 is about 10% (5,563 tpy) lower than what TCEQ
provided as the CSAPR Update ozone season NOx.35 There is also a difference between the 2023 TCEQ
modeled emission rates and the 2017 ozone season emission rate-data in EPA’s AMPD database, as well
as EPA’s engineering analysis for 2016, which are both higher than what TCEQ modeled for 2023. It
appears that TCEQ subtracted emissions for some coal-fired EGUs that shut down in 2018 in Texas but
did not reassess if other facilities would increase emissions due to the shutdowns. We note that there
are also changes in the other state emissions totals that could also result in changes in modeled values.

Thus, there are important and unexplained differences in the modeled inventories (both base period
and future) that Texas sent compared to the data available in EPA’s comprehensive EGU databases.
Overall, the EPA’s assessment is that the data in the June 6, 2018 email does not change EPA’s concerns
and conclusions in the Evaluation of TCEQ Modeling TSD related to TCEQ’s EGU emissions estimates for
2012 and 2023 in their modeling.



3.3.3 Other EGU Inventory-Related Comments


Comment


Commenter: Midwest Ozone Group



32
   Email from TCEQ to EPA June 6, 2018 and attachments have been added to this Docket ID No. EPA–HQ–OAR–
2021–0663.
33
   Evaluation of TCEQ Modeling TSD at 71, (EPA-R06-OAR-2021-0801-0002) in Docket ID No. EPA-R06-OAR-2021-
0801.
34
   TCEQ labeled as CSAPR II CAP. It is unclear if this was the CSAPR Update CAP but the values match with
information in the CSAPR Update “Allowance Allocation Final Rule TSD”; August 2016 in EPA Docket ID No. EPA-
HQ-OAR-2015-0500. TCEQ did not indicate if this represented a specific year emission inventory so it is unclear
what year the inventory represented.
35
   Excel Spreadsheet with EPA’s review notes is added as a separate document in the docket EPA–HQ–OAR–2021–
0663.
                                                                                                            130
        Case: 23-60069         Document: 110         Page: 529       Date Filed: 03/27/2023




Commenter ID: 30

Docket ID: EPA-R02-OAR-2021-0673, EPA-R03-OAR-2021-0872, EPA-R03-OAR-2021-0873, EPA-R04-OAR-
2021-0841, EPA-R05-OAR-2022-0006, EPA-R06-OAR-2021-0801, EPA-R07-OAR-2021-0851, EPA-R08-
OAR-2022-0315*, EPA-R09-OAR-2022-0394*, EPA-R09-OAR-2022-0138*

*A condensed version of MOG’s comment appears in these dockets

Comment:

EPA’s modeling and emission inventories must include the control programs and related permitted
emission limits on ozone precursors that significantly impact air quality design values in 2023 and
beyond.

Downwind states and regulated entities are on an ever-changing path to manage the complex
implementation of emissions reductions programs to address local and regional impacts on ambient air
quality. EPA’s modeling of applicable emission control programs to assess attainment strategies
supports the iterative nature of these programs. 87 Fed. Reg. 9,484, 9,494 (February 22, 2022). Private
sector and government investments in emission reduction strategies are considerable. As EPA engages
in proposed denials of the 2015 Ozone NAAQS Good Neighbor State Implementation Plans, the agency
has the burden and obligation to assess both upwind and downwind emissions reductions programs.
The modeling relied upon for these proposals; however, EPA fails to provide a wholistic assessment of
these emission control requirements.

The following examples are illustrative of the types of emission control programs that EPA must include
in the emission inventory that is being modeled to support the proposal disapprovals:

    •   The Illinois Environmental Protection Agency, as reflected on its website, is currently
        promulgating several new and older Cook County (ozone nonattainment) pending permit
        applications (Title V and Federally Enforceable State Operating Permits) to address gas-fired
        generators, to include emergency generators that had previously not been permitted or recently
        had been replaced. In certain instances, enforcement actions were initiated to bring the
        emergency and demand response generators within the regulatory program. EPA does not
        explain its assessment methodology for these types of emissions reductions relative to Good
        Neighbor SIP review and assessment. In addition, it appears that EPA did not take into account
        “The Illinois Energy Law, AKA, Climate and Equitable Jobs Act (CEJA) “as an applicable control
        program. This new law became effective in September 2021 and significantly limits the
        emissions of NOx from all existing gas fired EGUs in Illinois. Each unit >25 MW cannot exceed its
        3-year (2018-2020) baseline actual emissions on a 12-month rolling basis beginning Oct. 1, 2021.
        Significantly, the law also requires all coal fired plants to retire no later than 2030.
    •   The New York State Department of Environmental Conservation (“NYDEC”) has developed
        recent controls for simple cycle and regenerative combustion turbines (“SCCT”) or “peaking
        units” noted by the agency as being inefficient and approaching 50 years of age. Yet, while the
        agency has estimated controls will result in a 4.8 ppb significant air quality improvement to
        nonattainment monitors within the New York Metropolitan Nonattainment Area (NYMA),
        implementation is delayed until 2025 and beyond. NYDEC also recently has imposed NOx

                                                                                                      131
        Case: 23-60069         Document: 110          Page: 530       Date Filed: 03/27/2023




        controls on distributed generation units, which as with peaking units, has been structured to
        delay implementation of controls beyond the applicable attainment date as part of the
        attainment plan proposed for approval by EPA. 87 Fed. Reg. 4,530 (Jan. 28, 2022).
    •   The Wisconsin Department of Natural Resources, Air Management Program has initiated a
        number of permitting actions in response to designation of Kenosha County as serious
        nonattainment. Many of those actions have been implemented as recently as the last 24
        months imposing new NOx and VOC emission reductions. It is also noteworthy that some
        regulated facilities are seeking relief from additional non-attainment reductions in advance of
        EPA approval of a partial redesignation of Kenosha County as attainment for the 2008 ozone
        standard. EPA does not explain its methodology for assessing these types of downwind
        emissions reduction strategies relative to review of Good Neighbor SIP.

EPA’s attention also is directed to examples of state and federal air program elements that warrant
review by EPA for impact on the efficacy of attainment strategies. The Wisconsin Department of Natural
Resources regulations include Chapter NR 436 titled, “Emission Prohibition, Exceptions, Delayed
Compliance Orders and Variances.” NR 436.03(2)(c) provides,

        Emissions in excess of the emission limitation set in chs. NR 400 to 499 may be allowed in the
        following circumstances:

        (c) The use of emergency or reserve equipment needed for meeting high peak loads, testing of
        the equipment or other uses approved by the department. Such equipment must be specified in
        writing as emergency or reserve equipment by the department. Upon startup of this equipment
        notification must be given to the department which may or may not give approval for continued
        equipment use.

The Wisconsin regulation is just one example of an exemption that could impact attainment strategies.
It is likely there are several other similar provisions in other state programs that warrant careful
assessment by EPA.

Consideration of these upwind and downwind state control programs are critical not only to assure the
correct modeling results in the future analytical year, but also to allow an assessment of the alignment
of the emission reduction burdens of the upwind and downwind states, as will be discussed in the next
comment.



Response
In response to the commenter’s claim that the EPA should incorporate emissions reductions from
Illinois’s pending permitting actions, it is the EPA’s standard practice to only consider emissions
reductions from rulemakings or permitting actions that have been finalized. With regards to “The Illinois
Energy Law, or the Climate and Equitable Jobs Act”, the EPA’s 2016v2 modeling used for the Notice of
Proposed Rulemaking (NPRM) does not take emissions reductions from this state rule into
consideration. However, we have accounted for this law in the 2016v3 modeling. The EPA also notes
that the rule’s requirement for all coal-fired plants to retire by 2030 would not force emissions
reductions by the 2023 ozone season.

                                                                                                      132
        Case: 23-60069          Document: 110         Page: 531       Date Filed: 03/27/2023




In regard to commenter’s insinuation that the NYDEC’s recent rule requiring controls on certain SCCT
units are inappropriately misaligned with the attainment schedule of the NYMA nonattainment area,
this is not a relevant comment on the inventory for 2023. However, the EPA notes that the prior
approval of the SCCT controls (approved by the EPA as a SIP strengthening measure) is not reopened for
consideration by the Agency in this action. The EPA previously responded to the Midwest Ozone Group’s
(MOG's) comments on the SCCT controls in the notice for that separate final action. See 86 FR 43956,
43957-43958 (August 11, 2021). We further respond to MOG’s comments on this topic in Section 2 of
this document.

In response to commenter’s claim that the EPA should incorporate emissions reductions from
Wisconsin’s pending permitting actions to address the Kenosha County’s nonattainment status for the
2008 ozone standard, it is the EPA’s standard practice to only consider emissions reductions from
rulemakings that have been finalized.

With respect to state and federal regulations that impact the efficacy of attainment strategies, the
commentor provided an example of an exemption program in Wisconsin that could potentially be used
under emergency or sporadic events. The commentor included text from the regulation but did not
provide any examples or data on how it may have been used and its impact on ozone precursor
emissions. In addition, the regulation allows for state officials to approve or deny the request. The EPA
cannot determine how state officials will react or address this during these emergency or sporadic
events. The EPA has incorporated any applicable EGU control programs developed by the states,
including for the state of Wisconsin, into its projections and modeling. A listing and discussion of these
regulations and control programs can be found in chapter three of the EPA’s documentation for IPM.
This can be viewed at https://www.epa.gov/system/files/documents/2021-09/table-3-30-state-power-
sector-regulations-included-in-epa-platform-v6-summer-2021-refe.pdf. For non-EGUs, the point source
inventory includes state-submitted routine emissions data for calendar year 2019 is used as the basis for
the projected 2023 emissions along with impacts of unit closures and control programs in the
intervening years. Emissions in excess of permitted limits could occur during specific, typically short-
term, periods of time and those emissions would be included in the inventories provided by the state if
they were reported as routine emissions.



Comment


Commenter: Midwest Ozone Group

Commenter ID: 30

Docket ID: EPA-R08-OAR-2022-0315

Comment:

EPA’s intention to revise its emission inventory and to conduct new air quality modeling without
allowing an appropriate opportunity for stakeholder review and comment is inappropriate


                                                                                                      133
        Case: 23-60069           Document: 110          Page: 532        Date Filed: 03/27/2023




EPA notes in the proposed disapprovals that, after the modeling it conducted in support of earlier
transport rules, e.g., CAIR, CSAPR, CSAPR Update, CSAPR Closeout, and Revised CSAPR Update, the
agency revised the emission inventory used in the modeling to assess the efficacy of prior transport
rules. EPA conducted new modeling using the revised inventory. The agency describes the process as
follows:

        Following the Revised CSAPR Update final rule, the EPA made further updates to the 2016
        emissions platform to include mobile emissions from the EPA’s Motor Vehicle Emission
        Simulator MOVES3 model 17 and updated emissions projections for electric generating units
        (EGUs) that reflect the emissions reductions from the Revised CSAPR Update, recent information
        on plant closures, and other sector trends. The construct of the updated emissions platform,
        2016v2, is described in the emissions modeling technical support document (TSD) for this
        proposed rule. (emphasis added).
In December 2021, MOG and other stakeholders submitted detailed comments on the 2016v2 emission
inventory platform in an effort to correct errors that existed in that platform. EPA’s efforts to revise this
emission inventory platform at this time raises the question about whether EPA intends to update the
modeling that has been used as the basis for the SIP disapprovals and the proposed FIP -but only in
support of the final rule.

While MOG urges EPA to rely on modeling that accurately reflects current on-the-books regulatory
requirements and up-to-date emission inventories, we strenuously object to the possibility that EPA
would conduct any such additional modeling to support a final rule and not provide the opportunity for
that data to be reviewed, analyzed and commented on in advance of any final decision on the subject
SIP disapproval (or for that matter the related proposed FIP). These concerns were also expressed
earlier, in July 2021, by several MJOs (Westar, LADCO, SESARM, MARAMA, and CENSARA).



Response
In response to commenters’ assertion that it is inappropriate for EPA to conduct new air quality
modeling without allowing for an additional opportunity for stakeholder review and comment, EPA
disagrees with this in a number of ways. First, as explained in Sections III.A.1. and V.A.4. of the
preamble, EPA solicited comment on its inventories and modeling in a number of venues stretching
from September 2021 to the close of the comment period of four disapproval actions in July 2022. EPA
has, in response to the updated information received, developed an updated modeling run based on the
2016v3 emissions modeling platform, to take this updated information into consideration to inform
EPA’s final actions. Where EPA has felt it warranted, EPA has incorporated the updated information into
its emissions inventories to best project future air quality conditions and take informed final action on
the SIPs.

Other issues raised by this comment are addressed in the following sections in this RTC document:
Sections 1.7 (Length of the Comment Period).




                                                                                                          134
           Case: 23-60069           Document: 110    Page: 533       Date Filed: 03/27/2023




4 Air Quality Modeling
4.1 Modeling Design - General

Comment
Commenter: Texas Commission on Environmental Quality

Commenter ID: 42

Docket ID: EPA-R06-OAR-2021-0801

Comment:

The EPA also fails to acknowledge that the TCEQ provided additional information summarizing the
change in modeled ozone contribution at monitors attributable to boundary conditions when boundary
conditions accounted for changes in future year emissions. The EPA did not request additional analyses
or express concerns with TCEQ’s modeling after the additional information was provided in June 2018.



Response
TCEQ commented that an email and two spreadsheets (one discussing statewide EGU emissions and
another spreadsheet documenting 2012 and 2023 boundary conditions contributions to receptors that
Texas identified in their modeling) were provided to EPA on June 6, 2016. EPA searched and found the
email was actually sent June 6, 2018 after TCEQ and EPA had verbally discussed EPA’s review comments
and concerns on TCEQ’s proposed SIP. This information was provided before the final SIP was
submitted. The EPA has reviewed these files and found this information does not result in a change in
EPA’s overall review of TCEQ’s SIP nor does it resolve the other issues the EPA identified that make
TCEQ’s SIP not approvable. TCEQ’s EGU emissions spreadsheet is addressed in Section 3.3.3.

Regarding boundary conditions, we had noted in the Evaluation of TCEQ Modeling TSD36 that TCEQ had
used 2023 emissions from a modeling scenario that included some estimated changes based on climate
modeling. Our analysis indicated the actual impact could not be quantified based on the information
provided by TCEQ but that the actual impact of using these modified boundary conditions were
expected to be a relatively small contribution to the total modeled concentrations in TCEQ’s transport
SIP modeling and would not be expected to significantly change the total model concentrations.

One of the attachments to the June 6, 2018 email was a spreadsheet file showing boundary condition
contributions to receptors that TCEQ identified as having a greater than 0.7 ppb contribution from Texas
emissions in their 2023 modeling. The boundary conditions source apportionment results provided by
TCEQ to the EPA included the 2012 and 2023 average boundary conditions at each receptor identified by
TCEQ in Colorado, California, and Arizona in their SIP. The 10 days modeled for the future design value
calculations were used by TCEQ. The 10-day average change in contributions from boundary conditions




36
     Evaluation of TCEQ Modeling TSD at 76.
                                                                                                    135
        Case: 23-60069          Document: 110         Page: 534       Date Filed: 03/27/2023




in 2012 compared to 2023 ranged from a 0.08 ppb decrease to a 1.11 ppb increase at these receptors.37
The percent change (i.e., 2023 values compared to 2012 values) in boundary condition contributions on
average for these 10 days ranges from a slight decrease of 0.4% to a maximum increase of 3.9%. While
for most receptors the contribution from boundary conditions increased, overall, the increase in 2023 is
relatively small compared to the total contribution from boundary conditions. These would be even
smaller changes compared to the total modeled concentration taking into account all contribution
sources. Thus, our assessment of these values comports with our view in the Evaluation of TCEQ
Modeling TSD that we did not expect this information to result in large changes to total ozone modeled
concentrations. Overall, the EPA’s current assessment (Changes in total boundary conditions
contribution were -0.4% to 3.9%) is that the data in the June 6, 2018 email does not change the EPA’s
overall assessment of TCEQ’s SIP.



4.1.1 Modeling Design - Lake Michigan


Comments


Commenter: Air Pollution Control Program, Missouri Department of Natural Resources

Commenter ID: 01

Docket ID: EPA-R07-OAR-2021-0851

Comment:

The Air Program notes that recent studies aimed at improving the understanding of the cause of high
ozone concentrations near Lake Michigan have been conducted in recent years. EPA must incorporate
the knowledge learned in these studies into updated modeling before such modeling could be used for
such significant regulatory determinations as the proposed disapproval of Missouri’s SIP, or the
proposed FIP. The Lake Michigan Ozone Study released in May of 2019, is likely the most comprehensive
and current study about ozone concentrations in this region of the country. In the study, there are
recommendations for a finer grid resolution in the modeling to better characterize and predict ozone
concentrations in this area of the county. With the low model performance and the significant costs of
the regulatory outcomes that are based on the modeling, EPA must follow this recommendation and
seek to re-model this region using a finer grid than the 12 km grid currently included in EPA’s updated
modeling. At a minimum, EPA should use a 4 km grid and preferably a 1.33 km grid around all
maintenance and nonattainment receptors in order to help improve model performance in this region
of the country.

Other findings of the Lake Michigan Ozone Study reveal that NOx emissions, particularly from upwind
states like Missouri, may have little to no impact on ground-level ozone concentrations in the region
where the receptors that Missouri is linked to are located. This is because on high ozone days, ozone

37
 Excel Spreadsheet “BCAPCA-Attribution Change between Base-and-Future EPA R6 notes.xlsx” in Docket EPA–
HQ–OAR–2021–0663.
                                                                                                      136
        Case: 23-60069          Document: 110         Page: 535       Date Filed: 03/27/2023




levels in these areas are sensitive to changes in emissions of volatile organic compounds (VOC) and not
NOx. Regions where this is the case are often referred to as being VOC-limited areas. Figure 2, from the
study shows that the areas where the monitors that Missouri is linked to in the updated modeling are
VOC-limited on high ozone days. This means that reductions in NOx emissions will have little-to-no
impact on reducing ozone concentrations at these problem monitors. Therefore, it follows that NOx
emissions from Missouri are not the cause and cannot be the basis for EPA’s proposed disapproval of
our SIP nor the foundations for the imposition of new NOx controls in a FIP to address Missouri’s good
neighbor obligations.

This technical information was available during EPA’s updated modeling efforts, and calls into question
EPA’s typical modeling practices for this SIP disapproval action. EPA must reform the model for this
region of the country before the modeling can be used to justify disapproving Missouri’s SIP. Further,
the proposed “fix” in the federal plan takes none of this information into account. If the receptors where
Missouri is linked to are VOC-limited, as this study indicates, any assertion that NOx emissions in
Missouri are significantly contributing to nonattainment or interfering with maintenance at these
downwind receptors is flawed on a technical and foundational level.



Commenter: Ameren Missouri

Commenter ID: 05

Docket ID: EPA-R07-OAR-2021-0851

Comment:

In order to capture the inland penetration of the lake breeze (WRF-CHEM) needs accurate Lake
Michigan water temps and correct model physics options. EPA's use of the Pleim-Xiu Land Service Model
(LSM) (EPA, 2022) does not adequately capture the lake breeze inland penetration (Abdioskouei & et al,
2019). Use of NOAH LSM does a much better job at capturing the lake breeze inland penetration.

USEPA's proposed disapproval of the Missouri Good Neighbor SIP for the 2015 Ozone Standard errs by
not evaluating and including most recent scientific studies on ozone formation along Lake Michigan
(2017 Lake Michigan Ozone Study (LMOS 2017)).

[…]

Nowhere in USEPA's proposed disapproval of the Missouri Good Neighbor SIP does USEPA analyze or
even mention the LMOS 2017 study or the resulting data. USEPA ignores the wealth of information
collected during the LMOS 2017 study and the resulting peer reviewed research published as a result.
Nowhere in the docket for the proposed disapproval of the Missouri Good Neighbor SIP (Docket ID: EPA-
R07-OAR-2021-0851) does EPA mention LMOS 2017. Nowhere in the Technical Support Document for
the updated modeling EPA now references as an independent basis for asserting that Missouri emissions
are now linked to two nonattainment and one maintenance monitor(s) near Lake Michigan in Wisconsin
and one maintenance monitor on the Chicago, IL Lakeshore does EPA discuss the implications and
findings of LMOS 2017 study on the ability of the regional modeling conducted by EPA to reproduce the
chemistry of ozone production at the Lake Michigan Land/Water interface.
                                                                                                      137
        Case: 23-60069          Document: 110         Page: 536       Date Filed: 03/27/2023




[…]

USEPA fails to mention the LMOS 2017 study or its relevance to the modeling underlying this action. This
failure to evaluate the results of LMOS 2017 and incorporate the scientific improvements identified by
the peer reviewed and published research resulting from that study is a critical error. EPA has an
obligation to evaluate LMOS 2017 as it pertains to the proposed disapproval of the Missouri Good
Neighbor SIP.

USEPA's proposed disapproval of the Missouri Good Neighbor SIP for the 2015 Ozone Standard is
arbitrary and capricious because it relies on Ozone Modeling inconsistent with the scientific findings
from the LMOS 2017.

[…] Because the model as used by USEPA is not properly set up to handle the complex chemistry and
meteorology at the shores of Lake Michigan, it cannot accurately characterize ozone concentrations at
the monitors to which USEPA tries to link to Missouri emissions.

In order to capture the inland penetration of the lake breeze (WRF-CHEM) needs accurate Lake
Michigan water temps and correct model physics options. EPA’s use of the Pleim-Xiu Land Service Model
(LSM) (EPA, 2022) does not adequately capture the lake breeze inland penetration (Abdioskouei & et al,
2019). Use of NOAH LSM does a much better job at capturing the lake breeze inland penetration.

[…]

Modeling performed by USEPA (EPA, 2022) and the LMOS 2017 study (Abdioskouei & et al, 2019) both
showed a significant negative bias in predicted ozone concentrations along the Lake Michigan shoreline.
LMOS 2017 study researchers/scientists have experimented with increasing anthropogenic VOC
emissions and decreasing anthropogenic NOx emissions. These changes to the model emission inventory
inputs improved air quality model performance reducing the negative bias. VOC speciation and spatio-
temporal release patterns should also be reviewed. This evaluation by the LMOS 2017 participants
indicates that the USEPA model choices result in the model being unable to properly reproduce the
chemistry of ozone production and the VOC/NOx ratios at the monitors along the Lake Michigan
shoreline. These are the same monitors that USEPA now proposes to determine are linked to Missouri
emissions in this proposed SIP disapproval.

USEPA's failure to assess and incorporate the peer reviewed studies and scientific data resulting from
the LMOS 2017 and utilize the findings from that study to properly model ozone source apportionment
is arbitrary and capricious.

[…]

Peer reviewed research conducted utilizing the data collected during the LMOS study in 2017 indicates
that Lake Michigan ozone episodes have a significant VOC limited component. In contrast, USEPA claims
the 2016v2 air quality modeling conducted for the newly proposed FIP shows that ozone pollution is
"largely NOx limited".


Commenter: Midwest Ozone Group

                                                                                                         138
        Case: 23-60069           Document: 110          Page: 537        Date Filed: 03/27/2023




Commenter ID: 30

Docket ID: EPA-R02-OAR-2021-0673, EPA-R03-OAR-2021-0872, EPA-R03-OAR-2021-0873, EPA-R04-OAR-
2021-0841, EPA-R05-OAR-2022-0006, EPA-R06-OAR-2021-0801, EPA-R07-OAR-2021-0851

Comment:

Furthermore, to adequately capture the inland penetration of the lake breeze, the LMOS report also
cites the need for accurate Lake Michigan water temperatures and correct model physics options. EPA's
use of the Pleim-Xiu Land Service Model (LSM) 15 does not adequately capture the lake breeze inland
penetration. A review of wind vector observations (from the Meteorological Assimilation Data Ingest
System (MADIS) network16) compared to modeled wind vectors on RRF and significantly contributing
days at nonattainment monitors highlights the differences in wind direction and speed during many
hours of these predicted high ozone episodes.



Response
The EPA disagrees with these comments. While the Lake Michigan Ozone (LMOS) 2019 preliminary
report,38 which describes the analyses of data from the LMOS 2017 field campaign, provides valuable
scientific insights into some of the fine-scale meteorological conditions and chemistry that affect the
formation and advection of high ozone concentrations onshore from over Lake Michigan, the study was
not designed to quantify or evaluate the impacts on ozone exceedances at monitors along the lake from
more distant sources in upwind states. For instance, during the 2017 LMOS field campaign there were
no upwind aircraft or land-based measurements of ozone and precursor concentrations aloft to quantify
transport of pollutants into the Lake Michigan area. Also, the April 2019 report is characterized by the
authors as “preliminary”, and the report notes that meteorological modeling sensitivity tests are on-
going. Regarding the use of the Pleim-Xiu Land Surface Model, there is no quantitative information in
the report that compares the performance of this method to the NOAH LSM.39 In view of the exploratory
nature of the on-going analyses of the LMOS field campaign measurements and modeling, it would be
inappropriate and impractical for the EPA to change course and change how we develop meteorology
for air quality modeling for this final action based on the preliminary information in this report.

Responses to comments on the relevance of local-scale chemical regimes, fine-scale modeling, and
model performance for this final action can be found in section 4.2.



Comment
Commenter: City Utilities of Springfield, Missouri

Commenter ID: 13


38
   2017 Lake Michigan Ozone Study (LMOS) Preliminary Finding Report, April 22, 2019.
https://www.ladco.org/wp-content/uploads/Research/LMOS2017/LMOS_LADCO_report_revision_apr2019_v8.pdf
39
   National Centers for Environmental Prediction, Oregon State University, Air Force, Hydrology Lab-NWS (Noah)
Land-Surface Model (LSM) User’s Guide (May 2011). https://www.jsg.utexas.edu/noah-
mp/files/Users_Guide_v0.pdf
                                                                                                          139
        Case: 23-60069          Document: 110         Page: 538       Date Filed: 03/27/2023




Docket ID: EPA-R07-OAR-2021-0851

Comment:

Modeled inputs for Missouri sources should be reviewed and adequately scrutinized.



Response
The EPA has reviewed the base year and projected emissions from Missouri as part of our response to
comments on the emissions data the EPA used as input to the air quality modeling at for the proposed
SIP disapprovals. As a result of this review, the EPA has made numerous updates to the emissions
inventories used as input to the final rule air quality modeling. Information on these updated emissions
can be found in the 2016v3 Emissions Modeling TSD, which is in the docket for this final rule, as well as
in Section 3 of this RTC and in Section III of the preamble.



Comment
Commenter: City Utilities of Springfield, Missouri

Commenter ID: 09

Docket ID: EPA-R07-OAR-2021-0851

Comment:

EPA’s selection of four (4) new modeled receptor sites along the Lakeshore area should have been
thoroughly vetted with the MDNR Air Program.



Response
See Section V.A.4. of the preamble for our general response on the use of updated modeling and
responses to additional comments on the topic in Section 1.4.



Comment
Commenter: City Utilities of Springfield, Missouri

Commenter ID: 09

Docket ID: EPA-R07-OAR-2021-0851

Comment:

The SIP disapproval, and by extension the EPA’s proposed FIP, overestimates MO’s “good neighbor”
contributions while diminishing localized anthropogenic NOx sources. Recent LADCO studies indicate
problems with EPA model “over prediction” which need to be investigated and resolved.


                                                                                                      140
        Case: 23-60069          Document: 110         Page: 539       Date Filed: 03/27/2023




Response
The commenter does not identify or provide any information to support the claim that the EPA
“overestimates” Missouri’s contribution while diminishing localized anthropogenic NOX sources.
Although this comment did not provide any specific information to identify the “recent LADCO studies,”
the EPA’s response to comments that rely upon the preliminary findings from the 2017 Lake Michigan
Ozone Study are provided elsewhere in Section 4.1.1. Comments regarding the substance of the EPA’s
proposed 2015 ozone Good Neighbor Rule are beyond the scope of this action.



Comment
Commenter: City Utilities of Springfield, Missouri

Commenter ID: 09

Docket ID: EPA-R07-OAR-2021-0851

Comment:

Additional NOx reductions in Missouri and particularly southwest Missouri will not result in improved
ambient concentrations in updated model runs at receptors in Wisconsin or along Lake Michigan north
of Chicago, Illinois.



Response
We first note that this action does not impose any emissions reduction for sources in Missouri. To the
extent that commenters imply that a lack of air quality impacts on downwind receptors from reduced
upwind emissions in Missouri is reason to approve the State’s SIP, we disagree.

The EPA disagrees that NOX emissions from Missouri are not impacting receptors along Lake Michigan or
that reductions of those emissions in Missouri would not reduce ozone concentrations at those
receptors. We first note that this rule does not impose any emissions reduction for sources in Missouri.
To the extent that commenters imply that a lack of air quality impacts on downwind receptors from
reduced upwind emissions in Missouri is reason to approve the State’s SIP, we disagree. To illustrate,
the EPA points to the source apportionment modeling to quantify the contributions from EGU emissions
in each state in 2026, as described in the air quality modeling TSD used to support the EPA’s April 2022
proposed 2015 ozone Good Neighbor Rule. Because emissions are generally projected to be higher in
2023 than 2026, and this analysis is only focused on EGU emissions (rather than all anthropogenic
ozone-precursor emissions in Missouri), this analysis provides a helpful indicator of the extent of impact
of NOX emissions from Missouri on other states, including receptors around Lake Michigan. Figure 4-1
shows the spatial field of average contributions from EGUs in Missouri calculated using the contributions
on the top-10 ozone concentrations days in each 12x12 km model grid cell. The figure shows that
emissions from EGUs in Missouri have widespread regional impacts including locations along Lake
Michigan in Wisconsin and Michigan in the areas north of Chicago, Illinois, where receptors have been
identified in the EPA’s 2011, 2016v2, and 2016v3 based modeling. Based on this analysis, controls on


                                                                                                      141
        Case: 23-60069              Document: 110             Page: 540          Date Filed: 03/27/2023




Missouri EGUs would lower the contribution from these sources and thereby improve ozone
concentrations in these areas.




    Figure 4-1 Contribution from EGU emissions in Missouri on average for the top-10 ozone concentrations days in 2026




Comment
Commenter: City Utilities of Springfield, Missouri

Commenter ID: 09

Docket ID: EPA-R07-OAR-2021-0851

Comment:

The current model runs show that Missouri’s contribution to ground level ozone at these receptors is
approximately 1 ppb, which is within the margin of error of the model. Assessment of significance
contribution from Missouri that is tied to 1% or 0.7 ppb is beyond the model’s capability.




                                                                                                                         142
           Case: 23-60069          Document: 110         Page: 541      Date Filed: 03/27/2023




Response
The response to comments on the EPA’s use of a 1 percent of the 2015 Ozone NAAQS contribution
screening threshold at Step 2 of the 4-step interstate transport framework can be found in Section V of
the preamble for this final action and in section 4.3 of the RTC.



Comment
Commenter: City Utilities of Springfield, Missouri

Commenter ID: 09

Docket ID: EPA-R07-OAR-2021-0851

Comment:

Upon further inspection, the design value at each receptor indicates a downward trend (especially
during the last two years), even as Missouri utility ozone season NOx emissions increased in 2020 and
2021. This is inconsistent with EPA’s presumption that Missouri utilities contribute significantly to
nonattainment or interfere with maintenance of the standard. The following table summarizes the most
recent available trends.

         Monitor Receptors                 2016-2018 DV            2017-2019 DV     2018-2020 DV
     Kenosha - Water Tower                      77                      74               74
     Chiwaukee Prairie Stateline                79                      75               74
     Racine - Payne & Dolan                     78                      74               73
     Evanston Water Plant                       77                      75               75


Response
Firstly, the EPA has not found in this action that Missouri has significant contributions to downwind
receptors, rather the EPA identified that Missouri is “linked” above the Step 2 contribution threshold to
downwind receptors and thereby is potentially significantly contributing to nonattainment or
interference with maintenance, but the state failed to properly analyze emissions reduction
opportunities despite its linkage. The EPA’s evaluation of Missouri’s SIP submission was explained at
proposal. 87 FR 9533, 9540-9544 (February 22, 2022). Second, the commenter did not provide Missouri
EGU ozone season NOX emissions in 2020, 2021 or any prior years to support this comment's claim. In
response to this comment the EPA analyzed the ozone season EGU NOX emissions for Missouri available
from the EPA Power Sector Programs Progress Report web site.40 The ozone season EGU NOX emissions
for 2000, 2010, 2020, and 2021 are provided in Table 4-1. These data show that EGU NOX emissions in
Missouri exhibit a long-term downward trend, however that trend has flattened since 2010, with only
slightly lower emissions in the 2020 ozone season compared to 2021.




40
     https://www3.epa.gov/airmarkets/progress/reports/index.html
                                                                                                      143
        Case: 23-60069          Document: 110            Page: 542         Date Filed: 03/27/2023



                           Table 4-1 Ozone Season NOx Emissions from EGUs in Missouri


                            2000            2010             2020            2021
                            65,569         25,467           21,234          20,080

This trend alone does rebut the conclusion of the EPA’s analysis at Steps 1 and 2 that Missouri is linked
to one or more downwind receptors and that additional emissions reductions may be warranted to
eliminate “significant contribution.” Additional comments on air quality factors are addressed in Section
8.5 (Air Quality Factors).

Comment
Commenter: Midwest Ozone Group

Commenter ID: 30

Docket ID: EPA-R02-OAR-2021-0673, EPA-R03-OAR-2021-0872, EPA-R03-OAR-2021-0873, EPA-R04-OAR-
2021-0841, EPA-R05-OAR-2022-0006, EPA-R06-OAR-2021-0801, EPA-R07-OAR-2021-0851

Comment:

EPA’s modeling fails to recognize the inadequacy of EPA’s approach to addressing downwind
nonattainment with the 2015 ozone NAAQS.

Review of historic emission changes and observed design values at linked downwind nonattainment
monitors in Connecticut and Wisconsin indicates that controls associated with recently applied
regulation and strategies to reduce NOx emissions from upwind EGU sources has nominal impact on
ozone formation. As seen in the Figure 1 below, the relative design values at key receptors in 2020 is
about the same (ratio near 1.0) compared to 2011. In contrast, EGU NOx emissions (yellow bar) from
upwind CSAPR states have been reduced by over 65 percent in this same period and onroad NOx
emissions (blue bar) from these states have been reduced by over 60 percent. All other anthropogenic
categories (red bar) show a NOx emission reduction of only 27 percent over this period.

[(bar chart in full comment)]
Figure 1. Relative ozone season NOx emission reduction from CSAPR identified upwind states and ozone
design values at downwind receptors in Wisconsin and Connecticut between 2011 and 2020.

These data demonstrate that recent control strategies, directed toward regional EGU NOx emissions are
not having the intended impact on downwind ozone concentrations. In support of this observation,
recent ozone source apportionment modeling of state-source sector contribution by Alpine Geophysics
shows small ozone contribution from NOx emissions from EGUs. Given the relatively small contribution
of EGU NOx and even smaller contribution of non-EGU NOx to ozone concentrations at relevant
monitors predicted by USEPA’s modeling platform, additional control of emissions from either sector
will have little, if any, impact on ozone concentrations at these downwind receptors.

Several downwind nonattainment monitors in urban areas around Lake Michigan have recently been
shown to be largely unresponsive to ozone reduction strategies consisting of regional interstate NOx

                                                                                                       144
        Case: 23-60069          Document: 110         Page: 543       Date Filed: 03/27/2023




control and that high ozone days in the region were predominantly VOC-limited in nature. This was
demonstrated in multiple ozone episodes extensively evaluated in the Lake Michigan Air Directors
Consortium (LADCO) Lake Michigan Ozone Study (LMOS) 2017 study where ozone precursor
measurements indicated relative increases in VOC concentrations with increases in ozone and where
biogenic VOC increases outpaced those of anthropogenic VOC.

In contrast to the peer reviewed research resulting from the 2017 LMOS data collection effort, EPA
recently documented its support for additional NOx controls in stating that its “review of the portion of
the ozone contribution attributable to anthropogenic NOX emissions versus VOC emissions from each
linked upwind state leads the Agency to conclude that the vast majority of the downwind air quality
areas addressed by the proposed rule under are primarily NOX-limited, rather than VOC-limited.”
[footnote: 87 Fed. Reg. 20,076 [Proposed FIP]] However, the current situation is that the modeling as
conducted does not accurately characterize ozone levels on high ozone days, underpredicting by 10 +
ppb, which is a huge error. Other studies indicate that, in order to better match actual conditions, the
model needs less NOx and higher windspeeds at lower levels. The model is therefore telling us that less
NOx means more ozone. That also means that, proportionally, the attribution of ozone to out of state
NOx predicts a higher impact than is actually occurring.

The modeled VOC and NOx emission tracers in EPA’s Anthropogenic Precursor Culpability Assessment
(APCA) modeling can give a general indication of the VOC/NOx sensitivity, but EPA assigning definitive
numerical values to that sensitivity provides inaccurate projections, especially using APCA that is known
to have a bias toward attributing ozone to NOx emitting anthropogenic sources under VOC sensitive
conditions. As documented in the CAMx v 7.10 User’s Guide, “when ozone formation is due to biogenic
VOC and anthropogenic NOx under VOC-limited conditions (a situation where OSAT would attribute
ozone production to biogenic VOC), APCA attributes ozone production to the anthropogenic NOx
present. Using APCA instead of OSAT results in more ozone formation attributed to anthropogenic NOx
sources and less ozone formation attributed to biogenic VOC sources.” Here, it is believed that as
applied in this case (with biogenic emissions as an uncontrollable source group), EPA has overestimated
the efficacy of NOx controls on these receptors as modeled results have a bias toward attributing more
ozone formed to NOx emissions than VOC emissions.



Response
The commenter asserts that ozone concentrations at downwind monitoring sites in Wisconsin and
Connecticut are not trending downward despite concomitant NOX emissions reductions in upwind
states. In response, the EPA analyzed the ozone trends over the past 10 years (i.e., 2012 to 2021) at 8
downwind monitoring sites located along or near coastal Connecticut and 11 downwind monitoring sites
along or near the shoreline of Lake Michigan, including 8 sites in Wisconsin and 3 sites in Michigan. The
monitoring sites included in this analysis are identified in Table 4-2. Each of these sites had a 2012
measured design values exceeding the 2015 ozone NAAQS. Table 4-2 also provides the percent
reduction in ozone design values by site from 2012 to 2021. Contrary to the claim by the commenter,
the reductions are not near zero. Overall, the average reductions from 2012 to 2021 at the sites in
Connecticut, Wisconsin, and Michigan are 7.3 percent, 13.1 percent, and 11.3 percent, respectively.


                                                                                                      145
         Case: 23-60069               Document: 110              Page: 544           Date Filed: 03/27/2023




Each of these monitoring sites has seen a downward trend in design values over the most recent 10-year
period, as illustrated in Figure 4-2, 4-3, and 4-4.
Table 4-2 Percent reduction in design values from 2012 to 2021 at monitoring sites in coastal areas of Connecticut, Wisconsin,
and Michigan

                                                                                     Percent
                                             Connecticut
                                                                                   Reduction in
                                            Monitoring Sites
                                                                                   Design Value
                             090010017 Greenwich                                        4%
                             090011123 Danbury                                          16%
                             090013007 Stratford                                        5%
                             090019003 Westport                                         6%
                             090079007 Middlesex                                        8%
                             090090027 New Haven                                        5%
                             090099002 Madison                                          6%
                             090110124 Groton                                           10%
                                                                     Average            7%


                                                                                     Percent
                                              Wisconsin
                                                                                   Reduction in
                                            Monitoring Sites
                                                                                   Design Value
                             550290004 Door Co                                          10%
                             550590019 Chiwaukee                                        12%
                             550710007 Manitowoc Co                                     15%
                             550790010 Milwaukee - S Health Center                      15%
                             550790085 Milwaukee - Bayside                              15%
                             550890008 Milwaukee - Grafton                              11%
                             550890009 Milwaukee - Harrington                           9%
                             551170006 Sheboygan - Kohler Andrae                        17%
                                                           Average                      13%


                                                                                     Percent
                                              Michigan
                                                                                   Reduction in
                                            Monitoring Sites
                                                                                   Design Value
                             260050003 Allegan Co                                       11%
                             260210014 Berrien Co                                       13%
                             261210039 Muskegon Co                                      10%
                                                                     Average            11%




                                                                                                                            146
 Case: 23-60069               Document: 110             Page: 545           Date Filed: 03/27/2023




            Figure 4-2 Ozone design value trends (ppb) at monitoring sites near coastal Connecticut




Figure 4-3 Ozone design value trends (ppb) at monitoring sites near the shoreline of Lake Michigan in Wisconsin




                                                                                                                  147
         Case: 23-60069              Document: 110              Page: 546          Date Filed: 03/27/2023




        Figure 4-4 Ozone design value trends (ppb) at monitoring sites near the shoreline of Lake Michigan in Michigan




It is important to recognize that trends in ozone design values reflect the combined effects of changes in
ozone precursor emissions (i.e., NOX and VOC) and interannual variability in ozone conducive
meteorology. In this regard, we considered the effects of meteorology on ozone concentrations in order
to reveal the response of ozone to changes in precursor emissions. A recent published analysis describes
a technique to analyze trends in ozone concentrations adjusted for interannual variability in
meteorological conditions (Wells, et al.).41 This technique adjusts monitored maximum daily average 8-
hour (MDA8) ozone concentrations for meteorological effects using various statistical and mathematical
methods, further explained in the Well, et al. analysis, to enable the analysis of the long-term trends in
ozone concentrations due to changes in precursor emissions. Specifically, the technique provides
meteorological adjusted MDA8 ozone values (mean, median, 90th percentile, and 98th percentile) for
monitors in the continental U.S. Of particular interest is the 98th percentile values as they generally align
with 4th High MDA8 monitored ozone concentrations that are used in calculating design values.

The EPA analyzed the “met-adjusted” 98th percentile MDA8 ozone concentrations for the monitoring
sites in Table 4-2 for the years 2010 through 2021. In addition, we separately analyzed the met-adjusted
98th percentile data for the 3 nonattainment receptors in Coastal Connecticut (i.e., Greenwich, Madison,
Stratford, and Westport). For each of these four areas we calculate the multi-monitoring site average


41
   Wells, B., Dolwick, P., Eder, B., Evangelista, M., Foley, K., Mannshardt, E., et al. (2021). Improved estimation of
trends in U.S. ozone concentrations adjusted for interannual variability in meteorological conditions. Atmospheric
Environment, 248, 118234.
                                                                                                                         148
         Case: 23-60069             Document: 110             Page: 547          Date Filed: 03/27/2023




measured and met-adjusted 98th percentile MDA8 ozone concentrations for each of the years from 2010
through 2021. We then used the resulting yearly average 98th percentile concentrations to calculate
three-year running average measured and met-adjusted concentrations. The resulting area-wide
average measured and met-adjusted 98th percentile MDA8 ozone concentrations are illustrated in
Figures 4-5, 4-6, 4-7, and 4-8. The average 98th percentile trends show that the met-adjusted
concentrations have much less interannual variability and exhibit a more consistent downward trend in
each of the three areas. Considering that the trends in met-adjusted data provides a clear indication of
the decrease in ozone concentrations from reductions in emissions, we disagree with the commenter’s
contention that recently applied regulation and strategies to reduce NOX emissions from upwind EGU
sources has had a nominal impact on ozone formation.




Figure 4-5 Trends in 3-year running average measured and met-adjusted 98th percentile ozone concentrations aggregated for 8
                                   monitoring sites near the shoreline of coastal Connecticut




                                                                                                                       149
         Case: 23-60069             Document: 110             Page: 548          Date Filed: 03/27/2023




Figure 4-6 Trends in 3-year running average measured and met-adjusted 98th percentile ozone concentrations aggregated for 4
                                           receptor sites along coastal Connecticut




Figure 4-7 Trends in 3-year running average measured and met-adjusted 98th percentile ozone concentrations aggregated for 8
                                  monitoring near the shoreline of Lake Michigan in Wisconsin




                                                                                                                       150
         Case: 23-60069             Document: 110             Page: 549          Date Filed: 03/27/2023




Figure 4-8 Trends in 3-year running average measured and met-adjusted 98th percentile ozone concentrations aggregated for 3
                                monitoring sites near the shoreline of Lake Michigan in Michigan



The EPA is not requiring any emissions reductions in this action, and comments on the substance of the
proposed 2015 ozone Good Neighbor Rule, such as proposed NOX controls, are beyond the scope of this
rulemaking. However, to the extent the commenter is making these arguments to dispute this final
action, the EPA disagrees with the commenter’s claims that ozone contributions from EGU and non-EGU
NOX emissions are relatively small and that additional controls from either sector would have little, if
any, impact on ozone concentrations at downwind receptors in Connecticut and Wisconsin. To illustrate,
the EPA points to the source apportionment modeling for EGUs and for non-EGUs by state using the
projected emissions for 2026 in 2016v2 (before accounting for proposed controls in the FIP), as
described in the Air Quality Modeling Technical Support Document (AQM TSD) for the proposed 2015
ozone Good Neighbor Rule. Tables 4-3 and 4-4 provide the percent of anthropogenic contribution from
EGU plus non-EGU emissions for each of the 13 upwind states linked to receptors in Connecticut and
Wisconsin, based on the proposed 2015 ozone Good Neighbor Rule air quality modeling for 2026. The
data indicate that contributions from EGUs and non-EGUs are 20 to 50 percent of the state total
anthropogenic contribution for all but 3 of these states (i.e., Maryland, New Jersey, New York). Since
contributions from EGUs and non-EGUs represent a non-trivial portion of the overall state total
contribution, we would expect that EGU and non-EGU emissions reductions would provide meaningful
improvements in ozone concentrations at downwind receptors. Nonetheless, the EPA reiterates that the
proposed 2015 ozone Good Neighbor Rule is not being used as a benchmark for assessing SIP
submissions in this action.




                                                                                                                       151
        Case: 23-60069              Document: 110              Page: 550         Date Filed: 03/27/2023



        Table 4-3 Percent Contributions from Upwind States Linked to Connecticut Receptors


     Connecticut                        IN      KY     MD       MI      NJ      NY     OH      PA      VA   WV
     090010017 Greenwich                 -       -       -     37% 10% 14% 36% 31%                     -    -
     090013007 Stratford               36% 50% 18% 37% 11% 15% 37% 32% 21% 39%
     090019003 Westport                53% 50% 19% 29% 11% 18% 32% 23% 20% 36%
     090099002 Madison                 34% 48% 18% 33% 13% 13% 36% 33% 22% 37%


                    Table 4-4 Percent Contributions from Upwind States Linked to Wisconsin Receptors


                   Wisconsin                              IL     IN      MI     MO       OH     TX
                   550590019
                   Chiwaukee Prairie                    24% 33% 32% 37% 35% 22%
                   550590025 Kenosha                    15% 55% 29% 26% 36% 21%
                   551010020 Racine                     16% 54% 30% 36% 35% 21%


The commenter refers to the 2019 preliminary report on the Lake Michigan Ozone Study (LMOS) 2017
field campaign which was conducted “to address persistent violations of the ozone NAAQS in the coastal
communities along the western shore of Lake Michigan” and claim that downwind nonattainment
monitors in urban areas around Lake Michigan have recently been shown to be largely unresponsive to
ozone reduction strategies consisting of regional interstate NOX control and that high ozone days in the
region were predominantly VOC-limited in nature.

The EPA disagrees with this comment. First, the 2017 LMOS field study supporting the LMOS 2019
preliminary report focused on local ozone production and photochemical plume transport over the lake
and along the shoreline, not the effects of regional transport. While the report concluded that local
ozone production at the Zion measurement site near Chicago was VOC limited, ozone production at the
measurement site in Sheboygan was NOX-limited on half of the days with high ozone measurements.
Second, the analysis in the report identified the presence of two different local photochemical regimens
driving ozone production at the Sheboygan LMOS site which indicates the potential for different causes
of high observed ozone. The LMOS 2019 preliminary report also states, “On high ozone days, the lowest
lakeshore ozone concentrations are typically found in the areas with high emissions of nitrogen oxides
(NOx), such as in central Chicago and northwestern Indiana. The highest concentrations are found
downwind of the high NOx sources in rural and suburban coastal areas.” Third, the LMOS 2019
preliminary report notes that “regional background is characterized by elevated H2O2/HNO3 ratios (used
to infer NOx vs VOC-limited conditions), suggestive of NOx-limited ozone production.” Thus, the results
of the LMOS 2017 field study, as described in the report, field study actually support a conclusion that
upwind regional NOX reductions combined with local NOX and VOC reductions would be an effective
approach for reducing high ozone concentrations in this area.



                                                                                                                 152
        Case: 23-60069          Document: 110         Page: 551        Date Filed: 03/27/2023




Regarding the comment about “the modeling” underpredicting ozone concentrations by 10+ ppb on
high ozone days, it is not clear whether the commenter is referring to modeling performed as part of the
LMOS 2017 field campaign or the EPA’s 2016v1 or 2016v2 modeling. The EPA has made substantial
updates to its 2016-based modeling platform in response to public comments. These updates have
significantly improved model performance. The EPA’s response to comments on the EPA’s model
performance can be found in Section III of the preamble, and in Section 4.2 (Model Performance).

The commenter also refers to “[o]ther studies” that the commenter claims indicate that, in order to
better match actual conditions (i.e., improve model performance), the model needs less NOX and higher
windspeeds at lower levels. However, the commenter fails to identify these other studies. The
commenter concludes from these other studies that “the model is therefore telling us that less NOx
means more ozone. That also means that, proportionally, the attribution of ozone to out of state NOx
predicts a higher impact than is actually occurring.”

Assuming the commenter may be referring to the LMOS preliminary report, the EPA recognizes that this
report does describe emissions perturbation air quality model runs which show improved model
performance on the June 2, 2017 high ozone day at both the Zion field study site and a monitoring site
in Chicago by reducing baseline NOX emissions by 50 percent and increasing hydrocarbon (HC) emissions
by a factor of 5. However, the applicability of these results is very limited and must be viewed with the
understanding that the baseline emissions for the LMOS modeling were derived from emissions for
2011, not 2017 - which was when the field study was conducted. As described in the LMOS 2019
preliminary report, the 2011 NEI NOX emissions were uniformly reduced by 28 percent in an attempt to
account for changes in emissions between 2011 and 2017, while VOC emissions from 2011 were used
without any adjustment. A comparison of 2011 vs 2017 NEI NOX and VOC emissions for the three states
within the field study modeling domain (i.e., Illinois, Indiana, and Wisconsin) indicates that 2017 NOX
emissions were 38 percent lower, and VOC emissions were 18 percent lower in 2017 compared to 2011.
In addition, the relative change in emissions between 2011 and 2017 varied by sector such that a
uniform scaling factor applied to 2011 would not necessarily provide a representative estimate of the
spatial distribution of emissions in 2017. Thus, the results of the LMOS emissions sensitivity runs are not
immediately or inherently relevant to other air quality model applications, and these results, which are
dependent on the emissions assumptions for the LMOS modeling and applicable to photochemistry
within the local area, do not provide information to judge the attribution or impacts of upwind state
NOX emissions on ozone concentrations at receptors within the Lake Michigan area.

The commenter also claims that the Anthropogenic Precursor Culpability Assessment tool (APCA) in the
CAMx model, which the EPA used to quantify upwind state contributions to downwind receptors at Step
2 of the 4-step interstate framework, is biased toward attributing more ozone to NOX emissions and, as
a result, EPA has overestimated the potential efficacy of NOX controls on these (Lake Michigan area)
receptors. The EPA notes that the Agency is not defining “significant contribution” at Step 3 for any state
covered by this action. To clarify the issue raised by the commenter, however, the EPA notes that the
CAMx Ozone Source Apportionment Tool (OSAT) and APCA use the ratio of the production rates of
hydrogen peroxide and nitric acid as the indicator to classify ozone formation as being limited by NOX or
VOC. This ratio is used in OSAT to assign ozone production to sources of NOX versus sources of VOC
depending on the magnitude of this ratio. Ozone formation is classified as being NOX-limited when the

                                                                                                       153
           Case: 23-60069           Document: 110           Page: 552        Date Filed: 03/27/2023




ratio is less than the 0.35 and VOC limited when the ratio is above this threshold.42 As stated in the
CAMx User’s Guide, the APCA tool operates similar to OSAT, except that

           APCA recognizes that certain emissions categories are not controllable (e.g., biogenic emissions)
           and that apportioning ozone production to these categories does not provide information that is
           relevant to development of control strategies. To address this, in situations where OSAT would
           attribute ozone production to non-controllable emissions, APCA re-allocates that ozone
           production to the controllable precursors that participated in ozone formation with the non-
           controllable precursor. For example, when ozone formation is due to biogenic VOC and
           anthropogenic NOx under VOC-limited conditions (a situation where OSAT would attribute
           ozone production to biogenic VOC), APCA attributes ozone production to the anthropogenic
           NOx present. Using APCA instead of OSAT results in more ozone formation attributed to
           anthropogenic NOx sources and less ozone formation attributed to biogenic VOC sources.43

Considering the construct and purpose of APCA, as stated by the model developers, EPA does not agree
with the comment that using APCA overstates the efficacy of NOX controls. See also Wisconsin, 938 F.3d
at 323-24 (upholding use of APCA approach to apportionment).

The EPA’s response to comments on model performance and fine scale modeling can be found in
Section 4.2 (Model Performance).



4.1.2 Modeling Design - Western States


Comment
Commenter: PacifiCorp (Attachment – Ramboll Evaluation)

Commenter ID: 38

Docket ID: EPA-R08-OAR-2022-0315

Comment:

Missing Emissions in Proposed Transport Modeling Results in Overstating Utah’s and Wyoming’s
Ozone Contribution to Receptors in the DM/NFR NAA

The Proposed [FIP] Transport Rule CAMx modeling failed to include NOX emissions from lightning
(LNOx). This is particularly important in the Front Range area of Colorado where summer thunderstorms
regularly occur. Emissions from lightning can be a significant source of NOX concentrations and resultant
ozone formation. Zhang and co-workers (2003) estimate that 5% of the annual and 14% of the summer
NOX emissions in the U.S. comes from lightning. Kang and co-workers (2020) analyzed the effects of

42
     Ramboll Environment and Health, January 2021, http://www.camx.com.
43
     Ramboll Environ, 2021. User's Guide Comprehensive Air Quality Model with Extensions version 7.1,
     www.camx.com. Ramboll Environ International Corporation, Novato, CA.


                                                                                                         154
        Case: 23-60069         Document: 110         Page: 553        Date Filed: 03/27/2023




including LNOx emissions and found they were particularly important for simulating ozone in the U.S.
Mountain West States (MWS), which include Colorado, Utah and Wyoming, and found LNOx emissions
could increase MDA8 ozone concentrations by up to 17 ppb and concluded “summertime surface-level
O3 levels in the MWS region could be significantly influenced by lightning NOX.” (Kang et al., 2020). If
naturally occurring LNOx emissions were included in the Proposed [FIP] Transport Rule CAMx modeling
that would increase the total MDA8 ozone concentrations at the DM/NFR NAA receptors resulting in a
reduced Utah and Wyoming Contributions Factors and lower Utah and Wyoming ozone contributions to
2023 and 2026 ozone design values at the DM/NFR NAA receptors.



Response
Although this comment is directly about the proposed 2015 ozone Good Neighbor Rule, the EPA sees it
as relevant for 2016v3 modeling generally. As described in Section III.A.2 of the preamble, the EPA
included NOX emissions from lightning strikes in the 2016v3 emissions inventory used for the air quality
modeling of this final action. The method for including these emissions in the modeling is described in
the 2016v3 Emissions Modeling TSD which can be found in the docket for this final action.



Comment
Commenter: PacifiCorp (Attachment – Ramboll Evaluation)

Commenter ID: 38

Docket ID: EPA-R08-OAR-2022-0315

Comment:

EPA developed the 2016v2 modeling platform 2016, 2023, 2026 and 2032 model-ready emissions for
the CMAQ model and converted them to the CAMx format using a CMAQ2CAMx emissions converter. In
doing the CMAQ to CAMx emissions conversion for the Proposed [FIP] Transport Rule CAMx modeling,
EPA dropped methane (CH4) emissions and some secondary organic aerosol (SOA) precursor species.
The SOA precursors probably have minimal effect on ozone formation but methane acts like a low
reactive VOC in ozone formation so in higher concentrations can affect and increase ozone
concentrations. Since methane is not classified as a VOC it is not included in many criteria pollutant
emissions inventories. Methane is treated two ways in CAMx. First, there is a global background value of
1.75 ppm was used in CAMx v7.1, which was the version in the Proposed [FIP] Transport Rule. Note that
the global background methane in CAMx was recently updated to 1.85 ppm in the April 2022 release of
CAMx v7.2. Second, there is an excess methane species (ECH4) in the CAMx model that is added to the
global background methane in the photochemical mechanism. When running a CMAQ2CAMx converter,
the CMAQ methane species is typically mapped to the CAMx ECH4 species, but EPA failed to do this and
dropped the CMAQ methane emissions. The Denver-Julesburg (D-J) Basin is a large oil and gas (O&G)
development and production area that partly resides in the DM/NFR ozone NAA. The D-J basin O&G
sources emit methane emissions that should have been included in the Proposed Transport Rule CAMx
modeling. If EPA had included ECH4 emissions in the Proposed Transport Rule CAMx modeling that
would have increased the 2023 and 2026 total MDA8 ozone concentrations at receptors in the DM/NFR
                                                                                                     155
        Case: 23-60069          Document: 110         Page: 554       Date Filed: 03/27/2023




NAA thereby reducing the CF and Utah’s and Wyoming’s ozone contributions to 2023 and 2026 ozone
design values at the three nonattainment/maintenance receptors in the DM/NFR NAA.



Response
The EPA disagrees with this comment. First, the comment is speculative. The commenter provided no
analyses, data, or references to support their hypothesis that including a higher amount of global
background methane or adding methane emissions in EPA’s modeling would have increased model
predicted ozone concentrations in the Denver area or decreased ozone contributions from Utah or
Wyoming to those receptors. Moreover, the commenter fails to acknowledge that the ozone source
apportionment tools in the latest version of CAMx are not designed to include methane emissions. Thus,
it is not possible to quantify the impact of methane emissions using this model. Furthermore, the
commenter is focused on the contribution to local ozone production of methane emissions from oil and
gas production in Colorado but fails to consider the contributions from methane emissions from oil and
gas production in both Utah and Wyoming. Following the commenter’s logic, adding methane emissions
in the EPA’s modeling would increase, not decrease the contributions from these two states to receptors
in Denver.



4.2 Model Performance
4.2.1 Model Performance at Lake Michigan


Comments


Commenter: Air Pollution Control Program, Missouri Department of Natural Resources

Commenter ID: 01

Docket ID: EPA-R07-OAR-2021-0851

Comment:

The updated modeling to identify the newly linked receptors is performing outside the acceptable range
for model performance and cannot be used as the basis for disapproving Missouri’s SIP

Complex photochemical modeling applications must be high-performing and technically sound to make
determinations at Step 1 and Step 2 of EPA’s framework, where the results are used to justify billions of
dollars of new regulatory costs. Without a well-performing model, the technical foundation and basis
does not exist for determining: first the need for new control requirements (Steps 1 and 2), and second
the stringency level of the new control requirements (Step 3).

[…]

While the updated modeling has resolved all of the linkages that Missouri was required to analyze at
step 2 in our SIP submission, the updated modeling also identified four new receptors to which Missouri
                                                                                                      156
        Case: 23-60069          Document: 110          Page: 555       Date Filed: 03/27/2023




is linked at Step 2. Figure 1, displays these four newly identified receptors that Missouri is linked to in
the updated modeling. While EPA’s model is not performing within one percent in any region of the
country, as may very well be needed to justify the use of a one percent threshold at Step 2, the model is
not even performing within well-establish acceptable ranges in the only region of the country (Upper
Midwest) where Missouri is still linked to problem receptors in the updated modeling. All four of the
newly identified receptors are located near the shoreline of Lake Michigan (one in Chicago, IL and three
in Wisconsin). While EPA’s model performance evaluation shows that on a nationwide basis, it meets
the established acceptable criteria for model performance, in Missouri’s case there is only one region of
the country where there are linked receptors at Step 2, and the model performs the worst in this region
and outside the acceptable range, as discussed below.

[…]

The acceptable ranges for photochemical model performance are outlined in the 2017 document titled
Recommendations on statistics and benchmarks to assess photochemical model performance. The
document includes the following recommended benchmarks for model performance statistics for MDA8
levels for ozone:

• Normal mean bias (NMB) goal: less than or equal to ±5 percent;

• NMB criteria: less than or equal to ±15 percent;

• Normal mean error (NME) goal: less than or equal to ±15 percent; and

• NME criteria: less than or equal to ±25 percent.

In January of 2022, EPA released a document to accompany the updated modeling titled Air Quality
Modeling for the 2016v2 Emissions Platform Technical Support Document. Table A-1 of this document
[available in full comment] provides the NBE and the NME associated with the updated modeling for all
the climate regions of the country. In the Upper Midwest, the NMB for all days with MDA8 above 60 ppb
is -19.1 percent and the NME for these days is 19.5 percent. This shows that for this region of the
country the model is performing outside the both the goal and acceptable criteria for NMB and outside
the goal but within the acceptable criteria for NME. In addition, in EPA’s document titled CAMx 2016v2
MDA8 O3 Model Performance Stats by Site, it shows that the model is also severely underperforming for
the four specific receptors linked to Missouri in the updated modeling. The NMB at the Cook County, IL
receptor is -14.50 percent with an NME of 15.20 percent. The NMBs at the two Kenosha County, WI
receptors are -24.36 percent and -18.94 percent with NMEs of 25.29 percent and 18.94 percent. The
NMB for the Racine County, WI receptor is -23.49 percent with an NME of 24.16 percent. These values
are all outside established model performance goals, and the model is performing outside the
acceptable range at each receptor with respect to NMB (except for the Illinois receptor where the NMB
is within 0.5 percent of the acceptable criteria limit). With a model that is so severely underperforming
at the only receptors where Missouri is linked, it cannot be acceptable to use the modeling results as the
technical foundation to establish linkages at Step 2, which will result in the imposition of billions of
dollars of control costs for Missouri sources.

Commenter: Ameren Missouri


                                                                                                       157
        Case: 23-60069          Document: 110          Page: 556        Date Filed: 03/27/2023




Commenter ID: 05

Docket ID: EPA-R07-OAR-2021-0851

Comment:

5. The modeling used to determine Missouri's "significant contribution" to nonattainment in USEPA's
step 2 is shown by USEPA's own data that it cannot accurately predict ozone concentrations at the
monitors critical to the Missouri SIP. This inaccuracy is significant enough that use of the model without
changes to link Missouri emissions to nonattainment is arbitrary and capricious.

[Paraphrase: Modeling is too inaccurate to reliably establish a link based on an evaluation of the model
outputs for the monitors critical to the MO SIP on days used to establish the relative contribution factor.

The performance of USEPA's modeling at the Lake Michigan monitors is so poor, that USEPA cannot rely
on the results based on an Alpine assessment of modeling files.]9. USEPA's use of the RCF and RRF to
determine MO's significant contribution compounds the modeling inaccuracies

The USEPA's post processing of model data to estimate future year design values as well as state
contributions to those future years utilizes two values calculated based on model outputs for various
future modeled days. The first is the Relative Reduction Factor (RRF) which the modeling TSD for the FIP
describes as the fractional change in the modeled MDA8 ozone between the base and future year. The
RRF is calculated as the average of the ratios of the future year modeled MDA8 ozone concentrations to
the modeled top 10 base year (2016) MDA8 ozone concentrations. As detailed earlier, at monitor
locations along land water interfaces like the Lake Michigan shoreline, the USEPA CTM has difficulty
reproducing observed ozone concentration in the base year (2016). The inability to reproduce the actual
observed concentrations in the base year is an error that is caried forward in the models calculation
future year MDA8 ozone concentrations. The error can be estimated based on the normalized mean
error of the base year modeled MDA8 ozone concentrations of the days used to calculate the RRF. The
RRF which is the average ratio of the two modeled concentrations on the top 10 modeled base year
concentrations has the same relative error. The RRF is then multiplied by the actual observed ozone
design value for the base year (2016) to estimate the future year design value for that monitor location.
The error in the design value calculation is equal to the normalized mean error for the RRF calculation.

Similarly, the Relative Contribution Factor (RCF) for a state is the average of the ratio of the modeled
future year Ozone Source Apportionment Tool (OSAT) output for a state by the total modeled
concentration for the top 10 future year modeled days. The error in the RCF calculation is similar to the
RRF error. The RCF error can be estimated based on the normalized mean error of the base year
modeled MDA8 ozone concentrations of the days used to calculate the RCF.

When USEPA then multiplies the RCF by the future year design value (which is based on the RRF
calculation) it is compounding (multiplying) the error in the RCF by the error in the RRF. The result is that
the error in the estimate of a state's contribution is larger than the sum of the errors for the RCF and the
RRF.




                                                                                                         158
        Case: 23-60069         Document: 110          Page: 557       Date Filed: 03/27/2023




Commenter: Association of Electric Companies of Texas, BCCA Appeal Group, Texas Chemical Council
and Texas Oil & Gas Association

Commenter ID: 11

Docket ID: EPA-R06-OAR-2021-0801

Comment:

EPA’s modeling underlying its assessment of TCEQ’S modeling is erroneous, arbitrary and capricious.

EPA’s 2016v2 modeling platform demonstrates systematic bias and error in predicting ozone in the
Chicago and Lake Michigan areas and is not an adequate tool to establish the purported linkage
between Texas and the Chicago areas that EPA identified. EPA’s 2016v2 modeling does not pass well-
accepted performance standards in air quality planning, and cannot be the basis for a reasoned decision
on Texas’s SIP. The performance of EPA’s 2016v2 modeling in the upper Midwest disqualifies it as a
predictor of future design values and contributions at these sites. As noted in the attached analysis
prepared by Sonoma Technology, EPA’s modeling platform has dramatic bias and errors as a predictor of
ozone in the Midwest. Such inaccuracies affect EPA’s Relative Response Factor (“RRF”), which is then
used to project future year design values, and can result in the model mistaking the response to
emissions changes. In other words, a model with this level of bias and error tends to portray more
controls as being needed to demonstrate modeled attainment than are actually necessary to attain or
maintain the NAAQS. This is just one potential consequence of relying on a model with these
performance problems. The directionality of the effects cannot be known, and thus regulatory decisions
cannot reliably be based on results from such modeling. Because the model is performing so poorly, it is
unreliable to determine whether any controls are necessary to address interstate transport between
Texas and the upper Midwest. As the CAA only requires that a Good Neighbor SIP contain “adequate
provisions” to prohibit significant contributions to nonattainment or interference with maintenance of
the NAAQS, such inaccuracies in EPA’s model point to overcontrol of upwind sources. Such a result is
contrary to the CAA and cannot support disapproval of Texas’s SIP.



Commenter: Association of Electric Companies of Texas, BCCA Appeal Group, Texas Chemical Council
and Texas Oil & Gas Association (Attachment – Sonoma Technology)

Commenter ID: 11

Docket ID: EPA-R06-OAR-2021-0801

Comment:

The Water Tower Site in Kenosha shows that the model is not capturing the highest observed MDA8
through most of the ozone season. For example, the second-highest ozone day of the season is
underestimated by approximately 30 ppb, and the model entirely missed the early season multi-day
ozone episode in late-May. The Chicago-Alsip site shows a similar inability of the model to capture high
ozone, but mostly in the months of May and June when a large number of the highest MDA8 ozone
occur. Additionally, the model fails to capture the highest observed MDA8 concentration of the ozone

                                                                                                      159
        Case: 23-60069          Document: 110         Page: 558       Date Filed: 03/27/2023




season and underestimates this August day by approximately 20 ppb. At the Chicago-Evanston site, the
model also inaccurately predicts high ozone episodes in May and June.

 The inaccuracies at these key sites in EPA’s 2016v2 modeling demonstrate a systematic performance
problem with the 2016v2 platform at these sites in the Chicago and Lake Michigan areas, especially
during the spring. This is an important issue given that these monitors are linked to emissions from up to
6 upwind states in the proposed rulemaking. EPA concludes that the “days with high modeled
concentrations are generally also days with high measured concentrations…”, but this conclusion is less
meaningful if the model is inaccurately predicting the MDA8 ozone on those days at these sites. The
average of the top 10 MDA8 modeled ozone days is used to calculate the Relative Response Factor
(RRF), which is used to project base design values to the future year. But days with modeled MDA8
ozone ≤ 60 ppb, which could be erroneously missed due to the substantial bias in EPA’s model, would be
excluded. Thus, for example, the ozone event at Kenosha – Water Tower in late May would be missed in
the RRF calculations. As emphasized in EPA’s attainment modeling guidance, the use of the model in a
relative sense helps to mitigate the effect of model biases on individual days. However, negative bias in
the model's ozone performance can still contribute to a bias in the RRF (Hu et al., 2021). If the RRF is
biased high, the model will underpredict the response to emissions changes, and thus more emission
controls would be needed to demonstrate modeled attainment. This is just one potential consequence
of relying on a model with these performance problems. The magnitude and directionality of biases in
the RRF (and thus the predicted future-year design values) were not evaluated for this modeling
platform, but regulatory decisions cannot reliably be based on modeling results from sites in the upper
Midwest that are demonstrating a systematic performance problem. Hu et al. (2021) also emphasize the
importance of good model performance (particularly having a low bias) in air quality management.

In attainment planning, performance “benchmarks” are used to provide an appropriate and consistent
context to assess general confidence in the modeling results and for judging the suitability of a model
for a particular application. EPA does not recommend using these benchmarks as a “pass/fail” indicator,
but statistical results that are outside the range of the benchmarks often indicate performance issues
that call into question the suitability of the model and thus should be addressed. According to EPA,
about two-thirds of other recent peer-reviewed and regulatory air quality modeling applications had
NMB less than ±15% and NME less than 25% for ozone. This defines a benchmark of reasonable ozone
model performance. At several upper Midwest ozone monitoring sites, the bias (NMB) is substantially
greater than ±15% (and as large as -24.4%) and the error (NME) approaches 25%. In terms of ozone
concentrations, the mean bias is as large as -17.1 ppb at the Kenosha Water Tower Site, which is
substantial given that the mean observed ozone was 70.1 on days when MDA8 ozone was 60 ppb or
greater.

In summary, EPA’s 2016v2 modeling platform performs poorly at sites in the upper Midwest that are
linked to Texas in the proposed disapproval. The 2016v2 platform, as presented in the proposal
documentation, does not reliably predict ozone formation at these upper Midwest monitors.

Figure 1. [available in full comment]

High ozone episodes in the Great Lakes region are strongly tied to the complex lake-land breeze
circulation patterns that influence the formation and transport of ozone in the region, especially at
monitoring sites within a few kilometers of the lakeshore. As a result, photochemical grid models have
                                                                                                      160
        Case: 23-60069          Document: 110         Page: 559        Date Filed: 03/27/2023




difficulties reproducing high ozone events in this region (Qin et al., 2019). A further complexity is that
the Chicago area is one of the few regions in the United States where ozone is still characterized at times
by “VOC-limited” chemistry, which can dampen the responsiveness of ozone to NOx emission controls
(Koplitz et al., 2021). EPA’s 2016v2 modeling for the proposed Transport Rule was conducted using a 12
km by 12 km spatial grid resolution. Spatial resolution of the underlying model may be one reason why
EPA’s 2016v2 platform performed poorly on high ozone days in the Great Lakes region. A finer
resolution grid would be needed to fully resolve the atmospheric features in these complex regions
(LADCO, 2017).

Other modeling platforms [such as TCEQ’s 2012 based modeling] show better model performance than
EPA’s 2016v2 modeling.

Other attainment modeling platforms have outperformed EPA’s 2016v2 platform in the Lake Michigan
region. As an example, Table 4 shows the model performance of MDA8 ozone ≥ 60 ppb for TCEQ’s 2012-
based platform, used in TCEQ’s Transport SIP, at the sites in the region that EPA linked to Texas using its
2016 platform. The TCEQ platform predictions show better model performance across the sites that EPA
linked to Texas. NMB for these sites using the TCEQ platform ranges from -4.59 to 2.78% and NME
ranges from 10.22% to 14.48%. At the Kenosha – Water Tower site specifically, the TCEQ platform shows
less NMB by almost a factor of 5 (-4.59% TCEQ vs. -24.36% EPA) and less NME by a factor of 2 (11.22%
TCEQ vs. 25.29% EPA).

Table 4. [available in full comment]



Commenter: Evergy, Inc.

Commenter ID: 21

Docket ID: EPA-R07-OAR-2021-0851

Comment:

Another major concern is underperformance of the updated modeling that links Missouri to the newly
identified receptors. This model is not sufficiently accurate for the Upper Midwest when compared to
the goal and acceptable criteria for the normal mean bias. Similarly, the model exceeds the goal for
normal mean error outlined in the acceptable ranges for photochemical model performance in the 2017
document titled Recommendations on statistics and benchmarks to assess photochemical model
performance. This underperformance has immense consequence when considering that a small shift in
the model to move above or below the 1 percent of the 2015 ozone standard has an impact equivalent
to millions of dollars on Missouri residents.



Commenter: Oklahoma Department of Environmental Quality

Commenter ID: 37

Docket ID: EPA-R06-OAR-2021-0801

                                                                                                       161
        Case: 23-60069          Document: 110         Page: 560        Date Filed: 03/27/2023




Comment:

The table below further exemplifies the problem of modeling sensitivities. It contains data
for the ozone monitors located in the Illinois portion of the Chicago, Illinois-Indiana-Wisconsin
Nonattainment Area. Note that of the 12 ozone monitors, only one Site 170310032 exceeds the 1%
NAAQS threshold of 0.7 ppb. This site barely exceeded the contribution threshold, measuring at 0.75
ppb. This measurement could be misleading since Site 170310032 is located less than 0.2 miles from
Lake Michigan. This calls into question the accuracy of the contribution as the location could be greatly
influencing the results as models often have difficulties near water-land boundaries. Furthermore, the
average of the Oklahoma impact for the 12 monitors equates to 0.41 ppb, well under the 1% limit.

[Table is available in full comment]



Commenter: The Luminant Companies

Commenter ID: 44

Docket ID: EPA-R06-OAR-2021-0801

Comment:

Specifically, as explained in the analysis prepared by Sonoma Technology that is attached to the
comments submitted by the Association of Electric Companies of Texas, BCCA Appeal Group, Texas
Chemical Council, and Texas Oil & Gas Association, EPA’s 2016v2 modeling has a significant bias for
receptors in the Ohio Valley and Midwest, including Illinois and Wisconsin, which makes it unreliable for
purposes of projecting future design values in these areas. This bias would in turn impact EPA’s Relative
Response Factor (“RRF”) and can cause the model to underpredict impacts from changes in emissions.
Essentially, as applied to Texas, EPA’s model would require emission reductions beyond those necessary
to achieve attainment in downwind states because the biased RRF makes it appear that additional
controls are needed when, in fact, they are not.

This constitutes unlawful overcontrol with respect to Texas and cannot form the basis for disapproval of
Texas’s SIP. In contrast, the modeling platform used by TCEQ has been shown to have better model
performance and be more accurate for receptors in the Ohio Valley and Midwest and particularly the
Lake Michigan region. Accordingly, EPA provides no technically justified basis to second-guess TCEQ’s
model in favor of its own flawed modeling.



Commenter: Midwest Ozone Group

Commenter ID: 30

Docket ID: EPA-R02-OAR-2021-0673, EPA-R03-OAR-2021-0872, EPA-R03-OAR-2021-0873, EPA-R04-OAR-
2021-0841, EPA-R05-OAR-2022-0006, EPA-R06-OAR-2021-0801, EPA-R07-OAR-2021-0851

Comment:


                                                                                                       162
        Case: 23-60069          Document: 110         Page: 561       Date Filed: 03/27/2023




The problem monitors in Connecticut, Wisconsin, and Illinois are not properly characterized by EPA’s
modeling since they are located at the interface between land and water.

EPA’s ozone attainment modeling guidance states that:

        "[t]he most important factor to consider when establishing grid cell size is model response to
        emissions controls. Analysis of ambient data, sensitivity modeling, and past modeling results can
        be used to evaluate the expected response to emissions controls at various horizontal
        resolutions for both ozone and PM2.5 and regional haze. If model response is expected to be
        different (and presumably more accurate) at higher resolution, then higher resolution modeling
        should be considered. If model response is expected to be similar at both high and low(er)
        resolution, then high resolution modeling may not be necessary. The use of grid resolution finer
        than 12 km would generally be more appropriate for areas with a combination of complex
        meteorology, strong gradients in emissions sources, and/or land-water interfaces in or near the
        nonattainment area(s)" (emphasis added)

EPA’s modeling in support of the proposed disapprovals simulated a national domain using a 12km grid
resolution domain wide. While this makes running a national, regional simulation easier from a technical
perspective, it neglects the important issue of the complex meteorology and/or land-water interfaces in
or near the nonattainment or maintenance monitors of interest. Indeed, EPA's choice of a 12 km grid is
an arbitrary choice in contravention of its own guidance when modeling Illinois, Wisconsin, and
Connecticut monitors because these monitors are at landwater interfaces.

Photochemical modeling along coastlines is complex for two reasons. First, the temperature gradients
along land/water interfaces can lead to localized on-shore/off-shore flows; and secondly, the
photochemical model formulation spreads the emissions in a grid cell throughout the full grid volume of
the cell.

Figures 4 and 5 present two unique areas in the eastern U.S. that is challenged by these complex
meteorologic issues at land-water interfaces. For each monitor associated with this proposed rule and
located in Connecticut along the Long Island Sound (Figure 4) and in Wisconsin and Illinois along the
shore of Lake Michigan (Figure 5), EPA’s published model performance evaluation (MPE) metrics for
ozone have been reviewed on a day specific basis.

[image in full comment]

Figure 4. Long Island Sound shoreline monitors located on land/water interface.

[image in full comment]

Figure 5. Lake Michigan shoreline monitors located on land/water interface.

Studies indicate that air quality forecast models typically predict large summertime ozone abundances
over water relative to land and that meteorology around Lake Michigan and the Long Island Sound is
distinctly unique; both shortcomings warrant individualized attention and a finer grid resolution to best
explore actual conditions.



                                                                                                       163
        Case: 23-60069          Document: 110         Page: 562        Date Filed: 03/27/2023




The 3x3 neighborhood of grid cells used in determining the design values of the relative response factor
(RRF) at land-water interface monitors extends into the noted water bodies. Under current guidance,
the top ten modeled days within this 3x3 matrix are used in determining this RRF for each monitor with
any cell identified as 50 percent or more water, except for cells including monitors, which are omitted
from the calculations.

When the individual days selected for RRF calculation are reviewed at many of these monitors, it is seen
that the performance of the model to replicate observed concentrations are outside of comparable
acceptable ranges. Table 1 below provides a list of top 10 days at the Kenosha monitor in Wisconsin and
comparisons of daily modeled maximum daily average 8-hour ozone concentrations (highlighted in
green) and observations on the same date in 2016. These are the dates selected in EPA’s modeling to
represent highest modeled days used in estimating future year design values.

As can be seen in these Tables, several days selected for RRF calculation have modeled ozone
concentrations that fall outside of normally acceptable normalized bias (NBias) boundaries (±15%),
either because of over (positive bias) or under (negative bias) predictions compared to observed
concentrations on those days. In fact, at the Kenosha monitor example below, four of the ten selected
days fall outside of the ±15% bias metric (highlighted in orange in the Table below).

[Table 1 available in full comment]

The LMOS 2017 study also shows that for Lake Michigan coastal monitors the air quality model even at a
4 km resolution does not simulate the proper timing and structure of the land/lake breeze or the inland
penetration of elevated ozone concentrations. A review of this LMOS study states “To reproduce the
timing and magnitude of the ozone time series at coastal monitors, ozone production over the lake must
be correctly simulated; furthermore, details of the lake breeze must be accurate—–timing, horizontal
extent, and vertical structure.” Based on recommendations from the LMOS 2017 study research team, a
horizontal resolution of at most 1.3 km is required to reasonably resolve the complex meteorology of
the air/water interface for the great lakes and coastal ocean areas. The LMOS 2017 Study researchers
believe that a 1.3 km grid spacing will assist in the resolution of the large ozone concentration gradients
that often occur along the shoreline as well as the inland penetration of the lake breeze circulation.

Similar results are seen at the example Fairfield, Connecticut nonattainment monitor (Table 2) where
again four of the ten days are outside of the ±15% normalized bias range; including the top modeled day
at the receptor (modeled value of 91.64 ppb and an observed value of 67.13 ppb).

[Table 2 available in full comment]

As these examples show, days where modeled ozone was predicted at concentrations differing up to ±
24 ppb are being used to estimate future year ozone concentrations and to make determinations of
nonattainment, maintenance, and significant contribution from upwind sources.

[…]

On many days with relatively simple meteorology, EPA-developed wind fields using the Weather
Research and Forecasting (WRF) Model agree with the MADIS observed winds. However, the modeled
winds have strong disagreement with the observed meteorology on June 15, July 7, July 27 and August

                                                                                                       164
        Case: 23-60069          Document: 110         Page: 563        Date Filed: 03/27/2023




4, 2016, the four days when the CAMx model predicted the highest ozone concentrations and are thus
used in estimating RRFs and future year ozone design values. The following presents an example on
August 4, 2016, the day with the highest model estimated MDA8 ozone concentrations at the Kenosha,
Wisconsin monitor.

In Figures 6 through 8 below, the black wind vectors are the wind fields used in the CAMx model. For
clarity only every third grid cell is presented. The red vectors are the hourly observed wind vectors from
the MADIS archive. The hourly results from 1200 CDT through 1600 CDT are presented in these Figures.
The observations clearly show a broad persistent land to lake flow long the Wisconsin shoreline while
the model shows a persistent lake to land flow in this same region during this same period. For this
timeframe, when the model is estimating the highest ozone for the ozone season at this receptor, the
model has the winds flowing from the lake to the shore while the observations are winds flowing from
the shore to the lake.

[Figures 6-10 available in full comment]

In addition to grid size resolution and complex meteorology issues, modeling performed by EPA17 and
the LMOS 2017 study both showed a negative bias in predicted ozone concentrations in the Lake
Michigan region. LMOS 2017 study researchers have experimented with increasing anthropogenic VOC
emissions and decreasing anthropogenic NOx emissions. These emission changes improved air quality
model performance reducing the negative bias. VOC speciation and spatio-temporal release patterns
should also be reviewed. This evaluation by the LMOS 2017 research scientists indicates there are
significant errors in the quantity and speciation of the VOC/NOx emissions used in the EPA’s air quality
modeling platform to characterize state contribution to ozone in Step 2 of EPA's analyses linking these
states to critical nonattainment monitors.

For these reasons, EPA must consider finer grid resolution modeling over the Lake Michigan domain to
adequately capture ozone formation and significant contribution at receptors located on complex land-
water interfaces because model evaluation shows that the model fails to adequately characterize ozone
production at these monitors. Absent a wholesale revision of EPA’s modeling protocol, MOG believes
that EPA's use of modeling with poor performance at critical monitors amounts to an arbitrary and
capricious decision when used to establish linkages under Step 2.



Commenter: Xcel Energy

Commenter ID: 52

Docket ID: EPA-R05-OAR-2022-0006

Comment:

Minnesota Pollution Control Agency (MPCA) 2015 Ozone NAAQS State Disapproval Comments:

Xcel Energy endorses the comments filed by the Minnesota Pollution Control Agency (MPCA) in
response to EPA's SIP disapproval for Minnesota. In addition to EPA not including all the NOx emission
reductions taking place within the state, the EPA erred in the approach taken modeling the influence

                                                                                                       165
        Case: 23-60069          Document: 110         Page: 564       Date Filed: 03/27/2023




Lake Michigan has on receptor sites located near the air/water shoreline boundaries, which was
factored into the modeling performed by Lake Michigan Air Directors Consortium (LADCO) supporting
Minnesota's SIP submittal. We understand that other parties, such as Midwest Ozone Group (MOG), will
provide more detail on this matter in their comments.



Commenter: Xcel Energy

Commenter ID: 52

Docket ID: EPA-R06-OAR-2021-0801

Comment:

Texas Commission on Environmental Quality (TCEQ) 2015 Ozone NAAQS State Disapproval Comments:

Xcel Energy endorses the comments filed by the Texas Commission on Environmental Quality (TCEQ) in
response to EPA’s SIP disapproval for Texas. The EPA erred in the approach taken to modeling the
influence Lake Michigan has on the receptor sites located near the air/water shoreline boundaries in
Cook County Illinois, Kenosha, and Racine Wisconsin, which was factored into the modeling performed
by both TCEQ, further supported by comments filed by the Association of Electric Companies of Texas
(AECT) and the associated modeling analysis performed by Sonoma Technology.



Response
The EPA responds to comments regarding model performance in both Section 4.2.1 and Section 4.2.2.

Comments included here in Section 4.2.1. raise issues besides model performance. Comments on the
proposed FIP are out of the scope of this action. The EPA is not requiring any controls in this action.
Other topics raised by these comments are addressed in the following sections of this RTC document:
1.4 (Use of Updated Modeling), 4.1.1 (Modeling Design – Lake Michigan), 5 (Updates to Modeling and
Changes in Linkages), 9.2 (Over-Control), 10.3 (Cooperative Federalism and the EPA’s Authority), and
11.6 (Economic Impacts).



4.2.2 Model Performance at Western States
Comments


Commenter: Nevada Division of Environmental Protection

Commenter ID: 33

Docket ID: EPA-R09-OAR-2022-0138

Comment:


                                                                                                      166
        Case: 23-60069         Document: 110         Page: 565        Date Filed: 03/27/2023




As stated in NDEP’s June 21, 2022 comment letter (attached) on the Proposed Federal Implementation
Plan for Regional Ozone Transport for the 2015 Ozone NAAQS EPA-HQ-OAR-2021-0668 (Proposed FIP),
the Proposed FIP fails to consider Nevada’s (and Western States) uniqueness, including local industry,
topography (including high elevations and variations), geography, population, meteorology, vast open
range landscapes, and wildfires.



Commenter: PacifiCorp

Commenter ID: 38

Docket ID: EPA-R08-OAR-2022-0315

Comment:

The Colorado ozone SIP modeling provides more reliable and accurate 2023 and 2026 ozone projections
than the new and problematic modeling EPA relied on to disapprove Utah’s SIP for several reasons:

1. The Colorado SIP CAMx modeling was tailored to simulate ozone in the relevant Denver Metro area.
EPA’s modeling, on the other hand, was national modeling not optimized to simulate ozone in the
relevant, western mountain area.

2. The Colorado SIP CAMx modeling used a higher grid resolution (4-km) while EPA’s modeling relies on
a national-scale coarse 12-km grid resolution that is not as effective at replicating the complicated
meteorology in the Rocky Mountain region due, in part, to poor representation of terrain features that
impact ozone formation and transport.

3. The Colorado SIP CAMx modeling was a better match for observed ozone. EPA’s CAMx modeling has
an ozone underestimation bias that falls short of EPA’s own requirements.

4. The higher resolution grid size and meteorology of the Colorado ozone SIP CAMx modeling produces
higher ozone due to local emissions. This also results in more ozone reductions from the local emission
controls (e.g., mobile sources) and thus lower projected future-year ozone levels at the affected
monitors than EPA’s CAMx modeling.



Commenter: PacifiCorp (Attachment – Ramboll Evaluation)

Commenter ID: 38

Docket ID: EPA-R08-OAR-2022-0315

Comment:

4.5.1 Effects of Higher Resolution 4-km Grid in DM/NFR SIP Modeling

[…] In order to properly simulate ozone formation in the DM/NFR NAA, a high resolution grid cell size
needs to be used. All of the Denver ozone SIPs in the past have used a 4-km grid resolution to simulate
the correct meteorology and chemistry and resolve the urban plumes so that the model has a chance to
                                                                                                     167
        Case: 23-60069          Document: 110          Page: 566       Date Filed: 03/27/2023




reproduce the highest observed ozone concentrations. Use of a coarse 12-km grid will instantaneously
disperse emissions across a grid cell volume that is almost an order of magnitude larger than when a 4-
km grid size is used making it difficult for the model to reproduce the high observed ozone peaks due to
overdiluting the ozone concentrations and its precursors.

Note that use of a coarse 12-km grid resolution will also reduce ozone peaks due to local sources in the
Upwind State due to failure to resolve urban and other highly concentrated ozone precursor emission
sources (e.g., industrial facilities, O&G, etc.) and their resultant ozone plumes. However, by the time the
ozone and precursor concentrations from the Upwind State travel 100s of miles to the receptor in the
downwind state the “plumes” will be many 12-km grid cells across so that the effects of the coarse
resolution on underestimating ozone concentrations at the receptor in the downwind state due to
emissions in the Upwind State is less important.

[…]

4.5.2 Effects of Higher Resolved Meteorological Inputs on Ozone Concentrations in the DM/NFR Ozone
SIP Modeling

Obtaining the correct depiction of meteorology is critically important for simulating ozone formation in
the complex terrain conditions of the DM/NFR NAA. […]

4.5.2.1 Conceptual Model of Ozone Formation in the DM/NFR NAA

The DM/NFR 2020 Serious ozone SIP for the 2008 ozone NAAQS (RAQC and CDPHE, 2020) included a
report “Conceptual Model of High Ozone for the Denver Metro/North Front Range” (Ramboll, 2020).
The highest ozone concentrations in the DM/NFR NAA are due to a combination of ozone transport and
locally generated ozone under specific meteorological regimes that favor ozone photochemistry and
limited dispersion. Reddy and Pfister (2016) explored the relationships between meteorology and ozone
in the Rocky Mountain states and concluded that increases in upper-level high pressure strength “lead
to high July ozone in much of the western U.S., particularly in areas of elevated terrain near urban
sources with high emissions of NO2 and other ozone precursors.” In addition to bringing warmer
temperatures, upper-level ridges in this region reduce westerly winds at the surface and aloft to allow
cyclic terrain-driven circulations that reduces transport away from sources. This includes the formation
of thermally driven upslope flows along the Front Range in the Denver NAA where ozone and ozone
precursors are transported up the slopes during the day and can return at night to lower elevations in
large scale basin drainage (downslope) flows. Upper-level ridges can also increase background ozone
concentrations within the ridge. Ozone and NOX concentrations build locally, and deeper vertical mixing
in this region provides a potential mechanism for recapture of ozone in layers aloft (e.g., from transport
or remnants of the previous days ozone) that are mixed down to the surface.

The three key elements of a conceptual model for high-concentration ozone episodes along Colorado’s
Front Range are:

        1. The presence of an upper-level high pressure system or ridge.

        2. Reduced westerly winds, especially during the day.


                                                                                                       168
        Case: 23-60069          Document: 110         Page: 567        Date Filed: 03/27/2023




        3. Thermally-driven upslope flow towards the Continental Divide during the day and downslope
        drainage flows into the Platte Valley at night. This diurnal cycle of winds enhances the potential
        for the accumulation of ozone precursors and ozone within the region, especially when this
        cyclic pattern recurs over a period of several days.

4.5.2.2 Requirements for WRF Meteorological Model to Reproduce DM/NFR NAA Ozone Conceptual
Model

In order for the Weather Research and Forecasting (WRF) meteorological model to reproduce the
meteorological conditions that lead to the highest ozone concentrations in the Denver NAA it needs to
be able to simulate the high pressure system/ridge and the thermally driven slope flows. Getting the
high pressure system or ridge correctly requires using analysis fields as inputs into WRF that reflects
their presence that are used in the WRF initial and boundary conditions (IC/BC) and four-dimensional
data assimilation (FDDA) inputs. Such analysis fields that contain the presence of the high
pressure/ridges include the North American Mesoscale Forecast System (NAM29) analysis fields that
were used in the WRF simulations to develop the CAMx 2016 meteorological inputs for both the
DM/NFR 2023 Severe/Moderate ozone SIP and Proposed Transport Rule CAMx 2016 modeling
platforms.

For WRF to obtain an accurate depiction of the thermally driven slope flows requires the terrain inputs
for the model to be representative of actual terrain. Use of a 12-km grid resolution smooths the terrain
and greatly reduces the terrain heights and the elevation differences of the “slopes” of the terrain along
the Front Range. The slope between western Denver County to the continental divide spans
approximately 7,800 feet in elevation using a 4-km grid resolution but only approximately 4,500 feet in
elevation change using the 12-km grid resolution. Thus, WRF’s ability to reproduce the thermally driven
daytime upslope and nighttime downslope flows will be severely compromised using a 12-km grid
resolution and simulated much more accurately using a 4-km grid resolution because a 12-km grid
resolution fails to resolve the terrain in the region.

The higher resolution complex terrain in the 4-km data, and in reality, will also affect transport of ozone
and precursors from Wyoming to the Denver NAA differently than if a 12-km grid resolution is used. The
higher variable wind fields from more highly resolved terrain features will disperse ozone and precursors
from Wyoming as they are transported to the Denver NAA than if a 12-km grid resolution is used that
smooths the actual terrain features.

[…]

4.5.3 Comparison of CAMx Ozone Model Performance and Its Implications

[Ramboll] conducted an ozone model performance of the CAMx 2016 base case simulation used in the
Proposed Transport Rule and compared it to the ozone performance of the DM/NFR 2023
Severe/Moderate ozone SIP CAMx S17 2016 base case simulation. At this time, only limited publicly
available information is available on ozone model performance for the DM/NFR ozone SIP CAMx S17
2016 base case from presentations given at the May 18, 2022 RAQC Ozone Modeling Forum.

Ozone model performance goals and criteria have been established by Emery and co-workers (2016) for
the Normalized Mean Bias (NMB) and Normalized Mean Error (NME) model performance metrics. The
                                                                                                       169
       Case: 23-60069         Document: 110         Page: 568      Date Filed: 03/27/2023




NMB ozone model performance goal is ≤±5% and the NMB ozone performance criterion is ≤±15%. The
NME ozone model performance goal and criterion are ≤15% and ≤25%, respectively.

[…]

The DM/NFR ozone SIP CAMx 2016 base case ozone performance is clearly performing better than the
EPA Proposed Transport Rule CAMx 2016 base case at all four sites in the DM/NFR NAA. The EPA CAMx
2016 base case exhibits an ozone underestimation bias, which was expected given the coarse 12-km grid
resolution used. At CHAT, the Proposed Transport Rule CAMx 2016 base case has an NMB
underestimation of -7.6% while the DM/NFR 2023 Severe/Moderate ozone SIP has essentially zero bias
(0.1%). The underestimation bias in the Proposed Transport Rule CAMx 2016 base case is even greater
at the RFNO (-8.1%), NREL (-8.4%) and FTCW (-12.5%) sites while the DM/NFR ozone SIP CAMx 2016
base case bias achieves the bias performance goal by a wide margin.

[…]

Ozone attainment/nonattainment is determined by the ozone design value (DV) that is defined as the
three-year average of the fourth highest maximum daily average 8-hour (MDA8) ozone concentrations.
Thus, how well the model simulates the four highest observed MDA8 ozone concentrations is an
important model performance attribute. The highest observed MDA8 ozone concentration at Chatfield
during 2016 was 86.6 ppb that was underestimated by the Proposed Transport Rule CAMx 2016 base
case (74.9 ppb) by 11.7 ppb (-13.5%). Whereas, the DM/NFR ozone SIP CAMx 2016 base case highest
estimated ozone concentration at Chatfield (86.4) matched the observed value (86.6 ppb) almost exactly
(within 0.2 ppb or 0.0% difference). The fourth highest observed MDA8 ozone concentration at Chatfield
(78.0 ppb) is underestimated by the Proposed Transport Rule CAMx 2016 base case (71.9 ppb) by 6.1
ppb (-7.8%), while the DM/NFR ozone SIP CAMx base case fourth highest ozone at Chatfield (78.1 ppb)
matches the observed fourth highest ozone very well (0.1 ppb and 0.0% difference).[…] The ozone
under-prediction bias of the Proposed Transport Rule CAMx 2016 base case at RFNO is even greater
than at CHAT with the four highest observed ozone concentrations underestimated by -11% to -19%.
The DM/NFR ozone SIP CAMx 2016 base case also underestimates the four highest observed MDA8
ozone concentrations at RFNO but the underestimation bias (-4% to -10%) is approximately half of the
Proposed Transport Rule underestimation bias. For example, the observed fourth highest MDA8 ozone
at RFNO (79.5%) is underestimated by the Proposed Transport Rule by -11% (70.9 ppb) but is only
underestimated by the DM/NFR ozone SIP CAMx 2016 base case by -4% (76.3 ppb), which achieves the
≤±5% ozone performance goal.

[…]

4.6 Conclusions On Future Year Projected Ozone Design Values at DM/NFR Nonattainment/Maintenance
Receptors

Based on scientific technical arguments, the coarse 12-km grid resolution used in the Proposed
Transport Rule CAMx modeling will likely overstate future year design value projections. This was
confirmed by the DM/NFR 2023 Severe/Moderate ozone SIP CAMx 4-km grid resolution modeling that
produced lower future year projected design values resulting in Chatfield and Rocky Flats North no
longer being nonattainment/maintenance receptors in 2026.

                                                                                                  170
        Case: 23-60069          Document: 110          Page: 569       Date Filed: 03/27/2023




[…]

Utah was linked to three receptors in the DM/NFR NAA (CHAT, RFNO and NREL). Two of these receptors
(CHAT and RFNO) become attainment receptors based on the refined DM/NFR Severe/Moderate ozone
SIP CAMx modeling, although NREL receptor remained a nonattainment receptor in the DM/NFR ozone
SIP CAMx modeling (see Table 4-5 [available in full comment]). However, Utah has a 0.90 ppb ozone
contribution to the NREL receptor in 2026 and, as discussed in Chapter 7, this contribution is not a
statistically significant contribution to an ozone design value. This argues that Utah should also not be
subject to the 2026 EGU and non-EGU controls in the Proposed Transport Rule.

5.2 Coarse Grid Resolution Will Understate Ozone Contributions due to Local Sources Resulting in
Overstating Utah’s and Wyoming’s Ozone Contribution at DM/NFR NAA Receptors

For all the reasons presented in Chapter 4 of this report, the use of the coarse 12-km grid resolution in in
the Proposed Transport Rule CAMx modeling will dilute the ozone and precursor concentrations in the
DM/NFR ozone NAA resulting in an understatement of modeled ozone concentrations due to local
sources than if a finer grid cell size was used (e.g., 4-km). With higher modeled ozone concentrations
due to local sources at receptors in the DM/NFR NAA that would increase the total MDA8 ozone
concentrations and reduce the Utah and Wyoming CF resulting in reductions in Utah’s and Wyoming’s
contribution to 2023 and 2026 ozone design values at DM/NFR NAA receptors.



Commenter: Utah Division of Air Quality

Commenter ID: 47

Docket ID: EPA-R08-OAR-2022-0315

Comment:

The UDAQ has provided extensive comments on the substantial limitations and problems with the
modeling used to justify the inclusion of Utah in the proposed FIP. These limitations are significant and
include inappropriate modeling resolution, inadequate modeling of atmospheric transport, significant
negative modeling bias, and a likely misrepresentation of the atmospheric chemical regime as a result of
issues with the inventories used.



Response
Commenters describe the “conceptual model” of local scale meteorological conditions that are typically
associated with high ozone concentrations measured in areas around Lake Michigan and in western
states where the EPA has identified nonattainment and/or maintenance-only receptors in 2023.
Commenters claim that the EPA’s projected design values and contributions for receptors in these areas
are flawed because the horizontal resolution of the EPA’s modeling (i.e., 12 km) is too coarse to properly
resolve the emissions and meteorological conditions that lead to locally high ozone concentrations
associated with the land/water interface in coastal areas and in complex terrain. In this regard,
commenters argue that EPA must use “fine scale modeling” (i.e., 4 km resolution or 1 km resolution) to

                                                                                                        171
        Case: 23-60069         Document: 110         Page: 570       Date Filed: 03/27/2023




properly simulate ozone concentrations and the response to emissions changes, and thus provide
credible projections of design values and contributions for such areas. Commenters support their claim
by pointing to model performance statistics from the EPA’s modeling for 2016, which commenters say is
biased low compared to the corresponding measured ozone concentrations at receptors in Coastal
Connecticut, the Lake Michigan area, and in Colorado and Utah. Commenters then allege that the
modeled response to emissions reductions (i.e., Relative Response Factors - RRFs) is correlated with
base year model bias. That is, the commenters contend that the low-bias in the 2016 base year
modeling implies that the model’s response to the emissions reductions between 2016 and 2023 is also
underpredicted. The commenters state that underpredicting model response results in design values in
2023 that are too high and, therefore, the projected design values overstate the magnitude and extent
of the ozone problem in 2023. Commenters support these claims by noting that fine scale modeling
performed for Colorado and the Lake Michigan area has less bias and error and produces lower
projected design values compared to the EPA’s 12 km modeling. The commenters then allege that the
error associated with underprediction in the base year is compounded in the calculation of future year
contributions such that the contribution metric values calculated by the EPA overstate the magnitude of
contributions from upwind states. Finally, noting that projected design values and contributions are
calculated based on the top 10 modeled concentrations days, commenters say that the EPA must
discard from these calculations any days that do not meet certain model performance benchmarks.

The EPA agrees that fine-scale meteorological conditions associated with the land water interface
coupled with the spatial distribution of ozone precursor emissions presents a challenge for modeling
ozone formation and urban scale transport that affect monitoring sites in Coastal Connecticut and near
the shoreline of Lake Michigan. The EPA also agrees that modeling for areas located in complex terrain,
such as Denver and Salt Lake City present a similar challenge.

As described below, the EPA disagrees with commenter’s assertion that fine scale modeling is required
in order to provide scientifically sound projections of ozone design values and contributions to assess
interstate ozone transport for this action. In addition, the EPA disagrees that model performance
benchmarks cited by commenters should be applied when identifying which days to use when
calculating projected design values and contributions. The EPA also disagrees with the notion that the
magnitude of model response is correlated with base year model bias and error such that modeling that
underpredicted measured concentrations also underpredicts model response.

Regarding comments on the use of fine scale modeling with respect to model performance, as stated in
the EPA’s modeling guidance, the use of fine scale modeling should be considered for the purpose of
identifying local control strategies that will provide for attainment of the NAAQS in such areas. The
guidance goes on to say “If model response is expected to be different (and presumably more accurate)
at higher resolution, then higher resolution modeling should be considered. If model response is
expected to be similar at both high and low(er) resolution, then high resolution modeling may not be
necessary.”

To gauge the adequacy of model performance for regulatory applications, the EPA’s modeling guidance
recommends comparing model performance statistics from the base year model run (e.g., 2016) to
model performance from other recent state-of-the-science model applications. Specifically, the EPA
guidance recommends that “air agencies compare their evaluation results against similar modeling

                                                                                                    172
         Case: 23-60069            Document: 110            Page: 571         Date Filed: 03/27/2023




exercises to ensure that the model performance approximates the quality of other applications. Recent
literature reviews (Simon et al, 2012; Emery et al., 2017)44,45 summarize photochemical model
performance for applications published in the peer-reviewed literature between 2006 and 2015. These
reviews may serve as a resource for identifying typical model performance for state of the science
modeling applications.” The EPA has followed this guidance in evaluating the adequacy of model
performance for the air quality modeling performed for the proposal and final transport actions.

The model performance criteria for MDA8 ozone concentrations recommended by Emery et al., are in
the table below.
                          Table 4-5 Model Performance Criteria for MDA8 Ozone Concentrations


                                            Metric                           Criteria

                              Normalized Mean Bias (NMB)                     ≤ ± 15%

                              Normalized Mean Error (NME)                     < 25%

                                 Correlation Coefficient (r)                   > 0.5


The EPA notes that the commenter’s complaints were based on model performance for the 2016v2
modeling that EPA used for the proposed disapprovals. As described in the 2016v3 Emissions Modeling
TSD and the Final Action AQM TSD, for this final action the EPA is using the 2016v3 platform which
includes numerous updates made in response to comments on the proposal. Model performance for
ozone with the 2016v3 platform is substantially improved compared to model performance with 2016v2
(see the Final Action AQM TSD for details on modeling performance for 2016v3).

In this RTC we present a comparison of model performance and projected design values at receptors in
2023 based on the EPA’s 2016v3 modeling to the corresponding model performance and projected
design values from fine scale modeling covering the Lake Michigan area, Coastal Connecticut, and
Denver.

The tables below provide model performance statistics based on CAMx modeling performed by
LADCO,46 the New York State Department of Conservation (NYS DEC)47 and Ramboll for the Denver


44
   Simon et al Simon, H., Baker, K. R., Phillips, S, (2012), Compilation and interpretation of photochemical model
performance statistics published between 2006 and 2012, Atmos Environ, 61, 124-139.
45
   Emery, C., Liu, z., Russell, A.G., Odman, M.T., Yarwood, G., Kumar, N., (2017), Recommendations on Statistics
and Benchmarks to Assess Photochemical Model Performance, Journal of the Air and Waste Management
Association, 67:5, 582-598, doi:/10.1080/10962247.2016.1265027.
46
   Attainment Demonstration Modeling for the 2015 Ozone National Ambient Air Quality Standard Technical
   Support Document. Lake Michigan Air Directors Consortium. September 21, 2022.
47
   Yum, J., E. Zalewsky, Y. Tian, and K. Civerolo. Comparison of the CAMx performance of 2016 based modeling
platforms at 12 km and 4 km resolution. 20th Annual CMAS Conference, November 01-05, 2021.
                                                                                                                 173
        Case: 23-60069             Document: 110             Page: 572        Date Filed: 03/27/2023




Northern Front Range ozone implementation plan48 along with performance statistics based on the
EPA’s 2016v3 modeling.49 Normalized mean bias and normalized mean error statistics are used to
compare model performance from the EPA’s 12 km modeling to 4 km modeling from these other model
applications.50 Note that data from LADCO and Ramboll are based on “two-way nested” modeling in
which a fine-scale grid is embedded within a coarse scale regional domain during the model simulation.
With this configuration, there are no independent predictions at 12 km. The NYS DEC performed
independent modeling at 4 km and at 12 km. Note also that each group calculated statistics for different
time periods during the ozone season. The LADCO statistics are based on days with measured ozone
concentrations above 60 ppb, whereas the Ramboll statistics are based on data for all days. Both sets of
statistics (i.e., with and without using a cut-off of 60 ppb) are available for the NYS DEC modeling. In all
cases, the EPA 2016v3 model performance statistics were calculated for the same days that were used
by LADCO, NYS DEC, and Ramboll for their applications. Finally, the differences in model performance
and projected design values between the EPA’s 12 km modeling and the 4 km modeling from LADCO,
NYS DEC, and Ramboll cannot be solely attributable to differences in grid resolution. Other factors, such
as differences in 2016 and 2023 emissions used in each model application also have some effects on the
results. In this respect, the NYS DEC modeling may provide the most consistent comparison between 4
km and 12 km modeling since both sets of modeling relied on similar emissions inputs.
              Table 4-6 Model Performance Statistics Based on LADCO’s Modeling and EPA’s 2016v3 Modeling

                                                        Statistics for April – September (Percent)
                                                  Normalized Mean Bias              Normalized Mean Error
                                                   Days Above 60 ppb                 Days Above 60 ppb
                                                    LADCO           EPA               LADCO            EPA
      Site ID        State      Receptor             4 km          12 km               4 km           12 km
      170310001      IL       Alsip                  -12.0           0.2               12.0            10.9
      170314201      IL       Northbrook             -14.5          -3.9               14.5            10.5
      170317002      IL       Evanston                -1.8          -0.9               13.8            9.6
      550590019      WI       Chiwaukee              -11.1         -12.9               15.5            16.9
      551010020      WI       Racine                  -7.9         -10.9               14.1            15.2
      551170006      WI       Sheboygan              -11.4         -11.6               11.4            13.2



48
    Morris, R., T. Shah, M. Rodriguez, C-J Chien, and P. Vennam. Air Quality Technical Support Document (AQTSD)
for the Denver Metro/North Front Range 2023 Severe/Moderate Ozone State Implementation Plan. Ramboll.
August 2022.
49
   For this analysis, the EPA leveraged existing, readily available, model performance statistics based on modeling
by LADCO, the NYS DEC, and Ramboll for these receptors. In this regard, the data from these organizations may, in
some cases, reflect preliminary modeling.
50
   The normalized mean bias is calculated by first subtracting the modeled values from the corresponding observed
values paired in space and time. Then, the sum of these differences is divided by the sum of the observed
concentrations. The normalized mean error is calculated in a similar manner except that the sum of the absolute
value of the differences is divided by the sum of the observations. Both normalized mean bias and normalized
mean error are expressed as a percent.
                                                                                                               174
         Case: 23-60069             Document: 110             Page: 573          Date Filed: 03/27/2023



Table 4-7 Model Performance Statistics Based on NYS DEC’s Modeling and EPA’s 2016v3 Modeling (Percent)

                                                            Statistics for May – June (Percent)
                                              Normalized Mean Bias                     Normalized Mean Error
                                               Days Above 60 ppb                        Days Above 60 ppb
                                          NYS DEC       NYS DEC        EPA          NYS DEC      NYS DEC        EPA
   Site ID       State     Receptor        4 km          12 km        12 km          4 km         12 km        12 km
   90010017      CT       Greenwich        -12.8          -6.5         -7.3          14.7          12.7         8.3
   90013007      CT       Stratford         -7.5          -8.9         -1.9           9.7          15.7         13.1
   90019003      CT       Westport         -12.0         -10.0         -3.8          12.2          10.7         7.9
   90099002      CT       Madison           -5.0          -7.1         -3.3           7.2           8.7         7.3

Table 4-8 Model Performance Statistics Based on NYS DEC’s Modeling and EPA’s 2016v3 Modeling (July-August)

                                                                 Statistics for July - August
                                              Normalized Mean Bias                     Normalized Mean Error
                                               Days Above 60 ppb                        Days Above 60 ppb
                                         NYS DEC       NYS DEC        EPA          NYS DEC       NYS DEC        EPA
  Site ID        State     Receptor       4 km          12 km        12 km          4 km          12 km        12 km
  90010017       CT       Greenwich        -8.1          -3.3         -9.8          11.8           12.8         11.9
  90013007       CT       Stratford        -9.7          -5.2         -0.3          15.6           12.2         12.4
  90019003       CT       Westport        -13.0          -3.5         -0.1          17.1           13.2         12.7
  90099002       CT       Madison          -7.2          -3.5          0.4          14.4           10.8         9.8


Table 4-9 Model Performance Statistics Based on NYS DEC’s Modeling and EPA’s 2016v3 Modeling (May-June)

                                                                  Statistics for May - June
                                               Normalized Mean Bias                  Normalized Mean Error
                                                      All Days                              All Days
                                                 (no "ppb" cut-off)                    (no "ppb" cut-off)

                              NYS DEC NYS DEC EPA                                 NYS DEC NYS DEC             EPA
     Site ID  State Receptor   4 km    12 km 12 km                                 4 km    12 km             12 km
     90010017 CT    Greenwich   -5.8     0.0  -0.5                                 12.4     13.6              12.7
     90013007 CT    Stratford  -10.4    -9.2  -5.5                                 14.9     17.3              15.4
     90019003 CT    Westport   -13.0    -5.8  -2.9                                 17.2     15.3              12.2
     90099002 CT    Madison     -5.0    -4.2  -1.2                                  9.7     10.8              9.4




                                                                                                                     175
         Case: 23-60069             Document: 110            Page: 574          Date Filed: 03/27/2023



Table 4-10 Model Performance Statistics Based on Ramboll’s Modeling and EPA’s 2016v3 Modeling

                                                             Statistics for June 1 - August 20
                                                Normalized Mean Bias               Normalized Mean Error
                                                       All Days                           All Days
                                                  (no "ppb" cut-off)                 (no "ppb" cut-off)
                                                Denver          EPA                 Denver         EPA
        Site ID       State       Name           4 km         12 km                  4 km         12 km
        80350004      CO       Chatfield            0.1             3.8                9.2       10.1
        80590006      CO       Rocky Flats         -0.4             2.1                8.8       9.4
        80590011      CO       NREL                -2.0             1.8                8.6       10.7
        80690011      CO       Ft Collins          -2.5            -3.0                7.8       9.2


Comparing model performance using 12 km versus 4 km modeling does not support the commenter’s
contention that model performance using fine scale, 4 km modeling results in model performance
superior to what is obtained with 12 km modeling, even at receptors where the magnitude of ozone
concentrations are highly affected by complex meteorological conditions. The data in the above tables
show that normalized mean bias and normalized mean error statistics for both the 4 km and 12 km
modeling are well within the range of the performance criteria recommended by Emery et al., and
endorsed by the commenters at nearly all of these receptors. At some of the receptors in Coastal
Connecticut and near the shoreline of Lake Michigan there is notably less bias in the EPA’s 12 km
modeling compared to 4 km modeling at the same receptor. At the NREL and Ft Collins receptors in
Denver, the bias with 12 km modeling and 4 km modeling are similar. At the other two receptors in
Denver, model bias is less at 4 km. The results of this analysis indicate that model bias and error in the
EPA’s 2016v3 12 km modeling is comparable, overall, to model performance using 4 km modeling.

Regarding comments on the use of fine scale modeling with respect to projected design values, the EPA
compared projected design values for 2023 from the 4 km modeling performed by LADCO, the NYS DEC,
and Ramboll to the EPA’s projections for 2023 based on the 2016v3 modeling. These data are provided
in the tables below. The data from LADCO and Ramboll are based on the application of the “3 x 3”
approach for projecting design values. The NYS DEC provided two sets of projected design values; one
set based on the “3 x 3” approach and a second set based on the “no water, except monitor grid cell”
approach. To maintain consistency in this analysis, all the design values in the tables below, including
the EPA’s 12 km modeling, are based on the “3 x 3” approach.

The comparison of design values based on 12 km modeling to the corresponding design values based on
4 km modeling indicates that projected average DVs from the EPA 12km modeling are similar to those
from the LADCO 4 km modeling and that both the LADCO and the EPA modeling identify the same set of
monitors that have projected average design values that exceed the NAAQS (i.e., Chiwaukee and
Sheboygan). A comparison of 12 km and 4 km design values for receptors in Coastal Connecticut shows
that 3 of the 4 Connecticut receptors have lower projected 2023 average DVs in the NYC DEC 12km
modeling compared to 4 km resolution. At these receptors the EPA 12 km 2023 average design values
are lower than both the 4 km and 12km based NYS DEC projected average DVs at all the Connecticut

                                                                                                           176
         Case: 23-60069             Document: 110            Page: 575         Date Filed: 03/27/2023




receptors. Finally, comparing the 4 km Ramboll modeling to the 12 km EPA modeling for receptors in
Colorado indicates that the projected average design values are very similar (within 1 ppb at 3 of the 4
receptors). The data show here refute the claims by commenters that 12 km modeling will lead to
systematically higher projected DVs compared to modeling simulations conducted at 4 km resolution
which could result in a greater potential for overcontrol using 12 km modeling.
Table 4-11 Comparison of Design Values for 2023 from LADCO’s 4 km Modeling and EPA’s 2016v3 Modeling

                                                                            LADCO                  EPA
                                                                             4 km                 12 km
                                                                             2023         2023            2023
                                                2021       Preliminary      Average      Average         Maximum
        Site ID      State     Receptor          DV         2022 DV           DV           DV               DV
     170310001       IL      Alsip               71             72           67.5         68.2             71.9
     170314201       IL      Northbrook          74             74           68.0         68.4             71.8
     170317002       IL      Evanston            73             74           68.9          69.1            71.9
     550590019       WI      Chiwaukee           74             75           71.6          72.0            73.0
     551010020       WI      Racine              73             75           69.5          70.0            71.8
     551170006       WI      Sheboygan           72             75           75.1          73.0            73.9


Table 4-12 Comparison of Design Values for 2023 from NYS DEC’s 4 km Modeling and EPA’s 2016v3 Modeling


                                             NYS DEC                            NYS DEC             EPA
                                              4 km                               12 km             12 km
                                              2023                               2023         2023      2023
                            2021 Preliminary Average                            Average      Average Maximum
    Site ID State Receptor   DV   2022 DV      DV                                  DV          DV         DV
  090010017 CT    Greenwich  79       77      75.2                                73.9        72.0       72.6
  090013007 CT    Stratford  81       81      77.1                                76.0        73.3       74.2
  090019003 CT    Westport   80       80      77.9                                78.6        74.3       74.5
  090099002 CT    Madison    82       79      73.7                                72.0        71.2       73.3




                                                                                                                   177
         Case: 23-60069             Document: 110            Page: 576         Date Filed: 03/27/2023



Table 4-13 Comparison of Design Values for 2023 from Ramboll’s 4 km Modeling and EPA’s 2016v3 Modeling


                                                                             Ramboll                EPA
                                                                              4 km                 12 km
                                                                              2023         2023    2023
                                          2021      Preliminary 2022         Average      Average Maximum
      Site ID State Receptor               DV             DV51                 DV           DV       DV
     80350004 CO    Chatfield              83              83                 70.6         71.3     71.9
                    Rocky
                                           81                                               72.8           73.5
     80590006 CO    Flats                                   83                 70.3
     80590011 CO    NREL                   83               84                 73.4         73.5           74.1
     80690011 CO    Ft Collins             77               77                 70.4         70.9           72.1


Regarding commenter’s assertion that days with model performance outside the range of the
performance criteria recommended by Emery, et al., should be removed from the data set used to
calculate projected design values and contributions, the EPA finds this approach to be inconsistent with
the intended use of these criteria. These benchmarks are based on model performance aggregated
across multiple monitors and many days. In this respect, it is expected that even in model applications
that meet these benchmarks there would be some monitor/days with model bias and error that is
outside the range of the benchmarks. It is therefore not appropriate to use these benchmarks to screen
individual sites or days. Specifically, in Emery, et al., the authors “do not make recommendations for
model performance benchmarks for individual monitors, recognizing that the importance of model
performance at a specific site is application-specific.” In addition, the authors state “For ozone, we
recommend calculating statistics over temporal scales of roughly 1 week (an episode), not to exceed 1
month.”

Even though the EPA disagrees with commenter’s assertion to “throw out” specific days at individual
monitors for which model performance does not meet the criteria, out of an abundance of caution, the
EPA performed a sensitivity analysis for selected receptors in which the projected 2023 design values
and contributions were recalculated after removing individual days that fell outside the Emery et al.,
criteria for normalized mean bias and/or normalized mean error. The EPA chose receptors in Coastal
Connecticut, the Lake Michigan area, Dallas, and Denver for this analysis. The specific receptors included
in this sensitivity analysis are Stratford, Connecticut, Chicago/Evanston, Illinois, Dallas/Denton, Texas,
and Denver/Rocky Flats, Colorado.

In this sensitivity analysis the EPA first examined the normalized bias and normalized error on each day
to determine if model performance on the days used to project design values and/or calculations fell
outside the range of the criteria. Days with performance outside the range of the criteria were removed
from the calculation of project design values and contributions. Next, using data for the remaining days,
the EPA recalculated Relative Response Factors (RRFs) which were then applied to the 2016-centered
base period average and maximum design value to re-projected the 2023 design values. The EPA then
recalculated the Relative Contribution Factor for each upwind state to downwind receptor combination.

51
  It should be noted that both EPA and Ramboll modeling of 2023 project ozone levels substantially lower than
recent measured ozone levels at the four Colorado receptors, which are all well above the 2015 ozone NAAQS for
both certified 2021 DVs and preliminary 2022 DVs.
                                                                                                                  178
        Case: 23-60069             Document: 110             Page: 577           Date Filed: 03/27/2023




The recalculated RCFs were then applied to the recalculated 2023 average design values to calculate a
new set of contribution metric values. The number of top 10 days at each receptor that were replaced
with data from other days when recalculating projected design values and contributions is given in the
table below. For example, at the Stratford receptor, model performance on 4 of the top 10 days used to
calculate RRFs was outside the range of the criteria. The data for these days were removed. Then the
concentrations on days with performance within the range of the criteria were re-ranked to identify a
new set of top 10 days. In the calculation of the average contribution metric, 5 of the original top 10
days at this receptor were replaced with data from other days.

             Table 4-14 Top 10 Days Replaced After Recalculating Projected Design Values and Contributions

                                                          Number of Original Top 10 Days
                                                                     Replaced
                                                            in this Sensitivity Analysis

                                                         Recalculated            Recalculated
                    Site ID         Receptor             Design Values           Contributions
                    090013007       Stratford                  4                       5
                    170317002       Evanston                   7                       7
                    481210034       Denton                     0                       1
                    080590006       Rocky Flats                0                       1


The table below provides the projected 2023 average and maximum design values without the removal
of any days (i.e., Final Action design values) and the recalculated 2023 design values after removing days
with model performance outside the range of the criteria (i.e., days commenters claim have “poor
performance”). The data in the table below indicates that there is less than a ppb difference between
the two sets of design values at Stratford and Evanston even though data on nearly half (Stratford) and
more than half (Evanston) of the days used to project design values were replaced with data from other
days.

                     Table 4-15 Final Action Design Values Versus Sensitivity Scenario Design Values

                                                               Projected 2023 Design Values (ppb)
                                                               Final Action                  Sensitivity

                                                          Average Maximum Average Maximum
           Site ID      State        Receptor               DV       DV     DV       DV
         090013007      CT       Stratford                 72.9     73.8   72.1     73.0
         170317002      IL       Evanston                  68.5     71.3   69.2     72.0
         481210034      TX       Denton Airport            69.8     71.6   69.8     71.6
         080590006      CO       Rocky Flats               72.8     73.5   72.8     73.5




                                                                                                             179
        Case: 23-60069          Document: 110         Page: 578       Date Filed: 03/27/2023




The following tables provide the contribution metric values for upwind states linked to the Stratford,
Connecticut, Chicago/Evanston, Illinois, Dallas/Denton, Texas, and Denver/Rocky Flats, Colorado
receptors for this final action (i.e., no days removed) and the sensitivity scenario (i.e., days removed
based on model performance). The highlighted contributions in these tables identify contributions that
exceed the 1 percent of the NAAQS screening threshold. The data indicate that removing days with
“poor performance” does not appear to result in any systematic bias in the magnitude of contributions.
That is, contributions increase for some states linked to a particular receptor while contributions from
other upwind states linked to that same receptor decrease. For example, at Evanston the contribution
from Wisconsin dropped by 50 percent, whereas the contribution from Arkansas nearly doubled to a
level above the screening threshold. In addition, after removing days with “poor performance” the
contribution from Louisiana increased to above the threshold. Although the contribution from Michigan
to Stratford dropped to below the screening threshold after removing days with “poor performance”,
the contribution from this state to Evanston more than doubled. Also, although Illinois contributes
below the threshold to Stratford after removing days with “poor performance”, Illinois contributes well
above the threshold to receptors in Wisconsin. The results of this sensitivity analysis indicate that the
EPA’s findings in this final action are robust with respect to consideration of daily model performance at
individual monitoring sites.




                                                                                                       180
Case: 23-60069    Document: 110               Page: 579           Date Filed: 03/27/2023



                 Table 4-16 Sensitivity Analysis - Stratford, CT Receptor


                                              Stratford, CT
                                              (090013007)
                   Upwind
                    State             2023 Contribution (ppb)
                                     Final Action         Sensitivity
                      IL                 0.72                0.50
                      IN                 1.18                0.74
                      KY                 0.80                0.84
                      MD                 0.96                1.12
                      MI                 1.38                0.48
                      NJ                 7.22                7.94
                      NY                 12.70               12.66
                      OH                 2.04                1.79
                      PA                 5.43                6.62
                      VA                 1.15                1.25
                      WV                 1.35                1.68

                 Table 4-17 Sensitivity Analysis - Evanston, IL Receptor


                                              Evanston, IL
                                              (170317002)
                   Upwind
                    State             2023 Contribution (ppb)
                                     Final Action         Sensitivity
                      AR                  0.46                0.88
                      IN                  6.40                7.01
                      LA                  0.14                0.70
                      MI                  1.11                2.50
                      MO                  1.18                1.04
                      OH                  0.96                1.49
                      TX                  1.85                0.86
                      WI                  2.32                1.17




                                                                                           181
        Case: 23-60069          Document: 110              Page: 580           Date Filed: 03/27/2023



                            Table 4-18 Sensitivity Analysis - Denton Airport, TX Receptor


                                                       Denton Airport, TX
                                                         (481210034)
                                 Upwind
                                  State             2023 Contribution (ppb)
                                                   Final Action        Sensitivity
                                    AR                 0.92                0.89
                                    LA                 2.87                2.68
                                    MS                 0.91                0.85
                                    OK                 1.01                1.09


                             Table 4-19 Sensitivity Analysis - Rocky Flats, CO Receptor


                                                          Rocky Flats, CO
                                                           (080590006)
                                 Upwind
                                  State             2023 Contribution (ppb)
                                                   Final Action        Sensitivity
                                     CA                1.44                1.15
                                     UT                1.17                1.12


Finally, in response to comments that claim at the EPA’s projected design values used to identify
receptors are too high as a result of base year model underprediction, the EPA conducted an analysis to
determine if there is any clear relationship between base year (i.e., 2016) model bias and the response
of the EPA’s CAMx modeling to emissions changes between 2016 and 2023. The figures below show
model bias on individual days as a function of model response on the days at the Chicago/Evanston,
Denver/Rocky Flats, and Dallas/Denton receptors. The plots are based on days with modeled MDA8
ozone concentrations greater than or equal to 60 ppb in the set of grid cells used to project 2023 design
values. As evident from these plots, there is no discernable relationship between model bias and model
response. Thus, base year model under prediction of measured data does not translate into an under
prediction of model response and an over prediction of projected design values.




                                                                                                        182
Case: 23-60069   Document: 110    Page: 581   Date Filed: 03/27/2023




                            Figure 4-9




                            Figure 4-10

                                                                       183
        Case: 23-60069          Document: 110         Page: 582        Date Filed: 03/27/2023




                                                Figure 4-11

Comments on the proposed FIP are out of the scope of this action. Other topics raised by these
comments are addressed in the following sections: 11.4 (Transport Policy – Western State Ozone
Regulation).



4.3 Model Error vs Contribution Threshold
Comments


Commenter: Alabama Department of Environmental Management

Commenter ID: 02

Docket ID: EPA-R04-OAR-2021-0841

Comment:

In EPA’s proposed disapproval of the revised SIP, comments were made on the model performance
statistics included in the WOE analysis. The purpose of pointing out the statistics was not to evaluate the
numbers themselves, but to look at the magnitude of the numbers that would be considered as
acceptable performance. The idea was that performance statistics are often acceptable at 10, 20 even
30%, yet 1% (0.71) is sufficient enough to identify an upwind State as culpable to a predicted


                                                                                                       184
       Case: 23-60069          Document: 110         Page: 583       Date Filed: 03/27/2023




nonattainment or maintenance receptor. This is a disconnect, and ADEM contends that the model
cannot accurately estimate impacts at such small numbers.



Commenter: Alabama Power Company, Southern Power Company, and PowerSouth Energy Cooperative

Commenter ID: 04

Docket ID: EPA-R04-OAR-2021-0841

Comment:

ADEM’s third factor suggests that EPA’s models cannot accurately replicate monitor concentrations,
given the small concentrations at issue, and, as commenters set out, the modeled contributions are less
than the acceptable modeling error range.

[…]

Even when considering Alabama’s SIP in the context of EPA’s FIP framework, EPA’s rationale for
proposing to disapprove Alabama’s SIP proves inadequate. Under Step 2, EPA gives little or no credence
to the evidence in the record calling into question its model performance …

In evaluating EPA’s model performance and contribution threshold of 0.70 ppb, levels assigned to
Alabama fall within the noise of EPA’s model. In the proposed disapproval, EPA discounts the modeling
error and bias identified by ADEM, claiming that “base year model performance statistics that are
derived from measured and modeled data strictly paired in space and time are not useful as the sole
measure for gauging the ability of the model to adequately estimate future year average contributions
on the order of 0.70 ppb on high ozone days representative of the magnitude of measured
concentrations at the receptor.” However, EPA claims the opposite in its Air Quality Modeling Technical
Support Document. Specifically, EPA admits that the agency relies on the error and bias analysis, which
indicates errors of 20-25% in some circumstances, to justify its “projections of expected future year
ozone concentrations and contributions.” Moreover, to the extent EPA was mistaken and this modeling
error does not address errors in contributions, then EPA’s model fails the basic bulwark against
inappropriate reliance on modeling by failing to assess the potential for and rate of error.

While the 20% error in EPA’s modeling may be defensible for some purposes, it is not defensible with
respect to the assessment of Alabama’s SIP submittal. For example, Alabama’s modeled contribution to
the Texas receptors lies within the modeling error range EPA identifies as acceptable. In other words,
Alabama has been modeled to contribute to downwind monitors above the 1% “screening metric” by an
amount that is less than the level of error that EPA has asserted is acceptable. This weighs heavily in
favor of approving Alabama’s SIP.



Commenter: Mississippi Department of Environmental Quality

Commenter ID: 32

Docket ID: EPA-R04-OAR-2021-0841
                                                                                                    185
        Case: 23-60069          Document: 110         Page: 584       Date Filed: 03/27/2023




Comment:

[technical support document] shows significant levels of bias and error (+/-7.8 to 9.1 ppb) in the South
region, the region which both Mississippi and Texas are considered a part of for the purpose of this
model. The imperceivable contributions from Mississippi sources (i.e., ≤ 1.14 ppb) on modeled
concentrations at any monitor in Texas fall well within the error range and should be further scrutinized
to evaluate whether Mississippi’s contribution is, in fact, significant.



Commenter: Utah Petroleum Association and the Utah Mining Association

Commenter ID: 48

Docket ID: EPA-R08-OAR-2022-0315

Comment:

Photochemical modeling, especially for the western United States, lacks the level of accuracy needed to
reliably differentiate a contribution of 0.7 ppb hundreds of miles downwind. Utah described this in their
comments on EPA’s March 27, 2018, guidance memo regarding Interstate Transport SIPs for the 2015
Ozone NAAQS: Due to the complex terrain, meteorology, distance between sources and receptors, and
somewhat coarse-grained modeling inputs the margin of error in the transport modeling in the
Intermountain West is about 15%. If we applied this margin of error to determine those States that
contribute significantly to ozone in downwind States, 15% of the 70-ppb ozone NAAQS suggests that
controls would only be required in States contributing 10 ppb or more to downwind ozone. This is more
in line with the contributions to downwind States in the northeastern part of the United States.



Response
EPA generally responds to these comments in Section V.B.4 of the preamble, and further addresses
these commenters here.

Commenters indicate that when the amount of contributions calculated is within the EPA’s margin of
error, the EPA should apply additional scrutiny to evaluate whether the upwind contribution is deemed
significant.

The EPA does consider additional factors beyond whether the state is linked at step 2 before
determining what emissions, if any, are deemed significant and require emissions reductions. The EPA
performs this determination at Step 3 of the 4-step interstate transport framework, where the EPA
considers additional factors, such as cost and the impact of emissions reductions to identify what
emissions have a significant impact on nonattainment or interference with maintenance of the NAAQS
at a downwind receptor.

To the extent that commenters suggest the EPA consider a less stringent threshold as a result of
modeling uncertainty at Step 2, the EPA disagrees with this notion. The Agency uses the CAMx model to
evaluate contributions from upwind states to downwind areas. The Agency has used CAMx in previous
notice and comment rulemakings to evaluate contributions relative to the 1 percent threshold for both
                                                                                                      186
        Case: 23-60069         Document: 110         Page: 585        Date Filed: 03/27/2023




ozone and PM2.5. In fact, in the original CSAPR, the EPA found that “[t]here was wide support from
commenters for the use of CAMx as an appropriate, state‐of‐the science air quality tool for use in the
[Cross‐State Air Pollution] Rule. There were no comments that suggested that EPA should use an
alternative model for quantifying interstate transport.” 75 FR 48229 (August 8, 2011).

The comments related to the EPA’s action on Alabama’s SIP submission do not provide any additional
technical analysis that would prevent the Agency from reasonably determining that Alabama
contributes above 1 percent of the NAAQS at one nonattainment receptor based on the updated 2016v3
modeling platform for 2023. Moreover, comments misunderstand the ozone model performance
evaluation and how the Agency assess linkages.

As discussed in the proposal, the EPA evaluates linkages using the multi-day average contribution from
each upwind state to each downwind receptor based on daily contributions from the state to the
receptor for the days with the highest model-predicted future year concentrations. 87 FR 64412 at
64423, (October 25, 2022). The modeled data are intended to represent future year ozone
concentrations and contributions associated with ozone conducive meteorological conditions and
transport patterns typical for high ozone episodes at the receptor. In this regard, base year model
performance statistics that are derived from measured and modeled data strictly paired in space and
time are not useful as the sole measure for gauging the ability of the model to adequately estimate
future year average contributions on the order of 0.70 ppb on high ozone days representative of the
magnitude of measured concentrations at the receptor. As explained in EPA’s Final Action AQM TSD in
the docket for this action, the performance of our modeling is within the generally accepted
performance parameters for modeling of this type.

The EPA concedes that its modeling cannot perfectly project air quality levels and contributions in a
future year; however, that is not the relevant standard. See Appalachian Power Co. v. EPA, 135 F.3d 791,
805-6 (D.C. Cir. 1998) (explaining that a model need not perfectly fit every data point). The EPA has
successfully applied its CAMx modeling platform across many CAA regulatory actions. The EPA continues
to find the modeling reliable for purposes of the Step 1 and Step 2 analyses of the 4-step interstate
transport framework. The EPA further responds to these and related comments in sections V.B.4-6 of
the preamble.




                                                                                                     187
        Case: 23-60069          Document: 110         Page: 586       Date Filed: 03/27/2023




5 Updates to Modeling and Changes in Linkages

Comments


Commenter: Air Pollution Control Program, Missouri Department of Natural Resources

Commenter ID: 01

Docket ID: EPA-R07-OAR-2021-0851

Comment:

Missouri is no longer linked to any of the receptors that EPA used to evaluate Missouri’s good neighbor
SIP submission. The downwind receptors evaluated in Missouri’s good neighbor SIP submission include –

    •   receptor ID 260050003, Allegan, MI;
    •   receptor ID 261630019, Wayne, MI;
    •   receptor ID 480391004, Brazoria, TX;
    •   receptor ID 482011039, Harris, TX;
    •   receptor ID 550790085 Milwaukee, WI; and
    •   receptor ID 551170006, Sheboygan, WI.

In EPA’s updated modeling used to support the disapproval of Missouri’s SIP and the proposed FIP for 26
states, none of these receptors are linked to Missouri. The following paragraphs explain how this change
in the technical basis for Missouri’s good neighbor obligations affect the submission with respect to each
of the receptors analyzed and included in Missouri’s good neighbor SIP for the 2015 ozone standard that
the Air Program submitted in 2019.

In Missouri’s good neighbor SIP submission in 2019, the Air Program demonstrated that the Allegan, MI
monitor met the conditions included in EPA’s October 2018 memorandum to not be considered a
maintenance receptor because the site would not be a receptor in 2023. In the proposed disapproval,
EPA rejected the argument stating that the summer of 2011 was an unusually cool summer in the upper
Midwest despite updated information added to the SIP to support this assertion in response to EPA
comment on Missouri’s SIP submission. However, as demonstrated in EPA’s updated modeling, the
Allegan monitor has indeed dropped off as a maintenance receptor. The maximum 2023 projected
design value for that monitor in the updated modeling is 68.4 ppb, well below the threshold of 70.9
needed to escape the label of a maintenance receptor under EPA’s 4-step framework. For this reason, it
is clear that Missouri’s analysis and demonstration held true, and EPA’s denial of it in the proposed
disapproval is disproved by EPA’s own modeling. Therefore, EPA must accept the demonstration
included in Missouri’s good neighbor SIP submission for this monitor. Failure to do so would constitute
arbitrary and capricious action that would ignore EPA’s own data.

For the Wayne, MI monitor, EPA’s updated modeling shows this receptor as no longer being a
maintenance receptor. The maximum 2023 projected design value for that monitor in the updated
modeling is 66.6 ppb. In Missouri’s good neighbor SIP submission, this was a maintenance receptor with
                                                                                                      188
        Case: 23-60069          Document: 110         Page: 587       Date Filed: 03/27/2023




a maximum 2023 design value of 71.0 ppb, which is the lowest possible maximum design value that
would cause it to receive the label of a maintenance receptor. In Missouri’s SIP submission, the Air
Program utilized the flexibility in EPA’s August memo, to avoid linkage with this receptor because
Missouri’s projected contribution was below 1 ppb. EPA rejected that assessment in the proposed
disapproval stating that Missouri failed to provide sufficient technical justification for use of the
flexibility offered in the August memo. Obviously, the fact that the maximum design value was equal to
the minimum value needed to be labeled a maintenance receptor, it follows that any improvement at all
would have taken care of this receptor, which is clearly supportive of a 1 ppb threshold. Nonetheless, as
shown in EPA’s own updated modeling, this monitor is cleared of additional analysis at Step 1. For all of
these reasons, EPA’s determination to not accept Missouri’s demonstration for this monitor is clearly
flawed, and constitutes arbitrary and capricious action by EPA since it ignores its own data that argues
for approving the state’s determination for this monitor.

For the Brazoria, TX monitor, EPA’s updated modeling shows that Missouri is no longer linked to this
monitor because Missouri’s contribution is 0.55 ppb, which is below 1 percent of the 2015 ozone
standard. In our SIP submission, the Air Program utilized the flexibility in EPA’s August memo, to avoid
linkage with this receptor because Missouri’s projected contribution was below 1 ppb. In the previous
modeling, Missouri’s contribution to this receptor was 0.88 ppb. Our SIP submission demonstrated that
this monitor was not significantly impacted by upwind state contributions, and instead the receptor
status was largely the result of contribution from local sources and international (Mexico) emissions.
This is substantially similar to EPA’s own determination in their latest actions associated with the
proposed disapproval and the proposed FIP with respect to linkages between Oregon and California,
where Oregon is absolved of their linkages to California for this very reason. However, EPA treats
Missouri differently by denying this same basis for the determination that a 1 ppb threshold was
appropriate as stated in our SIP submission. Further, the updated modeling provides even more proof
that the analysis in our SIP was appropriate for this monitor, as Missouri’s upwind contribution has now
fallen below the significant contribution threshold (even without the 1 ppb flexibility provided for in
EPA’s August memo). For all of these reasons, EPA’s determination to not accept Missouri’s
demonstration for this monitor is clearly flawed, and constitutes arbitrary and capricious action by EPA
since it ignores its own data that argues for approving the state’s determination for this monitor.

For the Harris, TX monitor, EPA’s updated modeling shows this receptor as no longer being a
maintenance receptor. The maximum 2023 projected design value for that monitor in the updated
modeling is 68.5 ppb. In Missouri’s good neighbor SIP submission, this was a nonattainment receptor
with a maximum 2023 design value of 73.5 ppb. Missouri’s contribution to this monitor was 0.88 ppb,
thus qualifying it for the use of the flexibility offered in EPA’s August memo. Similarly to the Brazoria
monitor, Missouri’s SIP submission explained that this monitor was not significantly impacted by upwind
state contributions, and instead the receptor status was largely the result of contribution from local
sources and international (Mexico) emissions. While EPA uses this same basis for approving Oregon’s SIP
using the updated modeling when it comes to 15 separate linkages in California that are at or above the
1 percent threshold and two receptors with contributions above 1 ppb, EPA denies this basis as included
in Missouri’s SIP submission for justifying the removal of the Harris, TX monitor linkage with Missouri at
Step 2. Further, the updated modeling does not even include upwind state contributions for this
monitor because there were fewer than five days where the modeled predicted maximum daily 8-hour

                                                                                                      189
        Case: 23-60069          Document: 110          Page: 588       Date Filed: 03/27/2023




average (MDA8) was above 60 ppb. This provides even further evidence that this is no longer a linked
problem receptor for Missouri. For all of these reasons, EPA’s determination to not accept Missouri’s
demonstration for this monitor is clearly flawed, and constitutes arbitrary and capricious action by EPA
since it ignores its own data that argues for approving the state’s determination for this monitor.

For the Milwaukee, WI monitor, EPA’s updated modeling shows this receptor as no longer being a
maintenance receptor. The maximum 2023 projected design value for that monitor in the updated
modeling is 68.4 ppb. In Missouri’s good neighbor SIP submission, this was a nonattainment receptor
with a maximum 2023 design value of 73.0 ppb. Missouri’s contribution to this monitor was 0.93 ppb,
thus qualifying it for the use of the flexibility offered in EPA’s August memo. Similarly to the Wayne, MI
monitor, Missouri’s SIP submission explained that this monitor should qualify for the flexibility afforded
in EPA’s August memo, because Missouri’s contribution was below 1 ppb and that the use of a 1 ppb
threshold for this receptor would capture 79.4 percent of the total contribution from upwind states and
83 percent of the upwind state contributions captured through the use of a 0.7 ppb threshold. These
values are higher than the nationwide average values included in the August memo that were the basis
for EPA stating the use of a one ppb threshold may be appropriate. However, in the proposed
disapproval, EPA denied this rationale claiming that insufficient technical justification was provided for
use of the 1 ppb flexibility. Now, EPA ignores their own updated modeling when evaluating Missouri’s
SIP, which not only no longer predicts this receptor as a nonattainment or maintenance receptor, but
does not even calculate upwind state contributions for the receptor because there were fewer than five
days where the modeled-predicted MDA8 was above 60 ppb. This provides even further evidence that
this is no longer a linked problem receptor for Missouri. For all of these reasons, EPA’s determination to
not accept Missouri’s demonstration for this monitor is clearly flawed, and constitutes arbitrary and
capricious action by EPA since it ignores its own data that argues for approving the state’s determination
for this monitor.

For the Sheboygan, WI monitor, EPA’s updated modeling still projects this receptor to be a
nonattainment receptor, but the modeling does not include any upwind state contributions because
there were fewer than five days where the model-predicted MDA8 was above 60 ppb. Clearly, the
model is underperforming with respect to this receptor in the updated modeling. However, in using the
rationale in Missouri’s SIP submission with the previous modeling, this monitor was impacted so heavily
by in-state and neighboring state emissions that the use of a threshold even higher than 1 ppb was
appropriate. Where in-state and two neighboring state emissions contributed 31.9 ppb of the design
value in the previous modeling, it belittles any case or justification for bringing in Missouri as a linked
state to this monitor. The Air Program notes that EPA submitted no comments with regard to the use of
a 2 ppb significant contribution threshold for this monitor, which implies EPA was satisfied with the
rationale included in the SIP at the time of submittal, and only now, after years of sitting on the
submission does EPA reverse course and explain in highly generic terms that it will not accept Missouri’s
demonstration for this monitor. With the low model performance at this receptor, and the substantially
unique position of the level of contribution coming from the states bordering Lake Michigan, there is
certainly insufficient information to conclude that this receptor should cause Missouri’s SIP to be
disapproved. For all of these reasons, EPA’s determination to not accept Missouri’s demonstration
for this monitor is clearly flawed, and constitutes arbitrary and capricious action by EPA since it
ignores its own data that argues for approving the state’s determination for this monitor.
                                                                                                       190
        Case: 23-60069          Document: 110         Page: 589        Date Filed: 03/27/2023




The fact that Missouri is no longer linked to any of the receptors analyzed in our SIP submission provides
adequate cause and justification to conclude that EPA’s proposed disapproval is inappropriate. EPA’s
updated modeling is proof that the SIP Missouri submitted adequately evaluated and demonstrated that
Missouri had addressed its good neighbor SIP obligations at Step 2 for every receptor evaluated in the
submission. However, EPA ignores these facts in its proposed disapproval, not even giving them lip
service. This arbitrary and capricious action shows that EPA cherry-picked information to make its case,
and ignored relevant, inconvenient facts in the record that do not support EPA’s conclusion.

The Air Program notes that EPA’s proposed disapproval goes on to point out that the updated modeling
has identified four additional receptors (all in the Lake Michigan area) that Missouri is now linked to.
These receptors were not identified as linked receptors in the previous modeling relied upon in our SIP
submission. EPA uses this as further evidence to justify their proposed disapproval. This sleight-of-hand
move by EPA is a direct attack on Missouri’s right to develop its own SIP. If EPA is going to move the
target more than two years after the submission is made and use that tactic to justify its action, then a
proposed disapproval cannot be the appropriate action. If EPA desires to make a formal finding that
Missouri’s SIP is inadequate because of these newly identified receptors, it must approve our original SIP
and then issue a SIP call to provide Missouri a chance to address the receptors that have been newly
identified in the updated modeling. Failure to do so, would circumvent EPA’s obligation to put forth any
effort for cooperative federalism as envisioned in the Clean Air Act. Such action would instead favor
stripping states of their rights and imposing hundreds of millions of dollars in compliance costs without
adequate justification or the opportunity for states to update and retain control over their SIP. For these
reasons, EPA must withdraw the proposed disapproval and take action to approve Missouri’s
submission.

[…]

The Air Program notes again that none of the monitors that Missouri is linked to in the updated
modeling were linked monitors in the previous modeling that Missouri had evaluated and demonstrated
against at step 2 in our previous SIP submission. Therefore, the Air Program objects to the use of these
monitors as a basis for the SIP disapproval and the proposed imposition of a FIP.



Commenter: Arkansas Department of Energy and Environment, Division of Environmental Quality

Commenter ID: 07

Docket ID: EPA-R06-OAR-2021-0801

Comment:

Interstate Transport Framework Step 1: Identification of Downwind Air Quality Problems

As a result of EPA’s choice to substitute new modeling for the modeling data provided to states for
development of SIP submittals, the attainment and maintenance receptors identified for Step 1 of the
Interstate Transport Framework differ. As specified by EPA, DEQ used 2023 future year results provided
in EPA’s March 2018 Memorandum to identify nonattainment and maintenance receptors. In the
Proposed Rule, EPA proposes to rely primarily upon 2023 and 2026 future year results from the 2016v2
                                                                                                       191
        Case: 23-60069           Document: 110          Page: 590       Date Filed: 03/27/2023




modeling platform. Based on this new modeling data, the only receptor that DEQ identified as having a
potential linkage to Arkansas at Step 2 of the framework (Allegan County, MI) is no longer among the
areas identified as nonattainment and maintenance receptors in Step 1. EPA’s choice to primarily rely on
new information instead of the demonstrations that the state made using data provided by EPA at the
time of SIP development degrades ADEQ’s confidence that it can rely upon technical information
provided by EPA for decision-making in any future iterations. The proposed reliance by EPA on new
information effectively renders the extensive analyses performed by DEQ during the development of the
Arkansas Transport SIP as irrelevant. DEQ believes this erodes the cooperative federalism framework
and degrades the working relationship between DEQ and EPA Region 6 and EPA Headquarters.

EPA maintains that “differing results [do not] mean that the modeling or the EPA methodology for
identifying receptors or linkages is inherently unreliable,” and goes on to say that “Arkansas was linked
to some set of these receptors, even if […] Arkansas was linked to different receptors in one modeling
run versus another) [emphasis added]. EPA’s argument is contradictory; something cannot be
“inherently reliable” (i.e., “dependable”) if it does not produce the same results with consistency. The
inconsistency in results in EPA modeling gives further weight of support to the state utilizing resources
at its disposal (including HYSPLIT modeling) to augment and ground-truth information provided by EPA
to determine which set of receptors to evaluate for linkages in Step 2 and “significant contribution” in
Step 3 of the interstate transport framework recommended by EPA for this type of analysis.

[…]

Interstate Transport Framework Step 2: Identifying Linkages

[…]

Substituting the data that Arkansas relied upon in its SIP development and the threshold that Arkansas
chose to identify linkages results in a different set of linkages than DEQ identified in its SIP. In its 2019
submittal, DEQ identified one maintenance receptor, Allegan County (Arkansas projected contribution =
1.64 ppb), based on modeling results from EPA’s March 2018 Memorandum. In EPA’s 2022 disapproval
of DEQ’s 2019 submittal, based on EPA’s 2016v2 modeling platform, EPA identified four maintenance
receptors—481210034, Denton, TX (Arkansas projected contribution = 0.76 ppb); 480391004, Brazoria,
TX (Arkansas projected contribution = 1.39 ppb,); 482011034, Harris, TX (Arkansas projected
contribution = 1.38 ppb); and 482011035, Harris, TX (Arkansas projected contribution = 1.34 ppb)—and
one nonattainment receptor—482010055, Harris, TX (Arkansas projected contribution = 1.00 ppb)—as
linked to Arkansas. Had this updated modeling information been available at the time of SIP
development, DEQ would have focused its analysis of potential linkages in Texas instead of the receptor
in Michigan.

To give perspective from a state’s standpoint, EPA’s 2016v2 modeling indicates that one Texas monitor
linked to Arkansas emissions (Brazoria County, 480391004), and projected by EPA 2016v1 modeling to
be in nonattainment in 2023, is now projected to achieve attainment without further controls. DEQ did
not perform an analysis for the Brazoria County monitor because Arkansas’s contribution was below
DEQ’s analytical threshold of 1 ppb. Three Texas monitors (Denton County, 481210034; Harris County,
482011034; and Harris County, 482011035) are projected by both the 2016v1 and 2016v2 modeling to
be maintenance-only in 2023. One Arkansas-linked Texas monitor (Harris County, 482010055),
                                                                                                         192
        Case: 23-60069          Document: 110         Page: 591       Date Filed: 03/27/2023




previously projected by the 2016v1 modeling to be in attainment in 2023 is now projected by the
updated modeling to be in nonattainment in 2023. Essentially, EPA provided states with one set of data
and “linkages” upon which states based their SIP submittals, then proposed to disapprove the same SIPs
based on a completely different set of data. DEQ finds that this decision is arbitrary and capricious, and
amounts to a bait and switch, allowing the EPA to usurp the states.

In summary, EPA’s 2016v2 modeling in support of EPA’s SIP disapproval identified three receptors with
“linkages” to Arkansas that were not originally identified at the time of SIP development. Of the top five
linked receptors listed in the 2016v2 modeling and disapproval, only two were also listed in EPA’s March
2018 Memorandum (i.e., the state was only made aware of three supposed “linkages” to downwind
receptors in EPA’s 2022 proposed disapproval of the state’s SIP submission). The contributions for these
two receptors ranked third and fifth in EPA’s March 2018 Memorandum (both receptors were below
DEQ’s threshold), and ranked first and fifth in EPA’s 2016v2 modeling, with an increase of 0.49 ppb and
0.18 ppb, respectively. This caused a receptor that was originally modeled to show a contribution that
was below DEQ’s threshold (0.90 ppb contribution) to sharply increase past the threshold in the updated
modeling (1.39 ppb contribution). The receptor with the second-highest contribution identified in EPA’s
2016v2 modeling and disapproval ranked sixth in modeling results from EPA’s March 2018
Memorandum; again, a downwind receptor that was well below the threshold at the time DEQ was
developing the SIP (0.54 ppb contribution) modeled with more than one and one-half times the
contribution in EPA’s 2016v2 modeling results (1.38 ppb contribution). At the time of SIP development,
DEQ could not predict that modeling conducted four years after the SIP submittal was due to EPA would
produce such varied results on the receptors the state was analyzing in its submission; nor could DEQ
appropriately focus limited state resources on the receptors with which EPA is now concerned in their
disapproval. The state submitted a robust and well-justified SIP, based on information available to DEQ
at the time. EPA disregards this fact.

[…]

DEQ agrees that some of the newly identified linkages now meet the state’s threshold for further
analysis of emissions sources in the state, and while EPA did not undertake this analysis before
proposing a FIP with costly emissions reductions across broad sectors, Arkansas, now aware of a
different set of linkages, is working on a new analysis based on the updated modeling results provided
by EPA in the proposed disapproval.



Commenter: Eagle Materials Inc.

Commenter ID: 16

Docket ID: EPA-R09-OAR-2022-0138

Comment:

Nevada adopted a broad and intentionally overinclusive approach to assessing its interstate transport
obligations, using EPA’s latest contribution modeling, released just months prior in March 2018, “to
identify and quantify contributions greater than 0.5 percent of the 2015 ozone NAAQS resulting from

                                                                                                      193
        Case: 23-60069          Document: 110         Page: 592        Date Filed: 03/27/2023




Nevada’s anthropogenic emissions” for further analysis. Despite its belief that EPA’s 1% linkage
threshold was inappropriate for “use in the western United States,” the state applied this threshold in
order to take a “very conservative approach” to determining whether Nevada was linked to any
downwind air quality problems. Nevada relied on EPA’s modeling, emphasizing that “[a]lthough models
can always be refined and there may be differences in certain approaches to technical issues as the
NDEP has commented, it is the NDEP’s position that the USEPA’s modeling is state-of-the-science given
the USEPA’s constraints.”

Nevada reviewed its contributions to receptors in California and Colorado under this framework,
considering relative intrastate contributions and overall interstate contributions. Based on this extensive
analysis, Nevada determined that “the contribution of 2023 base case anthropogenic NOx and VOC
emissions from sources within Nevada to any projected 2023 nonattainment or maintenance receptor at
greater than 0.5 percent of the NAAQS is limited to two states, California and Colorado.” However, for
each of these receptors, “Nevada’s contribution… [was] less than one percent of the 2015 ozone
NAAQS,” meaning that under EPA’s own analytical approach, Nevada was not linked to downwind air
quality problems and that no further reductions measures were necessary.

Despite Nevada’s highly conservative assessment of its interstate transport obligations, EPA’s Proposed
Disapproval nevertheless concludes, based on new air quality modeling using the 2016v2 emissions
platform, that Nevada is now linked to 2 receptors in Utah. Nevada’s contribution to these receptors is
between 0.86 ppb and 0.89 ppb, which falls below the 1 ppb linkage threshold determined by Nevada to
be more appropriate for Western states, where “interstate contributions… are relatively small,
especially given the large contributions from background and intrastate emissions.” EPA unreasonably
imposes its own analysis in evaluating Nevada’s SIP, rather than determining whether Nevada’s analysis
was reasonable.

[…]

During the 2 year period in which EPA failed to perform its statutory duty to act on Nevada’s SIP
submission, EPA completed significant new modeling using its newly released 2016v2 Model, finalized in
2022. Based on this new model, released more than 3 years after Nevada submitted its revised SIP and
nearly 2 years after EPA was required to act on this SIP submission, EPA substantially altered its analysis
of downwind air quality problems and state linkages. Nevada relied on EPA’s previous modeling in
assessing its interstate transport obligations, concluding based on this modeling that it “would
contribute below 1 percent of the NAAQS to receptors in 2023 and was therefore not ‘linked’ to any
other state.” However, EPA’s new modeling completely altered this analysis, finding that Nevada is
linked to two receptors in Utah, in Salt Lake County and Davis County. EPA’s use of entirely new
modeling moved the goal Nevada attempted to meet in good faith, well after EPA was required to take
final action on the state’s SIP submission.



Commenter: Evergy, Inc.

Commenter ID: 21

Docket ID: EPA-R07-OAR-2021-0851
                                                                                                       194
        Case: 23-60069          Document: 110          Page: 593       Date Filed: 03/27/2023




Comment:

Six receptors were identified in the original modeling relied upon for the Missouri SIP submission. EPA
then updated the modeling and determined that all six of these receptors are no longer linked to
Missouri. The lack of any linkage with the updated modeling should be adequate to justify EPA
approving the SIP. EPA’s updated modeling for Missouri identified four new receptors near Lake
Michigan.



Commenter: Idaho Power Company

Commenter ID: 23

Docket ID: EPA-R09-OAR-2022-0138

Comment:

Nevada’s SIP fulfills the state’s Good Neighbor obligations.

Nevada reasonably concluded that it is not linked to significant downwind air quality problems. Nevada
adopted a broad and intentionally overinclusive approach to assessing its interstate transport
obligations, using EPA’s latest contribution modeling, released just months prior in March 2018, “to
identify and quantify contributions greater than 0.5 percent of the 2015 ozone NAAQS resulting from
Nevada’s anthropogenic emissions” for further analysis. Despite its belief that EPA’s 1% linkage
threshold was inappropriate for “use in the western United States,” the state applied this threshold in
order to take a “very conservative approach” to determining whether Nevada was linked to any
downwind air quality problems. Nevada relied on EPA’s modeling, emphasizing that “[a]lthough models
can always be refined and there may be differences in certain approaches to technical issues as the
NDEP has commented, it is the NDEP’s position that the USEPA’s modeling is state-of-the-science given
the USEPA’s constraints.”

Nevada reviewed its contributions to receptors in California and Colorado under this framework,
considering relative intrastate contributions and overall interstate contributions. Based on this extensive
analysis, Nevada determined that “the contribution of 2023 base case anthropogenic NOx and VOC
emissions from sources within Nevada to any projected 2023 nonattainment or maintenance receptor at
greater than 0.5 percent of the NAAQS is limited to two states, California and Colorado.” However, for
each of these receptors, “Nevada’s contribution… [was] less than one percent of the 2015 ozone
NAAQS,” meaning that under EPA’s own analytical approach, Nevada was not linked to downwind air
quality problems and that no further reductions measures were necessary.

[…]

Despite Nevada’s highly conservative assessment of its interstate transport obligations, EPA’s Proposed
Disapproval nevertheless concludes, based on new air quality modeling using the 2016v2 emissions
platform—which was not available to Nevada when developing its SIP—that Nevada is now linked to 2
receptors in Utah. Nevada’s contribution to these receptors is between 0.86 ppb and 0.89 ppb, which
falls below the 1 ppb linkage threshold determined by Nevada to be more appropriate for Western

                                                                                                       195
        Case: 23-60069          Document: 110         Page: 594        Date Filed: 03/27/2023




states, where “interstate contributions…are relatively small, especially given the large contributions
from background and intrastate emissions.” Yet, EPA arbitrarily deems these contributions “significant”
for the purposes of assessing the adequacy of Nevada’s SIP.

Importantly, EPA’s analysis relies on modeling that was not available until 3 years after Nevada timely
submitted its revised SIP. Under the CAA, states are required to submit revised SIPs within 3 years after
EPA revises the NAAQS. EPA’s revision of the ozone NAAQS on October 1, 2015 triggered this obligation.
Nevada submitted its revised SIP to EPA on October 1, 2018, relying on modeling that EPA released just
6 months prior. Nevada specifically determined that EPA’s data represented the “best available data
with which to conduct Nevada’s transport analysis,” which EPA does not dispute in its Proposed
Disapproval. Rather, EPA asserts that “[b]y using the updated modeling results, the EPA is using the
most current and technically appropriate information for this proposed rulemaking.” However, EPA fails
to consider whether Nevada’s analysis using the best available data at the time was reasonable and fails
to even acknowledge the substantial change imposed by EPA’s new modeling, increasing Nevada’s
contribution to Utah receptors from under 0.5% of the NAAQS to above EPA’s 1% threshold.


Commenter: Minnesota Pollution Control Agency

Commenter ID: 31

Docket ID: EPA-R05-OAR-2022-0006

Comment:

The MPCA supports EPA’s goal of reducing ozone precursors and their transport to protect the
environment and human health across states. However, EPA’s proposed disapproval of Minnesota’s
2015 Ozone Transport SIP does not assess the quality of Minnesota’s original submittal. Minnesota was
identified as a non-significant contributor (below 0.7 parts per billion) to any ozone monitors in the 2018
modeling performed by both EPA and Lake Michigan Air Directors Consortium (LADCO). Minnesota did
not complete steps three or four of the 2015 Ozone Transport SIP based on that information.
Minnesota’s original submittal should have been approved based on contribution information available
from both EPA and LADCO at that time.

EPA is now proposing to use a revised 2016 modeling platform, EPA 2016 version 2 emissions modeling
platform (2016v2 EMP) to support a remedy for the Interstate Transport Rule for the 2015 Ozone
National Ambient Air Quality Standard (NAAQS).



Commenter: Nevada Division of Environmental Protection

Commenter ID: 33

Docket ID: EPA-R09-OAR-2022-0138

Comment:


                                                                                                       196
        Case: 23-60069          Document: 110         Page: 595       Date Filed: 03/27/2023




EPA has provided an unsupportable and illogical basis for disapproval of Nevada’s 2018 iSIP. EPA states:
“However, as mentioned above, the EPA has newly available information that indicates that sources in
Nevada are linked to downwind air quality problems for the 2015 ozone standards. We therefore
propose that Nevada was required to assess additional emissions control opportunities, and we propose
to disapprove its submission because Nevada did not so.” [(emphasis added)] EPA’s basis for disapproval
is rooted in a condition that would have been impossible for NDEP to meet, essentially reasoning that
NDEP should have known the results of EPA’s most recent modeling completed in 2021 when Nevada
was preparing the 2018 iSIP.



Commenter: Oklahoma Department of Environmental Quality

Commenter ID: 37

Docket ID: EPA-R06-OAR-2021-0801

Comment:

Results of the EPA’s Step 1 and Step 2 Modeling and Findings for Oklahoma (Modeling Sensitivities)

As stated in Section III, above, EPA identified different receptors in the proposed disapproval than were
identified in the original modeling on which Oklahoma relied in its SIP. EPA states in the proposed
disapproval:

        We recognize that the results of the EPA (2011 and 2016 base year) modeling indicated different
        receptors and linkages at Steps 1 and 2 of the 4-Step interstate transport framework. These
        differing results regarding receptors and linkages can be affected by the varying meteorology
        from year to year, but we do not think the differing results mean that the modeling or the EPA
        methodology for identifying receptors or linkages is inherently unreliable. 87 Fed. Reg. 9823.

It should also be specifically noted that the number of receptors EPA linked to Oklahoma decreased
from six to just two. Furthermore, only one receptor remained consistent between the two modeling
runs, and the expected contribution regarding that receptor decreased. This information demonstrates
how sensitive the models can be to changes over time. More specifically, it exemplifies how, as time
progresses and the model does not have to project as far into the future, the results change. The
differences in the modeling results have skewed heavily towards a decrease in the number of (and
contribution to) receptors linked to Oklahoma. Therefore, due to the discrepancies in the modeling,
ODEQ argues that Oklahoma is not clearly linked to any receptors that EPA has linked to Oklahoma.

The table below further exemplifies the problem of modeling sensitivities. It contains data for the ozone
monitors located in the Illinois portion of the Chicago, Illinois-Indiana-Wisconsin Nonattainment Area.
Note that of the 12 monitors, only Site 170310032 exceeds the 1% NAAQS threshold of 0.7 ppb. This site
barely exceeded the limit, measuring at 0.75 ppb. However, this measurement could be misleading since
Site 170310032 is located less than 0.2 miles from Lake Michigan. This location could be greatly
influencing the results as models often have difficulties near water-land boundaries. Furthermore, the
average of the Oklahoma impact for the 12 monitors equates to 0.41 ppb, well under the 1% limit.

                                                                                                      197
           Case: 23-60069       Document: 110         Page: 596       Date Filed: 03/27/2023




 Site ID       State      County     2016-       2016-      2020 DV     2023 Avg    2023 Max   OK 2023
                                     Centered    Centered               No Water    No Water
                                     Avg         Max
 170310001     Illinois   Cook       73.0        77         75          69.6        73.4       0.55
 170310032     Illinois   Cook       72.3        75         74          69.8        72.4       0.75
 170310076     Illinois   Cook       72.0        75         69          69.3        72.1       0.35
 170311003     Illinois   Cook       68.3        69         73          65.6        66.3       0.45
 170311601     Illinois   Cook       69.3        70         71          65.2        65.8       0.15
 170313103     Illinois   Cook       62.7        64         65          59.5        60.8       0.24
 170314002     Illinois   Cook       68.7        72         71          66.5        69.7       0.33
 170314007     Illinois   Cook       72.0        74         71          68.7        70.6       0.35
 170314201     Illinois   Cook       73.3        77         77          69.9        73.4       0.36
 170317002     Illinois   Cook       74.0        77         75          70.1        73.0       0.52
 170436001     Illinois   DuPage     69.7        71         71          65.8        67.0       0.45
 170971007     Illinois   Lake       73.7        75         72          68.6        69.9       0.57


After a monumental effort to understand ozone and precursor transport by EPA, State, and Local Air
Quality Agencies, the Ozone Transport Assessment Group, published an Executive Report in 1997. In the
Recommendations Section under Major Modeling/Air Quality Conclusions, it states “Regional NOx
reductions are effective in producing ozone benefits, the more NOx reduced the greater the benefit.
Ozone benefits are greatest where emission reductions are made and diminish with distance.”

The modeling and assessment efforts for the Clean Air Interstate Rule (CAIR) and the CSAPR
demonstrate that how the state of Oklahoma impacts a downwind state depends as much on the
meteorology of the chosen modeling time-period as it does the emissions.

In the modeling process, measured data is input into a meteorological model, and then a combination of
some measured data—but mostly calculated data—is input into an emissions model. These outputs are
then input into an air quality model. Considering the variable flow and conversion of data in the process,
the results become more estimation than reality.



Commenter: Tennessee Department of Environment and Conservation

Commenter ID: 41

Docket ID: EPA-R04-OAR-2021-0841

Comment:

EPA may not disapprove Tennessee’s Infrastructure SIP based on Prong 2 of CAA §110(a)(2)(D)(i)(I)
because Tennessee satisfied its Good Neighbor obligations in its 2018 iSIP submission.

As discussed in Comment #2, once an upwind state has determined that it is not “linked” to a downwind
state under Framework Step 2, there is no reason to continue to Steps 3 and 4. This is precisely the
conclusion that Tennessee reached in its 2018 iSIP submission to EPA, and EPA understands exactly why
Tennessee did so. As EPA itself notes in the iSIP Disapproval: “the most recently available EPA modeling
at the time Tennessee submitted its SIP submittal indicated the State did not contribute above 1 percent
                                                                                                      198
        Case: 23-60069          Document: 110         Page: 597        Date Filed: 03/27/2023




of the NAAQS to a projected downwind nonattainment or maintenance receptor.” In other words, EPA
acknowledges that Tennessee was not “linked” to any downwind states in 2018 based on then-available
data and modelling, and therefore would not have been required to complete Steps 3 and 4 of the
interstate transport framework analysis.

Nonetheless, EPA now proposes to disapprove Tennessee's SIP submission, based on data EPA published
in 2021 and 2022 finding that Tennessee is “linked” to a single maintenance receptor in Denton County,
Texas. EPA is suggesting that Tennessee’s 2018 technical analysis was flawed because it failed to
consider future data that were not collected until years after the original submission was made, which
would have required Tennessee to perform Steps 3 and 4. As EPA puts it: “Because the entire technical
basis for Tennessee's submittal is that the State is not linked at Step 2, EPA proposes to disapprove
Tennessee's SIP submission based on EPA's finding that a linkage does exist.”

As we noted in Comment #1, EPA’s entire approach and rationale in this proposed disapproval makes it
impossible for any SIPs a state might submit under the 2015 ozone standard or any future NAAQS to
demonstrate compliance with CAA §110(a)(2)(D) because not only must a state consider the evidence
available at the time of submission, but a state must also possess the ability to consider future evidence
that might demonstrate significant contributions to downwind nonattainment or interference with
maintenance in a downwind state. The proposed disapproval of Delaware’s iSIP in the Federal
Implementation Plan Addressing Regional Ozone Transport for the 2015 Ozone National Ambient Air
Quality Standard perfectly illustrates this point. In Section IV.C.1 of the preamble to the proposed rule
(“Correction of EPA’s Determination Regarding Delaware’s SIP Submission and Its Impact on EPA’s FIP
Authority for Delaware”), EPA addresses Delaware’s Good Neighbor obligations as follows:

[see full comment for comment’s excerpt of 87 FR 20036 (April 6, 2022)]

This structure runs contrary to the principle articulated by the Supreme Court in EPA v. EME Homer City
Generation, L.P. that EPA must work toward an “efficient and equitable solution to the allocation
problem the Good Neighbor Provision requires the Agency to address.” Instead, EPA’s imposition of
such an unworkable approach is a textbook failure to comply with EPA’s obligation to “select from
among reasonable options” under the Chevron framework and imposes an entirely arbitrary and
capricious standard that states are effectively incapable of following.

The Clean Air Act does not envision nor suggest that states be held to an impossible standard when
developing SIPs. Because EPA has provided no evidence that Tennessee was “linked” to any downwind
states when it submitted its 2018 SIP revision, EPA may not disapprove Tennessee’s Infrastructure SIP
based on Prong 2 of CAA §110(a)(2)(D)(i)(I) and therefore should withdraw its proposed disapproval.



Response
The EPA explained at proposal that the EPA’s proposed disapprovals relied both on an evaluation of the
information supplied by the states in their submissions and on the updated version of modeling
available at the time of proposal (2016v2) see, e.g., 87 FR 9801, a point reiterated in the final preamble
in Section V.A. EPA responds generally to comments related to the use of updated modeling in Section
V.A.4 of the preamble.

                                                                                                       199
           Case: 23-60069         Document: 110          Page: 598    Date Filed: 03/27/2023




In recent years, the EPA has continually leveraged public input to improve the modeling used to support
its assessment of good neighbor transport obligations for the 2008 ozone NAAQS and 2015 ozone
NAAQS, a process starting with the release of a notice of data availability in January 2017 and continuing
through the comment period of this action, as detailed in the preamble in Sections II.C. and III.A. The
2016v2 emissions modeling files have been available for comment since September 2021,52 and the
meteorological data has been available as used in the 2016v1 platform since October of 2020 (with the
release of the proposed Revised CSAPR Update) By providing the modeling platform on September 20,
2021, and requesting that comments be provided to EPA’s emissions modeling group by December 17,
2021, and also providing ample time for comment on the proposals throughout 2022, the EPA gave
stakeholders and interested parties sufficient opportunity to review and comment on the data used to
develop the 2016v2 modeling.

The EPA incorporated public comments received on proposals related to 2015 ozone NAAQS interstate
transport to update its emissions inventories and other model inputs, some examples of which are
detailed in the EPA’s response to comments in Section 3 (Emissions Inventories). The final rule modeling
using the 2016v3 platform was performed using updated emissions projections, such as additional
emissions reductions for electric generating units (EGUs) that reflect the emissions reductions following
promulgation of the Revised CSAPR Update for the 2008 ozone NAAQS, more recent information on
plant closures and fuel switches, and other sector trends. The construct of the updated emissions
platform is described in the 2016v3 Emissions Modeling technical support document (TSD) contained in
the docket of this rulemaking. The final rule modeling additionally took into consideration feedback
from commenters to improve overall model performance. Thus, by using the updated modeling results
based on the new 2016v3 platform, the EPA appropriately took commenter feedback into consideration
when finalizing this rulemaking and used the most current and technically appropriate information to do
so.

These commenters raise two distinct, but related, circumstances associated with EPA’s use of updated
modeling to inform its action on the SIP submittals. Commenters referring to the Arkansas, Missouri,
and Oklahoma submissions generally acknowledge that these states were linked above 1 percent of the
NAAQS (and also 1 ppb) to a set of receptors in the 2011-based modeling of 2023 released in the March
2018 memorandum. They complain, however, that the EPA’s new modeling resulted in a new set of
linkages, which the states were unable to address since these linkages were unknown at the time of SIP
submission. Commenters on the Minnesota, Nevada, and Tennessee disapprovals assert that the states
were not linked to any receptors above 1 percent of the NAAQS in the EPA’s 2011-based modeling
released in the March 2018 memorandum and so these states did not have an opportunity to address
any linkages now identified in the updated EPA modeling.

The EPA will take these two sets of comments in turn, noting that the EPA responds to general claims
regarding the timing of the EPA’s action on SIPs and its use of updated modeling in Section V.A of the
Preamble. Other issues raised by these comments are addressed in Sections V.A and V.B of the
preamble and in the following sections of this RTC document: 1.1 (Timing of SIP Actions), 1.4 (Use of
Updated Modeling), 4.2.1 (Model Performance at Lake Michigan), 7.1 (Methodology for Determining
Future Year Contributions), 7.4 (August 2018 Memorandum), 10.2 (SIP Call),10.3 (Cooperative

52
     https://www.epa.gov/air-emissions-modeling/2016v2-platform.
                                                                                                      200
        Case: 23-60069          Document: 110          Page: 599       Date Filed: 03/27/2023




Federalism and the EPA’s Authority), 11.3 (Transport Policy), 11.4 (Transport Policy-Western State
Ozone Regulation), 11.6 (Economic Impacts), and 11.15. (Out of Scope – Comments on the Proposed
FIP).

Different Linkages

With regard to ADEQ’s claims, we recognize that the results of the EPA’s 2011-based modeling released
in the March 2018 memorandum and the 2016v2 modeling (2016 base year) identified different linkages
for Arkansas at Steps 1 and 2 of the 4-step framework. In Arkansas’s SIP submission, based on a 1 ppb
contribution threshold and relying primarily on EPA’s 2011-based modeling, ADEQ identified only one
projected maintenance receptor, Allegan County, MI, and no projected nonattainment receptors linked
to Arkansas in 2023. The EPA summarized Arkansas’s analysis of this linkage at proposal. 87 FR at 9803-
05. The EPA evaluated ADEQ’s analysis and identified substantial technical concerns with the basis for
ADEQ’s conclusions that it should not be considered linked to that receptor. 87 FR at 9808-09. In other
words, the EPA finds Arkansas’s submission deficient on its own terms.

ADEQ also argues that changes in linkages between modeling iterations suggests that the EPA’s
modeling is unreliable. Here, the EPA disagrees. When multiple rounds of modeling, each more up-to-
date than the last, continue to confirm certain upwind states are linked, it actually reinforces the EPA’s
conclusion that the upwind state is contributing to receptors at Step 2 of the 4-step framework. A
change in modeling output from the 2011-based modeling to the 2016-based modeling results in part
from the shift to a more recent meteorological year and other updates. It is completely reasonable and
acceptable for the Agency to update its modeling platform periodically, and it is imminently reasonable
to do so before taking final rulemaking action.

ADEQ explains that it would have spent a greater effort examining linkages to Texas receptors if it had
known the 2016v2 modeling results when it was preparing its SIP submission. The EPA responds that the
2011-based modeling, 2016v2 modeling, and 2016v3 modeling all identify that Arkansas contributes
more than 1 percent of the NAAQS to the Brazoria County, Texas receptor (AQS Site ID 480391004), but
Arkansas chose to apply a 1 ppb contribution threshold and did not closely examine that linkage in its
submission.

We do not think the differing results between the 2011-based and 2016-based modeling of 2023 mean
that the modeling or the EPA methodology for identifying Arkansas’s receptors or linkages is inherently
unreliable. Rather, these separate modeling runs indicated (1) that there were receptors that would
struggle with nonattainment or maintenance in the future, and (2) that Arkansas was linked to some set
of these receptors, even if the receptors and linkages differed from one another in their specifics (e.g., a
different set of receptors were identified to have nonattainment or maintenance problems, or Arkansas
was linked to different receptors in one modeling run versus another). We think this common result
indicates that Arkansas's emissions were substantial enough to generate linkages at Steps 1 and 2 to
some set of downwind receptors, under varying assumptions and meteorological conditions, even if the
precise set of linkages changed between modeling runs. Under these circumstances, we think it would
have been appropriate for the state to proceed to a Step 3 analysis to determine what portion of
Arkansas's emissions should be deemed “significant.” In making this observation, we do not now
consider the earlier modeling results included in the EPA's March 2018 memorandum to be of equal
reliability relative to the more recent EPA 2016v2 or 2016v3 modeling. However, where alternative or
                                                                                                        201
        Case: 23-60069          Document: 110         Page: 600       Date Filed: 03/27/2023




older modeling generated linkages, even if those linkages differ from linkages in the EPA 2016v2
modeling, that information provides further evidence, not less, in support of a conclusion that the state
is required to proceed to Step 3 to further evaluate its emissions.

Commenters on the proposal as to Missouri similarly argue that the set of receptors to which Missouri is
linked changed from the 2011-based to the 2016-based modeling of 2023. But the same response
applies. Missouri Department of Natural Resources (MDNR) and Evergy argue that because the 2016v2
modeling projects that Missouri does not have any of the same linkages that were identified in the
2011-based modeling, that EPA must approve Missouri’s SIP submission. The EPA disagrees that the
2016v2 modeling validates the assessment of receptors Missouri made in its SIP submission. The EPA
summarized Missouri’s analysis of these linkages based on the EPA’s 2011-based modeling at proposal.
87 FR at 9539-9540. The EPA evaluated MDNR’s analysis, including its rationale for applying a 1 ppb
contribution threshold, and identified substantial legal and technical concerns with the basis for MDNR’s
conclusions that it should not be considered linked to any receptors or that Missouri has no outstanding
good neighbor obligations for the 2015 ozone NAAQS. 87 FR at 9540-9544. In other words, the EPA finds
Missouri’s submission deficient on its own terms. The EPA also notes that the difference between a 1
percent of the NAAQS threshold and a 1 ppb threshold is not meaningful to the conclusion that Missouri
is linked at Step 2, because Missouri contributes more than 1 ppb to a downwind receptor in 2023 both
in the modeling relied on by the state and in the additional modeling developed by EPA to inform both
the proposed and final actions (2016v2 and 2016v3). At proposal, the EPA analyzed MDNR’s arguments
attempting to establish that in spite of the EPA’s modeling it was not linked to the receptors as the EPA
had found in the March 2018 memorandum. The EPA found for multiple reasons that those arguments
were not approvable. See 87 FR at 9540-43. Thus, even accepting an argument that the EPA should not
consider information beyond that available to a state in the development of its SIP submission (a
position we do not agree with but adopt for the sake of argument), the SIP submission would have been
disapproved based on that analysis and even if there was no additional modeling for the EPA to rely on.
In short, the commenter has not established that the EPA’s review of the arguments advanced by
MDNR, as explained in our proposal, was in error in terms of the specific reasoning that MDNR had
advanced. Nonetheless, the EPA then went on to find that different linkages existed between Missouri
and out of state receptors based on the updated, 2016v2 modeling, see 87 FR at 9543-44, which is again
confirmed by the 2016v3 modeling. Commenter has not established that these modeled linkages are in
error.

In response to ODEQ, the EPA agrees that both changes in emission inputs and meteorology can impact
modeling results. However, the EPA does not agree that the trend in the number of linkages or levels of
contribution from Oklahoma in iterations of the EPA’s modeling relieves Oklahoma of further
obligations, or that changes in linkages amount to “discrepancies” that support a conclusion that
Oklahoma is “not clearly linked” to receptors. We also disagree that the EPA methodology for
identifying receptors or linkages is unreliable. Rather, the EPA’s separate modeling runs continued to
show (1) that there were receptors that would struggle to attain or maintain the NAAQS in the future,
and (2) that Oklahoma was linked to some set of these receptors, even if the receptors and linkages
differed from one model run to the next. This common result indicates that Oklahoma’s emissions are
substantial enough for EPA’s contribution assessment to generate linkages at Steps 1 and 2 to some set
of downwind receptors, under varying assumptions and meteorological conditions, even if the precise

                                                                                                      202
        Case: 23-60069           Document: 110           Page: 601        Date Filed: 03/27/2023




set of linkages changed between modeling runs. In sum, the continued identification of Oklahoma
linkages with updated modeling reinforces the conclusion that the state is potentially significantly
contributing to nonattainment or interfering with maintenance in another state.

The EPA cannot accept the arguments advanced by ADEQ, Evergy, MDNR, and ODEQ that Arkansas,
Missouri, and Oklahoma should not be considered linked to downwind receptors when the record as a
whole establishes: both in the 2011 and 2016-based modeling of 2023, such linkages do exist, and the
EPA explained in proposing this action why the states’ arguments, taken on their own merits and
without regard to the updated modeling, were still not approvable. This is no “sleight of hand” but
simply an evaluation of the totality of the information before the Agency.

Unlinked to Linked

In response to comments related to states that were not considered linked to a downwind receptor (i.e.,
maximum contribution to a downwind receptor was less than 0.7 ppb) in the 2011-based modeling but
were linked in EPA’s 2016v2-based modeling, the EPA first notes that the Agency is not taking final
action on its proposed disapproval of Tennessee’s 2015 ozone NAAQS good neighbor SIP submission in
this action, but does recognize that the comments made by Tennessee Department of Environment and
Conservation regarding Tennessee are similar to those made by Eagle Materials, Idaho Power Company,
Minnesota Pollution Control Agency, and Nevada Division of Environmental Protection related to
Minnesota and Nevada.

Commenters particularly took issue with the EPA’s discussion of the deficiencies in Minnesota and
Nevada’s Step 3 analyses, interpreting the language in the proposal as EPA expecting these states to
predict the future. The EPA is not holding any state to such a standard. The EPA acknowledges that
identified linkages and levels of contribution from Minnesota and Nevada changed between the 2011-
based modeling and the 2016v2 modeling. However, given that the later iteration of modeling is more
up-to-date than the 2011-based modeling, the best conclusion to derive from these differences is that
Minnesota and Nevada are potentially significantly contributing to nonattainment and/or interference
with maintenance receptors and, as a result, the analyses presented in the SIP submissions cannot
support the states’ conclusions. (It bears repeating that EPA never indicated when it released the March
2018 Memorandum providing the 2011-based modeling results for 2023 that those results would
guarantee any state a SIP approval. To the contrary, the memorandum advised that EPA would evaluate
and act on SIP submissions through a future rulemaking action.)

Minnesota’s good neighbor SIP submission concluded based on LADCO and EPA 2011-based modeling
that the state would not be linked to any other state in 2023 and that ozone trends and existing limits
and controls made it “reasonably certain” that the state will not significantly contribute to
nonattainment or interference with maintenance in any other state.53 The EPA cannot agree with this
conclusion on the rationale presented in the SIP submission. EPA’s 2016v1 modeling, using a 2016 base
year and accounting for Minnesota limits and controls, was released in 2020 and identified that




53
  Infrastructure/110(a) requirements for the 2015 Ozone National Ambient Air Quality Standard (October 1, 2018)
at 13.
                                                                                                           203
        Case: 23-60069            Document: 110          Page: 602         Date Filed: 03/27/2023




Minnesota was linked to one or more downwind receptors.54 LADCO was an integral part of the
collaborative process to develop the 2016v1 emissions inventories, and Minnesota provided input as
well (for example, onroad vehicle miles traveled and populations for 2016)55. Minnesota’s comments on
the 2016v2 modeling were incorporated into 2016v3 modeling as described in Section 3 of the RTC
document; both also identify that Minnesota is linked. Additional details about the development of the
2016v3 emission inventories are available in the 2016v3 Emissions Modeling TSD. The EPA described its
assessment of Minnesota’s SIP submission at proposal, 87 FR 9868-9869, and responds to comments in
the RTC document on the topic of air quality factors in Section 8.5 and the topic of existing and future
controls in Section 8.3. The EPA explains its assessment of the 2016v3 modeling in relation to Minnesota
in the preamble in Section IV.J. The 2016v3 Emissions Modeling TSD contains information about the
changes to the emissions inventories between the 2016v2 and 2016v3 platforms.

NDEP’s good neighbor SIP submission for Nevada said that

        [a]lthough models can always be refined and there may be differences in certain approaches to
        technical issues as the NDEP as commented, it is the NDEP’s position that the USEPA’s modeling
        is state-of-the-science given the USEPA’s constraints. It is also the NDEP’s position that the
        USEPA’s contribution modeling is the best available data with which to conduct Nevada’s
        transport analysis.56

The submission examined Nevada’s contribution to receptors in California and Colorado based on the
EPA’s 2011-based modeling at Step 2.57 Based on the EPA’s 2011-based modeling, NDEP concluded at
Step 3 that Nevada was not linked and so determined, on that reason alone, that no emissions
reductions were necessary for the state to resolve its good neighbor obligations for the 2015 ozone
NAAQS.58 NDEP offered no other explanation for why Nevada’s SIP submissions satisfied the
requirements of CAA section 110(a)(2)(D)(i)(I) . 59 NDEP also stated in its iSIP submission on the topic of
CAA section 110(a)(2)(D)(i)(I) that


54
   87 FR 9868 at n.94 (“These modeling results are consistent with the results of a prior round of 2023 modeling
using the 2016v1 emissions platform which became available to the public in the fall of 2020 in the Revised CSAPR
Update, as noted in Section I. That modeling showed that Minnesota had a maximum contribution greater than
0.70 ppb to at least one nonattainment or maintenance-only receptor in 2023. These modeling results are included
in the file ‘Ozone Design Values And Contributions Revised CSAPR Update.xlsx’ in docket EPA–HQ– OAR–2021–
0663.”).
55
   See the “Emissions Modeling Technical Support Document for the 2016v1 Emissions Modeling Platform”
available in the Revised CSAPR Update docket as item EPA-HQ-OAR-2020-0272-0187.
 56
   The Nevada Division of Environmental Protection Portion of the Nevada State Implementation Plan for the 2015
Ozone NAAQS: Demonstration of Adequacy (October 1, 2018), Appendix E at E-5. The Clark County and Washoe
County portions of Nevada’s good neighbor SIP submission for the 2015 ozone NAAQS were identical to NDEP’s.
Clark County Portion of the Nevada State Implementation Plan to Meet the Ozone Infrastructure SIP Requirements
of Clean Air Act Section 110(a)(2) (August 2018), Appendix E; The Washoe County Portion of the Nevada State
Implementation Plan to Meet the Ozone Infrastructure SIP Requirements of Clean Air Act Section 110(a)(2) (July
26, 2018), Appendix E.
57
   The Nevada Division of Environmental Protection Portion of the Nevada State Implementation Plan for the 2015
Ozone NAAQS: Demonstration of Adequacy (October 1, 2018), Appendix E at at E-5 – E-10.
58
   Id. at E-11.
59
   Id.
                                                                                                             204
        Case: 23-60069            Document: 110           Page: 603        Date Filed: 03/27/2023




        Nevada commits to continue to review new air quality information as it becomes available to
        ensure that this negative declaration is still supported by such information.60

As explained previously in this response and in Section V.B.4 of the preamble, the EPA’s 2011-based
modeling is no longer state-of-the-science, and updated modeling no longer supports NDEP’s
conclusion, and so the EPA cannot approve NDEP’s SIP submission on the rationale provided. As for
NDEP’s commitment to review new air quality modeling to ensure its conclusions related to good
neighbor obligations remain “supported,” the EPA observes that NDEP has not submitted a subsequent
SIP submission even though the EPA’s updated 2016v1 modeling, released in 2020, identified Nevada
was linked to one or more receptors,61 and the 2016v2 modeling, released in February 2022, indicated
the same. The EPA’s incorporation of comments related to emissions inventories in Nevada for the
2016v3 modeling platform is described in Section 3 (Emissions Inventories).

Given the information available to the EPA on the record before the Agency, the EPA cannot find that
Minnesota or Nevada’s SIP submissions contain adequate measures sufficient to eliminate significant
contribution to nonattainment (Nevada) or interference with maintenance (Minnesota and Nevada) in
any other state. The basis for these disapprovals is not intended to fault state agencies for developing
SIP submissions using the modeling available to them at the time the SIP submissions were developed. A
SIP disapproval is not punitive in any case, and states are free to develop an approvable SIP submission
following a disapproval. The disapproval is simply a determination that the submissions before the EPA
do not meet the CAA’s requirements, based on the record of information before it at the time it acts.

In response to the comment regarding the EPA’s proposed error correction of the prior approval of
Delaware’s good neighbor SIP submission for the 2015 ozone NAAQS, comments on the proposed FIP
are beyond the scope of this rulemaking; however, the EPA notes that an error correction under CAA
section 110(k)(6) is a revision of an EPA action due to a determination that the EPA’s action was in error,
not that a state failed to “consider future evidence.” See, e.g., 86 FR 23056, 23067-68 (April 30, 2021)
(error correcting EPA’s previous approval of Kentucky’s 2008 ozone NAAQS good neighbor SIP in
response to the holdings of Wisconsin and New York).




60
  Id. at 9.
61
  87 FR 31492 n. 55 ("These modeling results are consistent with the results of a prior round of 2023 modeling
using the 2016v1 emissions platform which became available to the public in the fall of 2020 in the Revised CSAPR
Update, as noted in Section I. That modeling showed that Nevada had a maximum contribution greater than 0.70
ppb to at least one nonattainment or maintenance-only receptor in 2023. These modeling results are included in
the file ‘Ozone Design Values and Contributions Revised CSAPR Update.xlsx’ in docket EPA–HQ–
OAR–2021–0663.”).
                                                                                                              205
        Case: 23-60069          Document: 110         Page: 604       Date Filed: 03/27/2023




6 Step 1
6.1 Projected Air Quality Problems
6.1.1 Western Receptors


Comment
Commenter: WildEarth Guardians

Commenter ID: 50

Docket ID: EPA-R06-OAR-2021-0801

Comment:

While EPA’s latest ozone modeling appears to more accurately project future year ozone design values
than past EPA ozone modeling iterations, EPA’s modeling continues to project unusually and
unrealistically high declines in ozone design values (“DVs”) by 2023, particularly at monitors in states
with significant oil and gas activity, such as Colorado and Texas. WEG is concerned that EPA’s modeled
2023 design values underestimate future 2023 design values and, as a result, fail to properly identify
nonattainment and maintenance receptors.

[…]

EPA compared recent monitoring values and reasonably anticipated decreases in ozone design values on
the order of approximately 0-1 ppb/yr (i.e., at most 3-4 ppb from 2020-2023) both within Texas and in
other parts of the country. Based on this and other analysis, EPA determined that monitors with 2020
design values 4 to 7 ppb above the NAAQS and preliminary 2021 design values 1 to 5 ppb above the
NAAQS are unlikely to attain the NAAQS and would likely need even more ozone DV decreases to not be
considered a maintenance receptor. Drops in 8-hour ozone DVs on average of 7 ppb or more in three
years at multiple monitors in this Colorado Front Range area and drops in 8-hour ozone DVs on average
of 7.56 ppb or more in three years at many monitors in the Texas area would not typically be expected
to occur unless there is an unexpectedly large change in emissions and/or large change in
meteorological conduciveness for ozone generation. And yet, EPA’s own modeling continues to forecast
2023 design values that would require ozone to decline by levels well beyond 3 to 4 ppb without
identifying any corresponding large emission reductions not already accounted for in the modeling to be
implemented in the 2021-2023 timeframe. In particular, EPA’s modeled 2023 design values in Colorado
and Texas in many cases projects even greater design value declines than forecast by the Texas Council
of Environmental Quality in its 2015 Ozone Interstate Transport SIP.

[…]

The significant design value reductions EPA anticipates in 2023 resulted in EPA’s failure to identify
(and/or correctly identify) monitors as nonattainment or maintenance receptors for purposes of ozone
transport analysis.

[…]

                                                                                                      206
        Case: 23-60069          Document: 110         Page: 605       Date Filed: 03/27/2023




We request EPA explain the basis for why it is reasonable to expect ozone design value declines of these
magnitudes at these and other monitoring sites that recorded 2020 or 2021 design values greater than
or equal to 74 ppb.

We also request EPA incorporate modeling parameters into its ozone model that appropriately cap the
amount by which ozone design values decline per year, according to EPA’s analysis in its TSD for the EPA
Region 6 2015 8-Hour Ozone Transport SIP Proposal.8 After incorporating these modeling parameters,
we request EPA re-run its ozone transport model to identify more representative and realistic future
year design values. If EPA declines this request, we request EPA explain the basis for its decision.

Lastly, we request EPA conduct a comparative analysis of past EPA ozone modeling projections and the
actual observed design values to determine whether EPA ozone modeling tends to overestimate or
underestimate future year design values. If EPA finds that the agency’s models tend to underestimate
future year design values, we request EPA re-run its ozone modeling, incorporating parameters that
account for this tendency. If EPA declines this request, we further request EPA explain the basis for its
decision.



Response
The response to this comment can be found in Section III of the preamble for this final action.



Comments


Commenter: WildEarth Guardians

Commenter ID: 50

Docket ID: EPA-R06-OAR-2021-0801

Comment:

In New Mexico: WEG states that EPA either chose not to model or not to report modeled results for
future year design values for some monitors in New Mexico, including the monitors in Eddy and Lea
Counties. Our understanding is that this may be because EPA modeling of the 2016 base year did not
result in greater than or equal to five modeled maximum daily average 8-hour (“MDA8”) ozone
concentrations in excess of 60 parts per billion (ppb) at these monitor sites. The 2020 and 2021 design
values in southern and southeastern New Mexico suggest that monitors in these areas will likely see
2023 ozone design values that continue to significantly exceed the 2015 ozone NAAQS, thus warranting
future year modeling and state contribution analysis to determine whether upwind states are
inappropriately causing or contributing to ozone violations. We request that EPA confirm exactly why it
chose not to model future year design values for the monitors in Eddy and Lea Counties. In doing so, we
request EPA provide the MDA8 ozone concentrations it modeled for the 2016 base year for the Eddy
County and Lea County monitors in New Mexico.


                                                                                                       207
        Case: 23-60069         Document: 110         Page: 606       Date Filed: 03/27/2023




WEG states that if EPA’s modeled 2016 base year did not produce greater than or equal to five MDA8
ozone concentration greater than 60 ppb at certain New Mexico monitors, such as those in Carlsbad and
Hobbs, they ask that EPA explain why it considers this modeling accurate or representative of ozone
conditions in these areas. Given actual monitoring data, any model that fails to produce at least five
MDA8 ozone concentrations in Eddy and Lea Counties in 2016 likely contains significant flaws. For the
past seven years, the monitors in Eddy County and Lea County have consistently recorded 8-hour ozone
concentrations well above 60 ppb. Moreover, for the 2016 base year, EPA’s excel file at Docket ID: EPA-
HQ-OAR-2021-0663- 0013 identified 10 observed days exceeding 60 ppb at the City of Carlsbad monitor,
23 observed days exceeding 60 ppb at the Carlsbad Caverns National Park monitor, and 13 observed
days exceeding 60 ppb at the City of Hobbs monitor. We request EPA help us fully understand its
rationale for not modeling future year emissions at these monitors and conducting the associated state
contribution analysis. If it is the case that EPA’s model does not generate greater than or equal to five
MDA8 ozone concentrations at these monitors, we further request EPA evaluate why its modeling
protocol is generating such divergent results compared to actual monitoring data. We further ask that
EPA explain its rationale for not modeling future year emissions at these monitors given the dramatic
increase in ozone design values since 2016.

As we discuss further below, EPA explained in the Technical Support Document (“TSD”) for the EPA
Region 6 2015 8-Hour Ozone Transport SIP Proposal that it would not expect ozone design values to
decrease by more than 0-1 ppb per year. As such, the 2020 and 2021 design values in Southeast New
Mexico suggest that monitors in this area will likely see 2023 ozone design values that exceed the 2015
ozone NAAQS and, thus, warrant future year modeling and state contribution analysis to determine
whether upwind states are inappropriately causing or contributing to ozone violations.

WEG also requests that EPA explain what legal, regulatory, or guidance provisions – if any – prohibit EPA
from including Southeast New Mexico monitors from its ozone transport modeling and analysis. Absent
future year modeling, EPA effectively has identified the monitors in Southeast New Mexico as
attainment rather than as nonattainment or maintenance receptors. This constructive determination
plainly contradicts the current ozone concentrations and design values and trends, and violates the
Clean Air Act.



Commenter: WildEarth Guardians

Commenter ID: 50

Docket ID: EPA-R06-OAR-2021-0801

Comment:

In light of the well-documented ozone pollution problem documented at monitoring sites in southern
and southeastern New Mexico, WEG requests that EPA apply the analysis described in Sections 1 and 2
of the Technical Support Document (TSD) for the EPA Region 6 2015 8-Hour Ozone Transport SIP
Proposal to TCEQ’s modeled 2023 design values for Eddy County and Dona Ana County monitors in New
Mexico, identified below. Specifically, they request EPA evaluate recent design value monitored trends
in Dona Ana and Eddy Counties to determine what potential design value declines – if any – could be
                                                                                                     208
         Case: 23-60069             Document: 110            Page: 607         Date Filed: 03/27/2023




expected by 2023. Using this information, we request EPA compare the TCEQ modeled 2023 design
values for the monitors in these counties to the 2020 monitored design value and preliminary 2021
design values and determine whether TCEQ’s modeling is underestimating future ozone design values in
this region of New Mexico. Accurately determining whether monitors in Southern and Southeast New
Mexico qualify as nonattainment or maintenance receptors is essential because TCEQ identified Texas
anthropogenic emission sources as contributing well in excess of 1% of the NAAQS, or 0.70 ppb, to the
vast majority of monitors in New Mexico – a potentially significant contribution to nonattainment or
interference with maintenance. Accordingly, given the likelihood that these monitoring sites are likely to
remain in exceedance of the 2015 NAAQS by the 2023 attainment deadline, it is critical that EPA’s
analysis take into account Texas’s significant contribution to ozone pollution in southern and
southeastern New Mexico. Understanding Texas’s contribution is an essential first step towards
ensuring that a Good Neighbor FIP for Texas take the steps needed to ensure that emissions from Texas
– including those from the oil and gas industry – do not significantly contribute to non-attainment in
New Mexico.



Response
As described in the preamble for this final action, the EPA is relying upon projected 2023 design values
and contributions based on the 2016v3 modeling platform. This platform reflects updates made in
response to comments on the 2016v2 platform used for the proposed disapprovals. The final action
modeling’s projected 2023 average and maximum design values and the contributions from Texas to
monitors in Dona Ana and Eddy counties are provided in the table below. The data in the table show
that the monitors in Dona Ana and Eddy counties each have projected 2023 average design values
below the NAAQS but projected maximum design values above the NAAQS. As described in the
preamble, the EPA identifies such monitors as maintenance-only receptors. In addition, based on the
EPA’s 2016v3 modeling, emissions from Texas contribute well above the 1 percent of the NAAQS
screening threshold to projected 2023 ozone design values at these four monitoring sites.
Table 6-1 2023 Average/Maximum Design Values and Texas Contributions to Monitors in Dona Ana and Eddy Counties

                                               2023 Average/            2021
                                                 Maximum             Measured             Texas
                                               Design Values        Design Value       Contributions
                 County         AQS ID             (ppb)               (ppb)              (ppb)
                Dona Ana       350130021         70.8/72.1               80                4.74
                Dona Ana       350130022         69.7/72.4               75                3.59
                Eddy           350151005         69.7/74.1               77                1.91
                Lea            350250008         69.8/72.2               66                2.17




6.1.2 Receptors Linked to Texas



                                                                                                                 209
        Case: 23-60069          Document: 110         Page: 608       Date Filed: 03/27/2023




Comments


Commenter: Association of Electric Companies of Texas, BCCA Appeal Group, Texas Chemical Council
and Texas Oil & Gas Association

Commenter ID: 11

Docket ID: EPA-R06-OAR-2021-0801

Comment:

EPA’s assessment of TCEQ’s 2023 future year projections was arbitrary and capricious. EPA
inappropriately relied on its own “ballpark” estimates of future ozone observations to assess the
reliability of TCEQ’s modeling of those future conditions. A non-modeled “ballpark” evaluation of future
design values against estimated future year observations is not a valid technical basis to conclude that
TCEQ’s 2012 platform was less reliable than EPA’s 2016v2 platform at predicting Chicago-region ozone.

[From Sonoma Technology Attachment:] EPA’s use of estimated future ozone observations that are yet
to occur is not an appropriate basis to analyze a model’s reliability to project future design values. The
projected 2023 design values from TCEQ’s modeling (with a 2012 base year) are similar to projected
2023 design values that were estimated from two other credible air quality modeling platforms with a
2011 base year. As part of EPA’s rationale for the proposed disapproval of TCEQ’s Transport SIP, EPA
compared TCEQ’s 2023 ozone design value projections to estimated future year observations of ozone
at downwind receptors in Illinois, Wisconsin, and Michigan. EPA also compared TCEQ’s 2023 ozone
design values at these receptors with 2023 ozone design values calculated from EPA’s 2016v2 modeling.
EPA concluded that TCEQ’s projections likely underestimated future ozone levels and likely prevented
TCEQ from identifying nonattainment/maintenance receptors in those states. While there may be some
challenges to evaluating modeled estimates of future air quality concentrations, EPA’s use of estimated
future ozone observations that are yet to occur is not an appropriate or robust approach for such an
evaluation. In assessing TCEQ’s 2023 future design values, EPA analyzed observed ozone design value
trends between 2011 and 2020 and used the ozone trend between those years to estimate the range of
ozone design values that might be anticipated in 2023. EPA acknowledged that this approach for
estimating future observed DVs is only a “ballpark” estimate, is not as exact as developing new
modeling, and does not reflect any legal or policy judgements. EPA uses this estimate to conclude that
ozone DVs will decrease at most by 3-4 ppb between 2020 and the 2023 future year. EPA then compares
the resulting “estimated” 2023 monitor DV to the TCEQ modeled 2023 future DV. For the subset of
monitors in Illinois, Wisconsin, and Michigan with 2020 DVs ≥ 74 ppb, EPA calculates the average
amount of decrease in DVs needed to match TCEQ’s 2023 projection is around 9 ppb, which is more
than 3-4 ppb average decrease over three years that EPA estimates using its “ballpark” approach. EPA
concludes that decreases in the ozone DV of 9 ppb in three years do not typically occur but for large
changes in emissions and/or meteorology, and therefore proposes to find that TCEQ’s model
underestimates future DVs. However, long-term (10 year) trends in the ozone DV are not always
indicative of how the actual DV will change in a shorter (3 year) time period. Even within EPA’s 10-year
analysis period, the DVs at Chicago area monitors have changed by 9 ppb or more over a three-year
period (see Table 5 [available in full comment]). EPA’s modeling guidance recommends a model
                                                                                                      210
        Case: 23-60069          Document: 110         Page: 609       Date Filed: 03/27/2023




performance evaluation of the base year to establish whether an air quality model is performing
acceptably and can be considered reliable for estimating future design values. EPA found that TCEQ’s
base year model performance evaluation was reasonable. A non-modeled “ballpark” evaluation of
future design values against estimated future year observations is not a valid technical basis to conclude
that TCEQ’s 2012 platform was less reliable than EPA’s 2016v2 platform at predicting Chicago-region
ozone. Evaluations of modeled future year DVs and the air quality model’s response to emissions
changes are more robust and reliable when they are based on actual observed air quality data, as done
by Pegues et al. (2012), Foley et al. (2015). EPA’s substitution of a “ballpark” estimate of future
observations departs from accepted norms for evaluating modeled future-year ozone concentrations.

EPA concluded that TCEQ’s 2023 projected design values were understated, but TCEQ’s projected design
values were comparable to future design values projected by two other modeling platforms with a 2011
base year that were both released in 2018: one from EPA, and one from the Lake Michigan Air Directors
Consortium (LADCO). Both platforms were developed in support of the Interstate Transport “Good
Neighbor” Provision for the 2015 8-hour ozone NAAQS. The projected 2023 design values from these
modeling platforms are compared to the 2023 projected design value from TCEQ’s modeling in Table 9
[available in full comment]. The Illinois Environmental Protection Agency used the modeling results from
both EPA’s and LADCO’s 2011-based platforms to support its maintenance plan for the Illinois portion of
the Chicago ozone nonattainment areas for the 2008 NAAQS, which EPA recently proposed to approve.
In its proposed approval of the maintenance plan and redesignation, EPA noted that both sets of 2023
modeling results provided evidence that ozone concentrations will continue to decrease across the
Chicago nonattainment area, consistent with TCEQ’s justification.



Commenter: The Luminant Companies

Commenter ID: 44

Docket ID: EPA-R06-OAR-2021-0801

Comment:

In an effort to manufacture errors in TCEQ’s future modeling projections, EPA points not to real world
data or even to competing multi-grid modeling, but to its own back of the envelope guesses about the
future. Drawing conclusions about one model by comparing its results to those of another model
cannot be definitive and is only a surrogate for a comparisons of the models themselves. Even worse,
here, EPA uses what it admits is only “a ballpark estimate” to evaluate TCEQ’s modeling. But in no way
can EPA’s “ballparking” be considered more reliable than TCEQ’s sophisticated photochemical modeling.
EPA’s rationale is not only unlawful, but it is dangerous precedent for future SIP submissions and review.

Regardless, even using its unfounded comparison, the best EPA can say is that TCEQ’s modeling is “likely
underestimating future ozone levels, which “may have prevented TCEQ from identifying
nonattainment/maintenance receptors.” Ultimately, EPA can only conclude that TCEQ’s projections
“may understate anticipated ozone levels” in certain downwind areas, which is not a valid basis for
disapproval. Moreover, EPA disregards the fact that TCEQ’s modeling, in fact, is conservative, as it
includes NOX emissions from eight EGUs that have since shut down, totaling approximately 4,885 tons
                                                                                                      211
        Case: 23-60069         Document: 110         Page: 610        Date Filed: 03/27/2023




of NOX for the 2023 ozone season. EPA’s “ballpark estimate” approach is too flawed in its premise and
too insufficient in its conclusions to discredit the highly sophisticated modeling performed by TCEQ and
does not show that TCEQ has failed to satisfy any statutory standard. Rather, TCEQ’s projections of
future design values appropriately identify downwind nonattainment/maintenance receptors.



Commenter: The Luminant Companies

Commenter ID: 44

Docket ID: EPA-R06-OAR-2021-0801

Comment:

TCEQ’s projected design values, which EPA criticizes for not matching its “ballpark estimates,”
nevertheless align with the projections of other modeling platforms that EPA has recently endorsed.
Specifically, a modeling platform developed by EPA itself that was released in 2018 and a modeling
platform from the Lake Michigan Air Directors Consortium (“LADCO”) produce design values comparable
to that of TCEQ’s. EPA has approved both of these other models for purposes of the 2015 ozone NAAQS.
Therefore, it is apparent that EPA’s second-guessing of TCEQ’s approach by feigning concern about the
results of TCEQ’s modeling projections is disingenuous. EPA’s inconsistent treatment of the various
models is arbitrary and capricious and cannot support EPA’s disapproval.



Commenter: Texas Commission on Environmental Quality

Commenter ID: 42

Docket ID: EPA-R06-OAR-2021-0801

Comment:

TCEQ disagrees with the EPA’s use of updated 2016 base year modeling to evaluate TCEQ’s Transport
SIP submittal since the modeling data was unavailable at the time TCEQ developed its SIP revision. The
EPA’s use of modeling platform and monitoring data that was unavailable at the time TCEQ developed
its Transport SIP revision is arbitrary and unreasonable. The TCEQ submitted its 2015 Ozone NAAQS
Transport SIP Revision to the EPA on August 17, 2018. EPA did not issue the modeling platform it uses in
this proposed disapproval until September 2021 (which included the 2016 base year), nearly three years
after the statutory deadline for SIP revisions submissions. Obviously, TCEQ did not have access to this
modeling platform and data when it developed its SIP revision. However, the TCEQ did use the latest
modeling data it had available and made significant improvements on EPA’s method. Additionally, the
EPA has issued no rules regarding the use of EPA’s modeling and monitoring data in the development of
Transport SIP revisions.

The only other modeling data available at the time the TCEQ started developing its Transport SIP
revision was the EPA's 2011-base year modeling. For monitors identified by EPA as nonattainment or
maintenance and linked to Texas in 2023, the TCEQ modeled 2023 design values are similar to the

                                                                                                     212
       Case: 23-60069          Document: 110         Page: 611       Date Filed: 03/27/2023




preliminary modeling EPA conducted for the 2015 Ozone NAAQS Preliminary Interstate Transport
Assessment, as seen in Table 1, EPA and TCEQ Modeled Design Values in 2023 from EPA 2016, EPA 2011,
and TCEQ 2012 Modeling. This 2011-base modeling by the EPA is similar to the TCEQ’s modeling and
also shows attainment with the 2015 NAAQS for the monitors EPA identifies as maintenance or
nonattainment linkages in its 2016v2 modeling. In fact, for four of the five monitors for which
comparable 2010-2012 monitoring data exist, the TCEQ modeled 2023 design values are higher than the
EPA 2011-base modeled design values. The TCEQ contends that the difference in base year and
increased projection time may explain the lower TCEQ 2023 design values compared with EPA 2023
design values based on 2016 base year modeling. In Table 1 below, the EPA nonattainment design value
is based on the average of the three design values in the five-year base year period and the
maintenance design value is based on the maximum of these three design values.

Table 1: EPA and TCEQ Modeled Design Values in 2023 from EPA 2016, EPA 2011, and TCEQ 2012
Modeling.

                                              EPA 2016v2:                                TCEQ 2012:
                                                  2023         EPA 2011v6.3: 20233          2023
                           Nonattainment     Nonattainment/      Nonattainment/       Nonattainment/
    Receptor (Site ID,     / Maintenance      Maintenance         Maintenance        Maintenance Design
         County,            (EPA 2016v2       Design Value        Design Value             Value
          State)               2023)             (ppb)               (ppb)                 (ppb)
     170310001, Cook
        County, IL          Maintenance         69.6/73.4           63.3/65.1              60/58
     170310032, Cook
        County, IL          Maintenance         69.6/73.4           57.6/60.0              68/66
     170314201, Cook
        County, IL          Maintenance         69.9/73.4           56.6/58.4              64/62
     170317002, Cook
        County, IL          Maintenance         70.1/73.0           54.1/57.0              66/65
   550590019, Kenosha
        County, WI         Nonattainment        72.8/73.7           59.7/61.9               67/66
   550590025, Kenosha                                             No 2010-2012          No 2010-2012
        County, WI          Maintenance         69.2/72.3        monitoring data       monitoring data
    551010020, Racine                                             No 2010-2012          No 2010-2012
        County, WI         Nonattainment        71.3/73.2        monitoring data       monitoring data


Based on this information, if the EPA had relied on modeling conducted for 2023 using emission
information available when the TCEQ was required to submit its SIP revision, such as the 2011v6.3
platform, it would not have identified the monitors listed above as nonattainment or maintenance
monitors because modeled 2023 design values were below 71 ppb.

Analysis of the EPA and TCEQ modeling also shows greater difference between the predicted 2023
design values and the observed 2020 design values as the prediction time lengthens. Figure 2, Difference
in Design Value Predicted in 2023 versus Observed in 2020. Predictions are from the EPA 2011 modeling
(upper left), TCEQ 2012 modeling (upper right), and EPA 2016 modeling (lower) shows that the mean
difference across common monitors decreases from -6.20 ppb for a 12-year prediction time, to -6.08 for

                                                                                                     213
        Case: 23-60069           Document: 110          Page: 612       Date Filed: 03/27/2023




an 11-year prediction, to -4.34 for a seven-year prediction time. The shaded interquartile range of the
distribution also tightens with decreasing prediction time, indicating uniformly better prediction. Note
that the TCEQ 2012 modeling shows a similar design value difference to the EPA 2011 modeling
indicating similar performance. The difference in design values is largely explained by the shorter
prediction time, as seen in Figure 2, Difference in Design Value Predicted in 2023 versus Observed in
2020 versus Length of Prediction, where the TCEQ 2012 modeling is shown as the eleven-year prediction
length roughly on the linear trend of the three models. The TCEQ chose to use a 2012 base year since it
was the most comprehensive, non-anomalous, and best modeling platform available when the modeling
needed to commence to meet the SIP development and submittal deadlines.



Commenter: Xcel Energy

Commenter ID: 52

Docket ID: EPA-R06-OAR-2021-0801

Comment:

The EPA erred in the approach taken to modeling the influence Lake Michigan has on the receptor sites
located near the air/water shoreline boundaries in Cook County Illinois, Kenosha, and Racine Wisconsin,
which was factored into the modeling performed by TCEQ and others, further supported by comments
filed by the Association of Electric Companies of Texas (AECT) and the associated modeling analysis
performed by Sonoma Technology.

[…]

3. EPA's Air Plan Proposed Approval finding Illinois Portion of the Chicago-Naperville, Illinois Indiana-
Wisconsin Area to Attainment of the 2008 Ozone Standard

On March 10th, 2022 EPA proposed to designate that the Illinois portion of the Chicago Naperville, IL-IN-
WI area (Chicago area) in attainment for the 2008 ozone National Ambient Air Quality Standards. Cook
County, the receptor area linked to Texas’s designation as exceeding the contribution threshold, makes
up a large portion of the Chicago area. The approval goes on to state:

        "While modeling is not required, Illinois cited photochemical modeling performed by EPA and
LADCO in support of the interstate transport ''Good Neighbor'' provision of the CAA for the 2015 ozone
NAAQS. These modeling results project the highest 2023 average design values to be 0.0662 and 0.0668,
well below the 2008 ozone NAAQS. Compared to actual monitored 2009-2013 average design values,
both sets of 2023 modeling results show large decreases in ozone concentrations, especially in the heart
of the urban area and at the critical monitors at the north of the nonattainment area along the shore of
Lake Michigan. These results provide evidence that ozone will continue to decrease across the entire
nonattainment area."

The region’s ozone design values from both the LADCO and EPA's modeling results show the region
below the 2008 standard, below the 2015 threshold of 0.070 ppb, and that ozone concentrations are
expected to continue to decrease across the area. This result conflicts with the finding that Texas is

                                                                                                            214
        Case: 23-60069          Document: 110         Page: 613       Date Filed: 03/27/2023




linked to contributing above the impact threshold in Illinois/Chicago in evaluating its SIP for the 2015
Ozone NAAQS. At a minimum, it raises the question as to why EPA found the 2016v2 modeling platform
to be superior to the TCEQ photochemical analysis in determining Texas’s contribution in modeling
efforts performed for the 2015 Ozone NAAQS.

Given the adverse effects this proposed FIP has on grid reliability, and a states' economy, EPA should
utilize appropriate modeling techniques, collaborative engagement with impacted states and allow
states whose SIPs are disapproved adequate opportunity to respond and provide updated SIP
submissions.



Response
In response to comments regarding projected design values for 2023 at monitoring sites in the Lake
Michigan areas, as provided in Table 1 from TCEQ’s comment document, the EPA compared these
model-projected average and maximum design values to projected design values based on EPA’s 2016v3
modeling as well as to 2021 final design values. The modeling-based design values for 2023 from TCEQ’s
comment document (i.e, EPA 2016v2, EPA 2011v6.3, and TCEQ 2012) along with projected average and
maximum design values based on EPA’s 2016v3 modeling and the 2021 design values are shown in the
table below (Table 6-2). Comparing the projected maximum design values from TCEQ’s 2012-based
modeling to the 2021 measurement-based design values indicates that TCEQ’s projections are likely to
largely understate 2023 design values. The EPA’s older 2011-based design values also appears to be low-
biased. In contrast, the EPA’s 2016-based projected maximum design values provide a more credible
projection of what design values may be in 2023 at these monitoring sites. The fact that the EPA’s 2016-
based projections more closely align with recent measured data serves to underscore the importance of
the EPA’s move to this new platform to provide the most credible data for evaluating interstate
contributions in this action.




                                                                                                         215
         Case: 23-60069             Document: 110            Page: 614         Date Filed: 03/27/2023



Table 6-2 Comparison of Modeling-based Design Values to 2021 Measured Design Values

                                     EPA 2016v2:         EPA 2011v6.3:         TCEQ 2012:       EPA 2016v3:
                                         2023                20233                2023              2023           2021
  Receptor       Nonattainment      Nonattainment/      Nonattainment/       Nonattainment/    Nonattainment/    Measured
   (Site ID,     / Maintenance       Maintenance         Maintenance          Maintenance       Maintenance       Design
   County,        (EPA 2016v2        Design Value         Design Value        Design Value      Design Value      Value
    state)           2023)              (ppb)                (ppb)               (ppb)             (ppb)          (ppb)
 170310001,
     Cook
  County, IL     Maintenance           69.6/73.4            63.3/65.1             60/58          68.2/71.9            71
 170310032,
     Cook
  County, IL     Maintenance           69.6/73.4            57.6/60.0             68/66          67.3/69.8            75
 170314201,
     Cook
  County, IL     Maintenance           69.9/73.4            56.6/58.4             64/62          68.0/71.5            74
 170317002,
     Cook
  County, IL     Maintenance           70.1/73.0            54.1/57.0             66/65          68.5/71.3            73
 550590019,
   Kenosha
 County, WI     Nonattainment          72.8/73.7            59.7/61.9             67/66          70.8/71.7            74
 550590025,
  Kenosha                                                 No 2010-2012        No 2010-2012
 County, WI      Maintenance           69.2/72.3         monitoring data     monitoring data     67.6/70.7            72
 551010020,
   Racine                                                 No 2010-2012        No 2010-2012
 County, WI     Nonattainment          71.3/73.2         monitoring data     monitoring data     69.7/71.5            73


Comments related to EPA’s use of updated modeling can be found in Sections III and V.B.4 of the
preamble and in Sections 1.4 (Use of Updated Modeling) and 5 (Updates to Modeling and Changes in
Linkages). Comments related to the timing of EPA’s action can be found in Section V.A of the preamble
and Section 1.1 (Timing of SIP Actions).



6.1.3 Meteorologically Adjusted Ozone Trends
Comment


Commenter: Louisiana Department of Environmental Quality

Commenter ID: 27

Docket ID: EPA-R06-OAR-2021-0801

Comment:


                                                                                                                216
         Case: 23-60069            Document: 110            Page: 615         Date Filed: 03/27/2023




EPA used variable selection and quantile regression, an unproven technique that the states were not
afforded the opportunity to review and provide comment.



Response
The EPA disagrees with this comment. The variable selection and quantile regression technique that the
EPA is using to analyze ozone trends after adjusting for the influence of interannual variability in
meteorology was published in a peer-reviewed journal, Atmospheric Environment, in March 2021.62
States and stakeholders had an opportunity to review this article during the proposal comment period
of this action. The EPA responds to other comments about this document from LDEQ in Section 1.8
(Docket Document Availability).



6.2 EPA Methodology for Determining Maintenance Receptors

Comment
Commenter: Alabama Department of Environmental Management

Commenter ID: 02

Docket ID: EPA-R04-OAR-2021-0841

Comment:

Alabama suggests the Denton County receptor is not actually a future maintenance receptor. Had EPA
followed the TSD, Alabama could not have contributed significantly at the Denton County, Texas
receptor because the model results would not have identified the receptor as a future nonattainment or
maintenance area, given EPA did not have ten days of “high‐ozone” for the receptor.

There is some question whether the Denton County, Texas receptor (481210034) is actually a future
maintenance receptor at all. When looking at EPA’s modeling technical support document (TSD), the
basic approach for calculating the average contribution metric includes averaging the Maximum Daily
Average 8‐hr concentration (MDA8) in 2023 using the following steps:

1. For the model grid cells containing an ozone monitoring site, calculate the 8‐hour average
contribution from each source tag to each monitoring site for the time period of the 2023 modeled
MDA8 ozone concentration on each day;

2. Average the MDA8 concentrations for the top 10 modeled ozone concentration days in 2023 and
average the 8‐hour contributions for each of these same days for each tag (Alabama);




62
  Wells, B., Dolwick, P., Eder, B., Evangelista, M., Foley, K., Mannshardt, E., et al. (2021). Improved estimation of
trends in U.S. ozone concentrations adjusted for interannual variability in meteorological conditions. Atmospheric
Environment, 248, 118234.
                                                                                                                  217
        Case: 23-60069         Document: 110         Page: 616       Date Filed: 03/27/2023




3. Divide the 10‐day average contribution for each tag by the corresponding 10‐day average
concentration to obtain a Relative Contribution Factor (RCF) for each tag at each monitor; and

4. Multiply the 2023 average design values by the corresponding RCF to produce the average
contribution metric value for each tag at each monitoring site in 2023.

To avoid including contributions on days that are well below the NAAQS, EPA applied a criterion that five
or more of the top 10 model‐predicted concentration days must have MDA8 concentrations ≥ 60 ppb in
order to calculate a valid contribution metric. The Denton County monitor used to calculate Alabama’s
contribution meets this minimum criterion, but only barely– monitor ID 481210034 had only six
modeled days above 60 ppb and only one day above 70 ppb (Table 5 [available in full comment]). Those
six days (not 10) were used to calculate an average contribution of 0.71 ppb for Alabama. Interpreting
the language in the technical support document suggests that EPA should have calculated Alabama’s
average contribution using all ten days. If all ten days are used, Alabama’s contribution clearly falls
below EPA’s established 0.71 ppb threshold, with a tenth‐highest value of 57.39 ppb. It is also important
to note that, of 153 modeled days, only one day (September 21) exceeded 70 ppb at all.



Response
This comment confuses the distinct analytical steps and data sources for making determinations at Step
1 and at Step 2. As explained at proposal, at Step 1, the EPA applied the same approach used in the
CSAPR Update and the Revised CSAPR Update (86 FR 23078–79) to identify nonattainment and
maintenance receptors for the 2008 ozone NAAQS. See, e.g., 87 FR 64416-64417 (October 25, 2022).
This method at Step 1, using the 2016v2 modeling, identified the Denton receptor. Commenter does not
explain why that method is improper, e.g., why the use of a relative response factor to ground future
projections to historical data is not appropriate. Commenter takes issue more specifically with the Step
2 methodology for calculating contribution, which is different from Step 1. However, the EPA’s approach
for calculating the future year average contribution metric provides a technically reliable estimate of
contributions. In calculating the average contribution metric, the EPA typically uses modeled
contributions on the 10 days in the future year with the highest model-predicted concentrations. In part
because the formation of ozone from precursor emissions can be nonlinear and dependent on
meteorological conditions, the response of ozone to emission reductions can vary from day to day. For
cases in which the base year model simulation does not have 10 days with ozone values greater than or
equal to 60 ppb at a site, we use all days with ozone greater than or equal to 60 ppb, as long as there
were at least 5 days that meet this criterion. At monitor locations with less than 5 days with modeled
2016 base year ozone greater than or equal to 60 ppb, no RRF or DVF is calculated for the site and the
monitor in question was not included in this analysis.

Consistent with EPA’s modeling guidance, when calculating the contribution metric values, EPA applied a
criterion that 5 or more of the top 10 model-predicted concentration days must have MDA8
concentrations greater than or equal to 60 ppb in the future year to calculate a valid contribution
metric. The criterion of having at least 5 days with MDA8 ozone concentrations greater than or equal to
60 ppb was chosen to avoid including contributions on days that are well below the NAAQS in the
calculation of the contribution metric. Using 5 days with MDA8 ozone greater than or equal to 60 ppb

                                                                                                     218
       Case: 23-60069          Document: 110         Page: 617       Date Filed: 03/27/2023




aligns with recommendations in the EPA’s air quality modeling guidance for projecting future year
design values.

Thus, the EPA disagrees with the comment that the contributions to the receptor in Denton, Texas
should be based on all of the top 10 days even though there were only 6 days with modeled ozone
greater than or equal to 60 ppb. The EPA’s response to comments on the methodology can be found in
Section 7.1 (Methodology for Determining Future Year Contributions).



Comment
Commenter: Alabama Power Company, Southern Power Company, and PowerSouth Energy Cooperative

Commenter ID: 04

Docket ID: EPA-R04-OAR-2021-0841

Comment:

In criticizing Alabama’s SIP as providing “limited supporting information to show that the Denton
County, Texas, maintenance receptor is unlikely to violate the NAAQS in 2023,” EPA points to its October
2018 memorandum providing guidance for use in evaluating maintenance receptors. In the October
2018 memorandum, EPA stated that “[m]eteorological conditions including temperature, humidity,
winds, solar radiation, and vertical mixing affect the formation and transport of ambient ozone
condition.” Attachment A to these comments supplements the modeling provided by ADEM in its 2022
SIP and includes model runs on June 19, 2021, for the Denton County receptor that include pressure,
ambient air temperature, solar radiation flux, relative humidity, mix layer depth, and rainfall.

EPA also criticized ADEM for only including a centerline; however, what ADEM provided is all that can be
produced using the NOAA HYSPLIT Model. EPA suggested no potential alternatives that could be used
for analysis. Instead, the back trajectories were run for each hour on June 19, 2021, from 0000 to 1800
UTC for 10, 250, and 500 meters to provide a swath of the state that air packets could have moved over.

The October 2018 Memorandum also provides the basis for using this data for analysis, stating that,
“[i]n general, below average temperatures are an indication that meteorological conditions are
unconducive for ozone formation, whereas above average temperatures are an indication that
meteorology is conducive to ozone formation.” The model shows that ambient air temperatures
warmed as the air moved towards Texas from 30⁰F, 65⁰F, and 80⁰F to 80⁰F, 80⁰F, and 100⁰F for the
500m, 250m, and 10m trajectories, respectively. This model also shows the air stalling over southwest
Texas before moving north to Denton County, especially for the 10m trajectory where the air spent
nearly two and a half days in Texas. This model shows that meteorological conditions were not
conducive for ozone formation in Alabama, but rather ozone was formed locally.

Again, air normally does not move westward from Alabama into Texas on high ozone days, and when it
does, “significant” amounts of ozone precursors are not produced by EGUs nor is ozone formation
conducive in Alabama. By removing Alabama’s contribution to the Denton County, Texas monitor, such
monitor would no longer be a maintenance monitor in accordance with the October 2018
Memorandum.
                                                                                                    219
        Case: 23-60069          Document: 110         Page: 618        Date Filed: 03/27/2023




Response
In the October 2018 memorandum on page 4 the EPA states that a “state could justify exclusion of a
monitoring site as a maintenance receptor, notwithstanding modeling projections showing a maximum
design value exceeding the 2015 ozone NAAQS.” The memorandum describes technical analyses and
information that the EPA expects states to include with their SIP submission to justify excluding specific
monitoring states that would otherwise be identified as maintenance receptors. As stated in the
memorandum, one element of the justification should be a showing that “meteorological conditions in
the area of the monitoring site were conducive to ozone formation during the period of clean data or
during the alternative base period design value used for projections.” Appendix A to the October 2018
Memorandum states that “Ozone is more readily formed on warm, sunny days when the air is stagnant
and/or when the winds are favorable for transport from upwind source areas.” Appendix A includes
information that states could use to support an analysis of ozone conducive meteorological conditions.

The commenter’s argument for justifying that Alabama should not be linked to the Denton County
receptor was not based on an analysis of meteorological conditions in the area of the monitoring site in
terms of whether the temperatures in the area were warmer of cooler than normal, as stated in the
October 2018 memorandum. Rather, the commenter chose to examine temperatures along the path of
trajectory on a particular day. The commenter used these data to claim that the air warmed along the
trajectory path from Alabama to the Denton County receptor. The commenter then argued that the
meteorology was unconducive to ozone formation over Alabama. This argument is technically flawed.
Simply because the air parcel temperature warmed between Alabama and Denton, or that there was
unconducive meteorology over Alabama, does not provide a technically sound justification that the
meteorology was unconducive to ozone formation over Denton. Furthermore, it appears that the
commenter made a typographical error when reporting that the air temperature was 30o F (i.e, below
freezing) at 500m given that the trajectory was created for a day in June and the temperatures were
65oF and 80oF at 250m and 10m, respectively.

The EPA’s response to the portion of the comment related to interpreting the centerline of the
trajectory can be found in Section 8.8 (Hybrid Single-Particle Lagrangian Integrated Trajectory (HYSPLIT)
Model).


6.3 TCEQ’s Alternative Methodology for Determining Maintenance Receptors

Comments


Commenter: Association of Electric Companies of Texas, BCCA Appeal Group, Texas Chemical Council
and Texas Oil & Gas Association

Commenter ID: 11

Docket ID: EPA-R06-OAR-2021-0801

Comment:

                                                                                                       220
        Case: 23-60069         Document: 110         Page: 619       Date Filed: 03/27/2023




TCEQ’s methodology for selecting maintenance monitors was appropriate and justified in accordance
with an EPA October 2018 guidance memo that provided certain flexibilities including the use of a DV
from the base period that is not the maximum design value.

TCEQ’s choice to use the latest measured DV over the relevant base period instead of the maximum
measured DV was reasonable given the history of ozone design values since 2012, the meteorology
during the 2012-2014 period, and emissions trends from 2010-2019

The data does not support EPA’s conclusion that the 2012-2014 period was “not particularly conducive
to ozone formation, at least for many receptors” compared to the 2010-2012 and 2011-2013 periods
(TCEQ’s alternative approach for selecting maintenance receptors involved selecting the 2012-2014 DV).
Nationally, 2012 was among the highest ozone years since 2005-2007 even when statistically adjusting
for meteorological variability (Figure 2). Any ozone design value that included 2012 would have included
at least one year with exceptionally conducive meteorology for high ozone.

Direct text: “…TCEQ’s methodology for selecting maintenance monitors was appropriate and justified.
As noted above, the CAA does not require a specific process for the selection of maintenance monitors.
EPA’s preferred approach for selecting maintenance receptors involves determining the maximum
future design value (“DV”) at each receptor based on a projection of the maximum measured DVs over
the relevant base period. However, states are not required to utilize EPA’s approach. EPA issued a
memorandum in October 2018 providing guidance on potential flexibilities and alternative methods that
states may use with technical justification to identify maintenance receptors, including the use of a DV
from the base period that is not the maximum design value. TCEQ’s choice to use the latest measured
DV over the relevant base period instead of the maximum measured DV was technically justified and
reasonable given the history of ozone design values since 2012, the meteorology during the 2012–2014
period, and emissions trends from 2010– 2019. TCEQ sufficiently explained these expert choices in its
SIP submittal. EPA’s approach for selecting maintenance monitors necessitates an overly conservative
estimate of the maximum projected future-year design values and overly conservative selection of
receptors.

Likewise, EPA’s assessment of TCEQ’s 2023 future year projections was arbitrary and capricious. EPA
inappropriately relied on its own “ballpark” estimates of future ozone observations to assess the
reliability of TCEQ’s modeling of those future conditions. EPA cannot substitute its own simplified
guesses about future conditions for TCEQ’s robust modeling. EPA’s “ballpark” estimate is not an
objective measure of the reliability of TCEQ’s modeling nor is it a valid technical or legal basis for
evaluating future ozone. Such a method fails to demonstrate that TCEQ’s SIP does not comply with the
Act. As outlined by the Sonoma Technology analysis, sound air quality planning is based on valid and
accurate modeled predictions grounded on actual observed ozone levels. Relying on its own flawed
future year ozone estimates, EPA asserts that TCEQ’s modeling underestimates future (2023) ozone
levels and that the TCEQ method is flawed. According to EPA, these underestimations likely prevented
TCEQ from identifying nonattainment and/or maintenance receptors. However, TCEQ’s projected design
values are comparable to future DVs projected by two other modeling platforms released in 2018 and
recently embraced by EPA: one from EPA itself, and one from the Lake Michigan Air Directors
Consortium (“LADCO”). Both platforms were developed and approved in support of air quality planning
for interstate transport under the 2015 ozone NAAQS. The Illinois Environmental Protection Agency

                                                                                                    221
        Case: 23-60069         Document: 110         Page: 620       Date Filed: 03/27/2023




used the modeling results from both the EPA and LADCO platforms to support its maintenance plan for
the Illinois portion of the Chicago ozone nonattainment areas for the 2008 NAAQS. In its proposed
approval of the maintenance plan and redesignation, EPA noted that both sets of 2023 ozone
predictions provided evidence that ozone concentrations will continue to decrease across the Chicago
region.”

(From Attachment: Sonoma Technology) - In response to comments received through stakeholder
outreach, EPA issued a memorandum in October 2018 (“October 2018 Memorandum” 16) providing
guidance on potential flexibilities and alternative methods that states may use with technical
justification to identify maintenance receptors, including the use of a DV from the base period that is
not the maximum design value. TCEQ’s Transport SIP used an appropriate and well-supported
alternative approach for selecting maintenance receptors. Whereas EPA’s approach for selecting
maintenance receptors involves projecting the maximum measured DVs over the relevant base period,
TCEQ’s alternative approach involves projecting the latest measured DV over the relevant base period,
regardless of whether that most recent DV was the highest of the three. TCEQ’s analysis did not identify
the monitors in Illinois and Wisconsin as maintenance (or nonattainment) receptors, in contrast to EPA’s
analysis based on its 2016v2 modeling platform. TCEQ’s alternative approach for selecting maintenance
receptors was technically credible and justified by the data. TCEQ’s choice to use the latest measured DV
over the relevant base period instead of the maximum measured DV was reasonable given the history of
ozone design values since 2012, the meteorology during the 2012-2014 period, and emissions trends
from 2010-2019.

Table 6 [available in full comment] shows the monitored ozone design values at 7 receptors in Illinois
and Wisconsin that were linked to Texas by EPA’s 2016v2 modeling. In EPA’s approach, the maximum
future DV would have been projected from the maximum of the three design values that encompassed
the 2012 base year (the base period is shaded in grey; the maximum DVs are italicized). In TCEQ’s
approach, the most recent DV during the base period was selected (i.e., 2012-2014 DV, shown in bold).
At three of the sites (Cook – South, Cook – Evanston, and Kenosha – Chiwaukee), the 2012-2014 DV was
the highest DV observed in any year since. The future-year design values projected from the 2012-2014
DVs calculated by TCEQ for these sites would have adequately captured any future high ozone years that
have occurred since then in light of local and regional NOx emissions reductions that have occurred
since 2010 and are expected into the future. The maximum DVs during the 2012-2014 period that would
have been selected using EPA’s methodology are also shown in Table 5 [available in full comment]. At
the same three sites (Cook – South, Cook – Evanston, and Kenosha – Chiwaukee) the maximum DVs
during this period were also the highest DV observed in any year dating back to at least 2007 (Table 6).
For these three sites, using EPA’s approach for selecting maintenance receptors would not be
reasonable because the future DVs would be projected from a baseline DV that was historically high and
unlikely to be repeated in the future regardless of meteorological conditions.

Analyzing emissions trends is important when considering whether a maintenance monitor is likely to
violate the NAAQS in the future analytic year. Table 7 [available in full comment] shows the emissions in
the Chicago ozone nonattainment area in 2010 and 2019, showing a substantial decrease (almost 40%)
in NOx emissions in the region. Additional reductions are expected through 2035 (Table 8 [available in
full comment]). In its maintenance plan for the 2008 ozone NAAQS, Illinois successfully demonstrated
that the improvement in ozone air quality in the Chicago area was caused by actual emission reductions,
                                                                                                     222
        Case: 23-60069          Document: 110         Page: 621       Date Filed: 03/27/2023




not by unusually favorable meteorological conditions, and that those air quality improvements were due
to permanent and enforceable emissions reductions that will keep the region in attainment of the 2008
ozone NAAQS.

Finally, in its proposed disapproval of TCEQ’s Transport SIP, EPA concluded that the 2012-2014 period
was “not particularly conducive to ozone formation, at least for many receptors” compared to the 2010-
2012 and 2011-2013 periods (TCEQ’s alternative approach for selecting maintenance receptors involved
selecting the 2012-2014 DV). The data does not support EPA’s conclusion. Nationally, 2012 was among
the highest ozone years since 2005-2007 even when statistically adjusting for meteorological variability
(Figure 2). Any ozone design value that included 2012 would have included at least one year with
exceptionally conducive meteorology for high ozone. As EPA notes (and as also seen in Figure 2), the
meteorology in 2011 was also conducive to high ozone. However, based on the observed ozone data,
the recent and future projected emissions trends in the Chicago nonattainment area, and the Illinois
maintenance plan for the area that EPA is proposing to approve, it is unlikely a recurrence of
exceptionally conducive meteorological conditions (even for two consecutive years) would result in a
recurrence of the high ozone DVs observed in the Chicago area in 2010-2012 (the 2012 DV) and 2011-
2013 (the 2013 DV).



Commenter: Association of Electric Companies of Texas, BCCA Appeal Group, Texas Chemical Council
and Texas Oil & Gas Association

Commenter ID: 11

Docket ID: EPA-R06-OAR-2021-0801

Comment:

EPA’s approach to selecting maintenance monitors is overly conservative when based on DVs that are at
their historical high. When local and regional NOx emissions are declining rapidly over time, there can be
circumstances when the maximum DV from the base period is no longer an appropriate basis to identify
receptors that may be at risk of exceeding the NAAQS in the future, even considering inter-annual
variability in meteorological conditions.

From Sonoma Technology Attachment: EPA’s Approach to Selecting Maintenance Monitors is Not
Supported - EPA’s approach for selecting maintenance receptors involves determining the maximum
future DV at each receptor based on a projection of the maximum measured DVs over the relevant base
period. As it pertains to the August 17, 2018, TCEQ Transport SIP that EPA is proposing to disapprove as
part of this rulemaking, the base modeling year was 2012, and thus the relevant base period for TCEQ’s
Transport SIP was 2012-2014.

According to EPA, the projected maximum future DV is intended to yield a reasonable projection of
future air quality under a scenario in which meteorological conditions conducive to producing high
ozone concentrations may reoccur. However, as discussed in more detail below, when local and regional
NOx emissions are declining rapidly over time, there can be circumstances when the maximum DV from
the base period is no longer an appropriate basis to identify receptors that may be at risk of exceeding

                                                                                                      223
        Case: 23-60069           Document: 110          Page: 622       Date Filed: 03/27/2023




the NAAQS in the future, even considering inter-annual variability in meteorological conditions. In these
circumstances, EPA’s approach to selecting maintenance monitors is overly conservative when based on
DVs that are at their historical high.



Commenter: Texas Commission on Environmental Quality

Commenter ID: 42

Docket ID: EPA-R06-OAR-2021-0801

Comment:

[T]he EPA fails to adequately justify its claim that the TCEQ did not provide sufficient technical basis for
its use of an alternative methodology to identify maintenance receptors.

[…]

The TCEQ has provided a sufficient technical basis for its use of an alternative methodology to identify
maintenance monitors.

The EPA claims that the TCEQ did not provide sufficient technical justification for its approach and that
the TCEQ’s use of the latest monitored design value did not account for inter-annual variability in ozone
conducive conditions. The EPA observes that the TCEQ’s maintenance monitor identification
methodology accounts for variations in meteorological conditions only over a three-year period
compared to the five-year period accounted for in the EPA’s method. The EPA does not provide
sufficient justification for why five years of meteorological conditions adequately capture interannual
variability while three years cannot. The latest three years best describe the ozone conditions closest to
the future year. The EPA also does not address the fact that the modeled future design values are based
on a single base year that is explicitly modeled and are therefore most impacted by the meteorological
conditions in that single base year. It should be noted that both the TCEQ’s method and the EPA’s
method use a single base year. The TCEQ’s method used the latest three-year design value to reflect the
most recent atmospheric conditions of each area, considering meteorology and emissions information.

The EPA states that since the EPA method identifies more monitors as maintenance monitors it is the
more rigorous method. However, the “Good Neighbor” provision is not intended to be an exercise to
find the greatest number of monitors likely to have air quality issues but to find the monitors mostly
likely to have air quality issues due to significant contribution from upwind states.

The EPA further analyzed 21 monitors that had contributions greater than 0.7 ppb in either TCEQ or EPA
modeling. The EPA claims that the TCEQ’s methodology was flawed because the future year
nonattainment design value (determined based on the use of average of three monitored design values
as base design value, DVB) is less than the future year maintenance design value (determined based on
the use of the latest of three monitored design values as DVB). The EPA discusses in detail how the
difference between the nonattainment and maintenance design value in TCEQ’s methodology is smaller
than the difference in EPA’s methodology. However, the EPA fails to discuss that of the 21 monitors, 15
monitors that were identified as maintenance monitors by the EPA’s methodology were also identified

                                                                                                          224
        Case: 23-60069          Document: 110         Page: 623       Date Filed: 03/27/2023




as maintenance monitors by TCEQ’s methodology. In addition, the EPA fails to provide justification on
why maintenance design values being lower than nonattainment design values is troubling. For a
monitor to have maintenance issues, the future year design value only needs to exceed the standard of
70 ppb not the nonattainment design value.

The EPA further states that the TCEQ’s methodology identified a monitor that would be nonattainment
but not maintenance as proof that the TCEQ methodology is flawed. However, the EPA does not provide
any justification for why every monitor that is modeled nonattainment should also be a maintenance
monitor. If, as the EPA contends, monitors face maintenance issues solely due to inter-annual variability
of meteorological conditions, it is also possible that the monitors could attain the standard due to
favorable meteorology. In practice, a maintenance monitor should only have a transport linkage if it is in
an area redesignated as attainment and a subsequent exceedance was shown to be caused by a
transport issue, despite local controls and contingency measures. Otherwise, any reductions that might
be required from upwind states to help that particular monitor maintain the standard would be
overcontrol on the part of EPA.

The EPA should not disapprove the TCEQ’s Transport SIP Revision based on the TCEQ’s use of an
alternative methodology for identifying maintenance monitors. The TCEQ’s method for identifying
maintenance monitors aligns with criteria regarding monitored design value trends specified in the
EPA’s Maintenance Receptor Guidance Memo and is scientifically defensible.

Despite the EPA issuing the Maintenance Receptor Guidance until after the statutory SIP revision
submission deadline has passed and thus, depriving the TCEQ of this information during the preparation
of Texas’ SIP revision, the TCEQ did show that ozone concentrations have been trending downward since
2011 at monitoring sites for which the TCEQ modeling showed linkages. Such a trend is a condition in
the Maintenance Receptor Guidance for states to choose an alternative maintenance monitor selection
method. The EPA’s disapproval conflates instances in which a design value is greater than the previous
year with lack of a downward trend. The TCEQ contends that a downward trend of design values since
2011 can have individual design values that are higher than design values in the previous year and still
comprise a downward trend over a longer period. The EPA appears to have misunderstood the TCEQ’s
reasons for choosing the 2014 regulatory design value as the DVB when estimating modeled future year
maintenance design values. The TCEQ chose the 2014 regulatory design value because it was the latest
design value and best represented current conditions and not because it is the lowest.

Further, for the monitors the EPA linked to Texas based on its 2016v2 modeling, only five of the seven
monitors have valid design values in 2014. Out of those five, three had their highest design values in
2014. Emissions trends from the EPA’s National Emissions Inventory (NEI) in Illinois and Wisconsin,
where the seven monitors are located, show consistent decreases from 2010 through 2020. The EPA’s
meteorologically-adjusted ozone trends show that ozone values in the Central and East North Central
United States, where the linked monitors are located, are much higher in 2012 due to meteorology,
which was represented explicitly in the TCEQ’s modeling. However, there hasn’t been a consecutive
three-year period from 2000 through 2020 that has had ozone conducive conditions similar to 2012.
Therefore, if TCEQ had followed the EPA’s methodology, TCEQ would have used the 2012 monitored
regulatory design value as the DVB, which would have ignored the downward trend in design values and
resulted in the misidentification of monitors as maintenance monitors.

                                                                                                      225
        Case: 23-60069          Document: 110          Page: 624        Date Filed: 03/27/2023




Commenter: The Luminant Companies

Commenter ID: 44

Docket ID: EPA-R06-OAR-2021-0801

Comment:

TCEQ’s Maintenance Monitor Selection Properly Identified Maintenance Receptors for
Purposes of the 2015 Ozone NAAQS

EPA similarly second-guesses TCEQ’s maintenance receptor methodology in proposing to disapprove
Texas’s SIP because, EPA says, TCEQ has not adopted an identical approach to EPA. Specifically, EPA
would rely on the maximum design value during the 5-year base period to identify future maintenance
receptors, whereas TCEQ relied on the most recent design value from the relevant base period when
identifying future maintenance receptors to ensure that its projection appropriately captured emission
trends. EPA claims that its method of selecting maintenance receptors “was upheld in the EME Homer
City litigation.” But this is irrelevant for EPA’s analysis of Texas’s SIP—EPA’s method is not codified and
has not been deemed the only appropriate way to identify maintenance receptors for the 2015 ozone
NAAQS or any other NAAQS for that matter. Simply because EPA would take a different approach does
not mean TCEQ’s approach was inappropriate or not technically sound.

Further, although EPA itself recognizes that “it is not mandatory to follow the EPA’s modeling guidance,”
TCEQ’s approach does, in fact, align with guidance EPA issued in October 2018, which recognized that
the use of differing design values from the base period may be appropriate. TCEQ has provided
significant technical justification for its maintenance methodology approach, and the approach provides
reasonable and supportable results. EPA’s complaints that the years associated with the design values
used by TCEQ “may not have had meteorological conditions particularly conducive for formation of high
ozone concentrations” or that TCEQ “may effectively ‘double count’ emission trends” are insufficient to
support a finding by EPA that Texas’s SIP is technically deficient under the statutory requirements of the
Clean Air Act. Such speculation is not a valid basis for disapproval. Further, it is EPA’s own approach to
identifying maintenance receptors that is flawed, as EPA relied on design values that were historically
extreme. This inappropriately inflates EPA’s future projected design values. Therefore, using EPA’s
approach would require reductions from upwind states that are not necessary for maintenance of the
NAAQS—a form of unlawful overcontrol.

Importantly, EPA’s role in reviewing SIP submissions is narrowly tailored under the Clean Air Act. As EPA
has previously explained, “Congress assigned to states the primary responsibility to implement the
NAAQS[.]” If a SIP is deemed complete, “the Administrator shall approve such submittal as a whole if it
meets all the applicable requirements of this chapter[.]” Thus, if a SIP submission “meets all of the
applicable [Clean Air Act] requirements, the EPA must approve it.” In the proposal here, EPA has strayed
outside the statute and established court precedent to propose disapproval simply because TCEQ’s
modeling is not the same as EPA’s.




                                                                                                        226
        Case: 23-60069          Document: 110          Page: 625        Date Filed: 03/27/2023




Response
The EPA disagrees that the use of only the latest 3-year period (of a 5-year baseline period) for
calculating a DV properly accounts for the effects of meteorological variability for the purpose of
identifying projected maintenance receptors. Rather, the use of a 3-year average has the effect of
discounting or even ignoring, not accounting for, the effects of inter-annual variability in ozone
conducive meteorology. TCEQ’S alternative methodology for determining maintenance receptors used
the most recent design value of the three DVs, regardless of whether the most recent design value was
highest or lowest. The “Modeling Guidance for Demonstrating Air Quality Goals for Ozone, PM2.5, and
Regional Haze” from November, 2018 notes that 1 or more years of meteorological conditions which are
not conducive to ozone formation in either the base year period or the most recent design value period
will have the effect of making it appear that an area is closer to attaining the NAAQS than would
otherwise be the case if more typical meteorological conditions had occurred. An area may appear to be
on track to attain the NAAQS (or close to attaining) but, in reality, may need substantial additional
emissions reductions to attain under average or above average meteorological conditions.63

The EPA disagrees that the deficiencies we identified with TCEQ's approach to identifying maintenance
receptors were based on speculation or that EPA proposed to disapprove TCEQ’s approach because it
was not identical to our approach. Rather, in our proposed disapproval we stated that TCEQ's approach
to identifying maintenance receptors, which uses only the most recent design value, is flawed because it
fails to adequately consider interannual variability in ozone-conducive meteorology that may cause
certain receptors to struggle to maintain the NAAQS in ozone conducive years. The North
Carolina decision made clear that in interpreting the good neighbor provision, upwind states’ and the
EPA’s obligations to reduce emissions must account for variable conditions that could cause an area that
is sometimes attaining the NAAQS to fall out of attainment. North Carolina v. EPA, 531 F.3d 896, 908-
911 (D.C. Cir. 2008). See also Wisconsin, 938 F.3d at 327 (“Variations in atmospheric conditions and
weather patterns can bring maintenance receptors into nonattainment even without elevated
emissions.”) In both our proposal and accompanying Evaluation of TCEQ Modeling TSD, we explained
that TCEQ did not adequately demonstrate that the 2014 DV used was necessarily conducive to ozone
formation. Additionally, we showed how the 2014 Design Value used by TCEQ included years where the
meteorology was not particularly conducive to ozone formation as compared to other years in the 5-
year base period. Thus, TCEQ’s approach to identifying maintenance receptors fails to appropriately
account for variable conditions that could cause an area to struggle to maintain the NAAQS in ozone
conducive years.

The EPA also disagrees that its approach relies on design values that were historically extreme. Rather,
the EPA’s approach to identifying a “maintenance” receptor for purposes of defining interference with
maintenance, is consistent with the method used in the CSAPR and upheld by the D.C. Circuit in EME
Homer City Generation, L.P. v. EPA, 795 F.3d 118, 136 (D.C. Cir. 2015) (“With the Transport Rule, EPA
created a distinct category of maintenance receptors that could independently trigger an upwind state’s
good neighbor obligations. Therefore, the Transport Rule complied with North Carolina’s requirement
that EPA give the nonattainment and maintenance prongs ‘independent significance.’”) Specifically, the
EPA identified maintenance receptors as those receptors that would have difficulty maintaining the

63
 See EPA’s “Modeling Guidance for Demonstrating Air Quality Goals for Ozone, PM2.5, and Regional Haze” from
November 2018, page 174.
                                                                                                         227
        Case: 23-60069           Document: 110         Page: 626        Date Filed: 03/27/2023




relevant NAAQS in a scenario that takes into account historical variability in air quality at that receptor.
The variability in air quality was determined by evaluating the ‘‘maximum’’ future DV at each receptor
based on a projection of the maximum measured DV over the relevant period. The EPA interprets the
projected maximum future DV to be a potential future air quality outcome consistent with the
meteorology that yielded maximum measured concentrations in the ambient data set analyzed for that
receptor (i.e., ozone conducive meteorology). The EPA also recognizes that previously experienced
meteorological conditions (e.g., dominant wind direction, temperatures, air mass patterns) promoting
ozone formation that led to maximum concentrations in the measured data may reoccur in the future.
Thus, the EPA finds that the maximum DV gives a reasonable projection of future air quality at the
receptor under a scenario in which such conditions do, in fact, reoccur.

In addition, in response to this comment and others, the EPA compared the projected 2023 maximum
design values based on the 2016v3 modeling for this final action to the corresponding 2021 and
preliminary 2022 design values based on measured data at individual monitoring sites nationwide. The
table below provides the projected 2023 maximum design values at modeling-based receptor sites
nationwide along with the difference between these maximum design value and the measured design
values in 2021 and 2022 (preliminary). The data in the table indicate that of the 33 receptors projected
maximum 2023 design values are more than 1 ppb lower than the corresponding 2021 (2022)
preliminary design values at 24 (22) receptors. In addition, EPA has identified 49 monitoring sites that
are projected to be in attainment based on model-projected 2023 average and maximum design value
but are measuring nonattainment based on 2021 and preliminary 2022 data. As described in the
preamble of this final action, the EPA has identified these sites as “violating-monitor” maintenance-only
receptors in 2023. Thus, current measured data indicate that EPA’s method for identifying modeling-
based maintenance-only receptors based on projected base period measured maximum design values
does not “inflate” design values that are expected in 2023. Rather, the data suggest that the EPA’s
approach may actually understate the magnitude and geographic extent of the ozone nonattainment
and/or maintenance problem in 2023.

The EPA has placed in the docket of this final action a data file that contains the model-projected
average and maximum design values for 2023 and the 2021 and preliminary 2022 data for monitoring
sites nationwide.

Other topics in these comments are addressed in Section 10.3 (Cooperative Federalism and the EPA’s
Authority).




                                                                                                         228
         Case: 23-60069             Document: 110            Page: 627         Date Filed: 03/27/2023



Table 6-3 Comparison of Projected 2023 Maximum Design Values and Measured Design Values in 2021 and 2022 (Preliminary)


                                                                                                 2023 Max DV –
                                                           2023 Max        2023 Max DV              2022 DV
     AQS ID               State            County             DV            – 2021 DV             (Preliminary)
      40278011       Arizona           Yuma                  72.1                5.1                    4.1
      60650016       California        Riverside             73.1               -4.9                   -3.9
      60651016       California        Riverside             92.2               -2.8                    2.2
      80350004       Colorado          Douglas               71.9              -11.1                  -11.1
      80590006       Colorado          Jefferson             73.5               -7.5                   -9.5
      80590011       Colorado          Jefferson             74.1               -8.9                   -9.9
      80690011       Colorado          Larimer               72.1               -4.9                   -4.9
      90010017       Connecticut       Fairfield             72.2               -6.8                   -4.8
      90013007       Connecticut       Fairfield             73.8               -7.2                   -7.2
      90019003       Connecticut       Fairfield             73.6               -6.4                   -6.4
      90099002       Connecticut       New Haven             72.6               -9.4                   -6.4
     170310001       Illinois          Cook                  71.9                0.9                   -0.1
     170314201       Illinois          Cook                  71.5               -2.5                   -2.5
     170317002       Illinois          Cook                  71.3               -1.7                   -2.7
     350130021       New Mexico        Dona Ana              72.1               -7.9                   -8.9
     350130022       New Mexico        Dona Ana              72.4               -2.6                   -2.6
     350151005       New Mexico        Eddy                  74.1               -2.9                   -2.9
     350250008       New Mexico        Lea                   72.2                6.2                    6.2
     480391004       Texas             Brazoria              72.5               -2.5                   -0.5
     481210034       Texas             Denton                71.6               -2.4                   -4.4
     481410037       Texas             El Paso               71.4               -3.6             Missing 2022 DV
     481671034       Texas             Galveston             72.8                0.8                    2.8
     482010024       Texas             Harris                76.7                2.7                    7.7
     482010055       Texas             Harris                71.9               -5.1                   -5.1
     482011034       Texas             Harris                71.3                0.3                   -0.7
     482011035       Texas             Harris                71.3                0.3                   -0.7
     490110004       Utah              Davis                 74.2               -3.8                   -4.8
     490353006       Utah              Salt Lake             74.2               -1.8                   -1.8
     490353013       Utah              Salt Lake             73.8               -2.2                   -3.2
     530330023       Washington        King                  71.0                7.0                    1.0
     550590019       Wisconsin         Kenosha               71.7               -2.3                   -3.3
     551010020       Wisconsin         Racine                71.5               -1.5                   -3.5
     551170006       Wisconsin         Sheboygan             73.6                1.6                   -1.4




                                                                                                                   229
        Case: 23-60069          Document: 110          Page: 628        Date Filed: 03/27/2023




Comment


Commenter: Midwest Ozone Group

Commenter ID: 30

Docket ID: EPA-R05-OAR-2022-0006

Comment:

MOG specifically objects to EPA’s approach to implementation of the flexibility guidance issued by EPA
in 2018 for the specific application by states to the development of 2015 ozone NAAQS Good Neighbor
SIPs. With respect to Ohio, we note that Ohio EPA (“OEPA”) specifically provided significant technical
support justifying an alternative approach for determining maintenance-only receptors. To support its
justification, OEPA provided an alternate method of future design value projection using the most
recent 3-year design values (DV) from the analytic years rather than the highest 3-year DVs from the 5-
year period. This was further supported with declining VOC and NOx emission trends and observed air
quality improvement at each of the impacted monitors. OEPA also supported its calculations with
information on inter-annual meteorological variability and the divergence from long-term temperature
trends in the years 2011, 2012, and 2013 (the early years of the 5-year period). With these data and
their supporting calculations, OEPA was able to demonstrate that the monitoring sites identified as
maintenance are not reasonably expected to have difficulty maintaining the standards in 2023. EPA’s
rejection of that demonstration is clearly in error.



Response
The EPA disagrees that the use of only the latest three 3-year period (of a 5-year baseline period) for
calculating a DV properly accounts for the effects of meteorological variability for the purpose of
identifying projected maintenance receptors. Rather, the use of a 3-year average has the effect of
discounting or even ignoring, not accounting for, the effects of inter-annual variability in ozone
conducive meteorology. TCEQ’S alternative methodology for determining maintenance receptors used
the most recent design value of the three DVs, regardless of whether the most recent design value was
highest or lowest. The “Modeling Guidance for Demonstrating Air Quality Goals for Ozone, PM2.5, and
Regional Haze” from November, 2018 notes that 1 or more years of meteorological conditions which are
not conducive to ozone formation in either the base year period or the most recent design value period
will have the effect of making it appear that an area is closer to attaining the NAAQS than would
otherwise be the case if more typical meteorological conditions had occurred. An area may appear to be
on track to attain the NAAQS (or close to attaining) but, in reality, may need substantial additional
emissions reductions to attain under average or above average meteorological conditions.64

With respect to the commenter’s assertions that Ohio EPA “provided significant technical support
justifying an alternative approach, the EPA disagrees. As stated in the proposed rulemaking, Ohio EPA’s


64
 See EPA’s “Modeling Guidance for Demonstrating Air Quality Goals for Ozone, PM2.5, and Regional Haze” from
November, 2018, page 174.
                                                                                                         230
        Case: 23-60069           Document: 110          Page: 629        Date Filed: 03/27/2023




proffered explanation for using the most recent design value to identify maintenance receptors was that
the latest design value “takes into consideration . . . any emissions reductions that might have
occurred.”87 FR at 9870 (citing TCEQ submission at 3–39 to 3–40.) Ohio EPA in its submission did not
explain why or how this methodology identifies those areas that may be meeting the NAAQS or that
may be projected to meet the NAAQS but may nevertheless struggle to maintain the NAAQS, given
interannual variability in ozone conducive meteorology. In fact, because the TCEQ’s methodology
adopted by Ohio EPA uses the most recent design value to capture more recent emissions reductions
rather than capture variable conditions, the methodology appears to be aimed at limiting receptors
which could be identified as maintenance receptors, compared to EPA’s methodology, which was
designed to identify those areas that might struggle to maintain the NAAQS in ozone conducive
conditions.

Ohio EPA provided the following ozone DV trend data for the four eliminated monitors spanning 2000-
2017. 65 While the submission uses these data to show overall decreasing trends, EPA highlights that the
figure provided shows stagnant or increasing ozone DVs from 2014 onward. For three out of the four
maintenance receptors Ohio EPA identified via the TCEQ method, the 2013 DV was the lowest of the
three DVs in the 5-year base period. While Ohio EPA attributes this to emission reduction measures, the
EPA considers this to highlight the selectiveness of the TCEQ method and the aforementioned lack of
accounting for meteorological variability. The figure demonstrates variability in ozone DV trends that
would have been incorporated using the highest of the three DVs in the 5-year base period. Further, the
meteorological plots provided in OEPA’s submission show maximum temperatures from 2011 through
2013. In two of the three years used for the 2013 design value calculation, maximum temperatures were
not above average in Ohio. In those years, (2011 and 2013), there are areas in Ohio that experienced
less than average temperatures. The EPA does not believe these plots demonstrate that this design
value period fully accounts for meteorological variability, and it would be more appropriate to use the
EPA method of the maximum of the three design value periods. Ohio EPA’s analysis of meteorological
information did not discuss or consider how other meteorological factors that are typically associated
with high ozone episodes such as humidity, solar radiation, vertical mixing, and/or other meteorological
indicators such as cooling-degree days to confirm whether conditions affecting these monitors may have
been conducive to ozone formation during the 2009 through 2013 base period. In addition, the ozone
trends data provided in the Ohio EPA submittal indicate that several of the receptors in Coastal
Connecticut to which Ohio is linked by more than 1 ppb continue to measure ozone design values close
to or exceeding 80 ppb with no overall downward trend in the most recent data in the submittal.66




65
   “Figure 4. Ozone Design Value Trends- Maintenance Monitors Eliminated with Texas Approach”; “Ohio’s
Interstate Pollution Transport Analysis 2015 Ozone Standard”, September 2018 included as Appendix 3 of Ohio
2015 Ozone Infrastructure SIP (Document ID EPA-R05-OAR-2022-006-006).
66
   See “2010 Thru 2021 Ozone Design Values.xlsx” in docket ID No. EPA-HQ-OAR-2021-0663.
                                                                                                              231
        Case: 23-60069          Document: 110            Page: 630          Date Filed: 03/27/2023




                           Figure 6-1 Ozone Trends Figure from Ohio EPA SIP Submission




In any event, Ohio EPA’s use of an alternative approach to identifying maintenance receptors does not
result in a dispositive change in receptor status for purposes of EPA’s evaluation of Ohio EPA’s SIP
submission at Step 1 because Ohio EPA did not reach the conclusion that there were no receptors in
2023 or claim at Step 2 that Ohio was not linked to any receptor on the basis of the use of an alternative
definition of maintenance receptor.



6.4 October 2018 Memorandum

Comments


Commenter: Midwest Ozone Group

Commenter ID: 30

Docket ID: EPA-R05-OAR-2022-0006

Comment:

MOG specifically objects to EPA’s approach to implementation of the flexibility guidance issued by EPA
in 2018 for the specific application by states to the development of 2015 ozone NAAQS Good Neighbor
SIPs. With respect to Ohio, we note that Ohio EPA (“OEPA”) specifically provided significant technical
support justifying an alternative approach for determining maintenance-only receptors. To support its
justification, OEPA provided an alternate method of future design value projection using the most

                                                                                                      232
        Case: 23-60069          Document: 110          Page: 631       Date Filed: 03/27/2023




recent 3-year design values (DV) from the analytic years rather than the highest 3-year DVs from the 5-
year period. This was further supported with declining VOC and NOx emission trends and observed air
quality improvement at each of the impacted monitors. OEPA also supported its calculations with
information on interannual meteorological variability and the divergence from long-term temperature
trends in the years 2011, 2012, and 2013 (the early years of the 5-year period). With these data and
their supporting calculations, OEPA was able to demonstrate that the monitoring sites identified as
maintenance are not reasonably expected to have difficulty maintaining the standards in 2023. EPA’s
rejection of that demonstration is clearly in error.



Commenter: Mississippi Department of Environmental Quality

Commenter ID: 32

Docket ID: EPA-R04-OAR-2021-0841

Comment:

Also, in EPA’s proposed decision to disapprove Mississippi's iSIP, EPA suggests that MDEQ failed to use
the most recent (i.e., 2018) available data. However, EPA fails to recognize that certified 2018 Texas
monitor data had not been released at the time MDEQ began the public comment period for the
proposed iSIP; therefore, MDEQ did in fact use the most recent certified Texas monitor data when
drafting the “good neighbor” portion of the Mississippi iSIP. While it is our position that to disapprove
Mississippi’s iSIP on this basis is, at best, arbitrary and capricious, at the very least the proposed FIP
should not be imposed until MDEQ is given a reasonable opportunity to address the alleged deficiencies
in the iSIP and to resolve the modeling errors referenced herein.



Response
We respond to general comments about the October 2018 memorandum in Section V.B.3 of the
preamble.

In response to one commenter’s (MDEQ) contention that they did rely on the most recent monitoring
data available at the time of its submission to support its use of an alternative maintenance receptor
definition, and that EPA’s evaluation of their submittal was therefore erroneous, the EPA disagrees. The
Specifically, the commenter is referring to the available ozone design value for the Harris County, Texas
Deer Park monitoring site (ID 482011039) in Houston and EPA’s statement that the SIP submission did
not meet the criteria set out in the October 2018 memorandum including an assessment of the available
ozone design values at the monitor at the time. The state relied on the 2014 to 2017 design values at
the Deer Park receptor (i.e., 69 ppb, 67 ppb, and 68 ppb, respectively) as the basis for stating that this
receptor met EPA’s definition of a maintenance receptor.

The EPA disagrees with the commenter that the 2018 design value for the Deer Park monitor was not
available at the time Mississippi gave public notice of their transport SIP submission. In fact, the EPA’s
official comments on the draft SIP submission during the state’s public comment period indicates that
the 2015-2017 3-year design value of 68 ppb was not the most current available data for the Deer Park
                                                                                                        233
        Case: 23-60069         Document: 110          Page: 632       Date Filed: 03/27/2023




monitor but rather 2016-2018 design value of 71 ppb for the site was above the 2015 standard,
suggesting that the 2018 data for the monitor was in fact available at the time the state public noticed
the submission in August of 2019. In addition, the 2018 data would have been certified by the time the
state made its submission.

The EPA responds to APC et al.’s comment related to the October 2018 memorandum in Section 6.2.
The EPA responds to comments on timing in the preamble in Section V.A.



6.5 Certain Monitoring Sites in California at Step 1

Comments


Commenter: Alabama Department of Environmental Management

Commenter ID: 02

Docket ID: EPA-R04-OAR-2021-0841

Comment:

EPA also argues that the threshold should not be permitted at 1 ppb to retain national consistency
within the program. However, EPA’s own action in its approval of the Oregon SIP negates this argument.
A review of the EPA modeling data indicates that Oregon had contribution to 14 monitors in California
that are predicted to exceed the standard in 2023, some with contributions greater than 1 ppb. Yet, EPA
approved the Oregon SIP stating that Oregon did not significantly contribute to nonattainment or
maintenance sites. National consistency was obviously not an obstacle to approval in this case.



Commenter: Alabama Power Company, Southern Power Company, and PowerSouth Energy Cooperative

Commenter ID: 04

Docket ID: EPA-R04-OAR-2021-0841

Comment:

Even if EPA were able to show that a 1 ppb threshold is unreasonable and unjustified, EPA could find
that the Denton and Harris County monitoring sites are not properly regarded as receptors under Step 1
of its “FIP” analysis. EPA did just that for Oregon—allowing an exception to the 1 percent threshold for
Oregon’s transport SIP for the 2015 ozone NAAQS. As explained in EPA’s recently published proposed
FIP, EPA found that, although Oregon was linked above the 1 percent threshold “to several monitoring
sites in California,” it determined that these monitoring sites “should not be treated as receptors for
purposes of determining interstate transport obligations of upwind states” because Oregon’s total
cumulative contribution to any of the sites was only 2.8 percent, each site only had one upwind state
contribution above the 1 percent of the NAAQS, and the monitoring sites were “overwhelmingly
                                                                                                      234
        Case: 23-60069          Document: 110         Page: 633       Date Filed: 03/27/2023




impacted by in-state emission.” EPA also explained that a similar finding had been made for Arizona’s
2008 ozone NAAQS transport SIP for other monitoring sites in California, where Arizona’s contribution
ranged from 2.5 to 4.4 percent. EPA, therefore concluded that these monitoring sites should not be
considered receptors under Step 1 of the 4-step framework and that Oregon did not contribute
significantly to nonattainment or interfere with maintenance of the NAAQS in any downwind state.
Similarly, as set out above, Alabama’s modelled contributions to the Denton and Harris sites are low—6
and 7 percent, respectively—and in-state emissions vastly outweigh upwind contributions. Thus,
Alabama’s contributions to these sites are not significant. EPA should address this analysis prior to any
final action on Alabama’s 2022 SIP.



Commenter: Air Pollution Control Program, Missouri Department of Natural Resources

Commenter ID: 01

Docket ID: EPA-R07-OAR-2021-0851

Comment:

For the Brazoria, TX monitor, EPA’s updated modeling shows that Missouri is no longer linked to this
monitor because Missouri’s contribution is 0.55 ppb, which is below 1 percent of the 2015 ozone
standard. In our SIP submission, the Air Program utilized the flexibility in EPA’s August memo, to avoid
linkage with this receptor because Missouri’s projected contribution was below 1 ppb. In the previous
modeling, Missouri’s contribution to this receptor was 0.88 ppb. Our SIP submission demonstrated that
this monitor was not significantly impacted by upwind state contributions, and instead the receptor
status was largely the result of contribution from local sources and international (Mexico) emissions.
This is substantially similar to EPA’s own determination in their latest actions associated with the
proposed disapproval and the proposed FIP with respect to linkages between Oregon and California,
where Oregon is absolved of their linkages to California for this very reason. However, EPA treats
Missouri differently by denying this same basis for the determination that a 1 ppb threshold was
appropriate as stated in our SIP submission.

For the Harris, TX monitor, EPA’s updated modeling shows this receptor as no longer being a
maintenance receptor. The maximum 2023 projected design value for that monitor in the updated
modeling is 68.5 ppb. In Missouri’s good neighbor SIP submission, this was a nonattainment receptor
with a maximum 2023 design value of 73.5 ppb. Missouri’s contribution to this monitor was 0.88 ppb,
thus qualifying it for the use of the flexibility offered in EPA’s August memo. Similarly to the Brazoria
monitor, Missouri’s SIP submission explained that this monitor was not significantly impacted by upwind
state contributions, and instead the receptor status was largely the result of contribution from local
sources and international (Mexico) emissions. While EPA uses this same basis for approving Oregon’s SIP
using the updated modeling when it comes to 15 separate linkages in California that are at or above the
1 percent threshold and two receptors with contributions above 1 ppb, EPA denies this basis as included
in Missouri’s SIP submission for justifying the removal of the Harris, TX monitor linkage with Missouri at
Step 2.


                                                                                                      235
        Case: 23-60069          Document: 110         Page: 634       Date Filed: 03/27/2023




Commenter: Tennessee Department of Environment and Conservation

Commenter ID: 41

Docket ID: EPA-R04-OAR-2021-0841

Comment:

EPA’s proposed action is inconsistent with EPA’s prior finding for Oregon, in which it deviated from the
1% NAAQS threshold in determining that Oregon was not linked to downwind states. Approval of
Oregon’s SIP, while denying Tennessee’s SIP, belies EPA’s assertion that the Agency is applying a
nationally uniform approach to nonattainment and maintenance receptors and a nationally uniform
approach to contribution threshold analysis.



Response
The EPA approved Oregon’s good neighbor SIP submission for the 2015 NAAQS on May 17, 2019 (84 FR
22376). In a separate rulemaking action from this one (87 FR 20036, April 6, 2022), the EPA explained
why the Agency was not pursuing an error correction of that approval on the basis of the EPA’s
proposed assessment of relevant monitoring sites in California at Step 1. The EPA’s proposed treatment
of Oregon and assessment of certain monitors in California in that separate rulemaking action is beyond
the scope of this action. Nonetheless, we respond to these comments here to the extent that the
proposed FIP analysis raises, according to these commenters, a consistency issue with our treatment of
states that are included in this disapproval action.

The EPA proposed in the April 2022 transport FIP that certain monitoring sites in California should not
be considered receptors at Step 1 for the purpose of assessing 2015 ozone NAAQS interstate transport
obligations. 87 FR 20036, 20075. The EPA did not propose a different contribution threshold at Step 2
for Oregon or for western states generally, nor did the EPA propose this conclusion based on any
evaluation at Step 3 of emissions reduction opportunities in Oregon.

In the FIP proposal, we pointed out that California receptors are heavily impacted by in-state emissions.
The basis for our proposed determinations with respect to these sites is not the level of in-state
contribution but rather the fact that the contribution from upwind states is so low. The elevated ozone
levels at these sites may be attributable to biogenic emissions, international emissions, or boundary-
conditions, in addition to in-state anthropogenic emissions. Our proposal was not intended to suggest
that a certain level of in-state anthropogenic emissions influenced our treatment of these sites under
the good neighbor provision. Rather, the critical point was that the total level of impact from upwind
states at these California sites is so low. The 4-step interstate transport framework that the Agency has
applied to address interstate ozone transport is informed by the “collective contribution” problem
observed throughout many areas of the country (i.e., the fact that total ozone levels are the result of
many small contributors over a wide geographic area). That approach generally continues to make good
sense throughout most of the country based on our air quality and contribution analysis to-date and in
this final action. A limited circumstance, which we previously observed with respect to certain California

                                                                                                      236
        Case: 23-60069          Document: 110          Page: 635        Date Filed: 03/27/2023




sites in acting on Arizona’s 2008 ozone NAAQS good neighbor SIP submission, presents the exception.
Where total contribution from upwind states is as low as 1.4 percent and only one state contributes
above 1% of the NAAQS, that monitoring site does not, in the EPA’s view, suffer from an interstate
contribution problem. See the EPA’s response to comments in Section 8.2 (Alleged De Minimis
Contribution) for further discussion of the topic of collective contribution.

Although commenters claim that this same consideration could be applied at other receptors across the
country to reach the same conclusion (i.e., eliminate other receptors outside California at Step 1),
nowhere else do we project such a low total upwind contribution and with only a single upwind state
contributing at or above one percent of the NAAQS.

The EPA did not view it to be necessary to establish a bright-line threshold in proposing this
determination and disagrees with commenters who assert such a threshold is needed now. As we noted
in the FIP proposal, the level of total upwind-state impact at the California monitoring sites at issue for
Oregon (2.8 percent) is less than the amount for which we issued a similar determination in approving
Arizona’s good neighbor SIP submission for the 2008 ozone NAAQS (4.4 percent). 81 FR 15200 (March
22, 2016) (proposal); 81 FR 31513 (May 19, 2016) (final rule). Thus, the proposed analysis, if finalized, is
consistent with that precedent. If the proposed finding for Oregon is finalized, there would still be no
other state covered by this disapproval action with linkages to receptors that fall within the analytical
circumstances of the analysis for either Oregon or Arizona.

Nor does it matter that there are several monitoring sites in California for which this circumstance
exists. The same observation can be made for each one of these sites: the level of total upwind-state
contribution is small enough that they should not be considered interstate-transport receptors.




                                                                                                        237
        Case: 23-60069          Document: 110         Page: 636        Date Filed: 03/27/2023




7 Step 2
7.1 Methodology for Determining Future Year Contributions

Comments


Commenter: Air Pollution Control Program, Missouri Department of Natural Resources

Commenter ID: 01

Docket ID: EPA-R07-OAR-2021-0851

Comment:

EPA’s updated modeling shows that Missouri’s contribution to linked receptors is below 1 percent of the
standard on all days where the modeled MDA8 is below the level of the 2015 ozone standard.

In EPA’s methodology for determining contributions at Step 2, it uses the average contributions from
the upwind states for the top ten modeled days that are above 60 ppb for the MDA8. If there are fewer
than 10 modeled days with MDA8 above 60 ppb for the receptor, then EPA uses the average of those
days for however many values are available if there are at least five days with modeled MDA8 values
above 60 ppb. This approach is consistent with EPA’s traditional approach to the good neighbor SIP
obligation to establish linkages at Step 2. However, the approach has serious flaws. Under this approach,
emissions from upwind states can still be considered significant contribution even if the modeled MDA8
on a particular day is actually below the level of the 2015 ozone standard, which is what the good
neighbor provision is intended to address. If a state is contributing above one percent of the level of the
standard to a problem monitor on days when that same problem monitor is not having any ozone
concentration concern with respect to the standard, those values should not count against the upwind
state when determining whether the upwind state is linked at Step 2.

For example, even if an upwind state were contributing to ozone concentrations at a monitor at levels of
20 percent of the standard on a particular day, the good neighbor provision would not apply if the
monitor didn’t measure an exceedance of the standard that day. So, the good neighbor provision does
not restrict contribution from upwind states at downwind monitors on days when ozone concentrations
at the downwind monitor are below the health-based standard established by EPA (i.e., the NAAQS).
The use of contribution data on days where the monitor is complying with the standard is therefore
arbitrary and capricious action on the part of EPA that results in the addition of states that are not
contributing significantly to nonattainment or interfering with maintenance.

EPA provided the Air Program with the list of the MDA8 values for all modeled days for the receptors to
which Missouri is linked to in the updated modeling. The list also includes the corresponding upwind
state contribution on each of the modeled days. In that dataset, there is not a single day where the
modeled MDA8 value at any of the receptors linked to Missouri is both above 70 ppb and Missouri’s
contribution is above 1 percent of the standard (0.7 ppb). As explained in the paragraphs above, upwind
state contributions on days where the model is predicting the receptor to be in compliance with the

                                                                                                       238
        Case: 23-60069          Document: 110         Page: 637        Date Filed: 03/27/2023




standard cannot be used to justify a linkage with Missouri at Step 2. This is another reason why EPA’s
proposed disapproval of Missouri’s SIP is flawed and cannot stand.



Commenter: Ameren Missouri

Commenter ID: 05

Docket ID: EPA-R07-OAR-2021-0851

Comment:

1. USEPA’s most recent CAMX modeling platform 2016v2 referenced in USEPA’s proposed disapproval of
the Missouri Good Neighbor SIP for the 2015 Ozone Standard shows that the monitors to which USEPA
linked to Missouri in the previous model platform (2016v1) are not actually linked to Missouri, providing
independent verification that Missouri emissions are not significantly contributing to nonattainment or
maintenance at those monitors and further evaluation is moot.

[…]

7. To the extent that USEPA includes Missouri emission source contributions on days when the relevant
monitors were observed to be in attainment of the standard or are modeled to be in attainment of the
standard, USEPA is improperly determining Missouri’s “significant contribution” in Step 2 of its analysis.

[…] By including days that monitors are in attainment in the modeling analysis of a state's contribution
to ozone levels, USEP A is determining the average contribution to ozone concentrations at the relevant
monitor to the top ten modeled ozone concentrations in a year. But by including days monitors attain
the standard, USEPA's analysis is not showing the average contribution by a state to ozone
nonattainment at the monitor under Step 2 of its analysis as is required by the language in the Act. USEP
A must properly calculate on a state's anthropogenic contribution to days where a monitor is both
observed in the base year to exceed the standard (71 ppb or above) and is modeled in the future year to
exceed the standard (71 ppb or above) in order to link a state's emissions to nonattainment.

Because only the contribution to nonattainment is required to be prohibited by Good Neighbor SIPs
(GNS), EPA errs by including a contribution by a state that is not prohibited when determining state level
contributions. It is not reasonable for USEPA to assume that contributions from nonadjacent states on
days when the monitors show attainment of the standard can be compared to USEPA Step 2 thresholds
for linking states to a monitor and thereby determining if a state's emission sources significantly
contribute to nonattainment. It is not reasonable to assume that the conditions that transport NOx
and/or ozone from Missouri up to Lake Michigan on days when a monitor on the Lake Michigan shore
and/or the model shows the monitor is in attainment of the standard contribute to nonattainment at all
without some showing in the record. It is likely that on days when ozone (in amounts above 0.70 ppb) is
transported into the Chicago NAA from states like Missouri and impact the Lake Michigan shoreline
monitors at issue are not the same days when stagnated air persists around the monitors and which are
conducive to ozone formation and high ozone levels.



                                                                                                       239
        Case: 23-60069            Document: 110           Page: 638        Date Filed: 03/27/2023




Response
The EPA disagrees with comments that say the average contribution metric that the EPA uses to
evaluate upwind state contributions in Step 2 of the four-step transport framework should only be
calculated based on days with measured exceedances or days with model-predicted exceedances in
2023. Commenters object to the EPA’s methodology for calculating contribution at Step 2 because the
top ten high ozone days, utilized for calculating the relative contribution factor (RCF), may include days
with measured and/or future year modeled values below the NAAQS. This concern fundamentally
misunderstands the intended use of modeling for projecting future year design values and contributions
between Steps 1 and 2. For the purpose of projecting future design values, the EPA’s modeling guidance
recommends using data for the top-ten modeled ozone concentrations days using a minimum threshold
of 60 ppb when calculating relative response factors (RRF). That is, any days with model-predicted
MDA8 ozone concentrations below 60 ppb in the base year (e.g., 2016) are not included in the
calculation of the projected design value.67 The RRF plays an important role in projecting future year
design values at Step 1. Rather than taking the projected 2023 results themselves as definitive of future
air quality conditions, the RRF methodology applies the change in modeled air quality between the base
and future year and then applies that to the historical monitored ozone levels at each receptor, thus
grounding modeled change to real-world data.

In the contribution analysis at Step 2, we use the modeled concentrations and modeled contributions
for the future year to derive a relative contribution factor (RCF) working from the modeled 2023 future
year (not the 2016-based monitoring data). The RCF is calculated as the ratio of the 2023 average
contribution to the 2023 average ozone concentration, where the averages are based on the top 10
ozone concentration days in 2023. It is important to note that the top 10 concentration days in 2023
may not be the same as the top 10 concentration days in 2016 monitoring data or 2016 base year
modeling. Because the average contribution metric is intended to reflect upwind state impacts in 2023,
it would be illogical to base that average value in 2023 on measured data or model predictions for the
2016 base year, 7 years earlier. The RCF is then applied to the projected 2023 average design value
(taken from Step 1 following the use of RRF, not just the 2023 CAMx projection) in a manner similar, in
concept, to the method for projecting design values.

Step 2 analysis starts from the premise that downwind receptors have already been properly identified
using the methodology at Step 1. At Step 2, the question is who is contributing to those receptors, for
which EPA’s methodology provides a reliable answer using modeling and the RCF approach. As noted
above, the approach for selecting days to calculate the contribution metric is designed to align with
recommendations in the EPA’s modeling guidance for projecting future year design values. Following the
selection of days, the approach for calculating the average contribution metric then determines what
proportion of the ozone formed on those days, on average, was attributable to emissions from each
upwind state or other source.

Regarding the comment that that the EPA should use data on days with measured exceedances in 2016
when calculating the contribution metric, since the purpose of this metric is to evaluate contributions
for a future year, for which actual measured concentrations cannot be known prior to their occurrence,

67
  In addition, for monitoring sites where there are fewer than 5 days with model-predicted ozone greater than or
equal to 60 ppb, EPA’s guidance recommends not calculating a projected design value for those monitoring sites.
                                                                                                             240
         Case: 23-60069              Document: 110              Page: 639          Date Filed: 03/27/2023




it would be inappropriate to base future year contributions on days which may have relatively low
model-predicted ozone even if those days happen to have measured values in 2016 that exceeded the
NAAQS. The EPA addressed and rejected a substantially similar comment in the Revised CSAPR Update.
See 86 FR 23054, 23085 (April 30, 2021).

The EPA incorporated public comments received on the proposals to update its emissions inventories
and model design, as described in the preamble and in the Final Action AQM TSD. In the 2023 modeling
using the v3 platform Missouri is linked above a 1 percent of the NAAQS contribution threshold to four
downwind receptors (i.e., Chicago/Evanston, Kenosha/Chiwaukee, Racine, and Sheboygan). The average
contribution metric values that link Missouri to these states are 1.39 ppb, 1.01 ppb, 1.19 ppb, and 1.87
ppb, respectively.

Out of an abundance of caution, the EPA performed a sensitivity analysis to examine the contribution
from Missouri to these 4 receptors if the contributions were based only on those days with measured
exceedances in 2016 at each receptor. The table below provides average contribution metric values for
Missouri’s contributions to each of these receptors if this metric was based solely on daily modeled
contributions on days with measured exceedances at each receptor. While we do not agree that this is a
superior or even appropriate method of calculating contribution, the results of this sensitivity analysis
indicate that even if the average contributions were based only on days with measured ozone that
exceeds the NAAQS, Missouri would still be linked to all four of these receptors using the 1 percent of
the NAAQS threshold (or even a 1 ppb threshold).
Table 7-1 Sensitivity Analysis of Missouri Contributions Based on Contributions on Days with Measured Exceedances

                                                       Number of Days
                                                       with Measured               Average
                                                       Exceedances in            Contribution
                                                            2016                 Metric (ppb)
                         Evanston                             7                     0.72
                         Kenosha/Chiwaukee                   14                     1.62
                         Racine                               8                     1.18
                         Sheboygan                            4                     1.59


The EPA performed a similar sensitivity analysis in response to commenter’s concerns regarding the use
of model-predicted days below the NAAQS in 2023 when calculating the average contribution metric. In
this sensitivity analysis the EPA first identified all days with predicted MDA8 ozone concentrations
greater than or equal to 71 ppb in 2023 at each of the four receptors to which Missouri is linked based
on the EPA’s 2016v3 modeling. The table below provides the average contribution metric values for
Missouri’s contribution to each receptor based on this analysis. Also provided in the table are the
number of exceedance days in 2023 and the range in 2023 MDA8 ozone concentrations on days
included in the calculations. Because there are fewer than 5 days with predicted exceedances at the
Racine and Sheboygan receptors, data for additional days (2 for Racine and 3 for Sheboygan) were
included in the calculations for these two receptors. While we do not agree that this is a superior or
even appropriate method of calculating contribution, the results of this sensitivity analysis shows that
Missouri would still be linked in 2023 to each of these four receptors even if the contribution metric was
                                                                                                       241
         Case: 23-60069              Document: 110              Page: 640          Date Filed: 03/27/2023




based on projected exceedance days alone (Evanston and Kenosha/Chiwaukee) or on exceedance days
combined with other days above 60 ppb (Racine and Sheboygan)

                                                         Table 7-2
Table 7-2 Sensitivity Analysis of Missouri Contributions Based on Contributions on Days with Modeled Exceedances

                                                                       Range of
                                            Number of Days         Concentrations in
                                             with Modeled            2023 in this              Average
                                            Exceedances in            Sensitivity            Contribution
                                                 2023                  Analysis              Metric (ppb)
               Evanston                            9                  71.6 - 83.8               1.06
               Kenosha/Chiwaukee                   6                  71.0 - 84.1               0.98
               Racine                              3                  69.1 - 75.8               1.10
               Sheboygan                           2                  67.9 - 75.2               1.10




Comment
Commenter: Texas Commission on Environmental Quality

Commenter ID: 42

Docket ID: EPA-R06-OAR-2021-0801

Comment:

TCEQ’s methodology for determining future contributions is consistent with EPA modeling guidance.

The EPA Modeling Guidance provides details on the model values and the grid cells to use when
estimating the future year design value as part of the modeled attainment test. The TCEQ’s
methodology to determine a state’s contribution to the future aligns with the method used to estimate
future year design values. The TCEQ’s methodology is internally consistent as the grid cell and top ten
days used in the design value calculation are the same as those used to estimate the source (state)
contribution. The TCEQ’s methodology follows the EPA modeling guidance while the EPA’s methodology
does not. The TCEQ has repeatedly raised concerns about the EPA’s method to determine future year
contributions since the EPA approach does not align with the calculation of the future year
nonattainment and maintenance design values with respect to the model grid cell and top ten days
used.

The EPA should only use contributions from days in the calculation of the relative response factor when
calculating an upwind state’s contributions to future design values. Using one set of days to calculate
the future year design value that is the basis for a monitor’s future attainment status
(attainment/maintenance/nonattainment) and a different set to determine the states’ contribution to
that design value is inconsistent and arbitrary.



                                                                                                                   242
        Case: 23-60069          Document: 110          Page: 641       Date Filed: 03/27/2023




Further, the EPA uses concentrations from the grid cell containing the monitor to determine state
contributions while using concentrations at the grid cell with the maximum modeled concentration in a
“3x3” array centered on the monitor when calculating design values. The EPA’s approach could result in
the use of modeled concentrations from different grid cell locations potentially disconnecting the future
year contributions from the future year design values.

The TCEQ’s approach uses modeled concentrations from the grid cell on the days that were used in the
design value calculation to determine future year contributions. The TCEQ’s method is consistent, and
the EPA failed to provide a rational justification for its concerns with regards to the TCEQ’s approach.



Response
As explained in the previous response, the EPA’s method for calculating contribution is designed to align
with recommendations in the EPA’s modeling guidance for projecting future year design values and
allows for the effective identification of linked upwind states at Step 2.

The EPA believes that its approach for calculating the future year average contribution metric, as
described in the preamble and the Final Action AQM TSD for this final action, provides a more
technically reliable estimate of contributions than the method suggested by the commenter. In
calculating the average contribution metric, the EPA uses modeled contributions on the 10 days in the
future year with the highest model-predicted concentrations. In part because the formation of ozone
from precursor emissions can be nonlinear and dependent on meteorological conditions, the response
of ozone to emission reductions can vary from day to day. In this regard, the days with the highest
model-predicted ozone concentrations in the 2016 base year that are used for projecting ozone design
values may not be among the highest ozone days in the future analytic year. In this situation, the
calculation of the average contribution metric could inappropriately exclude days with higher
concentrations in the future year in favor of lower future-concentration days that happened to
correspond to the highest days in 2016. In addition, ignoring the concentrations in the future year could
result in including contributions on low ozone days with modeled ozone concentrations below 60 ppb in
the calculation of the average contribution metric. Among other things, this runs a risk of identifying
states as linked that are, in fact, actually not linked considering contributions on high ozone days in 2023
at the receptor.

Based on the air quality modeling for this final action, Texas is linked to 10 downwind nonattainment or
maintenance-only receptors. Of these 10 receptors, the contributions from Texas to the 6 receptors in
Illinois and Wisconsin are likely to be those most influenced by applying an alternative contribution
calculating method since these receptors are more distant and therefore more subject to day-to-day
differences in long-range transport wind flows compared to the 4 receptors in New Mexico that are
located near the border with Texas. In this regard, the EPA recalculated Texas’ average contribution
using a method akin to the method proffered by the commenter. Specifically, in this method the
average contribution metric was calculated based on the daily contributions on the same set of days
used to project the 2023 design value at each of these receptors. The contributions from Texas to the
receptors in Illinois and Wisconsin based on the EPA’s method and the alternative method are provided
in the table below. While we do not agree that the alternative approach is a superior or even

                                                                                                        243
         Case: 23-60069              Document: 110            Page: 642          Date Filed: 03/27/2023




appropriate method of calculating contribution, the results show that Texas would still be linked to each
of these receptors using the alternative method.
Table 7-3 Comparison of Texas' Contributions Using the EPA's Method and the Alternative Method


                                                                                Contributions from
                                                                                  Texas in 2023
                                                                                EPA               TCEQ
                 AQS ID           State          Receptor                      Method            Method
                 170310001        Illinois       Chicago/Alsip                  1.09              1.11
                 170314201        Illinois       Chicago/Northbrook             1.05              1.65
                 170317002        Illinois       Chicago/Evanston               1.95              1.81
                 550590019        Wisconsin      Kenosha                        1.54              1.47
                 551010020        Wisconsin      Racine                         1.57              1.56
                 551170006        Wisconsin      Sheboygan                      1.03              1.02


It is obviously impossible for the EPA, or anyone, to predict which exact days in a future year will have
high ozone levels, nor does it make sense to analyze contribution on modeled days of low ozone
concentration. The EPA’s methodology is reasonable in projecting where ozone problems are likely to
recur in a future year (at Step 1), and, by using the highest predicted 2023 MDA8 ozone days with a
minimum threshold (at Step 2), identifying who is contributing to those problems under the conditions
for high ozone formation at those locations in the future.



Comment
Commenter: PacifiCorp (Attachment – Ramboll Evaluation)

Commenter ID: 38

Docket ID: EPA-R08-OAR-2022-0315

Comment:

The Proposed Transport Rule Upwind State ozone contribution metric to a downwind
nonattainment/maintenance receptor used a contribution factor (CF) as the average of the Upwind
State ozone contribution divided by the average total ozone at the receptor where the averaging was
performed over the top 10 modeled 2023 ozone days. The CF was multiplied by the receptor’s 2023 and
2026 ozone design values to obtain the Upwind State ozone contribution to the receptor (see Section
1.4 for detailed description of how Wyoming’s ozone contribution to the 2023 ozone design value at
Chatfield receptor was calculated). The use of 10 days in the ozone contribution metric is arbitrary and
not supported by any standard, guidance or technical basis. Below we analyze alternative Upwind State
ozone contribution metrics that are based on previous CSAPR rules, based on EPA guidance or based on
the 2015 ozone NAAQS rather than the arbitrary selection of 10 days.[(The following comment excerpt
is paraphrased.)]

                                                                                                          244
        Case: 23-60069         Document: 110         Page: 643       Date Filed: 03/27/2023




EPA's use of the Anthropogenic Precursor Culpability Assessment (APCA) probing tool instead of the
Ozone Source Apportionment Technology (OSAT) will overstate Utah’s and Wyoming's contributions to
ozone design values at downwind receptors because APCA allocates ozone formed from Utah and
Wyoming anthropogenic NOx emissions reacting with biogenic VOC emissions under VOC-limited ozone
formation conditions to the Wyoming NOx emissions instead of to the biogenic VOC emissions. Unlike
OSAT, APCA is not a true ozone source apportionment because it expresses a bias toward assigning
ozone formed to one type of Source Group over another, which is why it is called a culpability
assessment and not an ozone source apportionment.

The cumulative effects of EPA missing emissions, using a coarse 12-km grid spacing and WRF
meteorological inputs, and using APCA instead of OSAT would likely reduce Wyoming’s contribution to
2023 and 2026 ozone design values at Chatfield to below the 1 percent of the 2015 ozone NAAQS
significance threshold.

For Utah the case is not quite as clear whether the cumulative effects of all the deficiencies in the
Proposed Transport Rule would be sufficient to reduce the ozone contributions at DM/NFR NAA
receptors to below the significance threshold used in the Proposed Transport Rule. An explicitly CAMx
ozone source apportionment simulation correcting these Proposed Transport Rule deficiencies is
needed, but there was insufficient time to conduct such a simulation given the short comment period.

For all these reasons’ EPA's Proposed Transport Rule overstates Utah’s and Wyoming’s ozone
contributions.

Ramboll’s Independent CAMx 2023 APCA and OSAT Source Apportionment Simulation for the Western
States Lowers Utah and Wyoming contributions:

The CAMx 2023 western states APCA modeling results were processed for the three
nonattainment/maintenance receptors in the DM/NFR NAA and our Upwind state ozone contribution
results exactly matched those in the Proposed Transport Rule (e.g., Wyoming had a 0.81 ppb ozone
contribution to 2023 ozone design value at Chatfield). Table 5-1 [available in full comment] compare the
western state ozone contributions at the four key monitoring sites in the DM/NFR ozone NAA from our
western states CAMx 2023 APCA and OSAT ozone source apportionment modeling. As expected, the
state with the largest difference in the APCA and OSAT ozone source apportionment modeling ozone
contributions was for Colorado (-18%) as there is more VOC-limited ozone formation in the Denver
Metro urban area containing the receptors than in the more rural areas.

For Wyoming, the CAMx 2023 APCA ozone source apportionment had a 0.81 ppb contribution to CHAT
that was 0.12 ppb above EPA’s level needed to have an insignificant contribution (0.69 ppb) using the
Proposed Transport Rule significant contribution threshold (0.70 ppb). Using the CAMx OSAT ozone
source apportionment, Wyoming’s contribution to CHAT is 0.75 ppb that is 0.06 ppb lower than APCA
and half-way to being below EPA’s significant contribution threshold so that is a significant effect.

For Utah, the CAMx 2023 OSAT ozone source apportionment modeling had a 0.02 to 0.04 ppb lower
ozone contribution at DM/NFR NAA receptors compared to using the APCA probing tool.




                                                                                                    245
        Case: 23-60069         Document: 110          Page: 644       Date Filed: 03/27/2023




Response
As explained elsewhere in Section 7.1, the EPA’s method for calculating contribution follows the EPA’s
modeling guidance and is a longstanding and appropriate approach to assessing contribution at Step 2.

Based on the source apportionment modeling by the commenter using OSAT, both Wyoming and Utah
remain linked to the Chatfield receptor in Denver. The EPA’s response to comments regarding the use of
the APCA source apportionment technique is in Section 4.1.2. We are deferring final action at this time
on Wyoming’s SIP submission, pending further review of the updated air quality and contribution
modeling and analysis.



Comment
Commenter: PacifiCorp

Commenter ID: 38

Docket ID: EPA-R08-OAR-2022-0315

Comment:

Upwind State Ozone Contributions at Downwind State Receptors are Overstated. ([Ramboll,] Chapter 5).

The Proposed Rule overstates upwind state 2023 and 2026 ozone contributions to ozone design values
at receptors in downwind states in a number of ways. For example, EPA’s modeling ignored certain
emissions, such as NOX formed by lightning, which occurs frequently in the Front Range area and can
represent as much as 14% of summer ozone formation. EPA’s coarse grid resolution, described in
Chapter 4 of the Ramboll Report, also understates local emissions and ozone contributions, which has
the ultimate effect of overstating upwind state contributions. Other choices made by EPA in conducting
the Proposed Rule’s CAMx ozone source apportionment modeling, such as the selected meteorological
inputs and culpability assessment, further overstate upwind contributions.



Response
As described in Section III.A.2 of the preamble, and in response to this issue raised by commenters, the
EPA included NOX emissions from lightning strikes in the 2016v3 emissions inventory used for the air
quality modeling of this final action. See Preparation of Emissions Inventories for the 2016v3 North
American Emissions Modeling Platform TSD (2016v3 Emissions Modeling TSD), available in the docket
and at https://www.epa.gov/air-emissions-modeling/2016v3-platform. The method for including these
emissions in the modeling are described in this document.

The EPA’s response to comments on culpability assessment modeling can be found in Section 4.1.2.

The EPA’s response to comments on model grid resolution and associated meteorology can be found in
Section 4.




                                                                                                     246
        Case: 23-60069          Document: 110         Page: 645       Date Filed: 03/27/2023




Comments


Commenter: Wisconsin Department of Natural Resources

Commenter ID: 51

Docket ID: EPA-R05-OAR-2022-0006

Comment:

1. EPA does not identify Wisconsin’s Sheboygan Kohler-Andrae monitor as a 2023 nonattainment
monitor in any proposal and must correct this omission.

EPA’s evaluation of state transport SIPs is incomplete because it does not include the Sheboygan Kohler-
Andrae monitor. As noted above, EPA’s 2023 “no water” modeling results indicate that the Sheboygan
monitor (Site ID 551170006) will have a 2023 average design value of 73.6 ppb and a 2023 maximum
design value of 74.5 ppb. Applying EPA’s CSAPR methodology, Sheboygan is considered a
“nonattainment” monitor, since its average projected design value is above the 2015 ozone NAAQS.
However, Sheboygan is not identified in any of EPA’s proposed 2015 ozone transport SIP disapprovals
(for Region 5, or any other region) as a 2023 nonattainment monitor, even as other monitors in
Wisconsin (such as those in Racine and Kenosha) were properly included. Since Sheboygan clearly meets
EPA’s criteria as a nonattainment monitor, EPA should review all its 2015 transport SIP proposals and
identify Sheboygan as a 2023 nonattainment monitor whenever appropriate.

2. EPA must identify all the states that are linked to the Sheboygan monitor in 2023.

Since Sheboygan was not identified by EPA as a nonattainment monitor in any submittal, EPA
subsequently did not identify states linked to the monitor using EPA’s “1% of the NAAQS” criteria (that
is, a contribution equal or greater than 0.70 ppb). Based on contribution data for the Sheboygan
monitor provided separately by EPA to WDNR, seven states are shown to contribute at least 0.70 ppb to
Sheboygan in 2023 (Table 2). These states therefore would be linked to the monitor for transport
purposes.

[Table 2 available in full comment]

To be consistent with the CSAPR four-step framework, EPA needs to identify that these states contribute
to Sheboygan and therefore have transport obligations to that monitor. The WDNR also recommends
that EPA independently review its contribution data for the Sheboygan monitor to confirm that no
additional states should be identified as significant contributors beyond those listed above.

3. EPA must adjust its methods for selecting monitors for transport assessment to ensure monitors like
Sheboygan are not omitted in the future.

[…]

EPA needs to adjust its methods for selecting monitors for transport assessment so that its transport
modeling includes, by default, contribution data for all monitors with projected average or maximum


                                                                                                        247
        Case: 23-60069         Document: 110         Page: 646       Date Filed: 03/27/2023




future year design values above the ozone standard being assessed (including Sheboygan, when that
monitor so qualifies).



Commenter: Wisconsin Department of Natural Resources

Commenter ID: 51

Docket ID: EPA-R06-OAR-2021-0801

Comment:

1. EPA does not identify Wisconsin’s Sheboygan Kohler-Andrae monitor as a 2023 nonattainment
monitor in any proposal and must correct this omission.

EPA’s 2023 “no water” modeling results indicate that Sheboygan monitor (Site ID 551170006) will have a
2023 average design value of 73.6 ppb and a 2023 maximum design value of 74.5 ppb. Applying EPA’s
CSAPR methodology, Sheboygan is considered a “nonattainment” monitor, since its average projected
design value is above the 2015 ozone NAAQS. However, as noted above, Sheboygan is not identified in
any of EPA’s proposed 2015 ozone transport SIP disapprovals (including those in Region 7) as a 2023
nonattainment monitor, even as other monitors in Wisconsin (such as those in Racine and Kenosha)
were properly included. Sheboygan is a monitor of regulatory significance that is projected to have the
highest ozone design values in the Midwest. Since Sheboygan clearly meets EPA’s criteria as a
nonattainment monitor, EPA needs to review all of its 2015 transport SIP proposals and identify
Sheboygan as a 2023 nonattainment monitor whenever appropriate.

2. EPA must identify Texas and Arkansas as states that are linked to the Sheboygan monitor in 2023.

Since Sheboygan was not identified by EPA as a nonattainment monitor in any submittal, EPA
subsequently did not identify states linked to the monitor using EPA’s “1% of the NAAQS” criteria (that
is, a contribution equal or greater than 0.70 ppb). Based on contribution data for the Sheboygan
monitor provided separately by EPA to WDNR, seven states, including Texas and Arkansas in Region 6,
are shown to contribute at least 0.70 ppb to Sheboygan in 2023 (see Table). These states therefore
would be linked to the monitor for transport purposes.

[Table 1 in full comment]

To be consistent with the CSAPR four-step analytic framework, EPA must identify Texas and Arkansas as
states contributing to Sheboygan and that therefore having transport obligations to that monitor. The
WDNR also recommends that EPA independently review its contribution data for the Sheboygan
monitor to confirm that no additional states should be identified as significant contributors beyond
those listed above.



Response
The EPA has identified the Sheboygan monitor as a nonattainment receptor in the air quality modeling
for this final action, and the daily contribution data meet the criterion of a minimum of 5 days with

                                                                                                      248
        Case: 23-60069           Document: 110          Page: 647        Date Filed: 03/27/2023




future year MDA8 modeled ozone concentrations greater than or equal to 60 ppb. In this regard, the
EPA has calculated contributions to the Sheboygan receptor (Receptor ID: 551170006). The upwind
states that contribute greater than or equal to 0.70 ppb screening threshold in this final action are
Illinois, Indiana, Michigan, Missouri, Ohio, and Texas. The average contribution metric values from these
states to the Sheboygan receptor can be found in the Final Action Air Quality Modeling TSD.

As explained in the Air Quality Modeling TSD for the proposal, as well as the Air Quality Modeling TSD
for the final rule, both in docket in No. EPA–HQ–OAR–2021–0663, the methodology for calculating
contributions is based on the average of daily contributions on the days with the top 10 model-
predicted MDA8 ozone concentrations greater than or equal to 60 ppb in the future year modeling. If
there are fewer than 10 modeled days that meet this criterion for the given receptor, then the average
contribution is calculated based on the remaining days greater than or equal to 60 ppb, providing that
there are at least five days with modeled MDA8 values greater than or equal to 60 ppb. Average
contribution metric values are not calculated for a receptor if there are fewer than 5 days with future
year modeled MDA8 ozone concentrations at or above this threshold.

The basis for using the average contribution as the metric for evaluating upwind state contributions with
respect to the 0.70 ppb screening threshold and the basis for requiring a minimum of 5 days with MDA8
ozone concentrations for calculating the average contribution metric is that the magnitude of
contributions from upwind states can have very large day-to-day variability. The variability in
contributions is the result of different multi-day transport wind patterns combined with the relative
proximity of the upwind state to the downwind receptor.

The following tables illustrates the variability in daily contributions on the set of days used to calculate
the average contribution metric values from upwind states linked to the Sheboygan receptor based on
the modeling for this final action. At this receptor there are 9 days in 2023 with predicted
concentrations greater than or equal to 60 ppb. The data for these 9 days are used in calculating the
average contribution metric values for this receptor.

The first table provides the daily contributions by day for each upwind state. The second table provides
the daily contributions for each upwind state ranked by the magnitude of the contribution. In both
tables the bold/highlighted text denotes contributions greater than 0.70 ppb. Viewed together, the
tables show that the upwind states closest to Sheboygan (i.e., Illinois, Indiana, and Michigan) have by far
the largest contributions. For the other, more distant, upwind states, the difference in contributions
across the top concentrations can be quite large. For example, the contributions from Missouri, Ohio,
and Texas are each greater than 1 ppb on June 15. However, in contrast, on August 18 the contribution
from Missouri is more than 5 ppb, while the contributions from both Ohio and Texas are well below the
1 percent threshold. In addition, the days with high contributions from nearby upwind states are not the
same days for the more distant upwind states (i.e., Missouri, Ohio, and Texas). For example, on August 4
the contribution from Ohio is 3.65 ppb while the contributions from Missouri and Texas on this same
day are much lower at 0.17 ppb and 0.34 ppb, respectively.

The ranked-ordered daily contributions in the second table illustrate the sharp contrast in the
magnitude of contributions across the distribution of values. That is, the contributions from the 3 more
distant states are either very high or very low. As an example, the 5th highest contribution from Missouri
is 2.24 ppb, whereas the 6th highest contribution is nearly an order of magnitude lower at 0.37 ppb.
                                                                                                       249
        Case: 23-60069          Document: 110         Page: 648        Date Filed: 03/27/2023




The EPA’s methodology is designed to help ensure that the resulting average metric values are not
biased toward only the days with the highest or lowest contributions. This provides a high degree of
confidence that on average over these top days, each of these states contribute to the Sheboygan
receptor’s ozone concentrations.

In this regard, the EPA continues to find that its approach for calculating the average contribution metric
is appropriate in that it provides a robust projection of contributions that can be expected in future
years.
                                                 Table 7-4


                                      Daily 8-Hour Averge Contributions (ppb) from
                                              Linked Upwind States in 2023
                   Date         IL       IN          MI        MO         OH          TX
                 May 24       14.41     4.14        1.15       2.32       0.46       0.82
                 June 10      12.58     4.19        0.82       2.45       0.06       3.15
                 June 15      8.35      3.15        0.61       2.24       1.08       1.62
                 June 19      7.37      8.19        0.95       0.13       2.92       0.11
                 June 25      8.41      12.84       3.05       0.37       4.60       0.65
                  July 11     16.25     11.58       0.90       2.25       0.00       0.71
                  July 20     15.80     10.19       1.17       0.31       0.02       0.86
                August 04     15.49     16.20       4.45       0.17       3.65       0.34
                August 18     16.18     3.11        0.05       5.20       0.00       0.26


                                                 Table 7-5


                              Rank-Ordered Daily 8-Hour Averge Contributions (ppb)
                                      from Linked Upwind States in 2023
                Rank          IL         IN         MI        MO         OH          TX
                Highest     16.25       16.20      4.45       5.20       4.60       3.15
                            16.18       12.84      3.05       2.45       3.65       1.62
                            15.80       11.58      1.17       2.32       2.92       0.86
                            15.49       10.19      1.15       2.25       1.08       0.82
                            14.41       8.19       0.95       2.24       0.46       0.71
                            12.58       4.19       0.90       0.37       0.06       0.65
                            8.41        4.14       0.82       0.31       0.02       0.34
                            8.35        3.15       0.61       0.17       0.00       0.26
                Lowest      7.37        3.11       0.05       0.13       0.00       0.11




                                                                                                       250
        Case: 23-60069            Document: 110           Page: 649        Date Filed: 03/27/2023




7.2 Contributions

Comment
Commenter: Air Pollution Control Program, Missouri Department of Natural Resources

Commenter ID: 01

Docket ID: EPA-R07-OAR-2021-0851

Comment:

With respect to the receptor in Chicago, IL, to which the updated modeling links Missouri, no other
receptors in Cook County, IL are linked to Missouri at Step 2. This calls into question the validity and
assuredness of the model performance when it comes to the source apportionment techniques. In EPA’s
spreadsheet listing the design values and upwind state contributions, there are 10 receptors located in
Cook County with available data all located in relatively close proximity to the newly identified linked
receptor for Missouri. While the contribution identified from Missouri for the one linked receptor in
Cook County is 0.94 ppb, the receptor with the next highest Missouri contribution is 0.56 ppb,
approximately 40 percent less. From a practical standpoint it makes no sense that Missouri is
contributing to this single receptor above the 1 percent threshold since there are nine other monitors in
the same county where Missouri’s contribution is at least 40 percent less than the modeled contribution
to that problem receptor. This calls into question the ability of the model to determine significant
contribution levels and the arbitrary nature of the 1 percent threshold at Step 2.



Response
The commenter states that in the 2016v2 modeling used for the proposed actions, Missouri was linked
to only one of the five receptors in Cook County, IL. The commenter notes that the contribution to the
monitor to which Missouri was linked (i.e., Evanston, monitor ID 170317002) was 0.94 ppb, but
Missouri’s contribution to the receptor with the next highest contribution was 0.56 ppb68. The
commenter then claims that the large difference in the magnitude of contributions from Missouri to
receptors within a single county calls into question the ability of the EPA’s modeling to determine which
contributions are significant. Commenters also claim the disparity in contributions underscores the
arbitrary nature of the 1 percent threshold at Step 2.

The EPA disagrees with this comment. First, the EPA’s average contribution metric which is used in Step
2 to evaluate each state’s contribution with respect to the 1 percent of the NAAQS screening threshold
is based on the multi-day average concentration and contribution on the top 10 concentration days
greater than or equal to 60 ppb in 2023 at each receptor. The differences in average contributions from
Missouri to the five receptors in Cook County as noted by the commenter are the result of differences in
which days are used to calculate the average contribution metric. That is, because there are large spatial
gradients in ozone concentrations in Cook County on some days, which may be due, either fully or in

68
  Missouri’s average contribution to the five receptors in Cook County ranges from 0.20 ppb to 0.94 ppb at
receptors in Cook County.
                                                                                                             251
        Case: 23-60069             Document: 110           Page: 650         Date Filed: 03/27/2023




part, to the effects of the complex, local scale meteorological conditions associated with lake breeze
from Lake Michigan, the average contribution at each receptor can be based on a different set of days.
Because the magnitude of contributions from Missouri (and other upwind states) can vary by large
amounts from day to day, in response to day to day differences in regional transport wind flows, the use
of different days in the calculations can result in large differences in the average contribution among the
five receptors.

The effects of day to day variability in the concentrations and contributions used to calculate the
average contribution metric are evident from the data in the table below. This table provides the daily
MDA8 ozone (i.e., O3) concentrations and contributions from Missouri to each of the five receptors in
Cook County on the collective set of days used to calculate the average contribution metric at each
receptor (concentrations and contributions are in units of ppb). In this table the data are ranked from
highest to lowest based on the magnitude of the daily contributions from Missouri to the Evanston,
Illinois receptor. The MDA8 concentrations shaded gray denote the days used to calculate the average
contribution metric at each receptor. Daily contributions from Missouri that are greater than or equal to
1 percent of the NAAQS (i.e., 0.70 ppb) are shaded orange. The data in the table show that the days with
the highest contributions from Missouri (i.e., contribution values shaded orange) occur on a consistent
set of days at nearly all the receptors (the exception being July 23 when the contributions from Missouri
to two receptors are above the threshold, whereas the contributions to the other three are below the
threshold.) That is, days with high contributions from Missouri at one receptor are, with one exception,
also the days with high contributions from Missouri at the other receptors. Thus, the modeling is
consistent in terms of which days are most impacted by emissions from Missouri at the Cook County
receptors. Looking at the concentration and contribution data on the specific days used in calculating
the average contribution metric at each receptor (i.e., MDA8 concentrations shaded gray) confirms that
the differences between receptors in the magnitude of daily MDA8 ozone concentrations are the cause
of the large difference in the average contribution from Missouri to these receptors. For example, at the
Evanston receptor, four of the days used to calculate the average contribution are well above 0.70 ppb.
The Alsip receptor also has high contributions from Missouri on these same days, but the MDA8 ozone
concentrations on these days are well below 60 ppb such that none of these high contribution days are
included in calculating the average contribution at this receptor.69 Thus, as this analysis clearly
demonstrates, the EPA finds that its contribution modeling provides consistent results in terms of the
contributions from Missouri to the receptors in Cook County and that receptor to receptor difference in
the average contribution from Missouri is the result of differences in the magnitude of model-predicted
ozone concentrations at individual receptor on specific days.

See also Section 4.2 for the EPA’s response to comments on coarse scale (i.e., 12 km) modeling.




69
  Note that there are fewer than 10 days with model predicted MDA8 ozone concentrations in 2023 that meet the
60 ppb criteria. In this regard, the average contributions at this receptor are based on the data for the seven days
that meet this criterion.
                                                                                                                252
            Case: 23-60069       Document: 110        Page: 651       Date Filed: 03/27/2023



Table 7-6


                     Evanston         Alsip        So. Water Plant        COM ED           Northbrook
                   (170317002)    (170310001)       (170310032)         (170310076)        (170314201)
                  MDA8         MDA8       MDA8         MDA8        MDA8
Month       Day    O3 Missouri O3 Missouri O3 Missouri O3 Missouri O3 Missouri
 July        7    67.0 3.32    46.8 3.11   51.4 3.14   48.2 2.77   61.8 2.59
 June       15    67.6 2.09    54.7 1.22   60.3 1.56   55.2 1.31   54.6 1.62
 July       22    61.2 1.92    57.0 1.53   63.1 1.96   56.7 1.70   55.6 1.54
 June       25    65.4 0.89    55.4 1.10   57.1 0.83   56.1 1.06   62.0 1.12
August      10    62.0 0.48    67.5 0.50   60.9 0.41   68.2 0.51   67.7 0.59
 June       19    61.7 0.44    55.3 0.52   56.7 0.47   56.6 0.52   58.4 0.49
 July       23    64.6 0.43    63.3 0.90   67.3 0.68   70.9 0.81   75.4 0.52
August       3    63.5 0.42    61.3 0.25   66.0 0.31   62.0 0.33   64.7 0.45
 July       18    55.1 0.13    70.7 0.22   61.5 0.18   69.4 0.16   59.1 0.10
August       4    74.7 0.07    58.2 0.05   62.0 0.05   60.3 0.05   70.9 0.07
August       2    57.4 0.05    55.2 0.09   56.9 0.06   60.4 0.08   65.3 0.07
 July       19    56.0 0.01    70.7 0.04   68.1 0.04   76.2 0.04   66.2 0.01
 July       25    51.2 0.00    70.9 0.00   57.4 0.00   64.2 0.00   49.0 0.00
 July       27    74.4 0.00    57.9 0.00   66.1 0.00   62.8 0.00   72.5 0.00
 July       26    60.8 0.00    66.8 0.00   61.4 0.00   69.6 0.00   67.4 0.00


Comment
Commenter: Tennessee Department of Environment and Conservation

Commenter ID: 41

Docket ID: EPA-R04-OAR-2021-0841

Comment:

Tennessee’s modeled contribution may be overstated because EPA did not have ten days of “high-
ozone” for the monitor

EPA’s modeling technical support document summarizes the basic approach for calculating the average
contribution metric[.] […] The Denton County monitor used to calculate Tennessee’s contribution meets
this minimum criterion, but only barely – monitor ID 481210034 had only six modeled days above 60
ppb and only one day above 70 ppb (Table 5). Those six days (not 10) were used to calculate an average
contribution of 0.94 ppb for Tennessee. Our reading of the technical support document suggests that
EPA should have calculated Tennessee’s average contribution using all ten days. If all ten days are used,
Tennessee’s contribution falls to 0.73 ppb, a value that exceeds the 1% value but only by a marginal
amount. If all ten days are used, the tenth-highest value is 57.39 ppb. Tennessee also notes that of 153
modeled days, only one day (September 21) exceeded 70 ppb at all.


                                                                                                     253
        Case: 23-60069          Document: 110          Page: 652        Date Filed: 03/27/2023




[Table 5 available in full comment]

Response
The commenter contends that, according to the approach described in the Air Quality Modeling TSD to
support proposed SIP actions, the average contributions at the Denton County, TX should have been
based on model predictions from the top 10 concentrations days. Instead, the EPA used the
contributions on the top six modeled days above 60 ppb to calculate the avg contribution from upwind
states to this receptor, because the EPA’s modeling did not have at least 10 “high ozone days” in 2023.
The commenter points out that there was only one day in the ozone season when the modeled
concentration at this receptor was above 70 ppb. The average contribution based on six days was 0.94
ppb, whereas the contribution would be 0.73 ppb if the data on the top 10 days was used. The
commenter notes that 0.73 ppb exceeds the 1 percent threshold by only a small margin.

The EPA first notes that in this action, the EPA is not taking final action on the state whose contributions
are in question, Tennessee. The EPA will take final action on this state at a later point in time. However,
to the extent that the commenter questions the methodology that the EPA has applied nationwide to
calculate upwind state contributions, we are responding to this comment.

The EPA’s methodology for projecting design values and calculating upwind contributions is explained in
the 2016v2 modeling’s Air Quality Modeling TSD “2015 Ozone National Ambient Air Quality Standards
Proposed Interstate Transport Air Plan Disapproval,” found in the docket for this action, docket ID No.
EPA–HQ–OAR–2021–0663. The EPA’s methodology for projecting design values and contributions is in
accordance with the EPA’s guidance for attainment demonstration modeling (US EPA, 2018). The
criterion of having at least 5 days with MDA8 ozone concentrations greater than or equal to 60 ppb was
chosen to avoid including contributions on days that are well below the NAAQS in the calculation of the
contribution metric. Using 5 days with MDA8 ozone greater than or equal to 60 ppb aligns with
recommendations in the EPA’s air quality modeling guidance for projecting future year design values.
The EPA continues to find it appropriate to follow this methodology in projecting ozone concentrations
and contributions in future years.

In this instance, as the commenter also points out under the alternative methodology presented,
Tennessee would still contribute greater than 0.70 ppb to the Denton receptor using the 2016v2
modeling platform and, therefore, Tennessee would still be considered “linked” at step 2 of the 4-step
interstate transport framework if we had continued to rely on that modeling for final action. In fact, in
the sensitivity modeling completed using GEOS-Chem, there were 10 days greater than or equal to 60
ppb in 2023 at the Denton receptor. Using the data for all 10 days results in an avg contribution from
Tennessee to Denton of 0.71 ppb.



Comments


Commenter: Louisiana Chemical Association

Commenter ID: 26


                                                                                                        254
        Case: 23-60069           Document: 110          Page: 653      Date Filed: 03/27/2023




Docket ID: EPA-R06-OAR-2021-0801

Comment:

EPA’s projected nonattainment and maintenance receptors with Louisiana linkages are different under
the 2016v2 model than they were under the 2015 Ozone NAAQS Memo model. EPA does not explain
why the models produce differing linked receptors but alleges without justification that this does not
call the 2016v2 model accuracy/credibility into question. The differences are summarized below. The
orange cells are receptors that are identified as Louisiana linkages in the 2015 Ozone NAAQS Memo
results spreadsheet but not the 2016v2 results spreadsheet, or vice versa.

[table in full comment]

The fact that every single receptor shows an increase in Louisiana’s contribution despite a decrease in
ozone precursor emissions in Louisiana calls into question the legitimacy of input data for the 2016v2
model.

[table in full comment]

The modeling of Texas contributions to Louisiana monitors (see table) suggests decreases in the Texas
emissions inventory over time and projections of increases in the Louisiana inventories.



Commenter: Louisiana Department of Environmental Quality

Commenter ID: 27

Docket ID: EPA-R06-OAR-2021-0801

Comment:

Measured verifiable data shows that ozone precursor (NOx and VOC) emissions have decreased,
demonstrating that existing regulations are functioning properly to ensure cleaner air for our citizens,
and by extension, our state neighbors. Statewide ozone precursor levels are as follow:

[table in full comment]

The data unmistakably demonstrates that there is less transport, yet EPA has determined that EPA
contributes more in the future.

[table in full comment]

This calls into question the reliability of the EPA’s modeling.



Response
In response to commenter’s claims that the EPA’s modeling may be unreliable, the commenter claims
unspecified modeling results demonstrate an increase in contribution from Louisiana at certain
receptors between 2017 and 2028, despite a decrease in emissions between 2015 and 2020. The source

                                                                                                       255
        Case: 23-60069          Document: 110          Page: 654       Date Filed: 03/27/2023




of data for both tables in this comment is not identified. It appears the commenter may be using the
EPA’s modeling of 2017 using a 2011-based modeling platform, and modeling of 2028 using the 2016v1
platform from the Revised CSAPR Update. We did not model 2028 using the 2016v2 platform, nor is
2028 a relevant analytic year for this action, falling five years beyond the 2023 analytic year associated
with the Moderate area attainment date. In any case, the EPA notes that the correlation drawn by the
commenter is flawed. The commenter’s analysis fails to consider critical factors that influence the level
of contributions from upwind states determined in different modeling platforms. The commenter is
apparently comparing, on the one hand, contributions based on 2011 meteorology using emissions
projected for 2017 from the 2011-based platform to, on the other hand, contributions based on 2016
meteorology with emissions projected for 2028 from the 2016v1 platform. The difference in
contributions is a result of differences in transport wind flows in 2011 compared to 2016, as well as
differences in the magnitude and spatial distribution of emissions in 2017 compared to 2028. Further,
overall declines in emissions of ozone precursors in Louisiana from 2015 to 2020 do not in themselves
establish that the state is not still contributing to receptors in 2023.

In the table below, to illustrate how the state’s contribution would change using a consistent set of
emissions inventory data and meteorology, we compare Louisiana’s contributions to certain monitoring
sites in 2023 and 2026 based on modeling from the 2016v3 platform. This illustrates that the
contributions to receptors in eastern Texas from sources in Louisiana in 2026 are less than the
contributions in 2023, but are still nonetheless well above the 1% threshold for Step 2 purposes. The
EPA notes, however, that 2026 is beyond the next applicable attainment date and is not a relevant year
for this action.
                                                 Table 7-7


                                                                 Average
                                                             Contribution from     Percent
                                                              Louisiana (ppb)      Change

              AQS ID                Location                  2023      2026     2026 vs 2023
            480391004     Brazoria/Manvel Croix Park          5.21      5.03        -3.5%
            481210034     Dallas/Denton Airport               2.87      2.77        -3.5%
            481671034     Galveston                           9.51      9.37        -1.5%
            482010024     Houston/Aldine                      4.75      4.57        -3.8%
            482010055     Houston/Bayland Park                5.49      5.30        -3.5%
            482011034     Houston/East                        5.62      5.43        -3.4%
            482011035     Houston/Clinton                     5.44      5.25        -3.5%


Other issues raised by these comments are addressed in the following sections: 1.4 (Use of Updated
Modeling), 1.7 (Length of Comment Period), 5 (Updates to Modeling and Changes in Linkages), and 8.5
(Air Quality Factors).




                                                                                                       256
        Case: 23-60069          Document: 110          Page: 655       Date Filed: 03/27/2023




Comment
Commenter: United States Steel Corporation

Commenter ID: 45

Docket ID: EPA-R05-OAR-2022-0006

Comment:

The emission estimates from other sources, including those in Illinois, Indiana, Ohio and Michigan – and
in particular, emissions from the iron and steel sources in those states, are overstated and are
inconsistent with prior state submittals. Finally, separate from the emission estimates, the modeling
used in the disapproval over-predicts impacts from the upwind states and sources.



Response
The EPA’s response to comments on emissions inventories can be found Section 3. The comment
provided no basis for claiming that the EPA’s modeling for the proposed disapproval actions over-
predicts impacts from upwind states.



7.3 1 Percent as a Contribution Threshold

Comments


Commenter: Air Pollution Control Program, Missouri Department of Natural Resources

Commenter ID: 01

Docket ID: EPA-R07-OAR-2021-0851

Comment:

EPA’s 4-step framework provides for a finding of significant contribution or linkage at a level of one
percent of the 2015 ozone standard. Due to this, the 4-step framework as applied by EPA, results in
decisions that some states are able to narrowly avoid or narrowly be brought in to the FIP requirements
based on extremely small changes to the modeling results. Therefore, if EPA’s application of step 2 holds
with a one percent threshold for establishing linkages, which it should not, as discussed at length in later
comments, an underperforming model is unacceptable. If EPA claims that a one percent threshold is
appropriate for establishing linkages, then arguments could be made that the model should be able to
predict within one percent the ozone concentrations that have been measured in the past in the base
case modeling scenario (modeling using past known meteorology and emission levels and comparing it
to actual measured ozone concentrations).


                                                                                                        257
        Case: 23-60069           Document: 110         Page: 656        Date Filed: 03/27/2023




[…]

EPA’s application of a 1 percent of the standard contribution as the threshold (1 percent threshold) to
establish significant contribution is arbitrary and unjustified. In the proposed FIP, EPA states its
reasoning simply as the fact that the threshold is the same value it has used in the past under previous
CSAPR regulations. In EPA’s original CSAPR, it justifies the use of the 1 percent contribution with a
generic statement about how in many cases relatively small contributions from many states can
collectively contribute in significant amounts to the downwind problem. However, the only analysis that
EPA has performed in these latest CSAPR actions is in its August 2018 memo where EPA concluded and
recommended that a higher threshold may be appropriate. The memo goes into great detail about the
level of downwind contribution captured at various thresholds and uses this as the basis for suggesting
that an alternative (higher) threshold may be appropriate.

EPA has offered no analysis in their proposed disapproval nor in their proposed FIP to justify the
continued use of a 1 percent threshold. If the generic reasoning in the original CSAPR still stands that
relatively small contributions from many states can collectively contribute in significant amounts, then
EPA could supposedly pick an even lower threshold for significant contribution and it would assuredly
prevail, and bring more states into this predicament. On the converse, EPA, despite all of the new
modeling and upwind state contribution data it now has available, offers no reasoning as to why a
higher threshold is not appropriate. This is a complete reversal in the stance EPA took with its August
2018 memo where thorough analysis was used to potentially justify such higher thresholds. The lack of
reasoning and justification, and instead just pointing to the fact that EPA has successfully used the
threshold in similar regulations before, is evidence that calls into question whether EPA is able to
adequately justify the use of a 1 percent threshold in light of the data before it. EPA must adequately
explain how the data from the updated modeling justifies the use of a 1 percent threshold and then re-
propose and take comment on that rationale. Failure to do so before promulgating a final disapproval or
final promulgation of a FIP would rob states and the public from an informed public participation
process that will result in billions of dollars of costs and future policy implications that could defer even
greater authority of this federal agency over state sovereign rights.

[…]

Further, the real effects of EPA using, without justification, the 1 percent threshold sheds even more
light on the inappropriateness of this approach. EPA states in its disapproval that it had previously
attempted to justify the use of an alternative threshold for the state of Iowa in a proposed approval of
their good neighbor SIP, because Iowa had no linkage to any receptors above a 1 ppb contribution,
which EPA’s August memo sought to allow. In Missouri’s proposed disapproval, EPA states that it
attempted to augment Iowa’s submission to allow for the use of the 1 ppb threshold for that state, but
that it was not moving forward with that proposal. EPA offers no reasoning or justification for why it
could not move forward with that proposal, and instead decided to approve Iowa’s SIP because the
updated modeling did not include any linked receptors to Iowa because the highest contribution from
Iowa for any remaining linked receptors in the updated modeling is below the 1 percent threshold. As a
result, EPA is proposing to approve Iowa’s SIP, but for a different reason that what EPA proposed earlier.
This determination only magnifies the arbitrary nature of the 1 percent threshold, where states can fall


                                                                                                         258
        Case: 23-60069          Document: 110          Page: 657       Date Filed: 03/27/2023




in and out of billions of dollars of compliance costs that are federally mandated based on relatively
minor changes in the modeling results.



Commenter: Alabama Department of Environmental Management

Commenter ID: 02

Docket ID: EPA-R04-OAR-2021-0841

Comment:

EPA’s selection of 1% is arbitrary. It could have just as easily adopted 1 ppb as its threshold in the first
place, as requested by many States, but it chose 1% apparently due to the additional 5% (7% in the 2018
modeling) of emissions reductions provided. Information is not readily available to determine if EPA
actually investigated whether implementing the 1 ppb threshold in its reduction methodology in the
proposed FIP would have been sufficient to address the attainment and maintenance issues in question.
While EPA has the ability to set the thresholds for the program, it does not have the right to require
overcontrol of source emissions purely as a method of reducing overall emissions or imposing
restrictions on target source categories. If the reductions necessary could have been achieved at the 1
ppb threshold, the 1% threshold requirements clearly demonstrate an overcontrol situation.

Lastly, if the 1% threshold is considered a bright line for SIP approval, then rulemaking should be
undertaken with technical supporting documentation and opportunity for notice and comment. Absent
rulemaking, the States, who are responsible for the development and implementation of SIPs, will use
best judgement and sound scientific principles, regarding all available information in said development
and implementation.



Commenter: Louisiana Chemical Association

Commenter ID: 26

Docket ID: EPA-R06-OAR-2021-0801

Comment:

The use of 1% of the NAAQS threshold for modeled contribution as the sole definition of significant
contribution is inappropriate for the 2015 Ozone NAAQS since the more stringent .7ppb (1%) threshold
is an order of magnitude smaller than the biases and errors typically documented for regional
photochemical modeling (cited Simon et al., 2012). In fact, although modeling bias (difference between
monitored and modeled values) has been reduced over the last 10-15 years with updated CMAX
modeling versions, summertime NOx bias still remains above the 1% threshold, particularly in the South,
including Louisiana. (cited Toro, C, et al. 2021. Evaluation of 15 years of modeled atmospheric oxidized
nitrogen compounds across the contiguous United States). The EPA screening level now being used to
evaluate Louisiana’s SIP is a fraction of a part per billion – an incredibly low value. EPA has provided no
scientific support for a 1% screening level to be always applied for every NAAQS without consideration

                                                                                                        259
        Case: 23-60069          Document: 110          Page: 658        Date Filed: 03/27/2023




of factors such as the ability to discern ozone impacts of precursors at such infinitesimally small values
and model performance. Although EPA addresses the bias limitations of the modeling in the Proposed
Rule, it does not explain why the 1 ppb threshold is arbitrary and capricious and should not be used.



Commenter: Louisiana Department of Environmental Quality

Commenter ID: 27

Docket ID: EPA-R06-OAR-2021-0801

Comment:

EPA’s discussion of 1% of the standard (or 0.07 ppb) versus 1 part per billion (ppb) is silent on linkages to
Sheboygan WI, which LDEQ used, yet dismisses the use on linkage to other monitors because the
2016v2 modeling show increased transport.

This discussion is moot. Use of 1% of the standard is problematic as EPA’s own performance
specifications for automated analyzers allow up to 2.5 ppb as “noise” according to Table B-1, Subpart 53.



Commenter: PacifiCorp

Commenter ID: 38

Docket ID: EPA-R08-OAR-2022-0315

Comment:

EPA ignores a significant EPA study supporting use of the 1 ppb threshold. Admittedly, EPA determined
the one-percent threshold was appropriate when it first adopted the original CSAPR rule. This was based
on 2011 modeling analysis that compared a 5% threshold, a 1% threshold, and ½% threshold. Based on
this modeling analysis, EPA concluded that the upwind capture rates under the 1% and ½% threshold
options were similar, indicating that little benefit would be achieved with the lower threshold. EPA did
find that raising the threshold to 5% would leave too many upwind states and emission sources
unregulated.

EPA conducted further analysis in 2018 when it issued the Threshold Guidance that re-analyzed the
minimum threshold using a tighter range of options and more up-to-date modeling techniques and data.
Specifically, EPA evaluated the difference in capture rates between the previous threshold of 0.7 ppb
(1%), a threshold of 1 ppb, and a threshold of 2 ppb. Like the 2011 analysis, EPA’s 2018 analysis again
concluded that the difference between the two lower options—0.7 ppb and 1 ppb—was minimal, while
the higher threshold of 2 ppb left too many emissions unregulated. As a result, EPA considered capture
rates at the 0.7 ppb and 1 ppb thresholds to be generally comparable, and thus concluded that “it may
be reasonable and appropriate for states to use a 1 ppb contribution threshold, as an alternative to a 1
percent threshold,” in addressing interstate transport under the CAA good neighbor provision. Notably,
a threshold of 1 ppb is just 1.4% of the ozone standard of 70 ppb, and therefore would round down to
1%.
                                                                                                        260
        Case: 23-60069           Document: 110          Page: 659        Date Filed: 03/27/2023




[…]

EPA’s insistence on a 1 percent threshold is not based on sound reasoning or science.

EPA engaged in robust statistical analysis in other guidance that defined a Significant Impact Level (“SIL”)
for ozone to be used as part of the PSD permitting process (setting it at 1 ppb) (“SILs Memo”). The
purpose of the SILs Memo was to provide an ozone level “for the permitting authority to conclude that
the proposed source will not cause or contribute to a violation of a National Ambient Air Quality
Standard (NAAQS).” That analysis was peer-reviewed by three independent economic statisticians
employed as faculty at major U.S. universities. But the SILs Memo was not just limited to PSD permitting.
As stated in their associated statistical analysis report:

        The statistical methods and analysis detailed in this report focus on using the conceptual
        framework of statistical significance to calculate levels of change in air quality concentrations
        that have a ‘significant impact’ or an ‘insignificant impact’ on air quality degradation. Statistical
        significance is a well-established concept with a basis in commonly accepted scientific and
        mathematical theory. This analysis examines statistical significance for a range of values
        measured by air quality monitors. The statistical methods and data reflected in this analysis
        may be applicable for multiple regulatory applications where EPA and state agencies seek to
        quantify a level of impact on air quality that they consider to be either ‘significant’ or ‘not
        significant’.

EPA found that the “technical analysis may have utility in several contexts.” Moreover, EPA
recommended in the SILs Memo that the 1 ppb SIL for ozone should “apply to the NAAQS everywhere,
regardless of the class of the airshed.” This statement by EPA is directly contrary to EPA’s statements
about use of the SILs in its disapproval of so many states’ good neighbor SIPs. The SILs analysis further
supports use of the 1 ppb significance threshold and undermines EPA’s claim that Utah’s use of a 1 ppb
ozone NAAQS threshold is inconsistent with EPA’s past analysis.



Commenter: PacifiCorp (Attachment - Berkshire Hathaway Energy (BHE) Company Comments on
Proposed Ozone Transport Rule)

Commenter ID: 38

Docket ID: EPA-R08-OAR-2022-0315

Comment:

EPA determined the one-percent threshold was appropriate when it first adopted the original CSAPR
rule based on a 2011 modeling analysis that compared results under a five-percent threshold, a one-
percent threshold, and a half-percent threshold. EPA’s analysis compared the “capture rates” for the
different options—i.e., the percentage of total upwind contribution that would be regulated under the
different thresholds under consideration. Based on its modeling analysis, EPA concluded that the
capture rates under the one-percent and half-a-percent options were similar, indicating that little
benefit would be achieved with the lower threshold, but that raising the threshold to five percent would
leave too many upwind states and emission sources unregulated. BHE asks EPA to reconsider its
                                                                                                          261
        Case: 23-60069          Document: 110          Page: 660       Date Filed: 03/27/2023




minimum contribution threshold. Unless EPA can identify some rational basis for preferring its older and
now outdated 2011 analysis, the 2018 analysis appears superior and more appropriate for both
identifying significant contributions and evaluating the possibility of over-control.

[…]

In addition, as noted above, EPA has already determined in another context that two ozone design
values (DV) that differ by less than 1 ppb are not statistically significantly different from each other,
based on the statistical analysis use to define 1 ppb ozone as the Significant Impact Level (SIL) for the
Prevention of Significant Deterioration (PSD) program. EPA’s own demonstration that 1 ppb is not
statistically significant confirms that 1 ppb is an appropriate de minimis threshold. Further discussion of
this point is provided in the enclosed report from Ramboll evaluating the EPA modeling analysis
underlying the Proposed Rule.



Commenter: PacifiCorp (Attachment – Ramboll Evaluation)

Commenter ID: 38

Docket ID: EPA-R08-OAR-2022-0315

Comment:

Wyoming’s and Utah’s Ozone Contribution Is Not Statistically Significant According to EPA’s Statistical
Analysis

[…]

EPA has conducted a robust statistical analysis to demonstrate that two ozone design values (DV) that
differ by less than 1 ppb are not statistically significantly different from each other. The analysis was
performed to define the 1 ppb ozone Significant Impact Level (SIL) that is used as part of the Prevention
of Significant Deterioration (PSD) permitting process to define an ozone level “for the permitting
authority to conclude that the proposed source will not cause or contribute to a violation of a National
Ambient Air Quality Standard (NAAQS).” That analysis was peer reviewed by three independent
economic statisticians employed as faculty at major U.S. universities. Therefore, EPA should not consider
contributions to be significant unless they are greater than 1 ppb. At that threshold, Wyoming would not
significantly contribute to any downwind receptor. Also, at that threshold, Utah would not significantly
contribute to any downwind receptor based on the more tailored RAQC / CDPHE modeling discussed
above (Ramboll, Chapter 4).

[…]

EPA’s Justification for the 1 Percent of the 2015 NAAQS Significance Threshold in the Proposed
Transport Rule is Unfounded

On August 31, 2018, EPA released a Memorandum whose purpose was “to provide analytical
information regarding the degree to which certain air quality threshold amounts capture the collective
amount of upwind contribution from upwind states to downwind receptors for the 2015 ozone National

                                                                                                        262
        Case: 23-60069          Document: 110          Page: 661        Date Filed: 03/27/2023




Ambient Air Quality standard (NAAQS).” (Tsirigotis, 2018b, pp. 1). The 2018 Memorandum evaluated
significant ozone contribution thresholds of 1 ppb, 2 ppb and 1 percent of the 2015 ozone NAAQS (0.70
ppb) and concluded “Based on the data and analysis summarized here, the EPA believes that a threshold
of 1 ppb may be appropriate for states to use to develop SIP revisions addressing the good neighbor
provision for the 2015 ozone NAAQS.” (Tsirigotis, 2018b, pp. 3). This conclusion is technically justifiable
given the statistical analysis EPA conducted to justify the 1 ppb SIL (EPA, 2018a).

In the Proposed Transport Rule, EPA discusses their 2018 Memorandum for states to use alterative
ozone contribution thresholds in their good neighbor SIPs and offers a specious argument why use of a
single threshold of 1 percent of the 2015 NAAQS is needed as “the Agency now believes using different
thresholds at Step 2 with respect to the 2015 ozone NAAQS raises substantial policy consistency and
practical implementation concerns.” (EPA, 2022, pp. 20073). [H]owever, EPA doesn’t mention that the
EPA 2018 Memorandum believed that a 1 ppb threshold is appropriate for states to use and its use as
the single significance threshold would also alleviate the policy concerns of using multiple significance
thresholds that EPA was concerned about. The Proposed Transport Rule then goes on to note that the 1
ppb threshold “has the disadvantage of losing a certain amount of total upwind contribution” compared
to the 1 percent of the NAAQS threshold and “there does not appear to be a compelling policy
imperative in moving to a 1 ppb threshold.” (EPA, 2022, pp. 20074). There is, however, a very powerful
and compelling technical argument for moving to a 1 ppb significant contribution threshold based on
EPA’s statistical analysis to justify the 1 ppb ozone SIL that demonstrated two ozone DVs that differ by 1
ppb or less are not statistically significantly different from each other (EPA, 2018a).



Commenter: Sierra Club

Commenter ID: 39

Docket ID: EPA-R04-OAR-2021-0841

Comment:

First, Sierra Club strongly supports EPA’s observation that “consistency in requirements and
expectations across all states is essential” in regulating emissions to address a regional air pollutant such
as ozone. As EPA correctly observes, utilizing different contribution thresholds for different states
“would allow certain states to avoid further evaluation of potential emissions controls while other states
must proceed to a Step 3 analysis,” creating “significant equity and consistency problems among states.”
Indeed, a lack of uniformity in the stringency of control measures being applied to sources in upwind
and downwind states is a significant cause of the persistent ozone nonattainment issues in many
downwind areas. States that contribute above a fixed amount to a downwind nonattainment or
maintenance area should, uniformly, be included in EPA’s Step 3 analysis.

[…]

Third, Sierra Club agrees with EPA that consistency also counsels in favor of retention of the 1%
contribution threshold. The 2018 Guidance Memorandum identified no reasoned basis for deviating
from EPA’s consistent prior actions and guidance on this issue, and Sierra Club perceives none other

                                                                                                         263
        Case: 23-60069          Document: 110          Page: 662        Date Filed: 03/27/2023




than to simply reduce the number of states obligated to address their significant contributions to
downwind nonattainment and maintenance. But shrinking the pool of states working to address
regional ozone transport simply shifts the burden even more heavily to the downwind states, many of
which contribute comparatively little to their own nonattainment and already control their in-state
sources to a degree unmatched by their upwind counterparts.



Commenter: Tennessee Department of Environment and Conservation

Commenter ID: 41

Docket ID: EPA-R04-OAR-2021-0841

Comment:

EPA has not engaged in the rulemaking required under the Clean Air Act to establish 1 percent of the
NAAQS as a bright-line SIP approval threshold for compliance with the 2015 8-Hour Ozone NAAQS, so
EPA cannot disapprove Tennessee’s SIP for a standard that has not been properly promulgated.

[N]either the 2015 8-Hour Ozone NAAQS, nor the implementation standards contain the 1% of the
NAAQS compliance threshold for State SIPs.

While has EPA previously used a 1% significance threshold to address interstate transport, these metrics
have been applied to issue SIP calls (e. g., the NOX SIP Call and CAIR NOX Ozone Season Trading
Program) or to adopt Federal Implementation Plans in the absence of a SIP submittal. EPA’s use of 1% is
generally reasonable in such instances, because no state action has taken place (i. e., the state has not
submitted a SIP), the state may provide comments and technical information on EPA’s action (i.e., the
1% threshold is a rebuttable proposition to which the state may object), and – most importantly – the
final result is a rulemaking, which complies with the applicable provisions of CAA section 307(d). It is
well established that states have primary responsibility to develop and implement the SIP. However, in
this instance EPA has decided to substitute its own judgement in place of the state’s by imposing a 1%
threshold on certain states (but not others as discussed in Comment #6) without engaging in the
required rulemaking to impose this as a uniform standard to determine whether an upwind state is
linked at Step 2 of the Framework. If, as EPA indicates, most states cannot justify or utilize an alternative
standard in practice, then the 1% threshold has, by implication, become a critical approvability threshold
for a SIP addressing the Good Neighbor provision and, as such, must be promulgated as a rulemaking,
technically and legally supported, with an opportunity for notice and comment. If EPA wishes to
establish a bright-line metric for review of infrastructure SIPs, then it should promulgate that metric
through rulemaking under CAA section 307(d).



Commenter: United States Steel Corporation

Commenter ID: 45

Docket ID: EPA-R05-OAR-2022-0006

                                                                                                         264
        Case: 23-60069          Document: 110          Page: 663       Date Filed: 03/27/2023




Comment:

One Percent Contribution Criterion is Not Appropriate as it is Lower than What U.S. EPA Advised States
and it is Lower Than What Can be Supported Based on the Precision of the Modeling

U. S. Steel notes that while U.S. EPA may believe the modeling used to support its disapproval of the SIPs
is accurate and precise, the accuracy and precision of the modeling does not support an impact
threshold of 0.70 ppb. U.S. EPA needs to consider the accuracy and the precision of the modeling when
determining an appropriate “interference” threshold. U. S. Steel acknowledges that a model cannot
necessarily be “perfect” as U. S. EPA points out, but the U.S. EPA’s decisions and impacts to the
regulated need to reflect the model’s accuracy and precision.



Commenter: Utah Petroleum Association and the Utah Mining Association

Commenter ID: 48

Docket ID: EPA-R08-OAR-2022-0315

Comment:

EPA should not apply the same downwind threshold contribution in the western United States that it
applies in the east.

EPA judged the Utah IT SIP based on a threshold contribution of 0.7 ppb to downwind States, but
numerous other influences affect ozone in the west, meaning that such a small contribution can be
difficult to predict with any accuracy. In their comments on the Proposed GNR, the Western States Air
Resources Council (“WESTAR”) stated:

        Air quality in the WESTAR region is influenced by both human activities and natural phenomena.
        Baseline air quality and the sources of impacts to that baseline differ based on local industry,
        geography, population, meteorology, and other state or regional conditions. Across the West,
        high elevations, extreme variations in topography, vast landscapes, and variable weather
        patterns influence air quality. The West is also disproportionately affected by wildfires, high wind
        dust events, volcanic activity, and international transport of pollutants. Pollutant sources,
        methods of dispersion, and types of affected areas in the West are quite different from those in
        the eastern United States.

While EPA strives for consistency, being consistent does not always mean being the same. The
differentiating factors in the WESTAR comments must be considered. At a minimum, these factors point
to greater uncertainty in air quality modeling. Considering the myriad of factors lending uncertainty to
modeling results, the 0.7 ppb threshold contribution is too low.



Response
The EPA responds to these comments in the preamble in Section V.B. Specifically, comments regarding
the technical merits and justification of a 1 percent of the NAAQS contribution threshold are addressed

                                                                                                        265
        Case: 23-60069          Document: 110         Page: 664       Date Filed: 03/27/2023




in Section V.B.4. and Section V.B.5. of the preamble, respectively. Comments advocating use of the
Prevention of Significant Deterioration Significant Impact Level as the contribution threshold at Step 2
are addressed in Section V.B.6. of the preamble.

As the EPA recognized when it first applied this threshold in CSAPR, using a threshold expressed as a
percentage of the NAAQS allows for the threshold to become more stringent in proportion to the
increased protectiveness of public health and the environment when the EPA revises the NAAQS. 76 FR
48208, 48238 (Aug. 8, 2011) (The “approach is readily applicable to any current and future NAAQS and
would automatically adjust the stringency of the transport threshold to maintain a constant relationship
with the stringency of the relevant NAAQS as they are revised.”). No state or commenter has explained
why this well-considered policy is unlawful or arbitrary and capricious.

One commenter pointed to the EPA’s proposed error correction of the EPA’s prior approval of
Delaware’s SIP submission in a separate rulemaking proceeding to argue that updates to modeling make
the threshold too small, as a states’ contribution can change to be above or below a 1 percent of the
NAAQS contribution threshold after updates are made to the modeling. But the same would be true for
any threshold, including 1 ppb. Some states that would fall just above a 1 ppb threshold could be
anticipated to make (and indeed, several included in this action do make) virtually identical arguments
as the states that are just over the 1 percent of the NAAQS threshold.

Additionally, in the case of every state covered by this action, with the exception of Alabama, Kentucky,
and Minnesota, the difference between a 1 percent threshold and a 1 ppb threshold is irrelevant to the
decision here because linkages are present above the 1 ppb level in the 2016v3 modeling.

Another commenter argued that 1 percent of the NAAQS fails limits of modeling and monitoring
capability and so violates the requirement from Michigan v. EPA, 213 F.3d 663 (D.C. Cir. 2012) for EPA to
establish a “measurable contribution” before identifying the amount of “significant contribution.”
Michigan, 231 F.3d at 684. Another commenter apparently references Table B-1 to subpart B of 40 CFR
Part 53 (performance limit specifications for automated methods), to make a similar argument regarding
the capabilities of monitoring equipment. We address the comments on whether monitoring technology
accuracy is relevant in Section V.B.4 of the preamble. There is also no conflict with Michigan.
Contributions as low as 1 percent of the NAAQS (and impacts at even lower levels) are reliably measured
through our modeling to calculating and apportioning contribution.

Other issues raised by these comments are addressed in the preamble in Sections V.A.4., V.B.2., V.B.6.,
V.B.7., and V.C.2. and in the following sections: Sections 1.2 (Guidance for SIP Submissions), 1.4 (Use of
Updated Modeling), 4.2 (Model Performance), 5 (Updates to Modeling and Changes in Linkages), 7.2
(August 2018 Memorandum), 9.2 (Over-Control), 10.3 (Cooperative Federalism and the EPA’s Authority),
11.4 (Transport Policy – Western State Ozone Regulation), and 11.5 (International Contributions).
Further explanation of the EPA’s contribution calculation can be found in the Final Action Air Quality
Modeling TSD, in the docket for this action.




                                                                                                       266
        Case: 23-60069           Document: 110          Page: 665        Date Filed: 03/27/2023




7.4 August 2018 Memorandum

Comments


Commenter: Air Pollution Control Program, Missouri Department of Natural Resources

Commenter ID: 01

Docket ID: EPA-R07-OAR-2021-0851

Comment:

The use of the 1 percent threshold is assuredly arbitrary and capricious, and EPA offers no justification
or reasoning for its selection of that threshold in Missouri’s SIP disapproval to counter this claim. EPA’s
disapproval only states that in light of the fact that it has not found any state’s justification adequate for
the use of a different threshold at step 2, it no longer thinks it is advisable to consider using different
thresholds to establish linkages at step 2. However, EPA does not go on to defend its use of the 1
percent threshold, and simply assumes that because it was able to use it before, it must be able to use it
again without question or any consideration of the new facts and data that are now available with the
updated modeling. This assumption is flawed, and without providing this reasoning and an opportunity
for public notice and comment, the proposed disapproval cannot stand without a re-proposal that
clearly articulates the reasoning for the 1 percent threshold, or any other threshold EPA decides to use.
Further, the real effects of EPA using, without justification, the 1 percent threshold sheds even more
light on the inappropriateness of this approach. EPA states in its disapproval that it had previously
attempted to justify the use of an alternative threshold for the state of Iowa in a proposed approval of
their good neighbor SIP, because Iowa had no linkage to any receptors above a 1 ppb contribution,
which EPA’s August memo sought to allow. In Missouri’s proposed disapproval, EPA states that it
attempted to augment Iowa’s submission to allow for the use of the 1 ppb threshold for that state, but
that it was not moving forward with that proposal. EPA offers no reasoning or justification for why it
could not move forward with that proposal, and instead decided to approve Iowa’s SIP because the
updated modeling did not include any linked receptors to Iowa because the highest contribution from
Iowa for any remaining linked receptors in the updated modeling is below the 1 percent threshold. As a
result, EPA is proposing to approve Iowa’s SIP, but for a different reason that what EPA proposed earlier.
This determination only magnifies the arbitrary nature of the 1 percent threshold, where states can fall
in and out of billions of dollars of compliance costs that are federally mandated based on relatively
minor changes in the modeling results. Delaware is in a similar, but completely opposite, situation as
Iowa that sheds even more light on the arbitrary nature of such a low significant contribution threshold.
In the previous modeling, Delaware’s contribution levels were below the 1 percent threshold, and now
EPA is proposing to reverse their approval of Delaware’s SIP and bring them into the FIP. Such
monumental changes in EPA’s approval status based solely on the latest modeling analysis shows that if
these proposed disapprovals and proposed FIP are allowed to stand that no state can ever be assured
that their good neighbor obligations have actually been met. Delaware has not relaxed any control
measures between the final approval of their SIP and the proposed reversal of that approval. Yet, EPA is
now proposing to impose a FIP on Delaware. This goes to show that the significant contribution value of
                                                                                                          267
        Case: 23-60069           Document: 110          Page: 666       Date Filed: 03/27/2023




1 percent, which either requires hundreds of millions of dollars of compliance costs, or no costs
whatsoever, is not justifiable or equitable in any way. EPA states in their proposed disapproval of
Missouri’s SIP that consideration of alternative significant contribution thresholds would raise serious
concerns about equity among states, but this action shows that such a low contribution threshold at
step 2 will certainly have the same effect. States are at the mercy of the modeling, and anytime EPA
wishes, it may update the modeling and reverse course on the inclusion of a state resulting in the
imposition of a detrimentally costly FIP. For all of these reasons, EPA’s selection for a 1 percent
threshold, or any other threshold, in the proposed disapproval cannot stand without a re-proposal that
clearly articulates the explanation in light of the most recent data why such a threshold is appropriate.



Commenter: Alabama Department of Environmental Management

Commenter ID: 02

Docket ID: EPA-R04-OAR-2021-0841

Comment:

In November 2018 Iowa submitted its 2015 ozone transport SIP which relied on EPAs 2023 modeling as
presented in EPNs memorandum from March 2018 to identify downwind receptors that may be
impacted by Iowa emissions. Iowa concluded that the State did not contribute significantly to
nonattainment or interfere with maintenance of the 2015 ozone NAAQS in any other State. Iowa
referred to the analytic information in EPAs August 2018 memorandum as a basis to use a 1 ppb
contribution threshold when evaluating the State contribution to downwind receptors. Iowa identified
two downwind receptors to which it was contributing between 1% and 1 ppb. In the March 2020
proposed approval, EPA proposed to determine that Iowa was justified in applying a 1 ppb threshold for
purposes of evaluating upwind State linkages. EPA stated that the amount of upwind contribution
captured with the 1% and 1 ppb thresholds is generally comparable on average across all receptors,
therefore EPA concluded that it may be reasonable and appropriate for States to use the alternate
threshold of 1 ppb. This conclusion led EPA to propose approval of Iowa’s transport SIP submittal, which
relied on a 1 ppb contribution threshold. When the updated 2016v2 modeling was released, Iowa was
shown to contribute less than the threshold of 1% of the 2015 ozone NAAQS to all downwind receptors.
This finding led EPA to withdraw the March 2020 proposed approval that relied on a 1 ppb threshold
and to re-propose approval based on the new modeling and on the fact that Iowa’s contribution to all
other States was now below 1% of the 2015 ozone NAAQS. While this action by EPA is appropriate based
on the new modeling results, the fact that EPA had full intentions to approve Iowa’s November 2018
transport SIP submittal that relied on a 1 ppb threshold is an obvious indication that EPA agreed that
this alternative threshold was adequate and approvable. This fact goes completely against EPAs current
reasoning that the use of a 1 ppb alternate contribution threshold is unacceptable due to the negative
effects it would have on national consistency and policy issues.

[…]

In response to ADEM’s SIP submittal, EPA contends that ADEM did not provide sufficient technical
justification for using a 1 ppb threshold instead of EPA’s arbitrary 1% threshold. In fact, EPA states it was
                                                                                                         268
        Case: 23-60069          Document: 110          Page: 667        Date Filed: 03/27/2023




not providing a methodology for justifying a 1 ppb threshold and that all States that had attempted to
had not successfully demonstrated a sufficient technical justification. EPA is fully aware that few, if any,
States have the resources available to provide the additional modeling necessary to demonstrate a
technical justification. Additionally, EPA did not provide additional technical information for why the 1
ppb threshold is not appropriate.

EPA can update and/or revise guidance but cannot simply disregard guidance that has not been
withdrawn. The August 2018 memo states that “the amount of upwind collective contribution captured
with the 1% and 1 ppb thresholds is generally comparable, and that it may be reasonable and
appropriate to use the 1 ppb threshold”. In fact, EPA did just that when conducting the Iowa WOE
analysis for the 2015 ozone NAAQS. The analysis asked the question “What are the impacts of individual
upwind States linked at 1 ppb or higher to the receptor?” In evaluating individual upwind States’
contributions to the Denton County and Harris County, Texas receptors, Alabama’s impacts, 0.71 and
0.88 ppb, respectively, represents 9% of the impact of upwind States above 1% at the Denton County
receptor, while for the Harris County receptor, the impact is 10.6% of the impact of upwind States above
1%. Said another way, the Alabama contributions of 0.71 ppb (Denton) and 0.88 ppb (Harris) represent
6% and 7% of the total impact of upwind States. Alabama is significant at neither monitor relative to the
1 ppb threshold, nor is the State significant at either threshold for the 2026 future year.

For the upwind States above 1 ppb, three States are identified for the Denton County receptor (LA, MS,
OK), and three States (AR, LA, MS), likewise are identified for the Harris County receptor.

[table in full comment]

The impacts of the States above 1 ppb is 5.55 ppb (45% of total upwind contributions) for the Denton
County receptor, and 7.43 ppb (63% of total up-wind contributions) for the Harris Count receptor.

The table below lists the contributions Using the two thresholds for the Denton County (481210034) and
Harris County (482010055), Texas receptors, considering all upwind States’ contributions as well as
States with contributions of ≥1% (0.71ppb), and States with contributions ≥1 ppb.

[table in full comment]

As can be seen in the table above, the impacts of upwind State contributions, in total, are less than half
the contribution from Texas. Further, the impacts of the offshore, fires and biogenic sectors exceed the
contribution from Alabama sources.

[…]

EPA states in the proposed disapproval that ADEM “did not identify any periods of clean data for the
Denton County, Texas maintenance receptor for which meteorological conditions could be assessed to
determine whether particular summers have ozone conducive or unconducive meteorology during a
period of clean data.” In looking at the 8‐hr design values for the Denton County receptor, the trend is
downward (Figure 1).

Of even more importance are the reductions in precursor emissions (NOx) for Alabama, Louisiana,
Arkansas and Mississippi. Reductions on the order of 40 ‐ 50% have occurred since 2011 (Figure 2).
Texas NOx emissions have also shown a 36% decrease over the same time period, although the
                                                                                                         269
        Case: 23-60069          Document: 110         Page: 668       Date Filed: 03/27/2023




statewide NOx emissions in Texas in many cases dwarf the other the other states. When looking at EGU
and non‐EGU NOx sources, it should be noted that Texas’ emissions are many orders of magnitude
greater than Alabama’s. This is also the case in both the on-road and non-road sectors. While the design
value for the Harris County, Texas receptor remains relatively unchanged, the NOx reductions both
within and at upwind States are still notable.

[Figure 1 and Figure 2 are in the full comment]

In the EPA WOE analysis that was conducted for Iowa, EPA looked at the impact of in-state emissions on
ozone levels relative to the collective upwind impacts. The upwind States’ contribution to the Denton
County receptor (481210034) is 17% (12.2 ppb) of the 2023 average ozone design value, as compared to
39% or 27.3 ppb from in‐state sources, with Alabama’s contribution of 0.71 ppb only contributing 6% to
the total contribution of all upwind States at the Denton County receptor.

Alabama is ranked 6th and last when using EPA’s 1% significance threshold (Table 1). When looking at
both the Denton and Harris County receptors, ADEM compared the year to year NOx changes at both
the ozone and NOx monitors, which are co‐located (Figures 3 and 4). While statewide NOx emissions
are declining, the NOx concentrations at the receptors do not reflect what is being seen across the State,
indicating that local NOx sources, such as vehicles, may play a bigger role in the formation of ozone, not
transported precursors.

[Table 1, Figure 3, and Figure 4 in full comment]

Another issue of note is that with the continued reductions in NOx, it is unclear how lower NOx
emissions in the 2022 modeling resulted in higher concentrations relative to the 2021 modeling which
assumably reflected higher NOx emissions.

Based on the assessment of NOx emissions from Alabama and other upwind States, Alabama’s
contribution to the 2023 average ozone design value relative to Texas and other upwind States, and
supplemental NOx data, ADEM asserts that NOx emissions in 2023 will have an insignificant impact on
the Denton County, Texas monitor.

[…]

In the EPA WOE analysis completed for Iowa, EPA considered the linkages between the upwind States’
impact on the nonattainment or maintenance receptor, specifically in relation to the two thresholds, 1%
(0.71 ppb) and 1 ppb. For the Denton County receptor, in addition to Alabama, there are two other
upwind States that contribute between 0.71 and 1 ppb, Arkansas and Tennessee. The collective
contribution for those two States is 14% of the total upwind contributions. While Tennessee and
Alabama are not linked to any other receptor above 1 ppb, Arkansas is linked above 1 ppb to other
monitors in Texas. For the Harris County receptor, Alabama is the only State with a contribution
between the two thresholds, with a total contribution of 7% of the total upwind contribution. The
difference between the thresholds, as shown above are 7.4% (0.88 ppb) for the Harris County receptor,
and 19.7% (2.41 ppb) for the Denton County receptor. These percentages are in line with the analysis
EPA completed for Iowa, which indicated that an alternative threshold could be supported.



                                                                                                      270
        Case: 23-60069          Document: 110         Page: 669       Date Filed: 03/27/2023




Additionally, it is worth looking at the number of linkages for each State to 2023 nonattainment and
maintenance receptors. For the Denton County receptor Alabama is only linked to two receptors, one
nonattainment receptor (Harris County, Texas‐ 482010055) and one maintenance receptor (Denton
County, Texas‐ 481210034). With respect to all linkages identified, Alabama is ranked 18th of 23 for non‐
attainment receptors, and 21st out of 27 for all linkages. At 1 ppb, Alabama is not linked to any
receptors, nonattainment or maintenance, and Alabama is not linked to any receptors in 2026,
regardless of the threshold.

Based on Alabama’s ranking when considering which States are linked to future nonattainment and or
maintenance receptors as well as the magnitude of the linkages (between 1% (0.71ppb) and 1 ppb for
both receptors), this supports an alternative threshold of significance.



Commenter: Alabama Power Company, Southern Power Company, and PowerSouth Energy Cooperative

Commenter ID: 04

Docket ID: EPA-R04-OAR-2021-0841

Comment:

Specifically, ADEM’s SIP submission package identifies multiple factors that support its analysis: […] (4)
application of an alternative contribution threshold. Each of these factors suggests that Alabama sources
do not contribute significantly to ozone concentrations in Texas and that further regulation of Alabama
sources would not appreciably decrease ozone concentrations in Texas.

[…]

Finally, ADEM argues that 1 ppb is a reasonable and acceptable contribution threshold in this case.

[…]

EPA contends that ADEM’s “arguments in support of using a 1 ppb threshold are not approvable,”
however, this is not the correct standard by which to review the SIP. The threshold is merely a proxy EPA
has instituted in its 4-step framework in order to determine potential state linkages in step 2. Whereas
EPA proposes to rely on a 1 percent (0.7 ppb) threshold for “evaluating a State’s contribution to
nonattainment or maintenance of the 2015 8-hour ozone NAAQS . . . at downwind receptors” based on
a theory of consistency, other thresholds have been utilized in the past. EPA concedes that it previously
recognized that a 1 ppb contribution threshold is “justifiable” in “certain circumstances.” There is ample
evidence in the record, which is ignored by EPA, that this is one of those circumstances. While EPA
attempts to brush off Alabama’s alternative contribution threshold by stating that “nearly every State
that attempted to rely on a 1 ppb threshold did not provide sufficient information and analysis to
support a determination that an alternative threshold was reasonable or appropriate,” it fails to
consider the evidence in the record. By ignoring that evidence, EPA has not explained why a 1 ppb
threshold is not reasonable. Support, including technical analysis, for the alternative threshold proposed
by ADEM is set out below.


                                                                                                      271
        Case: 23-60069          Document: 110          Page: 670       Date Filed: 03/27/2023




First, despite EPA’s newly articulated theory that alternative thresholds raise “policy consistency and
practical implementation concerns,” EPA has allowed for flexibility in determining contribution
thresholds. EPA’s August 2018 memorandum on contribution thresholds states that “the amount of
upwind collective contribution captured using a 1 ppb threshold is generally comparable to the amount
captured using a threshold equivalent to 1 percent of the NAAQS” and “[b]ecause the amount of upwind
collective contribution captured with the 1 percent and 1 ppb thresholds is generally comparable,
overall, we believe it may be reasonable and appropriate for states to use a 1 ppb contribution
threshold, as an alternative to a 1 percent threshold.” Moreover, EPA has not identified any evidence to
suggest that the use of an alternative threshold would actually harm air quality; instead it seems EPA’s
focus is on expanding its 4-step FIP framework at the expense of cooperative federalism and the states’
right to implement their own standards to ensure interstate air quality.

Furthermore, in the Iowa Infrastructure SIP for the 2015 Ozone NAAQS, EPA proposed to approve the
use of a 1 ppb threshold for two downwind receptors where Iowa’s contribution was between 1 percent
and 1 ppb. In the proposed rule for Iowa’s SIP, EPA presented an analysis to support the use of a 1 ppb
contribution threshold. First, EPA considered whether, for these specific receptors, the 1 ppb threshold
captures a comparable amount of upwind collective contribution as a 1 percent threshold (as stated in
the August 2018 EPA memorandum). Then, EPA conducted a WOE analysis to evaluate the following
three factors to determine whether a 1 ppb threshold was appropriate for the two receptors:

1. How does the impact of in-state emissions on ozone levels at this receptor compare to collective
upwind impacts?

2. What are the impacts of individual upwind states linked at 1 ppb or higher to the receptor?

3. Are individual upwind states impacting this receptor between 1 percent and 1 ppb linked above 1 ppb
to other receptors?

After applying these factors, EPA concluded that “the 1 ppb contribution threshold is reasonable and
appropriate to support the conclusion that [Iowa’s use] . . . will not contribute” to either receptor at
issue.

According to EPA “Alabama does not provide discussion or analysis containing information specific to
the State or a receptor analysis for the affected monitors . . . to evaluate whether the alternative
threshold was appropriate to apply with respect to the monitors to which Alabama was linked.”
However, state-specific information and analysis is exactly what was included in the SIP submittal
package. Alabama’s proposed SIP revision package included an analysis—which was provided to EPA—
assessing each of these factors for the Denton and Harris County monitors and found that a 1 ppb
threshold is equally appropriate for analyzing Alabama’s contribution to those areas. The following
analysis applies the three factors to the Denton County monitor and the Harris County monitor and
compares the results to those from the Iowa SIP approval. EPA ignores this analysis in its proposed
disapproval.

Denton County, Texas

Applying the first factor (impact of in-state emissions on ozone levels at this receptor compared to
collective upwind impacts) to data from the Denton County monitor, upwind states collectively
                                                                                                           272
        Case: 23-60069          Document: 110         Page: 671       Date Filed: 03/27/2023




contribute 17% (12.2 ppb) to the 2023 average ozone design value, as compared to 39% (27.3 ppb) from
in-state emissions, thus in-state emissions have a much larger impact than upwind sources on this
receptor. Under the second factor (impacts of individual upwind states linked at 1 ppb or higher to the
receptor), three upwind states contribute above 1 ppb to this receptor, with a collective contribution of
5.55 ppb (or 45% of all upwind contributions) versus Alabama’s modelled contribution, which is 0.71
ppb, or 6% of the total contribution of all upwind states. Therefore, a significant portion of upwind
contribution will be captured by states linked at or above 1 ppb. Considering the third factor (individual
upwind states impacting this receptor between 1 percent and 1 ppb linked above 1 ppb to other
receptors), in addition to Alabama, there are two other upwind states—Arkansas and Tennessee—that
are modelled to contribute between 1 percent and 1 ppb to this receptor. The collective contribution of
these two additional states is 1.70 ppb (14% of total upwind contributions). Tennessee and Alabama are
not linked to any other receptor at or above 1 ppb. However, Arkansas is linked to several other
receptors in Texas at or above 1 ppb, thus, Arkansas’s emission reductions for other linkage receptors
would also likely benefit this receptor.

Harris County, Texas

Applying the three factors to the Harris County monitor, first, upwind states collectively contribute 17%
(11.9 ppb) to the 2023 average ozone design value, as compared to 40% (28.3 ppb) from in-state
emissions, thus in-state emissions have a much larger impact than upwind sources on this receptor.
Under the second factor, three upwind states contribute 1 ppb or more to this receptor, with a
collective contribution of 7.4 ppb (or 62% of all upwind contributions) versus Alabama’s modelled
contribution which is 0.88 ppb, or 7% of the total contribution of all upwind states. Therefore, a
significant portion of upwind contribution will be captured by states linked at or above 1 ppb. Third and
finally, there are no other states that contribute between 1 percent and 1 ppb to this receptor. In
addition, Alabama is not linked to any other state at or above 1 ppb.

Comparing these results to those in the Iowa three-factor analysis, we see that, unlike Iowa, the first
factor here highlights that in-state, not upwind, contributions have a larger impact on these receptors.
In Iowa’s case, upwind contributions were much higher than in-state contributions to the receptors at
issue. This factor weighs in favor of a 1 ppb threshold for Alabama. Turning to the second factor,
Alabama’s modelled contributions to the receptors at issue are 6-7% of all upwind contributions,
whereas states linked with a contribution above 1 ppb account for approximately 45-60% of all upwind
contributions. Therefore, like Iowa, a substantial amount of upwind contribution from states will be
captured by a 1 ppb threshold. Finally, the third factor also supports a 1 ppb threshold for Alabama in
the case of Harris County since no other state contributions lie between 1 percent and 1 ppb. For
Denton County, of the two states other than Alabama that are between the two thresholds, Arkansas is
linked elsewhere above 1 ppb—this situation is similar to that of Iowa and the Allegan receptor, where
one other state had additional linkages above 1 ppb, meaning that emission reductions by that state
would benefit the receptor at issue.

In addition to these three factors, like for Iowa, collective upwind ozone contribution captured with a 1
percent threshold is comparable to the contribution captured with a 1 ppb threshold for both Denton
and Harris counties. At the Denton monitor, a 1 percent threshold captures contributions of 7.96 ppb
and a 1 ppb threshold captures contributions of 5.55 ppb (or 70% of the upwind contribution that would

                                                                                                      273
        Case: 23-60069          Document: 110          Page: 672       Date Filed: 03/27/2023




be captured using a 1 percent threshold). At the Harris County receptor, a 1 percent threshold captures
8.31 ppb and a 1 ppb threshold captures 7.43 ppb (or 89% of upwind contributions that would be
captured using a 1 percent threshold). For comparison, the 1 ppb threshold captured 83% and 94% of
contributions to the receptors (Milwaukee and Allegan, respectively) at issue in the Iowa SIP. Thus, at
over 89% capture, the 1 ppb threshold is easily appropriate for the Harris County receptor. Though the
percentage captured by the 1 ppb threshold is slightly lower for the Denton monitor, this is because the
monitor is so close to attainment. There is only a 2.4 ppb difference in the amount captured, which is
also comparable to that in Iowa, where there was a 4.8 ppb difference in the amount of contributions
captured using a 1 percent versus a 1 ppb threshold for Milwaukee and a 2.2 ppb difference for Allegan.

This “state specific” analysis demonstrates that, based on the factors set out by EPA, a 1 ppb significant
threshold is reasonable and appropriate for Alabama, as the amount of upwind collective contribution
captured with the 1 percent and 1 ppb thresholds is generally comparable and Alabama’s overall
modelled contributions to the receptors at issue is small. Surely, this analysis meets EPA’s bar for
“technical data relevant to Alabama” demonstrating why a 1 ppb threshold is reasonable.

[table in full comment]



Commenter: Arkansas Department of Energy and Environment, Division of Environmental Quality

Commenter ID: 07

Docket ID: EPA-R06-OAR-2021-0801

Comment:

Although EPA has not revoked the August 2018 Memorandum, EPA attempts to justify why they no
longer consider this memorandum “guidance” and why they now specify that all states should conform
to their policy choice with respect to the arbitrary 1% threshold. ADEQ finds that it is unreasonable for
EPA to transform into a requirement that which was initially packaged and delivered to states as one of
several options. This puts states at a critical disadvantage, as state rulemaking and the associated SIPs
take years to develop, and early EPA guidance and conversations with EPA Regional Offices are the first
pillars of state SIP development. States must undertake SIP development with limited technical
resources, so the states rely heavily on EPA data and EPA guidance in their decision-making. The
threshold decision is fundamental to further steps in the Interstate Transport Framework analysis.
Therefore, this late-stage decision by EPA is unreasonable. DEQ finds that this decision effectively forces
states to fail in meeting EPA’s vacillating interpretation of what is necessary for SIPs to meet interstate
transport obligations.

[…]

In the Proposed Rule, EPA proposes to substitute its arbitrary 1% threshold for the threshold used by
DEQ in the Arkansas Transport SIP to identify potential linkages between Arkansas and identified
nonattainment and maintenance areas. Consistent with EPA’s August 2018 Memorandum, DEQ selected
a 1 part per billion (ppb) threshold for identifying linkages between Arkansas and nonattainment and
maintenance receptors. EPA now attempts to dismiss its own guidance by attempting to add, post hoc, a
                                                                                                       274
        Case: 23-60069          Document: 110          Page: 673        Date Filed: 03/27/2023




requirement that DEQ should base its use of the 1 ppb threshold on “an evaluation of state specific
circumstances.” The August 2018 memo contains no such directive. Instead, the memo contains
boilerplate language that “each state should consider whether the recommendations in this guidance
are appropriate for each situation.” Because of the interstate nature of the SIP, there are no “state-
specific circumstances” with regard to the linkage threshold. DEQ instead chose to follow the plain
meaning of the “consider” language and the spirit of guidance in the August 2018 memo. That is, it was
the clear intent that the EPA, at the time of the August 2018 memo, wanted each state to exercise its
rational and independent judgement as to whether the 1 ppb threshold was an appropriate measure to
identify linkages. The appropriateness of this threshold was supported in ADEQ’s SIP by multiple facts.
First, EPA’s August 2018 memorandum provided evidence that a 1 ppb threshold is generally
comparable to a 1% threshold for the 2015 ozone NAAQS. Second, 1 ppb is a threshold used for another
program to determine whether a PSD source has a significant impact that causes or contributes to a
violation of a NAAQS or PSD increment. Third, 1 ppb is the significant digit for reporting ozone
monitoring data. These three pieces of evidence support DEQ’s selection of a 1 ppb threshold for
determining what the state considers to be a potential linkage to nonattainment and maintenance
receptors. In its proposed disapproval, EPA dismisses the weight of evidence provided by ADEQ in its
choice of the 1 ppb threshold and substitutes its own policy for the state’s without any evidence to
support their 1% threshold other than to state that the 1% threshold captures marginally more
contributions. Unlike EPA’s arbitrary threshold, DEQ’s threshold for evaluating linkages is based on a
robust weight-of-evidence.

[…]

EPA’s proposed disapproval also conflates a “linkage” based on its arbitrary 1% threshold with
“significant contribution” that automatically imposes some emission reduction obligation on sources or
emissions activities in a state. The threshold, whether 1% or 1 ppb, is a screening device triggering
further analysis to determine whether particular emissions sources and activities within a state are
“significantly” contributing to nonattainment or interfering with maintenance in another state.
Arkansas’s obligation is to prohibit “any source or other type of emissions activity within the State from
emitting any air pollutant in amounts [that will] contribute significantly to nonattainment in, or interfere
with maintenance by, any other State with respect to any such national primary or secondary ambient
air quality standard.” A “linkage” in and of itself is not a “source” or “emission activity” and is not a
construct established under the Clean Air Act. It is a tool EPA established in guidance to assist states
(and themselves) in evaluating whether there may be a source or emission activity in one state that is
emitting an air pollutant(s) in an amount that may “significantly” contribute to nonattainment in or
interfere with maintenance by any other State. In the Arkansas Transport SIP, DEQ made use of a 1 ppb
threshold as a tool for determining whether further inquiry into potential “significant” contribution or
interference by a source or emission activity is required (Step 3 of EPA’s interstate transport
framework).

[…]

Determination of linkages and significant contributions occurs at separate steps in the four-step
analysis. DEQ does not agree that a 1% linkage to an entire state is the same as a significant contribution
from a source or emissions activity. The state’s obligation is not to eliminate an arbitrary threshold (or to

                                                                                                         275
        Case: 23-60069          Document: 110         Page: 674        Date Filed: 03/27/2023




reduce emissions such that a neighboring state that may be its own primary contributor to
nonattainment is not overburdened by their own obligations), but to determine if any emissions sources
or emissions activity in the state are significantly contributing to a downwind nonattainment receptor or
interfering with maintenance of the NAAQS by a downwind state and respond accordingly to mitigate
significant contributions.

With respect to EPA’s proposed disapproval of Arkansas’s SIP, EPA is proposing to disapprove of
Arkansas’s use of an alternative 1 parts per billion (“ppb”) threshold to identify whether Arkansas is
“linked” to projected nonattainment and/or maintenance receptors in other states, in part due to EPA’s
determination that use of an alternative threshold “may be impractical or otherwise inadvisable for a
number of additional policy reasons.” EPA also claims that “it is not clear that national ozone transport
policy is best served by allowing for less stringent thresholds at Step 2.” Instead, EPA believes the
appropriate threshold to determine linkages is 1 percent of the 2015 ozone NAAQS (i.e., 0.70 ppb).

[…]

Likewise, EPA’s claim that it may be impracticable to apply an alternative threshold is an inappropriate
basis for rejecting a state’s choice. Impracticality, like policy reasons, plays no part in whether a SIP
meets the applicable CAA requirements. EPA’s analysis of whether the DEQ SIP complied with CAA
requirements should have been limited to the rules, guidance and information existing at the time of
DEQ’s SIP submittal and not on EPA’s new policy judgments.

[…]

With this proposal, EPA indicates that the agency does not support state-justified alternatives that differ
from the arbitrary line drawn by EPA in the Proposed Rule. EPA’s discussion in the Proposed Rule
indicates that the agency does not consider the recommendations that EPA presented to states in the
EPA’s August 2018 guidance as viable alternatives to a one-size-fits-all EPA implementation of policy in
2022. The agency goes on to say they will "evaluate whether the state adequately justified the technical
and legal basis" for any alternative compliance options that a state proposed. But, then EPA states that
the August 2018 memo and its Attachment A "do not constitute agency guidance," though the title of
the document in question is "Preliminary List of Potential Flexibilities." At the time the memo was
released, seven months before state plans were due to EPA, it was clearly intended by EPA to provide
guidance to the states. (See sentences 6 and 10 of the memo.) Four years later, EPA now rejects its
former position and is attempting to substitute the states’ policy judgments with its own.



Commenter: Arkansas Environmental Federation

Commenter ID: 09

Docket ID: EPA-R06-OAR-2021-0801

Comment:

Further, EPA cannot base disapproval of a SIP on the fact that states, even when following the 4-Step
interstate transport framework that EPA has established, may apply different thresholds in Step 2 of the

                                                                                                       276
        Case: 23-60069          Document: 110          Page: 675        Date Filed: 03/27/2023




framework, which would have “the potential to result in inconsistent application of interstate transport
obligations based solely on the strength of a state’s SIP submittal at Step 2 of the 4-Step framework.”
The states, in the first instance, have wide discretion in determining how to achieve the NAAQS,
including their interstate transport obligations, and EPA cannot force the states to adopt approaches
reflecting the Agency’s policy preferences for consistency in interstate transport obligations. A “SIP
basically embodies a set of choices . . . that the state must make for itself in attempting to reach the
NAAQS with minimum dislocation.”14
14
  Bridesburg, 836 F.2d at 780–81 (emphasis added); see also Com. of Va., 108 F.3d at 1410 (D.C. Cir.)
(CAA Section 110 “does not enable EPA to force particular control measures on the states.”).



Commenter: Cleco Corporate Holdings LLC

Commenter ID: 14

Docket ID: EPA-R06-OAR-2021-0801

Comment:

The writer of the August 2018 memorandum provides information and argument which is summarized
at the end that “Because the amount of upwind collective contribution captured with the 1 percent and 1
ppb thresholds is generally comparable, overall, we believe it may be reasonable and appropriate for
states to use a 1 ppb contribution threshold, as an alternative to a 1 percent threshold, at Step 2 of the 4-
step framework in developing their SIP revisions addressing the good neighbor provision for the 2015
ozone NAAQS.” Again, the memorandum does not call for the party utilizing the 1 ppb threshold to
conduct "appropriate additional analysis". But as found in the Louisiana SIP, LDEQ did consider whether
the recommendation for the August 31, 2018 guidance was appropriate for the situation and this was
documented in the SIP. That is, The LDEQ has maintained that an arbitrary threshold of 1% of the NAAQS
for significant contribution to nonattainment or interference with maintenance is not applicable because
the value is not detectable by the monitor and following the manner in which a design value is
calculated, one percent of the standard would be truncated to zero. Therefore, Louisiana will use the
flexibility allowed in the March 2018 memorandum allowing the use of 1 ppb. In addition, LDEQ further
indicated in the SIP, the use of 1 % of the NAA QS threshold for modeled contribution as the sole
definition of significant contribution is inappropriate for the 2015 ozone NAAQS since the more stringent
0. 7 ppb threshold is an order of magnitude smaller than the biases and errors typically documented for
regional photochemical modeling (Simon et al., 2012). It's obvious that LDEQ considered whether the
recommendation for this guidance was appropriate for the situation.

However, EPA goes on to indicate in the Proposal that now its position is that although it has not
revoked the guidance in the August 2018 memorandum, it no longer considers the August 2018
memorandum guidance's approval of reliance on the 1 ppb screening threshold as proper. It is
inappropriate for EPA to change course on what was presented in its August 2018 memorandum
analysis because many in the regulated community relied upon it in the crafting of their state
implementation plans. Cleco encourages the Agency to continue to support the August 2018
memorandum as written.
                                                                                                         277
        Case: 23-60069          Document: 110         Page: 676        Date Filed: 03/27/2023




Commenter: Eagle Materials Inc.

Commenter ID: 16

Docket ID: EPA-R09-OAR-2022-0138

Comment:

EPA unreasonably departed from a 1 ppb linkage threshold.

EPA previously articulated a policy finding it reasonable for states to apply a 1 ppb linkage threshold in
assessing their ozone transport obligations. While the APA does not prevent EPA from changing its prior
policies, EPA must, at minimum, acknowledge such a change and provide a reasonable explanation. In
articulating its explanation, EPA “cannot ignore its prior factual findings that contradict its new policy
nor ignore reliance interests.” Rather, EPA must “show that ‘there are good reasons’ for the new policy
and ‘that the agency believes it to be better, which the conscious change of course adequately
indicates.’”

EPA’s August 2018 Guidance specifically concluded “that a threshold of 1 ppb may be appropriate for
states to use to develop SIP revisions addressing the good neighbor provision for the 2015 ozone
NAAQS.” In making this determination, EPA emphasized that “the amount of upwind collective
contribution captured using a 1 ppb threshold is generally comparable to the amount captured using a
threshold equivalent to 1 percent of the NAAQS,” noting that the difference in captured emissions was
only 7% when summed across all receptors and was “of a similar magnitude” at individual receptors.

However, in its Proposed SIP Disapproval, EPA notes that “its experience since the issuance of the
August 2018 memorandum regarding use of alternative thresholds at Step 2… leads the Agency to now
believe it may not be appropriate to continue to attempt to recognize alternative contribution
thresholds at Step 2.” EPA explains that a 1 ppb threshold “may be impractical or otherwise inadvisable”
for the following reasons:

        • “[C]onsistency in requirements and expectations across all states is essential,”

        • “Consistency with past interstate transport actions… is also important,” and

        • “[T]he 1 ppb threshold has the disadvantage of losing a certain amount of total upwind
        contribution for further evaluation.”

EPA does not adequately explain its change in position. In its August 2018 Memo, EPA determined that a
7% loss in total upwind state contribution did not interfere with state interstate transport obligations,
but in the Proposed SIP Disapproval, EPA concludes that a 5% loss is unacceptable. EPA’s only
explanation for this about-face is “the core statutory objective of ensuring elimination of all significant
contribution to nonattainment or interference of the NAAQS in other states and the broad, regional
nature of the collective contribution problem with respect to ozone,” which does not address why a 5%
difference would not still eliminate significant contributions—particularly when EPA applies a marginal
cost threshold as a proxy for significance at the next step of its analysis. EPA also apparently requires a

                                                                                                       278
        Case: 23-60069         Document: 110         Page: 677        Date Filed: 03/27/2023




“compelling policy imperative” for changing this threshold from 0.70 ppb, but does not apply the same
standard to changing the threshold from 1 ppb.



Commenter: Environmental Federation of Oklahoma

Commenter ID: 20

Docket ID: EPA-R06-OAR-2021-0801

Comment:

In particular, EFO supports DEQ’s assessment that EPA has overstepped its authority by circumventing
the normal SIP development and approval process in a number of ways, including but not limited to: […]
fifth, ignoring, or at least mischaracterizing, its own final guidance to the states.



Commenter: Idaho Power Company

Commenter ID: 23

Docket ID: EPA-R09-OAR-2022-0138

Comment:

Finally, EPA unreasonably departs from its own policy finding it reasonable for states to apply a 1 ppb
linkage threshold in assessing their ozone transport obligations. EPA’s August 2018 Guidance specifically
concluded “that a threshold of 1 ppb may be appropriate for states to use to develop SIP revisions
addressing the good neighbor provision for the 2015 ozone NAAQS.” EPA inexplicably changes course in
the Proposed Disapproval, claiming that “its experience since the issuance of the August 2018
memorandum… leads the Agency to now believe it may not be appropriate to continue to attempt to
recognize alternative contribution thresholds,” like the 1 ppb threshold. EPA’s only explanation for this
about-face is “the core statutory objective of ensuring elimination of all significant contribution to
nonattainment or interference of the NAAQS in other states and the broad, regional nature of the
collective contribution problem with respect to ozone,” which is nonsensical because EPA applies a
marginal cost threshold as a proxy for significance at the next step of its analysis.



Commenter: Kentucky Division for Air Quality

Commenter ID: 25

Docket ID: EPA-R04-OAR-2021-0841

Comment:

EPA Reversal on use of 1% Contribution Threshold


                                                                                                     279
        Case: 23-60069          Document: 110         Page: 678        Date Filed: 03/27/2023




In the August 2018 memo, EPA states, “The data in the tables below indicate that, for the 2015 ozone
NAAQS, the amount of upwind collective contribution captured using a 1 ppb threshold is generally
comparable to the amount captured using a threshold equivalent to 1 percent of the NAAQS. Overall,
using a 1 ppb threshold captures 70 percent, which is a similar and only slightly lower amount of
contribution.” Due to the close correlation between the use of a 1% threshold and a 1 ppb threshold,
Kentucky chose to use the 1 ppb threshold for screening purposes in Step 2 of the framework, following
EPA’s published guidance. EPA has not provided any new information for rejecting the use of the 1 ppb
threshold. Rather, the proposed rule states, “EPA’s experience since the issuance of that [August 2018]
memorandum has revealed substantial programmatic and policy difficulties in attempting to implement
this approach.” In this proposed action, EPA is relying on the 1% threshold to evaluate a state’s
contribution to a nonattainment or maintenance monitor. EPA identifies the need for consistency in its
evaluation across all its Interstate Transport requirements, for all NAAQS.



Commenter: Louisiana Electric Utility Environmental Group

Commenter ID: 28

Docket ID: EPA-R06-OAR-2021-0801

Comment:

With respect to EPA’s proposed disapproval of Louisiana’s SIP, EPA is proposing to disapprove of
Louisiana’s use of an alternative 1 ppb threshold to identify projected nonattainment and/or
maintenance receptors in other states, in part due to EPA’s determination that use of an alternative
threshold “may be impractical or otherwise inadvisable for a number of additional policy reasons.”
Impracticality, like policy reasons, play no part in whether a SIP meets the applicable CAA requirements.

Further, EPA cannot base disapproval of a SIP on the fact that states, even when following the 4-Step
interstate transport framework that EPA has established, may apply different thresholds in Step 2 of the
framework, which would have “the potential to result in inconsistent application of interstate transport
obligations based solely on the strength of a state’s SIP submittal at Step 2 of the 4-Step framework.”
The states, have wide discretion in determining how to achieve the NAAQS, including their interstate
transport obligations and EPA cannot force the states to adopt approaches reflecting the Agency’s policy
preferences for consistency in interstate transport obligations. A “SIP basically embodies a set of choices
. . . that the state must make for itself in attempting to reach the NAAQS with minimum dislocation.”



Commenter: Louisiana Chemical Association

Commenter ID: 26

Docket ID: EPA-R06-OAR-2021-0801

Comment:



                                                                                                       280
        Case: 23-60069          Document: 110         Page: 679       Date Filed: 03/27/2023




LDEQ relied on the EPA’s 2018 August Guidance and applied the 1 ppb screening limit in performing
Step 2 of its analysis. Based on the 1 ppb screening limit, the monitors in Michigan and Wisconsin were
not flagged for further analysis as the modeled contributions from Louisiana sources at those receptors
were all less than 1 ppb:

                               Milwaukee, WI…………………………………..0.72

                               Sheboygan, WI…………………………………..0.84

                                 Allegan, MI…………………………………..0.70

The August 2018 Guidance notes that the contribution captured with the 1 ppb threshold versus a 0.70
ppb threshold for Milwaukee, Sheboygan, and Allegan are as follows: 83.0%, 91.8%, and 94.2%. Thus, it
was reasonable for the LDEQ to rely on the August 2018 Guidance approval of the 1 ppb screening
threshold to exclude these locations from further analysis. Moreover, as noted by the LDEQ in the
Louisiana Transport SIP: “In addition, the use of 1% of the NAAQS threshold for modeled contribution as
the sole definition of significant contribution is inappropriate for the 2015 Ozone NAAQS since the more
stringent 0.7 ppb threshold is an order of magnitude smaller than the biases and errors typically
documented for regional photochemical modeling (Simon et al., 2012).” In fact, although modeling bias
(difference between monitored and modeled values) has been reduced over the last 10-15 years with
updated CMAX modeling versions, summertime NOx bias still remains above the 1% threshold,
particularly in the South, including Louisiana.

Now, EPA’s position, as indicated in the Proposed Rule, is that although EPA has not revoked the
guidance in the August 2018 memorandum, it no longer considers the August 2018 memorandum
guidance's approval of reliance on the 1 ppb screening threshold as proper. It is inappropriate for EPA to
“pull the rug” out from under states who reasonably relied upon EPA guidance that was scientifically
based and not arbitrary simply because EPA now believes a different approach is preferrable. Based on
similarities in the contributions captured using a 1 ppb threshold and the 0.07 ppb (1%) threshold and
the fact that the bias in modeling is greater than 1% for this type of regional photochemical modeling
(particularly, bias towards overprediction in the Southern states for summertime ozone), LDEQ’s
reliance on a 1 ppb threshold to screen out the Michigan and Wisconsin monitors noted above was
reasonable. The EPA screening level now being used to evaluate Louisiana’s SIP is a fraction of a part per
billion – an incredibly low value. EPA has provided no scientific support for a 1% screening level to be
always applied for every NAAQS without consideration of factors such as the ability to discern ozone
impacts of precursors at such infinitesimally small values and model performance. Although EPA
addresses the bias limitations of the modeling in the Proposed Rule, it does not explain why the 1 ppb
threshold is arbitrary and capricious and should not be used given the similarities in results provided in
the August 2018 Guidance.

Accordingly, the EPA’s proposed disapproval of LDEQ’s use of the 1 ppb screening threshold, including as
it relates to the exclusion of the Wisconsin and Michigan monitors from further transport analysis, was
unreasonable and fails to comport with the federalism principles inherent in the CAA. EPA must allow
states the opportunity to use reasonable alternatives to the 1% screening threshold.



                                                                                                      281
        Case: 23-60069          Document: 110         Page: 680        Date Filed: 03/27/2023




Commenter: Midwest Ozone Group

Commenter ID: 30

Docket ID: EPA-R07-OAR-2021-0851

Comment:

Finally, EPA misstates Missouri's argument with respect to contribution. In accordance with the
flexibility provisions in the EPA’s August 31, 2018, guidance memo, Missouri demonstrated that its
emissions and their contribution to ozone in Wisconsin, Texas, and Michigan were not significant in
comparison to local emissions. Missouri demonstrated that its emissions were less than 2% of NAAQS
and were generally small in comparison with local, background and international contributions, which
were larger than the Missouri emissions in some cases. EPA’s failure to acknowledge that Missouri
emissions were not significant in comparison to other sources exceeds the agency’s discretionary
authority.



Commenter: Midwest Ozone Group

Commenter ID: 30

Docket ID: EPA-R02-OAR-2021-0673, EPA-R03-OAR-2021-0872, EPA-R03-OAR-2021-0873, EPA-R04-OAR-
2021-0841, EPA-R05-OAR-2022-0006, EPA-R06-OAR-2021-0801, EPA-R07-OAR-2021-0851

Comment:

The August 13, 2018, Tsirigotis guidance memo, styled “Analysis of Contribution Thresholds for Use in
Clean Air Act Section 110(a)(2)(D)(i)(I) Interstate Transport State Implementation Plan Submissions for
the 2015 Ozone National Ambient Air Quality Standards,” also was addressed to EPA Regional Air
Directors in all EPA Regions. The memo states,

        “[t]the purpose of this memorandum is to provide analytical information regarding the degree
        to which certain air quality threshold amounts capture the collective amount of upwind
        contribution from upwind states to downwind receptors for the 2015 ozone National Ambient
        Air Quality Standards (NAAQS). It also interprets that information to make recommendations
        about what thresholds may be appropriate for use in state implementation plan (SIP) revisions
        addressing the good neighbor provision for that NAAQS . . . [t]his document does not substitute
        for provisions or regulations of the Clean Air Act (CAA), nor is it a regulation itself. Rather, it
        provides recommendations for states using the included analytical information in developing SIP
        submissions, and for the Environmental Protection Agency (EPA) Regional offices in acting on
        them. Thus, it does not impose binding, enforceable requirements on any party. State air
        agencies retain the discretion to develop good neighbor SIP revisions that differ from this
        guidance.”

In the ensuing two years and six months since the last guidance document was published, EPA has
known that states might be incorporating the 2018 guidance into Good Neighbor SIP submittals and has
made no public statement saying that it would not honor its guidance. Moreover, all of the subject 19
                                                                                                       282
        Case: 23-60069          Document: 110         Page: 681       Date Filed: 03/27/2023




Good Neighbor SIPs have been pending before the agency between two and one-half and almost four
years with only one proposed action by EPA – the proposed approval of Iowa’s Good Neighbor SIP that
incorporated the 2018 guidance in a March 2, 2020, proposal at 85 Fed. Reg. 12,232. Now, nearly three
years after the first Tsirigotis memo was published and two and a half years after the last was published,
EPA is attempting to assert that these documents are archival in nature and trying to walk back the
proposed Iowa approval (See 87 Fed. Reg. 9,477, February 22, 2022).

[…]

Once an agency issues guidance to regulated parties, the agency cannot “simply disregard”
the substance of its guidance and rely on “post hoc justifications” when deciding whether regulated
parties have acted in accordance with such guidance. Hoosier Env’t Council v. Nat. Prairie Indiana
Farmland Holdings, LLC, No. 4:19-CV-71 DRL-JEM, 2021 WL 4477152, at **13, 16 (N.D. Ind.
Sept. 29, 2021). Doing so constitutes an arbitrary and capricious action by the agency. Id. at *17.
By waiting for years and until after states complied with EPA’s 2018 guidance to backtrack on the
guidance, add a new requirement, not in the guidance, that alternative methods used by states in
their SIPs must be “substantially justified and have a well-documented technical basis,” and
disapprove SIPs on that basis, EPA is engaging in arbitrary and capricious actions. EPA should
alter its position and encourage states to take advantage of these flexibilities, as appropriate, and
to incorporate these guidance flexibilities into their Good Neighbor SIPs.


Commenter: Midwest Ozone Group

Commenter ID: 30

Docket ID: EPA-R08-OAR-2022-0315, EPA-R09-OAR-2022-0394, EPA-R09-OAR-2022-0138

Comment:

The August 13, 2018, Tsirigotis guidance memo, styled “Analysis of Contribution Thresholds for Use in
Clean Air Act Section 110(a)(2)(D)(i)(I) Interstate Transport State Implementation Plan Submissions for
the 2015 Ozone National Ambient Air Quality Standards,” also was addressed to EPA Regional Air
Directors in all EPA Regions. […]

In the ensuing period of time since the last guidance document was published, EPA has known that
states might be incorporating the 2018 guidance into Good Neighbor SIP submittals and has made no
public statement saying that it would not honor its guidance.



Commenter: Oklahoma Department of Environmental Quality

Commenter ID: 37

Docket ID: EPA-R06-OAR-2021-0801

Comment:


                                                                                                        283
        Case: 23-60069          Document: 110         Page: 682        Date Filed: 03/27/2023




Comment 1: States Relied in Good Faith on Flexibilities Offered in EPA Memos, but the Memos Are Not
Being Honored by EPA

In developing its 2018 Ozone Infrastructure SIP, specifically the good neighbor/ozone transport
provisions of said SIP, ODEQ relied on all three 2018 Tsirigotis Memos. However, ODEQ relied on the
March and August 2018 Tsirigotis Memos for the flexibilities described herein, specifically the decision
to use a 1 ppb significance threshold. EPA stated in the August 2018 Tsirigotis Memo, on page 4:

        Because the amount of upwind collective contribution captured with the 1 percent and 1 ppb
        thresholds is generally comparable, overall, we believe it may be reasonable and appropriate for
        states to use a 1 ppb contribution threshold, as an Page 4 of 15 alternative to a 1 percent
        threshold, at Step 2 of the 4-step framework in developing their SIP revisions addressing the
        good neighbor provision for the 2015 ozone NAAQS.

States, including Oklahoma, relied in good faith on the flexibilities that were held out by the Tsirigotis
memos—and with good reason, since EPA encouraged states to rely on said memos during SIP
development. Because EPA now refuses to honor the statements in said memos, EPA has created an
unpredictable, uncooperative, and inequitable landscape that states now must attempt to navigate.
EPA’s failure to recognize its own guidance, and the predicament it has now put states in that face a SIP
disapproval and subsequent FIP, undermines the cooperative nature of the EPA-state relationship.

The states’ good faith reliance on EPA—not just reliance on the 2018 Tsirigotis memos, but reliance on
EPA itself, through ordinary avenues of cooperative federalism—in ozone transport SIP development
has now put states at a disadvantage. Oklahoma acted in good faith during its SIP development process
by continually paddling the channels of communication with EPA Region 6, apprising EPA of Oklahoma’s
SIP development plans as both a courtesy and to avoid a disapproval. At no point during the SIP
development process was Oklahoma on notice that its proposed SIP would be disapproved on the
grounds that reliance on the 2018 Tsirigotis Memos was inappropriate. EPA has, without explanation,
arbitrarily and capriciously changed its policy position through its refusal to acknowledge the legitimacy
of states’ good faith reliance on EPA guidance memoranda.

Comment 6: Oklahoma’s Proposed Threshold of 1 ppb is Appropriate and Justified

EPA states in the proposed disapproval that it “recognized in the August 2018 memorandum that there
was some similarity in the amount of total upwind contribution captured (on a nationwide basis)
between 1 percent and 1 ppb. However, the EPA notes that while this may be true in some sense, that is
hardly a compelling basis to move to a 1 ppb threshold.” 87 Fed. Reg. 9819. This is a gross
mischaracterization of the statements made by EPA in the August 2018 Tsirigotis Memo. The August
2018 Tsirigotis Memo concluded that “using a 1 ppb threshold is generally comparable to the amount
captured using a threshold equivalent to 1 percent of the NAAQS.” August 2018 Tsirigotis Memo, page
4. It further states, “The data in Table 2 indicate that the percent of upwind contribution captured by a 1
percent and 1 ppb threshold at individual receptors are also of a similar magnitude at most sites.” Id.
EPA further concluded:

        Because the amount of upwind collective contribution captured with the 1 percent and 1 ppb
        thresholds is generally comparable, overall, we believe it may be reasonable and appropriate for
        states to use a 1 ppb contribution threshold, as an alternative to a 1 percent threshold, at Step 2
                                                                                                        284
        Case: 23-60069          Document: 110         Page: 683        Date Filed: 03/27/2023




        of the 4-step framework in developing their SIP revisions addressing the good neighbor
        provision for the 2015 ozone NAAQS. Id. at 4.

For states like Oklahoma, with very low contributions to upwind states, the use of the 1 ppb
contribution threshold versus the 1% of the NAAQS threshold is appropriate and justified based on the
conclusions drawn by EPA in its August 2018 memo.



Commenter: Tennessee Department of Environment and Conservation

Commenter ID: 41

Docket ID: EPA-R04-OAR-2021-0841

Comment:

Comment #4: While a consistent approach is desirable for evaluating Infrastructure SIPs, EPA may not
disregard its own guidance and must respect the states’ role in creating a compliant SIP.

As noted in Comments #2 and #3 and conceded by EPA, Tennessee satisfied the primary (1% of NAAQS)
threshold at the time of its 2018 iSIP submittal based on then-available data. However, in the iSIP
Disapproval, EPA also expressed reservations about the 1 ppb (alternate) threshold that Tennessee
discussed in its 2018 submittal on the grounds that “Tennessee did not provide additional discussion or
analysis . . . which is necessary to evaluate the state-specific circumstances that could support approval
of an alternative threshold.” Therefore, while it is not necessary for Tennessee to use this alternate
threshold to prove that its 2018 submission was compliant, it takes the opportunity to do so to preserve
the ability to use an alternate threshold in the future, in conformance with EPA policy.

Tennessee agrees with EPA’s discussion in the iSIP Disapproval that the 1 percent of the NAAQS
threshold in Step 2 of the Framework is one reasonable (though not the exclusive) approach for
assessing a state’s contribution to downwind nonattainment, but believes that EPA’s proposed
disapproval fails to consider an essential issue: EPA may update or revise its previously-established
guidance, but may not simply disregard its own established guidance that has not actually been
withdrawn.32

In explaining its proposed disapproval of the use of an alternate threshold in Tennessee’s 2018 SIP
submission, EPA extensively discussed its August 31, 2018, memorandum on the topic (the “August 2018
memorandum”). This August 2018 memorandum, which EPA extensively cites in the iSIP Disapproval
and has not been rescinded, recognized that in certain circumstances, a state may be able to establish
that an alternative contribution threshold of 1 ppb is justifiable. The memorandum explains that when a
state relies on this alternative threshold to determine that it is not linked to a downwind nonattainment
or maintenance area, EPA will evaluate whether the state provided a technically sound assessment of
the alternative threshold based on the facts and circumstances in the particular SIP submission, as
follows:

        Following these recommendations does not ensure that the EPA will approve a SIP revision in all
        instances where the recommendations are followed, as the guidance may not apply to the facts

                                                                                                        285
        Case: 23-60069          Document: 110          Page: 684        Date Filed: 03/27/2023




        and circumstances underlying a particular SIP. Final decisions by the EPA to approve a particular
        SIP revision will only be made based on the requirements of the statute and will only be made
        following an air agency's final submission of the SIP revision to the EPA, and after appropriate
        notice and opportunity for public review and comment. Interested parties may raise comment
        about the appropriateness of the application of this guidance to a particular SIP revision. The
        EPA and air agencies should consider whether the recommendations in this guidance are
        appropriate for each situation.

The SIP Disapproval further explains that since issuing the August 2018 memorandum, EPA has
identified the following substantial programmatic and policy difficulties in attempting to implement this
approach:

    •   EPA believes, based on the review of 49 good neighbor SIP submittals for the 2015 ozone
        NAAQS, that nearly every state that attempted to rely on a 1 ppb threshold did not provide
        sufficient information and analysis to support a determination that an alternative threshold was
        reasonable or appropriate for that state. For instance, in nearly all submittals, the states did not
        provide EPA with analysis specific to their state or the receptors to which its emissions are
        potentially linked.
    •   EPA notes that for the March 2, 2020, proposed approval of Iowa’s SIP submittal, the Agency
        expended its own resources to supplement the information submitted by the state, in order to
        more thoroughly evaluate the state-specific circumstances that could support approval. This
        analysis was performed at EPA’s sole discretion, the Agency was not obligated to conduct
        supplemental analyses for each SIP, and the Agency no longer intends to undertake
        supplemental analysis of SIP submittals with respect to alternative thresholds at Step 2.
    •   EPA now believes that allowing for alternative Step 2 thresholds may be impractical or
        otherwise inadvisable for a number of additional policy reasons. For a regional air pollutant such
        as ozone, EPA now takes the position that consistency in requirements and expectations across
        all states is essential, and the availability of different thresholds at Step 2 creates the potential
        for inconsistent application of good neighbor obligations based solely on the strength of a
        state’s implementation plan submittal at Step 2 of the 4-step interstate transport framework.
        Specifically, EPA argues that the use of an alternative threshold would allow certain states to
        avoid further evaluation of potential emission controls while other states must proceed to a
        Step 3 analysis, which EPA believes can create significant equity and consistency problems
        among states.
    •   The proposed disapproval states that it is not clear that national ozone transport policy is best
        served by allowing for less stringent thresholds at Step 2. EPA argues that while there is some
        similarity in the amount of total upwind contribution captured (on a nationwide basis) between
        1% and 1 ppb, the 1 ppb threshold loses a certain amount of total upwind contribution for
        further evaluation at Step 3. Based on core statutory objective of eliminating all significant
        contribution to nonattainment or interference with maintenance, as well as the broad, regional
        nature of ozone transport, EPA believes, “there does not appear to be a compelling policy
        imperative in allowing some states to use a 1 ppb threshold while others rely on a 1 percent of
        the NAAQS threshold.”


                                                                                                         286
         Case: 23-60069          Document: 110         Page: 685       Date Filed: 03/27/2023




Notwithstanding these concerns, EPA goes out of its way to note that “EPA is not at this time rescinding
the August 2018 memorandum.” EPA’s proposed disapproval attempts to have it both ways—by
confirming that the underlying guidance has not been withdrawn, but also asserting—after-the-fact—
that the Step 21-ppb threshold identified in the August2018 memorandum is (almost) universally
inappropriate because: (1) a number of states in this particular round of SIPs did not provide EPA with
analysis specific to their state or the receptors to which its emissions are potentially linked; and (2)
allowing for alternative significance thresholds may be impractical or otherwise inadvisable for a
number of additional policy reasons. For the following reasons, we believe that EPA is incorrect on both
points:

      1. Tennessee’s 2018 iSIP submittal used then-current modeling, which indicated that Tennessee’s
         downwind contribution was less than both appliable Step 2 thresholds: the default threshold of
         1% of the ozone NAAQS and the alternate 1 ppb threshold. While EPA had the opportunity to
         provide comments to Tennessee’s 2018 submittal during a comment period (which closed three
         years ago), EPA identified no inadequacy regarding the use of an alternate threshold during the
         original public participation process and offered no comments, during either pre-draft review or
         formal public participation, to indicate that an alternate threshold was problematic or that
         Tennessee should supplement its demonstration to account for a 1 ppb alternative threshold
         (see Appendix A for a copy of EPA’s comment letter). Furthermore, Tennessee could not have
         justified an alternate significance threshold in 2018 because the data required for a proper
         technical analysis (i.e., model results showing downwind contributions between 0.70 ppb and 1
         ppb) were not available at that time. Part II of these comments (technical comments)
         demonstrate, based on EPA’s most recent modeling, why a 1 ppb significance threshold is
         appropriate for Tennessee. Since EPA did not make these data available at the time of our
         original submittal, EPA must fully consider an alternate threshold based on information provided
         at this time.
      2. As discussed in more detail in comment #7, EPA itself has not consistently applied the 1% of the
         NAAQS threshold in determining whether upwind states are ‘linked’. Instead, EPA has
         determined that there are circumstances in which the 1% of the NAAQS threshold should not be
         used, as discussed in the proposed Federal Implementation Plan that it published in connection
         with this rulemaking.

EPA has put states in an impossible position by waiting to act on SIP submittals that occurred in 2018
and basing such actions on modeling that has been consistently changing since 2018 and is still
undergoing public comment. EPA quickly followed its proposed iSIP Disapproval with the proposed
Federal Implementation Plan EPA will put in place as it is highly unlikely that states will have the time to
revise their SIPs and resubmit them to EPA for consideration before the final Federal Implementation
Plan will take effect. Consistent with the 2018 memorandum that EPA has not withdrawn, Tennessee
must be given the chance to have the information presented in the technical comments considered. EPA
risks making an arbitrary and capricious decision by disapproving Tennessee’s use of the alternate 1ppb
threshold in its infrastructure iSIP without fully considering the information cited within these
comments, because EPA would be disregarding its own practice and published guidance by doing so.

[…]

                                                                                                        287
        Case: 23-60069          Document: 110          Page: 686       Date Filed: 03/27/2023




While Tennessee’s downwind contribution is “significant” when measured by a bright-line threshold of
1% of the NAAQS, this contribution occurs at only a single monitor, that monitor is maintenance-only,
and Tennessee’s contribution, based on EPA’s own modeling, is less than the 1 ppb alternative threshold
established by prior EPA guidance. Tennessee believes that the attached evaluation of the modeling
data for this monitor demonstrates that this contribution is not significant, in accordance with EPA’s
prior guidance in the August 2018 memorandum.
1. Tennessee does not contribute more than 1% of the NAAQS to any nonattaining downwind monitor.

[…]

2. Tennessee contributes more than 1% of the NAAQS to only one maintenance-only downwind monitor.

[…]

Another element to consider when evaluating the significance of upwind contributions is the total
number of linkages – states with significant interstate transport problems contribute to multiple
downwind states or monitoring locations.

[…]

[Table 3 in full comment]

Table 3 shows that Tennessee is ranked at the bottom with respect to nonattainment linkages (since
none exist) and one step above the bottom with respect to total linkages. For the other two states with
a single linkage (Delaware and Wyoming), both linkages are for nonattainment, rather than
maintenance monitors. Stated more clearly, Tennessee crosses EPA’s 1% contribution threshold, but
that contribution is sufficiently marginal that an alternative threshold of 1 ppb is worthy of
consideration. Of the 26 upwind states identified in Table 4, ten states (California, Indiana, Kentucky,
Maryland, Michigan, New Jersey, New York, Ohio, Virginia, and West Virginia) are linked to two or more
states with nonattaining monitors, and six states (California, Indiana, Missouri, Ohio, Oklahoma, and
Texas) are linked to two or more downwind states with maintenance-only monitors. As noted above,
Tennessee is linked to a single maintenance-only monitor in a single state. These facts, considered as a
whole, support the consideration of a 1 ppb alternative threshold for significance.

[…]

Tennessee considered the following additional factors based on our review of EPA’s 2020 proposal to
approve Iowa’s infrastructure SIP (85 FR 12232).

How does the impact of in-state emissions on ozone levels at this receptor compare to collective
upwind impacts? Tennessee reviewed the model results and determined that the cumulative upwind
contribution (all upwind states with contribution greater than 0 ppb) was 12.24 ppb (17.0% of the 2023
maximum concentration) compared to in in-state contribution of 27.30 ppb from sources within Texas
(37.8% of the 2023 maximum concentration). Of upwind contributors, Tennessee is ranked fourth,
based on EPA’s methodology for calculating the contribution (Table 8). However, Tennessee’s relative
contribution must be weighed against other factors, including the low number of high-ozone days and
back-trajectory analyses.

                                                                                                     288
         Case: 23-60069             Document: 110             Page: 687          Date Filed: 03/27/2023




[Table 8 in full comment]

What are the impacts of individual upwind states linked at 1 ppb or higher to the receptor? Table 8
above indicates that three states (Louisiana, Oklahoma, and Mississippi) contribute greater than 1 ppb
to the Denton County monitor, and these states account for 45.3% of the total upwind state
contribution.

Are individual upwind states impacting this receptor between 1 percent and 1 ppb linked above 1 ppb
to other receptors? Arkansas contributes greater than 1 ppb for four other maintenance receptors in
Texas. Alabama and Tennessee do not contribute 1 ppb or greater to any other nonattainment or
maintenance receptors.

Tennessee believes that a 1 ppb significance threshold is justifiable in light of the facts enumerated
within this document. EPA’s most recent modeling data demonstrate that emission sources in
Tennessee will not contribute significantly to nonattainment in another state and will not interfere with
maintenance in another state. Therefore, Tennessee’s SIP complies with the requirements of CAA
§110(a)(2)(D) for the 2015 ozone NAAQS.
32
  See FCC v. Fox TV Stations, Inc., 556 U.S. 502, 515 (2009) (“An agency may not, for example, depart from a prior
policy sub silentio or simply disregard rules that are still on the books”.) (citing United States v. Nixon, 418 U.S. 683,
696 (1974)).



Commenter: PacifiCorp

Commenter ID: 38

Docket ID: EPA-R08-OAR-2022-0315

Comment:

EPA’s Threshold Guidance provided states a pathway to use a 1 ppb threshold for significant impacts on
downwind monitors. Utah and almost every other state followed this pathway, but EPA has now
changed its mind and rejects the very pathway it opened for all of these states for “policy reasons”. Utah
relied on the Threshold Guidance to justify using the 1 ppb threshold at Step 2 as a basis to assert that
Utah would not be linked to some projected downwind nonattainment or maintenance receptors and
that other linkages were not significant given other EPA-suggested considerations. See Sub-Section II.d
below. In the Proposed Disapproval, EPA insists that only a 1 percent (“%”) threshold, or 0.7 ppb, can be
used. EPA explains it has moved on from the positions it stated in the August 2018 Threshold Guidance,
and EPA ultimately applies the 1% threshold to justify the Proposed Disapproval. EPA should allow use
of the 1 ppb threshold.

[…]

i. The fact that EPA’s new 1 ppb interpretation runs contrary to 49 states’ understanding signals error.

In the Proposed Disapproval EPA states:


                                                                                                                     289
        Case: 23-60069          Document: 110         Page: 688       Date Filed: 03/27/2023




        Following receipt and review of 49 good neighbor SIP submittals for the 2015 8-hour ozone
        NAAQS, the EPA’s experience has been that nearly every state that attempted to rely on a 1 ppb
        threshold did not provide sufficient information and analysis to support a determination that an
        alternative threshold was reasonable or appropriate for that state.

The fact that nearly every state got it wrong is more an indication that EPA changed course without
notice than that the states are unable to read and interpret EPA guidance. While technically retaining
the Threshold Guidance, EPA proposes to disapprove numerous state submissions that relied on the
guidance, including Utah’s SIP, claiming that those states should have somehow done more analysis
than EPA required in the memo, and asserting without explanation that consistency is needed across the
country. This is an about face for EPA, which clarified in a previous ozone rulemaking that western states
should not be treated the same as other areas of the country because the different geography,
meteorology, background ozone levels, wildfire impacts and stratospheric ozone events in the West
necessitated case-by-case treatment. To justify its about face, EPA now claims that the Threshold
Guidance may only be relied on, even for high altitude western states like Utah, when a state meets its
new, unannounced standards by providing “a technically sound assessment of the appropriateness of
using this alternative threshold based on the facts and circumstances underlying its application in the
particular SIP submission.” EPA’s new demand for the states to provide a technical analysis to support
the use of the 1 ppb threshold identified in the August 2018 Threshold Guidance is inconsistent with
EPA’s earlier communications with Utah (and other states) and with the stated purpose of the Threshold
Guidance, which was to “provide analytical information” and to allow states to use that “information to
make recommendations about what thresholds may be appropriate for use” in SIPs. EPA is essentially
punishing Utah and almost all other states for using the “recommendation” that EPA made in the
Threshold Guidance.

Like so many states, Utah used the 1 ppb threshold in its Interstate Transport Ozone SIP. In fact, EPA
commented on Utah’s use of the 1 ppb threshold and recommended that it rely on the Threshold
Guidance to do so. In EPA’s comments on Utah’s SIP during the state rulemaking process, EPA
instructed: “[g]iven that the draft analysis makes use of the 1 ppb threshold, the EPA recommends the
state review the August 31, 2018 Memo and the associated rationale for the use of this threshold.” Utah
did just that, providing analysis in its SIP based on the August 2018 Threshold Guidance and supporting
the use of the 1 ppb threshold with data and analysis. Utah and the numerous other states were not
acting unreasonably to rely on EPA’s Threshold Guidance, particularly when EPA published the
Threshold Guidance for that very purpose during the very time states were drafting their SIPs. EPA was
aware of Utah’s reliance on the Threshold Guidance, and provided direction to Utah supporting its use
of the Threshold Guidance.

Despite the fact that the Threshold Guidance was based on the same principles as EPA’s 2011 analysis
and was improved through use of a tighter range of options and more current data and modeling, EPA
now all but disavows it. Moreover, EPA is proposing to disapprove of Utah’s use of an alternative 1 ppb
threshold in part due to EPA’s determination that use of an alternative threshold “may be impractical or
otherwise inadvisable for a number of additional policy reasons.” Under the appliable requirements of
the CAA, changing policy reasons play no part in authorizing EPA to disapprove a SIP.



                                                                                                      290
        Case: 23-60069          Document: 110         Page: 689        Date Filed: 03/27/2023




PacifiCorp asks EPA to reconsider its minimum contribution threshold because EPA has not identified
any rational basis for preferring its older—and now superseded—2011 analysis. The 2018 analysis is
superior and more appropriate for both identifying significant contributions and avoiding the likelihood
of over-control. EPA should not disapprove Utah’s Interstate Transport Ozone SIP based on an
unfounded requirement to only use the 1 percent threshold.

i. EPA’s new “after-the-fact” standard on a 1 ppb threshold is arbitrary and capricious.

While EPA may claim some deference for its decision-making, it is not unlimited. EPA cannot act in a
manner that is inconsistent with the authorizing statute or that is arbitrary and capricious. The agency
must “articulate . . . a rational connection between the facts found and the choice made.” Particularly
applicable here, when an agency’s “new policy rests upon factual findings that contradict those which
underlay its prior policy, or when its prior policy has engendered serious reliance interests,” the
Administrative Procedure Act requires an agency to provide “a more detailed justification” than it
otherwise would. Here, Utah and other states undoubtedly relied on the Threshold Guidance and
“engendered serious reliance interests.” EPA acknowledges as much in the Proposed Disapproval. EPA’s
failure to acknowledge and account for Utah’s “reliance interests” renders its Proposed Disapproval
both arbitrary and capricious.



Commenter: PacifiCorp (Attachment - Berkshire Hathaway Energy (BHE) Company Comments on
Proposed Ozone Transport Rule)

Commenter ID: 38

Docket ID: EPA-R08-OAR-2022-0315

Comment:

EPA Used an Arbitrary Ozone Contribution Metric. Use of Other Reliable Metrics Show Wyoming Has an
Insignificant Ozone Contribution. (Chapter 6).

[…]

In 2018, EPA issued a guidance memorandum that re-analyzed the minimum threshold using a tighter
range of options and more up-to-date modeling techniques and data. Specifically, EPA evaluated the
difference in capture rates between the previous threshold of 0.7 ppb (one percent), a threshold of 1
ppb, and a threshold of 2 ppb. Like the 2011 analysis, EPA’s 2018 analysis again concluded that the
difference between the two lower options—0.7 ppb and 1 ppb—was minimal, while the higher
threshold left too many emissions unregulated. As a result, EPA considered capture rates at the 0.7 ppb
and 1 ppb thresholds to be generally comparable, and thus concluded that “it may be reasonable and
appropriate for states to use a 1 ppb contribution threshold, as an alternative to a 1 percent threshold,”
in addressing interstate transport under the Clean Air Act good neighbor provision. Notably, a threshold
of 1 ppb is 1.4 percent of the ozone standard of 70 ppb, and therefore rounds down to 1 percent if
truncated.



                                                                                                       291
        Case: 23-60069          Document: 110         Page: 690       Date Filed: 03/27/2023




Despite the fact that the 2018 analysis was based on the same principles as the 2011 analysis and was
improved by use of a tighter range of options and more current data and modeling, EPA now all but
disavows it. While technically retaining the 2018 memo, EPA has proposed to disapprove numerous
state submissions that relied on the memo, claiming that those states should have somehow done more
analysis than EPA did itself in writing the memo, and asserting without explanation that consistency is
needed across the country.



Commenter: Sierra Club

Commenter ID: 39

Docket ID: EPA-R04-OAR-2021-0841

Comment:

EPA Should Formally Rescind Its 2018 Alternative Contribution Threshold Guidance Memorandum

For years, EPA has relied on a 1% contribution threshold for determining whether an upwind state’s
contribution to a downwind nonattainment or maintenance monitor was “significant” for purposes of
implementing Section 110(a)(2)(D)(i)(I). EPA applied this 1% contribution threshold in the Cross-State Air
Pollution Rule in 2011, again in the CSAPR Update in 2016, and in the Revised CSAPR Update in 2021.58
Sierra Club supports EPA’s proposed retention of the 1% contribution threshold and, for the reasons
identified below, urge EPA to formally rescind its 2018 Guidance Memorandum.

In its Proposed Disapproval, EPA reaffirmed its use of a 1% contribution threshold for Screening at Step
2 of the interstate transport framework. EPA identified several reasons the alternative contribution
thresholds discussed in the 2018 Guidance Memorandum were less appropriate, explaining that
“experience since the issuance of that [2018 Guidance M]emorandum has revealed substantial
programmatic and policy difficulties in attempting to implement this approach.” However, EPA did not
propose to rescind the 2018 Guidance Memorandum. For the reasons identified by EPA itself and for
additional reasons described below, the Sierra Club urges EPA to rescind the 2018 Guidance
Memorandum.

[…]

Second, Sierra Club disputes the 2018 Guidance Memorandum’s characterization of the upwind
contribution captured by a 1 ppb threshold and a 1% threshold as “generally comparable” and agrees
with the Agency’s observation in its Proposed Disapproval that, even if this were “true in some sense,” it
“is hardly a compelling basis to move to a 1 ppb threshold.” Indeed, as EPA now observes, “the core
statutory objective of ensuring elimination of all significant contribution to nonattainment or
interference of the NAAQS in other states and the broad, regional nature of the collective contribution
problem with respect to ozone” counsel in favor of establishing a contribution threshold that pulls in
more, not less, of the upwind emissions that are contributing to nonattainment and maintenance issues.
Moreover, as EPA points out, an important virtue of a contribution threshold set as a percentage of the
NAAQS is that, as the stringency of the NAAQS increases, “an appropriate increase in stringency at Step
2 occurs, so as to ensure an appropriately larger amount of total upwind-state contribution is captured
                                                                                                      292
        Case: 23-60069           Document: 110          Page: 691        Date Filed: 03/27/2023




for purposes of fully addressing interstate transport for the more stringent NAAQS.” Removing nearly
1/3 of the contributing upwind emissions at Step 2—as would occur with the use of a 1 ppb contribution
threshold—as would increase the cost and challenge of ameliorating ozone nonattainment in areas
affected by ozone transport.



Commenter: United States Steel Corporation

Commenter ID: 45

Docket ID: EPA-R05-OAR-2022-0006

Comment:

U. S. Steel further notes that affected states and the regulated community reasonably relied on 1 ppb
threshold that U.S. EPA found to be appropriate; and it is inappropriate for U. S. EPA now to unilaterally
disapprove any SIP because in its SIP submittal, the state used a 1 ppb threshold.



Commenter: Utah Division of Air Quality

Commenter ID: 47

Docket ID: EPA-R08-OAR-2022-0315

Comment:

The benefit of cooperative federalism is having the autonomy to do what’s best for the state, but do so
in partnership with EPA to ensure that the CAA intent and requirements are met.

In this same spirit, UDAQ engaged early and often with our counterparts at Region 8 in the development
of our interstate transport SIP. Through this collaboration and EPA’s guidance, Utah selected the
alternative threshold of 1 ppb. As noted in the guidance, the use of an alternative threshold provides
greater flexibility to states while SIPs are developed. Specifically, the guidance states that “a threshold of
1 ppb may be appropriate for states to use to develop SIP revisions addressing the good neighbor
provision for the 2015 ozone NAAQS”, since “the amount of upwind collective contribution captured
with the 1 percent and 1 ppb threshold is generally comparable overall.” Thus, UDAQ was surprised
when EPA proposed to include Utah in the proposed FIP, and subsequently disapproved the state’s SIP
based in large part on the selection of the 1 ppb over the 1% of the NAAQS threshold.



Commenter: Utah Petroleum Association and the Utah Mining Association

Commenter ID: 48

Docket ID: EPA-R08-OAR-2022-0315

Comment:

                                                                                                          293
        Case: 23-60069           Document: 110          Page: 692        Date Filed: 03/27/2023




Utah followed existing EPA guidance, which EPA has not withdrawn and should honor.

In general, EPA uses a 1% of the National Ambient Air Quality Standard (“NAAQS”) contribution
threshold to downwind States in evaluating IT SIPs. For the 2015 ozone NAAQS, this equates to 0.7 ppb.
However, in August 2018, EPA published guidance for alternate thresholds and stated that it believes a
threshold of 1 ppb may be appropriate.

In the Proposed GNR, published long after the due date for States to submit IT SIPs, EPA stated that it
now believes that it may not be appropriate to recognize alternate contribution thresholds. In the
Proposed Disapproval, EPA stated that it views 1% of the NAAQS to be more appropriate.

EPA cannot simply change its mind on the guidance nearly three years after issuing it and more than two
years after Utah (and other states) relied on it, without providing a well-reasoned explanation and
formal withdrawal of the guidance. EPA has not provided a well-reasoned explanation nor a formal
withdrawal of the guidance.

[…]

Utah’s IT SIP includes a lengthy weight-of-evidence analysis showing how its approach matches other
interstate transport SIP approvals and EPA guidance, including the following: Analysis showing how Utah
meets the recommendations of EPA’s August 2018 memo discussing the possible use of different
contribution thresholds.



Commenter: West Virginia Department of Environmental Protection

Commenter ID: 49

Docket ID: EPA-R03-OAR-2021-0873

Comment:

DAQ also asserts EPA is inconsistent with its definition of screening threshold impacts in relation to
downwind receptor (monitor) linkage. In an August 31, 2018 memorandum from OAQPS Director Peter
Tsirigotis to regional air divisions directors titled Analysis of Contribution Thresholds for Use in Clean air
Act Section 110(a)(2)(D)(i)(I) Interstate Transport State Implementation Plan Submissions for the 2015
Ozone National Ambient Air Quality Standards (“Threshold Memorandum”), EPA compared alternative
thresholds of 1 and 2 ppb (0.001 and 0.002 ppm, respectively) to be consistent with previous thresholds
of one percent of the 2015 ozone NAAQS standard (1% of 70 ppb, equal to 7 ppb or 0.0007 ppm) for the
purposes of screening threshold for SIP development. EPA stated within the Threshold Memorandum,
“Based on the data and analysis summarized here, the EPA believes that a threshold of 1 ppb may be
appropriate for states to use to develop SIP revisions addressing the good neighbor provisions for the
2015 ozone NAAQS.” In this proposed disapproval action, it appears EPA has abandoned these
alternatives in favor of the one percent definition.




                                                                                                          294
        Case: 23-60069            Document: 110           Page: 693        Date Filed: 03/27/2023




Response
Our primary response to these comments is in Section V.B.7 of the preamble. Here we address in more
detail several specific arguments raised by commenters.

The EPA disagrees with some commenters’ assertion that the EPA’s proposed approval of Iowa’s SIP
submission is proof the EPA previously viewed the 1 ppb alternative threshold was “adequate and
approvable” in all instances, but subsequently changed position. As the EPA explained at proposal, the
first proposal for Iowa specifically examined “state-specific circumstances” as contemplated by the
August 2018 Memorandum. See, e.g., 87 FR 66418 (citing 87 FR 9477 (Feb. 22, 2022)) Even if the EPA
had finalized the Iowa approval on the basis of the first proposal, doing so would have been specific to
Iowa’s state-specific circumstances. The EPA evaluated each interstate transport SIP submission based
on the merits of the arguments put forward in each SIP submission. However, in all submissions that
relied on the EPA’s August 2018 memo—where that threshold would have been a dispositive basis to
exclude the state from further analysis—the EPA determined the submissions did not provide the EPA
with analysis specific to their state or the receptors to which its emissions are potentially linked. This is
true even for Iowa’s submission, as explained at proposal. See, e.g., 87 FR 64418.

Other topics raised by these comments are addressed in the preamble in Sections V.A.4. (technical
merits), V.A.5. (justification), V.A.6. (guidance), V.B.6. (PSD SILs), V.B.7. (basis for approval of Iowa’s SIP),
and in the following sections: Sections 1.2 (Guidance for SIP Submissions), 1.4 (Use of Updated
Modeling), 1.6 (EPA Input During SIP Submission Development), 4.2 (Model Performance), 5 (Updates to
Modeling and Changes in Linkages), 7.2 (Contributions), 10.3 (Cooperative Federalism and the EPA’s
Authority), 11.3 (Transport Policy), and 11.8 (Mobile Sources).

The EPA responds to specific issues raised by commenters about the appropriateness of an alternative
contribution threshold for specific states:

Alabama

Alabama did not provide a sufficient technical analysis to justify the use of an alternative 1 ppb
threshold in its submission. 87 FR 64423-25. Alabama’s SIP submission simply states that ADEM agrees
with EPA’s rationale set out in the August 2018 memorandum that the amount of upwind collective
contribution captured with the 1 percent and 1 ppb thresholds was generally comparable. But the
August 2018 Memorandum anticipated that states would evaluate whether the alternative threshold
was appropriate under their specific facts and circumstances, not that the use of the alternative
threshold would be automatically approvable.

ADEM and Alabama Power Company (APC) et al. claim that 1 ppb is an appropriate contribution
threshold to use for Alabama and conduct an assessment fashioned to emulate the EPA’s assessment in
the now withdrawn proposal related to Iowa. Concluding that 1 ppb is generally similar to 1 percent,
they next examine the factors that the EPA considered in the now withdrawn proposal related to Iowa
to conclude that 1 ppb is an appropriate contribution threshold for Alabama.

The EPA does not agree that this assessment justifies the use of a 1 ppb contribution threshold for
Alabama. As an initial matter, ADEM did not supply anything like this analysis in their SIP submission.
This highlights the potential unfairness we identified as a policy concern at proposal, in that allowing
some states to attempt to justify alternative thresholds could result in inconsistent treatment of states
                                                                                                         295
        Case: 23-60069          Document: 110          Page: 694       Date Filed: 03/27/2023




based on the quality of the analysis they conducted. Further, as EPA explained at proposal, there is an
administrative cost to public agencies, including the EPA, in going through the burden of conducting this
type of analysis for each state, or for each set of comments on SIP actions, where the difference being
evaluated is merely between a 1% and 1 ppb threshold, and the objective of using 1 ppb for certain
states and sources is to excuse themselves from further analysis, thus shifting the burden of addressing
interstate transport onto other upwind states and the downwind home state. Further, although
commenter attempts to replicate the proposal analysis for Iowa, we never finalized that analysis and
withdrew it. The factors in that analysis do not constitute a final agency policy or precedent on how a
state-specific, 1 ppb-threshold analysis should be conducted. At proposal for this state’s disapproval and
others included in this action, we explained that we would not be undertaking this analysis where states
failed to conduct it themselves.

All of that said, we further conclude that these comments still fail, even under the terms of the Iowa-
proposal factors, to justify the use of a 1 ppb threshold for Alabama. Alabama’s contribution alone at
the Denton County (Airport) and Harris County (Houston Bayland Park) receptors in Texas in the 2016v2
modeling represents about 6 and 7 percent respectively of the total upwind state contribution at either
monitor. Further, the loss in capture of total upwind-state contribution at 1 ppb versus 1 percent at
these receptors is not trivial and well exceeds the ~7% losses contemplated in the August 2018
memorandum. For example, as noted by these comments, two other states are identified with
contribution to the Denton County, TX receptor between 1 percent of NAAQS and 1 ppb. If we were to
approve a 1 ppb threshold, one of those state’s contributions would go unaddressed as well
(Tennessee), constituting a loss, when in addition to Alabama’s, of about 18 percent of the upwind state
contribution over 1 percent at this receptor. That value is more than twice the 7% loss of upwind
contribution figure that was identified as potentially acceptable in the August 2018 memorandum.
Further, the treatment of Arkansas in this analysis would discount the loss of its contribution to this
receptor, solely on the basis of its linkage above 1 ppb to other receptors—the idea being that if
Arkansas were required to make emissions reductions in relation to those receptors, then it might
incidentally benefit this receptor. While the EPA proposed to consider contribution in this way in the
Iowa proposal, this is actually not consistent with the way EPA has considered the relevance of
incidental effects in prior transport actions such as CSAPR Update and the Revised CSAPR Update.
Reliance on such incidental effects introduces an inequitable situation in which states may be able to
evade good neighbor obligations in reliance on the incidental effects of other states’ efforts. See 81 FR
at 74550. The EPA cannot agree that it is appropriate to treat Arkansas’ contribution to this receptor as
irrelevant simply because it contributes above 1 ppb to other receptors. If Arkansas’s contribution were
to be included in this analysis, then the total loss of contribution at the Denton receptor (using 2016v2)
is actually on the order of 25 percent of total upwind state contribution.

Turning to the 2016v3 modeling used for this final action, these results are reinforced. In the 2016v3
modeling Alabama is linked in 2023 to the modeling-based receptor in Galveston, Texas. The total
collective contribution from all upwind states is 26 percent of total ozone at this receptor. Of the 5
upwind states linked to this receptor, 3 contribute between 1 percent and 1 ppb. Using a 1 ppb
threshold would represent a loss of about 19 percent of the total upwind contribution above 1 percent.
In addition, Alabama’s contribution to this receptor represents 30 percent of the total contribution that
would be lost using a 1 ppb threshold. In addition, in our final rule analysis we note that Alabama is also

                                                                                                        296
          Case: 23-60069         Document: 110        Page: 695       Date Filed: 03/27/2023




linked to the Pilot Point violating-monitor maintenance-only receptor in Denton County, Texas at which
the collective contribution from upwind states is 18 percent of the total ozone at this receptor in 2023.
Of the 6 upwind states linked to this receptor, 4 contribute between 1 percent and 1 ppb. Using a 1 ppb
threshold would represent a loss of about 41 percent of the total upwind contribution above 1 percent
at the Denton Pilot Point receptor. In addition, Alabama’s contribution to this receptor represents 25
percent of the total contribution that would be lost using a 1 ppb threshold.

As we explain in the proposals and in the preamble of the final action, interstate ozone transport
remains a collective-contribution problem involving many smaller contributors, and so the effect of
approving a 1 ppb threshold needs to be reviewed for its holistic impacts. In this case, we do not find
that the record would support approving a 1 ppb threshold for Alabama, even if we were to apply the
factors used in the withdrawn Iowa proposal. ADEM observes that “it is unclear how lower NOx
emissions in the 2022 modeling resulted in higher concentrations relative to the 2021 modeling” despite
“continued reductions in NOx.” If ADEM meant to question the validity of EPA’s modeling with this
statement, the EPA responds to comments on model performance in Section 4.2. If ADEM meant to say
“contributions” instead of “concentrations,” the EPA addresses a similar comment in Section 7.2. In
response to the claim that EPA ignored evidence in the record when evaluating Alabama’s SIP
submission, specifically APC’s comments submitted on the draft SIP submission during the state’s public
notice and comment period, which were included as attachment to Alabama’s submission, the EPA
disagrees. As noted in the proposal, Alabama did not explicitly discuss the comments it received during
their state public comment period from Alabama Power Company and Sierra Club; Alabama only
identified one specific assertion from their state public comment period as part of their response to
public comments. Additionally, because SIP submissions are required to include a compilation of public
comments received, it is not notable that these comment letters were attached to Alabama’s SIP
submission. 40 CFR Part 51, Appx V, 2.1(h). Thus, the EPA determined that Alabama’s June 21, 2022, SIP
submission did not rely on the legal, technical, or policy arguments provided in comments except as
expressly stated by Alabama. In their own comment on this action, Alabama did not indicate that the
EPA’s assumption of Alabama’s intention regarding the purpose of the inclusion of the comments from
Alabama Power Company and Sierra Club on the submission was incorrect. See EPA-R04-OAR-2021-
0841-0033. It remains unclear what the state’s view is of and whether and to what extent the comments
from APC and Sierra Club constitute an expression of the state’s own position on its submission.
Therefore, the EPA believes that the commenter is mistaken that the APC and Sierra Club comments
received during the state’s public comment process were explicitly embraced by Alabama as part of the
state’s SIP submission package. The EPA evaluated the information the state put forth in the SIP
submission package and those specific arguments the state specifically acknowledged as part of their
final SIP submission package.

Arkansas

One commenter argues that Arkansas provided sufficient analysis in the state’s SIP submission to justify
a conclusion that a 1 ppb contribution threshold is appropriate for the state. The EPA disagrees. The
EPA’s August 2018 memorandum explained that a 1 ppb contribution threshold “may” be appropriate,70
and that “air agencies should consider whether the recommendations in this guidance are appropriate

70
     August 2018 memorandum, page 4.
                                                                                                      297
        Case: 23-60069            Document: 110           Page: 696        Date Filed: 03/27/2023




for each situation.”71 Arkansas did not do that. In the SIP submission, Arkansas Division of Environmental
Quality (ADEQ) (1) concluded based on the EPA’s nationwide collective contribution comparison of
different thresholds in the August 2018 memorandum that 1 percent and 1 ppb are generally
comparable, (2) asserted that the prevention of significant deterioration significant impact level are
sufficiently analogous to Step 2 of the 4-step interstate transport framework to support 1 ppb, and (3)
concluded that 40 CFR part 50, Appendix U supports truncating to 0 a value of 0.7 ppb (1 percent of the
NAAQS). 87 FR 9798, 9804 (Feb. 22, 2022). Arkansas identified it contributed more than 1 percent of the
NAAQS but less than 1 ppb to three receptors in Texas, 87 FR 9804, but none of its justifications for a 1
ppb contribution threshold were related to those receptors or Arkansas’s contributions to them. The
EPA is unpersuaded that any of Arkansas’s arguments supported a conclusion that a 1 ppb threshold is
appropriate for Arkansas. In response to Arkansas Environmental Federation’s comment that EPA
cannot disapprove a SIP submission on the basis of a state’s use of alternate contribution threshold, the
EPA notes that Arkansas’s SIP submission identified Arkansas as contributing more than 1 ppb to one or
more downwind receptors. 87 FR 9798, 9804 (Feb. 22, 2022). Thus, the difference between a 1 percent
of the NAAQS threshold and a 1 ppb threshold is not meaningful to the conclusion that Arkansas is
linked at Step 2, because Arkansas contributes more than 1 ppb to a downwind receptor in 2023 both in
the modeling relied on by the state and in the additional modeling developed by EPA to inform both the
proposed and final actions (2016v2 and 2016v3).

Kentucky

The EPA disagrees with Kentucky Division for Air Quality that Kentucky followed the August 2018
Memorandum. Kentucky identified that it contributed more than 1 percent of the NAAQS but less than 1
ppb to four receptors in Connecticut and Wisconsin (and more than 1 ppb to one receptor in Maryland),
87 FR 9504. Kentucky simply applied EPA’s rationale presented in the August 2018 memorandum (i.e.,
that the amount of nationwide upwind collective contribution captured with the 1 percent and 1 ppb
thresholds was generally comparable) without discussion or analysis specific to Kentucky or the
receptors in Connecticut and Wisconsin, as anticipated in the August 2018 memorandum.72 87 FR 9509-
9510. Given the absence of technical analysis to support the use of a 1 ppb threshold under the facts
and circumstances relevant to Kentucky and its linked receptors, the EPA determines that Kentucky’s
submission does not provide a sufficient justification to support the use of a 1 ppb contribution
threshold.

Louisiana

A commenter argues that a 1 ppb contribution threshold is appropriate for Louisiana, regardless of
Louisiana’s contributions of more than 1 percent of the NAAQS but less than 1 ppb to Milwaukee,
Sheboygan, and Allegan because the contribution captured with the 1 ppb threshold at those sites
would be 83.0%, 91.8%, and 94.2%, respectively. The EPA notes that Louisiana did not provide that
information in its submission, and in the 2016v3 modeling for this final action, Louisiana is linked to 7
receptors in Texas, but is not linked to Milwaukee, Sheboygan, or Allegan in this updated modeling.
However, the EPA disagrees with commenters that Louisiana’s SIP submission supports a conclusion that

71
   August 2018 memorandum, page 1.
72
   Id. (“air agencies should consider whether the recommendations in this guidance are appropriate for each
situation.”)
                                                                                                              298
        Case: 23-60069          Document: 110         Page: 697        Date Filed: 03/27/2023




a 1 ppb threshold is an appropriate contribution threshold for Louisiana for any receptor, because
Louisiana’s justification is flawed. The EPA’s August 2018 memorandum explained that a 1 ppb
contribution threshold “may” be appropriate,73 and that “air agencies should consider whether the
recommendations in this guidance are appropriate for each situation.”74 LDEQ’s SIP submission
attempted to justify the state’s use of a 1 ppb threshold based on concerns over the use of a 1 percent
threshold, namely alleging that it is an arbitrarily small value. See 87 FR 9798, 9811 (Feb. 22, 2022). In
the EPA’s view, a criticism of a threshold of 1 percent of the NAAQS does not constitute a state-specific
justification for the use of an alternative contribution threshold. We have responded to various
criticisms of the 1 percent threshold in Sections V.B.4.-V.B.7 of the preamble. Further, in the SIP
submission, LDEQ identified Louisiana as contributing more than 1 ppb to one or more downwind
receptors and so conceded Louisiana is linked at Step 2 in Louisiana’s SIP submission. The difference
between a 1 percent of the NAAQS threshold and a 1 ppb threshold is not meaningful to the conclusion
that Louisiana is linked at Step 2 because Louisiana contributes more than 1 ppb to a downwind
receptor both in the modeling relied on by the state and in the modeling relied on by EPA in this final
action.

Oklahoma

The EPA disagrees with Oklahoma Department of Environmental Quality that Oklahoma’s rationale for
supporting the use of a 1 ppb contribution threshold is justified under the text of the August 2018
memorandum. The EPA’s August 2018 memorandum explained that a 1 ppb contribution threshold
“may” be appropriate,75 and that “air agencies should consider whether the recommendations in this
guidance are appropriate for each situation.”76 Oklahoma did not do that.

In its SIP submission, Oklahoma identified that the state contributed more than 1 percent of the NAAQS
but less than 1 ppb to three receptors in Texas and Wisconsin. 87 FR 9817. Instead of considering
whether a 1 ppb contribution threshold would be appropriate for Oklahoma as to these specific
receptors, Oklahoma’s SIP submission pointed to the EPA's PSD SILs Guidance. The EPA addresses
comment related to the PSD SILs guidance in Section V.B.6. of the preamble. The EPA also does not
agree with the blanket statement in the comment that the August 2018 memorandum supports a
conclusion that 1 ppb contribution is appropriate for any state with “low contributions.” Somewhat
similar issues regarding Oklahoma are addressed in Section 11.3.

Tennessee

The EPA is not taking final action on Tennessee’s submission at this time.

One commenter suggests that because Tennessee is linked to a single maintenance-only monitor in a
single state above one percent compared to other upwind states linked to multiple nonattainment and
maintenance receptors, this supports the consideration of a 1 ppb alternative threshold. To the extent
this may be considered an issue more broadly relevant than just to Tennessee, EPA disagrees with the
commenter’s assumption that an upwind state’s number of downwind linkages justifies an alternative

73
   August 2018 memorandum, page 4.
74
   August 2018 memorandum, page 1.
75
   August 2018 memorandum, page 4.
76
   August 2018 memorandum, page 1.
                                                                                                       299
        Case: 23-60069          Document: 110         Page: 698        Date Filed: 03/27/2023




threshold. Tennessee’s analysis of the number of upwind linkages does not provide evidence that a 1
ppb threshold would effectively capture an appropriate degree of upwind-state collective contribution,
even if only to a single identified downwind receptor. The commenter also asserts that Tennessee’s
contribution to a downwind maintenance-only receptor is sufficiently marginal that an alternative
threshold of 1 ppb should be considered. The EPA notes that the commenter does not clarify their
definition of a marginal contribution in the context of a collective contribution problem, or why 1 ppb
appropriately excludes “marginal” contribution in some way that 1 percent does not—indeed, as
explained in Section V.B.7, while 1 ppb may be considered “similar” to 1 percent, it still causes some loss
of upwind contribution from further analysis for elimination and in that respect would reflect a
weakening of the Step 2 threshold for the more protective 2015 ozone NAAQS. No commenter has
explained why this incongruity is an acceptable outcome in light of the purpose of the statute.

Utah

The EPA disagrees that Utah’s SIP submission justified the use of a 1 ppb threshold pursuant to the
August 2018 Memorandum. The EPA reviewed the analysis UDAQ provided in its SIP submission and
concluded that UDAQ did not adequately explain how a 1 ppb threshold would be justified with respect
to Denver area receptors, as explained at proposal. 87 FR 31478. The difference between a 1 percent of
the NAAQS threshold and a 1 ppb threshold is not meaningful to the conclusion that Utah is linked at
Step 2, because Utah identified it contributes more than 1 ppb to four downwind receptors. Utah is also
projected to contribute more than 1 ppb to one or more downwind receptors in the updated modeling
developed by EPA to inform both the proposed and final actions (2016v2 and 2016v3).

The EPA does not agree that the recommendation it made in reviewing a pre-submission version of
Utah’s SIP submission, that UDAQ review the August 2018 memorandum, can reasonably be construed
as an endorsement of the appropriateness of the 1 ppb threshold for the state of Utah.



7.5 Maintenance-Only Linkages

Comment
Commenter: Tennessee Department of Environment and Conservation

Commenter ID: 41

Docket ID: EPA-R04-OAR-2021-0841

Comment:

Tennessee contributes more than 1% of the NAAQS to only one maintenance-only downwind monitor.

[…]

EPA’s proposed disapproval of Tennessee’s Infrastructure SIP based on Prong 1of CAA §110(a)(2)(D)(i)(I)
is without merit and has no factual basis or support because EPA does not allege that Tennessee
emissions significantly contribute to nonattainment of the NAAQS in another state.

                                                                                                       300
        Case: 23-60069          Document: 110         Page: 699        Date Filed: 03/27/2023




EPA’s proposed disapproval of Tennessee’s Infrastructure SIP (“iSIP”) relative to Prong 1 is not only
arbitrary and capricious in that it lacks any factual merit, but it also lends evidence to support
Tennessee’s concern, discussed throughout these comments, that EPA intends to set an impossible
standard whereby states are held accountable for technical data that has yet to be produced and cannot
be known to states at the time they develop and submit their iSIPs. The iSIP Disapproval discusses the
two ‘‘prongs’’ contained in CAA section 110(a)(2)(D)(i)(I) used to evaluate whether a SIP satisfies the
Good Neighbor provision: the SIP must contain adequate provisions prohibiting any source or other type
of emissions activity within the state from emitting air pollutants in amounts that will: (i) significantly
contribute to nonattainment of the NAAQS in another state (prong 1); or (ii) interfere with maintenance
of the NAAQS in another state (prong 2). Under the precedent established in North Carolina v. EPA, EPA
and states must give independent significance to each prong when evaluating downwind air quality
problems under CAA §110(a)(2)(D)(i)(I). EPA has developed a 4-step “interstate transport framework”
(the “Framework”) to evaluate whether a state's SIP satisfies both prongs of its Good Neighbor
obligations to eliminate interstate transport emissions. Under Step 1, EPA identifies monitoring sites in
NAAQS nonattainment or maintenance areas, then in Step 2 determines whether the emissions from
states that are upwind of these sites impact the air quality in the downwind states, such that the upwind
states are “linked”. An upwind state is only “linked” if its contribution value equals or exceeds “the
threshold of 1 percent of the NAAQS (i.e., 0.70 ppb for the 2015 8-hour ozone NAAQS)” to a downwind
state. If an upwind state is not “linked”, then EPA “concludes that the state does not significantly
contribute to nonattainment or interfere with maintenance of the NAAQS in the downwind states” and
Steps 3 (identifying required emissions reductions) and 4 (adopting permanent and enforceable control
strategies) become moot because the upwind state is not required to make any emission reductions.

In the iSIP Disapproval, EPA does not argue or present any evidence to suggest that Tennessee has or is
projected to significantly contribute to nonattainment of the NAAQS in another state (prong 1) for the
applicable timeframes. Instead, EPA states:

        …EPA performed updated air quality modeling to project design values and contributions for
        2023. These data were examined to determine if Tennessee contributes at or above the
        threshold of 1 percent of the 2015 8-hour ozone NAAQS (0.70ppb) to any downwind
        nonattainment or maintenance receptor. As shown in Table 3 [available in full comment], the
        date indicated that in 2023, emissions from Tennessee contribute greater than 1 percent of the
        standard to the maintenance-only receptor in Denton County, Texas…

The Denton County, TX receptor is the sole receptor to which Tennessee is projected to be linked in
2023 and EPA provides no evidence to the contrary. However, in Section II.C.4. of the iSIP Disapproval
“EPA is proposing to find that the portion of Tennessee’s September 13, 2018, SIP submission… does not
meet the State’s interstate transport obligations because it fails to contain the necessary provisions to
eliminate emissions that will contribute significantly to nonattainment or interfere with maintenance
of the 2015 8-hour ozone NAAQS in any other state.” This statement is plainly false, Tennessee does not
contribute significantly to nonattainment for the 2015 8-hour ozone NAAQs in any other state.

Because EPA does not allege or present any information in the iSIP Disapproval that Tennessee
emissions significantly contribute to nonattainment of the NAAQS in another state, EPA may not
disapprove Tennessee’s Infrastructure SIP based on Prong 1 of CAA §110(a)(2)(D)(i)(I).

                                                                                                       301
        Case: 23-60069         Document: 110         Page: 700       Date Filed: 03/27/2023




[…]

In the absence of a significant contribution to downwind states, Tennessee should not be required to
include either Framework Step 3 (multifactor analyses) or Framework Step 4 (permanent and
enforceable reductions) in its infrastructure SIP

Tennessee notes that its original 2018 infrastructure SIP submission was based upon modeling data that
were current at the time of submittal, and that the submittal was made available for EPA review and
comment. If EPA properly resolves the issues identified above with the alternative significance
threshold, then Tennessee is not linked at step 2, making steps 3 and 4 not applicable, making the issues
identified by EPA in these steps moot and therefore insufficient grounds for disapproval of the SIP.



Response
The EPA is deferring final action on Tennessee’s good neighbor SIP submission for the 2015 ozone
NAAQS at this time. As explained in Sections IV.J and IV.U of the preamble, the EPA is now finalizing
partial disapprovals (i.e., at prong 2) for states included in this action that are only linked to
maintenance-only receptors, which are Minnesota and Wisconsin. Other issues raised by this comment
are addressed in Section 1.4 (Use of Updated Modeling) and Section 5 (Updates to Modeling and
Changes in Linkages).




                                                                                                       302
        Case: 23-60069          Document: 110         Page: 701        Date Filed: 03/27/2023




8 Step 3
8.1 Determination of Significant Contribution

Comment
Commenter: Alabama Department of Environmental Management

Commenter ID: 02

Docket ID: EPA-R04-OAR-2021-0841

Comment:

The WOE analysis presented arguments concerning the contribution threshold, an emissions evaluation,
and an analysis of the meteorology, through back trajectories, which in total justified, to the State's
satisfaction, that Alabama will not significantly contribute to downwind nonattainment or maintenance
in 2023 or beyond.

[…]

Weight of Evidence (WOE) Analysis:

In the revised SIP submitted in April of this year, a WOE analysis was provided in an effort to highlight
concerns with the modeling system and associated inputs and outputs. WOE analyses are not new and
have historically been relied on when modeling predictions are close to the air quality goal, or, in this
case a “significant contribution” to future NAAQS non-attainment and maintenance areas. EPA has
utilized and approved the use of WOE analyses in SIP actions for years, most recently for the 2008 ozone
NAAQS SIPs for New Mexico and Wyoming, as well as the 2015 ozone NAAQS for Alaska and Hawaii. As
stated in the April submittal, a WOE analysis relies on assessing the available information and weighing
the data by considering the relevance and quality of the information through qualitative and
quantitative analysis. In the April submittal, ADEM evaluated the meteorological influence on the
predicted Denton and Harris County, Texas receptors, as well as an assessment of Alabama’s emissions
sources, concerns over model performance and issues with the significance threshold relied on by EPA in
the February modeling. As part of these comments, ADEM is submitting additional information to
bolster the WOE argument presented in April, given additional time and resources. Additional analyses
of emissions, linkages, meteorology and further justification for an alternate significance level are being
provided below.



Response
With limited circumstances in which certain unique analytical needs justified it, the EPA generally has
not taken an alternative approach to western states in its assessment of interstate transport under the
2015 ozone NAAQS. See Section V.C.3 of the preamble. As explained at proposal while the EPA has in
limited circumstances found unique issues associated with addressing ozone transport in western states,
the EPA has otherwise consistently applied the 4-step interstate transport framework in western states


                                                                                                       303
        Case: 23-60069          Document: 110          Page: 702       Date Filed: 03/27/2023




and has identified ozone transport problems in the west that are similar to those in the east. See, e.g.,
87 FR 31453.

Commenter cites EPA’s approval of the good neighbor SIP submissions from New Mexico and Wyoming
for the 2008 ozone NAAQS and Alaska and Hawaii for the 2015 ozone NAAQS. It should be noted that
our use of a weight of evidence approach for Alaska and Hawaii was driven by the fact that we did not
have CAMx modeling that could be used to evaluate those state’s emissions. See, e.g., 86 FR 53571,
53574 (September 28, 2021) (Hawaii). Similarly, in our approach to Colorado for the 2015 ozone NAAQS,
we used analysis beyond modeling to assess potential contribution to the Uinta Basin, again because the
CAMx modeling was not designed for evaluating the wintertime inversion conditions that were at issue.
87 FR 61249, 61253-61255 (October 11, 2022). The approvals for New Mexico and Wyoming were for a
less protective NAAQS, also involved somewhat unique analytical circumstances, and did not reflect a
wholesale setting aside of the four-step framework. In any case, the commenter has not established that
the factors that were relevant to our analysis in those actions are present with respect to Alabama.

As explained in the proposed disapproval of Alabama’s April 2022 SIP submission, the EPA disagrees that
Alabama’s analysis, which the state characterizes as a weight of evidence analysis, is sufficient to
support a conclusion that the state does not contribute significantly to nonattainment or interference
with maintenance. 87 FR 64421-64426. The information provided by ADEM in comments on this action
does not change the EPA’s determination.

Alabama’s SIP submission does not analyze future emissions reduction opportunities beyond pointing to
existing NOX emission reductions from SIP-approved and Federal measures. Alabama’s submission
cursorily evaluates NOX emissions from point and mobile source categories from the 2017 NEI and
suggests there is a steep decline in emissions from major sources in the state. However, Alabama does
not include a comprehensive accounting of facilities in the state and does not include a sufficient
analysis of potential NOX emissions control technologies, their associated costs, estimated emissions
reductions, and downwind air quality improvements for the purpose of identifying what additional
emission controls may be necessary to eliminate their significant contribution.

For example, Alabama does not provide details to demonstrate why, how, or to what magnitude NOx
emissions from sources in Alabama, Louisiana, Arkansas, Mississippi, or Texas are expected to continue
to decline through the next attainment date for the Dallas-Fort Worth-Arlington, Texas, area. Further,
Alabama does not show how NOx reductions could potentially affect nonattainment or maintenance
issues – or Alabama’s contribution to such issues – in future years.

Likewise, comparisons between Alabama’s emissions and other states’ emissions, including home-state
emissions, do not address whether some portion of Alabama’s contributions to downwind receptors
may be deemed significant. The ozone transport problem in the United States results from the collective
impacts of relatively small contributions from a number of upwind states. As presented in the Final
Action AQM TSD, a substantial fraction of ozone at nonattainment and maintenance receptors comes
from this collective contribution from upwind states. The cumulative impact of emissions reductions
from upwind states and sources is an important part of resolving the impact of transported emissions on
downwind air quality problems.


                                                                                                        304
        Case: 23-60069         Document: 110         Page: 703       Date Filed: 03/27/2023




The EPA addresses ADEM’s comments related to the August 2018 memorandum in Section 7.4, air
quality factors in Section 8.5, and back trajectory analyses in Section 8.8. The EPA responds to
comments on the contribution threshold in Section V.B.5 of the preamble and in Sections 7.2 and 7.3,
and further comments on the EPA’s emissions inventories and modeling in Sections 3 and 4,
respectively.



Comment
Commenter: Alabama Power Company, Southern Power Company, and PowerSouth Energy Cooperative

Commenter ID: 04

Docket ID: EPA-R04-OAR-2021-0841

Comment:

EPA proposes to disapprove Alabama’s 2022 SIP submission without determining in the first instance
whether Alabama’s SIP is approvable under Section 110(a)(2)(D)(i)(I) of the Clean Air Act. Instead, EPA
evaluated Alabama’s SIP solely with reference to EPA’s “4-step interstate transport framework.” Under
this framework, EPA proposed to determine that certain undefined Alabama emissions contribute
significantly to nonattainment or interfere with maintenance of the 2015 8-hour ozone NAAQS in two
counties in Texas. EPA’s proposal makes multiple errors.

First, as demonstrated by ADEM’s 2022 SIP submittal package, based on a weight of evidence (“WOE”)
analysis, and by applying the requirements of the Clean Air Act, Alabama sources do not significantly
contribute to nonattainment in or interfere with maintenance by any other state. Alabama is not
required to assess its emissions contribution using EPA’s 4-step Federal Implementation Plan (“FIP”)
framework, and EPA may not disapprove Alabama’s SIP relying solely on an application of the limited
and outdated 4-step approach. Instead, Alabama’s SIP package demonstrates that under the plain
meaning of the Act, its SIP must be approved. EPA fails to adequately consider ADEM’s WOE analysis
and the evidence in the record supporting it. As explained below, because Alabama’s 2022 SIP satisfies
all requirements of the Clean Air Act, EPA must approve Alabama’s SIP revision.

[…]

B. ADEM’s Use of a Weight of Evidence Analysis to Address the Good Neighbor Obligations for the 2015
Ozone NAAQS Satisfies the Requirements of the Clean Air Act

As noted above, Alabama advances a WOE analysis to support its determination that emissions from
Alabama are not significantly contributing to downwind nonattainment or maintenance issues in
downwind states. In doing so, Alabama looks at several factors and concludes they all weigh in favor of
the determination that no sources in Alabama are contributing significantly to downwind ozone issues.
In the proposed disapproval, EPA uses a “4-step interstate transport framework to evaluate” the State’s
SIP submittal; however, EPA has been clear that states may satisfy the “good neighbor” obligation in a
variety of ways. EPA has explained that “[t]he precise nature and contents of such a submission is not
stipulated in the statute. [Therefore,] EPA believes that the contents of the SIP submission required by
section 110(a)(2)(D)(i) may vary depending upon the facts and circumstances related to the specific
                                                                                                     305
        Case: 23-60069            Document: 110           Page: 704        Date Filed: 03/27/2023




NAAQS.” For example, EPA “has not directed states that they must conduct a Step 3 analysis in precisely
the manner the EPA has done in its prior regional transport rulemakings.”

While EPA acknowledges in the proposed disapproval that Alabama’s SIP submission is “not organized
by EPA’s 4-Step Framework for assessing good neighbor obligations,” it nevertheless shoehorns
Alabama’s submission into that FIP framework in order to analyze it. But EPA cannot use its SIP review
process (in which EPA shall approve a SIP if it meets the requirements of the Clean Air Act) to force this
FIP framework on states. Instead, EPA should consider ADEM’s WOE analysis only in the context of the
requirements of the plain language of the Act. Because Congress did not define the term “contribute
significantly” or mandate that EPA or the States determine whether a contribution is “significant” in any
particular manner, EPA and the States have analyzed this obligation in various ways in the past.
Generally, these approaches have looked to various factors impacting air quality and cost-effectiveness.
For example, in prior EPA rulemakings to address the “good neighbor” obligation, to determine what
states were “significant” contributors to downwind nonattainment, EPA stated that its goal was to
“determine whether [each upwind State] has emissions whose contributions to downwind
nonattainment problems are large and/or frequent enough to be of concern.”31

EPA has utilized, and approved the use of, weight of evidence analyses in interstate transport SIP actions
for years,32 and ADEM’s proposal is appropriate and consistent with the EPA’s analysis for other states.
Indeed, EPA recently assessed Kansas’s SIP submissions addressing the “good neighbor” obligation for
the 2010 sulfur dioxide (SO2) NAAQS.33 Kansas “conducted a weight of evidence analysis to examine
whether . . . emissions from [that state] adversely affect attainment or maintenance of the 2010 SO2
NAAQS in downwind states.”34 EPA did not insist on reviewing the SIP under any 4-step FIP framework
and instead performed an evaluation of that WOE analysis and, in fact, performed its own WOE analysis,
under the two “prongs” of Section 110(a)(2)(D)(i)(I): (1) significant contribution to nonattainment of the
NAAQS in another state; and (2) interference with maintenance of the NAAQS in another state.35 EPA
and Kansas considered actual monitoring data, modeling data, emissions data from sources within the
relevant state, and information on mobile source emissions in border counties in their “Prong 1” analysis
of significant contribution to nonattainment.36 The “Prong 2” analysis regarding maintenance areas built
on the Prong 1 analysis and further considered emission trends and regulatory programs that had
already led to or were expected to lead to reductions in emissions.37

ADEM has relied on many of the same factors identified in its WOE analysis for its proposed SIP revision
such as emissions from Alabama sources, modeling information, and regulatory programs that have led
to emission reductions. EPA should weigh each factor to determine whether Alabama has satisfied the
two “prongs” of its “good neighbor” obligation as it did with Kansas. Alabama’s SIP satisfies all of the
requirements of the Clean Air Act, and, considering the weight of the evidence, EPA should approve
Alabama’s SIP just as it did with Kansas’s SIP.
31
  63 Fed. Reg. 57,356, 57,381 (Oct. 27, 1998) (emphasis added).
32
  See, e.g., Approval and Promulgation of Air Quality Implementation Plans; Wyoming; Interstate Transport for the
2008 Ozone National Ambient Air Quality Standards, 84 Fed. Reg. 3,389 (Feb. 12, 2019); Air Plan Approval; New
Mexico; Interstate Transport Requirements for the 2008 Ozone NAAQS, 84 Fed. Reg. 66,098 (Dec. 3, 2019); Air Plan
Approval; Hawaii; Interstate Transport for the 2015 Ozone NAAQS, 86 Fed. Reg. 53,571 (Sept. 28, 2021); Air Quality
State Implementation Plans; Approvals and Promulgations: Alaska; Interstate Transport Requirements for the 2015
Ozone Standard, 84 Fed. Reg. 26,041 (June 4, 2019).

                                                                                                              306
         Case: 23-60069            Document: 110       Page: 705       Date Filed: 03/27/2023



33
   86 Fed. Reg. 31,645 (June 15, 2021).
34
   Id. at 31,648.
35
   Id.
36
   Id. at 31,645-52.
37
   Id. at 31,652-53.


Response
With respect to commenter’s assertions that the EPA did not evaluate or determine whether Alabama’s
SIP submission is approvable under Section 110(a)(2)(D)(i)(I), EPA disagrees. The EPA’s notice of
proposed rulemaking explains why Alabama’s SIP submission did not appropriately apply a “weight of
evidence” (WOE) analysis to determine Alabama will not significantly contribute to downwind
nonattainment or maintenance in 2023 or beyond. See 87 FR 64412. The EPA assessed the details of
Alabama’s SIP submission on their own merits and provided explanations as to why the SIP submission
did not provide analysis sufficient for the EPA to approve the submittal. See id. The EPA has provided
additional detail with respect to the weight of evidence approach above, in response to comments by
ADEM.

Similarly, the EPA has addressed comments regarding the use of a WOE approach in interstate transport
submissions, as well as the weight of evidence approach used by Alabama in responding to ADEM’s
comments, above.

Commenter’s comparisons to the Kansas 2010 sulfur dioxide (SO2) analysis containing a weight of
evidence approach do not persuade the EPA to adopt commenter’s preferred analysis using weight of
evidence for Alabama’s submission as to interstate transport under the 2015 ozone NAAQS. First, as the
EPA explains in the NPRM for Kansas and Nebraska: “[I]nterstate transport of SO2 is unlike the transport
of fine particulate matter (PM2.5) or ozone, in that SO2 is not a regional pollutant and does not
commonly contribute to widespread nonattainment over a large (and often multi-state) area. . . . SO2
transport is therefore a unique case and requires a different approach.” 86 FR 31645 (June 15, 2021); 86
FR 43960 (August 11, 2021). Second, with respect to the SO2 transport analysis for Kansas, various
monitoring and modeling results indicated that there were no violations or maintenance issues in
nearby states close enough to be impacted by SO2 transport from Kansas (e.g., on the scale of around 50
kilometers or less), and the various additional pieces of evidence that EPA looked at supported those
conclusions; in the case here, where modeling results project Alabama to contribute to downwind
nonattainment and maintenance receptors, a much more robust analysis of emissions sources and
emissions control opportunities would be required than what was provided by Alabama to conclude that
no emissions from Alabama should be deemed “significant.” See id.

In response to commenter’s claim that the EPA is forcing a FIP framework on states or failing to limit its
evaluation of ADEM’s “WOE” analysis to the context of the requirements of the Act, see Section V.B.6.
of the preamble. The EPA addresses comments about the EPA’s statutory authority in Section 10.3.




                                                                                                       307
        Case: 23-60069            Document: 110          Page: 706        Date Filed: 03/27/2023




Comment
Commenter: Arkansas Department of Energy and Environment, Division of Environmental Quality

Commenter ID: 07

Docket ID: EPA-R06-OAR-2021-0801

Comment:

In EPA’s proposed disapproval, EPA purports that DEQ did not conduct an adequate analysis of
emissions from the sources and other emission activity from within the state to determine whether its
contributions were significant. DEQ finds that EPA is objectively wrong in this assertion. DEQ performed
a robust analysis of emissions activities within the state that had the potential to significantly contribute
to nonattainment or interfere with maintenance of the NAAQS in other states. This analysis covered all
sources in Arkansas with elevated stacks20 (including both EGUs another industrial sources) that are
under DEQ’s regulatory authority. EPA inaccurately states in the proposed disapproval that DEQ’s
analysis under Step 3 only focuses on EGUs. DEQ focused analysis on emissions of NOx, as most VOC
emissions within Arkansas are not anthropogenic, and are therefore uncontrollable.21
20
   DEQ chose to focus analysis on elevated stack sources because emissions from such sources are more likely to
penetrate through the atmospheric mixing layer and thus be transported long distances.
21
   According to the EPA 2014 National Emission Inventory, emissions from biogenic sources make up eighty-two
percent of the Arkansas VOC emission inventory. Point sources contribute only two percent of total VOC emissions
to Arkansas’s VOC emission inventory, thus VOCs were not further examined.


Response
The EPA explained the deficiencies in Arkansas’s SIP submission at proposal. 87 FR 9808-9811. Related
issues raised by this commenter are addressed in Section 8.6.



Comment
Commenter: City Utilities of Springfield, Missouri

Commenter ID: 13

Docket ID: EPA-R07-OAR-2021-0851

Comment:

In essence, City Utilities (CU) believes that EPA erred in disapproving Missouri’s SIPs that addressed
interstate transport or the “good neighbor” provisions, for the 2015 8-hour ozone NAAQS

[…]

A. EPA failed to adequately justify why Missouri’s “good neighbor” SIP was disapproved and provided no
recourse to supplement the regulatory action. City Utilities generally supports efforts by the Missouri
Department of Natural Resources (MDNR) Air Program to redress deficiencies EPA identified in


                                                                                                            308
        Case: 23-60069          Document: 110          Page: 707        Date Filed: 03/27/2023




Missouri’s SIP. EPA’s burden to determine certainty that Missouri emissions are a significant
contributing influence on ambient monitor receptors in downwind States has not been met.



Response
The EPA explained the deficiencies in Missouri’s SIP submission at proposal, 87 FR 9540-9544. The
commenter did not indicate with reasonable specificity their concern with the EPA’s assessment. The
EPA cannot legally extend Missouri’s deadline to submit a SIP submission; similar comments are
addressed in the preamble in Section V.A.2 and in Section 1.1. The EPA received a second good neighbor
SIP submission addressing the 2015 ozone NAAQS from Missouri on November 1, 2022, as discussed in
more detail in Section 9. The EPA is not required to identify what amounts of contribution are
“significant” in acting on a good neighbor SIP submission. See EME Homer City, 572 U.S. at 509 (“Nor
does the Act condition the duty to promulgate a FIP on EPA's having first quantified an upwind state's
good neighbor obligations.”). The EPA has found that the Missouri SIP submission, as well as each state’s
submission included in this action, is deficient at Step 3 for a variety of reasons; indeed, neither Missouri
nor any other state identified any emissions from its sources or emissions activity as being significant
and therefore in need of prohibition. The deficiencies in these analyses could be, and have been,
identified in this action, well before the need to evaluate these submissions against any specific
benchmark of “significance.”



Comments


Commenter: Eagle Materials Inc.

Commenter ID: 16

Docket ID: EPA-R09-OAR-2022-0138

Comment:

Nevada reasonably applied a technical evaluation of its significant contributions to downwind air quality
problems, guided by EPA’s Guidance and the requirements of the CAA. EPA cannot now impose rigid
requirements using its own analysis, and must instead evaluate Nevada’s chosen framework against the
requirements of Section 110(a)(2)(D)(i)(I).



Commenter: Idaho Power Company

Commenter ID: 23

Docket ID: EPA-R09-OAR-2022-0138

Comment:



                                                                                                         309
        Case: 23-60069           Document: 110          Page: 708       Date Filed: 03/27/2023




Nevada reasonably applied a technical evaluation of its significant contributions to downwind air quality
problems, guided by EPA’s Guidance and the requirements of the CAA, and timely submitted its SIP for
approval. EPA cannot now impose requirements based on its own preferences, but must instead
evaluate Nevada chosen framework against the requirements of Section 110(a)(2)(D)(i)(I).



Response
The EPA explained the deficiencies in Nevada’s SIP submission is the proposal at 87 FR 31492-31493. The
EPA responds to these and similar comments in Section V.B.8. of the preamble and Section 10.3 of the
RTC document.



Comment
Commenter: Maryland Department of the Environment

Commenter ID: 29

Docket ID: EPA-R03-OAR-2021-0872

Comment:

EPA now proposes to disapprove Maryland’s SIP, in part, because it “does not offer an alternative
modeling assessment showing that projected reductions in Maryland’s emissions... would eliminate the
contribution Maryland’s emissions make to non-attaining or maintenance monitors.” This determination
is arbitrary and capricious in several respects.

As an initial matter, EPA’s position establishes a false requirement that EPA’s own transport rules do not
adhere to. It is unreasonable to require Maryland to demonstrate that its SIP “would eliminate the
contribution Maryland’s emissions make to non-attaining or maintenance monitors.” Section
110(a)(2)(D)(i)(I) only requires that Maryland eliminate its significant contribution, not all contributions.

Second, it is unclear what “alternative modeling” would be required for SIP approval. EPA’s memo does
not require that “alternative modeling” be provided in each of the 20 alternate analytical approaches
discussed in its memo. In apparent acknowledgement of that fact, EPA’s disapproval contends that the
flexibilities were only “intended to generate further discussion around potential approaches to
addressing ozone transport among interested stakeholders”. However this position, like its remanded
decision in New York v. EPA, 964 F.3d 1214, 1223 (D.C. Cir. 2020), is an unreasonable moving target.

[…]

In its 2015 Good Neighbor SIP, Maryland followed EPA’s four step framework (without taking advantage
of any flexibilities), and conducted a thorough Step 3 analysis (as discussed in Section C) showing that it
has resolved its significant contribution to downwind nonattainment and maintenance areas.

EPA states that Maryland’s Step 3 analysis is insufficient, in part, because the Step 3 analysis Maryland
provided was not what EPA was expecting. EPA states: At Step 3 of the 4-step interstate transport
framework, Maryland did not include an accounting of all of the NOx [“Nitrogen Oxides”] emitting

                                                                                                         310
        Case: 23-60069          Document: 110          Page: 709        Date Filed: 03/27/2023




facilities in the state along with an analysis of potential NOx emissions control technologies, their
associated costs, estimated emissions reductions, and downwind air quality improvements.

However, Maryland cannot reasonably be expected to know what EPA requires when EPA has never
articulated a specific set of analytical requirements. EPA acknowledges that it has issued no guidance on
what elements must be required in the Good Neighbor SIP. EPA states:

        While the EPA has not prescribed a particular method for this assessment, the EPA expects
        states at a minimum to present a sufficient technical evaluation. This would typically include
        information on emissions sources, applicable control technologies, emissions reductions, costs,
        cost effectiveness, and downwind air quality impacts of the estimated reductions, before
        concluding that no additional emissions controls should be required.

Maryland provided exactly that by explaining each of the regulations on a set of sources, evaluated the
expected emissions from the sources that were anticipated to provide the maximum amount of
reductions at a high cost-per-ton value, and found that they were sufficient to address the state’s Good
Neighbor obligations. Maryland also discussed the state’s other NOx (and Volatile Organic Compound
(“VOC”)) regulations, which provide further assurance that the state has eliminated its significant
contribution to downwind nonattainment and maintenance areas. EPA is thus obligated to engage in an
actual evaluation of Maryland’s submittal, not simply declare it to be “insufficient” based on an
amorphous set of expectations. If the EPA should finalize its disapproval of the submittal on the basis
that it is insufficient, EPA must document all the metrics and analysis used in the final disapproval of
Maryland’s 2015 Good Neighbor SIP at Step 3 and provide official guidance that details what a
“sufficient technical evaluation” entails.

        To that regard, EPA’s proposed disapproval does not require states to complete a Step 3 analysis
        in precisely the same manner that EPA has in previous transport actions. All EPA says is
        necessary for a “sufficient technical evaluation” is “something similar” to EPA’s analysis to
        determine whether and to what degree emissions should be eliminated to address significant
        contribution.

As detailed in Section C, MDE has met those Step 3 requirements. MDE used the only known
benchmark at the time of its submittal, a NOx mass cap of 3,828 tons per ozone season at a cost
effectiveness of $1,400/ton, to demonstrate that the state’s aggressive emissions reductions programs
outlined in its 2015 Good Neighbor SIP have far exceeded that threshold, thereby satisfying its Good
Neighbor obligations for the 2015 ozone NAAQS. It is unreasonable for EPA to propose to disapprove
Maryland’s 2015 Good Neighbor SIP on the basis that the elements it has not articulated, and says are
not required, were not present in Maryland’s SIP submission.



Response
The EPA agrees that the CAA does not require Maryland, or any state, to show that it has eliminated all
of its contribution to downwind nonattainment. The standard in CAA section 110(a)(2)(D)(i)(I) is that a
SIP submission for a new or revised NAAQS must contain adequate provisions prohibiting any source or
other type of emissions activity within the state from emitting air pollutants in amounts that will
significantly contribute to nonattainment or interfere with maintenance of the NAAQS in another state
                                                                                                     311
        Case: 23-60069           Document: 110         Page: 710       Date Filed: 03/27/2023




(emphasis added). The proposal was clear on this in its description of the 4-step interstate transport
framework when it stated that “… if a state's contribution equals or exceeds the 1 percent threshold, the
state's emissions are further evaluated in Step 3, considering both air quality and cost as part of a multi-
factor analysis, to determine what, if any, emissions might be deemed “significant” and, thus, must be
eliminated under CAA section 110(a)(2)(D)(i)(I).” 87 FR 9468.

The EPA said in full in the proposal that:

        Maryland’s 2019 SIP submission lacks an analysis of the effect that Maryland’s adopted emission
        reductions would have on the specific downwind monitors which the EPA’s March 2018
        memorandum modeling analysis and 2016v2 emissions platform analysis determined that
        Maryland sources contribute more than 1 percent to nonattainment or interference with
        maintenance. Maryland’s SIP submission disputes neither the significant contribution from
        Maryland nor the ‘‘linkages’’ between Maryland emissions and these downwind nonattainment
        or maintenance monitors. Further, although Maryland objects to the modeling assessment
        included with the EPA’s March 2018 Memorandum, it does not offer an alternative modeling
        assessment showing that projected reductions in Maryland’s emissions, as outlined in its 2019
        SIP submittal, would eliminate the contribution Maryland’s emissions make to nonattaining or
        maintenance monitors identified by the EPA’s 2018 memorandum modeling assessment, or to
        those in the more recent 2016v2 emissions platform assessment. Maryland’s modeling
        assessment in its 2019 SIP submittal merely explores the varying effects that various emission
        reduction strategies in eastern states would have on ozone nonattainment in general, rather
        than the effect Maryland’s reductions would have on non-attaining or maintenance monitors to
        which it is linked.

87 FR 9474. The EPA’s statement about Maryland not offering alternative modeling was not a suggestion
that Maryland was obligated to examine alternative modeling. Rather, the statement was intended as a
factual observation that Maryland did not rebut, or attempt to rebut, the conclusion in the very
modeling on which Maryland relied – that the state contributes above the contribution threshold. Thus,
EPA would have expected Maryland to provide an analysis supporting a conclusion that despite those
contributions Maryland was not significantly contributing to nonattainment or interference with
maintenance.

Although Maryland identified a number of emissions control requirements, in general, the emissions
reducing effects of all existing emissions control requirements are already reflected in the air quality
results of the modeling for Steps 1 and 2. And yet Maryland was still identified as linked above 1 percent
of the NAAQS contribution threshold to one or more downwind receptors at Step 2. 87 FR 9473. The
EPA explained at proposal why Maryland provided an insufficient analysis at Step 3 to support a
conclusion that the state’s good neighbor obligations for the 2015 ozone NAAQS are resolved. 87 FR
9471. MDE’s comment here does not change the EPA’s assessment of Maryland’s SIP submission. A
related comment is addressed in Section 8.3.

The EPA address comment related to availability of guidance in Section 1.2. The EPA responds to MDE’s
argument based on New York v. EPA in Section 1.4. The EPA addresses comments about existing and
future state controls in Section 8.3.

                                                                                                        312
        Case: 23-60069          Document: 110         Page: 711       Date Filed: 03/27/2023




Comment
Commenter: Oklahoma Department of Environmental Quality

Commenter ID: 37

Docket ID: EPA-R06-OAR-2021-0801

Comment:

COMMENT 4: EPA’s Backwards Approach to Transport SIP Approvals Renders States’ Burdens
Unknowable at the Time of SIP Development

As was mentioned in Section III and in Comment 1, Oklahoma relied extensively on the projected design
values and guidance offered in the three 2018 Tsirigotis Memos. Theses memos coupled with the Cross-
State Air Pollution Rule (CSAPR) framework establish the criteria by which EPA determines whether an
upwind state is making a significant contribution to nonattainment or maintenance issues at monitors
located in downwind states. As will be discussed in more detail later, there are two criteria, or “prongs”
as Oklahoma has called them, both of which must be met to establish this significant contribution to
nonattainment or interference with maintenance. In essence the “significant contribution” language in
the Clean Air Act has been operationally defined as meeting both of the following prongs: (1) air quality
modeling must show that the total anthropogenic NOx emissions from the upwind state must meet or
exceed a contribution threshold at a downwind monitor that is having trouble attaining the ozone
standard (i.e., steps 1 and 2 of the CSAPR 4-step framework) and (2) the upwind state must have some
quantity of NOx emissions reductions available at a uniform cost threshold (i.e., steps 3 and 4 of the
CSAPR 4-step framework). The determination of the quantity of emissions that must be reduced to
eliminate the downwind contribution happens at Step 3 of the CSAPR framework, a step that occurs
only after considerable work to model the relationship between upwind states’ emissions and
downwind concentrations. During the preparation of its SIP, a state agency cannot move forward unless
the flexibilities, design values, and general guidance offered in the EPA memos to avoid needing to
conduct a Step 3 analysis. Further, if modeling appears to show that the state’s contributions meet or
exceed the contribution threshold, the state cannot determine the magnitude of NOx emissions
reductions needed (if any at all) until EPA completes its work on Step 3 of the CSAPR framework. These
uncertainties yield a complicated and confusing burden where a state’s obligations are fundamentally
unknowable at the time a state is required to develop its SIP.

[…]

COMMENT 8: Demonstrating “No Linkage” Should Have Been Sufficient

As noted in the proposed disapproval at 87 Fed. Reg. 9824, the Oklahoma SIP did not identify any NOx
emission reductions beyond those required by the CSAPR Update, which establishes an ozone-season
NOx trading program for all Oklahoma fossil-fueled electricity generating units (EGUs) with a nameplate
generating capacity of more than 25 MWe that produce electricity for sale. Oklahoma determined there
was no need to identify NOx emissions reductions because demonstrating no significant contribution to
a downwind monitor under prong 1 should have been sufficient on its own. This is because, as already
stated above, the significance determination under the CSAPR framework is fundamentally two-
pronged, and if either prong is not satisfied then the state does not contribute significantly to downwind
                                                                                                      313
        Case: 23-60069          Document: 110         Page: 712       Date Filed: 03/27/2023




nonattainment or maintenance. Oklahoma’s SIP addressed the first prong (i.e., Steps 1 and 2) and
demonstrated that there was no linkage to a downwind monitor. Having made that demonstration,
ODEQ did not need to address the second prong (i.e., Steps 3 and 4), and therefore did not need to
identify additional NOx emission reductions.

Additionally, adequately addressing the second prong represents an unreasonable burden due to the
complexity of Step 3 of the CSAPR framework. The level of complexity is demonstrated in this
description from the “Ozone Transport Policy Analysis Proposed Rule TSD:”

        In order to establish EGU NOX emissions control stringencies for each linked upwind state, EPA
        first identifies various possible uniform levels of NOX control stringency based on available EGU
        NOX control strategies and represented by cost thresholds. The EGU emission reductions
        pertaining to each level of control stringency are derived using historical data, engineering
        analyses, and the Integrated Planning Model (IPM) for the power sector as described in sections
        B and C of this TSD. A similar assessment for one scenario was done for non-EGUs. Next, EPA
        uses the ozone Air Quality Assessment Tool (AQAT) to estimate the air quality impacts of the
        upwind state emissions reductions on downwind ozone pollution levels for each of the assessed
        cost threshold levels. Specifically, EPA looks at the magnitude of air quality improvement at each
        receptor at each level of control, it also examines whether receptors change status (shifting
        from either nonattainment to maintenance, or from maintenance to attainment), and looks at
        the individual contributions of each state to each of its receptors.

The photochemical modeling that is used to connect emissions from upwind states to nonattainment
and maintenance receptors in downwind states is so complicated and takes so long to run that EPA uses
a simpler tool, the Air Quality Assessment Tool or AQAT, to check each intermediate sub-step to see
whether the emissions reductions at a particular cost threshold are sufficient to bring the downwind
monitors into attainment of the NAAQS. The AQAT was not available when the Oklahoma Transport SIP
was developed and submitted. In fact, the AQAT was not released until March 24, 2022. It is an
unreasonable burden to expect states, with fewer resources than the EPA, to perform a level of analysis
that taxes the EPA’s abilities and resources.



Response
In response to the commenter’s claim that the EPA should approve Prongs 1 and 2 of CAA section
110(a)(2)(D)(i)(I) for Oklahoma, we note that in its submission ODEQ refers to Steps 1 and 2 of the 4-step
interstate transport framework collectively as Prong 1 and Steps 3 and 4 of the 4-step interstate
transport framework collectively as Prong 2. The EPA has consistently used the term “prongs” to refer
instead to the requirements found in CAA section 110(a)(2)(D)(i). There are two so-called ‘‘prongs’’
within CAA section 110(a)(2)(D)(i)(I). A SIP submission for a new or revised NAAQS must contain
adequate provisions prohibiting any source or other type of emissions activity within the state from
emitting air pollutants in amounts that will significantly contribute to nonattainment of the NAAQS in
another state (prong 1) or interfere with maintenance of the NAAQS in another state (prong 2).

In response to commenter’s claims that the level of analysis required at Step 3 of the 4-step interstate
transport framework is overly burdensome for states, the EPA disagrees this is necessarily the case, and
                                                                                                      314
        Case: 23-60069          Document: 110          Page: 713       Date Filed: 03/27/2023




even if the analytical burden is great, this would not be a reason to approve deficient SIP submissions.
While the EPA appreciates the work required by states in these actions, the Supreme Court confirmed
that the states have the first obligation to prepare and submit state plans that prohibit the appropriate
levels of emissions that significantly contribute to nonattainment or interfere with maintenance of the
NAAQS in other states. In EPA v. EME Homer City Generation, L.P., the Supreme Court clearly held that
“nothing in the statute places the EPA under an obligation to provide specific metrics to states before
they undertake to fulfill their good neighbor obligations.” 572 U.S. at 509.

The EPA disagrees that the work involved in performing a Step 3 analysis necessitates the identification
of so-called “flexibilities,” so that states can avoid having to conduct further analysis of emissions-
control opportunities or avoid imposing any emissions reduction obligations on their sources. The core
statutory objective of the good neighbor provision is to ensure elimination of all significant contribution
to nonattainment or interference of the NAAQS in other states. Allowing flexibility for the purpose of
avoiding the work required to assess whether a state’s emissions contribute significantly to downwind
states is inconsistent with the requirements of the statute and would render the good neighbor
provision ineffective. As noted in the preamble, the EPA’s experience has been that in general, states
that attempted to rely on the flexibilities mentioned in previous EPA memos did not provide sufficient
state-specific analysis to justify their appropriateness.

The EPA disagrees that it must conduct its own quantification and analysis of cost-effective controls in
evaluating a state's SIP submission, or do this analysis on behalf of the state. See EME Homer City, 572
U.S. at 509. That is the state’s responsibility, and if it has not done that analysis (or an alternative
analysis that comports with the Act), then the SIP submission is not approvable. This action is not
determining what, if any, cost effective controls exist at Step 3 of the 4-step interstate transport
framework—nor need it, if the state’s submission is lacking in such an analysis. Instead, the EPA is
evaluating the states’ interstate transport SIP submissions to determine whether the submissions satisfy
the statutory obligations at CAA section 110(a)(2)(D)(i)(I). In order for the EPA to approve a state’s SIP
submission, a state’s chosen approach must contain an adequate technical justification and be
consistent with the requirements of the CAA. ODEQ stated that controls imposed through the 2016
CSAPR Update FIP were the only reasonable controls to require. EPA noted in its proposal that the EPA’s
2016v2 modeling incorporated emission reductions from prior ozone transport rulemakings, including
the CSAPR Update and the Revised CSAPR Update, and even with those reductions, modeling still shows
that Oklahoma is linked to downwind receptors. Where a state's submission simply relies on controls
and cost thresholds from previous ozone transport actions without explaining why that cost threshold
remains appropriate or evaluating other potentially cost-effective controls, it fails to provide an
adequate justification and thus is deficient. Additional comments on issues raised by the comment are
addressed in Sections 8.3 (Existing and Future State Controls) and 8.6 (Cost Thresholds).



Comment
Commenter: Texas Commission on Environmental Quality

Commenter ID: 42

Docket ID: EPA-R06-OAR-2021-0801
                                                                                                        315
        Case: 23-60069          Document: 110         Page: 714       Date Filed: 03/27/2023




Comment:

The TCEQ disagrees with EPA’s claim that it does not use the 0.7 ppb contribution threshold as the ‘sole’
determinant of significant contribution from upwind states because the EPA evaluated potential
emission reductions in upwind states to determine whether potential emissions reductions are
significant to downwind monitors.

The EPA claims that by evaluating if a state has sufficient emission reductions to remove the 0.7 ppb
contribution to a downwind nonattainment or maintenance monitor, the EPA’s 4-step methodology
does not use the 0.7 ppb as the ‘sole’ determinant of significant contribution and that EPA’s
methodology is similar to the TCEQ’s weight of evidence methodology. However, the EPA is conflating
the ability to mitigate contributions with whether the contribution itself is significant in its approach.
The potential for emissions reductions should not be used as justification for significant contribution.
Significant contribution should be established prior to determining if emissions reductions are needed as
the TCEQ did in its transport analysis.



Response
This comment expresses an inaccurate description of the 4-step interstate transport framework, in that
the EPA does not in fact define “significance” by reference to the Step 2 “contribution” threshold. We
acknowledge that TCEQ in its SIP submission attempted to provide an alternative approach in its analysis
that would have concluded it does not have “significant” emissions prior to conducting any analysis of
emissions reduction opportunities. Rather, the state attempted to use a variety of additional “air quality
factors” to justify the non-significance of its emissions. For reasons explained in the proposed
disapproval, the EPA finds TCEQ’s approach is not approvable. See 87 FR at 9831-34. Thus, our analysis
(including our evaluation of TCEQ’s modeling and methodological choices) establishes that the state
does contribute to receptors out of state, and the state’s reasoning for why none of those contributions
should be considered “significant” is not approvable.



8.2 Alleged De Minimis Contribution

Comments


Commenter: Alabama Power Company, Southern Power Company, and PowerSouth Energy Cooperative

Commenter ID: 04

Docket ID: EPA-R04-OAR-2021-0841

Comment:

Second, ADEM points out that statewide NOX emissions from point sources in Alabama continue to
decline and most emissions are from mobile sources, which would only contribute to local ozone. This
factor is further supported by the fact that Alabama is not projected by EPA’s modeling to be linked to
                                                                                                      316
        Case: 23-60069            Document: 110            Page: 715        Date Filed: 03/27/2023




any other state’s nonattainment or maintenance in 2026, based solely on existing SIP requirements.40
Any additional mandates for reductions in emissions from point sources in Alabama would have
disproportionately small impacts on ozone concentrations in Texas. In fact, EPA only projects an
improvement of 0.17 ppb and 0.36 ppb at the Denton and Harris County monitors, respectively, in 2023
as a result of emission reductions.41 And only approximately 0.015 ppb and 0.038 ppb of those
reductions might be considered attributable to Alabama.42 These are vanishingly small amounts that do
not constitute any common sense understanding of potentially significant contribution. Indeed, every
other “linked” state contributes more to these monitors than Alabama.
41
  87 Fed. Reg. at 20,092.
42
  “Linked” states are only projected to contribute 7.97 ppb and 8.34 ppb to the Denton and Harris County
monitors, respectively, in 2023. See EPA, Ozone Air Quality Assessment Tool (AQAT), available at
https://www.epa.gov/csapr/good-neighbor-plan-2015-ozone-naaqs. Alabama accounts for 9% and 11% of that
total linked contribution to each receptor, respectively. Therefore, it could be assumed that 9% and 11% of the
total improvement at those receptors from emission reductions at those receptors is due to Alabama. This
assumption is likely conservative and the influence on the Texas receptors is actually less.


Commenter: Arkansas Department of Energy and Environment, Division of Environmental Quality

Commenter ID: 07

Docket ID: EPA-R06-OAR-2021-0801

Comment:

Because the modeling that EPA provided to the states at the time of SIP development did not include
sector-specific tagging, DEQ examined sources with elevated stacks to determine whether any sources
in Arkansas were anticipated to significantly contribute to nonattainment or interfere with maintenance.
Because DEQ had additional information about EGU emissions, DEQ performed additional analysis for
this source type. As previously discussed, the analysis focused solely on Allegan County, MI because that
was the only receptor DEQ identified as being potentially linked to Arkansas—although DEQ’s HYSPLIT
analysis suggests that this linkage is not persistent or consistent. The data presented in the Arkansas
Transport SIP indicates that EGUs in Arkansas are not significantly contributing to nonattainment or
interfering with maintenance in Allegan County, MI. The data also show that controlling emissions
activities in Arkansas would not be an effective way of reducing the ozone concentrations in Allegan
County—particularly when looking at Arkansas’s relative contribution to the Allegan County monitor
compared to the proximity and quantity of emissions in other states near to Allegan County. DEQ did
not perform similar analyses for the receptors identified by EPA in their disapproval because the data
upon which those “linkages” were identified was not available and DEQ adequately justified its 1 ppb
threshold.

[…]
EPA’s modeling projects that the Harris County, TX monitor (482010055) will not attain the 2015 ozone
NAAQS by 2023. Therefore, new control measures are necessary to bring Harris County into attainment.
However, Arkansas’s relatively small contribution to this monitor based on EPA’s 2016v2 modeling does
not indicate that new controls for Arkansas sources is an effective means of bringing this area into
                                                                                                                  317
        Case: 23-60069          Document: 110          Page: 716        Date Filed: 03/27/2023




attainment and that it is unlikely that a particular emission source or emission activity in Arkansas will
significantly contribute to nonattainment or interfere with maintenance at that monitor.



Commenter: PacifiCorp (Attachment – Ramboll Evaluation)

Commenter ID: 38

Docket ID: EPA-R08-OAR-2022-0315

Comment:

Tables 1-3 and 1-4 summarize the contributions of Wyoming and Utah EGU and PacifiCorp EGU NOX
emissions to 2023 ozone design values at receptors in the DM/NFR ozone NAA. The EGU contributions
were obtained using the Proposed Transport Rule Step 2 CAMx 2023 APCA ozone source apportionment
modeling state ozone contributions assuming that the EGU fraction of that ozone contribution was
proportional to the EGU NOX emissions fraction to the state’s total anthropogenic NOX emissions. The
EGU fraction of the Wyoming and Utah total anthropogenic NOX emissions was taken from the pie
charts above. The PacifiCorp EGU fraction of each of the states total EGU NOX emissions is from Table 3-
2 in Chapter 3.

The Wyoming EGU contribution to the 2023 ozone design at the CHAT monitor is 0.14 ppb, or 0.19%.
Using the Proposed Transport Rule Step 1&2 data the PacifiCorp EGUs contribution to the 2023 ozone
AvgDV at CHAT is 0.05 ppb, or 0.06%.

Utah EGUs are estimated to contribution 0.22 to 0.29 ppb to the 2023 ozone design values at the three
sites in the DM/NFR NAA, which represents 0.30% to 0.40% of the design value (Table 1-3). PacifiCorp
EGUs are estimated to contribute 0.10-0.12 ppb or 0.13-0.17% to the 2023 ozone AvgDV at the three
sies in the DM/NFR NAA.

Thus, the Wyoming and Utah EGU and PacifiCorp EGU ozone contributions to the 2023 ozone design
values in the DM/NFR NAA are quite small and probably not even measurable.

Table 1-3. Contributions of Wyoming and Utah EGU NOX emissions to 2023 ozone design values at
receptors in the DM / NFR ozone NAA.

                                        2023 State                 2023 State EGU Contribution
                     2023 Ozone           Ozone          State Total        EGU Ozone
    Receptor                                                                                 EGU Ozone
                     AvgDV (ppb)       Contribution     Anthropogenic      Contribution
                                          (ppb)                                            Contribution (%)
                                                        NOX Emissions         (ppb)
 Wyoming
      CHAT               71.7              0.81              17%               0.14              0.19%
 Utah
      CHAT               71.7              1.37              21%               0.29              0.40%
      RFNO               72.6              1.10              21%               0.23              0.32%
      NREL               73.8              1.06              21%               0.22              0.30%




                                                                                                         318
        Case: 23-60069         Document: 110         Page: 717        Date Filed: 03/27/2023




Table 1-4. Contributions of Wyoming and Utah PacifiCorp EGU NOX emissions to 2023 ozone design
values at receptors in the DM/NFR ozone NAA.

                                       2023 State           2023 PacifiCorp State EGU Contribution
                    2023 Ozone           Ozone         State Total        EGU Ozone
    Receptor                                                                               EGU Ozone
                    AvgDV (ppb)       Contribution    Anthropogenic      Contribution
                                         (ppb)                                           Contribution (%)
                                                      NOX Emissions         (ppb)
 Wyoming
      CHAT              71.7             0.81               6%               0.05             0.06%
 Utah
      CHAT              71.7             1.37               9%               0.12             0.17%
      RFNO              72.6             1.10               9%               0.10             0.14%
      NREL              73.8             1.06               9%               0.10             0.13%


Response
The contributions from no state covered by this action, including Alabama, Arkansas, or Utah, are so
small that the states have proven they do not significantly contribute to nonattainment or interfere with
maintenance.

In the NOX SIP Call, the EPA adopted a “collective contribution” approach to determining whether
sources “contribute” to nonattainment downwind. 63 FR 57376 (Oct. 27, 1998). The EPA said that:

        EPA believes that each ozone nonattainment problem at issue in today’s rulemaking is the result
        of emissions from numerous sources over a broad geographic area. The contribution from
        sources in an upwind State must be evaluated in this context. This ‘‘collective contribution’’
        nature of the ozone problem supports the proposition that the solution to the problem lies in a
        range of controls covering sources in a broad area, including upwind sources that cause a
        substantial portion of the ozone problem. This upwind share is typically caused by NOx
        emissions from sources in numerous States. States adjacent to the State with the nonattainment
        problem generally make the largest contribution, but States further upwind, collectively, make a
        contribution that constitutes a large percentage in the context of the overall problem.

63 FR 57386.

EPA adopted the same approach to quantifying the level of states’ significant contribution to downwind
nonattainment areas in CAIR as it used in the NOX SIP Call, based on the determination in the NOX SIP
Call that downwind ozone nonattainment is due to the impact of emissions from numerous upwind
sources and states. CAIR, 70 FR 25162, 25172 (May 12, 2005).

Citing to prior determinations made in the NOX SIP Call and CAIR, EPA continued to find a collective
contribution problem impacting downwind ozone nonattainment and maintenance areas in CSAPR. 76
FR 48208 (Aug. 8, 2011). Specifically, EPA found “that the total ‘collective contribution’ from upwind
sources represents a large portion of PM2.5 and ozone at downwind locations and that the total amount
of transport is composed of the individual contribution from numerous upwind states.” Id. at 48237.

The EPA continued to hold this view in the CSAPR Update: “The EPA continues to find that the total
collective contribution from upwind states’ sources represent a significant portion of the ozone
                                                                                                      319
        Case: 23-60069          Document: 110         Page: 718        Date Filed: 03/27/2023




concentrations at downwind nonattainment and maintenance receptor locations.” 81 FR 74519 (Oct. 26,
2016). Further, the D.C. Circuit, in upholding EPA’s approach to allocating responsibility at Step 3,
rejected Wisconsin’s argument that it should not face good neighbor obligations for the 2008 ozone
NAAQS in the CSAPR Update on the basis that its emission reductions would only improve a downwind
receptor by two ten-thousandths of a part per billion. Wisconsin v. EPA, 938 F.3d 303, 322–23 (D.C. Cir.
2019) (citing EPA v. EME Homer, 572 U.S. 489, 524 (2014)).

In evaluating ozone transport, the EPA continues to place great importance on collective contribution,
including in the context of evaluating SIP submissions. For example, Alabama is linked to the Galveston,
Texas receptor and also to the Denton/Pilot Point, Texas violating-monitor maintenance-only receptor.
The collective upwind contribution to Galveston is 26 percent of the total ozone in 2023 at this receptor.
In addition, at the Denton/Pilot Point receptor, the collective upwind contribution is 18 percent of the
total ozone in 2023 at this receptor. Also, ADEQ says any reductions from Arkansas won’t “be effective”
at assisting Harris County, TX monitor (482010055) attain. The EPA notes that in the 2016v3 modeling,
Arkansas is linked to 6 receptors in Brazoria, Denton, Galveston, and Harris counties Texas. The
collective contribution from upwind states to these receptors as a percent of total ozone ranges from 14
percent to 26 percent. Utah’s highest contribution is to the Chatfield receptor in Douglas County,
Colorado where the collective contribution is 8 percent of the total ozone. These measures of the
baseline contribution from upwind states rebut any generalized assertions that reductions in these
emissions would not be impactful when implemented across the linked upwind geography.

In their comment Alabama Power Company et al. provides no basis for claiming that “additional
mandates for reductions in emissions from point sources in Alabama would have disproportionately
small impacts on ozone concentrations in Texas,” nor do they provide a basis for claiming that mobile
source emissions reductions would only reduce ozone locally. In addition, commenter’s generalized
assertions regarding overall emissions trends and the causes of poor air quality are not an adequate
substitute for an evaluation of significant contribution in 2023. Commenter’s evaluation does not reflect
an adequate comparison between baseline emissions, and the air quality impacts of additional
emissions control opportunities in Alabama, much less the inclusion in the SIP submission of enforceable
emissions controls that would render those projected reductions permanent and enforceable. In this
action, the EPA does not necessarily agree with the comment’s calculation of Alabama’s air quality
impacts based on the estimated air quality improvements as a result of the EPA’s April 2022 proposed
FIP’s emissions reductions and the state’s proportion of overall ozone concentrations at the downwind
receptors to which the state was linked based on 206v2 modeling. Even still, we note that these
estimated air quality impacts alone are not reason to believe Alabama’s contributions are not
significant. As mentioned previously, the D.C. Circuit rejected Wisconsin’s argument that it should not
face good neighbor obligations for the 2008 ozone NAAQS in the CSAPR Update on the basis that its
emission reductions would only improve a downwind receptor by two ten-thousandths of a part per
billion. Wisconsin v. EPA, 938 F.3d 303, 322–23 (D.C. Cir. 2019) (citing EPA v. EME Homer, 572 U.S. 489,
524 (2014)).

ADEQ’s argument that eliminating its own significant contribution to a linked receptor is “ineffective” is
unsupported and not a convincing argument that Arkansas has resolved its good neighbor obligations
for the 2015 ozone NAAQS, as explained in the proposal. See, e.g., 87 FR 9809-9810. The EPA addresses
comments deferring to ADEQ’s existing controls to ensure the State does not violate the good neighbor
                                                                                                       320
        Case: 23-60069          Document: 110         Page: 719       Date Filed: 03/27/2023




provision below, in Section 8.3. The EPA addresses comment related to updates to modeling and
changes to linkages in Section 5.

In response to PacifiCorp’s Ramboll Attachment, the EPA notes first that the EPA is deferring final action
on Wyoming’s SIP submission. Second, the EPA reiterates that the Agency is not requiring any controls
on any source in this action.

The EPA addresses comments on HYSPLIT Model analysis in Section 8.8 of this RTC.



8.3 Existing and Future State Controls

Comments


Commenter: Alabama Power Company, Southern Power Company, and PowerSouth Energy Cooperative

Commenter ID: 04

Docket ID: EPA-R04-OAR-2021-0841

Comment:

In addition, emissions will decrease due to existing provisions of the SIP, including New Source
Performance Standards (such as subpart KKKK) and existing CSAPR programs (due to retirements and
new unit set aside).

[…]

ADEM clearly explains that the State of Alabama has implemented several programs in recent years that
have resulted in a reduction of ozone precursor emissions, such as NOX. Meanwhile, EPA admonishes
ADEM for not including in its Step 3 analysis “future emissions reduction opportunities beyond pointing
to NOX emission reductions from SIP-approved and Federal measures.” EPA does not explain why the
programs ADEM identifies—including the Tier 1 and 2 mobile source rules, the nonroad Diesel Rule, the
2007 Heavy-duty Highway Rule, New Source Performance Standards, National Emission Standards for
Hazardous Air Pollutants, and CSAPR—are insufficient means by which to achieve future reduction in
emissions. EPA is seemingly requiring that Alabama present new control measures to show future
emissions reductions. However, it should not matter whether the control measures utilized by Alabama
to achieve emissions reductions are new measures for new measures’ sake or measures implemented
through existing programs or the existing SIP. EPA fails to recognize this distinction and the more
important fact that, under these existing programs, Alabama’s emissions are already low and will
continue to fall. For example, under the existing SIP, emissions from Alabama were well below levels
that EPA would deem significant on the relevant dates, as shown in Section C. iii.



Commenter: Arkansas Department of Energy and Environment, Division of Environmental Quality

                                                                                                      321
        Case: 23-60069          Document: 110         Page: 720        Date Filed: 03/27/2023




Commenter ID: 07

Docket ID: EPA-R06-OAR-2021-0801

Comment:

Four out of five of the newly-identified Arkansas linkages are projected maintenance receptors. These
receptors are anticipated to attain the NAAQS based on existing control measures. Therefore, significant
increases in emissions could interfere with attainment and maintenance of the NAAQS. However, DEQ’s
prevention of significant deterioration new source review process adequately prohibits emissions from a
new source or modification to an existing source in an amount that could contribute to nonattainment
or interfere with maintenance of the NAAQS. Therefore, asserting that additional control measures on
existing sources are necessary to address EPA-identified linkages to those receptors is not reasonable.



Commenter: California Air Resources Board

Commenter ID: 12

Docket ID: EPA-R09-OAR-2022-0394

Comment:

The Act requires the interstate transport portion of the SIP to contain adequate provisions to prohibit
emissions from within the state from significantly contributing to nonattainment or interfering with
maintenance of the 2015 Ozone NAAQS due to downwind transport to impacted states, including
California. CARB agrees it is important to address ozone interstate transport in order to protect public
health and welfare of all. CARB also accepts the latest modeling from EPA’s analysis which indicated
linkages between California and eight nonattainment areas and four maintenance areas.

California has authority under the Act to set its own stricter-than-federal mobile source emissions
regulations. Congress provided this authority to address the dominant role that mobile sources play in
the poor air quality within the state, considering California's population, climate, and topography.
California’s pioneering mobile source control programs have paved the way for numerous federal
mobile source control programs that have since provided national public health benefits. This additional
increment of more robust mobile source controls has been implemented by CARB to expedite
attainment of air quality standards within California.

California has the only two areas (Los Angeles-South Coast Air Basin and San Joaquin Valley) in the
nation that are extreme nonattainment areas for the 2015 Ozone NAAQS, whereby the State and local
districts are constantly looking for aggressive emissions reductions with additional benefits of reducing
downwind transport of ozone and ozone precursors of Oxides of Nitrogen (NOX) and Volatile Organic
Compounds (VOCs). In the proposed transport FIP, EPA focuses on NOX emissions reductions, and finds
that the “NOX emissions reductions required in the proposed rule would fully eliminate these states’
significant contributions to downwind air quality problems for the 2015 Ozone NAAQS.” California’s
latest statewide emissions estimates projected for the summer months of 2026 from CARB’s Criteria
Pollutant Emission Inventory Database (CEPAM2022 v1.01 Summer season) indicate that approximately

                                                                                                       322
        Case: 23-60069          Document: 110         Page: 721       Date Filed: 03/27/2023




75 percent of anthropogenic NOX emissions in California are from mobile sources, with only
approximately 15 percent being from stationary source fuel combustion categories.

In December 2021, CARB adopted a new regulation, California's Heavy-Duty Vehicle Inspection and
Maintenance program which will ensure heavy-duty vehicles have properly functioning emissions
control systems and that malfunction repairs are completed in a timely manner. This regulation is
projected to single-handedly reduce NOX emissions by over 25,000 tpy in 2026. Additionally, CARB’s
2022 State SIP Strategy lists an assortment of measures providing an additional 7,500 tpy reduction in
NOX emissions in 2026. The 2022 State SIP Strategy that will be considered at a public meeting of the
CARB Board later this year, together with measures from the 2016 State SIP Strategy that were very
recently adopted and not accounted for in EPA's transport modeling, will result in the additional
reduction of nearly 32,500 tons of NOX emissions in 2026. In contrast, the proposed FIP estimates 1,666
tpy of NOX emission reductions from non-electric generating unit (EGU) sources. CARB’s new mobile
source control measures will provide about 20 times more NOX emission reductions than were specified
in the proposed FIP. Given California’s mix of emissions sources and our unique authority, it is most
appropriate for CARB to focus on reducing mobile source emissions to mitigate California’s impact on
downwind neighbors.



Commenter: Louisiana Department of Environmental Quality

Commenter ID: 27

Docket ID: EPA-R06-OAR-2021-0801

Comment:

EPA finds in its proposal that Louisiana's November 2019 submittal does not meet the obligations with
respect to prohibiting emissions that contribute significantly to nonattainment or interfere with
maintenance of the 2015 NAAQS in downwind states based upon EPA's 4- step interstate transport
framework.

LDEQ has an established Part 70 air permitting program, approved by EPA. The program’s regulations set
forth obligations that industry must follow prior to construction. All permit applications must show that
their potential to emit emissions meets the prevention of significant deterioration (PSD) or
nonattainment new source review requirements (NNSR). To date, there have been no FCAA § 126
actions filed against Louisiana. FCAA § 126 gives a state the authority to ask EPA to set emissions limits
for specific sources of air pollution in other states that significantly contribute to nonattainment or
interfere with maintenance of one or more NAAQS in the petitioning state.



Commenter: Maryland Department of the Environment

Commenter ID: 29

Docket ID: EPA-R03-OAR-2021-0872

                                                                                                      323
        Case: 23-60069          Document: 110         Page: 722       Date Filed: 03/27/2023




Comment:

C. The Step 3 analysis in Maryland’s 2015 Good Neighbor SIP demonstrates that the State has resolved
its significant contribution to downwind nonattainment and maintenance areas.

[…]

MDE disagrees that it failed to provide a well-documented evaluation of its efforts to address significant
contributions to downwind states. Maryland evaluated its aggressive in-state emissions reductions
programs and found that they provide all available emissions reductions at a significant cost-per-ton
threshold, thus satisfying the CAA’s Good Neighbor requirements. Without any guidance from EPA on
what constitutes an approvable Good Neighbor SIP (as discussed in Section B), MDE used EPA’s past
transport actions as a guideline for how to assess its sources and what emissions reductions may be
necessary.

EPA’s past transport rules, CSAPR, the CSAPR Update, and the RCU all aimed to achieve reductions of
ozone-forming emissions from facilities required to report emissions pursuant to EPA’s Part 75 Clean Air
Markets Division (“CAMD”) reporters – the majority of said reductions coming from coal-fired EGU’s
with Selective Catalytic Reduction (“SCR”) controls. As such, the main component of emissions
reductions in Maryland’s 2015 Good Neighbor SIP are from Maryland’s coal-fired EGU’s.

MDE first cited the emissions reductions from the CSAPR Update, which capped Maryland’s NOx
emissions at 3,828 tons per ozone season beginning in 2017. That rule established a cost-effectiveness
threshold of $1,400 per ton of NOx” reduced as the point at which all significant contributions of
emissions have been addressed from coal-fired EGUs with SCR controls.

MDE agrees with EPA’s conclusion that the CSAPR Update was intended to provide NOx emissions
reductions for a less-stringent NAAQS. MDE also agrees with EPA that the cost-effectiveness threshold
for the CSAPR Update may not be sufficient for a more stringent NAAQS.16 That is why MDE did not rely
solely on the CSAPR Update to satisfy its significant contribution for the lower 2015 ozone NAAQS. MDE
also relies on the Maryland NOx Rule (Control of NOx Emissions from Coal-Fired Electric Generating Units
[footnote: See Code of Maryland Regulations (“COMAR”) 26.11.38.03 and 26.11.38.05.]) which sets daily
unit-specific emission rate limits as well as 30-day fleet-wide emission rate limits resulting in actual
emissions rates well below those achieved by either the CSAPR Update or Revised CSAPR Update FIPs.
That regulation, which is part of Maryland’s SIP, requires all Maryland coal-fired EGUs with post
combustion controls (both SCR and Selective Non-catalytic Reduction (“SNCR”) controlled units) to
operate and optimize the controls for maximally practicable NOx reductions every day of the ozone
season. This approach goes beyond the simple ozone season NOx mass cap provided by the CSAPR
Update. This rule provides more NOx reductions than the CSAPR Update and requires sources to spend
more than the CSAPR Update’s benchmark of $1,400/ton.

By way of example, the bar chart below shows ozone season CSAPR Update budgets and ozone season
NOx mass for Maryland, Pennsylvania, Virginia and West Virginia. States with emissions limited by only
the CSAPR Update had consistently similar NOx emissions year-over-year, while Maryland’s emissions
were consistently well below the CSAPR Update budget. Pennsylvania and Virginia are, on average, 20-
25% below the budget and West Virginia is almost always on budget. By contrast, Maryland is typically
30-60% below the budget. This is due, in large part, to Maryland’s NOx rule, which went into place in
                                                                                                      324
       Case: 23-60069          Document: 110         Page: 723       Date Filed: 03/27/2023




2015, and requires more emissions reductions than the CSAPR Update, as would be necessary for the
more stringent 2015 standard.

[bar chart available in comment]

Furthermore, when Maryland’s NOx Rule was implemented, it was anticipated that the affected sources
would have to spend approximately $5,733 per ton of NOx reduced. This is well above EPA’s minimum
$1,400/ton threshold it set for the less stringent standard. In effect, Maryland requires its sources to
reduce NOx by 30-60% more and spend 310% more in cost-per-ton of NOx reduced for a standard that is
5 parts per billion (“ppb”) (or 6%) lower.

As EPA did not set a cost-per-ton threshold at which significant contribution for the more stringent
NAAQS has been resolved, Maryland concluded that requiring more emissions reductions at a higher
cost threshold is sufficient to address its significant contribution to downwind nonattainment and
maintenance areas.

To further ensure that Maryland explored all possible emissions reductions, MDE also cited other
emissions control programs that limit statewide emissions. Those include, but are not limited to, NOx
and VOC Reasonably Available Control Technology (“RACT”) regulations, as well as area, non-EGU, point,
and mobile source measures.

At the time of submission, MDE concluded that its Step 3 analysis was complete and the emission
reduction control programs identified in Maryland’s 2015 Good Neighbor SIP fully addresses the state’s
significant contribution to downwind nonattainment and maintenance areas.

EPA’s recently released proposed transport FIP for the 2015 Ozone NAAQS confirms this conclusion. On
February 28, 2022, EPA released a pre-publication version of the FIP for the 2015 Ozone NAAQS which
includes proposed seasonal emissions budgets and a cost-per-ton significant contribution level for EGUs.
This included immediate optimization of installed controls as well as retrofit of new controls in 2026.
EPA also proposed emission rate limits for certain other industrial stationary sources (referred to
generally as non-EGUs. A comparison of the proposed FIP limits for both EGUs and non-EGUs in
Maryland to the limits Maryland imposes on its sources demonstrates that Maryland’s limits are more
stringent.

The proposed FIP demonstrates that Maryland’s aggressive EGU emissions controls are more stringent
on two fronts.

First, Maryland’s EGU Regulation is more stringent than the FIP. The proposed FIP establishes a seasonal
emissions budget based on coal-fired EGUs with SCR’s operating at an average emission rate of 0.08
pounds per million British thermal units (“lbs/mmBtu”). The FIP’s emissions budgets are based on coal-
fired EGUs with SCR’s reducing NOx at a cost of $1,800/ton. Conversely, COMAR 26.11.38 requires daily
optimization of the installed SCR and SNCR controls. Optimization is assured by requiring Maryland’s SCR
equipped sources to limit daily emissions to a rate no higher than 0.08 lbs/mmBtu, with most limited to
0.07 lbs/mmBtu. The only SNCR still operating in Maryland, AES Warrior Run, has a daily emissions limit
of 0.10 lbs/mmBtu and almost exclusively operates below 0.08 lbs/mmBtu. COMAR 26.11.38 is
estimated to cost over $5,000 per ton of NOx reduced. Therefore, Maryland’s regulations are more
stringent than the proposed FIP because (1) maximum practicable emissions reductions through
                                                                                                       325
        Case: 23-60069          Document: 110         Page: 724       Date Filed: 03/27/2023




optimization of the installed controls is required every day instead of seasonally, (2) the optimized NOx
emission rate is equivalent to or lower than the proposed FIP rate, and (3) the cost-per-ton of NOx
reductions is significantly higher than the value in the proposed FIP. COMAR 26.11.38 has resolved
significant contributions for EGUs.

Second, the proposed FIP demonstrates that there are no additional emissions reductions from
Maryland’s EGUs. The state budget calculations for the FIP in 2023 through 2026 does not require any
additional NOx reductions from Maryland’s coal-fired EGUs equipped with SCRs. EPA flagged all of
Maryland’s units as already optimized or retired. EPA’s only EGU NOx reductions in Maryland were
obtained from a single coal-fired, circulating fluidized bed EGU equipped with an SNCR (AES Warrior
Run), which reduced the state’s ozone season NOx by 8 tons from a 2021 level. The FIP indicates that
would be achieved by requiring AES Warrior Run to meet an ozone season average NOx emission rate of
0.071 lbs/mmBtu in each of the future year ozone seasons. As EPA notes in the same analysis, 2019-
2021 emissions data indicates that this unit currently achieves an ozone season average emission rate of
0.066 lbs/mmBtu. Examining all three years of data from the state budget calculations for the FIP
demonstrates that AES Warrior Run is already optimized beyond EPA’s expectations, and no further
emissions reductions are required. Optimization in Maryland, and at this specific unit, has already been
achieved through the Revised CSAPR Update and COMAR 26.11.38. Maryland has resolved significant
contributions for EGUs.

Similarly, the proposed FIP demonstrates that Maryland’s aggressive non-EGU emissions controls are
more stringent than EPA’s replacement solution. [footnote: The FIP proposed emission rate limits for
multiple non-EGU source categories. MDE is only responding to the source categories where such
facilities exist in the State.]

Maryland has two cement and concrete manufacturing facilities that would be subject to the limits in
the Proposed FIP. Holcim Inc operates a preheater/precalciner cement kiln with a NOx limit imposed by
MDE of 1.8 lbs/ton clinker, which is 35.7% lower than EPA’s proposed limit of 2.8 lbs/ton clinker.
Maryland’s limit achieves an additional 213.59 tons of NOx reductions per year. Lehigh Cement
Company operates a precalciner cement kiln with a NOx limit imposed by MDE of 2.4 lbs/ton clinker,
which is 4.3% higher that EPA’s proposed limit of 2.3 lbs/ton clinker. EPA’s proposed limit achieves an
additional 107.14 tons of NOx reductions per year. Maryland’s limits on cement and concrete
manufacturing facilities provide a net gain of approximately 100 tpy in emissions reductions. Maryland’s
regulations are more stringent than the proposed EPA FIP limit. While EPA’s proposed FIP does not
anticipate requiring emissions reductions from Maryland’s Cement facilities at the time of proposal,
Maryland has resolved significant contributions for cement and concrete manufacturing.

Maryland has two pipeline transportation of natural gas facilities that would be subject to the limits in
the proposed FIP. Transcontinental Gas Pipeline Company operates seven lean burn 2-cycle engines
rated at 2,050 brake horsepower and three lean burn 2-cycle engines rated at 2,100 brake horsepower.
Texas Eastern Transmission, L.P. operates two lean burn 2-cycle engines rated at 5,500 brake
horsepower. The EPA proposed FIP limit for this source category is 3 grams per horsepower-hour (Hp-
Hr). The Maryland limit of 125 ppmv is at least 40% more stringent. The proposed FIP would not require
any further reductions from this sector. Maryland has resolved significant contributions from pipeline
transportation of natural gas.

                                                                                                       326
        Case: 23-60069          Document: 110         Page: 725        Date Filed: 03/27/2023




EPA’s proposed FIP, which is purported to completely resolve the state’s significant contribution, would
not require any further emissions reductions from EGU or non-EGU sources beyond what Maryland
imposes on its sources. Maryland’s emission reduction control programs identified in the 2015 Good
Neighbor SIP are sufficient to resolve the state’s significant contribution to downwind nonattainment
and maintenance areas and SIP achieves more reductions than the FIP can provide.



Commenter: Midwest Ozone Group

Commenter ID: 30

Docket ID: EPA-R04-OAR-2021-0841

Comment:

Finally, EPA improperly dismisses Kentucky’s insistence that EPA assess “on-the- books” or “on-the-way”
controls. EPA’s rejection is based upon Kentucky’s failure to quantify these reductions “in a meaningful
way or demonstrate that the downwind improvements from these regulations and programs would be
sufficient to eliminate the Commonwealth’s significant contribution or interference with maintenance.”
[87 Fed. Reg. 9505] at 9512. In doing so, EPA fails to recognize that it is EPA’s burden to assure that all
such control programs are properly addressed in its analysis. The agency’s attempt to shift this burden
to the states is inappropriate. EPA’s actions are inconsistent with the concept of cooperative federalism.
It is EPA’s task to marshal its significant multi-state resources to assess these types of “on-the-books”
and “on-the-way” programs.



Commenter: New Jersey Department of Environmental Protection

Commenter ID: 34

Docket ID: EPA-R02-OAR-2021-0673

Comment:

NJDEP acknowledges that the EPA is disapproving its SIP so that it can be fully addressed in the
proposed FIP. A review of this proposed rule indicates that many of the requirements are similar to, if
not exactly the same as, control measures already implemented in New Jersey for over a decade. The
reductions required for EGU’s located in New Jersey are mostly attributed to currently planned unit
shutdowns. New Jersey is pleased that EPA is addressing non-EGU sources in the proposed rule, which
will finally bring nearby and upwind states in line with New Jersey’s standards. Considering the proposed
rule expects 0% emissions reductions from non-EGU sources located in New Jersey, this supports New
Jersey’s GN SIP as a full remedy to addressing its transport contributions well ahead of the 2015 Ozone
FIP.




                                                                                                       327
          Case: 23-60069          Document: 110         Page: 726        Date Filed: 03/27/2023




Commenter: PacifiCorp

Commenter ID: 38

Docket ID: EPA-R08-OAR-2022-0315

Comment:

In the Proposed Disapproval, EPA admits that Utah’s analysis included reductions in emissions of VOCs
and NOx “through a combination of regulatory actions” and EPA agrees that these reductions are
“beneficial in reducing VOCs and NOx in the State. However, EPA argues that the emissions reductions
have been considered in EPA’s modeling as “on-the-books” controls and that most of the emissions
reductions were VOCs. EPA, for the first time and without any relevant scientific analysis or CAA
authority to do so, argues that NOx emissions reductions are more important than VOCs for ozone
reduction. The precise mixture of NOx and VOC emissions to achieve ozone reductions is a complex and
unresolved issue in the West. It is one of the reasons that EPA has recognized western ozone analyses
must be determined on a case-by-case basis. EPA cannot simply reject Utah’s SIP because the emissions
reductions come from VOCs. If Utah’s SIP is effective at reducing its ozone contribution below
thresholds levels, then EPA cannot criticize how that is done.



Commenter: Utah Petroleum Association and the Utah Mining Association

Commenter ID: 48

Docket ID: EPA-R08-OAR-2022-0315

Comment:

Utah’s IT SIP includes a lengthy weight-of-evidence analysis showing how its approach matches other
interstate transport SIP approvals and EPA guidance, including the following:

[…]

      •   Analysis in Utah’s SIP showing significant reductions in emissions in Utah after the time of EPA’s
          modeling study quantifying impacts to downwind States, including a number of actions related
          to applying Best Available Control Technology and Best Available Control Measures for the Salt
          Lake City PM2.5 nonattainment area, implementing controls in the Uinta Basin on oil and gas
          sources to reduce ozone formation, and implementation of Tier 3 gasoline

Several of these show that Utah does not have a significant influence on ozone in Colorado. While EPA
tries to explain in the Proposed Disapproval why it does not accept Utah’s reasoning on these points,
EPA’s explanations ring hollow in the face of the evidence that EPA already made up its mind to
disapprove the Utah IT SIP, namely that the Proposed GNR includes a FIP in lieu of the IT SIP for Utah
and other States. For these reasons and the other reasons stated above, EPA should approve Utah’s IT
SIP.



                                                                                                         328
        Case: 23-60069          Document: 110         Page: 727       Date Filed: 03/27/2023




Response
As explained at proposal, in general, the EPA already includes on-the-books rules in its transport
modeling. See e.g., 87 FR 9472. In the SIP submissions, some states pointed out existing state rules,
retirements, consent decrees, etc. which they believed were not accounted for in the EPA’s modeling,
and the EPA determined whether the cited controls should be included in the 2016v2 modeling (and if
not, the reasons for that and the EPA’s explanation for why it did not change the Agency’s conclusions).
See e.g., 87 FR 9472. Therefore, the EPA disagrees with Alabama Power Company et al., which argues
that the EPA did not explain at proposal why Alabama’s recitation of existing state controls was
insufficient to support a conclusion the state has no outstanding good neighbor obligations for the 2015
ozone NAAAQS. The EPA did so. 87 FR 64425-64426. In response to Utah Petroleum Association and
Utah Mining Association, the EPA explained at proposal why Utah’s reference to then-forthcoming Best
Available Control Technology (BACT) for the Salt Lake City PM2.5 nonattainment area, implementing
controls on oil and gas sources in the Uinta Basin, and implementation of Tier 3 gasoline was insufficient
to support a conclusion that the state has no outstanding good neighbor obligations for the 2015 ozone
NAAQS. See 87 FR 31482-31483.

The EPA updated emissions inventories and modeling from 2016v2 to 2016v3 in response to public
comment, including comments identifying state rules, etc. commenters believed were not accounted for
in the 2016v2 modeling. See Preamble Section III.A.; 2016v3 Emissions Modeling TSD. In response to
Alabama Power Company et al., the EPA notes that the rules they identified (Tier 1 and 2 mobile source
rules, the nonroad Diesel Rule, the 2007 Heavy-duty Highway Rule, New Source Performance Standards,
National Emissions Standards for Hazardous Air Pollutants, and existing CSAPR Programs) as well as
newer rules are included in the 2016v3 modeling. See 2016v3 Emissions Modeling TSD. In response to
Utah Petroleum Association and Utah Mining Association, the EPA notes that the Tier 3 program is
included in the EPA’s 2016v3 modeling. Id. Moreover, as explained in Section III.A. of the Preamble, the
2016v3 modeling projects that, despite these controls, every state covered by this action is projected to
contribute more than 1 percent of the NAAQS to one or more downwind receptor.

Some commenters compared some of their state rules to the proposed level of stringency in the
proposed FIP. The EPA disagrees with the premise of the comment from New Jersey Department of
Environmental Protection that the EPA’s disapproval of New Jersey’s SIP submission is motivated by
including the state in a FIP. The EPA explained the deficiencies in New Jersey’s SIP submission at
proposal (See 87 FR 9484; February 22, 2022). This action does not disapprove state submissions by
comparison to the proposed FIP as a benchmark. While the emissions control strategies of the proposed
FIPs do not form a definitive benchmark in our evaluation of these submissions, we do note that in the
proposed FIPs, despite what some commenters assert, the EPA found emissions reduction opportunities
at its proposed Step 3 emissions control stringency levels for all states that are covered in this
disapproval action.

EPA addresses other issues raised in these comments below and elsewhere in this Response to
Comment document, including in Section 5 (Updates to Modeling and Changes in Linkages), Section 10.6
(Allegations that Disapprovals of Western State SIP Submissions was Predetermined), Section 11.2 (CAA
Section 126 Petitions), and Section 11.8 (Mobile Source Emissions).



                                                                                                      329
        Case: 23-60069          Document: 110         Page: 728        Date Filed: 03/27/2023




PSD Programs

In response to comments suggesting that PSD programs are sufficient to satisfy states’ good neighbor
obligations, the EPA disagrees, as explained at proposal in relation to existing minor source, PSD, and
NNSR permitting programs:

        [T]here are likewise important distinctions between the permitting program requirements and
        interstate transport requirements, including but not limited to: (i) The permitting programs
        generally apply only to new sources or major modification of existing sources; (ii) the evaluation
        of impacts on attainment and maintenance in other states in the context of a permit for a single
        source may not be as robust and have the same geographic scope as that undertaken by states
        and the EPA for purposes of section 110(a)(2)(D)(i)(I); and (iii) the timing of the permitting
        process evaluation may have no bearing on the NAAQS at issue (i.e., a permit issued in 2005
        would not have considered impacts vis a vis the 2015 8-hour ozone NAAQS). Further, existing
        sources may have been permitted under a new source permitting program years or even
        decades ago, before more effective or cheaper emissions control technologies became
        available.

        Thus, even if the permitting programs address new sources of emissions for the intended
        purposes of those programs, it does not necessarily follow that they automatically meet all
        other CAA requirements as well. The EPA disagrees, therefore, with the conclusion that the
        existence of these permitting programs resolves the issue of whether there are additional
        control measures that the State should impose specifically for purposes of eliminating significant
        contribution to nonattainment or interference with maintenance at downwind receptors for the
        2015 8-hour ozone NAAQS.

87 FR 9529 (West Virginia) (footnote omitted).

In particular, the PSD permitting program applies in areas that have been designated as in attainment of
the NAAQS and is intended to ensure that such areas remain in attainment even if emissions were to
increase as a result of new sources or major modifications to existing sources located in those areas.
This purpose is different than the purpose of the good neighbor provision, which is to assist downwind
areas (in some cases hundreds or thousands of miles away) in resolving ongoing nonattainment of the
NAAQS or difficulty maintaining the NAAQS through eliminating the emissions from other states that are
significantly contributing to those problems. Although Arkansas and Louisiana may have EPA-approved
PSD programs, that does not alleviate the states of their interstate transport responsibility, as these are
two separate provisions under the CAA serving two separate purposes.

Further, ADEQ and LDEQ did not sufficiently explain how their states’ PSD programs could eliminate
Arkansas and Louisiana’s potential significant contributions to downwind receptors, as these programs
would only apply to potential future source emissions, as opposed to existing emissions in the state.
Where sources have adopted enforceable emissions reductions, the EPA has accounted for this in its
emissions inventories used as an input to its modeling, as described in the 2016v3 Emissions Modeling
TSD.


                                                                                                       330
        Case: 23-60069           Document: 110          Page: 729        Date Filed: 03/27/2023




We additionally note that the justification provided in the comment regarding Arkansas’ obligations as
to maintenance receptors, even if accepted as valid (which EPA does not), does not address the state’s
linkage to a nonattainment receptor.77

Mobile Source Controls

In response to CARB’s claims regarding the high proportion of mobile source emissions in California, the
EPA recognizes that mobile sources represent a large portion of NOX emissions in California and
therefore those emissions would be expected to affect downwind nonattainment and maintenance
receptors.

 However, even if mobile source emissions are a large portion of California’s NOX emissions, and even if
they represent a large portion of the state’s contribution to downwind nonattainment and maintenance
receptors, this would not support a basis to approve the adequacy of California’s 2015 ozone transport
SIP submission. These in-state, anthropogenic emissions are assigned to the state for purposes of
determining the state’s contribution to receptors at Step 2. For the 2016v3 platform, CARB provided
updated onroad, nonroad, and locomotive emissions for 2023 and 2026 and these were incorporated in
the modeling for Steps 1 and 2. In its comment letter, CARB states that it accepts the EPA’s modeling
analysis indicating that emissions from California are linked to downwind nonattainment and
maintenance receptors in other states. The state’s transport SIP submission also acknowledged the
linkage with other states but concluded their emissions did not significantly affect nonattainment or
interfere with maintenance in another state. Because the EPA’s modeling showed a linkage at steps 1
and 2 between emissions in California and nonattainment or maintenance receptors in downwind areas,
and CARB did not provide information to refute the EPA’s analysis or provide an adequate analysis
equivalent to or alternative to EPA’s step 3 analysis determining whether any controls were available to
eliminate any potential significant contributions, California’s SIP submission remains deficient. As such,
the EPA must disapprove California’s SIP submission for failing to satisfy the statutory requirements of
CAA section 110(a)(2)(D)(i)(I).

We commend CARB on its emissions reductions measures to reduce NOX emissions from mobile sources
in the state. To the extent that CARB is arguing that NOX emissions reductions anticipated from the
EPA’s proposed FIP are small in comparison to newly approved and soon to-be-adopted state measures,
we note that comments on the proposed FIP are outside the scope of this action. In addition, we note
any emissions reductions that are anticipated beyond 2023 cannot appropriately be taken into account
in evaluating contribution in this action. EPA responds to other comments about mobile sources in
Section 11.8 (Mobile Source Emissions).

Maryland’s NOX Rule and Limits on Certain Non-EGU Source Categories

The EPA disagrees with the claim that Maryland’s step 3 analysis shows that the state has resolved its
significant contribution to downwind nonattainment and maintenance-only receptors for the 2015
ozone NAAQS. 87 FR 9470-9473. EPA’s 2016v3 modeling platform accounts for actual emissions from

77
   Arkansas was also linked to a nonattainment receptor in EPA’s proposed modeling (2016v2) in Harris County,
Texas (AQS Site ID 482010055). Arkansas is linked to a nonattainment receptor in Galveston County, Texas (AQS
Site ID 481671034) based on 2016v3 modeling. For further explanation of Arkansas’ changed linkages between the
2016v2 and 2016v3 modeling see Sections 1.4 and 5.
                                                                                                          331
        Case: 23-60069             Document: 110           Page: 730         Date Filed: 03/27/2023




Maryland’s EGUs equipped with Selective Catalytic Reduction (SCR) and SNCR through 2021 and
projected emissions for these EGUs in 2023 taking into account announced shutdowns and the effects of
all CSAPR regulations through the Revised CSAPR Update. Even taking into account Maryland’s 2015
NOX rule, the 2016v3 modeling still projects that sources in Maryland are linked to downwind
nonattainment and maintenance-only receptors. Preamble Section III.C. In its SIP submission, Maryland
does not dispute that it is linked at Step 2.

Regarding Maryland’s claims that its existing NOX Rule at Code of Maryland Regulations (COMAR)
26.11.38 achieves more emission reductions from coal-fired EGUs equipped with SCRs than EPA’s CSAPR
Update, and required sources to spend more than the CSAPR Update’s benchmark of $1,400/ton, as
explained in the proposal the CSAPR Update is not an appropriate benchmark for measuring whether
Maryland has met the good neighbor requirements of the CAA for the more protective 2015 ozone
NAAQS. 87 FR 9471. Additionally, the EPA found that between the time the Agency issued the CSAPR
Update and the Revised CSAPR Update, the $1,400/ton threshold used in the CSAPR update was no
longer the appropriate cost threshold to eliminate significant contribution, even for the less protective 78

To the extent that Maryland is claiming, at Step 3, that there are no further NOX emission reductions to
be obtained from Maryland sources at a reasonable marginal cost per ton, the EPA disagrees that the
SIP submission supports that conclusion. 87 FR 9470-9473. The substance of the proposed FIP, including
proposed controls, are beyond the scope of the rulemaking, and in any event are not being used as a
benchmark to disapprove any state’s SIP submission in this action.

MDE believes certain requirements in MDE’s state-level regulations or enforceable permit limits
applicable to non-EGUs are more stringent than the limits in the proposed FIP. First, in order to be
creditable under the Clean Air Act, all such emissions reductions needed to be included in the SIP
submission for EPA approval and made permanent and federally enforceable; state-law requirements,
permits, and other measures that are not in the SIP cannot be counted as eliminating the state’s
significant contribution. Further, MDE presented no analysis of the air quality impacts of these non-EGU
controls on downwind receptors as part of Maryland’s SIP submission. The examples identified by the
commenter do not substitute for a Step 3 analysis and are insufficient to support a conclusion that
Maryland has resolved its good neighbor obligations for the 2015 ozone NAAQS.

Finally, Maryland’s comparison of individual source-level controls to the limits in the proposed FIP fails
to take into account the overall effect of all the limits in the proposed FIP. In isolation, some of
Maryland’s existing limits may be more stringent than the limits used in the proposed FIP. However,
applying the uniform cost-effectiveness thresholds, the proposed FIP is expected to provide a reduction
of around 45 tons of ozone season NOX from the state. Although this is a potentially relatively small
reduction from Maryland’s sources compared to other states, it is, under the EPA’s proposed approach,
more enforceable emissions reductions than the state has offered beyond the current baseline.
Maryland has not offered a satisfactory alternative approach to defining significance, and under the
EPA’s proposed approach, because the state has made relatively greater progress in reducing its

78
  See 82 FR 23054, 23088 (April 30, 2021) (“The CSAPR Update found $1,400 per ton was a level of uniform control
stringency that represented turning on idled SCR controls. EPA uses the same costing methodology, but updating
for input cost increases (e.g., urea reagent) to arrive at $1,600 per ton in this rule (while also updated from 2011
dollars to 2016 dollars).”).
                                                                                                                332
        Case: 23-60069          Document: 110         Page: 731       Date Filed: 03/27/2023




emissions compared to other states, its reduction obligation would be relatively small. While the
proportion of significant contribution from a single upwind state may be relatively small, the effect of
eliminating the contribution on a uniform-stringency basis from all linked upwind states can be quite
large. Allowing Maryland to rely only on its existing limits in its regulations, which modeling has shown
does not resolve its contribution, in the absence of an evaluation of additional emissions control
opportunities, would be inconsistent with the analysis, and potential emissions control obligations,
expected of other upwind contributing states. In Maryland’s SIP submission, the state did not assess the
availability of additional emissions controls or provide justification as to why additional air quality
controls were not required. Instead, Maryland merely identified what their existing regulations currently
required. Still, the Good Neighbor Plan for the 2015 8-hour Ozone NAAQS FIP is not yet final and the EPA
is not using the FIP as a direct benchmark in its action on states’ plans here. The limits which have been
proposed for Maryland and to which the state is drawing a comparison in these comments could
change. Additionally, the limits within the FIP are not within the scope of this action.

Additional topics are addressed in Section 8.6 (Cost Thresholds) and Section 10.3 (Cooperative
Federalism and the EPA’s Authority).

VOCs

The EPA does not dispute that VOCs are precursors to ozone. Revised CSAPR Update, 86 FR 83087 (April
30, 2021). The EPA does not agree that Utah’s reliance on existing VOC controls measures in their SIP
submission is sufficient to support a conclusion that the state has no outstanding good neighbor
obligations for the 2015 ozone NAAQS, particularly in light of the fact that Utah did not examine
potential emissions reduction opportunities at sources contributing greater amounts of ozone precursor
emissions. See 87 FR 31483.



8.4 Modeling and CAA Section 179B Guidance

Comments


Commenter: Utah Petroleum Association and the Utah Mining Association

Commenter ID: 48

Docket ID: EPA-R08-OAR-2022-0315

Comment:

EPA’s persistence in applying a 0.7 ppb contribution threshold is wholly inconsistent with EPA’s
proposed disapproval of the 179B demonstration for Utah’s Northern Wasatch Front ozone
nonattainment area (“NWF”). In the NWF case, EPA strongly criticized the modeling for underpredicting
local ozone production and, as a result, EPA did not agree with the model demonstration of 6 to 8 ppb
international influence on NWF ozone. On the other hand, EPA’s modeling also shows significant
underprediction of both Utah and Denver ozone by as much as 10 to 20 ppb on high ozone days, and yet

                                                                                                      333
       Case: 23-60069          Document: 110         Page: 732       Date Filed: 03/27/2023




EPA used these model results despite the poor performance to evaluate downwind impacts of only 1
ppb or 0.7 ppb. The model simply does not have the accuracy for these small predictions to be reliable.
The inconsistencies in EPA’s approach between the two different but simultaneous rulemakings pose an
unacceptable dichotomy.

Furthermore, EPA questioned the accuracy of 2 to 3 ppb in Texas’ model for its 179B demonstration for
the San Antonio ozone nonattainment area (“SAT”) because the 2 to 3 ppb influence falls within the
range of model uncertainty. If modeling does not have enough accuracy in the SAT case to show a 2-3
ppb impact, it also does not have enough accuracy to show a 0.7 ppb or 1 ppb impact for the IT SIPs. In
fact, in the SAT case, Texas developed a model specifically for SAT, a more detailed and accurate
exercise than EPA’s larger modeling domain and coarser grid for the interstate transport evaluations,
and the San Antonio geographical area lacks the complex terrain of Salt Lake City and Denver. Therefore,
the SAT modeling likely has less inherent inaccuracy.

EPA cannot have it both ways. If a 6 to 8 ppb difference and a 2 to 3 ppb difference do not have
sufficient accuracy to show upwind impacts in the NWF and SAT 179B demonstrations, respectively,
then a 1 ppb or 0.7 ppb difference would not be sufficiently accurate in Utah’s IT SIP, considering the
magnitude of inherent error in the modeling. EPA’s inconsistent approaches pose an arbitrary standard.
EPA should not persist in applying the 0.7 ppb threshold. To continue to do so would go beyond the
bounds of the CAA which requires addressing significant downwind contributions.



Commenter: PacifiCorp

Commenter ID: 38

Docket ID: EPA-R08-OAR-2022-0315

Comment:

As explained in the BHE Comments and expert analysis provided by Ramboll, EPA’s chosen modeling,
however, has several unexplained inconsistencies. Moreover, EPA rejected the very type of modeling it
relies on to support the Proposed Disapproval when it denied the state of Utah’s recent request for an
ozone exception. As Utah explained, “EPA used a similar level of modeling bias [as] grounds for denying
Utah’s recently submitted 179B(b) demonstration. . . while simultaneously upholding an extensive
federal action that has widespread national implications [based on similarly biased modeling].” It is
arbitrary and capricious for EPA to reject Utah’s 179B(b) demonstration due to model
underperformance while simultaneously using a model with highly similar underperformance limitations
as justification to disapprove Utah’s Intestate Transport SIP.



Commenter: PacifiCorp (Attachment - Berkshire Hathaway Energy (BHE) Company Comments on
Proposed Ozone Transport Rule)

Commenter ID: 38

Docket ID: EPA-R08-OAR-2022-0315
                                                                                                    334
        Case: 23-60069         Document: 110          Page: 733       Date Filed: 03/27/2023




Comment:

EPA rejected the very type of modeling it relies on to support the Proposed Rule when it denied the
state of Utah’s recent request for an ozone exception. As the state of Utah has explained, EPA relies on
the 2016v2 model, which has a high negative bias, to support the Proposed Rule. The negative bias
indicates that EPA’s model is underpredicting either transport or local photochemical production (or
some combination of both). EPA cited a similar negative bias in Utah’s recent 179B(b) demonstration as
one reason for rejecting Utah’s ozone demonstration. It is arbitrary and capricious for EPA to reject
Utah’s 179B(b) demonstration due to model underperformance while simultaneously using a model
with similar underperformance limitations as justification to include Utah and other western states in
the FIP.

Finally, BHE understands that because of these significant errors EPA is considering remodeling for the
Proposed Rule, and BHE supports any efforts to take into account the issues presented here and in more
detail in the Ramboll Report.



Response
Several commenters claimed that it is arbitrary and capricious for the EPA to reject Utah’s 179B(b)
demonstration due to model underperformance while simultaneously using a model with similar
underperformance limitations as justification to include Utah and other western states in the FIP.

First, CAA sections 110(a)(2)(D)(i) and 179B are different provisions to address distinct issues and are
governed by their own respective requirements. It would be unreasonable to apply the same criteria to
different CAA requirements.

Second, we disapproved Utah’s 179B demonstration for many different reasons, as described in detail in
the TSD, RTC and final rule (See Technical Support Document (“TSD”), Northern Wasatch Front (NWF),
Utah: Failure to Attain 2015 Ozone National Ambient Air Quality Standard by Attainment Date;
Reclassification and Disapproval of International Emissions Demonstration January 2022, found at
Regulations.gov at EPA-HQ-OAR-2021-0742-0043). The EPA will not here restate all our reasons for
disapproving Utah’s 179B demonstration, as that information is provided in the TSD, RTC, and final rule
for that action. Comments relating to CAA section 179B are outside the scope of this action. The model
performance was simply considered in the context of the information provided and in the context of the
conclusion being drawn.

In addition, the EPA disagrees with the interpretation of model performance implications as stated by
the commenter. With respect to model performance, the EPA notes that the type of conclusions needed
for CAA section 179B and for the proposed interstate transport FIP have very different implications for
the evaluation submitted by the state. The NWF submission and accompanying report suggests that US-
regional and international transport of ozone to Utah is well simulated, while local contributions are
likely underpredicted. The effects of an underprediction of local ozone contribution would overstate the
relative role of international contributions in the context of a CAA section 179B demonstration. The
same underprediction of local ozone contributions could understate the contribution of NWF emissions
to ozone at monitors in other states.

                                                                                                      335
            Case: 23-60069     Document: 110        Page: 734       Date Filed: 03/27/2023




As described in the Final Action AQM TSD for this final rule, the EPA performed air quality modeling
using the 2016v3 platform which includes updates made in response to comments on the proposal
modeling. The table below provides NMB and NME model performance statistics at individual
monitoring sites in the NWF for June through August for both the 2016v2 and 2016v3 modeling. The
EPA v3 model performance information, provided in Table 4-X is substantially improved compared to
both the EPA v2 modeling and the Ramboll modeling submitted in the state’s 179B demonstration. The
data show that model performance improved when looking across all days and on just those days with
MDA8 ozone > 60 ppb. Note that the statistics for the 2016v3 modeling are well within the range of the
performance criteria for NMB (<+15%) and NME (<25%) offered by Emery et.al. (2017). In contrast to
EPA’s 2016v3 modeling, the 2016 Ramboll modeling presented in Utah’s 179B(b) petition cited by the
commenters had average NMB and NME of -6% and 10% for all days in the period June through August
and -12% and 13% for those days with observed MDA8 ozone > 60 ppb. In summary, model
performance concerns for monitors in the NWF expressed by the commenters have been addressed in
the EPA’s 2016v3 modeling. The statistics for the updated modeling at the monitors in the table below
are well within the range of performance criteria offered by Emery et.al. (2017) for NMB (< +15%) and
NME (< 25%).

The EPA addresses other topics in Section 8.4 (Modeling and CAA Section 179B Guidance).
Table 8-1




                                                                                                   336
        Case: 23-60069          Document: 110         Page: 735        Date Filed: 03/27/2023




Comment
Commenter: Texas Commission on Environmental Quality

Commenter ID: 42

Docket ID: EPA-R06-OAR-2021-0801

Comment:

[T]he TCEQ’s use of a weight of evidence approach to determine significant contribution is consistent
with the EPA’s modeling guidance, “Modeling Guidance for Demonstrating Air Quality Goals for Ozone,
PM2.5, and Regional Haze” (EPA Modeling Guidance) and the approach laid out in “Guidance on the
Preparation of Clean Air Act Section 179B Demonstrations for Nonattainment Areas Affected by
International Transport of Emissions,” (179B Guidance) where a determination of significant
contribution is made if sources outside of a nonattainment area impact a nonattainment area in the
context of a 179B demonstration. When air quality modeling is used in the context of attainment and
179B demonstrations, the EPA requires states to provide supplemental analysis to support the modeling
results, such as local factors and emission trends. However, in the context of the “Good Neighbor”
provision, the EPA dismisses the additional analyses provided by the TCEQ as qualitative assessments
that, while informative, do not provide quantitative assessments. The EPA’s reliance on chemical
transport models as the sole arbiter of significant contribution contradicts its own modeling guidance,
which states that “…supplemental analyses may provide information which may provide further support
for the outcome of the modeled test or may indicate a different outcome than the modeled test.”4
(Emphasis added.) It should be noted that the 179B Guidance is prescriptive and lays out a weight of
evidence approach that relies on more than source apportionment modeling results to determine
impacts from international sources. The EPA’s heavy reliance on source apportionment modeling and
disregard of additional evidence in the context of interstate transport is arbitrary and inconsistent with
its guidance on international transport.
4
 Page 170 of the EPA Modeling Guidance, https://www.epa.gov/sites/production/files/2020- 10/documents/o3-
pm-rh-modeling_guidance-2018.pdf



Response
In response to commenter’s claims regarding TCEQ’s weight of evidence approach to evaluating its
significant contribution, which TCEQ indicates was based on guidance under CAA section 179B, CAA
section 110(a)(2)(D)(i)(I) and CAA section 179B are different provisions to address different problems
and are governed by their own respective requirements, and as such do not require the same approach
to implementation. We have addressed this previously in prior ozone transport rules. See CSAPR
Update, 81 FR 74535-36 (Oct. 26, 2016). As we explained there:

        The specific terms of section 179B outline which nonattainment area requirements will and will
        not apply upon approval of a section 179B demonstration, none of which apply directly to
        upwind states via section 110(a)(2)(D)(i)(I). In particular, the good neighbor provision does not
        require upwind areas to ‘‘demonstrate attainment and maintenance’’ of the NAAQS. Rather, the
        statute requires upwind states to prohibit emissions which will ‘‘contribute significantly to

                                                                                                       337
       Case: 23-60069          Document: 110         Page: 736       Date Filed: 03/27/2023




       nonattainment’’ or ‘‘interfere with maintenance’’ of a NAAQS. While upwind states must
       address their fair share of downwind air quality problems, the EPA has not interpreted this
       provision to hold upwind areas responsible for bringing downwind areas into attainment.
       Therefore, the relief provided by section 179B(a) and (b) from the obligation to demonstrate
       attainment, extension of the attainment date, and mandatory reclassifications, is simply not
       applicable to downwind states. Even if section 179B were in some manner applicable to upwind
       states’ transport obligations, the EPA does not believe that the contribution of international
       emissions should impact EPA’s identification of downwind nonattainment and maintenance
       receptors affected by the interstate transport of emissions. These receptors represent areas
       that the EPA projects will have difficulty attaining and maintaining the NAAQS, and which
       therefore require adequate safeguards to protect public health and welfare. The EPA therefore
       does not agree that, when identifying downwind air quality problems for purposes of interstate
       transport, section 179B requires that we subtract the contributions of international emissions
       from the projected design values. This would be inconsistent with EPA’s approach to area
       designations and is simply not required by the plain language of the statute. Moreover, such an
       interpretation would allow downwind and upwind areas to make no efforts to address clear
       violations of the NAAQS, leaving the area’s citizens to suffer the health and environmental
       consequences of such inaction. Moreover, just as any state with a nonattainment area—
       including downwind states—must take reasonable steps to control emissions even where an
       area is impacted by international emissions, the EPA believes that it is appropriate for upwind
       states to also adopt reasonable emissions controls to lessen the impact of emissions generated
       in their state and subsequently transported to downwind areas. As noted in Section IV of the
       preamble, the EPA does not view the obligation under the good neighbor provision as a
       requirement for upwind states to bear all of the burden for resolving downwind air quality
       problems. Rather, it is an obligation that upwind and downwind states share responsibility for
       addressing air quality problems. If, after implementation of reasonable emissions reductions by
       an upwind state, a downwind air quality problem persists, whether due to international
       emissions or emissions originating within the downwind state, the EPA can relieve the upwind
       state of the obligation to make additional reductions to address that air quality problem. But the
       statute does not absolve the upwind state of the obligation to make reasonable reductions in
       the first instance.

We note that the EPA was upheld in its approach to the treatment of international contribution in
Wisconsin, 938 F.3d at 323-24. See also our response to comment at Section V.C.2 in the preamble.

The EPA’s CAA section 179B guidance says nothing to the contrary. As stated in the EPA’s Guidance on
the Preparation of Clean Air Act Section 179B Demonstrations for Nonattainment Areas Affected by
International Transport of Emissions, “EPA notes that an upwind state that is considering or has an
approved section 179B demonstration must still meet its obligations for contributions to downwind
states under CAA section 110(a)(2)(D). Likewise, an upwind state that contributes to a downwind state
that is considering or has an approved section 179B demonstration must still meet its obligations for
contributions to that downwind state, per CAA section 110(a)(2)(D). Policy governing whether an air
agency can take into account emissions emanating from outside the U.S. in developing a plan to meet its
interstate transport obligation for any NAAQS is outside the scope of this guidance.”

                                                                                                     338
        Case: 23-60069          Document: 110          Page: 737       Date Filed: 03/27/2023




In response to commenters’ claims that the EPA did not consider more than source apportionment
modeling as part of our evaluation of TCEQ’s SIP submission, we disagree that we apply source
apportionment modeling as the sole determinant of “significant contribution” nor was it the only
information we looked to in evaluating TCEQ’s SIP submission with respect to Steps 1 or 2. For example,
in projecting average and maximum design values we used the most recent measured ozone design
values in conjunction with the modeling results to identify potential nonattainment or maintenance
sites in the relevant future years. Further, we reviewed the “weight of evidence” analysis and
information provided by TCEQ. As explained in greater detail in the Evaluation of TCEQ Modeling TSD,
we did not find that the additional analyses performed by TCEQ provided sufficient evidence to refute
the modeling results that indicated that emissions from Texas were linked to downwind nonattainment
or maintenance receptors at contributions of 0.70 ppb or greater. Further, although Texas asserted that
its weight of evidence analysis is a permissible way to interpret which contributions are ‘‘significant’’
because that analysis examines whether there was a ‘‘persistent and consistent pattern of contribution
on several days with elevated ozone’’ we found that such pattern, as explained in detail in the
Evaluation of TCEQ Modeling TSD, is already established by a modeled linkage at Step 2. See Section 8.7
("Consistent and Persistent” Contribution) of this document. In addition, as described more fully in
Section 8.8 (Hybrid Single-Particle Lagrangian Integrated Trajectory (HYSPLIT) Model) below, and in the
Final Action AQM TSD, the EPA also performed a back trajectory analysis for projected receptors in 2023
that were identified based on the 2016v3 platform used for this final action. The results of this trajectory
analysis confirm the EPA’s modeling-based finding that Texas is linked to downwind receptors in 2023.



8.5 Air Quality Factors

Comments


Commenter: Alabama Power Company, Southern Power Company, and PowerSouth Energy Cooperative

Commenter ID: 04

Docket ID: EPA-R04-OAR-2021-0841

Comment:

EPA contends that, under Step 3 of its 4-step framework, Alabama does not provide sufficient evidence
“regarding future emissions reduction opportunities beyond pointing to NOX emission reductions from
SIP-approved and Federal measures.” EPA goes on to state that Alabama “does not include a sufficient
analysis of potential NOX emission control technologies, their associated costs, estimated emissions
reductions, and downwind air quality improvements” to support the claim that the ongoing decline in
NOX emissions from stationary sources in Alabama are sufficient to eliminate any significant
contributions from the state. According to EPA, “states generally should prepare an accounting of
sources and other emissions activity for relevant pollutants and access potential, additional emissions
reduction opportunities.” This is exactly what Alabama’s SIP submittal package provides. Once again,

                                                                                                        339
           Case: 23-60069              Document: 110      Page: 738     Date Filed: 03/27/2023




EPA’s evaluation ignores specific evidence in the record on the continuous decline in NOX emissions
expected in Alabama.

Specifically, ADEM presented evidence in comments attached to the SIP submission that NOX emissions
from EGUs in Alabama have decreased from 27,674 tons in 2016 to 14,708 tons in 2021, with similar
reductions during the ozone season in particular from 11,612 tons during the 2016 ozone season to
6,648 tons during the 2021 ozone season.89 Further, the state-wide average emission rate of NOX from
EGUs has dropped by over 35% during that same time period, with an average emission rate in 2021 of
0.043 lb/MMBtu.90 This is well below EPA’s backstop emission rate for coal-fired EGUs of 0.14 lb/MMBtu
in its proposed FIP. Therefore, not only are overall emissions decreasing, but sources have taken
measures to become better controlled for NOX in recent years. Clearly, Alabama Power and Southern
Power’s comments provide evidence to support ADEM’s determination that the “overwhelming majority
. . . of EGUs are already fully controlled for NOX[.]”
89
   Based on information provided in EPA’s Clean Air Markets Database for the State of Alabama and EPA’s Ozone
Transport Policy Analysis Proposed Rule Technical Support Document.
90
   EPA’s Clean Air Markets Database provides that Alabama’s statewide NO X emissions from CSAPR NOX Annual
Program sources in 2016 were 27,674 tons with a total heat input of 810,490,815 MMBtu. This equates to a
statewide average emission rate of 0.068 lb/MMBtu. Alabama’s statewide NOX emissions in 2021 were 14,708 tons
with a total heat input of 688,699,255 MMBtu. This equates to a statewide average emission rate of 0.043
lb/MMBtu.


Commenter: Louisiana Chemical Association

Commenter ID: 26

Docket ID: EPA-R06-OAR-2021-0801

Comment:

It is significant that all areas of Louisiana have shown decreases in eight-hour ozone design values over
the past 15 years and all areas in Louisiana are below the 2015 ozone NAAQS of 70 ppb.31 Further,
annual point source category emissions inventory data collected since the last periodic emissions
inventory, 2014 through 2017, indicates a continued trend of ozone precursor emissions reductions.
Anthropogenic emissions have decreased a combined 3% between 2014 and 2017.32 This fact supports
the position that Louisiana sources do not pose ozone problems in state and are even less likely to do so
out of state. In light of compliance with the ozone NAAQS throughout Louisiana, it is scarcely plausible
that Louisiana emissions are “significantly” contributing to ozone NAAQS issues in Dallas and Houston. It
is particularly notable that the design values in the western parishes of Louisiana are among the lowest
in the state as show in the chart below of the 2014-2016 DV values from the 2015 Ozone NAAQS
Memo:33
 220170001                 Louisiana          Caddo              …………………………………           64
 220190009                 Louisiana          Calcasieu          …………………………………           64
 220190002                 Louisiana          Calcasieu          …………………………………           68

31
     La. SIP Submission, Section 2.3.1.
32
     Id.
                                                                                                         340
        Case: 23-60069          Document: 110          Page: 739       Date Filed: 03/27/2023



33
  Results spreadsheet for 2015 Ozone NAAQS Memo model analysis, available at:
https://view.officeapps.live.com/op/view.aspx?src=https%3A%2F%2Fwww.epa.gov%2Fsites%2Fdefault%2Ffiles%2
F2018- 05%2Fupdated_2023_modeling_dvs_collective_contributions.xlsx&wdOrigin=BROWSELINK (last accessed
4/15/2022) and in the docket at: EPA-HQ-OAR-2021-0663-0019.


Response
The EPA disagrees that the overall emissions trends or the lack of nonattainment areas in a state, alone,
can serve as an adequate basis for determining whether a state contributes significantly to downwind
receptors in other states. The EPA’s 2016v2 modeling utilized an updated emissions platform and
inventory to capture more recent ozone design trends and emissions. The original starting point for the
emission inventories used in the 2016v2 modeling was the 2016v1 platform. The 2016v1 data were
updated with information and methods from the 2017 NEI, MOVES3, and updated inventory
methodologies. Activity data and other inputs provided during the 2016v1 development process were
retained in 2016v2 where appropriate.

The EPA responds to the claim that the Alabama Power Company’s (and Sierra Club’s) comments on
Alabama’s SIP submission were actually part of rationale supporting Alabama’s SIP submission in Section
7.4.

In any event, the EPA does not agree that the EGU emissions trends cited by Alabama Power Company
provide evidence that EGUs in Alabama are already fully controlled for NOX. Many states’ EGU emissions
trends have been downward in recent years; that does not mean emissions from these sources are not
still potentially significantly contributing in violation of the good neighbor provision. To the extent that
these downwind trends are attributable to enforceable emissions controls or retirements, these changes
would generally already be taken into account in EPA’s modeling, which indicates that Alabama still
contributes above 1 percent of the NAAQS to one or more downwind receptors. Moreover, even if the
average annual emission rate for all EGUs in the state in 2021 was 0.043 lb/MMBtu, this statistic is not
inherently meaningful, nor is it sufficient to support a conclusion that Alabama has no unresolved good
neighbor obligations for the 2015 ozone NAAQS. Further, pointing to the backstop emission rate for
coal-fired EGUs in EPA’s proposed FIP is also not helpful to the commenter’s case. First, the proposed
FIP’s level of emissions control is not used as a benchmark for our evaluation of state SIP submissions in
this action. More to the point, Alabama Power is comparing an average annual emission rate for all of
the EGUs in Alabama, irrespective of the fuel used (e.g., including natural gas-fired facilities), with the
proposed FIP’s backstop daily emission rate, which is for large coal-fired EGUs and would be applied on a
unit-specific basis.

In response to Louisiana Chemical Association, the EPA does not agree that ozone design values in
Louisiana or anthropogenic emission trends from 2014-2017 have not discount EPA’s robust
investigation into whether emissions from Louisiana are leaving the state and potentially significantly
contributing to nonattainment or maintenance in other states. While the EPA acknowledges that all
areas in Louisiana are currently in attainment for the 2015 ozone NAAQS and it may be the case that
overall anthropogenic ozone-precursor emissions trends decreased from 2014 and 2017 in the state, the
EPA disagrees that this establishes that continuing emissions from Louisiana are not significantly
contributing to nonattainment or interfering with maintenance in other states. Emission inventories
utilized for EPA’s 2023 modeling include increases and reductions in anthropogenic emissions in
                                                                                                        341
        Case: 23-60069            Document: 110           Page: 740         Date Filed: 03/27/2023




Louisiana. Neither the state or other commenters supplied information that there were such a degree of
additional reductions that EPA had not already characterized in the 2023 modeling that would result in
changes to the impacts from Louisiana’s emissions, such that the state would not be linked to receptors
in Texas. Nor did the state supply a satisfactory Step 3 analysis regarding its continuing emissions. 87 FR
9814-9816.



8.6 Cost Thresholds

Comments


Commenter: Alabama Power Company, Southern Power Company, and PowerSouth Energy Cooperative

Commenter ID: 04

Docket ID: EPA-R04-OAR-2021-0841

Comment:

Furthermore, EPA states that cost-effectiveness of available emission reductions must be evaluated at
Step 3 but then ignores the discussion on the availability of cost-effective emissions reductions included
in the materials attached to ADEM’s SIP submission. Specifically, this evidence shows that EGUs in the
state cannot make any further cost-effective NOX reductions. For example, NOX was emitted from EGUs
in Alabama at an average rate of 0.04 lbs/MMBtu during the 2021 ozone season. This rate already meets
the aggressive rate that EPA has Indicated would be considered cost-effective for coal units retrofitted
with new selective catalytic reduction (“SCR”) beginning in 2026. More specifically, only 3 of the 84 EGUs
in Alabama have been identified by EPA as potentially eligible for cost-effective controls, but each of
these units, as demonstrated below, is, in fact, either already controlling NOX emissions in a cost-
effective manner, or will have changed to lower emitting fuel prior to the 2023 ozone season. In light of
this, none of the EGUs in Alabama can reduce NOX further in a cost-effective manner.

[Information about Plant Gaston Unit 5, Plant Barry Unit 4, and Plant Harris Unit 1A]

Because no cost-effective reductions are, in fact, available from any of these units, which are the only
units from which such reductions could potentially be considered,101 then no units in Alabama can be
regarded as causing significant contribution to or interference of maintenance with downwind
receptors. EPA must consider this analysis in its final action on Alabama’s 2022 SIP.
101
    [EPA, Appendix A: Proposed Rule State Emission Budget Calculations and Engineering Analytics, available at
https://www.epa.gov/csapr/good-neighbor-plan-2015-ozone-naaqs.]
102
    87 Fed. Reg. at 64,420.


Commenter: Arkansas Department of Energy and Environment, Division of Environmental Quality

Commenter ID: 07

                                                                                                                 342
        Case: 23-60069          Document: 110          Page: 741       Date Filed: 03/27/2023




Docket ID: EPA-R06-OAR-2021-0801

Comment:

Although DEQ did not identify any emissions sources or activities within the state as “significantly”
contributing to nonattainment or interfering with maintenance in another state, DEQ performed a cost
analysis for NOx emission reductions from the highest emitting sources in Arkansas. DEQ ultimately
focused its evaluation of costs of potential control strategies on EGUs, but only after evaluating NOx
emissions from all elevated emission sources in Arkansas. DEQ observed during evaluation a natural
break between EGUs and non-EGUs when it examined the top NOx emitting sources in the state. The
highest-emitting non-EGU emitted less than half of the emissions from the lowest-emitting EGU. This
was a reasonable breakpoint for emissions data. Additionally, DEQ focused the analysis in this manner
using the framework EPA used for selecting sources for a reasonable progress analysis in their Regional
Haze FIP for Arkansas.

For context, in the 2016 Arkansas Regional Haze FIP, now replaced by approved Arkansas SIP revisions,
EPA performed a reasonable progress analysis to determine whether any additional control strategies
were necessary to ensure reasonable progress towards natural visibility conditions in the 2008 – 2018
time period. In starting their analysis, EPA analyzed SO2 and NOx emissions inventories for point sources
and identified three facilities, which the EPA determined were the largest contributors to these
emissions. Collectively, these facilities were responsible for 84% of point SO2 point source emissions
and, more directly related to the Arkansas Transport SIP submittal, 55% of NOx point source emissions
in the state. EPA decided not to perform further evaluations of lower-emitting non-EGU sources. DEQ
drew a similar line in the natural break between EGUs and non-EGUs in their contribution to NOx
emissions with consideration of the fact that the lowest-emitting EGU emits over double that of the
highest emitting non-EGU facility in the state. If considerations of the largest emitters and natural break
points are an adequate argument for source selection for emission reduction strategy analysis when
provided by EPA, then such arguments should be equally adequate when provided by the state in which
the argument applies.

DEQ did not define a bright line threshold for what control strategies the state considers cost-effective.
DEQ did, however, note that its cost analyses showed that the cost-effectiveness values of controls
greatly exceeded metrics that EPA used in past ozone transport federal implementation plans. In DEQ’s
most recent Regional Haze Planning Period II SIP draft, DEQ provides updated cost-effectiveness values
in 2019 dollars for SCR and SNCR at Flint Creek and at Independence Units 1 and 2 with a calculated
range of $5,771 to $24,084 for implementation of these controls. In consideration of the cost-
effectiveness threshold of $5,086 for EGUs in the Regional Haze context, the cost of implementing SCR
and SNCR exceeds what the state considers reasonable, especially when considering the remaining life-
time of facilities such as White Bluff and Independence, which are set to cease coal-fired operations in
2028 and 2030, respectively. For comparison, EPA’s proposed FIP costs of control averaging $11,000 per
ton (for coal-fired EGUs) and $7,700 per ton (for oil- and gas-fired EGUs) is beyond excessive and lacks
consideration of factors known by EPA, such as scheduled facility closures. This is much higher than
costs considered reasonable for other Clean Air Act programs. For context, refer to EPA’s Regulatory
Impact Analysis for the Final Revised Cross-State Air Pollution Rule (CSAPR) Update for the 2008 Ozone
NAAQS 2021, Regulatory Impact Analysis of the Cross-State Air Pollution Rule (CSAPR) Update for the

                                                                                                       343
        Case: 23-60069          Document: 110         Page: 742       Date Filed: 03/27/2023




2008 National Ambient Air Quality Standards for Ground-Level Ozone, 2016, and DEQ’s compilation of
costs for the Regional Haze planning period two SIP.



Commenter: Air Pollution Control Program, Missouri Department of Natural Resources

Commenter ID: 01

Docket ID: EPA-R07-OAR-2021-0851

Comment:

EPA is intentionally exploiting the Supreme Court decision in EME Homer City vs. EPA to justify any costs
or requirements it deems necessary to further federal policy decisions. The court decision permitted
EPA to impose cost effective controls on any state that was deemed to be a significant contributor so
long as such controls don’t result in over-control of any state. However, the decision did not indicate
what might be considered “cost effective controls”. For this reason, EPA is using this decision to assume
new authority to implement anything it deems as a “cost effective control” requirement.



Commenter: Oklahoma Department of Environmental Quality

Commenter ID: 37

Docket ID: EPA-R06-OAR-2021-0801

Comment:

The Proposed Disapproval Excludes Quantification of Cost-Effective Controls and Is Therefore Deficient

EPA’s proposed disapproval of the Oklahoma SIP is prima facie deficient because it fails to include a
quantification of the cost-effective controls from Step 3 of the CSAPR framework (i.e., EPA did not
complete “prong 2” in the proposed disapproval). It is impossible to determine whether a state meets or
fails to meet its good neighbor obligations under Section 110(a)(2)(D)(i)(I) of the CAA without satisfying
both prongs of the two-prong CSAPR determination (i.e., prong 1 is completion of steps 1 and 2 of the
CSAPR 4-step framework, and prong 2 is completion of steps 3 and 4). EPA claims it has satisfied the first
prong establishing a linkage between Oklahoma emissions and downwind air quality problems.
Oklahoma disagrees with the reasoning behind that claim. However, even granting that claim (for the
sake of argument only), EPA makes no attempt to complete step 3 of the CSAPR framework (i.e., prong
2). That is, in the proposed disapproval, EPA makes no effort to quantify the cost-effective NOx
emissions reductions that will yield sufficient downwind air quality benefits. EPA may argue that the
quantification of those NOx emission reductions occurs after the fact in the development of the FIP.
However, until a FIP is finalized, EPA has failed to complete its evaluation of the Oklahoma SIP. As such
EPA establishes an inappropriate burden, requiring states to look into the future, anticipate EPA’s work
on federal rulemaking, and incorporate those anticipated findings in a SIP submitted years before EPA is
set to begin its efforts. This process is arbitrary and capricious, and it subverts the principle of
cooperative federalism enshrined in the CAA.

                                                                                                      344
        Case: 23-60069           Document: 110          Page: 743        Date Filed: 03/27/2023




EPA states in the proposed disapproval:

        The 2015 ozone NAAQS is a more stringent and more protective air quality standard, it is
        reasonable to expect control measures or strategies to address interstate transport under this
        NAAQS to reflect higher marginal control costs. As such, the marginal cost threshold of
        $1,400/ton for the CSAPR Update (which addresses the 2008 ozone NAAQS and is in 2011$) is
        not an appropriate cost threshold and cannot be approved as a benchmark to use for interstate
        transport SIP submissions for the 2015 ozone NAAQS. 87 Fed. Reg. 9823.

ODEQ takes exception with this statement on a fundamental level. As technological advances and
innovations occur in the environmental field, it should not be considered a foregone conclusion that
control equipment must increase in cost over time. EPA should not dismiss outright that control
measures equivalent in cost to previous iterations of the ozone NAAQS could be sufficiently protective
for downwind states, especially if EPA is also expecting non-electric generating units (non-EGUs) to be
considered for possible reductions.

[…]

EPA’s Proposal is a Fundamental Change in Policy and is Not in Line With Previous CSAPR Policy-Making

 As mentioned previously, under current EPA policy it is not possible for a state to be certain that any
quantity of NOx emissions reductions will comply with the good neighbor requirements without waiting
for the completion of Step 3 of the CSAPR framework. Because Step 3 is to be undertaken during the
development of the FIP, it is appropriate to note that the approach adopted by EPA in its proposed FIP
represents a substantive change in policy, rather than an extension of the current approach. EPA’s
CSAPR approach was challenged in the courts and survived those challenges, giving EPA confidence in
the fundamental appropriateness of actions taken previously. However, the previous CSAPR remedies
constitute a different policy approach than the present EPA proposed action, which has metamorphosed
into a form substantively different from its previous versions.



Response
Substantive comments on the proposed FIPs, including the proposed cost-effectiveness thresholds
therein, are outside the scope of this action and will not be addressed.

This action is not determining what, if any, cost effective controls exist at Step 3 of the 4-step interstate
transport framework, and the EPA disagrees that it must include a quantification of cost-effective
controls to be able to disapprove the SIP submissions at issue in this action. See EME Homer City, 572
U.S. at 509. Instead, the EPA is evaluating the states’ interstate transport SIP submissions to determine
whether they satisfy the statutory obligations of CAA section 110(a)(2)(D)(i)(I). Where a state put
forward an assessment of what it considered to be cost-effective, the EPA assessed that claim for
approvability. See e.g., 87 FR 64426 (Alabama), 87 FR 9810 (Arkansas), 87 FR 9822-9823 (Oklahoma).

EPA further disputes that the Agency is “intentionally exploiting the Supreme Court decision in EME
Homer City vs. EPA to justify any costs or requirements it deems necessary to further federal policy


                                                                                                          345
        Case: 23-60069          Document: 110          Page: 744        Date Filed: 03/27/2023




decisions.” EPA is not promulgating any requirements in this action. If the commenter is referring to the
proposed FIP, the comment is out of the scope of this action.

Alabama Power Company et al. suggest there are no cost-effective controls available from any EGUs in
Alabama. The EPA disagrees with the assertion that the information provided in their comment letter is
sufficient evidence to support ADEM’s claim that the majority of EGUs in Alabama are already fully
controlled for NOX. Commenter claims that in the proposed FIP, the EPA identified only three EGUs
(Plant Gaston Unit 5, Plant Barry Unit 4, Plant Harris Unit 1A) for which there are potential cost-effective
controls. Commenter asserts that these units are already adequately controlling NOX emissions or will
change to lower emitting fuel by 2023. First, those changes were not included in Alabama’s transport SIP
to be approved as permanent and enforceable emissions-control requirements so they cannot be relied
upon. The Good Neighbor provision requires the “prohibition” of emissions that significantly contribute
in the SIP itself. Second, these statements made about the three identified units do not satisfy a Step 3
multifactor analysis that more comprehensively analyzes emissions control opportunities across the
state of Alabama. The SIP submission is insufficient to support a conclusion that Alabama has no
outstanding obligations under CAA section 110(a)(2)(D)(i)(I). Whether Alabama may be shown through a
full assessment of emissions control opportunities to have a substantial additional amount of emissions
control opportunity or only very little, anecdotal information regarding the emissions profile of a small
number of units does not replace an approvable Step 3 analysis by a state regarding the identification of
emissions that significantly contribute for purposes of the 2015 ozone NAAQS. See also Section 8.3
addressing a similar comment raised by MDE.

The EPA explained the deficiencies with Arkansas’ cost-effectiveness analysis in the proposal. 87 FR
9810. There, the EPA also emphasized that “Relying on the CSAPR Update’s (or any other CAA
program’s) determination of cost-effectiveness without further Step 3 analysis is not approvable. Cost-
effectiveness must be assessed in the context of the specific CAA program; assessing cost-effectiveness
in the context of ozone transport should reflect a more comprehensive evaluation of the nature of the
interstate transport problem, the total emissions reductions available at several cost thresholds, and the
potential air quality impacts of those reductions at downwind receptors.” Id. The EPA similarly disagrees
with the comment that analysis conducted under the regional haze program is appropriate for
conducting a cost-effectiveness analysis in the context of the good neighbor provision. Regional Haze is
a different program, with a different purpose. Typically, the analysis of cost-effectiveness in the context
of regional haze involves a detailed, facility-specific evaluation of multiple potential control technologies
and is weighed with other statutory factors. The result of a BART five-factor or Reasonable Progress
four-factor analysis is typically a control determination coupled with an enforceable emissions limit.
Even if a similar approach could be applied to interstate ozone transport (and we note again there are
many differences between these programs), Arkansas did nothing of this kind in its SIP submission.
Finally, the “break point” that ADEQ identified between non-EGUs and EGUs was based solely on a
comparison of emissions, with no examination of emissions-reduction potential or relative cost-
effectiveness of such options. As such, this was not an approval basis on which to exclude non-EGU
emissions sources from further analysis.

The EPA explained the deficiencies with Oklahoma’s cost-effectiveness analysis in the proposal. 87 FR
9822-9823. As for the concern raised by ODEM that the marginal cost threshold for the less protective
2008 ozone NAAQS may in fact be suitable for the more protective 2015 ozone NAAQS due to advances
                                                                                                         346
        Case: 23-60069         Document: 110         Page: 745       Date Filed: 03/27/2023




in technology and in consideration of reductions in emissions from non-EGUs, the commenter did not
provide sufficient evidence to support a finding that a marginal cost threshold of $1,400/ton from the
CSAPR Update is appropriate for EGUs in Oklahoma for the 2015 ozone NAAQS or that applying that
cost-effective threshold on EGUs in the state would resolve the state’s good neighbor obligations for the
2015 ozone NAAQS. In any event, states may not rely on FIPs in a SIP submission, as discussed in more
detail in the preamble in Section V.B.9.

Comments on cooperative federalism are addressed in Section 10.3.



8.7 “Consistent and Persistent” Contribution

Comments


Commenter: Arkansas Department of Energy and Environment, Division of Environmental Quality

Commenter ID: 07

Docket ID: EPA-R06-OAR-2021-0801

Comment:

EPA’s proposed disapproval points out that DEQ concluded that the CAMx modeled potential linkage to
Allegan County was not “persistent or consistent” without defining what is meant by “persistent” or
“consistent.” Of the 608 back-trajectories evaluated for those ninety-five elevated ozone days, only
6.74% of those back-trajectories passed through Arkansas with the number varying greatly from year to
year (i.e., 93% did NOT pass through Arkansas). Although DEQ did not define a bright line for “persistent
and consistent,” swings in linked elevated ozone day back trajectories from year to year shows a lack of
consistency. The very low percentage of back trajectories’ paths that passed through Arkansas prior to
reaching Allegan County on high ozone days indicates that impacts from Arkansas sources to Allegan
County are not persistent. DEQ did not perform this analysis for the Texas receptors because those
receptors did not meet DEQ’s threshold for a potential linkage based on the data available at the time of
SIP development.



Commenter: Association of Electric Companies of Texas, BCCA Appeal Group, Texas Chemical Council
and Texas Oil & Gas Association

Commenter ID: 11

Docket ID: EPA-R06-OAR-2021-0801

Comment:

D. EPA should not rely on anomalous 2012 modeling results in determining linkages between Texas and
Colorado and other western states.
                                                                                                     347
       Case: 23-60069          Document: 110         Page: 746       Date Filed: 03/27/2023




EPA appears to rely in part on purported linkages between Texas and Colorado and western states
based on a selective interpretation of TCEQ’s 2012-based platform modeling. Such an inference would
be erroneous. 2012 was an extreme ozone event year for Colorado and other western states. EPA
should not rely on 2012 modeling results to determine whether Texas contributes significantly to
nonattainment or interferes with maintenance of NAAQS in those states. Data from 2012 shows that it
was among the highest ozone years since 2005 to 2007, even when statistically adjusting for
meteorological variability. [footnote: Attachment 1, at 13-14.]

In Texas’s SIP submission, TCEQ identified monitors in Colorado which were appropriate for additional
investigation but, based on its analysis, determined that emissions from Texas did not contribute
significantly to nonattainment or interfere with maintenance at the tagged Colorado monitors. TCEQ’s
HYSPLIT trajectory analysis, in particular, showed that the vast majority of observed high ozone days
from 2007 through 2016 at the linked Colorado monitors were not associated with transport from or
near Texas, supporting TCEQ’s claim that there was not a persistent and consistent pattern of
contribution from Texas sources. TCEQ’s conclusion that Texas does not contribute significantly or
interfere with maintenance of the NAAQS at the linked Colorado monitors is consistent with EPA’s
modeling, using base years of 2011 and 2016, which did not link Texas to ozone monitors in Colorado.

[From Attachment 1 - Technical Comments on Air Plan Disapproval; Arkansas, Louisiana, Oklahoma, and
Texas; Interstate Transport of Air Pollution for the 2015 8-Hour Ozone National Ambient Air Quality
Standards; Docket No. EPA-R06-OAR-2021-0801 prepared by Sonoma Technology:]

With minor deviations, TCEQ used EPA’s 4-Step Transport Framework in its Texas Transport SIP
submittal. As part of “Step 1” TCEQ identified nonattainment/maintenance monitors in Colorado. In
“Step 2” TCEQ reported modeling suggesting Texas’ anthropogenic emissions contributing more than
0.70 ppb of ozone on high modeled ozone days. However, in “Step 3” TCEQ found the emissions from
Texas did not contribute significantly to nonattainment or interfere with maintenance at the tagged
Colorado receptors. In support of these observations, we note that multiple rounds of transport
modeling conducted by EPA using base years of 2011 and 2016 did not link Texas to ozone monitors in
Colorado, as the modeled contributions for future year 2023 were below the 0.75 ppb or 0.70 ppb
thresholds (1% of the applicable NAAQS). The use of a different base year by TCEQ (2012), compared to
EPA’s transport modeling (2011 and 2016), was likely the biggest contributing factor as to why TCEQ’s
modeling showed larger ozone contributions from Texas at the Colorado monitors. Nationally, 2012 was
among the highest ozone years since 2005-2007 even when statistically adjusting for meteorological
variability (Figure 2). 2012 appeared to be a relatively high ozone year in Colorado as well, and there
were a larger number of extreme events in Colorado in 2012 compared to other years (see Figure 3-41
of TCEQ’s Transport SIP). The HYSPLIT trajectory analysis conducted by TCEQ as part of its SIP submittal
showed that the vast majority of observed high ozone days from 2007 through 2016 at the tagged
Colorado monitors were not associated with transport from or near Texas, supporting TCEQ’s position
that there was not a persistent and consistent pattern of contribution from Texas. The number of
trajectories that did originate from Texas on the high observed ozone days was higher in 2012 compared
to other years, indicating a connection between the high ozone year and anomalous regional
meteorological conditions. EPA’s modeling from 2011 and 2016, did not show such a pattern of
transport in at least two other years that were, on average, also conducive to high ozone. Accordingly,
TCEQ’s 2012-based modeling results suggesting a link to Colorado and other western states appears to
                                                                                                    348
        Case: 23-60069          Document: 110         Page: 747       Date Filed: 03/27/2023




be anomalous, and not reflective of a meaningful and sustained link between Texas and ozone values in
those states.



Commenter: Cleco Corporate Holdings LLC

Commenter ID: 14

Docket ID: EPA-R06-OAR-2021-0801

Comment:

The LDEQ HYSPLIT modeling demonstrates the absence of a persistent and consistent pattern of
contribution of pollutants to Texas monitors from Louisiana.



Commenter: Louisiana Electric Utility Environmental Group

Commenter ID: 28

Docket ID: EPA-R06-OAR-2021-0801

Comment:

EPA’s analysis of Louisiana’s approach for defining significant contribution with respect to whether there
is a “persistent and consistent” pattern of contribution from the state appears largely focused on
explaining that the state’s approach is inferior to EPA’s rather than on explaining why the state’s
determination does not comport with the CAA.

Accordingly, EPA’s Proposed Disapproval of Louisiana’s SIP falls short and EPA has overstepped its
authority under the CAA. EPA should re-evaluate Louisiana’s SIP on the basis of whether the SIP meets
the applicable requirements of the CAA, not on the basis of whether Louisiana made different choices
than EPA would have made had it been the decision-maker with respect to fulfilling the state’s Good
Neighbor obligation to address interstate transport of ozone under Section 110(a)(2)(D)(i)(I) of the CAA.
EPA also must avoid any policy determinations or a desire to adopt a “national ozone transport policy”
in evaluating Louisiana’s SIP.



Commenter: Texas Commission on Environmental Quality

Commenter ID: 42

Docket ID: EPA-R06-OAR-2021-0801

Comment:

The EPA mischaracterizes the purpose and analytic details in the TCEQ’s weight of evidence, invalidating
the EPA’s conclusions regarding the impact of Texas emissions.


                                                                                                      349
           Case: 23-60069         Document: 110         Page: 748       Date Filed: 03/27/2023




In the “EPA Region 6 2015 8-Hour Ozone Transport SIP Proposal Technical Support Document” the EPA
states that the TCEQ used its weight of evidence to counter the modeling results. This is a
misinterpretation of the purpose of the weight of evidence. The TCEQ used the weight of evidence not
to determine if Texas contributed at all to linked monitors but rather to determine if Texas contributes
to those monitors significantly and persistently.



Response
In the proposed disapprovals, the EPA explained its assessment of claims at Step 3 made by several
states that there is not a “persistent and consistent” level of contribution from their states to receptors.
See 87 FR 9808-9809 (Arkansas); 87 FR 9812-9815 (Louisiana); 87 FR 9831-9834 (Texas). See also
Evaluation of TCEQ Modeling TSD, at 76-100.79 As explained at proposal, these arguments are in effect
an attempt to dispute the contribution finding at Step 2.

           To be clear, the modeling establishing linkages of [Arkansas/Louisianas] to downwind
           nonattainment and maintenance receptors already establishes that there is a consistent and
           persistent pattern of contribution on elevated ozone days from [these states] to other states.
           That is because EPA’s methodology for projecting future year ozone concentrations accounts for
           precisely these concerns . . . by looking only at days with elevated ozone levels.

87 FR at 9808, 9814. (The EPA has acknowledged an inadvertent error in our description of the Step 2
analysis in this language from proposal (see Section 11.9 – Typographical Concerns), but the quoted
language adequately conveys the intended meaning. The EPA further explains this point below in
relation to the same arguments raised by TCEQ.).

While the EPA rejects that a so-called “persistent and consistent” analysis of contribution is appropriate
to excuse states from analysis of emissions control opportunities at Step 3 (again, because the fact that
a state’s emissions “contribute” to high ozone levels at receptors is already established at Step 2), the
EPA further evaluates here several aspects of this issue as raised by commenters.

The EPA notes that ADEQ only provided a “persistent and consistent” analysis for the Allegan, Michigan
receptor and did not provide a “persistent and consistent” analysis for receptors in Texas that Arkansas
was linked in EPA’s 2011 base year modeling that ADEQ’s SIP used. The EPA notes that both the EPA’s
2016v2 base year modeling used at proposal and the latest 2016v3 modeling for this final action
continue to identify that Arkansas is linked to Texas receptors with a maximum contribution of 1.21 ppb
to a receptor in Brazoria County Texas (AQS Site ID 480391004). As discussed in the proposed
disapproval, the EPA does not agree that ADEQ’s analysis for Allegan, Michigan receptor showed that
Arkansas’s contribution was not “persistent and consistent.” Furthermore, this point is not necessary to
support disapproval, because Arkansas did not present such arguments as to its linkages to multiple
receptors in Texas.

The EPA disagrees that it mischaracterizes the TCEQ’s weight of evidence analysis. TCEQ’s comment is
not exactly accurate as the EPA appreciates that the state was indeed attempting to argue at Step 3 that
contributions found at Step 2 are not “significant.” However, the EPA’s point is that the basis for that

79
     Evaluation of TCEQ Modeling TSD (EPA-R06-OAR-2021-0801-0002) in Docket ID No. EPA-R06-OAR-2021-0801.
                                                                                                         350
        Case: 23-60069          Document: 110         Page: 749       Date Filed: 03/27/2023




argument (i.e., the degree of persistence or consistency in the contribution) is not supportable as a Step
3 factor when the Step 2 analysis has already confirmed that the contribution from a state is in fact
impacting receptors on the days when they are projected to have high ozone levels. The ozone transport
modeling conducted by the TCEQ and the EPA already factors in whether contribution is sufficient to be
considered “consistent and persistent” when determining projected contributions. In calculating
contribution from a state to a particular receptor, the EPA averages the MDA8 concentrations for the
top 10 modeled ozone concentration days in the future year (in this case 2023) at the receptor and
averages the corresponding 8-hour average contributions for each of these same days from each state.
Then the EPA divides the 10-day average contribution for each state by the corresponding 10-day
average concentration to obtain a Relative Contribution Factor (RCF) for each state at each monitor. The
EPA requires there be at least 5 days in which the model-predicted concentration days are equal to or
greater than 60 ppb in the future year before determining a state's contribution. TCEQ’s method for
calculating contribution differs from the EPA’s in the selection of days used but still uses up to 10 days
(with a minimum of 5 days) for calculating the average contribution in determining linkages. Thus, both
TCEQ’s modeling and the EPA’s modeling inherently consider whether a state’s contribution is
sufficiently persistent and consistent, and TCEQ’s “weight of evidence” approach fails to demonstrate
that contribution from Texas to downwind receptors is not consistent and persistent.

Therefore, the EPA’s view is that the modeling results from multiple modeling analyses using the top 5
to 10 high-ozone days for contribution analysis already establish that a so-called “persistent and
consistent” linkage exists. In addition to TCEQ’s modeling showing linkages on this basis to receptors in
the western U.S., in this case there is also the EPA’s modeling results for 2023 working from a 2011 base
period and 2016 base period that show linkages from Texas to other areas. The EPA’s review in the
proposal indicated that Texas’ emissions have linkages to downwind receptors in other states with a
variation of receptors due to different meteorology and emissions base periods resulting from the use of
different modeled years (see 87 FR 9833-9834). The EPA also indicated on page 100 of the Evaluation of
TCEQ Modeling TSD:

        Other factors/WOE analysis does not provide sufficient compelling technically supported
        information to counter the conclusions from photochemical modeling in terms of linkages from
        Texas to downwind receptors.

        TCEQ indicated that Texas contribution should be deemed “significant” only if there is a
        persistent and consistent pattern of contribution on several days with elevated ozone. We note
        that modeling for three different years of meteorology (2011, 2012, and 2016) have all indicated
        that Texas was linked to downwind nonattainment and/or maintenance receptors. We think this
        consistent result indicates that Texas’s emissions are substantial enough to link Texas to
        downwind receptors, under varying assumptions and meteorological conditions which further
        indicates that there is a persistent pattern of Texas’ emissions contributing above 1 % to ozone
        at downwind nonattainment and/or maintenance receptors.

The EPA evaluated each component of the analysis that TCEQ included in their weight of evidence
analysis and concluded that the information was not sufficient to refute or counter the modeling results
showing linkages.


                                                                                                      351
        Case: 23-60069            Document: 110           Page: 750         Date Filed: 03/27/2023




Regarding comments as to whether the EPA should utilize TCEQ’s 2012 based modeling results in
disapproving TCEQ’s SIP: As noted in the proposal (87 FR 9832-9834) and the Evaluation of TCEQ
Modeling TSD, the EPA has concerns with some of the details of TCEQ’s HYSPLIT back trajectories,
including how some were screened out, which limits the conclusions that can be drawn from TCEQ’s
HYSPLIT analysis and does not refute the modeling findings indicating linkages. See also Section 8.8
(Hybrid Single Particle Lagrangian Integrated Trajectory (HYSPLIT) Model). Still, as at proposal, TCEQ’s
conclusions that 2012 had more back trajectories that reached Texas than most years for many of the
Colorado monitors appears consistent with TCEQ identifying linkages to Colorado when the EPA’s 2016
based modeling did not (FR 87 9833).

Based on the information available, the EPA tends to agree with the comment that the use of a different
base year by TCEQ (2012), compared to the EPA’s transport modeling (2011 and 2016), was likely the
biggest contributing factor as to why TCEQ’s modeling showed larger ozone contributions from Texas at
the Colorado monitors. EPA does not agree that 2012 was necessarily an anomalous year or was an
extreme year for ozone in Denver, but meteorology did seem to favor high ozone concentrations in the
west and transport of Texas’ emissions to this region compared to other years that the EPA has
modeled.80 The EPA’s modeling of other years has continued to show that Texas has linkages with other
areas of the U.S. But for purposes of this disapproval action, the EPA does not agree that TCEQ’s 2012
based modeling results indicating linkages to receptors in the western U.S. should be entirely discounted
or ignored.

Overall TCEQ’s modeling showed linkages for a year that may have favored higher ozone in the western
U.S. and the EPA’s 2011 base year modeling and EPA’s 2016v2 modeling both indicated Texas had
linkages to other areas of the U.S. (likely due to differing meteorology as the commenter noted) that
was cited in the proposed disapproval. TCEQ’s 2023 (2012 base meteorology) and the EPA’s 2023
modeling (2011 and 2016 base meteorology) have consistently shown that Texas’ anthropogenic
emissions are large enough to result in linkages to receptors in downwind states even with differing
meteorology and base periods that have resulted in different linkages. The EPA has also conducted
HYPSLIT analysis for the Midwest area receptors that Texas is linked in the EPA’s 2016v3 modeling (see
Section 8.8) that indicates Texas is often an upwind contributing state during the 12 years of
exceedances for which back trajectories were performed, thus indicating that the EPA’s modeled
linkages using CAMx are robust and not anomalies.

In response to LEUEG’s claim that the EPA failed to appropriately demonstrate that Louisiana’s Step 3
arguments were inadequate and, instead, only drew a comparison of the state’s Step 3 analysis to its
own Step 3 analysis the EPA typically applies when determining significant contribution, the EPA
disagrees. Independent of how the EPA has typically performed a Step 3 analysis, the EPA identified
critical flaws with LDEQ’s Step 3 analysis. 87 FR 9812-9816. Instead of conducting analysis to determine
whether and to what degree emissions from Louisiana should be prohibited to eliminate emissions that
will contribute significantly to nonattainment in or interfere with maintenance of the 2015 ozone

80
  Even if these conditions were “extreme” or “anomalous,” neither commenter or TCEQ adequately justifies why
these conditions would not merit mitigation under the Good Neighbor Provision in light of the statutory obligation
to resolve “interference with maintenance” of the NAAQS in other states, including through recognition of
interannual variability in air quality. See 87 FR at 9820 (discussing North Carolina, 531 F.3d 896, 909-11, and
subsequent case law).
                                                                                                              352
        Case: 23-60069           Document: 110         Page: 751        Date Filed: 03/27/2023




NAAQS in other states, LDEQ’s SIP submission attempts to downplay linkages between Louisiana and
downwind receptors by alleging that Louisiana’s contribution to these receptors is not sufficiently
“consistent and persistent.” Irrespective of the EPA’s historical approach at Step 3, we reject that this
can be a valid factor for analysis at Step 3 when this degree of linkage is already established at Step 2,
for the same reasons as explained above in relation to TCEQ’s arguments.

LDEQ relied on their HYSPLIT analysis and general wind rose analysis to support their assertion that
there was not a “persistent and consistent” pattern of contribution. The EPA indicated in the proposal
that LDEQ’s trajectories on ozone exceedances days at receptors in Texas indicated they passed through
Louisiana 28% of the time (28% of the 99 trajectories). LDEQ proffered that some of these back
trajectories did not pass directly over areas with emissions, but the EPA noted that LDEQ did not
consider that the back trajectories only represent a centerline and there are areas on either side of the
centerline that would also be contributing areas. Further, in the EPA’s view, back trajectories occurring
over an upwind state 25% of the time represents a relatively large percentage of time and robustly
confirms rather than calls into question the EPA’s modeling results. LDEQ’s analysis did not provide
evidence that was contrary to the conclusions of the EPA’s photochemical modeling analyses, regardless
of whether this is considered relevant at Step 3 or Step 2 (though, again, the EPA views this as a Step 2
question).

As explained in the Air Quality Modeling Technical Support Document for 2015 Ozone NAAQS Transport
SIP Proposed Actions included in Docket ID No. EPA-HQ-OAR-2021-0663, the modeling that both the EPA
and LDEQ relied on already establishes a sufficiently persistent and consistent contribution because the
contribution analysis relies on an average contribution over 10 days. Based on the 2016v3 modeling for
this final action, Louisiana is linked to 7 receptors in Texas. The table below provides a count of the
number of days that Louisiana contributes above 0.70 ppb, 2 ppb, 5 ppb, and 10 ppb during the top 10
concentration days used to calculate Louisiana’s average contribution metric value at each of these
receptors. The data indicate that Louisiana contributes at or above the 0.70 ppb screening threshold on
nearly all of the top 10 concentration days at each receptor. In fact, Louisiana contributes ozone in
amounts greater than or equal to 5 ppb and, in some cases greater than or equal to 10 ppb at 6 of the 7
receptors. These data serve to confirm that there is a “persistent and consistent” pattern of high
contributions to receptors in Texas from emissions sources in Louisiana.




                                                                                                         353
            Case: 23-60069      Document: 110         Page: 752        Date Filed: 03/27/2023



Table 8-2

                                                         Days         Days          Days           Days
                                                       Greater       Greater       Greater       Greater
                                                       Than or       Than or       Than or       Than or
                                                       Equal to      Equal to      Equal to      Equal to
 AQS SiteID       County           Site Name           0.70 ppb       2 ppb         5 ppb         10 ppb
 482010055       Harris      Houston Bayland Park          8            7             5              2
 482010024       Harris      Houston Aldine                8            5             4              1
 481210034       Denton      Denton Airport                8            6             2              0
 481671034       Galveston   Galveston                     8            8             7              5
 482011035       Harris      Clinton                       9            6             5              2
 482011034       Harris      Houston East                  9            6             5              2
 480391004       Brazoria    Manvel Croix Park             9            7             5              1


Accordingly, LDEQ’s approach is flawed, and as a result, Louisiana’s SIP submission fails to support a
conclusion that it satisfies the statute’s requirement of prohibiting any source or other type of emissions
activity within the State from emitting air pollutants which will contribute significantly to or interfere
with maintenance of the NAAQS in other states. The EPA responds to comments about EPA’s statutory
authority under the CAA in Section 10.3 (Cooperative Federalism and the EPA’s Authority).



8.8 Hybrid Single-Particle Lagrangian Integrated Trajectory (HYSPLIT) Model

Comments
Commenter: Alabama Department of Environmental Management

Commenter ID: 02

Docket ID: EPA-R04-OAR-2021-0841

Comment:

Meteorological Influence

Part of the WOE analysis submitted with the revised SIP in April evaluated the meteorology associated
with high ozone days at the Denton and Harris County, Texas monitors. Additional analysis has been
completed to attempt to further flesh out some of the issues with the meteorology.

As presented in the analysis, back trajectories were included for both the Harris County and Denton
County, Texas receptors for high ozone days (8‐hr ozone greater than 70 ppb). Additionally, an
assessment of Alabama’s air quality during and previous to those high days was provided. In part, we
have modified our analysis to be consistent with the form of the standard and the resulting back
trajectories are included (Figures 5 – 32). For the 4 highest 8‐hr ozone days over the 2019‐2021 period
(27 days total for both receptors), for both areas (Denton and Harris County), on only one of the days
                                                                                                       354
        Case: 23-60069          Document: 110          Page: 753       Date Filed: 03/27/2023




does the back trajectory pass through Alabama, specifically June 18, 2021 for the Harris County
receptor, and June 19, 2021 for the Denton County receptor. On both of those days, the plume
centerline passes over western and northern Alabama. Looking at the emissions sources of NOx in those
areas, primarily EGU NOx, there are no large industrial NOx sources in those areas.

[Figures 5-32 available in full comment]

For the Harris County receptor, wind roses were developed for the 2016 calendar year (Figure 33), as
well as the top 10 8‐hr ozone days for the year. For the yearly wind rose, the Harris County receptor
(482010055) wind rose is not in line with wind roses at the other monitors in the area. In particular,
other Harris County monitors show a predominant north/south component, while the wind rose for the
Harris County receptor (482010055) shows a distinct east/west component. Monitors closer to the bay
in east Houston that would logically reflect a bay breeze don’t during 2016. Subsequently, a 2017 wind
rose (Figure 34) was generated for the monitors, and the Harris County receptor is more in line with the
other monitors. Since the meteorology for 2016 was forecast to 2023 and beyond, the differences in the
wind roses is important. Also identified on the map (Figures 43 and 44) are the maximum concentrations
from Alabama NOx sources. It should be noted that the higher concentrations are on the west side of
Houston, and lower on the east side, which lies closer to Alabama.

[Figures 33-34 available in full comment]

Next, wind roses were developed for the top 10 ozone days, consistent with the way EPA summarizes
calculating high ozone days, to evaluate the wind flow regionally. The meteorological site is very close in
proximity to the Harris County receptor (482010055). The resulting wind roses show varied wind
patterns on the 10 highest days (Figures 35‐44). Five of the ten days had a significant number of calms
(40+%). Several of the days, five in total, appear to show wind flow patterns that do not line up with
possible impacts from Alabama. On a majority of the days, the winds are generally less than 10 mph.
Given the calm to low wind speeds identified on these wind roses, higher concentrations on these days
are likely due to recirculation.



Commenter: Alabama Power Company, Southern Power Company, and PowerSouth Energy Cooperative

Commenter ID: 04

Docket ID: EPA-R04-OAR-2021-0841

Comment:

Specifically, ADEM’s SIP submission package identifies multiple factors that support its analysis: (1)
meteorological influence[.]

The first factor demonstrates that weather patterns do not support a finding that emissions from
Alabama contributed to ozone concentrations at the Denton and Harris County monitors. Back
trajectories provided by ADEM indicate that air moving over Alabama seldom moved into Denton and
Harris counties, and emissions from sources in Alabama were low on the relevant days. EPA ignores the


                                                                                                         355
         Case: 23-60069          Document: 110          Page: 754     Date Filed: 03/27/2023




essential point of ADEM’s HYSPLIT analysis and EPA’s own data confirms that contribution by Alabama
to Denton and Harris counties would be insignificant and infrequent.

[…]

      82. iii. HYSPLIT Trajectories Emissions from Alabama Sources Are Not Linked to Ozone Exceedances
          Recorded in Texas

ADEM includes in its WOE analysis a HYSPLIT model of back trajectories to demonstrate that ozone
concentrations in Alabama were relatively low on the days preceding high ozone events at downwind
receptors in Denton and Harris counties. EPA criticizes the back trajectory analysis on the basis that
ADEM fails to consider ozone-precursor emissions in its analysis, stating “it has long been understood
that ozone concentrations in downwind areas are affected . . . [by] ozone formed downwind from the
ozone-precursor emissions, such as NOx, in the upwind state.” EPA entirely overlooks the principal point
of Alabama’s HYSPLIT analysis: air rarely moves from Alabama westward into Texas. Of the 31 days that
the Harris County monitor showed an ozone exceedance from 2018-2020, the HYSPLIT analysis confirms
that air moved from Alabama into Harris County on only 4 occasions. Likewise, for Denton County, air
travelled westward from Alabama on only 3 occasions out of 26 exceedance days. In other words,
Alabama establishes convincingly that Alabama emissions are highly unlikely, just as a starting point, to
contribute to ozone formation in Dallas or Houston.

EPA goes on to explain that, despite low ozone in the upwind state, “sources and other emissions
activities in that State nonetheless may be emitting ozone-precursor emissions in amounts sufficient to
contribute ozone above one percent of the NAAQS to the high-ozone event that occurs at the downwind
receptor.” However, as this section will explain, on the days leading up to the high ozone events at the
Texas receptors, ozone-precursor emissions in Alabama were low.

In order to determine whether Alabama sources of NOX emissions could be considered to “significantly
contribute” to ozone nonattainment or maintenance issues in Texas, the commenters evaluated
statewide EGU emissions of NOX on the days that could have led to ozone formation at the Denton or
Harris County monitors. The commenters used the HYSPLIT data presented in Alabama’s SIP submittal to
identify when air packets travelled over Alabama preceding the affected days at each monitor. EPA’s
own CAMD database provided the total NOX emissions for the relevant day. Each daily NOX emission
total is compared to the level of NOX emissions that EPA has defined as “significant” for EGUs in
Alabama. Specifically, the ozone-season NOX emissions budget proposed by EPA for Alabama in its
proposed FIP was prorated across the days in the ozone season and that total was then ratioed by 75%
in accordance with EPA’s methodology for setting the “daily backstop” rate. Thus, for Alabama EGUs,
EPA defines total daily significant contribution as 73 tons.

                                             Daily Emissions         Actual NOX
  Date of Monitor
                        Date of Air Packet      Defined as          Emissions on        Percent Below
 Exceedance (Harris
                         Over Alabama        “Significant” by       Relevant Date        Significance
      County)
                                               EPA (Tons)               (Tons)

      July 26, 2019       July 24, 2019            73                    56                 -23%
      July 26, 2019       July 25, 2019            73                    52                 -29%
      Sept. 5, 2019       Sept. 3, 2019            73                    58                 -21%

                                                                                                        356
          Case: 23-60069             Document: 110                Page: 755        Date Filed: 03/27/2023




      Sept. 6, 2019           Sept. 3, 2019                  73                       58                      -21%
      June 18, 2021           June 16, 2021                  73                       41                      -41%


                                                      Daily Emissions           Actual NOX
     Date of Monitor
                           Date of Air Packet            Defined as            Emissions on             Percent Below
       Exceedance
                            Over Alabama              “Significant” by         Relevant Date             Significance
     (Denton County)
                                                        EPA (Tons)                 (Tons)

      June 19, 2021          June 17, 2021                   73                       41                      -41%
       Aug. 4, 2021           Aug. 2, 2021                   73                       52                      -29%
      Sept. 12, 2021         Sept. 10, 2021                  73                       39                      -46%


As these data plainly show, emissions from Alabama EGUs on the relevant days were low, and well
below any reasonable conception of “significant contribution.” As a result, EPA should conclude that
sources in Alabama are not contributing to nonattainment or maintenance in Texas and it is plain
Alabama’s SIP already contains measures sufficient to prohibit actual contribution to any downwind
ozone concerns.82
82
   In addition, while EPA points out that “vectors of [ADEM’s] back trajectories only show the center line of air
flow” and do not capture the full “breadth of the air currents,” 87 Fed. Reg. at 64,425, EPA fails to analyze which
sources are in the region these air currents pass through. Identification and consideration of the actual sources
contributing to interstate transport of emissions is essential to EPA’s review of SIPs under the “good neighbor”
provision. See 42 U.S.C. § 7410(a)(2)(D)(i) (“prohibit[] . . . any source . . . from . . . contribut[ing] significantly”).



Response
The EPA found that emissions in Alabama were linked to downwind receptors in Harris County
(monitoring site 482010055) and Denton County (monitoring site 481210034) based on the 2016v2
modeling performed for the proposed disapproval. The commenters claim that Alabama should not be
linked to these receptors because they claim that air rarely moves from Alabama west toward Texas on
days with measured exceedance at these downwind receptors. The commenters rely upon analyses of
near ground-level wind flow (i.e., wind roses) and HYSPLIT-based multi-day back trajectories on days
with measured exceedances at these two receptors to support their claims that Alabama should not be
linked to these receptors.

The EPA disagrees that the Agency should conclude that sources in Alabama do not contribute to
nonattainment or maintenance receptors in Texas. First, regional pollutant transport occurs when ozone
precursor emissions (i.e., NOX and VOCs) from sources an upwind state are emitted into the air and form
ozone. The photochemical reactions that form ozone also form “by-product” pollutant that are
“recycled” to form additional ozone farther downwind. The ozone and by-product pollutant species are
vertically mixed due to dispersion and updrafts/downdrafts within the daytime boundary layer (i.e., the
mixed layer) during the day. Variations in wind speed and direction between the ground and the mid-to
top of the daytime mixed layer can result in different transport patterns aloft than near the ground. In
addition, pollutants that remain aloft during the day or are emitted aloft overnight above the very
shallow nighttime surface layer can be transported long distances due to the effects of the “nocturnal
                                                                                                                        357
        Case: 23-60069            Document: 110          Page: 756        Date Filed: 03/27/2023




jet” which is a high-speed ribbon of air that forms above the top of the nighttime surface layer. In
addition, wind speed typically increases with height within the mixed layer, because the effects of
surface roughness, which reduces wind speed near the ground, diminishes with height. Pollutants
transported downwind aloft are typically brought down to the ground on subsequent days beginning in
mid-morning as the height of the mixed layer rises. By this process pollutants transported aloft from
upwind states can contribute to high ozone concentrations at monitoring sites in downwind states.
While wind roses and trajectories based on data near or within a few hundred meters of the ground are
useful for analyzing local scale transport (i.e., within an urban area) such analyses generally will not
provide particularly reliable or meaningful information on long-range, multi-day transport of ozone and
by-product pollutants aloft.

In the EPA’s 2016v3 modeling for this final action, Alabama was found to contribute above the 0.70 ppb
screening threshold to two maintenance-only receptors (i.e., Galveston, Texas and Dallas/Denton-Pilot
Point).81 The EPA ran HYSPLIT to create back trajectories from the Galveston receptor, among others, on
days with measured ozone exceedances during the 12 years from 2010 through 2021. The map below
shows the back trajectory analysis for the Galveston receptor-based trajectories at 500 m and 750 m
(i.e., generally in the mid portion of the daytime mixed layer). The map provides a visual representation
of areas typically upwind wind of Galveston on days with measured exceedances at this receptor. The
trajectories indicate that the air can travel from east to west such that Alabama is upwind of Galveston
on exceedance days. This result confirms the EPA’s finding that Alabama is linked to receptors in Texas.
The EPA’s back trajectory analysis is described in the Final Action AQM TSD.




81
  Note that in the 2016v2 modeling used for the proposed action, Alabama was linked to the South Airport
receptor in Denton, Texas. In the final modeling Alabama is linked to the Pilot Point “violating monitor”
maintenance-only receptor in Denton.
                                                                                                            358
        Case: 23-60069          Document: 110          Page: 757       Date Filed: 03/27/2023




The EPA addresses comments related to existing controls in Section 8.3 (Existing and Future State
Controls). It is the state’s responsibility to identify and then prohibit any source or other type of
emissions activity from emitting any pollutant in amounts which will contribute significantly to
nonattainment or interfere with maintenance in other states in a SIP under CAA section
110(a)(2)(D)(i)(I). It is not the Agency’s burden in evaluating a SIP submission for compliance with the
requirements of CAA section 110(a)(2)(D)(i)(I) to conduct an analysis of which of the state’s individual
sources or other type of emissions activity might be deemed significant. The EPA’s analysis at Step 2
measures the total anthropogenic contribution of emissions from the upwind state. Once contribution
passes the threshold, we proceed to Step 3. The Alabama SIP submission’s cursory discussion of
emissions sources and reduction potential in the state does not constitute an adequate Step 3 analysis
(or appropriate substitute or alternative to such an analysis). We do not concede commenter APC et al.’s
characterization of the proposed approach to “significance” in the proposed FIPs is correct; however,
the analysis is irrelevant in any case because the state itself conducted no such analysis, and that is what
we are evaluating. The EPA is not requiring controls on any states or any sources in this action, and
comments on the substance of the proposed FIP are beyond the scope of this rulemaking.



Comment
Commenter: Arkansas Department of Energy and Environment, Divison of Environmental Quality

Commenter ID: 07

Docket ID: EPA-R06-OAR-2021-0801

Comment:

EPA’s proposed disapproval also dismisses ADEQ’s HYSPLIT modeling used to identify whether a
potential linkage was significant as irrelevant. While DEQ agrees that CAMx is a state-of-the science tool,
this does not mean that other tools cannot be informative. In addition, EPA provided input on DEQ’s
HYSPLIT modeling analysis during the comment period for the SIP and DEQ made adjustments to its
modeling in response to EPA’s comments. If EPA contends that HYSPLIT modeling is not informative for
the purposes of SIP decision-making, this should have been stated in early conversations between the
agency and DEQ, before DEQ performed HYSPLIT modeling, or during the public comment period (rather
than suggesting modifications to DEQ’s methodology, resulting in additional state resources invested in
HYSPLIT modeling to bolster the SIP submittal in response to EPA comments). See EPA comments and
DEQ responses to comments on 2015 Ozone Transport SIP, included here as Appendix A.

EPA’s argument regarding the HYSPLIT central path in the proposed disapproval was not raised during
preproposal consultation or the comment period for the SIP. Indeed, EPA doesn’t quantify the degree to
which they believe a back-trajectory should pull in areas on each side horizontally and vertically in their
proposed FIP. This argument by EPA in their proposed disapproval leaves DEQ with no information
about what EPA believes would be an appropriate buffer around the back-trajectories if DEQ were to
reevaluate how it interpreted HYSPLIT data to address EPA’s alleged concern.

DEQ continues to assert that its HYSPLIT analysis provides meaningful insight as to whether the potential
linkages identified by CAMx are consistent and persistent. EPA’s CAMx modeling only looks at five to ten
                                                                                                        359
        Case: 23-60069           Document: 110          Page: 758        Date Filed: 03/27/2023




elevated ozone days. For comparison, DEQ’s HYSPLIT analysis evaluated ninety-five elevated ozone days
over the course of a ten-year period.



Response
As noted in comments to ADEQ and in our proposal (FR 87 9804-9809) EPA has concerns with ADEQ’s
HYSPLIT methodologies, including screening out back trajectories based on the start height and the start
time of the back trajectories. We noted these concerns in our comments on ADEQ’s proposed SIP and
indicated that this technique is not standard and has not been used by EPA in our trajectory analyses
such as Appendix E of the CSAPR Update AQ Modeling TSD.82 As footnoted in the proposal (FR 87 9809)
both ADEQ and TCEQ both screened out back trajectories based on start height, and we discussed how
this was inappropriate in the Evaluation of TCEQ Modeling TSD, pages 81-86. We also identified
concerns with screening of HYSPLIT back trajectories when the centerline passed near but not through
Arkansas because Arkansas has some very large point sources near the Arkansas state line that could be
contributing (FR 87 9809). When using the HYSPLIT model it is understood that the HYSPLIT back
trajectory results are a central path that represents the centerline of the particles’ path and there are
areas on each side horizontally and vertically that also contribute to the concentrations at the end point.
The horizontal and vertical areas that potentially contribute to concentrations at the endpoint grow
wider from the centerline the further back in time the trajectory goes. Therefore, a HYSPLIT centerline
does not have to pass directly over emissions sources or emission-source areas but merely relatively
near emission source areas for those areas to contribute to concentrations at the trajectory endpoint
and trajectories that were close to Arkansas but did not necessarily pass through can still indicate the
opportunity for contribution from Arkansas’ emissions and should not necessarily be excluded from the
count of trajectories that indicate Arkansas could contribute. The HYSPLIT model does have the
capability to create trajectories that reflect the dispersion of pollutants based on variations in
meteorology, atmospheric turbulence and other physical processes.83 However, the back trajectories
created by the commenter were not based on this version of the model.

ADEQ’s SIP submission included the inappropriate screening of back trajectories based on start height
and start time despite these concerns and for this reason, in addition to the centerline concerns, EPA
determined that the results were not valid. EPA did not indicate in the proposal that back trajectory
analyses are never useful, just that Arkansas’s trajectories were flawed. The EPA finds that back
trajectory analysis can be potentially useful as a corollary analysis along with observation-based
meteorological wind fields at multiple heights to examine the general plausibility of the photochemical
model linkages, so long as the limited utility of this analysis is fully appreciated in comparison to
photochemical grid modeling for characterizing ozone transport over long distances.

We did note in the proposal that while we disagreed with ADEQ’s methodologies, their results did not
show that either 2011 (base year meteorology from EPA’s 2011 modeling results used in ADEQ’s SIP) or
the newer 2016 based meteorology (EPA modeling using 2016v2 and 2016v3 emission inventories) were

82
   Appendix E of the Air Quality Modeling TSD for the Final CSAPR Update can be found in docket EPA-HQ-OAR-
2015-0500 (Document ID is EPA-HQ-OAR-2015-0500-0575)
83
   NOAA’s HYSPLIT Atmospheric Transport and Dispersion Modeling System,” Bulletin of the American
Meteorological Society 96, 12 (2015): 2059-2077.
                                                                                                              360
        Case: 23-60069          Document: 110         Page: 759       Date Filed: 03/27/2023




anomalous. We note that EPA’s 2011, 2016v2, and 2016v3 modeling results all indicate Arkansas is
linked to receptors in Texas. In response to other comments in this Section (Section 8.8) EPA has
conducted HYSPLIT back trajectories for some of the receptors in Texas to which Arkansas has been
identified as linked. The results of the trajectory analysis corroborate and add confidence to the
upwind/downwind linkages.



Comments


Commenter: Cleco Corporate Holdings LLC

Commenter ID: 14

Docket ID: EPA-R06-OAR-2021-0801

Comment:

The LDEQ HYSPLIT modeling demonstrates the absence of a persistent and consistent pattern of
contribution of pollutants to Texas monitors from Louisiana.

For identified monitors in Texas, LDEQ performed HYSPLIT modeling to examine the significance of
contribution under the 1 ppb threshold. LDEQ followed EPA's suggestion that it provide back trajectories
for all high ozone days for the Texas (Houston and Dallas area) monitors. This involved the providing of
back trajectories for 99 exceedances during the 2015- 2018 season. It's interesting that, while EPA
suggested (perhaps requested) LDEQ to conduct back trajectory analysis, in the Proposal it now opposes
LDEQ's use of the HYSPLIT back trajectory analysis. The Agency indicates that HYSPLIT is only a corollary
analysis for examining the general plausibility of the photochemical model linkages and that the use of
back trajectories do not quantitatively evaluate the magnitude of the existing photochemical
contributions because the “calculations do not account for any air pollution formation, dispersion,
transformation, or removal processes as influenced by emissions, chemistry, deposition, etc.” EPA
should explain why the HYSPLIT analysis cannot be relied upon due to these reasons and also more
thoroughly explain why the use of back trajectories is not sufficient to determine significant
contribution. Nevertheless, the back trajectory analyses showed that on high ozone days at the Texas
receptors that were identified using the March 27, 2018 memorandum (March 27, 2018, Information on
the Interstate Transport State Implementation Plan Submissions for the 2015 Ozone National Ambient
Air Quality Standards under Clean Air Act Section (D)(i)(I)), only 28% of the trajectories traveled in or
through Louisiana. Of that 28%, only 8% originated in Louisiana. In addition, of the 28% of the
trajectories, only 35% originated in or crossed the industrialized part of the State. Considering that EPA
proposed that LDEQ conduct the HYSPLIT analyses and also considering the results of the analyses, Cleco
believes the modeling demonstrates the absence of a persistent and consistent pattern of contribution
and therefore the absence of contribution-significance under the 1 ppb threshold.



Commenter: Louisiana Chemical Association

                                                                                                      361
        Case: 23-60069          Document: 110         Page: 760       Date Filed: 03/27/2023




Commenter ID: 26

Docket ID: EPA-R06-OAR-2021-0801

Comment:

b. LDEQ’s use of the HYSPLIT Model to establish that there were no persistent or consistent relationships
between the cited Texas receptors and Louisiana air emissions was proper.

In its significant contribution analysis, LDEQ identified monitors in the Dallas/Fort Worth and
Houston/Galveston areas for further review under the 1 ppb screening standard: Denton Airport South
(Dallas); FAA Site off Alta Vista Road (Dallas); Croix Parkway (Houston); Aldine Mail Road (Houston); and
Durant Street (Houston). LDEQ’s process for analyzing the significance of contributions in the Louisiana
Transport SIP included: an applicable weather pattern analysis; wind rose analysis; and use of the Hybrid
Single Particle Lagrangian Integrated Trajectory (“HYSPLIT”) Model developed by the National Oceanic
and Atmospheric Administration (“NOAA”).

In its comments to the proposed Louisiana Transport SIP, EPA noted that to strengthen the analysis,
LDEQ “should provide individual back trajectories for all high ozone days in the Houston or DFW area
during the baseline period.” EPA provided a link to the existing analyses from the Texas Commission on
Environmental Quality. LDEQ accepted this comment and, to address EPA’s recommendation, LDEQ
provided back trajectories for 99 ozone exceedances at the identified receptors that occurred during the
2015-2018 ozone season with data derived from the TCEQ website.

Specifically, for the days of ozone standard exceedances at the Houston and Dallas area monitors during
2016, 2017 and 2018, LDEQ used the HYSPLIT Model to illustrate backward trajectories for the air
parcels present at the monitors when the exceedances occurred. As discussed in the Louisiana Transport
SIP, “the projections depict a composite of four backwards trajectories starting at the location of the
monitor and tracking the air in reverse for seventy-two hours. Each projection accounts for one eight-
hour exceedance period with the four trajectories beginning their routes at the six, four, two and zero
hour marks.” LDEQ also performed additional modeling/ to evaluate the exceedances that revealed
trajectories originating in or crossing Louisiana to include Mixing Depth (in meters) and provide one
trajectory for the beginning of each hour of the daily eight-hour ozone exceedance for the exceedance
to identify the areas of the state most often impacting Texas monitor exceedances.

LDEQ’s HYSPLIT back trajectory analysis showed that on high ozone days in Texas at the receptors
identified using the 2015 Ozone NAAQS Memo, only 28% of the trajectories traveled in or through
Louisiana. Of that 28%, only 8% originated in Louisiana. Moreover, of the 28% of the trajectories, only
35% originated in or crossed the industrialized part of the State.

Although EPA requested LDEQ to conduct back trajectory analysis, in the Proposed Rule EPA now
opposes LDEQ’s use of the HYSPLIT back trajectory analysis. According to EPA, back trajectory analysis is
a corollary analysis along with observation-based meteorological wind fields at multiple heights to
examine the general plausibility of the photochemical model ‘linkages.’” The EPA goes on to indicate
that the use of back trajectories does not quantitatively evaluate the magnitude of the existing
photochemical contributions because the “calculations do not account for any air pollution formation,
dispersion, transformation, or removal processes as influenced by emissions, chemistry, deposition,
                                                                                                      362
           Case: 23-60069            Document: 110           Page: 761        Date Filed: 03/27/2023




etc.” Still, EPA does not explain why the HYSPLIT analysis cannot be relied upon for these reasons. EPA
should more thoroughly explain why the use of back trajectories is not sufficient to determine significant
contribution.

Further, the HYSPLIT back trajectories presented in the Louisiana Transport SIP call into question the
plausibility of EPA’s proposed linkages based on both the 2015 Ozone NAAQS Memo and the 2016v2
model. This is especially true given Texas’s large contributions to Louisiana receptors.

[…]

In sum, LDEQ’s analysis based on the HYSPLIT Model and additional mixing depth models that show no
likely impact from Louisiana emissions, is also consistent with Louisiana’s compliant ozone design values
throughout the state, the trend of decreases in ozone precursor emissions from Louisiana sources. EPA
had the opportunity to disapprove of LDEQ’s use of the HYSPLIT model. Instead, EPA commented on
ways to strengthen the method, which LDEQ followed in developing the final Louisiana Transport SIP.
LDEQ modeled the likely route of an air parcel transported to the receptors during ozone exceedance
instances and demonstrated that of the 99 instances modeled, less than one third of the routes were
from or through Louisiana, with a fractional amount originating in Louisiana. This is sufficient to show
that there is no persistent and consistent pattern of significant contribution by Louisiana on the days
with elevated ozone at the Texas area monitors. Therefore, Louisiana’s contribution to the identified
Texas receptors should not be deemed significant.



Response
The EPA evaluated Louisiana’s HYSPLIT analysis in the proposal. 87 FR 9812-9815. The EPA does not
believe that HYSPLIT analyses are sufficient to determine significant contribution because HYSPLIT
trajectory analyses, as run by LDEQ, do not provide any quantitative measure of contribution (see
responses to comments above). Quantitative contributions are necessary to evaluate the magnitude of
an upwind state’s contribution to downwind receptors with respect to the 1 percent of the NAAQS
screening threshold used in Step 2 of the 4-step interstate transport framework. As noted in the
proposal (87 FR 9815) HYSPLIT does not account for air pollution formation from emissions of pre-
cursors (NOx and VOC emissions react to form ozone for example), dispersion, transformation, or
removal processes as influenced by chemistry, deposition, etc., so the trajectories cannot be used to
develop quantitative amounts for how much ozone was formed at the downwind receptor from
emissions of pre-cursors in the state of Louisiana. The commenter failed to provide any rationale or
methodologies explaining how trajectory analyses can be used alone to determine significant
contribution. EPA did provide comments and recommend LDEQ perform HYSPLIT analyses to evaluate
the transport meteorology as a way to refine the technical analysis that LDEQ was performing for their
SIP (See responses to other comments in Section 1.6 related to EPA comments on proposed SIPs).
Moreover, the EPA’s Guideline on Air Quality Models84 specifically states that “Control agencies with
jurisdiction over areas with ozone problems should use photochemical grid models to evaluate the
relationship between precursor species and ozone.” Because the amount of interstate ozone transport
is dependent in large part on the ability to credibly quantify ozone and precursor species concentrations,

84
     Guideline on Air Quality Models ("Appendix W" to 40 CFR Part 51), section 5.3.1, page 5213.
                                                                                                         363
        Case: 23-60069            Document: 110          Page: 762        Date Filed: 03/27/2023




the EPA believes that photochemical grid modeling, rather than trajectories designed to track transport
of non-reactive (i.e., inert) pollutants, is the appropriate method for evaluating interstate contributions.

The EPA ran HYSPLIT to create back trajectories from each of these receptors, among others, on days
with measured ozone exceedances during the 12 years from 2010 through 2021. The maps below show
the back trajectories from the Denton and Houston receptors for elevations of 500 m and 750 m (i.e.,
generally in the mid portion of the daytime mixed layer).85 These maps provide a visual representation
of areas typically upwind wind of the Denton and Houston/Bayland receptors on days with measured
exceedances at these locations. The trajectories indicate that the air can travel from east to west such
that Louisiana is upwind of the Denton and Houston receptors on days when ozone exceeds the NAAQS.
This result confirms the EPA’s finding that Louisiana is linked to these receptors in Texas.




85
  The back trajectory map shown here are also provided in a response to other comments in this section of the
document.
                                                                                                            364
        Case: 23-60069          Document: 110         Page: 763        Date Filed: 03/27/2023




The EPA addresses comments about EPA’s input during SIP development in Section 1.6.



Comment
Commenter: Mississippi Department of Environmental Quality

Commenter ID: 32

Docket ID: EPA-R04-OAR-2021-0841

Comment:

METEOROLOGY/MONITORED DATA

Meteorological research regarding EPA's reliance on the air quality modeling for the 2016v2 Emissions
Modeling Platform and Mississippi’s alleged significant (i.e., ≥1% threshold) contributions to receptors in
Texas is attached to this correspondence. This research indicates Mississippi has no significant
contributions to monitors in Brazoria (Manvel Croix Park, site ID# 48031004), Denton (Denton Airport
South, site ID# 481210034), or Harris County (Houston Bayland Park, site ID# 482010055), TX for
nitrogen oxide (NOX) and volatile organic compounds (VOC) pollutants to contribute to secondary O3
formation. In most occurrences of high O3 days in Brazoria, Denton, and Harris County, TX, the Houston
and/or Dallas core-based statistical areas (CBSA), as applicable, are under very stagnant conditions with
minimal mixing, allowing O3 to build. Thorough research shows no correlation when Brazoria, Denton,
and Harris County, TX experience an easterly fetch (i.e., easterly winds), which is the only time
Mississippi emissions could conceivably contribute to high O3 in these areas.

[…]


                                                                                                       365
           Case: 23-60069            Document: 110          Page: 764         Date Filed: 03/27/2023




Attachment: Meteorological Review of Contributions from Mississippi to Brazoria, Denton, and Harris
County, TX National Ambient Air Quality Standards for Ozone Exceedances

Based upon air quality modeling for the 2016v2 Emissions Platform, the Environmental Protection
Agency (EPA) has proposed that Mississippi significantly contributes to nonattainment or interferes with
maintenance of the national ambient air quality standards (NAAQS) for ozone (O3) for the following
monitors in Texas:

       •   Site ID #480391004 - Manvel Croix Park in Brazoria County (located in Houston, TX core-based
           statistical area (CBSA))
       •   Site ID #481210034 - Denton Airport South in Denton County (located in Dallas, TX CBSA)
       •   Site ID #482010055 - Houston Bayland Park in Harris County (located in Houston, TX CBSA)

Regarding meteorological influence, Mississippi has a negligible effect on VOC/NOx transport to
contribute downwind to Texas air monitoring sites. On days where Harris, Brazoria, and Denton NAAQS
exceedances occur, the O3 development was locally driven, as shown by the following back trajectories.

[Images in comment]



Response
The EPA disagrees with the commenter that Mississippi does not contribute to high ozone at downwind
receptors in Texas. In the EPA’s 2016v3 modeling for this final action the Agency found that Mississippi
contributes above the 0.70 ppb screening threshold to three receptors in 2023: Denton County (monitor
481210034), Galveston County (monitor 481671034), and Houston/Bayland (monitor 482010055). The
EPA ran HYSPLIT to create back trajectories from each of these receptors, among others, on days with
measured ozone exceedances during the 12 years from 2010 through 2021. The maps below show the
back trajectories from the Denton and Houston receptors for elevations of 500 m and 750 m (i.e.,
generally in the mid portion of the daytime mixed layer).86 These maps provide a visual representation
of areas typically upwind wind of the Denton and Houston/Bayland receptors on days with measured
exceedances at these locations. The trajectories indicate that the air can travel from east to west such
that Mississippi is upwind of the Denton and Houston receptors on days when ozone exceeds the
NAAQS. This result confirms the EPA’s finding that Mississippi is linked to these receptors in Texas.




86
     The back trajectory map is provided in a response to other comments in this section of the document.
                                                                                                            366
        Case: 23-60069          Document: 110         Page: 765       Date Filed: 03/27/2023




Comment
Commenter: Tennessee Department of Environment and Conservation

Commenter ID: 41

Docket ID: EPA-R04-OAR-2021-0841

Comment:

4. Back-Trajectory Analysis Supports a Finding of No Significant Contribution
                                                                                               367
        Case: 23-60069          Document: 110          Page: 766       Date Filed: 03/27/2023




Tennessee reviewed the four highest ozone days (or the five highest days where there are multiple days
with the same fourth-high concentration) for calendar years 2018, 2019, 2020, and 2021 at the Denton
County site (Table 6) and calculated five-day back-trajectories for air parcels ending up at 10 m above
ground level at the monitor. Only two of the 18 exceedance events (October 8, 2020, and June 19, 2021)
had air movement tracing back to Tennessee (Figure 1, with individual back trajectories included in
Appendix A). For all other high-ozone days identified in Table 6, the back-trajectory analysis indicates
that Tennessee was not a contributor.

[Table 6 available in full comment]

Table 6: 2018-2021 Highest Ozone Concentrations at AQS Site ID 481210034

[Figure 1 available in full comment]

Figure 1: 2018 through 2021 Five-Day Back Trajectories, Annual Four Highest Ozone Days at 48-121-
0034

Tennessee reviewed the back trajectory analyses, and the air parcels passed through west Tennessee on
October 8, 2020 and June 19, 2021. For all other high-ozone days identified in Table 6, the back-
trajectory analysis indicates that Tennessee was not a contributor.

    •   For the October 8, 2020, event, the air parcel passes through Tennessee on October 5 at just
        under 500 m above ground level.
    •   For the June 19, 2021, event, the air parcel passes through Tennessee on June 15-16. The back-
        trajectory analysis for this event is unusual because the air parcel passes close to ground level as
        it moves through Tennessee, then it is lifted upward to about 1,000 meters before gradually
        returning to ground level.

East-to-west travel of air masses is relatively uncommon, and Tennessee notes that both of the events
identified here were associated with tropical systems to the east of Texas (Hurricane Delta on October 8,
2020, and Tropical Storm Claudette on June 19, 2021), which block a normal zonal west-east flow (Figure
2).

[Figure 2 available in full comment]

Figure 2: Hurricane Delta and Tropical Storm Claudette



Response
The EPA is not taking final action on Tennessee’s good neighbor SIP submission for the 2015 ozone
NAAQS in this action.



Comment
Commenter: Texas Commission on Environmental Quality

Commenter ID: 42

                                                                                                        368
        Case: 23-60069          Document: 110          Page: 767       Date Filed: 03/27/2023




Docket ID: EPA-R06-OAR-2021-0801

Comment:

In addition, the following errors in the EPA’s Technical Support Document (TSD) make its SIP disapproval
invalid:

    •   On pages 81-86 of the TSD, the EPA states concerns with the trajectory parameters used by the
        TCEQ. The TCEQ’s trajectory parameters were set at ranges typically used for analyses of this
        kind. This is not a legitimate basis for disapproval since the EPA did not provide specific guidance
        on acceptable parameters for this application. In other applications (for example the Guidance
        on the Preparation of Clean Air Act Section 179B Demonstrations for Nonattainment Areas
        Affected by International Transport of Emissions), the EPA has provided specific trajectory
        parameters required for approval.
    •   The EPA incorrectly describes the start time of the TCEQ’s trajectories. The EPA states “TCEQ
        used the 1st hour of the 8-hour exceedance as the start time” (page 82 of TX TSD). The Texas SIP
        clearly states on page 3-53 that “The time of daily maximum one-hour ozone on the elevated
        eight-hour ozone day was used as the starting hour for each trajectory.” The EPA’s concerns
        regarding the start time of trajectories are based on an erroneous reading of the document and
        thus should not be considered in evaluating the Texas SIP revision.
    •   On page 82, the EPA states that the TCEQ should have also used an additional 100 meters above
        ground level (m AGL) start height for the trajectories; however, trajectories with too low of a
        start height may hit the ground. Once a trajectory hits the ground it loses accuracy and may no
        longer provide useful data, especially when considering the distance between the source and
        receptor in the TCEQ’s analysis. The National Oceanic and Atmospheric Administration (NOAA)
        recommends start heights that are located in the middle of the planetary boundary layer. Start
        heights at 500 m AGL are well within these standard parameters; therefore, disagreement
        regarding trajectory start height is not a legitimate reason to discount the TCEQ analysis or
        disapprove this Texas SIP revision.
    •   The TCEQ used scientifically appropriate filtering criteria on its trajectories. As stated above,
        NOAA recommends start heights located in the middle of the mixing layer. Trajectories that hit
        the ground may be inaccurate and removing them to analyze more significant trajectories was
        appropriate in the context of the weight of evidence analysis. All trajectory endpoints that met
        these two criteria were presented regardless of whether they were in the mixing layer over
        Texas. The analysis only filtered endpoints within the mixing layer over Texas as an additional
        analysis to describe trajectories that show more meaningful transport patterns. The EPA has no
        scientific basis for concluding that the TCEQ inappropriately filtered trajectories. The analysis
        only filtered endpoints within the mixing layer over Texas as an additional analysis to describe
        trajectories that show more meaningful transport patterns.


Response
The EPA disagrees with the commenter that the TCEQ SIP should be approved because the commenter
takes issue with some of EPA’s technical comments on the trajectory analyses included as part of the
information in their proposed SIP. The EPA’s rationale for the disapproval of Texas’s SIP Submission was
                                                                                                        369
        Case: 23-60069           Document: 110           Page: 768        Date Filed: 03/27/2023




explained at proposal. See 87 FR 9826-9834.87 The EPA appreciates the clarifying points from
commenter regarding aspects of the HYSPLIT analysis with which the Agency took issue at proposal.

In regard to the first bullet related to trajectory parameters, as noted in the Evaluation of the TCEQ
Modeling TSD we disagree that 72 hours was a long enough period to calculate back trajectories since
some of the trajectories ended before fully transporting over Texas or before potentially entering Texas.
In regard to the second bullet, we appreciate the clarification that we mischaracterized the start time for
the HYSPLIT trajectories that they are not at the start of the 8-hour period of the MDA8 but at the hour
that had the maximum 1-hour value during the eight hours in the MDA8.

In regard to the second bullet, we appreciate the clarification that we mischaracterized the start time for
the HYSPLIT trajectories and that they are not at the start of the 8-hour period of the MDA8 but at the
hour that had the maximum 1-hour value during the eight hours in the MDA8. In regard to the third
bullet, we often run 100 meter start heights (as is mentioned in the 179b guidance that commenter
referred to in its first bullet) and felt this was especially important since TCEQ was screening out some
500 and 1000 meter start heights based on the planetary boundary layer height. Also related to the third
bullet EPA does not agree that centerline trajectories that touch the ground should be screened out in
this type of analysis. In regard to the fourth bullet, we disagree with screening the start height with the
planetary boundary layer mix height as the MDA8 is made up of 8-hours and TCEQ’s method bases
dropping the trajectory for that day even though some of the hours in the MDA8 eight hour period may
have been well below the mix height indicating that day should be evaluated for transport. EPA also
disagrees with screening the centerline endpoints over Texas with the planetary boundary layer height
as the vertical dispersion at the distances from the Colorado receptors would be expected to have
contributing air from above and below the planetary boundary layer.

With the exception of the clarification of the start hour on the trajectories, the EPA continues to take
issue with technical aspects of the back trajectory analysis. The commenter’s points still do not resolve
all of the issues that the EPA identified in its TSD, such as the need to run the trajectories for a sufficient
length of time and inappropriate screening out of trajectories. See Evaluation of TCEQ’s Modeling TSD at
81-86. Nonetheless, as these issues generally relate to TCEQ’s arguments regarding potential linkages in
its own modeling to Colorado and California (which are not found in EPA’s modeling), these technical
matters do not materially alter the bases for the EPA’s disapproval as to Texas.

For this final action, the EPA conducted its own HYSPLIT back trajectory analysis for projected modeling-
based nonattainment and maintenance receptors in 2023. As part of this analysis back trajectories were
created for each of the 10 downwind receptors to which Texas is linked based on the 2016v3 modeling
used for this final actions. EPA ran these trajectories 96 hours (longer than the 72 hours that TCEQ ran
their back trajectories). These receptors are identified in the table below.




87
  The EPA further explained its rationale in the Evaluation of TCEQ Modeling TSD in Docket ID No. EPA-R06-OAR-
2021-0801.
                                                                                                            370
        Case: 23-60069           Document: 110             Page: 769          Date Filed: 03/27/2023



                      Table 8-3 Receptors Linked to Texas in 2023 Based on the 2016v3 Modeling


                   Receptors Linked to Texas in 2023 Based on the 2016v3 Modeling
                  AQS ID             State            County                   Location
                 170310001     Illinois            Cook               Chicago/Alsip
                 170314201     Illinois            Cook               Chicago/Northbrook
                 170317002     Illinois            Cook               Chicago/Evanston
                 350130021     New Mexico          Dona Ana           Las Cruces/Desert View
                 350130022     New Mexico          Dona Ana           Las Cruces/Santa Teresa
                 350151005     New Mexico          Eddy               Carlsbad/BLM
                 350250008     New Mexico          Lea                Hobbs
                 550590019     Wisconsin           Kenosha            Chiwaukee Prairie
                 551010020     Wisconsin           Racine             Racine
                 551170006     Wisconsin           Sheboygan          Sheboygan


The EPA created HYSPLIT-based back trajectories for days when measured ozone concentrations
exceeded the NAAQS at each of these receptors over the 12 year period from 2010 to 2021. The maps
below show the back trajectory analysis for three of these receptors, the Chicago/Northbrook,
Sheboygan, and Carlsbad area receptors, based trajectories at 500 m and 750 m (i.e., generally in the
mid portion of the daytime mixed layer). The maps provide a visual representation of areas typically
upwind wind of the Chicago/Northbrook, Sheboygan, and Carlsbad receptors on days with measured
exceedances at these receptors (trajectory paths are similar for the other receptors identified in the
table above). The trajectory paths serve to reinforce the EPA’s finding that Texas is linked to these
receptors in this final action. The EPA’s back trajectory analysis is more fully described and the results
for all 10 receptors are provided in the Final Action AQM TSD.




                                                                                                        371
       Case: 23-60069         Document: 110       Page: 770      Date Filed: 03/27/2023




8.9 Allegations of Inconsistency with Other Recent EPA Actions

Comments


Commenter: Association of Electric Companies of Texas, BCCA Appeal Group, Texas Chemical Council
and Texas Oil & Gas Association

                                                                                               372
        Case: 23-60069             Document: 110            Page: 771        Date Filed: 03/27/2023




Commenter ID: 11

Docket ID: EPA-R06-OAR-2021-0801

Comment:

E. EPA’s conclusions in its disapproval of Texas’s SIP conflict with other recent EPA actions.

EPA recently proposed to redesignate the Illinois portion of the Chicago area to attainment of the 2008
ozone NAAQS46 and finalized redesignation of the Wisconsin portion of the Chicago nonattainment
area.47 In EPA’s proposed redesignation, the Agency recognized that 2011-based modeling performed by
EPA and LADCO in support of the interstate transport requirements for the 2015 ozone NAAQS
projected that “the highest 2023 average design values to be 0.0662 and 0.0668” for Illinois’s Chicago
monitors.48 In contrast to EPA’s position in the Proposed Disapproval that four of Illinois’s Chicago
monitors will have average DVs of 69.6 ppb to 70.1 ppb in 2023, the modeling cited in EPA’s proposed
redesignation projects that the Illinois’s Chicago monitors will be well under the 2015 ozone NAAQS of
70 ppb in 2023.

EPA viewed this 2011-based modeling of 2023 DVs favorably and as additional support for
redesignation, noting that “[t]hese results provide evidence that ozone concentrations will continue to
decrease across the entire nonattainment area,” despite the fact that EPA’s 2016v2 modeling platform
was available. As explained by Sonoma Technology, the EPA and LADCO results agree with TCEQ’s
conclusion: Chicago-region monitors do not satisfy EPA’s tests for “nonattainment” or “maintenance”
monitors for purposes of interstate transport planning.

EPA’s conflicting positions on modeling and on the Chicago-area monitors’ ability to attain the 2015
ozone NAAQS further show how EPA’s Proposed Disapproval is arbitrary and capricious as to EPA’s
determination that Texas’s emissions contribute significantly to nonattainment or interfere with
maintenance of the 2015 ozone NAAQS at certain Chicago-area monitors.
46
   Illinois Redesignation Proposal, 87 Fed. Reg. 13,668.
47
   Air Plan Approval; Wisconsin; Redesignation of the Wisconsin Portion of the Chicago-Naperville, Illinois-Indiana-
Wisconsin Area to Attainment of the 2008 Ozone Standard, 87 Fed. Reg. 21,027 (Apr. 11, 2022).
48
   Illinois Redesignation Proposal, 87 Fed. Reg. at 13,679 n.5.



Commenter: Xcel Energy

Commenter ID: 52

Docket ID: EPA-R05-OAR-2022-0006

Comment:

3. EPA’s Air Plan Proposed Approval finding Illinois Portion of the Chicago-Naperville, Illinois Indiana-
Wisconsin Area to Attainment of the 2008 Ozone Standard

On March 10th, 2022 EPA proposed to designate that the Illinois portion of the Chicago Naperville, IL-IN-
WI area (Chicago area) in attainment for the 2008 ozone National Ambient Air Quality Standards. Cook
                                                                                                                 373
        Case: 23-60069           Document: 110         Page: 772        Date Filed: 03/27/2023




County, the receptor area linked to Minnesota’s designation as exceeding the contribution threshold,
makes up a large portion of the Chicago area. The approval goes on to state:

        "While modeling is not required, Illinois cited photochemical modeling performed by EPA and
LADCO in support of the interstate transport "Good Neighbor" provision of the CAA for the 2015 ozone
NAAQS. These modeling results project the highest 2023 average design values to be 0.0662 and 0.0668,
well below the 2008 ozone NAAQS. Compared to actual monitored 2009—2013 average design values,
both sets of 2023 modeling results show large decreases in ozone concentrations, especially in the heart
of the urban area and at the critical monitors at the north of the nonattainment area along the shore of
Lake Michigan. These results provide evidence that ozone concentrations will continue to decrease across
the entire nonattainment area."

The finding that the region's ozone design values from both the LADCO and EPA s modeling results show
1. That the region is below the 2008 standard, 2. That the region is also below the 2015 threshold of
0.070ppb, and 3. that ozone concentrations are expected to continue to decrease across the region,
conflicts with the finding that Minnesota is linked to contributing above the impact threshold in
Illinois/Chicago for the 2015 Ozone NAAQS. At a minimum, it raises the question as to why EPA found
the 2016v2 modeling platform to be superior to the LADCO photochemical analysis in determining
Minnesota's contribution in modeling efforts performed for the 2015 Ozone NAAQS.

Commenter: Xcel Energy

Commenter ID: 52

Docket ID: EPA-R06-OAR-2021-0801

Comment:

3. EPA’s Air Plan Proposed Approval finding Illinois Portion of the Chicago-Naperville, Illinois Indiana-
Wisconsin Area to Attainment of the 2008 Ozone Standard

On March 10th, 2022 EPA proposed to designate that the Illinois portion of the Chicago Naperville, IL-IN-
WI area (Chicago area) in attainment for the 2008 ozone National Ambient Air Quality Standards. Cook
County, the receptor area linked to Texas’s designation as exceeding the contribution threshold, makes
up a large portion of the Chicago area. The approval goes on to state:

        "While modeling is not required, Illinois cited photochemical modeling performed by EPA and
LADCO in support of the interstate transport "Good Neighbor" provision of the CAA for the 2015 ozone
NAAQS. These modeling results project the highest 2023 average design values to be 0.0662 and 0.0668,
well below the 2008 ozone NAAQS. Compared to actual monitored 2009—2013 average design values,
both sets of 2023 modeling results show large decreases in ozone concentrations, especially in the heart
of the urban area and at the critical monitors at the north of the nonattainment area along the shore of
Lake Michigan. These results provide evidence that ozone concentrations will continue to decrease across
the entire nonattainment area."

The region’s ozone design values from both the LADCO and EPA’s modeling results show the region
below the 2008 standard, below the 2015 threshold of 0.070 ppb, and that ozone concentrations are
expected to continue to decrease across the area. This result conflicts with the finding that Texas is
                                                                                                            374
        Case: 23-60069          Document: 110         Page: 773        Date Filed: 03/27/2023




linked to contributing above the impact threshold in Illinois/Chicago in evaluating its SIP for the 2015
Ozone NAAQS. At a minimum, it raises the question as to why EPA found the 2016v2 modeling platform
to be superior to the TCEQ photochemical analysis in determining Texas’s contribution in modeling
efforts performed for the 2015 Ozone NAAQS.



Response
The EPA disagrees that there is any meaningful conflict between the air quality projections in this action
and certain observations the Agency made in a footnote to a proposed action on March 10, 2022. In that
notice, the EPA proposed to find that the Illinois portion of the Chicago-Naperville, IL-IN-WI area is
attaining the 2008 ozone NAAQS. 87 FR 13668 (March 10, 2022). This action, as acknowledged by
commenter, only applies to the 2008 ozone NAAQS. However, the EPA noted in that proposal that
“while modeling is not required” to support that action, there was modeling by EPA and LADCO
suggesting that average design values in 2023 may be as low as around 66 ppb. Id. at 13679 n.5. This
observation was not necessary to support that proposal, and the Agency did not cite to or otherwise
explain the basis for the statement in this footnote. However, this appears to have been in reference to
the EPA’s older modeling of 2023, which has of course been updated in the 2016v2 modeling used at
proposal and the 2016v3 modeling used at final, both of which now project that ozone levels in the
Chicago area will remain above the 2015 ozone NAAQS in 2023. In fact, when the EPA finalized this
proposal, it made no further reference to that older modeling as a basis for its action or otherwise, and
in response to adverse comments highlighting the EPA’s updated transport modeling, we acknowledged:
“EPA’s ozone transport modeling indicates that, barring further emissions reductions, this area will
continue to have difficulty attaining or maintaining the 2015 NAAQS in 2024.” 87 FR 30821, 30826 (May
20, 2022). Subsequently, in the EPA’s final “Determinations of Attainment by the Attainment Date”
(DAAD) rule for the 2015 ozone NAAQS, the EPA found that the Chicago-Naperville (IL-IN-WI)
nonattainment area had failed to attain the NAAQS and had design values of 79 ppb, 77 ppb, and 76 ppb
for the 2018-2020 period. 87 FR 60904 (Oct. 7, 2022). As such, the EPA reclassified the area to Moderate
nonattainment, and that area is now subject to a January 1, 2023, deadline among other things to
submit a SIP submission revision implementing RACM/RACT. Id. at 60900.

Consistent with the information presented by the EPA in these final actions in May and October of this
year, the EPA’s latest ozone transport modeling indicates that this area will continue to have difficulty
attaining or maintaining the 2015 ozone NAAQS in 2023. Further, the EPA’s modeling of the
contributions to that ongoing air quality problem used in this action further indicates that these
elevated ozone levels are due in part to the emissions of ozone-precursor pollutants transported from
upwind states, such as Minnesota and Texas. Therefore, the EPA disagrees with commenters that our
analysis in this action conflicts with other EPA actions.




                                                                                                       375
        Case: 23-60069          Document: 110          Page: 774       Date Filed: 03/27/2023




9 Controls
9.1 Supplemental Submission

Comment


Commenter: Air Pollution Control Program, Missouri Department of Natural Resources

Commenter ID: 01

Docket ID: EPA-R07-OAR-2021-0851

Comment:

Although Missouri disagrees with virtually every aspect of the proposed disapproval and the proposed
FIP, the Air Program is willing to supplement our SIP submission to address the comments we responded
to with regards to continuous operation of NOx control equipment on our affected sources. The Air
Program acknowledges that in the last three years, while EPA has not acted on our good neighbor SIP
submission, that certain units have not run their NOx control technology. Our response to EPA’s
comments about this issue indicated that the control technology was likely to be utilized with the
imposition of the CSAPR Update; however, this has not been the case in 2020 and 2021 where Missouri
has exceeded its assurance level both years. EPA points to these reasons in its FIP proposal as to why
EPA must impose never-before-seen stringent levels of assurance requirements in the proposed FIPs.
However, the Air Program plans to develop a supplement to Missouri’s SIP to ensure the continued
operation of all installed NOx control technology at all power plants in the state.

In light of the intended supplement to Missouri’s good neighbor SIP submission, the Air Program
requests that when EPA updates the modeling for any final disapproval or final FIP, that no emission
reductions between baseline levels and control case levels be included for any Missouri power plant that
has a Selective Catalytic Reduction (SCR) control device currently installed. The control case levels
should be assumed for any SCR controlled units in any updated modeling that EPA conducts to support
these final rules. The Air Program will stay in close communication with EPA Region 7 to communicate
the status of the intended SIP supplement with regard to this issue.



Response
The EPA is not requiring controls on sources in Missouri or any other state in this action.

The EPA received a second good neighbor SIP submission addressing the 2015 ozone NAAQS from
Missouri on November 1, 2022. Although Missouri identified this submission as a “supplement,” the EPA
pointed out in a comment letter to Missouri DNR on a draft version of the submission that we view this
submission as a separate SIP submission, which does not impact our pre-existing obligation (now subject




                                                                                                    376
           Case: 23-60069        Document: 110          Page: 775        Date Filed: 03/27/2023




to court-ordered deadline) to act on Missouri’s original transport submittal.88 We further note that the
letter identified several concerns the Agency had with the State’s approach in its draft submission. The
EPA will evaluate that submission, including how the state addressed the concerns in our letter, at the
time we act on that submission.



9.2 Over-Control

Comment
Commenter: Alabama Power Company, Southern Power Company, and PowerSouth Energy Cooperative

Commenter ID: 04

Docket ID: EPA-R04-OAR-2021-0841

Comment:

Because no cost-effective reductions are, in fact, available from [Plant Gaston Unit 5, Plant Barry Unit 4,
Plant Harris Unit 1A], which are the only units from which such reductions could potentially be
considered, then no units in Alabama can be regarded as causing significant contribution to or
interference of maintenance with downwind receptors. EPA must consider this analysis in its final action
on Alabama’s 2022 SIP. Even more, requiring Alabama to reduce emissions in 2023 would result in over-
control because EPA’s own modeling finds that Alabama will be in compliance with the good neighbor
provision by 2026 without making any reductions.102 Any reductions made now would be costly and
would result in no real benefit to future good neighbor compliance.
102
      87 Fed. Reg. at 64,420.



Response
See Section 8.6 for the EPA’s response regarding Alabama Power Company et al.’s claim that there are
no cost-effective reductions available at certain EGUs in Alabama and whether the information provided
constitutes a satisfactory Step 3 evaluation for the state of Alabama.

The EPA disagrees with the commenter’s assertion that any additional NOX emissions for EGUs in the
state in 2023 results in over control because the EPA’s modeling indicates no downwind contribution in
2026 and any reductions made now would be costly and no provide any benefits for future GNP
obligations. The EPA’s action to disapprove Alabama’s transport SIP submission evaluates the state’s
interstate transport SIP submission to determine whether the current package satisfies the statutory
obligations at CAA 110(a)(2)(D)(i)(I). This action is not determining what, if any, cost effective controls
exist at Step 3 of the 4-step interstate transport framework. Rather, we find Alabama simply did not
conduct an adequate analysis at Step 3.


88
  See “Comments on Missouri State Implementation Plan Revision Addressing Interstate Transport for the 2015
Ozone Standard”, August 18, 2022. Available in the docket for this action.
                                                                                                          377
        Case: 23-60069          Document: 110         Page: 776        Date Filed: 03/27/2023




The claim that any good neighbor emissions-reduction obligations that may be needed and achievable
by 2023 are overcontrol based on projections that the state may not have a linkage by 2026 is in direct
conflict with the holdings of North Carolina, 531 F.3d 896, 912 (D.C. Cir. 2008), Wisconsin, 938 F.3d 303,
313-20 (D.C. Cir. 2019), Maryland, 958 F.3d 1185, 1203-04 (D.C. Cir. 2020), and New York v. EPA, 964
F.3d 1214, 1226 (D.C. Cir. 2020), because 2026 is beyond the next attainment date, which is August 3,
2024. As explained in the preamble in Section II.D.1, 2023 is the relevant analytic year associated with
that attainment date, and so the appropriate year for which the EPA conducted its evaluation of state
submittals in this action.

However, the EPA is not requiring any controls from Alabama or any other state in this action.
Comments on the substance of the proposed FIP action are beyond the scope of this rulemaking.




                                                                                                       378
         Case: 23-60069            Document: 110            Page: 777         Date Filed: 03/27/2023




10 Legal Comments Not Otherwise Addressed Elsewhere
10.1 Venue

Comments


Commenter: Alabama Power Company

Commenter ID: 03

Docket ID: EPA-R04-OAR-2021-0841

Comment:

Lastly, if EPA were to finalize its proposal on ADEM’s now withdrawn 2018 SIP submittal, EPA’s belief
that its action would be “nationally applicable” or, in the alternative, “based on a determination of
nationwide scope or effect” is incorrect and should not be finalized. EPA’s action is a locally or regionally
applicable action only, and review is proper only in the appropriate regional circuit. When determining
whether an action is locally or regionally applicable under Section 7607(b)(1), one must “look only to the
face of the [action], rather than to its practical effects.”21 A primary consideration is whether the
action’s “application beyond the instant case is limited by its own terms.”22 EPA’s proposal is “limited by
its own terms.” It applies only to three states in a single EPA region. And EPA separately reviews and
addresses each state’s SIP submittal and has proposed action based on the unique attributes and facts
of each state.

Moreover, EPA’s proposal is not “based on a determination of nationwide scope or effect” simply
because “EPA interprets and applies section 110(a)(2)(d)(i)(I) . . . based on a common core of nationwide
policy judgments and technical analysis[.]”23 The actual determinations EPA relies on in its proposal are
state-specific determinations related to the particularities of each state’s SIP. Therefore, EPA’s proposal
to find that its action is “based on a determination of nationwide scope or effect” is flawed, and EPA
should not finalize this proposed finding.
21
   Am. Road & Transp. Builders Ass’n v. EPA, 705 F.3d 453, 456 (D.C. Cir. 2013).
22
   Sierra Club v. EPA, 926 F.3d 844, 849 (D.C. Cir. 2019)
23
   87 Fed. Reg. at 9,562.


Commenter: Alabama Power Company, Southern Power Company, and PowerSouth Energy Cooperative

Commenter ID: 04

Docket ID: EPA-R04-OAR-2021-0841

Comment:

Finally, if EPA were to finalize its proposal, EPA’s belief that its action would be “nationally applicable”
or, in the alternative, “based on a determination of nationwide scope or effect” is incorrect and should
not be finalized.104 EPA’s action is a locally or regionally applicable action only and review is proper only
                                                                                                          379
         Case: 23-60069            Document: 110            Page: 778         Date Filed: 03/27/2023




in the appropriate regional circuit. When determining whether an action is locally or regionally
applicable under Section 7607(b)(1), one must “look only to the face of the [action], rather than to its
practical effects.”105 A primary consideration is whether the action’s “application beyond the instant
case is limited by its own terms.”106 EPA’s proposal is “limited by its own terms”—it applies only to
Alabama.

Moreover, EPA’s proposal is not “based on a determination of nationwide scope or effect” simply
because “EPA interprets and applies section 110(a)(2)(d)(i)(I) . . . based on a common core of nationwide
policy judgments and technical analysis[.]”107 The actual determinations EPA relies on in its proposal are
state-specific determinations related to the particularities of Alabama’s SIP. Therefore, EPA’s proposal to
find that its action is “based on a determination of nationwide scope or effect” is flawed, and EPA
should not finalize this proposed finding.
104
    [87 Fed. Reg.] at 64,427.
105
    Am. Road & Transp. Builders Ass’n v. EPA, 705 F.3d 453, 456 (D.C. Cir. 2013).
106
    Sierra Club v. EPA, 926 F.3d 844, 849 (D.C. Cir. 2019).
107
    87 Fed. Reg. at 64,427.


Commenter: Arkansas Environmental Federation

Commenter ID: 09

Docket ID: EPA-R06-OAR-2021-0801

Comment:

III. The Appropriate Venue for Hearing Challenges to the Proposed Disapproval of Arkansas’s SIP Is the
Eighth Circuit.

EPA claims that the appropriate venue for challenges to EPA’s final action on the interstate transport
SIPs for Louisiana, Arkansas, Texas, and Oklahoma is the U.S. Court of Appeals for the District of
Columbia Circuit (“D.C. Circuit”).26 Under Section 307(b)(1) of the CAA, for purposes of determining
venue for challenges to EPA actions, the relevant questions are whether the action is: (1) a nationally
applicable action; (2) a locally or regionally applicable action; or (3) a locally or regionally applicable
action based on a determination that has nationwide scope or effect.27

EPA claims that the proposed rulemaking, if finalized, would be a “nationally applicable” action under
CAA Section 307(b)(1) because it would address four states, located in three different Federal judicial
circuits, and “would apply uniform, nationwide analytical methods, policy judgments, and interpretation
with respect to the same CAA obligations.”28 EPA’s reasoning is insufficient to make the final rulemaking
a “nationally applicable” action and it would be inconsistent with EPA’s recent final rulemaking
approving the ozone interstate transport SIPs for Florida, Georgia, North Carolina, and South Carolina.29
Despite the fact that rulemaking applied to four states located in two different Federal judicial circuits,
and also relied on EPA’s 4-Step interstate transport framework, EPA did not determine that action was
nationally applicable, with judicial review available only in the D.C. Circuit. Instead, EPA determined that
judicial review of that rule must be filed in the United States Court of Appeals for the appropriate
circuit.30
                                                                                                              380
        Case: 23-60069            Document: 110            Page: 779        Date Filed: 03/27/2023




 In the alternative to determining that the final rulemaking would be “nationally applicable,” “the
Administrator intends to exercise the complete discretion afforded to him under the CAA to make and
publish a finding that the final action … is based on a determination of ‘nationwide scope or effect.’”31
However, despite the Agency’s unsupported claim, EPA is not afforded “complete discretion” in
proposing to find that the final rulemaking would be based on a determination of “nationwide scope or
effect” within the meaning of CAA Section 307(b)(1). Courts do not defer to EPA’s determination of
venue.32 Likewise, there is no provision in CAA Section 307(b)(1) that gives EPA the exclusive authority to
determine whether an action is based on a determination of nationwide scope or effect.33 Rather, the
CAA “provides a clear metric by which a court can assess the scope or effect of the relevant
determinations. The reviewing court merely asks whether the scope or effect of the determinations is
nationwide.”34

EPA’s intent to “apply uniform, nationwide analytical methods, policy judgments, and interpretation
with respect to the same CAA obligations” in this and other ozone transport SIP rulemakings would not
transform any of the final rulemakings into one that is “based on a determination of nationwide scope
or effect.” Indeed, it would be arbitrary and capricious for EPA to apply non-uniform analytical methods,
inconsistent policy judgments, and inconsistent interpretations to the various state ozone transport SIP
submittals.35 If EPA relies on the same concept or interpretation in “other final agency action, it will be
subject to judicial review upon challenge” to that separate action.36 In approving the interstate transport
SIPs for Georgia, Florida, North Carolina, and South Carolina, EPA relied on the same 4-Step framework
on which it relied for this Proposal and yet EPA made no claim that its approval of those states’ SIPs was
based on a determination of nationwide scope or effect, in direct contrast to this rulemaking.37

Despite EPA’s claim that its final rulemaking with respect to the ozone transport SIPs for Arkansas,
Louisiana, Texas, and Oklahoma will be nationally applicable or based on a determination of nationwide
scope or effect, EPA’s final action on these states’ SIPs will be locally or regionally applicable, and not
based on a determination of nationwide scope or effect. “The question of applicability turns on the legal
impact of the action as a whole.”38 Here, EPA’s proposed action is limited to a single EPA region and
directly impacts only four states. This is the prototypical example of a regionally applicable action.
Although EPA claims to be applying uniform, nationwide analytical methods, policy judgments, and
interpretations, EPA’s proposed disapprovals are inherently state-specific and depend on the “facts and
circumstances of each particular state’s submittal.”39 Accordingly, petitions for review of EPA’s final
action with respect to the interstate ozone transport SIPs may be brought only in the court of appeals
for the appropriate circuit. For EPA’s final action with respect to Arkansas’s SIP, that will be the U.S.
Court of Appeals for the Eighth Circuit.
26
   87 Fed. Reg. at 9835.
27
   See 42 U.S.C. § 7807(b)(1); see also Texas v. EPA, 829 F.3d 405, 418 (5th Cir. 2016)
28
   87 Fed. Reg. at 9835.
29
   Air Plan Approval; FL, GA, NC, SC; Interstate Transport (Prongs 1 and 2) for the 2015 8-Hour Ozone Standard, 86
Fed. Reg. 68,413 (Dec. 2, 2022)
30
   86 Fed. Reg. at 68,430.
31
   87 Fed. Reg. at 9835
32
   Texas v. EPA, 829 F.3d 405, 417–18 (5th Cir. 2016).
33
   Id at 420.
34
   Id.

                                                                                                               381
        Case: 23-60069            Document: 110           Page: 780        Date Filed: 03/27/2023



35
   As noted above, however, policy judgments should not be a factor in whether or not an interstate transport SIP
is approvable.
36
   Sierra Club v. EPA, 926 F.3d 844, 849 (D.C. Cir. 2019).
37
   See 86 Fed. Reg. 68,413.
38
   Texas, 829 F.3d at 419; accord Texas v. EPA, No. 10-60961, 2011 WL 710598, at *2 (5th Cir. Feb. 24, 2011)
(unpublished) (“Determining whether an action by the EPA is regional or local on the one hand or national on the
other should depend on the location of the persons or enterprises that the actio n regulates rather than on where
the effects of the action are felt.” (internal quotation omitted)).
39
   87 Fed. Reg. at 9801.


Commenter: Association of Electric Companies of Texas, BCCA Appeal Group, Texas Chemical Council
and Texas Oil & Gas Association

Commenter ID: 11

Docket ID: EPA-R06-OAR-2021-0801

Comment:

EPA’s claim that petitions for review of the Proposed Disapproval, if finalized, must be filed in the U.S.
Court of Appeals for the D.C. Circuit is erroneous. For purposes of determining venue, the relevant
questions to consider are whether the Proposed Disapproval is: 1) a nationally applicable action; 2) a
locally or regionally applicable action; or 3) a locally or regionally applicable action based on a
determination that has nationwide scope or effect.52

EPA’s Proposed Disapproval is locally or regionally applicable under CAA Section 307(b)(1). “The
question of applicability turns on the legal impact of the action as a whole.”53 Here, EPA’s proposed
disapproval of Texas’s SIP applies only to Texas. EPA has cited no authority to support its apparent
position that lumping multiple separate actions into one notice converts those individual actions into a
single action for purposes of the statute’s venue provision. Even taking EPA’s entire Federal Register
notice into account, EPA’s proposed action is limited to a single EPA region and directly impacts only
four states. Even together, this is the prototypical example of a regionally applicable action. Although
EPA claims to be applying uniform, nationwide analytical methods, policy judgments, and
interpretations, EPA’s proposed disapprovals are inherently state-specific and depend on the “facts and
circumstances of each particular state’s submittal.”54 Accordingly, “petitions for review of SIP
disapprovals may be brought only in the court of appeals ‘for the appropriate circuit,’” that is, the
regional circuit.55

EPA’s reasoning that the proposed disapproval is nationally applicable is arbitrary and capricious. EPA
previously determined that judicial review of its approval of four interstate transport SIP submissions
should be filed in the U.S. Court of Appeals for the appropriate circuit, not the U.S. Court of Appeals for
the D.C. Circuit which is the appropriate venue for nationally applicable agency actions. In December
2021, EPA approved the interstate transport SIP submissions for Florida, Georgia, North Carolina, and
South Carolina.56 This final rule applies to four states located in two different Federal judicial circuits.
EPA, however, did not determine that this final rule was nationally applicable or based on a
determination of nationwide scope or effect. Rather, EPA determined that judicial review of this rule
must be filed in the United States Court of Appeals for the appropriate circuit.57 Similarly, in EPA’s
                                                                                                              382
        Case: 23-60069             Document: 110           Page: 781         Date Filed: 03/27/2023




proposed approval of Iowa’s interstate transport SIP, which was published on the same day as the
Proposed Disapproval, EPA was silent as to whether the rule would have national applicability or be
based on a determination of nationwide scope or effect.58

EPA’s proposed disapproval is not nationally applicable nor is it based on a determination that has
nationwide scope or effect. Therefore, the proper venue for judicial review of the proposed disapproval
of Texas’s SIP is the U.S. Court of Appeals for the Fifth Circuit. For the purposes of the CAA’s venue
provision, “‘the relevant determinations are those that lie at the core of the agency action,’ not
determinations that are ‘peripheral or extraneous.’”59 “Section 7607(b)(1) . . . looks to the
‘determination’ that the challenged action is ‘based on.’ These determinations are the justifications the
agency gives for the action and they can be found in the agency’s explanation of its action. They are the
reason the agency takes the action that it does.”60 “Determinations are not of nationwide scope or
effect if they are ‘intensely factual determinations such as those related to the particularities of the
emissions sources in Texas.’”61

Even if concepts or interpretations from the proposed action are applied in other rulemakings, that is
irrelevant to the venue inquiry, because it is “typical” for the “interpretative reasoning offered by [EPA] .
. . [to have] precedential effect in future EPA proceedings . . . , including regionally and locally applicable
ones.”62 EPA’s consistent interpretation of the CAA does not transform the action into one that is “based
on a determination of nationwide scope or effect.” Rather, if EPA relies on the same concept or
interpretation in “other final agency action, it will be subject to judicial review upon challenge” to that
separate action.63 In approving interstate transport SIPs for the 2015 ozone NAAQS for Georgia, Florida,
North Carolina and South Carolina, EPA also relied on the same four-step framework on which it relied
for the Proposed Disapproval, and yet, EPA made no claim that its approval of those states’ SIPs was
based on a determination of nationwide scope or effect, in direct contrast to the Proposed
Disapproval.64

Furthermore, despite the Agency’s unsupported claim in the Proposed Disapproval, EPA is not afforded
“complete discretion” in proposing to find that the Proposed Disapproval is based on a determination of
“nationwide scope or effect” within the meaning of CAA Section 307(b)(1). Courts do not defer to EPA’s
determination of venue.66 Likewise, there is no provision in CAA Section 307(b)(1) that gives EPA the
exclusive authority to determine whether an action is based on a determination of nationwide scope or
effect.67
52
   42 U.S.C. § 7807(b)(1); Texas v. EPA, 829 F.3d 405, 418 (5th Cir. 2016).
53
   Texas, 829 F.3d at 419; accord Texas v. EPA, No. 10-60961, 2011 WL 710598, at *2 (5th Cir. Feb. 24, 2011)
(unpublished) (“Determining whether an action by the EPA is regional or local on the one hand or national on the
other should depend on the location of the persons or enterprises that the action regulates rather than on where
the effects of the action are felt.” (internal quotation omitted)).
54
   Proposed Disapproval, 87 Fed. Reg. at 9,801.
55
   [EME Homer City Generation v. EPA], 696 F.3d [7 (D.C. Cir. 2012)] at 44 n.6 (Judge Rogers, dissenting) (emphasis
in original)
56
   Air Plan Approval; FL, GA, NC, SC; Interstate Transport (Prongs 1 and 2) for the 2015 8-Hour Ozone Standard, 86
Fed. Reg. 68,413 (Dec. 2, 2022) (“FL, GA, NC, SC Approval”).
57
   Id. at 68,420.
58
   Air Plan Approval; Iowa; Interstate Transport of Air Pollution for the 2015 8-Hour Ozone National Ambient Air
Quality Standards, 87 Fed. Reg. 9,477 (Feb. 22, 2022).

                                                                                                                383
         Case: 23-60069             Document: 110             Page: 782         Date Filed: 03/27/2023



59
   Texas v. EPA, 706 Fed. Appx. 159, 164 (5th Cir. 2017) (quoting Texas, 829 F.3d at 419).
60
   Texas, 829 F.3d at 419.
61
   Texas, 706 Fed. Appx. at 164 (quoting Texas, 829 F.3d at 421).
62
   Sierra Club v. EPA, 926 F.3d 844, 850 (D.C. Cir. 2019); see also Texas, 829 F.3d at 423 (“Nor are we persuaded . . .
that whatever precedential effect the Final Rule has shows that it is based on determinations with nationwide
scope or effect.”).
63 Sierra Club, 926 F.3d at 849.
64 Compare FL, GA, NC, SC Approval, 86 Fed. Reg. at 68,420 (“[P]etitions for judicial review of this action must be
filed in the United States Court of Appeals for the appropriate circuit by January 31, 2022.”) with Proposed
Disapproval, 87 Fed. Reg. at 9,835 (“EPA anticipates that this proposed rulemaking, if finalized, would be
“nationally applicable” . . . If the EPA takes final action on this proposed rulemaking[, in the alternative,] the
Administrator intends to exercise the complete discretion afforded to him under the CAA to make and publish a
finding that the final action (to the extent a court finds the action to be locally or regionaly applicable is based on a
determination of “nationwide scope or effect” within the meaning of CAA section 307(b)(1).”).
65 Proposed Disapproval, 87 Fed. Reg. at 9,835.
66 Texas, 829 F.3d at 417–18.
67 Id. at 420 n.19.


Commenter: Louisiana Electric Utility Environmental Group

Commenter ID: 28

Docket ID: EPA-R06-OAR-2021-0801

Comment:

B. The Appropriate Venue for Hearing Challenges to the Proposed Disapproval of Louisiana’s SIP Is the
Fifth Circuit.

EPA claims that the appropriate venue for challenges to EPA’s final action on the interstate transport
SIPs for Louisiana, Arkansas, Texas, and Oklahoma is the U.S. Court of Appeals for the District of
Columbia Circuit (“D.C. Circuit”).15 Under Section 307(b)(1) of the CAA, for purposes of determining
venue for challenges to EPA actions, the relevant questions are whether the action is: (1) a nationally
applicable action; (2) a locally or regionally applicable action; or (3) a locally or regionally applicable
action based on a determination that has nationwide scope or effect.16

EPA claims that the proposed rulemaking, if finalized, would be a “nationally applicable” action under
CAA Section 307(b)(1) because it would address four states, located in three different Federal judicial
circuits, and “would apply uniform, nationwide analytical methods, policy judgments, and interpretation
with respect to the same CAA obligations.”17 EPA’s reasoning is insufficient to make the final rulemaking
a “nationally applicable” action and it would be inconsistent with EPA’s recent final rulemaking
approving the ozone interstate transport SIPs for Florida, Georgia, North Carolina, and South Carolina.18
Despite the fact that rulemaking applied to four states located in two different Federal judicial circuits,
and also relied on EPA’s 4-Step interstate transport framework, EPA did not determine that action was
nationally applicable, with judicial review available only in the D.C. Circuit. Instead, EPA determined that
judicial review of that rule must be filed in the United States Court of Appeals for the appropriate
circuit.19


                                                                                                                     384
        Case: 23-60069            Document: 110            Page: 783        Date Filed: 03/27/2023




In the alternative to determining that the final rulemaking would be “nationally applicable,” “the
Administrator intends to exercise the complete discretion afforded to him under the CAA to make and
publish a finding that the final action … is based on a determination of ‘nationwide scope or effect.’”20
However, despite the Agency’s unsupported claim, EPA is not afforded “complete discretion” in
proposing to find that the final rulemaking would be based on a determination of “nationwide scope or
effect” within the meaning of CAA Section 307(b)(1). Courts do not defer to EPA’s determination of
venue.21 Likewise, there is no provision in CAA Section 307(b)(1) that gives EPA the exclusive authority to
determine whether an action is based on a determination of nationwide scope or effect.22 Rather, the
CAA “provides a clear metric by which a court can assess the scope or effect of the relevant
determinations. The reviewing court merely asks whether the scope or effect of the determinations is
nationwide.”23

EPA’s intent to “apply uniform, nationwide analytical methods, policy judgments, and interpretation
with respect to the same CAA obligations” in this and other ozone transport SIP rulemakings would not
transform any of the final rulemakings into one that is “based on a determination of nationwide scope
or effect.” Indeed, it would be arbitrary and capricious for EPA to apply non-uniform analytical methods,
inconsistent policy judgments, and inconsistent interpretations to the various state ozone transport SIP
submittals. If EPA relies on the same concept or interpretation in “other final agency action, it will be
subject to judicial review upon challenge” to that separate action.24 In approving the interstate transport
SIPs for Georgia, Florida, North Carolina, and South Carolina, EPA relied on the same 4-Step framework
on which it relied for this Proposal and yet EPA made no claim that its approval of those states’ SIPs was
based on a determination of nationwide scope or effect, in direct contrast to this rulemaking.25

Despite EPA’s claim that its final rulemaking with respect to the ozone transport SIPs for Arkansas,
Louisiana, Texas, and Oklahoma will be nationally applicable or based on a determination of nationwide
scope or effect, EPA’s final action on these states’ SIPs will be locally or regionally applicable, and not
based on a determination of nationwide scope or effect. “The question of applicability turns on the legal
impact of the action as a whole.”26 Here, EPA’s proposed action is limited to a single EPA region and
directly impacts only four states. This is the prototypical example of a regionally applicable action.
Although EPA claims to be applying uniform, nationwide analytical methods, policy judgments, and
interpretations, EPA’s proposed disapprovals are inherently state-specific and depend on the “facts and
circumstances of each particular state’s submittal.”27 Accordingly, petitions for review of EPA’s final
action with respect to the interstate ozone transport SIPs may be brought only in the court of appeals
for the appropriate circuit. For EPA’s final action with respect to Louisiana’s SIP, that will be the U.S.
Court of Appeals for the Fifth Circuit.
15
   87 Fed. Reg. at 9835.
16
   See 42 U.S.C. § 7807(b)(1); see also Texas v. EPA, 829 F.3d 405, 418 (5th Cir. 2016).
17
   87 Fed. Reg. at 9835.
18
   Air Plan Approval; FL, GA, NC, SC; Interstate Transport (Prongs 1 and 2) for the 2015 8-Hour Ozone Standard, 86
Fed. Reg. 68,413 (Dec. 2, 2022).
19
   86 Fed. Reg. at 68,430;
20
   87 Fed. Reg. at 9835.
21
   Texas v. EPA, 829 F.3d 405, 417–18 (5th Cir. 2016).
22
   Id at 420.
23
   Id.

                                                                                                               385
        Case: 23-60069            Document: 110           Page: 784        Date Filed: 03/27/2023



24
   Sierra Club v. EPA, 926 F.3d 844, 849 (D.C. Cir. 2019).
25
   See 86 Fed. Reg. 68,413.
26
   Texas, 829 F.3d at 419; accord Texas v. EPA, No. 10-60961, 2011 WL 710598, at *2 (5th Cir. Feb. 24, 2011)
(unpublished) (“Determining whether an action by the EPA is regional or local on the one hand or national on the
other should depend on the location of the persons or enterprises that the action regulates rather than on where
the effects of the action are felt.” (internal quotation omitted)).
27
   87 Fed. Reg. at 9801.


Commenter: The Luminant Companies

Commenter ID: 44

Docket ID: EPA-R06-OAR-2021-0801

Comment:

IV. EPA’s Proposal Is Locally or Regionally Applicable Only and Should be Subject to Review in the
“Appropriate Circuit”

The Proposed Disapproval is a locally or regionally applicable action only, and review is only proper in
the appropriate regional circuit.56 “The question of applicability turns on the legal impact of the action as
a whole.”57 SIP disapprovals are the prototypical locally or regionally applicable action, and challenges
“may be brought only in the court of appeals ‘for the appropriate circuit[.]’”.58 The Proposed
Disapproval, on its face, addresses Texas’s SIP independently. Simply because EPA has chosen to
combine its review of multiple, independent SIP submissions in a single proposal does not transform
EPA’s action into a “nationally applicable” action. And even looking to EPA’s combined action, the
Proposed Disapproval only relates to four states in a single EPA region, and EPA addresses each state’s
SIP independently. Specifically, the action only has legal effect in those states59 and has no impact
beyond the single EPA region. In reality, the Proposed Disapproval separately reviews and addresses
each of the four states’ SIP submittals and has proposed action based on the unique circumstances of
each state.60 Thus, the action is “locally or regionally applicable” under the Clean Air Act’s judicial review
provision.61

Moreover, the Proposed Disapproval is not “based on a determination of nationwide scope or effect.”
For the purposes of the Clean Air Act’s venue provision, “‘the relevant determinations are those that lie
at the core of the agency action,’ not determinations that are ‘peripheral or extraneous.’”62 “Section
7607(b)(1) . . . looks to the ‘determination’ that the challenged action is ‘based on.’ These
determinations are the justifications the agency gives for the action and they can be found in the
agency’s explanation of its action. They are the reason the agency takes the action that it does.”63
“Determinations are not of nationwide scope or effect if they are ‘intensely factual determinations’ such
as those ‘related to the particularities of the emissions sources in Texas.”64 And, even if concepts or
interpretations from the proposed action are applied in other rulemakings, that is irrelevant to the
venue inquiry, because it is “typical” for “the interpretative reasoning offered by [EPA] . . . [to have]
precedential effect in [other] EPA proceedings . . . , including regionally and locally applicable ones.”65
EPA’s consistent interpretation of the Clean Air Act does not transform an action into one that is “based
on a determination of nationwide scope or effect.” Rather, if EPA relies on a concept or interpretation

                                                                                                             386
         Case: 23-60069             Document: 110            Page: 785         Date Filed: 03/27/2023




set forth in “other final agency action, it will be subject to judicial review upon challenge” to that
separate action. 66

Here, the Proposed Disapproval relies on the specific details and attributes of each state’s individual and
unique SIP submittal. As EPA itself explained in the Proposed Disapproval, it must analyze the approach
taken by a given state to determine whether it is “technically justified and appropriate in light of the
facts and circumstances of each particular state’s submittal.”67 And EPA has done just that—EPA’s
proposal with respect to Texas’s SIP was “[b]ased on the EPA’s evaluation of [Texas’s] SIP
submission[.]”68 EPA looked to the specific modeling and weight of evidence analysis provided by TCEQ
to assess the approvability of Texas’s SIP.69 EPA’s claim that it is interpreting the interstate transport
obligation “based on a common core of nationwide policy judgments and technical analysis”70 is
irrelevant for purposes of determining venue, as EPA’s analysis as applied to the particular facts of each
state is subject to review in the appropriate regional circuit. It should be expected that EPA will always
act based on a common core of nationwide policy judgments at some level. It cannot be the case that
venue is appropriate in the local circuits only when EPA deviates from its standard practices. The actual
determinations EPA relies on in its Proposed Disapproval are “intensely factual determinations” such as
those related to the particularities of each state’s SIP. Therefore, the “nationwide scope or effect”
“exception” to the “default presumption” of regional court review is not applicable here,71 and EPA
should not finalize its proposed finding.
56
   42 U.S.C. § 7607(b)(1).
57
   Texas, 829 F.3d. at 419.
58
   [EME Homer City Generation, L.P. v. EPA], 696 F.3d [7 (D.C. Cir. 2012)] at 44 n.6.
59
   Texas v. EPA, 706 Fed. Appx. 159, 164 (5th Cir. 2017).
60
   See, e.g., 87 Fed. Reg. at 9,824-34 (performing Texas-specific analysis).
61
   Texas, 829 F.3d at 419.
62
   Texas, 706 Fed. Appx. at 165 (quoting Texas, 829 F.3d at 419).
63
   Texas, 829 F.3d at 419.
64
   Texas, 706 Fed. Appx. at 165 (quoting Texas, 829 F.3d at 421).
65
   Sierra Club v. EPA, 926 F.3d 844, 850 (D.C. Cir. 2019); see also Texas, 829 F.3d at 423 (“Nor are we persuaded . . .
that whatever precedential effect the Final Rule has shows that it is based on determinations with nationwide
scope or effect.”).
66
   Sierra Club, 926 F.3d at 849.
67
   87 Fed. Reg. at 9,801.
68
   Id. at 9,826.
69
   Id. at 9,824.
70
   Id. at 9,835.
71
   Texas, 829 F.3d at 419-21.


Commenter: Tennessee Department of Environment and Conservation

Commenter ID: 41

Docket ID: EPA-R04-OAR-2021-0841

Comment:



                                                                                                                   387
        Case: 23-60069            Document: 110           Page: 786        Date Filed: 03/27/2023




Comment #8: The iSIP Disapproval is not a Nationally Applicable Regulation and does not have
nationwide scope or effect, therefore the DC Circuit is not the exclusive venue for challenge

EPA argues that the ISIP Disapproval is “nationally applicable within the meaning of CAA section
307(b)(1) because it would take final action on SIP submittals for the 2015 8-hour ozone NAAQS for the
states of Alabama, Mississippi, and Tennessee, which are located in three different Federal judicial
circuits.”56 However, CAA section 307(b)(1) makes it clear that a “petition for review of the
Administrator’s action in approving or promulgating any implementation plan under section 110 . . .
which is locally or regionally applicable may be filed only in the United States Court of Appeals for the
appropriate circuit.” And EPA has omitted to mention that all three of these states share boundaries
with one another and are all located within the same EPA Region, but do happen to fall in different
judicial circuits due to historical happenstance58.

Therefore, EPA’s argument is misplaced; instead, the Court of Appeals for the D.C. Circuit, where venue
would be found for “nationally applicable” matters under section 307(b)(1), holds that “EPA's action in
approving or promulgating any implementation plan [is] . . . the prototypical locally or regionally
applicable action that may be challenged only in the appropriate regional court of appeals.”59 In the case
of three contiguous states, venue would be improper in the D.C. Circuit because the iSIP Disapproval is a
“prototypical . . . regionally applicable action”.

Notwithstanding this provision, a petition for review may be filed only in the United States Court of
Appeals for the District of Columbia if such action is based on a determination of nationwide scope or
effect and if in taking such action the Administrator finds and publishes that such action is based on such
a determination. The proposed disapproval states that this action would be “nationally applicable”
within the meaning of CAA §307(b)(1) because it would take final action on SIP submittals that are
located in three different Federal judicial circuits (the Eleventh Circuit, the Fifth Circuit, and the Sixth
Circuit, respectively) and would apply uniform, nationwide analytical methods, policy judgments, and
interpretation with respect to the same CAA obligations. EPA’s proposed finding is insufficient and
should be withdrawn.
56
   87 FR 9545, 9561.
57
   CAA §307(b)(1) (emphasis added).
58
   Regarding the geographic split of Alabama, Mississippi, and Tennessee between different judicial circuits,
Tennessee notes that EPA could have published the proposed disapprovals for all three states in separate notices
but declined to do so.
59
   Am. Rd. & Transp. Builders Ass'n v. EPA, 705 F.3d 453, 455 (D.C. Cir. 2013).


Commenter: United States Steel Corporation

Commenter ID: 45

Docket ID: EPA-R05-OAR-2022-0006

Comment:

Judicial Review of Any Disapproved SIP Belongs in the Appropriate Circuit Court for the State


                                                                                                              388
        Case: 23-60069           Document: 110           Page: 787        Date Filed: 03/27/2023




The disapproval of the individual SIPs does not have nationwide effect regardless how U.S. EPA attempts
to characterize its proposed action. If finalized as proposed, the rule would result in the disapproval of
SIPs for Illinois, Indiana, Michigan, Minnesota, Ohio, and Wisconsin. Each SIP has individual, unique
sources, and unique air quality aspects. The SIP submittals are unique to each State. Each state has
different types of sources. The issues are unique to each State. The impacts of disapproving these State
SIPs are local and regional to the affected states and industries in those states. While U.S. EPA may
prefer to have a “one size fits all” approach in developing a FIP to replace these SIPs; this does not
change the fact that Congress gave States primary responsibility to adopt State Implementation Plans.
The individual State submittals are unique to the individual State and sources; and disapproval of any SIP
is presumably unique to the individual State.



Response
CAA section 307(b)(1) establishes two routes by which venue may be proper in the D.C. Circuit. First, the
D.C. Circuit is “the exclusive venue when EPA’s challenged action is ‘nationally applicable’ rather than
‘locally or regionally applicable.’” Sierra Club v. EPA, 47 F.4th 738, 742-43 (D.C. Cir. 2022). “Second, and
alternatively, venue also lies exclusively in [the D.C. Circuit] if an otherwise ‘locally or regionally
applicable’ action ‘is based on a determination of nationwide scope or effect’ and EPA ‘finds and
publishes that such action is based on such a determination.’” Id. at 743. For the reasons provided
below, this final action is nationally applicable. Alternatively, if a court finds this action to be locally or
regionally applicable, the Administrator is exercising his complete discretion to find and publish that this
action is based on a determination of nationwide scope or effect.

Nationally Applicable
To determine whether an action is “nationally applicable” or “locally or regionally applicable,” a court
“‘look[s] only to the face of the agency action, not its practical effects.’” Chevron U.S.A. Inc. v. EPA, 45
F.4th 380, 386 (D.C. Cir. 2022) (quoting Sierra Club, 926 F.3d 844, 849). Venue turns on the nature of the
agency “action,” not the nature of a petitioner’s challenge. ATK Launch Systems, Inc. v. EPA, 651 F.3d
1194, 1197 (10th Cir. 2011) (holding that “this court must analyze whether the regulation itself is
nationally applicable, not whether the effects complained of or the petitioner’s challenge to that
regulation is nationally applicable”); Texas v. EPA, 829 F.3d 405, 419 (5th Cir. 2016) (“The question of
applicability turns on the legal impact of the action as a whole”); S. Ill. Power Coop. v. EPA, 863 F.3d 666,
670 (7th Cir. 2017). On its face, this final rulemaking is “nationally applicable” because it directly applies
to 21 states located in ten federal judicial circuits and in eight EPA regions across the entire continental
United States.

Specifically, in this action the EPA is disapproving the good neighbor SIPs submitted by Alabama,
Arkansas, California, Illinois, Indiana, Kentucky, Louisiana, Maryland, Michigan, Minnesota, Mississippi,
Missouri, Nevada, New Jersey, New York, Ohio, Oklahoma, Texas, Utah, West Virginia, and Wisconsin
based on a uniform legal interpretation and common, nationwide analytical methods with respect to the
requirements of CAA section 110(a)(2)(D)(i)(I) concerning interstate transport of pollution (i.e., the EPA’s
4-step interstate ozone transport framework for the 2015 ozone NAAQS). This disapproval is based on
the EPA’s conclusion that the good neighbor SIPs submitted by all of these states fail to contain
adequate provisions to prohibit, consistent with the provisions of title I of the CAA, any source or other
                                                                                                         389
        Case: 23-60069          Document: 110          Page: 788        Date Filed: 03/27/2023




type of emissions activity within each state from emitting any air pollutant in amounts that will
contribute significantly to nonattainment in, or interfere with maintenance by, any other state with
respect to the 2015 ozone NAAQS, as required by CAA section 110(a)(2)(D)(i). The immediate legal effect
of this disapproval is that the EPA is now obligated under CAA section 110(c)(1) to promulgate one or
more Federal implementation plans (FIPs) that satisfy the requirements of CAA section 110(a)(2)(D)(i)
for the 2015 ozone NAAQS for all of these states.

The EPA is relying on the results from nationwide photochemical grid modeling using a 2016 base year
and 2023 projection year as the primary basis for its assessment of air quality conditions and pollution
contribution levels at Step 1 and Step 2 of the EPA’s 4-step interstate transport framework and applying
a nationally uniform approach to the identification of nonattainment and maintenance receptors across
the entire geographic area covered by this final action. The EPA has also evaluated each state’s
arguments for the use of alternative approaches or alternative sets of data with an eye to ensuring
national consistency and avoiding inconsistent or inequitable results among upwind states (i.e., those
states for which good neighbor obligations are being evaluated in this action) and between upwind and
downwind states (i.e., those states that contain receptors signifying ozone nonattainment or
maintenance problems). Given that on its face this action addresses implementation of the good
neighbor requirements of CAA section 110(a)(2)(D)(i)(I) in a large number of states located across the
country and given the interdependent nature of interstate pollution transport and the common core of
knowledge and analysis involved in evaluating the SIP submissions, this is a “nationally applicable”
action within the meaning of CAA section 307(b)(1). This action derives from the EPA’s “national
interpretation” of CAA section 110(a)(2)(D)(i) and “any challenge thereto belongs in the D.C. Circuit.”
ATK Launch Systems, Inc. v. EPA, 651 F.3d 1194, 1200 (10th Cir. 2011).

The EPA disagrees with commenters’ suggestion that all the EPA actions on implementation plans must
be “locally or regionally applicable” actions subject to review in the regional circuit courts. Commenters
correctly note that in Am. Rd. & Transp. Builders Ass’n v. EPA, 705 F.3d 453 (D.C. Cir. 2013) (hereafter
ARTBA), the D.C. Circuit stated that “EPA's ‘action in approving or promulgating any implementation
plan’ is the prototypical ‘locally or regionally applicable action’ that may be challenged only in the
appropriate regional court of appeals.” 705 F.3d at 455. But that case involved the EPA’s approval of a
SIP submission from a single state. The court in ARTBA did not state that every EPA action on an
implementation plan under CAA section 110 must be a “locally or regionally applicable action,” nor did
the court’s venue decision address any SIP action beyond the one before the court – i.e., the EPA’s
approval of a particular SIP submission from California. To the extent commenters intended to cite
ARTBA for the proposition that the regional circuit courts are the exclusive venue for any challenge to
any EPA “action in approving or promulgating any implementation plan under [CAA section 110],” that
claim is incorrect and unsupported by the statutory text. We note that although the Administrator’s
promulgation of Federal implementation plans under section 110(c) for multiple states under the good
neighbor provision would constitute actions “promulgating [an] implementation plan under [CAA
section 110],” judicial challenges to these actions have historically been heard in the D.C. Circuit Court of
Appeals. Indeed, regional courts of appeals have transferred petitions for review of those FIPs or related
actions on SIPs to the D.C. Circuit on at least two occasions over petitioners’ opposition. West Virginia
Chamber of Commerce v. Browner, 1998 WL 827315, at *6 (4th Cir. 1998); Cedar Falls Utilities v. U.S.
EPA, No. 16-4504 (8th Cir. filed Feb. 22, 2017).

                                                                                                         390
        Case: 23-60069             Document: 110           Page: 789         Date Filed: 03/27/2023




The EPA also disagrees with commenters’ claim that the geographic applicability of the EPA’s proposed
rules dictates venue, as only final actions are subject to judicial review under CAA section 307(b)(1). We
note, however, that the EPA signaled its intent in each of the proposed rules to take a single, nationally
applicable final action. See, e.g., 87 FR 9498, 9516 n.73 (February 22, 2022). Additionally, all of the
proposed rules leading to this final action were supported by a national docket maintained by the EPA
Headquarters and containing the key modeling files, data, and support documents that were used in the
EPA’s nationwide photochemical grid modeling analysis. See, e.g., 87 FR 9484, 9485 (February 22, 2022).

One commenter cited to a December 2021 EPA action approving good neighbor SIPs for Florida,
Georgia, North Carolina, and South Carolina in which the EPA stated that “[u]nder section 307(b)(1) of
the CAA, petitions for judicial review of this action must be filed in the United States Court of Appeals
for the appropriate circuit by” a specified date (see 86 FR 68413, 68420 (Dec. 2, 2021)), claiming that the
EPA treated this prior multi-state SIP approval action as locally or regionally applicable and that it is
therefore arbitrary and capricious to treat the final rule promulgated today as nationally applicable. We
note that, in the December 2021 rulemaking, the EPA stated only that venue would lie in the
“appropriate circuit” and did not indicate whether the D.C. Circuit or a regional circuit court would be
the appropriate circuit. In any case, commenters fail to identify anything in the December 2021
rulemaking that undermines the EPA’s conclusion that the final action here is nationally applicable.

Nationwide Scope or Effect

Under CAA section 307(b)(1), an EPA action which is locally or regionally applicable may be filed only in
the United States Court of Appeals “for the appropriate circuit” with one exception: if the locally or
regionally applicable action (i) “is based on a determination of nationwide scope or effect,” and (ii) the
Administrator “finds and publishes that such action is based on such a determination,” venue lies
exclusively in the D.C. Circuit. The venue provision of the Act thus expressly grants the EPA complete
discretion to determine whether to invoke an exception to the general rule that challenges to locally or
regionally applicable actions be heard in the appropriate regional circuits. As the D.C. Circuit recently
held in Sierra Club v. EPA, 47 F.4th 738 (D.C. Cir. 2022), the “EPA’s decision whether to make and publish
a finding of nationwide scope or effect is committed to the agency’s discretion and thus is
unreviewable.”89 Although “[a] court may review whether an action by EPA is nationally applicable, as
well as whether locally or regionally applicable action is based on a determination of nationwide scope
or effect when EPA so finds and publishes…. A court may not ‘second-guess’ the agency’s discretionary
decision to make and publish (or not) a finding of nationwide scope or effect.”90 For these reasons, the
EPA disagrees with commenters’ claim that the EPA lacks discretion to make and publish a finding that
this action is based on a determination of nationwide scope or effect.

The Administrator is exercising the complete discretion afforded to him by the CAA to make and publish
a finding that, if a court finds this action to be locally or regionally applicable, this action is based on a
determination of “nationwide scope or effect” within the meaning of CAA section 307(b)(1). Thus, even

89
   47 F.4th at 745 (D.C. Cir. 2022); see also Texas v. EPA, 983 F.3d 826, 835 (5th Cir. 2020) (“when a locally
applicable action is based on a determination of nationwide scope or effect, the EPA has discretion to select the
venue for judicial review”).
90
   47 F.4th at 746 (“The Act offers ‘no basis on which a reviewing court could properly assess’ the agency’s
discretionary decision” to make a nationwide scope or effect finding) (emphases added).
                                                                                                                391
         Case: 23-60069            Document: 110            Page: 790          Date Filed: 03/27/2023




if this action is locally or regionally applicable, challenges to it may only be brought in the D.C. Circuit. All
of the factors discussed above that support the EPA’s conclusion that this action is nationally applicable,
as explained further here, also support the Administrator’s finding that this action is based on a
determination of nationwide scope or effect. In this final action, the EPA is interpreting and applying
CAA section 110(a)(2)(D)(i)(I) for the 2015 ozone NAAQS based on a common core of nationwide policy
judgments and technical analysis concerning the interstate transport of pollutants throughout the
continental U.S. In particular, the EPA is applying here the same, nationally consistent 4-step interstate
transport framework for assessing good neighbor obligations for the 2015 ozone NAAQS that it has
applied in other nationally applicable rulemakings, such as CSAPR, the CSAPR Update, and the Revised
CSAPR Update. The EPA is relying on the results from nationwide photochemical grid modeling using a
2016 base year and 2023 projection year as the primary basis for its assessment of air quality conditions
and pollution contribution levels at Step 1 and Step 2 of the EPA’s 4-step interstate transport framework
and applying a nationally uniform approach to the identification of nonattainment and maintenance
receptors across the entire geographic area covered by this final action.91 While the commenter is
correct that the EPA has evaluated the particulars of each state’s submission, our findings with respect
to these submissions are nationally consistent and based on determinations of nationwide scope or
effect. The EPA has evaluated each state’s arguments for the use of alternative approaches or
alternative sets of data with an eye to ensuring national consistency and avoiding inconsistent or
inequitable results among upwind states (i.e., those states for which good neighbor obligations are
being evaluated in this action) and between upwind and downwind states (i.e., those states that contain
receptors signifying ozone nonattainment or maintenance problems).

Additionally, the EPA in this action has set forth its views on the importance of a nationally uniform
approach to contribution-threshold analysis at Step 2 and has evaluated states’ arguments in support of
a non-uniform approach. In this final action, we respond to these arguments in a nationally coordinated
fashion, informed in part by the importance of ensuring consistency and fair and equitable treatment of
both upwind contributing states and downwind states impacted by upwind pollution. Similarly, the EPA
has also determined that other arguments from states regarding the other three steps of the 4-step
interstate transport framework are insufficient to support approval of the SIP submissions. In many
cases these arguments are highly similar to one another. The EPA’s determinations with respect to these
issues rest on the same or highly similar grounds, across all of the states covered by this action. Section
V of the preamble presents consolidated responses to comments on these cross-cutting issues. All of
these determinations have nationwide scope or effect.

The EPA therefore disagrees with commenters’ claim that this action is “inherently state-specific” and
dependent on the “facts and circumstances” of each particular SIP submission and the particularities of
each state’s air quality and emissions sources. In any case, even if this action is locally or regionally
applicable, venue for any challenge to it is proper only in the D.C. Circuit because the action is based on




91
   In the report on the 1977 Amendments that revised section 307(b)(1) of the CAA, Congress noted that the
Administrator's determination that the “nationwide scope or effect” exception applies would be appropriate for
any action that has a scope or effect beyond a single judicial circuit. See H.R. Rep. No. 95-294 at 323, 324, reprinted
in 1977 U.S.C.C.A.N. 1402-03.
                                                                                                                  392
         Case: 23-60069             Document: 110            Page: 791         Date Filed: 03/27/2023




one or more determinations of nationwide scope or effect and the Administrator is exercising his
complete discretion to find and publish that it is based on such determinations.

Additionally, the Administrator finds that this is a matter on which national uniformity in judicial
resolution of any petitions for review is desirable, to take advantage of the D.C. Circuit’s administrative
law expertise, and to facilitate the orderly development of the basic law under the Act. The
Administrator also finds that consolidated review of this action in the D.C. Circuit will avoid piecemeal
litigation in the regional circuits, further judicial economy, and eliminate the risk of inconsistent results
for different states, and that a nationally consistent approach to the CAA’s mandate concerning
interstate transport of ozone pollution constitutes the best use of Agency resources.

Commenters fail to support their argument that “courts do not defer to EPA’s determination of venue,”
and it is not clear what the commenters mean in asserting that CAA section 307(b)(1) does not give the
EPA “exclusive authority” to find that an action is based on a determination of nationwide scope or
effect. As the Sierra Club court noted, courts may review whether a locally or regionally applicable
action is based on a determination of nationwide scope or effect when EPA so finds and publishes. But
the decision whether to make and publish a finding of nationwide scope or effect is committed to
agency discretion by law.

Finally, the EPA disagrees with commenters’ claim that the EPA’s decision not to publish a “nationwide
scope or effect” finding in its December 2021 action approving good neighbor SIPs for Florida, Georgia,
North Carolina, and South Carolina (86 FR 68413 (Dec. 2, 2021)) prohibits the EPA from making a
“nationwide scope or effect” finding in this action. Whether or not the EPA invoked the exception in CAA
section 307(b)(1) for transferring venue to the D.C. Circuit in a prior action, that prior action has no
bearing on the EPA’s discretion to invoke the exception here. The CAA allows the EPA to direct locally or
regionally applicable actions that are “based on a determination of nationwide scope or effect” to the
D.C. Circuit, but it does not require the EPA to send such cases there, nor does it provide any criteria for
the Agency’s exercise of its discretion.92

The commenter correctly notes that the EPA has approved interstate transport SIPs for the 2015 ozone
NAAQS for many states throughout the country that were found not to contribute above the one
percent of NAAQS threshold at Step 2 and, in these actions, made no finding that the actions were
based on determinations of nationwide scope or effect. However, the absence of such a finding in one
action provides no basis for challenging the Agency’s finding in another. Given the far greater degree of
technical and policy judgment with respect to numerous national-scale issues that the EPA has exercised
in this action as part of the EPA’s review of these SIP submissions, it is reasonable for the EPA to seek
national consistency in the judicial resolution of any petitions for review of this action.




92
  See Texas v. EPA, 983 F.3d at 834-35 (5th Cir. 2020); see also Sierra Club v. EPA, 47 F.4th 738, 746 (D.C. Cir. 2022)
(noting that “[i]n deciding whether to make and publish a finding of nationwide scope or effect—and thus to direct
review to [the D.C. Circuit], as opposed to a regional circuit—EPA may weigh any number of considerations”).
                                                                                                                   393
        Case: 23-60069           Document: 110          Page: 792       Date Filed: 03/27/2023




10.2 SIP Call

Comments


Commenter: Alabama Department of Environmental Management

Commenter ID: 02

Docket ID: EPA-R04-OAR-2021-0841

Comment:

Additionally, it should be noted that the purpose of an iSIP is to verify that the State has the authority to
address the regulations of the Clean Air Act (CAA), not to determine if, and by how much, an upwind
State may impact a downwind monitor. If EPA intended to use updated modeling to assess impacts at
future nonattaining and maintenance receptors, a call for plan revisions should have occurred, allowing
EPA to incorporate and rely on modeling and monitoring data, while providing States the opportunity to
review the data and incorporate any changes, if needed, without the need for a FIP call.



Commenter: Kentucky Division for Air Quality

Commenter ID: 25

Docket ID: EPA-R04-OAR-2021-0841

Comment:

Many states that submitted a 2015 Ozone Transport SIP to EPA for approval did use the 1 ppb threshold.
Given the reliance on the August 2018 memo, it would have been appropriate for EPA to, via a SIP Call,
rescind the memo and request that states submit revised SIPs that did not use the 1 ppb threshold.

In this proposed action, EPA is relying on the 1% threshold to evaluate a state’s contribution to a
nonattainment or maintenance monitor, EPA identifies the need for consistency in its evaluation across
all of its Interstate Transport requirements, for all NAAQS. Kentucky believes retraction of the August
2018 memo and issuance of a call for plan revisions under 42 U.S.C. § 7410(k)(5) would further promote
consistency across states’ evaluations of their SIPs,



Commenter: Midwest Ozone Group

Commenter ID: 30

Docket ID: EPA-R02-OAR-2021-0673, EPA-R03-OAR-2021-0872, EPA-R03-OAR-2021-0873, EPA-R04-OAR-
2021-0841, EPA-R05-OAR-2022-0006, EPA-R06-OAR-2021-0801, EPA-R07-OAR-2021-0851, EPA-R08-
OAR-2022-0315, EPA-R09-OAR-2022-0394, EPA-R09-OAR-2022-0138

                                                                                                         394
        Case: 23-60069         Document: 110         Page: 793        Date Filed: 03/27/2023




Comment:

EPA does not offer explanation for not electing to work with the states to develop a state
implementation plan call pursuant to 110(k)(5) which provides for up to 18 months for states to address
flaws in the disapproved SIPs. These accelerated actions by the agency clearly indicate that transparency
is not a priority. EPA should, instead, have provided updated guidance, updated modeling, instructions
on addressing specific state deficiencies, and adequate time for state response.



Commenter: Air Pollution Control Program, Missouri Department of Natural Resources

Commenter ID: 01

Docket ID: EPA-R07-OAR-2021-0851

Comment:

If EPA desires to make a formal finding that Missouri’s SIP is inadequate because of these newly
identified receptors, it must approve our original SIP and then issue a SIP call to provide Missouri a
chance to address the receptors that have been newly identified in the updated modeling. Failure to do
so, would circumvent EPA’s obligation to put forth any effort for cooperative federalism as envisioned in
the Clean Air Act.



Commenter: PacifiCorp

Commenter ID: 38

Docket ID: EPA-R08-OAR-2022-0315

Comment:

Where new information arises that is critical to ensure compliance with the Act, EPA has authority under
section 7410(k)(5) to ensure SIPs are revised to satisfy the Act. This procedure gives states the
opportunity to re-draft SIPs in light of any such new data or analysis. By acting on post-record material
to disapprove a SIP, EPA denies states this opportunity.



Response
The EPA disagrees that the Agency was required to explain why it did not exercise its discretion under
CAA section 110(k)(5), which allows the EPA to require a state “to revise the [SIP] as necessary”
[w]henever the Administrator deems a SIP is “substantially inadequate to attain or maintain the relevant
[NAAQS][.]” This “SIP call” authority is discretionary with the Agency, and nothing in the statute
obligates EPA to first provide states a second opportunity to submit approvable SIPs before
promulgating FIPs. See EME Homer City, 572 U.S. at 509.

As a preliminary matter, commenters have not raised an issue that is actually within scope of the
present action, which is the decision to disapprove the SIP submissions that are before the Agency as
                                                                                                        395
        Case: 23-60069            Document: 110            Page: 794        Date Filed: 03/27/2023




required by CAA section 110(k)(2) and (3). The deadline established for the EPA action on a SIP
submission under CAA section 110(k)(2) is not altered or displaced by the fact that the EPA has
discretionary authority to issue a SIP call under CAA section 110(k)(5). Additionally, the EPA’s evaluation
of a SIP submission pursuant to CAA section 110(k)(3) to determine whether the submission “meets all
of the applicable requirements of this chapter” is similarly not altered or displaced by the fact that the
EPA has discretionary authority to issue a SIP call under CAA section 110(k)(5). The FIP that the EPA
proposed in April of 2022 is not a component of this present action. Further, the larger policy
considerations that may have informed the Agency’s consideration of when to act on these SIP
submissions are also not within the scope of this action.

In this action, the Agency is acting on the SIP submissions that are before it, as required by CAA section
110(k)(2) and (3), and therefore, comments urging the Agency to issue a SIP call pursuant to CAA section
110(k)(5) are effectively requesting that the Agency engage in an additional rulemaking effort separate
from this action.93 Without offering any final determination on that suggestion, which is beyond the
scope of this action, a SIP call, if undertaken as an alternative to the present action, would effectively
cause a delay of several years in implementing interstate transport obligations for the 2015 ozone
NAAQS. Thus, if this even were a reviewable question with respect to the Agency’s action here, it is
reasonable for the Agency not to embark on that course of action.

Commenters problematically prioritize giving states further opportunities to submit an approvable SIP
before EPA promulgates a FIP, rather than prioritizing the statutory obligation to eliminate pollution
significantly contributing to nonattainment and interfering with the NAAQS in other states as
expeditiously as practicable. Commenters’ policy preference is not required by the Act; importantly, it is
in tension with the Act’s substantive mandates. It is entirely appropriate for the Agency to not pursue a
discretionary SIP call in the circumstances here, where expeditious action to address outstanding
obligations is paramount, delays have already occurred, and the Agency seeks to address an area of CAA
implementation (interstate air pollution at the regional scale) where EPA historically has been obligated
to exercise its FIP authority to achieve necessary emissions reductions.

The EPA does not rule out the possibility of using mechanisms such as CAA section 110(k)(5) or the
promulgation of an obligations rule to inform states’ development of transport SIP submissions for
future NAAQS revisions. In the context of this NAAQS, at this time, however, such an approach would
further delay the implementation of good neighbor obligations that the courts have already found the
EPA is past due in addressing. See, e.g., Maryland v. EPA, 958 F.3d 1185, 1203-04 (D.C. Cir. 2020). To
illustrate this, under the EPA’s current sequencing of actions, upon finalization of this action
disapproving SIP submissions, and if the Agency finalizes the proposed FIP sometime in early 2023, the
EPA will be able to ensure emissions reductions to address good neighbor obligations beginning in the

93
  We note as well that EPA is obligated to act on these SIP submissions pursuant to multiple federal consent
decrees, which were entered to resolve litigation alleging that EPA had already missed statutory deadlines
pursuant to CAA section 110(k)(2). EPA is aware of no authority, and commenters cite none, that would authorize
EPA not to act on these submittals and instead take the alternate course of issuing a SIP call under 110(k)(5).
Further, EPA has an obligation to promulgate a FIP under CAA section 110(c)(1) upon final action disapproving
these SIP submittals, unless EPA first approves a SIP revision. Thus, commenters have not explained how, even if
EPA issued a SIP call as a separate action in relation to good neighbor obligations for the 2015 ozone NAAQS, this
would alter the schedule of actions it is obligated to undertake by virtue of 110(k)(2), (3), and (c)(1).
                                                                                                               396
        Case: 23-60069             Document: 110           Page: 795         Date Filed: 03/27/2023




2023 ozone season. By contrast, even under a relatively aggressive timetable for issuing a SIP call, these
emission reductions could easily be delayed by as much as three years or more. (This estimate takes into
account the time needed to propose and finalize action issuing the SIP call, the time needed for states to
develop, take comment on, and submit SIP revisions, the time needed for the EPA to propose and
finalize action on those SIP revisions, and the time needed to propose and promulgate a FIP, if
necessary.)

During the time needed to implement a SIP call as commenters suggest, the EPA would have allowed
significant contribution to continue through both the 2024 Moderate area attainment date and quite
possibly the 2027 Serious area attainment date, missing not one but two critical attainment dates (the
“ultimate failsafe” in the words of the Wisconsin court, 938 F.3d at 317) in implementing CAA
obligations that are at “the heart of the Act,” id. at 316 (quoting Train v. NRDC, 421 U.S. 60, 66 (1975)).
The EPA would have been required to proceed through not one but two additional rulemaking efforts
(both the SIP call, and actions on SIP submissions in response to the SIP call). And the EPA would have
allowed this to occur even though, as the Wisconsin court also recognized,

        When EPA determines that a State’s SIP is inadequate, EPA presumably must issue a FIP that will
        bring that State into compliance before upcoming attainment deadlines, even if the outer limit
        of the statutory timeframe gives EPA more time to formulate the FIP. See Sierra Club v. EPA, 294
        F.3d 155, 161 (D.C. Cir. 2002) (“the attainment deadlines remain intact” even if procedural
        deadlines are missed or changed). The same is true when a State’s SIP fails to provide for the full
        elimination of the State’s significant contributions to downwind nonattainment.

Id. at 318.

Consistent with the court’s observations in this passage, under the EPA’s approach, the EPA is able to
take final action on these SIP submissions in this action, thereby establishing predicate FIP authority (as
needed) before the start of the 2023 ozone season. By proposing a FIP in April of 2022, EPA is also in a
position to finalize that FIP in time for the 2023 ozone season, thus beginning implementation of needed
emissions reductions to eliminate significant contribution in the analytic year associated with the next
relevant attainment date for the 2015 ozone NAAQS. Further, with that proposal, EPA was also able to
put states and sources on notice of its proposed expectations regarding what level of emissions
reductions would be needed to eliminate the amounts of emissions significantly contributing to
nonattainment and interfering with maintenance. See 87 FR 20040, 20149-51. Following promulgation
of a FIP, states may replace that FIP with a SIP so long as the substantive CAA obligations are achieved.
The FIP, if finalized, would provide a degree of information comparable to what EPA would include in a
SIP call in terms of identifying with specificity the level of emissions reductions each state is expected to
implement.94 Thus, the EPA’s approach does not even sacrifice the key benefit commenters apparently
hope to achieve via a SIP call, which is a level of certainty for states regarding their good neighbor
obligations to allow them to formulate approvable SIP submissions.



94
  As discussed in the cited passage of the proposed FIP, EPA always allows states the opportunity to implement a
different mix of emissions controls than it has implemented through a FIP so long as the overall CAA obligation is
met.
                                                                                                               397
         Case: 23-60069             Document: 110            Page: 796         Date Filed: 03/27/2023




We reiterate that our reasoning as to the disadvantages of conducting a SIP call—as well as the potential
timing for finalizing FIP actions—is not within the scope of this action and is offered simply to illustrate
the disadvantages associated with this alternative sequence of steps advocated for by many
commenters. We further acknowledge that there are many circumstances under the CAA where a SIP
call may be an appropriate mechanism to ensure that the SIP complies with the CAA and that states are
adequately fulfilling their CAA obligations to implement the NAAQS. The EPA has even used this tool to
address good neighbor obligations (as per the 1998 NOX SIP Call95) and may do so again under
appropriate circumstances in the future. However, there is nothing in the CAA that requires the agency
to issue SIP calls instead of acting on SIP submissions under CAA section 110(k)(2) and (3) that are not
approvable. This irreducible statutory fact is not changed even if the EPA is accused of failing to issue
guidance that was sufficiently clear or prescriptive to states before their original SIP submissions were
due—the EPA has no such obligation. See EME Homer City, 572 U.S. at 508-11. Here, it is reasonable not
to further delay fulfilling the EPA’s mandatory duty to act on these SIP submissions by embarking on a
discretionary SIP call.



10.3 Cooperative Federalism and the EPA’s Authority

Comments


Commenter: Air Pollution Control Program, Missouri Department of Natural Resources

Commenter ID: 01

Docket ID: EPA-R07-OAR-2021-0851

Comment:

EPA is intentionally exploiting the Supreme Court decision in EME Homer City vs. EPA to justify any costs
or requirements it deems necessary to further federal policy decisions.



Commenter: Alabama Department of Environmental Management

Commenter ID: 02

Docket ID: EPA-R04-OAR-2021-0841

Comment:



95
  Notably, the NOX SIP Call was judicially stayed by the D.C. Circuit Court of Appeals, and this led EPA to exercise its
independent authority to directly federally regulate sources violating the good neighbor provision in response to
petitions under CAA section 126(b), an action which that same court subsequently upheld. See Appalachian Power
Co. v. EPA, 249 F.3d 1032, 1039 (D.C. Cir. 2001).
                                                                                                                   398
        Case: 23-60069           Document: 110          Page: 797       Date Filed: 03/27/2023




Absent rulemaking, the States, who are responsible for the development and implementation of SIPs,
will use best judgement and sound scientific principles, regarding all available information in said
development and implementation.

[…]

From a legal perspective, it is important to note that the Clean Air Act (CAA) does not mandate how
States address the Good Neighbor provisions of Section 110(a)(2)(D)(i). More specifically, EPA has stated
that the contents of SIP submissions “may vary depending on the facts and circumstances”. Given that
States have the primary responsibility to develop and implement the SIP, ADEM contends that Alabama
reserves the right to submit a revised SIP, using the criteria that the State deems appropriate and
consistent with the CAA.



Commenter: Alabama Power Company

Commenter ID: 03

Docket ID: EPA-R04-OAR-2021-0841

Comment:

However, even if ADEM had not withdrawn its 2018 SIP submittal, EPA should not finalize its proposed
disapproval of Alabama’s 2018 submittal. The Act “expressly gave the states initial responsibility for
determining the manner in which air quality standards were to be achieved.”8 EPA must review state
plans to confirm the state has discharged its obligations, but “EPA’s role is to approve state choices,
provided that they meet the criteria of the CAA.” 9 Accordingly, if a state’s submission satisfies the
statutory criteria, EPA cannot disapprove its SIP submission.10

With specific regard for the “good neighbor” aspect of state SIPs, EPA has been clear that states may
satisfy this obligation in a variety of ways. EPA has explained that “[t]he precise nature and contents of a
good neighbor provision is not stipulated in the statute. [Therefore,] EPA believes that the contents of
the SIP submission required by section 110(a)(2)(D)(i) may vary depending on the facts and
circumstances related to the specific NAAQS.”11 For example, EPA “has not directed states that they
must conduct a Step 3 analysis in precisely the manner the EPA has done in its prior regional transport
rulemakings.”12

Accordingly, EPA could not determine the adequacy of Alabama's 2018 SIP submittal based on non-
statutory, policy preferences.13 The law is well-established that states are granted this same discretion
with respect to SIP provisions regarding interstate transport. In fact, a state’s authority in adopting a SIP
is the same as EPA’s authority with regard to implementing Federal Plans.14 Because Alabama is
primarily responsible for “adequately” identifying and eliminating any “significant contribution,” EPA
could only disapprove Alabama’s SIP if it failed to “‘explain whether or not emissions from the state’
significantly contribute to nonattainment in other states.”15 EPA’s proposed disapproval would
undermine the well-established cooperative federalism approach of the CAA, where “air pollution
prevention . . . and air pollution control at its source is the primary responsibility of States and local
governments.”16 On the applicable and timely record, that is, excluding the post-hoc analysis offered by
                                                                                                          399
         Case: 23-60069            Document: 110            Page: 798         Date Filed: 03/27/2023




EPA in 2022, it is plain that Alabama’s submission satisfied the statutory requirements of the CAA.
Moreover, were it not moot, even in light of EPA’s new analyses, Alabama’s 2018 SIP submittal, when
considered as a whole and in view of EPA’s 2018 Guidance, should not be disapproved.17
8
  See 42 U.S.C. § 7410(a) (requiring States to submit plans to implement, maintain, and enforce NAAQS); see also
Com. of Va. v. EPA, 108 F.3d 1397, 1407 (D.C. Cir. 1997), modified on reh’g, 116 F.3d 499 (D.C. Cir. 1997) (the CAA
“expressly gave the states initial responsibility for determining the manner in which air quality standards were to
be achieved”).
9
  87 Fed. Reg. 21,027, 21,028 (Apr. 11, 2022)
10
   See 42 U.S.C. § 7410(k)(3).
11
   See EPA, Guidance for State Implementation Plan (SIP) Submissions to Meet Current Outstanding Obligations
Under Section 110(a)(2)(D)(i) for the 8-Hour Ozone and PM2.5 National Ambient Air Quality Standards 3 (Aug. 15,
2006),
https://www3.epa.gov/ttn/naaqs/aqmguide/collection/cp2/20060815_harnett_final_section_110(a)(2)(D)(i)
_guidance.pdf (“2006 Guidance”).
12
   87 Fed. Reg. at 9,554.
13
   See Luminant Generation Co., L.L.C. v. EPA, 675 F.3d 917, 927-29 (5th Cir. 2012) (rejecting EPA’s attempt to
enforce non-statutory requirements through SIP review process); Com. of Va., 108 F.3d at 1410 (stating that CAA
Section 110 “does not enable EPA to force particular control measures on the states.”); see also Concerned Citizens
of Bridesburg v. EPA, 836 F.2d 777, 780-81 (3d Cir. 1987) (“[A] SIP basically embodies a set of choices . . . that the
state makes for itself in attempting to reach the NAAQS with minimum dislocation.).
14
   Cf. EME Homer City Generation v. EPA, 696 F.3d 7, 47-48 (D.C. Cir. 2012) (Judge Rogers, dissenting), rev’d on
other grounds, 572 U.S. 489 (2014) (“EME Homer I”).
15
   See Westar Energy, Inc. v. EPA, 608 F. App’x 1, *3 (D.C. Cir. 2015) (quoting EPA, Guidance on SIP Elements
Required Under Sections 110(a)(1) and (2) for the 2006 24–hour Fine Particle (PM2.5) National Ambient Air Quality
Standards (NAAQS) 3 (Sept. 25, 2009)) (affirming EPA disapproval where Kansas had not analyzed the downwind
impact of in-state emissions and had not concluded that its in-state emissions did not contribute).
16
   42 U.S.C. § 7401(a)(3).
17
   See attached comments of Alabama Power and Southern Power on ADEM’s proposed SIP withdrawal and
replacement, April 15, 2022, which are incorporated herein by reference.


Commenter: Alabama Power Company, Southern Power Company, and PowerSouth Energy Cooperative

Commenter ID: 04

Docket ID: EPA-R04-OAR-2021-0841

Comment:

A. ADEM Has the Primary Authority for Addressing its “Good Neighbor” Obligation Under the Clean Air
Act

Under the Clean Air Act, a state’s SIP must include, among other things, provisions prohibiting emissions
from sources in the state that will “contribute significantly to nonattainment in, or interfere with
maintenance by, any other state with respect to” the 2015 ozone NAAQS.15 Although EPA has the
primary responsibility in establishing air quality standards, the Clean Air Act “expressly gave the states
initial responsibility for determining the manner in which air quality standards were to be achieved.”16 In
other words, states are given the first opportunity to create a reasonable SIP that ensures compliance
with the Clean Air Act. Importantly, the Clean Air Act does not mandate that states address their “good

                                                                                                                  400
         Case: 23-60069            Document: 110            Page: 799          Date Filed: 03/27/2023




neighbor” obligation under any particular framework;17 rather, states have broad discretion in
developing their SIP provisions.

Moreover, although EPA has adopted regulations that govern the SIP submittal process generally, EPA
has not adopted any additional regulatory standards that define the requirements for Clean Air Act
Section 110(a)(2)(D)(i)(I) interstate transport SIPs related to the 2015 ozone standard.18 Notably, EPA has
established regulatory standards for other NAAQS, thus, EPA’s silence here indicates there are no
specific requirements states must meet in crafting their interstate transport SIPs for the 2015 ozone
NAAQS. Because EPA’s regulations are silent on this matter, EPA must approve of ADEM’s SIP if the SIP
package “explain[s] whether or not emissions for the state significantly contribute to nonattainment in
other states.”19 No single approach is required, as states have taken various approaches to addressing
this obligation, and EPA has approved these different approaches.20 The “4-step framework” favored by
EPA is not in the Clean Air Act, nor does the Act mandate a certain analytical approach for interstate
transport. In other words, while EPA’s 4-step framework may or may not be appropriate for evaluating
some future EPA FIP, it does not apply to EPA’s review of Alabama’s SIP submittal.

Ultimately, “EPA’s role is to approve state choices, provided that they meet the criteria of the CAA.” 21
EPA cannot assess the adequacy of Alabama’s 2022 SIP submittal based on non-statutory, policy
preferences.22 Accordingly, if a state’s submission satisfies the statutory criteria, EPA must approve the
SIP.23 Rather than respect Alabama’s primary role in the development of its SIP, EPA’s proposed
disapproval undermines the well-established cooperative federalism approach of the CAA, where “air
pollution prevention . . . and air pollution control at its source is the primary responsibility of States and
local governments.”24 Because Alabama’s 2022 SIP satisfies the requirements of the Clean Air Act,
including “‘explaining whether or not emissions from the state’ significantly contribute to
nonattainment in other states,”25 EPA must approve Alabama’s SIP.
15
   42 U.S.C. § 7410(a)(2)(D)(i).
16
   Com. of Va. v. EPA, 108 F.3d 1397, 1407 (D.C. Cir. 1997), modified on reh’g, 116 F.3d 499 (D.C. Cir. 1997); see also
42 U.S.C. § 7401(a)(3) (“[A]ir pollution control at its source is the primary responsibility of States and local
governments[.]”).
17
   See EPA, Guidance for State Implementation Plan (SIP) Submissions to Meet Current Outstanding Obligations
Under Section 110(a)(2)(D)(i) for the 8-Hour Ozone and PM2.5 National Ambient Air Quality Standards, at 3 (Aug.
15, 2006), available at
https://www3.epa.gov/ttn/naaqs/aqmguide/collection/cp2/20060815_harnett_final_section_110(a)(2)(D)(i)_guid
anc e.pdf (“The precise nature and contents of [a SIP] submission [are] not stipulated in the statute.”).
18
   However, EPA has done so for other NAAQS. See 40 C.F.R. §§ 51.123–.124.
19
   Westar Energy, Inc. v. EPA, 608 Fed. App’x 1, *3 (D.C. Cir. 2015).
20
   See, e.g., Air Plan Approval; Hawaii; Interstate Transport for the 2015 Ozone NAAQS, 86 Fed. Reg. 53,571 (Sept.
28, 2021); Air Quality State Implementation Plans; Approvals and Promulgations: Alaska; Interstate Transport
Requirements for the 2015 Ozone Standard, 84 Fed. Reg. 26,041 (June 4, 2019).
21
   87 Fed. Reg. 21,027, 21,028 (Apr. 11, 2022)
22
   See Luminant Generation Co., L.L.C. v. EPA, 675 F.3d 917, 927-29 (5th Cir. 2012) (rejecting EPA’s attempt to
enforce non-statutory requirements through SIP review process); Com. of Va., 108 F.3d at 1410 (stating that CAA
Section 110 “does not enable EPA to force particular control measures on the states.”); see also Concerned Citizens
of Bridesburg v. EPA, 836 F.2d 777, 780-81 (3d Cir. 1987) (“[A] SIP basically embodies a set of choices . . . that the
state makes for itself in attempting to reach the NAAQS with minimum dislocation.”).
23
   See 42 U.S.C. § 7410(k)(3).
24
   42 U.S.C. § 7401(a)(3).

                                                                                                                  401
        Case: 23-60069            Document: 110          Page: 800         Date Filed: 03/27/2023



25
  See Westar Energy, 608 Fed. App’x at *3 (quoting EPA, Guidance on SIP Elements Required Under Sections
110(a)(1) and (2) for the 2006 24–hour Fine Particle (PM2.5) National Ambient Air Quality Standards (NAAQS) 3
(Sept. 25, 2009)) (affirming EPA disapproval where Kansas had not analyzed the downwind impact of in-state
emissions and had not concluded that its in-state emissions did not contribute).


Commenter: Arkansas Department of Energy and Environment, Division of Environmental Quality

Commenter ID: 07

Docket ID: EPA-R06-OAR-2021-0801

Comment:

IX. The Federal-State Partnership

One of the most important pillars of our federal-state regulatory framework under the Clean Air Act is
the concept of cooperative federalism. One-size-fits-all policies are in direct conflict with cooperative
federalism, as these policies do not reflect the nuances of a state’s individual circumstances. By setting
in place an overarching policy without attention to state individuality (such as EPA’s 1% threshold or its
control strategy under the proposed FIP), the federal government initiates an effort to coerce local and
state entities into conformity with national policy. At minimum, if a federal agency ultimately decides to
dismiss requested state input, then the federal government must take on a role in an advisory capacity
and one with increasing collaboration and support, especially through provision of additional funding
and technical resources.28

In this latest action by EPA, the agency attempts to set local policy goals by dismissing individual state
analyses, and having a FIP waiting in the wings constitutes an “or else” coercive strategy by the EPA.
EPA’s concurrent proposal of a FIP with their proposed disapprovals instead of providing states with the
customary two years to submit a corrective SIP revision is clear evidence that EPA prefers a national
policy in contravention of Congress’ intent that states be the primary policy makers with respect to
implementing the NAAQS.

States have limited resources, and use what is at their disposal to meet requirements under the Clean
Air Act. Suddenly, EPA is very specific about which tools states should use for policy assessment at the
state-level, with no consideration of the resource constraints faced by state regulators. In the
disapproval, EPA states that DEQ’s analysis “does not consider …impacts on assessed controls at
downwind receptors.” This type of analysis is only possible through photochemical modeling, a method
that the state was unable to do in-house at the time of SIP development, is costly, and was seemingly
not necessary based on the guidance in place during the time of SIP development. Much of the technical
basis for states’ analyses comes from existing EPA modeling and guidance. It is not ideal, but it is what
states are faced with, and historically, this has been acceptable methodology. DEQ acted in confidence,
based on continued feedback from EPA at that time, that its alternative methods of analysis were
sufficiently robust, and spent significant resources to reach the conclusions presented in the SIP
submittal. For EPA to require an expensive modeling exercise for approvability, without providing the
means to do so, is essentially creating an unfunded mandate.

[…]

                                                                                                                402
        Case: 23-60069            Document: 110           Page: 801        Date Filed: 03/27/2023




Ultimately, EPA is undermining the framework of the Clean Air Act as established by Congress, and has
changed direction on states after conclusion of the SIP development process. The proposed disapproval
of the Arkansas Transport SIP and the proposed FIP will force installation of costly controls that are
unnecessary for addressing specific Clean Air Act interstate transport requirements for the 2015 ozone
NAAQS. In its disapproval, EPA dismisses sound reasoning and science-based evidence presented by the
state and makes a bid to wholesale replace state rationale and policy decisions with its own. In no way is
this equitable, nor is it the type of collaboration that the Clean Air Act affords state and federal partners
tackling such multijurisdictional issues.

[…]

X. Conclusion

EPA’s disapproval of Arkansas’s 2015 Ozone Transport SIP is an example of a failure in cooperative
federalism. EPA failed to meet its statutory deadline to act on Arkansas’s SIP submittal. Then, after being
sued for this failure, EPA moves the goal post on what they believe is required to satisfy Clean Air Act
Section 110(a)(2)(D) requirements by dismissing its previous guidance without revoking it and
substituting data that EPA provided in 2017 for states to rely upon in their submittals with new data.
EPA further dismisses the weight of evidence used as part of Arkansas’s decision-making process with
respect to how the state defines a “significant contribution,” how the state selected sources for a cost
analysis of NOx reduction strategies, and the state’s decisions on whether the cost of additional controls
are reasonable. EPA then proposes to substitute its own policies for those that the state has
demonstrated are reasonable and consistent with the Clean Air Act. With this action and their proposed
FIP for the State of Arkansas, EPA fails to acknowledge that Congress gave states, not EPA, the primary
authority in establishing plans to protect air quality standards.
28
  “The Evolution of Cooperative Federalism,” April 15, 2021. https://online.law.tulane.edu/blog/the-evolution-
ofcooperative-federalism



Commenter: Arkansas Environmental Federation

Commenter ID: 09

Docket ID: EPA-R06-OAR-2021-0801

Comment:

I. EPA Has a Narrow Role in the SIP Process

EPA’s proposed disapproval of Arkansas’s interstate transport SIP for the 2015 ozone NAAQS exceeds
the Agency’s authority under the Clean Air Act (“CAA”). The CAA creates a system of cooperative
federalism whereby EPA “determines the ends—the standards of air quality—while states are given the
initiative and broad responsibility to determine the means to achieve those ends.”2 Accordingly, the
CAA grants states the authority to develop plans addressing the NAAQS3 and the states have extensive
discretion in what their plans encompass.4 The states’ primary role in developing SIPs under Section 110
also extends to the “Good Neighbor” obligation in CAA Section 110(a)(2)(D)(i)(I) to develop SIPs to
address interstate transport.5
                                                                                                      403
         Case: 23-60069             Document: 110            Page: 802         Date Filed: 03/27/2023




EPA’s role is limited once a state submits a SIP. According to Section 110 of the CAA, the Administrator
shall approve [a SIP or SIP revision] as a whole if it meets all of the applicable requirements of this
chapter.”6 EPA has long recognized its limited role; most recently in a SIP approval earlier this month:

         [T]he Administrator is required to approve a SIP submission that complies with the provisions of
         the CAA and applicable Federal regulations. 42 U.S.C. 7410(k); 40 CFR 52.02(a). Thus, in
         reviewing SIP submissions, EPA’s role is to approve state choices, provided that they meet the
         criteria of the CAA.7

Given EPA’s limited role it is inappropriate for EPA to propose “to apply a consistent set of policy
judgements across all states for purposes of evaluating interstate transport obligations and the
approvability of interstate transport SIP submittals for the 2015 ozone NAAQS,”8 including for the
proposed disapproval of Arkansas’s SIP. EPA goes on to state that its

         policy judgments reflect consistency with relevant case law and past agency practice as
         reflected in the CSAPR and related rulemakings. Nationwide consistency in approach is
         particularly important in the context of interstate ozone transport, which is a regional-scale
         pollution problem involving many smaller contributors.9

Furthermore, these policy judgments, which EPA is now attempting to enforce as binding on the states
and regulated facilities through EPA’s actions on the SIP, have not been through proper notice and
comment as required by law and thus are unenforceable.

[…]

EPA’s policy judgments, upheld by courts in support of its Federal rulemakings to address interstate
transport, have no place in determining whether a SIP meets the applicable CAA requirements. Despite
the “regional-scale pollution problem” of ozone transport, Congress granted authority to the states, in
the first instance, to determine how to address interstate ozone transport. Imposing EPA’s policy
preferences on the states improperly negates their authority to develop their own SIPs to address
interstate transport and the Agency’s policy preferences fail to determine whether the states have
complied with the law in developing their interstate transport SIPs.
2
  Concerned Citizens of Bridesburg v. EPA, 836 F.2d 777, 779 (3rd. Cir. 1987) (citing Bethlehem Steel Corp. v.
Gorsuch, 742 F.2d 1028, 1036 (7th Cir. 1984)).
3
  See 42 U.S.C. § 7410(a) (requiring States to submit plans to implement, maintain, and enforce NAAQS); see also
Com. of Va. v. EPA, 108 F.3d 1397, 1407 (D.C. Cir.), decision modified on reh’g, 116 F.3d 499 (D.C. Cir. 1997)
(stating that the CAA “expressly gave the states initial responsibility for determining the manner in which air
quality standards were to be achieved.”).
4
  See Union Elec. Co. v. EPA, 427 U.S. 246, 250 (1976) (“Each State is given wide discretion in formulating its plan.”);
Train v. NRDC, 412 U.S. 60, 79 (1975) (“[EPA] is relegated by the [Clean Air] Act to a secondary role in the process
of determining and enforcing the specific, source-by-source emission limitations which are necessary if the
national standards it has set are to be met.”); Fla. Power & Light Co. v. Costle, 650 F.2d 579, 587 (5th Cir. 1981)
(“The great flexibility accorded the states under the Clean Air Act is further illustrated by the sharply contrasting,
narrow role to be played by EPA.”).
5
  See North Carolina v. EPA, 531 F.3d 896, 923 (D.C. Cir. 2008) (“the text of section 110 . . . establishes the state as
the appropriate primary administrative unit to address interstate transport of emissions.”) (citations omitted); see
also Michigan v. EPA, 213 F.3d 663, 671 (D.C. Cir. 2000).
6
  42 U.S.C. § 7410(k)(3) (emphasis added).
                                                                                                                    404
        Case: 23-60069           Document: 110           Page: 803        Date Filed: 03/27/2023



7
  Air Plan Approval; Wisconsin; Redesignation of the Wisconsin Portion of the Chicago-Naperville, Illinois-
IndianaWisconsin Area to Attainment of the 2008 Ozone Standard, 87 Fed. Reg. 21,027, 21,028 (Apr. 11, 2022).
8
  87 Fed. Reg. 9798, 9801 (Feb. 22, 2022) (emphasis added).
9
  Id.


Commenter: Association of Electric Companies of Texas, BCCA Appeal Group, Texas Chemical Council
and Texas Oil & Gas Association

Commenter ID: 11

Docket ID: EPA-R06-OAR-2021-0801

Comment:

A. The Texas SIP meets all statutory requirements, and EPA should approve it.

The Act gives states the authority to develop SIPs to implement the NAAQS in the first instance.3 EPA, on
the other hand, is “plainly . . . relegated by the Act to a secondary role in the process of determining and
enforcing the specific, source-by-source emissions limitations.”4 While EPA is tasked with reviewing SIPs,
the Agency cannot substitute its judgment for the state’s.5 “EPA’s role is to approve state choices,
provided that they meet the criteria of the CAA.”6

The “Good Neighbor” or “interstate transport” provisions of the CAA require that SIPs “contain
adequate provisions prohibiting . . . any source or other type of emissions activity within the State from
emitting any air pollutant in amounts which will contribute significantly to nonattainment in, or interfere
with maintenance by, any other State with respect to any such national primary or secondary ambient
air quality standard.”7 If an interstate transport SIP meets these requirements, the Act directs the
Administrator to approve the SIP revision.8

The CAA does not require states to address their Good Neighbor obligations in a specific manner, nor
does it “enable EPA to force particular control measures on the states.”9 EPA has not attempted to
adopt nationwide regulatory standards that purport to define the requirements for interstate transport
SIPs with respect to the 2015 ozone NAAQS.10 Specifically, EPA’s separate quantification and assessment
of a state’s “significant contribution” to downwind nonattainment or maintenance issues is not a
requirement of the Act and may not form the basis for disapproval of a SIP.11 EPA has previously
explained that “[t]he precise nature and contents of such a submission is not stipulated in the statute.
[Therefore,] EPA believes that the contents of the SIP submission required by section 110(a)(2)(D)(i) may
vary depending upon the facts and circumstances related to the specific NAAQS.”12

EPA has recognized this flexibility afforded to states in its guidance documents13 and in the Proposed
Disapproval. In its 2006 Guidance, EPA asserted that states may establish their own framework for
significant contribution “using considerations comparable to those used by EPA in evaluating significant
contribution.”14 The statute does not require that states use an approach “comparable” with EPA’s
own.15 In recognition of state flexibility, in the Proposed Disapproval, EPA recognized that it “has not
directed states that they must conduct a Step 3 analysis in precisely the manner the EPA has done in its
prior regional transport rulemakings.”16 The Proposed Disapproval fails to recognize this flexibility, and
instead asserts a “one-size-fits-all” approach to assessing significant contribution.
                                                                                                               405
         Case: 23-60069             Document: 110            Page: 804          Date Filed: 03/27/2023




Accordingly, EPA may not require Texas to adopt EPA’s non-statutory, after-the-fact policy preferences
through the SIP review process.17 States are granted this same discretion with respect to SIP provisions
regarding interstate transport. EPA’s reliance on the “regional nature” of ozone transport, and its desire
“to apply a consistent set of policy judgments across all states for purposes of evaluating interstate
transport obligations and the approvability of interstate transport SIP submittals for the 2015 ozone
NAAQS,”18 have no bearing on whether a state’s SIP is approvable or not. States, not EPA, are primarily
responsible for quantifying and preventing their own significant contribution.19 Therefore, EPA could
only disapprove Texas’s SIP if it failed to explain “whether or not emissions from the state significantly
contribute to nonattainment in other states.”20

In Texas’s SIP, TCEQ provided an “analysis of ozone design value and emissions trends in Texas, a
modeling analysis of the impacts of Texas’s emissions on other states, and a discussion of existing ozone
control strategies to demonstrate that emissions from Texas do not contribute significantly to
nonattainment or interfere with maintenance of the 2015 ozone NAAQS in another state.”21 TCEQ
explained its three-step approach to determine whether emissions from Texas contribute significantly to
nonattainment or interfere with maintenance at downwind monitors in another state and provided
appropriate justification – through the examination of several factors, such as “design value trends,
number of elevated ozone days, back trajectory analysis on elevated ozone days, modeled
concentrations on future expected elevated ozone days, total interstate contributions at tagged
monitors, and responsiveness of ozone to Texas emissions”22 – to support its determination that
emissions from Texas do not contribute significantly to nonattainment or interfere with maintenance of
the 2015 eight-hour ozone NAAQS at the linked downwind monitors. Texas’s SIP fulfilled the
requirements of the CAA by showing that the control measures currently in place are adequate to
prevent in-state sources from significantly contributing or interfering with maintenance of the NAAQS.
TCEQ also provided a robust technical justification for its determinations. Texas’s SIP “contain[s]
adequate provisions” addressing interstate transport, and EPA must approve Texas’s SIP.23

In proposing to disapprove the SIP, EPA overstepped its statutory authority under the CAA. EPA is not
authorized to judge Texas’s submission based on EPA’s new quantification of the State’s “significant
contribution” or “interference with maintenance.” EPA’s view of Texas’s contribution or its potential to
interfere with maintenance in downwind States, and EPA’s methodology for determining these issues,
are not requirements of the Act and thus cannot be the basis for disapproval. EPA should approve
Texas’s SIP based on the data available to TCEQ by the statutory deadline. EPA may not, as addressed
below, disapprove Texas’s SIP based on a new and deeply flawed analysis.
4
  Train v. Natural Res. Def. Council, Inc., 421 U.S. 60, 79 (1975); see also Am. Elec. Power Co. v. Connecticut, 565
U.S. 410, 428 (2011) (“The Act envisions extensive cooperation between federal and state authorities, generally
permitting each State to take the first cut at determining how best to achieve EPA emissions standards within its
domain.”) (internal citations omitted).
5
  See 42 U.S.C. § 7410(k)(3) (“[T]he Administrator shall approve [a SIP or SIP revision] as a whole if it meets all of
the applicable requirements of this chapter.”) (emphasis added).
6
  Air Plan Approval; Iowa; Interstate Transport of Air Pollution for the 2015 8-Hour Ozone National Ambient Air
Quality Standards, 87 Fed. Reg. 9,477, 9,483 (Feb. 22, 2022).
7
  42 U.S.C. § 7410(a)(2)(D)(i)(I).
8
  Id. at § 7410(k)(3).
9
  Com. of Va., 108 F.3d at 1410.
10
   Compare with 40 C.F.R. §§ 51.123, 52.124 (outlining requirements for NOx and SO2 SIPs).
                                                                                                                    406
         Case: 23-60069            Document: 110            Page: 805          Date Filed: 03/27/2023



11
   EME Homer City Generation v. EPA, 696 F.3d 7, 47 (D.C. Cir. 2012) (Judge Rogers, dissenting), reversed on other
grounds, 134 S.Ct. 1584 (2014) (“EME Homer I”) (“Nowhere does the CAA place a requirement on EPA to quantify
each State’s amount of ‘significant contribution’ to be eliminated pursuant to the ‘good neighbor’ provision[.]”).
12
   EPA, GUIDANCE FOR STATE IMPLEMENTATION PLAN (SIP) SUBMISSIONS TO MEET CURRENT OUTSTANDING OBLIGATIONS UNDER
SECTION 110(A)(2)(D)(I) FOR THE 8-HOUR OZONE AND PM2.5 NATIONAL AMBIENT AIR QUALITY STANDARDS 3 (Aug. 15, 2006),
https://www3.epa.gov/ttn/naaqs/aqmguide/collection/cp2/20060815
_harnett_final_section_110(a)(2)(D)(i)_guidance.pdf (“2006 Guidance”).
13
   See EPA, INFORMATION ON THE INTERSTATE TRANSPORT STATE IMPLEMENTATION PLAN SUBMISSIONS FOR THE 2015 OZONE
NATIONAL AMBIENT AIR QUALITY STANDARDS UNDER CLEAN AIR ACT SECTION 110(A)(2)(D)(I)(I), at 6 (Mar. 27, 2018) (“March
2018 Guidance”) (“States may consider using this national modeling to develop SIPs that address requirements of
the good neighbor provision for the 2015 ozone NAAQS. . . . States may also choose to use other information to
identify nonattainment and maintenance receptors relevant to development of their good neighbor SIPs.”); EPA,
CONSIDERATIONS FOR IDENTIFYING MAINTENANCE RECEPTORS FOR USE IN CLEAN AIR ACT SECTION 11 0(A)(2)(D)(I)(I) INTERSTATE
TRANSPORT STATE IMPLEMENTATION PLAN SUBMISSIONS FOR THE 2015 OZONE NATIONAL AMBIENT AIR QUALITY STANDARDS 4 (Oct.
19, 2018) (“EPA has identified two potential flexibilities that states may use to identify maintenance receptors with
an appropriate technical demonstration.”) (“October 2018 Guidance”).
14
   2006 Guidance, at 5.
15
   See 42 U.S.C. § 7410(a)(2)(D)(i)(I) (only requiring that SIPs “contain adequate provisions prohibiting . . . any
source or other type of emissions activity within the State from emitting any air pollutant in amounts which will
contribute significantly to nonattainment in, or interfere with maintenance by, any other State with respect to any
such national primary or secondary ambient air quality standard.”).
16
   Proposed Disapproval, 87 Fed. Reg. at 9,810.
17
   Luminant Generation Company LLC v. EPA, 675 F.3d 917, 927–29 (5th Cir. 2012) (rejecting EPA attempt to
enforce non-statutory requirements through SIP review process); Com. of Va., 108 F.3d at 1410 (D.C. Cir.) (stating
that CAA Section 110 “does not enable EPA to force particular control measures on the states.”); see also
Concerned Citizens of Bridesburg, 836 F.2d 777, 780–81 (“[A] SIP basically embodies a set of choices . . . that the
state must make for itself in attempting to reach the NAAQS with minimum dislocation.).
18
   Proposed Disapproval, 87 Fed. Reg. at 9,801 (emphasis added).
19
   EME Homer I, 696 F.3d at 49 (Judge Rogers, dissenting) (“States are fully capable of measuring interstate
transport of emissions by conducting modeling, and they have done so before and continue to do so[.]”).
20
   See Westar Energy, Inc. v. EPA, 608 Fed. Appx. 1, *3 (D.C. Cir. 2015) (citing EPA, GUIDANCE ON SIP ELEMENTS REQUIRED
UNDER SECTIONS 110(A)(1) AND (2) FOR THE 2006 24–HOUR FINE PARTICLE (PM2.5) NATIONAL AMBIENT AIR QUALITY STANDARDS
(NAAQS) at 3 (Sept. 25, 2009) (affirming EPA disapproval where Kansas had not analyzed the downwind impact of
in-state emissions and had not concluded that its in-state emissions did not contribute).
21
   TCEQ, REVISIONS TO THE STATE OF TEXAS AIR QUALITY IMPLEMENTATION PLAN CONCERNING FEDERAL CLEAN AIR ACT SECTIONS
110(A)(1) AND (2) INFRASTRUCTURE, at ES-1 (Aug. 8, 2018)
22
   Id. at 7-1.
23
   42 U.S.C. § 7410(a)(2)(D)(i)(I); id. at § 7410(k)(3)


Commenter: Ducote, Samuel

Commenter ID: 15

Docket ID: EPA-R06-OAR-2021-0801

Comment:

As a resident of Louisiana, I opposed the EPA's proposed disapproval of Louisiana's SIP. Louisiana's SIP
meets the standards and obligations necessary to obtain the NAAQS as set forth by the EPA. The
disapproval of the SIP solely regarding the potential effect of the "Good neighbor" provisions is a
demonstration of regulatory overreach. In short, the Louisiana State Implementation Plan was designed
                                                                                                       407
        Case: 23-60069           Document: 110         Page: 806        Date Filed: 03/27/2023




by the Louisiana Department of Environmental Quality to meet the NAAQS 'within' state boundaries.
The state SIP was designed by LDEQ to meet the NAAQS within state boundaries. Allowing the EPA
disapprove Louisiana’s SIP on speculative “good neighbor” grounds is not a valid exercise of regulatory
authority consistent with the text and purpose of the CAA. I strongly oppose the EPA's decision here. As
a region of this nation responsible for fueling the needs of the nation, the Louisiana-Texas-Arkansas-
Oklahoma region needs to extend special "good neighbor" exceptions for the contribution to the nation
at large, especially considering the states have valid SIPs in place that meets the NAAQS requirements
within each state individually.



Commenter: Eagle Materials Inc.

Commenter ID: 16

Docket ID: EPA-R09-OAR-2022-0138

Comment:

II. Nevada’s Proposed SIP Meets Statutory Requirements and EPA Must Therefore Approve It.

The CAA makes clear that states have the primary responsibility to develop and implement emissions
control measures for sources within their jurisdiction in meeting the Act’s requirements.20 While EPA
provides administrative oversight in reviewing SIPs, the Agency is also “plainly . . . relegated by the Act
to a secondary role in the process of determining and enforcing the specific, source-by-source emissions
limitations,”21 and cannot instead substitute its judgment for that of the state.22 EPA has itself
recognized its limited authority, noting in a recent SIP action that “EPA’s role is to approve state choices,
provided that they meet the criteria of the CAA.”23 In its Proposed SIP Disapproval, however, EPA
oversteps this limited oversight authority by imposing its own assessment of Nevada’s interstate
transport obligations, rather than appropriately limiting its review to whether the state’s assessment
was reasonable. Because Nevada’s Proposed SIP satisfies the state’s interstate transport obligations
under the Act, EPA must approve it.

A. States Have Significant Discretion to Determine Measures Needed to Fulfill Their Interstate Transport
Obligations.

Section 110(a)(2)(D)(i)(I) of the CAA requires states to address interstate transport by preparing SIPs that
“contain adequate provisions prohibiting . . . any source or other type of emissions activity within the
State from emitting any air pollutant in amounts which will contribute significantly to nonattainment in,
or interfere with maintenance by, any other State with respect to any such national primary or
secondary ambient air quality standard.” This language leaves substantial discretion to the states in
determining both their significant contributions and the reduction measures necessary to eliminate
them.

[…]

In performing its limited oversight role under the CAA, EPA cannot substitute its own judgment for that
of the states, and in particular, cannot “force particular control measures on the states.” Nevada

                                                                                                         408
         Case: 23-60069             Document: 110            Page: 807          Date Filed: 03/27/2023




reasonably applied a technical evaluation of its significant contributions to downwind air quality
problems, guided by EPA’s Guidance and the requirements of the CAA. EPA cannot now impose rigid
requirements using its own analysis, and must instead evaluate Nevada’s chosen framework against the
requirements of Section 110(a)(2)(D)(i)(I).

[…]

III. EPA’s Proposed Disapproval is Unreasonable and Oversteps EPA’s Authority Under the Clean Air Act.

In evaluating Nevada’s SIP Submittal, EPA must assess (1) whether Nevada is “linked” to downwind air
quality problems, based on a reasonable linkage threshold; and (2) whether Nevada has fulfilled its
ozone transport obligations by submitting an approvable SIP, based on the requirements of the CAA.
EPA’s evaluation is unreasonable for each of these factors.
20
   See 42 U.S.C. § 7410(a) (requiring States to submit plans to implement, maintain, and enforce NAAQS). See also
Com. of Va. v. EPA, 108 F.3d 1397, 1407 (D.C. Cir.), decision modified on reh’g, 116 F.3d 499 (D.C. Cir. 1997)
(stating that the CAA “expressly gave the states initial responsibility for determining the manner in which air
quality standards were to be achieved.”); Am. Elec. Power Co. v. Connecticut, 565 U.S. 410, 428 (2011) (“The Act
envisions extensive cooperation between federal and state authorities, generally permitting each State to take the
first cut at determining how best to achieve EPA emissions standards within its domain.”) (Internal citations
omitted).
21
   Train v. Natural Res. Def. Council, Inc., 421 U.S. 60, 79 (1975).
22
   See 42 U.S.C. § 7410(k)(3) (emphasizing that EPA “shall approve [a SIP or SIP revision] as a whole if it meets all of
the applicable requirements of this chapter.”) (Emphasis added).
23
   Air Plan Approval; Iowa; Interstate Transport of Air Pollution for the 2015 8-Hour Ozone National Ambient Air
Quality Standards, 87 Fed. Reg. 9,477, 9,483 (Feb. 22, 2022).


Commenter: Environmental Federation of Oklahoma

Commenter ID: 20

Docket ID: EPA-R06-OAR-2021-0801

Comment:

In particular, EFO supports DEQ’s assessment that EPA has overstepped its authority by circumventing
the normal SIP development and approval process in a number of ways, including but not limited to:
first, by evaluating the SIP based on federal policy decisions rather than law; […] EPA’s actions represent
a blatant disregard for cooperative federalism and for the state’s extensive efforts at developing a SIP
that met all requirements in place at the time of submittal.

Moreover, EFO, along with DEQ, questions the rationality of any federal action that places any
significant (relative to more localized emissions) burden on Oklahoma industry for air quality
improvements in Dallas, TX and Chicago, IL. This is truly the tail wagging the dog.



Commenter: Evergy, Inc.

Commenter ID: 21

                                                                                                                    409
        Case: 23-60069          Document: 110          Page: 808       Date Filed: 03/27/2023




Docket ID: EPA-R07-OAR-2021-0851

Comment:

Evergy disagrees with EPA’s proposal to disapprove the State of Missouri’s June 10, 2019, Interstate
Transport SIP. The primary concern with the disapproval of the Missouri SIP is EPA’s disregard for the
concept of cooperative federalism. In enacting the CAA, Congress emphasized that “air pollution control
at its source is the primary responsibility of States and local governments,” but that federal leadership
“is essential for the development of cooperative Federal, State, regional, and local programs to prevent
and control air pollution.” 42 U.S.C. § 7401.

[…]

EPA has not provided Missouri the opportunity to update and retain control over their SIP. This goes
against the policy of cooperative federalism.



Commenter: Idaho Power Company

Commenter ID: 23

Docket ID: EPA-R09-OAR-2022-0138

Comment:

A. States have substantial discretion in implementing the Good Neighbor provisions.

Section 110(a)(2)(D)(i)(I) of the CAA requires states to address interstate transport by preparing SIPs that
“contain adequate provisions prohibiting . . . any source or other type of emissions activity within the
State from emitting any air pollutant in amounts which will contribute significantly to nonattainment in,
or interfere with maintenance by, any other State with respect to any such national primary or
secondary ambient air quality standard.” This language leaves substantial discretion to the states in
determining both their significant contributions and the reduction measures necessary to eliminate
them.

[…]

In performing its limited oversight role under the CAA, EPA cannot substitute its own judgment for that
of the states, and in particular, cannot “force particular control measures on the states.”5

[…]

C. The Proposed Disapproval oversteps EPA’s statutorily assigned role.

The Proposed Disapproval boils down to EPA substituting its judgment for that of Nevada, which it may
not do under the Clean Air Act. While EPA “determines the ends—the standards of air quality,” the CAA
gives states “the initiative and broad responsibility to determine the means to achieve those ends.”13
EPA, by contrast, is “relegated . . . to a secondary role” in the SIP process.14 As EPA has acknowledged, in
the Good Neighbor context, “EPA’s role is to approve state choices, provided that they meet the criteria
of the CAA.”15
                                                                                                        410
         Case: 23-60069             Document: 110            Page: 809         Date Filed: 03/27/2023




In the Proposed Disapproval, EPA oversteps its limited role by unreasonably substituting its own analysis
in evaluating Nevada’s SIP, rather than determining whether Nevada’s analysis was reasonable.
5
  Com. of Va. v. EPA, 108 F.3d 1397, 1410 (D.C. Cir.), decision modified on reh’g, 116 F.3d 499 (D.C. Cir. 1997)
13
   Concerned Citizens of Bridesburg v. EPA, 836 F.2d 777, 779 (3rd. Cir. 1987) (citing Bethlehem Steel Corp. v.
Gorsuch, 742 F.2d 1028, 1036 (7th Cir. 1984)).
14
   Train v. Natural Res. Def. Council, Inc., 421 U.S. 60, 79 (1975); see also Am. Elec. Power Co. v. Connecticut, 565
U.S. 410, 428 (2011) (“The Act envisions extensive cooperation between federal and state authorities, generally
permitting each State to take the first cut at determining how best to achieve EPA emissions standards within its
domain.”) (internal citations omitted).
15
   Air Plan Approval; Iowa; Interstate Transport of Air Pollution for the 2015 8-Hour Ozone National Ambient Air
Quality Standards, 87 Fed. Reg. 9,477, 9,483 (Feb. 22, 2022).


Commenter: Kentucky Division for Air Quality

Commenter ID: 25

Docket ID: EPA-R04-OAR-2021-0841

Comment:

Since the requirement for submitting an Infrastructure SIP for each NAAQS was implemented, Kentucky
has provided a document demonstrating that the state has the authority, regulations, and required
programs in place to address all requirements of CAA section 110(a). Beginning with the 2008 Ozone
NAAQS, EPA significantly changed their perspective regarding the purpose of the I-SIP, requiring an in-
depth technical demonstration, with extensive modeling, data analysis, and demonstration of whether
or not potential upwind emissions are contributing to downwind problems. Kentucky maintains that the
purpose of the I-SIP is to verify that the state has the authority, regulations, and programs in place to
address the requirements of the CAA, not to determine if, and how much, an upwind source may be
impacting a downwind monitor.



Commenter: Louisiana Electric Utility Environmental Group

Commenter ID: 28

Docket ID: EPA-R06-OAR-2021-0801

Comment:

A. EPA Has a Narrow Role in the SIP Process

EPA’s proposed disapproval of Louisiana’s interstate transport SIP for the 2015 ozone NAAQS exceeds
the Agency’s authority under the Clean Air Act (“CAA”). The CAA creates a system of cooperative
federalism whereby EPA “determines the ends—the standards of air quality—while states are given the
initiative and broad responsibility to determine the means to achieve those ends.”1 Accordingly, the CAA
grants states the authority to develop plans addressing NAAQS2 and the states have extensive discretion
in what their plans encompass.3 The states’ primary role in developing SIPs under Section 110 also

                                                                                                                   411
         Case: 23-60069             Document: 110            Page: 810         Date Filed: 03/27/2023




extends to the “Good Neighbor” obligation in CAA Section 110(a)(2)(D)(i)(I) to develop SIPs to address
interstate transport.4

EPA’s role is limited once a state submits a SIP. According to Section 110 of the CAA, the Administrator
shall approve [a SIP or SIP revision] as a whole if it meets all of the applicable requirements of this
chapter.”5 EPA has long recognized its limited role; most recently in a SIP approval earlier this month:

         [T]he Administrator is required to approve a SIP submission that complies with the provisions of
         the CAA and applicable Federal regulations. 42 U.S.C. 7410(k); 40 CFR 52.02(a). Thus, in
         reviewing SIP submissions, EPA’s role is to approve state choices, provided that they meet the
         criteria of the CAA.6

Given EPA’s limited role, it is inappropriate for EPA to propose “to apply a consistent set of policy
judgments across all states for purposes of evaluating interstate transport obligations and the
approvability of interstate transport SIP submittals for the 2015 ozone NAAQS,” including for the
proposed disapproval of Louisiana’s SIP.

[…]

The states, in the first instance, have wide discretion in determining how to achieve the NAAQS,
including their interstate transport obligations, and EPA cannot force the states to adopt approaches
reflecting the Agency’s policy preferences for consistency in interstate transport obligations. A “SIP
basically embodies a set of choices . . . that the state must make for itself in attempting to reach the
NAAQS with minimum dislocation.”10

EPA also cannot substitute its own judgment for that of the state’s in crafting a SIP, as the courts have
recognized.11

[…]

Accordingly, EPA’s Proposed Disapproval of Louisiana’s SIP falls short and EPA has overstepped its
authority under the CAA. EPA should re-evaluate Louisiana’s SIP on the basis of whether the SIP meets
the applicable requirements of the CAA, not on the basis of whether Louisiana made different choices
than EPA would have made had it been the decision-maker with respect to fulfilling the state’s Good
Neighbor obligation to address interstate transport of ozone under Section 110(a)(2)(D)(i)(I) of the CAA.
EPA also must avoid any policy determinations or a desire to adopt a “national ozone transport policy”
in evaluating Louisiana’s SIP.
1
  Concerned Citizens of Bridesburg v. EPA, 836 F.2d 777, 779 (3rd. Cir. 1987) (citing Bethlehem Steel Corp. v.
Gorsuch, 742 F.2d 1028, 1036 (7th Cir. 1984)).
2
  See 42 U.S.C. § 7410(a) (requiring States to submit plans to implement, maintain, and enforce NAAQS); see also
Com. of Va. v. EPA, 108 F.3d 1397, 1407 (D.C. Cir.), decision modified on reh’g, 116 F.3d 499 (D.C. Cir. 1997)
(stating that the CAA “expressly gave the states initial responsibility for determining the manner in which air
quality standards were to be achieved.”).
3
  See Union Elec. Co. v. EPA, 427 U.S. 246, 250 (1976) (“Each State is given wide discretion in formulating its plan.”);
Train v. NRDC, 412 U.S. 60, 79 (1975) (“[EPA] is relegated by the [Clean Air] Act to a secondary role in the process
of determining and enforcing the specific, source-by-source emission limitations which are necessary if the
national standards it has set are to be met.”); Fla. Power & Light Co. v. Costle, 650 F.2d 579, 587 (5th Cir. 1981)


                                                                                                                    412
         Case: 23-60069             Document: 110            Page: 811          Date Filed: 03/27/2023



(“The great flexibility accorded the states under the Clean Air Act is further illustrated by the sharply contrasting,
narrow role to be played by EPA.”).
4
  See North Carolina v. EPA, 531 F.3d 896, 923 (D.C. Cir. 2008) (“the text of section 110 . . . establishes the state as
the appropriate primary administrative unit to address interstate transport of emissions.”) (citations omitted); see
also Michigan v. EPA, 213 F.3d 663, 671 (D.C. Cir. 2000).
5
  42 U.S.C. § 7410(k)(3) (emphasis added).
6
  Air Plan Approval; Wisconsin; Redesignation of the Wisconsin Portion of the Chicago-Naperville, Illinois-Indiana-
Wisconsin Area to Attainment of the 2008 Ozone Standard, 87 Fed. Reg. 21027, 21028 (Apr. 11, 2022).
10
   Bridesburg, 836 F.2d at 780–81 (emphasis added); see also Com. of Va., 108 F.3d at 1410 (D.C. Cir.) (CAA Section
110 “does not enable EPA to force particular control measures on the states.”).
11
   Bridesburg, 836 F.2d at 781 (quoting Train v. Natural Res. Def. Council, Inc., 421 U.S. 60, 79 (1975)) (internal
citations and quotations omitted) (“EPA has limited authority to reject a SIP . . . . The [CAA] gives the Agency no
authority to question the wisdom of a State’s choices of emission limitations if they are part of a plan which
satisfies the standards of [Section 110(a)(2)], and the Agency may devise and promulgate a specific plan of its own
only if a State fails to submit an implementation plan which satisfies those standards.”).


Commenter: Maryland Department of the Environment

Commenter ID: 29

Docket ID: EPA-R03-OAR-2021-0872

Comment:

EPA’s proposed FIP, which is purported to completely resolve the state’s significant contribution, would
not require any further emissions reductions from EGU or non-EGU sources beyond what Maryland
imposes on its sources. Maryland’s emission reduction control programs identified in the 2015 Good
Neighbor SIP are sufficient to resolve the state’s significant contribution to downwind nonattainment
and maintenance areas and SIP achieves more reductions than the FIP can provide. As such, EPA’s
proposed disapproval inappropriately supplants judgement for that of the state. As various courts have
explained, the CAA is a cooperative federalism regime, under which the EPA sets required air quality
standards but with the states holding primary responsibility to create plans which achieve them. EPA has
no authority to disapprove Maryland’s choices of emissions limitation in preference of its own suite of
controls, where Maryland has submitted a SIP, which satisfies the requirements of CAA § 110(a)(2)(D).
Train v. Natural Resources Defense Council, Inc., 421 U.S. 60, 79 (1975). To the contrary, “the State is at
liberty to adopt whatever mix of emission limitations it deems best suited to its particular situation.” Id.
Due to the suite of federally enforceable regulations and permits applicable to Maryland’s sources
already provide for greater overall emissions reductions from the EGUs and Non-EGU sources than EPA’s
proposed FIP, EPA’s proposed disapproval of Maryland’s SIP is arbitrary, capricious, and contrary to the
CAA.



Commenter: The Luminant Companies

Commenter ID: 44

Docket ID: EPA-R06-OAR-2021-0801

                                                                                                                    413
        Case: 23-60069           Document: 110           Page: 812        Date Filed: 03/27/2023




Comment:

A. The Clean Air Act Gives States the Primary Authority to Address Interstate Transport

The Clean Air Act creates a cooperative federalism structure that divides authority between the federal
government and the states.5 Within this structure, EPA defines the air quality goals for the nation, and
the states and local governments implement plans to achieve those standards. Accordingly, “[t]he Act
assigns responsibility to the EPA for identifying air pollutants and establishing [the NAAQS.] . . . The
states, by contrast, bear the primary responsibility for implementing those standards.”6 In other words,
“air pollution prevention . . . and air pollution control at its source is the primary responsibility of States
and local governments,”7 and “[t]he structure of the Clean Air Act indicates a congressional preference
that states, not EPA, drive the regulatory process.”8

With respect to the NAAQS, EPA is required to review the NAAQS at five year intervals and make
revisions where necessary.9 Pursuant to this obligation, on October 1, 2015, EPA revised the primary and
secondary ozone NAAQS to establish a new 8-hour average standard of 70 parts per billion (ppb).10 The
Clean Air Act then directs states to submit a revision to their SIP within three years after EPA
promulgates a new or revised NAAQS in order to address the new NAAQS.11 Among those requirements
is the state’s “good neighbor” or “interstate transport” obligation under 42 U.S.C. § 7410(a)(2)(D)(i)—
that is, a state’s SIP must “contain adequate provisions . . . prohibiting . . . any source or other type of
emissions activity within the State from emitting any air pollutant in amounts which will . . . contribute
significantly to nonattainment in, or interfere with maintenance by, any other state” with respect to the
NAAQS.12 Under the statute, the default is that states will address interstate transport in their SIPs, not
EPA in a FIP—a concept which EPA’s approach here disregards by assuming that a national approach is
the only way to adequately address interstate transport.

[…]

Importantly, EPA’s role in reviewing SIP submissions is narrowly tailored under the Clean Air Act. As EPA
has previously explained, “Congress assigned to states the primary responsibility to implement the
NAAQS[.]”16 If a SIP is deemed complete, “the Administrator shall approve such submittal as a whole if it
meets all the applicable requirements of this chapter[.]”17 Thus, if a SIP submission “meets all of the
applicable [Clean Air Act] requirements, the EPA must approve it.”18 In the proposal here, EPA has
strayed outside the statute and established court precedent to propose disapproval simply because
TCEQ’s modeling is not the same as EPA’s.

Although the Clean Air Act directs states to address interstate transport, the Clean Air Act does not
mandate that states address this obligation in any particular manner. EPA has adopted some regulations
that govern the SIP submittal process in general, but EPA has not adopted any regulatory standards that
define the requirements for interstate transport SIPs related to the 2015 ozone standard.19 And EPA
itself has recognized that the Clean Air Act gives states flexibility with respect to SIP submissions. EPA
has explained that “[t]he precise nature and contents of [a SIP] submission [are] not stipulated in the
statute.”20 Further, “EPA believes that the contents of the SIP submission required by section
110(a)(2)(D)(i) may vary depending upon the facts and circumstances related to the specific NAAQS.”21
Accordingly, states have broad discretion in developing SIP provisions to address interstate transport, as


                                                                                                            414
        Case: 23-60069           Document: 110          Page: 813       Date Filed: 03/27/2023




courts and EPA have recognized,22 and EPA must approve state choices when reviewing SIP submissions,
provided that they meet the criteria of the Clean Air Act.23

B. EPA’s Proposal Ignores the Cooperative Federalism Approach of the Clean Air Act

In light of the states’ broad discretion, EPA may not ignore the cooperative federalism structure of the
Clean Air Act and ignore the statutory SIP review process in order to enforce its policy preferences or
guidance on states.24 Nor can EPA use Section 110 “to force particular control measures on the
states[.]”25 The Clean Air Act “expressly gave the states initial responsibility for determining the manner
in which air quality standards were to be achieved,”26 and the states, not EPA, are primarily responsible
for quantifying and preventing their own significant contribution.27

The “regional nature” of ozone transport does not give EPA any greater authority over a SIP, as EPA
assumes in the proposal here.28 In fact, EPA has “unambiguously stated its interpretation that States
[have] an independent obligation under section 110(a) to submit ‘good neighbor’ SIPs regardless of
whether EPA first quantified each State’s emission reduction obligations.”29 And that is precisely what
TCEQ did here. Nonetheless, in the Proposed Disapproval, EPA has turned the Clean Air Act’s well-
established cooperative federalism regime on its head. Under EPA’s approach here, a state could never
issue a satisfactory interstate transport SIP, which is clearly contrary to the statute and court precedent.

EPA proposes to go beyond the actual requirements of the Clean Air Act and evaluate Texas’s SIP
according to new, non-statutory standards. Specifically, EPA proposes to reject TCEQ’s expert modeling
projections of future design values and TCEQ’s quantification and assessment of Texas’s “significant
contribution” in favor of its own modeling. However, EPA’s quantification and assessment of a State’s
“significant contribution” to downwind nonattainment or maintenance issues is not a requirement of
the Act.30 The Clean Air Act does not provide EPA the authority to second-guess TCEQ and disapprove its
SIP simply because TCEQ’s modeling does not match EPA’s modeling or because EPA believes TCEQ’s
modeling “may understate” projected design values or there is “potential underestimation.”31 The
standard that EPA applies to Texas’s SIP and its supporting technical analysis in the Proposed
Disapproval has no basis in the Clean Air Act.

EPA has announced its preference for a “nationally consistent approach,” but this preference cannot
override the clear and settled intent of Congress that states be permitted to implement different and
varying approaches if they choose. Nor can EPA’s policy goal heighten or alter the standard set out in
the Clean Air Act for a state’s SIP submittal such that a “deviation” from EPA’s preferred approach “must
be substantially justified,” as EPA claims.32 Plainly put, EPA does not write SIPs. EPA’s competing view of
Texas’s contribution or its potential to interfere with maintenance in downwind States, and EPA’s
overconservative methodology for determining these things, are not requirements of the Act, nor has
EPA promulgated regulations addressing this. In fact, EPA has recognized that it “has not directed states
that they must conduct [their] analysis in precisely the manner the EPA has done in its prior regional
transport rulemakings[.]”33 In fact, EPA has taken inconsistent approaches (none of which are grounded
in the statute), previously stating that states must only use an assessment of significant contribution
that is “comparable” to EPA’s preferred approach in order to have its SIP approved.34

Such discretion and flexibility is essential, as states must retain sufficient authority to discharge their
obligations under the Clean Air Act. It would be illogical for Congress to impose a burden on the states
                                                                                                         415
         Case: 23-60069            Document: 110            Page: 814         Date Filed: 03/27/2023




that they cannot reasonably discharge on their own but instead must wait for EPA let them know what
precisely to do, as EPA proposes here. The Supreme Court has expressly held that this is not the case.35
In fact, EPA has specifically expressed that the Clean Air Act “plac[es] an independent obligation” on
states to address their “good neighbor” obligation “regardless of whether EPA ha[s] prospectively
quantified its amount of ‘significant contribution.’”36 And EPA recognized the ability of states to
undertake such an obligation, acknowledging that “[s]tates are fully capable of measuring interstate
transport of emissions by conducting modeling, and they have done so before and continue to do
so[.]”37 This is logical, as “State air quality divisions are no strangers to complex air quality and
meteorological modeling of interstate transport of emissions.”38 Using its expertise in modeling, Texas
has discharged its obligation just as the Clean Air Act envisions here.

EPA cannot now ignore Congress’s clear language in the Clean Air Act and usurp the states’ role in the
NAAQS process. Regardless of whether EPA prefers a nationally uniform method for addressing ozone
transport, that is not what Congress mandated. As EPA has explained, “the Administrator is required to
approve a SIP submission that complies with the provisions of the [Clean Air Act] and applicable Federal
regulations.”39 Thus, EPA’s preference for states to rely on a certain approach cannot be the basis for
disapproval. Ultimately, EPA can only disapprove Texas’s SIP if it “fails to explain whether or not
emissions from the state significantly contribute to nonattainment in other states,” as required by the
Clean Air Act.40
5
  Luminant Generation Co. v. EPA, 675 F.3d 917, 921 (5th Cir. 2012).
6
  Id. (internal citations and quotations omitted).
7
  42 U.S.C. § 7401(a)(3).
8
  Texas v. EPA, 829 F.3d 405, 411 (5th Cir. 2016).
9
  42 U.S.C. § 7409(d).
10
   80 Fed. Reg. 65,292, 65,292 (Oct. 26, 2015).
11
   42 U.S.C. § 7410(a)(1).
12
   Id. § 7410(a)(2)(D).
16
   See Brief of EPA at 13, Texas v. EPA, No. 18-60606 (5th Cir. Mar. 8, 2019).
17
   See Luminant Generation, 675 F.3d at 921 (“With regard to implementation, the Act confines the EPA to the
ministerial function of reviewing SIPs for consistency with the Act’s requirements.”); see also Brief of EPA at 14,
Texas v. EPA, No. 18-60606 (5th Cir. Mar. 8, 2019) (“EPA must approve the SIP if it meets the Act’s requirements.”
(citing 42 U.S.C. § 7410(k)(3) and Union Elec. Co. v. EPA, 427 U.S. 246, 251 (1976))).
18
   Luminant Generation, 675 F.3d at 922 (emphasis added).
19
   However, EPA has done so for other NAAQS. See 40 C.F.R. §§ 51.123-.124.
20
   See EPA, Guidance for State Implementation Plan (SIP) Submissions to Meet Current Outstanding Obligations
Under Section 110(a)(2)(D)(i) for the 8-Hour Ozone and PM2.5 National Ambient Air Quality Standards, at 3 (Aug.
15, 2006), available at https://www3.epa.gov/ttn/naaqs/aqmguide/collection/cp2/20060815
_harnett_final_section_110(a)(2)(D)(i)_guidance.pdf (“2006 Guidance”).
21
   Id.
22
   See EME Homer City Generation, L.P. v. EPA, 696 F.3d 7, 47-48 (D.C. Cir. 2012) (Rogers, J., dissenting), reversed on
other grounds, 134 S. Ct. 1584 (2014) (“EME Homer I”).
23
   87 Fed. Reg. 21,027, 21,028 (Apr. 11, 2022).
24
   Luminant Generation, 675 F.3d at 927-29 (rejecting EPA attempt to enforce non-statutory requirements through
SIP review process).
25
   Com. of Va. v. EPA, 108 F.3d 1397, 1410 (D.C. Cir.), decision modified on reh’g, 116 F.3d 499 (D.C. Cir. 1997).
26
   Id. at 1407.
27
   EME Homer I, 696 F.3d at 49 (“States are fully capable of measuring interstate transport of emissions by
conducting modeling, and they have done so before and continue to do so[.]”).
                                                                                                                  416
        Case: 23-60069             Document: 110           Page: 815         Date Filed: 03/27/2023



28
   Every “good neighbor” obligation is regional by definition, therefore Congress must have understood that such
“regional” issues would still be primarily the subject of state responsibility, authority, and reasonable judgment.
29
   EME Homer I, 696 F.3d at 39; see also id. at 43.
30
   Id. at 47 (“Nowhere does the [Clean Air Act] place a requirement on EPA to quantify each State’s amount of
‘significant contribution’ to be eliminated pursuant to the ‘good neighbor’ provision[.]”).
31
   EPA Region 6, 2015 8-Hour Ozone Transport SIP Proposal, Technical Support Document, Docket No. EPAR06-OAR-
2021-0801-0002, at 39, 66 (Feb. 2022) (“Proposed TSD”) (emphasis added).
32
   87 Fed. Reg. at 9,801.
33
   Id. at 9,810.
34
   See 2006 Guidance at 5.
35
   See EME Homer II, 572 U.S. at 509.
36
   EME Homer I, 696 F.3d at 43.
37
   Id. at 49.
38
   Id.
39
   86 Fed. Reg. 71,830, 71,830 (Dec. 20, 2021).
40
   See Westar Energy, Inc. v. EPA, 608 Fed. Appx. 1, *3 (D.C. Cir. 2015) (affirming EPA disapproval where Kansas had
not analyzed the downwind impact of in-state emissions and had not concluded that it did not contribute).


Commenter: PacifiCorp

Commenter ID: 38

Docket ID: EPA-R08-OAR-2022-0315

Comment:

The good neighbor provision, at its core, is a state obligation. It is codified in Section 110 of the CAA,
which is the section granting states primary decision-making authority for developing SIPs to achieve the
NAAQS. EPA’s role under section 110 is to review and approve those plans, not to substitute its own
policy preferences or decisions for those made by the states. As long as a state’s plan is reasonable and
complies with the requirements of the CAA, EPA must approve it. The U.S. Supreme Court and multiple
Circuit Courts have repeatedly endorsed this cooperative federalism approach codified in Section 110.18
[…]

States have wide discretion in determining how to achieve the NAAQS, including their interstate
transport obligations, and EPA cannot force the states to adopt approaches reflecting the Agency’s
policy preferences. A “SIP basically embodies a set of choices . . . that the state must make for itself in
attempting to reach the NAAQS with minimum dislocation.”65 EPA also cannot substitute its own
judgment or a one-size-fits-all approach for that of the states when crafting a SIP, as the courts have
recognized over and over.66 This is especially true when a state’s SIP relied on guidance put forth by EPA.
[…]

The CAA does not require states to address their Good Neighbor obligations in a specific manner, nor
does it “enable EPA to force particular control measures on the states.”83 EPA has not adopted any
nationwide regulatory standards that purport to define the requirements for interstate transport SIPs
with respect to the 2015 ozone NAAQS.84 Specifically, EPA has previously explained that “[t]he precise
nature and contents of such a submission is not stipulated in the statute. [Therefore,] EPA believes that
                                                                                                               417
         Case: 23-60069             Document: 110            Page: 816          Date Filed: 03/27/2023




the contents of the SIP submission required by section 110(a)(2)(D)(i) may vary depending upon the
facts and circumstances related to the specific NAAQS.”85 This is one of the reasons the CAA assigns
development of implementation plans to the states – they are able to use their local knowledge and
familiarity with regional conditions to best design the right type of plan for their location and citizens’
values and priorities.

EPA claims it “has not directed states that they must conduct a Step 3 analysis in precisely the manner
the EPA has done in its prior regional transport rulemakings.”86 But EPA rejects the flexibilities it
previously provided to the states and instead insists on a one-size-fits-all approach when assessing
significant contribution to NAAQS. In fact, EPA’s disapprovals force Utah and other states to “complete
something similar to EPA’s analysis” or “an alternative approach” that meets EPA’s policy choices and
preferred methods.87

The Proposed Disapproval fails to recognize EPA’s limited role and obligation: “the Administrator shall
approve [a SIP or SIP revision] as a whole if it meets all of the applicable requirements of this chapter.”88
EPA has long recognized its limited role, as stated in a recent SIP approval:

         [T]he Administrator is required to approve a SIP submission that complies with the provisions of
         the CAA and applicable Federal regulations. 42 U.S.C. 7410(k); 40 CFR 52.02(a). Thus, in
         reviewing SIP submissions, EPA’s role is to approve state choices, provided that they meet the
         criteria of the CAA.89

It is inappropriate given the ozone situation in the West and EPA’s limited role for EPA to claim in the
Proposed Disapproval that it must “apply a consistent set of policy judgments across all states for
purposes of evaluating interstate transport obligations and the approvability of interstate transport SIP
submittals for the 2015 ozone NAAQS.”90 New policy judgments, even if labeled as uniform and
nationwide, have no place in determining whether a SIP meets applicable CAA requirements (which
support tailoring to the needs of the particular state), especially when those judgments contradict
previous EPA policies and practices.91

[…]

Additionally, EPA partially based its Proposed Disapproval on its own opinion of what factors Utah
should have considered:

         UDAQ’s analysis failed to evaluate emissions and emissions-reduction opportunities from most
         of the highest emitting NOx sources in the State, including multiple electric generating units
         located further east of the Salt Lake City, Utah area and thus closer to the Denver area receptors
         to which Utah contributes greater than 1 percent of the NAAQS. A state conducting a Step 3
         analysis should undertake an evaluation of these kinds of substantial and potentially cost-
         effective emissions reduction opportunities, and the failure to do so is grounds for disapproval.95

However, EPA cannot require Utah to adopt EPA’s non-statutory policy preferences through the SIP
review process since states, not EPA, are primarily responsible for quantifying and determining the
preferred method to prevent their own significant contribution.96
18
  See, e.g., Train, 412 U.S. 60 (1975); Union Elec. Co. v. EPA, 427 U.S. 246 (1976); Fla. Power & Light Co. v. Costle,
650 F.2d 579 (5th Cir. 1981).
                                                                                                                    418
         Case: 23-60069             Document: 110            Page: 817          Date Filed: 03/27/2023



65
   Concerned Citizens of Bridesburg v. EPA, 836 F.2d 777, 780–81 (3rd Cir. 1987); see also Com. of Virginia., 108
F.3d at 1410 (CAA Section 110 “does not enable EPA to force particular control measures on the states.”).
66
   Bridesburg, 836 F.2d at 781 (quoting Train v. Natural Res. Def. Council, Inc., 421 U.S. 60, 79 (1975)) (internal
citations and quotations omitted) (“EPA has limited authority to reject a SIP . . . . The [CAA] gives the Agency no
authority to question the wisdom of a State’s choices of emission limitations if they are part of a plan which
satisfies the standards of [Section 110(a)(2)], and the Agency may devise and promulgate a specific plan of its own
only if a State fails to submit an implementation plan which satisfies those standards.”).
83
   Com. of Va. v. EPA, 108 F.3d 1397, 1410 (D.C. Cir.), decision modified on reh’g, 116 F.3d 499 (D.C. Cir. 1997); see
also id. at 1407 (stating that the CAA “expressly gave the states initial responsibility for determining the manner in
which air quality standards were to be achieved.”).
84
   Compare with 40 C.F.R. §§ 51.123, 52.124 (outlining requirements for NOx and SO2 SIPs).
85
   EPA, W. Harnett, Guidance For State Implementation Plan (SIP) Submissions To Meet Current Outstanding
Obligations Under Section 110(A)(2)(D)(I) For The 8-Hour Ozone And Pm2.5 National Ambient Air Quality Standards
(Aug. 15, 2006) at 3, available at
https://www3.epa.gov/ttn/naaqs/aqmguide/collection/cp2/20060815_harnett_final_section_110(a
)(2)(D)(i)_guidance.pdf (“2006 Guidance”).
86
   See 87 FR at 31,481.
87
   Id. at 31,482.
88
   See North Carolina v. EPA, 531 F.3d 896, 923 (D.C. Cir. 2008) (“the text of section 110 . . . establishes the state as
the appropriate primary administrative unit to address interstate transport of emissions.”) (citations omitted); see
also Michigan v. EPA, 213 F.3d 663, 671 (D.C. Cir. 2000) (affirming EPA’s approach of “leav[ing] to the States the
task of determining how to obtain NOx reductions).
89
   Air Plan Approval; Wisconsin; Redesignation of the Wisconsin Portion of the Chicago- Naperville, Illinois-Indiana-
Wisconsin Area to Attainment of the 2008 Ozone Standard, 87 FR 21,027, 21,028 (Apr. 11, 2022).
90
   See 87 FR at 31,472.
91
   See, e.g., 81 FR 74,504, 74,506 (October 26, 2016), EPA, Cross-State Air Pollution Rule Update for the 2008 Ozone
NAAQS, Oct. 26, 2016 (declining to include western states in CSAPR program due to differences in western ozone
transport); EPA, S. Page, Director, OAQPS, “Information on Interstate Transport ‘Good Neighbor’ Provision for the
2008 Ozone National Ambient Air Quality Standards (NAAQS) under Clean Air Act (CAA) Section 110(a)(2)(D)(i)(I)”
(January 2015) at 4 (recommending ozone transport in western states should be evaluated on a case-by-case
basis).
95
   87 FR at 31,483.
96
   See, e.g., Luminant Generation Company LLC v. EPA, 675 F.3d 917, 927–29 (5th Cir. 2012) (rejecting EPA’s
attempt to enforce non-statutory requirements through SIP review process); Com. of Va., 108 F.3d at 1410 (D.C.
Cir.) (stating that CAA Section 110 “does not enable EPA to force particular control measures on the states.”); see
also Concerned Citizens of Bridesburg, 836 F.2d 777, 780–81 (“[A] SIP basically embodies a set of choices . . . that
the state must make for itself in attempting to reach the NAAQS with minimum dislocation.); EME Homer I, 696
F.3d at 49 (Judge Rogers, dissenting) (“States are fully capable of measuring interstate transport of emissions by
conducting modeling, and they have done so before and continue to do so[.]”).


Commenter: PacifiCorp (Berkshire Hathaway Energy Company Proposed FIP Comments Attachment)

Commenter ID: 38

Docket ID: EPA-R08-OAR-2022-0315

Comment:

BHE supports the authority granted under the CAA to states as the entities best suited to develop and
adopt implementation plans that are tailored to the geography, populations, meteorology and other
localized conditions of the specific state. The “good neighbor” provision, at its core, is a state obligation.
                                                                                                                    419
        Case: 23-60069          Document: 110          Page: 818       Date Filed: 03/27/2023




It is codified in Section 110 of the CAA, which is the section granting states the primary decision-making
authority for developing state implementation plans to achieve the NAAQS. EPA’s role under section 110
is to review and approve those plans, not to substitute its own policy decisions for those made by the
states. As long as a state’s plan is reasonable and complies with the requirements of the CAA, EPA must
approve it. The D.C. Circuit has repeatedly endorsed this cooperative federalism approach codified in
Section 110.42 However, the Proposed Rule threatens to impose a one-size-fits-all approach onto this
complex program rather than working with the western states to find the best solution, which must be
tailored to the conditions and resources in each state. EPA may feel backed into a corner because of
legal suits and its own delays in reviewing and approving each of the western state’s SIPs. BHE believes
the CAA provides, and in fact requires, a different and more effective approach.

[…]

States are uniquely positioned to identify the right mix of requirements for the unique emission sources
in their jurisdictions and to determine how best to align those requirements with other regulatory
efforts that target some of the same units and pollutants, like regional haze. In addition, states are best
positioned, and have a sovereign duty, to evaluate and implement the measures necessary to ensure
they achieve the required good neighbor provisions while also not jeopardizing their coal communities
and the bulk electric systems that serve their citizens.

[…]

BHE supports state authority to adopt a SIP to replace the FIP and recognizes the states’ ability to ensure
their SIP contains adequate provisions to prevent significant interference with attainment or
maintenance of the NAAQS in a downwind state. The good neighbor provision, at its core, is a state
obligation. It is codified in Section 110 of the Clean Air Act, which is the section granting states the
primary decision-making authority for developing SIPs to achieve the NAAQS. EPA’s role under section
110 is to review and approve those plans, not to substitute its own policy preferences or decisions for
those made by the states. As long as a state’s plan is reasonable and complies with the requirements of
the Clean Air Act, EPA must approve it. The D.C. Circuit has repeatedly endorsed this cooperative
federalism approach codified in Section 110.110

The D.C. Circuit and the U.S. Supreme Court have confirmed in litigation over EPA’s prior transport rules
that EPA has authority under Section 110 to set the basic parameters of what states must do to comply
with the good neighbor provision. Those courts have also confirmed that EPA may issue a FIP only if a
state’s SIP is deemed to be insufficient based on EPA’s parameters. In addition, provisions in the
Proposed Rule dictate SIP requirements not found in the CAA and essentially eliminate any reasonable
opportunity for states to make a future SIP submission. EPA has undermined the central principles
underlying both Section 110 and the Administrative Procedure Act by rejecting state good neighbor SIPs
that were based on EPA’s own guidance at the time those SIPs were written. For some states like
Nevada, Utah, and Wyoming, EPA did not even propose to reject those SIPs until after it had already
proposed a federal implementation plan with explicit requirements specifically targeted at those states.
Even if EPA ultimately cures its failure to observe the proper sequencing of responding to a state SIP
before proposing a FIP, its actions run roughshod over the states’ primary role in addressing
nonattainment under Section 110 and suggest that EPA never gave the state SIP submittals a considered
review, preferring instead to impose its own solution, in violation of legal principles. Agency action
                                                                                                       420
         Case: 23-60069             Document: 110            Page: 819         Date Filed: 03/27/2023




“must be timely, and it must be taken objectively and in good faith, not as an exercise in form over
substance, and not as a subterfuge designed to rationalize a decision already made.”111
42
   Train v. NRDC, 412 U.S. 60 (1975); Union Elec. Co. v. EPA, 427 U.S. 246 (1976); Fla. Power & Light Co. v. Costle,
650 F.2d 579 (5th Cir. 1981).
110
    Train v. NRDC, 412 U.S. 60 (1975); Union Elec. Co. v. EPA, 427 U.S. 246 (1976); Fla. Power & Light Co. v. Costle,
650 F.2d 579 (5th Cir. 1981)
111
    Metcalf v. Daley, 214 F.3d 1135, 1142 (9th Cir. 2000).




Commenter: United States Steel Corporation

Commenter ID: 45

Docket ID: EPA-R05-OAR-2022-0006

Comment:

By simultaneously proceeding with a FIP, EPA’s actions supplant states’ rights and authority under the
clean air act as Congress contemplated.

U. S. EPA Cannot Replace Sound State Decisions that Comply with the Clean Air Act with Federal
“Judgment” or “Policy”. It is well established that States have much latitude in developing and
implementing State Implementation Plans (SIPs.) While U.S. EPA may prefer a different approach or
alternative, a SIP can only be disapproved when is irrefutably shown to be inconsistent with the Clean
Air Act. In the proposed disapproval, U.S. EPA has not shown that the state submittals did not comply
with the Clean Air Act. The proposed disapproval of the SIPs is tied closely to EPA’s proposed FIP that
would have a “one-size fits all” approach that would inappropriately supplant the States’ individual
authority under the Clean Air Act.



Commenter: United States Steel Corporation

Commenter ID: 45

Docket ID: EPA-R06-OAR-2021-0801

Comment:

EPA has a role in the SIP process. However, that role should be a narrow one that gives deference to the
state pursuant to the cooperative federalism system established under the Clean Air Act (“CAA”). EPA’s
proposal to disapprove Arkansas’s interstate transport SIP for the 2015 ozone NAAQS1 goes beyond the
authority given to EPA by the CAA. State’s, such as Arkansas, are given discretion under the CAA to
address NAAQS through appropriate plans.2 EPA’s proposal oversteps the agency authority under the
CAA. The Arkansas SIP should be re-evaluated by EPA solely on the basis of whether Arkansas has met


                                                                                                                   421
         Case: 23-60069             Document: 110            Page: 820         Date Filed: 03/27/2023




the applicable CAA requirements. EPA should not use the SIP disapproval process to try to create a
“national ozone transport policy”.
1
  See 42 U.S.C. § 7410(a) (requiring States to submit plans to implement, maintain, and enforce NAAQS); see also
Com. of Va. v. EPA, 108 F.3d 1397, 1407 (D.C. Cir.), decision modified on reh’g, 116 F.3d 499 (D.C. Cir. 1997)
(stating that the CAA “expressly gave the states initial responsibility for determining the manner in which air
quality standards were to be achieved.”).
2
  See Union Elec. Co. v. EPA, 427 U.S. 246, 250 (1976) (“Each State is given wide discretion in formulating its plan.”);
Train v. NRDC, 412 U.S. 60, 79 (1975) (“[EPA] is relegated by the [Clean Air] Act to a secondary role in the process
of determining and enforcing the specific, source-by-source emission limitations which are necessary if the
national standards it has set are to be met.”); Fla. Power & Light Co. v. Costle, 650 F.2d 579, 587 (5th Cir. 1981)
(“The great flexibility accorded the states under the Clean Air Act is further illustrated by the sharply contrasting,
narrow role to be played by EPA.”)


Commenter: Utah Division of Air Quality

Commenter ID: 47

Docket ID: EPA-R08-OAR-2022-0315

Comment:

EPA’s Proposed Disapproval Goes Against the Principles of Cooperative Federalism

Prior to this proposed disapproval, UDAQ was successful in implementing the requirements of the Clean
Air Act (CAA) by working closely with our co-regulatory partners at EPA’s Region 8 office, as envisioned
by the principles of cooperative federalism. This close working relationship directly contributed to
significant recent achievements including reducing ambient PM2.5 concentrations and allowing all three
of Utah’s PM2.5 nonattainment areas to reach attainment by the attainment date for the current
NAAQS. As the state regulatory agency, UDAQ understands the nuances of our airsheds and the people’s
priorities, and can create state implementation plans that are best for Utah. The benefit of cooperative
federalism is having the autonomy to do what’s best for the state, but do so in partnership with EPA to
ensure that the CAA intent and requirements are met.

[…]

The EPA’s decision to change the acceptable criteria after the development and submission of SIPs, and
to do so with no additional guidance, puts states in the difficult position of trying to plan with a moving
set of criteria. This whipsaw approach inevitably results in wasted state time and resources. It has
become apparent to UDAQ that working closely with our EPA region has no bearing on the outcome of
some of EPA’s final regulatory actions and is inconsistent with principles of cooperative federalism. As
mentioned in Utah’s FIP comments, UDAQ respectfully requests EPA to consider ways to align its agency
more efficiently so that the policy priorities of the current administration better align with the
implementation and timing of CAA requirements at the regional and state level.



Commenter: Xcel Energy


                                                                                                                    422
       Case: 23-60069          Document: 110         Page: 821       Date Filed: 03/27/2023




Commenter ID: 52

Docket ID: EPA-R05-OAR-2022-0006

Comment:

Most importantly, the premature development of FIPs upsets the balance of state and federal authority
under the CAA conflicting with the principals of cooperative federalism, as was intended under the Act.
Congress delegated the authority to develop implementation plans to the states. EPA is only
empowered to develop an implementation plan if a state fails to satisfactorily exercise this authority.
The MPCA has developed a SIP which was based on guidance available at the time, taking into
consideration known NOx reductions. MN was identified as a non-significant contributor (below 0.7
parts per billion) in modeling performed by both EPA and LADCO and thus the MPCA SIP was built upon
that information. EPA’s disapproval of the MN SIP is based on revised EPA modeling that the MPCA, in
their comments, has identified flaws with (including the failure to consider substantial planned NOx
emission reductions). Xcel Energy encourages the EPA to allow the SIP process to work its way through
the system as provided for under the regulations - allowing for comments on, or reformulation of, the
SIP before EPA proposes or implements a FIP for the state of Minnesota. EPA’s premature development
of FIPs intrudes on authority that Congress specifically delegated to states.

This is particularly the case where, in the highly technical world of modeling, experts may disagree. In
reviewing the competing technical evaluations, it is unclear whether EPA has the more correct view. At a
minimum, we believe a more detailed technical discussion is warranted to first fully understand the
differences, and second, reach some technical consensus on the proper manner in which to evaluate
impacts and determine whether the proposed SIP should truly not be approved.



Commenter: Xcel Energy

Commenter ID: 52

Docket ID: EPA-R06-OAR-2021-0801

Comment:

Most importantly, the premature development of FIPs upsets the balance of state and federal authority
under the CAA conflicting with the principals of cooperative federalism, as was intended under the Act.
Congress delegated the authority to develop implementation plans to the states. EPA is only
empowered to develop an implementation plan if a state fails to satisfactorily exercise this authority.
EPA’s disapproval of the Texas SIP is based on revised EPA modeling that TCEQ, in their comments, has
identified as flawed. Xcel Energy encourages the EPA to allow the SIP process to work its way through
the system as provided for under the regulations - allowing for comments on, or reformulation of, the
SIP before EPA proposes or implements a FIP for the state of Texas. EPA’s premature development of
FIPs intrudes on authority that Congress specifically delegated to states.

This is particularly the case where, in the highly technical world of modeling, experts may disagree. In
reviewing the competing technical evaluations, it is unclear whether EPA has the more correct view. At a

                                                                                                    423
        Case: 23-60069             Document: 110           Page: 822         Date Filed: 03/27/2023




minimum, we believe a more detailed technical discussion is warranted to first fully understand the
differences, and second, reach some technical consensus on the proper manner in which to evaluate
impacts and determine whether the proposed SIP is truly not approvable



Response
The EPA responded generally to comments related to cooperative federalism in Section V.A.5 of the
preamble. Here, the EPA responds in further detail to comments related to cooperative federalism and
the EPA’s authority.

The EPA does not agree that it has in any way overstepped its authority in disapproving the SIP
submissions in this action. Commenters offer a cavalcade of arguments as to why the EPA cannot or
should not be allowed to exercise its independent judgment in evaluating the arguments presented by
the states and must approve each state’s submission in deference to how states choose to interpret the
CAA requirements they must meet. These arguments generally fail to acknowledge the past quarter-
century of the EPA’s efforts to implement the good neighbor provision through an efficient and
equitable allocation of states’ responsibility for interstate air pollution and the related case law
generally upholding that interstate transport implementation framework. They also generally misstate
the roles and responsibilities of the EPA and the states within the structure of the modern CAA as
enacted by Congress in 1970 and reflected in fundamental CAA case law. Nonetheless, we will address
these arguments in turn.96

As an initial matter, the EPA agrees that the CAA establishes a framework for state-federal partnership
to implement the NAAQS based on “cooperative federalism.” Under the general model of cooperative
federalism, the federal government establishes broad standards or goals, states are given the
opportunity to determine how they wish to achieve those goals, and if states choose not to or fail to
adequately implement programs to achieve those goals, a federal agency is empowered to directly
regulate to achieve the necessary ends. Thus, the EPA also agrees that states have the obligation and
opportunity in the first instance to develop an implementation plan to achieve the NAAQS under CAA
section 110, that state air agencies are fully capable of developing SIP submissions that satisfy the
requirements of the CAA, and that the EPA will approve SIP submissions under CAA section 110 that fully
satisfy the requirements of the CAA. This sequence of steps is not in dispute.




96
   Some topics raised by these comments are addressed in the preamble or in this RTC (“post hoc” justification,
alleged changes in EPA practice and policy, CAA section 126 petitions, requests for EPA to delay final action on SIP
submission disapprovals and on proposing or finalizing FIPs, EPA’s modeling, TCEQ’s modeling, comments about
EPA’s application of the guidance memoranda, and SIP calls). EPA’s response to comments about the withdrawal of
Alabama’s first good neighbor SIP submission for the 2015 ozone NAAQS is also addressed elsewhere in this
document. Some commenters argued that EPA should judge a state’s SIP submission based only on the
information available at some past date; some commenters pointed to the time of the statutory deadline of the
state submitting a SIP submission to EPA, while others pointed to the date a date submitted a SIP submission or
EPA’s statutory deadline to take action on a complete SIP submission. This topic is addressed elsewhere in the
preamble and RTC. Other topics raised in these comments are beyond the scope of this rulemaking (i.e.,
substantive requirements of proposed FIP in separate rulemaking).
                                                                                                                424
         Case: 23-60069            Document: 110            Page: 823          Date Filed: 03/27/2023




The EPA does not, however, agree with the commenters’ characterization of the EPA’s role in the state-
federal relationship as being “secondary” such that the EPA must defer to state choices heedless of the
substantive objectives of the Act; such deference would be particularly inappropriate in the context of
addressing interstate pollution. The EPA acknowledges that its role could be considered “secondary” in
that it occurs “second” in time, after the states submit SIP submissions. The EPA believes that the
commenters fundamentally misunderstand or inaccurately describe this action, as well as the “‘division
of responsibilities’ between the states and the federal government” they identify in CAA section 110
citing the Train-Virginia line of cases97 and other cases.98 Those cases, some of which pre-date the CAA
amendments of 1990 resulting in the current good neighbor provision,99 stand only for the proposition
that EPA must approve state plans if they meet the applicable CAA requirements. But these cases say
nothing about what those applicable requirements are. The EPA is charged under CAA section 110 with
reviewing states’ plans and approving or disapproving them. Thus, the EPA must ultimately determine
whether state plans satisfy the requirements of the Act or not. Abundant case law, including these cases
themselves, reflect an understanding that the EPA must evaluate SIP submissions under CAA section
110(k)(2) and (3).100 If they are deficient, the EPA must so find, and directly implement the relevant
requirements through a federal implementation plan under CAA section 110(c).101

In CAA section 110(a)(1), Congress imposed the duty upon all states to have a SIP that provides for “the
implementation, maintenance, and enforcement” of the NAAQS. In section 110(a)(2), Congress clearly


97
   See Virginia v. EPA, 108 F.3d 1397, 1407 (D.C. Cir. 1997) (quoting Train v. Natural Resources Defense Council, Inc.,
421 U.S. at 79). The “Train-Virginia line of cases” are named for the U.S. Supreme Court case Train v. Natural
Resources Defense Council, Inc., 421 U.S. 60 (1975) (Train) and to the D.C. Circuit case Virginia v. EPA, 108 F.3d
1397 (D.C. Cir. 1997). The D.C. Circuit has described these cases as defining a “federalism bar” that constrains the
EPA’s authority with respect to evaluation of state SIP submissions under CAA section 110. See, e.g., Michigan v.
EPA, 213 F.3d 663, 687 (D.C. Cir. 2000).
98
   Commenters also cited the following to characterize the nature of the state-federal partnership in the CAA:
Union Elec. Co. v. EPA, 427 U.S. 246 (1976), Am. Elec. Power Co. v. Connecticut, 565 U.S. 410 (2011), Fla. Power &
Light v. Costle, 650 F.2d 579 (5th Cir. 1981), North Carolina v. EPA, 531 F.3d 896 (D.C. Cir. 2008), Luminant, 675
F.3d 917 (5th. Cir. 2012), Concerned Citizens of Bridesburg v. EPA, 836 F.2d 777 (3d Cir. 1987), Bethlehem Steel
Corp. v. Gorsuch, 742 F.2d 1028 (7th Cir. 1984), Luminant Co. LLC v. EPA, 714 F.3d 841 (5th. Cir. 2013), North
Dakota v. EPA, 730 F.3d 750 (8th. Cir. 2013), and Texas v. USEPA, 829 F.3d 405 (5th. Cir. 2016).
99
   The 1970 version of the Act required SIPs to include “adequate provisions for intergovernmental cooperation”
concerning interstate air pollution. CAA section 110(a)(2)(E), 84 Stat. 1681, 42 U.S.C. section 1857c–5(a)(2)(E). In
1977, Congress amended the Good Neighbor Provision to direct States to submit SIP submissions that included
provisions “adequate” to “prohibi[t] any stationary source within the State from emitting any air pollutant in
amounts which will ... prevent attainment or maintenance [of air quality standards] by any other State.” CAA
section 108(a)(4), 91 Stat. 693, 42 U.S.C. § 7410(a)(2)(E) (1976 ed., Supp. II). Congress again amended the Good
Neighbor Provision in 1990. The Act, in its current form, requires SIPs to “contain adequate provisions ...
prohibiting ... any source or other type of emissions activity within the State from emitting any air pollutant in
amounts which will ... contribute significantly to nonattainment in, or interfere with maintenance by, any other
State with respect to any ... [NAAQS].” CAA section 110(a)(2)(D)(i)(I), 42 U.S.C. § 7410(a)(2)(D)(i) (2006 ed.).
100
    See, e.g., Virginia, 108 F.3d at 1406. See also, e.g., Westar Energy v. EPA, 608 Fed. App’x 1, 3 (D.C. Cir. 2015)
(“EPA acted well within the bounds of its delegated authority when it disapproved of Kansas's proposed [good
neighbor] SIP.”) (emphasis added); Oklahoma v. EPA, 723 F.3d 1201, 1209 (10th Cir. 2013) (upholding EPA’s
disapproval of “best available retrofit technology” (BART) SIP, noting BART “does not differ from other parts of the
CAA—states have the ability to create SIPs, but they are subject to EPA review”).
101
    EPA v. EME Homer City Generation, L.P., 572 U.S. 489, 495 (2014).
                                                                                                                  425
        Case: 23-60069             Document: 110           Page: 824         Date Filed: 03/27/2023




set forth the basic SIP requirements that “[e]ach such plan shall” satisfy.102 By using the mandatory
“shall” in section 110(a)(2), Congress established a framework of mandatory requirements within which
states may exercise their discretion to design SIPs to provide for attainment and maintenance of the
NAAQS and to meet other CAA requirements, including the good neighbor provision. In other sections of
the Act, Congress also imposed additional, more specific SIP requirements (e.g., the requirements in CAA
section 182 associated with ozone nonattainment areas depending on their level of classification).

The U.S. Supreme Court’s review of the original CSAPR rulemaking in EME Homer City directly affirms
the critical role the EPA plays in interpreting and, if necessary, implementing the good neighbor
provision and directly contradicts commenters’ assertions that the EPA has only a limited role to play in
reviewing states’ approaches to addressing good neighbor requirements. In the original 2012 decision of
the D.C. Circuit in EME Homer City Generation, L.P. v. EPA (EME Homer City I), the D.C. Circuit vacated
the Cross-State Air Pollution Rule for two reasons, one being related to statutory interpretation of CAA
section 110(a)(2)(D)(i), the other being “a second, entirely independent problem” based on EPA’s
purported overstep of the federalism bar identified in the Train-Virginia line of cases.103 After recounting
a list of decisions that recognize the cooperative federalism structure of the CAA, the D.C. Circuit
concluded that even though states have the “primary responsibility” for implementing the NAAQS, in
this case the states had no responsibility to address interstate transport until EPA first quantified the
obligations of the states.104 The dissent, however, described the majority’s application of the Train-
Virginia cases as “a redesign of Congress’s vision of cooperative federalism in implementing the CAA . . .
.”105 In reversing the EME Homer City I case in 2014, the U.S. Supreme Court held that the touchstone for
identifying the division of responsibility between the EPA and the states is the text of CAA section
110(a)(2) itself.106 The Court noted that pursuant to the CAA, after a NAAQS has been issued, a state
must propose a SIP submission that meets the requirements of the CAA, including the good neighbor
provision. 107 The Court went on to say that “nothing in the statute places EPA under an obligation to
provide specific metrics to States before they undertake to fulfill their good neighbor obligations.”108
More relevant here, the Court upheld certain of EPA’s interpretations of CAA section 110(a)(2)(D)(i)(I).109

After the U.S. Supreme Court’s ruling in EME Homer City, the EPA’s role under CAA section 110’s
cooperative federalism framework—as the agency charged with interpreting, applying, and, if necessary,
ultimately achieving at the national level the fundamental requirements of CAA section 110(a)(2), and
applying those reasonably interpreted requirements in evaluating state SIP submissions—cannot



102
    CAA section 110(a)(2) (emphasis added); see EPA v. EME Homer City Generation, L.P., 572 U.S. 489, 509 (2014)
(holding that section 110(a)(2) “speaks without reservation” regarding what “components” a SIP “‘shall’ include”);
H. Rept. 101–490, at 217 (calling the provisions of section 110(a)(2)(A) through (M) “the basic requirements of
SIPs”).
103
    EME Homer City Generation, L.P. v. EPA, 696 F.3d 7, 28 (D.C. Cir. 2012) (EME Homer City I), rev’d, 572 U.S. 489
(2014).
104
    Id at
105
    Id. at 38 (Rogers, J., dissenting).
106
    EPA v. EME Homer City Generation, L.P., 572 U.S. 489 (2014) at 507-510.
107
    Id. at 509 (citing, inter alia, CAA section 110(a)(2)).
108
    Id. at 509.
109
    Id. at 518-524.
                                                                                                                426
            Case: 23-60069             Document: 110   Page: 825        Date Filed: 03/27/2023




reasonably be in doubt.110 Several commenters cite the dissent in EME Homer City I to argue that states
are primarily responsible for quantifying and preventing their own significant contribution. EPA does not
dispute that the CAA requires a state to prepare a SIP submission in the first instance before the EPA
reviews it, but the EPA does dispute the implication that the EPA must defer in all instances to a state’s
interpretation of the requirements of the CAA, including a state’s determination that its own sources of
emissions and other emissions activities do not significantly contribute to nonattainment or interfere
with maintenance in other states. The U.S. Supreme Court in EME Homer City reiterated that EPA’s
interpretation of ambiguous statutory language is afforded deference and determined that “[t]he Good
Neighbor Provision delegates authority to EPA at least as certainly as the CAA provisions involved in
Chevron[, U.S.A., Inc. v. Natural Res. Def. Council, Inc., 467 U.S. 837 (1984)].”111 EPA is therefore granted
deference in its interpretation of the requirements of CAA section 110(a)(2)(D)(i)(I) and is not required
to accept at face value a state’s interpretation in its own SIP submission that the state has fully satisfied
the requirements of the CAA. The EPA notes also that courts have been deferential to the EPA’s
technical expertise in evaluating scientific data, which is particularly relevant in the context of the
complex analyses undertaken to implement the good neighbor provision. Wisconsin v. EPA, 938 F.3d
303, 328 (D.C. Cir. 2019) (citing North Carolina v. EPA, 531 F.3d 896, 925 (D.C. Cir. 2008) (affording
“substantial deference to EPA’s technical expertise”); Westar Energy, Inc. v. EPA, 608 F. App’x 1 (D.C. Cir.
2015) (agency action “regarding technical matters within its area of expertise warrants particular
deference”) (citing Baltimore Gas & Elec. Co. v. NRDC, 462 U.S. 87, 103 (1983); W. Virginia v. EPA, 361
F.3d 861, 867-68 (D.C. Cir. 2004)); see also, e.g., Catawba County v. EPA, 571 F.3d 20, 41 (D.C. Cir. 2009)
(we give an “extreme degree of deference to [EPA] when it is evaluating scientific data within its
technical expertise”) citing City of Waukesha v. EPA, 320 F.3d 228, 247 (D.C. Cir. 2003) (internal
quotation marks omitted).

Notwithstanding the directly applicable holdings in EME Homer City concerning EPA’s authority in
implementing the good neighbor provision, commenters cite several other cases for arguments that EPA
cannot substantively question the conclusions a state reaches about its own good neighbor obligations
in a SIP submission: Alaska Dep't of Env't Conservation v. EPA, 540 U.S. 461 (2004), North Carolina v.
EPA, 531 F.3d 896 (D.C. Cir.), modified on reh'g in part, 550 F.3d 1176 (D.C. Cir. 2008), Michigan v. EPA,
213 F.3d 663 (D.C. Cir. 2000), Virginia v. EPA, 108 F.3d 1397 (D.C. Cir. 1997) modified on reh’g, 116 F.3d
499 (D.C. Cir. 1997), Concerned Citizens of Bridesburg v. EPA, 836 F.2d 777 (3d Cir. 1987), Fla. Power &
Light v. Costle, 650 F.2d 579 (5th Cir. 1981), Luminant Generation Company v. EPA, 675 F.3d 917 (5th Cir.
2012), Luminant Co. LLC v. EPA, 714 F.3d 841 (5th. Cir. 2013), Texas v. EPA, 829 F.3d 405 (5th. Cir. 2016),
Bethlehem Steel Corp. v. Gorsuch, 742 F.2d 1028 (7th Cir. 1984), Oklahoma v. EPA, 723 F.3d 1201 (10th
Cir. 2013), North Dakota v. EPA, 730 F.3d 750, 761 (8th Cir. 2013), and Westar Energy, Inc. v. EPA, 608 F.
App’x 1 (D.C. Cir. 2015).

None of these cases actually support this proposition.

First, Alaska Dep’t of Envt’l Conservation does not stand for the premise that the EPA’s role in the state-
federal partnership is limited to rote application of the exact language of the CAA. To the contrary, the
Supreme Court in that case held that the EPA’s “oversight role” in CAA sections 113(a)(5) and 167

110
      See id. at 495 (citing Chevron, 467 U.S. 837).
111
      Id. at 513.
                                                                                                         427
         Case: 23-60069             Document: 110             Page: 826   Date Filed: 03/27/2023




included the authority to inquire whether a state’s best available control technology (BACT)
determination in a prevention of significant deterioration (PSD) permit is reasonable. Under those
provisions, the Court held, “[O]nly when a state agency’s BACT determination is ‘not based on a
reasoned analysis’ may EPA step in to ensure that the statutory requirements are honored.”112 The
Court went on to note, however, that the EPA’s discretion in issuing a “stop order” under these
provisions was more constrained than issuing initial approvals or disapprovals: “in contrast, a required
approval may be withheld if EPA would come to a different determination on the merits.”113 The court
further elaborated that “EPA’s limited but vital role in enforcing BACT is consistent with a scheme that
‘places primary responsibilities and authority with the States, backed by the Federal Government.”114
This case only underscores the role the EPA must play in assessing whether a SIP submission satisfies the
requirements of the CAA. The Court noted, “We fail to see why Congress, having expressly endorsed an
expansive surveillance role for the EPA in two independent CAA provisions, would then implicitly
preclude the Agency from verifying substantive compliance with the BACT provisions and, instead, limit
EPA’s superintendence to the insubstantial question whether the state permitting authority had uttered
the key words ‘BACT.’”115

Commenters quote North Carolina v. EPA, 531 F.3d 896 (D.C. Cir. 2008) modified on reh'g in part, 550
F.3d. 1176 (DC Cir. 2008), the D.C. Circuit’s review of the Clean Air Interstate Rule, for the sentence that
a state is “the appropriate primary administrative unit to address interstate transport of emissions,” but
that quote was used in the context of the court determining that EPA may select an entire state, as
opposed to part of a state, as the “unit of measurement” in either a SIP Call or a FIP rulemaking.116 North
Carolina cannot fairly be described as a case holding that EPA does not have authority to interpret the
requirements of CAA section 110(a)(2)(D)(i)(I) when reviewing a good neighbor SIP submission.

Commenters cite Michigan v. EPA, 213 F.3d 663 (D.C. Cir. 2000) to argue that states get the first
opportunity to identify which sources should be controlled and to what degree under the CAA. One
commenter argues that the Michigan holding means that EPA can only identify the level of emissions
reductions to be achieved by states under CAA section 110(a)(2)(D)(i)(I) and states themselves choose
the controls. The Michigan court found that the NOX budgets established in the NOX SIP call did not
impermissibly trigger the ‘federalism bar’ outlined in the Train-Virginia line of cases in part because the
action did not dictate which individual sources would be subject to controls.117 In any event though, the
action at issue in Michigan was a SIP call, not a SIP disapproval. In this SIP disapproval, EPA is not
requiring any controls on any states. The Michigan case does not prohibit EPA from interpreting the
requirements of CAA section 110(a)(2)(D)(i)(I) in reviewing a SIP submission. Michigan noted that under
the state-federal partnership in the CAA, even though “states have considerable latitude in fashioning
SIPs, the CAA ‘nonetheless subject[s] the States to strict minimum compliance requirements’ and gives
EPA the authority to determine a state’s compliance with the requirements.”118


112
    Alaska Dep’t of Envt’l Conservation, 540 U.S. 461, 490 (2004).
113
    Id. at 491.
114
    Id. at 491 (citing S. Rep. No. 95-217, p. 29).
115
    Id. at 490.
116
    North Carolina v. EPA, 531 F.3d 896, 923 (D.C. Cir. 2008).
117
    Michigan, 213 F.3d 663, 687 (D.C. Cir. 2000).
118
    Id. (citing Union Elec. Co. v. EPA, 427 US 246, 256-257 (1976)).
                                                                                                        428
         Case: 23-60069            Document: 110            Page: 827       Date Filed: 03/27/2023




Commenters cite Virginia v. EPA, 108 F.3d 1397 (D.C. Cir. 1997), modified on reh’g, 116 F.3d 499 (D.C.
Cir. 1997) for the arguments that states have a primary role and responsibility in implementing NAAQS,
the EPA cannot substitute states’ judgement with its own, and the EPA cannot require specific controls
in a SIP or condition approval of a SIP on specific controls. In Virginia, the Court remanded an EPA SIP
call that sought to require states in the Northeast Ozone Transport Region to adopt restrictions on the
sale of new cars to either match California’s vehicle emission program or adopt a “Substitute Program”
in their SIPs.119 The Virginia court determined the Substitute Program was not a meaningful alternative
and so EPA had impermissibly sought to specify particular controls in SIPs.120 However, the D.C. Circuit
clarified in Appalachian Power Co. v. EPA, 249 F.3d 1032 (D.C. Cir. 2001), “We did not suggest [in
Virginia] that under § 110 states may develop their plans free of extrinsic legal constraints. Indeed, SIP
development . . . commonly involves decision-making subject to various legal constraints.”121 Therefore,
Virginia cannot be viewed as supporting an argument that EPA is not permitted to assess a state’s
judgements in a SIP submission for adherence with the requirements of CAA section 110(a)(2)(D)(i)(I).
Furthermore, in these SIP disapprovals, EPA is not requiring any controls in any SIP.

One comment, citing Virginia, argued that the EPA cannot disapprove Maryland’s choices of emissions
limitations and replace them with EPA’s preferred emissions limitations in a FIP. However, Maryland
concluded in its SIP submission that the state has no obligations to reduce any emissions beyond
existing levels under the good neighbor provision for the 2015 ozone NAAQS and made no choice of any
emissions limitations to include in its SIP. [87 FR 9463, 9469 (February 22, 2022); see also Maryland’s
October 16, 2019, SIP submittal included in docket ID No. EPA–R03–OAR–2021– 0872. (No other state
included any enforceable emissions controls in their SIP submissions either.)

Commenters cite Concerned Citizens of Bridesburg v. EPA, 836 F.2d 777 (3d Cir. 1987) for the argument
that the EPA is not allowed to make states adopt non-statutory, after the fact policy preferences
through the SIP review process. In that case, the court reviewed EPA’s action to rescind certain
regulations addressing odor, for which there is no NAAQS, in Pennsylvania’s SIP, approved by the EPA 13
years previously.122 The court reached a decision on procedural challenges brought against EPA’s action;
the court determined that the EPA’s action constituted a SIP revision, under an earlier version of the
CAA, which was subject to certain procedural requirements, which the EPA failed to follow.123 However,
in this action the EPA is not modifying any prior approval of a SIP addressing CAA section
110(a)(2)(D)(i)(I) for the 2015 ozone NAAQS by EPA. Instead, the EPA is disapproving SIP submissions
that fail to satisfy the requirements of CAA section 110(a)(2)(D)(i)(I) for the 2015 ozone NAAQS. Here,
the EPA is not seeking to modify any previously approved SIP to account for updated understanding of
the breadth of the EPA’s legal authority.

Commenters cite Fla. Power & Light v. Costle, 650 F.2d 579 (5th Cir. 1981) to argue states have
“extensive discretion” in the contents of their SIPs. In that case, under an earlier version of the CAA,
Florida submitted a PSD SIP revision submission to accommodate Florida Power & Light’s request for an


119
    Virginia v. EPA, 108 F.3d 1397 (D.C. Cir. 1997).
120
    Id at 1415.
121
    Appalachian Power Co. v. EPA, 249 F.3d 1032, 1047 (D.C. Cir. 2001)
122
    Concerned Citizens of Bridesburg v. EPA, 836 F.2d 777 (3d Cir. 1987).
123
    Id. at 784, 788.
                                                                                                       429
           Case: 23-60069             Document: 110    Page: 828        Date Filed: 03/27/2023




exemption from the approved SIP related to sulfur dioxide emissions.124 A subsequent “attachment” to
the SIP revision submission to the EPA contained a 2-year limit on the exemption, which the EPA
approved. Florida later requested to withdraw the 2-year limit, which EPA disapproved. Citing Train, the
5th Circuit rejected EPA’s inclusion of the 2-year limit in the SIP revision approval on the basis that a 2-
year limit was not a substantive requirement of the CAA, and the court rejected EPA’s interpretation of
Florida law that a 2-year limit would be necessary for the SIP revision to be enforceable under state law.
The court’s description of the EPA’s role under the CAA in that the case did not stand for the premise
that the EPA is not permitted to interpret the requirements of CAA; rather that the case concluded that
EPA is confined to interpreting the requirements of the CAA. Here, the EPA is not approving, or
disapproving, any aspect of a SIP revision that a state no longer wishes to be part of its SIP; the EPA is
disapproving these SIP submissions for failing to demonstrate they satisfy the requirements of CAA
section 110(a)(2)(D)(i)(I).

Commenters cite Luminant Generation Company, L.L.C. et al. v. EPA, 675 F.3d 917 (5th. Cir. 2012), for
the premise that the EPA cannot disapprove SIP submissions on the basis of non-statutory policy
preferences. Another version of this argument is that the EPA is not allowed to make states adopt non-
statutory, after the fact policy preferences through the SIP review process. In Luminant, the 5th Circuit
remanded the EPA’s disapproval of a Texas SIP submission under CAA section 110(l) related to New
Source Review (NSR) to consider whether the SIP submission comported with the requirements of CAA
section 110(a)(2)(C) and 110(l); the court found it impermissible for EPA to inquire whether the SIP
submission at issue comported with Texas law or satisfied “similar source” and “replicability”
requirements, which the court found did not exist in the text of the CAA.

However, the EPA does not view the basis of the EPA’s conclusions in the rule at issue in Luminant as
analogous to this disapproval action. Alabama Power Company did not identify specifically what “non-
statutory, policy preferences” they allege the EPA utilized in proposing to disapprove Alabama’s earlier
SIP submission. Association of Electric Companies of Texas, et. al. cite the EPA’s methodology and
quantification of Texas’s “significant contribution” and “interference with maintenance” as well as EPA’s
rejection of Texas’s analysis as non-statutory factors that cannot be used to assess Texas’s SIP
submission. A commenter also identifies the EPA modeling as a non-statutory requirement that cannot
be used to disapprove Texas’s SIP submission. They further argue that EPA has no authority to “second-
guess” TCEQ’s modeling, particularly because the EPA has not promulgated regulations on modeling.
Commenters further argue that the EPA is coercing the states to develop SIP submissions ‘comparable’
to the EPA’s approach, which they say is not a statutory requirement.

The EPA is not disapproving any SIP submission because it did not use the EPA’s modeling or
methodology for assessing good neighbor obligations, nor is the EPA promulgating a SIP call seeking new
SIP submissions. The EPA is disapproving the SIP submissions for failing to support a conclusion that the
states have no good neighbor obligations under the 2015 ozone NAAQS. The EPA used its own modeling
to inform its assessment of the SIP submissions with the requirements of CAA section
110(a)(2)(D)(i)(I).125 Additionally, the EPA is authorized in its oversight role under the CAA to examine
the analysis put forward by states, so the EPA is well within its authority to “second-guess” TCEQ’s

124
      See 42 U.S.C. section 7410(a)(2) (Supp. 1979).
125
      See, e.g., 87 FR 9798, 9800-9801.
                                                                                                        430
        Case: 23-60069            Document: 110           Page: 829         Date Filed: 03/27/2023




modeling.126 The EPA is not required by the CAA to promulgate regulations governing the good neighbor
analysis. Further, the EPA is not required to provide guidelines for CAA section 110(a)(2)(D)(i)(I).127
However, each step in the EPA’s analysis in this action is guided by the EPA’s interpretation and
application of each of the key terms of the CAA in this provision, reflecting over a quarter-century of
administrative and judicial precedent. The good neighbor provision remains unchanged from the
statutory text the EPA first applied in the NOX SIP Call, and both the D.C. Circuit and the Supreme Court
have had occasion to review the EPA’s interpretation and application of those terms across several
major rulemakings. In each of these rulemakings, the EPA has applied a consistent analytical approach to
addressing the problem of interstate pollution, and that approach faithfully adheres to the terms of the
statute as Congress enacted it. Each step of this process is tied to the statute: the identification of
“nonattainment” and “maintenance” receptors (Step 1); the identification of “contribution” to those
receptors by analyzing emissions from “any source or other type of emissions activity” within each state
(Step 2); the analysis of what “amount” of that contribution is “significant” (or “interferes” with
maintenance) (Step 3); and finally, the evaluation of whether the SIP “contains adequate provisions”
“prohibiting” those emissions (Step 4).

Luminant Co. LLC v. EPA, 714 F.3d 841 (5th. Cir. 2013) is cited to support an argument that Congress
tasked the EPA with setting NAAQS but gave states authority to implement it. Although the court in that
case did say that “[T]he Act confines the EPA to the ministerial function of reviewing SIPs for consistency
with the Act’s requirements[,]” the court nevertheless upheld EPA’s judgement of Texas’s SIP
submission that affirmative defenses for unplanned startup, shutdown, and maintenance/malfunction
(SSM) activity conformed with the requirements of the CAA, and the EPA was afforded deference in
concluding that affirmative defenses for planned SSM activity did not conform with the requirements of
the CAA.128 That court, citing Fla. Power & Light Co. and Bethlehem Steel, found the EPA was not
arbitrary and capricious in partially approving and partially disapproving Texas’s iSIP submission.129 The
court also found that CAA section 110(l) did not require EPA, in disapproving a SIP submission, to prove
a violation of the NAAQS would occur if the Agency approved part of an iSIP submission; rather, the EPA
needs to provide “reasoning supporting its conclusion that the disapproved provision would interfere
with an applicable requirements of the Act.”130 While the court used the term “ministerial” to describe
EPA’s role, this case actually reinforces that EPA’s role includes interpreting the requirements of the CAA
to determine whether a SIP submission comports with those requirements.

Commenters cite Texas v. EPA, 829 F.3d 405 (5th. Cir. 2016) to argue that the structure of the CAA itself
indicates Congress wanted states to drive the regulatory process, not the EPA. In Texas, the 5th Circuit
granted a preliminary stay of the EPA’s disapproval of Oklahoma’s and Texas’ regional haze SIP
submissions and promulgation of FIPs and did not reach the merits of either the EPA’s assessment of the
SIP submissions’ compliance with the requirements of the CAA or the FIPs.131 The decision cannot


126
    For specific details on EPA’s assessment of TCEQ modeling, please refer to the Evaluation of TCEQ Modeling
TSD.
127
    See EME Homer City at 510.
128
    Luminant Co. LLC v. EPA, 714 F.3d 841, 846 (5th. Cir. 2013)
129
    Id. at 858-859.
130
    Id. at 858.
131
    Texas v. EPA, 829 F.3d 405 (5th. Cir. 2016)
                                                                                                                 431
        Case: 23-60069             Document: 110            Page: 830   Date Filed: 03/27/2023




reasonably be interpreted to stand for the proposition that the EPA is not authorized to interpret the
requirements of CAA section 110(a)(2)(D)(i)(I) in reviewing good neighbor SIP submissions.

Commenters cite Bethlehem Steel Corp. v. Gorsuch, 742 F.2d 1028 (7th Cir. 1984) for the argument that
the EPA is not allowed to make states adopt non-statutory, after the fact policy preferences through the
SIP review process. In that case, examining an earlier version of the CAA, the court found that EPA did
not follow appropriate procedure in partially approving Indiana’s SIP revision but disapproving an
exemption provision, because the effect of doing that increased the stringency of the SIP for certain
emissions above what Indiana had intended.132 In the court’s view, the EPA could have disapproved the
SIP submission and followed the required procedure to promulgate a replacement plan.133 The case did
not conclude the EPA is barred from interpreting the requirements of the CAA in determining whether a
SIP submission comports with the requirements of the CAA. Further, in this action the EPA’s partial
approval and partial disapproval of the SIP submissions from Minnesota and Wisconsin has no effect on
the stringency of the states’ SIPs, since neither SIP submission included any emissions controls to begin
with.

Commenters cited North Dakota v. EPA, 730 F.3d 750 (8th. Cir. 2013) for the premise that states have
primary responsibility to address interstate transport and the EPA is limited to only reviewing a SIP
submission for compliance with the CAA. In North Dakota, the court dismissed all challenges but one to
an action that simultaneously disapproved two SIP submissions and promulgated FIPs for North Dakota
under CAA sections 110 and 169A (the court remanded EPA’s best available retrofit technology (BART)
determination in a FIP).134 On one of the cited pages in North Dakota, 730 F.3d at 757, the court cited
cases including EME Homer City I, a case later overturned by the Supreme Court, in its background
section characterizing cooperative federalism. On the other page of North Dakota cited by commenters,
id. at 761, the court, citing Oklahoma v. EPA, 723 F.3d 1201, 1213 n. 7 (10th. Cir. 2013), said, “Although
the CAA grants states the primary role of determining the appropriate pollution controls within their
borders, the EPA is left with more than the ministerial task of routinely approving SIP submissions.”135
The North Dakota court similarly cited the reasoning in Alaska Department of Environmental
Conservation v. EPA, 540 U.S. 461 (2004) related to the EPA’s authority under CAA section 167, finding it
“persuasive” in the context of CAA section 169A.136 This case does not support an argument that the EPA
is not permitted to interpret the requirements of the CAA in reviewing a SIP submission for compliance
with them. On the contrary, the case reinforces that EPA may (indeed, must) do so.

Commenters cite Oklahoma v. EPA, 723 F.3d 1201 (10th. Cir. 2013) to argue that although SIPs are
subject to federal oversight, the EPA’s ability to reject a SIP submission is more limited compared to its
authority to promulgate a FIP. The implication appears to be that the EPA somehow is so limited in its
ability to review a SIP submission that the Agency cannot actually disapprove a SIP submission. But in
that case, the court did not suggest that the EPA is barred from interpreting the requirements of the



132
    Bethlehem Steel Corp. v. Gorsuch, 742 F.2d 1028 (7th Cir. 1984).
133
    Id. at 1035.
134
    North Dakota v. EPA, 730 F.3d 750 (8th Cir. 2013).
135
    Id. at 760-761.
136
    Id. at 761.
                                                                                                         432
         Case: 23-60069             Document: 110            Page: 831         Date Filed: 03/27/2023




CAA in reviewing SIP submissions.137 On the contrary, in Oklahoma the court found that EPA has the
authority to interpret the requirements of the CAA and review SIP submissions accordingly. The court
found that EPA lawfully disapproved Oklahoma’s SIP submission related to best available retrofit
technology (BART) at units at two generating stations for a sulfur dioxide NAAQS on the basis that EPA
concluded Oklahoma’s cost estimate methodology was flawed, and that the Agency was not arbitrary
and capricious in simultaneously promulgating a FIP for Oklahoma in the same action as the SIP
disapproval.138 Although the commenters cite part of footnote 7 from that case: “EPA has less discretion
when it takes actions to reject a SIP than it does when it promulgates a FIP” the full footnote went on to
say “However, we believe that the EPA had reason to make the adjustments described in Section IV, Part
B, even under the higher standard we would apply when evaluating its actions in rejecting a SIP. OG & E
has yet to provide any justification for providing estimates that departed from the [BART] guidelines.”139

A few commenters, citing Westar Energy, Inc. v. EPA, 608 F. App’x 1 (D.C. Cir. 2015), argue that EPA is
limited to identifying merely whether a SIP submission “explain[s] whether or not emissions from the
state’ significantly contribute to nonattainment in other states.” That characterization of Westar is,
however, a misleading representation. In that case, the D.C. Circuit upheld the EPA’s disapproval of
Kansas’s good neighbor SIP submission for the 2006 24-hour PM2.5 NAAQS.140 The court, noting that
Agency action “regarding technical matters within its area of expertise warrants particular deference[,]
[s]ee Baltimore Gas & Elec. Co. v. NRDC, 462 U.S. 87, 103 (1983); W. Virginia v. EPA, 361 F.3d 861, 867-
68 (D.C. Cir. 2004) [(citations cleaned up)],” held that EPA has authority to determine whether SIP
submissions comply with the requirements of the CAA and acted within the bounds of its delegated
authority when it disapproved Kansas's good neighbor SIP submission.141 The court noted that a
September 2009 guidance document indicated that states “‘must explain whether or not emissions from
the state’ significantly contribute to nonattainment in other states and if so, ‘address the impact’” and
“that a state’s conclusion ‘must be supported by an adequate technical analysis.’”142 The court also
rejected arguments from petitioners that EPA was required to provide specific metrics to states before
they undertook fulfilling their good neighbor obligations, citing the Supreme Court’s decision in EME
Homer City.143 In its SIP submission, Kansas concluded it had no good neighbor obligations for the
relevant NAAQS, but did not provide an analysis of the downwind impacts of its emissions. Kansas
simply pointed out that four utility companies would reduce NOX and SOX emissions due to agreements
in Kansas’s Regional Haze SIP submission, but Kansas did not consider the downwind impacts of these or
any other sources within the state. The EPA determined that Kansas’s SIP submission lacked technical
justification evaluating nonattainment and maintenance problems in downwind states.144 In upholding


137
    Oklahoma v. EPA, 723 F.3d 1201, 1209 (10th Cir. 2013) (“[S]tates have the ability to create SIPs, but they are
subject to EPA review.”).
138
    Id. at 1207, 1224,
139
    Id. at 1213, n. 7.
140
    Westar Energy, Inc. v. EPA, 608 F. App’x 1 at *3.
141
    Id. at 3.
142
    Id., citing William T. Hartnett, Director, Air Quality Policy Division, Guidance on SIP Elements Required Under
Sections 110(a)(1) and (2) for the 2006 24–hour Fine Particle (PM2.5) National Ambient Air Quality Standards
(NAAQS) at 3 (Sept. 25, 2009).
143
    Id. at 4 citing EME Homer City at 509-510.
144
    Id. at 3.
                                                                                                                      433
        Case: 23-60069            Document: 110           Page: 832        Date Filed: 03/27/2023




the EPA, the court noted, “EPA acted well within the bounds of its delegated authority when it
disapproved of Kansas’s proposed [good neighbor] SIP.” Id. at 3 (emphasis added).

Several commenters, pointing to the absence of CFR regulations for the good neighbor provisions for the
2015 ozone NAAQS, a guidance document from August 2006 for the 1997 ozone NAAQS and the 1997
PM2.5 NAAQS,145 the 2018 memoranda (discussed elsewhere in this action), and the text of the proposals
themselves argue that the EPA has repeatedly recognized that CAA section 110(a)(2)(D)(i)(I) does not
stipulate any one specific approach to addressing interstate transport but that EPA is now assessing SIP
submissions against the Agency’s policy preferences as opposed to the actual requirements of the CAA.
One commenter argues that national consistency is not required by the CAA and so the EPA cannot
consider it (or the regional nature of the ozone problem) in reviewing SIP submissions for compliance
with CAA section 110(a)(2)(D)(i)(I) (conversely, another commenter says that inconsistent treatment
across states would be arbitrary).

The EPA disagrees that the Agency in this action is shifting its approach to assessing SIP submissions
under the good neighbor provision. The EPA has consistently analyzed good neighbor SIP submissions
for compliance with the statute. As reiterated multiple times, the EPA is not required by the CAA to
promulgate either regulations or guidance for good neighbor obligations in CAA section
110(a)(2)(D)(i)(I).146 Specific comments related to the 2018 memoranda are addressed elsewhere.

The comment letter from the Association of Electric Companies of Texas, et. al. argues that the EPA’s
August 2006 Guidance required a “comparable” Step 3 analysis to the EPA’s, but that the text of the CAA
does not require this. Luminant also cites the August 2006 Guidance to argue that EPA has been
inconsistent in how it has approached the good neighbor provision, pointing out that the 2006 Guidance
suggested states should use a “comparable” assessment for significant contribution as the EPA. The EPA
first notes the August 2006 guidance was by its own terms for the 1997 8-hour ozone NAAQS and the
1997 PM2.5 NAAQS and in particular was written for states that were not subject to CAIR FIPs for either
NAAQS. As such, the document is not applicable to the 2015 ozone NAAQS. It was also issued before the
D.C. Circuit issued its opinion and remanded CAIR in North Carolina v. EPA, 531 F.3d 896 (DC Cir. 2008),
modified on reh’g, 550 F.3d. 1176 (DC Cir. 2008), thus many suggestions in the guidance are likely now
obsolete. To the extent commenters are suggesting the August 2006 guidance was unlawful, EPA notes
that the text of the August 2006 guidance document itself said that “this document is merely guidance
that States or EPA may elect to follow or deviate from …, as appropriate. The ultimate determination of
whether a given SIP submission by a State meets the statutory requirements of section 110(a)(2)(D)(i)(I)
will be accomplished through case-by-case notice and comment rulemaking in which the facts and
circumstances of each State will be evaluated by EPA.”147 The general propositions for which

145
    “Guidance for State Implementation Plan (SIP) Submissions to Meet Current Outstanding Obligations Under
Section 110(a)(2)(D)(i) for the 8-Hour Ozone and PM2.5 National Ambient Air Quality Standards” available at
https://www3.epa.gov/ttn/naaqs/aqmguide/collection/cp2/20060815_harnett_final_section_110(a)(2)(D)(i)_guid
ance.pdf.
146
    See EME Homer City at 510.
147
    “Guidance for State Implementation Plan (SIP) Submissions to Meet Current Outstanding Obligations Under
Section 110(a)(2)(D)(i) for the 8-Hour Ozone and PM2.5 National Ambient Air Quality Standards” at 2, available at
https://www3.epa.gov/ttn/naaqs/aqmguide/collection/cp2/20060815_harnett_final_section_110(a)(2)(D)(i)_guid
ance.pdf.
                                                                                                             434
        Case: 23-60069            Document: 110           Page: 833        Date Filed: 03/27/2023




commenters cited this guidance, that the EPA respects that states may devise their own approvable
approaches to addressing good neighbor obligations, is still valid. But for the reasons explained in detail
elsewhere in this record, no state that the EPA is acting on in this submission did develop an approvable
approach.

The EPA also disagrees with the contention that the EPA significantly changed perspective regarding the
purpose of infrastructure SIP submissions beginning with the 2008 ozone NAAQS. The EPA has always
expected the portion of iSIPs that address CAA section 110(a)(2)(D)(i)(I) to provide adequate justification
to support the conclusions therein. The August 2006 guidance, for the 1997 ozone NAAQS and 1997
PM2.5 NAAQS, indicated that states should submit a “technical demonstration” to support a conclusion
that the state does not significantly contribute to nonattainment or interfere with maintenance in other
states.148 The September 2009 guidance, for the 2006 24-hour PM NAAQS, indicated that a “state’s
conclusion must be supported by an adequate technical analysis.”149 The September 2013 infrastructure
SIPs guidance for the 2008 ozone NAAQS, the 2010 nitrogen dioxide NAAQS, the 2010 sulfur dioxide
NAAQS, and the 2012 fine particulate matter NAAQS did not include guidance on the good neighbor
provision.150

In evaluating the SIP submissions here, the EPA used its now well-established 4-step interstate transport
framework as a guide, while recognizing that states are not necessarily bound to follow that exact
framework. This is not merely the application of an arbitrary “policy preference” but the application of a
judicially-tested and upheld framework that provides continuity across multiple NAAQS and provides
certainty and predictability with regard to how the EPA will evaluate SIP submissions. While not codified
in the CFR, the EPA has a consistent policy and practice of applying this framework both in its evaluation
of SIP submissions and in the promulgation of multiple rounds of FIPs to address prior ozone transport
obligations. It is altogether reasonable for the Agency to continue to use that general framework as a
guide to evaluate these SIP submissions to ensure consistency both across states and with prior good
neighbor actions, while continuing to recognize states’ discretion to offer alternative approaches that
may be satisfactory toward achieving the Act’s requirements.

Thus, as explained in the proposals, in this action the EPA is not requiring states to adopt any particular
emission limitation or to impose a specific control measure in a SIP submission. Rather, the EPA is
determining that the SIP submissions that are the subject of this action do not support a finding that the
statutory requirements of CAA section 110(a)(2)(D)(i)(I) have been met. In so doing, the EPA is acting
pursuant to its supervisory role under the CAA’s cooperative federalism framework, to ensure that SIPs
satisfy those broad requirements that section 110(a)(2) mandates SIPs “shall” satisfy.

The EPA also disagrees with the argument that applying the consistent set of policy judgments made in
this action across all states for purposes of evaluating interstate transport obligations goes against the


148
    Id. at 5.
149
    September 2009 Guidance at 3.
150
    “Guidance on Infrastructure State Implementation Plan (SIP) Elements under Clean Air Act Section 110(a)(1) and
110(a)(2)” at 30, available at
https://www3.epa.gov/airquality/urbanair/sipstatus/docs/Guidance_on_Infrastructure_SIP_Elements_Multipollut
ant_FINAL_Sept_2013.pdf. (EPA noted this guidance may be also informative for “infrastructure SIPs for new or
reviewed NAAQS promulgated in the future.”)
                                                                                                              435
        Case: 23-60069          Document: 110          Page: 834       Date Filed: 03/27/2023




framework of cooperative federalism or is otherwise not permitted by the CAA. These policy judgments
in interpreting the CAA reflect consistency with relevant case law and past agency practice as reflected
in the CSAPR and related rulemakings. Nationwide consistency in approach is particularly important in
the context of interstate ozone transport, which is a regional-scale pollution problem involving many
smaller contributors. Effective policy solutions to the problem of interstate ozone transport dating back
to the NOX SIP Call (63 FR 57356 (October 27, 1998)) have necessitated the application of a uniform
framework of policy judgments to ensure an “efficient and equitable” approach. See EPA v. EME Homer
City Generation, LP, 572 U.S. 489, 519 (2014). One commenter argued that the regional nature of the
problem of interstate transport does not confer greater authority on the EPA to disapprove a SIP
submission. However, in highlighting the regional nature of transport, the EPA is not claiming a
qualitatively different authority to scrutinize SIP submissions under CAA section 110(a)(2)(D)(i)(I). The
EPA’s authority to assess a SIP submission for compliance with the CAA is the same for obligations
associated with in-state pollution as is it for interstate pollution. But the regional, interstate nature of
the ozone-transport issue simply underscores the value of the EPA’s role as referee. In this regard, the
EPA notes that at the time these disapprovals were proposed, not a single state out of the 49 states and
Washington D.C. that had submitted a good neighbor SIP submission for the 2015 ozone NAAQS
concluded that any emissions reductions beyond existing controls were necessary to satisfy CAA section
110(a)(2)(D)(i)(I) for the 2015 ozone NAAQS. This fact is entirely unsurprising, but also confirms the need
for federal intervention through disapprovals at this stage of the process. As the D.C. Circuit observed
with respect to regional haze, which, like ozone, is another interstate, collective-action problem posed
by widespread pollution emitters:

        Regional haze is a problem in which the benefits of each state's emissions controls are largely
        felt in other states. Without federal intervention, then, a state calculating how hard it should
        press in limiting pollution has no incentive to consider resulting enhancements of other states'
        welfare. There is no reason to believe that New Mexico, for example, would without federal
        pressure tighten limits for in-state polluters an extra notch so that tourists could gaze at clear
        skies above the Grand Canyon. Even an anti-pollution commitment demonstrated by ‘numerous
        stakeholder meetings and public workshops across the West’ does not explain why one state
        would, absent federal pressure, martyr itself for another, or subject its electric power users (for
        example) to additional costs for the benefit of out-of-state interests. Cf. Maryland People's
        Counsel v. FERC, 245 U.S. App. D.C. 365, 761 F.2d 768, 778 (D.C. Cir. 1985) (‘It is ridiculous to
        assume that’ a company would ‘engage in . . . self-sacrificing behavior’ ‘simply because there is
        nothing that stops it from doing so’).
Center for Energy and Econ. Devel. v. EPA, 398 F.3d 653, 657-58 (D.C. Cir. 2005) (Williams, J.).

One commenter argued that the EPA’s proposed FIPs supplant states’ rights and authority. Another
commenter argued that by having already proposed a FIP, the EPA is attempting to “coerce” local and
state entities to conform with national policy. Another commenter argued EPA was “intentionally
exploiting” the EME Homer City case to support costly federal policy. These comments are beyond the
scope of this action. The proposed FIPs, which are not final at this time, are a separate rulemaking
action. In any case, the existence of the proposed FIPs does not undermine the EPA’s adherence to the
procedural requirements of CAA section 110. Approval of these SIP submissions is not conditioned on
any specific controls of any specific sources; rather, these SIP submissions are being disapproved. If any

                                                                                                        436
           Case: 23-60069            Document: 110    Page: 835       Date Filed: 03/27/2023




state were to re-submit a good neighbor SIP submission, the EPA would review it against the
requirements of CAA section 110(a)(2)(D)(i)(I) pursuant to CAA section 110(k)(3).

One commenter argued that the EPA cannot use the CAA to force particular control measures on states.
EPA is not requiring any control measures in this action. Another commenter cites Arkansas Elec. Co-op.
Corp. v. Arkansas Pub. Serv. Comm'n, 461 U.S. 375 (1983) for the premise that the regulation of utilities
is associated with the police power of the states. EPA is not regulating any sources in this action.

One commenter said the EPA’s approach to disapproving the SIPs essentially required states to conduct
expensive photochemical grid modeling and amounted to an unfunded mandate. EPA disagrees that it is
necessarily required for states to conduct photochemical grid modeling to develop approvable good
neighbor SIP submissions. Still, the CAA empowers states in the first instance to implement the NAAQS,
as many commenters have observed. “State air quality divisions are no strangers to complex air quality
and meteorological modeling of interstate transport of emissions.”151 Federal technical and financial
support has always been available to states since the enactment of the modern CAA. Where states do
not have or do not wish to dedicate the resources that may ultimately be required to develop an
approvable SIP submission, the CAA is designed so that EPA will implement the requisite requirements
through a FIP, without the state being obligated to expend its own resources. Thus, the EPA disagrees
that it has in any way created an unfunded mandate through this disapproval.

For this same reason, the EPA disagrees that this action violates or implicates anti-commandeering
principles. One commenter cites District of Columbia v. Train, 521 F.2d 971 (D.C. Cir. 1975), vacated sub
nom. EPA v. Brown, 431 U.S. 99 (1977), for the proposition that the EPA cannot commandeer states’
resources or force them to implement federal policies or programs against their consent. No such
commandeering of state regulatory authority or resources is occurring by virtue of this SIP disapproval
action. The only consequence of this action is that the EPA has an obligation to promulgate a FIP
addressing the relevant good neighbor obligations for the covered states within two years. See CAA
section 110(c)(1). Cf. D.C. v. Train, 521 F.2d at 993 (“[W]here cooperation [from states] is not
forthcoming, we believe that the recourse contemplated by the commerce clause is direct federal
regulation of the offending activity . . . .”).



10.4 Reliance on FIP Measures

Comment
Commenter: Maryland Department of the Environment

Commenter ID: 29

Docket ID: EPA-R03-OAR-2021-0872

Comment:



151
      EME Homer City I at 50 (Rogers dissenting).
                                                                                                      437
        Case: 23-60069           Document: 110          Page: 836        Date Filed: 03/27/2023




MDE objects to EPA’s proposed disapproval of Maryland’s 2015 Good Neighbor SIP on the basis that the
state relied, in part, on the CSAPR Update, which was not adopted into Maryland’ SIP. The CSAPR
Update was originally incorporated into Maryland’s SIP, but was subsequently withdrawn at EPA’s
request. Additionally, the CSAPR Update is a federal implementation plan (“FIP”), which stands in place
of a SIP. Maryland is not required to submit a SIP to replace that FIP, and can instead operate under the
FIP, which is federally enforceable in its own right. For that reason, EPA has historically allowed states to
rely on federal measures in a SIP by simple reference, and cannot reasonably reject consideration of
emissions reductions from a federal rule in a SIP.

It is unreasonable for EPA to use Maryland’s compliance with EPA’s directive against it now. EPA is
estopped from such action because Maryland reasonably relied on EPA’s direction that withdrawal of
the 2008 Good Neighbor SIP and IBR would not affect its pending 2015 Good Neighbor SIP submittal. At
least, in the spirit of public transparency and consistent with the concept of cooperative federalism
upon which the CAA is based, EPA should have acknowledged in the proposed disapproval that the IBR
SIP was withdrawn at EPA’s request to correct EPA’s procedural error. The federal/state relationship is
built on trust and that trust is jeopardized when EPA regional offices are not fully transparent with their
state counterparts.

Furthermore, the underlying premise that a state cannot rely on emissions reductions required by a FIP
is legally flawed. EPA contends that:

[R]elying on a FIP at Step 3 is per se not approvable if the state has not adopted that program into its SIP
and instead continues to rely on the FIP. States may not rely on non-SIP measures to meet SIP
requirements. See CAA section 110(a)(2)(D) (‘‘Each such [SIP] shall . . . contain adequate provisions . . .’’).
See also CAA section 110(a)(2)(A); Committee for a Better Arvin v. U.S. E.P.A., 786 F.3d 1169, 1175–76
(9th Cir. 2015) (holding that measures relied on by state to meet CAA requirements must be included in
the SIP).

To the contrary, EPA has historically allowed states to meet the “adequate provisions” requirement by
citing federal regulations and/or rules in their SIPs. This is true of many federal measures, including but
not limited to Corporate Average Fuel Economy standards for on-road mobile vehicles, small off-road
engine emission reductions, and commercial marine vessel standards under the federal Emission Control
Areas standards. States routinely cite federal rules and regulations within their SIPs and EPA has not
disapproved those SIPs as “per se not approvable.” The EPA does not require a state to incorporate by
reference every federal rule or regulation into state statutes in order for them to be utilized by the state
as a federally enforceable regulatory measure to meet SIP requirements. Rather the citing of a federal
rule or regulation in the SIP makes it a SIP measure. Therefore, citing a federal measure in a SIP, without
incorporating the federal measure into state statute, is sufficient to make the rule or regulation a SIP
measure, which allows the state to use the rule or regulation to meet SIP requirements. Moreover, a FIP
may only be issued as replacement for a deficient SIP. The FIP stands in place of a SIP, and is federally
enforceable by EPA and citizens alike. EPA’s contention that Maryland’s 2015 Good Neighbor SIP cannot
rely on the emissions reductions required by a FIP (which has the same effect as a SIP) is both illogical
and counterintuitive. In defense of its position, EPA cites but misapplies the holding of Committee for a
Better Arvin v. EPA, 786 F.3d 1169, 1175-76 (9th Cir. 2015). In Arvin, California proposed a SIP that relied
in significant part on reductions, which would be achieved through waiver measures implementing

                                                                                                           438
        Case: 23-60069          Document: 110          Page: 837       Date Filed: 03/27/2023




stricter state standards for certain federal standards. Id. at 1175-76. The Ninth Circuit Court of Appeals
found the SIP approval improper because the waiver measures were not part of the SIP. At issue there,
the waiver measures were neither part of the SIP nor federal standards, and therefore, were not
federally enforceable. Id. at 1177 (“We conclude that the enforcement gap for private citizens and EPA
in the present SIP is inconsistent with the CAA's requirements and the express aims of Congress.”). In
contrast, Maryland relied on reductions from a FIP, which is federally enforceable to both EPA and
private citizens. As such, EPA acted arbitrarily in rejecting consideration of the emissions reductions
anticipated from an implementation plan issued under CAA § 110.



Response
These comments are responded to in Section V.B.9 of the preamble. The EPA addresses the comments
regarding our correspondence with MDE regarding the withdrawal of the CSAPR Update SIP submission
in Section 1.6 (EPA Input During SIP Submission Development).



10.5 Comments Alleging “Pretext” or Intent to Require Generation Shifting

Comment
Commenter: PacifiCorp

Commenter ID: 38

Docket ID: EPA-R08-OAR-2022-0315

Comment:

The Combined Effect of EPA’s Proposed Disapproval and Proposed FIP Will Cause Major Economic and
Reliability Impacts for the Western United States.

Finalization of the Proposed Disapproval and subsequent imposition of the Proposed FIP will jeopardize
energy supply and reliability in the West and cause major economic impacts. The Proposed Disapproval
means electric generating units (“EGUs”) in Utah will be subject to the selective catalytic reduction or
SCR-forcing provisions of the Proposed FIP. As outlined in comments on the Proposed FIP by the state of
Utah, other western states, industry, and the BHE Comments, it is simply not possible to either install
the costly SCR equipment or retire and replace the energy generated and vital ancillary services
provided by so many units subject to the regulatory constraints and timelines of the Proposed FIP. The
Proposed Disapproval and subsequent imposition of the Proposed FIP on Utah will also force generation
shifting both explicitly and implicitly.16

EPA’s attempt to use Utah’s alleged marginal impact on a neighboring state’s ozone monitors to force
the state into EPA’s Proposed FIP must be rejected. EPA should not use a disapproval based on improper
procedures, impossible timelines and flawed reasoning as a ruse to impose the problematic Proposed
FIP, with its harsh economic impacts and threats to the reliability of the western electricity system.
EPA’s flawed administrative procedures, reversal of established guidance and previous positions, and

                                                                                                        439
         Case: 23-60069            Document: 110            Page: 838         Date Filed: 03/27/2023




the extraordinary economic and reliability impacts that will result from the combined effect of the
Proposed Disapproval and imposition of the Proposed FIP counsel caution. The Supreme Court in West
Virginia v. EPA advised EPA against “dictating the optimal mix of energy sources nationwide,” even if
“that sort of mandate will reduce air pollution from power plants.”17 PacifiCorp requests that EPA take a
more judicious path by following its own guidance and legal procedures and working with Utah to enact
an ozone transport SIP legally tailored to effectively address the ozone situation in the western region.
16
   First EPA imposes specific, pre-determined generation-shifting requirements using an opaque Integrated
Planning Model (“IPM”) that it did not make available for review to the states or other stakeholders. The IPM
modeling is particularly impactful on Wyoming, which is expected to immediately shift approximately 10% of its
generation less than a year after the Proposed FIP was issued (let alone finalized). Second, EPA implicitly forces
generation shifting through the untenable uncertainty and risk created by the SCR-forcing provisions of the
Proposed FIP.
17
   West Virginia v. EPA, 142 S. Ct. 2,587, 2,612 (June 30, 2022).

Response
The EPA is not finalizing a SIP submission disapproval for Wyoming in this action, and so comments that
are specifically related to Wyoming’s circumstances are beyond the scope of this action. In addition, we
disagree that the final SIP disapprovals for other states are in any way pretextual. Their basis is
grounded in the record for this action, including the EPA’s reasoning and analysis as set forth in this
record. Our disapprovals are in no way based on a state’s failure to include generation shifting as an
emissions control measure, nor do they use the proposed FIP as a benchmark or as the basis for
disapproval. Nor have commenters cited evidence for these claims. The timing of our actions is
addressed in Section V.A of the preamble and Section 1 (Timing of SIP Actions), as well as in the
following responses to comment.



10.6 Allegation that Disapprovals of Western State SIP Submissions was Predetermined

Comments


Commenter: Eagle Materials Inc.

Commenter ID: 16

Docket ID: EPA-R09-OAR-2022-0138

Comment:

By issuing this Proposed SIP Disapproval after publishing a Proposed FIP, EPA is also effectively
circumventing required rulemaking procedures by treating the Proposed SIP Disapproval as final, despite
its failure to engage with public comments. The Administrative Procedure Act’s (“APA”) notice-and-
comment procedures require EPA to “give interested persons an opportunity to participate in the rule
making” before a rule is finalized.52 Soliciting public comment “allow[s] the agency to benefit from the
expertise and input of the parties who file comments with regard to the proposed rule” and “see[s] to it

                                                                                                                 440
        Case: 23-60069             Document: 110           Page: 839         Date Filed: 03/27/2023




that the agency maintains a flexible and open-minded attitude towards its own rules,” creating
important safeguards against arbitrary or unreasonable agency action.53 However, EPA cannot remain
flexible and open-minded in its consideration of its proposed disapproval where the validity of its
Proposed FIP depends on this disapproval being finalized. Instead, EPA is effectively finalizing its
Proposed SIP Disapproval in a manner that circumvents its responsibility to respond to public
comments.54 Such a procedural shortcut is anathema to the APA’s carefully crafted rulemaking
structure.55

In addition, EPA is effectively depriving members of the public from meaningfully engaging with its
Proposed SIP Disapproval by issuing it after its Proposed FIP. The comment period for this Proposed
Disapproval did not open until over a month after EPA published its Proposed FIP—the comment period
for the Proposed FIP closed before any commenters had a chance to submit comments on the Proposed
SIP Disapproval.56 This puts commenters in the untenable position of having to provide feedback on
EPA’s comprehensive and complex Proposed FIP without first understanding Nevada’s obligations under
the CAA.
52
   5 U.S.C. § 553(c).
53
   See McLouth Steel Prod. Corp. v. Thomas, 838 F.2d 1317, 1325 (D.C. Cir. 1988) (internal citations omitted).
54
   See City of Portland, Oregon v. E.P.A., 507 F.3d 706, 715 (D.C. Cir. 2007) (emphasizing that an agency must
respond to comments that “raise points relevant to the agency's decision and ... if adopted, would require a
change in an agency's proposed rule”).
55
   See Metcalf v. Daley, 214 F.3d 1135, 1142 (9th Cir. 2000) (emphasizing that agency action “must be timely, and it
must be taken objectively and in good faith, not as an exercise in form over substance, and not as a subterfuge
designed to rationalize a decision already made”).
56
   See Comments, EPA-R09-OAR-2022-0138, https://www.regulations.gov/search/comment?filter=EPAR09-OAR-
2022-0138.


Commenter: Idaho Power Company

Commenter ID: 23

Docket ID: EPA-R09-OAR-2022-0138

Comment:

[B]y proposing the FIP first, EPA has made clear that the finalization of the Proposed Disapproval was a
foregone conclusion, effectively circumventing required rulemaking procedures by treating the
Proposed Disapproval as final before giving any consideration to public comments. The Administrative
Procedure Act’s (“APA’s”) notice-and-comment procedures require EPA to “give interested persons an
opportunity to participate in the rule making” before a rule is finalized.32 Soliciting public comment
“allow[s] the agency to benefit from the expertise and input of the parties who file comments with
regard to the proposed rule” and “see[s] to it that the agency maintains a flexible and open-minded
attitude towards its own rules,” creating important safeguards against arbitrary or unreasonable agency
action.33 EPA cannot remain flexible and open-minded in its consideration of the Proposed Disapproval
where the Proposed FIP depends on this disapproval being finalized. EPA has effectively finalized the
Proposed Disapproval in a manner that circumvents its responsibility to respond to public comments.34
Such a procedural shortcut is anathema to the APA’s carefully crafted rulemaking structure.35
                                                                                                                441
        Case: 23-60069             Document: 110           Page: 840         Date Filed: 03/27/2023



32
   5 U.S.C. § 553(c).
33
   See McLouth Steel Prod. Corp. v. Thomas, 838 F.2d 1317, 1325 (D.C. Cir. 1988) (internal citations omitted).
34
   See City of Portland, Oregon v. EPA, 507 F.3d 706, 715 (D.C. Cir. 2007) (emphasizing that an agency must respond
to comments that “raise points relevant to the agency's decision and ... if adopted, would require a change in an
agency’s proposed rule”).
35
   See Metcalf v. Daley, 214 F.3d 1135, 1142 (9th Cir. 2000) (emphasizing that agency action “must be timely, and it
must be taken objectively and in good faith, not as an exercise in form over substance, and not as a subterfuge
designed to rationalize a decision already made”).



Commenter: PacifiCorp

Commenter ID: 38

Docket ID: EPA-R08-OAR-2022-0315

Comment:

The Flawed Procedure and Chronology of the FIP/SIP Result in a Predetermined Outcome and an Abuse
of Discretion.

The good neighbor provision, at its core, is a state obligation. It is codified in Section 110 of the CAA,
which is the section granting states primary decision-making authority for developing SIPs to achieve the
NAAQS. EPA’s role under section 110 is to review and approve those plans, not to substitute its own
policy preferences or decisions for those made by the states. As long as a state’s plan is reasonable and
complies with the requirements of the CAA, EPA must approve it. The U.S. Supreme Court and multiple
Circuit Courts have repeatedly endorsed this cooperative federalism approach codified in Section 110.18
Courts have also confirmed that EPA may issue a FIP only if a state’s SIP is deemed to be insufficient
according to the requirements of the CAA. EPA has undermined the central principles underlying both
Section 110 and the Administrative Procedure Act by not even proposing to reject Utah’s SIP until after
it had already issued the Proposed FIP with explicit requirements specifically targeted at Utah. Even if
EPA claims to cure its failure to observe the proper sequencing by projecting (and predetermining) that
it will finalize its disapproval of Utah’s SIP before finalizing the Proposed FIP, its actions run roughshod
over both the sequence ordered by the CAA and the states’ primary role in addressing nonattainment
under Section 110. EPA should explain why this disapproval was issued without providing time for Utah
to respond. EPA had nearly three years to do this. The flawed procedure suggests that EPA isn’t giving
Utah’s SIP submittal a considered review, preferring instead to impose its own Proposed FIP solution in
violation of legal principles. Agency action “must be timely, and it must be taken objectively and in good
faith, not as an exercise in form over substance, and not as a subterfuge designed to rationalize a
decision already made.”19

By delaying the Proposed Disapproval for Utah’s SIP until May 23, 2022, a full month and a half after
proposing its FIP and based on a shift in its thinking in the years since the SIPs were originally submitted,
EPA is trying to take over the role Congress granted to states. A logical conclusion from this series of
actions, and the fact that EPA conducted extensive analysis assuming Utah is subject to the FIP, is that
EPA has predetermined the outcome, even if that meant EPA took shortcuts to the required
administrative procedures and disregarded the work Utah put into developing its Ozone Transport SIP
                                                                                                                442
         Case: 23-60069             Document: 110             Page: 841         Date Filed: 03/27/2023




according to EPA’s guidance. EPA’s nonsequential process demonstrates serious disregard for Utah’s
well-founded determinations underlying its SIP.20
18
   See, e.g., Train, 412 U.S. 60 (1975); Union Elec. Co. v. EPA, 427 U.S. 246 (1976); Fla. Power & Light Co. v. Costle,
650 F.2d 579 (5th Cir. 1981).
19
   Metcalf v. Daley, 214 F.3d 1135, 1142 (9th Cir. 2000).
20
   EPA also put Utah and other stakeholders in a difficult position, forcing them to devote scarce resources to
simultaneously digest and respond to the voluminous Proposed FIP and the Proposed Disapproval and denying
numerous formal and informal requests for sorely needed additional time.


Commenter: PacifiCorp (Berkshire Hathaway Energy Company Proposed FIP Comments Attachment)

Commenter ID: 38

Docket ID: EPA-R08-OAR-2022-0315

Comment:

The western states where BHE operates affected EGUs (Nevada, Wyoming, and Utah) submitted their
good neighbor SIPs to EPA between October 2018 and October 2019, years in advance of EPA’s
Proposed Rule. Each of these SIPs, in reliance upon EPA guidance and modeling, demonstrated that
there were no significant impacts on ozone nonattainment and maintenance in downwind states. Yet
EPA took no action on these SIP submissions for two and a half to three and a half years. It was not until
February 2022, when EPA signed the Proposed Rule imposing a FIP on these states (later publishing it for
public notice and comment on April 6), that these states learned that EPA did not intend to approve
their good neighbor SIPs. EPA did not even propose disapproval for these SIPs until May 23, 2022, a full
month and a half after proposing its FIP. And EPA has yet to finalize disapproval (the proper legal
predicate for a FIP). What’s more, EPA’s disapproval of these SIPs is based on a shift in its thinking in the
years since the SIPs were originally submitted.

BHE can only conclude from this series of actions that EPA predetermined that these states would be
subject to this FIP as its chosen policy outcome without following the required administrative procedure
or working in good faith with the states to develop their SIPs. EPA’s nonsequential process demonstrates
serious disregard for the well-founded state determinations underlying their good neighbor SIPs.43 In
failing to observe the appropriate process, EPA has undermined western state authority in
contravention of the cooperative federalism underpinning Section 110 of the Clean Air Act.



Commenter: Utah Division of Air Quality

Commenter ID: 47

Docket ID: EPA-R08-OAR-2022-0315

Comment:

UDAQ thinks that EPA's proposed rule to disapprove Utah’s SIP is not rooted in the technically accurate
analysis but instead is motivated by the desire to include Utah in the proposed interstate transport FIP:

                                                                                                                     443
        Case: 23-60069           Document: 110          Page: 842        Date Filed: 03/27/2023




Upon review, UDAQ finds the timing and sequence of the proposed actions in question to be highly
irregular compared to a traditional rulemaking process. The fact that EPA proposed to include Utah in
the broad and highly impactful FIP prior to issuing proposed disapproval of the state’s SIP is unusual.
This may suggest that EPA’s proposed SIP disapproval aims to regulate a select set of point sources by
including Utah in the proposed FIP.

The UDAQ disagrees with EPA’s disapproval of the SIP for the following reasons. […] Third, UDAQ thinks
that EPA’s proposed rule to disapprove Utah’s SIP is not rooted in the technically accurate analysis but
instead is motivated by the desire to include Utah in the proposed interstate transport FIP. Fourth,
UDAQ thinks that the modeling and logic justifying Utah’s inclusion in the proposed FIP are flawed. […]

EPA's Proposed Disapproval is Motivated by the Desire to Include Utah in the FIP

Upon review, UDAQ finds the timing and sequence of the proposed actions in question to be highly
irregular compared to a traditional rulemaking process. The fact that EPA proposed to include Utah in
the broad and highly impactful FIP prior to issuing proposed disapproval of the state’s SIP is unusual.
This may suggest that EPA’s proposed SIP disapproval aims to regulate a select set of point sources by
including Utah in the proposed FIP.

EPA’s Inclusion of Utah in the FIP Relies on Flawed Logic

As noted above and outlined in our comments related to the proposed FIP, UDAQ believes that the
proposed disapproval of Utah’s SIP is an effort to fulfill an agenda outside of the original intent of the
interstate transport provisions of the CAA. Specifically, the intent is to force Utah’s inclusion in the FIP to
target emission reductions from fossil fuel-fired electric generating units (EGUs) located in the state.



Commenter: Utah Petroleum Association and the Utah Mining Association

Commenter ID: 48

Docket ID: EPA-R08-OAR-2022-0315

Comment:

EPA must promulgate a Federal Implementation Plan (“FIP”) within two years any time that EPA finds
that the State failed to make the required SIP submission, finds that the SIP submission did not meet
minimum criteria, or disapproves a SIP submitted by the State unless the State corrects the deficiency
and EPA approves the plan prior to promulgating the FIP.

On April 6, 2022, EPA proposed its Good Neighbor Rule (“Proposed GNR”) with a finding that emissions
from 25 States including Utah contribute significantly to nonattainment of the 2015 ozone NAAQS for
States downwind. EPA’s Proposed GNR includes a FIP to address these emissions.

EPA jumped the gun. The timing of this Proposed Disapproval, six weeks after proposing a FIP as part of
the GNR, is out of order and contrary to the requirements of the CAA, which requires that a Disapproval
be finalized before EPA promulgates a FIP such as the GNR.


                                                                                                           444
        Case: 23-60069         Document: 110         Page: 843       Date Filed: 03/27/2023




The timeline suggests that EPA has no intention of paying heed to the comments on the Proposed
Disapproval. Such disregard for comments would be a violation of required administrative procedures.
EPA must fairly and completely consider all comments submitted.



Response
The sequencing of our actions here with regard to California, Nevada, and Utah is consistent with the
procedural requirements of the CAA and the APA and with the EPA’s past practice in our efforts to
timely address good neighbor obligations. Comments pertaining to Wyoming are beyond the scope of
this action. We have generally responded to comments on the timing of our action in Section V.A.1. of
the preamble (comments related to the relationship between timing of proposals to disapprove SIPs and
promulgate FIPs), Section V.A.2. of the preamble (comments related to requests for more time to revise
SIP submissions), and Section V.A.3. of the preamble for (alleged harms to states caused by time
between SIP submission and the EPA’s action). .

Here, we further elaborate on those responses, specific to these comments about the timing of our
western state disapproval proposals. First, neither the Act nor the APA impose any limitations on the
timing for when the EPA can propose a SIP or FIP action under CAA section 110. Second, EPA’s timing is
motivated by the need to address good neighbor obligations as expeditiously as practicable and no later
than the next attainment date. Third, allegations that the disapprovals were a foregone conclusion or
otherwise prejudiced for any reason is demonstrably proven false by the fact that we are deferring
action on Wyoming at this time in light of the updated air quality information. Fourth, there is nothing
unprecedented in the EPA proposing FIPs in conjunction with or even before its proposed action on SIP
submissions. For example, at the time the EPA proposed the CSAPR Update FIPs for the 2008 ozone
NAAQS in December of 2015, we had not yet proposed action on several states’ SIP submissions, but
proposed and finalized those SIP disapproval actions prior to finalization of the FIPs. The proposed
CSAPR Update was published on December 3, 2015, and included proposed FIPs for Indiana, Louisiana,
New York, Ohio, Texas, and Wisconsin. 80 FR 75705. At that time, the EPA had not yet proposed action
on good neighbor SIP submissions for the 2008 ozone NAAQS from those states; however, the EPA
subsequently proposed and finalized these disapprovals. See 81 FR 38957 (June 15, 2016) (Indiana); 81
FR 53308 (Aug. 12, 2016) (Louisiana); 81 FR 58849 (Aug. 26, 2016) (New York); 81 FR 38957 (June 15,
2016) (Ohio); 81 FR 53284 (Aug. 12, 2016) (Texas); 81 FR 53309 (Aug. 12, 2016) (Wisconsin) before
finalizing the CSAPR Update FIPs, published on October 26, 2016 (81 FR 74504).

As for Utah, the EPA has had the authority to promulgate a FIP for the state since January 6, 2020, which
is the effective date of the EPA’s finding of failure to submit for the state. 84 FR 66612 (December 5,
2019).

The public has been afforded an opportunity to comment on our proposed action on all three states’
ozone transport SIP submissions, in addition to the opportunity to comment on the proposed FIP. The
EPA has evaluated and responded to these comments as relevant and within scope of this final action.
Other issues raised by these comments are addressed in the following sections of this RTC document:
10.3 (Cooperative Federalism and the EPA’s Authority), 10.5 (Comments Alleging “Pretext” or Intent to
Require Generation Shifting), and 11.4 (Transport Policy - Western State Ozone Regulation).

                                                                                                     445
       Case: 23-60069          Document: 110         Page: 844       Date Filed: 03/27/2023




10.7 EPA’s Response to Comment on Proposed Actions Related to Alabama

Comments


Commenter: Alabama Department of Environmental Management

Commenter ID: 02

Docket ID: EPA-R04-OAR-2021-0841

Comment:

In an effort to quickly provide a SIP based on the newer modeling (February 2022), ADEM rescinded the
2018 SIP, and presented EPA with a revised SIP, including a Weight of Evidence (WOE) argument based
on the readily available data.



Commenter: Alabama Power Company, Southern Power Company, and PowerSouth Energy Cooperative

Commenter ID: 04

Docket ID: EPA-R04-OAR-2021-0841

Comment:

In February 2022, EPA reversed course and proposed to disapprove ADEM’s 2018 Submittal. EPA
explained that new modeling—not available at the time Alabama’s SIP was due and developed well after
the statutory deadline for review—suggested emissions from Alabama could affect ozone
concentrations in Texas. In light of EPA’s reliance on new 2022 modeling, ADEM withdrew its 2018 SIP
submittal and, on April 21, 2022, separately submitted to EPA a new SIP package (including its SIP
revisions and comments received on the SIP revision), which addressed and disputed EPA’s new
modeling (the “2022 SIP”). On June 14, 2022, EPA notified ADEM of minor administrative deficiencies in
the 2022 SIP and, as a result of these errata, found the SIP technically “incomplete.” EPA provided that
ADEM may correct those deficiencies and resubmit its SIP for EPA’s review, and ADEM promptly
supplemented its SIP to address those minor deficiencies on June 21, 2022. EPA is now proposing to
disapprove Alabama’s 2022 SIP submittal.

[…]

EPA should certainly not object to comments raised herein on any claim of lack of specificity or
explanation given that EPA refused to provide sufficient time to comment in the first instance and
denied a reasonable request for additional time. Notably, in its letter denying ADEM’s request for an
extension of the comment period, EPA states that “the technical bases underlying the EPA’s proposed
rationale to disapprove the June 21, 2022, SIP submittal are similar to those underlying the EPA’s
proposed rationale to disapprove” the prior SIP and that Alabama provided comments in that prior
                                                                                                    446
       Case: 23-60069          Document: 110         Page: 845      Date Filed: 03/27/2023




proposed rulemaking. Because EPA has intertwined its prior proposal to justify its denial of any
extension, EPA should have addressed comments made on that prior proposal in this proposal. As a
result, EPA should re-propose its action after addressing all the comments received in its previous
proposal.



Response
The EPA is electing to respond to comments received on the EPA’s February 2022 proposed disapproval
of Alabama’s now-withdrawn SIP submission (submitted on August 20, 2018) and is also responding to
the comments received on the October 2022 proposed disapproval of Alabama’s SIP submission
(submitted on June 21, 2022), to the extent these comments are relevant to this final action, within
scope, and “reasonably specific.” Nothing in the APA or the CAA requires the EPA to respond to
comments on a notice of proposed rulemaking that is not the action being finalized, even when a
second proposal is on the same or similar grounds as the first one. In this case, Alabama chose to
withdraw its first SIP submission, and EPA is proposing to disapprove its SIP submission submitted on
June 21, 2022.




                                                                                                      447
        Case: 23-60069          Document: 110        Page: 846      Date Filed: 03/27/2023




11 Miscellaneous
11.1 Incorporation of Other’s Comments by Reference

Comments


Commenter: Arkansas Electric Cooperative Corporation

Commenter ID: 08

Docket ID: EPA-R06-OAR-2021-0801

Comment:

Arkansas Electric Cooperative Corporation (AECC) shares the concerns of both the Arkansas Department
of Energy and Environment, Division of Environmental Quality (DEQ) and the the Arkansas
Environmental Federation (AEF) regarding the referenced proposed rule. Therefore, AECC herein
incorporates by reference the comments on the proposed rule submitted by ADEQ on April 22, 2022,
and AEF on April 25, 2022.



Commenter: Arkansas Forest & Paper Council

Commenter ID: 10

Docket ID: EPA-R06-OAR-2021-0801

Comment:

The commenters support, non-exclusively, and incorporate by reference the comments submitted in
this docket by the Arkansas Division of Environmental Quality as well that of the Midwest Ozone Group
and Arkansas Environmental Federation.



Commenter: City Utilities of Springfield, Missouri

Commenter ID: 13

Docket ID: EPA-R07-OAR-2021-0851

Comment:

City Utilities supports the Midwest Ozone Group’s comment for extension in light of technical review
and resources needed to appropriately comment.



Commenter: Cleco Corporate Holdings LLC

                                                                                                       448
       Case: 23-60069          Document: 110        Page: 847       Date Filed: 03/27/2023




Commenter ID: 14

Docket ID: EPA-R06-OAR-2021-0801

Comment:

Cleco adopts and incorporates by reference the comments submitted to EPA by Louisiana Electric Utility
Environmental Group (LEUEG), dated April 25, 2022, concerning the Proposal.



Commenter: Louisiana Electric Utility Environmental Group

Commenter ID: 28

Docket ID: EPA-R06-OAR-2021-0801

Comment:

LEUEG adopts and incorporates by reference the comments submitted to EPA by the Louisiana Chemical
Association (“LCA”), dated April 25, 2022, concerning the Proposed SIP Disapproval.



Commenter: Ohio Utilities and Generators Group

Commenter ID: 36

Docket ID: EPA-R05-OAR-2022-0006

Comment:

OUG also supports the efforts of the Midwest Ozone Group (hereinafter “MOG”) and endorses the more
detailed comments filed by MOG.



Commenter: United States Steel Corporation

Commenter ID: 45

Docket ID: EPA-R06-OAR-2021-0801

Comment:

For the reasons set forth above and those provided in the comments filed by DEQ and AEF, U. S. Steel
requests EPA approve the Arkansas SIP.



Commenter: Utah Associated Municipal Power System

Commenter ID: 46

Docket ID: EPA-R08-OAR-2022-0315
                                                                                                   449
       Case: 23-60069          Document: 110         Page: 848      Date Filed: 03/27/2023




Comment:

UAMPS supports the comments filed by the State of Utah and those comments filed by PacifiCorp
opposing the Proposed Rule.



Commenter: Xcel Energy

Commenter ID: 52

Docket ID: EPA-R05-OAR-2022-0006

Comment:

Xcel Energy endorses the comments filed by the Minnesota Pollution Control Agency (MPCA) in
response to EPA’s SIP disapproval for Minnesota. In addition to EPA not including all the NOx emission
reductions taking place within the state, the EPA erred in the approach taken modeling the influence
Lake Michigan has on receptor sites located near the air/water shoreline boundaries, which was
factored into the modeling performed by Lake Michigan Air Directors Consortium (LADCO) supporting
Minnesota’s SIP submittal. We understand that other parties, such as Midwest Ozone Group (MOG), will
provide more detail on this matter in their comments.



Commenter: Xcel Energy

Commenter ID: 52

Docket ID: EPA-R06-OAR-2021-0801

Comment:

Xcel Energy endorses the comments filed by the Texas Commission on Environmental Quality (TCEQ) in
response to EPA’s SIP disapproval for Texas. The EPA erred in the approach taken to modeling the
influence Lake Michigan has on the receptor sites located near the air/water shoreline boundaries in
Cook County Illinois, Kenosha, and Racine Wisconsin, which was factored into the modeling performed
by both TCEQ, further supported by comments filed by the Association of Electric Companies of Texas
(AECT) and the associated modeling analysis performed by Sonoma Technology.



Response
Comments submitted on the proposed actions which have been “incorporated by reference” by other
commenters are responded to elsewhere in this Response to Comments. Where commenters have
“incorporated by reference” and submitted as their own attachment a comment made on the proposed
FIP or other materials, the EPA has taken those materials into consideration in this rule to the extent
that commenters explained with reasonable specificity how the information included in those
referenced comments is relevant and within scope of this action.


                                                                                                    450
        Case: 23-60069          Document: 110          Page: 849        Date Filed: 03/27/2023




11.2 CAA Section 126 Petitions

Comments


Commenter: Kentucky Division for Air Quality

Commenter ID: 25

Docket ID: EPA-R04-OAR-2021-0841

Comment:

In this proposed action, EPA specifies that if a state must make emission reductions to prevent emissions
from impacting a downwind monitor, the state must submit a separate SIP revision that makes those
emission reductions permanent and enforceable. Kentucky maintains that the purpose of the I-SIP is to
verify that the state has the authority, regulations, and programs in place to address the requirements
of the CAA, not to determine if, and how much, an upwind source may be impacting a downwind
monitor. If an upwind state impacts a downwind state and EPA is called upon to determine the
reductions necessary, then EPA’s authority comes from a different section of the CAA, specifically
section 126.



Commenter: Louisiana Department of Environmental Quality

Commenter ID: 27

Docket ID: EPA-R06-OAR-2021-0801

Comment:

To date, there have been no FCAA Section 126 actions filed against Louisiana. FCAA section 126 gives a
state the authority to ask EPA to set emission limits for specific sources of air pollution in other states
that significantly contribute to nonattainment or interfere with maintenance of one or more NAAQS in
the petitioning state.



Response
The EPA’s duty under CAA section 110(a)(2)(D)(i)(I) is to evaluate whether a state’s SIP submission
includes adequate provisions to prohibit emissions from within the state that significantly contribute to
nonattainment or interfere with maintenance of the NAAQS in other states. While CAA section 126
allows downwind jurisdictions to separately petition the EPA to make a finding that upwind sources emit
in violation of the good neighbor provision, such a petition is voluntary in nature and can only be
initiated by the impacted state or political subdivision. See Genon Rema v. EPA, 722 F.3d 513, 520-22 (3d
Cir. 2013) (discussing the independent nature of the processes under CAA section 110(a)(2)(D)(i)(I) and
126(b)). Thus, the lack of a petition does not demonstrate that Louisiana's SIP submission meets the

                                                                                                         451
        Case: 23-60069           Document: 110          Page: 850        Date Filed: 03/27/2023




requirements of CAA section 110(a)(2)(D)(i)(I) nor is it dispositive of the existence (or lack thereof) of an
interstate transport concern.



11.3 Transport Policy

Comments


Commenter: Ducote, Samuel

Commenter ID: 15

Docket ID: EPA-R06-OAR-2021-0801

Comment:

I strongly oppose the EPA's decision here. As a region of this nation responsible for fueling the needs of
the nation, the Louisiana-Texas-Arkansas-Oklahoma region needs to extend special "good neighbor"
exceptions for the contribution to the nation at large, especially considering the states have valid SIPs in
place that meets the NAAQS requirements within each state individually.



Commenter: Midwest Ozone Group

Commenter ID: 30

Docket ID: EPA-R02-OAR-2021-0673, EPA-R03-OAR-2021-0872, EPA-R03-OAR-2021-0873, EPA-R04-OAR-
2021-0841, EPA-R05-OAR-2022-0006, EPA-R06-OAR-2021-0801, EPA-R07-OAR-2021-0851, EPA-R08-
OAR-2022-0315, EPA-R09-OAR-2022-0394, EPA-R09-OAR-2022-0138

Comment:

EPA’s proposed Good Neighbor SIP disapprovals are both legally and technically flawed in that EPA seeks
to advance the Good Neighbor SIP disapprovals based on incorrect air quality assumptions and
calculations and in the absence of consideration of implementation of the flexibility guidance issued by
EPA for application to 2015 ozone NAAQS Good Neighbor SIPs

[…]

[T]he Midwest Ozone Group urges that EPA withdraw the subject proposed SIP disapprovals in
favor of correcting the legal and technical errors that have been identified in its analysis and
proposing an appropriate opportunity for states to address any deficiencies EPA may find in any
Good Neighbor Plans implementing the 2015 ozone NAAQS.



Commenter: Midwest Ozone Group

                                                                                                          452
        Case: 23-60069          Document: 110         Page: 851       Date Filed: 03/27/2023




Commenter ID: 30

EPA-R08-OAR-2022-0315, EPA-R09-OAR-2022-0394, EPA-R09-OAR-2022-0138

Comment:

EPA’s proposed Good Neighbor SIP disapprovals are both legally and technically flawed in that EPA seeks
to advance the Good Neighbor SIP disapprovals based on incorrect air quality assumptions and
calculations.

[…]

MOG specifically objects to EPA’s approach to implementation of the flexibility guidance issued by EPA
in 2018 for the specific application by states to the development of 2015 ozone NAAQS Good Neighbor
SIPs.



Commenter: Oklahoma Department of Environmental Quality

Commenter ID: 37

Docket ID: EPA-R06-OAR-2021-0801

Comment:

Oklahoma is Being Penalized for Having Cleaner Air Than Downwind States

Oklahoma is in attainment of the NAAQS. Oklahoma stakeholders have shared concerns with ODEQ that
EPA is penalizing Oklahoma sources for the interstate transport of pollutants allegedly emitted by
sources in Oklahoma, but which impact receptors in the Dallas-Fort-Worth (DFW) metroplex. These
stakeholders note that the emissions from the DFW metroplex impacting receptors in Oklahoma far
exceed Oklahoma’s impacts on receptors in Texas. While the ultimate goal of the good neighbor
provision of the CAA is to ensure that everyone breathes cleaner air, it does seem that Oklahoma
sources are required to install costly controls to address a much smaller quantity of emissions moving
south while sources in Texas have no requirement to address emissions impacting Oklahoma receptors.
Furthermore, the fact that sources in Texas will be required to control emissions to reduce impacts on
receptors in Wisconsin and Illinois, but not Oklahoma (since Oklahoma is in attainment), only makes the
process appear more absurd. Further, as previously stated, had EPA acted on Oklahoma’s SIP in a timely
manner, using the data available at the time EPA was supposed to review and approve the SIP, and
honored the flexibilities it held out in the 2018 Tsirigotis Memos, it is likely Oklahoma would have
already had an approved SIP in place by now. Oklahoma challenges the assumption that its sources are
contributing to nonattainment in the DFW metroplex or the Chicago area. Nevertheless, it is nonsensical
and unjust to force sources in Oklahoma, a state that is mostly rural, to make up for the poor air quality
in the major metropolitan areas of the DFW metroplex and Chicago. The practical outcomes of EPA’s
decision-making in this instance are unduly burdensome and misplaced.



Commenter: PacifiCorp
                                                                                                      453
        Case: 23-60069             Document: 110           Page: 852         Date Filed: 03/27/2023




Commenter ID: 38

Docket ID: EPA-R08-OAR-2022-0315

Comment:

Recent modeling performed by the State of Colorado demonstrates the Proposed Disapproval is
misguided.

EPA must consider relevant Colorado emission reductions when determining Utah’s impacts on
Colorado monitors, as well as recent modeling performed for the State of Colorado that supports Utah’s
SIP. In the Proposed Disapproval, EPA states that “EPA does not find . . . the impacts of emissions from
sources other than upwind states to be relevant to the analysis of interstate transport to Denver area
nonattainment receptors.” But this runs contrary to EPA’s prior practice. In all of its prior interstate
transport rules, EPA has reasonably assumed such “home states” will do their fair share in reducing
ozone by employing control measures similar to those required from the upwind states significantly
contributing to downwind ozone problems. For example, in the Revised CSAPR Update, which EPA
adopted about a year ago, EPA maintained its long-standing position on this important point.

Assuming downwind states will pull their weight in improving air quality is reasonable. After all, the CAA
requires states to attain ambient air quality standards, and nothing in the CAA requires upwind states to
carry the full burden of bringing a downwind state into attainment. In that sense, the assumption that
downwind states like Colorado will do their fair share is also lawful, since EPA should presume that
states will meet their legal obligations under the CAA, and EPA is required by law to consider all relevant
information in crafting its programs.38 In fact, the D.C. Circuit advises EPA to recognize home-state
efforts, not ignore them. In Maryland v. EPA, the court noted that downwind states have “the
concomitant responsibility to limit their own emissions,” even if their in-state monitors show
attainment.39 Maryland supports EPA’s consideration of home states’ responsibility to limit their own
emissions.

The fair-share assumption is outcome-determinative for Utah when Colorado-specific data is included in
the analysis. For example, Utah appropriately considered oil- and gas-related emissions reductions in
Colorado that will reduce ozone in the impacted monitor areas.40 Additionally, the Denver Regional Air
Quality Council, along with the Colorado Department of Public Health and Environment is preparing a
2023 Severe/Moderate ozone SIP for the Denver Metro/Northern Front Range (“DM/NFR”) ozone
nonattainment area (“NAA”). The Colorado SIP analysis includes 2026 future year modeling to address
attainment of the 2008 NAAQS and 2015 NAAQS. The Colorado ozone SIP modeling provides more
reliable and accurate 2023 and 2026 ozone projections than the new and problematic modeling EPA
relied on to disapprove Utah’s SIP for several reasons[.]
38
   Michigan v. EPA, 576 U.S. 743, 750 (“agency action is lawful only if it rests on a consideration of the relevant
factors”) (quoting Motor Vehicle Mfrs. Assn. v. State Farm Mut. Automobile Ins. Co., 463 U.S. 29, 43 (1983)).
39
   958 F.3d 1185, 1201 (D.C. Cir. 2020).
40
   See, e.g., Colorado Oil & Gas Association, Comments on Proposed Reclassification of Colorado Ozone
Nonattainment Areas under 2008 and 2015 NAAQS, submitted June 13, 2022, to Docket Nos. EPA-HQ-OAR-2021-
0741 and EPA-HQ-OAR-2021-0742 (outlining recent applicable Colorado O&G air regulations); Proposed Consent
Decree between EPA and Colorado with DCP, Civil Action No. 1: 22-cv-01829-NRN (July 25, 2022) (reporting a

                                                                                                                 454
        Case: 23-60069             Document: 110           Page: 853         Date Filed: 03/27/2023



proposed consent decree to cut emissions of volatile organic compounds by more than 288 tons and methane
releases by some 1,300 tons in Weld County at the western border of Colorado).


Response
Regarding the comment that the EPA must take account of some “fair share” of emissions reductions in
the downwind states where receptors are located in assessing whether upwind state contribution exists
at Steps 1 and 2, the EPA disagrees. First, our consideration of home-state “fair share” emissions in the
CSAPR Update and the Revised CSAPR Update takes place in the assessment of air quality impacts of
emissions control strategies at Step 3, including as to the assessment of whether a FIP emissions control
strategy overcontrols. See 86 FR at 23106; 81 at 74550. In this analysis, we assume the home state
would implement emissions reductions at least up to the stringency of the control strategy we would
select for upwind states. Comments regarding the FIP action proposed on April 6, 2022, are outside the
scope of this action, however, it is illustrative to point out that the EPA once again made this same
assumption in the proposed FIP to address the 2015 ozone NAAQS good neighbor obligations, at Step 3,
consistent with prior rules, see 87 FR 20036, 20092 n.190.152

That role for “fair share” analysis is irrelevant to this action. A “fair share” assumption has never been a
relevant part of the analysis at Steps 1 and 2. Indeed, a “fair share” assumption cannot even be
calculated if the upwind states have not offered to implement an emissions control strategy at Step 3
against which a “fair share” for the downwind could be derived.

While we do take account of known on-the-books controls in downwind states, we have never assumed
some additional amount of emission reduction in downwind states that has not yet occurred and is not
known with certainty based on on-the-books requirements. Further, making such an assumption to
conclude that a receptor will no longer exist and therefore an upwind state should not have obligations
to reduce its own emissions that may be significantly contributing to that receptor is in conflict with the
case law. Wisconsin and North Carolina both recognized that, regardless of other contributing factors to
a downwind receptor, each state must be held responsible for its own significant contribution. 938 F.3d
at 324; 531 F.3d at 921. And in Maryland, the court expressly recognized that upwind states must
eliminate significant contribution regardless of the degree of emissions reductions the downwind state
has itself achieved, holding that upwind states have an obligation to eliminate their significant
contribution by the Marginal area attainment date for ozone under CAA section 181(a), even if the
downwind nonattainment area faces relatively little regulatory obligation at that classification. 958 F.3d
at 1204. The court observed “that does not make Delaware’s obligation to attain the NAAQS by 2021
any less binding. And an upgrade from a marginal to a moderate nonattainment area carries significant
consequences, such as a requirement to provide for annual emissions reductions in SIPs.” Id.


152
   EPA also questioned in that proposal whether recent case law had called the need for such an assumption into
question. See id. n. 206 (“In Maryland, the EPA had argued that good neighbor obligations should not be required
by the Marginal area attainment deadline in part because ‘‘marginal nonattainment areas often achieve the
NAAQS without further downwind reductions, so it would be unreasonable to impose reductions on upwind
sources based on the next marginal attainment deadline.’’ 958 F.3d 1185, 1204. The D.C. Circuit rejected that
argument, noting regulatory consequences for the downwind state for failure to attain even at the Marginal date,
and, citing Wisconsin, the court held that upwind sources violate the good neighbor provision if they significantly
contribute even at the Marginal area attainment date. Id.”).
                                                                                                                455
        Case: 23-60069          Document: 110           Page: 854        Date Filed: 03/27/2023




Commenter cites Maryland for a different proposition, that states in a multistate nonattainment area
have “a concomitant responsibility to limit their own emissions.” 958 F.3d at 1201. But commenter takes
this quote out of context, putting the thrust of the observation on the downwind state rather than the
upwind state. Thus, commenter derives an opposite meaning from what the court intended. In fact, the
court held that Delaware had a valid basis for its Section 126(b) petition against Pennsylvania based on a
monitor violating the NAAQS located in Pennsylvania but within a multistate nonattainment area that
Delaware shared with Pennsylvania. Id. at 1200-01. The court observed that Delaware faced regulatory
consequences due to the violating monitor in Pennsylvania, because “Delaware remains bound by the
corresponding nonattainment designation. . . . [I]t is stuck in regulatory limbo, affected by an upwind
source yet unable to avail itself of the intended remedy for addressing upwind contributions to
nonattainment.” Id. at 1200. The court rejected the EPA’s arguments that Delaware could not use
Section 126(b) to force emissions controls on the offending upwind sources in Pennsylvania. The court
then observed:

        [C]ontrary to EPA’s characterization, Delaware is not trying to ‘relieve [itself] ... of the specific
        planning obligations associated with its inclusion in an area designated nonattainment.’ Rather,
        it asks merely that upwind sources contributing to air quality problems in the multistate
        nonattainment area shoulder a comparable regulatory burden, as the section 126(b) petition
        process contemplates.

        In sum, states in a multistate nonattainment area share not only a nonattainment designation
        but also the concomitant responsibility to limit their own emissions. To equalize the burdens
        between upwind and downwind states, the Clean Air Act authorizes a state to petition the EPA
        for a finding that upwind emissions significantly contribute to that state’s nonattainment of the
        ozone NAAQS.

Id. at 1200-01 (emphasis added).

Commenter’s attempt to use this passage to argue that an upwind state like Utah should not face good
neighbor obligations until a downwind state like Colorado has done its “fair share” is not availing. First,
there is no multistate nonattainment at issue here, so the facts are somewhat different than what the
court was analyzing in Maryland. Nonetheless, Colorado is still in a situation comparable to Delaware. It
has a nonattainment area and faces mandatory nonattainment area planning requirements under
subpart 2 of title I of the CAA (as commenter acknowledges). Colorado has taken measures to reduce
emissions (and if on-the-books, these are reflected in the EPA’s modeling), and Colorado may face
additional requirements to further reduce its emissions if nonattainment continues to persist. But,
under Maryland and prior cases, that does not relieve upwind states of the obligation to eliminate their
own significant contribution to the air quality problem in Colorado. And without the elimination of that
significant contribution, Colorado, like Delaware, faces the prospect of implementing ever more
stringent and costly emissions controls on its own, while the upwind states’ significant contribution to
that problem goes unabated. Therefore, EPA rejects commenter’s contention that we must assume
some additional level of emissions reduction in Colorado at Steps 1 or 2 beyond what is already included
in our baseline modeling.

Regarding the contention that Oklahoma would likely already have an approvable SIP submission had
the EPA honored the flexibilities it held out in the 2018 Tsirigotis Memo and acted on Oklahoma’s SIP
                                                                                                     456
        Case: 23-60069           Document: 110          Page: 855        Date Filed: 03/27/2023




submission by the statutory deadline, we disagree. The EPA engaged with the justification put forward
by each state that attempted to provide a rationale to support the use of an alternative contribution
threshold and found each one deficient and otherwise evaluated each of the arguments put forward by
the states. See 87 FR at 9818-22 (evaluating each of ODEQ’s arguments at Steps 1 and 2). In both EPA’s
2011 and 2016-based modeling of 2023, Oklahoma was projected to have at least one linkage above 1
ppb and so reliance on the August 2018 memorandum to conclude Oklahoma had no linkages would not
have been availing in any case. And EPA explained in the proposal why ODEQ’s reliance on TCEQ’s
alternative modeling was not approvable. The EPA further addresses comments related to Oklahoma
and the August 2018 memorandum in Section 7.4.

As commenter points out, the modeling relied upon by Oklahoma as well as the updated modeling
conducted by the EPA does not identify any nonattainment or maintenance receptors in Oklahoma.
However, if nonattainment or maintenance receptors were identified in Oklahoma, states upwind to
Oklahoma would have been evaluated under the same 4-step interstate transport framework the EPA is
applying to states in this action. Additionally, while the good neighbor provision seeks to ensure that
upwind states eliminate their own “significant contribution” to nonattainment or maintenance
receptors in downwind states, other provisions of the CAA impose requirements on downwind states
with nonattainment areas. See CAA sections 181-185. Thus, the CAA ensures that the responsibility of
addressing ozone nonattainment and maintenance issues does not rest solely with the downwind or the
upwind states.

Further, the EPA disagrees that it is penalizing certain upwind states or that it requires upwind states to
make up for the poor air quality in certain metropolitan areas in downwind states. While it is correct
that emissions from in-state sources often contribute to attainment and maintenance problems at
receptors, this does not address the question of whether there is also significant contribution from
emissions sources or activities in upwind states. The good neighbor provision establishes a standard of
contribution, not causation. See CAA section 110(a)(2)(D)(i)(I). The good neighbor provision does not
make upwind states solely responsible for downwind states reaching attainment, but rather requires the
elimination of their own significant contribution to the problem. States are obligated to eliminate their
own ‘‘significant contribution’’ or ‘‘interference’’ with the ability of other states to attain or maintain the
NAAQS. The court in Wisconsin explained that downwind jurisdictions often may need to rely on
emissions reductions from upwind states to achieve attainment of the NAAQS. Wisconsin, 938 F.3d at
316–17. Such states would face increased regulatory burdens including the risk of bumping up to a
higher nonattainment classification if attainment is not reached. Maryland, 958 F.3d at 1204. Therefore,
a state is not excused from eliminating its significant contribution on the basis that emissions from other
states or in-state emissions also contribute some amount of pollution to the same receptors to which
the state is linked.

Finally, we note that we are also finalizing a disapproval of Texas’ good neighbor SIP submission in this
action. While this disapproval is not premised on a linkage to receptors in Oklahoma, Texas faces the
prospect of possible additional emissions controls to address its good neighbor obligations resulting
from this action just as Oklahoma does. Further, Texas has three nonattainment areas that failed to
attain the 2015 ozone NAAQS by 2021 and that have been “bumped-up” to Moderate nonattainment,
with associated emissions reduction obligations under CAA section 182 now applicable under that
classification. See 87 FR 60897, 60899 (Oct. 7, 2022).
                                                                                                           457
       Case: 23-60069          Document: 110         Page: 856       Date Filed: 03/27/2023




Comments regarding the March, August, and October 2018 memoranda are addressed in Sections V.B.2,
V.B.7, and V.B.3 of the preamble, respectively, and further addressed in Sections 1.3, 7.4, and 6.4.
Comments regarding the timing of our action on the SIP submissions are addressed in Section V.A. of the
preamble. Comments on economic impacts are addressed in Section 11.6.



11.4 Transport Policy- Western State Ozone Regulation

Comments


Commenter: Nevada Division of Environmental Protection

Commenter ID: 33

Docket ID: EPA-R09-OAR-2022-0138

Comment:

EPA’s July 22, 2022, proposal to elevate the non-attainment status of the Las Vegas Area to Moderate
from Marginal non-attainment for the 2015 ozone NAAQs as a consequence of EPA’s rejection of Clark
County’s analysis of exceptional event demonstrations due to wildfires and stratospheric ozone
intrusion underscores the need for a more strategic approach. As regulatory agencies, our collective
limited resources should be spent on addressing the most significant sources of ozone formation and
transport.

While NDEP acknowledges that interstate ozone transport is a regional scale pollution problem that
requires an integrated approach, the proposed FIP does not adequately consider differences between
Eastern states and the West. The threshold of 1% modeled ozone contribution may be appropriate for
Eastern states, where ozone transport is a problem involving many smaller contributors. However, in the
West, there are considerable concerns that EPA has not addressed, including the following mentioned in
the June 17, 2022, letter from the Western States Air Resources Council on the FIP proposal:

       1. Significant impact of background, interstate, and international ozone.

       2. Significant impact from wildfire smoke.

       3. Reliability upon a complex array of multiple models and assumptions, whose performance
       and limitations for the western region have been raised for more than a decade.

       4. Expansion of the Cross-State Air Pollution Rule (CSAPR) and its emission trading program
       spatially (i.e., by including western states) but not in a contiguous manner, and by including
       separate electrical interconnections, which may make EPA’s proposed remedy for interstate
       transport from EGU sources less effective.



Commenter: PacifiCorp
                                                                                                        458
        Case: 23-60069          Document: 110          Page: 857       Date Filed: 03/27/2023




Commenter ID: 38

Docket ID: EPA-R08-OAR-2022-0315

Comment:

The dual benefits for both Utah and Colorado nonattainment areas of reducing ozone in the Uinta Basin
merit serious consideration by EPA. Resolving ozone issues in the Uinta Basin is likely to produce better
results than installing controls on EGUs that are further away from the affected monitors. A recent
academic study of ozone in the Uinta Basin found that ozone-contributing emissions could be
significantly reduced if oil and gas industry equipment is electrified.



Commenter: Utah Division of Air Quality

Commenter ID: 47

Docket ID: EPA-R08-OAR-2022-0315

Comment:

[W]e note region-specific challenges in regulating ozone pollution, which underscore a need for stronger
cooperation between Utah and EPA.

Regionally-Specific Ozone Challenges

The UDAQ would also like to note the exceptional challenges of reducing ozone in the Western United
States. States in the West face significant and regionally-specific challenges in meeting ozone standards
including elevated natural background ozone levels, increasing instances of wildfire, significant biogenic
contributions, as well as the influence of internationally transported pollutants. Beyond these regionally-
specific challenges, a significant portion of the emissions of Oxides of Nitrogen (NOX) in Utah comes
from mobile sources, an area over which the State has limited regulatory authority. These combined
regionally-specific challenges paired with the fact that a substantial portion of emissions is under federal
jurisdiction make successful ozone reductions exceedingly challenging, furthering the need for strong
cooperative federalism and active collaboration between our respective agencies. The actions proposed
by the EPA to deny our SIP to fulfill a specific agenda undermine the trust required for successful
cooperative federalism, which only serves to further complicate the shared goals of reducing ozone
concentrations and protecting public health.



Response
We respond to comments generally asserting the need for some different or alternative treatment of
ozone transport in the western U.S. elsewhere in the record, including in Section V.C.3 of the preamble
and in Section 4. We further respond to several specific comments here.

In response to commenters’ assertion that emissions from the Uinta Basin are more impactful on
downwind ozone concentrations in Colorado than emissions from EGUs in Utah, the EPA agrees with the
commenter that the Uinta Basin ozone nonattainment area is geographically closer to the Colorado
                                                                                                 459
           Case: 23-60069      Document: 110         Page: 858       Date Filed: 03/27/2023




nonattainment receptors to which Utah is linked than the EGUs (such as Hunter and Huntington).
However, we disagree that not being the nearest source to a downwind receptor might justify the lack
of evaluation of emissions sources with substantial and potentially cost-effective emissions reduction
opportunities in a state found to contribute to downwind nonattainment or maintenance receptor(s).
Additionally, the EPA disagrees that the Uinta Basin emissions reductions the Agency recently finalized
are more likely to produce significant reductions at the Colorado receptors than would reductions from
the Utah EGUs. 87 FR 75334 (December 8, 2022). As stated in the FIP for the Uintah and Ouray Indian
Reservation, “the EPA has concluded that winter ozone levels in the Uinta Basin are most significantly
influenced by VOC emissions.” 87 FR 75345. The EPA has determined that the action “will result in large
reductions of VOC emissions” and “may result in very small NOx emission increases.” 87 FR 75344, n. 63.
These VOC reductions from the oil and gas sector are aimed to address high ozone levels during the
winter in the Uinta Basin area which are associated with stagnant meteorological conditions that result
in the build-up of local ozone precursor emissions and snow cover which enhances the reflectivity of
solar radiation which, in turn, accelerates photochemical reactions of the trapped precursors to form
locally high ozone concentrations. While the reductions of VOC emissions in the Uinta Basin will serve to
address local winter ozone episodes, ozone production in the Uinta Basin in summer is expected to be
NOX limited, and VOC reductions are unlikely to have nearly as pronounced an impact on reducing
summer ozone transport contributions at the Colorado receptors. As stated regarding past ozone
interstate transport rulemakings, “EPA and others have long regarded NOX to be the more significant
ozone precursor in the context of interstate ozone transport,” and “EPA’s review of the data leads to the
finding that, as proposed, a focus on NOX emission reductions is appropriate for the purpose of
addressing interstate ozone transport.” See 86 FR at 23087.

Nevada DEP (NDEP) argues that a 1 percent threshold is not an appropriate screening threshold for
western states but that it did not include in its infrastructure SIP submission support for a 1 ppb
screening threshold because its modeled contribution to downwind nonattainment or maintenance
receptors was below 1 percent of the NAAQS. We acknowledge that NDEP could not have foreseen a
need to include a demonstration supporting a 1 ppb screening threshold based on the modeling results
available at the time of its SIP submission. Nonetheless, as we stated in the proposed action to
disapprove the Nevada infrastructure SIP, “following receipt and review of 49 good neighbor SIP
submittals for the 2015 8-hour ozone NAAQS, EPA's experience has been that nearly every state that
attempted to rely on a 1 ppb threshold did not provide sufficient information and analysis to support a
determination that an alternative threshold was reasonable or appropriate for that state.” 87 FR 31490.
Further, based on the 2016v3 modeling for 2023, Nevada’s contribution exceeds 1 ppb to
nonattainment receptors in Davis and Salt Lake Counties in Utah.

In response to comments on the impact of wildfires, the EPA agrees that there are more and larger
wildfires and, therefore potentially greater impacts of wildfire emissions on ozone in the West
compared to the East. Where states have provided some information in their SIP submissions to suggest
that atypical events related to wildfire incidents may have impacted the EPA modeling results, the EPA
engaged with these arguments. For example, in the EPA’s evaluation of California’s evaluation of
atypical events, the Agency did not necessarily disagree on the state Agency’s findings.153 However, the


153
      87 FR 31443 at 31454.
                                                                                                     460
         Case: 23-60069            Document: 110            Page: 859         Date Filed: 03/27/2023




EPA found that the removal of data associated with atypical events (e.g., wildfires), as identified by the
state still resulted in projected violations at downwind receptors. In addition, the EPA removed all
concurred exceptional events data from the base period design values when projecting these data to
2023. To the extent commenters suggest the EPA should or is even required to complete an analysis to
identify the impact of atypical events associated with wildfires, consistent with the EPA’s guidance on
Exceptional Events, we note that the onus is not on the EPA to complete such an analysis. In fact, the
guidance commenters suggest the EPA abide by indicates that any such analysis which identifies days
impacted by an atypical event needs to be initiated and completed by the state, not the Agency.154

Regarding commenter’s calls for a unique consideration when evaluating good neighbor obligations in
the western U.S., the EPA notes that emissions from wildfires were included as part of the emissions
inventories used in the air quality modeling. Moreover, in the source apportionment modeling
quantified the impacts of fires (wild and prescribed) on ozone concentrations at individual monitoring
sites nationwide. In a similar manner, the impacts from international anthropogenic emissions outside
the EPA’s 12 km modeling domain are transported into the U.S. as “boundary conditions” from global
scale modeling, as described in the final rule Air Quality Modeling TSD.

In response to comments, we analyzed the contributions from fires155 and from non-US sources (i.e.,
anthropogenic emissions in Canada and Mexico as well as anthropogenic and natural sources outside
the U.S.) to quantify and compare the contributions from these types of sources at receptors in the
eastern versus western U.S. Table 11-1 below provides the contributions from fires and from non-U.S.
sources on average for each receptor area.156 In this table the receptor areas are listed based on the
magnitude of the contribution from fires. Overall, the contribution from fires declines progressively
from west to east. The data indicate that each receptor area appears to fall into one of three geographic
bins, based on the magnitude of the contributions. In the farthest western areas (i.e., California Tribal
Lands, Yuma, and Salt Lake City) fires contribute approximately 3 ppb. In the areas that include the
receptors in Texas, Las Cruces/Carlsbad/Hobbs/El Paso, and Denver the contributions from fires are
about 2 ppb lower than in the far western areas at approximately 1 ppb. At receptors in Chicago, Coastal
Wisconsin, and Coastal Connecticut, the contributions from fires are an order of magnitude lower than
the contributions from fires at the receptors in the far western areas.

Examining the contributions from non-U.S. sources indicates a clear distinction between the east and
the west. For example, in western areas (i.e., California Tribal Lands, Denver, Las Cruces/Carlsbad/
Hobbs/El Paso, Salt Lake City, and Yuma) the contribution from non-U.S. sources ranges from
approximately 40 ppb to 55 ppb. In contrast, in receptor areas in the East (i.e., Dallas,
Houston/Brazoria/Galveston, Chicago, Coastal Wisconsin, and Coastal Connecticut) the contribution
from non-US sources ranges from approximately 16 ppb to 22 ppb.

This analysis demonstrates that the EPA’s modeling already captures the geographical differences
between the west and the east in terms of the contributions from fires and non-U.S. sources. However,

154
    81 FR 68216 (October 2016), Treatment of Data Influenced by Exceptional Events.
155
    In the source apportionment modeling the fires source tag includes emissions from fires in the U.S. as well as
fires from the portions of Canada and Mexico that are inside the EPA’s 12 km modeling domain.
156
    The data in this table are based on the top 10-day average contribution metric which is calculated using the
same method the EPA uses to calculate this metric for upwind states.
                                                                                                                 461
        Case: 23-60069         Document: 110           Page: 860       Date Filed: 03/27/2023




those differences supply no inherent justification why the anthropogenic emissions of western states
should be ignored or discounted in evaluating their obligations under the good neighbor provision. In
view of these results, the EPA disagrees with the commenter’s request that the EPA should treat
western states differently than eastern states when evaluating ozone transport.
                                                 Table 11-1


                                                                      Non-U.S.
                           Receptor Area                      Fires   Sources
                           Yuma                               3.1       54.0
                           Salt Lake City                     2.9       52.4
                           California
                           Tribal Lands                       2.9       40.9
                           Denver                             1.3       44.1
                           Las Cruces/Carlsbad/
                           Hobbs/El Paso                      1.0       52.7
                           Houston/Brazoria/
                           Galveston                          1.0       22.4
                           Dallas                             0.9       20.7
                           Coastal Connecticut                0.3       21.6
                           Coastal Wisconsin                  0.2       16.5
                           Chicago                            0.2       19.6

The EPA has made a number of updates and improvements to the 2016v2 modeling in response to
comments and we find, as discussed in Section 4.2 (Model Performance), that 2016v3 achieves better
modeling performance and can be considered reliable to inform air quality and contribution analysis at
Step 1 and Step 2, including in the western regions. See Section 4.2 (Model Performance) for further
discussion.
Nevada’s concern with the expansion of the CSAPR trading program for power plants is beyond the
scope of this rulemaking, which is focused on the adequacy of state SIP submissions in addressing the
good neighbor provisions for the 2015 ozone NAAQS. Other issues raised by these comments are
addressed in Section V.C.1. of the preamble (mobile sources), as well as Sections 10.6 (Comments
Alleging “Pretext” or Intent to Require Generation Shifting), 10.6 (Allegations that Disapprovals of
Western State SIP Submissions was Predetermined), and 11.8 (Mobile Source Emissions).



11.5 International Contributions

Comment
Commenter: Utah Associated Municipal Power System

Commenter ID: 46
                                                                                                    462
        Case: 23-60069          Document: 110         Page: 861       Date Filed: 03/27/2023




Docket ID: EPA-R08-OAR-2022-0315

Comment:

The Proposed Rule Overlooks Factors Specific to Utah and the West

Inclusion of Utah and other western states in the Proposed Rule is inappropriate and fails to consider
specific geographic factors unique to western states. EPA’s analysis of Utah’s upwind responsibility for
downwind nonattainment under the Proposed Rule did not appropriately account for the impacts on
downwind receptors of emissions from international and non-anthropogenic sources, emission
reductions in the downwind state (Colorado), and emission reductions being achieved in Utah.



Response
See Section V.C.2. of the preamble for discussion of international contributions. The modeling accounts
for all sources of contributions, including international and biogenic.



11.6 Economic Impacts

Comments


Commenter: Air Pollution Control Program, Missouri Department of Natural Resources

Commenter ID: 01

Docket ID: EPA-R07-OAR-2021-0851

Comment:

Every single state that is contributing above the 1 percent threshold (except for Oregon, as noted
previously) is having their SIP disapproved, and the proposed FIP will control and impose unnegotiable
costs on citizens and sources in those states.



Commenter: City Utilities of Springfield, Missouri

Commenter ID: 13

Docket ID: EPA-R07-OAR-2021-0851

Comment:

Missouri has proven to be a Good Neighbor, and the utilities and the citizens of Missouri have more than
paid for the ambient air quality improvements realized in Missouri and in downwind states. These
reductions are no small task for the customer-owners in the Springfield-Greene County area. It is
inappropriate to require additional costs and economic hardships for the rate payers of CU when we
                                                                                                     463
        Case: 23-60069          Document: 110         Page: 862       Date Filed: 03/27/2023




have consistently been a good actor by operating control equipment and our area has met the
applicable ozone NAAQS.



Commenter: Evergy, Inc.

Commenter ID: 16

Docket ID: EPA-R07-OAR-2021-0851

Comment:

Further, by establishing a link between Missouri and these downwind receptors, EPA is forcing immense
compliance costs onto Missouri customers.



Commenter: Mississippi Department of Environmental Quality

Commenter ID: 32

Docket ID: EPA-R04-OAR-2021-0841

Comment:

Disapproving Mississippi's iSIP without allowing the state adequate time to address any EPA concerns
prior to imposing the proposed draconian FIP will have economic effects that disproportionally affect
lower-income, disadvantaged, and minority Mississippians. In the current economic conditions
(unchecked inflation, increased reliance on imported energy sources, eastern European conflicts, etc.), it
is imprudent to apply such extreme and unnecessary federal restrictions on energy production and
transmission, which will inevitably cause costs of essential goods and services to rise.



Commenter: PacifiCorp

Commenter ID: 38

Docket ID: EPA-R08-OAR-2022-0315

Comment:

The Combined Effect of EPA’s Proposed Disapproval and Proposed FIP Will Cause Major Economic and
Reliability Impacts for the Western United States.

Finalization of the Proposed Disapproval and subsequent imposition of the Proposed FIP will jeopardize
energy supply and reliability in the West and cause major economic impacts. The Proposed Disapproval
means electric generating units (“EGUs”) in Utah will be subject to the selective catalytic reduction or
SCR-forcing provisions of the Proposed FIP. As outlined in comments on the Proposed FIP by the state of
Utah, other western states, industry, and the BHE Comments, it is simply not possible to either install


                                                                                                      464
        Case: 23-60069          Document: 110         Page: 863        Date Filed: 03/27/2023




the costly SCR equipment or retire and replace the energy generated and vital ancillary services
provided by so many units subject to the regulatory constraints and timelines of the Proposed FIP.

[…]

EPA’s One-Size-Fits-All Approach Does a Disservice to Utah’s Coal Communities.

The Proposed Disapproval does not give adequate consideration to the impacts the Disapproval will
have on the communities surrounding the Utah Units due to the forced acceleration of coal-unit
retirements that will result from the Proposed FIP. President Biden has committed that U.S. coal
communities will experience a just transition as the energy economy changes: “We’re never going to
forget the men and women who dug the coal and built the nation. We’re going to do right by them and
make sure they have opportunities to keep building the nation . . .” The Proposed Disapproval is
inconsistent with these principles because it will set in motion an inflexible regulatory scheme to be
implemented on an unrealistic timeline with disproportionate and adverse impacts for affected
communities. Under its own guidelines, EPA must meaningfully engage with affected communities to
clearly understand and address the barriers to a just transition that will result from the Proposed
Disapproval.

The Utah Units are very important to the local economies surrounding the power plants. The Hunter
plant directly employs approximately 186 people, and the Huntington plant employs approximately 136,
and thousands of other people are employed by industries that support the Utah Units. Emery and
Carbon counties rely on the plants for a significant part of their tax and employment base. For example,
PacifiCorp paid $22.6 million in property taxes to Emery County for 2021. This represented almost 70%,
or more than two-thirds, of the county’s total property tax revenues. These revenues provide funding
for the county law enforcement agency, the county governmental operations, and the Emery County
School District.

A new Kem Gardner study on Utah’s Coal Country (“Coal Country Study”) identifies Carbon and Emery
counties as among the least economically diverse counties in the state. There are approximately 4,000
jobs in Emery and Carbon counties in mining and other industry services. Wages for plant workers are
higher than the overall industrial workforce, and closure of a Utah Unit would have a significant impact
on wages earned in the surrounding communities. Because the communities currently rely so heavily on
the Utah Units and associated mining and industry services, it is especially important to balance local
interests, efficiencies, economics, and impacts to people while pursuing strategies to decrease
environmental impacts and grow a cleaner power system.

It is estimated that the early retirement of even a single unit at the Hunter plant would result in an
approximate 20-25% employee reduction. Beyond the loss of plant jobs, any unit retirement would have
broader impacts to associated industry jobs serving the plants and the local community.

The Coal Country Study explains, “These two counties form a regional economy, with a shared
commuter shed, shared industries, and consumer spending patterns. Together, these counties face
challenges with changing economic circumstances from declining coal production and the future
closures of power plants.” The report finds time is a critical factor to diversify the local economies and
address the expected employment declines in the natural resource/coal sector. Both Carbon and Emery

                                                                                                       465
        Case: 23-60069          Document: 110         Page: 864        Date Filed: 03/27/2023




County have experienced population loss since 2010, a significant portion of which coincided with the
retirement of PacifiCorp’s Carbon power plant and the closure of its Deer Creek mine in 2015.

The welfare of the affected communities, which is intertwined with and dependent upon the presence
of the Utah Units, is an important factor EPA must consider when weighing the potential impact of the
Proposed Disapproval.



Commenter: Utah Associated Municipal Power System

Commenter ID: 46

Docket ID: EPA-R08-OAR-2022-0315

Comment:

Requiring SCR will Adversely Impact UAMPS’ Participating Members and Jeopardize Reliability

UAMPS opposes any regulatory requirement to install SCR on Hunter Unit 2, which would constitute
overcontrol and adversely impact UAMPS and its members. EPA’s required timeline of 36 months to
install SCR is patently unreasonable and not feasible. In addition to owning interests in or directly
operating power plants and other sources of electrical power, UAMPS and its members regularly
purchase power off the grid, and are, therefore, sensitive to market and regulatory forces that impact
electricity affordability and reliability. Western power markets are already being tested by retiring
power generation facilities; premature closures caused by the Proposed Rule will only exacerbate the
western power markets, increase wholesale prices, and result in increased costs to end-use customers
within UAMPS’ member communities. With an undivided 14.582% ownership interest in Hunter Unit 2,
UAMPS and its participating members could face significant adverse economic impacts from a regulatory
requirement for PacifiCorp to install SCR on Hunter Unit 2. Further, the Proposed Rule will likely cause
early coal-unit retirements that will undermine the reliability of the bulk electric system and adversely
impact affected coal communities as well as customers and electricity consumers in the West, significant
factors and impacts which EPA failed to take into account.



Response
The EPA is sensitive to commenter’s concerns regarding the economic impact of the EPA’s regulatory
actions. However, these comments do not change the EPA’s analysis and conclusion that the SIP
submissions being disapproved in this action cannot be found to satisfy the requirements of CAA section
110(a)(2)(D)(i)(I). This final action to disapprove SIP submissions does not require any action from states
or emissions sources and therefore does not impose any additional costs or economic hardships on
sources or communities. Comments regarding economic and other impacts of the proposed FIP action
(87 FR 20036 (April 6, 2022) (Docket ID No. EPA-HQ-OAR-2021-0668)) are outside the scope of this
rulemaking.

Comments on the topic of SIP/FIP timing are addressed in Section V.A of the preamble and Section 1.1
of this RTC document. Comments on EPA’s proposal in a separate rulemaking to not find error in its

                                                                                                       466
        Case: 23-60069          Document: 110         Page: 865       Date Filed: 03/27/2023




previous approval of Oregon’s good neighbor SIP for the 2015 ozone NAAQS is outside the scope of this
action.



11.7 Environmental Justice

Comments


Commenter: California Air Resources Board

Commenter ID: 12

Docket ID: EPA-R09-OAR-2022-0394

Comment:

In summary, CARB urges the federal government to help achieve emissions reductions from sources
subject to federal controls that significantly impact environmental justice communities and the State’s
ability to reach air quality Standards. California would like to work alongside the federal government as
we all strive for cleaner air and regulatory attainment for all areas. CARB appreciates the opportunity to
work with EPA to submit any additional information necessary to support the approval of the “interstate
transport” portion of the California 2018 Infrastructure SIP.



Commenter: Midwest Ozone Group

Commenter ID: 30

Docket ID: EPA-R02-OAR-2021-0673, EPA-R03-OAR-2021-0872, EPA-R03-OAR-2021-0873, EPA-R04-OAR-
2021-0841, EPA-R05-OAR-2022-0006, EPA-R06-OAR-2021-0801, EPA-R07-OAR-2021-0851, EPA-R08-
OAR-2022-0315, EPA-R09-OAR-2022-0394, EPA-R09-OAR-2022-0138

Comment:

EPA is also obligated pursuant to Executive Orders 12898 (Feb. 11, 1994) and 14008 (Jan. 27, 2021), to
ensure its actions support the principal of environmental justice, particularly in energy communities.
Environmental justice is the fair treatment and meaningful involvement of all people regardless of race,
color, national origin, or income, with respect to the development, implementation, and enforcement of
environmental laws, regulations, and policies.



Response
This action disapproves SIP submissions from states under CAA section 110(a)(2)(D)(i)(I) for the 2015
ozone NAAQS. EPA does not impose emissions reductions in a SIP disapproval. As articulated in the final
action, the EPA is determining that certain SIPs do not meet certain minimum requirements, and the

                                                                                                      467
        Case: 23-60069          Document: 110          Page: 866       Date Filed: 03/27/2023




EPA is disapproving those SIPs. Specifically, this action disapproves certain SIP submissions as not
containing the necessary provisions to satisfy good neighbor requirements under CAA section
110(a)(2)(D)(i)(I). In a wholly separate regulatory action, the EPA has proposed to address the CAA “good
neighbor” requirements under section 110(a)(2)(D)(i)(I) for the 2015 ozone NAAQS for these states
under its CAA section 110(c) FIP authority. The EPA acknowledges the importance of giving
consideration to the impact of the EPA’s actions on environmental justice communities. Although
separate from this action, we note that the EPA conducted an environmental justice analysis of the
EPA’s proposed interstate transport FIP for the 2015 ozone NAAQS. See 87 FR 20036-20155 (April 6,
2022).

Executive Orders 12898 and 14008 by their own terms do not create a right to judicial review (Executive
Order 12898 section 6-609 and Executive Order 14008 section 301(c)). See Sur Contra La Contaminacion
v. EPA, 202 F.3d 443, 449-50 (1st Cir. 2000) (judicial review is not available under EO 12898); Air Transp.
Ass’n of Am. v. FAA, 169 F.3d 1, 8-9 (D.C. Cir. 1999) (holding that a claim under another executive order
with nearly identical judicial review language was not judicially reviewable and that petitioner’s claim
that the action at issue was arbitrary and capricious because of the Agency’s alleged violation of the
order was “nothing more than an indirect—and impermissible—attempt to enforce private rights under
the order”).



11.8 Mobile Sources Emissions

Comments


Commenter: California Air Resources Board

Commenter ID: 12

Docket ID: EPA-R09-OAR-2022-0394

Comment:

Emissions from primarily-federally regulated sources are a growing proportion of emissions in California.
CARB welcomes assistance and dialogue from EPA and the U.S. government in addressing this challenge.
As an example, statewide emissions from primarily federally regulated sources (aircraft, trains, ocean-
going vessels, interstate trucks, and preempted off-road equipment) are projected to be the source of
more than 45 percent, or approximately 450 tons per day, of anthropogenic NOX emissions in 2026
(CEPAM2022 v1.01, including ocean going vessels out to 100 nautical miles from shore). Without federal
action, by 2030, NOX emissions from these primarily-federally regulated sources will be double
California-regulated mobile sources. Therefore, it is imperative that the federal government act
decisively to reduce emissions from air pollution sources under its control in California, as these sources
contribute significantly to California’s nonattainment challenges. Primarily-federally regulated mobile
source emission reduction actions are critically needed alongside California’s aggressive and effective
control of sources under our authority.

                                                                                                       468
        Case: 23-60069          Document: 110         Page: 867       Date Filed: 03/27/2023




In summary, CARB urges the federal government to help achieve emissions reductions from sources
subject to federal control that significantly impact environmental justice communities and the State’s
ability to reach air quality standards.



Commenter: Midwest Ozone Group

Commenter ID: 30

Docket ID: EPA-R02-OAR-2021-0673, EPA-R03-OAR-2021-0872, EPA-R03-OAR-2021-0873, EPA-R04-OAR-
2021-0841, EPA-R05-OAR-2022-0006, EPA-R06-OAR-2021-0801, EPA-R07-OAR-2021-0851

Comment:

Mobile sources are the primary cause of remaining air quality problems.

Available source apportionment data clearly shows that the most significant contributor of ozone in the
East is mobile sources. Even EPA recognized that mobile and other local sources are the likely cause of
high ozone in Connecticut. In a May 14, 2018, presentation titled “Analysis of Ozone Trends in the East
in Relation to Interstate Transport,” Norm Possiel of the EPA Office of Air Quality Planning and Standards
showed the following slide regarding high ozone in costal Connecticut:

[slide in full comment]

More recently, in a November 9, 2021, presentation to the Ozone Transport Commission (OTC), Dr. Jeff
Underhill, Chair of the OTC Modeling Committee, showed hourly source apportionment results that
demonstrate that onroad and nonroad emissions dominate ozone formation in the modeled simulation
at the Connecticut monitor example provided.

Alpine Geophysics, on behalf of MOG, prepared a summary of source apportionment data in March of
2022 that documents recent ozone source apportionment modeling and associated results of the EPA
2016v2 modeling platform and associated 2023fj projections. For each monitor in the modeling domain,
Alpine produced a standard set of products representing the relative contribution of region and
category emissions to projected 2023 ozone concentrations.

An example of the relative contribution of EGU and non-EGU point source emissions to the downwind
receptor (90099002) at New Haven, Connecticut is presented in Figure 2. Note the small contribution of
both EGU and non-EGU point source emissions (6 percent) toward the total contribution of emissions
forming ozone in the 2023 modeled simulation.

[Figure 2 available in full comment]

Figure 2. Relative contribution of emissions (by percent) from major source sectors to modeled ozone
concentrations in 2023 at the New Haven, Connecticut monitor 90099002.

A similar level of emissions from EGU and non-EGU NOx contribution is seen in Figure 3 at the Kenosha,
Wisconsin nonattainment monitor (550590019), where almost 43% of NOx contributions is from mobile
and area source sectors.

                                                                                                      469
        Case: 23-60069          Document: 110         Page: 868       Date Filed: 03/27/2023




[Figure 3 available in full comment]

Figure 3. Relative contribution of emissions (by percent) from major source sectors to modeled ozone
concentrations in 2023 at the Kenosha, Wisconsin monitor 550590019.

Based on these findings, it is questionable whether additional upwind regional ozone season NOx
reductions from EGUs or non-EGU point sources would have the intended impact at downwind
receptors compared to other, higher contributing, and local, source sectors.

As can easily be seen in the data, the contribution of nearby sources, and especially mobile sources,
dwarfs the contribution of upwind state point sources. The data for all monitors in the Northeast are
similar. Mobile sources are the dominant source of ozone in the Northeast now and are projected to
continue to dominate in 2023.

The EPA Strategic Plan at page 43 states that “EPA will collect and evaluate mobile source emission data
to help guide future program priorities related to reducing criteria pollutant and greenhouse gas
emissions from light-duty cars and trucks, heavy-duty trucks and buses, nonroad engines and
equipment, and from the fuels that power these engines. The Agency will develop the next round of
multi-pollutant emission standards for light-duty and highway heavy-duty vehicles, which will improve
air quality and reduce pollution near roads and other areas of high truck activity, such as warehouses
and ports. EPA will also continue to work to ensure that Clean Air Act requirements are met for new
transportation projects with heavy-duty diesel traffic, such that they do not worsen air quality near
communities with environmental justice concerns. The Agency will address air quality concerns in these
communities through implementing regulations, developing improved air quality models and mitigation
measures, and collaborating with a broad range FY 2022-2026 EPA Strategic Plan – Objective 4.1 44 of
stakeholders — including state air quality agencies and communities with environmental justice
concerns — to develop targeted, sector-based, and place-based strategies for diesel fleets (including
school buses, ports, and other goods movement facilities). EPA will support and oversee projects for the
replacement of existing school buses with low- or zero-emission school buses funded under the
Bipartisan Infrastructure Law, which will be implemented in alignment with Justice.”

        MOG notes that EPA plans to deal with mobile sources in the future and has initiated regulatory
        work in this regard as noted in the EPA Strategic Plan. Specifically, EPA has finalized “Late Model
        Year Light-Duty Vehicle Greenhouse Gas Emission Standards.” 86 Fed. Reg. 74,434 (December
        30, 2021). EPAS has also proposed “Control of Air Pollution From New Motor Vehicles: Heavy-
        Duty Engine and Vehicle Standards,” 87 Fed. Reg. 17,414 (March 28, 2022). EPA revised the GHG
        emission standards for passenger cars and light trucks under the authority provided by section
        202(a) of the CAA. This section is found within the Chapter 85 of the U.S. Code titled, “Air
        Pollution Prevention and Control” and is incorporated into the chapter reference found within
        the state implementation plan obligations found under Section 110(a)(2), Each implementation
        plan submitted by a State under this chapter shall be adopted by the State after reasonable
        notice and public hearing. Each such plan shall – (A) include enforceable emission limitations
        and other control measures, means, or techniques (including economic incentives such as fees,
        marketable permits, and auctions of emissions rights), as well as schedules and timetables for
        compliance, as may be necessary or appropriate to meet the applicable requirements of this
        chapter; (Emphasis added).
                                                                                                        470
        Case: 23-60069         Document: 110         Page: 869       Date Filed: 03/27/2023




In summary, nonattainment plans are required to meet the applicable requirements of the Clean Air Act
also described as Chapter 85 of Title 42 of the U. S. Code. Approvable NAAQS implementation plans are
required to incorporate relevant sections of the Clean Air Act, to include the programs promulgated
under Subchapter II – Emission Standards for Moving Sources such as the GHG emissions standards for
light-duty vehicles for 2023 and later model years. The air quality impacts from this rule will have
tailpipe emissions are measurable and warrant incorporation into the overall calculation of emissions
reductions from CAA programs that will improve ozone air quality. 86 Fed. Reg. 74,490.

The proposed Heavy-Duty Engine and Vehicle Standards rule is anticipated to “reduce air pollution from
highway heavy-duty vehicles and engines, including ozone, particulate matter, and greenhouse gases.”
87 Fed. Reg. 17.414. EPA expects the standards in the proposed Options 1 and 2 to result in meaningful
reductions in emissions of NOx, VOC, CO and PM2.5. 87 Fed. Reg. 17,581. Also, EPA predicts, “The
proposal would reduce 8-hour ozone design values 26 significantly in 2045.” Id. at 17,582. These
observations support the known impact of mobile sources on ozone ambient air quality.

As stated earlier in these comments, aligning the obligations to control significant sources of ozone
precursors with the upwind and downwind ozone attainment obligations is the only path that leads to
successful state implementation plan development as guided by the Clean Air Act. EPA’s failure to
recognize the impact of the timing of mobile source controls on implementation of the Good Neighbor
provisions and the disapprovals being proposed is arbitrary and capricious and exceeds EPA’s authority
under the CAA.



Commenter: Midwest Ozone Group

Commenter ID: 30

Docket ID: EPA-R08-OAR-2022-0315, EPA-R09-OAR-2022-0394, EPA-R09-OAR-2022-0138

Comment:

Available source apportionment data clearly shows that the most significant contributor of ozone is
mobile sources.



Commenter: Nevada Division of Environmental Protection

Commenter ID: 33

Docket ID: EPA-R09-OAR-2022-0138

Comment:

While EPA has proposed to disapprove Nevada’s 2018 iSIP, it has not clearly demonstrated that the
proposed FIP controls on Nevada stationary sources will achieve meaningful reductions in ozone
concentrations in Nevada or neighboring states. The proposed FIP fails to consider and address that in
Nevada, mobile sources, not stationary sources, emit the plurality of nitrogen oxide precursors to ozone
formation.
                                                                                                      471
       Case: 23-60069          Document: 110         Page: 870       Date Filed: 03/27/2023




Commenter: New Jersey Department of Environmental Protection

Commenter ID: 34

Docket ID: EPA-R02-OAR-2021-0673

Comment:

EPA states that an approvable GN SIP revision must demonstrate enforceable emission control measures
that achieve at least the same amount of emission reductions achieved by the FIP. With this in mind,
New Jersey would like to note that its 2017 NOx annual emissions inventory indicates that 79% of the
state’s emissions are from mobile sources (onroad and nonroad), while EGUs make up a mere 3%, and
non-EGU point sources make up 14%. This breakdown of New Jersey’s NOx emissions inventory reflects
not only the extensive and various control strategies implemented in New Jersey but also that EGUs and
non-EGU point sources located in New Jersey are already well controlled. Considering the large
contribution of NOx from onroad and nonroad mobile sources in New Jersey, it is unclear how New
Jersey would demonstrate a significant reduction from the sources that make up such a small fraction of
the state’s NOx emissions. Additionally, New Jersey’s Board of Public Utilities recently approved a plan
to shut down the two-remaining coal-fired power plants in the state by the end of May 2022. Therefore,
due to the large portion of mobile source emissions compared to stationary sources, and the limited
authority for states to implement emission reduction strategies for mobile sources, EPA should advance
measures to reduce mobile source emissions as soon as practicable including but not limited emission
reductions for new medium and heavy-duty vehicles, new light duty passenger vehicles, and widescale
electrification of new onroad and nonroad mobile sources.

EPA also states that New Jersey’s GN SIP failed to “contain the necessary provisions to eliminate
emissions in amounts that will contribute significantly to nonattainment or interfere with maintenance
of the NAAQS in any other state.” As noted in New Jersey’s 2008 75 ppb 8- Hour Ozone Attainment
Demonstration Northern New Jersey-New York-Connecticut Nonattainment Area, the 2023 Ozone
Transport Commission (OTC) source apportionment modeling, using the OTC 2011 12km SIP modeling
platform predicted that New Jersey’s mobile sector contributed 70% of New Jersey’s overall
contribution to ozone nonattainment while EGUs were merely 5%. These percentages are likely to be
similar using EPA’s recent 2016 modeling platform that was used to support the latest 2015 Ozone FIP,
which predicts New Jersey’s overall contribution to ozone nonattainment in Connecticut to be
approximately 9 ppb. Therefore, it is estimated that 6.3 ppb of New Jersey’s transported ozone is
attributed to mobile sources and less than one-half ppb to EGUs. New Jersey has addressed the sources
it can control to reduce their significant contribution to downwind nonattainment. Additionally, New
Jersey continues to address emissions from mobile sources to the extent that state action is not pre-
empted by the Clean Air Act. New Jersey has adopted the more-stringent California new vehicle rules for
light-duty vehicles (Low Emission Vehicle and Zero Emission Vehicle programs) and medium/heavy duty
vehicles (Advanced Clean Trucks) to ensure that the lowest emitting vehicles in the nation are sold in
New Jersey, including increasing numbers of zero emission vehicles. Other states have not made the
same commitment. New Jersey also has some of the most stringent rules in the country for vehicle idling
and heavy-duty vehicle inspection and maintenance using on-board diagnostics (OBD) technology. EPA
should recognize New Jersey for these actions by approving New Jersey’s GN SIP.

                                                                                                    472
       Case: 23-60069          Document: 110         Page: 871       Date Filed: 03/27/2023




Commenter: Ohio Utilities and Generators Group

Commenter ID: 36

Docket ID: EPA-R05-OAR-2022-0006

Comment:

Ohio developed its proposed SIP consistent with the Act and the applicable guidance. US EPA’s proposed
disapproval is inconsistent with its own guidance. The purported modeling upon which US EPA relies
does not accurately assess the impact of mobile sources in the nonattainment areas and arbitrarily
attributes contributions from Ohio’s (& other states) EGU sector. In short, the SIP proposed by Ohio EPA
is appropriate and should be approved by US EPA.



Commenter: PacifiCorp

Commenter ID: 38

Docket ID: EPA-R08-OAR-2022-0315

Comment:

Utah’s Uinta Basin borders Colorado and is closer to the affected Colorado monitors than the referenced
EGUs. The Uinta Basin is currently nonattainment for ozone and significant reductions are and will be
made to address its own ozone concerns. These Uinta Basin-based reductions are more likely to produce
significant reductions at the impacted monitors in Colorado than EPA’s EGU preferences. Recent analysis
using data from EPA’s 2016v2 modeling platform shows that Utah and Wyoming EGUs contribute less
than 0.4% to the Colorado nonattainment monitors. Mobile sources and oil and gas sources are greater
contributors (although still relatively small compared to background and natural sources).



Commenter: West Virginia Department of Environmental Protection

Commenter ID: 49

Docket ID: EPA-R03-OAR-2021-0873

Comment:

DAQ contends 2015 8-hour Ozone NAAQS design values at downwind monitors in nonattainment or
maintenance areas will continue to respectively be above or near the standard whilst the instruments
are adjacent to and generally downwind of major interstate highway arteries, including Interstate 95
and its various spurs and loops. Local mobile NOx sources have always been and continue to be the
primary driver of nonattainment and maintenance issues in the areas of concern. This was illustrated
quite clearly on page I-6 of Appendix I of the WV 2015 Ozone Good Neighbor SIP. DAQ maintains that
should all upwind stationary sources of NOx cease to operate, then these monitors would continue to
report much higher than background levels of ground-level ozone, with many in nonattainment. It
would be considerably more prudent for EPA to encourage downwind states with nonattainment and
                                                                                                     473
        Case: 23-60069            Document: 110           Page: 872        Date Filed: 03/27/2023




maintenance areas to implement tighter emissions limits or increased tolling for mobile sources located
within their respective jurisdictions.



Response
The EPA responds generally to comments regarding mobile source emissions in Section V.C.1 of the
preamble. Here, the EPA addresses comments raising arguments pertinent to specific states.

In response to Midwest Ozone Group, the EPA addressed the cited May 14, 2018, presentation at
proposal. 87 FR 9859 (February 22, 2022); 87 FR 9873 (February 22, 2022). Substantive comments on
mobile source rulemakings are outside the scope of this action.

The EPA describes the emissions inventories of mobile sources in the preamble in Section III.A.3.
Additional information about emissions inventories is available in the 2016v3 Emissions Modeling TSD.
The EPA addresses comments on methodology for determining future year contribution in Section 7.1
and comments related to mobile source emissions inventories in Section 3.2. Ohio Utilities and
Generators Group did not specify which EPA guidance it referenced with sufficient specificity for the EPA
to be able to respond, but the EPA responded to other comments related to guidance in Sections 1.2,
6.4, and 7.4 of this RTC document.

California

In response to one comment (CARB) regarding emissions in the state of California from sources in
sectors regulated by the federal government, the EPA disagrees that emissions from mobile sources are
entirely beyond the regulatory reach of the state. To the extent that CARB is suggesting that the EPA
focus on reducing emissions from mobile sources of air pollution in our proposed FIP, we note that
comments on the proposed FIP are outside the scope of this action on the California transport SIP
submission. As previously stated, we recognize that mobile sources are important contributors to
emissions of criteria pollutants and greenhouse gasses. As one commenter points out, the EPA has
finalized a rulemaking to reduce emissions of several air pollutants, including NOX, from heavy-duty
vehicles and engines starting in model year 2027157. The rule is consistent with President Biden's
Executive Order 14037, “Strengthening American Leadership in Clean Cars and Trucks,”158 and helps
ensure that the heavy-duty vehicles and engines that drive American commerce are as clean as possible
while charting a path to advance zero-emission vehicles in the heavy-duty fleet.

The Final Rule for control of air pollution from heavy-duty engine and vehicle standards targets
emissions reductions beginning in the year 2027. Therefore, these emissions reductions will not begin to
take place until after 2023, the relevant analytic year used in this action and is therefore not included in
the modeling for this action


157
    On December 20, 2022, the EPA finalized more stringent emissions standards for NO X and other pollutants from
heavy-duty vehicles and engines, beginning with model year 2027. See https://www.epa.gov/regulations-
emissions-vehicles-and-engines/final-rule-and-related-materials-control-air-pollution. EPA is also developing new
multi-pollutant standards for light- and medium-duty vehicles as well as options to address pollution from
locomotives.
158
    86 FR 43583 (August 10, 2021).
                                                                                                             474
        Case: 23-60069         Document: 110         Page: 873       Date Filed: 03/27/2023




New Jersey

One commenter argues that New Jersey’s SIP submissions should be approved because, according to the
commenter, New Jersey’s sources, including mobile sources, are already strongly controlled.

The EPA acknowledges New Jersey has many emissions controls in place, however, the EPA does not
view New Jersey’s SIP submission as supporting a conclusion that the state has satisfied the
requirements of CAA section 110(a)(2)(D)(i)(I) for the 2015 ozone NAAQS. The EPA proposed to
disapprove New Jersey’s transport SIP submission in part because the state did not evaluate the
availability of additional emissions controls to improve downwind air quality at nonattainment and/or
maintenance receptors at Step 3, even though New Jersey emissions are linked to receptors at Step 2 as
indicated by both the state and the EPA’s air quality modeling. The comment does not change the EPA’s
assessment of the SIP submission. The EPA is finalizing the disapproval of New Jersey’s SIP submission
for the reasons in the proposal (87 FR 9484, Feb. 22, 2022) and in this final rule.

The commenter also indicated there are more NOX emissions from mobile sources than stationary
sources in New Jersey, and so it is unclear to the commenter what else New Jersey can do. The EPA
recognizes that mobile sources represent a large portion of NOX emissions in New Jersey and would be
expected to have a large impact on downwind nonattainment and maintenance receptors in proportion
to other sectors. However, simply noting that mobile source emissions are a large portion of New
Jersey’s NOX emissions, noting they represent a large portion of New Jersey’s contribution to downwind
nonattainment and maintenance receptors, and listing existing controls, does not, as an analytical
matter, support a conclusion that all necessary emission reductions have been sufficiently achieved to
meet the state’s interstate transport obligations. Mobile source emissions are among the types of
anthropogenic “emissions activity,” CAA section 110(a)(2)(D)(i), assigned to states at Step 2. Thus, the
EPA includes mobile source emissions in the 2016v2 and 2016v3 modeling to identify state linkages at
Steps 1 and 2. For example, New Jersey's adoption of California’s LEV criteria pollutant regulations for
light-duty vehicles was reflected in the emissions inventory. MOVES3 harmonizes the emission rate
standards with CA LEV for ozone precursors in all states starting with model year 2017. ZEV programs
are not explicitly modeled, but the light-duty EV population as of 2020 was reflected and grown to the
future years using AEO 2022 trends. Both the 2016v2 and 2016v3 modeling indicated that New Jersey
continues to be linked at Step 2 of the 4-step interstate transport framework.

Lastly, the commenter seems to be mischaracterizing statements the EPA made in the proposed FIP,
separate from this rulemaking, regarding SIP submissions to replace that FIP in the event that a FIP is
finalized. The EPA views comments on the proposed FIP to be outside the scope of this rulemaking. If,
instead, the commenter is characterizing the EPA’s disapproval of New Jersey’s good neighbor SIP
submissions for the 2008 ozone NAAQS, the EPA clarifies that comparison to a FIP in that action was
limited to the Revised CSAPR Update, which was finalized before the EPA’s action on the SIP submission
and resolved good neighbor obligations for the 2008 ozone NAAQS for New Jersey. 87 FR 55692
(September 12, 2022).

Utah

Regarding the comment that mobile sources and oil and gas sources are greater contributors to
Colorado ozone nonattainment than Utah and Wyoming EGUs, this does not answer the question
                                                                                                     475
        Case: 23-60069         Document: 110         Page: 874       Date Filed: 03/27/2023




regarding the adequacy of the Utah’s or Wyoming’s SIP submissions (though we are not taking final
action on Wyoming here), because both states have mobile and oil and gas sources themselves that are
“sources or other type of emissions activity” under CAA section 110(a)(2)(D)(i). Utah’s transport SIP
submission did not include a sufficient examination or a technical justification that could support the
conclusion that the state has no good neighbor obligations for the 2015 8-hour ozone NAAQS. As such,
the EPA must disapprove the Utah SIP submission for failing to satisfy the statutory requirements of CAA
section 110(a)(2)(D)(i)(I). Response to comments regarding oil and gas emissions reductions in the Uinta
Basin are addressed in Section 11.4 (Transport Policy-Western State Ozone Regulation).

West Virginia

As stated in the NPRM, the “good neighbor” or “interstate transport” requirements of the CAA requires
that each state’s SIP contain adequate provisions to prohibit emissions from within the state from
significantly contributing to nonattainment or interfering with maintenance of the NAAQS in other
states. The question therefore is not whether other sources, such as mobile sources, also contribute to
high ozone readings in downwind areas. The question is whether sources in West Virginia are
contributing significantly to multiple downwind receptors. The EPA considers a state to be “linked” if it
has a contribution value equal to or exceeding the threshold of 1 percent of the NAAQS (i.e., 0.70 parts
per billion (ppb) for the 2015 8-hour ozone NAAQS) to a downwind receptor. The EPA’s 2016v2
modeling shows that sources in West Virginia are linked to ozone nonattainment and/or maintenance
receptors in certain downwind areas in amounts greater than that threshold. As WVDEP mentioned in
their comment, shutting down all point sources in the state may not result in the affected receptors
achieving attainment, but that is not the relevant standard under the good neighbor provision. Also, the
EPA does not disagree that emissions from mobile sources are an issue in ozone nonattainment areas,
separate from interstate transport. The EPA has been regulating mobile source emissions since it was
established as a federal agency in 1970, and all mobile source sectors are currently subject to NOX
emissions standards. However, mobile source emissions remain, and are included in the identification of
receptors at Step 1 and state-level contribution at Step 2. West Virginia’s good neighbor SIP submission
did not show that emissions from West Virginia sources were not contributing significantly to, or
interfering with maintenance by, the NAAQS in certain downwind states and therefore this element of
the SIP submission did not meet the requirements of CAA section 110(a)(2)(D)(i)(I).



11.9 Typographical Concerns

Comment


Commenter: Oklahoma Department of Environmental Quality

Commenter ID: 37

Docket ID: EPA-R06-OAR-2021-0801

Comment:

                                                                                                     476
        Case: 23-60069            Document: 110           Page: 875         Date Filed: 03/27/2023




ODEQ notes that EPA Region 6 notified Oklahoma on March 2, 2022, that there was a mistake in the
proposed action in the description of EPA's method for calculating 2023 contributions from upwind
states, specifically in regards to the days with the highest projected ozone levels on page 9809 of the
proposed disapproval. The correct description of EPA's methodology is included in at least two Technical
Support Documents included in the docket. However, the correct description should be included in the
proposed disapproval itself.

There is the second occurrence of the mistake in the description of EPA's method for calculating 2023
contributions from upwind states, specifically regarding the days with the highest projected ozone
levels, on pages 9814-15 of the proposed disapproval.



Response
As the commenter notes, the preamble for the proposed action addressing the SIP submissions for
states in Region 6 misstated the EPA’s method for calculating future year contributions from upwind
sates. The Evaluation of TCEQ Modeling TSD identified where the misstatement was specifically located
in the preamble and included the correct description of the EPA's method for calculating future year
contributions from upwind states. Additionally, on March 2, 2022, the EPA staff sent an email to the
Region 6 states to inform them of the issue and where they could find the correct description. We also
included a copy of the email in Docket No. EPA-R06-OAR-2021-0801.159 The misstatement does not
affect any aspect of EPA’s action or rationale, and other materials included in this action correctly
describe the method for how the EPA calculates future year contributions. Based on these actions, the
EPA believes that it adequately addressed any potential issues caused by the errant language in the
preamble.



11.10 Tribal Concerns

Comment


Commenter: Kaw Nation

Commenter ID: 24

Docket ID: EPA-R06-OAR-2021-0801

Comment:

Kaw Nation is one of the federally recognized Indian Tribes, pursuant to 25 CFR § 11.100 (x), located in
Oklahoma, that has a Tribal authority and capability of qualified professionals that could manage Tribal

159
   See, Errant language in Proposed Rule; Air Plan Disapproval; Arkansas, Louisiana, Oklahoma, Texas Interstate
Transport of Air Pollution 2015 Ozone NAAQS. Attachments to this EPA Region 6, Mar 2, 2022, E-Mail message,
available in Docket ID No. EPA–R06–OAR–0801–0663-0011.

                                                                                                              477
        Case: 23-60069           Document: 110           Page: 876        Date Filed: 03/27/2023




Air Quality. It is one of the few Tribes who met the Treatment As State (TAS) eligibility requirements
under 40 CFR, 49.6 and approved for Sec. 301(d) of the CAA, 42 U.S.C § 7401 et seq., for the purpose of
financial assistance under Sec. 105 of the CAA for TAS under Sec. 505 (a)(2) of the CAA.

Kaw Nation was monitoring Ozone precursors particularly Particulate matters in the Northern parts of
Oklahoma for a while and it's within the Attainment zone for Ozone National Ambient Air Quality
Standards (NAAQS).

Pursuant to Federal Clean Air Act (CAA), Kaw Nation would propose U.S. EPA to promulgate a federal
implementation plan (FIP) than State Implementation Plan (SIP) so that Tribes can address interstate
transport requirement.

Kaw Nation also propose to reconsider the approval of SAFETA and make the Oklahoma SIP to be
inclusive of Indian Authority and have discussion with Tribal governments.

Kaw Nation is thankful to the U.S. EPA for inviting Tribal Authorities for government-to-government
consultation to maintain our environment safe and secured for our future generation to come.



Response
The EPA appreciates the partnership and work that the Kaw Nation does with its air program, which
includes participating in numerous regional and national workgroups, conducting an emissions
inventory, reviewing air permits, and re-establishing their PM2.5 air monitoring site.

The Kaw Nation asked that the EPA promulgate a FIP, rather than a SIP, to enable tribes to address
interstate transport issues. In this action, the EPA is disapproving the portion of Oklahoma’s SIP
submission addressing interstate transport for the 2015 ozone NAAQS, which includes the portion of
Oklahoma’s SIP submission that would apply in certain areas of Indian country consistent with EPA’s
October 1, 2020, approval of the state’s request pursuant to section 10211(a) of the Safe, Accountable,
Flexible, Efficient Transportation Equity Act of 2005: A Legacy for Users, Pub. Law 109-59, 119 Stat.
1144, 1937 (August 10, 2005) (“SAFETEA”). Based on this proposed disapproval, the EPA in a separate
action proposed FIPs for several states including the state of Oklahoma and for areas of Indian country
within the borders of those states.160 A tribe may seek Treatment in a Manner Similar to a State (TAS)
approval to develop their own CAA regulatory program, including the implementation of a Tribal
Implementation Plan (TIP) which could allow tribes to address interstate transport requirements.161

Although not part of this rulemaking, on December 22, 2021, the EPA proposed to withdraw and
reconsider the October 1, 2020, SAFETEA approval.162 The EPA engaged with tribes in consultations
before and after the EPA’s proposal to withdraw and reconsider the October 1, 2020, SAFETEA approval,

160
    Proposed Federal Implementation Plan Addressing Regional Ozone Transport for the 2015 Primary Ozone
National Ambient Air Quality Standard, available in EPA-HQ-OAR-2021-0668. As proposed, the FIP would apply in
areas of Indian Country in Oklahoma, whether by virtue of authority under CAA section 110(c) or 301(d).
161
    For Oklahoma tribes, SAFETEA 10211(b) requires that the State and Tribe enter into a cooperative agreement
prior to seeking TAS approval for a regulatory program. EPA encourages and would support the Nation in seeking
such a cooperative agreement and TAS approval should the Nation desire to implement a TIP.
162
    See https://www.epa.gov/ok/proposed-withdrawal-and-reconsideration-and-supporting-information.
                                                                                                           478
        Case: 23-60069          Document: 110          Page: 877        Date Filed: 03/27/2023




and is currently considering feedback received from tribes, including the Kaw Nation. The EPA expects to
engage in further discussions with tribal governments and the state of Oklahoma as part of this
reconsideration.



11.11 Executive Order 13132

Comment
Commenter: Tennessee Department of Environment and Conservation

Commenter ID: 41

Docket ID: EPA-R04-OAR-2021-0841

Comment:

Tennessee believes EPA’s proposed Disapproval May Contravene Executive Order 131132 including: (1)
the action directly affects the relationship between the states and national government; and (2) EPA’s
approach to infrastructure SIPs will have a chilling effect on states’ abilities to fully develop and
implement their obligations under section 110 of the Clean Air Act.



Response
Because action on Tennessee’s SIP submission is not included in this final action, to the extent this
comment is relevant to Tennessee it is out of scope. The EPA disagrees that this disapproval action is
inconsistent with the cooperative federalism framework of the CAA. The EPA addresses comments on
cooperative federalism in Section 10.3 (Cooperative Federalism and the EPA’s Authority).

Based on footnote 60 of the comment letter, the EPA believes the reference to Executive Order 131132
was a typographical error and that the comment intended to refer to Executive Order 13132. The EPA
disagrees that this action contravenes the requirements of Executive Order 13132.

In CAA section 110(k)(3), Congress directed the EPA, not the states, to determine whether SIP
submissions satisfy the requirements of the CAA. It is only after a SIP is approved that state measures
included in a SIP submission become federally enforceable. And, by disapproving a SIP submission, EPA
is not invalidating any state law or regulation. As such, the EPA’s disapprovals do not take away any
authority that a state would otherwise have to regulate air pollution. This rulemaking thus does not alter
the legal relationship between the states and the federal government, nor does it create any substantial
new burden affecting the states. Indeed, this rulemaking does not directly regulate any state or local
governments at all. Accordingly, the EPA believes that this rule is consistent with the CAA and its policies
as well as the Executive Order. The EPA also disagrees with the claim that the disapprovals will impact
states’ abilities to fully develop and implement their obligations under the CAA should they choose to do
so following this action, and the EPA approves their SIP submissions.

Executive Order 13132 by its own terms does not create a right to judicial review (Executive Order
13132 section 11). See Air Transp. Ass’n of Am. v. FAA, 169 F.3d 1, 8-9 (D.C. Cir. 1999) (holding that a
                                                                                                           479
         Case: 23-60069             Document: 110            Page: 878         Date Filed: 03/27/2023




claim under another executive order with nearly identical judicial review language was not judicially
reviewable and that petitioner’s claim that the action at issue was arbitrary and capricious because of
the Agency’s alleged violation of the order was “nothing more than an indirect—and impermissible—
attempt to enforce private rights under the order”).



11.12 Consent Decrees

Comments


Commenter: Midwest Ozone Group

Commenter ID: 30

Docket ID: EPA-R02-OAR-2021-0673, EPA-R03-OAR-2021-0872, EPA-R03-OAR-2021-0873, EPA-R04-OAR-
2021-0841, EPA-R05-OAR-2022-0006, EPA-R06-OAR-2021-0801, EPA-R07-OAR-2021-0851, EPA-R08-
OAR-2022-0315, EPA-R09-OAR-2022-0394, EPA-R09-OAR-2022-0138

Comment:

Pursuant to the January 12, 2022, Consent Decree entered in Downwinders at Risk et al. v. Regan4 EPA
must by April 30, 2022, approve or disapprove the interstate ozone state implementation plans (SIPs) of
21 states: Alabama, Arkansas, Illinois, Indiana, Iowa, Kansas, Kentucky, Louisiana, Maryland, Michigan,
Minnesota, Mississippi, Missouri, New Jersey, New York, Ohio, Oklahoma, Tennessee, Texas, West
Virginia and Wisconsin. Also, if EPA by February 28, 2022, proposes full or partial disapproval of a SIP
from one of the 21 states, along with a proposed FIP to directly regulate interstate ozone emissions
from that state, it must finalize its full or partial disapproval of the state’s own plan by December 15,
2022. MOG also notes that the proposed Downwinders Consent Decree was provided for comment and
that the concerns of the upwind states and the regulated community were ignored. See comments of
Alabama, Missouri, Wyoming, and MOG in docket EPA-HQ-OGC-2021-0692.
4
 U.S. District Court for the Northern District of California, Case No. 4:21-cv-3551. [This footnote is footnote 5 in
MOG’s letter in EPA-R08-OAR-2022-0315, EPA-R09-OAR-2022-0394, EPA-R09-OAR-2022-0138]



Commenter: Air Pollution Control Program, Missouri Department of Natural Resources

Commenter ID: 01

Docket ID: EPA-R07-OAR-2021-0851

Comment:

On October 15, 2021, EPA published a proposed consent decree in the federal register that provided
court enforceable timeframes for EPA to act on the good neighbor SIP submissions for the 2015 ozone
standard from 32 states, including Missouri. For most of these states, including Missouri, the proposed
                                                                                                                   480
        Case: 23-60069            Document: 110           Page: 879         Date Filed: 03/27/2023




consent decree provided EPA with incentive, by granting it additional time, to propose SIP disapprovals
and to also quickly propose federal plans for any state where it proposed a disapproval of the good
neighbor SIP submission. The Air Program submitted comments to the docket on that proposed consent
decree on November 8, 2021. The comments expressed concerns about the “sue and settle” process
EPA was using to justify a hurried imposition of a FIP without providing states sufficient time to address
any deficiencies that EPA may identify in their upcoming SIP disapprovals.

EPA never offered any summary of comments it received, nor provided any responses to any of the
comments it received on the proposed consent decree. Instead, on January 12, 2022, EPA quietly
executed the consent decree, as proposed, in the U.S. District Court for the Northern District of
California, Oakland Division, and the U.S. Ninth Circuit Court of Appeals. EPA also never posted the final
consent decree after it was executed, nor made any type of public announcement to indicate that it had
executed the consent decree. Since the final consent decree and EPA’s proposed disapproval of
Missouri’s SIP are inextricably linked, the Air Program is attaching and incorporating the comments
submitted to docket on the proposed consent decree. EPA must address those comments before it can
finalize this action, and EPA must explain why it decided not to provide any responses or notice that it
had even considered the comments it received before executing the consent decree that impacted the
rights of so many states, including Missouri.



Commenter: Oklahoma Department of Environmental Quality

Commenter ID: 37

Docket ID: EPA-R06-OAR-2021-0801

Comment:

It should also be noted that EPA’s delay shortens the lead time available to address ongoing
nonattainment and maintenance problems due to upwind contributions. Because of these delays, EPA
would be advised to seek court approval to expand the review period to accommodate additional time
to negotiate compromise language for SIPs proposed for disapproval as well as additional review time to
address concerns raised by the substantive policy change noted in the proposed FIP.



Response
The commenters referenced the consent decree entered in Downwinders at Risk, et al. v. Regan, No. 21-
cv-03551 (N.D. Cal.). They generally argue that the EPA should have provided responses to comments
raised on the cited proposed consent decree. The proposed consent decree cited by the commenters, as
well as two others,163 established deadlines for the EPA to take action on the SIP submissions and do not
dictate the substantive outcome of EPA’s actions. The EPA views comments related to the terms of the
consent decrees, and the EPA’s compliance with CAA section 113(g) as related to public notice and

163
  EPA also solicited public comment on the other two relevant consent decrees. New York et al. v. Regan, et al.,
No. 1:21-CV-00252 (S.D.N.Y.) (Indiana, Kentucky, Michigan, Ohio, Texas, and West Virginia); Our Children's Earth
Foundation v. EPA, No. 20-8232 (S.D.N.Y.) (New York).
                                                                                                              481
        Case: 23-60069            Document: 110            Page: 880        Date Filed: 03/27/2023




comment, as beyond the scope of this rulemaking, which is determining whether certain SIP
submissions meet the requirements of CAA section 110(a)(2)(D)(i)(I). This rulemaking action is not the
appropriate forum to bring challenges against the consent decree or EPA’s compliance with CAA section
113(g) in relation to it.

While the EPA is not obligated to further respond to comments regarding these consent decrees, we
note that the EPA is not required under the CAA to post a final notice regarding its legal settlements or
post publicly its evaluation of comments under CAA section 113(g) for proposed consent decrees, and
the EPA has never had a practice of doing so. CAA section 113(g) states in whole:

        At least 30 days before a consent order or settlement agreement of any kind under this chapter
        to which the United States is a party (other than enforcement actions under this section, section
        7420 of this title, or subchapter II of this chapter, whether or not involving civil or criminal
        penalties, or judgments subject to Department of Justice policy on public participation) is final
        or filed with a court, the Administrator shall provide a reasonable opportunity by notice in the
        Federal Register to persons who are not named as parties or intervenors to the action or matter
        to comment in writing. The Administrator or the Attorney General, as appropriate, shall
        promptly consider any such written comments and may withdraw or withhold his consent to the
        proposed order or agreement if the comments disclose facts or considerations which indicate
        that such consent is inappropriate, improper, inadequate, or inconsistent with the requirements
        of this chapter. Nothing in this subsection shall apply to civil or criminal penalties under this
        chapter.

CAA section 113(g).

The EPA followed the requirements of CAA section 113(g) with regard to all three consent decrees
establishing deadlines relevant to this action. Pursuant to CAA section 113(g), the EPA solicited public
comment on the draft proposed consent decree in Downwinders at Risk, et al. v. Regan, No. 21-cv-
03551 (N.D. Cal.) in the Federal Register. 86 FR 57423 (Oct. 15, 2022).164 The EPA also posted
information about soliciting public comment on the draft proposed consent decree on its website
(https://www.epa.gov/ogc/proposed-consent-decrees-and-draft-settlement-agreements) and sent out
an email notification to members of the public who had signed up for email alerts at
https://www.epa.gov/ogc/email-subscriptions-notifications-about-new-litigation. The public comment
period ended on November 15, 2021. 86 FR 57423 (Oct. 15, 2021).165 All comments are available in the
public docket for that notice (Docket No. EPA-HQ-OGC-2021-0692, available at regulations.gov).
Consistent with the requirements of CAA section 113(g), the EPA and the United States Department of
Justice reviewed the comments. As the EPA publicly stated to the court, “The comments received did
not disclose facts or considerations that indicate that Defendant or the United States Department of
Justice should withhold consent.” Joint Motion to Enter Consent Decree, Downwinders at Risk, et al. v.

164
    The notice and docket for the New York et al. v. Regan, et al. consent decree can be found at 86 FR 40825 (July
29, 2021) and EPA-HQ-OGC-2021-0444 (available on regulations.gov). The notice and docket for the Our Children’s
Earth Foundation v. EPA consent decree can be found at 86 FR 66546 (Nov. 23, 2021) and EPA-HQ-OGC-2021-0800
(available on regulations.gov).
165
    The comment period for the New York et al. v. Regan consent decree ended on August 30, 2021. 86 FR 40825.
The comment period for the Our Children’s Earth Foundation ended on December 23, 2021. 86 FR 66546.
                                                                                                               482
        Case: 23-60069             Document: 110           Page: 881         Date Filed: 03/27/2023




Regan, No. 21-cv-03551 (N.D. Cal.), ECF 22 at para. 4.166 The joint motion to enter the consent decree,
and the court’s entry of the consent decree, are both public documents available in the docket for that
litigation. Downwinders at Risk, et al. v. Regan, No. 21-cv-03551 (N.D. Cal.) (ECF 22 and ECF 23).

One commenter, representing Missouri, claimed that the final consent decree and the EPA’s decision to
disapprove Missouri’s good neighbor SIP submission were “inextricably linked” and impacted states’
rights. The EPA disputes that the consent decree requires the EPA to disapprove any good neighbor SIP
submission, including Missouri’s submission, or that it impacted any state’s rights. The consent decree
only establishes deadlines for EPA to take final action on various SIP submissions; by its own terms it
does not predetermine whether the EPA shall approve, disapprove, conditionally approve, or approve in
part and conditionally approve or disapprove in part any SIP submission. Consent Decree, Downwinders
at Risk, et al. v. Regan, No. 21-cv-03551 (N.D. Cal.) ECF 23 at paras. 3-6. Commenters have established
no evidence that these dates were negotiated in bad faith or prejudiced the Agency in its review and
action on the SIP submissions. In fact, the EPA has taken action to both approve and disapprove SIP
submissions covered by EPA’s deadlines in the consent decree. See e.g., 87 FR 19390 (April 4, 2022)
(approval of Kansas’s SIP); 87 FR 21578 (May 15, 2022) (approval of Montana’s SIP).167 All proposed
actions on SIP submissions for which EPA had deadlines to take final action pursuant to the consent
decree were put out for public comment, and the EPA evaluated those comments pursuant to CAA
section 113(g). Furthermore, Missouri itself submitted lengthy comments in the course of the notice and
comment procedure for the EPA’s proposed action on the state’s SIP submission, to which EPA is
responding in this document and in the preamble. The EPA notes that for Missouri specifically, the EPA’s
statutory deadline to take final action on the state’s good neighbor SIP submission was in November
2020, whereas the consent decrees, as modified by stipulation, now require EPA to take final action on
Missouri’s SIP submission by January 31, 2023.168



11.13 General Recommendations

Comment
Commenter: Anonymous

Commenter ID: 06



166
    EPA made similar statements regarding public comments to the Southern District of New York, also in public
dockets containing the entered consent decrees. See JOINT LETTER addressed to Judge Andrew L. Carter, Jr. from
Peter Aronoff dated 11/1/2021 re: seeking the entry of a proposed consent decree to resolve this matter, New
York et al. v. Regan, et al., No. 1:21-CV-00252 (S.D.N.Y.) (ECF 36); JOINT LETTER addressed to Judge J. Paul Oetken
from Peter Aronoff dated 1/13/2022 re: joint request to enter proposed consent decree, Our Children's Earth
Foundation v. EPA, No. 20-8232 (S.D.N.Y.) (ECF 30).
167
    EPA also took final action to approve several states’ good neighbor SIPs after the CAA section 113(g) public
comment process and before entry of the Downwinders at Risk consent decree, as noted in a “whereas” clause of
that consent decree. These states were Florida, Georgia, North Carolina, and South Carolina (86 FR 68413, Dec. 2,
2021), Connecticut (86 FR 71830, Dec. 20, 2021), and Hawaii (86 FR 73129, Dec. 27, 2021).
168
    Downwinders at Risk et al. v. Regan, No. 21-cv-03551 (N.D. Cal.), Docket No. 32.
                                                                                                                483
        Case: 23-60069          Document: 110          Page: 882       Date Filed: 03/27/2023




Docket ID: EPA-R08-OAR-2022-0315

Comment:

I recommend Utah be held to the highest standard and no extension or exclusion be given. Utah has the
worst sir quality and the corrupt politicians are failing to fix this as well as any other issue that would
affect their personal wealth or standing. In addition, Mike Lee attempted a coup and insurrection and
shpuld not be allowed to run for office.



Response
This comment covers a range of topics that are generally beyond the scope of this action. It appears the
comment is generally supportive of the disapproval of Utah’s SIP submission.



Comments


Commenter: Hagerty, Logan

Commenter ID: 22

Docket ID: EPA-R05-OAR-2022-0006

Comment:

EPA Should Provide Explicit Guidance to States Drafting SIPs in the Proposed Rule

The EPA should provide closer guidance to the five states drafting future SIPs because it promotes
enforcement efficiency.

If the EPA passes this rule and needs to create FIPs, the EPA must insure those FIPs are created as
quickly as possible.

[…]

Thus, in the proposed rule, the EPA should provide examples of how specific procedures— like providing
standardized outlines for SIPs—could be used to mitigate potential delays between SIP approval and
EPA enforcement. Because the FIP process can take up to two years and because these five states are in
the same Region, could the EPA draft one cohesive FIPs for these five states at the same time? The EPA
could also solve future delays caused by inadequate SIP submissions by hiring or lending staff to state-
level agencies that are less familiar with drafting SIPs.

In the proposed rule, the EPA had no issues with the outside data modeling group the five states used,
the Lake Michigan Air Directors Consortium (“LADCO”). Still, the EPA should preemptively address the
ways in which third-party data can be prevented from being incorrectly applied to states’ SIPs.
Moreover, if the EPA through investigation determines these five states intentionally misused the March
2018 Memorandum, the EPA should hold persons or parties accountable. The proposed rule should
include: any state which intentionally drafts an inadequate SIP should be held liable for the harms
                                                                                                    484
        Case: 23-60069          Document: 110         Page: 883       Date Filed: 03/27/2023




arising in other states, due to their lack of compliance. Here, the use of sanctions against these five
states may be fair if they caused a delay in CAA enforcement which, in turn, affects neighboring states.



Commenter: Maryland Department of the Environment

Commenter ID: 29

Docket ID: EPA-R03-OAR-2021-0872

Comment:

MDE requests that EPA develop and publish official guidance that states can use in their Good Neighbor
SIPs. That guidance must include the required elements and analyses EPA expects to see in every Good
Neighbor SIP. Formal guidance levels the playing field by providing the same set of rules within which to
work, and eliminates any confusion going forward.



Response
The EPA appreciates commenters’ feedback and will take the suggestion to issue guidance for future
good neighbor SIP development under consideration.

Comments on the proposed FIP are outside the scope of this action. Based on context of the full
comment from Commenter ID 22, the EPA believes the reference to the March 2018 Memorandum by
one commenter refers to Attachment A to the March 2018 Memorandum. Comments on that topic are
addressed in Section 1.3 (Attachment A to the March 2018 Memorandum).



Comment
Commenter: Oklahoma Department of Environmental Quality

Commenter ID: 37

Docket ID: EPA-R06-OAR-2021-0801

Comment:

For future actions, the Oklahoma respectfully requests that EPA release the [Emissions Modeling
Platform] under a Notice of Data Availability (NODA), take comment on the EMP, and resolve any
outstanding issues before pursuing complex air quality modeling in support of rule development.



Response
The EPA will take the suggestion to issue a Notice of Data Availability for Emissions Modeling Platform
releases for future actions under consideration.



                                                                                                      485
        Case: 23-60069          Document: 110          Page: 884        Date Filed: 03/27/2023




11.14 Out of Scope

Comment
Commenter: Anonymous

Commenter ID: 06

Docket ID: EPA-R08-OAR-2022-0315

Comment:

In addition, Mike Lee attempted a coup and insurrection and shpuld not be allowed to run for office.



Response
This comment is out of the scope of this action.



Comment
Commenter: Emley, Margaret

Commenter ID: 17

Docket ID: EPA-R02-OAR-2021-0673

Comment:

Various health impacts result from air pollution exposure, including ozone and particulate matter. The
evidence of public health concerns underlines the importance of each state’s contribution to air quality,
and its ability to take responsibility to reduce emissions that contribute to climate change. It is
important to utilize the Clean Air Act, the World Health Organization, the Paris Agreement, and 2030
sustainability goals to regulate states at an appropriate standard. The new WHO guidelines are expected
to save millions of lives if countries implement the guidelines.



Response
The EPA agrees that ozone has a number of adverse health impacts. However, the EPA considers the
comments regarding the health impacts of ozone and other pollutants to be outside the scope of this
action, which evaluates whether certain SIP submissions adequately address interstate transport
requirements in CAA section 110(a)(2)(D)(i)(I) for the 2015 ozone NAAQS.

For clarification, the EPA notes that the evaluation of air quality standards, including the impacts to
public health and welfare, are part of the standard setting process for a NAAQS, rather than a step in
determining whether a state has adequate provisions in its SIP submission to address their interstate
transport obligations for a particular NAAQS. Section 109(d)(1) of the Act requires periodic review and, if
appropriate, revision of existing air quality criteria to reflect advances in scientific knowledge concerning

                                                                                                         486
        Case: 23-60069           Document: 110          Page: 885        Date Filed: 03/27/2023




the effects of the pollutant on public health and welfare. Under the same provision, the EPA is also
required to periodically review and, if appropriate, revise the NAAQS, at five-year intervals, based on the
revised air quality criteria.

For informational purposes, the EPA notes that the Agency last revised the primary and secondary ozone
NAAQS in October 2015.169 In December 2020, the EPA announced its decision to retain the ozone
standards without revision 170 The EPA is currently reconsidering the December 2020 final action.171

The commenter also states that it is important to utilize the Clean Air Act, the World Health
Organization, the Paris Agreement, and 2030 sustainability goals to regulate states at an appropriate
standard. While the EPA acknowledges that there are many efforts, globally, to address air quality, the
authority for this action is CAA section 110 as related to implementing the 2015 ozone NAAQS.



Comment
Commenter: Emley, Margaret

Commenter ID: 17

Docket ID: EPA-R02-OAR-2021-0673

Comment:

Rapid urbanization along with industrial growth is one of the major causes of elevated air pollution
levels in urban areas. To manage and control deteriorating urban air quality, an efficient and effective
urban air quality management plan is required consisting of systematic sampling, monitoring and
analysis; modeling; and control protocols (Gulia et al, 2020). Air quality monitoring is the essential and
basic step that develops the foundation of any management plan. It also describes step-by-step
procedures for chemical characterization of both organic and inorganic constituents of ambient
particulate matter along with molecular markers, which are essential to identify the corresponding
sources of particulate matter. Additionally, an appropriate air quality management plan discusses the
need for coupling low-cost wireless sensor-based stations with a limited number of real-time ambient
air monitoring stations to make it cost-effective, yet robust (Gulia et al, 2020). Satellite-based remote
sensing monitoring calibrated with ground-level measurement has the potential for regional-scale air
quality monitoring that captures transport of transboundary pollution and makes it easier to quantify
levels of pollution by state, ensuring each state can create and submit appropriate SIPs.




169
    80 FR 65292 (October 26, 2015).
170
    85 FR 87256 (December 31, 2020).
171
    https://www.epa.gov/ground-level-ozone-pollution/epa-reconsider-previous-administrations-decision-retain-
2015-ozone
                                                                                                           487
        Case: 23-60069           Document: 110          Page: 886        Date Filed: 03/27/2023




Response
The comment does not explain the relevancy of the recommendations for urban air quality management
plans to the EPA’s action to disapprove certain good neighbor SIP submissions for the 2015 ozone
NAAQS. The EPA considers the comment to be outside the scope of this action.



Comment
Commenter: Hagerty, Logan

Commenter ID: 22

Docket ID: EPA-R05-OAR-2022-0006

Comment:

EPA Should Consider the Use of Sanctions in the Proposed Rule

The proposed rule states that “[d]isapproval [of SIPs] does not start a mandatory sanctions clock.”
However, U.S.C. § 7413(a)(2) says that damages or sanctions should and can be triggered upon future
violations of the same nature. For example, if “. . . [the EPA] Administrator finds that violations of an
applicable implementation plan . . .are so widespread that such violations appear to result from a failure
of the State in which the plan or permit program applies to enforce the plan or permit program
effectively,” the Administrator may require the state to fix its SIP through administrative penalties or
civil action. In instances where a state is responsible for following an explicit instruction, it is only fair
that state is held accountable. Currently, the proposed rule problematically places zero penalties on
these five states for drafting inadequate SIPs. Meanwhile, other states suffer from the effects of ozone
far more. For example, California and Arizona contain the top seven cities affected by ozone in our
nation. It is important to note California and Arizona submitted appropriate SIPs that gained EPA
approval.

Current EPA Administrator Michael S. Regan stated: “Air pollution doesn’t stop at the state line. This
step will help our state partners meet air quality health standards, saving lives and improving public
health in smog-affected communities across the United States.” Because ozone is a national concern,
the EPA should consider how these five states acted unfairly towards other states like California and
Arizona by drafting inappropriate SIPs. The proposed rule states that “[e]ffective policy solutions to the
problem of interstate ozone transport . . . have necessitated the application of a uniform framework of
policy judgments to ensure an ‘efficient and equitable” approach.’” In SIP disapproval instances, the EPA
has discretion to bring penalties where, as here, several states do not comply with explicit instructions
to create SIPs. That is critical because noncompliant states derail national efforts under the CAA to
jointly combat air pollution. Under the CAA, the EPA can bring injunctive penalties:

Whenever, on the basis of any available information, the Administrator finds that a State is not acting in
compliance with any requirement or prohibition of the chapter relating to the construction of new
sources or the modification of existing sources, the Administrator may—

(A) issue an order prohibiting the construction or modification of any major stationary source in any
area to which such requirement applies . . .
                                                                                                          488
        Case: 23-60069         Document: 110          Page: 887       Date Filed: 03/27/2023




Here, orders may be appropriate because the five states may have failed to comply with new source
requirements. For example, these states may have permitted current ozone polluters to expand despite
the states not holding approved SIPs. The proposed rule should prohibit these five states from approving
the expansion, through construction or modification, of any ozone source that contributes to the state’s
current violation of the NAAQS and CAA. Specifically, the EPA should order restrictions on the
modification or expansion of major power plants in these five states. This is because power plants are
major stationary sources of ozone. Coal-fired power plants are major stationary sources because they
create nitrogen oxides. In turn, nitrogen oxides create “lower-level ozone” pollution. Science has shown
that “. . .NOx emissions could be mitigated if power plants continue to transition from coal to natural
gas and renewable energy sources.” Some of the nation’s largest power plants are in the states the
proposed rule affects – Michigan and Indiana. Michigan and Indiana contain the Monroe and Gibson
power plants, respectively. These are both coal-fired power plants, owned by DTE Electric and Duke
Energy. The EPA might propose these power plants cannot develop their facilities until Michigan and
Indiana submit adequate SIPs. On a broader note, if the EPA is to impose penalties, the penalties should
be fairly construed to target the largest producers of ozone pollution. The EPA should be careful to not
burden the citizens of these states who are already harmed by ozone pollution because of these
polluters.



Response
In this action, the EPA is finalizing disapproval and partial approval/partial disapproval for 21 good
neighbor SIP submissions for the 2015 ozone NAAQS. The EPA views this recommendation as beyond
the scope of this rulemaking.



11.15 Out of Scope - Comments on the Proposed FIP
The EPA notes initially that PacifiCorp attached two comments submitted by Berkshire Hathaway Energy
Company (BHE) and Ramboll on the Proposed FIP to its own comment on this SIP action. To the extent
the BHE and Ramboll attachments made comments relevant to this action, the EPA responded in the
preamble or in this RTC document. The EPA considers the comments in the BHE and Ramboll
attachments specific to the Proposed FIP to be out of the scope of this rulemaking and they will not be
reproduced here, but they are available in full in the docket (and are included in the same document as
PacifiCorp’s comments). The EPA anticipates responding to comments on the Proposed FIP in any final
rulemaking resulting from that proposal.



Comments
Commenter: Air Pollution Control Program, Missouri Department of Natural Resources

Commenter ID: 01

Docket ID: EPA-R07-OAR-2021-0851

Comment:

                                                                                                         489
        Case: 23-60069          Document: 110         Page: 888        Date Filed: 03/27/2023




The following paragraphs explain the flaws of EPA’s step-3 analysis that it has proposed in the FIPs for 26
states, including Missouri.

EPA is intentionally exploiting the Supreme Court decision in EME Homer City vs. EPA to justify any costs
or requirements it deems necessary to further federal policy decisions. The court decision permitted
EPA to impose cost effective controls on any state that was deemed to be a significant contributor so
long as such controls don’t result in over-control of any state. However, the decision did not indicate
what might be considered “cost effective controls”. For this reason, EPA is using this decision to assume
new authority to implement anything it deems as a “cost effective control” requirement. Further, EPA’s
step 3 process completely ignores the real question at hand with the enabling statute, which ties
contribution to an amount which contributes significantly to downwind maintenance or nonattainment
problems. Instead, EPA completely ignores the statutory contribution issue and instead is imposing
controls that suit federal policy choices regardless of their impact on the downwind receptors that EPA
used as justification for disapproving the SIPs to begin with.

EPA’s decisions at step three in their proposed FIP are severely flawed. EPA completely ignores the
contribution analysis and makes no attempt to address what it considers as significant contribution
when it proposes new control requirements.



Commenter: Alabama Power Company, Southern Power Company, and PowerSouth Energy Cooperative

Commenter ID: 04

Docket ID: EPA-R04-OAR-2021-0841

Comment:

Finally, EPA should approve Alabama’s SIP submittal as discussed in these comments. However, if EPA
finalizes this proposed disapproval and ultimately issues a FIP for Alabama within two years of June
2022, EPA must clarify that such action relies only on the disapproval for EPA’s FIP authority. At that
point, EPA’s prior, unlawful finding of failure to submit should effectively be rendered moot.



Commenter: Arkansas Department of Energy and Environment, Division of Environmental Quality

Commenter ID: 07

Docket ID: EPA-R06-OAR-2021-0801

Comment:

In their proposed FIP, EPA did not identify specific sources or emissions activities in Arkansas that
significantly contribute to downwind air quality problems (as the rule requires), but instead chose from
a nationwide set of sources with available control technologies as being subject to emission reduction
requirements in their proposed FIP. There was no further analysis provided by EPA to show that specific
sources in Arkansas are actually contributing significantly to the Harris County monitor or interfering
with maintenance of the NAAQS by other receptors, thus EPA is effectively contending that a 1% linkage
                                                                                                        490
        Case: 23-60069          Document: 110          Page: 889       Date Filed: 03/27/2023




is the same as a significant contribution, which is not consistent with their guidance or Clean Air Act
110(a)(2)(D)(i).



Commenter: Nevada Division of Environmental Protection

Commenter ID: 33

Docket ID: EPA-R09-OAR-2022-0138

Comment:

EPA’s Proposed Ozone FIP jeopardizes anticipated Nevada greenhouse gas emission reductions

EPA’s Proposed FIP, along with EPA’s failure to meaningfully collaborate with NDEP on the Proposed FIP,
may have the unintended consequence of eliminating greenhouse gas (GHG) emission reductions
anticipated in Nevada’s upcoming updated Regional Haze State Implementation Plan (Regional Haze
SIP). The Regional Haze SIP currently anticipated shutdown of certain stationary sources to meet
Regional Haze targets. However, the Proposed FIP may require these stationary sources to place
pollution controls to meet short term ozone reduction requirements and maintain grid reliability. Once
these controls are placed on to meet short term ozone requirements, the stationary sources may be
able to meet Regional Haze requirements without shutting down. This would have the net effect of
eliminating the potential future reductions in greenhouse gas emissions.



Commenter: Oklahoma Department of Environmental Quality

Commenter ID: 37

Docket ID: EPA-R06-OAR-2021-0801

Comment:

It should also be noted that EPA’s delay shortens the lead time available to address ongoing
nonattainment and maintenance problems due to upwind contributions.

[…]

The original CSAPR rule established ozone-season NOx reductions based on a $500 per ton cost
threshold. The CSAPR Update increased the cost threshold to $1,400 and the Revised CSAPR Update to
$1,800. For the current proposal, the cost threshold for NOx reductions ranges from $7,500 to over
$11,000 per ton.9 This escalation does not constitute a simple expansion of an existing policy but,
rather, constitutes a change significant enough to warrant reevaluation. In addition, the previous CSAPR
rules only sought emissions reductions from EGUs. The current proposal seeks reductions from an
expanded list of sectors: reciprocating internal combustion engines in pipeline transportation of natural
gas; kilns in cement and cement product manufacturing; boilers and furnaces in iron and steel mills and
ferroalloy manufacturing; furnaces in glass and glass product manufacturing; and high-emitting
equipment and large boilers in basic chemical manufacturing, petroleum and coal products
                                                                                                          491
        Case: 23-60069          Document: 110          Page: 890        Date Filed: 03/27/2023




manufacturing, and pulp, paper, and paperboard mills. By significantly increasing the cost and widely
expanding the sectors subject to the remedy, the EPA has changed the policy to such a degree that a
fundamental rethinking of the approach is in order.

Oklahoma asserts that if EPA moves forward with its disapproval of state SIPs (and a subsequent FIP),
EPA should work with states and other air agencies to develop an approach that addresses downwind
air quality in a more cost-effective manner. This approach may necessitate variable cost-effectiveness
thresholds for different upwind states, but that change is warranted to avoid the significant cost
increases seen in the current proposal. In working with states, EPA is encouraged to assist state agencies
in the use of modeling (either the CAMx model or the AQAT) while states are preparing SIPs rather than
after SIPs have been submitted and rejected. Due to these concerns, it would be appropriate for EPA to
defer final action on the Oklahoma SIP until this process can be brought to a more mutually acceptable
conclusion.



Commenter: United States Steel Corporation

Commenter ID: 45

Docket ID: EPA-R05-OAR-2022-0006

Comment:

Second, to the extent that U. S. EPA somehow still finds that emissions from these sources “contribute”
or “interfere” with downwind states’ ability to attain and maintain the ozone NAAQS [after
consideration of updated emissions inventory information], which does not seem plausible, U. S. EPA
will need to re-evaluate its costs determinations in the separate ozone transport FIP rulemaking.



Commenter: Wisconsin Department of Natural Resources

Commenter ID: 51

Docket ID: EPA-R05-OAR-2022-0006

Comment:

EPA must ensure its transport rule for the 2015 ozone NAAQS fully resolves upwind state obligations to
Wisconsin’s nonattainment areas.

On February 28, 2022, EPA proposed a transport rule to resolve “good neighbor” obligations for the
2015 ozone NAAQS for the states for which it is proposing SIP disapprovals. Based on WDNR’s initial
assessment, EPA will need to adjust its final rule so that it constitutes a “full remedy” for upwind state
transport obligations to all of Wisconsin’s nonattainment and maintenance monitors, including
Sheboygan. Wisconsin will provide comments on that proposal separately.




                                                                                                         492
        Case: 23-60069           Document: 110          Page: 891        Date Filed: 03/27/2023




Response
To the extent these comments concern the substance of the proposed FIP for the 2015 ozone NAAQS,
such as the EPA’s proposed determinations of cost-effective controls available in that action, or the
EPA’s authority to finalize FIPs, those comments are outside the scope of this action. Additionally, the
EPA disagrees that the decisions proposed in the FIP necessitates any kind of delay or deferral on a
state’s SIP submission. This action is not determining what, if any, cost effective controls exist at Step 3
of the 4-step interstate transport framework. Instead, the EPA is evaluating the states’ interstate
transport SIP submissions to determine whether the submission satisfies the statutory obligations
provided for in CAA section 110(a)(2)(D)(i)(I).

One commenter claims that the EPA’s use of AQAT to justify the inclusion of Utah in the proposed 2015
ozone interstate transport FIP is inappropriate and goes against the EPA’s own guidance. We first note
that, in this action, the EPA is not using the Step 3 analysis in the proposed FIP action to support its
action on the SIP submission. The EPA’s reasoning for disapproving the Utah SIP submission is based on
an evaluation of the SIP submission itself, as well as EPA modeling results and air quality analysis. To the
extent that the commenter is implying that the EPA is using the AQAT results in any way in this action
this is simply inaccurate. Nowhere in the proposed disapproval of Utah’s SIP has the EPA made this
claim. The EPA further addresses claims that the EPA is relying on the results of the FIP to support or
pre-judge action on a state’s SIP submission in Section 10.5 (Comment Alleging “Pretext” or Intent to
Require Generation Shifting). Comments regarding the appropriateness of the use of the AQAT tool in
the proposed FIP is outside of the scope of this action. However, we note that, regarding the alleged
differences in EGU emissions projections between EPA’s Step 1 and Step 2 analysis using IPM and the
emissions projections using engineering analytics in the proposed FIP at Step 3, this is easily explained
by the different assumptions and methodologies used. The higher emissions estimates for EGUs used to
propose budgets in the FIP reflected a more conservative assessment relying only on known and
historical information about fleet operation. Had the EPA used the engineering analysis values for EGUs
from the Step 3 analysis of the proposed FIP in our analysis of Steps 1 and 2 in this SIP disapproval
action, the effect, generally, would have been to have higher EGU emissions estimates in the baseline,
which would have only served to reinforce our conclusions as to which upwind states are linked to
downwind receptors.

In response to Wisconsin Department of Natural Resources’ call for the EPA’s proposed FIP to constitute
a full remedy for all receptors in Wisconsin, we address this commenter’s concern regarding the
identification of the monitor in Sheboygan County, Wisconsin as a projected receptor in Section 7.1
(Methodology for Determining Future Year Contribution). The EPA is not, in this action, making a
determination whether the April 2022 proposed FIP is a complete remedy for states’ good neighbor
obligations under the 2015 ozone NAAQS. In response to APC et al., the EPA explained the basis for the
disapproval of Alabama’s SIP submission, submitted on June 21, 2022, at proposal. 87 FR 64412
(October 25, 2022). The EPA is not promulgating a FIP for Alabama in this action, so comments on the
EPA’s FIP authority are beyond the scope of this rulemaking.




                                                                                                          493
     Case: 23-60069    Document: 110   Page: 892   Date Filed: 03/27/2023




                                EXHIBIT 5

EPA, 2015 8-Hour Ozone Transport SIP Proposal, Technical Support Document,

FDMS Docket No. EPA-R06-OAR-2021-0801 (Feb. 2022)
Case: 23-60069    Document: 110    Page: 893     Date Filed: 03/27/2023




                          EPA REGION 6



        2015 8-HOUR OZONE TRANSPORT SIP PROPOSAL



                 TECHNICAL SUPPORT DOCUMENT



             FDMS Docket No. EPA-R06-OAR-2021-0801




                           February 2022




                                  By

                            Erik Snyder

                  Lead Regional Air Quality Modeler

                     EPA Region 6 – Dallas, TX
            Case: 23-60069                   Document: 110                    Page: 894            Date Filed: 03/27/2023

                                                                          2


Contents
Introduction ..................................................................................................................................... 3
1. Maintenance Receptor Methodology .......................................................................................... 4
     1.a. Use of Single DV To Project Maintenance Receptors ......................................................... 4
     1.b. Review of History of EPA’s Guidance .............................................................................. 10
     1.c. Relative Effects of Long-Term Emissions Trends ............................................................. 12
     1.d. Meteorological Adjusted Trends Analysis of 2010-2014 Monitored Ozone Data ............ 31
2. Potential Underestimation of Projected Design Values and Model Performance Evaluation ......
       ............................................................................................................................................ 38
     2.a. Potential Underestimation in TCEQ’s Modeling 2023 Future year projections at DFW &
     HGB receptors and High DV monitors ..................................................................................... 39
     2.b. Potential Underestimation in TCEQ’s 2023 Future year projections at downwind areas . 44
     2.c. Model Performance Evaluation of TCEQ’s 2012 base case at downwind areas in the
     Midwest and West..................................................................................................................... 51
     2.d. Model Performance Evaluation of TCEQ’s 2012 base case at DFW and HGB monitors 57
     2.e. Summary ............................................................................................................................ 66
3. Comparison of TCEQ and EPA 2023 future modeling and identified maintenance and
   nonattainment receptors ............................................................................................................ 67
4.         Other Potential Modeling Concerns................................................................................... 72
     4.a. EGU Emissions .................................................................................................................. 72
     4.b. Contribution Calculation.................................................................................................... 73
     4.c. Future Year Boundary Conditions ..................................................................................... 76
5. TCEQ Other Factor Analysis (Weight of Evidence) ................................................................ 76
     5.a. TCEQ indicated that there are problems with DV trends .................................................. 78
     5.b. TCEQ evaluated the number of elevated ozone days (over 70 ppb) annually for monitors
     in the Denver and Southern California areas. ........................................................................... 81
     5.c. TCEQ Back Trajectory Analysis ....................................................................................... 81
     5.d. Texas contribution on all days in 2023 with ozone greater than 70 ppb. .......................... 86
     5.e. Collective Interstate Contribution to Future DV ................................................................ 89
     5.f. TCEQ also performed Direct Decoupled Method (DDM) modeling for receptors in
     Colorado. ................................................................................................................................... 92
     5.g. Southern California Ozone Conceptual Model .................................................................. 97
     5.h. Summary ............................................................................................................................ 97
6. EPA Summary .......................................................................................................................... 99
       Case: 23-60069         Document: 110          Page: 895    Date Filed: 03/27/2023

                                                 3


Introduction

       This Technical Support Document (TSD) provides additional analysis of the Texas

Commission on Environmental Quality’s (TCEQ) air quality modeling relied upon in its August

17, 2018, State Implementation Plan (SIP) submission addressing interstate transport obligations

for the 2015 ozone national ambient air quality standards (NAAQS). As discussed in the notice

of proposed disapproval, the EPA has identified several concerns with the reliability of TCEQ’s

modeling and the application of those modeling results in assessing Texas’s potential

contributions to downwind ozone. States are free to develop their own modeling in support of

SIP submissions. That modeling, its application, and other technical analyses must be technically

supportable, and the EPA is obligated to assess and evaluate the reliability of each state’s

technical demonstration when determining whether the Clean Air Act’s (the Act, or CAA)

requirements are met. Based on the EPA’s evaluation of the SIP submission, the EPA is

proposing to find that TCEQ’s August 17, 2018, SIP submission does not meet the State’s

obligations with respect to prohibiting emissions that contribute significantly to nonattainment or

interfere with maintenance of the 2015 ozone NAAQS in any other state. See Federal Register

Notice, “Air Plan Disapproval; Arkansas, Louisiana, Oklahoma and Texas; Interstate Transport

of Air Pollution for the 2015 8-hour Ozone National Ambient Air Quality Standards” (Docket ID

No. EPA-R06-OAR-2021-0801; proposed action). Certain legal, policy, and technical bases for

that determination are discussed in the preamble of the notice of proposed disapproval. In

addition, the Oklahoma Department of Environmental Quality (ODEQ) also relied on TCEQ’s

modeling analysis in their SIP. Thus, the EPA’s concerns with TCEQ’s modeling also impact the

approvability of the Oklahoma 2015 Ozone Transport SIP. The EPA’s further assessment and

evaluation of the reliability of the technical demonstration in TCEQ’s SIP is discussed in this
          Case: 23-60069        Document: 110         Page: 896    Date Filed: 03/27/2023

                                                  4


document. In Section 1, we evaluate TCEQ’s maintenance receptor methodology. In Section 2,

we analyze TCEQ’s modeling results, both future year projections and base case model

performance. In Section 3, we provide results of EPA’s modeling and analyze results of TCEQ’s

modeling compared with recent monitoring data. In Section 4, we analyze other potential

concerns with TCEQ’s modeling analysis. In Section 5, we evaluate TCEQ’s other factors

analysis. In Section 6, we summarize our technical evaluation.


1.        Maintenance Receptor Methodology

          As discussed in Section V.A of the notice of proposed disapproval, in addition to the use

of an alternative modeling platform, TCEQ also created its own method for identifying

maintenance receptors. This section of the TSD provides further discussion as to why the EPA

proposes TCEQ has not provided a sufficient technical basis for its chosen method. In subsection

1.a, we evaluate the effect of using TCEQ’s approach and find that it produces anomalous

results. In subsection 1.b, we review the history of EPA’s modeling guidance recommending the

use of a 5-year (i.e., spanning three design values) rather than a 3-year (i.e., only one design

value) base period. In subsection 1.c, we evaluate inter-annual variation in design values (DVs)

due to meteorological variability and long-term ozone trends due to emissions trends. In

subsection 1.d, we analyze meteorological adjusted ozone concentrations for the 2010-2014

period.

     1.a. Use of Single DV To Project Maintenance Receptors

          As explained in the preamble, in defining maintenance receptors, TCEQ used only the

most recent DV of the set of three DVs it relied on for its base period modeling, regardless of

whether that most recent design value was the highest of the three. TCEQ’s proffered

explanation for using the most recent DV to identify maintenance receptors was that the latest
        Case: 23-60069            Document: 110             Page: 897      Date Filed: 03/27/2023

                                                        5


DV “takes into consideration both meteorological variability (since the latest regulatory design

value is itself an average of the fourth highest measured concentrations for three years) and any

emissions reductions that might have occurred.”1 However, as discussed below, the EPA does

not believe this approach adequately takes into account meteorological variability in identifying

those areas that are projected to meet the NAAQS but may nevertheless struggle to maintain the

NAAQS.

        To develop a better technical understanding of the effects of TCEQ’s approach (in

addition to those reasons presented in the preamble), the EPA conducted a review of potential

receptors to which Texas has been linked in differing modeling analyses. The EPA identified 21

potential receptors to which Texas contributed 0.7 parts per billion (ppb) or more in either EPA’s

2016v2-based modeling for 2023, or TCEQ’s 2012-based modeling for 2023. The EPA then

evaluated the results of using TCEQ’s alternate maintenance methodology. To identify

nonattainment receptors, the nonattainment methodology calculates 2023 average DVs (also

referred to as 2023 Nonattainment DVs) using the 5-year center weighted average ambient

design values centered on the base modeling years and the Relative Response factors (RRFs).2

        In Table 1.1 below, the EPA compiled the 2023 average DVs used for identifying

nonattainment receptors, for potential receptors in Illinois, Wisconsin, Colorado, Arizona, and

California. The EPA then utilized TCEQ’s 2012-based modeling results to obtain the data

needed to calculate 2023 maintenance DVs using TCEQ’s approach.




1
  TCEQ Interstate Transport State Implementation Plan Revision for the 2015 Ozone National Ambient Air Quality
Standards, August 17, 2018 (TCEQ SIP Submission) at pages 3-39 to 3-40.
2
  The approach used by TCEQ for identifying nonattainment receptors is consistent with EPA’s air quality modeling
guidance. U.S. Environmental Protection Agency, 2018. Modeling Guidance for Demonstrating Attainment of Air
Quality Goals for Ozone, PM2.5, and Regional Haze, Research Triangle Park, NC, included in Docket ID No. EPA-
HQ-OAR-2021-0663.
       Case: 23-60069        Document: 110          Page: 898    Date Filed: 03/27/2023

                                                6


       Of the identified 21 receptors, 15 receptors would have 2023 DVs based on TCEQ’s

methodology for identifying maintenance receptors that are lower than the 2023 average DVs at

these same locations using the methodology for identifying nonattainment receptors. This is

highly anomalous since the maintenance methodology should result in either equal or slightly

higher 2023 DVs than the methodology to identify future year nonattainment receptors in order

to capture conditions under which areas expected to be in attainment may still struggle to

maintain the NAAQS. The EPA found that, under TCEQ’s method, of these 15 receptors, three

have 2023 maintenance DVs that are 3 ppb lower than their 2023 nonattainment methodology

DVs, five have 2023 maintenance DVs that are 2 ppb lower than their 2023 nonattainment

methodology DVs, and seven receptors have 2023 maintenance DVs that are 1 ppb lower than

their 2023 nonattainment methodology DVs. In fact, TCEQ’s method identified one receptor in

their SIP submission as a nonattainment receptor in 2023 that it separately characterized under its

maintenance methodology as not having a problem maintaining the NAAQS.

       In comparison, using the EPA’s maintenance methodology and EPA’s 2016v2 modeling

results all 21 2023 maintenance DVs have maximum DVs that are equal to or up to 4 ppb higher

than the 2023 nonattainment DVs. (Again, the EPA uses the average of the three DVs that

contain the base year modeled for the nonattainment methodology and the maximum of these

three DVs for the maintenance methodology.) Under the EPA’s methodology all nonattainment

receptors are also considered to be maintenance receptors.
                              Case: 23-60069            Document: 110           Page: 899        Date Filed: 03/27/2023




Table 1.1 Comparison of Nonattainment methodology (Avg DV) and Maintenance methodology results for receptors identified
                            by EPA and TCEQ in modeling of 2012 and 2016 base case years.

          Receptor (AQS Monitor ID,                     TCEQ          TCEQ 2023    TCEQ DV                     EPA         EPA 2023  EPA DV
                County, State)                           2023         Maintenance     Delta                    2023        Maximum     Delta
                                                        Average            DV     (Maintenance               Average         DV     (Maximum
                                                          DV                       - Average)                   DV                    - Avg)
                                                         (ppb)           (ppb)        (ppb)                   (ppb)3        (ppb)4     (ppb)
    80350004, Douglas, CO                                  73              72           -1                      71            72         1
    80590006, Jefferson, CO                                72              73            1                      72            73         1
    80590011, Jefferson, CO                                71              71            0                      73            74         1
    80690011, Larimer, CO                                  72              71           -1                      71            72         1
    80050002, Arapahoe, CO                                70*              71            1                      68            68         0
    40038001, Cochise, AZ                                  71             69**          -2                       -             -         -
    60371201, Los Angeles, CA                              80              78           -2                      82            85         3
    60371701, Los Angeles, CA                              80              82            2                      85            88         3
    60376012, Los Angeles, CA                              87              86           -1                      91            93         2
    60658001, Riverside, CA                                88              85           -3                      89            90         1
    60658005, Riverside, CA                                84              83           -1                      87            90         3
    60710001, San Bernardino, CA                           71              72            1                      74            75         1
    60710306, San Bernardino, CA                           76              77            1                      76            78         2
    60711004, San Bernardino, CA                           91              90           -1                      97           100         3
    60714001, San Bernardino, CA                           82              79           -3                      82            83         1
    60714003, San Bernardino, CA                           94              91           -3                      95            98         3
    170310001, Cook, IL                                    60              58           -2                      69            73         4
    170310032, Cook, IL                                    68              66           -2                      69            72         3
    170314201, Cook, IL                                    64              62           -2                      69            73         4

3
  Projected DVs were not calculated for the Cochise monitor in EPA’s modeling because the 2016 base year model predictions did not meet the criteria in EPA’s
modeling guidance for calculating a valid RRF.
4
  Projected DVs were not calculated for the Cochise monitor in EPA’s modeling because the 2016 base year model predictions did not meet the criteria in EPA’s
modeling guidance for calculating a valid RRF.
                          Case: 23-60069       Document: 110          Page: 900    Date Filed: 03/27/2023

                                                                  8


         Receptor (AQS Monitor ID,                TCEQ      TCEQ 2023          TCEQ DV           EPA     EPA 2023        EPA DV
               County, State)                      2023     Maintenance           Delta          2023    Maximum           Delta
                                                 Average         DV          (Maintenance Average            DV        (Maximum
                                                    DV                         - Average)         DV                      - Avg)
                                                  (ppb)         (ppb)             (ppb)         (ppb)3     (ppb)4          (ppb)
    170317002, Cook, IL                             66            65                -1            70         73              3
    550590019, Kenosha, WI                          67            66                -1            72         73              1
                                                    No
    550590025, Kenosha, WI                                   No data***        No data***         69         72              3
                                                 data***
                                                    No
    551010020, Racine, WI                                    No data***        No data***         71         73              2
                                                 data***
* TCEQ did not include this value in their SIP submission narrative (this cell was blank). The EPA obtained this value from data that
was in TCEQ’s spreadsheet of future 2023 DVs with state contribution.
** Calculated from the Relative Response Factor in TCEQ spreadsheet of future 2023 DVs with state contributions and the monitor’s
2012-2014 DV (0.983 X 71 ppb, truncation applied).
*** Monitors were installed in 2013 and 2014 so they did not have a 3-year DV period (2012-2014) or previous years, so no
projections of future year DVs are possible with TCEQ’s modeling. Kenosha 550590025 was installed and began operating May 13,
2013, so the first three-year DV available is 2013-2015. Racine 551010020 was installed April 14, 2014 so the first three-year DV
available is 2015-2017

NOTE: TCEQ’s SIP reported projected 2023 DVs as whole numbers. Consistent with the EPA’s modeling guidance, the EPA reported
projected DVs with one digit to the right of the decimal. For comparison with TCEQ’s SIP data, the EPA DVs were truncated to
whole numbers for the purpose of the analysis in this TSD. Note that including one digit to the right of the decimal in both the TCEQ
and the EPA data would result in a slight difference in outcome in terms of the magnitude of the differences between the average DVs
and the corresponding TCEQ maintenance DVs and the EPA’s maximum DVs; however, TCEQ’s maintenance methodology still
results in values lower than nonattainment methodology DVs for many receptors.
         Case: 23-60069            Document: 110            Page: 901         Date Filed: 03/27/2023




         In short, because TCEQ’s maintenance methodology uses only the most recent DV from

its base period 2014 DV (that includes 2012-2014 monitoring data)5, this very frequently results

in “maintenance” DVs at potential receptors that are lower than the 2023 “nonattainment” DVs.

TCEQ did not explain this anomalous result. These findings also tend to suggest that the three

years that comprise the 2014 design values (i.e., 2012, 2013, and 2014) used in TCEQ’s analysis

may not have had meteorological conditions particularly conducive for formation of high ozone

concentrations. This calls into question whether 2012-2014 would be an appropriate time period

for use in projecting whether an area could have difficulty maintaining the standard under ozone

conducive meteorology. The EPA’s analysis in this TSD confirms that the 2012 to 2014 time

period is not particularly conducive to ozone formation, at least for many receptors compared to

the other 3-year DV periods of 2012 DV (2010-2012 monitoring data) and 2013 DV (2011-2013

monitoring data). See subsection 1.d below for analysis of meteorology adjusted values for

monitors in the continental U.S for 2010-2014. The consequence of TCEQ’s maintenance

method, as demonstrated by our analysis, is that it often results in lower projected DVs than

TCEQ’s nonattainment method for the same receptors. This indicates that TCEQ’s method often

fails to account for conditions when an area would have difficulty maintaining the standard.

From a technical perspective, it is unreasonable and internally inconsistent to apply a

methodology that identifies receptors as being in nonattainment while at the same time

concluding that same receptor will not have a problem maintaining the NAAQS. The EPA finds

that the TCEQ methodology does not adequately identify conditions when receptors would have

difficulty maintaining the NAAQS.




5
 For nomenclature purposes, the 3-year design value is referred to by the last year of the averaging
period. That is, DV 2014 represents ozone air quality data averaged over 2012, 2013, and 2014.
         Case: 23-60069            Document: 110            Page: 902         Date Filed: 03/27/2023

                                                         10


    1.b. Review of History of EPA’s Guidance

         Since 2007 and up through its current 2018 version, the EPA’s modeling guidance for

attainment demonstrations and other analyses has recommended the use of a 5-year center

weighted average DV (i.e., the average of the three DVs that include the modeled year). The

development of this guidance reflects the EPA’s longstanding understanding that meteorological

variability should be accounted for in the projection of future design values for the purpose of

evaluating whether or not a particular monitoring site is expected to attain the NAAQS in a

future year.

         The EPA’s modeling guidance for 8-hour ozone NAAQS attainment demonstrations

(1999-2007) initially considered using a 3-year period that included the modeled year (i.e., the

emissions-inventory year modeled) as the middle year of the 3-year period.6 However, the EPA

ultimately recommended using five consecutive years with the modeled year being the middle

year (i.e., covering the three DVs that include the base year) to consider potential variability in

meteorological/ozone conduciveness and emissions. The EPA analyzed the variability of using

this 5-year center-weighted average method compared with using a 3-year average DV and

found that the 5-year center-weighted approach was more stable and had a lower standard

deviation.7 Using 5 years of measured data provides a more robust estimate of future design


6
  “Draft Guidance on the Use of Models and Other Analyses in Attainment Demonstrations for the 8-Hour Ozone
NAAQS”, EPA-454/R-99-004, May 1999; “Guidance on the Use of Models and Other Analyses in Attainment
Demonstrations for the 8-hour Ozone NAAQS”, EPA-454/R-05-002, October 2005; and “Guidance on the Use of
Models and Other Analyses for Demonstrating Attainment of Air Quality Goals for Ozone PM2.5, and Regional
Haze”, EPA-454/B-07-002, April 2007.
7
  The April 2007 guidance states on page 23, “Additionally, the average design value will be more stable (less year
to year variability) than any single design value period. An analysis of recent ambient design value data at 471
ozone monitors, over the period 1993-2004, shows that the median standard deviation of design values was 3.3 ppb
whereas the standard deviation of the 5 year weighted average design values was 2.4 ppb (Timin, 2005a). Also,
moving from the period ending in 2003 to the period ending in 2004, the median change in the ozone design values
was 4.0 ppb. The median change in the 5 year weighted average ozone design values was only 0.8 ppb (there was
not a long enough data record to do the same analyses for PM2.5). These analyses show that the average design
values are clearly more stable and will therefore provide a ‘best estimate’ baseline year design value (DVBI) for use
in future year model projections.”
       Case: 23-60069         Document: 110        Page: 903      Date Filed: 03/27/2023

                                                11


values that are not solely influenced by the particular meteorological conditions that occurred

during the three years centered on the base year of emissions. In this respect, using 5 years of

measured data is expected to provide ozone DVs that average out the effects of interannual

variability in meteorological conditions on ozone concentrations. The guidance also notes that

one may want to consider selecting a base design value this is the highest of the relevant base

period design values to ensure attainment even in periods with meteorological conditions

especially conducive to high ozone concentrations. Consistent with this guidance, the EPA’s use

of the maximum DV during the 5-year base period is intended to identify areas that may have

difficulty maintaining the NAAQS under ozone conducive meteorological conditions.

       While it is not mandatory to follow the EPA’s modeling guidance, the different approach

used by TCEQ lacked adequate justification. TCEQ did not support their claim that there were

large reductions in emissions occurring between 2010 and 2014 that would yield lower DVs in

2012-2014 compared to 2010-2012 or 2011-2013 thus making these earlier DVs inappropriate to

use for determining a maintenance receptor. Furthermore, TCEQ did not provide sufficient data

and analysis of the 2010-2014 period to support their claim that the 2012-2014 period reflects

higher ozone-conducive meteorology compared to the 2010-2012 and 2011-2013 periods. By

comparison, under the EPA’s approach, if the future DV projected from the maximum base

period DV is below the NAAQS, one can be reasonably certain the receptor will not have

difficulty maintaining the standard due to fluctuations in meteorology and, as such, upwind states

will not interfere with maintenance in downwind states. Because the TCEQ method only looks at

one DV and does not account for the variability in DVs due to meteorological conditions, it is

less likely to successfully identify maintenance receptors than the EPA method.
        Case: 23-60069            Document: 110           Page: 904        Date Filed: 03/27/2023

                                                       12


    1.c. Relative Effects of Long-Term Emissions Trends

        TCEQ asserts that the EPA’s maintenance methodology puts too much weight on

meteorological variation and not enough weight on emissions changes (i.e., specifically, alleged

emissions reductions). TCEQ asserts that the last DV in the period should be used based on the

premise that ozone-precursor emissions always trend downward, and therefore, the last DV in

the period will always capture the most likely emissions levels going forward. The EPA

explained in the preamble why this is not necessarily justified and why TCEQ’s method may

effectively “double count” emissions trends (because such trends are already accounted for in

making the future year projection). To further examine TCEQ’s assertion that only the last DV

period including the modeled base year should be used in the maintenance methodology, the

EPA reviewed a number of ozone DV trends to assess long-term average changes in ozone due

to emission changes, including several that were included in TCEQ’s SIP submission for this

action and in two previous attainment demonstration SIP submissions for the Dallas-Fort Worth

Nonattainment Area (DFW) and the Houston-Galveston-Brazoria Nonattainment Area (HGB).8

TCEQ provided ozone trends analysis in their SIP submission for this action for the areas where

TCEQ’s modeling identified potential receptors in Colorado, Arizona, and Southern California.

TCEQ used this information to indicate that ozone levels are decreasing, as shown in the figures

below, and further discussed in Section 5. The EPA also looked at monitoring trends for the most

recent 10 years of data (2011 DV up to 2020 DV) using ozone monitoring data from the EPA’s


8
  TCEQ’s “Dallas-Fort Worth (DFW) Attainment Demonstration State Implementation Plan Revision for the 2008
Eight-Hour Ozone Standard Nonattainment Area” Adopted July 6, 2016 (DFW AD SIP) and TCEQ’s “Houston-
Galveston-Brazoria Serious Classification Attainment Demonstration State Implementation Plan Revision for the
2008 Eight-Hour Ozone National Ambient Air Quality Standard”, Adopted March 4, 2020 (HGB AD SIP). The
EPA, in this action, is not evaluating the suitability of the modeling presented by TCEQ for purposes of
demonstrating attainment of the 2008 NAAQS. Rather, the EPA is simply examining long-term air quality trends
that have occurred in both the Dallas-Fort Worth area as well as the Houston-Galveston-Brazoria area. The EPA will
evaluate the suitability of modeling presented by TCEQ for purposes of demonstrating attainment of the 2008 Ozone
NAAQS in a separate action.
        Case: 23-60069            Document: 110          Page: 905        Date Filed: 03/27/2023

                                                      13


Air Quality System (AQS). The EPA used these data to assess the magnitude of year-to-year

variation in ozone levels compared to the long-term trend in ozone levels (i.e., 9 years or more)

that may be mainly attributable to overall changes in ozone-precursor emissions.

        In general, as shown in the figures below, our evaluation of monitor data for Dallas-Fort

Worth and Houston-Galveston-Brazoria as well as at receptors to which TCEQ is linked (that

have been identified either by the EPA or TCEQ) in Colorado, Arizona, Southern California, and

Midwest Region (Illinois, Michigan, and Wisconsin) demonstrates that the long-term average

annual decreases in ozone expected to be the result of emissions reductions are generally on the

order of 0-1 ppb/year at monitors in these areas. However, variations in monitored DVs do not

always trend downward from year to year and sometimes increase by 2 to 4 ppb from one year to

the next. These variations are likely due to inter-annual variations in meteorological conditions

which the EPA’s method is designed to capture (although this analysis cannot rule out the

possibility that short-term increases and decreases in ozone DVs may, in part, be the result of

countervailing economic factors that affect short-term or localized emissions increases and

decreases).

        DFW and HGB Areas

        For the DFW area, looking at Figures 1.1 and 1.2 (obtained from the DFW attainment

demonstration SIP submission),9 the long-term DFW DV10 trend is less than 1 ppb/year11 from

1991 to 2015 (see Figure 1.1) and 1.1 ppb/year from 1997 to 2014 (see Figure 1.2). Focusing on

these time periods is a way to assess the average change in ozone DVs due to long-term changes




9
  See DFW AD SIP, Figure 1-1 at page 1-4 and Figure 5-1 at page 5-5.
10
   DFW DV is the highest DV at any regulatory monitor in the DFW Nonattainment Area, so it can be a different
monitor year-to-year that sets the DFW Nonattainment area DV.
11
   See DFW AD SIP, at page 1-3. 2015 DV was 83 ppb and 1991 DV was 105 ppb. (105ppb-83ppb)/(24 years)=
0.917 ppb/year.
        Case: 23-60069          Document: 110          Page: 906        Date Filed: 03/27/2023

                                                    14


in emissions. The EPA also evaluated trends in more recent monitoring data. For DFW, we

started with the 2012 DV (2010-2012 monitoring data) as there were some emission reductions

from a previous DFW ozone SIP that had compliance dates in early 2010. Based on the trends

shown in Figure 1.3, the DVs at most of the monitors that are currently monitoring

nonattainment, based on 2018-2020 DVs, have been decreasing at approximately 1 ppb/year for

the last 9 years of DVs.12




12
  EPA Analysis of 8-hour Ozone monitor trends. Data and calculations available in “Ozone_Trends_R6_TSD.xlsx”
included in Docket ID No. EPA-R06-OAR-2021-0801.
Case: 23-60069    Document: 110      Page: 907     Date Filed: 03/27/2023

                                   15


 Figure 1.1 – TCEQ’s Figure 1-1: One-Hour and 8-Hour Ozone Design Values
              from 1991 to 2015 and Population in the DFW Area,
    from DFW 2008 8-Hour Attainment Demonstration SIP (July 6, 2016).
             Case: 23-60069                   Document: 110            Page: 908           Date Filed: 03/27/2023

                                                                    16


            Figure 1.2 – TCEQ’s Figure 5-1: One-Hour and 8-Hour Ozone DVs in the DFW Area
                                         from 1997 through 2014
                   from DFW 2008 8-hour Attainment Demonstration SIP (July 6, 2016).
      160




      140




      120
                                                                                                                      y = -2.13x + 4400
                                                                                                                           R² = 0.92
ppb




      100
                                                                                                                        y = -1.1x + 2331
                                                                                                                            R² = 0.86

      80



                              Eight-Hour Ozone Design Values                      One-Hour Ozone Design Values
                              1997 Eight-Hour Ozone NAAQS: 84 ppb                 2008 Eight-Hour Ozone NAAQS: 75 ppb
      60
                              Linear (Eight-Hour Ozone Design Values)             Linear (One-Hour Ozone Design Values)



      40
        1997    1998   1999     2000   2001    2002   2003   2004   2005   2006   2007   2008   2009      2010      2011    2012     2013   2014
                                                                       Year                            *Design Values are from EPA's AQS.
                                                                                                       **All Value Subject to Change
                            Case: 23-60069          Document: 110          Page: 909      Date Filed: 03/27/2023

                                                                       17


                                    Figure 1.3 – 8-hour Ozone DV trends at DFW Monitors, 2012-2020.


                                                                  DFW DV trends
                           90


                           85


                           80
      8-hour Ozone (ppb)




                           75


                           70


                           65


                           60
                                2010-2012 2011-2013 2012-2014 2013-2015 2014-2016 2015-2017 2016-2018 2017-2019 2018-2020
                                   DV        DV        DV        DV        DV        DV        DV        DV        DV

                                   481391044     484393009     481130087      484390075     484391002     482570005
                                   482510003     484392003     481390016      481130069     480850005     481130075
                                   481210034     483670081     481211032      484393011




                            For the Houston-Galveston-Brazoria area, TCEQ implemented multiple emission

reductions for both nitrogen oxides (NOX) and a subset of volatile organic compounds (VOCs)

that resulted in large decreases of ozone from 2000 to 2007 in this area. In this regard, the EPA is

evaluating trends for DVs from 2010 to 2020. For HGB, looking at Figures 1.4, 1.5, and 1.6

(obtained from the HGB attainment demonstration SIP)13 the long-term HGB DV trend at most

monitors and DV trends at the monitors in the HGB area with higher ozone DVs from 2009 to

2018 shows a decline of less than 1.0 ppb/year. The EPA also evaluated the trends using the

most recent DVs (2020 DVs) in Figure 1.7. In Figure 1.7, the DVs at most of the higher HGB




13
     See HGB AD SIP, Figure 1-1 at page 1-11, Figure 5-1 at page 5-7, and Figure 5-5 at page 5-8.
         Case: 23-60069         Document: 110          Page: 910       Date Filed: 03/27/2023

                                                    18


area monitors (2018, 2019, and 2020 DVs greater than 70 ppb) are decreasing at 1 ppb/year or

less for the last 10 years of DVs (2011-2020 DVs).14

           Figure 1.4 – TCEQ’s Figure 1-1: Ozone DVs and Population in HGB Area,
                                            from
     TCEQ’s HGB Serious Area Attainment Demonstration SIP Revision for 2008 Ozone (2020).




14
  EPA Analysis of 8-hour Ozone monitor trends. Data and calculations available in “Ozone_Trends_R6_TSD.xlsx”
included in Docket ID No. EPA-R06-OAR-2021-0801.
    Case: 23-60069      Document: 110     Page: 911    Date Filed: 03/27/2023

                                        19



  Figure 1.5 – TCEQ’s Figure 5-4: 8-Hour and One-Hour Ozone DVs in the HGB Area
                                        from
TCEQ’s HGB Serious Area Attainment Demonstration SIP Revision for 2008 Ozone (2020)
 Case: 23-60069      Document: 110      Page: 912     Date Filed: 03/27/2023

                                      20


Figure 1.6 – TCEQ’s Figure 5-5: Eight-Hour Ozone DVs by Monitor in the HGB Area
                                       from
 HGB Serious Area Attainment Demonstration SIP Revision for 2008 Ozone (2020)
                         Case: 23-60069            Document: 110            Page: 913       Date Filed: 03/27/2023

                                                                        21


                                 Figure 1.7 – 8-hour Ozone DV Trends at Monitors in HGB, 2011-2020


                                                     HGB DV trends
                        95

                        90

                        85

                        80
   8-hour Ozone (ppb)




                        75

                        70

                        65

                        60
                             2009-2011 2010-2012 2011-2013 2012-2014 2013-2015 2014-2016 2015-2017 2016-2018 2017-2019 2018-2020
                                DV        DV        DV        DV        DV        DV        DV        DV        DV        DV

                                 480391004      480391016       481671034       482010024      482010026       482010029
                                 482010046      482010047       482010051       482010055      482010062       482010066
                                 482010070      482010416       482011015       482011017      482011034       482011035
                                 482011039      482011050       483390078




                         Potential receptors outside of Texas

                         As mentioned above, TCEQ provided ozone trends analysis in their SIP submission for

this action for the areas where TCEQ’s modeling identified potential receptors (Colorado,

Arizona, and Southern California) to indicate that ozone levels are decreasing as shown in the

Figures below. The EPA analyzed TCEQ’s trends analysis to assess the magnitude of year-to-

year variation in ozone levels compared to the long-term trend in ozone levels (i.e., 10 years or

more) that may be attributed to overall changes in ozone-precursor emissions. The EPA also

analyzed DV trends using the most recent DVs for the last 10 years for receptors outside the

State of Texas identified by the EPA’s 2011 base year modeling, the EPA’s 2016 base year

(2016v2) modeling analyses, and/or TCEQ’s modeling (2012 base year). These potential
        Case: 23-60069          Document: 110          Page: 914        Date Filed: 03/27/2023

                                                    22


receptor areas are located in Colorado, Arizona, Southern California, and the Midwest Region

(specifically, Illinois, Wisconsin, and Michigan).

        For the Colorado receptors identified in TCEQ’s modeling, this analysis shows ozone

DVs from 2007-2016 decreased less than 1 ppb/year on average. See Figure 3-40 from TCEQ’s

transport SIP submission (included as Figure 1.8 below). The EPA also examined the trends at

the Colorado receptors identified in TCEQ’s modeling using the most recent DVs. This analysis

is reflected in Figure 1.9, which shows that the DVs at Colorado receptors have either increased

or slightly decreased at less than 0.5 ppb/year for the last 10 years of DVs (2011-2020 DVs).15




15
  EPA Analysis of 8-hour Ozone monitor trends. Data and calculations available in “Ozone_Trends_R6_TSD.xlsx”
included in Docket ID No. EPA-R06-OAR-2021-0801.___
Case: 23-60069    Document: 110       Page: 915    Date Filed: 03/27/2023

                                   23


   Figure 1.8 – 8-hour Ozone DVs for Monitors in the Denver-Aurora Area
                  from TCEQ’s SIP Submission Figure 3-40
                            Case: 23-60069            Document: 110           Page: 916        Date Filed: 03/27/2023

                                                                           24


                                 Figure 1.9 – Denver Nonattainment Area DV Trends at Receptors Identified
                                                       in TCEQ Modeling for 2023

                                                        Denver NAA receptors DV trends
                           85



                           80
      8-hour Ozone (ppb)




                           75



                           70



                           65



                           60
                                2009-2011 2010-2012 2011-2013 2012-2014 2013-2015 2014-2016 2015-2017 2016-2018 2017-2019 2018-2020
                                   DV        DV        DV        DV        DV        DV        DV        DV        DV        DV

                                      080050002          080350004         080590006         080590011          080690011




                            For the Arizona receptor identified in TCEQ’s modeling, TCEQ’s SIP Figure 3-55

(included as Figure 1.10 below) shows ozone DVs from 2007-2016 decreased less than 1

ppb/year on average but had increases or decreases of several ppb from one year to the next. The

EPA also examined the trends at the Arizona receptor identified in TCEQ’s modeling using the

most recent DVs available (see Figure 1.11) which shows that the DVs at the Arizona receptor

have decreased at less than 1.0 ppb/year on average for the last 10 years of DVs (2011-2020

DVs).16




16
     Id.
                      Case: 23-60069              Document: 110         Page: 917        Date Filed: 03/27/2023

                                                                      25


Figure 1.10 DV Tends from 2007 through 2016 for Chiricahua National Monument Monitor
                       from TCEQ’s SIP Submission Figure 3-55




                     Figure 1.11 – Arizona DV Trend at Receptor Identified in TCEQ Modeling for 2023


                                               Chiracahua, Cochise County AZ receptor
                     75


                     70


                     65
8-hour Ozone (ppb)




                     60


                     55
                           y = -0.8545x + 73

                     50


                     45


                     40
                          2009-2011 2010-2012 2011-2013 2012-2014 2013-2015 2014-2016 2015-2017 2016-2018 2017-2019 2018-2020
                             DV        DV        DV        DV        DV        DV        DV        DV        DV        DV

                                               Chiracahua-040038001          Linear (Chiracahua-040038001)
           Case: 23-60069      Document: 110       Page: 918     Date Filed: 03/27/2023

                                                 26




           At the California receptors identified in TCEQ’s modeling, TCEQ’s SIP Figure 3-56

(included as Figure 1.12 below) shows ozone DVs from 2007-2016 decreased less than 1

ppb/year on average. The EPA also evaluated the trends at the California receptors identified in

TCEQ’s modeling using the most recent DVs (see Figure 1.13), which show that the DVs at the

California receptors identified by TCEQ have either increased or slightly decreased at less than

0.5 ppb/year on average for the last 10 years of DVs (2011-2020 DVs).17




17
     Id.
Case: 23-60069     Document: 110      Page: 919    Date Filed: 03/27/2023

                                   27


      Figure 1.12 – 8-Hour Ozone DV for Monitors in Los Angeles Area
                       from TCEQ’s SIP Figure 3-56
                            Case: 23-60069              Document: 110          Page: 920        Date Filed: 03/27/2023

                                                                            28


                                     Figure 1.13 – Southern California Receptors DV trends at Receptors
                                                    Identified in TCEQ Modeling for 2023


                                                         Southern California receptors DV trends
                           120


                           110


                           100
      8-hour Ozone (ppb)




                           90


                           80


                           70


                           60
                                 2009-2011 2010-2012 2011-2013 2012-2014 2013-2015 2014-2016 2015-2017 2016-2018 2017-2019 2018-2020
                                    DV        DV        DV        DV        DV        DV        DV        DV        DV        DV

                                            060371201      060371701       060376012       060658001       060658005
                                            060710001      060710306       060711004       060714001       060714003




                            Using the most recent DVs, the EPA examined the trends at the monitoring sites in the

Chicago IL-IN-WI Nonattainment Area in Illinois and in Wisconsin that were identified as

receptors in EPA’s 2016v2 modeling (see Figure 1.14). This figure shows that the DVs at these

receptors have either increased or have decreased at less than 0.7 ppb/year on average for the last

10 years of DVs (2011-2020 DVs).18




18
     Id.
                            Case: 23-60069             Document: 110          Page: 921        Date Filed: 03/27/2023

                                                                           29


                                Figure 1.14 – Chicago IL-IN-WI Nonattainment Area DV Trends at Receptors
                                               Identified in EPA’s 2016v2 Modeling for 2023


                                                         Chicago NAA receptors DV trends
                           90
                           85
                           80
                           75
                           70
      8-hour Ozone (ppb)




                           65
                           60
                           55
                           50
                           45
                           40
                                2009-2011 2010-2012 2011-2013 2012-2014 2013-2015 2014-2016 2015-2017 2016-2018 2017-2019 2018-2020
                                   DV        DV        DV        DV        DV        DV        DV        DV        DV        DV

                                             170310001                170310032                170314201
                                             170317002                550590019                550590025
                                             Chicago NAA, IL-IN-WI




                            The EPA evaluated the trends at the previously identified potential Wisconsin and

Michigan receptors in the EPA’s March 2018 memorandum using the most recent DVs in Figure

1.15, which show that the DVs at Sheboygan County, Wisconsin and Allegan County, Michigan

receptors identified previously in EPA’s 2011 modeling have decreased approximately 1

ppb/year on average for the last 10 years of DVs (2011-2020 DVs).19




19
     Id.
                         Case: 23-60069            Document: 110            Page: 922       Date Filed: 03/27/2023

                                                                        30


         Figure 1.15 – Wisconsin and Michigan DV Trends at Receptors Identified in EPA’s 2011
                                     Base Year Modeling for 2023


                                           Sheboygan WI and Allegan MI receptors DV trends
                        90

                        85

                        80

                        75
   8-hour Ozone (ppb)




                        70

                        65

                        60

                        55

                        50

                        45

                        40
                             2009-2011 2010-2012 2011-2013 2012-2014 2013-2015 2014-2016 2015-2017 2016-2018 2017-2019 2018-2020
                                DV        DV        DV        DV        DV        DV        DV        DV        DV        DV

                                                      Sheboygan-551170006          Allegan-260050003



                         Conclusions of this analysis: Reviewing this information in total, the long-term average

decreases in ozone due to emissions reductions are usually on the order of 0-1 ppb/year at

monitors in DFW and HGB, and at the receptors that have been identified in Colorado, Arizona,

Southern California, and Midwest Region (Illinois and Wisconsin). However, critically, the

evidence presented here demonstrates that there can be wide variations in monitored ozone DVs

from year to year. These year-to-year variations in DVs are not always toward lower ozone DVs,

and sometimes DVs can increase by 2-4 ppb from one year to the next. These variations may be

primarily due to meteorological variations. We note for instance that TCEQ’s monitored trends

figure for the Arizona receptor it identified shows increases of 2 ppb and 3 ppb annually, from 66

ppb to 73 ppb. That is a 7 ppb increase over three years from 2009 to 2012. Large annual
        Case: 23-60069           Document: 110          Page: 923        Date Filed: 03/27/2023

                                                     31


fluctuations upward in DVs such as this demonstrate the degree of variation that is possible in

DV due to meteorological differences between different three-year design value periods, and/or

may indicate increasing emissions activity in upwind states or from local sources. In either case,

however, this analysis demonstrates that it cannot simply be assumed, as TCEQ’s analysis

suggests, that ozone levels will only continue to decline or always track with the general, long-

term emissions trends.

     1.d. Meteorological Adjusted Trends Analysis of 2010-2014 Monitored Ozone Data

        A recent analysis was published that included updated techniques to analyze trends in

continental U.S ozone concentrations adjusted for interannual variability in meteorological

conditions (Wells, et al.).20 This analysis adjusted long-term trends in monitored maximum daily

average 8-hour (MDA8) ozone concentrations for meteorological effects using various statistical

and mathematical methods in order to get a better estimate of the long-term changes in ozone

concentrations due to changes in precursor emissions such as nitrogen oxides (NOX) and volatile

organic compounds (VOCs). This analysis included meteorological adjusted MDA8 ozone

values (mean, median, 90th percentile, and 98th percentile) for monitors in the continental U.S for

each year from 2010 through 2014. Of particular note is the 98th percentile values as they would

correspond with the 4th High MDA8 monitored ozone that is used in the calculation of DVs. In

Figure 1.16 (a-e) below are maps showing the magnitude of the adjustments in the May to

September MDA8 ozone concentrations for each year, with monitoring site locations colored

according to the difference between the adjusted and observed trend values. Red dots represent



20
  Wells, Benjamin; Dolwick, Pat; Eder, Brian; Evangelista, Mark; Foley, Kristen; Mannshardt, Elizabeth;
Misenis, Chris; Weishampel, Anthon; “Improved Estimation of Trends in U.S. Ozone Concentrations Adjusted for
Interannual Variability in Meteorological Conditions.” Atmospheric Environment 248 (2021) 118234; Wells,
Benjamin; Dolwick, Pat; Eder, Brian; Evangelista, Mark; Foley, Kristen; Mannshardt, Elizabeth; Misenis, Chris;
Weishampel, Anthon “Supplemental Information for: Improved Estimation of Trends in U.S. Ozone Concentrations
Adjusted for Interannual Variability in Meteorological Conditions.”
       Case: 23-60069         Document: 110         Page: 924      Date Filed: 03/27/2023

                                                 32


downward adjustments of MDA8 ozone concentrations when meteorological conditions were

more favorable to ozone formation than normal, while blue dots represent upward adjustments of

MDA8 ozone concentrations when meteorological conditions were less favorable to ozone

formation than normal. Figures 1.16 (a-e) are for the years 2010, 2011, 2012, 2013 and 2014

respectively. In each Figure, 90th percentile (top), and 98th percentile (bottom) MDA8 ozone

concentrations are shown. In other words, the red dots in the images below indicate when

monitored ozone levels at a particular monitor are higher due to ozone conducive meteorological

conditions, while blue dots indicate when monitored ozone levels are lower at a particular

monitor due to meteorological conditions unfavorable for ozone formation. Since the DVs are

calculated using the 98th percentile values and the 90th percentile is representative of other

relatively high ozone monitored values, these are the values we focus on for this analysis as they

are most relevant to the policy concerns of identifying maintenance receptors.

       It is noteworthy that while 2012, the year TCEQ selected as its base year, was conducive

to ozone formation in the upper Midwest area around Lake Michigan (Illinois, Wisconsin, and

Michigan), 2013 and especially 2014 were not conducive to ozone formation. 2014 was the least

conducive year for ozone formation in the upper Midwest area around Lake Michigan of the

2010 through 2014 period. The years 2010 and 2011 both appear to have had meteorological

conditions more conducive to ozone formation in the area where the EPA has identified receptors

in the EPA’s 2011 base case and 2016v2 modeling compared to 2013 and 2014. The 2012 DV

(2010-2012 monitoring data) or 2013 DV (2011-2013 monitoring data) both seem to have had

meteorological conditions more conducive to ozone formation than the 2014 DV (2012-2014

monitoring data). This may partially explain why TCEQ’s methodology, which relied solely on

the 2014 DV, failed to identify receptors in this region using its maintenance methodology.
    Case: 23-60069        Document: 110       Page: 925     Date Filed: 03/27/2023

                                           33


Figure 1.16(a) – Maps showing the magnitude of the adjustments in May to September 90th
percentile (top), and 98th percentile (bottom) MDA8 ozone concentrations for the year 2010
       Case: 23-60069       Document: 110       Page: 926     Date Filed: 03/27/2023

                                             34


      Figure 1.16(b) – Maps showing the magnitude of the adjustments in May to September
90 percentile (top), and 98th percentile (bottom) MDA8 ozone concentrations for the year 2011
  th
       Case: 23-60069       Document: 110       Page: 927      Date Filed: 03/27/2023

                                              35


Figure 1.16(c) – Maps showing the magnitude of the adjustments in May to September 90th
percentile (top), and 98th percentile (bottom) MDA8 ozone concentrations for the year 2012
       Case: 23-60069       Document: 110       Page: 928      Date Filed: 03/27/2023

                                              36


Figure 1.16(d) – Maps showing the magnitude of the adjustments in May to September 90th
percentile (top), and 98th percentile (bottom) MDA8 ozone concentrations for the year 2013
       Case: 23-60069       Document: 110       Page: 929      Date Filed: 03/27/2023

                                              37


Figure 1.16(e) – Maps showing the magnitude of the adjustments in May to September 90th
percentile (top), and 98th percentile (bottom) MDA8 ozone concentrations for the year 2014
       Case: 23-60069        Document: 110        Page: 930      Date Filed: 03/27/2023

                                               38


2.    Potential Underestimation of Projected Design Values and Model Performance
      Evaluation

       As discussed in this section and in Section 3, below, the EPA has analyzed TCEQ’s

future-year model projections for the DFW and HGB areas within Texas and also at downwind

areas in Colorado, Arizona, Southern California, Illinois, Wisconsin, and Michigan to which

Texas contributes at or above 1 percent of the NAAQS in the EPA’s 2011 base case modeling,

and/or the EPA’s 2016v2 modeling, and/or TCEQ’s modeling. The EPA also compared TCEQ’s

2023 projections with recent DVs (2020) and preliminary DVs (2021) in these areas together

with potential changes in DVs in the next two to three years. The results of this comparison

indicate that TCEQ’s projections likely underestimate future ozone levels. TCEQ’s projected

ozone concentrations in 2023 are much lower than measured DVs in 2020 and preliminary 2021

DVs without there being an unusual level of emission reductions to support the projected sharp

decline in DVs. The EPA compared recent monitoring values and reasonably anticipated

decreases (e.g., on the order of approximately 0-1 ppb/year – see discussion on ozone trends in

Section 1 above) in DVs by 2023 both within Texas and in other parts of the country. These

underestimations likely result in TCEQ’s modeling not adequately identifying nonattainment

and/or maintenance receptors in 2023.

       In subsection 2.a, we evaluate the potential underestimation of TCEQ’s DFW and HGB

2023 modeled DVs based on a comparison to recent monitoring and potential DV changes

assuming that the average long-term trend in DVs continues over the next 2-3 years. In

subsection 2.b, we evaluate the potential underestimation of TCEQ’s 2023 modeled DVs in

downwind areas (Chicago Nonattainment Area, Wisconsin, Colorado, Arizona, and Southern

California) that have receptors identified in either the EPA or TCEQ’s modeling compared with

recent monitoring and potential DV changes assuming that the average long-term trend in DVs
        Case: 23-60069          Document: 110          Page: 931       Date Filed: 03/27/2023

                                                    39


continues over the next 2-3 years. In subsections 2.c. and 2.d. we review TCEQ’s 2012 base

case model performance in the DFW and HGB areas and in downwind receptor areas (Chicago

NAA, Wisconsin, Colorado, Arizona and Southern California) to assess whether TCEQ’s

modeling platform provides technically sound data for projecting future year ozone design values

and interstate contributions. In subsection 2.e, we summarize the findings of the EPA’s review in

this Section 2.

     2.a. Potential Underestimation in TCEQ’s Modeling 2023 Future year projections at DFW
         & HGB receptors and High DV monitors

        TCEQ’s modeling includes projections of future year 2023 design values for monitors

within the large metropolitan areas of DFW and HGB, both of which continue to monitor ozone

nonattainment and have been designated as 2015 8-hour ozone nonattainment areas. TCEQ has

previously developed attainment demonstration SIP submissions for both of the HGB and DFW

nonattainment areas.21 TCEQ also included in these previous attainment demonstration SIPs

long-term ozone monitored DV trend analysis for both the HGB and DFW areas that indicate the

average annual decrease in ozone DVs was approximately 1 to 1.2 ppb/year.22 In Section 1,

above, the EPA’s analysis in Section 1 above of the most recent 9 years of DVs in DFW and 10

years of DVs in HGB indicate a similar trend of 1 ppb/year or less. Using these DV monitored

(not modeled) trends indicates that emissions decreases between 2020 and 2023 could potentially

be anticipated to result in a drop in ozone concentrations of approximately 3-4 ppb at most

receptors if no variability in meteorology is considered and no large emission reduction




21
   TCEQ’s “Dallas-Fort Worth (DFW) Attainment Demonstration State Implementation Plan Revision for the 2008
Eight-Hour Ozone Standard Nonattainment Area” Adopted July 6, 2016 and TCEQ’s “Houston-Galveston-Brazoria
Serious Classification Attainment Demonstration State Implementation Plan Revision for the 2008 Eight-Hour
Ozone National Ambient Air Quality Standard”, Adopted March 4, 2020.
22
   Id.
        Case: 23-60069             Document: 110           Page: 932         Date Filed: 03/27/2023

                                                         40


programs are implemented in Texas or on a national level. 23 That is to say, without significant

unexpected reductions beyond the effects of existing control measures, a 3-4 ppb decline in

ozone concentrations during this 3-year period is the most that could be anticipated at

DFW/HGB monitors. To assess if TCEQ’s ozone transport modeling is potentially

underestimating future year 2023 modeled DVs in DFW and HGB areas, the EPA compared

2020 monitored DVs (2018-2020 monitored data) at several of the typically higher ozone

monitors in the DFW and HGB area with TCEQ’s projected 2023 DVs in Table 2.1. While not

as exact as developing new modeling of emission changes from 2020 to 2023 to project 2023

DVs (nor appropriate for use in any other context), using the general 3-4 ppb approximation

provides a ballpark estimate to evaluate whether TCEQ’s modeling might be underestimating

2023 future DVs. As can be seen in Table 2.1, there are many monitors in DFW and HGB that

would need a drop in ozone DVs over the next 3 years of > 5 ppb (values of -5 ppb or more in

the far right column) to reach TCEQ’s 2023 modeled projected levels. The EPA also evaluated

just the 2023 DVs for monitors with 2020 DVs ≥ 74 ppb (2018-2020 monitored DV), and for the

monitors that TCEQ projected to be attaining (DV < 71 ppb) EPA examined all monitors that

had a 2020 DV ≥ 71 ppb and also the subset of these monitors with a 2020 DV ≥ 74 ppb. For

monitors with a 2020 DV ≥ 74 ppb, ozone concentrations would have to drop by 3-4 ppb for

these monitors to attain by 2023. For the 15 monitors that TCEQ projected to be attaining in

2023 (red font in table) and had a 2020 DVs ≥ 71 ppb, the average amount of decrease in DVs



23
  We use this ballpark figure here only as a bounding assumption relevant to an analytical exercise establishing why
the TCEQ modeling submitted in its transport SIP submittal likely under-projects future ozone concentrations. The 3
to 4 ppb figure does not represent any analysis or conclusions regarding actual emissions reductions in Texas or any
other state. The EPA has no basis to assume even this level of reduction in ozone concentrations will actually occur,
nor is this estimate based on any assessment of the effects of permanent and enforceable emissions reductions in any
SIP or FIP or resulting from any other known or upcoming CAA requirements. As such, this estimate is not usable
in any other CAA action, nor would it be a defensible basis on which to reach any conclusions regarding future air
quality conditions, without far greater technical and legal analysis than the Agency can provide at this time.
        Case: 23-60069             Document: 110           Page: 933         Date Filed: 03/27/2023

                                                         41


needed to match TCEQ’s 2023 projection is 8.0 ppb. For the eight monitors that TCEQ projected

to be attaining in 2023 and had a 2020 DV of ≥ 74 ppb, the average amount of decrease in DVs

needed to match TCEQ’s 2023 projection is 9.25 ppb, and they would have to drop at least 3-4

ppb (up to 8-9 ppb) to have a DV of 70 ppb.24 In other words, for all the monitors with the

highest 2020 monitored DVs, TCEQ’s modeling projections of 2023 would necessitate average

reductions in DVs over this three year period of 9.25 ppb, much larger than the 3-4 ppb that

would be considered as a possible upper bound based on an extrapolation of long-term trends.

Drops in 8-hour ozone DVs on average of 7.56 ppb over three years at many monitors in these

areas do not typically occur unless there is an unexpectedly large change in emissions and/or

large change in meteorological conduciveness for ozone generation (see multiple trends analysis

figures in Section 1). TCEQ did not identify any such large emission reductions to be

implemented in the 2021-2023 timeframe. This analysis supports a finding that TCEQ’s

modeling is likely underestimating future ozone DVs in the two nonattainment areas in Texas.




24
  Due to the uncertainty with using the whole number DVs, the truncation method used at the end of the DV
calculation impacts the exact value. For a monitor with a 2020 DV of 74 ppb it would take at least a value of 3 ppb
or greater and could be 4 ppb or more prior to truncation.
        Case: 23-60069     Document: 110       Page: 934    Date Filed: 03/27/2023

                                            42


        Table 2.1 TCEQ Projected Future 2023 DVs Compared to 2020 Monitored DVs


                                                                            Delta in 3 years
                                      TCEQ 2023        Monitored Data
                                                                           2020 Monitor DV -
State      County        AQS ID      Future Design       from AQS
                                                                            TCEQ 2023 DV
                                    Value-DV (ppb)     2020 DV (ppb)
                                                                                 (ppb)

Texas      Brazoria     480391004         78                  73                    5
Texas      Brazoria     480391016         60                  65                   -5
Texas      Collin       480850005         66                  75                   -9
Texas      Dallas       481130069         64                  69                   -5
Texas      Dallas       481130075         63                  74                  -11
Texas      Dallas       481130087         61                  69                   -8
Texas      Denton       481210034         68                  72                   -4
Texas      Denton       481211032         66                  72                   -6
Texas      Ellis        481390016         60                  64                   -4
Texas      Ellis        481391044         57                  63                   -6
Texas      Galveston    481671034         67                  74                   -7
Texas      Harris       482010024         68                  79                  -11
Texas      Harris       482010026         66                  69                   -3
Texas      Harris       482010029         67                  73                   -6
Texas      Harris       482010046         66                  64                    2
Texas      Harris       482010047         69                  72                   -3
Texas      Harris       482010051         68                  70                   -2
Texas      Harris       482010055         68                  76                   -8
Texas      Harris       482010062         72                  67                    5
Texas      Harris       482010066         68                  69                   -1
Texas      Harris       482010416         72                  73                   -1
Texas      Harris       482011015         64                  67                   -3
Texas      Harris       482011034         71                  73                   -2
Texas      Harris       482011035         68                  70                   -2
Texas      Harris       482011039         74                  78                   -4
Texas      Harris       482011050         68                  70                   -2
Texas      Johnson      482510003         62                  73                  -11
Texas      Kaufman      482570005         58                  64                   -6
Texas      Montgomery   483390078         64                  74                  -10
Texas      Tarrant      484390075         65                  75                  -10
Texas      Tarrant      484391002         63                  72                   -9
Texas      Tarrant      484392003         66                  73                   -7
Texas      Tarrant      484393009         68                  76                   -8
Texas      Tarrant      484393011         62                  69                   -7
                                                                Avg ALL          -4.97
                                                 Avg if 2020 DV ≥ 74 ppb         -7.56
                         Avg if TCEQ 2023 DV <71 ppb but 2020 DV ≥71 ppb         -8.00
                         Avg if TCEQ 2023 DV <71 ppb but 2020 DV ≥74 ppb         -9.25
       Case: 23-60069       Document: 110       Page: 935     Date Filed: 03/27/2023

                                             43


       We also note that ODEQ relied on TCEQ’s future year 2023 modeled DVs at three

nonattainment/maintenance receptors in their SIP submission. Oklahoma was linked to these

three receptors in the EPA’s previous modeling results included in the EPA’s March 2018

memorandum. These monitors included 2 monitors in the DFW area (Tarrant County AQS ID

484392003 and Denton County AQS ID 481210034) and one monitor in the HGB area (Brazoria

County AQS ID 480391004). The EPA’s 2016v2 modeling indicates that Oklahoma is linked to

the Denton County monitor (AQS ID 48120034) that is identified as a maintenance receptor.

Included as Table 2.2 is information from the Oklahoma 2015 Ozone Transport SIP submission

that utilized information from the EPA’s March 2018 memorandum on Transport Modeling

Results.

    Table 2.2 Oklahoma’s Transport SIP Information Referring to Linkages to Texas
                      Receptors (EPA March 2018 memorandum)
    Receptor       2023 Average 2023 Maximum         Oklahoma          Oklahoma’s
     (Site ID,       DV (ppb)        DV (ppb)       Contribution       Step 1 and 2
  County, State)                                        (ppb)        Determination
   481210034,          69.7             72.0             1.23          Maintenance
   Denton, TX                                                             receptor
                                                                       identified for
                                                                     further analysis.
   484392003,          72.5             74.8             1.71         Nonattainment
   Tarrant, TX                                                            receptor
                                                                       identified for
                                                                     further analysis.
   480391004,          74.0             74.9             0.90         Nonattainment
   Brazoria, TX                                                        receptor with
                                                                     contribution less
                                                                      than 1 ppb; no
                                                                     further analysis.



       From Table 2.1 we note that the two receptors in the DFW area (based on EPA’s March

2018 memorandum) are currently monitoring nonattainment with a 2020 DV of 72 ppb at the

Denton County maintenance receptor and a 2020 DV of 73 ppb at the Tarrant County
       Case: 23-60069         Document: 110        Page: 936       Date Filed: 03/27/2023

                                                 44


nonattainment receptor. TCEQ projected 2023 DVs of 68 ppb for the Denton County monitor

and 66 ppb for the Tarrant County nonattainment receptor. We note that the nonattainment

receptor in HGB (Brazoria County AQS ID 480391004) is currently monitoring a 73 ppb (2020

DV) but was projected to be 78 ppb in TCEQ’s 2023 modeled projections. We note that in the

HGB area the maximum monitored values can vacillate between monitors depending upon the

variations in local and synoptic meteorology from one year to the next. Based on most recent

DVs at these three monitors, it is possible that they may reach attainment by 2023; however even

if they attain, it is likely that they would be close to the NAAQS, and therefore, may still be

considered maintenance receptors. A drop of 3 ppb (1 ppb/year) would result in DVs of 70 ppb at

two monitors and 69 ppb at the Denton monitor. As discussed above, TCEQ’s 2023 model

projections for these three monitors raises likely underestimation concerns for the two DFW

monitors and raises concerns with the adequacy of relying on TCEQ’s modeling to conclude that

the two DFW monitors are not at least maintenance receptors in 2023 for which Oklahoma is

linked. The EPA’s more recent modeling (2016v2) also indicates Oklahoma is linked to the

Denton monitor which is identified as a maintenance receptor.

   2.b. Potential Underestimation in TCEQ’s 2023 Future year projections at downwind
       areas

       As discussed above, absent variability in meteorology and any unexpectedly large

local/regional/national implementation of emission reductions, the drop in monitored ozone DVs

from 2020 to 2023 would be expected to be at most 3-4 ppb, based on an assumed continuation

of long-term trends at large nonattainment metropolitans that have been identified in TCEQ’s

modeling or the EPA’s 2011 and 2016v2 modeling. (Once again, we emphasize that this estimate

serves as a bounding exercise in this technical analysis and does not reflect any legal or policy

judgments regarding whether even this degree of reduction in ozone concentrations is reasonable
        Case: 23-60069             Document: 110           Page: 937         Date Filed: 03/27/2023

                                                         45


to assume for any given receptor.) While not as exact as developing new modeling of emission

changes from 2020 to 2023 to project 2023 DVs, using the general 3-4 ppb figure provides a

ballpark estimate to evaluate if TCEQ’s modeling might be underpredicting 2023 future DVs at

areas in the Chicago, IL/Wisconsin/Michigan area; the Denver, CO area; Cochise County, AZ

receptor; and Southern California areas.25 We note that in our evaluation of the most recent DV

trends in these areas that the annual average change from 2010 to 2020 DVs ranged from

increasing to decreasing at most approximately 1 ppb/year, so use of 3-4 ppb is an indicator of

the most by which DVs could potentially be estimated to drop between 2020 and 2023. Further,

the trends data for these areas indicate the change will likely be less than a 3-4 ppb decrease for

many monitors. To assess if TCEQ’s modeling is potentially underestimating future year 2023

modeled DVs in these downwind areas, the EPA has compared 2020 monitored DVs at many

typically higher ozone monitors in these areas with TCEQ’s projected 2023 DVs in Table 2.3,

Table 2.4, and Table 2.5.




25
  We use this ballpark figure here only as a bounding assumption relevant to an analytical exercise establishing why
the TCEQ modeling submitted in its transport SIP submittal likely under-projects future ozone concentrations. The 3
to 4 ppb figure does not represent any analysis or conclusions regarding actual emissions reductions in Texas or any
other state. The EPA has no basis to assume even this level of reduction in ozone concentrations will actually occur,
nor is this estimate based on any assessment of the effects of permanent and enforceable emissions reductions in any
SIP or FIP or resulting from any other known or upcoming CAA requirements. As such, this estimate is not usable
in any other CAA action, nor would it be a defensible basis on which to reach any conclusions regarding future air
quality conditions, without far greater technical and legal analysis than the Agency can provide at this time.
     Case: 23-60069      Document: 110       Page: 938     Date Filed: 03/27/2023

                                          46


    Table 2.3 TCEQ Projected Future 2023 DVs Compared to 2020 Monitored DVs
                                 (IL, WI, & MI)
             Chicago and Downwind areas in Wisconsin and Michigan
                                           TCEQ 2023                                Delta in 3 years
                                          Future Design      Monitored 2020 DV     2020 Monitor DV
   State     County        AQS ID
                                            Value-DV               (ppb)           - TCEQ 2023 DV
                                              (ppb)                                      (ppb)
Illinois    Cook         170310001              60                  75                   -15
Illinois    Cook         170310032              68                  74                    -6
Illinois    Cook         170310076              61                  69                    -8
Illinois    Cook         170311003              60                  73                   -13
Illinois    Cook         170311601              61                  71                   -10
Illinois    Cook         170314002              61                  71                   -10
Illinois    Cook         170314007              57                  71                   -14
Illinois    Cook         170314201              64                  77                   -13
Illinois    Cook         170317002              66                  75                    -9
Michigan    Allegan      260050003              71                  73                    -2
Wisconsin   Door         550290004              64                  72                    -8
Wisconsin   Kenosha      550590019              67                  74                    -7
Wisconsin   Manitowoc    550710007              65                  70                    -5
Wisconsin   Milwaukee    550790010              58                  62                    -4
Wisconsin   Milwaukee    550790085              66                  70                    -4
Wisconsin   Sheboygan    551170006              70                  75                    -5
                                                                       Avg ALL           -8.31
                                                      Avg if Current DV ≥ 74 ppb         -9.17
                                 Avg if TCEQ 2023 < 71 ppb but 2020 DV ≥ 71 ppb         -10.00
                                 Avg if TCEQ 2023 <71 ppb but 2020 DV ≥ 74 ppb           -9.17
        Case: 23-60069      Document: 110      Page: 939      Date Filed: 03/27/2023

                                              47


  Table 2.4 TCEQ Projected Future 2023 DVs Compared to 2020 Monitored DVs (CO)

                             Denver and downwind areas in Colorado

                                     TCEQ 2023                             Delta in 3 years 2020
                                                      Monitored 2020
State      County      AQS ID       Future Design                          Monitor DV - TCEQ
                                                        DV (ppb)
                                   Value-DV (ppb)                             2023 DV (ppb)

Colorado   Adams       80013001          65                  69                     -4
Colorado   Arapahoe    80050002          70                  77                     -7
Colorado   Arapahoe    80050006          66                  71                     -5
Colorado   Boulder     80130011          67                  74                     -7
Colorado   Denver      80310002          57                  70                    -13
Colorado   Douglas     80350004          73                  81                     -8
Colorado   Jefferson   80590005          68                  71                     -3
Colorado   Jefferson   80590006          72                  79                     -7
Colorado   Jefferson   80590011          71                  80                     -9
Colorado   Larimer     80690007          69                  70                     -1
Colorado   Larimer     80690011          72                  75                     -3
Colorado   Larimer     80691004          65                  67                     -2
Colorado   Weld        81230009          70                  70                      0
                                                               Avg ALL             -5.31
                                              Avg if Current DV ≥ 74 ppb           -6.83
                         Avg if TCEQ 2023 < 71 ppb but 2020 DV ≥ 71 ppb            -5.50
                         Avg if TCEQ 2023 < 71 ppb but 2020 DV ≥ 74 ppb            -7.00
        Case: 23-60069        Document: 110     Page: 940     Date Filed: 03/27/2023

                                              48


        Table 2.5 TCEQ Projected Future 2023 DVs Compared to 2020 Monitored DVs
                                       (AZ & CA)

                                               TCEQ 2023                            Delta in 3 years
                                                                  Monitored
                                              Future Design                       2020 Monitor DV –
State        County              AQS ID                           2020 DV
                                                Value-DV                           TCEQ 2023 DV

                                                   (ppb)             (ppb)              (ppb)
Arizona      Cochise            40038001             71                66                  4
California   Los Angeles        60370002             74                97                 -23
California   Los Angeles        60370016             87               107                 -20
California   Los Angeles        60370113             59                70                 -11
California   Los Angeles        60371103             63                76                 -13
California   Los Angeles        60371201             80                92                 -12
California   Los Angeles        60371302             52                64                 -12
California   Los Angeles        60371602             70                78                  -8
California   Los Angeles        60371701             80                88                  -8
California   Los Angeles        60372005             72                93                 -21
California   Los Angeles        60375005             57                62                  -5
California   Los Angeles        60376012             87               101                 -14
California   Riverside          60650012             85                99                 -14
California   Riverside          60650016             63                78                 -15
California   Riverside          60651016             87                99                 -12
California   Riverside          60652002             75                84                  -9
California   Riverside          60655001             78                88                 -10
California   Riverside          60656001             78                94                 -16
California   Riverside          60658001             88                96                  -8
California   Riverside          60658005             84                98                 -14
California   Riverside          60659001             73                87                 -14
California   San Bernardino     60710001             71                81                 -10
California   San Bernardino     60710005             96                90                  6
California   San Bernardino     60710012             83                90                  -7
California   San Bernardino     60710306             76                83                  -7
California   San Bernardino     60711004             91               106                 -15
California   San Bernardino     60712002             94               102                  -8
California   San Bernardino     60714001             82                87                  -5
California   San Bernardino     60714003             94               114                 -20
California   San Bernardino     60719002             79                86                  -7
California   San Bernardino     60719004             88               110                 -22
                                                                      Avg ALL           -11.29
                                                     Avg if Current DV ≥ 74 ppb         -12.07
                                 Avg if TCEQ 2023 < 71 ppb but 2020 DV ≥ 71 ppb         -12.00
                                 Avg if TCEQ 2023 < 71 ppb but 2020 DV ≥ 74 ppb         -12.00
         Case: 23-60069             Document: 110            Page: 941         Date Filed: 03/27/2023

                                                          49


         As can be seen in Tables 2.3, 2.4, 2.5 there are many monitors in these downwind areas

that would need a drop in ozone DVs over the next 3 years of ≥ 5 ppb (values of -5 ppb or more

in the far-right column) to reach TCEQ’s 2023 modeled projected levels. For each of these

downwind areas, the EPA also examined the TCEQ modeled 2023 DVs for monitors with 2020

DVs ≥ 74 ppb, and for the monitors that TCEQ projected to be attaining (DV < 71 ppb) EPA

examined all monitors that had a 2020 DV ≥ 71 ppb, and also the subset of these monitors with a

2020 DV ≥ 74 ppb. This DV concentration was chosen since a 2020 DV of 74 ppb or less would

drop to a DV below the NAAQS with a 3 to 4 ppb reduction between 2020 and 2023. However

even if these monitors show attainment in 2023, it is likely that their DVs would be close to the

NAAQS, and therefore, may still be considered maintenance receptors.26

         For the subset of monitors in Illinois, Wisconsin, and Michigan with 2020 DVs ≥ 74 ppb,

the average amount of decrease in DVs needed to match TCEQ’s 2023 projection is 9.17 ppb,

which is more than the 3-4 ppb that could be anticipated at most for monitors in these areas. For

the 11 monitors that TCEQ projected to be attaining in 2023 (red font in table) and had a 2020

DVs ≥ 71 ppb, the average amount of decrease in DVs needed to match TCEQ’s 2023 projection

is 10.0 ppb. For the six monitors that TCEQ projected to be attaining in 2023 and had a 2020 DV

of ≥ 74 ppb, the average amount of decrease in DVs needed to match TCEQ’s 2023 projection is

9.17 ppb, and they would have to drop a minimum of 3-4 ppb (up to 7 ppb) to have a DV of 70

ppb. Drops in 8-hour ozone DVs on average of 9.17 ppb or more in three years at many monitors

in these areas do not typically occur unless there is an unexpectedly large change in emissions

and/or large change in meteorological conduciveness for ozone generation (see figures in Section



26
  The EPA is not concluding that the sites identified by TCEQ are or are not “receptors” for purposes of ozone
interstate transport policy. Rather, we are analyzing the technical reliability of the TCEQ modeling to project future
design values.
       Case: 23-60069         Document: 110       Page: 942       Date Filed: 03/27/2023

                                                50


1.c). TCEQ did not identify any such large emission reductions to be implemented in the 2021-

2023 timeframe. Based on this information, TCEQ’s modeling is likely underestimating future

ozone levels at monitors/receptors in Illinois, Wisconsin, and Michigan. These underestimations

likely prevented TCEQ from identifying nonattainment/maintenance receptors. The EPA’s

modeling results included in the March 2018 memorandum and/or EPA’s 2016v2 modeling

collectively have identified nonattainment/maintenance receptors in the Chicago area of Illinois

and downwind areas in Wisconsin and Michigan that have or had projected linkages to emissions

from Texas (Texas’s contribution was greater than 0.7 ppb).

       As can be seen in Table 2.4, for the monitors in Colorado with 2020 DVs ≥ 74 ppb, the

average amount of decrease in DVs needed to match TCEQ’s 2023 projection is 6.83 ppb, which

is more than the 3-4 ppb that could be anticipated at most for monitors in these areas. For the

four monitors that TCEQ projected to be attaining in 2023 (red font in table) and had a 2020 DVs

≥ 71 ppb, the average amount of decrease in DVs needed to match TCEQ’s 2023 projection is

5.50 ppb. For the two monitors that TCEQ projected to be attaining in 2023 and had a 2020 DV

of ≥ 74 ppb, the average amount of decrease in DVs needed to match TCEQ’s 2023 projection is

7.00 ppb, and they would have to drop a minimum of 3-4 ppb (up to 7 ppb) to have a DV of 70

ppb. Drops in 8-hour ozone DVs on average of 7 ppb or more in three years at multiple monitors

in this area would not typically be expected to occur unless there is an unexpectedly large change

in emissions and/or large change in meteorological conduciveness for ozone generation (see

Figures in Section 1.c).

       As can be seen in Table 2.5, for the monitors in Southern California with 2020 DVs ≥ 74

ppb, the average amount of decrease in DVs needed to match TCEQ’s 2023 projection is 12.07

ppb, which is more than the 3-4 ppb (see Section 1) that could be anticipated at most for
       Case: 23-60069         Document: 110       Page: 943      Date Filed: 03/27/2023

                                                 51


monitors in these areas. For the three monitors that TCEQ projected to be attaining in 2023 and

had a 2020 DV of ≥ 74 ppb, the average amount of decrease in DVs needed to match TCEQ’s

2023 projection is 12.00 ppb, and they would have to drop a minimum of 5-6 ppb (up to 8 ppb)

to have a DV of 70 ppb. Drops in 8-hour ozone DVs on average of 9.17 ppb or more in three

years at many monitors in these areas would not typically be expected to occur unless there is an

unexpectedly large change in emissions and/or large change in meteorological conduciveness for

ozone generation (see figures in Section 1.c).

        Based on this information, TCEQ’s modeling appears to be underestimating future ozone

levels at monitors/receptors in Illinois, Wisconsin, Michigan, Colorado, and Southern California

areas, and these underestimations may have prevented TCEQ from identifying

nonattainment/maintenance receptors. Even with the underestimation of projected DVs, TCEQ

identified several nonattainment/maintenance receptors in Colorado and California with linkages

to Texas with contributions ≥ 0.7 ppb. The EPA’s modeling results included in the March 2018

memorandum also identified nonattainment/maintenance receptors in the greater Denver area of

Colorado (Jefferson County) that also had linkages to emissions from Texas. (Texas’

contribution was greater than 0.7 ppb).

   2.c. Model Performance Evaluation of TCEQ’s 2012 base case at downwind areas in the
       Midwest and West.

       TCEQ included a Model Performance Evaluation (MPE) analysis of their 2012 base case

modeling in their SIP submission and in an Appendix to the SIP submission “Appendix C –

Photochemical Model Performance Evaluation for the Transport State Implementation Plan

Revision for the 2015 Eight-Hour Ozone National Ambient Air Quality Standard.” TCEQ

included MPE by climate regions of the U.S. Included as Figure 2.1 below is TCEQ’s Table 3-7

in their SIP submission which provides statistical model performance evaluation metrics for
        Case: 23-60069          Document: 110          Page: 944        Date Filed: 03/27/2023

                                                     52


TCEQ’s 2012 base case modeling. The EPA reviewed the information in the appendix as well as

model performance information available on TCEQ’s websites.27

        The EPA agrees with findings by TCEQ in Appendix C that model performance varied

across the U.S. and that TCEQ’s 2012 base case under predicted the high end of the distribution

of observed MDA8 ozone concentrations in the Midwest and West, including the Chicago area,

Southeast Wisconsin, Denver, Arizona, and Southern California areas.28 These areas include

sites that were identified in TCEQ’s modeling and in the EPA’s 2016v2 modeling as

nonattainment/maintenance receptors.

        Overall, the modeling indicates some model underestimation in the Upper Midwest, Ohio

Valley, Southwest (includes Colorado monitors), and in the West (includes Southern California)

regions. While this is mostly within typical ranges seen for Continental U.S. chemical transport

modeling, underestimation bias may play some role in the much lower 2023 DVs that TCEQ’s

modeling is projecting at a number of potential receptor sites.




27
   TCEQ’s Model Performance Evaluation was reviewed for downwind areas using information from TCEQ’s
websites (hyperlinks are embedded): 2015 Ozone NAAQS Transport SIP Modeling - Interactive Bar Chart - Texas
Commission on Environmental Quality - www.tceq.texas.gov and 2015 Ozone NAAQS Transport SIP Modeling -
Model Performance Statistics by Area and Day - Texas Commission on Environmental Quality -
www.tceq.texas.gov.
28
   TCEQ SIP Submission, Table 3-7 at page 3-32; TCEQ SIP Submission “Appendix C Photochemical Model
Performance Evaluation for the Transport State Implementation Plan Revision for the 2015 Eight-Hour Ozone
National Ambient Air Quality Standard.”
        Case: 23-60069             Document: 110           Page: 945         Date Filed: 03/27/2023

                                                         53


         Figure 2.1 - TCEQ’s SIP Submission Table 3-7 Model performance evaluation statistical
                             metrics by Region for TCEQ’s 2012 base case




         We have included two figures from TCEQ’s SIP submission that show Mean Bias and

Root Mean Square Error (RMSE) for each monitor in the domain. Included as Figure 2.2 is

TCEQ’s Figure 3-26 in their SIP submission, which provides mean bias for May through

September 2012 at all of the EPA Air Quality System (AQS) monitoring sites for days with

observed MDA8 ozone concentration ≥ 60 ppb. Figure 2.2 shows that the mean biases for days

with MDA8 ozone concentrations ≥ 60 ppb differ by region, but at a number of monitors in the

Chicago, southeastern Wisconsin, Denver, Arizona, and southern California areas, TCEQ’s

modeling has a negative mean bias.

         Figure 2.3 (TCEQ’s Figure 3-27 in their SIP submission) provides RMSE29 for the May

through September 2012 at AQS Monitoring Sites for each of the days with observed MDA8 >

60 ppb. The RMSE at most monitors in the modeling domain were in the range of 6 to 12 ppb.

However, many monitors in the Midwest, including in the Chicago area and southeastern



29
   Root Mean Square Error (RMSE): This performance statistic (in units of ppb or micrograms per cubic
meter(µg/m3)) is a measure of the average distance between predicted and observed values. It is calculated as the
standard deviation of the difference between modeled and observed values
       Case: 23-60069       Document: 110      Page: 946      Date Filed: 03/27/2023

                                             54


Wisconsin as well as monitors in Arizona and California, have higher deviations with RMSE in

the 8 to 14 ppb range.


     Figure 2.2 – TCEQ’s SIP Submission Figure 3-26 showing Mean Bias at each monitor
      Case: 23-60069      Document: 110      Page: 947     Date Filed: 03/27/2023

                                           55


Figure 2.3 – TCEQ’s SIP Figure 3-27 showing Root Mean Square Error (RMSE) at each monitor
       Case: 23-60069       Document: 110       Page: 948      Date Filed: 03/27/2023

                                              56


       The EPA examined TCEQ’s model performance at monitors in Cook County, Illinois,

Wisconsin, and Michigan that were identified in EPA’s 2011-based modeling and its 2016v2

modeling as receptors to which Texas contributes > 1 percent of the NAAQS. TCEQ’s modeling

underestimates MDA8 ozone at these monitors and TCEQ’s modeling also underestimates

observed values at key monitor/receptors in Colorado. Even with these underprediction concerns,

TCEQ’s modeling analysis still identified 4 nonattainment/maintenance receptors in Colorado

including the Jefferson County (AQS ID 80590011), which the EPA also identified as a receptor

with Texas linkage in modeling results included in our March 2018 memorandum. The ability of

TCEQ’s modeling to replicate the highest days both in Texas and at downwind areas is important

to having an adequate modeling analysis to both assess potential nonattainment/maintenance

receptors and linkages to upwind states. Both the EPA’s modeling included in the March 2018

memorandum and TCEQ’s modeling identified nonattainment/maintenance receptors in

Jefferson County, CO. We also note that TCEQ’s analysis also identified one additional receptor

in Jefferson County, CO, one monitor in Larimer County, CO, and one receptor in Douglas

County, CO with linkage impacts greater than 0.7 ppb from Texas emissions.

       TCEQ’s modeling also underestimates observed values at key monitor/receptors in

Arizona and California that TCEQ identified as nonattainment and/or maintenance receptors

with linkages to Texas. TCEQ did identify Texas emissions as having impacts of more than 0.7

ppb, and thus, linked to some nonattainment/maintenance receptors in Arizona and California.

       The EPA finds that although TCEQ’s modeling under predicts the highest measured

MDA8 concentrations in downwind areas, including downwind areas that have been identified

by TCEQ or EPA’s 2016v2 modeling to have nonattainment/maintenance receptors, overall

model performance does not indicate that TCEQ’s modeling was egregiously flawed. That is,
        Case: 23-60069         Document: 110          Page: 949       Date Filed: 03/27/2023

                                                   57


the results of the base year model performance provided by TCEQ in their submittal does not

appear to be a clear factor contributing to the likely underestimation of future year 2023 model-

predicted DVs.

     2.d. Model Performance Evaluation of TCEQ’s 2012 base case at DFW and HGB
         monitors

        In this section we present an evaluation of TCEQ’s 2012 base case model performance in

the DFW & HGB areas. We conducted this analysis to identify if there were any serious

problems with TCEQ’s 2012 base year model performance that might potentially affect the

projection of future year DVs. TCEQ provides some model performance evaluation data for their

2012 base case modeling for this transport SIP on a website,30 which the EPA used to generate

the figures below, indicating some low bias at key monitor/receptors in the DFW and HGB area

(Figures 2.4 a-f). The EPA has provided a time series using TCEQ’s model performance

information that indicates the observed Maximum Daily Average 8-hour ozone (MDA8) value in

red and modeled value in blue for two monitors in the DFW area and one in the HGB area that

were identified in the EPA’s March 2018 memorandum that Oklahoma was linked (AQS ID

481210034 Denton County, AQS ID 484392003 Tarrant County, and AQS ID 480391004

Brazoria County). We also evaluated three additional monitors (Eagle Mountain Lake,

Grapevine, and Frisco) in the DFW area, which are among the monitors that often have the

highest DVs the DFW area. These figures also include quantile-quantile (Q-Q) scatter plots,

comparing observed to modeled MDA8.In Table 2.6 the EPA provides statistical metrics for this




30
  TCEQ’s Model Performance Evaluation was reviewed for DFW, HGB, and downwind areas using information
from TCEQ’s websites: 2015 Ozone NAAQS Transport SIP Modeling - Interactive Bar Chart - Texas Commission
on Environmental Quality - www.tceq.texas.gov
 and 2015 Ozone NAAQS Transport SIP Modeling - Model Performance Statistics by Area and Day - Texas
Commission on Environmental Quality - www.tceq.texas.gov
       Case: 23-60069      Document: 110       Page: 950     Date Filed: 03/27/2023

                                            58


subset of DFW area monitors and for some of the HGB area monitors including the Manvel

Croix monitor (AQS ID 480391004) that typically have the highest DVs in the HGB area.
Case: 23-60069    Document: 110      Page: 951     Date Filed: 03/27/2023

                                   59


     Figure 2.4(a) – Brazoria County – Manvel Croix Time Series MDA8
          Observed (red) and Modeled (blue) and Scatter Q-Q plots
Case: 23-60069    Document: 110      Page: 952     Date Filed: 03/27/2023

                                   60


  Figure 2.4(b) – Denton County – Denton Airport South Time Series MDA8
           Observed (red) and Modeled (blue) and Scatter Q-Q plots
Case: 23-60069    Document: 110      Page: 953    Date Filed: 03/27/2023

                                  61


       Figure 2.4(c) – Tarrant County – FAA Site Time Series MDA8
          Observed (red) and Modeled (blue) and Scatter Q-Q plots
Case: 23-60069    Document: 110      Page: 954     Date Filed: 03/27/2023

                                   62


  Figure 2.4(d) – Tarrant County – Eagle Mountain Lake Time Series MDA8
           Observed (red) and Modeled (blue) and Scatter Q-Q plots
Case: 23-60069    Document: 110      Page: 955     Date Filed: 03/27/2023

                                   63


       Figure 2.4(e) – Tarrant County – Grapevine Time Series MDA8
          Observed (red) and Modeled (blue) and Scatter Q-Q plots
Case: 23-60069    Document: 110      Page: 956     Date Filed: 03/27/2023

                                   64


         Figure 2.4(f) – Collin County – Frisco Time Series MDA8
         Observed (red) and Modeled (blue) and Scatter Q-Q plots
                         Case: 23-60069      Document: 110           Page: 957       Date Filed: 03/27/2023




         Table 2.6 Model Performance Statistics for Select DFW and HGB monitors including sites identified as receptors
                               in EPA’s March 2018 Memorandum and EPA’s 2016v2 modeling

                                                       Select DFW Sites : Data with Observed ≥ 60 ppb
                                          Valid    Mo     Mm     MB        ME       RMSE       NMB          NME     FB       FE
                              Site        Data     ppb    ppb    ppb       ppb       ppb        %            %      %        %       R2
Frisco                       480850005     68      69.25     65.49    -3.76   6.43      7.95      -5.43     9.28    -5.66   9.55    0.345
Denton Airport South         481210034     51      69.82     65.92    -3.91   5.20      6.99      -5.60     7.44    -5.86   7.73    0.529
Eagle Mtn. Lake              483670081     45      67.20     61.19    -6.01   6.86      7.92      -8.94     10.21   -9.40   10.69   0.501
FAA                          484390075     41      68.07     65.04    -3.04   5.60      6.79      -4.46     8.22    -4.67   8.56    0.495
Grapevine                    484392003     51      68.20     66.15    -2.05   4.67      6.03      -3.00     6.85    -3.14   7.05    0.532


                                                           Select HGB Sites : Data with Observed ≥ 60 ppb
Brazoria -Manvel Croix       480391004     36      72.25     66.9     -5.35   8.44      11.08     -7.40     11.68   -6.80   11.39   0.566
Harris - Aldine              482010024     18      68.00     72.76    4.76    6.37      8.61       6.99     9.37    6.47    8.90    0.424
Harris - Northwest           482010029     24      70.04     66.2     -3.84   5.10      7.70      -5.49     7.29    -5.74   7.54    0.547
Harris - Bayland Park        482010055     28      70.39     72.76    2.37    6.03      7.98       3.36     8.57    3.28    8.18    0.537
Harris -Deer Park #2         482011035     20      68.35     72.35    4.00    9.19      10.8       5.85     13.45   6.13    13.03   0.215
        Case: 23-60069           Document: 110          Page: 958        Date Filed: 03/27/2023




        The time series and scatter/Q-Q plots along with the performance statistics show that

there is a tendency for some underprediction of high observed ozone levels at these DFW and

HGB monitors. However, overall, the ozone model performance statistics in Table 2.6 for the

TCEQ 2012 modeling at these monitors are within or close to the ranges found in other recent

peer-reviewed photochemical model applications (e.g., Simon et al, 2012 and Emory et al,

2017).31,32 In this respect, base year model performance does not appear to be a factor in the

potential under prediction of 2023 DVs at DFW and HGB area monitors.

     2.e. Summary

        TCEQ’s 2023 future year projections may understate anticipated ozone levels at high

ozone monitors in DFW and HGB and also in areas downwind of Texas including the Chicago

area and downwind receptors in Wisconsin and Michigan, greater Denver area of Colorado, and

in Southern California, as shown above by comparing 2020 monitored DVs to the projected 2023

DVs and examining the amount of ozone reductions that would be necessary to meet those

projections compared with reasonably anticipated DV reductions based on long-term monitored

DV trends. These likely underestimations in 2023 DVs may have prevented TCEQ from

identifying nonattainment/maintenance receptors in the Chicago area and downwind receptors in

Wisconsin and Michigan. Despite the underprediction, TCEQ’s modeling did identify a number

of receptors in Colorado and California that Texas emissions were linked (contribution equal or

greater than 0.70 ppb).




31
   Simon, H., K.R. Baker, and S.B. Phillips, 2012. Compilation and Interpretation of Photochemical Model
   Performance Statistics Published between 2006 and 2012, Atmospheric Environment, 61, 124-139.
32
   Emery, C., Z. Liu, A. Russell, M. T. Odom, G. Yarwood, and N. Kumar, 2017. Recommendations on Statistics
   and Benchmarks to Assess Photochemical Model Performance. J. Air and Waste Management Association, 67,
   582-598.
        Case: 23-60069       Document: 110        Page: 959      Date Filed: 03/27/2023

                                                67


        TCEQ’s 2012 base case modeling tends to underestimate high MDA8 ozone

concentrations at ozone monitors in the DFW and HGB areas and also at monitors in the

Chicago, IL area (as well as downwind receptors in Wisconsin and Michigan), the greater

Denver area of Colorado, and in Southern California to which Texas is linked in TCEQ’s

modeling and/or EPA’s modeling. However, in view EPA’s modeling guidance section 4.1 and

as discussed above, the magnitude of MDA8 ozone bias in TCEQ’s modeling in Texas and for

downwind receptors is unlikely to have been a factor in the underestimating of projected DVs by

TCEQ.


3.      Comparison of TCEQ and EPA 2023 future modeling and identified maintenance
        and nonattainment receptors

        As described in the notice of proposed disapproval, the EPA has recently updated its air

quality modeling for transport using the 2016v2 emissions platform. Using 2016 as a base year

shortens the number of years to project ozone concentrations in 2023, compared to TCEQ’s

projection from a 2012 base year or the EPA’s earlier projection from a 2011 base year. Also,

using 2016 as a base year versus 2012 or 2011 allows for the use of monitored DVs from a more

recent period. The combination of starting with more recent base period DVs and shortening the

length of time between the base year and the future year provides more certainty compared to

TCEQ’s 2012-based or the EPA’s 2011-based modeling. Thus, the 2016-based modeling is

expected to provide more reliable projection of receptors and contributions in 2023.

        The EPA’s modeling using both 2011 and 2016 base year periods identified that Texas

was linked to nonattainment and/or maintenance receptors in 2023 in the Midwest Region

(Illinois, Wisconsin, and Michigan), while TCEQ’s modeling using a 2012 base year indicated

only linkages to western receptors.
        Case: 23-60069            Document: 110           Page: 960         Date Filed: 03/27/2023

                                                       68


        In Table 3.1, the EPA provides the projected 2023 average and maximum DVs based on

EPA’s 2016v2 modeling, and projected average and maintenance DVs based on TCEQ’s

modeling for the nonattainment and/or maintenance receptors to which Texas is linked (Texas

contributions of ≥ 0.7 ppb) based on EPA’s 2016v2 modeling. This table also includes the

contributions to these receptors from TCEQ’s modeling and EPA’s 2016v2 modeling, as well as

the 2020 DVs and preliminary 2021 DVs at these receptors.33




33
  Monitoring data from the EPA’s Air Quality System (AQS) (https://www.epa.gov/aqs). 2021 monitoring data is
preliminary and still has to undergo Quality Assurance/Quality Control analysis and be certified by the State of
Texas, submitted to the EPA, and reviewed and concurred on by the EPA.
                         Case: 23-60069       Document: 110       Page: 961       Date Filed: 03/27/2023




  Table 3.1 Projected 2023 Nonattainment/Maintenance Receptors Identified by EPA Using EPA’s 2016 base year modeling

                                                                                                            EPA:         TCEQ:
                                               EPA: 2023            TCEQ: 2023
                                                                                             2020
 Receptor (Site ID, Nonattainment/Maintenance   Average               Average
                                                                                       DV/Preliminary     Texas        Texas
  County, State)            (EPA 2023)        DV/Maximum           DV/Maintenance
                                                                                       2021 DV** (ppb) Contribution Contribution
                                               DV (ppb)               DV (ppb)
                                                                                                          (ppb)        (ppb)
   170310001, Cook
                             Maintenance            69.6/73.4            60/58              75/71           0.86           1.6
      County, IL
   170310032, Cook
                             Maintenance            69.8/72.4            68/66              74/75           1.46           1.31
      County, IL
   170314201, Cook
                             Maintenance            69.9/73.4            64/62              77/74           1.15           1.25
      County, IL
   170317002, Cook
                             Maintenance            70.1/73.0            66/65              75/73           1.58           1.22
      County, IL
 550590019, Kenosha
                            Nonattainment           72.8/73.7            67/66              74/74           1.72           1.44
     County, WI
 550590025, Kenosha
                             Maintenance            69.2/72.3          No data*             74/72           1.81         No data*
     County, WI
  551010020, Racine
                            Nonattainment           71.3/73.2          No data*             73/73           1.34         No data*
     County, WI
* Kenosha AQS ID 550590025 was installed and began operating May 13, 2013, so the first three-year DV available is 2013-2015.
Racine AQS ID 551010020 was installed on April 14, 2014 so the first three year DV available is 2015-2017. TCEQ’s modeling used
monitored DV data for 2010-2012, 2011-2013, and 2012-2014 to project to the future year. Since these monitors do not have valid
DVs for these periods, TCEQ’s modeling can’t be used to project 2023 values and identify if they would be nonattainment or
maintenance receptors.
** 2021 monitoring data is preliminary and still has to undergo Quality Assurance/Quality Control analysis and be certified by the
State of Texas, submitted to the EPA, and reviewed and concurred on by the EPA.
       Case: 23-60069         Document: 110        Page: 962      Date Filed: 03/27/2023




       The likely underestimation of anticipated 2023 DVs in the Midwest is a concern,

especially in light of the fact that TCEQ did not identify any receptors in the Chicago area and

downwind of Chicago areas of Wisconsin and Michigan while the EPA did identify receptors in

these areas.

       Cook County, IL

       As shown in Table 3.1, the EPA identified four receptors as maintenance receptors in

Cook County, IL. TCEQ’s 2023 nonattainment DVs are 9-15 ppb lower than recent monitoring

data. The four monitors that the EPA’s 2016v2 modeling identified as maintenance receptors to

which Texas is linked, all have 2020 DVs ≥ 74 ppb that would need their DVs to drop from a

minimum 3-4 ppb up to 7 ppb in the next 3 years. Based on the trends analysis included in

Section 1, typical ozone DV changes (no large changes in emissions and/or meteorology ozone

conduciveness) would be anticipated to be 0-3 ppb for 3 years, indicating that it is unlikely that

all these monitors will attain the NAAQS and would likely need even more ozone DV decreases

to not be considered a maintenance receptor. TCEQ’s modeling did not identify these four

receptors as nonattainment and/or maintenance receptors. In TCEQ’s modeling they project 2023

nonattainment DVs of 60 to 68 ppb for the four maintenance receptors that the EPA identified

(2016v2), where EPA’s 2023 nonattainment DVs range from 69 to 70 ppb for the four receptors.

EPA’s projected 2023 nonattainment DVs are higher than TCEQ’s projected 2023 nonattainment

DVs and closer to the recently monitored data. The EPA identified all four receptors as

maintenance receptors. TCEQ’s maintenance DVs, using only the 2012-2014 monitored DVs,

projected 2023 maintenance DVs between 58 ppb and 66 ppb, which is 1 to 2 ppb lower than

TCEQ’s nonattainment DVs. As discussed above, TCEQ’s methodology for identifying

maintenance receptors does not identify areas that may struggle with maintaining the standard in
       Case: 23-60069         Document: 110        Page: 963       Date Filed: 03/27/2023

                                                 71


the face of inter-annual variability in ozone-conducive conditions. It is worth noting that if

TCEQ’s modeling had identified any of these four receptors as maintenance receptors, TCEQ’s

modeling estimates contributions from Texas sources ranging from 1.22 ppb to 1.6 ppb, and

therefore Texas would have been linked to these receptors for further analysis of potential

emission reductions.

       Wisconsin

       As shown in Table 3.1, the EPA identified two receptors as nonattainment receptors and

one as a maintenance receptor in Wisconsin. As footnoted in Table 3.1, TCEQ modeled a 2012

base case so TCEQ’s modeling can only be used for monitors that had a one or more valid DVs

in the 2010-2014 period. Only the Kenosha County AQS ID 550590019 monitor had a valid DV

during this time, as the other two monitors were not installed until 2013-2014. The EPA’s

modeling uses a 2016 base case, so the EPA had valid DVs for all three monitors in Wisconsin to

project 2023 DVs. TCEQ’s projected nonattainment DV is 5 ppb lower than EPA’s 2023

nonattainment DV and 7 ppb lower than recent monitored data. The three monitors that the

EPA’s 2016v2 modeling identified as a nonattainment and/or maintenance receptors to which

Texas is linked have 2020 DVs of 73ppb, 74ppb, and 74 ppb and preliminary 2021 DV of 72

ppb, 73 ppb, and 74 ppb. TCEQ’s modeling only had projections for one of these receptors but

did not identify it as a nonattainment and/or maintenance receptor. Again, TCEQ’s maintenance

methodology proved to be less stringent than the nonattainment methodology and resulted in the

maintenance methodology DV being 1 ppb lower than the nonattainment methodology DV. It is

worth noting that if TCEQ’s modeling had identified the one Wisconsin receptor that they had

valid base DVs as nonattainment or maintenance, TCEQ’s modeling indicated that contributions
        Case: 23-60069        Document: 110        Page: 964     Date Filed: 03/27/2023

                                                 72


from Texas sources was 1.44 ppb and therefore Texas would have been linked to these receptors

for further analysis of potential emission reductions.

        Overall, TCEQ’s modeling resulted in no receptors being identified in the Illinois,

Wisconsin, Michigan areas. The analysis here shows that by comparing current measured DVs

that are only 2 to 3 years from 2023 with the TCEQ 2023 DVs used for identifying maintenance

receptors, it is clear that the TCEQ method is flawed. TCEQ claims that five receptors will not

have a problem maintaining the NAAQS when, in fact, the current DVs for these five sites are 4

to 7 ppb above the NAAQS using 2020 DVs and 1 to 5 ppb above the NAAQS using preliminary

2021 DVs, indicating that it is unlikely that all these monitors will attain the NAAQS and would

likely need even more ozone DV decreases to not be considered a maintenance receptor. While

the TCEQ modeling projects lower overall ozone levels for these areas in 2023, TCEQ’s

modeling does tend to corroborate the amount of projected impact that emissions from Texas

may be contributing to 5 of the 7 nonattainment and maintenance receptors identified by the

EPA’s most recent air quality modeling, EPA MP2016v2 modeling, as having a Texas

contribution greater than or equal to one percent of the 2015 ozone NAAQS (0.7 ppb). The EPA

MP2016v2 modeling found that Texas is linked to nonattainment and maintenance receptors in

Cook County Illinois, and Wisconsin Counties (Kenosha and Racine).


4.      Other Potential Modeling Concerns

     4.a. EGU Emissions

        TCEQ did not use the latest EGU emissions available at the time they proposed the SIP

that incorporated reductions from the CSAPR Update/latest ERTAC projections in their

modeling. It is unclear if this made any substantial changes in the modeling analysis without

updating the EGU emissions and redoing the modeling.
          Case: 23-60069         Document: 110        Page: 965    Date Filed: 03/27/2023

                                                   73


      4.b. Contribution Calculation

          TCEQ used an alternate methodology for calculating contributions in determining the

contributions from Texas emissions at each monitor Texas identified as a receptor in Colorado,

Arizona, and Southern California.

          To understand the differences, we first describe the EPA’s method for calculating the

contribution from an upwind state’s emissions at downwind monitors. We note that in the

Federal Register Notice Section II.B.4 and Section III.B.3, that is also referred to elsewhere in

the Federal Register Notice, there is an error in describing how the EPA calculates future year

2023 contributions. The EPA’s approach for calculating contributions is summarized below

followed by a more detailed four step description of the methodology. For more details on how

EPA calculates contributions see the “Air Quality Modeling TSD for 2015 Ozone NAAQS

Transport SIP Proposed Actions”.34

          The EPA’s approach for calculating 2023 average contribution metric values at

individual monitoring sites is to first average daily contributions on the days with the highest

predicted MDA8 ozone concentrations in the grid cell containing the monitor based on the air

quality modeling for 2023 and then calculate the ratio of the average contribution to the

corresponding average MDA8 concentration across the selected days. The resulting ratio is

applied to the projected 2023 design value to provide contribution metric values for each state at

each monitoring site nationwide. As part of this method, contributions and concentrations are

selected from the days with the top-10 MDA8 ozone concentrations in 2023. Note that EPA does

not calculate contributions for those monitoring sites where there are fewer than 5 days with

2023 MDA8 ozone concentrations > 60 ppb for that monitor.



34
     This TSD can be found in Docket ID No. EPA-HQ-OAR-2021-0663
        Case: 23-60069            Document: 110           Page: 966        Date Filed: 03/27/2023

                                                       74


        For clarity and further analysis of the differences with TCEQ’s methodology we are

including a more detailed four step description of the EPA’s methodology (see “Air Quality

Modeling TSD for 2015 Ozone NAAQS Transport SIP Proposed Actions”).35

        (1) For the model grid cells containing an ozone monitoring site, calculate the 8-hour

average contribution from each source tag36 to each monitoring site for the time period of the 8-

hour daily maximum modeled (i.e., MDA8) concentration on each day in 2023;

        (2) Average the MDA8 concentrations for each of the top 10 modeled ozone

concentration days in 2023 and average the 8-hour contributions for each of these same days for

each tag;37

        (3) Divide the 10-day average contribution for each tag by the corresponding 10-day

average concentration to obtain a Relative Contribution Factor (RCF) for each tag for each

monitoring site;

        (4) Multiply the 2023 average design values by the corresponding RCF to produce the

average contribution metric values at each monitoring site in 2023.

        TCEQ’s methodology differs in that it selects 2023 contributions from the days with the

highest MDA8 ozone concentrations in 2012, not 2023 as in EPA’s method. In addition, TCEQ

selects contributions from among the 3 x 3 set of model grid cells including and adjacent to the




35
   This TSD can be found in Docket ID No. EPA-HQ-OAR-2021-0663.
36
   A “tag” is a contribution category. For example, in the state-by-state source apportionment model run, we
“tagged” anthropogenic NOx and VOC emissions for individual states to track the formation of ozone from these
emissions.
37
   When calculating the contribution metric values EPA applied a criterion that 5 or more of the top 10 model-
predicted concentration days must have MDA8 concentrations >= 60 ppb in the future year in order to calculate a
valid contribution metric. The criterion of having at least 5 days with MDA8 ozone concentrations >= 60 ppb was
chosen to avoid including contributions on days that are well below the NAAQS in the calculation of the
contribution metric. Using 5 days with MDA8 ozone >= 60 ppb aligns with recommendations in EPA’s air quality
modeling guidance for projecting future year design values, as described above. The EPA did not calculate
contribution metric values for any monitor that did not meet this criterion.
       Case: 23-60069         Document: 110        Page: 967      Date Filed: 03/27/2023

                                                 75


grid cell containing the monitor based on whatever grid cells are included in the calculation of

projected design values. The EPA’s method, on the other hand, uses 2023 contributions from just

the grid cell containing the monitor.

       More specifically, TCEQ’s methodology differs from step 1, above, in that they use the

contribution for the cell that had the maximum 2012 MDA8 value from a 3x3 matrix centered

around the grid cell that has the monitor, whereas the EPA uses the contribution for the cell that

includes the monitor. Note TCEQ is using the 2012 modeled values for selecting the MDA8

value. TCEQ’s methodology differs in step 2 in that they use the 10 highest MDA8 days in the

2012 modeling instead of the EPA’s method that uses the 10 highest MDA8 days in the 2023

modeling. One artifact of TCEQ’s method is that the modeled contributions used to calculate the

average contribution metric may be based on contributions on different days and in different grid

cells than EPA’s method.

       TCEQ’s also uses 2012 modeled values in step 3 to calculate the Relative Contribution

Factor and in step 4 to produce the average contribution metric using the 2012 total modeled

concentration values. Whereas the EPA uses the 2023 data in steps 3 and 4.

       It is unclear how the methodological differences ultimately affect the contribution values

and which receptors Texas is linked compared to the EPA’s methodology. As noted in Section 3

for receptors that EPA identified in Illinois and Wisconsin, TCEQ’s contribution method did

result in contributions that were relatively similar in magnitude compared to EPA’s 2016v2

contribution results. The EPA does not agree with TCEQ’s use of the 2012 modeled days for

selecting the days in 2023 to calculated contribution. Regardless of this issue, TCEQ’s

methodology did identify contributions above 0.7 ppb at nonattainment/maintenance receptors

in Colorado, Arizona, and Southern California.
        Case: 23-60069        Document: 110        Page: 968       Date Filed: 03/27/2023

                                                 76


     4.c. Future Year Boundary Conditions

        In generating their future year boundary conditions, TCEQ used estimated 2023

emissions from the Representative Concentration Pathway (RCP) scenario 8.5 developed by the

Intergovernmental Panel on Climate Change (IPCC). This includes some estimated changes

based on climate modeling. The EPA typically has not seen adjustment in future year boundary

conditions for climate changes included in SIP modeling; without a modeling sensitivity

analysis, the actual impact cannot be quantified. The actual impact is expected to be a relatively

small contribution to the total modeled concentrations in TCEQ’s transport SIP modeling and

would not be expected to significantly change the total modeled concentrations.


5.      TCEQ Other Factor Analysis (Weight of Evidence)

        TCEQ stated that the Texas contribution to a receptor should be deemed “significant”

only if there is a persistent and consistent pattern of contribution on several days with elevated

ozone. To try and assess persistent and consistent patterns, TCEQ did some additional analysis of

several different factors such as DV trends, number of elevated ozone days, back trajectory

analyses on elevated ozone days, modeled concentrations on future expected elevated ozone

days, total interstate contributions at tagged monitors, consideration of conceptual model of

downwind area, and responsiveness of ozone to emissions from Texas. Based on their

assessment, TCEQ concluded that emissions from Texas do not contribute significantly to

nonattainment or interfere with maintenance of the 2015 ozone NAAQS at any downwind

monitors.

        TCEQ Summary

        For Colorado receptors, TCEQ provided analysis of: current attainment status and design

value trends, number of days with elevated observed ozone, back trajectory analysis on elevated
       Case: 23-60069          Document: 110      Page: 969       Date Filed: 03/27/2023

                                                77


ozone days, the modeled contributions on expected elevated ozone days, collective interstate

contribution, alternate contribution method analysis, and the responsiveness of ozone formation

at the tagged Colorado monitors to Texas NOX emissions. TCEQ evaluated these factors in a

general weight of evidence approach and concluded that Texas emissions do not contribute

significantly to nonattainment or interfere with maintenance of the 2015 ozone NAAQS at the

tagged monitors in Colorado.

       For California receptors, TCEQ provided analysis of: current attainment status and design

value trends, number of days with elevated observed ozone, back trajectory analysis on elevated

ozone days, the modeled contributions on expected elevated ozone days, collective interstate

contribution, TCEQ evaluated these factors in a general weight of evidence approach and

concluded that Texas emissions do not contribute significantly to nonattainment or interfere with

maintenance of the 2015 ozone NAAQS at the tagged monitors in California.

       While these additional factors can be informative to supplement an air quality modeling-

based analysis of some of the complexities of ozone formation in downwind areas, how ozone is

changing in those areas, areas that may contribute to downwind areas, modeled contributions

from upwind areas, and potential responsiveness to upwind changes in emissions, most of these

analyses do not provide the quantitative assessment that chemical transport modeling with source

contribution analyses that air quality modeling provides. Chemical transport modeling is the

most technically credible tool available to project future year ozone levels, contributions from

upwind states, and frequency of the impacts of upwind states.

       The EPA has reviewed these analyses that TCEQ provided in a Weight of Evidence

approach for receptors in Colorado and California and found significant concerns with some of

the analyses. Specifically, the EPA’s assessment of the totality of TCEQ’s Weight of Evidence
       Case: 23-60069        Document: 110        Page: 970      Date Filed: 03/27/2023

                                                78


factors for Colorado and California receptors is that they were in conclusive or do not provide

sufficient, substantial evidence that counters the results of photochemical modeling, including

the contribution analysis using EPA’s contribution methodology. The EPA does not concur with

TCEQ’s conclusion that Texas emissions do not contribute significantly to nonattainment or

interfere with maintenance of the 2015 ozone NAAQS at the tagged monitors in California. The

EPA has included some comments, concerns, and limitations with using these factors that Texas

used to negate the findings of the chemical transport model below.

   5.a. TCEQ indicated that there are problems with DV trends

       TCEQ provided analyses of recent DV trends at the 4 Colorado monitors that TCEQ

identified as nonattainment/maintenance receptors. TCEQ stated that 2013 was a high monitored

ozone year but that the most recent DVs at the time of their SIP submittal (2016 DVs) at most

monitors show attainment and long-term ozone decreases are modest for the time evaluated (see

Figure 1.8 above that is TCEQ’s SIP Figure 3-40).

       TCEQ also provided analyses of recent DV trends at the tagged California monitors

along with the other monitors located in the Los Angeles CSA. These trends are displayed in

TCEQ’s SIP Figure 3-56: Eight-Hour Ozone Design Values for Monitors in the Los Angeles

Area that is included above (see Figure 1.12 above that is TCEQ’s SIP Figure 3-56). TCEQ

colored the tagged California monitors and used gray coloring for the other monitors in the Los

Angeles CSA. The 10 monitors tagged had eight-hour ozone design values ranging from 101 ppb

to 80 ppb in 2016. TCEQ indicated that 8-hour ozone DVs values in the area have decreased

overall for the past 10 years and the 10 monitors tagged for further review have observed eight-

hour ozone design value decreases from 2007 through 2016 ranging from 13% at Reseda (AQS

ID: 60371201) to 5% at Victorville-Park Avenue (AQS ID: 60710306).
        Case: 23-60069          Document: 110          Page: 971        Date Filed: 03/27/2023

                                                    79


        The most recent monitoring data and trends are useful to help identify whether the

monitors are currently near or above the 8-hour ozone NAAQS. See Figures 1.9 and 1.13, above,

and Table 5.1 below, which includes the 2021 preliminary DV.38 We note that the AQS ID

80590011 (Jefferson County, Colorado) monitor 2016 DV is similar to the 2012 monitor DV

despite four more years of fleet turnover in the Denver area. Overall, the DV trends show that

ozone levels are reducing at a slow pace. Based on the data for the Colorado monitors and the ten

California area monitors identified by TCEQ as receptors, the 2020 DVs and the long-term

trends do not clearly show that the receptors in California or Colorado are expected to be below

the NAAQS, and thus, not be potential nonattainment or maintenance receptors in 2023. The

modeling trends analysis for California and Colorado receptors do not provide evidence that

these receptors will attain by 2023.




38
  EPA Analysis of 8-hour Ozone monitor trends. Data and calculations available in “Ozone_Trends_R6_TSD.xlsx”
included in Docket ID No. EPA-R06-OAR-2021-0801.
       Case: 23-60069          Document: 110        Page: 972        Date Filed: 03/27/2023

                                                  80


            Table 5.1 2020 DV and Preliminary 2021 DV and TCEQ 2023 projections and
                       contributions for receptors identified by TCEQ

 Receptor                                                                  Texas             2020 DV /
                                 TCEQ 2023             TCEQ 2023
                                                                        Contribution        Preliminary
 (Monitor ID,                    Average DV            Maintenance
                                                                           (ppb)            2021 DV**
 County, State)                     (ppb)               DV (ppb)*
                                                                                               (ppb)
 80350004,
                                         73                  72                 1.42              81/83
  Douglas, CO
 80590006,
                                         72                  73                 1.26              79/81
 Jefferson, CO
 80590011,
                                         71                  71                 1.26              80/83
 Jefferson, CO
 80690011,
                                         72                  71                 1.22              75/77
 Larimer, CO
 80050002,
                                       70***                 71                 1.15              77/80
 Arapahoe, CO
 40038001,
                                         71                69****               1.06              66/66
 Cochise, AZ
 60371201,
                                         80                  78                 0.76              92/87
 Los Angeles, CA
 60371701,
                                         80                  82                 0.72              88/90
 Los Angeles, CA
 60376012,
                                         87                  86                  0.9            101/101
 Los Angeles, CA
 60658001,
                                         88                  85                 0.73              96/95
 Riverside, CA
 60658005,
                                         84                  83                 0.71              98/97
 Riverside, CA
 60710001,
                                         71                  72                 0.84              81/77
 San Bernardino, CA
 60710306,
                                         76                  77                 0.81              83/83
 San Bernardino, CA
 60711004,
                                         91                  90                 0.88            106/103
  San Bernardino, CA
 60714001,
                                         82                  79                 0.86              87/87
 San Bernardino, CA
 60714003,
                                         94                  91                 0.74            114/114
 San Bernardino, CA
        * Uses TCEQ’s Maintenance receptor methodology that EPA has concerns (see Section 1 on
maintenance receptor methodology discussion).
        ** 2021 monitoring data is preliminary and still has to undergo Quality Assurance/Quality
Control analysis and be certified by the State of Texas, submitted to the EPA, and reviewed and
concurred on by EPA.
        *** From TCEQ spreadsheet of future 2023 DVs with state contributions.
        **** TCEQ did not provide calculations for this receptor so EPA calculated from the Relative
Response Factor in TCEQ spreadsheet of future 2023 DVs with state contributions and the monitor’s
2012-2014 DV (0.983 X 71 ppb, truncation applied).
        Case: 23-60069             Document: 110           Page: 973         Date Filed: 03/27/2023

                                                         81




     5.b. TCEQ evaluated the number of elevated ozone days (over 70 ppb) annually for
         monitors in the Denver and Southern California areas.

        For the greater Denver area Colorado, TCEQ provided number of days over 70 ppb

trends for 2007-2016 indicating decreases in the number of such days over the long-term and that

2012 was the highest year in terms of the number of exceedance days at the five monitors

evaluated. However, in 2016 3 of 5 monitors had more than 10 days of monitored exceedances

and one monitor had more exceedances in 2016 than it had in 2014 and 2015. TCEQ also

provided a similar analysis of trends in California for 2012 thru 2016, which shows a general

decrease in monitored ozone days above 70 ppb from 2012 for most of the 10 monitors tagged

by TCEQ’s modeling, but most monitors still have 30-95 monitored exceedance days (MDA8 >

70 ppb) in 2016. This data supports that the number of ozone exceedance days are improving but

neither the Colorado nor California analysis of number of exceedance days annually provide any

evidence to refute the photochemical modeling analysis results.

     5.c. TCEQ Back Trajectory Analysis

        TCEQ provided multi-year back trajectory analyses (2012-2016) for all the monitored

ozone exceedance days at the five monitors in Colorado and at the 10 monitors in Southern

California using National Oceanic and Atmospheric Administration (NOAA) HYbrid Single

Particle Lagrangian Integrated Trajectory (HYSPLIT)39. TCEQ performed 72-hour back

trajectories for both Colorado and California monitors. Given the large distance from Texas to

Colorado and Texas to California, 120-hour back trajectories should have been considered. Most




39
  HYbrid Single-Particle Lagrangian Integrated Trajectory (HYSPLIT) model is a complete system for computing
both simple air parcel trajectories and complex dispersion and deposition simulations. The model is designed to
support a wide range of simulations related to the atmospheric transport and dispersion of pollutants and hazardous
materials to the Earth’s surface.
       Case: 23-60069         Document: 110        Page: 974       Date Filed: 03/27/2023

                                                 82


of the Colorado back trajectories only reached central or northern Texas so longer back

trajectories should have been completed (see TCEQ SIP submission, Figure 3-42). TCEQ used

start heights of 500 m Above Ground Level (AGL), 1000 m AGL, and 1500 m AGL. The EPA

would also recommend running a 100 m AGL start height as well since both areas have complex

terrain nearby or in the potential pathways that could result in different back trajectory paths due

to the difference in meteorology between 100 m AGL and 500 m AGL. Another concern is that

TCEQ used the 1st hour of the 8-hour exceedance as the start time instead of mid 8-hour or

highest 1-hour number as the start time. The EPA typically uses a mid-8-hour or later start time,

or runs multiple trajectories with varying start times as the transport patterns often change

throughout the monitored 8-hour exceedance. Not running multiple hours for the start time, or at

least the highest 1-hour or the middle of the 8-hour period when monitored 1-hour values are

typically higher than the 1st hour of the 8-hour period, results in uncertainty and a general

concern that the analysis is not complete. This translates into a concern that trajectories provided

by TCEQ are incomplete and may not be representative of transport patterns that occurred during

monitored 8-hr ozone exceedances because of the way TCEQ structured and performed the

HYSPLIT analyses that results in only a limited set of trajectories. For example, just the

trajectory length time results in a number of trajectories for Colorado and California that could

have crossed Texas if a longer trajectory time had been used.

       TCEQ also screened the back trajectories out if they touched the ground at some point

and also screened out any trajectories that were not below the Planetary Boundary Layer (PBL)

over Texas. TCEQ also screened out back trajectories if the back trajectory start height at the

point above the receptor was above the PBL. The EPA has multiple concerns with the screening

out of trajectories that TCEQ performed.
       Case: 23-60069         Document: 110        Page: 975       Date Filed: 03/27/2023

                                                 83


       Before we explain our specific concerns with the screening out of back trajectories, it is

important to understand what HYSPLIT back trajectories represent and their limitations.

HYSPLIT back trajectory analyses use archived meteorological modeling that includes actual

observed data (surface, upper air, airplane data, etc.) and modeled meteorological fields to

estimate the most likely route of an air parcel transported from a particular location at a specified

time. The method essentially follows a parcel of air backward in hourly steps for a specified

length of time. HYSPLIT estimates the central path in both the vertical and horizontal planes.

The HYSPLIT central path represents the centerline with the understanding that there are areas

on each side horizontally and vertically that also contribute to the end point at the monitor. The

horizontal and vertical areas from the centerline grow wider the further back in time the

trajectory goes. Therefore, a HYSPLIT centerline does not have to pass directly over emissions

sources or emission source areas, but merely relatively near emission source areas. Nor does the

HYPSLIT centerline have to be below the PBL over Texas as the vertical spread area on the

centerline for distances of 300 to 600 miles or more would most likely be below the PBL even if

the centerline was well above the PBL. Likewise, even if a centerline is indicated as touching

down, that adds some uncertainty but does not void the back trajectory. Given the distance from

Texas to Colorado receptors and Texas to California receptors, it is unclear how many back

trajectories TCEQ inappropriately screened out when the centerline was close to Texas such that

the horizontal spread area could encompass areas of Texas but did not directly cross any parts of

Texas. In addition, Figure 3-42 in TCEQ’s SIP submission indicates that many of the 72-hour

trajectories that pass over Texas end before they have fully traversed Texas. Some of these

trajectories may have been screened out because they were not below the PBL, but may have

been below the mix layer in Texas and thus retained for the analysis if longer than 72-hour
       Case: 23-60069         Document: 110        Page: 976      Date Filed: 03/27/2023

                                                84


trajectories had been performed. Starting the back trajectories with only the 1st hour of the 8-hour

ozone exceedance means that the trajectory is started when the PBL is usually the lowest. With a

later start hour (middle of the 8-hour, multiple start hours, etc.) the PBL would be higher in most

cases. Thus, the TCEQ only using the 1st hour may have resulted in back trajectories not being

performed or being screened out when a later start time would have resulted in a back trajectory

that passed TCEQ’s screening based on start height and PBL. Regardless, the EPA does not

agree with screening out of trajectories as TCEQ has done in their analysis. The multiple ways

that TCEQ inappropriately screened out trajectories, along with the several other issues

mentioned above, limits the information that can be gleaned from TCEQ’s HYSPLIT and

Endpoint trajectory analysis for receptors in Colorado and California.

       The EPA finds back trajectory analysis can be potentially useful as a corollary analysis

along with observation-based meteorological wind fields at multiple heights to examine the

general plausibility of the photochemical model “linkages.” Since the back trajectory

calculations do not account for any air pollution formation, dispersion, transformation, or

removal processes as influenced by emissions, chemistry, deposition, etc., the trajectories cannot

be used to develop quantitative contributions. Therefore, back trajectories cannot be used to

quantitatively evaluate the magnitude of contributions from upwind states to downwind

receptors.

       For Colorado, TCEQ proffered that their trajectory analysis of transport from Texas to

Colorado indicates that emissions from Texas are unlikely to affect ozone concentrations in the

mixing layer over Colorado on elevated ozone days and Texas contribution should not be

deemed significant. TCEQ asserted that filtering the back trajectories by only looking at

trajectories from the beginning of elevated ozone episodes, that start within Colorado’s mixing
       Case: 23-60069         Document: 110        Page: 977      Date Filed: 03/27/2023

                                                85


layer, that do not hit the surface, and that have endpoints within Texas’ mixing layer is an

attempt to find a clear case where emissions in Texas would affect the ozone in Colorado. TCEQ

concluded that, using those filters, 6% of elevated ozone days in Colorado had trajectories that

reached the mixing layer in Texas, and 66% of those days during the 2007-2016 period occurred

in 2011 and 2012. The EPA finds this analysis is flawed by the way TCEQ performed the

HYSPLIT back trajectories and by the inappropriate screening out of back trajectories. TCEQ

concluded that there are many years where no back trajectories reach Texas from Colorado and

that in the years where TCEQ determined that no back trajectories reached Texas, the tagged

monitors still observed a high number of elevated ozone days and fourth-highest eight-hour

ozone concentrations above 70 ppb. The EPA finds these conclusions to be inadequately

supported due to the way TCEQ performed and generated the back trajectories and TCEQ’s

excessive use of filters. For these reasons, EPA also disagrees with TCEQ’s conclusion that

Texas may not be upwind in 2015 and 2016 during any elevated ozone days at any of the five

sites shown in Figure 3-44 of TCEQ’s SIP submission. The EPA notes that endpoint analysis and

percentage of endpoints generally provides limited value but due to the concerns with the overall

back trajectory analysis, the EPA finds little value in the endpoint analysis that TCEQ provided.

       TCEQ did indicate that there were also many more elevated eight-hour ozone days

observed in 2012 compared to other years and that this may indicate that there were some

unusual meteorological patterns that occurred in 2012 that resulted in a more severe ozone

season. TCEQ noted that overall, trends in the fourth-highest eight-hour ozone concentrations

have only slightly decreased at the Colorado receptors that TCEQ identified. The EPA concludes

that TCEQ’s HYSPLIT back trajectory analysis for the Colorado receptors is flawed and does
       Case: 23-60069          Document: 110      Page: 978      Date Filed: 03/27/2023

                                                86


not in itself provide sufficient evidence to counter the results of TCEQ’s modeling regarding the

downwind distance of interstate transport due to emissions from Texas.

       For California, TCEQ performed a similar HYSPLIT back trajectory analysis for ozone

exceedance days at the 10 monitors that TCEQ identified in Southern California to which TCEQ

found Texas potentially linked. TCEQ performed the HYPSLITs the same way that they did for

the Colorado receptors including the inappropriate screening of trajectories, and other issues

discussed above in review of TCEQ’s back trajectory and endpoint analysis for ozone

exceedances for the Colorado receptors.

       For the same reasons the EPA finds TCEQ’s Colorado back trajectory and endpoint

analyses flawed, we conclude that TCEQ’s HYSPLIT back trajectory and endpoint analyses for

the California receptors is flawed and does not provide evidence rebutting TCEQ’s

photochemical modeling that Texas may be linked to these California receptors.

   5.d. Texas contribution on all days in 2023 with ozone greater than 70 ppb.

       TCEQ evaluated contributions from Texas on projected future year elevated ozone days

in their chemical transport modeling. TCEQ evaluated the subset of 2023 days with modeled

MDA8 greater than 70 ppb, and TCEQ calculated the average modeled Texas contributions for

this subset of days (i.e., the “TX-ALT” method). Table 3-14 in TCEQ’s SIP submission is

included below as Table 5.2. TCEQ also provided this same analysis for the receptors identified

in Southern California and included the results in its SIP submission in Table 3-17, which is

included below as Table 5.3.
       Case: 23-60069         Document: 110        Page: 979      Date Filed: 03/27/2023

                                                87


        Table 5.2 TCEQ evaluation of Texas contribution to 2023 modeled days with
                 MDA8 values greater than 70 ppb at receptors in Colorado




       TCEQ proffered in assessing this information that for the Colorado monitors, the

expected average Texas contribution using all days greater than 70 ppb is a small percentage of

the projected average MDA8 on these days. As a result, TCEQ argued that these impacts are not

significant, since the average contribution is less than one ppb for all the monitors and high

ozone occurs on relatively few days (2-11 days). TCEQ further discounted these results by

alleging that there are uncertainties associated with model predictions.
       Case: 23-60069        Document: 110       Page: 980      Date Filed: 03/27/2023

                                               88


         Table 5.3 TCEQ evaluation of Texas contribution to 2023 modeled days
        with MDA8 values greater than 70 ppb at receptors in Southern California




       For California monitors, TCEQ indicated that the calculated average Texas contribution

on projected future elevated ozone days (2023 modeled days with MDA8 greater than 70 ppb) is

less than 1% of the projected average MDA8 at all of the monitors on these days.

       As stated earlier in Section 4 of this TSD, TCEQ’s methodology for calculating

contributions from Texas to downwind receptors is based on the average contribution on the

same days and grid cells that TCEQ used for calculating RRFs to project base period DVs to

2023. Specifically, in that method, TCEQ used the 2023 contributions for the top 10 days (with a

minim of five days) in the 2012 modeling among the 3 x 3 matrix of grid cells that include and

surround the location of the monitoring (i.e., the “TX-Primary” method). The EPA’s concerns

with this method are described in Section 4.b, above. For comparison with this alternative

contribution analysis that uses all days with modeled 2023 MDA8 values over 70 ppb (TX-ALT
       Case: 23-60069         Document: 110        Page: 981       Date Filed: 03/27/2023

                                                 89


method), contributions based on TCEQ’s TX-Primary method using 5 to 10 days for these

Colorado and California receptors is included in Table 5.1 above. The EPA notes that there are

large differences in contributions at individual receptors in Colorado and, in particular,

California between the two methods. Both methods demonstrate that Texas contributes above the

1 percent of the NAAQS threshold to receptors Colorado. However, this is not the case for the

California receptors where the contributions based on the TX-ALT method are below the 1

percent threshold to all receptors to which Texas was linked using the TX-Primary method. For

example, the contributions from Texas to the Reseda, CA receptor are 0.76 ppb and 0.53 ppb

using the TX-Primary and TX-ALT-based methods, respectively. In addition, the contributions

to the Hesperia-Olive Street receptor are 0.86 ppb and 0.23 ppb using the TX-Primary and TX-

ALT-based methods, respectively. For both receptors, the TX-Primary contributions represent

the average contribution in 2023 over approximately the top-10 modeled days whereas the TX-

ALT method represents the average contribution for all days with 2023 MDA8 values above 70

ppb. Thus, the only known difference between the two methods is the number of days used in

calculating the average contribution and that TX-ALT only uses days with 2023 modeled MDA8

values > 70 ppb (without a minimum or maximum number of days) which is different than TX-

Primary method. In their submittal, TCEQ did not provide any explanation for the large

inconsistencies in contributions between the two methods at these and other sites. These

inconsistencies call into question the ability of either or both of the TCEQ methods to provide

technically credible robust estimates of 2023 contributions from Texas to downwind receptors.

   5.e. Collective Interstate Contribution to Future DV

       TCEQ provided an analysis of collective interstate contribution to the 2023 DVs for the

five Colorado and ten California receptors. The collective interstate contribution at tagged

Colorado receptors ranges from 9.32% to 10.27% of the corresponding 2023 DV (see Table 5.3
       Case: 23-60069          Document: 110       Page: 982      Date Filed: 03/27/2023

                                                90


below). The collective interstate contribution at tagged California receptors ranges from 3.2% to

4.58% of the corresponding 2023 DV (see Table 5.4 below). TCEQ argues that these are small

percentages (Colorado and California) and not as high as the collective interstate contribution

percentages the EPA calculated for monitors in Eastern States, which ranged from 17% to 67%.

TCEQ also notes that a significant portion of the tagged Colorado monitors’ 2023 modeled DVs

is due to background emissions (sum of contributions from to biogenic, fires, and boundary

conditions). For the California receptors TCEQ argues that these percentages are small compared

to Intra-State contribution.

       As an initial matter, the EPA is not solely relying on TCEQ’s findings of linkages to

Colorado and California but is also relying on its own findings of linkages to areas in the

Midwest Region. As such, TCEQ’s analysis of collective contributions to Colorado and

California does not provide justification for not addressing downwind impacts. Nonetheless, the

EPA has found in the past that certain California receptors are so heavily impacted by local

emissions, and total upwind contribution is so low, that those receptors may not be considered to

be affected by interstate ozone transport. See 81 FR 15200 (Mar. 22, 2016). However, this is a

narrow circumstance that does not apply in the vast majority of cases and has never been applied

outside of California. The EPA has previously found, for instance, that receptors in Colorado are

heavily impacted by upwind-state contribution. See 82 FR 9155 (Feb. 3, 2017); 81 FR 71991

(Oct. 19, 2016). The EPA need not draw any conclusions here regarding whether the California

sites TCEQ identified should or should not be considered receptors for ozone-transport purposes.

EPA affirms, contrary to TCEQ’s suggestion, that the Colorado receptors TCEQ analyzed are

impacted by upwind state contributions. However, the EPA’s finding that Texas is linked to

receptors in other states is based on still other linkages found in the EPA’s modeling to receptors
       Case: 23-60069         Document: 110        Page: 983      Date Filed: 03/27/2023

                                                91


in other states, which are clearly impacted by the collective contribution of multiple upwind

states, including Texas. Under CAA section 110(a)(2)(D)(i)(I), downwind states are not

obligated to reduce emissions on their own to resolve nonattainment or maintenance problems.

Rather, states are obligated to eliminate their own significant contribution or interference with

the ability of other states to attain or maintain the NAAQS.

       Table 5.3 –Collective Interstate Contribution to Future DVs at Tagged Colorado
                          Monitors from TCEQ’s SIP Table 3-15
       Case: 23-60069        Document: 110       Page: 984      Date Filed: 03/27/2023

                                               92


        Table 5.4 –Collective Interstate Contribution to Future Design Value at Tagged
                    California Monitors from TCEQ’s SIP Table 3-18




   5.f. TCEQ also performed Direct Decoupled Method (DDM) modeling for receptors in
        Colorado.

       DDM provides a first derivative of the changes in ozone (linear relationship where the

DDM value is the slope of the line for changes in ozone) from changes in NOX emissions in this

case. As TCEQ noted in their SIP (page 3-60), “Ozone formation is highly non-linear and

therefore DDM results are only useful for a limited range of input perturbations, about ±15% of

the input parameter value in a given simulation.” TCEQ indicated that they used DDM to gauge

the responsiveness (i.e., percent change in ozone per percent change in emissions) of Texas NOx
         Case: 23-60069      Document: 110        Page: 985      Date Filed: 03/27/2023

                                               93


emissions at tagged Colorado monitors. From the analysis provided in the SIP and spreadsheet40

of DDM it appears that TCEQ used the DDM responsiveness factors to estimate the impacts of

100 percent of NOx emissions in Texas which is well beyond ±15% of Texas emissions which

TCEQ states is the useful limit for applying DDM. DDM is typically used to see what an

additional reduction in emissions might yield in ozone reductions, but not as a method to

estimate the impacts from 100% of the emissions from a given state. In their SIP, TCEQ

provided the DDM timeseries plots below (See Figure 5.1). Below we describe the results of the

DDM analysis that TCEQ provided in their submittal. Because TCEQ’s application of DDM is

outside the range that would provide credible results, as indicated by TCEQ in their submittal,

the EPA considers the results of the DDM analysis to be of limited value and not as technically

sound as the contribution data based on source apportionment modeling.




40
     TCEQ_DDM_fy2023_CO_EPA_Review.xlsx
Case: 23-60069   Document: 110      Page: 986     Date Filed: 03/27/2023

                                  94


             Figure 5.1 – TCEQ DDM results for select monitors
Case: 23-60069    Document: 110      Page: 987     Date Filed: 03/27/2023

                                   95


        Figure 5.1 (continued) – TCEQ DDM results for select monitors
         Case: 23-60069       Document: 110       Page: 988       Date Filed: 03/27/2023

                                                96


         In their submittal, TCEQ indicated that Rocky Flats (AQS ID: 80590006) shows

approximately 2 ppb impact from Texas NOX emissions (100% of Texas NOx emissions) in mid

to late July. TCEQ continued that when ozone at the monitor is responsive to Texas NOX

emissions, elevated ozone was not modeled except for a minor response on one day, July 23.

TCEQ summarized their DDM modeling analysis indicating that there is some minor impacts

from Texas’s NOX emissions on two high ozone days in the third week of July, but similar to

other Colorado monitors studied, the magnitude of the impact is much smaller than the impact

from Colorado NOX and “Other NOX” emissions. TCEQ also summarized that for the days with

MDA8 greater than 70 ppb and at least 1 ppb or greater impact there were three days that met

these criteria at 2 monitors (NREL and Rocky Flats) these 2 criteria.

         The DDM modeling does show some impact of Texas NOX emissions but from the scale

in the Figures it is hard to discern the magnitude. EPA analyzed TCEQ’s information and the

impact from Texas NOX emissions ranges from 0 to1.89 ppb range for 2023 modeled ozone

values ≥ 60 ppb.41 The DDM modeling does show much larger impact from the Colorado NOX

group and Other NOX group (which represents all other NOx sources in the modeling other than

Texas and Colorado), but the impact from the Texas NOX group is not zero for some days with

modeled MDA8 ozone over 60 ppb. TCEQ’s analysis of the number of days with Texas

contribution to MDA8 values over 70 ppb used a 1 ppb threshold, which is not consistent with

using 0.7 ppb for contribution that TCEQ utilized in identifying receptors that are linked to

Texas. Again, the EPA considers the results of the DDM analysis to be of limited value and not

as technically sound as the contribution data based on source apportionment modeling.




41
     TCEQ_DDM_fy2023_CO_EPA_Review.xlsx
        Case: 23-60069           Document: 110          Page: 989        Date Filed: 03/27/2023

                                                     97


     5.g. Southern California Ozone Conceptual Model

        TCEQ briefly discussed conceptual model for ozone in Southern California indicating the

topography and climate of the area’s severe air pollution problem is a consequence of the

combination of emissions from the nation’s second largest urban area and meteorological

conditions that are adverse to the dispersion of those emissions. TCEQ asserted that the unique

features of Southern California result in the Southern California basin area make it a relative

isolated area. We note that TCEQ’s modeling already takes into account the unique

meteorological, topographical, and amount of local emissions in Southern California and in the

rest of the Continental U.S. (CONUS) including Texas emissions. TCEQ’s assessment of the

Southern California conceptual model does not provide substantial evidence that refutes the

photochemical modeling analysis results.

     5.h. Summary

        TCEQ indicated that Texas contribution should be deemed “significant” only if there is a

persistent and consistent pattern of contribution on several days with elevated ozone. TCEQ

provided an Other Factor/Weight of Evidence analysis in support of their position that

contributions from Texas were not “significant”. Overall, these additional Other Factors/Weight

of Evidence analyses performed by TCEQ do not provide sufficient evidence to refute the

modeling results that TCEQ’s modeling indicates downwind nonattainment and/or maintenance

receptors in Colorado and Southern California are impacted by Texas emissions and Texas’

contribution is 0.7 ppb or greater.42 Although Texas asserted that its additional air quality factor

analysis is a permissible way to interpret which contributions are “significant” because that



42
  TCEQ also identified a monitor in Cochise County, Arizona (ID 40038001), but the monitor’s recent DVs are
below the NAAQS. From AQS, the 2014-2016 and 2015-2017 DVs are each 65 ppb; 2016-2018, 2017-2019, and
2018-2020 DVs are 66 ppb; and preliminary 2019-2021 DV is 66 ppb.
       Case: 23-60069         Document: 110        Page: 990      Date Filed: 03/27/2023

                                                98


analysis examines whether there was a “persistent and consistent pattern of contribution on

several days with elevated ozone” we find that such pattern is already established by the EPA’s

and TCEQ’s air quality modeling. Specifically, the EPA believes source apportionment

modeling, as performed by the EPA and also by TCEQ, to determine which states are linked is

an appropriate tool to identify impacts that are persistent enough to impact a downwind receptors

ability to attain or maintain the standard. This approach is described in more detail above in

Section 4 of this action, but, in summary, averages the contributions from an upwind state for up

to 10 days, which is preferred, (but at a minimum 5 days) at a given receptor. As noted in the

EPA’s air quality modeling guidance, since DVs are based on the seasonal 4th high observed

values, the EPA technique of using the average impacts for 5-10 days, is appropriate to identify

impacts of sufficient persistence to impact a downwind receptor’s ability to attain or maintain the

standard. We note that TCEQ used the same methodology of up to 10 days but at a minimum of

5 days, with differing calculations methods (See Section 4) to identify nonattainment and/or

maintenance receptors and contribution at those receptors.

       In addition, the contributions based on the EPA’s 2011-based modeling and 2016v2

modeling indicate that Texas is linked to receptors in the Midwest Region but not to receptors in

Arizona and California identified by TCEQ. Given that there are wide unexplained differences

in the contributions from Texas to downwind receptors, particularly in California between the

two contribution methods used by TCEQ in their SIP submittal, we cannot speculate as to the

factor(s) leading to differences in contributions between the EPA’s modeling and TCEQ’s

modeling. Regardless, the contributions to downwind receptors based on the two TCEQ methods

and the EPA’s modeling results are consistent in showing that Texas’s emissions were

substantial enough to generate linkages to downwind receptors, under varying assumptions and
       Case: 23-60069         Document: 110         Page: 991      Date Filed: 03/27/2023

                                                 99


meteorological conditions, even if the precise set of linkages changed between the different sets

of modeling

       As noted above, TCEQ indicated that Texas’ contributions should be deemed

“significant” only if there is a persistent and consistent pattern of contribution on several days

with elevated ozone. In this regard, modeling for three different years of meteorology (2011,

2012, and 2016) have all indicated that Texas is linked to downwind nonattainment and/or

maintenance receptors. We think this common result indicates that Texas’s emissions were

substantial enough to generate linkages to various downwind receptors, under varying

assumptions and meteorological conditions which provides a further indication that there is a

persistent pattern of Texas’ emissions contributing above a 1% to ozone at downwind

nonattainment and/or maintenance receptors. In sum, the EPA’s more recent 2016 base year

modeling platform (2016v2) indicates that Texas is linked to several receptors in the Midwest

Region as does the EPA’s earlier 2011 base year modeling. TCEQ’s 2012 base case modeling

showed linkages to states in the West. As discussed, the EPA does not find the additional

factors/weight of evidence evaluations conducted by TCEQ provide compelling reasons to

discount the impacts indicated in Colorado and California by the TCEQ modeling. In fact, we

think TCEQ’s modeling likely underestimates these issues.


6.     EPA Summary

       The EPA has reviewed TCEQ’s modeling, alternate maintenance receptor methodology,

recent monitoring data and long-term ozone trends, whether there is underestimation bias in

TCEQ’s modeling, and TCEQ’s Weight of Evidence analyses (or “other factors” analyses).

Overall, we find the TCEQ’s alternate maintenance receptor methodology to be flawed and not

acceptable because it fails to identify receptors that may have difficulty maintaining the standard
       Case: 23-60069          Document: 110         Page: 992       Date Filed: 03/27/2023

                                                  100


in the future. We identified that TCEQ’s modeling understated the magnitude of projected 2023

design values to the extent that TCEQ’s analysis likely resulted in not correctly identifying

nonattainment and/or maintenance receptors in Illinois, Wisconsin, Michigan. EPA 2016v2

modeling identified nonattainment and/or maintenance receptors in Illinois and Wisconsin with

Texas’s contributions more than 1% and TCEQ’s modeling also indicated that Texas’s

contribution was more than 1% at these same receptors.

        The contributions calculated from TCEQ’s two contribution methods result in very

different contribution values and is so inconsistent that it calls into question the validity of either

or both methods and TCEQ provides no explanation for the large differences in the outcome of

the two methods. TCEQ’s Other factors/WOE analysis does not provide sufficient compelling

technically supported information to counter the conclusions from photochemical modeling in

terms of linkages from Texas to downwind receptors.

        TCEQ indicated that Texas contribution should be deemed “significant” only if there is a

persistent and consistent pattern of contribution on several days with elevated ozone. We note

that modeling for three different years of meteorology (2011, 2012, and 2016) have all indicated

that Texas was linked to downwind nonattainment and/or maintenance receptors. We think this

consistent result indicates that Texas’s emissions are substantial enough to link Texas to

downwind receptors, under varying assumptions and meteorological conditions which further

indicates that there is a persistent pattern of Texas’ emissions contributing above 1 % to ozone at

downwind nonattainment and/or maintenance receptors.
      Case: 23-60069    Document: 110    Page: 993    Date Filed: 03/27/2023




                                  EXHIBIT 6

EPA, Information on the Interstate Transport State Implementation Plan

Submissions for the 2015 Ozone National Ambient Air Quality Standards under

Clean Air Act Section 110(a)(2)(D)(i)(I) (Mar. 27, 2018)
       Case: 23-60069                 Document: 110                 Page: 994             Date Filed: 03/27/2023


                        UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                      RESEARCH TRIANGLE PARK, NC 27711




                                                                                                                         OFFICE OF

                                                         MAR 2 7 2J 18        1                                    AIR QUALITY PLANNING
                                                                                                                      AND STANOARDS


MEMORANDUM

SUBJECT:          Information on the Interstate Transport State Implementation Plan Submissions
                  for the 201 5 Ozone National Ambient Air Quality Standards under Clean Air Act
                  Section 11O(a)(2)(D)(i)(I

FROM:            Peter Tsirigotis
                 Director

TO:               Regional Air Division Directors, Regions 1- 10

        The purpose of this memorandum is to provide information to states and the Environmental
Protection Agency Regional offices as they develop or review state implementation plans (SIPs)
that address section 11 0(a)(2)(D)(i)(I) of Clean Air Act (CAA), also called the "good neighbor"
provision, as it pertains to the 20 15 ozone National Ambient Air Quality Standards (NAAQS).
Specifically, this memorandum includes EPA's air quality modeling data for ozone for the year
2023, including newly available contribution modeling results, and a discussion of elemen1s
previously used to address interstate transport. In addition, the memorandum is accompanied by
Attachment A, which provides a preliminary list of potential flexibi lities in analytical approaches
for developing a good neighbor SIP tha1 may warrant further discussion between EPA and states.

        The information in this memorandum provides an update to the contribution modeling
analyses provided in EPA 's January 2017 Notice of Data Availability (NODA) of ozone transport
modeling data for the 2015 ozone NAAQS and builds upon information provided in the October
20 17 interstate transport memorandum. 1 The October 20 17 memorandwn provided projected
ozone design values fo r 2023 based on EPA's updated nationwide ozone modeling with the
primary goal of assisting states in completing good neighbor transport actions for the 2008 ozone
NAAQS.


1
 See Notice of Availability of the Environmental Protection Agency's Preliminary Interstate Ozone Transport
Modeling Data for the 20 15 Ozone National Ambient Air Quality Standard (NAAQS), 82 FR 1733 (January 6,
2017). This memorandum also supplements the information provided in the memorandum, Supplemental
Information on the Interstate Transport State Implementation Plan Submissions for the 2008 Ozone National
Ambient Air Quality Standards under Clean Air Act Section I I0{a)(2)(D)(i)(I). Memorandum from Stephen D.
Page, Director, U.S. EPA Office of Air Quality Planning and Standards, to Regional Air Division Directors, Regions
1- 10. October 27, 20 17. Available at h1tps://ww111. epa.govlsiteslproductionljiles/20 I 7-
/ 0ldocumentsljinal_2008_o3_ naaqs_transport_memo_ I 0-27-l 7b.pdj (The October 27, 2017, memorandum
includes links to all supporting documentation, including modeling and emissions technical support documents.)


                                         Internet Address (URL) • http://www.epa.gov
            Recycled/Recy clable • Printed whh \'.&gelable 011 Based Inks on Recycled Paper (Minimum 25% Postronsumer)
       Case: 23-60069           Document: 110           Page: 995        Date Filed: 03/27/2023




        EPA' s goal in providing this information is to assist states' efforts to develop good
neighbor SIPs for the 2015 ozone NAAQS to address their interstate transport obligations. While
the information in this memorandum and the associated air quality analysis data could be used to
inform the development of these SIPs, the information is not a final determination regarding states'
obligations under the good neighbor provision. Any such determination would be made through
notice-and-comment rulemaking.

The Good Neighbor Provision
        Under CAA sections l lO(a)(l) and 11 0(a)(2), each state is required to submit a SIP that
provides for the implementation, maintenance and enforcement of each primary and secondary
NAAQS. Section 11 0(a)( 1) requires each state to make this new SIP submission within 3 years
after promulgation of a new or revised NAAQS. This type of SIP submission is commonly referred
to as an " infrastructure SIP." Section l l 0(a)(2) identifies specific elements that each plan
submission must meet. Conceptually, an infrastructure SIP provides assurance that a state's SIP
contains the necessary structural requirements to implement the new or revised NAAQS, whether
by demonstrating that the state's SIP already contains or sufficiently addresses the necessary
provisions, or by making a substantive SIP revision to update the plan provisions to meet the new
standards.

        In particular, CAA section 11 0(a)(2)(D)(i)(I) requires each state to submit to EPA new or
revised SIPs that "contain adequate provisions ... prohibiting, consistent with the provisions of this
subchapter, any source or other type of emissions activity within the State from emitting any air
pollutant in amounts which will ... contribute significantly to nonattainment in, or interfere with
maintenance by, any other state with respect to any such national primary or secondary ambient
air quality standard." EPA often refers to section 11 0(a)(2)(D)(i)(I) as the good neighbor provision
and to SIP revisions addressing this requirement as good neighbor SIPs.

         On October 1, 2015, EPA promulgated a revision to the ozone NAAQS, lowering the level
of both the primary and secondary standards to 70 parts per billion (ppb). 2 Pursuant to CAA section
11 0(a), good neighbor SIPs are, therefore, due by October 1, 2018. As noted earlier, EPA intends
that the information conveyed through this memorandum should assist states in their efforts to
develop good neighbor SIPs for the 2015 ozone NAAQS to address their interstate transport
obligations.

Framework to Address the Good Neighbor Provision
        Through the deve lopment and implementation of several previous rulemakings, including
most recently the Cross-State Air Pollution Rule (CSAPR) Update,3 EPA, working in partnership
with states, established the following four-step framework to address the requirements of the good
neighbor provision for ozone and fine particulate matter (PM2.s) NAAQS: (1) identify downwind
air quality problems; (2) identify upwind states that contribute enough to those downwind air


2National Ambient Air Quality Standards for Ozone Final Rule, 80 FR 65292 (October 26, 2015).
3See Finding of Significant Contribution and Rulemaking for Certain States in the Ozone Transport Assessment
Group Region for Purposes of Reducing Regional Transport of Ozone (also known as the NOx SIP Call), 63 FR
57356 (October 27, 1998); Clean Air Interstate Rule (CAIR) Final Rule, 70 FR 25 162 (May 12, 2005); CSA PR
Final Rule, 76 FR 48208 (August 8, 2011 ); CSAPR Update for the 2008 Ozone NAAQS (CSA PR Update) Final
Rule, 81 FR 74504 (October 26, 2016).

                                                       2
       Case: 23-60069            Document: 110            Page: 996        Date Filed: 03/27/2023




quality problems to warrant further review and analysis; (3) identify the emissions reductions
necessary (if any), considering cost and air quality factors, to prevent an identified upwind state
from contributing significantly to those downwind air quality problems; and (4) adopt permanent
and enforceable measures needed to achieve those emissions reductions. EPA notes that, in
applying this framework or other approaches consistent with the CAA, various analytical
approaches may be used to assess each step. EPA has undertaken several previous regional
rulemakings applying this framework, and its analytical approaches have varied over time due to
continued evolution of relevant tools and information, as well as their specific application.

        This memo presents information regarding EPA's latest analysis for purposes of assisting
states in developing SIPs for the 2015 ozone NAAQS, and, in doing so, generally follows
approaches that EPA has taken in its regional rulemaking actions addressing prior ozone NAAQS.
EPA also notes that, in developing their own rules, states have flexibi lity to fo llow the fami liar
four-step transport framework (using EPA' s analytical approach or somewhat different analytical
approaches within these steps) or alternative frameworks, so long as their chosen approach has
adequate technical justification and is consistent with the requirements of the CAA. In various
discussions, states and other stakeholders have suggested specific approaches that may warrant
further consideratio n, and have indicated that they may be exploring other approaches as well.
Over the next few months, EPA will be working with states to evaluate potential additional
flexibilities fo r states to consider as they develop their good neighbor SIPs for the 20 15 ozone
NAAQS. Such potential flexibilities could apply to modeling conducted by states or to states' use
ofEPA's updated modeling presented here. Attachment A provides a preliminary list of potential
flexibilities that may warrant further discussion. EPA looks forward to discussing these and other
potential flexibilities with states over the next few months, which will help inform states'
development of their good neighbor SIP submittals, as well as EPA's development of further
information on good neighbor SIPs.

Air Quality Modeling Projection of 2023 Ozone Design Values
        As noted previously and as described in more detail in both the 2017 NODA and the
October 2017 memorandum, EPA uses modeling to identify potential downwind air quality
problems. A first step in the modeling process is selecting a future analytic year that considers both
the relevant attainment dates of downwind nonattainment areas impacted by interstate transport4
and the timeframes that may be required for implementing further emissions reductions as
expeditiously as practicable.5 For the 2015 ozone NAAQS, EPA selected 2023 as the analytic year
in our modeling analyses primarily because it aligns with the anticipated attainment year for
Moderate ozone nonattainment areas.6

4
  North Carolina v. EPA, 531 F.3d 896, 9 11- 12 (D.C. Cir. 2008) (holding that compliance timeframes for necessary
emission reductions must consider downwind attainment deadlines).
5 See October 2017 memorandum, pp. 4-6 (discussion of timing of controls).
6 On November 16, 2017 (82 FR 54232), EPA established initial air quality designations for most areas in the United

States. On December 22, 20 17 (83 FR 651), EPA responded to state and tribal recommendations by indicating the
anticipated area designations for the remaining portions of the U.S. In addition, EPA proposed the maximum
attainment dates for nonattainment areas in each classification, which for Moderate ozone nonattainment is 6 years
(81 FR 81276, November 17, 20 I 6). Based on the expected timing for final designations, 6 years from the likely
effective date for designations would be summer 2024. Therefore, the 2023 ozone season would be the last full
ozone season before the 2024 attainment date.


                                                        3
       Case: 23-60069              Document: 110            Page: 997          Date Filed: 03/27/2023




        As noted in the aforementioned October 2017 memorandum, EPA then used the
Comprehensive Air Quality Model with Extensions (CAMx v6.40) 7 to model emissions in 2011
and 2023, based on updates provided to EPA from states and other stakeholders. 8 EPA used outputs
from the 2011 and 2023 model simulations to project base period 2009-2013 average and
maximum ozone design values to 2023 at monitoring sites nationwide. In projecting these future
year design values, EPA applied its own modeling guidance,9 which recommends using model
predictions from the " 3 x 3" array of grid cells surrounding the location of the monitoring site. 10
In light of comments on the January 2017 NODA and other analyses, EPA also projected 2023
design values based on a modified version of the " 3 x 3" approach for those monitoring sites
located in coastal areas. Briefly, in this alternative approach, EPA incorporated the flexibility of
eliminating from the design value calculations those modeling data in grid cells that are dominated
by water (i.e., more than 50 percent of the area in the grid cell is water) and that do not contain a
monitoring site (i.e. , if a grid cell is more than 50 percent water but contains an air quality monitor,
that cell would remain in the calculation). 11 For each individual monito ring site, the base period
2009-2013 average and maximum design values, 2023 projected average and maximum design
values based on both the "3 x 3" approach and the alternative approach affecting coastal sites, and
20 14-2016 measured design values are provided in an attachment to the October 27 memorandum.
The same information is available in Excel format at https:l/www.epa.gov/airmarkets/october-
2017-memo-and-informalion-inlerstate-transport-sips-2008-ozone-naaqs.

        In the CSAPR Update rulemaking process, EPA considered a combination of monitoring
data and modeling projections to identify receptor sites that are projected to have problems
attaining or maintaining the NAAQS. 12 Specifically, EPA identified nonattainment receptors as
those monitoring sites with current measured values exceeding the NAAQS that also have
projected (i.e. , in 2023) average design values exceeding the NAAQS. EPA identified maintenance
receptors as those monitoring sites with maximum design values exceeding the NAAQS. This
included sites with current measured values below the NAAQS with projected average and
maximum design values exceeding the NAAQS, and monitoring sites with projected average
design values below the NAAQS but with proj ected maximum design values exceeding the
NAAQS. The projected 2023 ozone design values and 2014-20 16 measured design values for
monitors in the United States have not changed since they were first presented in the October 2017
memorandum.



7 CAMx v6.40 was the most recent public release version of CAMx at the time EPA updated its modeling in fa ll
20 17. ("Comprehensive Air Quality Model with Extension version 6.40 User's Guide" Ramboll Environ, December
2016. ht1p://www.camx.com/.)
8 For the updated modeling, EPA used the construct of the modeling platform (i.e., modeling domain and non-

emissions inputs) that we used for the NODA modeling, except that the photolysis rates fil es were updated to be
consistent with CAMx v6.40. The NODA Air Quality Modeling Technical Support Document describing the
modeling platform is available at ht1ps:llwww.epa.gov/ airmarketslnotice-data-availability-prelimina,y-interstate-
ozone-transport-modeling-data-2015-ozone.
9ht1p:l/www.epa.gov/ t1nlscramlguidancelg11ide/Draft_ O3-PM-RH_ Modeling_ Guidance-2014.pdf
10 EPA's modeling uses 12 kilometer2 grid cells.
11 A model grid cell is identified as a "water" cell if more than 50 percent of the grid cell is water based on the 2006
National Land Cover Database. Grid cells that meet this criterion are treated as entirely over water in the Weather
Research Forecast (WRF) modeling used to develop the 2011 meteorology for EPA 's air quality modeling.
12
   See 81 FR 74530-74532 (October 26, 2016).

                                                           4
        Case: 23-60069          Document: 110           Page: 998        Date Filed: 03/27/2023




       In this memorandum, EPA is identifying 2023 potential nonattainment and maintenance
receptors with respect to the 2015 NAAQS, following its approach taken for previous NAAQS.
This information is based on applying the CSAPR method for identifying potential nonattainment
and maintenance receptors, and presents the design values in two ways: first, following the "3 x
3" approach to evaluating all sites, and second, following the modified approach for coastal
monitoring sites in which "overwater" modeling data were not included in the calculation of future
year design values. After incorporating these approaches, the modeling results suggest, based on
the approach used for previous NAAQS, 11 monitoring sites outside of California as potential
nonattainment receptors and 14 monitoring sites outside of California as potential maintenance
receptors. See Attachment B for this receptor information.

Air Quality Modeling of 2023 Contributions
        After identifying potential downwind air quality problems by projecting base period 2009-
2013 average and maximum ozone design values to 2023 at monitoring sites nationwide, EPA next
performed nationwide, state-level ozone source apportionment modeling using the CAMx
Anthropogenic Precursor Culpability Analysis (APCA) technique 13 to provide information
regarding the expected contribution of 2023 base case nitrogen oxides (NOx) and volatile organic
compound (VOC) emissions from all sources in each state to projected 2023 ozone concentrations
at each air quality monitoring site. In the source apportionment model run, EPA tracked the ozone
formed from each of the following contribution categories (i.e., " tags"):

    •   States- anthropogenic NOx and VOC emissions from each of the contiguous 48 states and
        the District of Columbia tracked individually (EPA combined emissions from all
        anthropogenic sectors in a given state);
    •   Biogenics - biogenic NOx and VOC emissions domain-wide (i.e., not by state);
    •   Initial and Boundary Concentrations - concentrations transported into the modeling domain
        from the lateral boundaries;
    •   Tribal Lands - the emissions from those tribal lands for which EPA has point source
        inventory data in the 2011 NEI (EPA did not model the contributions from individual
        tribes);
    •   Canada and Mexico - anthropogenic emissions from sources in those portions of Canada
        and Mexico included in the modeling domain (EPA did not separately model contributions
        from Canada or Mexico);
    •   Fires - combined emissions from wild and prescribed fires domain-wide (i.e. , not by
        state); and
    •   Offshore - combined emissions from offshore marine vessels and offshore drilling
        platforms (i.e., not by state).

       EPA perfom1ed the CAMx source apportionment model simulation for the period May 1
through September 30 using the 2023 future base case emissions and 2011 meteorology for this



13 As part of this technique, ozone formed from reactions between biogenic and anthropogenic VOC and

NOx are assigned to the anthropogenic emissions.


                                                       5
         Case: 23-60069            Document: 110          Page: 999        Date Filed: 03/27/2023




time period. 14 EPA processed hourly contributions 15 from each tag to obtain the 8-hour average
contributions corresponding to the time period of the 8-hour daily maximum concentration on each
day in the 2023 model simulation. This step was performed for those model grid cells containing
monitoring sites to obtain 8-hour average contributions for each day at the location of each site.
EPA then processed the model-predicted contributions on each day at each monitoring site location
to identify the contributions on the subset of days in the 2023 modeling with the top 10 model-
predicted maximum daily 8-hour average concentrations. The daily 8-hour average contributions
on the top 10 concentration days in 2023 were applied in a relative sense to quantify the
contributions to the 2023 average design value at each site.

       In the CSAPR and CSAPR Update modeling efforts, EPA had used a slightly different
approach by basing the average future year contribution on future year modeled values that
exceeded the NAAQS or the top 5 days, whichever was greater. While technically sound, EPA ' s
previous approach resulted in different contributions for an individual linkage depending on the
level of the NAAQS. For the modeling effort described in this memorandum, EPA considered
comments on the January 2017 NODA and developed and incorporated the flexibility of calculating
the contribution metric using contributions on the top l O future year days. As some commenters
have indicated, this approach makes the contribution metric values more consistent across
monitoring sites and more robust in terms of being independent of the level of the NAAQS. The
contributions from each tag to each monitoring site identified as a potential nonattainment or
maintenance receptor in 2023 are provided in Attachment C. 16

Conclusion
         States may consider using this national modeling to develop SIPs that address requirements
of the good neighbor provision for the 20 15 ozone NAAQS. When doing so, EPA recommends
that states include in any such submission state-specific information to support their reliance on
the 2023 modeling data. Further, states may supplement the information provided in this
memorandum with any additional information that they believe is relevant to addressing the good
neighbor provision requirements. States may also choose to use other information to identify
nonattainment and maintenance receptors relevant to development of their good neighbor SIPs. If
this is the case, states should submit that information along with a full explanation and technical
analysis. EPA encourages collaboration among states linked to a common receptor and among
linked upwind and downwind states in developing and implementing a regionally consistent
approach. We recommend that states reach out to EPA Regional offices and work together to
accomplish the goal of developing, submitting, and reviewing approvable SIPs that address the
good neighbor provision for the 2015 ozone NAAQS.

       Finally, as indicated previously in this memorandum, in addition to the flexibilities already
incorporated into EPA 's modeling effort (i.e. , considering the removal of modeled values in "over
water" grid cells and EPA' s modified approach for calculating the contribution metric), EPA is


14   See the October 2017 memorandum for a description of these model inputs.
15 Ozone contributions from anthropogenic emissions under "NOx-limited" and "VOC-limited" chemical regimes
were combined to obtain the net contribution from NOx and VOC anthropogenic emissions in each state.
16 Given stakeholder input on the 2017 NODA and other analyses, EPA elected to represent the contribution

information in this memorandum using the alternative approach for projecting design values for sites in coastal
areas.

                                                          6
      Case: 23-60069        Document: 110        Page: 1000       Date Filed: 03/27/2023




evaluating whether states may have additional flexibilities as they work to prepare and submit
approvable good neighbor SIPs for the 2015 ozone NAAQS (see Attachment A). EPA looks
forward to discussing these and other potential flexibilities with states over the next few months,
which will help inform states' development of their good neighbor SIP submittals, as well as
EPA's development of further information on good neighbor SIPs.

       Please share this information with the air agencies in your Region.

For Further Information
       If you have any questions concerning this memorandum, please contact Norm Possiel at
(919) 541-5692, possiel.norm@epa.gov for modeling information or Beth Palma at (919) 541-
5432, palma. elizabeth@epa.gov for any other information.

Attachments
A. Preliminary List of Potential Flexibilities Related to Analytical Approaches for Developing a
   Good Neighbor State Implementation Plan                                            ·
B. Projected Ozone Design Values at Potential Nonattainment and Maintenance Receptors
   Based on EPA' s Updated 2023 Transport Modeling
C. Contributions to 2023 8-hour Ozone Design Values at Proj ected 2023 Nonattainment and
   Maintenance Sites




                                                 7
       Case: 23-60069        Document: 110         Page: 1001       Date Filed: 03/27/2023




                                           Attachment A
Preliminary List of Potential Flexibilities Related to Analytical Approaches for Developing
                       a Good Neighbor State Implementation Plan


         The Environmental Protection Agency believes states may be able to consider certain
approaches as they develop good neighbor state implementation plans (SIPs) addressing the 2015
ozone National Ambient Air Quality Standards (NAAQS). To that end, EPA has reviewed
comments provided in various forums, including comments on EPA's January 2017 Notice of Data
Availability (NODA) regarding ozone transport modeling data for the 2015 ozone NAAQS, and
seeks feedback from interested stakeholders on the following concepts. This list is organized in
the familiar four-step transport framework discussed on pages 2-3 of the memorandum above, but
EPA is open to alternative frameworks to address good neighbor obligations or considerations
outside the four-step process. The purpose of this attachment is to identify potential flexibilities to
inform SIP development and seek feedback on these concepts. EPA is not at this time making any
determination that the ideas discussed below are consistent with the requirements of the CAA, nor
are we specifically recommending that states use these approaches. Determinations regarding
states' obligations under the good neighbor provision would be made through notice-and-comment
rulemaking.
       EPA has identified several guiding principles to consider when evaluating the
appropriateness of the concepts introduced in this attachment, including:
   •    Supporting states' position as " first actors" in developing SIPs that address section
         l l0(a)(2)(D) of the CAA;
   •    Consistency with respect to EPA's SIP actions is legally required by the statute and
        regulations (see CAA § 301 (a)(2) and 40 CFR part 56) and is a particularly acute issue
        with respect to regional transport issues in which multiple states may be implicated;
   •    Compliance with statutory requirements and legal precedent from court decisions
        interpreting the CAA requirements;
   •    Encouraging collaboration among states linked to a common receptor and among linked
        upwind and downwind states in developing and applying a regionally consistent approach
        to identify and implement good neighbor obligations; and
   •    The potential value of considering different modeling tools or analyses in addition to
        EPA's, provided that any alternative modeling is performed using a credible modeling
        system which includes "state-of-the-science" and "fit for purpose" models, inputs, and
        techniques that are relevant to the nature of the ozone problem. The use of results from
        each alternative technique should be weighed in accordance with the scientific
        foundation, construct and limitations of the individual techniques.

        EPA intends to reflect on feedback received on these concepts and communicate closely
with air agencies as they prepare and submit SIPs to address the good neighbor provisions for the
2015 ozone NAAQS.




                                                 A-1
     Case: 23-60069         Document: 110       Page: 1002       Date Filed: 03/27/2023




Analytics
  • Consideration of appropriate alternate base years to those used in EPA's most recent
       modeling (e.g., appropriate alternative base years should be selected consistent with EPA's
      air quality modeling guidance suggesting that years with meteorology conducive to ozone
      formation are appropriate).
   • Consideration of an alternate future analytic year. EPA has identified 2023 as an
       appropriate analytic year to consider when evaluating transport obligations for the 2015
       ozone NAAQS; however, another year may also be appropriate.
   • Use of alternative power sector modeling consistent with EPA's emission inventory
       guidance.
   • Consideration of state-specific information in identifying emissions sources [e.g., electric
       generating units (EGUs) and non-EGUs] and controls (e.g., combustion/process controls,
       post-combustion controls) that are appropriate to evaluate.
Step 1 - Identify downwind air quality problems
   • Identification of maintenance receptors.
       - Evaluate alternative methodologies to give independent meaning to the term "interfere
           with maintenance" under CAA section 11 0(a)(2)(D)(i)(l).
       - Identify maintenance receptors that are at risk of exceeding the NAAQS (even if they
           do not currently violate the standard) using an alternative approach that does not rely
           on the projection of maximum design values.
       - Identify maintenance receptors where current, presumably "clean," measured data are
           shown through analysis to occur during meteorological conditions conducive to ozone
           formation such that exceedances are unlikely to reoccur in the future.
   • Consideration of downwind air quality context.
        - Consider the role of designations issued in FY 2018 based on approved air quality
           monitors.
       - Assess current and projected local emissions reductions and whether downwind areas
           have considered and/or used avai lable mechanisms for regulatory relief.
   • Consideration of model performance.
        - Consider removal of certain data from modeling analysis for the purposes of projecting
           design values and calculating the contribution metric where data removal is based on
           model performance and technical analyses support the exclusion.
Step 2 - Identify upwind states that contribute to those downwind air quality problems to
warrant further review and analysis
   • Considerations related to determining contributions.
       - EPA has used the Anthropogenic Precursor Culpability Analysis (APCA) approach
           for the purpose of quantifying contribution to downwind receptors. We have received
           questions regarding the use of other modeling approaches (e.g. , Ozone Source
           Apportionment Technology, Decoupled Direct Method, and zero-out brute force
           sensitivity runs) to help quantify ozone impacts from upwind states.
   • Considerations related to evaluating contributions (contributions contained in Attachment
        C are not based upon a particular significance threshold).
        - Establishing a contribution threshold based on variability in ozone design values that
           leverage some of the analytics and statistical data created to support the development
           of the Significant Impact Level for ozone.
                                               A-2
         Case: 23-60069         Document: 110           Page: 1003         Date Filed: 03/27/2023




             Consideration of different contribution thresholds for different regions based on
             regional differences in the nature and extent of the transport problem.
             An evaluation of "collective contribution" in the receptor region to determine the extent
             to which a receptor is "transport influenced." The results of this analysis could be
             applied before assessing whether an individual state is linked to a downwind receptor
             (i.e., above the contribution threshold).

Step 3 - Identifying air quality, cost, and emission reduction factors to be evaluated in a
multifactor test to identify emissions that significantly contribute to nonattainment or
interfere with maintenance of the NAAQS downwind, if any
•    Consideration of international emissions, in a manner consistent with EPA' s Ozone
     Cooperative Compliance Task Force efforts to fully understand the role of background ozone
     levels and appropriately account for international transport. 17
             Develop consensus on evaluation of the magnitude of international ozone contributions
             relative to domestic, anthropogenic ozone contributions for receptors identified in step
             1. As contained in Attachment C, EPA recognizes that a number of non-U.S. and non-
             anthropogenic sources contribute to downwind nonattainment and maintenance
             receptors.
             Consider whether the air quality, cost, or emission reduction factors should be weighted
             differently in areas where international contributions are relatively high.
•    For states that are found to significantly contribute to nonattainment or interfere with
     maintenance of the NAAQS downwind, apportioning responsibility among states.
             Consider control stringency levels derived through " uniform-cost" analysis of NOx
             reductions.
             Consider whether the relative impact (e.g., parts per billion/ton) between states is
             sufficiently different such that this factor warrants consideration in apportioning
             responsibility.
•    Considerations for states linked to maintenance receptors.
             Consider whether the remedy for upwind states linked to maintenance receptors could
             be less stringent than for those linked to nonattainment receptors.
             For example, consider whether upwind states could satisfy linkage(s) to maintenance
             receptors based on recent historic or base case emissions levels.

Step 4 - Adopt permanent and enforceable measures needed to achieve emissions reductions
(translating the control levels identified in Step 3 into enforceable emissions limits)
     •    EPA welcomes concepts from stakeholders regarding Step 4, including potential EPA
          actions that could serve as a model as well as the relationship to previous transport rules.




17See Final Report on Review ofAgency Actions that Potentially Burden the Safe, Efficient Development of
Domestic Energy Resources Under Executive Order 13783 (October 25, 20 17) and Report to Congress on
Administrative Options to Enable States to Enter into Cooperative Agreements lo Provide Regulatory Relieffor
Implementing Ozone Standards (August 14, 20 17).

                                                      A-3
     Case: 23-60069            Document: 110         Page: 1004     Date Filed: 03/27/2023




                                             Attachment B

 Projected Ozone Design Values at Potential Nonattainment and Maintenance Receptors
                  Based on EPA's Updated 2023 Transport Modeling

       This attachment contains projected ozone design values at those individual monitoring sites
that are projected to be potential nonattainment or maintenance receptors based on the
Environmental Protection Agency's updated transport modeling for 2023. The scenario name for
the updated modeling is "2023en." The data are in units of parts per billion (ppb).
The following data are provided in the table below:
1. Base period 2009 - 2013 average and maximum design values based on 2009 - 2013 measured
   data.

2. Projected 2023 average and maximum design values based on the "3 x 3" approach and a
   modified "3 x 3" approach in which model predictions in grid cells that are predominately
   water and that do not contain monitors are excluded from the projection calculations ("No
   Water"). Note that the modified approach only affects the projection of design values for
   monitoring sites in or near coastal areas.

3. 2016 ozone design values based on 2014 - 2016 measured data (NIA indicates that a 2016
   design value is not available). The following Web site has additional information on the 2016
   design values: https:/lwww.epa.gov/air-trends/air-quality -design-values#report.

Note: A value of70.9 ppb (or less) is considered to be in attainment of the 2015 ozone NAAQS,
and a value of 71.0 ppb ( or higher) is considered to be in violation of the 2015 ozone NAAQS.

Note also: Site 550790085 in Mi lwaukee Co., WI would be a nonattainment receptor using
projected design values based on the "No Water" cell approach, but would not be a receptor with
the "3 x 3" approach. Conversely, site 360850067 in Richmond Co., NY would be a nonattainment
receptor using the "3 x 3" approach, but would not be a receptor with the "No Water" cell approach.

                                                                          2023en   2023en
                                     2009-     2009-    2023en   2023en
    Site                                                                   "No      " No     2014-
              St       Count y       2013      2013      "3x3"    "3x3"
     ID                                                                   Water"   Water"    2016
                                      Avg       Max       Avg      Max
                                                                           Avg      Max
  40130019    AZ   Maricopa           76.7      79       69.3     71.4     69.3     71.4       73
  40131004    AZ   Maricopa           79.7      81       69.8     71.0     69.8     71.0       75
  60190007    CA   Fresno             94.7      95       79.2     79.4     79.2     79.4       86
  60190011    CA   Fresno             93.0      96       78.6     81.2     78.6     81.2       89
  60190242    CA   Fresno             91.7      95       79.4     82.2     79.4      82.2      86
  60194001    CA    Fresno            90.7      92       73.3     74.4     73.3      74.4      91
  60195001    CA    Fresno            97.0      99       79.6     81.2     79.6      81.2      94
  60250005    CA    Imperial          74.7      76       73.3     74.6     73.3      74.6      76
  60251003    CA    Imperial          81.0      82       79.0     80.0     79.0      80.0      76
  60290007    CA    Kern              91.7      96       77.7     81.3     77.7      81.3      87


                                                 B- 1
   Case: 23-60069           Document: 110        Page: 1005     Date Filed: 03/27/2023




                                                                      2023en   2023en
                                  2009-    2009-    2023en   2023en
 Site                                                                  "No      "No      2014-
           St       County        2013     2013      "3x3"    "3x3"
  ID                                                                  Water"   Water"    2016
                                   Avg      Max       Avg      Max
                                                                       Avg      Max
60290008   CA   Kern              86.3      88       71.3     72.8     71.3     72.8      81
60290014   CA   Kern              87.7      89       74.1     75.2     74.1     75.2      84
60290232   CA   Kern              87.3      89       73.7     75.2     73.7     75.2      77
60295002   CA   Kern              90.0      91       75.9     76.8     75.9     76.8      87
60296001   CA   Kern              84.3      86       70.9     72.4     70.9     72.4      81
60311004   CA   Kings             87.0      90       71.7     74.2     71.7     74.2      84
60370002   CA   Los Angeles       80.0      82       73.3     75.1     73.3     75.1      88
60370016   CA   Los Angeles       94.0      97       86.1     88.9     86.1     88.9      96
60371201   CA   Los Angeles       90.0      90       79.8     79.8     79.8     79.8      85
60371701   CA   Los Angeles        84.0     85       78.1     79.1     78.1     79.1      90
60372005   CA   Los Angeles        79.5     82       72.3     74.6     72.3     74.6      83
60376012   CA   Los Angeles        97.3     99       85.9     87.4     85.9     87.4      96
60379033   CA   Los Angeles        90.0     91       76.3     77.2     76.3     77.2      88
60392010   CA   Madera             85.0     86       72.1     72.9     72.1     72.9      83
60470003   CA   Merced             82.7     84       69.9     71.0     69.9     71.0      82
60650004   CA   Riverside          85.0     85       76.7     76.7     76.7     76.7     N/A
60650012   CA   Riverside          97.3     99       83.6     85.1     83.6     85.1      93
60651016   CA   Riverside         100.7     101      85.2     85.5     85.2     85.5      97
60652002   CA   Riverside          84.3     85       72.4     73.0     72.4     73.0      81
60655001   CA   Riverside          92.3     93       79.5     80.1     79.5     80.1      87
60656001   CA   Riverside          94.0     98       78.3     81.6     78.3     81.6      91
60658001   CA   Riverside          97.0     98       87.0     87.9     87.0     87.9      94
60658005   CA   Riverside          92.7     94       83.2     84.4     83.2     84.4      91
60659001   CA   Riverside          88.3     91       73.7     75.9     73.7     75.9      86
60670012   CA   Sacramento         93.3     95       74.5     75.9     74.5     75.9      83
60675003   CA   Sacramento         86.3     88       69.9     71.3     69.9     71.3      79
60710005   CA   San Bernardino    105.0     107      96.2     98.1     96.2     98.1      108
60710012   CA   San Bernardino     95.0     97       84.1     85.8     84.1     85.8      91
60710306   CA   San Bernardino     83.7     85       76.2     77.4     76.2     77.4      86
60711004   CA   San Bernardino     96.7     98       89.8     91.0     89.8     91.0      101
60712002   CA   San Bernardino    101.0     103      93.1     95.0     93.1     95.0      97
60714001   CA   San Bernardino     94.3     97       86.0     88.5     86.0     88.5      90
60714003   CA   San Bernardino    105.0     107      94.1     95.8     94.1     95.8      101
60719002   CA   San Bernardino     92 .3    94       80.0     81.4     80.0     81.4      86
60719004   CA   San Bernardino     98.7     99       88.4     88.7     88.4     88.7      104
60990006   CA   Stanislaus         87 .0    88       74.8     75.7     74.8     75.7      83
61070006   CA   Tulare             81.7     85       69.1     71.9     69.1     71.9      84
61070009   CA   Tulare             94.7     96       76.1     77.2     76.1     77.2      89


                                              8-2
    Case: 23-60069           Document: 110        Page: 1006     Date Filed: 03/27/2023




                                                                      2023en   2023en
                                   2009-   2009-    2023en   2023en
  Site                                                                 "No       "No      2014-
            St       County        2013    2013      "3x3"    "3x3"
   ID                                                                 Water"   Water"     2016
                                    Avg     Max       Avg      Max
                                                                       Avg      Max
61072002    CA   Tu lare           85.0      88      68.9      71.4    68.9     71.4       80
61072010    CA   Tulare            89.0      90      73.1      73.9    73.1     73.9       83
61112002    CA   Ventura           81.0      83      70.5      72.2    70.5     72.2       77
80050002    co   Arapahoe          76.7      79      69.3      71.3    69.3     71.3      N/A
80350004    co   Douglas           80.7      83      71.1      73.2    71.1     73.2       77
80590006    co   Jefferson         80.3      83      71.3      73.7    71.3     73.7       77
80590011    co   Jefferson         78.7      82      70.9      73.9    70.9     73.9       80
80690011    co   Larimer           78.0      80      71.2      73.0    71.2      73.0      75
81230009    co   Weld              74.7      76      70.2      71.4    70.2     71.4       70
90010017    CT   Fairfield         80.3      83      69.8      72.1    68.9      71.2      80
90013007    CT   Fairfield         84.3      89      71.2      75.2    71.0      75.0      81
90019003    CT   Fairfield         83.7      87      72.7      75.6    73.0      75.9      85
90099002    CT   New Haven         85.7      89      71.2      73.9    69.9      72.6      76
240251001   MD   Harford           90.0      93      71.4      73.8    70.9      73.3      73
260050003   Ml   Allegan           82.7      86      69.0      71.8    69.0      71.7      75
261630019   Ml   Wayne             78.7      81      69.0      71.0    69.0      71.0      72
360810124   NY   Queens            78.0      80      70.1      71.9    70.2      72.0      69
360850067   NY   Richmond          81.3      83      71.9      73.4    67.1      68.S      76
361030002   NY   Suffolk           83.3      85      72.5      74.0    74.0      75.5      72
480391004   TX   Brazoria          88.0      89      74.0      74.9    74.0      74.9      75
481210034   TX   Denton            84.3      87      69.7      72.0    69.7      72.0      80
482010024   TX   Harris            80.3      83      70.4      72.8    70.4      72.8      79
482011034   TX   Harris            81.0      82      70.8      71.6    70.8      71.6      73
482011039   TX   Harris            82.0      84      71.8      73.6    71.8      73.S      67
484392003   TX   Tarrant           87.3      90      72.5      74.8    72.5      74.8      73
550790085   WI   Milwaukee         80.0      82      65.4      67.0    71.2      73.0      71
551170006   WI   Sheboygan          84.3     87      70.8      73.1    72.8      75.1      79




                                              8-3
      Case: 23-60069             Document: 110           Page: 1007         Date Filed: 03/27/2023




                                                Attachment C
                 Contributions to 2023 8-hour Ozone Design Values at Projected
                          2023 Nonattainment and Maintenance Sites


         This attachment contains tables with the projected ozone contributions from 2023
anthropogenic nitrogen oxide and volatile organic compound emissions in each state to each
potential nonattainment receptor and maintenance receptor (based on the 2015 ozone National
Ambient Air Quality Standards) in the United States, following the approach for identification of
such receptors EPA has used in the past, with slight modification. 18 In addition to the state
contributions, we have included the contributions from each of the other categories tracked in the
contribution modeling, including point source emissions on Tribal lands, anthropogenic emissions
in Canada and Mexico, emissions from offshore sources, fires, biogenics, and contributions from
initial and boundary concentrations.
        The contribution information is provided in a three-part table for all of the projected
receptors throughout the country, except California, and a separate three-part table for the
projected receptors in California. For each monitoring site, we provide the site ID, county name,
and state name in the first three columns of the table. This information is followed by columns
containing the projected 2023 average and maximum design values based on the "No Water" cell
approach. Next, in Parts 1 and 2 of each table, we provide the contributions from each state and
the District of Columbia, individually. Finally, in Part 3 of each table, we provide the contributions
from the Tribal lands, Canada and Mexico, offshore, fires, initial and boundary concentrations
(Boundary), and biogenics categories. The units of the 2023 design values and contributions are
parts per billion (ppb). Note that the contributions presented in these tables may not sum exactly
to the 2023 average design value due to truncation of the contributions to two places to the right
of the decimal.




18 For the purposes of creating the contribution tables, data are provided for sites identified as potential

nonattainment and maintenance receptors using projected design values based on the "No Water" cell approach. In
addition, we provide the contributions to the Richmond Co., NY site that would be a nonattainment receptor in the
"3 x 3" approach.

                                                       C-1
                                             Case: 23-60069                           Document: 110                   Page: 1008                Date Filed: 03/27/2023
                                Contributions to 2023 Nonattainment and Maintenance Sites Outside of California (Part I)
                          2023e n  2023e n
 Site ID     County State Average Maximum     AL      AZ     AR      CA       CO        CT      DE    DC       FL     GA      ID      IL      IN     IA     KS    KY      LA     ME      MO     MA      Ml     MN     MS     MO      MT
 40130019 Maricopa  AZ     69.3      71.4    0.00    25.19   0.00    1.87    0.03      0.00    0.00   0.00    0.00    0.00   0.01    0.00    0.00   0.00   0.00   0.00    0.02   0.00   0.00    0.00   0.00    0.00   0.00   0.00    0.00
 40131004 Maricopa  AZ     69.8      71.0    0.00    27.40   0.00    2.03    0.02      0.00    0.00   0.00    0.00    0.00   0.01    0.00    0.00   0.00   0.00   0.00    0.01   0.00   0.00    0.00   0.00    0.00   0.00   0.00    0.00
 80050002 Arapahoe  CO     69.3      71.3    0.00     0.29   0.00    1.20    22.94     0.00    o.oo   0.00    0.00    0.00   0.19    0.00    o.oo   0.00   0.28   0.00    0.02   o.oo   0.00    0.00   0.00    0.00   0.00   0.01    0.02
 80350004 Douglas   CO      71.l     73.2    0.00     0.38   0.01    1.27    24.71     0.00    0.00   0.00    0.00    0.00   0.18    0.00    0.00   0.00   0.26   0.00    0.03   0.00   0.00    0.00   o.oo    0.00   0.00   0.01    0.01
                           71.3      73.7    0.01     0.49   0.03    1.32    25.52     0.00    0.00   0.00    0.00    0.00   0.13    0.00    0.00   0.00   0.27   0.00    0.05   0.00   0.00    0.00   0.00    0.00   0.01   0.03    0.03
 80590006 Jefferson CO
 80590011 Jefferson CO      70.9     73.9    0.01     0.30   0.02    1.50    24. 72    0.00    0.00   0.00    0.00    0.00   0 .12   0.00    0.00   0.00   0.32   0.00    0.04   0.00   0.00    0.00   0.00    o.oo   0.01   0.02    0.02
 80690011 Larimer   CO      71.2     73.0    0.00     0.46   0.00    1.55    21. 74    0.00    0.00   0.00    0.00    0.00   0 .13   0.00    0.00   0.00   0.10   0.00    0.02   0.00   0.00    o.oo   0.00    0.00   0.00   0.00    0.07
 8123(XX)9 Weld     CO      70.2     71.4    0.01     0.49   0.02    0.95    24.44     0.00    0.00   0.00    0.00    0.01   0 .06   0.00    0.00   0.00   0.09   0.00    0.06   0.00   0.00    0.00   0.00    0.00   0.01   0.01    0.04
 90010017 Fairfield CT      68.9     71.2    0.08     0.03   0.07    0.03     0.07     8. 70   0.18   0.04    0.02    0.09   0.01    0.39    0.44   0.11   0.09   0.34    0.05   0.01    1.18   0.06   0.50    0.17   0.03   0.21    0.03
 90013007 Fairfield CT      71.0     75.0    0.14     0.05   0.13    0 .05    0.09     4.64    0.35   0.06    0.05    0.17   0.01    0.72    0.97   0.16   0.13   0.89    0.11   0.01    1.80   o.u    0. 70   0.15   0.07   0. 38   0.02
 90019003 Fairfield CT      73.0     75.9    0.14     0.05   0.13    0.05     0.09     3. 71   0.40   0.08    0.05    0.17   0.01    0.67    0.83   0.17   0.13   0. 79   0.11   0.00    2.17   0.10   0.63    0.14   0.07   0. 37   0.02
 90099002 New Haven CT      69.9     72.6    0.06     0.04   0.08    0.05     0.08     9.10    0.30   0.04    0.02    0.07   0.02    0.46    0.50   0.16   0.14   0.32    0.08   0.01    1.37   0.18   0. 73   0.19   0.04   0.29    0.04
240251001 Harford   MD      70.9     73.3    0.31     0.07   0.17    0.07     0.12     0.00    0.03   0.65    0.11    0.32   0.02    0.84    1.35   0.23   0.23   1.52    0.19   0.00   22.60   0.00   0.79    0.13   0.08   0.59    0.04
260050003 Allegan   Ml      69.0     71.7    0.35     0.08   1.64    0.09     0.18     0.00    0.00   0.00    0.09    0.18   0.03    19.62   7.11   0.77   0.77   0.58    0.70   0.00   0.01    0.00    3.32   0.11   0.40   2.61    0.06
261630019 Wayne     Ml      69.0     71.0    0.11     0.07   0.27    0.13     0.17     0.00    o.oo   0.00    0.05    0.09   0.05     2.37   2.51   0.44   0.44   0.65    0.22   0.00    0.02   0.00   20.39   0.31   0.09   0.92    0.08
                            70.2     72.0    0.11     0.06   0.09    0.08     0.11     0.57    0.38   0.05    0.07    0.16   0.03    0.73    0.69   0.26   0.19   0.42    0.13   0.00    1.56   0.24    1.26   0.17   0.04   0.38    0.05
360810124 Queens    NY
360850067 Richmond  NY      67.1     68.5    0.24     0.08   0.13    0.09     0.12     0.27    0.43   0.05    0.09    0.28   0.02    0.80    0.92   0.23   0.21   0.84    0.16   0.00    1.74   0.03   0.98    0.U    0.08   0.46    0.03
                            74.0     75.5    0.12     0.06   o.u     0.08     0.11     0.83    0.22   0.04    0.04    0.12   0.03    0.64    0.69   0.20   0.20   0.49    0.13   0.01    1.24   0.04   0.94    018    0.06   0.39    0.06
361030002 Suffolk   NY
                            74.0     74.9    0.35     0.08   0.90    0.21     0.30     0.00    0.00   0.00    0.21    0.14   0.08     1.00   0.32   0.40   0.47   0.14    3.80   0.00    0.00   0.00   0.22    034    0.63   0.88    0.10
480391004 Brazoria  TX
481210034 Denton    TX      69.7     72.0    0.49     0.07   0.58    0.13     0.27     0.00    o.oo   0.00    0.27    0.34   0.06     0.23   0.16   0.10   0.40   0.11    1.92   0.00    0.01   0.00   0.08    011    0.33   0.24    0.07
482010024 Harris    TX      70.4     72.8    0.39     0.04   0.29    0.12     0.13     0.00    0.00   0.00    0. 39   0.26   0.05     0.34   0.13   0.17   0.17   0. 10   3.06   0.00    0.00   0.00   0.06    006    0.50   0.38    0.05
482011034 Harris    TX      70.8     71.6    0.32     0.03   0.54    0.10     0.15     0.00    0.00   o.oo    0.53    0.16   0.04     0.51   0.12   0.27   0.32   0.05    3.38   0.00    0.00   0.00   0.17    023    0.39   0.63    0.05
482011039 Harris    TX      71.8     73.5    0.37     0.04   0.99    0.12     0.20     0.00    0.00   0.00    0.23    0.13   0.05     0.88   0.24   0.33   0.33   0.11    4.72   0.00    0.00   0.00    0.27   om     0.79   0.88    0.07
                            72.5     74.8    0.37     0.08   o. 78   0.15     0.33     0.00    0.00   0.00    0.18    0.26   0.07     0.29   0.18   0.19   0.69   0.13    1.71   0.00    0.01   0.00    0.13   015    0.27   0.38    0.10
484392003 Tarrant   TX
550790085 Milwaukee WI      71.2     73.0    0. 14    0.04   0.40    0.07     0.08     0.00    o.oo   0.00    0.06    0.06   0.03    15.10   5.28   0.79   0.35   0.77    0.72   0.00    0.03   0.00    2.01   040    0.28   0.93    0.10
551170006 Sheboygan WI      72.8     75.1    0.14     0.08   0.51    0.12     0.11     0.00    0.00   0.00    0.07    0.07   0.04    15.73   7.11   0.45   0.46   0.81    0.84   o.oo    0.03   0.00    2.06   028    0.30   1.37    0.06




                                                                                                             C-2
                                                   Case: 23-60069                Document: 110                  Page: 1009                Date Filed: 03/27/2023
                                      Contributions to 2023 Nonattainment and Maintenance Sites Outside of California (Part 2)

                              2023e n    2023e n
Site 10      County     State Average Maximum       NE    NV     NH      NJ     NM     NY      NC     ND     OH     OK     OR     PA       RI    SC     SD     TN       TX    UT     VT     VA     WA     WV     WI      WY
40130019  Maricopa      AZ      69.3    71.4       0.00   0.09   0.00   o.oo    0.09   0.00    0.00   0.00   0.00   0.02   0.05   0.00    0.00   0.00   0.00   0.00   0.22    0.06   0.00   0.00   0.02   0.00   0.00    0.01
40131004  Maricopa      AZ     69.8       71.0     0.00   0.14   0.00   0.00    0.04   0.00    0.00   0.00   0.00   0.01   0.06   0.00    0.00   0.00   0.00   0.00   0.11    0.06   0.00   0.00   0.03   0.00   0.00    0.00
8005<XXJ2 Arapahoe      co     69.3       71.3     0.34   0.33   0.00   0.00    0.22   0.00    0.00   0.00   0.00   0.12   0.11   0.00    0.00   o.oo   0.02   0.00   0.30    1.23   0.00   0.00   0.04   0.00   0.00    1.04
803S<XX)4 Douglas       CO     71.1       73.2     0.32   0.32   0.00   0.00    0.22   0.00    0.00   0.00   0.00   0.12   0.10   0.00    0.00   0.00   0.02   0.00   0.36    1.08   0.00   0.00   0.04   0.00   o.oo    1.00
80590006 Jefferson      co     71.3       73.7     0.41   0.31   0.00   0.00    0.70   0.00    0.00   0.00   0.00   0.24   0.10   0.00    0.00   0.00   0.02   0.00    1.02   0.83   0.00   0.00   0.04   0.00   0.00    0.81
8059<Xlll Jefferson     co     70.9       73.9     0.36   0.38   0.00   0.00    0.38   0.00    0.00   0.00   0.00   0.18   0.10   0.00    0.00   0.00   0.02   0.00   0.94    1.04   0.00   0.00   0.03   0.00   0.00    1.03
80690011 Larimer        co     71.2       73.0     0.25   0.37   o.oo   0.00    0.52   0.00    0.00   0.00   0.00   0.05   0.10   0.00    o.oo   0.00   0.03   0.00   0.40    1.05   0.00   0.00   0.10   0.00   0.00    0.88
 812300J9 Weld          CO     70.2       71.4     0.27   0.24   o.oo o.oo o. n        o.oo o.oo      0.00   0.00   0.08   0.04   0.00    0.00   0.00   0.03   0.00    1.05   0.54   0.00   0.00   0.05   0.00   0.00    0.58
 90010017 Fairfield .   CT     68.9       71.2     0.06   0.00   0.01   6.24    0.04   17.31   0.29   0.07   1.04   0.15   0.00   5.11    0.01   0.06   0.03   0.15   0.30    0.03   0.01   1.27   0.02   0.68   0.26    0.07
 90013007 Fairfield     CT     71.0       75.0     0.Q7   0.01   0.02   6.94    0.06   14.12   0.40   0.07   1.84   0.21   0.00   6.32    0.02   0.11   0-02   0.31   0.44    0.04   0.01   1.51   0.01   1.10   0.24    0.08
 90.)190.)3 Fairfield   CT     73.0       75.9     O.D7   0.01   0.02   7. 75   0.06   15.80   0.43   0.06   1.60   0.21   0.01   6.56    0.02   0.12   0.02   0.28   0.45    0.04   0.01   1.91   0.01   1.14   0.20    0.08
 900990.)2 New Haven    CT     69.9       72.6     0.09   0.01   0.03   5.06    0.04   15.03   0.32   0.15   1.17   0.24   0.01   4.87    0.02   0.04   0.04   0.12   0.41    0.04   0.02   1.26   0.04   0.61   0.25    0.10
240251001 Harford       MD     70.9       73.3     0.13   0.01   0.00   0.Q7    0.09   0.16    0.42   0.Q7   2.77   0.35   0.02   4.32    0.00   0.11   0.04   0.43   0. 74   0.05   0.00   5.05   0.04   2.78   0.24    0.12
260050003 Allegan       Ml     69.0       71.7     0.16   0.02   0.00   o.oo    0.16   0.00    0.05   0.09   0.19   1.31   0.01   0.05    0.00   0.04   0.05   0.65   2.39    0.06   0.00   0.04   0.05   0.11    1.95   0.12
261630019 Wayne         Ml     69.0       71.0     0.17   0.03   0.00   0.01    0.08   0.06    0.20   0.12   3.81   0.62   0.05   0.18    0.00   0.05   0.04   0.27    1.12   0.09   0.00   0.16   0.07   0.23    1.08   0.18
360810124 Queens        NY     70.2       72.0     0.12   0.02   0.06   8.57    0.07   13.55   0.35   0.12   1.88   0.32   0.02   7.16    0.04   0.09   0.05   0.13   0.58    0.Q7   0.07   1.56   0.o3   1.01   0.38    0.14
360850067 Richmond      NY     67.1       68.S     0.12   0.02   0.00   10.53   0.09   6.57    0.37   0.09   2.05   0.36   0.01   10.41   0.00   0.10   0.04   0.36   o.70    0.07   0.00   1.67   0.02   1.54   0.30    0.12
36103<XXl2 Suffolk      NY     74.0       75.5     0.12   0-02   O.Dl   8 .88   0.06   18.11   0.23   0.20   1.76   0.34   0.03   6.86    0.00   0.05   0.05   0.22   0.60    0.07   0.02   0.99   0.06   0.81   0.25    0.14
480391004 Brazoria      TX     74.0       74.9     0.23   0.06   0.00   0.00    0.08   0.00    0.04   0.06   0.06   0.90   0.05   O.Dl    0.00   0.04   0.05   0.28   26.00   0.14   0.00   0.02   0.06   0.02   0.40    0.27
481210034 Denton        TX     69.7       72.0     0.15   0.04   0.00   0.00    0.13   0.01    0.09   0.03   0.08   1.23   0.03   0.04    0.00   0.09   0.03   0.14   26.69   0.10   0.00   0.05   0.05   0.04   0.08    0.25
482010024 Harris        TX     70.4       72.8     0.08   0.03   0.00    0.00   0.05   0.00    0.14   0.04   0.05   0.20   0.03   0.02    0.00   0.14   0.02   0.26   25.62   0.08   0.00   0.06   0,03   0.05   0.07    0.14
482011034 Harris        TX     70.8       71.6     0.16   0.03   0.00    0.00   0.04   0.00    0.09   0.04   0.05   0.68   0.02   0.01    0.00   0.10   0.03   0.09   25.66   0.07   0.00   0.03   0.02   0.03   0.22    0.15
482011039 Harris        TX     71.8       73.S     0.19   0.03   0.00    0.00   0.06   0.00    0.04   0.06   0.05   0.58   0.o3   0.01    0.00   0.03   0.04   0.30   22.82   0.08   0.00   0.02   0.04   0.01   0.28    0.20
484392003 Tarrant       TX     72.S       74.8     0.30   0.04   0.00    0.00   0.14    0.01   0.09   0.05   0.10   1.71   0.05   0.05    0.00   0.08   0.07   0.15   27.64   0.15   0.00   0.05   0.09   0.05   0.13    0.28
5S0790085 Milwaukee     WI     71.2       73.0     0.06   0.01   0.00    0.00   0.08    0.02   0.04   0.23   0.87   0.76   0.02   0.33    0.00   0.02   0.03   0.31    1.22   0.04   0.00   0.12   0.09   0.59   13.39   0.09
551170006 Sheboygan     WI     72.8       75.1     0.06   0.03   0.00    0.00   0.14    0.02   0.04   0.10   1.10   0.95   0.04   0.41    0.00   0.02   0.02   0.31    1.65   0.06   0.00   0.10   0.07   0.64   9.09    0.12




                                                                                                      C-3
       Case: 23-60069                Document: 110               Page: 1010         Date Filed: 03/27/2023
Contributions to 2023 Nonattainment and Maintenance Sites Outside of California (Part 3)
                                      2023en   2023en            Canada/
          Site 10      County   State Average Maximum   Tribal   Mexco Offshore   Fire   Boundary Biogenic
          40130019 Maricopa     AZ     69.3     71.4     0.06     3.29   0.37     0.49    34.74     2.S2
          40131004 Maricopa     AZ.    69.B     71.0     0.06     2.70   0.34     O.S6    33.85     2.24
          80050002 Arapahoe     co     69.3     71.3     0.22     O.S5   0.14     0.46    34.84     4.24
          80350004 Douglas      co     71.l     73.2     0.21     0.71   0.16     0.47    34.74     4.19
          80590006 Jefferson    co     71.3     73.7     0.21     0.90   0.17     0.66    31.41     S.40
          80590011 Jefferson    co     70.9     73.9     0.16     0.70   0.16     0.4S    32.96     4.74
          80690011 Larimer      co     71.2     73.0     0.25     0.78   0.19     1.74    34.S4     5.71
          81230009 Weld         co     70.2     71.4     0.23     1.04   0.1S     1.57    31.11     6.08
          90010017 Fairfie ld   CT     68.9     71.2     0.00     1.64   0.65     0.20     16.73    3.28
          90013007 Fairfie ld   CT     71.0      75.0    0.01     1.3S   1.93     0.34     17.17    4.01
          90019003 Fairfield    CT     73.0     7S.9     0.01     1.37   1.96     0.33     17.00    4.09
          90099002 New Haven    CT     69.9     72.6     0.01     1.58   2.15     0.22     17.17    4.13
         240251001 Harford      MD     70.9      73.3    0.01     0.79   0.32     0.42     15.28    5.32
         2600S0003 Al legan     Ml     69.0     71.7     0.02     O.S4   0.36     0.93     11.85    8.91
         261630019 Wayne        Ml     69.0      71.0    0.02     3.13   0.17     0.44     20.06    6.93
         360810124 Queens       NY     70.2     72.0     O.Ql     1.73   1.39     0.25     17.87    4.45
         360850067 Richmond     NY     67.1     68.5     0.01     1.44   0.83     0.3S     15.46    4.7S
         361030002 Suffolk      NV     74.0      75.5    0.01      1.8S  1.24     0.30     18.94    4.49
         480391004 Brazoria     TX     74.0      74.9    0.02     0.44   2.31     2.0S     24.02    5.60
         481210034 Denton       TX     69.7      72.0    0.01     0.92   1.23     0.87     24.69    6.42
         482010024 Harris       TX     70.4      728     0.01     0.28   4.83     0.77     27.83    2.66
         482011034 Harris       TX     70.8      71.6    0.01     0.24   3.91     1.75     2S.71    3.44
         482011039 Harris       TX     71.8      73.5    0.01     0.47   4.04     2.09     24.67    4.50
         484392003 Tarrant      TX     72.5      74.8    0.02      1.24  1.18     1.34     24.38    6.44
         5S0790085 Milwaukee    WI     71.2      73.0    0.01     0.82   0.43     0.37     16.67    6.70
         S51170006 Sheboygan    WI      72.8     75.1    0.01     0.69   0.55     0.64     17.53    7.51




                                                        C-4
                                                      Case: 23-60069                       Document: 110                         Page: 1011              Date Filed: 03/27/2023
                                              Contributions to 2023 Nonattainment and Maintenance Sites in California (Part 1)
                                   2023      2023
Site ID        County       State Average   Maximum     Al      A2       AR       CA     co       CT     DE       DC      FL      GA      ID      IL     IN      IA    KS     KY     LA     ME     MD     MA      Ml    MN      MS    MO     MT

60190007 Fre.sno            CA     79.2      79.4      0.00    0. 16    0.00    35.68    0.00    0.00    0.00    0.00    0.00     0.00   0.03    0.00   0.00    0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00
60190011 Fresno             CA     78.6      81.2      0.00    0. 15    0.00    35.20    0.01    0.00    0.00    0.00    0.00     0.00   0.03    0.00   0.00    0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00
60190242 Fresno             CA     79.4      82.2      0.00    0.21     0.00    31.98    0.01    0.00    0.00    0.00    0.00     0.00   0.04    0.00   0.00    0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00
60194001 Fresno             CA     73.3      74,4      0.00    0.03     0.00    34.20    0.00    0.00    0.00    0.00    0.00     0.00   0.00    0.00   0.00    0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00
60195001 Fresno             CA     79.6      81.2      0.00    0. 12    0.00    35.79    0.00    0.00    0.00    0.00    0.00     0.00   0.00    0.00   0.00    0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00
60250005 Imperial           CA     73.3      74.6      0.00    0.62     0.00    9.28     0.08    0.00    0.00    0.00    0.00     0.00   0.01    0.00   0.00    0.00   0.01   0.00   0.02   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00
60251003 Imperial           CA     79.0      80.0      0.00    0.67     0.00    11.34    0.07    0.00    0.00    0.00    0.00     0.00   0.01    0.00   0.00    0.00   0.01   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00
60290007 Kem                CA     77.7      81.3      0.00    0.07     0.00    29.99    0.01    0.00    0.00    0.00    0.00     0.00   0.02    0.00   0.00    0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00
60290008 Kem                CA     71.3      72.8      0.00    0. 17    0.00    26.44    0.02    0.00    0.00    0.00    0.00     0.00   0.00    0.00   0.00    0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00
60290014 Kern               CA     74. 1     75.2      0.00    0. 11    0.00    31.54    0.01    0.00    0.00    0.00    0.00     0.00   0.00    0.00   0.00    0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00
60290232 Kern               CA     73.7      75.2      0.00    0.03     0.00    32.66    0.00    0.00    0.00    0.00    0.00     0.00   0.00    0.00   0.00    0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0,00   0.00
60295002 Kern               CA     75.9      76.8      0.00    0. 13    0.00    28.33    0.01    0.00    0.00    0.00    0.00     0.00   0.01    0.00   0.00    0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00
                            CA     70.9      72.4      0.00    0. 16    0.00    28.50    0.01    0.00    0.00    0.00    0.00     0.00   0.00    0.00   0.00    0.00   0.00   0,00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00
60296001 Kern
60370002 Los Angeles        CA     73. 3     75.1      0.00    0. 23    0.00    39.68    0.04    0.00    0.00    0.00    0.00     0.00   0.00    0.00   0.00    0.00   0.00   0.00   0.02   0.00   0,00   0.00   0.00   0.00   0.00   0.00   0.00
60370016 Los Angeles        CA     86. 1     88.9      0.00    0.27     0.00    46.61    0.05    0.00    0.00    0.00    0.00     0.00   0.00    0.00   0.00    0.00   0.00   0.00   0.02   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00
                            CA     79.8      79.8      0.00    0.37     0.00    35.55    0.06    0.00    0.00    0.00    0.00     0.00   0.03    0.00   0.00    0.00   0.00   0.00   0.01   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00
60371201 Los Angeles
                            CA     78. 1     79.1      0.00    0.27     0.00    42.09    0.04    0.00    0.00    0.00    0.00     0.00   0.00    0.00   0.00    0.00   0.00   0.00   0.02   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00
60371701 Los Angeles
6037200S Los Angeles        CA     72.3      74.6      0.00    0.32     0.00    37.39    0.06    0.00    0.00    0.00    0.00     0.00   0.01    0.00   0.00    0.00   0.00   0.00   0.03   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00
60376012 Los Angele.s       CA     85.9      87.4      0.00    0.42     0.00    39.86    0.08    0.00    0.00    0.00    0.00     0.00   0.02    0.00   0.00    0.00   0.01   0.00   0.02   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00
                            CA     76.3      77.2      0.00    0.34     0.00    25. 79   0.05    0.00    0.00    0.00    0.00     0.00   0.01    0.00   0.00    0.00   0.00   0.00   0.02   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00
60379033 Los Angele.,
60392010 Madera             CA     72.1      72.9      0.00    0.20     0.00    28.39    0.00    0.00    0.00    0.00    0.00     0.00   0.04    0.00   0.00    0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00
                            CA     69.9      71.0      0,00    0. 10    0.00    28.52    0.00    0.00    0.00    0.00    0 ,00    0.00   0.00    0.00   0.00    0.00   0.00   0.00   0.00   0.00   0.00   0,00   0.00   0.00   0.00   0.00   0.00
60470003 Merced
                                   76.7      76.7      0.00    0.22     0.00    41.92    0.03    0.00    0.00    0.00    0.00     0.00   0.00    0.00   0.00    0.00   0.00   0.00   0.01   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00
60650004 Riverside          CA
60650012 Riverside          CA     83.6      85.1      0.00    0. 21    0.00    38.65    0.02    0.00    0.00    0.00    0.00     0.00   0.00    0.00   0.00    0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00
60651016 Riverside          CA     85.2      85.5      0.00    0.22     0.00    35.47    0.01    0.00    0.00    0.00    0.00     0.00   0.00    0.00   0.00    0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00
                            CA     72.4      73.0      0.00    0.27     0.00    16.57    0.05    0.00    0.00    0.00    0.00     0.00   0.01    0.00   0.00    0.00   0.01   0.00   0.03   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00
60652002 Riverside
                                    79.5     80. 1     0.00    0.20     0.00    24. 70   0.05    0.00    0.00    0.00    0.00     0.00   0.00    0.00   0.00    0.00   0.01   0.00   0.04   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00
60655001 Riverside          CA
60656001 Riverside          CA      78.3     81.6      0.00    0. 17    0.00    39.14    0.03    0.00    0.00    0.00    0.00     0.00   0.01    0.00   0.00    0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00
                                   87.0      87.9      0.00    0.27     0.00    47.69    0.04    0.00    0.00    0.00    0.00     0.00   0.00    0.00   0.00    0.00   0.00   0.00   0.01   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00
60658001 Riverside          CA
                                    83.2     84.4      0.00    0.25     0.00    45.60    0.04    0.00    0.00    0.00    0.00     0.00   0.00    0.00   0.00    0.00   0.00   0.00   0.01   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00
60658005 Riverside          CA
60659001 Riverside          CA      73.7     75.9      0.00    0.16     0.00    37.28    0.02    0.00    0.00    0.00    0.00     0.00   0.01    0.00   0.00    0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00
60670012 Sacramento         CA      74.5     75.9      0.00    0.01     0.00    35.91    0.00    0.00    0.00    0.00    0.00     0.00   0.00    0.00   0.00    0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00
60675003 Sacramento         CA      69.9     71.3      0.00    0.00     0.00    34.18    0.00    0.00    0.00    0.00    0.00     0.00   0.00    0.00   0.00    0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00
60710005 San Bernardino     CA      96.2     98.1      0.00    0.23     0.00    48.09    0.03    0.00    0.00    0.00    0 ,00    0.00   0.00    0.00   0 ,00   0.00   0.00   0.00   0.02   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00
                                    84.1     85.8      0.00    0.46     0.00    24.28    0.06    0.00    0.00    0.00    0.00     0.00   0.01    0.00   0.00    0.00   0.00   0.00   0.01   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00
60710012 San Be rnardino    CA
                                    76.2      77.4     0.00    0.14     0.00    29.72    0.01    0.00    0.00    0.00    0.00     0.00   0.00    0.00   0.00    0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00
60710306 San Be rnard ino   CA
                                    89.8     91.0      0.00    0.35     0.00    47.69    0.05    0.00    0.00    0.00    0.00     0.00   0.01    0.00   0.00    0.00   0.01   0.00   0.02   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00
 60711004 San Bernardino    CA
 60712002 San Bernardino    CA      93.1     95.0      0.00    0. 14    0.00    51.11    0.01    0.00    0.00    0.00    0.00     0.00   0.00    0.00   0.00    0.00   0.00   0.00   0.02   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00
 60714001 San Bemardlno     CA      86.0      88.S     0.00     0.21    0.00    41.23    0.02     0.00   0.00    0.00    0.00     0.00   0.00    0.00   0.00    0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00
 60714003 San Bernardino    CA      94 .1     95.8     0.00     0. 10   0.00    52.53    0.02     0.00   0.00    0.00    0.00     0.00   0.01    0.00   0.00    0.00   0.00   0.00   0.02   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00
                                    80.0      81.4     0.00     0.45    0.00     22.21   0.08     0.00   0.00    0.00    0.00     0.00   0.01    0.00   0.00    0.00   0.01   0.00   0.04   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00
 60719002 San Bernardino    CA
                                    88.4      88.7     0.00     0.10    0.00    49.35     0.02    0.00   0.00    0.00    0.00     0.00   0.01    0.00   0.00    0.00   0.00   0.00   0.02   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00
 60719004 San Bernardino    CA
 60990006 Stanislaus        CA      74.8      75.7     0.00     0.03     0.00    34.16    0.00    0.00   0.00     0.00   0.00     0.00   0.03    0.00   0.00    0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00
                                    69.1      71.9     0.00     0.06     0.00    7.37     0.00    0.00   0.00     0.00   0.00     0.00   0.00    0.00   0.00    0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00
 61070006 Tula re            CA
                                                        0.00    0.07     0.00    23.74    0.00    0.00   0.00     0.00   0.00     0.00   0.00    0.00   0.00    0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00
 61070009 Tulare             CA     76.1      77.2
                                              71.4      0.00    0.12     0.00    30.91    0.00    0.00   0.00     0.00   0.00     0.00    0.00   0.00   0.00    0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00
 61072002 Tulare             CA     68.9
                                    73.1      73.9      0.00    0.03     0.00    30.19    0.00    0.00    0.00    0.00   0.00     0.00    0.00   0.00   0.00    0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00
 61072010 Tulare             CA
                                    70.5      72.2      0.00    0.32     0.00    29.51    0.06    0.00    0.00    0.00   0.00     0.00    0.02   0.00   0.00    0.00   0.00   0.00   0.01   0.00   0.00   0.00   0.00   0.00   0.00   0.00   0.00
 61112002 Ventura            CA




                                                                                                                   C-5
                                                  Case: 23-60069                   Document: 110                    Page: 1012                   Date Filed: 03/27/2023
                                          Contributions to 2023 Nonattainrnent and Maintenance Sites in California (Part 2)
                                2023      2023
Site ID     County     State   Average   Maximum    NE      NV      NH      NJ     NM      NY       NC       ND     OH      OK      OR      PA      RI     SC      SD      TN      TX      UT     VT      VA      WA      WV      WI      WY

60190007 Fresno         CA      79.2      79.4      0.00    Qn      0.00   0.00    0.01    0.00     0.00    0.00    0.00    0.00    0.29    0.00    0.00   0.00    0.00   0.00    0.03     0.08   0.00    0.00    O.OS    0.00    0.00    0.01
60190011 Fresno         CA      78.6      81. 2     0.00    Q«      0.00   0.00    0.01    0.00     0.00    0.00    0.00    0.00    0.27    0.00    0.00   0.00    0.00   0.00    0.03     o.~    0.00    0.00    0.05    0.00    0.00    0.01
60190242 Fresno         CA      79.4      82.2      0.00    QM      0.00   0.00    0.01    0.00     0.00    0.00    0.00    0.00    0.35    0.00    0.00   0.00    0.00   0.00    0.03     0.10   0.00    0.00    0.07    0.00    0.00    0.01
60194001 Fresno         CA      73.3      74.4      0.00    QV      0.00   0.00    0.00    0.00     0 .00   0.00    0.00    0.00    0.31    0.00    0.00   0.00    0.00   0.00    0.00     0.00   0.00    0.00    0.07    0.00    0.00    0.00
                        CA      79.6      81.2      0.00    Q~      0.00   0.00    0.00    0.00     0 .00   0.00    0.00    0.00    0.33    0.00    0.00   0.00    0.00   0.00    0.00     0.00   0.00    0.00    0.05    0.00    0.00    0.00
60195001 Fresno
60250005 Imperial       CA      73.3      74.6      0.00    Q~      0.00   0.00    0.12    0.00     0.00    0.00    0.00    0.03    a.as    0.00    0.00   0.00    0.00   0.00    0.20     0.05   0.00    0.00    0.02    0.00    0.00    0.04
60251003 Imperial       CA      79.0      80.0      0.00    QH      0.00   0.00    0.11    0.00     0.00    0.00    0.00    0.02    0.06    0.00    0.00   0.00    0.00   0.00    o.~      0.06   0.00    0.00    0.02    0.00    0.00    0.03
60290007 Kern           CA      77.7      81.3      0.00    0.29    0.00   0.00    0.00    0.00     0.00    0.00    0.00    0.00    0 .37   0.00    0.00   0.00    0.00   0.00    0.02     0.10   0.00    0.00    0.15    0.00    0.00    0.03
60290008 Kern            CA     71.3      72.8      0.00    0. 31   0.00   0.00    0.02    0.00     0.00    0.00    0.00    0.00    0 .34   0.00    0.00   0.00    0.00   0.00    0.01     0.02   0.00    0 .00   0.10    0.00    0.00    0.01
60290014 Kern            CA     74.1      75.2      0.00    0. 38   0.00   0.00    0.01    0.00     0.00    0.00    0.00    0.00    0 .34   0.00    0.00   0.00    0.00   0.00    0.00     0.01   0.00    0.00    0.08    0.00    0.00    0.00
                                73.7      75.2      0.00    0.27    0.00   0.00    0.00    0.00     0.00    0 .00   0.00    0.00    0.39    0.00    0.00   0.00    0.00   0.00    0.01     0.02   0.00    0.00    0. 17   0.00    0.00    0.00
60290232 Kern            CA
60295002 Kern            CA     75.9      76.8      0.00    0. 31   0.00   0 .00   0.00    0.00     0.00    0.00    0.00    0.00    0 .25   0.00    0.00   0.00    0.00   0.00    0.02     0.06   0.00    0.00    0.05    0.00    0.00    0.02
60296001 Kern            CA     70.9      72.4      0.00    0.58    0.00   0.00    0.01    0.00     0.00    0.00    0.00    0.00    0.26    0.00    0.00   0.00    0.00   0.00    0.01     0.02   0.00    0.00    0.02    0.00    0.00    0.00
                                73.3      75.1      0.00    0.12    0.00   0.00    0.0S    0.00     0.00    0.00    0.00    0.01    0.13    0.00    0.00   0.00    0.00   0.00    0.16     0.03   0.00    0.00    0.04    0.00    0.00    0.01
60370002 Los Angeles     CA
                                86.1      88.9      0.00    0. 14   0.00   0.00    0.06    0.00     0.00    0.00    0.00    0.02    0.lS    0.00    0.00   0.00    0.00   0.00    0.18     0.03   0.00    0.00    0.05    0.00    0.00    0.02
60370016 Los Angele<     CA
60371201 Los Angele<     CA     79.8      79.8      0.00    0.17    0.00   0.00    0.06    0.00     0.00    0.00    0.00    Q.Ql    0.10    0.00    0.00   0.00    0.00   0.00    0.13     o.~    0.00    0.00    0.05    0.00    0.00    0.03
                                78.1      79.1      0.00    0.11    0.00   0.00    0.07    0.00     0.00    0.00    0.00    0.02    0.1S    0.00    0.00   0.00    0.00   0.00    0.19     0.03   0.00    0.00    0.05    0.00    0.00    0.02
60371701 Los Angeles     CA
60372005 Los Angeles     CA     72.3      74.6      0.00    0.08    0.00   0.00    0.08    0.00     0.00    0.00    0.00    0.02    0.10    0.00    0.00   0.00    o.oo 0.00      0.21     0.06   0.00    0.00    0.04    0.00    0.00    0.02
60376012 Los Angeles     CA     85.9      87.4      0.00    0.18    0.00   0.00    o.~     0.00     0.00    0.00    0.00    0.03    0.16    0.00    0.00   0.00    0.00   0.00    0.21     0.08   0.00    0.00    0.07    0.00    0.00    0.04
                                76.3      77.2      0.00    0. 15   0.00   0.00    0.06    0.00     0.00    0.00    0.00    0.02    0.19    0.00    0.00   0.00    0.00   0.00    0.15     0.04   0.00    0.00    O.Q7    0.00    0.00    0.02
60379033 Los Angeles     CA
                                72.1      72.9      0.00    0.6S    0.00   0.00    0.00    0.00     0.00    0.00    0.00    0.00    0.34    0.00    0.00   0.00    0.00   0.00    0.01     0.12   0.00    0.00    0.06    0.00    0.00    0.02
60392010 Madera          CA
                                69.9      71.0      0.00    0.39    0.00   0.00    0.00    0.00     0.00    0.00    0.00    0.00    0 .42   0.00    0.00   0.00    0.00   0.00    0.00     0.00   0.00    0.00    0.07    0.00    0.00    0.00
604 70003 Merced         CA
                                76.7      76.7      0.00    0.14    0.00   0.00    0.05    0.00     0.00    0.00    0.00    0.01    0 .13   0.00    0.00   0.00    0.00   0.00    0.13     0.03   0.00    0.00    0.03    0.00    0.00    0.01
60650004 Riverside       CA
                                                    0.00    0 .24   0.00   0.00    0.02    0.00     0.00    0.00    0.00    0.00    0 .15   0.00    0.00   0.00    0.00   0.00    0.03     0.02   0.00    0.00    0.08    0.00    0.00    0.00
60650012 Riverside       CA     83.6      85.1
60651016 Riverside       CA     85.2      85.S      0.00    0 .28   0.00   0.00    0.02    0.00     0.00    o.oo    0.00    0.00    o.~     0.00    0.00   0.00    0.00   0.00    0.02     0.02   0.00    0.00    0.01    0.00    0.00    0.00
                                          73.0      0.00    0.18    o.oo   0.00    0.06    0.00     0.00    0.00    0.00    0.04    0.07    0.00    0.00   0.00    0.00   0.00    0.22     0.04   0.00    0.00    0.02    0.00    0.00    0.02
606S2002 Riverside       CA     72.4
60655001 Riverside       CA     79.S      80.1      0.00    0 .11   0.00   0.00    0.06    0.00     0.00    0.00    0.00    0.04    0.12    0.00    0.00   0.00    0.00   0.00    0.26     0.03   0.00    0.00    0.07    0.00    0.00    0.02
                                78.3      81.6      0.00    0 .19   0.00   0.00    0.02    0.00     0.00    0.00    0.00    0.00    0.10    0.00    0.00   0.00    0 .00  0.00    0.04     0.07   0.00    0.00    0.02    0.00    0.00    0.02
606S6001 Riverside       CA
                                87.0      87.9      0.00    0.1S    0.00   0.00    0.0S    0.00     0.00    0.00    0.00    0.01    0.17    0.00    0.00   0.00    0 .00  0.00    0.12     0.03   0.00    0.00    0.06    0.00    0.00    0.01
60658001 Riverside       CA
                                                    0.00    0.14    0.00   0.00    0.05    0.00     0.00    0.00    0.00    0.01    0.17    0.00    0.00   0.00    0 .00  0.00    0.11     0.03   0.00    0.00    0.06    0.00    0.00    0.01
60658005 Riverside       CA     83.2      84.4
60659001 Riverside       CA     73.7       75.9     0.00    0.15    0.00    0.00   0.02    0.00     0.00    0 .00   0.00    0.00    0.16    0.00    0.00   0.00    0.00   0.00    0.02     a.as   0.00    0.00    0.04    0.00    0.00    0.01
60670012 Sacramento      CA     74.5       75.9      0.00   0.30    0.00    0.00   0.00    0.00     0.00    0.00    0.00    0.00    0.57    0.00    0.00   0.00    0.00   0.00    0.01     0.00   0.00    0.00    0.20    0.00    0.00    0.00
                                                    o.oo    o.«     0.00    0.00   0.00    0.00     0.00    0.00     0.00   0.00    0.45    0.00    0.00   0.00    0.00   0.00    0.00     0.00   0.00    0.00    0.14    0.00    0.00    0.00
60675003 Sacramento      CA     69.9       71.3
                                          98.1      0.00    0.25    0.00    0.00   0.03    0.00     0.00    0.00     0.00   0.02    0.20    0.00    0.00   0.00    0.00   0.00    0. 13    0.03   0.00    0.00    0.07    0.00    0.00    0.01
60710005 San Bernardino CA      96.2
 60710012 San Bernardino CA     84.1       85.8     0.00    0 .15   o.oo    0.00   0.07     0.00    0.00    0.00     0.00   0.02    0.11    0.00    0.00   0.00    0.00   0.00    0. 12    0.06   0.00    0.00    0.04    0.00    0.00    0.03
                                76.2       77.4     0.00    0 .06   0.00    0.00   0.01     0.00    0.00    0.00     0.00   0.00    0.14    0.00    0.00   0.00    0.00 · 0.00    0.04     0.01   0.00    0.00    0.04    0.00    0.00    0.00
 60710306 San Bernardino CA
                                           91.0     0.00    0 .14   0.00    0.00   0.08     0.00     0.00   0.00     0.00   0.02    0.15    0.00    0.00   0.00    0.00   0.00    0.22     0.04   0.00    0.00    0.05    0.00    0.00    0.02
 60711004 San Bernardino CA     89.8
                                93.1       95.0     0.00    0.16    0.00    0.00   0.03     0.00     0.00   0.00     0.00   0.01    0.23    0.00    0.00   0.00    0.00    0.00   0.13     0.01   0.00    0.00    0.08    0.00    0.00    0 .00
 60712002 San Bernardino CA
                                86.0       88.S     0.00    0.19    0.00    0.00   0.02     0 .00    0.00   0.00     0.00   0.00    0.15    0.00    0.00   0.00    0.00    0.00   0.03     0.01   0.00    0.00    0.05    0.00    0.00    0.00
 60714001 San Bernardino CA
                                94.l       95.8     0.00    0.21    0.00    0.00   O.Q2     0 .00    0.00   0.00     0.00   0.01    0.25     0.00   0.00   0.00    0 .00   0.00   0.12     0.08   0.00    0.00    0.15    0.00    0.00    0 .01
 60714003 San Bernardino CA
                                80.0       81.4     0.00    0.14    0.00    0.00   0. 10    0 .00    0.00   0.00     0.00   0.0S    0.10     0.00   0.00   0.00    0.00    0.00   0.28     O.OS   0.00    0.00    0.04    0.00    0.00     0.04
 60719002 San Bernardino CA
                                                    0.00    0.20    0.00    0.00   0.02     0 .00    0.00   0.00     0.00   0.01    0.23     0.00   0.00   0.00    0.00    0.00   0.11     0.07    0.00   0.00    0.14    0.00    0.00     0.01
 60719004 San Bernardino CA      88.4      88.7
 60990006 Stanislaus     CA      74.8      75.7     0.00    0.24    0.00    0.00   0.00     0.00     0.00   0.00     0.00   0.00    0 .47    0.00   0.00   0.00    0.00    0.00   0.01     a.as    0.00   0.00    0.11    0.00    0.00     0.01
 61070006 Tulare         CA      69.1      71.9     o.oo a.as       0.00    0.00   0.01     0.00     0.00   0.00     0.00   0.00    0 .11    0.00   o.oo    0.00   0.00    0.00   0.01     0.00    0.00   0.00    0.03     0.00   0.00     0.00
                                 76.1      77.2     0.00    0.11    0.00    0.00   0.01     0.00     0.00   0.00     0.00   0.00    0.21     0.00   0.00    0.00   0.00    0.00   0.02     0.00    0.00   0.00    0.07     0.00   0.00     0.00
 61070009 Tulare         CA
                                 68.9      71.4     0.00    0.21    0.00    0.00   0.01     0.00     0.00   0.00     0.00   0.00    0.32     0.00   0.00    0.00   0.00    0.00    0.0 1   0.00    0.00   0.00    0.16     0.00    0.00    0.00
 61072002 Tulare         CA
                                 73.l      73.9     0.00    0.20    0.00    0.00   0.00     0.00     0.00   0.00     0.00   0 .00   0.40     0.00   0.00    0.00   0.00    0.00    0.01    0.00    0.00   0.00    0.17     0.00    0.00    0.00
 61072010 Tulare         CA
                                 70.5      72.2     0.00    0.18    0.00    0.00   0.05     0.00     0 00   0.00     0.00   0 .02   0.16     0.00   0.00    0.00   0.00    0.00    0.13    0.08    0.00   0.00    0.08     0.00    0.00    0.03
 61112002 Ventura        CA




                                                                                                            C-6
Case: 23-60069                Document: 110                 Page: 1013            Date Filed: 03/27/2023




Contributions to 2023 Nonatta inment and Maintenance Sites in California (Part 3)

                                       2023       2023               Canada/
    Site ID       County      State   Average   Maximum     Tribal    Mexco Offshore   Fire    Boundary Biogenlc
    60190007 Fresno           CA       79.2       79.4       0.00      0.29    1.19    1.39     32.52     6.85
    60190011 Fresno           CA       78.6       81.2       0.01      0.33    1.13    1.62     32.34     6,78
    60190242 Fresno           CA       79.4       82.2      o.oo       0,31    1.24    1.48     34.92     7.88
    60194001 Fresno           CA       73.3       74.4      0.00       0.12    1.68    0,87     27.76     7.90
    60195001 Fresno           CA       79.6       81.2      0.00       0.20    1.75    1.12     32.10     7.66
    60250005 Imperial         CA       73.3       74.6      0.01      19.87    1.17    0.71     38.68     2.11
    60251003 Imperial         CA       79.0       80.0      0,01      18.74    1.14    0,61     43.58     2.08
    60290007 Kern             CA       77. 7      81.3      0.00       0 .30   1.59    3.27      33,68    7.70
    60290008 Kem              CA       71.3       72.8      O.Ql       0,67    1.96    1.05      32.77    7.30
    60290014 Kern             CA       74. l      75.2      0.00       0.31    1.68    0.85      31.31    7.37
    60290232 Kern             CA       73,7       75.2      0.00       0.13    1.67    1. 11     29.43    7,73
    60295002 Kern             CA       75,9       76.8      0.00       0,35    1.34    3.80      33.45    7.68
    60296001 Kern             CA       70.9       72.4      0,00       0,50    1.59    0.63      30.55    7.98
    60370002 Los Angeles      CA       73. 3      75.l      O.Ql       1.47    3.53    0,82      24.67    2. 15
    60370016 Los Angeles      CA       86. l      88.9      0.01       1. 73   4.14    0.97      28.98    2.53
    60371201 Los Angeles      CA       79.8       79,8      0.02       1. 74   4.20    1.29      32.92    2.83
    60371701 Los Angeles      CA       78.l       79.l      0.01       1.82    4.16    0.97      25,57    2.35
    60372005 Los Angeles      CA       72.3       74.6      0.01       1.76    4.10    1.17      24.34    2.37
    60376012 Los Angeles      CA       85.9       87.4      0.02       2,27    4.69    1.22      32.85    3.43
    60379033 Los Angeles      CA       76.3       77.2       O.Ql      1.82    3.52    0.45      40.73    2.75
    60392010 Madera           CA       72.l        72.9      0,00      0.23    1.22    1.30      32.12    7.30
    604 70003 Merced          CA       69,9        71.0      0.00      0,37    1.94    1.12      30.92    5.97
    60650004 Riverside        CA       76,7        76. 7     0,01      1.37    3.64    0.72      25,79    2.34
    60650012 Riverside        CA       83.6        85.l      0.00      1.30    3.33    0.31      36.48    2.66
    60651016 Riverside        CA       85.2        85.5      o.oo      1.60    3.00    3.09      38.71    2.54
    60652002 Riverside        CA       72.4        73.0      O.Ql       2.29   1.39    2.24      46.66    2.08
    60655001 Riverside        CA       79. 5       80. l     0.01       2. 71  2.67    3.03      42,81    2.40
    60656001 Riverside        CA       78.3        81.6      0,00       1.13   4,03    0.53      30,14     2.55
    60658001 Riverside        CA       87.0        87.9      0.01       l . 76 4,77    0,77      28.27     2.68
     60658005 Riverside       CA       83.2        84.4      O.Ql      1.68    4,56    0,73      27.04     2.57
     60659001 Riverside       CA       73,7        75.9      0,00      1.71    4.96    1.03      25.56     2.43
     60670012 Sacramento      CA       74,5        75,9      0.00      0. 12   0.88    1.16      29.33     5.92
    60675003 Sacramento       CA        69.9       71,3      0.00      0.06    0.79    1.26      26.47     6.04
    60710005 San Bernardino   CA        96. 2      98.1      0,00      1.36    3.68    0.44      38.71     2,77
    60710012 San Bernardino   CA        84.l       85.8      0.02      1.33    1.83    0.33      53,12     1.93
    60710306 San Bernardino   CA        76.2       77.4      0,00      0,67    2.10    0.50      40.62     2.02
    60711004 San Bernardino   CA        89.8       91.0      0.01      2.03    4.00    0.95      31,07     2,74
    60712002 San Bernardino   CA        93.1       9S.O      0.00      1.58    4.58    0 .75     31.34     2.82
    60714001 San Bernardino   CA        86.0       88.S      0.00      0.91    2.69    0.37      37.S6     2.45
    60714003 San Bernardino   CA        94,l       9S.8      0 .00     0.98    4.lS    0.69      31,70     2.90
    60719002 San Bernardino   CA        80,0       81.4      0.01      2.80    2.23    3.20      45,72     2.29
    60719004 San Bernardino   CA        88.4       88.7      0,00      0.92    3.90    0,65       29,78    2. 72
    60990006 Stanislaus       CA        74,8       75,7      0.00      0.34    2.19    1.77      30.24     5.06
    61070006 Tulare           CA        69.l      71.9       0.00      0.33    0.55    4.43       53.61    2.46
    61070009 Tulare           CA        76.l      77,2       0,00      0.43    1.44    3.40       39,41    7.08
    61072002 Tulare           CA        68.9      71.4       0,00      0.25    1.58    0.95       26.88    7.42
    61072010 Tulare           CA        73.1      73.9       0 .00     0,15    1.78    1.17       30,26    8.67
    6 1112002 Ventura         CA        70,5      72.2       0,02      1.65    4.60    1.01       29.69    2.75




                                                           C-7
        Case: 23-60069   Document: 110    Page: 1014    Date Filed: 03/27/2023




                                   EXHIBIT 7

EPA, Considerations for Identifying Maintenance Receptors for Use in Clean Air

Act Section 110(a)(2)(D)(i)(I) Interstate Transport State Implementation Plan

Submissions for the 2015 Ozone National Ambient Air Quality Standards (Oct. 19,

2018)
        Case: 23-60069               Document: 110                 Page: 1015             Date Filed: 03/27/2023


                        UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                RESEARCH TRIANGLE PARK, NC 27711




                                                                                                                        OFFICE OF
                                                                                                                  AIR QUALITY PLANNING
                                                                                                                     AND STANDARDS

                                                             OCT 19 2018
MEMORANDUM

SUBJECT:         Considerations for Identifying Maintenance Receptors for Use in Clean Air Act
                 Section 11 0(a)(2)(D)(i)(I) Interstate Transport State Implementation Plan
                 Submissions for the 2015 Ozone ational Ambient Air Quality Standards

FROM:            Peter Tsirigotis
                 Director

TO:              Regional Air Division Directors Regions 1-10

        The purpose of tttis memorandum is to present information that states may consider as they
evaluate the status of monitoring sites that the Environmental Protection Agency (EPA) identified
as potential maintenance receptors with respect to the 2015 ozone ational Ambient Air Quality
Standards (NAAQS) based on EPA' s 2023 modeling. 1 States may use this information when
developing state implementation plans (SIPs) for the 2015 ozone AAQS addressing the good
neighbor provision in Clean Air Act (CAA) section 11 0(a)(2)(D)(i)(I). In brief tltis document
discusses (1) using alternative technical methods for projecting whether future air quality warrants
identifying monitors as maintenance receptors and (2) considering cun-ent monitoring data when
identifying monitoring sites that although projected to be in attainment as described below,
should be identified as maintenance receptors because of the risk that they could exceed the
  AAQS due to year-to-year (i.e., inter-annual) variability in meteorological conditions.

        This document does not substitute for provisions or regulations of the CAA, nor is it a
regulation itself. Rather it provides recommendations for states using the included analytical
information in developing SIP submissions, and for EPA Regional offices in acting on them. Thus,
it does not impose binding, enforceable requirements on any party. State air agencies retain the
discretion to develop good neighbor SIP revisions that differ from this guidance.

        Following the recommendations in this guidance does not ensure that EPA will approve a
SIP revision in all instances where the recommendations are followed, as the guidance may not
apply to the facts and circumstances underlying a particular SIP. Final decisions by EPA to approve

1lnfonnation on the Interstate Transport State Implementation Plan Submissions for the 2015 Ozone                        ational
Ambient Air Quality Standards under Clean Air Act Section 11 0(a)(2)(D)(i)(I) (March 2018).
https:llwww.epa.govlairmarkets/2015-ozone-naaqs-mem.

                                                                      1
                                          Internet Address (URL)• http://www.epa.gov
              Recycled/Recyclable • Prinled with Vegelable 011 Based Inks on Recycled Paper (Minimum 25% Postconsumer)
       Case: 23-60069            Document: 110           Page: 1016         Date Filed: 03/27/2023




a particular SIP revision will only be made based on the requirements of the statute following an
air agency’s final submission of the SIP revision to EPA and after appropriate notice and
opportunity for public review and comment. Interested parties may raise comments about the
appropriateness of the application of this guidance to a particular SIP revision. EPA and air
agencies should consider whether the recommendations in this guidance are appropriate for each
situation.

Introduction

        CAA section 110(a)(2)(D)(i)(I), otherwise known as the good neighbor provision, requires
states to prohibit emissions “which will contribute significantly to nonattainment in, or interfere
with maintenance by, any other state with respect to any” NAAQS. EPA has historically used a 4-
step framework to determine upwind state obligations (if any) under the good neighbor provision
for regional pollutants like ozone: (1) identify downwind areas, referred to as “receptors,” expected
to have problems attaining or maintaining the NAAQS; (2) identify upwind states that contribute
to those downwind air quality problems and warrant further review and analysis; (3) identify the
emissions reductions (if any) necessary to eliminate an upwind state’s significant contribution to
nonattainment and/or interference with maintenance of the NAAQS in the downwind areas,
considering cost and air quality factors; and (4) adopt permanent and enforceable measures needed
to achieve those emissions reductions. EPA notes that, in developing their SIP revisions for the
2015 ozone NAAQS, states have flexibility to follow this framework or develop alternative
frameworks to evaluate interstate transport obligations, so long as a state’s chosen approach has
adequate technical justification and is consistent with the requirements of the CAA.

        At Step 1, EPA has historically used base year and future year air quality modeling coupled
with base period measured ozone design values to project design values to a future analytic year. 2
In a memo issued in March 2018, EPA released updated modeling, which uses 2011 as the base
year and 2023 as the future analytic year, to evaluate interstate transport for the 2015 ozone
NAAQS. 3 As part of EPA’s 2023 modeling analysis, EPA projected the average and maximum
base period 2009 – 2013 design values to 2023. 4,5 EPA evaluated the projected 2023 design values
in combination with measured 2016 design values using the same methodology used in the Cross-
State Air Pollution Rule Update (CSAPR Update) 6 to identify receptors with anticipated potential
nonattainment and maintenance issues with respect to the 2015 ozone NAAQS in 2023. Under the
CSAPR Update methodology, those sites that are violating the NAAQS based on 2016 design
values (i.e., currently not attaining) and that also have projected 2023 average design values that
exceed the NAAQS (i.e., 2023 average design values of 71 parts per billion (ppb) or greater) are

2
  Air Quality Modeling Technical Support Document for the Final Cross State Air Pollution Rule Update (August
2016). https://www.epa.gov/airmarkets/air-quality-modeling-technical-support-document-final-cross-state-air-
pollution-rule.
3
  Information on the Interstate Transport State Implementation Plan Submissions for the 2015 Ozone National
Ambient Air Quality Standards under Clean Air Act Section 110(a)(2)(D)(i)(I) (March 2018).
https://www.epa.gov/airmarkets/march-2018-memo-and-supplemental-information-regarding-interstate-transport-
sips-2015.
4
  The base period includes the three design values that contain 2011 monitoring data (i.e., 2009-2011, 2010-2012,
and 2011-2013).
5
  The base period maximum design value is the highest of the three design values in the period 2009-2013.
6
  See 81 FR 74504 (October 26, 2016).

                                                             2
        Case: 23-60069            Document: 110           Page: 1017         Date Filed: 03/27/2023




identified as potential nonattainment receptors in 2023. 7 Under the CSAPR Update methodology,
those sites with a 2023 maximum 3-year design value that exceeds the NAAQS are identified as
potential maintenance receptors. This methodology considers the effects of inter-annual variability
in ozone-conducive meteorology to identify sites that may have difficulty maintaining the ozone
NAAQS. A projected maximum design value that exceeds the NAAQS indicates that when
meteorology is conducive to ozone formation, the receptor struggles with maintenance of the
standard. Under the CSAPR Update methodology, maintenance-only receptors therefore include
both (1) those sites with projected average and maximum design values above the NAAQS that
are currently measuring clean data and (2) those sites with projected average design values below
the level of the NAAQS but with projected maximum design values of 71 ppb or greater. 8

Considerations for Identifying Maintenance Receptors

         The D.C. Circuit’s decision in North Carolina v. EPA requires that EPA and the states
identify separate nonattainment and maintenance receptors to give independent significance to the
“contribute significantly” and “interfere with maintenance” clauses of the good neighbor provision
when identifying downwind air quality problems that must be addressed. 9 In particular, the court
held that the good neighbor provision requires states to address emissions that interfere with
maintenance in downwind areas struggling to meet the NAAQS despite air quality modeling
projecting attainment. 10 While the court did not specify a particular methodology for identifying
downwind areas that would struggle to maintain the NAAQS, the court cited the state petitioner’s
demonstration regarding historic variability in ozone concentrations in areas otherwise projected
to attain the NAAQS in support of its holding. 11

        In rules promulgated after North Carolina, EPA has relied on projections of base period
maximum design values to identify those sites that are at risk of being nonattainment in the future
due to inter-annual variability in ozone-conducive meteorology, as indicated above. EPA
acknowledges that there may be other valid methodologies for identifying such areas. However,
consistent with the holding in North Carolina, EPA believes that any alternative methods used to
identify maintenance receptors must be different than those used to identify nonattainment
receptors and should demonstrate that the alternative method considers variability in
meteorological conditions that are conducive for ozone formation in the area containing the
monitoring site.




7
  In determining compliance with the NAAQS, EPA truncates ozone design values to integer values. For example,
EPA truncates a design value of 70.9 ppb to 70 ppb, which is attainment. Similarly, EPA considers design values at
or above 71.0 ppb to be violations of the 2015 ozone NAAQS.
8
  The nonattainment receptors are also identified as maintenance receptors because the maximum design values for
each of these sites is always greater than or equal to the average design value.
9
  531 F.3d 896, 909-911 (2008).
10
   Id.
11
   Id. at 909.

                                                             3
        Case: 23-60069          Document: 110         Page: 1018        Date Filed: 03/27/2023




Flexibilities Related to Identifying Maintenance Receptors

         In response to comments received through stakeholder outreach, EPA has identified two
potential flexibilities that states may use to identify maintenance receptors with an appropriate
technical demonstration. First, EPA believes that states may, in some cases, eliminate a site as a
maintenance receptor if the site is currently measuring clean data. Second, EPA believes that a
state may, in some cases, use a design value from the base period that is not the maximum design
value. 12 For either of these alternative methods to satisfy the D.C. Circuit’s instruction to consider
areas struggling to meet the NAAQS, EPA would expect states to include with their SIP
demonstration technical analyses showing that:

     (1) meteorological conditions in the area of the monitoring site were conducive to ozone
         formation during the period of clean data or during the alternative base period design value
         used for projections;
     (2) ozone concentrations have been trending downward at the site since 2011 (and ozone
         precursor emissions of nitrogen oxide (NOx) and volatile organic compounds (VOC) have
         also decreased); and
     (3) emissions are expected to continue to decline in the upwind and downwind states out to the
         attainment date of the receptor.

The intent of these analyses is to demonstrate that monitoring sites that would otherwise be
identified as maintenance receptors under the CSAPR Update approach, as previously described,
are not likely to violate the NAAQS in the future analytic year. EPA expects that, with such
analyses, the state could justify exclusion of a monitoring site as a maintenance receptor,
notwithstanding modeling projections showing a maximum design value exceeding the 2015
ozone NAAQS.

       To assist states with the recommended analyses, EPA is providing the following
information related to analyzing meteorological conduciveness and ozone and emissions trends:

     (1) information on meteorological conduciveness for ozone formation based on regional and
         state-level historical and current climatological data for summertime monthly and seasonal
         temperature (see Attachment A);
     (2) a data file containing ozone design values for individual monitoring sites nationwide for
         the years 2008 through 2017 and for 2023, based on EPA’s modeling. This information is
         available on EPA’s website at:
         https://www.epa.gov/airmarkets/march-2018-memo-and-supplemental-information-
         regarding-interstate-transport-sips-2015-0; and
     (3) a data file containing state-level annual NOx and VOC emissions from anthropogenic
         sources with a breakout by major source category, for individual years from 2011 through
         2017 and for 2023, based on EPA’s projections. This information is available on EPA’s
         website at:


12
  Stakeholder comments on potential 2015 NAAQS transport flexibilities can be found at
https://www.epa.gov/airmarkets/march-2018-memo-and-supplemental-information-regarding-interstate-transport-
sips-2015.

                                                         4
       Case: 23-60069         Document: 110        Page: 1019       Date Filed: 03/27/2023




       https://www.epa.gov/airmarkets/march-2018-memo-and-supplemental-information-
       regarding-interstate-transport-sips-2015-0.

        States developing the technical analyses necessary to support use of the flexibilities
described in this memo are encouraged to supplement EPA-provided information with additional
data (as appropriate) to support a showing that a specific monitoring site is not at risk of exceeding
the NAAQS in the future. For example, states may show that such a site should not be identified
as a maintenance receptor by providing (1) a more refined analysis of meteorological
conduciveness that considers additional relevant or more locally tailored meteorological
parameters, (2) a more temporally or spatially refined emissions trends analysis, and/or (3) an
analysis of historical ozone trends that considers, in addition to the design value, trends in other
ozone metrics such as annual 4th high 8-hour daily maximum ozone concentrations and the number
of days with measured exceedances of the 2015 NAAQS.

       Please share this information with the air agencies in your Region.

For Further Information

       If you have any questions concerning this memorandum, please contact Norm Possiel at
(919) 541-5692, possiel.norm@epa.gov for modeling information or Chris Werner at (919) 541-
5133, werner.christopher@epa.gov for any other information.

Attachment




                                                      5
Case: 23-60069   Document: 110   Page: 1020   Date Filed: 03/27/2023




                           Attachment A

        Information on Meteorological Conduciveness
                    for Ozone Formation




                                  A-1
        Case: 23-60069             Document: 110            Page: 1021          Date Filed: 03/27/2023




        Meteorological conditions including temperature, humidity, winds, solar radiation, and
vertical mixing affect the formation and transport of ambient ozone concentrations. Ozone is
more readily formed on warm, sunny days when the air is stagnant and/or when the winds are
favorable for transport from upwind source areas. Conversely, ozone production is more limited
on days that are cloudy, cool, rainy, and windy (http://www.epa.gov/airtrends/weather.html).
Statistical modeling analyses have shown that temperature and certain other meteorological
variables are highly correlated with the magnitude of ozone concentrations (Camalier, et al.,
2007). 1 The overall extent to which meteorological conditions vary from year-to-year (i.e., inter-
annual variability) depends on the nature of large scale meteorological drivers such as the
strength and position of the jet stream. Inter-annual cycles in the jet stream contribute to inter-
annual variability in the degree to which summertime meteorological conditions are favorable for
ozone formation within a particular region. Meteorological conditions that frequently correspond
with observed 8-hour daily maximum concentrations greater than the National Ambient Air
Quality Standards (NAAQS) are referred to as being conducive to ozone formation.

       This attachment contains information to help evaluate whether particular summers had
ozone-conducive or unconducive meteorology within the 10-year period 2008 through 2017.
Information is provided on a state-by-state basis and for individual regions (see Figure 1).
    • Table A-1 contains tabular summaries of the difference (i.e., anomaly 2) of monthly
       average temperature compared to the long-term average. 3
    • Figure A-2 contains maps of the 3-month (June, July, August) statewide anomalies and
       rank 4 for average temperature compared to the long-term average.
    • Figure A-3 contains maps showing spatial fields of daily maximum temperature
       anomalies (percentiles) for the period June through August for the years 2011 through
       2017 (maps are unavailable for years prior to 2011).
    • Figure A-4 contains graphical summaries of the total number of cooling degree days for
       the 3-month period June through August in each region.

       The above tabular and graphic information was obtained from the NOAA National
Centers for Environmental Information (NCEI) at https://www.ncdc.noaa.gov/temp-and-
precip/us-maps/ and https://www.ncdc.noaa.gov/cag/.



1
  Additional references related to ozone formation and meteorology are provided on page A-3.
2
  “The term temperature anomaly means a departure from a reference value or long-term average. A positive
anomaly indicates that the observed temperature was warmer than the reference value, while a negative anomaly
indicates that the observed temperature was cooler than the reference value.”
https://www.ncdc.noaa.gov/monitoring-references/faq/anomalies.php.
3
  Note that because of the relatively large inter-annual variability in certain meteorological conditions such as
temperature and precipitation, long-term “average” conditions, usually referred to as “normal,” are often the
mathematical mean of extremes and thus, “average” or “normal” values of temperature or precipitation should not
necessarily be considered as representing “typical” conditions.
4
  “In order to place each month and season into historical context, the National Centers for Environmental
Information assigns ranks for each geographic area (division, state, region, etc.) based on how the temperature or
precipitation value compares with other values throughout the entire record when sorted from lowest to highest
value. In other words, the numeric rank value within the area represents the position or location of the sorted value
throughout the historical record (1895-present).” https://www.ncdc.noaa.gov/monitoring-references/dyk/ranking-
definition.

                                                             A-2
      Case: 23-60069        Document: 110        Page: 1022      Date Filed: 03/27/2023




        In general, below average temperatures are an indication that meteorological conditions
are unconducive for ozone formation, whereas above average temperatures are an indication that
meteorology is conducive to ozone formation. Within a particular summer season, the degree
that meteorology is conducive for ozone formation can vary from region to region and fluctuate
with time within a particular region. For example, the temperature-related information presented
below suggests that summer meteorology was generally conducive for ozone formation in 2010,
2011, 2012, and 2016 in most regions. In contrast, the summer of 2009 was generally
unconducive for ozone formation, overall, in most regions. In addition, the summers of 2013 and
2014 were not particularly conducive for ozone formation in the Upper Midwest, Ohio Valley,
South, Southeast.

        Additional information on the relationships between ozone and meteorological conditions
can be found in the following publications:

Blanchard et al., 2010 - NMOC, ozone, and organic aerosol in the southeastern United States,
1999-2007: 2. Ozone trends and sensitivity to NMOC emissions in Atlanta, GA.
Reinforces the relationship between temperature, relative humidity and winds to ozone
formation.
https://www.sciencedirect.com/science/article/pii/S1352231010005996?via%3Dihub

Blanchard et al., 2014 - Ozone in the southeastern United States: An observation-based model
using measurements from the SEARCH network.
Update to the 2007 paper by Camalier with data from the SEARCH network from 2002-2011.
https://www.sciencedirect.com/science/article/pii/S1352231014001022?via%3Dihub

Bloomer et al., 2009 – Observed relationships of ozone air pollution with temperature and
emissions.
Statistical analysis of 21 years of ozone and temperature data (1987-2008). From a climate
scenario perspective, authors examine the climate penalty or how ozone levels change as
temperature changes. Reinforces the standing that as temperature increases, ozone concentrations
increase, but indicates that due to decreasing emissions, the rate is slower in future scenarios.
https://agupubs.onlinelibrary.wiley.com/doi/full/10.1029/2009GL037308

Kavassalis & Murphy, 2017 - Understanding ozone‐meteorology correlations: A role for dry
deposition.
Authors observe the strong correlation between temperature and relative humidity, but work to
understand other reasoning why models under predict the strength of the correlation between
relative humidity and ozone. Includes a statistical analysis of 28 years of data and examines
vapor pressure deficit and dry deposition as factors. Reinforces meteorological conditions that
lead to high ozone days.
https://agupubs.onlinelibrary.wiley.com/doi/full/10.1002/2016GL071791

Reddy & Pfister, 2016 - Meteorological Factors contributing to the interannaul variability of
midsummer surface ozone in Colorado, Utah, and other western US States.




                                                  A-3
      Case: 23-60069        Document: 110       Page: 1023       Date Filed: 03/27/2023




Authors found strong correlation between 500-mb and 7008-mb patterns, surface temperature,
and zonal winds with the resulting high 8-hour daily maximum ozone values.
https://agupubs.onlinelibrary.wiley.com/doi/full/10.1002/2015JD023840

Tawfik and Steiner, 2013 - A proposed physical mechanism for ozone-meteorology correlations
using land-atmosphere coupling regimes.
Discusses the north-south gradient of temperature and relative humidity correlations with ozone
formation. Examines 17 years of ozone, NOx, and isoprene measurements.
https://linkinghub.elsevier.com/retrieve/pii/S1352231013001672

White et al., 2007 - Comparing the impact of meteorological variability on surface ozone during
the NEAQS (2002) and ICARTT (2004) field campaigns.
Authors found that while deep boundary layers are noted during periods of elevated ozone, this is
likely due to being coincident with other meteorological factors (high temperatures, high
pressure systems, low winds).
https://agupubs.onlinelibrary.wiley.com/doi/10.1029/2006JD007590

Zhang et al., 2017 – Quantifying the relationship between air pollution events and extreme
weather events.
Authors examined ozone from 1980-2009 and built a statistical model to examine the impacts of
extreme meteorological events on extreme air quality conditions. Found ozone extremes have
decreased over the last 30 years, more rapidly recently, but remain highly correlated to extreme
temperature events. Highest correlation was found in the eastern United States (U.S.).
https://www.sciencedirect.com/science/article/pii/S0169809516306093?via%3Dihub




                                                  A-4
      Case: 23-60069      Document: 110      Page: 1024      Date Filed: 03/27/2023




Figure 1. U.S. climate regions.
http://www.ncdc.noaa.gov/monitoring-references/maps/us-climate-regions.php




                                               A-5
      Case: 23-60069        Document: 110       Page: 1025        Date Filed: 03/27/2023




Table A-1. Temperature anomalies by month for May through September for each climate region
for the years 2008 through 2017.1

                        2008           May       Jun        Jul       Aug      Sep
                 Northeast              C         W         W          C        N
                 Southeast              C        WW          N         C        N
                 Ohio Valley            C         W          C         C        N
                 Upper Midwest          C         N          N         N        W
                 South                  N         W          N         C       CC
                 Northern Rockies       C         C          N         N        N
                 Southwest              N         W         W          W        N
                 Northwest              N         N         W          W        N
                 West                   N         W         W         WW        W

1
 Unshaded boxes with the “N” marker represent near-normal temperatures that fall within the
interquartile range. Blue colors indicate cooler than normal conditions, with the number of “C”s
indicating the degree of the anomaly. CCC = coolest on record, CC = coolest 10th percentile, C =
coolest 25th percentile. Red colors indicate warmer than normal conditions, with the number of
“W”s indicating the degree of the anomaly. WWW = warmest on record, WW = warmest 10th
percentile, W = warmest 25th percentile. N/A = data not available. More on the definition of
temperature ranks can be found at:
https://www.ncdc.noaa.gov/monitoring-content/monitoring-references/dyk/images/ranking-
definition-legend.png.



                        2009           May        Jun      Jul        Aug      Sep
                 Northeast              N          C       CC          W        C
                 Southeast              N          W       CC          N        N
                 Ohio Valley            N          W       CC          C        N
                 Upper Midwest          N          C       CC          C        W
                 South                  N          W        N          N        C
                 Northern Rockies       N          C        C          C       WW
                 Southwest             WW          C        W          W        W
                 Northwest              W          C       WW          W      WW
                 West                  WW          C        W          N      WWW




                                                  A-6
Case: 23-60069    Document: 110   Page: 1026    Date Filed: 03/27/2023




              2010         May    Jun     Jul       Aug      Sep
        Northeast          WW      W      WW         W        W
        Southeast          WW     WW      WW        WW        W
        Ohio Valley         W     WW       W        WW        N
        Upper Midwest       W      N      W         WW        C
        South               W     WW       N        WW        W
        Northern Rockies    C      N       N         W        N
        Southwest           C      W      W          W      WWW
        Northwest          CC      C       N         N        W
        West               CC      W      W          N        W


              2011         May    Jun     Jul       Aug     Sep
        Northeast           W      W      WW         N      WW
        Southeast           N     WW      WW        WW       N
        Ohio Valley         N      W      WW         W       C
        Upper Midwest       N      N     WW          W       N
        South               N     WW     WWW       WWW       N
        Northern Rockies    C      N      W          W       W
        Southwest           C      W     WW        WWW       W
        Northwest          CC      C       C         W      WW
        West                C      C       N         W      WW


              2012         May    Jun     Jul       Aug     Sep
        Northeast          WW      N      WW         W       N
        Southeast          WW      C      WW         N       N
        Ohio Valley        WW      N      WW         N       C
        Upper Midwest       W      W      WW         N       N
        South              WW      W      WW         N       N
        Northern Rockies    W      W      WW         W       W
        Southwest          WW     WW      W         WW       W
        Northwest           N      C      W         WW       W
        West                W      W       N       WWW      WW


              2013         May    Jun     Jul       Aug     Sep
        Northeast           W      W      WW         N       N
        Southeast           C      W       C         C       N
        Ohio Valley         N      N       C         C       N
        Upper Midwest       N      N       N         N       W
        South               C      W       C         N       W
        Northern Rockies    N      N       N         W      WW
        Southwest           W     WW       W         W       W
        Northwest           W      W      WW        WW      WW
        West                W     WW      WW         N       W

                                   A-7
Case: 23-60069    Document: 110   Page: 1027     Date Filed: 03/27/2023




              2014         May     Jun    Jul        Aug     Sep
        Northeast           W       W      N          N       W
        Southeast           W       W      C          N       W
        Ohio Valley         N       W     CC          N       N
        Upper Midwest       N       W     CC          N       N
        South               N       N      C          N       N
        Northern Rockies    N       C      N          N       N
        Southwest           N       W      W          C      WW
        Northwest           W       N     WW          W       W
        West                W       W     WW          N      WW


              2015         May     Jun     Jul       Aug     Sep
        Northeast          WWW      N       N         W      WW
        Southeast           W      WW      W          N       N
        Ohio Valley         W       W       N         C       W
        Upper Midwest       N       N       N         N     WWW
        South               C       N      W          N      WW
        Northern Rockies    C      WW       N         N      WW
        Southwest           C      WW       C        WW     WWW
        Northwest           W     WWW      W          W       N
        West                N     WWW       C        WW     WW


              2016         May     Jun    Jul        Aug     Sep
        Northeast           N       W      W        WWW      WW
        Southeast           N       W     WW        WW       WW
        Ohio Valley         N       W      W          W      WW
        Upper Midwest       N       W      N          W      WW
        South               C       W     WW          N       W
        Northern Rockies    N      WW      N          N       W
        Southwest           C     WWW     WW          N       N
        Northwest           W     WW       C          W       N
        West                N      WW      W          W       N


              2017         May    Jun     Jul        Aug     Sep
        Northeast           N      W       N          N      WW
        Southeast           N      N       W          N       N
        Ohio Valley         N      N       W         CC       N
        Upper Midwest       N      W       N          C      WW
        South               C      N       W          C       N
        Northern Rockies    N      W      WW          N       W
        Southwest           N     WW      WW          W       W
        Northwest           W      W      WW        WWW       W
        West                W     WW      WW        WW        N

                                   A-8
      Case: 23-60069       Document: 110       Page: 1028     Date Filed: 03/27/2023




Figure A-2. Statewide average temperature ranks for the period June through August for the
years 2008 through 2017. Note that the NCEI changed the display format of temperature rank
maps beginning in 2014.




                                                A-9
Case: 23-60069   Document: 110   Page: 1029   Date Filed: 03/27/2023




                                 A-10
Case: 23-60069   Document: 110   Page: 1030   Date Filed: 03/27/2023




                                 A-11
Case: 23-60069   Document: 110   Page: 1031   Date Filed: 03/27/2023




                                 A-12
Case: 23-60069   Document: 110   Page: 1032   Date Filed: 03/27/2023




                                 A-13
      Case: 23-60069        Document: 110      Page: 1033      Date Filed: 03/27/2023




Figure A-3. Spatial fields of daily maximum temperature anomalies (percentiles) for the period
June through August for the years 2011 through 2017. Note that the NCDC began creating these
maps in 2011.




                                                A-14
Case: 23-60069   Document: 110   Page: 1034   Date Filed: 03/27/2023




                                 A-15
Case: 23-60069   Document: 110   Page: 1035   Date Filed: 03/27/2023




                                 A-16
Case: 23-60069   Document: 110   Page: 1036   Date Filed: 03/27/2023




                                 A-17
      Case: 23-60069        Document: 110       Page: 1037       Date Filed: 03/27/2023




Figure A-4. Cooling degree days for June through August for each climate region. Note that (1)
data are provided back to 1990 and (2) the range of the y-axis differs in some cases by climate
region.




                                                 A-18
Case: 23-60069   Document: 110   Page: 1038   Date Filed: 03/27/2023




                                 A-19
Case: 23-60069   Document: 110   Page: 1039   Date Filed: 03/27/2023




                                 A-20
Case: 23-60069   Document: 110   Page: 1040   Date Filed: 03/27/2023




                                 A-21
Case: 23-60069   Document: 110   Page: 1041   Date Filed: 03/27/2023




                                 A-22
     Case: 23-60069    Document: 110    Page: 1042    Date Filed: 03/27/2023




                                  EXHIBIT 8

Declaration of Rona Birnbaum, Director of the Clean Air Markets Division, Office

of Atmospheric Protection, Office of Air and Radiation, EPA
     Case: 23-60069     Document: 110     Page: 1043    Date Filed: 03/27/2023




              IN THE UNITED STATES COURT OF APPEALS
                        FOR THE FIFTH CIRCUIT
____________________________________
                                     )
STATE OF TEXAS, et al.,              )
                                     )
     Petitioners,                    )
                                     )
     v.                              )    No. 23-60069
                                     )
UNITED STATES ENVIRONMENTAL )
PROTECTION AGENCY, et al.,           )
                                     )
     Respondents.                    )
____________________________________)


                      DECLARATION OF RONA BIRNBAUM
       1.     I, Rona Birnbaum, under penalty of perjury, affirm and declare that
the following statements are true and correct to the best of my knowledge and
belief, and are based on my own personal knowledge, or on information contained
in the records of the United States Environmental Protection Agency (“EPA”), or
supplied to me by EPA employees under my supervision.
       2.      I am the Director of the Clean Air Markets Division in the Office of
Atmospheric Protection within the Office of Air and Radiation at EPA. The Clean
Air Markets Division, which was initially created to implement the acid rain
provisions of the Clean Air Act Amendments of 1990, designs and operates
market-based programs to reduce emissions of sulfur dioxide (“SO2”) and nitrogen
oxides (“NOX”), generates and provides public access to power plant emissions
data, facilitates and oversees emissions monitoring and reporting, assesses
emissions control technology options, conducts atmospheric deposition monitoring
and analysis, develops information systems for market-based programs, assesses
environmental and human health effects, assesses benefits and costs of programs,
and educates the public regarding regional air pollution problems and market-
based programs. The currently operated market-based programs were established
under the Acid Rain Program, the Cross-State Air Pollution Rule (“CSAPR”), the
CSAPR Update, and the Revised CSAPR Update.


                                         1
     Case: 23-60069     Document: 110     Page: 1044   Date Filed: 03/27/2023




       3.     In my current capacity as Director of the Clean Air Markets Division,
I oversee EPA’s implementation of components of the Clean Air Act including
Title IV (acid deposition control) and parts of Title I (air quality standards and
associated emission limitations). In coordination with other EPA offices, I manage
the promulgation and implementation of regulations pursuant to the Clean Air Act
including the suite of CSAPR programs. I manage all of the Clean Air Markets
Division’s activities as listed in paragraph 2, including overseeing EPA’s
collection of emissions data from the power sector (and some other stationary
emissions sources) under the Acid Rain Program and the suite of CSAPR
programs.

       4.    Prior to becoming Director of the Clean Air Markets Division in 2022,
I held several management positions in the Office of Atmospheric Protection
including in the early years of the Acid Rain Program. I joined EPA in 1988 and
the Office of Atmospheric Protection in 1991. I hold a bachelor’s and master’s
degree in environmental and natural resource policy from The George Washington
University.
I.   The Emission Allowance Trading Program Established by the Federal
“Good Neighbor Plan” for the 2015 Ozone National Ambient Air Quality
Standards.
A.    Overview of the Good Neighbor Plan
       5.     Once EPA sets new or revised national ambient air quality standards
(“NAAQS,” or “air quality standard”), states must submit state implementation
plans (“SIPs”) to satisfy certain Clean Air Act requirements, including the good
neighbor provision. 42 U.S.C. § 7410(a)(2)(D)(i)(I). EPA reviewed states’ good
neighbor SIPs, and it approved 24 plans, disapproved 19 plans, and partially
approved / partially disapproved 2 plans. See 88 FR 9336, 9362 (Feb. 13, 2023). A
notice of EPA’s final action disapproving certain states’ good neighbor SIPs,
including Texas’s, was published on February 13, 2023. 88 FR 9336 (Feb. 13,
2023). A SIP disapproval imposes no legal obligation on the state or sources within
the state, but rather imposes a legal obligation on EPA to promulgate a federal
implementation plan (“FIP”), at any time, within two years of the disapproval. 42
U.S.C. § 7410(c)(1).




                                         2
      Case: 23-60069        Document: 110        Page: 1045      Date Filed: 03/27/2023




       6.    EPA Administrator Michael S. Regan signed a FIP action related to
these requirements, referred to as the “Good Neighbor Plan 1 (or the “Plan”), on
March 15, 2023, to achieve emissions reductions required by the good neighbor
provision of the Clean Air Act, 42 U.S.C. § 7410(a)(2)(D)(i)(I), with respect to the
2015 NAAQS for ozone. (Ozone is commonly referred to as smog pollution.) The
Plan establishes federal requirements for qualifying power-plant and industrial
sources in 23 covered states, to reduce ozone pollution during the May 1-to-
September 30 “ozone season” by reducing emissions of NOX, which is an ozone
precursor pollutant.
       7.     The objective of the Plan is to eliminate the covered states’ significant
contribution to nonattainment and interference with maintenance of the ozone air
quality standard in other states as expeditiously as practicable and in alignment
with the statutory attainment schedule.
       8.     With respect to fossil fuel-fired power plants in 22 states, including
Texas, this action will prohibit those emissions by implementing an allowance-
based trading program beginning in the 2023 ozone season, although the majority
of the emission reductions captured in the trading program will not begin until the
phase-in of reductions associated with new post-combustion control technology
retrofits over the 2026 and 2027 ozone seasons. The Plan also prohibits emissions
through emissions limitations and associated requirements for certain other
industrial stationary sources in 19 of those 22 states, and one other state, beginning
in the 2026 ozone season.
      9.     In assisting downwind states with attaining and maintaining the 2015
ozone NAAQS, the Plan will deliver substantial public health and environmental
benefits across wide swaths of the United States. The benefits of the Plan far


1
  “Federal ‘Good Neighbor Plan’ for the 2015 Ozone National Ambient Air Quality Standards,”
pre-publication copy, available at https://www.epa.gov/csapr/good-neighbor-plan-2015-ozone-
naaqs. The EPA routinely makes available pre-publication copies of signed rules on its website
to assist the public and regulated community in understanding the requirements of its signed final
actions. However, this is not the “official” version of the Good Neighbor Plan, which will not be
established until publication occurs in the Federal Register. Typically, minor typographical and
formatting changes are executed by the Office of Federal Register in consultation with the
Agency prior to Federal Register publication. For purposes of this Declaration, references to the
“Good Neighbor Plan” or “Plan” and associated citations refer to this pre-publication version,
which is available on EPA’s website along with a number of key supporting materials. The
rulemaking docket is EPA-HQ-OAR-2021-0668 and can be accessed through
www.regulations.gov.


                                                3
      Case: 23-60069        Document: 110        Page: 1046      Date Filed: 03/27/2023




exceed its anticipated costs. Its predecessor programs, the NOX SIP Call, 2 Clean
Air Interstate Rule (“CAIR”), 3 and CSAPR,4 each were successfully implemented
without disruption to the reliability or affordability of the electrical power supply.
Estimated Monetized Health and Climate Benefits, Compliance Costs, and
Net Benefits of the Good Neighbor Plan, 2023 Through 2042 (Millions 2016$,
Discounted to 2023) 5

                                               3% Discount Rate 7% Discount Rate

                         Health Benefits             $200,000                 $130,000

                              Climate
                                                     $15,000                   $15,000
                              Benefits
    Present Value
                           Compliance
                                                     $14,000                   $9,400
                             Costs

                           Net Benefits              $200,000                 $140,000

                         Health Benefits             $13,000                   $12,000

    Equivalent                Climate
                                                       $970                     $970
    Annualized                Benefits
      Value
                           Compliance
                                                       $910                     $770
                             Costs



2
  “Finding of Significant Contribution and Rulemaking for Certain States in the Ozone Transport
Assessment Group Region for Purposes of Reducing Regional Transport of Ozone,” 63 FR
57356 (Oct. 27, 1998).
3
  “Rule to Reduce Interstate Transport of Fine Particulate Matter and Ozone (Clean Air Interstate
Rule),” 70 FR 25162 (May 12, 2005).
4 “Federal Implementation Plans: Interstate Transport of Fine Particulate Matter and Ozone and
Correction of SIP Approvals,” 76 FR 48208 (Aug. 8, 2011).
5
  Adapted from Good Neighbor Plan Executive Summary. For explanations, caveats, and table
notes associated with these figures, please refer to the pre-publication version of the Good
Neighbor Plan, pp. 48-49.




                                                4
      Case: 23-60069     Document: 110      Page: 1047    Date Filed: 03/27/2023




                        Net Benefits            $13,000               $12,000


The estimated annualized compliance costs for the Plan of $910 million (3%
discount rate, 2016$) or $770 million (7% discount rate, 2016$) are comparable to
prior interstate transport rulemakings EPA has undertaken. For example, EPA
estimated that the NOX SIP Call would cost $1.7 billion (1990$) annually to
implement. 63 FR at 57478. Similarly, CAIR was estimated to cost the power
sector $2.4 billion in 2010 and $3.4 billion in 2015 (1999$). 70 FR at 25305.
CSAPR was estimated to cost the power sector $810 million in 2014 (2007$). 76
FR at 48215.
       10. The Plan will deliver substantial public health and environmental
benefits. On average, the ozone levels at the identified “receptor” locations around
the country are projected to decrease by 0.66 parts per billion (ppb). Good
Neighbor Plan, Table V.D.3-1. The Plan will help many downwind areas make
substantial progress toward coming into compliance with the 2015 ozone NAAQS.
In some cases, such as for receptors in Colorado, coastal Connecticut, and Texas,
the Plan is projected to make substantial progress toward achieving full attainment
of the standard.
       11. According to the air quality analysis for the SIP disapproval final rule,
there are 43 air quality monitoring sites throughout the United States that are
identified as “receptors”—i.e., these are areas that are projected to struggle to
attain or maintain the 2015 ozone NAAQS. See 88 FR at 9351-52. The combined
population of the designated ozone nonattainment areas associated with these
receptors in 2021 is 82.3 million people, representing roughly 25 percent of the
total U.S. population.
      12. The air quality benefits of the Plan will also reach many other people
beyond the specific areas where receptor sites are located. The map below
graphically illustrates the reduction in ozone levels that is projected to occur across




                                           5
      Case: 23-60069     Document: 110     Page: 1048     Date Filed: 03/27/2023




the United States with full implementation of the Plan.




       13. The emissions control strategies on which the Plan is premised are all
conventional, widely-used, at-the-source technologies that have been available to
power plants and industrial sources for decades. This level of control is widely
mandated for these types of sources in downwind areas with ozone air quality
problems. For example, selective catalytic reduction (“SCR”) control technology is
already installed at roughly two-thirds of the coal-fired power plant capacity in the
U.S. fleet. Good Neighbor Plan, p. 395.
      14. As can be seen in the figure below, the Texas power plants included in
the Good Neighbor Plan are among the highest emitters of NOX pollution
continuing to operate in the United States. It is not surprising that these sources are
impacting air quality hundreds of miles away.




                                          6
      Case: 23-60069     Document: 110     Page: 1049    Date Filed: 03/27/2023




      Emissions from Texas power plants are highlighted in red.
       15. A delay in the implementation of the Plan would result in the
continuation of significant contribution to harmful levels of air pollution across the
United States. Delays of as long as three years in the implementation of two prior
good neighbor rulemakings (NOX SIP Call and CSAPR) have been experienced as
a result of stay litigation. In both cases, the regulations were largely upheld once
courts were able to adjudicate the merits. EPA is applying this same, now-Supreme
Court-upheld analytical framework in this Plan. A delay of three years or more
here would delay the full elimination of significant contribution under this Plan
until 2029 or later. This would be eight years after the 2021 Marginal area
attainment deadline, five years after the 2024 Moderate area attainment deadline,
and two years after the 2027 Serious area attainment deadline. In the meantime,
many Americans could suffer illness and premature death from the harmful
pollution that would be allowed to continue, while downwind areas that fail to
attain the health-based NAAQS will be subject to ever more stringent regulatory
requirements under the Act without relief from the contributing effects of upwind-
state pollution. For example, effectively the forgone emissions reductions just in
2023 could result in forgone reductions in avoided ozone-related premature
mortalities and illnesses equal to as much as $820 million (2016$, 3% discount
rate).
B.    Establishment, Applicability, and Relationship to Other Trading Programs
      16. Among other things, the Plan implements a revised and expanded
allowance trading program – the CSAPR NOX Ozone Season Group 3 Trading
Program (the “Trading Program”). This program generally applies to fossil fuel-


                                          7
      Case: 23-60069        Document: 110        Page: 1050      Date Filed: 03/27/2023




fired boilers and combustion turbines that are located in covered states and serve
generators larger than 25 megawatts producing electricity for sale. 40 CFR
97.1004.
       17. The Plan amends the existing CSAPR NOX Ozone Season Group 3
Trading Program established for twelve states in 2021 under the Revised CSAPR
Update. 6 The CSAPR NOX Ozone Season Group 3 Trading Program was first
established to achieve emissions reductions required by the good neighbor
provision with respect to the 2008 ozone NAAQS. For several other states, the
Trading Program will replace the CSAPR NOX Ozone Season Group 2 Trading
Program established in 2016 under the CSAPR Update and currently still being
implemented for ten states, including Texas. 7 The CSAPR NOX Ozone Season
Group 1 Trading Program was first established in the original CSAPR rulemaking
in 2011 to address good neighbor obligations associated with the 1997 ozone
NAAQS, and currently applies only in the State of Georgia. 8
      18. Under the Plan, power plants in seven states will transition from the
CSAPR Group 2 Trading Program to the CSAPR Group 3 Trading Program, and
power plants in three states not currently covered by a CSAPR trading program for
seasonal NOX emissions will be added to the CSAPR Group 3 Trading Program
under this rule.
      19. Virtually all of the electric generating units covered by the Plan,
including those in the three states not currently covered by a seasonal NOX
emissions program, nonetheless participate in the Acid Rain emissions trading
program under Title IV of the Clean Air Act and already meet rigorous monitoring
and reporting requirements in compliance with 40 CFR Part 75. 9


6
 “Revised Cross-State Air Pollution Rule Update for the 2008 Ozone NAAQS,” 86 FR 23054
(April 30, 2021).
7
 “Cross-State Air Pollution Rule Update for the 2008 Ozone NAAQS,” 81 FR 74504 (October
26, 2016).
8
 “Federal Implementation Plans: Interstate Transport of Fine Particulate Matter and Ozone and
Correction of SIP Approvals,” 76 FR 48208 (Aug. 8, 2011) (generally referred to as the Cross-
State Air Pollution Rule, or “CSAPR”).
9
  Approximately 97 percent of ozone season NOX emissions reported under Part 75 are
determined using continuous emissions monitoring systems (“CEMS”). Gas- or oil-fired units
that qualify as peaking units or low mass emissions units under the regulations have options to
determine reported emissions using other methodologies.



                                                8
         Case: 23-60069      Document: 110      Page: 1051   Date Filed: 03/27/2023




       20. Power plants have deep familiarity with Clean Air Act compliance
assurance and permitting obligations and face minimal administrative burdens
associated with entry into the Trading Program. All the Texas units that will
participate in the Trading Program already participate in another CSAPR trading
program.
       21. The emissions reduction requirements associated with the new
Trading Program emissions budgets established by the Plan will only apply as of
the effective date of the Plan, which will be 60 days after publication of the Plan in
the Federal Register. 10 Based on the sequence of steps that must occur before the
effective date, these requirements will not apply starting on May 1 of this year.
       22. The date of publication in the Federal Register is not yet known, but
EPA expects that it will likely be sometime in the latter part of April of this year.
The Revised CSAPR Update took roughly six weeks to publish (signed March 15,
2021, published April 30, 2021). Thus, the new budget stringency associated with
the Revised CSAPR Update did not take effect until June 29, 2021, which was 106
days after that rule was signed. Similarly, the proposal for this Plan took a little
over five weeks to publish (signed February 28, 2022, published April 6, 2022; 87
FR 20036). EPA anticipates a similar length of time before publication of the Good
Neighbor Plan in the Federal Register.
       23. For units in the states already covered by either the CSAPR NOX
Ozone Season Group 2 or Group 3 trading programs, the Plan has transitional
provisions so that the new budgets will apply only after the Plan’s effective date. 11
For units in the remaining states that will be newly covered by the Trading
Program, no requirements, either in terms of emissions reductions or in terms of
other administrative requirements, will apply until the effective date.
C.    How Emissions Trading Programs Work and the Enhancements to the
Trading Program
      24. The Clean Air Markets Division operates or has operated a number of
allowance trading programs, the earliest of which started more than 25 years ago.
These include the NOX Budget Trading Program for ozone-season NOX emissions




10
     See Good Neighbor Plan Preamble Section VI.B.12.a.
11
     See Good Neighbor Plan Preamble Section VI.B.12.a.


                                               9
         Case: 23-60069      Document: 110     Page: 1052      Date Filed: 03/27/2023




under the NOX SIP Call, 12 programs for ozone-season and annual NOX emissions
under CSAPR and CAIR, 13 and programs for annual SO2 emissions under CSAPR,
CAIR, and the Acid Rain Program. 14 Most of the units that participate in the
Trading Program also participate or participated in some of these other programs.
There has not been, nor has Movant identified, a single instance where
implementation of these EPA trading programs has caused an adverse reliability
impact.

        25. EPA provides robust technical analysis for identifying its emission
reduction requirements. For power plants, this includes starting with historical,
reported data reflecting operations from a system void of reliability shortcomings.
It further tests these requirements against future expectations for the sector by
using a state-of-the-art, peer-reviewed, multi-regional, dynamic, deterministic
linear programming model of the contiguous U.S. electric power sector (the
Integrated Planning Model, or IPM). It provides forecasts of least-cost capacity
expansion, electricity dispatch, and emissions control strategies while meeting
energy demand and environmental, transmission, dispatch, and reliability
constraints.
       26. The Trading Program, like the other current and former allowance
trading programs operated by the Clean Air Markets Division, does not impose any
fixed limits on the operations or emissions of individual affected units. Instead,
each affected unit is required to monitor and report its emissions, and each source
with affected units is required to hold quantities of emission “allowances” based on
the reported emissions from all its affected units for each “control period” for the
program. (For the Trading Program, the control period is the May-September
ozone season.) The aggregated emissions from all the affected units under such a
program are limited by the total number of allowances issued for use in the
program, each of which authorizes the emission of up to one ton of NOX.
      27. The Trading Program budgets are set based on an evaluation of
available NOX mitigation control technologies. As EPA has done in the prior
CSAPR rulemakings, as well as CAIR and the NOX SIP Call before them, EPA
12
  “Finding of Significant Contribution and Rulemaking for Certain States in the Ozone
Transport Assessment Group Region for Purposes of Reducing Regional Transport of Ozone,”
63 FR 57356 (Oct. 27, 1998).
13
  “Rule to Reduce Interstate Transport of Fine Particulate Matter and Ozone (Clean Air
Interstate Rule),” 70 FR 25162 (May 12, 2005).
14
     CAA subchapter IV-A, 42 U.S.C. 7651-7651o; 40 CFR parts 72-78.


                                              10
      Case: 23-60069       Document: 110       Page: 1053     Date Filed: 03/27/2023




assessed several well-understood, widely-available, at-the-source emissions control
strategies. Following a multifactor assessment at “Step 3” of the interstate transport
framework, EPA arrived at a suite of control strategies that obtain cost-effective
emissions reductions. EPA’s assessment of these technologies is set forth in
Section V.B-C of the Plan preamble.
       28. The primary strategies for power plants that emerged from this
analysis are: starting in 2023, optimizing existing post-combustion controls;
starting in 2024, upgrading to state-of-the-art combustion controls at the few
remaining coal facilities without them; and, over the 2026-2027 ozone seasons,
retrofitting post-combustion controls on large emitting units currently lacking
them. See Good Neighbor Plan Preamble Section VI.A.
       29. It bears noting that the 2023 and 2024 strategies of optimizing
existing post-combustion controls and upgrading combustion controls are
essentially identical to the emissions control strategies that were identified in
CSAPR, the CSAPR Update, and the Revised CSAPR Update. EPA’s analysis in
the Good Neighbor Plan is that these strategies remain widely available on a
relatively near-term basis and additional, cost-effective emissions reductions can
be obtained from these strategies across the fleet of existing power plants in the
covered upwind states.
       30. For each control period, the total quantity of allowances is initially
allocated among the affected units. 15 The number of initial allocations each affected
unit receives is not an emission limit, nor is it an express or implied prohibition on
how much that source may emit; rather, sources may buy or sell allowances with
any other party and use them for compliance. This incentivizes units that can
reduce their emissions easily or cheaply to make those reductions and reap the
benefits from selling their unneeded allowances, while units with relatively more
expensive reduction opportunities can comply by purchasing those allowances. For
a more comprehensive overview of emissions trading programs, see the Division’s
website at https://www.epa.gov/emissions-trading-resources.
      31. Sources with affected units under the Trading Program are not
required to hold allowances equal to their emissions before or at the actual time of
the emissions (e.g., in or during the 2023 ozone season). Instead, each source is
obligated to surrender allowances equal to its affected units’ emissions for a
control period by the program’s “allowance transfer deadline,” which is June 1 of

15
 CSAPR trading programs are designed to allow states to easily replace EPA’s allocation
methodology with their own. See Good Neighbor Plan Preamble Section VI.D.


                                             11
     Case: 23-60069      Document: 110     Page: 1054    Date Filed: 03/27/2023




the year after the year of the control period. 40 CFR 97.1002, 97.1006(c)(1). For
the 2023 ozone season, the allowance transfer deadline will be June 1, 2024. Thus,
a source in the Trading Program has an extended period of time—eight months
after the end of the ozone-season control period on September 30—in which to
acquire any additional allowances that may be needed for compliance.
       32. Each state’s budget determines the total number of allowances to be
allocated among the state’s affected units for each control period. However, a state
budget is not a limit on how much NOX a state’s affected units may emit, in the
aggregate, during the control period. Under the Trading Program (like the trading
programs under the original CSAPR), the aggregated emissions from a state’s
affected units can exceed the state’s budget up to a certain level, called the
“assurance level,” without triggering any further obligations beyond each source’s
basic compliance obligation to hold allowances equal to the sum of its affected
units’ emissions. If the aggregated emissions from the affected units in a single
state exceed the state’s assurance level during a control period, the sources that
contributed to the state’s exceedance must surrender two additional allowances for
each ton of their respective shares of the exceedance. 40 CFR 97.1025. The
assurance levels include “variability limits” beyond the respective state emissions
budgets that allow for potential inter-annual variability in operating needs for each
state. At the same time, the assurance levels function within the structure of an
interstate trading program to meet the Act’s requirement that each state’s sources
are held to the elimination of their own significant contribution.
       33. The Trading Program is fully achievable without any need for sources
to reduce their operations or retire, because the emission budgets are premised on
widely available pollution control technologies described above whose use would
achieve the required emission reductions without need to reduce operations or
retire any affected EGU. However, under the Trading Program, no power plant is
required to follow these strategies. In general, a power plant owner has options to
operate the emissions controls identified by the EPA for a type of unit (including
installation or upgrade of controls), operate other types of emissions controls, or
adapt the unit’s levels of operation to produce less emissions. The Plan generally
preserves the compliance flexibility of prior transport trading programs in
reserving these decisions to sources’ owners and operators.
      34. In addition to the intrinsic emissions trading compliance flexibilities
noted above that are preserved in the Plan, the Trading Program contains several
enhancements relative to prior trading programs. These enhancements operate
together to ensure that, within the structure of an interstate trading program,
sources continue to achieve a degree of emissions reduction consistent with the


                                         12
     Case: 23-60069     Document: 110     Page: 1055    Date Filed: 03/27/2023




Act’s requirement to eliminate “significant contribution” and “interference with
maintenance.” As EPA discusses in the Plan, experience with prior trading
programs has produced evidence that over time sources may not be properly
incentivized to operate emissions controls to the degree needed to eliminate
significant contribution on an ongoing basis. The enhancements included in the
Trading Program continue to provide flexibility while providing greater assurance
that significant contribution will be eliminated on the most critical days of the
ozone season and will remain eliminated on a permanent basis.
       35. As noted above, there are four enhancements to the Trading Program
in the Plan, compared to prior CSAPR programs: dynamic budgeting; annual bank
recalibration; unit-specific backstop daily emissions rates; and a secondary
emissions limitation:
       a. Dynamic Budgets: Prior trading rules used a single, fixed emissions
          budget, set based on power sector data as of the date of the action. In the
          Revised CSAPR Update, EPA established preset budgets for several
          years into the future, to better reflect known changes in the power sector
          over time. In the Good Neighbor Plan, EPA is again establishing preset
          budgets as floors for the 2023 to 2029 control periods. Beginning in
          2026, dynamic budgets (i.e., budgets set by applying the emission
          control strategies selected in the Plan to more recent operating data) will
          be calculated for each control period. From 2026 through 2029, a state’s
          dynamic budget will be used only if it is higher than the state’s preset
          budget for that control period. Beginning in 2030, dynamic budgeting
          will be the sole method of budget calculation. See Good Neighbor Plan
          Preamble Section VI.B.4.

       b. Bank Recalibration: If a source does not use all of its allowances to
          demonstrate compliance in a given control period, the Trading Program,
          like all the other allowance trading programs operated by the Clean Air
          Markets Division, allows the unused allowances to be banked for use in
          the program in future control periods. In the CSAPR Update and the
          Revised CSAPR Update, EPA executed one-time conversions of
          available banked allowances from prior trading programs into initial
          allowance banks appropriately scaled to the budgets under the new
          trading programs. The Plan carries that process forward by limiting the
          collective allowable number of banked allowances for the Trading
          Program that can be carried over each year to 21% of the sum of the
          states’ emissions budgets. This will prevent the buildup of an
          excessively large bank of allowances that would undermine program

                                        13
     Case: 23-60069     Document: 110      Page: 1056     Date Filed: 03/27/2023




          stringency in the latter years of a program. See Good Neighbor Plan
          Preamble Section VI.B.6.

       c. Unit-specific Backstop Daily Emissions Rates: To ensure more
          consistent operation of installed controls on sources with the highest
          level of emissions potential throughout each day of ozone seasons going
          forward, the Plan includes backstop daily emission rates applied to each
          of a subset of the covered sources. This rate applies beginning in 2024
          for large, coal-fired sources that have SCR post-combustion emissions
          controls already installed. The rate is set at a level that reflects seasonal
          optimization of the control (not daily maximal performance), and
          sources must surrender additional allowances for the emissions
          associated with exceedances of this rate (after a 50-ton threshold, which
          accommodates the potential unavoidable emissions sources might have
          above the daily rate associated with activities like start-up). The same
          rate is applied for large coal-fired units with SCR-retrofit potential in
          the second control period after such control is installed or in 2030,
          whichever occurs first. See Good Neighbor Plan Preamble Section
          VI.B.7.

       d. Secondary Emissions Limitations: To avoid foreseeable exceedances of
          the state-by-state assurance levels, the Plan establishes the conditions
          for an enforceable Clean Air Act violation in defined circumstances of
          egregious failure to operate existing pollution controls. See Good
          Neighbor Plan Preamble Section VI.B.8.
D.    Key Changes in the Good Neighbor Plan from Proposal
       36. Movant declarants’ arguments are all based on their assessment of the
effects of the Plan as it was proposed in April of 2022. The proposal underwent a
comment period of 76 days, and EPA held many stakeholder meetings, including
with electricity reliability coordinators, to receive feedback as well. This public
engagement provided useful information to the Agency and produced a number of
important changes in the Good Neighbor Plan not reflected in Movants’
declarations.

       37. It is standard practice in EPA rulemaking development that changes to
a proposal contemplated by the Agency are considered deliberative and are not
shared on an ex parte basis prior to finalization and public release of an action.
Therefore, the information regarding the contents of the Good Neighbor Plan,
reflective of these changes, became available to the general public, including

                                         14
     Case: 23-60069      Document: 110     Page: 1057    Date Filed: 03/27/2023




Movant declarants, on or about March 15, 2023, with the release of the unofficial,
pre-publication copy of the Plan on EPA’s website.

       38. Several changes in the Good Neighbor Plan bear directly on the
claims of harm put forward by Movant declarants. These changes respond to
concerns raised by commenters that the Plan, as proposed, could have unintended
effects on power sector grid-reliability.

       39. Commenters observed that the fleet of fossil-fuel fired power plants is
undergoing a period of transition to cleaner fuels and technologies. Many power
plant owners and operators highlighted their interest in seeing flexibility in this
program that would facilitate their business decisions, while, in their view, the Plan
as proposed could force uneconomical decisions either to retire power plants
earlier than intended or to force expensive pollution-control retrofits for sources
that in their judgment would otherwise not continue in operation for much longer.
See Good Neighbor Plan Preamble Section VI.B.1.d.

       40.     During rule development, EPA also actively engaged with key
stakeholders in the electricity sector, including system operators, regional
transmission operators (“RTOs”), the U.S. Department of Energy (“DOE”), the
Federal Energy Regulatory Commission (“FERC”), and other parties that have the
responsibility for ensuring reliability. EPA hosted a series of meetings with
reliability organizations who had commented on the proposal to ensure we had a
solid understanding of their concerns and perspectives. See Good Neighbor Plan
Preamble Section III.B.1.c.

      41. In light of these viewpoints, EPA adopted multiple changes from the
proposal to address the reliability-related concerns identified in comments and
brought into greater focus through consultations with RTOs and other agencies.
These changes have been carefully crafted to ensure the statutory mandate to
eliminate significant contribution to interstate pollution problems under the Clean
Air Act is met without disrupting the reliable operation of the bulk power grid. See
Good Neighbor Plan Preamble Section VI.B.1.d.

       a. EPA had proposed to apply “preset” state emissions budgets only for
          the control periods in 2023 and 2024, with dynamic budgeting allowing
          for changes in the budget both upward and downward beginning in
          2025. EPA had proposed to use only one year of data in the dynamic
          budget-setting process. In the Final Good Neighbor Plan, preset
          budgets will operate as floors from 2023 through 2029. This will

                                         15
     Case: 23-60069     Document: 110      Page: 1058     Date Filed: 03/27/2023




           establish predictable minimum quantities of allowances available
           during the period when commenters have expressed concern that the
           reliability-related need for such predictability is greatest. In addition,
           the dynamic budgets will be set using multiple years of operating data
           to prevent an anomalous year of data from skewing the budgets. See
           Good Neighbor Plan Preamble Section VI.B.1.b.i.

       b. The target percentage of the state emission budgets used to annually
          recalibrate the allowance bank will not be set at the proposed 10.5
          percent level until the 2030 control period. For the control periods from
          2024 through 2029, a target percentage of 21 percent will be used
          instead. The adoption of the higher target percentage for use through the
          2029 control period is intended to enhance the availability of allowances
          during this period by allowing power plant owners and operators to
          “bank” allowances at a higher level through 2030. See Good Neighbor
          Plan Preamble Section VI.B.1.b.ii.

       c. The application of the backstop daily emissions rate for units without
          existing SCR controls is deferred until the 2030 control period from the
          2027 control period as EPA had proposed. This change extends by
          several years the period during which the highest emitting sources in the
          fleet may continue surrendering only one allowance per ton emitted, as
          opposed to three allowances per ton emitted, while operating without
          widely available pollution control technology within the Trading
          Program. See Good Neighbor Plan Preamble Section VI.B.1.c.i.

       42. Additionally, EPA made several other key changes in the Good
Neighbor Plan from the proposal that will also help ensure it can be implemented
on a feasible and cost-effective basis in light of comments and other record-based
considerations that in EPA’s judgment warranted attention:

       a. The Good Neighbor Plan does not require any emission reductions
          associated with projected generation shifting using EPA’s Integrated
          Planning Model. This moots Declarants’ concerns regarding this aspect
          of the proposal. See Good Neighbor Plan Preamble Section V.B.1.f.

       b. EPA finalized a phase-in approach for emission reductions associated
          with the SCR-retrofit strategy. These reductions are phased in over
          2026-2027 in the final Good Neighbor Plan, as opposed to just 2026 at


                                         16
      Case: 23-60069    Document: 110     Page: 1059     Date Filed: 03/27/2023




           proposal. This change provides an additional year for the full
           implementation of reductions associated with this strategy relative to the
           proposal. See Good Neighbor Plan Preamble Section VI.A.

       c. Emissions control stringency associated with combustion control
          upgrades does not go into effect for any state until the start of the 2024
          ozone season. See Good Neighbor Plan Preamble Section V.A.


II.   NOX Mitigation Strategies and Timing: Further Detail
       43. The Plan assumes two mitigation strategies in setting emission
budgets for the 2023 ozone season. This is the optimization of two types of
existing post-combustion controls—SCR and selective non-catalytic reduction
(“SNCR”). Therefore, no new pollution control equipment is assumed in 2023,
only the operation of existing equipment. EPA uses its database of reported
historical power sector operations and emissions performance to derive state
emissions budgets based on these (and other) strategies. According to EPA data,
power plants have demonstrated through their historical operation (for more than
90% of such units) that they have already achieved this level in the past, in many
cases significantly out-performing the representative performance rates used by
EPA to establish budgets based on these strategies.
       44. The vast majority of SCR-controlled units (nationwide and in the 22
states subject to the Trading Program) at least partially operated these controls
during the 2021 and 2022 ozone seasons, based on reported emissions rates.
Existing SCRs operating at partial capacity still provide functioning, maintained
systems that may only require increased frequency or quantity of delivered
chemical reagents (i.e., ammonia or urea), which can be accomplished within a few
weeks. In many cases, units with SCR have historically achieved more efficient
NOX removal rates than their current performance and therefore are capable of
reverting to earlier operation and maintenance plans that achieved demonstrably
better SCR performance.
       45. There is ample evidence of units restoring optimal performance of
post-combustion controls within a timeframe of two months or less. See Good
Neighbor Plan Preamble Section V.B.1.a. Not only have units reactivated SCR
performance levels at the start of an ozone season or when requirements took
effect, but unit-level data also shows instances where sources demonstrated the
ability to quickly alter their emissions rate within an ozone-season and even within
the same day in some cases. Moreover, this emissions control technique is familiar


                                         17
      Case: 23-60069      Document: 110     Page: 1060     Date Filed: 03/27/2023




to sources and was analyzed and included in the Revised CSAPR Update
emissions budgets finalized in 2021 and the CSAPR Update emissions budgets
finalized in 2016.
       46. The recently implemented Revised CSAPR Update was finalized on
March 15, 2021, with emissions reductions premised on the same technology and
nearly identical implementation schedules as this Plan regarding existing control
optimization. See paragraph 50. States were able to comply with a 100% success
rate in meeting their allowance-holding requirements, and units optimized their
controls, showing significant improvement in emissions performance relative to
prior years. Neither States nor sources reported any difficulty maintaining
compliance with electric reliability standards as a function of achieving
compliance with the Revised CSAPR Update.
       47. The recent experiences with both the Revised CSAPR Update and
CSAPR Update underscore the eminently achievable nature of the control
strategies informing the establishment of the Trading Program budgets for 2023
and 2024.
       48. In the Plan, EPA finds that new SCR retrofit installation is cost-
effective and is included as part of the overall strategy to eliminate significant
contribution. Corresponding emission reductions are reflected in state emissions
budgets, phasing in over the 2026 and 2027 ozone seasons. EPA extended the
timeframe for installation of SCR controls from 36 months at proposal to 36-48
months in the final Plan. There are many instances of individual SCR-retrofit
projects being completed well within a three-year timeframe; however, a 36-48
month period corresponds with EPA’s expectations regarding timing needs for
fleetwide implementation of this strategy. There is significant engineering
literature and third-party testimonials as to the feasibility of this timing for sources
pursing this compliance option. This technology is widely available. SCR controls
already exist on over 60 percent of the coal fleet in the states covered by the
Trading Program. Nearly every pulverized coal unit larger than 100 MW built in
the last 30 years has installed this control.
       49. The timeframes by which the requirements of the Plan go into effect
are all keyed to the finalization of the Plan. Thus, the phasing in of the SCR-retrofit
stringency over the 2026-2027 ozone seasons corresponds to a 36-48 month period
from the date of issuance of the Plan. See Good Neighbor Plan Preamble Sections
V.B.1.e and VI.A.
      50. Even for near-term measures like optimization of existing controls in
2023, EPA’s record shows that no work need have occurred prior to finalization of

                                           18
       Case: 23-60069     Document: 110      Page: 1061     Date Filed: 03/27/2023




the Plan. The implementation of the Plan’s budgets reflecting that control strategy
as of the effective date 60 days after publication in the Federal Register
accommodates the two-month period EPA finds to be the maximum amount of
time needed to implement these strategies. These exact technology and timing
assumptions were just successfully implemented on an identical schedule in the
Agency’s Revised CSAPR Update rule, which was finalized on March 15, 2021
and included emission reduction requirements premised on optimization of existing
controls going into effect upon the effective date of the rule during the 2021 ozone
season. See Good Neighbor Plan Preamble Section V.B.1.a. and 86 FR 23054.
      51. EPA had observed in the proposal that sources could begin “planning
now” for compliance, and this would afford them additional time. 87 FR at 20101.
Such preparation may indeed be prudent and likely not costly, but it was never
required. Preliminary analysis and engineering steps involve no capital costs; these
include pre-construction activities, such as engineering studies, conceptual design,
schedule, specifications, and cost estimates. 16
III.   Achievability of the Good Neighbor Plan

      52. The emissions reductions implemented through the Plan’s Trading
Program are readily achievable for the covered power plants, and the Program is
designed so as not to threaten resource adequacy or otherwise degrade electric
system reliability in any state or region.

       53. Under the Trading Program, for each control period EPA allocates an
amount of allowances equal to each state budget among the affected units in the
respective state. For control periods after 2023, a state may submit a state
implementation plan revision replacing EPA’s unit-level allocations with unit-level
allocations of its choosing, provided that the total number of allocations does not
exceed the state budget. 40 CFR 52.38.
       54. The sum of the preset state budgets under the Trading Program for
2023 is 208,119 tons. (This does not account for an almost-certain budget increase
associated with the need to prorate the budgets to the effective date of the Plan,
discussed in paragraphs 21-22 above.) Adding the amount of allowances in the
anticipated starting bank (see paragraph below), EPA estimates that the total
number of allowances that will be available for compliance in 2023 will be
approximately 269,479 allowances.

16
 See document titled “Typical SCR and SNCR Schedules 2023” in the docket for the Good
Neighbor Plan (EPA-HQ-OAR-2021-0668).

                                           19
      Case: 23-60069        Document: 110       Page: 1062      Date Filed: 03/27/2023




       55. In addition to allowances allocated for each control period and already
banked under the Group 3 Trading Program, the EPA will convert for use in the
Trading Program an amount of allowances banked under the existing CSAPR NOX
Ozone Season Group 2 trading program. 40 CFR 97.826. Any affected unit (or
other entity) that holds banked allowances issued under the CSAPR Group 2
program will be issued a proportional number of converted allowances that can be
used under the Trading Program just like allowances allocated from the Trading
Program state budgets. Based on preliminary emissions data for 2022, in total, the
already-banked and converted allowances collectively will constitute a “starting
bank” of approximately 61,360 allowances available for 2023 compliance.
       56. Total emissions from the sources that would be covered by the
Trading Program in 2021 were 239,450 tons, and in 2022 were 207,605 tons. As
EPA has observed in prior CSAPR trading programs, EPA fully anticipates that
sources will in fact optimize existing controls during the 2023 ozone season and/or
pursue other emissions reduction opportunities, in response to the allowance price
signal and in order to maintain or increase the respective amounts of banked
allowances they hold. Nonetheless, these numbers indicate that even if no sources
chose to reduce emissions in 2023 below where they already were in 2022, there
would be adequate allowances available for compliance.
       57. EPA conducted a “resource adequacy” assessment for the Good
Neighbor Plan. This assessment shows that accredited capacity projections, and
therefore reserve margins, are expected to be virtually identical for the power
sector between the baseline and the Good Neighbor Plan “policy case.” In
particular, in 2023, 2025, and 2030, reserve margin projections under the Plan
remained consistent with baseline projections and are at or above target reserve
margins. 17

       58. For all NERC reliability assessment regions and for all years,
adequate reserve margins are projected to be maintained under the Good Neighbor
Plan. Projected changes in reserve margins under the Plan through 2030 are
exceedingly small relative to the baseline without the rule. 18




17
   See Resource Adequacy and Reliability Analysis Final Rule TSD 2, Tbl. 1, available at
https://www.epa.gov/system/files/documents/2023-
03/Resource%20Adequacy%20and%20Reliability%20Analysis%20TSD.pdf.
18
   Id. Tbl. A3, B3, C3.

                                              20
      Case: 23-60069      Document: 110     Page: 1063     Date Filed: 03/27/2023




       59. The Plan’s projected effect on retail electricity prices relative to
baseline projections is also projected to be small. 19

       60. Compliance with the Good Neighbor Plan is anticipated to be even
less costly than EPA’s primary analysis of compliance costs in the Plan’s
regulatory impact analysis (RIA) suggests (see paragraph 9 above). EPA conducted
a supplementary analysis to assess the effects of the Inflation Reduction Act of
2022, Pub. L. 117-169 (“IRA”). That analysis indicates that the annualized cost of
the Plan for the power sector over the 2023-2045 period declines under the IRA
from $449 million/year to $196 million/year (2016$). See RIA Appendix 4A,
Table 4A-2. For comparison, the annualized costs of the NOX SIP Call were
estimated at $1.7 billion (1990$), which would be $2.8 billion in 2016$.

B.    Allowance Market Transparency, Liquidity, and Pricing
       61. There has never been a shortage of allowances in any allowance
trading program operated by the Clean Air Markets Division from 1995 – the first
year of the Acid Rain Program’s trading program for SO2 emissions – to the
present. After the allowance transfer deadline for every control period for every
such program, a bank of unused allowances has always been available for
carryover to future control periods. See the Division’s progress reports at
https://www3.epa.gov/airmarkets/progress/reports/index.html.
       62. Under the Trading Program, like EPA’s other allowance trading
programs, affected units are required to report their hourly emissions data to the
Clean Air Markets Division on a quarterly basis, and all allowance allocations and
transfers are also recorded by the Division. 40 CFR 97.1020--97.1035. The
Division maintains publicly accessible databases of the reported emissions data
and the recorded allocation and transfer data at https://campd.epa.gov/. Sources
and other participants in the market for emissions allowances, such as brokers, can
use these data to assess the potential supply of and demand for allowances and to
identify potential buyers and sellers.
      63. Buyers and sellers of allowances are generally not required to report
transaction prices to the Clean Air Markets Division. However, subscription data
services regularly survey and report market prices for allowances in EPA’s

19
  See Regulatory Impact Analysis for the Final Federal Good Neighbor Plan Addressing
Regional Ozone Transport for the 2015 Ozone National Ambient Air Quality Standard 166-68,
Tbl. 4-15, 4-16, 4-17, available at https://www.epa.gov/system/files/documents/2023-
03/SAN%208670%20Federal%20Good%20Neighbor%20Plan%2020230315%20RIA_Final.pdf.

                                           21
      Case: 23-60069        Document: 110       Page: 1064      Date Filed: 03/27/2023




allowance trading programs. As of March 23, 2023, one such service reported a
market price of $2,025 per Group 2 allowance and $13,375 per Group 3
allowance. 20

       64. While prices reported for the first part of the 2022 ozone season were
higher than prices in the later part of and after the ozone season, relatively few
allowance transfers among unrelated parties took place during the period of the
highest reported prices. Moreover, EPA’s data indicates that there were more than
enough allowances available for compliance with the Group 3 program in 2022.
Our data indicate total emissions in the Group 3 program of around 90,458 tons in
the 2022 ozone season, while available allowances (including banked allowances)
total 128,724 tons.

       65. The allowance price increase that was observed in the summer of
 2022 in the pre-existing Group 3 trading program has since declined nearly 66
 percent from its peak (see “CSAPR Allowance Price Data” in the docket for the
 Good Neighbor Plan). Texas sources would not have experienced these prices
 because they currently participate in the CSAPR Group 2 trading program. EPA
 notes that CSAPR Group 3 allowance prices have ranged around $14,000 -
 $15,000 per allowance since the latter part of the 2022 ozone season. In as much
 as this price reflects market participants anticipating a final regulation similar to
 the Good Neighbor Plan as proposed, it is notable that the prices are close to the
 representative SCR retrofit costs that EPA has calculated ($11,000/ton as a
 representative figure).

       66. Finally, reported allowance prices do not necessarily reflect actual
costs to sources for each ton emitted. EPA allocates allowances for free to existing
source owners and operators. Most sources have all or nearly all of their
allowances freely available to them through allocations or existing banks.
Therefore, these sources only need to purchase a minority, if any at all, of their
total needed allowances, as well as pursuing further emissions reductions as
desired.

      67. Multiplying total expected emissions by the highest historically
reported allowance price would generate a wildly inflated estimate of compliance
burden, not only because that highest historical price is by no means indicative of
the average allowance price going forward, but also because it ignores the
20
  Price data are reported by S&P Global Market Intelligence and are available by subscription at
https://www.SNL.com.


                                              22
      Case: 23-60069     Document: 110    Page: 1065     Date Filed: 03/27/2023




fundamental expectation within a market-based program that sources would
rationally pursue any emissions-reduction opportunities that are less costly than the
purchase of additional allowances.
IV.   Achievability of the Plan for Texas Power Plants
       68. The proposed and final rules are implemented through an interstate
trading program. While there are state emission budgets, no state is limited to its
budget level, and if sources in the state need additional allowances to emit up to
the state’s assurance level, they can use banked allowance or allowances purchased
from other states.
        69. Before consideration of interstate trading opportunities, Texas’s
proposed-rule budgets were 38,284 tons in the 2023 ozone season and 21,946 tons
(illustrative budget) in the 2026 season. In the final Good Neighbor Plan, the
budgets are 40,134 tons in 2023 and 31,123 tons in 2026. Texas’s budget is 23,009
tons in 2027 (reflecting the two-year phase in of SCR-retrofit stringency).
       70. As explained in paragraph 21, based on EPA’s expectation of an
effective date after the start of the 2023 ozone season, EPA expects a prorated
2023 state emissions budget for Texas in the range of 42,750 tons.
       71. The Plan includes provisions to convert most allowances banked
under the CSAPR Group 2 NOX Ozone Season Group 2 trading program into a
quantity of banked Group 3 allowances available for use in the Trading Program.
Based on the estimated effective date, and the number of Group 2 allowances held
by sources in Texas that are available for conversion, Texas EGUs are anticipated
to start with at least 9,944 banked Group 3 allowances created through conversion
of Group 2 allowances in addition to receiving unit-level Group 3 allowance
allocations of the 2023 emissions budget for Texas.
       72. This brings the combined anticipated number of allowances initially
held by affected EGUs in Texas for the 2023 ozone season to around 52,700
allowances. Under the interstate Trading Program, Texas EGUs will also have the
opportunity to purchase additional allowances from account holders in other states.
Based on preliminary emissions data for 2022, in total, we estimate the already-
banked and converted allowances collectively will constitute a “starting bank” of
approximately 61,360 Group 3 allowances available for 2023 compliance
(inclusive of the 9,944 converted allowances estimated above to be initially held by
Texas EGUs).




                                         23
       Case: 23-60069          Document: 110           Page: 1066       Date Filed: 03/27/2023




      73. Texas’s 2021 ozone season NOX emissions were 42,761 tons, and
Texas’s 2022 ozone season NOX emissions were 44,950 tons.
      74. Texas’s state emissions budgets are 40,134 and 38,542 tons in 2024
and 2025 respectively, although a carryover of banked allowances from 2023 is
expected, in light of the above figures and the incentive for sources to reduce
emissions and bank allowances when doing so is economical.
      75.      The final Plan state budget for Texas for the first year of the
program, prior to prorating, is 4.8% higher than the level of the budget in the
proposal rule that was discussed by Movant declarants. The change from the
proposed budget level is due to several methodological enhancements and data
corrections made in response to comments on the proposal.
       76. For the Trading Program, each state’s variability limit is 21 percent of
the state budget, and each state’s assurance level is therefore the state budget plus
21 percent. 40 CFR 97.1025. See also paragraph 32 above. Texas’s assurance level
in 2023 is therefore 48,562 tons. No enhanced allowance-surrender penalty is
applied for emissions up to the assurance level.
       77. Table 1 below summarizes the Trading Program final state budgets
and assurance levels for the final rule, and the actual 2021 and 2022 ozone-season
NOX emissions reported to the Clean Air Markets Division by affected units
(available at https://campd.epa.gov/). The table also shows the estimated prorated
2023 budget and the estimated starting emissions bank for Texas.
              Table 1: Comparison of Expected 2023 Allowance Holdings and
                    Recently Reported Emissions at Texas EGUs
                            2023
                2023
   2023                  Estimated      2023          2023
             Estimated
  Texas                   Banked        Texas        Texas        2021 Reported       2022 Reported
             Prorated
 emissions               Allowances   Variability   Assurance    Emissions from     Emissions from Texas
              Texas
  budget                  Held by       Limit         Level     Texas EGUs (tons)       EGUs (tons)
              Budget
  (tons)                    Texas       (tons)       (tons)
               (tons)
                            EGUs
  40,134      42,758       9,944        8,428        48,562          42,761               44,950




       78. Movants’ allegation that electric reliability in Texas in 2023 is
threatened by an alleged 26% shortfall in allowances is not borne out by the
evidence provided above and in the power sector emissions and operating data in
the final Plan. First, the only documentation Movants provide that appears relevant
to the alleged 26% shortfall comes from a single entity (NRG), which appears to

                                                     24
      Case: 23-60069     Document: 110     Page: 1067     Date Filed: 03/27/2023




have selected the highest historical emissions for each of their units over a 4-year
period (Zahn Declaration, paragraph 18) resulting in an inflated baseline. This
approach does not represent any actual year of EGU operation and associated
emissions. Second, another declarant then applied this “shortfall” (which had been
calculated only as to NRG and representing only about 11% of fossil fuel-fired
electric generating capacity in ERCOT) to a far larger set of facilities. That alleged
shortfall was premised, however, on unique allowance allocations and historical
emission patterns that would only apply to NRG’s subset of EGUs and are
inapplicable to other capacity in the state (Rickerson Declaration, paragraph 17).
Third, even confined to the limited set of NRG units for which the “shortfall” was
calculated, the premise does not consider the ability of affected EGU operators to
(a) make emission reductions using the pollution control strategies EPA identified
without reducing output or retiring capacity and (b) procure whatever allowances
they need from other participants in the market-based trading program.
       79. Movants’ claim that “EPA’s forthcoming FIP will restrain operations
of Texas power plants starting in May 2023 by imposing new emission reductions
for nitrogen oxides (NOX)” is incorrect. The Rule establishes emissions budgets
premised on widely-available pollution control technologies; it does not limit the
operations of power plants or other industrial sources.
        80. Movants claim that “EPA’s proposed-rule modeling predicted that
generating units totaling approximately 15,000 MW of capacity will not operate in
2023 and that the bulk of these units will permanently shut down.” This is
misleading. The cited figure regards capacity retirements that were modeled to
occur in the baseline—that is, this is the amount of capacity that is expected to idle
or retire due to underlying economics and other factors that are independent of the
Plan.
       81. Movant declarants may have a misimpression that the power sector
modeling projections using IPM in the final Plan had an effect on the emissions
budget setting process for the Trading Program. As described in the Good
Neighbor Plan Preamble, they did not. The budgets are calculated using historical
data and under the assumption that all units continue to operate at recent historical
levels unless they have announced other plans. EPA refers to this methodology as
“engineering analysis,” and it does not use economic modeling forecasts to inform
state budget computation, as explained in Preamble Section IV.C of the Final Good
Neighbor Plan.
      82. By contrast, EPA uses IPM to generate power sector emissions
projections that inform its air quality modeling analysis at Steps 1 and 2 of the


                                          25
      Case: 23-60069        Document: 110        Page: 1068          Date Filed: 03/27/2023




Plan’s analytical framework. See Good Neighbor Plan Section IV.C.2.a. However,
if one were to adopt the Movant declarants’ expectation that IPM’s economic
forecasts overestimate the number of power plants that may idle in 2023 with or
without the rule, one would correspondingly expect higher emissions from the state
than EPA’s IPM modeling projected, which would only exacerbate the state’s
impact on downwind air quality. In other words, the Movants’ critique of the
Agency’s power sector modeling would suggest that it generated regulatory results
that were directionally more favorable to the state of Texas and its sources. EPA
does not concede that any of its IPM projections are faulty. The observation is
simply that the modeling projections cited by the declarants do them no harm. 21


                                     SO DECLARED:


                                     RONA                Digitally signed by RONA
                                                         BIRNBAUM
                                     BIRNBAUM            Date: 2023.03.27 09:29:10 -04'00'


                                     ____________________________
                                     Rona Birnbaum, Director
                                     Clean Air Markets Division

                                     DATED: March 27, 2023




21
   EPA also uses IPM in its economic impacts analysis, but this too does not inform the
stringency of the emissions budgets and does no harm to Movants.

                                               26
     Case: 23-60069      Document: 110    Page: 1069    Date Filed: 03/27/2023




                                   EXHIBIT 9

Declaration of Scott Mathias, Director of the Air Quality Policy Division, Office of

Air and Radiation, EPA
     Case: 23-60069      Document: 110    Page: 1070     Date Filed: 03/27/2023




              IN THE UNITED STATES COURT OF APPEALS
                        FOR THE FIFTH CIRCUIT
____________________________________
                                     )
STATE OF TEXAS, et al.,              )
                                     )
     Petitioners,                    )
                                     )
     v.                              )    No. 23-60069
                                     )
UNITED STATES ENVIRONMENTAL )
PROTECTION AGENCY, et al.,           )
                                     )
     Respondents.                    )
____________________________________)

                   DECLARATION OF SCOTT MATHIAS


       1.    I, Scott Mathias, affirm and declare that the following statements are
true and correct to the best of my knowledge and belief and that they are based
upon my personal knowledge, or on information contained in the records of the
United States Environmental Protection Agency (“EPA” or the “Agency”), or on
information supplied to me by EPA employees.
      2.     I am the Director of the Air Quality Policy Division (“AQPD”) within
the Office of Air and Radiation (“OAR”) at EPA, a position I have held since May
2020. AQPD is the division at EPA Headquarters that has primary responsibility
for developing national programs, technical policies, regulations, and guidance to
implement the national ambient air quality standards (“NAAQS”) under the Clean
Air Act (“CAA” or the “Act”).
       3.     As part of my duties as Director of AQPD, I oversee the development
and implementation of national policies, regulations, and guidance relevant to
section 110 of the CAA, 42 U.S.C. § 7410, including those developed or
promulgated to implement section 110(a)(2)(D)(i)(I), known as the “good
neighbor” or “interstate transport” provision, regarding air pollution that
significantly contributes to nonattainment or interferes with maintenance of the
NAAQS in other states. My responsibilities include ensuring consistent


                                         1
          Case: 23-60069     Document: 110        Page: 1071      Date Filed: 03/27/2023




 implementation of the interstate transport provision across the United States
 through coordination of the substantive evaluation of state implementation plans
 (“SIPs”) and the development of federal implementation plans (“FIPs”) where
 necessary. I or my staff also coordinate closely with EPA’s Regional offices in
 reviewing and acting on SIPs and addressing other issues related to NAAQS
 implementation.
I.   The Federal “Good Neighbor Plan” for the 2015 Ozone National Ambient
     Air Quality Standards.
       4.      EPA Administrator Michael S. Regan signed the “Good Neighbor
 Plan (or the “Plan”) on March 15, 2023, to achieve emissions reductions required
      1

 by the good neighbor provision of the CAA, 42 U.S.C. § 7410(a)(2)(D)(i)(I), with
 respect to the 2015 NAAQS (air quality standard) for ozone. The Plan establishes
 federal requirements for qualifying power plant and industrial sources in 23
 covered states, to reduce ozone pollution during the May 1-to-September 30
 “ozone season” by reducing emissions of nitrogen oxide (NOX), which is an ozone
 precursor pollutant.
        5.     The objective of the Plan is to eliminate the covered states’ significant
 contribution to nonattainment and interference with maintenance of the 2015 ozone
 NAAQS in downwind areas as expeditiously as practicable and in alignment with
 the statutory attainment schedule.
       6.     With respect to industrial sources in 20 states, this action will reduce
 NOX emissions beginning in the 2026 ozone season through emissions limitations
 and associated requirements for nine categories of industrial stationary sources,
 including stationary engines in the pipeline transportation of natural gas industry.




 1
   “Federal ‘Good Neighbor Plan’ for the 2015 Ozone National Ambient Air Quality Standards,”
 pre-publication copy, available at https://www.epa.gov/csapr/good-neighbor-plan-2015-ozone-
 naaqs. The EPA routinely makes available pre-publication copies of signed rules on its website
 to assist the public and regulated community in understanding the requirements of its signed final
 actions. However, this is not the “official” version of the Good Neighbor Plan, which will be
 established with publication in the Federal Register. Typically, minor typographical and
 formatting changes are executed by the Office of Federal Register in consultation with the
 Agency prior to Federal Register publication. For purposes of this Declaration, references to the
 “Good Neighbor Plan” or “Plan” and associated citations refer to this pre-publication version,
 which is available on EPA’s website along with a number of key supporting materials. The
 rulemaking docket is EPA-HQ-OAR-2021-0668 and can be accessed through
 https://www.regulations.gov.

                                                 2
       Case: 23-60069      Document: 110    Page: 1072     Date Filed: 03/27/2023




II.   Good Neighbor Plan Requirements for Engines in the Pipeline
      Transportation of Natural Gas Industry
        7.     The requirements in the Plan that apply to engines in the pipeline
  transportation of natural gas industry include numerous changes from the proposal
  that EPA developed in response to concerns raised by commenters about the costs
  of controls and the time needed to install controls on industrial sources. These
  provisions bear directly on Declarant Energy Transfer’s claims of monetary and
  non-monetary harm to its Texas operations.
         8.    For example, the Plan contains emissions averaging provisions and an
  exemption for emergency engines, both of which allow covered entities in the
  pipeline transportation of natural gas industry to avoid installing controls on
  engines for which installation of controls would be less cost-effective compared to
  controls on higher-emitting units. See 40 CFR 52.41(d) (Facility-Wide Averaging
  Plan) and (b) (exempting emergency engines from emissions limits) and Good
  Neighbor Plan Preamble, Section VI.C.1. Additionally, the Plan contains a
  provision that allows the owner or operator of any affected unit that cannot meet
  the applicable emissions limits due to technical impossibility or extreme economic
  hardship to request EPA approval of a case-by-case alternative emissions limit,
  where specific criteria are met. See 40 CFR. 52.40(e) and Good Neighbor Plan
  Preamble, Section VI.C.
        9.    To address Declarant’s concerns about the feasibility of compliance
  by the 2026 deadline for non-EGU controls, the Plan contains provisions allowing
  the owner or operator of any affected unit that cannot install controls by the 2026
  ozone season due to circumstances entirely beyond its control to request a
  compliance extension of up to 1 year, and to subsequently request an additional
  compliance extension of up to 2 more years (i.e., extending to the 2029 ozone
  season), where specific criteria are met. See 40 CFR 52.40(d) and Good Neighbor
  Plan Preamble, Section VI.A.2.b.
         10. The EPA has concluded that the controls necessary to meet the
  emissions limits for engines in the pipeline transportation of natural gas industry
  are technically feasible and has estimated an average cost of $4,981 for installation
  of the necessary controls on these engines. See EPA, Technical Memorandum
  dated March 15, 2023, “Summary of Final Rule Applicability Criteria and
  Emissions Limits for Non-EGU Emissions Units, Assumed Control Technologies
  for Meeting the Final Emissions Limits, and Estimated Emissions Units, Emissions
  Reductions, and Costs,” at 12 (Table 6).




                                            3
     Case: 23-60069     Document: 110    Page: 1073    Date Filed: 03/27/2023




      11. The Plan’s emissions averaging provisions, exemption for emergency
engines, provisions for requesting case-by-case alternative emissions limits, and
compliance extension provisions together provide the flexibility needed to address
Declarant’s concerns about the costs of controls and the time needed to install
controls.




Date: _____________
      March 22, 2023           Signed: ____________________________
                                       Scott Mathias
                                       Director
                                       Air Quality Policy Division
                                       Office of Air and Radiation




                                        4
